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                  Exhibit 2
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                  Exhibit 1
            FDA-Approved Label for
         Misoprostol (Cytotec) (Jan. 2017)




                                                                     App. 0001
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                                                   Cytotec®
                                               misoprostol tablets


                                        WARNINGS
              CYTOTEC (MISOPROSTOL) ADMINISTRATION TO WOMEN WHO ARE
              PREGNANT CAN CAUSE BIRTH DEFECTS, ABORTION, PREMATURE BIRTH
              OR UTERINE RUPTURE.

              UTERINE RUPTURE HAS BEEN REPORTED WHEN CYTOTEC WAS
              ADMINISTERED IN PREGNANT WOMEN TO INDUCE LABOR OR TO INDUCE
              ABORTION. THE RISK OF UTERINE RUPTURE INCREASES WITH ADVANCING
              GESTATIONAL AGES AND WITH PRIOR UTERINE SURGERY, INCLUDING
              CESAREAN DELIVERY (see also PRECAUTIONS and LABOR AND DELIVERY).

              CYTOTEC SHOULD NOT BE TAKEN BY PREGNANT WOMEN TO REDUCE THE
              RISK OF ULCERS INDUCED BY NONSTEROIDAL ANTI-INFLAMMATORY
              DRUGS (NSAIDs) (see CONTRAINDICATIONS, WARNINGS, and
              PRECAUTIONS).

              PATIENTS MUST BE ADVISED OF THE ABORTIFACIENT PROPERTY AND
              WARNED NOT TO GIVE THE DRUG TO OTHERS.

              Cytotec should not be used for reducing the risk of NSAID-induced ulcers in women of
              childbearing potential unless the patient is at high risk of complications from gastric
              ulcers associated with use of the NSAID, or is at high risk of developing gastric
              ulceration. In such patients, Cytotec may be prescribed if the patient
               has had a negative serum pregnancy test within 2 weeks prior to beginning therapy.
               is capable of complying with effective contraceptive measures.
               has received both oral and written warnings of the hazards of misoprostol, the risk of
                  possible contraception failure, and the danger to other women of childbearing
                  potential should the drug be taken by mistake.
               will begin Cytotec only on the second or third day of the next normal menstrual
                  period.


                                                    DESCRIPTION
              Cytotec oral tablets contain either 100 mcg or 200 mcg of misoprostol, a synthetic
              prostaglandin E1 analog.




                                                          1

                                                                                            EX. 1 pg. 001
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                                                                                           App. 0002
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              Misoprostol contains approximately equal amounts of the two diastereomers presented
              below with their enantiomers indicated by (±):




              Misoprostol is a water-soluble, viscous liquid.

              Inactive ingredients of tablets are hydrogenated castor oil, hypromellose, microcrystalline
              cellulose, and sodium starch glycolate.

                                             CLINICAL PHARMACOLOGY
              Pharmacokinetics: Misoprostol is extensively absorbed, and undergoes rapid de-
              esterification to its free acid, which is responsible for its clinical activity and, unlike the
              parent compound, is detectable in plasma. The alpha side chain undergoes beta oxidation
              and the beta side chain undergoes omega oxidation followed by reduction of the ketone to
              give prostaglandin F analogs.

              In normal volunteers, Cytotec (misoprostol) is rapidly absorbed after oral administration
              with a Tmax of misoprostol acid of 12 ± 3 minutes and a terminal half-life of 20–40
              minutes.

              There is high variability of plasma levels of misoprostol acid between and within studies
              but mean values after single doses show a linear relationship with dose over the range of
              200–400 mcg. No accumulation of misoprostol acid was noted in multiple dose studies;
              plasma steady state was achieved within two days.

              Maximum plasma concentrations of misoprostol acid are diminished when the dose is
              taken with food and total availability of misoprostol acid is reduced by use of
              concomitant antacid. Clinical trials were conducted with concomitant antacid, however,
              so this effect does not appear to be clinically important.
                                                            2

                                                                                                EX. 1 pg. 002
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                                                                                               App. 0003
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                                                                             AUC(0–4)
              Mean ± SD                        Cmax(pg/ml)                   (pg·hr/ml)         Tmax(min)
              Fasting                           811 ± 317                     417 ± 135          14 ± 8
              With Antacid                      689 ± 315                     349 ± 108*         20 ± 14
              With High Fat                     303 ± 176*                    373 ± 111          64 ± 79*
              ...Breakfast
              *   Comparisons with fasting results statistically significant, p<0.05.

              After oral administration of radiolabeled misoprostol, about 80% of detected radioactivity
              appears in urine. Pharmacokinetic studies in patients with varying degrees of renal
              impairment showed an approximate doubling of T1/2, Cmax, and AUC compared to
              normals, but no clear correlation between the degree of impairment and AUC. In subjects
              over 64 years of age, the AUC for misoprostol acid is increased. No routine dosage
              adjustment is recommended in older patients or patients with renal impairment, but
              dosage may need to be reduced if the usual dose is not tolerated.

              Drug interaction studies between misoprostol and several nonsteroidal anti-inflammatory
              drugs showed no effect on the kinetics of ibuprofen or diclofenac, and a 20% decrease in
              aspirin AUC, not thought to be clinically significant.

              Pharmacokinetic studies also showed a lack of drug interaction with antipyrine and
              propranolol when these drugs were given with misoprostol. Misoprostol given for 1 week
              had no effect on the steady state pharmacokinetics of diazepam when the two drugs were
              administered 2 hours apart.

              The serum protein binding of misoprostol acid is less than 90% and is concentration-
              independent in the therapeutic range.

              After a single oral dose of misoprostol to nursing mothers, misoprostol acid was excreted
              in breast milk. The maximum concentration of misoprostol acid in expressed breast milk
              was achieved within 1 hour after dosing and was 7.6 pg/ml (CV 37%) and 20.9 pg/ml
              (CV 62%) after single 200 g and 600 g misoprostol administration, respectively. The
              misoprostol acid concentrations in breast milk declined to < 1 pg/ml at 5 hours post-dose.

              Pharmacodynamics: Misoprostol has both antisecretory (inhibiting gastric acid
              secretion) and (in animals) mucosal protective properties. NSAIDs inhibit prostaglandin
              synthesis, and a deficiency of prostaglandins within the gastric mucosa may lead to
              diminishing bicarbonate and mucus secretion and may contribute to the mucosal damage
              caused by these agents. Misoprostol can increase bicarbonate and mucus production, but
              in man this has been shown at doses 200 mcg and above that are also antisecretory. It is
              therefore not possible to tell whether the ability of misoprostol to reduce the risk of
              gastric ulcer is the result of its antisecretory effect, its mucosal protective effect, or both.




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                                                                                                   App. 0004
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              In vitro studies on canine parietal cells using tritiated misoprostol acid as the ligand have
              led to the identification and characterization of specific prostaglandin receptors. Receptor
              binding is saturable, reversible, and stereospecific. The sites have a high affinity for
              misoprostol, for its acid metabolite, and for other E type prostaglandins, but not for F or I
              prostaglandins and other unrelated compounds, such as histamine or cimetidine.
              Receptor-site affinity for misoprostol correlates well with an indirect index of
              antisecretory activity. It is likely that these specific receptors allow misoprostol taken
              with food to be effective topically, despite the lower serum concentrations attained.

              Misoprostol produces a moderate decrease in pepsin concentration during basal
              conditions, but not during histamine stimulation. It has no significant effect on fasting or
              postprandial gastrin nor on intrinsic factor output.

              Effects on gastric acid secretion: Misoprostol, over the range of 50–200 mcg,
              inhibits basal and nocturnal gastric acid secretion, and acid secretion in response to a
              variety of stimuli, including meals, histamine, pentagastrin, and coffee. Activity is
              apparent 30 minutes after oral administration and persists for at least 3 hours. In general,
              the effects of 50 mcg were modest and shorter lived, and only the 200-mcg dose had
              substantial effects on nocturnal secretion or on histamine and meal-stimulated secretion.

              Uterine effects: Cytotec has been shown to produce uterine contractions that may
              endanger pregnancy. (See boxed WARNINGS.)

              Other pharmacologic effects: Cytotec does not produce clinically significant effects
              on serum levels of prolactin, gonadotropins, thyroid-stimulating hormone, growth
              hormone, thyroxine, cortisol, gastrointestinal hormones (somatostatin, gastrin, vasoactive
              intestinal polypeptide, and motilin), creatinine, or uric acid. Gastric emptying,
              immunologic competence, platelet aggregation, pulmonary function, or the
              cardiovascular system are not modified by recommended doses of Cytotec.

              Clinical studies: In a series of small short-term (about 1 week) placebo-controlled
              studies in healthy human volunteers, doses of misoprostol were evaluated for their ability
              to reduce the risk of NSAID-induced mucosal injury. Studies of 200 mcg q.i.d. of
              misoprostol with tolmetin and naproxen, and of 100 and 200 mcg q.i.d. with ibuprofen,
              all showed reduction of the rate of significant endoscopic injury from about 70–75% on
              placebo to 10–30% on misoprostol. Doses of 25–200 mcg q.i.d. reduced aspirin-induced
              mucosal injury and bleeding.

              Reducing the risk of gastric ulcers caused by nonsteroidal
              anti-inflammatory drugs (NSAIDs): Two 12-week, randomized, double-blind trials
              in osteoarthritic patients who had gastrointestinal symptoms but no ulcer on endoscopy
              while taking an NSAID compared the ability of 200 mcg of Cytotec, 100 mcg of Cytotec,
              and placebo to reduce the risk of gastric ulcer (GU) formation. Patients were
              approximately equally divided between ibuprofen, piroxicam, and naproxen, and
              continued this treatment throughout the 12 weeks. The 200-mcg dose caused a marked,



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                                                                                              App. 0005
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              statistically significant reduction in gastric ulcers in both studies. The lower dose was
              somewhat less effective, with a significant result in only one of the studies.

                                      Reduction of Risk of Gastric Ulcers Induced by
                                           Ibuprofen, Piroxicam, or Naproxen
                                             [No. of patients with ulcer(s) (%)]
                                                          Therapy Duration
              Therapy                         4 weeks          8 weeks           12 weeks
              Study No. 1
              Cytotec 200 mcg                      1 (1.4)               0........         0........     1 (1.4)*
               q.i.d. (n=74)
              Cytotec 100 mcg                      3 (3.9)               1 (1.3)           1 (1.3)       5 (6.5)*
               q.i.d. (n=77)
              Placebo (n=76)                     11 (14.5)               4 (5.3)           4 (5.3)      19 (25.0)
              Study No. 2
              Cytotec 200 mcg                      1 (1.5)               1 (1.5)           0........     2 (3.1)*
               q.i.d. (n=65)
              Cytotec 100 mcg                      2 (3.0)               2 (3.0)           1 (1.5)       5 (7.6)
               q.i.d. (n=66)
              Placebo (n=62)                       6 (9.7)               2 (3.2)           3 (4.8)      11 (17.7)
              Studies No. 1 & No. 2**
              Cytotec 200 mcg                      2 (1.4)               1 (0.7)           0........     3 (2.2)*
               q.i.d. (n=139)
              Cytotec 100 mcg                      5 (3.5)               3 (2.1)           2 (1.4)      10 (7.0)*
               q.i.d. (n=143)
              Placebo (n=138)                    17 (12.3)               6 (4.3)           7 (5.1)      30 (21.7)
              *    Statistically significantly different from placebo at the 5% level.
              **   Combined data from Study No. 1 and Study No. 2.

              In these trials there were no significant differences between Cytotec and placebo in relief
              of day or night abdominal pain. No effect of Cytotec in reducing the risk of duodenal
              ulcers was demonstrated, but relatively few duodenal lesions were seen.

              In another clinical trial, 239 patients receiving aspirin 650–1300 mg q.i.d. for rheumatoid
              arthritis who had endoscopic evidence of duodenal and/or gastric inflammation were
              randomized to misoprostol 200 mcg q.i.d. or placebo for 8 weeks while continuing to
              receive aspirin. The study evaluated the possible interference of Cytotec on the efficacy
              of aspirin in these patients with rheumatoid arthritis by analyzing joint tenderness, joint
              swelling, physician’s clinical assessment, patient’s assessment, change in ARA
              classification, change in handgrip strength, change in duration of morning stiffness,
              patient’s assessment of pain at rest, movement, interference with daily activity, and ESR.
              Cytotec did not interfere with the efficacy of aspirin in these patients with rheumatoid
              arthritis.

                                           INDICATIONS AND USAGE
              Cytotec (misoprostol) is indicated for reducing the risk of NSAID (nonsteroidal anti-
              inflammatory drugs, including aspirin)–induced gastric ulcers in patients at high risk of
                                                                     5

                                                                                                       EX. 1 pg. 005
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                                                                                                       App. 0006
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              complications from gastric ulcer, e.g., the elderly and patients with concomitant
              debilitating disease, as well as patients at high risk of developing gastric ulceration, such
              as patients with a history of ulcer. Cytotec has not been shown to reduce the risk of
              duodenal ulcers in patients taking NSAIDs. Cytotec should be taken for the duration of
              NSAID therapy. Cytotec has been shown to reduce the risk of gastric ulcers in controlled
              studies of 3 months’ duration. It had no effect, compared to placebo, on gastrointestinal
              pain or discomfort associated with NSAID use.

                                              CONTRAINDICATIONS
              See boxed WARNINGS.

              Cytotec should not be taken by pregnant women to reduce the risk of ulcers induced
              by nonsteroidal anti-inflammatory drugs (NSAIDs).

              Cytotec should not be taken by anyone with a history of allergy to prostaglandins.

                                                     WARNINGS
              See boxed WARNINGS.

              For hospital use only if misoprostol were to be used for cervical ripening, induction of
              labor, or for the treatment of serious post-partum hemorrhage, which are outside of the
              approved indication.

                                                   PRECAUTIONS
              Caution should be employed when administering Cytotec (misoprostol) to patients with
              pre-existing cardiovascular disease.

              Information for patients: Women of childbearing potential using Cytotec to decrease
              the risk of NSAID-induced ulcers should be told that they must not be pregnant when
              Cytotec therapy is initiated, and that they must use an effective contraception method
              while taking Cytotec.

              See boxed WARNINGS.

              Cytotec is intended for administration along with nonsteroidal anti-inflammatory drugs
              (NSAIDs), including aspirin, to decrease the chance of developing an NSAID-induced
              gastric ulcer.

              Cytotec should be taken only according to the directions given by a physician.

              If the patient has questions about or problems with Cytotec, the physician should be
              contacted promptly.

              THE PATIENT SHOULD NOT GIVE CYTOTEC TO ANYONE ELSE. Cytotec has
              been prescribed for the patient’s specific condition, may not be the correct treatment for



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              another person, and may be dangerous to the other person if she were to become
              pregnant.

              The Cytotec package the patient receives from the pharmacist will include a leaflet
              containing patient information. The patient should read the leaflet before taking Cytotec
              and each time the prescription is renewed because the leaflet may have been revised.

              Keep Cytotec out of the reach of children.

              SPECIAL NOTE FOR WOMEN: Cytotec may cause birth defects, abortion
              (sometimes incomplete), premature labor or rupture of the uterus if given to
              pregnant women.

              Cytotec is available only as a unit-of-use package that includes a leaflet containing
              patient information. See Patient Information at the end of this labeling.

              Drug interactions: See Clinical Pharmacology. Cytotec has not been shown to
              interfere with the beneficial effects of aspirin on signs and symptoms of rheumatoid
              arthritis. Cytotec does not exert clinically significant effects on the absorption, blood
              levels, and antiplatelet effects of therapeutic doses of aspirin. Cytotec has no clinically
              significant effect on the kinetics of diclofenac or ibuprofen.

              Prostaglandins such as Cytotec may augment the activity of oxytocic agents, especially
              when given less than 4 hours prior to initiating oxytocin treatment. Concomitant use is
              not recommended.

              Animal toxicology: A reversible increase in the number of normal surface gastric
              epithelial cells occurred in the dog, rat, and mouse. No such increase has been observed
              in humans administered Cytotec for up to 1 year.

              An apparent response of the female mouse to Cytotec in long-term studies at 100 to 1000
              times the human dose was hyperostosis, mainly of the medulla of sternebrae.
              Hyperostosis did not occur in long-term studies in the dog and rat and has not been seen
              in humans treated with Cytotec.

              Carcinogenesis, mutagenesis, impairment of fertility: There was no evidence of
              an effect of Cytotec on tumor occurrence or incidence in rats receiving daily doses up to
              150 times the human dose for 24 months. Similarly, there was no effect of Cytotec on
              tumor occurrence or incidence in mice receiving daily doses up to 1000 times the human
              dose for 21 months. The mutagenic potential of Cytotec was tested in several in vitro
              assays, all of which were negative.

              Misoprostol, when administered to breeding male and female rats at doses 6.25 times to
              625 times the maximum recommended human therapeutic dose, produced dose-related
              pre- and post-implantation losses and a significant decrease in the number of live pups



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              born at the highest dose. These findings suggest the possibility of a general adverse effect
              on fertility in males and females.

              Pregnancy:
              Teratogenic effects: See boxed WARNINGS. Congenital anomalies sometimes
              associated with fetal death have been reported subsequent to the unsuccessful use of
              misoprostol as an abortifacient, but the drug's teratogenic mechanism has not been
              demonstrated. Several reports in the literature associate the use of misoprostol during the
              first trimester of pregnancy with skull defects, cranial nerve palsies, facial malformations,
              and limb defects.

              Cytotec is not fetotoxic or teratogenic in rats and rabbits at doses 625 and 63 times the
              human dose, respectively.

              Nonteratogenic effects: See boxed WARNINGS. Cytotec may endanger pregnancy
              (may cause abortion) and thereby cause harm to the fetus when administered to a
              pregnant woman. Cytotec may produce uterine contractions, uterine bleeding, and
              expulsion of the products of conception. Abortions caused by Cytotec may be
              incomplete. If a woman is or becomes pregnant while taking this drug to reduce the risk
              of NSAID-induced ulcers, the drug should be discontinued and the patient apprised of the
              potential hazard to the fetus.

              Labor and delivery: Cytotec can induce or augment uterine contractions. Vaginal
              administration of Cytotec, outside of its approved indication, has been used as a cervical
              ripening agent, for the induction of labor and for treatment of serious postpartum
              hemorrhage in the presence of uterine atony. A major adverse effect of the obstetrical use
              of Cytotec is uterine tachysystole which may progress to uterine tetany with marked
              impairment of uteroplacental blood flow, uterine rupture (requiring surgical repair,
              hysterectomy, and/or salpingo-oophorectomy), or amniotic fluid embolism and lead to
              adverse fetal heart changes. Uterine activity and fetal status should be monitored by
              trained obstetrical personnel in a hospital setting.

              The risk of uterine rupture associated with misoprostol use in pregnancy increases with
              advancing gestational ages and prior uterine surgery, including Cesarean delivery. Grand
              multiparity also appears to be a risk factor for uterine rupture.

              The use of Cytotec outside of its approved indication may also be associated with
              meconium passage, meconium staining of amniotic fluid, and Cesarean delivery.
              Maternal shock, maternal death, fetal bradycardia, and fetal death have also been reported
              with the use of misoprostol.

              Cytotec should not be used in the third trimester in women with a history of Cesarean
              section or major uterine surgery because of an increased risk of uterine rupture. Cytotec
              should not be used in cases where uterotonic drugs are generally contraindicated or where
              hyperstimulation of the uterus is considered inappropriate, such as cephalopelvic
              disproportion, grand multiparity, hypertonic or hyperactive uterine patterns, or fetal

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                                                                                              App. 0009
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              distress where delivery is not imminent, or when surgical intervention is more
              appropriate.

              The effect of Cytotec on later growth, development, and functional maturation of the
              child when Cytotec is used for cervical ripening or induction of labor has not been
              established. Information on Cytotec's effect on the need for forceps delivery or other
              intervention is unknown.

              The use of Cytotec (misoprostol) for the management of postpartum hemorrhage has
              been associated with reports of high fevers (greater than 40 degrees Celsius or 104
              degrees Fahrenheit), accompanied by autonomic and central nervous system effects, such
              as tachycardia, disorientation, agitation, and convulsions. These fevers were transient in
              nature. Supportive therapy should be dictated by the patient’s clinical presentation.

              Nursing mothers: Misoprostol is rapidly metabolized in the mother to misoprostol
              acid, which is biologically active and is excreted in breast milk. There are no published
              reports of adverse effects of misoprostol in breast-feeding infants of mothers taking
              misoprostol. Caution should be exercised when misoprostol is administered to a nursing
              woman.

              Pediatric use: Safety and effectiveness of Cytotec in pediatric patients have not been
              established.

                                            ADVERSE REACTIONS
              The following have been reported as adverse events in subjects receiving Cytotec:

              Gastrointestinal: In subjects receiving Cytotec 400 or 800 mcg daily in clinical trials,
              the most frequent gastrointestinal adverse events were diarrhea and abdominal pain. The
              incidence of diarrhea at 800 mcg in controlled trials in patients on NSAIDs ranged from
              14–40% and in all studies (over 5,000 patients) averaged 13%. Abdominal pain occurred
              in 13–20% of patients in NSAID trials and about 7% in all studies, but there was no
              consistent difference from placebo.

              Diarrhea was dose related and usually developed early in the course of therapy (after 13
              days), usually was self-limiting (often resolving after 8 days), but sometimes required
              discontinuation of Cytotec (2% of the patients). Rare instances of profound diarrhea
              leading to severe dehydration have been reported. Patients with an underlying condition
              such as inflammatory bowel disease, or those in whom dehydration, were it to occur,
              would be dangerous, should be monitored carefully if Cytotec is prescribed. The
              incidence of diarrhea can be minimized by administering after meals and at bedtime, and
              by avoiding coadministration of Cytotec with magnesium-containing antacids.

              Gynecological: Women who received Cytotec during clinical trials reported the
              following gynecological disorders: spotting (0.7%), cramps (0.6%), hypermenorrhea
              (0.5%), menstrual disorder (0.3%) and dysmenorrhea (0.1%). Postmenopausal vaginal



                                                          9

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              bleeding may be related to Cytotec administration. If it occurs, diagnostic workup should
              be undertaken to rule out gynecological pathology. (See boxed WARNINGS.)

              Elderly: There were no significant differences in the safety profile of Cytotec in
              approximately 500 ulcer patients who were 65 years of age or older compared with
              younger patients.

              Additional adverse events which were reported are categorized as follows:

              Incidence greater than 1%: In clinical trials, the following adverse reactions were
              reported by more than 1% of the subjects receiving Cytotec and may be causally related
              to the drug: nausea (3.2%), flatulence (2.9%), headache (2.4%), dyspepsia (2.0%),
              vomiting (1.3%), and constipation (1.1%). However, there were no significant differences
              between the incidences of these events for Cytotec and placebo.

              Causal relationship unknown: The following adverse events were infrequently
              reported. Causal relationships between Cytotec and these events have not been
              established but cannot be excluded:

              Body as a whole: aches/pains, asthenia, fatigue, fever, chills, rigors, weight changes.

              Skin: rash, dermatitis, alopecia, pallor, breast pain.

              Special senses: abnormal taste, abnormal vision, conjunctivitis, deafness, tinnitus,
              earache.

              Respiratory: upper respiratory tract infection, bronchitis, bronchospasm, dyspnea,
              pneumonia, epistaxis.

              Cardiovascular: chest pain, edema, diaphoresis, hypotension, hypertension, arrhythmia,
              phlebitis, increased cardiac enzymes, syncope, myocardial infarction (some fatal),
              thromboembolic events (e.g., pulmonary embolism, arterial thrombosis, and CVA).

              Gastrointestinal: GI bleeding, GI inflammation/infection, rectal disorder, abnormal
              hepatobiliary function, gingivitis, reflux, dysphagia, amylase increase.

              Hypersensitivity: anaphylactic reaction

              Metabolic: glycosuria, gout, increased nitrogen, increased alkaline phosphatase.

              Genitourinary: polyuria, dysuria, hematuria, urinary tract infection.

              Nervous system/Psychiatric: anxiety, change in appetite, depression, drowsiness,
              dizziness, thirst, impotence, loss of libido, sweating increase, neuropathy, neurosis,
              confusion.



                                                            10

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              Musculoskeletal: arthralgia, myalgia, muscle cramps, stiffness, back pain.

              Blood/Coagulation: anemia, abnormal differential, thrombocytopenia, purpura, ESR
              increased.

                                                    OVERDOSAGE
              The toxic dose of Cytotec in humans has not been determined. Cumulative total daily
              doses of 1600 mcg have been tolerated, with only symptoms of gastrointestinal
              discomfort being reported. In animals, the acute toxic effects are diarrhea, gastrointestinal
              lesions, focal cardiac necrosis, hepatic necrosis, renal tubular necrosis, testicular atrophy,
              respiratory difficulties, and depression of the central nervous system. Clinical signs that
              may indicate an overdose are sedation, tremor, convulsions, dyspnea, abdominal pain,
              diarrhea, fever, palpitations, hypotension, or bradycardia. Symptoms should be treated
              with supportive therapy.

              It is not known if misoprostol acid is dialyzable. However, because misoprostol is
              metabolized like a fatty acid, it is unlikely that dialysis would be appropriate treatment
              for overdosage.

                                        DOSAGE AND ADMINISTRATION
              The recommended adult oral dose of Cytotec for reducing the risk of NSAID-induced
              gastric ulcers is 200 mcg four times daily with food. If this dose cannot be tolerated, a
              dose of 100 mcg can be used. (See Clinical Pharmacology: Clinical studies.) Cytotec
              should be taken for the duration of NSAID therapy as prescribed by the physician.
              Cytotec should be taken with a meal, and the last dose of the day should be at bedtime.

              Renal impairment: Adjustment of the dosing schedule in renally impaired patients is
              not routinely needed, but dosage can be reduced if the 200-mcg dose is not tolerated. (See
              Clinical Pharmacology.)

                                                 HOW SUPPLIED
              Cytotec 100-mcg tablets are white, round, with SEARLE debossed on one side and 1451
              on the other side; supplied as:

              NDC Number             Size
              0025-1451-60           unit-of-use bottle of 60
              0025-1451-20           unit-of-use bottle of 120
              0025-1451-34           carton of 100 unit dose

              Cytotec 200-mcg tablets are white, hexagonal, with SEARLE debossed above and 1461
              debossed below the line on one side and a double stomach debossed on the other side;
              supplied as:

              NDC Number             Size
              0025-1461-60           unit-of-use bottle of 60
              0025-1461-31           unit-of-use bottle of 100

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              0025-1461-34          carton of 100 unit dose

              Store at or below 25°C (77°F), in a dry area.

              This product’s label may have been updated. For current full prescribing information,
              please visit www.pfizer.com.




              LAB-0170-7.0
              Revised February 2018




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                                            PATIENT INFORMATION

              Read this leaflet before taking Cytotec® (misoprostol) and each time your prescription is
              renewed, because the leaflet may be changed.

              Cytotec (misoprostol) is being prescribed by your doctor to decrease the chance of
              getting stomach ulcers related to the arthritis/pain medication that you take.

              Do not take Cytotec to reduce the risk of NSAID-induced ulcers if you are pregnant. (See
              boxed WARNINGS.) Cytotec can cause abortion (sometimes incomplete which could
              lead to dangerous bleeding and require hospitalization and surgery), premature birth, or
              birth defects. It is also important to avoid pregnancy while taking this medication and for
              at least one month or through one menstrual cycle after you stop taking it. Cytotec may
              cause the uterus to tear (uterine rupture) during pregnancy. The risk of uterine rupture
              increases as your pregnancy advances and if you have had surgery on the uterus, such as
              a Cesarean delivery. Rupture (tearing) of the uterus can result in severe bleeding,
              hysterectomy, and/or maternal or fetal death.

              If you become pregnant during Cytotec therapy, stop taking Cytotec and contact your
              physician immediately. Remember that even if you are on a means of birth control it is
              still possible to become pregnant. Should this occur, stop taking Cytotec and contact your
              physician immediately.

              Cytotec may cause diarrhea, abdominal cramping, and/or nausea in some people. In most
              cases these problems develop during the first few weeks of therapy and stop after about a
              week. You can minimize possible diarrhea by making sure you take Cytotec with food.

              Because these side effects are usually mild to moderate and usually go away in a matter
              of days, most patients can continue to take Cytotec. If you have prolonged difficulty
              (more than 8 days), or if you have severe diarrhea, cramping and/or nausea, call your
              doctor.

              Take Cytotec only according to the directions given by your physician.

              Do not give Cytotec to anyone else. It has been prescribed for your specific condition,
              may not be the correct treatment for another person, and would be dangerous if the other
              person were pregnant.

              This information sheet does not cover all possible side effects of Cytotec. This patient
              information leaflet does not address the side effects of your arthritis/pain medication. See
              your doctor if you have questions.

              Keep out of reach of children.

              This product’s label may have been updated. For current full prescribing information,
              please visit www.pfizer.com.

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                   Exhibit 2
     Maarit Niinimaki et al., Comparison of rates of
     adverse events in adolescent and adult women
    undergoing medical abortion: population register
           based study, BJM, April 20, 2011




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                                                                                                                      RESEARCH

                                      Comparison of rates of adverse events in adolescent and
                                      adult women undergoing medical abortion: population
                                      register based study
                                      Maarit Niinimäki, consultant gynaecologist,1 Satu Suhonen, chief physician,2 Maarit Mentula, consultant
                                      gynaecologist,3 Elina Hemminki, research professor,4 Oskari Heikinheimo, chief physician,3 Mika Gissler,
                                      research professor4,5

1
  Department of Obstetrics and        ABSTRACT                                                    services. Most of all such pregnancies (up to 82% in
Gynecology, University Hospital of    Objective To determine the risks of short term adverse      the United States) are unintended.1 The decision to
Oulu, Finland
2                                     events in adolescent and older women undergoing             continue or terminate a pregnancy is strongly asso-
  City of Helsinki Health Centre,
Unit for Maternal and Child Health    medical abortion.                                           ciated with age. Besides age, being a student or being
Care and Health Promotion,            Design Population based retrospective cohort study.         single are important factors in young women’s deci-
Helsinki, Finland
3
                                      Setting Finnish abortion register 2000-6.                   sions on abortion.2 In the United States, 6% of all abor-
  Department of Obstetrics and
Gynaecology/Kätilöopisto              Participants All women (n=27 030) undergoing medical        tions are carried out in under 18s.1 In the United
Hospital, Helsinki University         abortion during 2000-6, with only the first induced         Kingdom, 9.5% of abortions in 2009 were in
Central Hospital, PO Box 610,         abortion analysed for each woman.                           adolescents.3 Thus abortions among teenagers are
00029 HUS, Helsinki, Finland
4                                     Main outcome measures Incidence of adverse events           common and are an important public health problem.
  National Institute for Health and
Welfare, Helsinki, Finland            (haemorrhage, infection, incomplete abortion, surgical         The medical termination of pregnancy using the
5
  Nordic School of Public Health,     evacuation, psychiatric morbidity, injury,                  antiprogestin mifepristone and a prostaglandin ana-
Gothenburg, Sweden                    thromboembolic disease, and death) among adolescent         logue has been widely established in several countries
Correspondence to: O Heikinheimo      (<18 years) and older (≥18 years) women through record
oskari.heikinheimo@helsinki.fi                                                                    during the past decade. In 2009, 40% of abortions were
                                      linkage of Finnish registries and genital Chlamydia         medical in the United Kingdom.3 In Sweden and Fin-
Cite this as: BMJ 2011;342:d2111      trachomatis infections detected concomitantly with          land the corresponding figures were 72% and 76%.4 5
doi:10.1136/bmj.d2111                 abortion and linked with data from the abortion register
                                                                                                     Increasing use of medical termination of pregnancy
                                      for 2004-6.
                                                                                                  points to a need for appropriate studies to confirm its
                                      Results During 2000-6, 3024 adolescents and 24 006
                                                                                                  safety in various target groups. Using nationwide reg-
                                      adults underwent at least one medical abortion. The rate
                                                                                                  ister based data we showed that both medical and sur-
                                      of chlamydia infections was higher in the adolescent
                                                                                                  gical abortions are generally safe, with few serious
                                      cohort (5.7% v 3.7%, P<0.001). The incidence of adverse
                                                                                                  complications when gestation is less than 63 days.6
                                      events among adolescents was similar or lower than that
                                                                                                  The most common adverse events were haemorrhage
                                      among the adults. The risks of haemorrhage (adjusted
                                                                                                  and incomplete abortion. However, in that study we
                                      odds ratio 0.87, 95% confidence interval 0.77 to 0.99),
                                                                                                  did not assess the safety of medical abortion among
                                      incomplete abortion (0.69, 0.59 to 0.82), and surgical
                                                                                                  adolescents.
                                      evacuation (0.78, 0.67 to 0.90) were lower in the
                                      adolescent cohort. In subgroup analysis of primigravid         Data on the safety of medical abortion among ado-
                                      women, the risks of incomplete abortion (0.68, 0.56 to      lescents are limited. In a small prospective study, med-
                                      0.81) and surgical evacuation (0.75, 0.64 to 0.88) were     ical abortion was found to be highly effective and well
                                      lower in the adolescent cohort. In logistic regression,     tolerated in adolescents aged 14 to 17 when gestation
                                      duration of gestation was the most important risk factor    was less than 56 days. Initially, half of the participants
                                      for infection, incomplete abortion, and surgical            experienced stress and fear, but these emotions
                                      evacuation.                                                 improved significantly within the month after
                                      Conclusions The incidence of adverse events after           abortion.7
                                      medical abortion was similar or lower among adolescents        In the present nationwide study we compared the
                                      than among older women. Thus, medical abortion seems        safety of medical abortion between adolescents and
                                      to be at least as safe in adolescents as it is in adults.   adults. To eliminate the possible influence of previous
                                                                                                  pregnancies on the outcome of termination of preg-
                                      INTRODUCTION                                                nancy, we carried out a subgroup analysis among pri-
                                      Pregnancies among teenagers are mostly unplanned            migravid women. In addition we assessed the impact of
                                      and offer a special challenge to family planning            a positive Chlamydia trachomatis test result at the time of
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                                  abortion on the incidence of infections after abortion—       (24 weeks in cases of a medical condition of the fetus)
                                  a situation of great clinical relevance to adolescents.       for social, medical, or ethical reasons. A national guide-
                                                                                                line on the care of women seeking abortion was pub-
                                  METHODS                                                       lished in 2001 and updated in 2007.9 Based on this
                                  From the national abortion register compiled by the           guideline all women should be screened for C tracho-
                                  National Institute for Health and Welfare we identified       matis and treated if it is present and screened for bacter-
                                  all women who had undergone induced abortion in               ial vaginosis at the first visit before the termination of
                                  Finland during 2000-6. The study population consisted         pregnancy. Prophylactic antibiotics are not routinely
                                  of women who had had a medical abortion (mifepris-            used.
                                  tone alone or in combination with misoprostol or other
                                  prostaglandins) at 20 weeks or less of gestation. We          Data collection
                                  divided the women into two cohorts based on age at            All hospitals in Finland are required by law to provide
                                  the time of abortion: adolescents (<18 years) and adults      the hospital register with information on inpatient
                                  (≥18 years). To keep the observations independent, we         treatment (all hospitals) and outpatient visits (public
                                  included only the first abortion for women who had            hospitals). This register contains information on diag-
                                  more than one during the study period. To assess the          nosis (international statistical classification of diseases
                                  potential learning curve in the introduction of medical       and related health problems, ICD-1010) and treatment
                                  abortion, we analysed the results in part separately for      (Nordic classification of surgical procedures11), as well
                                  the first years (2000-3) of its use compared with estab-      as the dates of the treatment episodes. To analyse
                                  lished use (2004-6). We linked the data with the care         adverse events related to induced abortion we linked
                                  register for health institutions (later called the hospital   information on the study participants in the hospital
                                  register) and the national infectious diseases register,      register for all hospital inpatient episodes and outpati-
                                  both compiled by the National Institute for Health            ent visits within 42 days after termination of pregnancy
                                  and Welfare, and the cause of death register of Statistics    with data in the abortion register. We selected diag-
                                  Finland. We followed the women for 42 days after the          noses and codes for surgical procedures in the cohorts
                                  induced abortion and linked all events recorded in the        for those considered to be of clinical importance.
                                  hospital register and cause of death register with the           We divided the complications into eight categories
                                  abortion register.                                            (see box): haemorrhage, infection, incomplete abor-
                                     The Finnish national register on induced abortions         tion, surgical evacuation, psychiatric morbidity, injury
                                  and sterilisations has been maintained since 1977. In         or other reason for surgical operation, thromboem-
                                  accordance with the current legislation, doctors per-         bolic disease, and death. The classification was based
                                  forming induced abortions are obliged to report cases         on that reported in the joint study of the Royal College
                                  to the register within one month, using a specific data       of General Practitioners and the Royal College of
                                  collection form. In Finland, data on induced abortions        Obstetricians and Gynaecologists12 and modified for
                                  are collected from all hospitals and clinics that carry       this and our previous study.6
                                  out induced abortions. The register contains data on             The cause of death register contains data from death
                                  women having termination of pregnancy. These data             certificates and covers all deaths of Finnish citizens and
                                  include information on pregnancy history, occupation,         permanent residents in Finland, classified according to
                                  type of residence, municipality, and marital status.          ICD-10 codes. All the early deaths (within 42 days of
                                                                                                termination of pregnancy) were classified as direct,
                                  Data on current pregnancy include information on
                                                                                                indirect, or accidental.13
                                  duration of gestation at the time of abortion, indication
                                                                                                   The National Department of Infectious Disease Epi-
                                  for abortion, and method of termination.5
                                                                                                demiology and Control at the National Institute for
                                     We have previously described Finnish legislation on
                                                                                                Health and Welfare collects information on cases of
                                  induced abortion.8 Briefly, current legislation permits
                                                                                                detected C trachomatis infections. Since 1997 it has
                                  termination of pregnancy of up to 20 weeks’ gestation
                                                                                                been mandatory for laboratories to report all positive
                                                                                                cases to the national infectious diseases register based
                                                                                                on the Communicable Diseases Act and Decree of
  Classification of adverse events
                                                                                                1987.14 Since 2004, laboratory notifications have
    Haemorrhage—all reported haemorrhage
                                                                                                included personal identification numbers, enabling
    Infection—pelvic inflammatory disease, endometritis, cervicitis, wound infections,
                                                                                                linkage of the data with that in other registries. Since
      pyrexia of unknown origin, urinary tract infections, and septicaemia                      2004 genital C trachomatis has been detected by DNA
    Any reported incomplete abortion                                                           or RNA testing.14
    Surgical evacuation
    Psychiatric morbidity—depression, intoxication, psychoses (ICD-10 codes F10-F48)           Statistical analysis
    Injury or other reason for surgical operation—all injuries, cervical laceration, uterine   To assess differences between the groups we used the
      perforation, all surgical interventions during follow-up                                  Mann-Whitney test for age and the χ2 test for categori-
    Thromboembolic disease—pulmonary embolism, deep vein thrombosis                            cal variables. The χ2 test was also used to calculate the
                                                                                                difference in the incidence of adverse events, except
    Death—death from any cause, pregnancy related death according to the World Health
                                                                                                for rare ones (psychiatric morbidity, injury, throm-
      Organization definition
                                                                                                boembolic disease, and death) when we used Fisher’s
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Table 1 | Characteristics of the two study cohorts. Values are numbers (percentages) unless             more often single and living in a non-urban setting.
stated otherwise                                                                                        In both groups, most of the medical abortions (over
                                                                                                        80%) were performed before nine weeks of gestation,
                                                Adolescent cohort         Adult cohort
Characteristics                               (<18 years) (n=3024)   (≥18 years) (n=24 006)   P value   but the mean duration of gestation was more advanced
Mean (median) age (years), range               16.1 (16.0), 13-17      27.6 (26.0), 18-50     <0.001    among adolescents. The incidence of C trachomatis
Previous pregnancies:
                                                                                                        infections, diagnosed four weeks before to six weeks
  None                                            2913 (96.3)            10 474 (43.6)
                                                                                                        after abortion, was higher in the adolescent cohort, as
  Yes                                              111 (3.7)             13 532 (56.4)
                                                                                              <0.001    calculated for 2004-6.
                                                                                                           Table 2 describes the incidence of adverse events
Previous deliveries:
                                                                                                        among the two cohorts, as well as among the primigra-
  None                                            2972 (98.3)            12 059 (50.2)
                                                                                              <0.001    vid women. The adult cohort had a significantly higher
  Yes                                               52 (1.7)             11 947 (49.8)
                                                                                                        incidence of haemorrhage (3690 (15.4%) v 386 (12.8%),
Previous induced abortions:
                                                                                                        P<0.001), incomplete abortion (2450 (10.2%) v 212
  None                                            3004 (99.3)            19 432 (80.9)
                                                                                              <0.001    (7.0%), P<0.001), and surgical evacuation of retained
  Yes                                               20 (0.7)              4574 (19.1)
                                                                                                        products of conception (3121 (13.0% v 333 (11.0%),
Marital status:
                                                                                                        P=0.002). Odds ratios were calculated for main
  Married                                           12 (0.4)              5634 (23.5)
                                                                                                        adverse events (haemorrhage, infection, incomplete
  Cohabiting                                       126 (4.2)              4546 (18.9)                   abortion, and surgical evacuation), after adjustment
                                                                                              <0.001
  Single                                          2882 (95.3)            13 785 (57.4)                  for parity, previous abortions, marital status, type of
  Data missing                                      4 (0.1)                 41 (0.2)                    residence, duration of gestation, and year of abortion.
Type of residence:                                                                                      In the adolescent cohort the adjusted odds ratios were
  Urban                                           1979 (65.4)            17 977 (74.9)                  significantly lower for haemorrhage, incomplete abor-
  Densely populated                               486 (16.1)              2986 (12.4)         <0.001    tion, and surgical evacuation than in the adult cohort.
  Rural                                           559 (18.5)              3043 (12.7)                   In addition, the adult cohort had more participants
Duration of gestation (weeks):                                                                          with adverse events (5535 (23.1%) v 575 (19.0%),
  <9                                              2424 (80.2)            20 143 (83.9)                  P<0.001).
  9-12                                             139 (4.6)               660 (2.7)                       In the subgroup analysis carried out among the pri-
  13-16                                            283 (9.4)              1741 (7.3)          <0.001    migravid women, the proportion of women with hae-
  17-20                                            171 (5.7)              1151 (4.8)                    morrhage (1505 (14.4%) v 374 (12.8%), P=0.035),
  Data missing                                      7 (0.2)                311 (1.3)                    incomplete abortions (887 (8.5%) v 201 (6.9%),
Chlamydia trachomatis positive test result*      99/1749 (5.7)         496/13 547 (3.7)       <0.001    P=0.006) and a higher overall number of adverse
*Data available for 2004-6.                                                                             events (2224 (21.1%) v 552 (18.9%), P=0.031) was sig-
                                                                                                        nificantly higher in the adult cohort. After adjustment
                                                                                                        for marital status, type of residence, duration of gesta-
                                                                                                        tion, and year of abortion, the risks for incomplete
                                      exact test. We used the confidence interval analysis
                                                                                                        abortion and surgical evacuation were lower in the pri-
                                      program to calculate the rates of adverse events.15 For
                                                                                                        migravid adolescents than in the primigravid adults
                                      small proportions we used the exact binomial method.
                                                                                                        (table 2).
                                      The estimated risks of adverse events were determined
                                                                                                           The incidence of a psychiatric diagnosis was higher
                                      by logistic regression analyses, and are presented as             among the adolescents in both the cohort and the pri-
                                      odds ratios with 95% confidence intervals. Variables              migravid cohort, even though the overall numbers
                                      that showed statistically significant associations with           were low. Two deaths were reported during the fol-
                                      complications in univariate analysis (type of residence,          low-up period. Both of these occurred in adults and
                                      marital status, duration of gestation, year of abortion,          were unrelated to the pregnancy (intracranial trauma
                                      and adolescent or adult cohort) were further entered in           and melanoma).
                                      multivariate analysis. SPSS 16.0 for Windows was used                The figure shows the results of logistic regression
                                      for the statistical analyses.                                     among the primigravid women for risk of main adverse
                                                                                                        events (haemorrhage, infection, incomplete abortion,
                                      RESULTS                                                           and surgical evacuation). An increased risk of haemor-
                                      During 2000-6, 27 030 women underwent medical                     rhage was associated with living in a densely populated
                                      abortion between five and 20 weeks of gestation. Of               area. The risk of bleeding after medical abortion was
                                      these women, 3024 were younger than 18 (adolescent                higher during 2004-6 than during 2000-3. Gestations
                                      cohort) and the remaining 24 006 were older (adult                of 9-12 or 13-16 weeks were associated with a lower
                                      cohort). Including only the first induced abortion for            risk of haemorrhage than gestations of less than nine
                                      each woman during 2000-3, medical abortion was car-               weeks. The risk of haemorrhage was also significantly
                                      ried out in 1275 (29.3%) adolescents and in 10 459                lower in the adolescent cohort.
                                      (31.7%) adults. In 2004-6 the corresponding numbers                  Advanced duration of gestation (9-12, 13-16, and
                                      were 1749 (61.9%) and 13 547 (63.3%).                             17-20 weeks) was associated with an increased risk of
                                         The two cohorts differed significantly for various             infections after abortion (figure). Additionally, being
                                      characteristics (table 1). The adolescents had fewer              married or cohabiting compared with being single
                                      previous deliveries and induced abortions and were                was associated with an increased risk of infection.
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                    Table 2 | Incidence of adverse events in study cohorts for all women (3024 adolescents and 24 006 adults) and for
                    primigravid women (2913 adolescents and 10 474 adults)
                                                            Adolescent
                                                              cohort                               Adult cohort                                        Adjusted odds ratio
                    Adverse events                          (<18 years)         % (95% CI)         (≥18 years)         % (95% CI)          P value          (95%CI)*
                    All women
                    Haemorrhage                                386          12.8 (11.6 to 14.0)       3690         15.4 (15.0 to 16.0)     <0.001†     0.87 (0.77 to 0.99)†
                    Infection                                   60            2.0 (1.5 to 2.6)         489           2.0 (1.9 to 2.2)       0.742      0.97 (0.73 to 1.30)
                    Incomplete abortion                        212            7.0 (6.1 to 8.0)        2450          10.2 (9.8 to 10.6)     <0.001†     0.69 (0.59 to 0.82)†
                    Surgical evacuation                        333          11.0 (9.9 to 12.1)        3121         13.0 (12.6 to 13.4)     0.002†      0.78 (0.67 to 0.90)†
                    Psychiatric morbidity                        3          0.10 (0.02 to 0.29)         2                  NA              0.012†               —
                    Injury                                       4          0.13 (0.04 to 0.34)         35         0.15 (0.10 to 0.19)      1.000               —
                    Thromboembolic disease                       2          0.07 (0.01 to 0.24)         26         0.11 (0.07 to 0.15)      0.764               —
                    Death                                        0                  NA                  2                  NA               0.392               —
                    No of adverse events per woman:
                      0                                        2449         81.0 (79.6 to 82.4)       18471        76.9 (76.4 to 77.5)                          —
                      1                                        488          16.1 (14.8 to 17.4)       4456         18.6 (18.1 to 19.1)                          —
                      2                                         82            2.7 (2.2 to 3.4)         994           4.1 (3.9 to 4.4)      <0.001†              —
                      3                                          5          0.17 (0.05 to 0.39)         83         0.35 (0.27 to 0.42)                          —
                      4                                          0                  NA                  2                  NA                                   —
                    Primigravid women
                    Haemorrhage                                374          12.8 (11.6 to 14.1)       1505         14.4 (13.7 to 15.0)     0.035†      0.88 (0.78 to 1.00)
                    Infection                                   57            2.0 (1.5 to 2.5)         227           2.2 (1.9 to 2.5)       0.486      1.01 (0.75 to 1.37)
                    Incomplete abortion                        201            6.9 (6.0 to 7.9)         887           8.5 (7.9 to 9.0)      0.006†      0.68 (0.56 to 0.81)†
                    Surgical evacuation                        311          10.7 (9.6 to 11.8)        1136         10.8 (10.3 to 11.4)      0.794      0.75 (0.64 to 0.88)†
                    Psychiatric morbidity                        3          0.10 (0.02 to 0.30)         1                  NA              0.034†               —
                    Injury                                       4          0.14 (0.04 to 0.35)         10         0.10 (0.04 to 0.16)      0.521               —
                    Thromboembolic disease                       2          0.07 (0.01 to 0.25)         10         0.10 (0.04 to 0.16)      1.00                —
                    Death                                        0                  NA                  1                  NA               0.391               —
                      No of adverse events per woman:
                      0                                        2361         81.1 (79.6 to 82.5)       8250         78.8 (78.0 to 79.5)                          —
                      1                                        468          16.1 (14.7 to 17.4)       1838         17.5 (16.8 to 18.3)                          —
                      2                                         79            2.7 (2.2 to 3.4)         356           3.4 (3.1 to 3.8)      0.031†               —
                      3                                          5          0.17 (0.06 to 0.40)         30         0.29 (0.18 to 0.39)                          —
                      4                                          0                  NA                  0                  NA                                   —
                    NA=not applicable owing to small number of women.
                    *Adult cohort as reference for all women adjusted for parity, previous abortions, marital status, type of residence, duration of gestation, and year of
                    abortion; adult cohort as reference for primigravid women adjusted for marital status, type of residence, duration of gestation, and year of abortion.
                    †Statistically significant.



                    Also, the risk was higher in the later period (2004-6)                        those with a positive test result for C trachomatis (data
                    than in 2000-3. The risk of infection was similar                             not shown).
                    between the two cohorts.
                       Advanced duration of gestation was strongly related                        DISCUSSION
                    to the risk of incomplete abortion and surgical evacua-                       In the present study the rate of adverse events and com-
                    tion. The risk of incomplete abortion was lower in ado-                       plications after medical abortion in adolescents was
                    lescents (odds ratio 0.69, 95% confidence interval 0.58                       similar to or lower than that in adults. Various charac-
                    to 0.82) than in adults. The risk of surgical evacuation                      teristics of the two cohorts differed significantly
                    was increased in women living in rural areas and in                           (table 1), but the risk of adverse events was calculated
                    those who were married or cohabiting. When abortion                           after adjustment for these factors. This study covered
                    was carried out in the later period (2004-6) the risk of                      almost all abortions carried out in Finland in all regions
                    surgical evacuation was diminished (figure).                                  and hospitals during a seven year period and thus
                       The risk of infections after abortion as a result of con-                  shows reliable national trends. Earlier studies assessing
                    current chlamydia infection was assessed among                                the completeness of the Finnish abortion register found
                    women who underwent abortion during 2004-6. In                                that 99% of abortions were reported to the register and
                    logistic regression analysis of the whole cohort, the                         at least 95% of information matched the medical
                    risk of infection after abortion was not associated with                      records.16 17
                    concurrent chlamydia infection (1.02, 0.58 to 1.78).                             One limitation of the study is that the registry based
                    Moreover, no significant difference in the rate of infec-                     data lack detailed information as the diagnoses were
                    tions after abortion emerged between adolescents and                          made on clinical grounds, and the severity of adverse
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                                   Odds ratio               Odds ratio                                                  Odds ratio                      Odds ratio
Haemorrhage                         (95% CI)                 (95% CI)         Incomplete abortion                        (95% CI)                        (95% CI)
Type of residence                                                             Marital status
 Urban                                                          1              Married or cohabiting                                                1.11 (0.94 to 1.31)
 Densely populated                                      1.43 (1.24 to 1.65)    Single                                                                        1
 Rural                                                  0.95 (0.81 to 1.12)   Gestation (weeks)
Gestation (weeks)                                                              <9                                                                            1
 <9                                                             1              9-12                                                                 3.95 (2.99 to 5.20)
 9-12                                                   0.62 (0.46 to 0.85)    13-16                                                                8.74 (7.38 to 10.34)
 13-16                                                  0.74 (0.60 to 0.91)    17-20                                                               12.00 (9.85 to 14.63)
 17-20                                                  0.87 (0.67 to 1.12)   Period
Period                                                                         2000-3                                                                        1
 2000-3                                                         1              2004-6                                                               0.98 (0.86 to 1.12)
 2004-6                                                 1.35 (1.22 to 1.50)   Cohort
Cohort                                                                         Adolescents <18                                                      0.69 (0.58 to 0.82)
 Adolescents <18                                        0.88 (0.78 to 0.99)    Adults ≥18                                                                    1
 Adults ≥18                                                     1
                                                                              Surgical evacuation
Infection                                                                     Type of residence
Marital status                                                                 Urban                                                                         1
 Married or cohabiting                                  1.52 (1.15 to 2.00)    Densely populated                                                    1.14 (0.94 to 1.38)
 Single                                                         1              Rural                                                                1.39 (1.16 to 1.68)
Gestation (weeks)                                                             Marital status
 <9                                                             1              Married or cohabiting                                                1.22 (1.04 to 1.42)
 9-12                                                   1.78 (1.04 to 3.04)    Single                                                                        1
 13-16                                                  1.62 (1.08 to 2.42)   Gestation (weeks)
 17-20                                                  2.67 (1.77 to 4.02)    <9                                                                            1
Period                                                                         9-12                                                                 6.47 (5.06 to 8.26)
 2000-3                                                         1              13-16                                                               20.92 (17.89 to 24.46)
 2004-6                                                 1.58 (1.22 to 2.04)    17-20                                                               23.74 (19.62 to 28.71)
Cohort*                                                                       Period
 Adolescents <18                                        0.90 (0.67 to 1.21)    2000-3                                                                        1
 Adults ≥18                                                     1              2004-6                                                               0.58 (0.51 to 0.66)
                                                                              Cohort*
                         0     1       2        3   4
                                                                               Adolescents <18                                                      0.98 (0.86 to 1.12)
                                                                               Adults ≥18                                                                    1

                                                                                                       0   1   2   3    4 5 6 7 8 10     20   30

Logistic regression analysis of risk factors for main adverse events (haemorrhage, infection, incomplete abortion, and surgical evacuation) among primigravid
women in entire cohort. Results of multivariate analysis are shown unless stated otherwise. Variables showing significance in univariate analysis are included.
*Derived from univariate analysis


                                      events may vary substantially. Another drawback is                   reflect a learning curve in providing medical abortion.
                                      that no conclusions can be made on the effects of abor-              However, the lower number of surgical evacuations
                                      tion beyond the 42 days of follow-up. A further limita-              occurred at the expense of an increased rate of consul-
                                      tion is that data on C trachomatis could only be linked              tations as a result of uterine bleeding. We took into
                                      with registry data from 2004, when identification num-               account the possible bias caused by the differences
                                      bers were first archived.                                            between the study periods (2000-3 and 2004-6) by
                                         More women sought help for bleeding after abortion                adjusting the odds ratios of adverse events by study
                                      when gestation was less than nine weeks. This finding                period.
                                      parallels that reported in our previous study.6 This                    The rate of infections after abortion was higher
                                      might be explained partly by the fact that medical abor-             (2.0%) than that reported in an earlier review in
                                      tions at nine weeks or more of gestation are carried out             which medical abortion was assessed (0.9%).18 The
                                      by hospitals, and not on an outpatient basis.9 More-                 higher figure may in part be a result of the register
                                      over, an increasing number of these early abortions                  based nature of the present study—that is, the diagnos-
                                      are carried out at home using self administered miso-                tic criteria lacked uniformity. In recent reviews, how-
                                      prostol.                                                             ever, the incidence of infections after medical abortion
                                         The risk of surgical evacuation of retained products              in the second trimester has been estimated to be about
                                      after medical abortion decreased during 2004-6 com-                  3%.19 20 Thus in the present study, concerning pregnan-
                                      pared with 2000-3, whereas the number of incomplete                  cies of up to 20 weeks’ duration, the incidence of infec-
                                      abortions remained the same. These findings probably                 tions was comparable with that reported in the recent
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                                                                                                 Experience of pain or satisfaction with care could not
 WHAT IS ALREADY KNOWN ON THIS TOPIC
                                                                                              be studied in the present setting, as these outcomes are
 Teenage pregnancies are mostly unplanned and often result in induced abortion                not registered in the Finnish abortion register. In a ran-
 Medical abortion is increasingly used, albeit its safety has not been properly assessed      domised study, women with higher gestational age and
 among adolescents                                                                            first pregnancy seemed to be less satisfied with medical
                                                                                              abortion as a result of more pain during the
 WHAT THIS STUDY ADDS                                                                         termination.25 The effective treatment of pain must be
 The risk of adverse events (haemorrhage, incomplete abortion, infection) after medical       taken into account when adolescents, predominantly
 abortion is similar or even lower in adolescent (<18 years) compared with adult women        nulliparous women, undergo induced abortion.

                                                                                              Conclusion
                                 reviews. The risk of infection was increased when the        The present population based national study provides
                                 abortion was carried out in the later period (2004-6).       evidence that medical abortion is not associated with
                                 The explanation for this is unclear. The incidence of C      additional risks of adverse events among adolescents in
                                 trachomatis infections in the Finnish population did not     the short term compared with adult women. The data
                                 change at the same time.14                                   were derived from one country with a homogeneous
                                    C trachomatis is a notable cause of pelvic inflamma-      population but can be generalised to populations with
                                 tory disease. Screening for and treatment of C tracho-       high quality healthcare and easy access to specialist
                                 matis can prevent the development of the disease after       treatment.
                                 abortion.21 To prevent infection after termination of        The preliminary results of this study were presented at the International
                                 pregnancy both prophylactic antibiotic therapy for all       Federation of Obstetrics and Gynecology (FIGO) meeting in Cape Town,
                                 and screen and treat strategies are in use. In a recent      South Africa October 2009, and in the International Federation of
                                 study in the United States, routine provision of doxi-       Professional Abortion and Contraception Associates (FIAPAC) meeting in
                                                                                              Seville Spain, October 2010 (MN). We thank Aini Bloigu (National institute
                                 mycin at the time of medical abortion was associated         for Health and Welfare, Oulu, Finland) for her professional help with the
                                 with a significant reduction in the rate of serious          statistics.
                                 infections.22                                                Contributors: All authors participated in the design of the study. MN
                                                                                              carried out the data analysis, wrote the first draft of the manuscript, and is
                                    We found no correlation between C trachomatis diag-
                                                                                              a guarantor of the study. All authors contributed to the subsequent
                                 nosed at the time of abortion and subsequent infec-          writing of the paper and gave substantial input into the study. OH
                                 tions. In Finland, systematic screening for C                obtained funding for the study. MG is in charge of the Finnish
                                 trachomatis after termination of pregnancy is enforced       reproductive registries (including the abortion register).
                                                                                              Funding: This study was funded by Finnish Cultural Foundation (MN),
                                 by national guidelines.9 In 2004-6 the national inci-        Helsinki University Central Hospital Research Funds (OH, MN), and
                                 dence of C trachomatis among girls and young women           University Hospital of Oulu Research Funds (MN).
                                 aged 10-19 was 1.7% in Finland,14 whereas a higher           Competing interests: All authors have completed the Unified Competing
                                 rate of 5.7% was detected in the present adolescent          Interest form at www.icmje.org/coi_disclosure.pdf (available on request
                                                                                              from the corresponding author) and declare: OH has lectured at an
                                 cohort. The results of this study do not rule out the        educational event organised by Nordic Drugs and has been principal
                                 possible association with infections after abortions in      investigator in clinical studies sponsored by the Concept Foundation; no
                                 the cases of untreated C trachomatis infections, or with     financial relationships with any organisations that might have an interest
                                 delayed antibiotic treatment. The present study sug-         in the submitted work in the previous three years, no other relationships
                                                                                              or activities that could appear to have influenced the submitted work.
                                 gests that by timely screening it is possible to treat the   Ethical approval: This study was approved by the ethics committee of the
                                 infection before the clinical manifestation.                 Northern Ostrobothnia Hospital District in October 2005 (No 46/2005).
                                    In the present study psychiatric morbidity was sig-       The Ministry of Social Affairs and Health, and Statistics Finland gave
                                                                                              permission for the use of confidential personal level data from the
                                 nificantly more common among adolescents than
                                                                                              registries. The data protection ombudsman was notified about the data
                                 among adults, although the number of cases was               linkage before the analyses, as required by national data protection
                                 small. Register based studies are not ideal for studying     legislation.
                                 psychiatric disorders, as only some women seek pro-          Data sharing: No additional data available.
                                 fessional help for mental disorders and only some
                                 women with mental disorders are treated in specialised       1    Jones RK, Finer LB, Singh S. Characteristics of US abortion patients,
                                                                                                   2008. Guttmacher Institute, 2010.
                                 healthcare. In a recent register based Danish study, the     2    Sihvo S, Bajos N, Ducot B, Kaminski M. Women’s life cycle and
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                                                                                                   Community Health 2003;57:601-5.
                                 previously detected disorders was not increased after
                                                                                              3     Department of Health. Abortion statistics, England and Wales: 2009.
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                                                                                              4    Socialstyrelsen. Statistics. 2010. www.socialstyrelsen.se/statistics.
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                                 at increased risk for depression or lower self esteem             www.stakes.fi/EN/tilastot/statisticsbytopic/reproduction/
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                                 pregnancy among adolescents remains unresolved.                   et al. Frequency and risk factors for repeat abortions after surgical

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                               16   Gissler M, Ulander VM, Hemminki E, Rasimus A. Declining induced               of medication abortion. Contraception 2007;75:224-9.
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                  Exhibit 3
  Maarit J. Mentula et al., Immediate adverse
events after second trimester medical termination
  of pregnancy: results of a nationwide registry
     study, 26 Hum. Reprod. 927, 931 (2011)




                                                                     App. 0024
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Human Reproduction, Vol.26, No.4 pp. 927–932, 2011
Advanced Access publication on February 11, 2011 doi:10.1093/humrep/der016


                             ORIGINAL ARTICLE Reproductive epidemiology


                             Immediate adverse events after second
                             trimester medical termination of
                             pregnancy: results of a nationwide




                                                                                                                                                                       Downloaded from https://academic.oup.com/humrep/article/26/4/927/627865 by Missouri State Library user on 10 October 2023
                             registry study
                             Maarit J. Mentula 1, Maarit Niinimäki 2, Satu Suhonen 3,
                             Elina Hemminki 4, Mika Gissler 4,5, and Oskari Heikinheimo 1,*
                             1
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                             Submitted on August 25, 2010; resubmitted on January 3, 2011; accepted on January 11, 2011


  background: Increasing gestational age is associated with an increased risk of complications in studies assessing surgical termination of
  pregnancy (TOP). Medical TOP is widely used during the second trimester and little is known about the frequency of complications. This
  epidemiological study was undertaken to assess the frequency of adverse events following the second trimester medical TOP and to compare
  it with that after ﬁrst trimester medical TOP.
  methods: This register-based cohort study covered 18 248 women who underwent medical TOP in Finland between 1 January 2003 and
  31 December 2006. The women were identiﬁed from the Abortion Registry. Adverse events related to medical TOP within 6 weeks were
  obtained from the Hospital Discharge Registry.
  results: When compared with ﬁrst trimester medical TOP, second trimester medical TOP increased the risk of surgical evacuation [Adj.
  odds ratio (OR) 7.8; 95% conﬁdence interval (CI) 6.8–8.9], especially immediately after fetal expulsion (Adj. OR 15.2; 95% CI 12.8– 18.0).
  The risk of infection was also elevated (Adj. OR 2.1; 95% CI 1.5 –2.9). Within the second trimester, increased length of gestation did not
  inﬂuence the risk of surgical evacuation or infection after medical TOP.
  conclusions: Medical TOP during the second trimester is generally safe. Surgical evacuation of the uterus is avoided in about two-
  thirds of cases, though it is much more common than after ﬁrst trimester medical TOP. The risks of surgical evacuation and infection do not
  increase with gestational weeks in the second trimester TOP.

   Key words: complication / adverse event / second trimester / termination of pregnancy / medical



                                                                                   However, these data are mostly derived from surgical abortion
Introduction                                                                       (Guttmacher Institute, 2009). In large studies medical TOP using the
With an estimated 29 induced abortions per 1000 women aged 15–44                   combination of mifepristone and misoprostol seems to be more effec-
years globally per annum (Sedgh et al., 2007), termination of an                   tive in earlier gestation (Ashok et al., 2002, 2004). Up to 9 weeks of
unwanted pregnancy is one of the most common gynaecological pro-                   gestation the overall rate of complete abortion can be up to 98% with
cedures. In developed countries, legal termination of pregnancy                    only 2% needing a surgical intervention (Ashok et al., 2002). At 13–21
(TOP) is safe (Sedgh et al., 2007), the overall death rate being 10 per            weeks of gestation the rate of successful abortion has been reported
100 000 procedures (Guttmacher Institute, 2009).                                   to be as high as 97%, with only 8% needing a surgical intervention
  While the overall risks are low, increasing gestational age is, never-           (Ashok et al., 2004).
theless, associated with an increased risk of complications. For                      The method of second trimester TOP is still controversial,
example, from 1988 to 1997 in USA the risk of death increased by                   especially regarding adverse events and complications. Yet studies
38% for each additional week of gestation (Bartlett et al., 2004).                 comparing surgical and medical second trimester TOP are rare and

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                                                                                                                                   EX. 3 pg. 001
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randomized comparison has proven difﬁcult to carry out (Grimes,                well as from national guidelines on TOP (Finnish Medical Society
2008; Lohr et al., 2008). In Northern Europe second trimester TOP              Duodecim, 2007). Data on background characteristics (age, previous
is largely performed medically, i.e. using a combination of mifepristone       pregnancies, socioeconomic and marital status, duration of gestation,
and misoprostol (Lohr et al., 2008). Therefore there is a need for an          year, indication for TOP, place of residence) were identiﬁed from the
                                                                               Abortion Registry (THL, 2010a). Women undergoing TOP for fetal indi-
epidemiological study evaluating the effects following the second tri-
                                                                               cations, i.e. suspected or conﬁrmed fetal anomalies or abnormalities (12
mester medical TOP.
                                                                               women, i.e. 0.07% during the ﬁrst trimester and 844 women, i.e. 42%
    The purpose of the present study was to assess the rate of adverse
                                                                               during the second trimester) were excluded. The ﬁnal diagnosis of the
events and complications following the second trimester medical TOP            fetal indication was not available and as the effect of fetal abnormalities
and to compare it with those following the ﬁrst trimester medical              on the adverse events or complications could not be assessed these preg-
TOP. We focused in particular on haemorrhage, infection and surgical




                                                                                                                                                                 Downloaded from https://academic.oup.com/humrep/article/26/4/927/627865 by Missouri State Library user on 10 October 2023
                                                                               nancies were excluded from the study analysis.
evacuation in cases of incomplete abortion.                                       TOP is allowed in Finland up to 20 weeks of gestation (140 days of ame-
                                                                               norrhea) or up to 24 weeks of gestation (168 days of amenorrhea) in cases
                                                                               of a conﬁrmed medical condition of the fetus (FINLEX, 1970). Approval
                                                                               with a legal indication for TOP is needed, though the legislation is inter-
Materials and Methods                                                          preted liberally. The indications can be grouped as medical (women’s or
We performed a register-based cohort study which included women who            fetal health), ethical (e.g. rape) and social reasons. Social reasons include
underwent medical TOP in Finland between 1 January 2003 and 31                 pregnancy and childbirth being an unbearable burden to a woman, age
December 2006. We linked three national registries: the study cohort           under 17 or over 40 years, and 4 or more deliveries. The approval for
was identiﬁed from the Abortion Registry (THL, 2010a) and data on              TOP has to be applied for from The National Supervisory Authority for
adverse events were obtained from the Hospital Discharge Registry              Welfare and Health (Valvira, 2010) for all terminations because of conge-
(THL, 2010b) (ofﬁcial name: Care Registry for Health Care Institutions)        nital anomalies or if gestational weeks are over 12.
and the Cause-of-Death Registry of Statistics Finland (Statistic Finland,         The follow-up time after TOP was 6 weeks (42 days). From the regis-
2010).                                                                         tries described above, we retrieved information on the diagnoses, based
   The ﬂow chart (Fig. 1) shows the formation of the cohorts. When a           on ICD-10, the International Statistical Classiﬁcation of Disease (2010)
woman had more than one induced abortion during the study period,              and operation codes based on the Nordic Classiﬁcation of Surgical Pro-
only the ﬁrst TOP was included. Altogether, 695 (3.5%) women who               cedures (2010) concerning all hospital-inpatient episodes (all hospitals)
underwent medical TOP were excluded from the study. The exclusion cri-         and outpatient visits (all public hospitals) within the follow-up period. Diag-
teria were:                                                                    noses and codes were evaluated to select those considered to be of clini-
                                                                               cal importance and related to TOP.
  (i) Any other concomitant surgical procedure (laparoscopic sterilization,       Complications were divided into following outcomes:
      n ¼ 20) performed at the same time.
 (ii) Data could not be linked to hospital registry (n ¼ 668), i.e. TOP per-     (i) Haemorrhage (any reported haemorrhages).
      formed at a private clinic as outpatient care.                            (ii) Infection (pelvic inﬂammatory disease, endometritis, cervicitis,
(iii) Other reasons (n ¼ 7): one woman with a kidney transplant and                  wound infections, pyrexia of unknown origin, urinary tract infections
      immunosuppressive medication, ﬁve women with twin pregnancies                  and septicemia).
      and one woman with previously diagnosed uterus bicornis.                 (iii) Incomplete abortion (surgical evacuations or any reported incom-
   Data concerning the method of induced abortion was derived from                   plete abortion). Surgical evacuation was divided into three outcomes:
linkage of the Abortion Registry (THL, 2010a) and the Hospital Discharge             total (all patients undergoing evacuation), evacuation at the time of
Registry (THL, 2010b). During 2003 – 2006 medical TOP was deﬁned in                  TOP (i.e. following fetal expulsion and during the ﬁrst stay at the hos-
the Abortion Registry as: use of mifepristone alone or in combination                pital) and evacuation during follow-up (i.e. after the ﬁrst hospital
with misoprostol or other prostaglandins, or prostaglandins alone.                   stay).
Details of the medical methods used were not available. However, mife-
                                                                               Some rare complications were considered as severe complications.
pristone became available in Finland in 2000. Finnish national guidelines
                                                                               They were:
on TOP were published 25 September 2001 (Finnish Medical Society
Duodecim, 2007). This guideline recommends a medical abortion                    (i) Injuries or other reasons for surgical procedures (all injuries, cervical
regimen of 200 mg mifepristone orally followed by vaginal administration             laceration, uterine perforation, all surgical interventions during the
of 0.4 – 0.8 mg misoprostol. For second trimester TOP, the procedure is              time of follow-up).
performed in a hospital setting and misoprostol doses (0.4 mg) are              (ii) Thromboembolic disease (pulmonary embolism, deep vein
repeated every 3 – 4 h up to ﬁve times per day until abortion. Routine               thrombosis).
sonographic evaluation is not recommended following abortion. The              (iii) Death (death from any cause, pregnancy-related death according to
decision to perform surgical evacuation is made on clinical grounds, i.e.            the World Health Organization deﬁnition).
in cases of heavy bleeding or retained placenta. Taking this into consider-
ation, the years 2003 – 2006 were selected for analysis as to the best of      This classiﬁcation was based on that reported in the Joint Study of the
our knowledge during this time period the medical TOP at all durations         Royal College of General Practitioners and the Royal College of Obstetri-
of gestation were performed using the combination of mifepristone and          cians and Gynaecologists (Davies et al., 2004) and further modiﬁed for our
misoprostol throughout Finland.                                                study.
   Participants were divided into two groups according to the weeks of            This study was approved by the Ministry of Social Affairs and Health as
gestation at the time of TOP. First trimester was deﬁned as gestational        required for registry-based studies in Finland. Statistics Finland also gave
weeks up to 12 (84 days of amenorrhea) and second trimester as gesta-          their permission to use conﬁdential personal-level data from the death reg-
tional weeks 13 – 24 (85– 168 days of amenorrhea). This division was           istry. The Data Protection Ombudsman was notiﬁed regarding data linkage
derived from Finnish legislation on induced abortion (FINLEX, 1970) as         before the analyses, as required by the national data-protection legislation.


                                                                                                                               EX. 3 pg. 002
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Adverse events following second trimester medical TOP                                                                                            929




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  Figure 1 Flow chart detailing the study cohorts. Gw, gestational weeks.



All personal-level data that could be used to identify individuals was      years, unknown or due to woman’s health issues and less often social
removed before the actual analysis was started.                             (i.e. continuation of pregnancy, and subsequent childbirth forming an
                                                                            unbearable burden to the woman) than for the ﬁrst trimester
Statistical analysis                                                        medical TOP.
Statistical analyses were performed using Predictive Analysis Software          The main adverse events and complications (haemorrhage, infec-
(PASW) 18.0 for Mac (SPSS Inc., Chicago, IL, USA). Differences in con-      tion, incomplete abortion, i.e. of the requirement for surgical evacua-
tinuous variables were analysed with Mann– Whitney U-test for skewed        tion) are shown in Table II. Medical second trimester TOP increased
data and data were presented as median and interquartile range (IQR).       the risk of surgical evacuation, especially immediately after expulsion of
The x 2 test or Fisher’s exact test were used as appropriate for indepen-   the fetus when compared with the ﬁrst trimester medical TOP.
dent nominal data. The level of statistical signiﬁcance was P , 0.05. In    Second trimester medical TOP was also associated with a higher
the analysis of surgical evacuation percentages during the observed time,
                                                                            risk of infection. The risk of haemorrhage was lower during and
95% conﬁdence interval (CI) for percentage was presented. Binary logistic
                                                                            after second trimester TOP, except in cases when surgical evacuation
regression models were used to adjust for differences in the background
characteristics in comparison of the ﬁrst and second trimester TOP.         of residual tissue was needed.
The background characteristics that differed statistically signiﬁcantly         Medical TOP was followed by 23 (0.13%) surgical procedures other
between the groups were entered in the analysis. Estimated risks are pre-   than evacuation, i.e. severe complications. Of these, 20 (0.12%)
sented as odds ratios (OR) with 95% CIs.                                    occurred after ﬁrst trimester medical TOP and 3 (0.26%) after
                                                                            second trimester medical TOP (P , 0.2). First trimester medical
                                                                            TOP was followed by a laparoscopic saturation of the uterus in
Results                                                                     three cases and 17 other repairing operations and second trimester
The observed cohort consisted of 18 248 women who underwent                 medical TOP was followed by one abdominal hysterectomy, one sat-
medical TOP between 2003 and 2006, 94% during the ﬁrst trimester            uration of the cervix and one other repair operation. There were no
and 6% during the second trimester. During that period 57 and 95% of        thromboembolic diseases during follow-up. There were no deaths as a
all terminations of pregnancy were performed medically in the ﬁrst and      result of TOP during the study period.
second trimester, respectively.                                                 The effect of increasing gestation on the surgical evacuation, infec-
    The duration of gestation [median (IQR)] was 7 weeks (7–8) during       tion and haemorrhage was evaluated. The overall incidence of surgical
the ﬁrst trimester and 15 weeks (14 –17) during the second trimester.       evacuation following medical TOP was 9.9% (95% CI 9.5– 10.3). The
Table I shows the demographics of the study groups. Compared with           percentages of surgical evacuation compared with increasing gestation
the ﬁrst trimester cohort, women undergoing medical TOP during the          are shown in Fig. 2. The need for surgical evacuation increased as
second trimester were younger, more often single or cohabiting and          gestational weeks increased beyond 11. The overall incidence of infec-
less often married. They were also more often of lower socioeco-            tion following medical TOP was 2.1% (95% CI 0.8–3.9). The percen-
nomic status and had had fewer previous deliveries. In the second tri-      tages of infection compared with increasing gestation are shown in
mester, the indication for medical TOP was more often age under 17          Fig. 3. The risk of infection increased with increasing gestation. The


                                                                                                                        EX. 3 pg. 003
                                                                                                                                App. 0027
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   Table I Demographics of the women undergoing medical TOP in 2003 –2006.

                                                           First trimester (n 5 17087)                                Second trimester (n 5 1161)                                  P-value
  .............................................................................................................................................................................................
   Age (years)                                                  25 (20– 32)                                             22 (18– 30)                                                ,0.001
   Marital status
      Married                                                3235 (18.9)                                              119 (10.2)                                                   ,0.001
      Cohabiting                                             2843 (16.6)                                              222 (19.1)                                                      0.03
      Single                                               11009 (64.4)                                               820 (70.6)                                                   ,0.001




                                                                                                                                                                                                  Downloaded from https://academic.oup.com/humrep/article/26/4/927/627865 by Missouri State Library user on 10 October 2023
   Residence
      Urban                                                12379 (72.4)                                               853 (73.5)                                                      0.5
      Densely populated                                      2494 (14.6)                                              155 (13.4)                                                      0.2
      Rural                                                  2214 (13.0)                                              153 (13.2)                                                      0.8
   Socioeconomic status
      Upper white-collar workers                             1010 (5.9)                                                 27 (2.3)                                                   ,0.001
      Lower white-collar workers                             3299 (19.3)                                              159 (13.7)                                                   ,0.001
      Blue-collar workers                                    2214 (13.0)                                              148 (12.7)                                                      0.8
      Students                                               5895 (34.5)                                              400 (34.5)                                                      0.97
      Others                                                 1086 (6.4)                                                 80 (6.9)                                                      0.5
      Unknown                                                3583 (21.0)                                              347 (29.9)                                                   ,0.001
      Previous deliveries                                    7478 (43.8)                                              416 (35.8)                                                   ,0.001
      Previous miscarriage                                   2164 (12.7)                                              152 (13.1)                                                      0.7
      Previous TOP                                           2664 (15.6)                                              184 (15.8)                                                      0.8
   Current TOP
      Year of TOP
         2003                                                3691 (21.6)                                              265 (22.8)                                                      0.3
         2004                                                4270 (25.0)                                              314 (27.0)                                                      0.1
         2005                                                4553 (26.6.)                                             295 (25.4)                                                      0.4
         2006                                                4573 (26.8)                                              287 (24.7)                                                      0.1
      Indication for TOP
         Woman’s health                                         46 (0.3)                                                13 (1.1)                                                   ,0.001
         Social                                            15317 (89.6)                                               914 (78.7)                                                   ,0.001
         Ethical                                                 6 (,0.1)                                                0                                                            0.7
         Age , 17                                            1035 (6.1)                                               160 (13.8)                                                   ,0.001
         Age ≥ 40                                             417 (2.4)                                                 27 (2.3)                                                      0.8
         ≥4 deliveries                                        219 (1.3)                                                 18 (1.6)                                                      0.4
         Unknown                                                47 (0.3)                                                29 (2.5)                                                   ,0.001

   Data shown as numbers (percentages) or median (IQR, interquartile range).



overall incidence of haemorrhage following medical TOP was 16.9%                                       This nationwide retrospective cohort study gives information about
(95% CI 15.6– 18.2). The risk of haemorrhage varied according to                                    the contemporary use of medical abortion in non-selected material. It
gestation.                                                                                          was derived from a registry, the coverage of which is almost 100%
                                                                                                    (Gissler et al., 1996). In addition, the hospital registry data for in-patient
                                                                                                    care, the provision of which is mandatory, was available from all hospitals
Discussion                                                                                          and out-patient care data were available from all public hospitals, adding
We found that in comparison with the ﬁrst trimester medical TOP,                                    to the information value of the study. There were, however, differences
second trimester medical TOP was associated with an increased                                       in coding treatments (Nordic Centre for Classiﬁcations in Health Care,
risk of surgical evacuation and infection. However, serious compli-                                 2010) and diagnoses (International Statistical Classiﬁcation of Diseases,
cations that need surgical repair after medical TOP and medical                                     2010) among Finnish hospitals. Thus, the severity of reported adverse
second trimester TOP were rare 0.1 and 0.3%, i.e. 1 and 3 per                                       events may vary considerably. Moreover, while the registry differen-
1000 procedures, respectively. The present results also conﬁrm                                      tiates between medical and surgical TOP, the database does not
that in Finland second trimester TOP (i.e. during gestational Weeks                                 provide precise information on the medication used to perform TOP.
13– 24) is mostly (95%) performed medically.                                                        We therefore restricted our analysis to years 2003– 2006, during


                                                                                                                                                             EX. 3 pg. 004
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Adverse events following second trimester medical TOP                                                                                                                                        931


   Table II Adverse events and complications among women undergoing TOP between 2003 and 2006.

                                             First trimester                     Second trimester                   OR (95% CI)             P-value        Adj. ORa                P-value
                                             (n 5 17 087)                        (n 5 1161)
  .............................................................................................................................................................................................
   Adverse event
   1. Surgical evacuation (total)            1357 (7.9)                          447 (38.5)                           7.3 (6.4–8.3)          ,0.001          7.8 (6.8–8.9)         ,0.001
      At the time of TOP                       396 (2.3)                         306 (26.4)                         15.1 (12.8–17.8)         ,0.001        15.2 (12.8–18.0)        ,0.001
      During follow-up                         961 (5.6)                         141 (12.1)                           2.3 (1.9–2.8)          ,0.001          2.5 (2.1–3.1)         ,0.001




                                                                                                                                                                                                   Downloaded from https://academic.oup.com/humrep/article/26/4/927/627865 by Missouri State Library user on 10 October 2023
   2. Haemorrhage (total)                    2937 (17.2)                         167 (14.4)                           0.8 (0.7–0.96)           0.01          0.8 (0.7–0.98            0.03
     Haemorrhage with surgical                 541 (3.2)                          96 (8.3)                            2.8 (2.2–3.5)          ,0.001          3.1 (2.4–3.9)         ,0.001
   evacuation
   3. Infection (total)                        330 (1.9)                          46 (4.0)                            2.1 (1.5–2.9)          ,0.001          2.1 (1.5–2.9)         ,0.001
     Infection with surgical                   138 (0.8)                          28 (2.4)                            3.0 (2.0–4.6)          ,0.001          3.3 (2.2–5.0)         ,0.001
   evacuation

   Data are shown as n (%).
   a
    First trimester cohort was used as a reference adjusted for age, marital status, socio-economic status, previous deliveries and indication for TOP.




  Figure 2 Percentage of surgical evacuation in relation to duration
                                                                                                       Figure 3 Percentage of infection in relation to duration of gestation
  of gestation following medical TOP in 2003 – 2006. Bars represent
                                                                                                       following medical TOP in 2003 – 2006. Bars represent 95% CI for
  95% CI for percentage.
                                                                                                       percentage.



which medical TOP using mifepristone and misoprostol was widespread                                 evacuation (8%: Ashok et al., 2004) following medical second trime-
throughout the country (THL, 2010a).                                                                ster TOP, reported from centres with extensive experience with
   The rate of surgical evacuation associated with second trimester                                 medical methods, can also be reached at a national level.
medical TOP was high (39%) in the present study. A potential expla-                                    Reassuringly, the incidence of infection leading to a hospital visit
nation is that these data are derived from hospitals treating ,200                                  (4%) following medical second trimester TOP in this nationwide
second trimester terminations of pregnancy per year with all                                        study was similar to that 3% reported earlier (Ashok et al., 2004;
doctors performing the treatments. This may lead to unnecessary sur-                                Lohr et al., 2008). Moreover, the risk of infection was largely associ-
gical treatments. Further, surgical evacuation of the uterus quickly after                          ated with evacuation of residual tissue.
expulsion of the fetus was more or less routine until year 2000. For                                   It is interesting to note that the incidence of reported haemorrhage
example, we published surgical evacuation percentages of 45–64%                                     was lower during the second trimester TOP when compared with that
associated with second trimester medical TOP performed with mife-                                   of the ﬁrst trimester. However, if haemorrhage occurred, it resulted in
pristone and misoprostol in 2001 (Heikinheimo et al., 2004). Never-                                 surgical intervention in more than half of the cases during the second
theless, it will be interesting to see if the low rates in surgical                                 trimester and in less than one-ﬁfth of the cases during the ﬁrst trimester.


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Also the need of surgical evacuation of residual tissue seemed to occur   Bartlett LA, Berg CJ, Shulman HB, Zane SB, Green CA, Whitehead S,
earlier following second than ﬁrst trimester TOP. It may be speculated       Atrash HK. Risk factors for legal induced abortion-related mortality in
that the lower rate of haemorrhage seen after the second trimester           the United States. Obstet gynecol 2004;103:729 – 737.
TOP is due to the fact that these women are managed at the hospital       Davies M, Anderson R, Belﬁeld T, Dhillon C. The care of women
                                                                             requesting induced abortion. 2004. Available at: http://www.rcog.org.
and also undergo surgical evacuation more often. Thus, the lower inci-
                                                                             uk/womens-health/clinical-guidance/care-women-requesting-induced-
dence of reported haemorrhage following the second trimester TOP
                                                                             abortion.
may be more due to different management than to a biological differ-
                                                                          FINLEX. 1970. FINLEXw - Ajantasainen lainsäädäntö: 24.3.1970/239.
ence(s) between the ﬁrst and second trimester TOP.                           Available at: http://www.ﬁnlex.ﬁ/ﬁ/laki/ajantasa/1970/19700239 (14
   The optimal method for second trimester TOP continues to be               December 2010, date last accessed).
debated, as medical second trimester TOP with mifepristone and mis-




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                                                                          Finnish Medical Society Duodecim. 2007. www.kaypahoito.ﬁ -
oprostol is associated with higher overall rate of adverse events and        Suositukset.     Available     at:    http://www.kaypahoito.ﬁ/web/kh/
complications when compared with dilatation and evacuation                   suositukset/naytaartikkeli/tunnus/hoi27050. (14 December 2010,
(Grimes, 2008; Lohr et al., 2008). However, TOP performed with               date last accessed).
mifepristone and misoprostol during gestational Weeks 13 –24 has          Gissler M, Ulander VM, Hemminki E, Rasimus A. Declining induced
been shown to be effective and acceptable (Ashok et al., 2004;               abortion rate in Finland: data quality of the Finnish abortion register.
                                                                             Int J Epidemiol 1996;25:376 – 380.
Lohr et al., 2008). The safety of surgical TOP at more than 15
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weeks of gestation depends on the skills of the practitioners
                                                                             evidence and ethics. Reprod Health Matters 2008;16:183– 188.
(Grimes, 2008; Lohr et al., 2008). As the medical method for TOP
                                                                          Guttmacher Institute. 2009. Facts on Induced Abortion Worldwide.
is less dependent on the skills of doctors, it might be the preferred        Guttmacher Institute, 1 – 2. Available at: http://www.guttmacher.org/
method in some health care settings.                                         pubs/fb_IAW.html. (14 December 2010, date last accessed).
   We conclude that in comparison with medical TOP performed              Heikinheimo O, Suhonen S, Haukkamaa M. One- and 2-day
during the ﬁrst trimester, medical second trimester TOP was associ-          mifepristone-misoprostol intervals are both effective in medical
ated with increased frequency of adverse events, most of which are           termination of second-trimester pregnancy. Reprod Biomed Online
minor. However, the risks of surgical evacuation or infection did not        2004;8:236 – 239.
increase with increasing gestation duration in the second trimester.      International Statistical Classiﬁcation of Diseases. 2010. ICD-10: Available
These data encourage further development and use of medical                  at: http://apps.who.int/classiﬁcations/apps/icd/icd10online/. (14
methods for second trimester TOP.                                            December 2010, date last accessed).
                                                                          Lohr PA, Hayes JL, Gemzell-Danielsson K. Surgical versus medical
                                                                             methods for second trimester induced abortion. Cochrane database of
                                                                             systematic reviews (Online) 2008;CD006714, doi:10.1002/14651858.
Authors’ roles                                                               CD006714.pub2.
All authors have equally participated in the planning of the study,       Nordic Centre for Classiﬁcations in Health Care. 2010. Available at: http://
analysis of the data and preparing of the manuscript.                        www.helsedirektoratet.no/nordclass_english. (14 December 2010, date
                                                                             last accessed).
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Funding                                                                      abortion: estimated rates and trends worldwide. Lancet 2007;
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This study was supported by Helsinki University Central Hospital          Statistic Finland. 2010. Tilastokeskus - Statistikcentralen - Statistics Finland.
Research funds.                                                              Available at: http://www.stat.ﬁ/index_en.html (14 December 2010,
                                                                             date last accessed).
                                                                          THL. 2010a. Induced abortions - Reproduction - Statistics by themes -
References                                                                   Stakes. Available at: http://www.stakes.ﬁ/EN/tilastot/statisticsbytopic
                                                                             /reproduction/abortions.htm (14 December 2010, date last accessed).
Ashok PW, Templeton A, Wagaarachchi PT, Flett GM. Factors affecting
                                                                          THL. 2010b. institutionalhealthcare. Available at: http://www.stakes.ﬁ/
  the outcome of early medical abortion: a review of 4132 consecutive
                                                                             EN/tilastot/statisticsbytopic/healthservices/institutionalhealthcare.htm
  cases. BJOG 2002;109:1281 – 1289.
                                                                             (14 December 2010, date last accessed).
Ashok PW, Templeton A, Wagaarachchi PT, Flett GM. Midtrimester
                                                                          Valvira. 2010. Valvira.ﬁ. Available at: http://www.valvira.ﬁ/en/ (14
  medical termination of pregnancy: a review of 1002 consecutive
                                                                             December 2010, date last accessed).
  cases. Contraception 2004;69:51 – 58.




                                                                                                                           EX. 3 pg. 006
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                  Exhibit 4
  James Studnicki et al., A Longitudinal Cohort
 Study of Emergency Room Utilization Following
 Mifepristone Chemical and Surgical Abortions,
   1999-2015, Health Serv. Rsch. & Managerial
           Epidemiology, Nov. 9, 2021




                                                                     App. 0031
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Original Research
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                                                                                                                                   DOI: 10.1177/23333928211053965
Chemical and Surgical Abortions, 1999–2015                                                                                         journals.sagepub.com/home/hme




James Studnicki1 , Donna J. Harrison2, Tessa Longbons1                                                       ,
Ingrid Skop1, David C. Reardon3, John W. Fisher1,
Maka Tsulukidze4, and Christopher Craver1


Abstract
Introduction: Existing research on postabortion emergency room visits is sparse and limited by methods which underestimate
the incidence of adverse events following abortion. Postabortion emergency room (ER) use since Food and Drug Administration
approval of chemical abortion in 2000 can identify trends in the relative morbidity burden of chemical versus surgical procedures.
Objective: To complete the ﬁrst longitudinal cohort study of postabortion emergency room use following chemical and surgical
abortions.
Methods: A population-based longitudinal cohort study of 423 000 conﬁrmed induced abortions and 121,283 subsequent ER
visits occurring within 30 days of the procedure, in the years 1999-2015, to Medicaid-eligible women over 13 years of age with at
least one pregnancy outcome, in the 17 states which provided public funding for abortion.
Results: ER visits are at greater risk to occur following a chemical rather than a surgical abortion: all ER visits (OR 1.22, CL 1.19-
1.24); miscoded spontaneous (OR 1.88, CL 1.81-1.96); and abortion-related (OR 1.53, CL 1.49-1.58). ER visit rates per 1000
abortions grew faster for chemical abortions, and by 2015, chemical versus surgical rates were 354.8 versus 357.9 for all ER visits;
31.5 versus 8.6 for miscoded spontaneous abortion visits; and 51.7 versus 22.0 for abortion-related visits. Abortion-related visits
as a percent of total visits are twice as high for chemical abortions, reaching 14.6% by 2015. Miscoded spontaneous abortion visits
as a percent of total visits are nearly 4 times as high for chemical abortions, reaching 8.9% of total visits and 60.9% of abortion-
related visits by 2015.
Conclusion: The incidence and per-abortion rate of ER visits following any induced abortion are growing, but chemical abortion
is consistently and progressively associated with more postabortion ER visit morbidity than surgical abortion. There is also a
distinct trend of a growing number of women miscoded as receiving treatment for spontaneous abortion in the ER following
a chemical abortion.

Keywords
induced abortion, mifepristone, medical abortion, emergency room, Medicaid


Introduction
Since its fast-track approval by the USA Food and Drug
Administration (FDA) in September 2000, induced abortion                           1
                                                                                     Charlotte Lozier Institute, Arlington, VA, USA
by the administration of mifepristone and misoprostol (ie,                         2
                                                                                     American Association of Pro-Life Obstetricians and Gynecologists, Eau
chemical abortion) has grown to over 50% of all induced abor-                        Claire, MI, USA
tions in the United States and may, in fact, be responsible for                    3
                                                                                     Elliot Institute, Springﬁeld, IL, USA
                                                                                   4
ending a long-term decline in the number of induced abortions                        Florida Gulf Coast University, Fort Myers, FL, USA
in the United States1                                                              Corresponding Author:
   Research on the safety of induced abortion, and particularly                    James Studnicki, Charlotte Lozier Institute, Arlington, VA, USA.
those that are chemically induced, continues to be handicapped                     Email: jstudnicki@lozierinstitute.org


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in the United States by the absence of a comprehensive national        utilized in existing research. Therefore, the objective of this
reporting system of pregnancy outcomes. The Centers for                research was to complete the ﬁrst population based longitudinal
Disease Control and Prevention (CDC) Abortion Surveillance             cohort study of the trajectory of postabortion emergency room
Reports are derived from a profoundly ﬂawed system in                  utilization following both chemical and surgical abortions in
which reporting by the states is voluntary, with many states           order to test the hypothesis that chemical abortion results in
reporting intermittently and some not at all. The reporting of         higher emergency room utilization. We selected a longitudinal
speciﬁc data elements is similarly piecemeal and, most disap-          cohort design because of its superiority to cross-sectional
pointing, no event-level data is actually available for any rigor-     approaches in suggesting causation. Uniquely, our methodology
ous analytical purposes. Adverse events which may be related           includes ﬁrst a conﬁrmation of the actual provision of either a
to an induced abortion such as a death, incomplete abortion,           chemical or surgical abortion and, only after conﬁrmation, iden-
severe bleeding, or infection are often underreported because          tiﬁes broadly all emergency room utilization before disaggregat-
there is no certain way to link the adverse event to the precipi-      ing abortion-related ER use. In the absence of a national abortion
tating abortion. Further, the FDA’s adverse event reporting            registry, this analysis is intended to provide the most comprehen-
requirements for mifepristone extend only to deaths.2 Large            sive view of postabortion-related morbidity in the years follow-
population-based record-linkage studies from nations with              ing the FDA approval of mifepristone abortion, as well as a
comprehensive reproductive history data linked to adverse              glimpse of what we might expect in the future.
events provide the best opportunity to overcome many of
these data limitations and ﬁnd a much higher overall incidence
of adverse events in the chemical compared with the surgical           Methods
cohort.3,4 By contrast, USA studies of chemical abortion               Data were obtained from the enrollee-level Medicaid Analytic
safety are frequently conducted on opportunity samples of              eXtract ﬁles licensed through the Centers for Medicare and
women who have recently undergone an induced abortion.                 Medicaid Services (CMS) Chronic Condition Data Warehouse’s
Already limited by the nonrandom nature of patient selection,          Medicaid data. The analytic dataset is comprised of enrollees
these studies are frequently subject to design limitations such        from the 17 states whose ofﬁcial policies applied state funds to
as the exclusion of an incomplete abortion as a complication,          most abortions not covered by federal Medicaid during the
or an unacceptably high percentage of women lost to                    period 1999 through 2015. Not all states funded abortion consis-
follow-up.5,6                                                          tently or to the same extent during the study period. Despite
    The emergency room (ER) visit is a particularly insightful event   their ofﬁcial policies, Arizona and Illinois funded relatively few
by which to assess and compare the relative safety of chemical and     abortions during this period, and Alaska experienced a short inter-
surgical abortions for 2 reasons. First, adverse events following a    ruption to its abortion coverage.10 Not all states had provided
mifepristone abortion are more likely to be experienced at home        claims data through 2015 due to differing reporting timeframes.
in the absence of a physician, increasing the likelihood of an ER      The latest year of data relative to each state was 2013 for
visit. Second, the ER visit can be for any number of complications     Arkansas, Illinois, Maryland, Montana, and New Mexico; 2014
and is, therefore, a broad proxy indicator for abortion-related mor-   for Arizona, Hawaii, Massachusetts, and Washington; and 2015
bidity. One major concern is that ER secondary data describes treat-   for California, Connecticut, Minnesota, New Jersey, New York,
ment for a condition (eg, hemorrhage) which may be attributed to a     Oregon, Vermont, and West Virginia.
prior event (eg, abortion), but, as we have seen, the prior event is      The study population was made up of enrollees over 13 years
often missed. For example, a study of abortion-related emergency       of age with at least one identiﬁable pregnancy outcome from
room visits in the United States, using the Nationwide Emergency       1999 through the latest year of data available for each state.
Department Sample, categorized whether visits were abortion            For each beneﬁciary, all unique pregnancy outcomes were iden-
related based only on information taken from the ER visit record.      tiﬁed using International Classiﬁcation of Diseases, Ninth
There was no independent conﬁrmation from a different source           Revision (ICD-9) codes. Additionally, Current Procedural
that an abortion had occurred. Therefore, a woman who was expe-        Terminology, fourth Edition (CPT4) and Healthcare Common
riencing excessive bleeding following a chemical abortion but did      Procedure Coding System (HCPCS) codes were used to
not reveal the abortion to the ER physician would not be identiﬁed     conﬁrm pregnancy outcomes.
as an abortion-related visit. Not surprisingly, the study found an        These codes were used to allocate all pregnancy outcomes
extraordinarily low percentage (0.01%) of abortion-related visits      into 4 categories: live birth (ICD-9V27.0, V27.2, and V27.5),
among all ER visits to women age 15 to 49.7 For all the reasons        natural fetal loss (ICD-9V27.1, V27.4, V27.7, 630, 631, 633,
related to data availability and quality, as well as methodological    634), induced abortion (ICD-9 635.xx, CPT4 59840, 59841,
inadequacies, evidence suggests that postabortion complications        59850, 59851, 59852, 59855, 59856, 59857, and HCPCS:
are substantially underreported.8,9                                    S0199, S2260, S2265, S2266, S2267, X7724, X7726, S0190,
    As we have described, research on adverse events following         S0191), and undetermined (ICD-9 636.xx, 637.xx, 638.xx).
induced abortion varies by procedure, protocols to detect compli-      In order to identify each unique pregnancy, multiple diagnostic
cation, length of follow-up and the sources and quality of data.       or treatment codes within 30 days of a pregnancy loss (natural,
The emergency room visit as a comprehensive marker for post-           induced, or undetermined) or within 180 days of a live birth
abortion complications has been infrequently and inadequately          were counted as a single pregnancy outcome using the ﬁrst

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date associated with that series of Medicaid claims. Twins and       Copyright (2019) SAS Institute Inc. All comparative analyses
higher order gestations that resulted in a combination of live       were completed using Microsoft Excel (version 16).
birth and fetal loss were excluded from the analysis.                  The study has been exempted from Institutional Review
   The analytic strategy was composed of 3 phases. First, we         Board (IRB) review pursuant to the USA Department of
identiﬁed every conﬁrmed surgical induced abortion (ICD/             Health and Human Services Policy for Protection of Human
CPT codes—CPT4 59840, 59841, 59850, 59851, 59852,                    Research Subjects at C.F.R. 46.101(b). See IRB ID: 7269,
59855, 59856, 59857) and every conﬁrmed chemical induced             www.sterlingirb.com.
abortion (HCPCS codes S0190, S0191) in each speciﬁc year
1999 to 2015 (index abortion). Codes S0190 and S0191 were
added by CMS on January 1, 2001, so chemical abortions               Findings
prior to that date could have been missed; however, because          From 1999 to 2015, there was a total of 423 000 conﬁrmed
mifepristone did not receive approval from the FDA until             induced abortion Medicaid procedures, 361 924 surgical and
September 28, 2000, the number of mifepristone abortions             61,706 chemical. Surgical abortions increased from 4479 in
not captured here is likely minimal. Additionally, as an explan-     1999 to a peak of 36 204 in 2012, declined in 2013 to 2014
atory variable, we determined whether there was a prior induced      to 28 101, and concluded 2015 at 29 558. Chemical abortions
abortion or live birth in the 12 months preceding the index abor-    had no Medicaid claims in the study population in 1999 to
tion procedure. Second, we identiﬁed every emergency room            2000 and only 15 in 2001. From 2002 when there were 352,
visit occurring within thirty days of the index abortion proce-      chemical abortions increased to 8768 in 2012, followed by a
dure (Place of Service code 23 [emergency room]), including          2013 to 2014 decline similar to that experienced by surgical
multiple visits for each patient. We further disaggregated ER        abortion. Following inclusion of California chemical abortions
visits into 3 categories: all-cause, abortion-related codes          in 2015, the chemical abortion number more than doubled to
(ICD-9, 630-639) and spontaneous abortion code (ICD-9,               15 279. As the result, mifepristone abortions grew from 4.4%
634). We mapped and adjusted the appropriate codes during            of total abortions in 2002 to 34.1% in 2015 (Table 1 and
the last two quarters of calendar year 2015 to reﬂect the transi-    Figure 1).
tion from ICD-9 to ICD-10. The following descriptive metrics            Similarly, emergency room visits within 30 days of an
were calculated: chemical abortions as a percent of total            induced abortion increased during the study observation
induced abortions; ER visits following chemical abortions as         period for both surgical and chemical abortions. Emergency
a percent of total ER visits following total induced abortions;      room visits following chemical abortions grew consistently as
coded abortion-related visits as a percent of total ER visits fol-   a percentage of all ER visits within 30 days of the procedure:
lowing an induced abortion; miscoded spontaneous abortion            3.5% (36 ÷ [36 + 977]) in 2002; 6.9% (452 ÷ [452 + 6060])
ER visits as a percent of total ER visits following an induced       in 2007; 22.0% (3220 ÷ [3220 + 11,401]) in 2012; and 33.9%
abortion; miscoded spontaneous abortion ER visits as a               (5421 ÷ [5421 + 10,578]) in 2015 (Table 1). The steeper
percent of abortion-related ER visits following an induced abor-     growth in total and abortion-related ER visits for mifepristone
tion; and abortion ER visit rates per 1000 speciﬁed induced          abortions are apparent in the comparison of Figure 2 (surgical)
abortions for all-cause, coded abortion-related, and miscoded        and Figure 3 (chemical). Total ER visits during the study period
spontaneous abortion visit categories. Comparisons of the            totaled 121,283, 99,928 surgical and 21,355 chemical.
1999 to 2015 longitudinal trajectory of these descriptive               There are clear differences for surgical and chemical abor-
metrics are displayed in a series of 9 ﬁgures.                       tions in terms of the reason for the ER visits following the pro-
   Third, we performed logistic regression models to identify        cedure. Abortion-related visits (ICD-9 630-639) remain stable
the association of selected predictor variables with the likeli-     at 4% to 5% of total ER visits for surgical abortions, reaching
hood of experiencing each of the 3 deﬁned categories of ER           a high of 6.2% in 2015. This percentage is 8% to 9%
visits following an induced abortion. The outcome variable in        between 2002 and 2013 for chemical abortions, with increases
each equation was the dichotomous indication (yes/no) of the         in 2014 to 2015 peaking at 14.6%. Abortion-related ER visits
speciﬁc type of ER visit. The predictor variables were as            represent a higher percentage of total ER visits for chemical
follows: surgical abortion; chemical abortion; age at induced        abortions (Figure 4).
abortion; race; months of Medicaid eligibility at induced abor-         ER visits miscoded as a spontaneous abortion following a
tion; prior (within a calendar year of induced abortion) birth;      chemical abortion range between 2% and 3% of total visits
and prior (within a calendar year of induced abortion)               from 2003 to 2012, increasing abruptly between 2013 and
induced abortion. The odds ratios were calculated for the            2015 reaching 8.9%. ER visits miscoded as a spontaneous abor-
entire 17-year study period and, with the disproportional            tion following a conﬁrmed surgical abortion averaged less than
growth of chemical abortions over time, underestimate the            1% of all ER visits until 2008, 1.2%-1.3% from 2009 to 2014,
current advantage of chemical abortion (vs surgical) in eliciting    and peaked at 2.4% in 2015. Therefore, from 2005 to 2015,
emergency room visits in the later years of the study observa-       visits miscoded for spontaneous abortion treatment in the ER
tion period.                                                         as a percent of all visits, went from 2 to 4 times as likely follow-
   Summary analytic tables were created using (SAS/STAT)             ing a chemical abortion as compared to a surgical abortion
software, version (10) of the SAS system for (Unix).                 (Figure 5).

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Table 1. Chemical and Surgical Induced Abortions and ER Visits Within 30 Days, 1999-2015.

            Chemical                                                          Surgical

Year        Abortions        All ER Visits      630 to 639         634        Abortions           All ER Visits     630 to 639     634

1999            0                                                               4479                  351               15          5
2000            0                                                               7248                  598               31         11
2001           15                  1                                            9986                  732               20          7
2002          352                  36                3              0           7729                  977               41         10
2003          803                 108                6              2          13 012                1792               70         12
2004          1319                198               17              1          18 463                2871               99         14
2005          1360                316               29              9          19 226                4178              170         42
2006          1192                351               23              6          20 558                5042              218         51
2007          1521                452               37              13         21 244                6060              263         53
2008          1988                799               50              14         22 125                6954              313         66
2009          3032               1121               100             27         25 764                7879              358         91
2010          4848               1702               147             48         30 019                8820              386         114
2011          6834               2787               233             99         32 394               10 044             465         104
2012          8768               3220               277             88         36 204               11 401             536         150
2013          6856               2401               219             94         35 814               11 681             558         142
2014          6909               2442               270            117         28 101                9970              466         120
2015         15 279              5421               790            481         29 558               10 578             651         254


    As a percent of abortion-related visits (ICD-9, 630-639),        ER miscoded as for spontaneous abortion is consistently and
visits miscoded for spontaneous abortion treatments (ICD-9,          progressively more likely following a chemical abortion than
634) following a conﬁrmed mifepristone abortion averaged             following a surgical abortion.
approximately 30% between 2003 and 2012 and increased                   All-cause ER visit rates within 30 days of an abortion have
between 2013 and 2015, reaching 60.9%. ER visits miscoded            increased consistently throughout the study period for all types
as treatment for spontaneous abortion as a percent of abortion-      of induced abortion. There were 78.4 all-cause visits per 1000
related visits following a conﬁrmed surgical abortion are a con-     surgical abortions in 1999 and 357.9 in 2015, an increase of
sistently lower percentage than for those following a chemical       356% in the rate. Using 2002 as the initial year with sufﬁcient
abortion, peaking at 39% in 2015 (Figure 6). Treatment in the        abortion and ER visit counts to calculate a rate, the chemical




Figure 1. Medicaid abortions (surgical and chemical), 1999–2015, and chemical abortion % total.


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Figure 2. Emergency room (ER) use following surgical abortion, 1999-2015.


abortion rate increased from 102.3 in 2002 to 354.8, a rate             A summary of the logistic regression analyses is in Table 2.
increase of 247%. When the surgical rate increase is calculated      All 3 types of ER visits during the study observation period are
from 2002 (126.4) and 2015 (357.9), the rate increase is 183%.       more likely to occur following a chemical abortion than follow-
Both the consistent increase in the rate of ER visits per abortion   ing a surgical abortion: all-cause (OR 1.22, CL 1.19-1.24);
procedure and the higher chemical rate relative to the surgical      abortion-related (OR 1.53, CL 1.49-1.58); and spontaneous
rate after 2004 are apparent in Figure 7.                            abortion (OR 1.88, CL 1.81-1.96). Prior pregnancy outcomes
    Abortion-related ER visits (ICD-9 630-639) per abortion          increase the likelihood of any type of subsequent ER visit.
exhibit a similar upward trend in rates for both surgical and        However, an ER visit is signiﬁcantly more likely to occur fol-
chemical abortions, but, beginning in 2002, a growing diver-         lowing a prior chemical abortion than following a prior surgical
gence by type of abortion is evident. The surgical abortion to       abortion: all-cause (OR 2.54, CL 2.38-2.70 vs OR 1.78, CL
abortion-related visit rate increases from 5.3 in 2002 to 22.0       1.73-1.82); abortion-related (OR 1.80, CL 1.65-1.97 vs OR
in 2015, an increase of 315%. Chemical abortion visit rates          1.35, CL 1.29-1.41); and spontaneous abortion (OR 1.74, CL
during the same period went from 8.5 to 51.7, an increase of         1.54-1.96 vs OR 1.43, CL 1.35-1.52). A prior live birth is a
507% (Figure 9).                                                     lower risk factor for post abortion ER visits than is either a
    ER visit rates miscoded as for spontaneous abortion (ICD-9       chemical or surgical induced abortion: all-cause (OR 1.52,
634) within 30 days of a surgical abortion show a declining          CL 1.48-1.56); abortion-related (OR 1.09, CL 1.04-1.15); and
pattern from a peak of 1.5 in 2000 to a low point of 0.8 in          spontaneous abortion (OR 1.12, CL 1.04-1.20).
2004, a gradual increase between 2.2 and 4.3 from 2005 to               Hispanics are slightly more likely than whites to experience
2014, and a doubling to 8.6 in 2015. By contrast, ER visit           any type of post abortion ER visit: all-cause (OR 1.07, CL
rates miscoded as for spontaneous abortion treatment follow-         1.05-1.10); abortion-related (OR 1.03, CL 1.00-1.07); and
ing a chemical abortion show a consistent increase from              spontaneous abortion (OR 1.03, CL 0.98-1.09). Blacks, by con-
8.55 in 2007, the ﬁrst year ER visits in this category               trast, are consistently less likely than whites to experience any
reached double digits, to 31.5 in 2015. Between 2007 and             type of post abortion ER visit: all-cause (OR 0.59, CL
2015, the ER visit rate miscoded for spontaneous abortion            0.58-0.61); abortion-related (OR 0.68, CL 0.66-0.71); and
increased 244% following surgical abortion and 268% follow-          spontaneous abortion (OR 0.72, CL 0.68-0.76). Age at time
ing chemical abortion (Figure 8). Caution previously noted           of the abortion and years of Medicaid eligibility are not impor-
regarding the coding and classiﬁcation of these visits is simi-      tant risk factors in predicting post abortion emergency room
larly warranted here.                                                use.

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Figure 3. Emergency room (ER) use following chemical abortion, 1999–2015.


Discussion                                                             increased consistently throughout the study period following
                                                                       both types of induced abortion, but the rates for mifepristone
Regression analysis deﬁnitively supports the hypothesis that
                                                                       abortion visits grew faster, especially for abortion-related
chemical abortion is associated with more frequent emergency
                                                                       visits. By 2015, mifepristone versus surgical ER rates were:
room visits of all kinds for the entire study period. In addition,
                                                                       all visits (354.8 vs 357.9); miscoded spontaneous abortion
we found that ER visit rates per 1000 abortion procedures




Figure 4. Abortion-related visits as a percent of all emergency room (ER) visits.


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Figure 5. Miscoded spontaneous abortion visits as a percent of all emergency room (ER) visits.



(31.5 vs 8.6); and abortion-related (51.7 vs 22.0). The reasons      visit.13 Results of our research summarized for the same 2 years
for the increasing rate of ER visits following mifepristone abor-    found 4.8 times (30.7%) the number of total ER visits and 1.8
tions are not readily apparent but may be inﬂuenced by mifep-        times (1.56%) the number of abortion-related visits within our
ristone abortion providers who are unable or unskilled to handle     shorter 30-day postabortion observation period. We were able
complications after chemical abortions. This ﬁnding would be         to detect this more accurate number of complications because
consistent with an analysis of FDA Adverse Event Reports             the women were included in our study based on a CPT code
which showed that abortion providers only managed slightly           payment for mifepristone abortion, thus eliminating the need
over half of the dilation and curettage procedures (D&Cs)            for the treating physician to recognize a complication from a
required for hemorrhage and retained tissue, and the remainder       chemical abortion.
were handled by the emergency room.11 Further research is               The ﬁnding that many ER visits following known induced
needed to delineate whether there is a difference between ER         abortions are misclassiﬁed as postmiscarriage complications is
visit utilization after abortions performed by those abortion pro-   particularly noteworthy. Abortion studies in the United States
viders untrained in surgical procedures (ie, midwives, advance       consistently report lower postabortion complication rates than
practice clinicians, Family Medicine providers and other types       are documented in the international scientiﬁc literature. There
of providers). This ﬁnding is also of signiﬁcance when consid-       are likely multiple reasons for this discrepancy, but among
ering the implications of removing a requirement for in-person       them are the miscoding of abortion-related complications by
medical supervision of mifepristone abortion as is currently         the provider and the nondisclosure of prior abortion history
under consideration by the FDA.12                                    by the patient. Women obtaining chemical abortions must
    These ﬁndings are especially consequential because they are      sign a patient agreement indicating they will bring with
derived directly from all paid medical claims records, unlike        them the mifepristone medication guide if seeking emergency
most other studies of abortion complications which involve vol-      care, but some abortion advocates encourage women to with-
untary survey reporting and/or a more limited query of a select      hold information if seeking treatment for an adverse
set of treatment codes. The more comprehensive examination of        event.14,15 Our study demonstrated ER visits misclassiﬁed or
all ER codes associated with conﬁrmed abortion events under-         miscoded as spontaneous abortion grew for both types of
taken in this research requires reconsideration of previous ﬁnd-     induced abortion, reaching 39% of abortion-related visits fol-
ings which now appear to have understated the full range of          lowing surgical abortion and 60.9% of visits following chem-
risks associated with abortion. For example, previous research       ical abortion in 2015. These mifepristone abortion
on only fee-for-service California Medicaid beneﬁciaries and         complications would have been invisible to previous research-
using only a single code (ICD-9 635.xx) in 2009 to 2010 con-         ers, resulting in a large underestimation of actual mifepristone
cluded that 6.4% of all abortions were followed by any ER visit      abortion complications. Our more accurate estimation has sig-
within 6 weeks and 0.87% were followed by an abortion-related        niﬁcant implications for the evaluation of risks communicated


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Figure 6. Miscoded spontaneous abortion visits as a percent of abortion-related emergency room (ER) visits.


to women in the process of informed consent prior to abor-           care utilization to carefully follow the ramiﬁcations of ER
tion, as well as in policy making regarding mifepristone             utilization.
abortion.                                                                There are limitations related to the use of Medicaid claims
    Consistent with CDC reports, we found the percentage of          data. Medicaid-eligible beneﬁciaries are by deﬁnition ﬁnan-
abortions performed by means of mifepristone and misoprostol         cially disadvantaged and are not representative of all women
increased from 4.4% of total abortions in 2002 to 34.1% in           experiencing abortion. Conversely, a data set composed entirely
2015. Similarly, ER visits following mifepristone abortion           of low-income women may also be considered an advantage
grew from 3.6% of all postabortion visits in 2002 to 33.9% of        since results are unlikely to be explained by differences in
all postabortion visits in 2015. The trend toward increasing use     income or other factors strongly associated with income. The
of mifepristone abortion requires all concerned with health          lower risk of any ER visit following induced abortion among




Figure 7. Total emergency room (ER) visits per 1000 abortions.


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Figure 8. Miscoded spontaneous abortion emergency room (ER) visits per 1000 abortions.


Black women suggests that a more granular analysis of the          Administrative data are also subject to limitations regarding
inﬂuence of race is warranted. Services received by eligible       coding errors, inconsistent coding, and the exclusion of codes
women but paid by another source (eg, out of pocket) are not       considered nonessential for billing.16,17 There are inconsisten-
included in the claims data. Services received when the            cies in coding which may vary state by state. Our data extrac-
women were not eligible are similarly not included.                tion protocol required both an ICD code and CPT code to




Figure 9. Abortion-related emergency room (ER) visits per 1000 abortions.


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Table 2. Logistic Regression Odds Ratio Estimates (OR) and (Wald)          Funding
Conﬁdence Limits (CLs).
                                                                           The author(s) disclosed receipt of the following ﬁnancial support for
                                    Abortion-          Spontaneous         the research, authorship, and/or publication of this article: This work
                 Any ER Visit       Related Visit      Abortion Visit      was supported by the Charlotte Lozier Institute.

                         95%                95%                95%
                 OR      CLs        OR      CLs        OR      CLs
                                                                           ORCID iDs
                                                                           James Studnicki      https://orcid.org/0000-0003-2958-7493
Chemical        1.22    1.19 to     1.53    1.49 to    1.88    1.81 to     Tessa Longbons       https://orcid.org/0000-0003-0479-9166
 versus                   1.24                1.58               1.96
 Surgical
 Abortion                                                                  References
Race                                                                        1. Longbons T. U.S. abortion trends: 2019 and preliminary 2020.
  Black versus 0.59     0.58 to     0.68    0.66 to    0.72    0.68 to         Charlotte Lozier Institute. American Reports Series Issue 19,
 White                    0.61                0.71               0.76          September 2021. Accessed September 10, 2021. https://
  Hispanic      1.07    1.05 to     1.03    1.00 to    1.03    0.98 to         lozierinstitute.org/us-abortion-trends-2019-and-preliminary-2020/
 versus                   1.10                1.07               1.09
                                                                            2. U.S. Government Accountability Ofﬁce. Food and Drug
 White
  Other         0.91    0.89 to     0.88    0.85 to    0.85    0.81 to         Administration: Information on mifeprex labeling changes and
 versus                   0.93                0.91               0.89          ongoing monitoring efforts. GAO-18-292. Published March 28,
 White                                                                         2018. Accessed September 9, 2021.
Pregnancy 365 d prior versus no                                             3. Niinimäki M, Pouta A, Bloigu A, et al. Immediate complica-
  Prior         1.78    1.73 to     1.35    1.29 to    1.43    1.35 to         tions after medical compared with surgical termination of
 surgical                 1.82                1.41               1.52          pregnancy. Obstet Gynecol. 2009;114(4):795-804. doi: 10.
 abortion                                                                      1097/AOG.0b013e3181b5ccf9
  Prior         2.54    2.38 to     1.80    1.65 to    1.74    1.54 to      4. Carlsson I, Breding K, Larsson P-G. Complications related to
 chemical                 2.70                1.97               1.96
                                                                               induced abortion: a combined retrospective and longitudinal
 abortion
                                                                               follow-up study. BMC Women’s Health. 2018;18(1):158. doi:
  Prior live    1.52    1.48 to     1.09  1.04 to      1.12  1.04 to
 birth                    1.56              1.15               1.20            10.1186/s12905-018-0645-6
Age             0.993 0.992         1.003 1.001        1.000 0.997          5. Cleland K, Creinin MD, Nucatola D, Nshom M, Trussell J. Signiﬁcant
                          to                to                 to              adverse events and outcomes after medical abortion. Obstet Gynecol.
                          0.994             1.004              1.003           2013;121(1):166-171. doi: 10.1097/aog.0b013e3182755763
Months          1.008 1.007         1.006 1.005        1.006 1.006          6. Ireland LD, Gatter M, Chen AY. Medical compared with surgical
 Medicaid                 to                to                 to              abortion for effective pregnancy termination in the ﬁrst trimester.
 Eligibility              1.008             1.007              1.006           Obstet Gynecol. 2015;126(1):22-28. doi: 10.1097/AOG.
                                                                               0000000000000910
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                                                                               gency department visits in the United States: an analysis of a
identify beneﬁciaries who had an induced abortion. To the                      national emergency department sample. BMC Med.
extent that some states or individual providers do not code an                 2018;16(1):88. doi: 10.1186/s12916-018-1072-0
abortion with an ICD code, our study population may under-                  8. Studnicki J, Reardon D, Harrison D, Fisher J, Skop I. Improving the
count the number of abortions. This undercount would likely                    metrics and data reporting for maternal mortality: a challenge to
be due to a random variation in coding protocols and is unlikely               public health surveillance and effective prevention. Online J Public
to affect the trends related in our ﬁndings.                                   Health Inform. 2019;11(2):e17. doi: 10.5210/ojphi.v11i2.10012
   In summary, mifepristone abortion is consistently and                    9. Schaible B. Improving the accuracy of maternal mortality and
progressively associated with increased morbidity in the                       pregnancy related death. Issues Law Med. 2014;29(2):231-242.
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the population of women with publicly funded abortions.                        ment. Charlotte Lozier Institute, On Point Series 12. 2016.
The determination of the causes and potential means of pre-                    Accessed September 9, 2021. https://s27589.pcdn.co/wp-content/
vention for this burden of illness should have the highest pri-                uploads/2016/09/OP_hyde_9.28.3.pdf
ority of our health agencies and elected ofﬁcials. Additional              11. Aultman K, Cirucci CA, Harrison DJ, Beran BD, Lockwood MD,
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of effects beyond 30 days.                                                     ristone as an abortifacient from September 2000 to February 2019.
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Declaration of Conﬂicting Interests                                            v. Becerra, Civ. No. 1:17-00493 JAO-RT (D. Haw.).
The author(s) declared no potential conﬂicts of interest with respect to   13. Upadhyay UD, Desai S, Zlidar V, et al. Incidence of emergency
the research, authorship, and/or publication of this article.                  department visits and complications after abortion. Obstet


                                                                                                                       EX. 4 pg. 010
                                                                                                                            App. 0041
    Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                                           Page 46 of 684 PageID 5804
Studnicki et al                                                                                                                                 11


    Gynecol. 2015;125(1):175-183. doi: 10.1097/AOG.0000000000               Institute Associate Scholar and Chairman of the American
    000603                                                                  Association of Pro-Life Obstetricians and Gynecologist's Maternal
14. Safe2Choose. Will medical staff be able to notice that I am having      Mortality Committee. She is the Board Chairman of Any Woman
    an abortion? Accessed September 9, 2021. https://safe2choose.org/       Can Pregnancy Resource Center-which specializes in free mental
    faq/medical-abortion-faq/during-abortion-with-pills/will-medical-       health counseling and is a board member of The Source for
    staff-be-able-to-notice-that-i-am-having-an-abortion                    Women-a consortium of holistic women's health care centers in
15. Plan C. Abortion pills FAQ: Can I get in trouble for using abortion     Texas. She is married to a physician and is the proud mother of
    pills? Accessed September 9, 2021. https://www.plancpills.org/          two sons and a daughter.
    guide-how-to-get-abortion-pills#faq
                                                                            David C. Reardon is the director of Elliot Institute, a biomedical eth-
16. Hicks J. The Potential of Claims Data to Support the
                                                                            icist, and a lead author on numerous studies and books examining the
    Measurement of Health Care Quality. Dissertation, RAND; 2003.
                                                                            risk factors and effects of pregnancy loss on women and families.
17. Romano PS. Using administrative data to identify associations between
    implanted medical devices and chronic diseases. Ann Epidemiol.          John W. Fisher is currently an Associate Scholar at the Charlotte
    2000;10(4):197-199. doi: 10.1016/s1047-2797(00)00041-7                  Lozier Institute. Following a 22 year career as a nuclear submarine
                                                                            ofﬁcer, he served as the Director of Life Support and engineering at
Author Biographies                                                          the Florida Aquarium, Chief Financial Ofﬁcer of Technology
                                                                            Transfer Services, and 10 years as an Assistant Professor at the
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                                                                            University of North Carolina at Charlotte College of Health and
Analytics at the Charlotte Lozier Institute in Arlington, Virginia.
                                                                            Human Services. He holds a PhD in Information Systems and
Over a span of four decades, he held academic appointments at the
                                                                            Decision Sciences from the University of South Florida, a JD from
Johns Hopkins University School of Hygiene and Public Health,
                                                                            Massachusetts School of Law, and Master's degrees from the
the University of South Florida College of Public Health, and the
                                                                            Massachusetts Institute of Technology (Ocean Engineering),
University of North Carolina, Charlotte, where for ten years he
                                                                            University of Notre Dame (Administration), Indiana University
served as the Irwin Belk Endowed Chair in Health Services
                                                                            (Business Administration), and the United States Naval War College
Research. He holds Doctor of Science (ScD) and Master of Public
                                                                            (National Security Policy). He is currently a member of the bar in
Health (MPH) degrees from Johns Hopkins and a Master of
                                                                            New Hampshire and Massachusetts.
Business Administration (MBA) from the George Washington
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                                                                            Florida Gulf Coast University, Marieb College of Health & Human
Donna J. Harrison, M.D. dip ABOG received her M.D. from the
                                                                            Services. Before joining FGCU, she was a Postdoctoral Fellow at
University of Michigan and completed ObGyn residency at a
                                                                            the Dartmouth Center for Health Care Delivery Science. She has
University of Michigan Afﬁliate hospital (St. Joseph Mercy
                                                                            earned a PhD degree from the University of North Carolina at
Hospital). She is currently CEO of the American Association of Pro-
                                                                            Charlotte and MD from Tbilisi Medical Academy. Previously she
Life Obstetricians and Gynecologists.
                                                                            was a UNICEF National Consultant to the Parliament of Georgia,
Tessa Longbons is a research associate with the Charlotte Lozier            Short-Term Consultant at PAHO/WHO and Senior Expert at the
Institute. Her research focuses on abortion statistics at the state and     Parliament of Georgia, Committee on Health and Social Issues. She
national levels and the changing landscape of abortion policy, provi-       has also worked as a Deputy Chair/Project Manager for the Task
sion, and access in the United States. She received her B.A. from           Force for Prevention of Micronutrient Malnutrition and Food
Thomas Edison State University.                                             Fortiﬁcation Initiatives established under the Parliament of Georgia,
                                                                            Committee on Health and Social Issues.
Ingrid Skop, M.D., F.A.C.O.G. has been a practicing obstetrician-gyne-
cologist in San Antonio, Texas for 24 years. She received her Bachelor of   Christopher Craver is an independent health services researcher afﬁl-
Science in physiology from Oklahoma State University and her medical        iated with the Charlotte Lozier Institute focused on the use of secon-
doctorate from Washington University School of Medicine. She com-           dary healthcare data sources in population based scientiﬁc research.
pleted her residency in obstetrics and gynecology at the University of      He is widely published in many healthcare topics including cancer
Texas Health Science Center at San Antonio. She is a Fellow of the          treatment, rare disease populations, and the efﬁcacy of surgical
American College of Obstetrics and Gynecology, a Charlotte Lozier           services.




                                                                                                                       EX. 4 pg. 011
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                  Exhibit 5
 James Studnicki et al., A Post Hoc Exploratory
   Analysis: Induced Abortion Complications
Mistaken for Miscarriage in the Emergency Room
  are a Risk Factor for Hospitalization, Health
   Servs. Rsch. & Managerial Epidemiology,
                 May 20, 2022




                                                                     App. 0043
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Research Letter
                                                                                                                                     Health Services Research and
                                                                                                                                     Managerial Epidemiology
A Post Hoc Exploratory Analysis: Induced                                                                                             Volume 9: 1-4
                                                                                                                                     © The Author(s) 2022
                                                                                                                                     Article reuse guidelines:
Abortion Complications Mistaken for                                                                                                  sagepub.com/journals-permissions
                                                                                                                                     DOI: 10.1177/23333928221103107
Miscarriage in the Emergency Room are a                                                                                              journals.sagepub.com/home/hme


Risk Factor for Hospitalization

J. Studnicki1 , T. Longbons1 , D. J. Harrison2, I. Skop1, C. Cirucci1                                                           ,
D. C. Reardon3, C. Craver1, J. W. Fisher1, and M. Tsulukidze4


Abstract
Introduction: Previous research indicates that an increasing number of women who go to an emergency room for complica-
tions following an induced abortion are treated for a miscarriage, meaning their abortion is miscoded or concealed.
Objective: To determine if the failure to identify a prior induced abortion during an ER visit is a risk factor for higher rates of
subsequent hospitalization.
Methods: Post hoc analysis of hospital admissions following an induced abortion and ER visit within 30 days: 4273 following
surgical abortion and 408 following chemical abortion; abortion not miscoded versus miscoded or concealed at prior ER visit.
Results: Chemical abortion patients whose abortions are misclassiﬁed as miscarriages during an ER visit subsequently experi-
ence on average 3.2 hospital admissions within 30 days. 86% of the patients ultimately have surgical removal of retained products
of conception (RPOC). Chemical abortions are more likely than surgical abortions (OR 1.80, CL 1.38-2.35) to result in an RPOC
admission, and chemical abortions concealed are more likely to result (OR 2.18, CL 1.65-2.88) in a subsequent RPOC admission
than abortions without miscoding. Surgical abortions miscoded/concealed are similarly twice as likely to result in hospital admis-
sion than those without miscoding.
Conclusion: Patient concealment and/or physician failure to identify a prior abortion during an ER visit is a signiﬁcant risk factor
for a subsequent hospital admission. Patients and ER personnel should be made aware of this risk.

Keywords
induced abortion, medical abortion, emergency room, inpatient admission, retained products of conception, medicaid



Introduction                                                                         care and, subsequently, an increased likelihood of hospital
                                                                                     admission.1 We use the risk of hospitalization following one
In a previous study, we found abortion-related emergency room
(ER) treatment rates from 2002–2015 increased 315% and
507% following surgical and chemical abortions respectively.1                        1
                                                                                       Charlotte Lozier Institute, Arlington, VA, USA
During this same period, we also found an increasing number of                       2
                                                                                       American Association of Pro-Life Obstetricians and Gynecologists, Eau
abortion patients misclassiﬁed/miscoded as having post miscar-                         Claire, MI, USA
                                                                                     3
riage complications. A contributory factor to these miscodings                         Elliot Institute, Springﬁeld, IL, USA
                                                                                     4
may be the advice given to women by some abortion providers                            Florida Gulf Coast University, Fort Myers, FL, USA

to conceal their abortion when seeking care in the ER for                            Submitted April 20, 2022. Revised May 4, 2022. Accepted May 6, 2022.
adverse events.2,3 Since 60.9% of abortion-related ER visits fol-
                                                                                     Corresponding Author:
lowing a chemical abortion were being miscoded as miscarriage                        J. Studnicki, Charlotte Lozier Institute, 2800 Shirlington Rd., Ste. 1200,
by 2015, there is concern that this misinformation (ie, miscar-                      Arlington, VA 22206, USA.
riage rather than induced abortion) might result in sub-optimal                      Email: jstudnicki@lozierinstitute.org


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2                                                                                 Health Services Research and Managerial Epidemiology


or more ER treatments as a proxy for misinformed and sub-                The study has been exempted from Institutional Review
optimal post abortion care.                                            Board (IRB) review pursuant to the U.S. Department of
                                                                       Health and Human Services Policy for Protection of Human
Methods                                                                Research Subjects at C.F.R. 46.101(b). See IRB ID: 7269,
                                                                       www.sterlingirb.com.
Data were obtained from the enrollee-level Medicaid Analytic
eXtract ﬁles licensed through the Centers for Medicare and
Medicaid Services (CMS) Chronic Conditions Data
Warehouse. The analytic dataset is comprised of enrollees
                                                                       Results
from the 17 states whose ofﬁcial policies applied state funds          Women experiencing chemical abortion and a subsequent emer-
to abortions not covered by federal Medicaid during the                gency room (ER) visit within 30 days were less likely (OR 0.81,
period 1999–2015. The study population was made up of                  CL 0.70-0.95) to be hospitalized for any reason in that same
enrollees over 13 years of age with at least one identiﬁable preg-     time period than women who had experienced surgical abortion.
nancy outcome. For each beneﬁciary, all unique pregnancy out-          This is true both for women whose prior abortion was concealed
comes were identiﬁed using International Classiﬁcation of              by miscoding during the ER visit and those for whom no mistaken
Diseases, Ninth Revision (ICD-9) codes. Additionally,                  miscarriage coding occurred (Table 1). Abortions miscoded in the
Current Procedure Terminology, Fourth Edition (CPT4) and               ER were more likely to result in hospitalization for any reason (OR
Healthcare Common Procedure Coding System (HCPCS)                      1.06, CL 0.87-1.28) than those not miscoded. However, the subset
codes were used to conﬁrm pregnancy outcomes. Every emer-              of chemical abortion patients whose abortion was miscoded as mis-
gency room visit occurring within 30 days of the index abortion        carriage did exhibit a striking pattern of multiple admissions (3.2
was identiﬁed (Place of Service code 23—emergency room).               per patient) for those women who were subsequently admitted
Emergency room visits within 30 days of a surgical or chemical         compared to 1.8 admissions per woman whose abortion was not
induced abortion but treated for spontaneous abortion or mis-          miscoded. Thus, the number of admissions per patient was 78%
carriage (ICD-9, primary diagnosis 634) are considered mis-            higher in women whose chemical abortion was concealed.
coded and possible concealment by the patient. Hospital                    Further analysis determined that admissions for surgical
admissions considered for the purpose of surgical removal of           RPOC were experienced by 86.3% of the women whose chem-
retained products of conception (RPOC) comprise ICD-9 pro-             ical abortion was subsequently miscoded in the ER, 2.5 times
cedure codes 690, 694, and 695.                                        the rate of surgical abortion patients (34.2%) whose abortion
   In the original study, between 1999–2015, there were                was similarly miscoded. A very strong contrarian pattern
423 000 conﬁrmed induced abortion Medicaid procedures                  emerges for hospital admissions involving surgical RPOC by
(361 924 surgical and 61 076 chemical), followed by 121 283            aspiration and curettage or dilation and curettage. Chemical
ER visits (99 928 surgical and 21 355 chemical). The explor-           abortions are signiﬁcantly more likely (OR 1.80, CL
atory post hoc analysis identiﬁed 4273 hospital admissions             1.38-2.35) than surgical abortions to result in an RPOC admis-
within 30 days of a surgical abortion and following an ER              sion and chemical abortions miscoded in the ER are more likely
visit and 408 hospital admissions within 30 days of a chemical         (OR 2.18, CL 1.65-2.88) than abortions without miscoding to
abortion and following an ER visit.                                    have a subsequent RPOC admission.
   Summary analytic tables were created using (SAS/STAT)                   Chemical abortion patients whose subsequent ER visit is
software, version (10) of the SAS system for (Unix).                   mistakenly coded as an adverse event related to miscarriage
Copyright (2019) SAS Institute Inc.                                    experience multiple hospital admissions within 30 days of the


Table 1. Hospital Admissions (for any Reason and RPOC) Following an Abortion and an Emergency Room Visit: by Type of Abortion with and
without Miscoding as a Miscarriage.

                                                   Surgical abortion                               Chemical abortion

Abortion miscoded as miscarriage (ICD 634)         Yes (%)        No (%)              Total        Yes (%)         No (%)           Total

No. patients with ER visits                        567 (3.3)      16 671 (96.7)       17 238       366 (11.2)      2912 (88.8)      3278
No. ER patients admitted for any reason            114 (5.9)      1823 (94.1)         1937         22 (10.4)       190 (89.6)       212
% ER patients admitted for any reason              20.1%          10.9%               11.2%        6.0%            6.5%             6.4%
Total no. admissions for any reason                232 (5.4)      4041 (94.6)         4273         71 (17.4)       337 (82.6)       408
Admissions per patient for any reason              2.0            2.2                 2.2          3.2             1.8              1.9
No. patients admitted for surgical RPOC            39 (13.0)      262 (87.0)          301          19 (21.6)       69 (78.4)        88
% admitted patients requiring surgical RPOC        34.2%          14.4%               15.5%        86.4%           36.3%            41.5%
No. surgical RPOC admissions                       42 (13.3)      274 (86.7)          316          22 (23.7)       71 (76.3)        93
% surgical RPOC admissions of total admissions     18.1%          6.8%                7.4%         31.0%           21.1%            22.8%
Surgical RPOC admissions per patient               1.1            1.0                 1.0          1.2             1.0              1.1


                                                                                                                EX. 5 pg. 002
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abortion and are particularly at risk to experience a hospitaliza-            chemical and surgical abortions, 1999–2015. Health Serv Res
tion that involves RPOC.                                                      Manag Epidemiol. 2021;8. doi:10.1177/23333928211053965
                                                                           2. Safe2Choose. Will medical staff be able to notice that I am having
                                                                              an abortion? Accessed September 9, 2021. https://safe2choose.org/
Discussion                                                                    faq/medical-abortion-faq/during-abortion-with-pills/will-medical-
Our research indicates that an ER physician’s misclassiﬁcation                staff-be-able-to-notice-that-i-am-having-an-abortion
of a failed induced abortion as a miscarriage correlated with              3. Plan C. Abortion pills FAQ: Can I get in trouble for using abortion
higher rates of hospitalization and surgical intervention for                 pills? Accessed September 9, 2021. https://www.plancpills.org/
RPOC. A patient’s concealment of a chemical abortion, and/                    guide-how-to-get-abortion-pills#faq, Google Scholar.
or the ER staffs’ failure to identify the failed abortion                  4. Food and Drug Administration. Risk Evaluation and Mitigation Strategy
attempt, are risk factors for multiple hospital admissions and                (REMS) Single Shared System for Mifepristone 200 mg. Published
delayed provision of necessary surgical treatment, compared                   April 2019. Updated May 2021. https://www.accessdata.fda.gov/
with care for those whose abortion is not miscoded.                           drugsatfda_docs/rems/Mifepristone_2021_05_14_REMS_Full.pdf
    One possible explanation is that ER physicians may tolerate
a higher level of pain, tenderness, or bleeding if they know they are      Author Biographies
dealing with an induced abortion patient rather than a spontaneous
abortion patient experiencing the same symptoms. It may be that            J. Studnicki is currently Vice President and Director of Data Analytics at
these women were considered sick enough to be admitted, yet sur-           the Charlotte Lozier Institute in Arlington, Virginia. Over a span of four
gical care was delayed while alternative treatment options were            decades, he held academic appointments at the Johns Hopkins
explored. The percent of admitted women who underwent surgical             University School of Hygiene and Public Health, the University of
intervention for RPOC is strikingly higher for women whose                 South Florida College of Public Health, and the University of North
induced abortions were misclassiﬁed as miscarriages.                       Carolina, Charlotte, where for ten years he served as the Irwin Belk
    It is important for emergency room personnel to obtain an              Endowed Chair in Health Services Research. Dr. Studnicki holds
accurate history when faced with an incomplete induced abor-               Doctor of Science (ScD) and Master of Public Health (MPH) degrees
tion. Additionally, it is inadvisable for abortion providers to            from Johns Hopkins and a Master of Business Administration (MBA)
tell women that if they present to an ER after the abortion,               from the George Washington University.
they can simply say they are having a miscarriage.2,3                      T. Longbons is a research associate with the Charlotte Lozier Institute.
    Abortion providers should advise women that they may be at             Her research focuses on abortion statistics at the state and national
increased risk of multiple hospitalizations and surgical interven-         levels and the changing landscape of abortion policy, provision, and
tion if they do not inform medical personnel that they are expe-           access in the United States. She received her B.A. from Thomas
riencing an abortion complication. As required by the                      Edison State University.
mifepristone Risk Evaluation and Mitigation Strategy, patients
should be strongly reminded to bring the Medication Guide                  D. J. Harrison, MD received her MD from the University of Michigan
when seeking medical care in an emergency room.4 Further                   and completed her OBGYN residency at a University of Michigan afﬁliate
research on adverse events associated with miscoding of                    hospital (St. Joseph Mercy Hospital). She is a diplomate of the American
induced abortion is warranted.                                             Board of Obstetrics and Gynecology. She is currently CEO of the
                                                                           American Association of Pro-Life Obstetricians and Gynecologists.
Declaration of Conﬂicting Interests                                        I. Skop, M.D., F.A.C.O.G. is Senior Fellow and Director of Medical
The author(s) declared no potential conﬂicts of interest with respect to   Affairs for the Charlotte Lozier Institute. Prior to joining CLI, she
the research, authorship, and/or publication of this article.              served for over 25 years in private practice as an obstetrician-gynecologist
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Funding                                                                    from Oklahoma State University and her medical doctorate from
                                                                           Washington University School of Medicine. She completed her residency
The author(s) disclosed receipt of the following ﬁnancial support for
                                                                           in obstetrics and gynecology at the University of Texas Health Science
the research, authorship, and/or publication of this article: This work
                                                                           Center at San Antonio. Dr. Skop is a Fellow of the American College
was supported by the Charlotte Lozier Institute.
                                                                           of Obstetricians and Gynecologists and is a lifetime member of the
                                                                           American Association of Pro-Life Obstetricians and Gynecologists.
ORCID iDs
                                                                           C. Cirucci, MD received her Bachelor of Science in Mechanical
J. Studnicki  https://orcid.org/0000-0003-2958-7493
T. Longbons     https://orcid.org/0000-0003-0479-9166                      Engineering from Virginia Tech in Blacksburg, VA and her MD
C. Cirucci   https://orcid.org/0000-0002-4681-6529                         from Thomas Jefferson University, Philadelphia, PA. She completed
                                                                           her residency in obstetrics and gynecology at the Medical College of
                                                                           Virginia in Richmond, VA. She is a diplomate of the American Board
References                                                                 of Obstetrics and Gynecology and a life Fellow of the American
1. Studnicki J, Harrison DJ, Longbons T, et al. A longitudinal cohort      College of Obstetricians and Gynecologists. She is a member of the
   study of emergency room utilization following mifepristone              Christian Medical and Dental Associations, the North American


                                                                                                                         EX. 5 pg. 003
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4                                                                                      Health Services Research and Managerial Epidemiology


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County Medical Society. She is a board member of the American               University of South Florida, a JD from Massachusetts School of Law,
Association of Pro-Life Obstetricians and Gynecologists. She worked in      and master's degrees from the Massachusetts Institute of Technology
private practice for twenty years in Pittsburgh, PA.                        (Ocean Engineering), University of Notre Dame (Administration),
                                                                            Indiana University (Business Administration), and the United States
D. C. Reardon is the director of Elliot Institute, a biomedical ethicist,
                                                                            Naval War College (National Security Policy). He is currently a
and a lead author on numerous studies and books examining the risk
                                                                            member of the bar in New Hampshire and Massachusetts.
factors and effects of pregnancy loss on women and families.
                                                                            M. Tsulukidze, MD, PhD, MPH is an Assistant Professor at the Florida
C. Craver is an independent health services researcher afﬁliated with
                                                                            Gulf Coast University, Marieb College of Health & Human Services.
the Charlotte Lozier Institute focused on the use of secondary health-
                                                                            Before joining FGCU, Dr. Tsulukidze was a Postdoctoral Fellow at the
care data sources in population based scientiﬁc research. He is
                                                                            Dartmouth Center for Health Care Delivery Science. She has earned a
widely published in many healthcare topics including cancer treatment,
                                                                            Ph.D. degree from the University of North Carolina at Charlotte and
rare disease populations, and the efﬁcacy of surgical services.
                                                                            MD from Tbilisi Medical Academy. Previously Dr. Tsulukidze was a
J. W. Fisher is currently an Associate Scholar at the Charlotte Lozier      UNICEF National Consultant to the Parliament of Georgia, Short-Term
Institute. Following a 22-year career as a nuclear submarine ofﬁcer, he     Consultant at PAHO/WHO and Senior Expert at the Parliament of
served as the Director of Life Support and engineering at the Florida       Georgia, Committee on Health and Social Issues. She has also worked
Aquarium, Chief Financial Ofﬁcer of Technology Transfer Services,           as a Deputy Chair/Project Manager for the Task Force for Prevention of
and 10 years as an Assistant Professor at the University of North           Micronutrient Malnutrition and Food Fortiﬁcation Initiatives established
Carolina at Charlotte College of Health and Human Services. Dr. Fisher      under the Parliament of Georgia, Committee on.




                                                                                                                        EX. 5 pg. 004
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                  Exhibit 6
    Katherine A. Rafferty & Tessa Longbons,
     #AbortionChangesYou: A Case Study to
   Understand the Communicative Tensions in
   Women’s Medication Abortion Narratives, 36
         Health Commc’n 1485 (2021)




                                                                     App. 0048
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          Health Communication




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    #AbortionChangesYou: A Case Study to Understand
    the Communicative Tensions in Women’s
    Medication Abortion Narratives

    Katherine A. Rafferty & Tessa Longbons

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                                                                                            EX. 6 pg. 001
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#AbortionChangesYou: A Case Study to Understand the Communicative Tensions in
Women’s Medication Abortion Narratives
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    ABSTRACT
    One out of four women in the United States will have an abortion by age 45. While abortion rates are
    steadily declining in the United States, the rate of medication abortions continues to increase, with 39%
    of all abortions being medication abortions. Our study is one of the first to analyze women’s narratives
    after having had a medication abortion. Using relational dialectics theory, we conducted a case study of
    the nonpartisan website, Abortion Changes You. Our contrapuntal analysis rendered four sites of
    dialectical tension found across women’s blog posts: only choice vs. other alternatives, unprepared vs.
    knowledgeable, relief vs. regret, and silence vs. openness. Each site of struggle characterized a different
    noteworthy moment within a woman’s medication abortion experience: the decision, the medication
    abortion process, identity after abortion, and managing the stigmatizing silence before and after the
    abortion. We discuss theoretical and practical implications about how the larger politicized discourses
    prevalent within the abortion debate impact the liminality of women who are contemplating
    a medication abortion and affect their own narrative construction about the medication abortion
    experience.




One out of four women will undergo an abortion procedure                                       to a protocol where most of the abortion occurs individually
in the United States by age 45 (R. K. Jones & Jerman, 2017),                                   at home with limited clinician assistance (Biggs et al., 2019).
and 862, 320 reported abortions occur each year (Jones et al.,                                 Given the privatization of abortion provision, research is
2019). Despite its frequency, abortion remains a highly con-                                   needed to examine the distinct experiences of women who
tested and stigmatized biopolitical public health issue in the                                 have undergone this type of abortion. After all, researchers
United States (Altshuler et al., 2017). The historic Roe v. Wade                               have found that women often elect to have a medication
case has resulted in two nationalized political movements –                                    abortion over a surgical abortion because of more privacy,
Right to Life and Right to Choice – that have juxtaposed                                       convenience, and the perception of having more control
stances on the legality of abortion. However, the stigma and                                   (Newton et al., 2016). However, medication abortion has
shame associated with abortion precede and transcend this                                      been found to have a higher complication rate that results in
historic case. Stormer (2010) concluded that a collective mem-                                 more emergency department visits post-medication abortion
ory of secrets and shame has characterized the topic of abor-                                  compared to post-surgical abortion (Upadhyay et al., 2015).
tion since Planned Parenthood’s 1955 conference, “Abortion                                         Medication abortion practices in the U.S. adhere to the
in the United States”.                                                                         following evidence-based guidelines: using mifepristone in
   While abortion rates are steadily declining in the U.S.                                     combination with a prostaglandin to carry success rates up
(Jones et al., 2019), the rate of medication abortions continues                               to 99% for early pregnancy termination with rare occurrence
to increase. In 2000, the U.S. Food and Drug Administration                                    of serious adverse events. However, the focus of this research
(FDA) approved mifepristone to be used in combination with                                     is on successful terminations, increases in abortion access, and
misoprostol as a form of medication abortion. Since then, the                                  reductions of in-person clinic visits (H. E. Jones et al., 2017).
annual number of medication abortions has risen steadily: less                                 There remains a dearth of research, particularly in the U.S.,
than 6% of all abortions in 2001 to 39% of all abortions in                                    that examines women’s personal experiences with having this
2017 (Jones et al., 2019, 2008). Between 2014–2017, the num-                                   type of abortion procedure (e.g., acknowledging their emo-
ber of medication abortions provided at facilities other than                                  tions, understanding their self-efficacy with completing the
hospitals increased by 25% (Jones et al., 2019). Presently, over                               abortion at home, being aware of whether they are adequately
one-third of all reported abortions in the U.S. are medication                                 informed about the process). To our knowledge, the only
abortions (Jones et al., 2019). In 2016, the FDA protocol                                      study is from Sweden; researchers used semi-structured tele-
expanded provider eligibility for dispensing mifepristone to                                   phone interviews with 119 women who had a medication
women. Thus, abortion provision is transitioning from for-                                     abortion (Hedqvist et al., 2016). They found that almost half
malized medical procedures conducted in health care settings                                   (43%) experienced more bleeding than expected, and one-

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                                                                                                                                                    EX. 6 pg. 002
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                                                                                                                                                               App. 0050
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fourth (26%) bled for more than four weeks. In addition, one-       Relational Dialectics Theory (RDT)
third (34%) stated that they received insufficient information      Because talking about one’s abortion experience remains stig-
about what to expect. Women who had never had an abortion           matized and muted (Cockrill & Nack, 2013), examining
nor had gone through childbirth were more likely to feel            women’s stories after having had a medication abortion may
misinformed.                                                        illuminate the competing discourses surrounding this debated
   Scholars know that the medication abortion process is            moral and social issue (e.g., largely evident in the two polar-
distinct from surgical abortions, with the features of medica-      ized movements: Right to Choice v. Right to Life), as well as
tion abortion (e.g., lack of medical presence, time required for    some of the larger dominant discourses from the polarized
abortion completion, personal experiences with pain and             political movements that influence how women tell their own
bleeding) influencing women’s perception and satisfaction           medication abortion story. Given this goal, RDT (Baxter,
(Newton et al., 2016). Yet, this research on women’s satisfac-      2011) is a relevant framework to assess the competing cultural
tion with medication abortion is often conflicting (Kimport         norms and expectations, which are also referred to as dis-
et al., 2012) and limited (Hedqvist et al., 2016). Given that       courses. At any given moment, discourses may be dominant/
women increasingly prefer medication abortion over surgical         centripetal or marginalized/centrifugal (i.e., anything that
abortion (Newton et al., 2016), the need for studying women’s       deviates from the dominant discourse). Scholars use RDT as
experiences post-medication abortion becomes imperative.            a framework to examine the interplay between certain dis-
                                                                    courses that then construct social meaning and reality for
                                                                    individuals. Within the theory, there are four types of utter-
Importance of analyzing unsolicited blogging narratives             ances (i.e., speaking chains) from which dialectical tensions
about one’s abortion                                                (i.e., centripetal vs. centrifugal) may stem: distal already-
                                                                    spokens – utterances reflecting the cultural meaning and dis-
To understand women’s medication abortion experiences, it is        courses that cultural members give voice to in their talk;
important to study platforms where women engage in unsoli-          proximal already-spokens – utterances conveying past mean-
cited talk. Unsolicited talk is ideal for collecting formative      ings and discourses within a given relationship; proximal not-
research that can be studied to explore individual and cultural     yet-spokens – immediate response from the hearer in the
experiences (Baxter, 2011). First, the audience of these texts is   interaction; and distal not-yet-spokens – anticipated responses
a “generalized other” (Mead, 1982), or culture, rather than         of a generalized other within the culture. The purpose of this
a specific individual with whom the author has a relationship       paper is to examine how, if at all, these four types of utterance
(Langellier & Peterson, 2004). The absence of a specific audi-      chains are present within women’s medication abortion
ence encourages narrators to provide an unadulterated account       narratives.
of their experience, rather than tailor their story to specific         A second aspect of RDT (Baxter, 2011) is to understand
individuals (e.g., a friend who has had a certain stance on the     how social reality is created discursively through power.
abortion issue). Similarly, anonymity allows for potentially        Power is located in the struggle between marginalized/centri-
muted or stigmatized groups to post information without fear        fugal and dominant/centripetal discourses. There are three
of sanctioning. In a culture where abortion remains highly          ways that power can be located within discourses: diachronic
contested and talk about having had an abortion is often            separation, synchronic interplay, and discursive transforma-
muted or stigmatized (Altshuler et al., 2017), it is likely that    tion. Diachronic separation occurs when discourses emerge in
women may prefer to self-disclose their medication abortion         different texts or locations. Synchronic interplay is when dis-
experiences online rather than via face-to-face channels.           courses negate (total rejection of a competing discourse),
Furthermore, because women traditionally constitute a co-           counter (offer limited legitimacy to a discourse), and/or enter-
culture who have historically been muted and must strategically     tain (consider multiple worldviews/discourses or general
use communication to participate in a dominant patriarchal          ambivalence toward discourses) one another. Finally, discur-
society (M. Orbe, 2005; M. P. Orbe, 1998), scholars must study      sive transformations occur when the interplay of competing
platforms where women are sharing unsolicited stories in back-      discourses creates new meanings rather than remaining in
channel outlets (e.g., online blogs).                               opposition to one another (Baxter, 2011). This current study
                                                                    will focus on examining the synchronic interplay among the
Online blogs as a platform for unsolicited talk                     centripetal and centrifugal discourses.
One backchannel platform of unsolicited talk is online blogs.
Blogs provide a computer-mediated platform where people
                                                                    A case study of women who have experienced medication
can self-disclose their personal thoughts, feelings, and experi-
                                                                    abortion
ences to others online. The proliferation of blogs in the last
decade has transformed the way that we, as a society, “share,       To analyze women’s personal narratives and the larger dis-
create, and curate information with individuals and commu-          courses influencing their talk about their own medication
nities” (Becker & Freburg, 2014, p. 415). Blogs often resemble      abortion, we conducted a case study of the website www.
online personal journal entries that enable writers to freely       abortionchangesyou.com. We selected this website for sev-
express themselves in ways that may be less face-threatening        eral reasons: it is not openly politicized, bloggers do not
or stigmatizing (M. Jones & Alony, 2008). One of the many           interact with others, bloggers post anonymously, bloggers
applications and uses of blogs is to share experiences and          do not need to create an account in order to post, and the
events through storytelling.                                        platform is a space for unsolicited stories with no reward or
                                                                                                         EX. 6 pg. 003
                                                                                                               App. 0051
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compensation to those who post. Furthermore, from                    Data analysis and synthesis
a strategic storytelling standpoint (Tyler, 2007), it is impor-
tant to study women’s blogs from an organization that                The case study approach allows for different data analysis
recognizes and respects each woman’s individual narrative,           strategies (Norander & Brandhorst, 2017). Because the pur-
as opposed to propagating narratives that openly align with          pose of our case study is to develop a thick description of the
the agenda of only one political movement. The woman                 case, using an interpretive analytic strategy is most prudent.
who created this website has had an abortion herself and             We selected Baxter’s (2011) contrapuntal analysis to study the
openly shares this information on the “About Us” page. The           meanings circulating around individual and relational identi-
naming of her own abortion experience grounds co-cultural            ties evidenced within the language choices of the women
theorizing (M. Orbe, 2005; M. P. Orbe, 1998) such that               blogging about their own medication abortion. Given the
other women who feel muted may be empowered and cap-                 larger competing discourses about the legality of abortion in
able of finding similar language strategies.                         the U.S., we felt that the struggle of competing and contra-
    In this case study, we explore the complexity and conse-         dictory discourses would likely be apparent in women’s per-
quentiality of women’s language choices with anonymously             sonal blogging narratives. Further, contrapuntal analysis
telling their own medication abortion story, as well as offer        (Baxter, 2011) offered a critical perspective to our analysis as
the potential to capture the interplay of individual, organiza-      we studied the voices of marginalized women (e.g., women
tional, and social discourses surrounding the abortion debate.       who have had a medication abortion) whose perspectives are
The current divisiveness surrounding the socio-political cli-        often muted and stigmatized in society.
mate in the U.S. about abortion provides further exigency and            To understand the competing discourses and how meaning
credence for this research. Our critical analysis is rooted in the   was constructed through their interplay, we conducted the
interpretive paradigm with the purpose of explaining, describ-       first stages of thematic analysis to identify the discourses
ing, and illustrating the stories that women share on this           evident within each blog post (Braun & Clarke, 2006). This
website (Tracy, 2013). The following research questions              process required the three coders to independently familiarize
guide our iterative analysis:                                        themselves with the entire data set: reading the blogs several
                                                                     times and conducting line-by-line coding that captured the
RQ1: What topics are women disclosing to the “generalized            essence of the story in each line. Many of the inductive
other” in their blog?                                                analytic codes applied to the text were descriptive (e.g., uncer-
                                                                     tainty; not ready), process (e.g., discovering pregnancy, taking
RQ2: What (if any) sites of struggle characterize women’s            the pills), or in vivo codes (e.g., wanted baby; alone; Saldaña,
abortion narrative?                                                  2013). The coders met regularly for five months to discuss the
                                                                     codes independently applied to each blog post. During this
                                                                     time, codes emerged into themes as processes were identified
Methods                                                              in the data and repetitively noticed by all three coders (e.g.,
We conducted a case study approach (Arden Ford et al., 2014)         changing self perception, silence, responsibility, good parent-
of one website, www.abortionchangesyou.com. Case studies             ing). Discrepancies in coding were discussed during coding
are a contextual examination used to understand                      meetings and resolved through group consensus (Strauss &
a phenomenon within a particular context “and with respect           Corbin, 1990).
to multiple perspectives within that context” (Arden Ford                During the third and fourth months of data analysis, we went
et al., 2014, p. 118). By employing a case study approach, we        back to the data set to identify where discourses competed (e.g.,
were able to draw on multiple perspectives (e.g., 98 different       culpability; justification). Here, we paid particular attention to
blog stories) that were rooted in a specific context. This           where the bloggers used instances of negating (e.g., claiming
methodological choice is common in other communication               another discourse as irrelevant or rejecting it), countering (e.g.,
research, where the unit of analysis is an organization and the      offering a particular discursive position in replacement of
goals are to provide an in-depth understanding of the unique         another), and entertaining (e.g., not completely rejecting
particulars and complexities of the case within a larger social      a discourse, but instead noting the potential possibilities with
context (Norander & Brandhorst, 2017).                               different discourses; Baxter, 2011). Women used negating when
   Our case study included 98 blogs from women who have              saying, “can’t,” “not,” “couldn’t,” and “never.” Examples of
had a medication abortion and shared their story on the              countering were most apparent when women used the word
website. We included all blogs posted between                        “but.” Entertaining often occurred when women used the
October 2007 – February 2018. This date range reflects the           words “possibility” and “could have.” Finally, we identified
time period between the submission of the first medication           where and how competing discourses interpenetrated (Baxter,
abortion blog on the website in 2007, and the point at which         2011). Dialogically contractive discursive practices are silenced
we extracted our data for analysis in 2018. Women’s blogs            discourses. Examples of these discursive practices included
ranged in length from one paragraph to three pages of text,          negating talk, such as: “can’t talk about the abortion,” or “there
single-spaced (the average number of words for the 98 blogs          was no other choice.” In contrast, dialogically expansive discur-
was 655 words). All 98 blogs included content about one’s            sive practices are discourses that are encouraged and amplified.
own medication abortion; the vast majority (91 women; 93%)           Women used these discourses when saying things like: “I don’t
also discussed the events and emotions experienced before            want the procedure, but I don’t want the baby” or “hoping for
and after their medication abortion.                                 a brighter future now that it is over.”
                                                                                                           EX. 6 pg. 004
                                                                                                                App. 0052
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    Data were analyzed until the point of theoretical saturation     The decision: Only choice vs. other alternatives
(i.e., no new thematic categories were present in the blog
                                                                     Part of women’s narratives included a detailed account of
posts; Strauss & Corbin, 1990), which occurred after the 54th
                                                                     their decision to have a medication abortion. This decision
blog post. However, we continued to analyze the remaining
                                                                     was described as being rife with contradiction, and not
blog posts in an effort to verify that our analysis of the
                                                                     a flippant choice. Women enumerated various reasons that
discourses evident in the 54 posts accurately reflected all of
                                                                     were influential in their decision-making process: bad tim-
the posts within the entire data set. Further, we wanted to
                                                                     ing, financial instability, relationship problems, lack of
extract the best exemplars from the entire case study and
                                                                     family support, not married, too young, too many other
desired that quotations within all posts be considered for
                                                                     children, not prepared to be a parent yet, and/or best deci-
representation. Clear and concise exemplars of competing
                                                                     sion given the circumstances. After stating one of the afore-
discourses within women’s narratives were then selected and
                                                                     mentioned reasons, 92 women (94%) also explained that
agreed upon by all coders.
                                                                     abortion was the only or best option given the circum-
                                                                     stances. For example, one woman said: “I felt the child
                                                                     growing inside of me. I was rubbing my stomach without
Trustworthiness and rigor
                                                                     me even knowing. I felt the doubt in my heart, but kept
Evaluation of the quality of case study research should be           telling myself this is the best decision I needed to make”
determined by criteria associated within the naturalistic para-      (6–18-17). A different woman recounted:
digm (Arden Ford et al., 2014). Trustworthiness is the criter-
                                                                        “I always leaned more towards keeping the baby and my boy-
ion that assesses the credibility, transferability, dependability,      friend more towards abortion. I knew I could have the baby but it
and confirmability of the data collection and analysis pro-             would be difficult. We both work jobs that barely pay over mini-
cesses (Lincoln & Guba, 1985). We upheld these principles               mum wage and we both were scared to grow up and care for
when conducting this study by beginning with a careful                  a child” (10-24-17).
design that clearly defined its purpose, research questions,         Collectively, these exemplars illustrate how any possibility of
and notion of “boundedness” (i.e., establishing the limits           keeping the baby was negated by one of the reasons that
and context of the case; Arden Ford et al., 2014). Second,           warranted the need for having a medication abortion. Many
we spent sufficient time developing and analyzing the case:          of the reasons women cited for choosing abortion align with
our analysis transpired over five months. Third, we upheld the       the discourses from the Right to Choice movement: “A preg-
principles of reflexivity by using inductive coding for all blog     nancy to a woman is perhaps one of the most determinative
posts and writing individual and group memos throughout              aspects of her life. It disrupts her body. It disrupts her educa-
the entire coding process as a way to remain transparent and         tion. It disrupts her employment. And it often disrupts her
keep a data audit. Fourth, we had a team of three female             entire family life” (Roe v. Wade).
coders, which allowed for the presence of multiple feminine             However, the decision to have a medication abortion was
perspectives.                                                        not always independently made by the woman. In fact, 52
                                                                     women (53%) reported that the father to their child or other
                                                                     family members (e.g., parents) negated women’s own desires
Findings                                                             to keep the baby. For example, one woman said:
Our research questions focused on the topics that women                 “I remember my husband telling me, ‘well, don’t expect me to be too
discussed in their personal online blogging narrative posted            happy with the idea of having it if you decide to keep it. I won’t be
to www.abortionchangesyou.com (RQ1), and what (if any)                  too loving.’ That was a knife through my heart and I made the tough
sites of struggle were evident in these narratives (RQ2). Our           decision to go through with the abortion” (7-6-12).
contrapuntal analysis (Baxter, 2011) rendered four sites of
                                                                     Other family members also influenced women’s medication
dialectical tension: only choice vs. other alternatives, unpre-
                                                                     abortion decision, albeit her own desires to keep her baby:
pared vs. knowledgeable, relief vs. regret, and silence vs.
openness. Each site of struggle characterized a different               “But my father on the other hand was a different story. He is an
noteworthy moment within a woman’s medication abortion                  old school Puerto Rican who told me that I had to leave if I kept
                                                                        the baby. I had 2 weeks to get an abortion or else he would disown
experience: the decision, the medication abortion process,
                                                                        me forever” (3-8-2018).
identity after the abortion, and managing the stigmatizing
silence before and after the abortion. When recounting their         In both accounts, women communicated their personal
decision to have an abortion, women referenced the struggle          choice to have their baby; yet, their choice was negated by
of only choice vs. other alternatives. As women discussed the        family and friends who advocated that abortion was neces-
medication abortion process, the competing discourse of              sary. Centrifugal discourses about others influencing or pres-
unprepared vs. knowledgeable was evidenced. Women’s nar-             suring women to have an abortion are marginalized
ratives about their identity after the abortion indicated the        discourses.
dialectical struggle of relief vs. regret. Finally, the challenges      Finally, when making their decision, 48 women (49%)
with managing the tension between silence vs. openness               reported vacillating between keeping their baby and having
pervaded women’s narratives. Below we discuss each site              a medication abortion. Ultimately, outside circumstances or
of struggle using exemplar quotes from women’s blogs.                other people influenced their decision to abort. As mentioned
Quotes were not edited from their original post.                     earlier, 92 women (94%) shared that abortion was the best or
                                                                                                                EX. 6 pg. 005
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only option available given the circumstances. In many of                     were pulled out slowly. I collapsed screaming on my bathroom
these narratives, women did not believe nor realize that                      floor, sweat, tears, blood, vomit, and shit all over me” (10-9-09).
other alternatives, besides abortion, were tenable options                 Similarly, a different woman recounted:
until after having the abortion. For instance, one woman said:
                                                                              “They told me, if you by chance are in pain you can take these
   “They all tell you ‘it’s your choice’ in the moment, but you don’t         pain relievers. If by chance I’m in pain? That sounded like the
   feel that it is. Being unable to afford it, unable to tell your loved      process would be easy and not so painful. Well NO that was not
   ones, not having the help or feeling unable to support a child.            the case, within 30 minutes I felt really bad cramping. It just kept
   When your partner doesn’t want it like you do. All these things            getting worse and worse. I was crying and moaning from the pain.
   push you, blind you to a decision that you don’t realize will              I literally thought I was dying” (9-2-17).
   destroy you” (8-23-17).
                                                                           In both instances, women’s personal abortion experiences did
Similarly, another woman recounted: “I was kind of excited                 not align with the proximal-already-spoken messages (e.g.,
but I was so scared to tell my family …. I told my mom and                 “it’s just a pill”) that they were told by their medical providers.
her first response was I hope you’re getting an abortion.                      When women’s personal experiences contradicted what
You’re going to be a terrible mom” (11-5-17). Both exemplars               they were originally told by health care providers, family, or
illustrate the distal and proximal already-spoken discourses               friends women felt deceived. One woman communicated her
that influenced each woman’s decision to have a medication                 frustration by saying: “They told me it wouldn’t hurt and
abortion. Ultimately, these centripetal discourses (coming                 I wouldn’t feel a thing. THAT WAS SUCH A LIE. I felt
from society, the pro-choice movement, other people in                     everything, I heard everything, I seen everything. I ended up
their lives, or their own fears) negated the centrifugal dis-              blacking out from the pain and puking all over myself” (11-
course that other alternatives (adoption or keeping their baby)            5-17). Similarly, another woman said:
were justifiable options available to them.
                                                                              “We were told we would go back to normal and it won’t affect us
                                                                              but they were wrong!!! All I feel is emptiness and hatred. I used to
                                                                              be the happiest most positive girl. All I want is to take it back”
The medication abortion process: Unprepared vs.                               (12-15-14).
knowledgeable
                                                                           Even if women did not explicitly report feeling deceived,
Medication abortions where women undergo most of the                       many women stated that they were inadequately prepared
process individually at home with limited assistance from                  about what to expect. For instance, one woman said: “I
a medical provider are becoming more commonplace (Biggs                    knew to expect blood clotting, but nothing could’ve prepared
et al., 2019; H. E. Jones et al., 2017). While this process is             me for seeing her body. It was the color of my own skin, and
generally reported to be safe and adhere to evidence-based                 was actually starting to look like a person” (1-8-16). Within
guidelines (H. E. Jones et al., 2017), little is known about               women’s narratives, they expressed a desire for more detailed
women’s personal experiences with having this type of abor-                information about things such as: potential side effects, the
tion. All women in this case study reported having had                     intensity of cramping and bleeding, what to do after passing
a medication abortion. Forty-eight women (49%) provided                    the baby, and potential negative emotions (e.g., fear, uncer-
detailed accounts of their actual medication abortion experi-              tainty, sadness, pain) felt after the abortion. When this com-
ence at home. Women said things like: “I felt her come out”                prehensive information was not communicated to them prior
(1-8-16). Some women detailed the hardships of this process                to taking the pills at home, women reported feeling misled,
by saying: “I was in so much pain on the bathroom floor”                   misinformed, and even deceived. These types of experiences
(3–15-18); “the pills made me vomit, lose control of my                    and feelings after having had a medication abortion remain
bowels, sweat, faint, pass out, and go into full labor” (10-               centrifugal discourses that are muted within the abortion
9-09); and “I lay on my bed in the fetal position, holding                 debate.
my stomach” (9-5-15). Other women did not self-report such
negative experiences: “The actual process of taking the pill
was frightening but not as bad as I imagined” (9-8-15) and “I              Identity after medication abortion: Relief vs. regret
just popped some pills and got a period” (7-1-15).                         A third site of dialectical struggle was found in women’s talk
   In analyzing women’s talk about the medication abortion                 about their identity after the medication abortion. Most
process, a second site of struggle was identified: knowledgeable           women (N = 81; 83%) reported that their medication abortion
vs. unprepared. In this struggle, women discussed how they                 changed them, which is not surprising given the name of the
were told certain information about the medication abortion                website: Abortion Changes You. Of noteworthy significance is
process (e.g., when to take the pills, what the pills do, the need         understanding how women talked about these changes and
to contact a provider if complications arise), but ultimately              the tension evident in this part of their narrative. Of the 81
this information was insufficient, limited, or misleading.                 women (83%) who stated feeling changed after their medica-
Fourteen women (14%) reported being inadequately prepared                  tion abortion, 75 women (77%) reported being changed in
about what to expect during the medication abortion process.               a negative way. Here, women said things like: “I really thought
For example, one woman said:                                               that I could somehow go back to the way things were before
   “They lied to me and said they would give me some pills that            finding out I was pregnant. But I cannot. I am not the same
   would make it just like a late period with a little cramping … The      person, and my husband is certainly not the same either”
   pain of the contractions was so intense I felt like my intestines       (7–11-11). Negative changes often occurred when women’s
                                                                                                                     EX. 6 pg. 006
                                                                                                                          App. 0054
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actual abortion experience did not align with their precon-                term regret was rife with contradiction and also included
ceived ideas about what to expect. These ideas were informed               talk about initial relief. For instance, one woman said: “I
by larger discourses from society, as well as messages from                know I did the right thing for myself and it would be a lot
others (e.g., health care providers). Three women indicated                harder for me right now. But I still would give anything to go
a positive change after their abortion by noting something                 back in time and keep my baby” (11–19-12). Regret was
like:                                                                      regarded as a process that was realized over time and through
                                                                           one’s life experience. One woman stated: “Had I known how
   “Abortion did change my life … As soon as the stomach cramps
   (only slightly worse than regular menstrual pains) went away,
                                                                           badly I would feel now, I would have kept the baby, even if
   I felt like a whole new person. I couldn’t believe how much energy      I had to go through it alone” (10–21-15). Another woman
   I had again. It was like waking out of a deep depression” (7-1-15).     elaborated upon this process by saying:
Positive changes were denoted by experiencing an initial sense                “Knowing what I know now at almost a year later I would not
of relief with no longer being pregnant. Finally, three women                 have the abortion. That was my child and I should have done
                                                                              what I needed to do to give them a great life. I thought I had no
were ambivalent or didn’t report their change as positive or                  options but I did. I should have put my child first. No matter how
negative. One woman said: “I truly believe there is no right                  early the abortion is its still a growing life and i wish i had done
and wrong with this situation, it is a life changer but it’s your             things differently” (4-30-17).
choice” (9-7-10).
                                                                           In both accounts, women defined regret as the emotional
   Women discussed various issues when talking about
                                                                           pain, suffering, remorse, and guilt felt after the medication
change: impact on their emotional health as a result of the
                                                                           abortion. Yet, these emotions were often coupled with initial
abortion, differences in their relationship with their partner/
                                                                           feelings of relief from no longer being pregnant. In sum, the
spouse, and new perspectives on their general views of abor-
                                                                           decision to have a medication abortion was significant, trans-
tion. However, conflicting emotions were evident across all
                                                                           formative, and lifechanging for these women. One woman
women’s blog posts. For instance, one woman said:
                                                                           noted this change by saying: “From the outside, our life
   “I went home and confessed to my mother … She helped pull the           looks exactly the same as it would have. But on the inside,
   gigantic blood clots from my body … No one told me it would be          everything has changed for me” (10–21-15). Collectively, these
   like this; the clinic simply gave me what I asked for without telling   accounts expose how the different emotional changes resulted
   me what it entailed” (7-20-16).
                                                                           in a lived, dialectical tension between their life before the
Similarly, another woman recounted: “I thought maybe after                 abortion and their life after the abortion.
the due date I would feel better, but it doesn’t end there. It
NEVER ends! The pain and emptiness stays there forever”
(4–30-17). In these different accounts, the women alluded to               Managing the comprehensive stigmatizing silence:
their initial expectations of what the medication abortion                 Silence vs. openness
would entail or what others told them would happen after
their abortion. When a woman’s actual medication abortion                  Across women’s narratives, there existed an overarching dia-
experience did not align with these messages, women felt                   lectical tension of silence vs. openness, which was difficult for
disempowered, vulnerable, lost, upset, and sometimes                       many women to manage when interacting with others. In this
deceived.                                                                  struggle, women shared how their medication abortion was
   When discussing the changes experienced after the abor-                 often a solo, private experience that was not openly shared
tion, many women talked about emotional changes. One                       with others. Many women decided not to inform certain
woman said:                                                                family members about their pregnancy and abortion.
                                                                           Women noted feelings of shame, embarrassment, worry, or
   “At first it all seemed like a weight had been lifted and everything    fear as some of the reasons for not telling others. Along with
   was okay then I started to feel really sad and low and now all I do     stating these emotions, women said things like: “I never told
   is think about how many weeks pregnant I would have been and
   what my baby would look like and I miss so much” (4-26-10).
                                                                           the father and I don’t intend to” (8-4-17); “I don’t know if
                                                                           I will ever tell my husband and children about what I did”
As mentioned, processing one’s abortion experience was emo-                (2–11-12); or “I couldn’t talk to my family” (3–16-17). The
tional and took time. Some women wrestled with experiencing                initial decision to remain silent made it difficult to talk openly
negative and difficult emotions after having their abortion. In            with others about their feelings and experiences after their
fact, 37 women (38%) explicitly stated problems with anxiety,              medication abortion. Silence was also experienced in other
depression, drug abuse, and suicidal thoughts as a result of the           ways: one woman was glad she was home alone during her
abortion. For example, one woman said: “I am haunted by the                abortion so no one could hear her, while a different woman
image of my tiny baby. I always will be. I cut myself and even             left the abortion clinic and began crying and said, “why is
wanted to die” (3–22-13). Another woman recounted: “Looking                there so much silence here?” as she was taking her pill alone
at my kids thinking of another beautiful child. Couldn’t live              in her bathroom at home.
with myself. Wishing God would take my life” (12–16-11).                       Even if women did allow certain family members to
Collectively, these exemplars illustrate women’s emotional                 become privy to their abortion decision, openly discussing
changes about processing of their medication abortion.                     their feelings after the abortion remained difficult. When
   Finally, 75 women (77%) explicitly stated that they                     talking with others, one woman said: “I love my husband
regretted their decision to have an abortion. However, the                 but it is beyond difficult for me to talk to him about this,
                                                                                                                     EX. 6 pg. 007
                                                                                                                           App. 0055
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because I know he wants nothing more than to just move on            U.S. women are supportive of and nearly one-third are interested
from this” (4–28-18). A different woman recounted: “My               in medication abortion (Biggs et al., 2019). The growing interest
close friends know here but I don’t really feel I can talk to        and practice in this type of abortion provision warrant scholars to
them about it. I don’t feel like i can talk to anyone about it”      understand women’s experiences. Our study is the first in the
(2-9-13). Despite these women’s desires to talk about their          U.S. to conduct a case analysis of women’s online blogging narra-
abortion, others (e.g., the baby’s father, their husband,            tives about having had a medication abortion. We focused on
family members) refused to engage in conversation with               understanding the discursive dynamics and contradictions that
them. As a result, women said things like: “I feel like              influenced and shaped women’s talk about their own experiences.
I have no one to speak to about it since he doesn’t think            Our analysis rendered four sites of dialectical tension: only choice
about it the way I do” (9-8-15), and “I try to talk about it         vs. other alternatives, unprepared vs. knowledgeable, relief vs. regret,
with my family and the baby’s dad but they all tell me it’s in       and silence vs. openness. Each site of struggle characterized
the past” (10–28-17).                                                a different stage of women’s medication abortion narrative: the
    Oftentimes, certain dates (such as their child’s due date) or    decision, the medication abortion process, after-abortion identity,
friends with other babies who are of similar age to their            and the general stigmatizing silence associated with abortion.
“would-have-been child” led to triggering events where                   As other scholars have noted (Kimport & Doty, 2019), we
women desired to express their feelings with others, but felt        found that women relied upon language choices that aligned
like they couldn’t talk openly. For instance, one woman said:        with the existing ideological frameworks from both the Right
“But I haven’t really been able to share the true regret and         to Life and Right to Choice movements. For instance, some
near constant jealously of my loved ones engagements or              women used the words “fetal tissue,” while other women used
pregnancies” (11–21-16). Another woman stated: “I knew               the word “baby” when referencing their pregnancy. Women
I had to have an abortion, but these feelings I have right           also explicitly mentioned distal already-spoken messages from
now I never imagined I’d have. I don’t want to go out,               both movements about how they were told “it’s just a pill” or
I don’t want to tell anyone, all I feel like doing is crying”        “I’ve killed my baby.” Such language choices are not idle
(7-8-18). Thus, the isolation and silence leading up to her own      linguistic distinctions, but rather indicate a woman’s aware-
medication abortion continued to pervade after the abortion,         ness of the different semantics and terminology surrounding
creating additional communication challenges with freely             the larger cultural narratives about abortion. This awareness
expressing her emotions with family and friends.                     was particularly evident when women discussed the overarch-
    Silence was often described as being frustrating and chal-       ing silence stigmatizing one’s abilities to openly talk with
lenging. In fact, 59 women (60%) reported feelings of isolation      family and friends about their medication abortion experi-
and alienation. As a result, some women personally attacked          ence. Thus, women’s talk about their own personal experi-
themselves. For example, one woman said: “I feel like I’m            ences, their justification for having an abortion, and their own
living a lie I get up get ready for work get my family up like       sense-making after the medication abortion were shaped by
normal the days go on like normal but I’m not normal I killed        the available heuristics and frames from larger cultural dis-
my baby I’m a monster!!” (3–14-17). Similarly, a different           courses and political movements (Kimport & Doty, 2019).
woman wrote: “As a mom I feel like a monster and I have                  Cultural narratives of abortion are powerful and construct
to act like nothing happened” (4–18-17). These demeaning             meaning and truth (Ludlow, 2008). While a woman’s personal
language choices (e.g., monster, killer) are present in the          story about her medication abortion is individual and now
distal-already-spoken societal discourses about abortion.            occurs in a more private setting (e.g., at home), this experience
Women’s awareness of these larger discourses led some                remains social and political, defined, and reified by larger cul-
women to write about their intentional use of selective lan-         tural narratives and semantics (Beynon-Jones, 2017; Cockrill &
guage choices when talking about their abortion with others.         Nack, 2013). The sexual liberalism script that reflects positive
One woman shared: “I tried to find an OBGYN that could see           attitudes toward nontraditional sexual behaviors influences indi-
me ASAP. I went in and told them I had a miscarriage                 vidual’s attitudes about abortion (Tokunaga et al., 2015), as well
because I was ashamed of the truth of what I did” (3–21-             as their own narratives about medication abortion. We found
18). Finally, some women reported struggling in silence by           evidence of these larger discourses within women’s talk about
saying things like: “I am in desperate need of assistance and        their own medication abortion, and in particular, their rationale
I am too embarrassed to attend an in person support group”           for their decision, their description of the medication abortion
(11–21-16), and “And when I got home, I had to hold it all in.       process, their reflections on their identity after the abortion, and
I was so ashamed of my choice. I couldn’t let anyone know”           the overall stigmatizing silence resulting in a muted voice and
(2–11-11). Even though these women were able to anon-                the public illegitimacy of their own narrative. For instance, many
ymously write about their abortion on this website, they felt        of the justifiable reasons recounted by women in this case study
muted by their loved ones because of the centripetal dis-            for having an abortion align with the centripetal discourses of
courses of shame and embarrassment associated with                   the Right to Choice movement regarding bodily rights and
abortion.                                                            a woman’s freedom of choice. Among women having abortions
                                                                     in the U.S., finances and lack of readiness are the most com-
                                                                     monly cited reasons for choosing abortion (Finer et al., 2005).
Discussion
                                                                         The presence of larger cultural narratives can result in
A national study that assessed women’s support for and interest in   dialectical tensions as one seeks to construct her own abortion
alternative models of abortion provision found that about half of    narrative and considers disclosing that narrative to others. In
                                                                                                              EX. 6 pg. 008
                                                                                                                   App. 0056
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particular, many women described experiencing both relief             Recent movements such as Shout Your Abortion and
and regret after their abortion. Historically, these two emo-     #YouKnowMe have tried to dispel the stigma and silence
tions have been juxtaposed and positioned as binary emotions      surrounding abortion. However, these movements remain
that are socially and politically aligned (Ehrlich & Doan,        politically aligned and purport the “American Dream” abor-
2019). The Right to Choice movement discourse aligns with         tion narrative: I was able to go to college/graduate/get a good
the notion that abortion proffers emotional relief, whereas the   job due to my abortion. These more recent public narratives
Right to Life movement discourse positions itself with abor-      frame abortion as a restitution or quest experience (Frank,
tion resulting in regret. This polarized alignment and framing    1995), where women are portrayed as being able to return to
results in both movements speaking different languages and        normalcy and good health, or regard their abortion story as
never fully listening nor engaging with the other (Wiederhold,    one part of their personal journey that they were able to
2014). One proposed origin of this framing dates back to the      overcome. While such discourses were evident in some
legal reasoning of the 2007 U.S. Supreme Court case Gonzales      women’s blogs and have been shown to reduce abortion
v. Carhart, where the federal partial-birth abortion ban was      stigma when openly disclosed (Cockrill & Biggs, 2017),
upheld. However, our analysis of women’s narratives post-         many women’s narratives within this case study characterized
medication abortion exposes the complex duality of these two      chaos narratives (Frank, 1995) where the abortion experience
emotions often being experienced in tandem, as opposed to         interrupted their daily lives and left them feeling out of con-
being simplistic binaries. The either-or, unidimensional script   trol. Most notably, over 50% of the sample reported that the
from both the Right to Choice and Right to Life movements –       father to their child or other family members used negating
abortion provides either relief or results in regret – fueled     language as a means to justify a woman’s need for an abor-
a sense of tension for many of the women as they processed        tion, albeit her own desires to keep her baby. In addition, 75
their identity after the abortion and considered openly dis-      women (77%) regretted their decision, and 37 women (38%)
closing those private experiences with others. Thus, these        reported struggling with mental illness and suicidal thoughts
women’s narratives illustrate that one’s individual experiences   after the abortion. While previous scholarship has also found
with having had a medication abortion may result in a both/       evidence of some women experiencing negative outcomes
and: initial relief coupled with later regret. A reliance upon    after an abortion due to a lack of decision-making power
political movement discourses to construct one’s own narra-       and limited social support (Kimport et al., 2011), as well as
tive may continue to marginalize or invalidate one’s own          possible significant relationships between abortion and mental
private medication abortion experience when the larger            health problems (see Fergusson et al., 2013; Reardon, 2018),
scripts remain politically charged and polarized (LaRoche &       these centrifugal discourses remain muted and marginalized
Foster, 2018).                                                    in the U.S. abortion debate.
   The stigma and risk that characterize the topic of abortion
are influenced and shaped by the larger centrifugal discourses
                                                                  Limitations and directions for future research
from both the Right to Choice and Right to Life movements
(Beynon-Jones, 2017; Cockrill & Nack, 2013). For example,         As with all scholarship there are limitations. Most notably,
Cockrill and Nack (2013) found that women seeking an abor-        there is a lack of generalizability due to the limited scope: we
tion often attempt to manage the stigma of abortion through       only analyzed women’s medication abortion narratives anon-
non-disclosure, stating their reasons for having an abortion as   ymously posted to one website. However, it is important to
“exceptional” and necessary, or condemning the Right to Life      note that the purpose of this project was to make analytic
perspectives about abortion. In a different study on Southside    generalizations based on gathering an in-depth descriptive
Chicago African-American adolescent females, the majority of      understanding of these women’s medication abortion narra-
sexually active teens never talked with their parents about the   tives. Second, all qualitative case studies are limited by the
topic of abortion, and almost 20% expressed fears of harm or      sensitivity and integrity of the investigators. We attempted to
eviction if their parent were to learn of an abortion in their    surmount this obstacle by having three qualitatively trained
past (Sisco et al., 2014). In our case study, we found that       female researchers who completed independent coding and
women also experienced stigma, silence, and fear that led         collectively participated in the contrapuntal analysis process.
them to remain private and/or secretive with certain indivi-      Third, case study research is criticized for not having a clear
duals throughout their medication abortion experience.            set of systematic procedures (Yin, 2014). To address this
Silence before or during the medication abortion process          concern, we sought to clarify and provide transparency with
resulted in women experiencing additional challenges later        the methodological techniques used. Fourth, the anonymity
on with talking openly about one’s experiences. Altogether,       of women’s blog submissions to the website did not allow us
these findings align with communication scholars who have         to gather and report the social demographics of the women
found that when private health information disclosures are        who anonymously shared their abortion narratives, which
deemed as being threatening or stigmatizing, one’s private        again hinders the generalizability of our findings. Finally,
health information remains concealed (Baxter & Akkoor,            the population of women who write an anonymous post
2011; Ebersole & Hernandez, 2016). This is important because      about their abortion experience may be different from those
secrecy of one’s abortion is associated with poorer coping        who do not.
(Major & Gramzow, 1999; Major et al., 1997), and may result          All of these limitations provide avenues for future research.
in further isolation and lack of social support from others       Most importantly, this single case study demonstrates the need
(Cockrill & Biggs, 2017).                                         for a broader, pluralistic, mixed-method research strategy that
                                                                                                      EX. 6 pg. 009
                                                                                                           App. 0057
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                                                                                                                 HEALTH COMMUNICATION              1493


assesses women’s medication abortion narratives, particularly                Becker, K. A., & Freburg, K. (2014). Medical student storytelling on an
given its increased popularity amongst women seeking this type                  institutional blog: A case study analysis. Medical Teacher, 36(5),
                                                                                415–421. https://doi.org/10.3109/0142159X.2014.891007
of abortion provision. Such research could interview women                   Beynon-Jones, S. M. (2017). Untroubling abortion: A discourse analysis
who have had a medication abortion, as well as use surveys to                   of women’s accounts. Feminism & Psychology, 27(2), 225–242. https://
assess different variables such as demographic factors, health                  doi.org/10.1177/0959353517696515
literacy, and privacy management strategies employed when                    Biggs, M. A., Ralph, L., Raifman, S., Foster, D. G., & Grossman, D.
talking about one’s medication abortion.                                        (2019). Support for and interest in alternative models of medication
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                                                                                traception.2018.10.007
Conclusion                                                                   Braun, V., & Clarke, V. (2006). Using thematic analysis in psychology.
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n sum, our findings show that the medication abortion experience
                                                                                1191/1478088706qp063oa
is rife with tension and contradiction. This complexity and duality          Cockrill, K., & Biggs, A. (2017). Can stories reduce abortion stigma?
are not evident in much of the larger cultural discourses and                   Findings from a longitudinal cohort study. Culture, Health & Sexuality,
political debates about abortion. Many women in this case study                 20(3), 335–350. https://doi.org/10.1080/13691058.2017.1346202
noted that their decision to have a medication abortion was not              Cockrill, K., & Nack, A. (2013). “I’m not that type of person”: Managing
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a flippant decision or an easy choice where women remained                      https://psycnet.apa.org/doi/10.1080/01639625.2013.800423
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medication abortion. Therefore, it is critical to transcend the                 https://doi.org/10.1080/01463373.2016.1176939
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silence in order to expose both sides of the debate and understand
                                                                                reproductive freedom. Praeger. http://publisher.abc-clio.com/
how these larger discourses influenced women’s personal language                9781440839856
choices when constructing their own abortion narrative and anon-             Fergusson, D. M., Horwood, J. L., & Boden, J. M. (2013). Does abortion
ymously sharing it with others online. The tensions and dialectical             reduce the mental health risks of unwanted or unintended pregnancy?
struggles experienced after having a medication abortion and                    A re-appraisal of the evidence. Australian & New Zealand Journal of
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attempting to share it with others remain silent from public dis-
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course and debate (Hallgarten, 2018). Presently, this silence posi-             (2005). Reasons U.S. women have abortions: Quantitative and quali-
tions one’s abortion story as an either-or, binary experience that is           tative perspectives. Perspectives on Sexual and Reproductive Health, 37
politically aligned with one movement or another. The larger                    (3), 110–118. https://doi.org/10.1363/psrh.37.110.05
discourses prevalent within both the Right to Life and Right to              Frank, A. W. (1995). The wounded storyteller: Body, illness and ethics.
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research process. We also want to thank Caroline Funk for her assistance        e0186487. https://doi.org/10.1371/journal.pone.0186487
with data analysis. In addition, we would like to recognize the women,       Jones, M., & Alony, I. (2008). Blogs – The new source of data analysis.
who through their own accord and as separate from this research study,          Journal of Issues in Informing Science and Information Technology, 5
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   Science Medicine, 191(1), 109–116. https://doi.org/10.1016/j.socs            incidence and service availability in the United States, 2017.
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                  Exhibit 7
 Regulations Requiring Manufacturers to Assess
 the Safety and Effectiveness of New Drugs and
Biological Products in Pediatric Patients, 63 Fed.
            Reg. 66,632 (Dec. 2, 1998)




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DEPARTMENT OF HEALTH AND                     marketed in the United States that are      drugs to survey existing data and
HUMAN SERVICES                               or could be used in children are            determine whether those data were
                                             inadequately labeled for use in pediatric   sufficient to support additional
Food and Drug Administration                 patients or for use in specific pediatric   pediatric use information in the drug’s
                                             subgroups (Refs. 1 and 2). Indeed, many     labeling. Under the 1994 rule, if a
21 CFR Parts 201, 312, 314, and 601          of the drugs and biological products that   manufacturer determines that existing
[Docket No. 97N–0165]                        are widely used in pediatric patients       data permit modification of the label’s
                                             carry disclaimers stating that safety and   pediatric use information, the
RIN 0910–AB20                                effectiveness in pediatric patients have    manufacturer must submit a
                                             not been established (Refs. 2 and 3).       supplemental new drug application
Regulations Requiring Manufacturers
                                             Safety and effectiveness information for    (NDA) to FDA seeking approval of the
to Assess the Safety and Effectiveness
                                             some pediatric age groups is particularly   labeling change.
of New Drugs and Biological Products                                                        Although the preamble to the 1994
                                             difficult to find. For example, there is
in Pediatric Patients                                                                    rule recognizes FDA’s authority to
                                             almost no information on use in patients
AGENCY: Food and Drug Administration,        under 2 years of age for most drug          require drug and biological product
HHS.                                         classes (Ref. 1).                           manufacturers to conduct pediatric
ACTION: Final rule.                             As described in more detail in the       studies on a case-by-case basis, the rule
                                             proposal, the absence of pediatric          does not impose a general requirement
SUMMARY: The Food and Drug                   labeling information poses significant      that manufacturers carry out studies
Administration (FDA) is issuing new          risks for children. Inadequate dosing       when existing information is not
regulations requiring pediatric studies      information exposes pediatric patients      sufficient to support pediatric use
of certain new and marketed drug and         to the risk of adverse reactions that       information. Instead, if there is
biological products. Most drugs and          could be avoided with an appropriate        insufficient information to support a
biologics have not been adequately           pediatric dose. The lack of pediatric       pediatric indication or pediatric use
tested in the pediatric subpopulation.       safety information in product labeling      statement, the rule requires the
As a result, product labeling frequently     exposes pediatric patients to the risk of   manufacturer to include in the product’s
fails to provide directions for safe and     age-specific adverse reactions              labeling the statement: ‘‘Safety and
effective use in pediatric patients. This    unexpected from adult experience. The       effectiveness in pediatric patients have
rule will partially address the lack of      proposal cited reports of injuries and      not been established.’’
pediatric use information by requiring       deaths in children resulting from use of       The response to the 1994 rule has not
that manufacturers of certain products       drugs that had not been adequately          substantially addressed the lack of
provide sufficient data and information      tested in the pediatric population. The     adequate pediatric use information for
to support directions for pediatric use      absence of pediatric testing and labeling   marketed drugs and biological products.
for the claimed indications.                 may also expose pediatric patients to       Pediatric labeling supplements were
DATES: Effective date. The regulation is     ineffective treatment through               submitted for approximately 430 drugs
effective April 1, 1999.                     underdosing, or may deny pediatric          and biologics, a small fraction of the
   Compliance dates. Manufacturers           patients therapeutic advances because       thousands of prescription drug and
must submit any required assessments         physicians choose to prescribe existing,    biological products on the market. Of
of pediatric safety and effectiveness 20     less effective medications in the face of   the supplements submitted,
months after the effective date of the       insufficient pediatric information about    approximately 75 percent did not
rule, unless the assessments are waived      a new medication. Failure to develop a      significantly improve pediatric use
or deferred by FDA.                          pediatric formulation of a drug or          information. Over half of the total
                                             biological product, where younger           supplements submitted simply
FOR FURTHER INFORMATION CONTACT:
                                             pediatric populations cannot take the       requested the addition of the statement
Khyati N. Roberts, Center for Drug
                                             adult formulation, may also deny            ‘‘Safety and effectiveness in pediatric
Evaluation and Research (HFD–103),
                                             pediatric patients access to important      patients have not been established.’’
Food and Drug Administration, 5600                                                       Others requested minor wording
                                             new therapies, or may require pediatric
Fishers Lane, Rockville, MD 20857,                                                       changes or submitted unorganized,
                                             patients to take the drug in
301–594–6779, or Karen D. Weiss,                                                         unanalyzed collections of possibly
                                             extemporaneous formulations that may
Center for Biologics Evaluation and                                                      relevant data. Approximately 15 percent
                                             be poorly or inconsistently bioavailable.
Research (HFM–570), Food and Drug               The proposed rule described previous     (approximately 65) of the supplements
Administration, 1401 Rockville Pike,         steps taken by FDA in recent years to       provided adequate pediatric information
Rockville, MD 20852, 301–827–5093.           address the problem of inadequate           for all relevant pediatric age groups, and
SUPPLEMENTARY INFORMATION:                   pediatric testing and inadequate            another 8 percent (approximately 35)
                                             pediatric use information in drug and       provided adequate pediatric information
I. Introduction
                                             biological product labeling. FDA’s          for some but not all relevant age groups.
   In the Federal Register of August 15,     Center for Drug Evaluation and Research        The absence of adequate pediatric use
1997 (62 FR 43900) (hereinafter referred     (CDER) and Center for Biologics             information remains a problem for new
to as the proposal), FDA proposed to         Evaluation and Research have                drugs and biologics as well as for
require that manufacturers of certain        implemented a ‘‘Pediatric Plan’’            marketed products. The proposal
new and marketed drugs and biologics         designed to focus attention on, and         presented data from 1988 through the
conduct studies to provide adequate          encourage voluntary development of,         1990’s showing that the percentage of
labeling for the use of these products in    pediatric data both during the drug         new products entering the marketplace
children. As described in the proposal,      development process and after               with adequate pediatric safety and
children are subject to many of the same     marketing. In addition, in the Federal      effectiveness information has not
diseases as adults, and are, by necessity,   Register of December 13, 1994 (59 FR        increased in the last decade.
often treated with the same drugs and        64240) (hereinafter referred to as the         For example, FDA compared the
biological products as adults. However,      1994 rule), FDA issued a regulation         number of new molecular entities
many drugs and biological products           requiring manufacturers of marketed         (NME’s) approved in 1991 and 1996


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with potential usefulness in pediatric       Considerations for Pediatric                   exclusivity or patent protection granted
patients and looked at the adequacy of       Pharmacokinetic Studies for Drugs and          to the manufacturer for that drug.
pediatric labeling for those drugs. Fifty-   Biological Products’’ (November 30,               Although FDA expects the exclusivity
six percent (9/17) of the NME’s              1998). FDA also plans to develop               offered by FDAMA to provide a
approved in 1991 with potential              additional guidance on how to develop          substantial incentive for sponsors to
usefulness in pediatric patients had         effectiveness, safety, and dosing              conduct some pediatric studies, the
some pediatric labeling at the time of       information to support pediatric               agency nonetheless believes that this
approval. In 1996, only 37 percent (15/      labeling. The agency also supported a          final rule is necessary to significantly
40) of the NME’s with potential              provision in the reauthorized                  increase the number of drug and
usefulness in pediatric patients had         Prescription Drug User Fee Act                 biological products that have adequate
some pediatric labeling at the time of       (PDUFA) eliminating user fees for              labeling. Certain limitations on the
approval. For both 1991 and 1996, those      pediatric supplements to encourage the         scope and effect of the exclusivity
drugs counted as having pediatric            submission of these supplements.               offered by FDAMA are likely to leave
labeling may not have been studied in           Finally, FDA has issued a guidance          significant gaps in pediatric labeling.
all age groups in which the drug was         document entitled ‘‘Providing Clinical         For example, because FDAMA
potentially useful. The manufacturers of     Evidence of Effectiveness for Human            exclusivity applies only to products that
an additional 7 of the 1991 drugs and 17     Drug and Biological Products,’’                have exclusivity or patent protection
of the 1996 drugs promised to conduct        describing the kinds of studies that can       under the Drug Price Competition and
pediatric studies after approval. Since      support effectiveness in supplemental          Patent Term Restoration Act and the
publication of the proposal, figures for     or original applications. In that              Orphan Drug Act, it provides no
1997 NME’s have become available. In         document, FDA provides guidance to             incentive to conduct studies on certain
1997, 39 NME’s were approved.                manufacturers on the circumstances in          categories of products, including most
Twenty-seven had potential usefulness        which FDA may approve an initial or            antibiotics, biologics, and off-patent
in pediatric patients, and 33 percent of     supplemental claim in which                    products.
these (9/27) had some pediatric labeling                                                       In addition, the voluntary nature of
                                             substantiation of the results of an
at the time of approval. Postapproval                                                       the incentive provided by FDAMA is
                                             adequate and well-controlled trial is
studies were requested or promised for                                                      likely to leave many drugs, age groups,
                                             provided by information other than a
an additional six. It is uncertain how                                                      and indications unstudied. Given
                                             second adequate and well-controlled
many of the commitments made for                                                            limited resources to conduct pediatric
                                             trial precisely replicating the first trial,
postapproval studies of the 1996 and                                                        studies, it is probable that
                                             or the circumstances in which studies
1997 drugs will result in pediatric                                                         manufacturers will elect to conduct
                                             without the extensive documentation            pediatric studies preferentially on those
labeling. Of the seven NME’s approved        ordinarily required could be utilized.
in 1991 for which sponsors made                                                             drugs for which the incentives are most
                                             This guidance will often be relevant to        valuable, i.e., on drugs with the largest
commitments to conduct postapproval          the data needed to support claims in a
pediatric studies, pediatric labeling has                                                   sales. This may leave unstudied drugs
                                             pediatric population.                          that are greatly needed to treat pediatric
been added to only one. This figure
reflects both studies that resulted in          Since the issuance of the proposal,         patients, but that have smaller markets.
positive labeling, i.e., safety and dosing   Congress has enacted a bill that has an        For similar reasons, manufacturers are
information, and studies that resulted in    impact on pediatric studies of certain         less likely to seek FDAMA exclusivity
warnings against pediatric use. It does      drugs. The Food and Drug                       by conducting studies on drugs that
not reflect studies that failed to provide   Administration Modernization Act of            require studies in neonates, infants, or
any useful information about pediatric       1997 (FDAMA) (Pub. L. 105–115)                 young children. The youngest pediatric
use or studies that were completed but       contains provisions that establish             populations are more difficult to study
the sponsor failed to seek a change in its   economic incentives for conducting             and may require pediatric formulations,
pediatric use labeling.                      pediatric studies on drugs for which           making pediatric studies of these groups
   These data indicate that voluntary        exclusivity or patent protection is            more expensive, thereby reducing the
efforts have, thus far, not substantially    available under the Drug Price                 value of the incentives provided by
increased the number of products             Competition and Patent Term                    FDAMA. Thus, where there is a great
entering the marketplace with adequate       Restoration Act (Pub. L. 98–417) and the       medical need for data on drugs with
pediatric labeling. FDA has therefore        Orphan Drug Act (Pub. L. 97–414).              relatively small markets or for studies
concluded that additional steps are          These provisions extend by 6 months            on neonates, infants, or young children,
necessary to ensure the safety and           any existing exclusivity or patent             it may be necessary to require the
effectiveness of drug and biological         protection on a drug for which FDA has         collection of such data, rather than rely
products for pediatric patients. This rule   requested pediatric studies and the            on incentives.
requires the manufacturers of new and        manufacturer has conducted such                   Finally, manufacturers are eligible for
marketed drugs and biological products       studies in accordance with the                 FDAMA exclusivity when they submit a
to evaluate the safety and effectiveness     requirements of FDAMA. FDAMA also              study to FDA that is consistent with
of the products in pediatric patients, if    specifically recognizes FDA’s intention        FDA’s written request for such a study.
the product is likely to be used in a        to require pediatric studies by                The study results are not required to
substantial number of pediatric patients     regulation and extends by 6 months any         provide useful information on pediatric
or would provide a meaningful                existing exclusivity or patent protection      use (e.g., the results may be
therapeutic benefit to pediatric patients    on a drug whose manufacturer submits           inconclusive), and the sponsor is not
over existing treatments.                    pediatric studies in compliance with           required to obtain approval of a
   In addition to issuing this rule, FDA     this rule, if the studies meet the             supplement adding the information
has initiated other actions that it hopes    completeness, timeliness, and other            gained in the study to the drug’s label.
will encourage the development of            requirements of section 505A. Under            Thus, FDAMA provides no guarantee
adequate pediatric use information.          FDAMA, a manufacturer who submits              that the studies conducted under the
FDA has issued a draft guidance              pediatric studies required under this          statute will result in improved pediatric
document entitled ‘‘General                  rule may receive a 6-month extension of        labeling.


                                                                                                            EX. 7 pg. 002
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   For these reasons, FDA believes that      studies of those marketed drugs and          indications claimed by the
there remains an important need for this     biological products that: (1) Are used in    manufacturer. It does not require a
rule. FDA has concluded, however, that       a substantial number of pediatric            manufacturer to study its product for
with respect to already marketed drugs       patients for the claimed indications, and    unapproved or unclaimed indications,
eligible for exclusivity under FDAMA,        where the absence of adequate labeling       even if the product is widely used in
the publication of the list required by      could pose significant risks; or (2)         pediatric patients for those indications.
section 505A(b) and the availability of      would provide a meaningful therapeutic       In the proposed rule, the pediatric study
pediatric exclusivity may diminish the       benefit over existing treatments for         requirement for drugs was contained in
need to exercise the agency’s authority      pediatric patients, and the absence of       § 314.50(g) (21 CFR 314.50(g)). In the
to require studies. Under the rule, FDA      adequate labeling could pose significant     final rule, the requirement is located in
has discretion whether to require            risks to pediatric patients.                 new § 314.55, because § 314.50 does not
studies of marketed drugs (see § 201.23                                                   contain other specific study
                                             A. Scope of Rule
(21 CFR 201.23)). FDA believes that, in                                                   requirements. The location of the
exercising its discretion under § 201.23,       The proposed rule would have              requirement for biological products
it is appropriate to determine whether       required an application for a drug           (§ 601.27 (21 CFR 601.27)) remains
manufacturers will undertake the             classified as a ‘‘new chemical entity’’ or   unchanged in the final rule.
needed studies voluntarily. FDA will         a new (never-before-approved)
therefore allow an adequate opportunity      biological product to contain safety and     C. Age Groups
for manufacturers voluntarily to submit      effectiveness information on relevant          The final rule requires pediatric
studies for drugs listed by FDA as           pediatric age groups for the claimed         studies in each age group in which the
having a high priority. If, following such   indications. Based upon comments             drug or biological product will provide
an opportunity, there remain marketed        observing that changes in already            a meaningful therapeutic benefit or will
drugs for which studies are needed and       marketed chemical entities, such as new      be used in a substantial number of
the compelling circumstances described       indications or dosage forms, can have as     pediatric patients for the indications
in the rule are met, the agency will         much or more therapeutic significance        claimed by the manufacturer. The
consider exercising its authority to         for pediatric patients than the original     relevant age groups will, however, be
require studies. With respect to             product, the final rule expands the          defined flexibly, depending on the
marketed drugs and biologics that are        scope of the rule to include new active      pharmacology of the drug or biological
not eligible for exclusivity under           ingredients, new indications, new            product, rather than following the fixed
FDAMA, FDA intends to exercise its           dosage forms, new dosing regimens, and       age categories defined in the 1994 rule
authority to require studies as of the       new routes of administration for which       and identified in the preamble to the
effective date of the rule in the            an applicant seeks approval. The final       proposed rule. For drugs and biological
circumstances described in the               rule does not, however, require the          products that offer a meaningful
regulation. FDA emphasizes that the          submission of pediatric data for a drug      therapeutic benefit, the rule requires
appearance of a drug or biologic on the      for an indication or indications for         manufacturers to develop pediatric
list published under section 505A(b)         which orphan designation has been            formulations, if needed, for those age
carries no implication that FDA will         granted under section 526 of the Federal     groups in which studies are required.
require studies on that drug or biologic     Food, Drug, and Cosmetic Act (the act)       Manufacturers may, however, avoid this
under this rule. FDA intends to reserve      (21 U.S.C. 360bb).                           requirement if they demonstrate that
its authority to require studies of          B. Types of Studies Needed                   reasonable attempts to develop a
marketed drugs and biologics to                                                           pediatric formulation have failed.
situations in which the compelling              As described in the 1994 final rule,
circumstances described in the               gathering adequate data to establish         D. Not-Yet-Approved Products
regulation are present.                      pediatric safety and effectiveness may
                                             not require controlled clinical trials in    1. Deferral of Studies Until After
   FDA intends to issue further                                                           Approval
regulations and guidance implementing        pediatric patients. Where the course of
the pediatric exclusivity provisions of      the disease and the product’s effects are       The final rule permits the submission
FDAMA, which will, among other               similar in adults and pediatric patients,    of pediatric information to be deferred
things, provide guidance on the              FDA may conclude that pediatric safety       until after approval if there is an
interaction of this rule and FDAMA           and effectiveness can be supported by        adequate justification for deferral, e.g.,
exclusivity.                                 effectiveness data in adults together        because pediatric studies should not
                                             with additional data, such as dosing,        begin until some safety and/or
II. Highlights of the Final Rule             pharmacokinetic, and safety data in          effectiveness information on adults has
   This final rule is designed to ensure     pediatric patients. The rule also does       been collected, or awaiting the
that new drugs and biological products       not necessarily require separate studies     completion of pediatric studies would
contain adequate pediatric labeling for      in pediatric patients. In appropriate        delay the availability of a product to
the approved indications at the time of,     cases, adequate data may be gathered by      adults. When trials should begin in
or soon after, approval. The final rule      including pediatric patients as well as      particular cases, and whether deferral
establishes a presumption that all new       adults in the original studies conducted     will be necessary, will depend upon the
drugs and biologics will be studied in       on the product.                              seriousness of the disease for which the
pediatric patients, but allows                  The specific pediatric information        drug or biological product is indicated,
manufacturers to obtain a waiver of the      needed in each case will depend on the       the need for the product, the amount of
requirement if the product does not          nature of the application, what is           safety and effectiveness data available,
represent a meaningful therapeutic           already known about the product in           and what types of pediatric studies are
benefit over existing treatments for         pediatric populations, and the               needed.
pediatric patients and is not likely to be   underlying disease or condition being           In general, FDA expects that studies
used in a substantial number of              treated. The final rule requires an          of drugs or biological products for
pediatric patients. The rule also            assessment of safety and effectiveness in    diseases that are life threatening in
authorizes FDA to require pediatric          pediatric patients only for the              pediatric patients and that lack adequate


                                                                                                           EX. 7 pg. 003
                                                                                                                App. 0063
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therapy could begin earlier than studies       (1) The product does not represent a           therapeutic options, notwithstanding
of drugs that are less urgently needed,        meaningful therapeutic benefit for             the fact that it might not be a priority
ordinarily as early as the availability of     pediatric patients over existing               drug. In contrast to the range of
preliminary safety data in adults              treatments, and (2) the product is not         therapies for a given indication often
(frequently referred to as phase 1 data),      likely to be used in a substantial number      available to adults, there are relatively
even if data from well-controlled studies      of pediatric patients. There was some          few instances in which therapeutic
are not yet available. For less critical       confusion in the comments on the               alternatives are studied and labeled for
drugs and biologics, pediatric studies         proposed rule over these waiver criteria.      pediatric patients. For some diseases,
could ordinarily begin when additional         FDA emphasizes that the study                  however, it is therapeutically important
safety and/or effectiveness data from the      requirement applies to a product that          to have a range of available treatment
initial well-controlled trials in adults       offers a meaningful therapeutic benefit        options, e.g., because there are frequent
(frequently referred to as phase 2 data)       even if it is not used in a substantial        treatment failures. The Priority
became available. Of course, studies of        number of pediatric patients, and vice         definition would cover the first product
products for exclusively pediatric             versa.                                         labeled for pediatric use, but might not
diseases ordinarily need not await the            In response to comments, FDA has            cover the second or third product for a
development of adult data. The timing          refined its definitions of ‘‘meaningful        given indication or in a given class, if
of individual pediatric studies will,          therapeutic benefit’’ and ‘‘substantial        the subsequent product did not offer an
however, necessarily depend on the             number of pediatric patients.’’ To define      advantage over existing therapies. The
specific information available about the       meaningful therapeutic benefit for both        specific number of products needed will
product in question. For example, a            drugs and biologics covered by this rule,      depend upon such factors as the
study of a noncritical drug in                 FDA has relied, in part, on CDER’s             severity of the disease being treated and
adolescents might begin after the initial      current administrative definition of a         the adverse reaction profile of existing
safety studies in adults, if all the parties   ‘‘Priority’’ drug, applied to pediatric        therapies. FDA will seek further
involved agreed that initiation was            populations. The administrative                guidance on applying this criterion from
appropriate in light of the results of the     definition of ‘‘Priority’’ products for        a panel of pediatric experts.
adult and animal safety studies.               biologics relies on different criteria (Ref.      Thus, new products will meet the
   In other cases, studies should not          2). Use of CDER’s Priority drug                definition of a meaningful therapeutic
begin in pediatric patients until              definition to help define ‘‘meaningful         benefit if: (1) They provide a significant
significantly more adult data are              therapeutic benefit’’ is not intended to       improvement over existing adequately
collected. For example, FDA does not           affect the administrative definition of a      labeled therapies; or (2) if they are
believe that early study or use in             Priority biologic. The Priority                indicated for diseases or conditions, or
pediatric patients is appropriate for          classification for drugs is determined         are in product classes, in which there
some so-called ‘‘me-too’’ drugs that are       based on CDER’s estimate, at the time of       are currently few products labeled for
expected to be widely used but are             NDA submission, of a drug’s                    pediatric use and more therapeutic
members of a drug class that already           therapeutic, preventive, or diagnostic         options are needed. FDA expects that
contains an adequate number of                 value. A Priority drug is defined as one       over time, as the number of products
approved products with pediatric               that, if approved, would be a significant      adequately labeled for pediatric patients
labeling. Such drugs may not have been         improvement in the treatment,                  grows, the number of new products
shown to provide any benefit over other        diagnosis, or prevention of a disease,         meeting the second criterion will
products in the same class, and may            compared to marketed products                  diminish. FDA emphasizes that the
introduce new risks that are not               approved for that use. In establishing         addition of the second criterion for
apparent until the drug has been in            meaningful therapeutic benefit for             defining meaningful therapeutic benefit
wide use after marketing. Studies of           pediatric use, the comparison will be to       under this final rule is not intended to
such drugs will therefore usually be           other products adequately labeled for          alter the definition of a Priority drug,
deferred until the safety profiles of the      use in the relevant pediatric population.      and that products meeting the second
drugs are well established through             If there are no such products, a new           criterion will not thereby be eligible for
marketing experience. To encourage use         product would usually be considered to         Priority status. FDA also notes that the
of properly labeled drugs in pediatric         have a meaningful therapeutic benefit.         rule’s definition of meaningful
patients, FDA may require the pediatric        Improvement over existing products             therapeutic benefit is intended to apply
use section of the approved labeling of        labeled for pediatric use can be               only in the pediatric study context.
such a me-too drug to contain a                demonstrated by, for example: (1)                 FDA has also revised the proposed
statement recommending preferential            Evidence of increased effectiveness in         definition of ‘‘a substantial number of
use of other drugs that are adequately         treatment, prevention, or diagnosis of         pediatric patients.’’ Many comments
labeled for pediatric use.                     disease; (2) elimination or substantial        argued that the number chosen by FDA
                                               reduction of a treatment-limiting drug         in the proposal (100,000 prescriptions
2. Waiver of the Study Requirement                                                            per year or 100,000 pediatric patients
                                               reaction; (3) documented enhancement
   The pediatric study requirement             of patient compliance; or (4) evidence of      with the disease) was arbitrary.
applies to all applications for new active     safety and effectiveness in a new              Physician mention data from the IMS
ingredients, new indications, new              subpopulation. Evidence of                     National Disease and Therapeutic Index
dosage forms, new dosing regimens, and         improvement over existing therapies            (Ref. 38), which tracks the use of drugs
new routes of administration, unless           need not in all cases come from head-          by measuring the number of times
FDA waives the requirement. Under              to-head trials.                                physicians mention drugs during
criteria established in the rule, FDA may         To help ensure that pediatric patients      outpatient visits, shows that pediatric
waive the study requirement for some or        have a sufficient range of treatments          use of drugs is generally grouped in two
all pediatric age groups. The burden is        available, a product will also be              distinct ranges. Physician mentions of
on the sponsor to justify a waiver. A          considered to provide a meaningful             drugs for pediatric use generally fall
waiver will be granted if the waiver           therapeutic benefit if it is in a class of     either below 15,000 per year or above
request demonstrates that the product          products or for an indication for which        100,000 per year. Few drugs fall within
meets both of the following conditions:        there is a need for additional                 the two ranges. Thus, selecting a cut-off


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                                                                                                                   App. 0064
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for ‘‘substantial number of pediatric       indications. The criteria for requiring      III. Comments on the Proposed Rule
patients’’ in the middle of the two         studies of marketed products have been         FDA received 54 written comments
ranges will provide a reasonable            revised slightly in response to              on the proposed rule from pediatricians,
discrimination between products that        comments.                                    professional societies, parents, members
are widely used and those that are less                                                  of the pharmaceutical industry,
commonly used, and the specific             F. Early Discussions and Pre- and
                                            Postmarket Reports                           organizations devoted to specific
number chosen will not arbitrarily                                                       diseases, and patient groups. A
include or exclude a significant number       The final rule contains provisions         significant majority of the comments,
of drugs. FDA has therefore chosen          designed to encourage discussions of         primarily those from pediatricians,
50,000 as the cut-off for a substantial     the need for pediatric studies early in      professional societies, parents,
number of pediatric patients. Because
                                            the drug development process, as well        organizations devoted to specific
the number of pediatric patients with
                                            as pre- and postmarketing reporting          diseases, and patient groups, supported
the disease or condition is easier to
                                            requirements designed to assist FDA in       regulations requiring that drugs and
determine than the number of
                                            determining whether pediatric studies        biologics be studied in children. Many
prescriptions per year, a substantial
                                            are needed for particular products and       of these comments described the
number of pediatric patients will be
                                            whether required studies are being           problems faced by the pediatric
defined as 50,000 pediatric patients
                                            carried out with due diligence.              community and parents resulting from
with the disease or condition for which
                                                                                         inadequate pediatric labeling and the
the drug or biological product is           G. Pediatric Committee                       absence of pediatric formulations, and
indicated. Although physician mentions
per year does not correspond exactly to        Many comments on the proposed rule        argued that a pediatric study
the number of patients with the disease     urged FDA to form a committee of             requirement was long overdue. Some
or condition, they provide a rough          outside experts to assist in various         comments, primarily those from the
approximation and the IMS data show         aspects of the implementation of the         pharmaceutical industry, opposed a
that the number of products included or     rule. FDA has concluded that such a          pediatric study requirement, arguing
excluded is relatively insensitive to       panel could provide useful advice and        that existing voluntary measures and
changes in the cut-off chosen. As           experience. FDA will convene a panel of      incentives were sufficient to ensure
proposed, a partial waiver for a            pediatric experts, including at least one    adequate pediatric labeling. Finally, a
particular pediatric age group would be     industry representative, and seek its        number of comments addressed FDA’s
available under this method if 15,000                                                    legal authority to require pediatric
                                            advice on a range of issues related to
patients in that age group were affected                                                 testing of drugs and biologics.
                                            implementation of the rule, including:
by the disease or condition. This                                                          FDA also held a day-long public
                                            (1) The agency’s implementation of all
definition of ‘‘a substantial number of                                                  hearing on October 27, 1997, in
                                            aspects of the final rule, including its
pediatric patients’’ has not been                                                        Washington, DC, at which recognized
                                            waiver and deferral decisions; (2) which
codified, however, and FDA may                                                           experts in the field, members of the
                                            marketed drugs and biological products
modify it, after consulting with a panel                                                 pharmaceutical industry, and other
                                            meet the criteria for requiring studies;
of pediatric experts. Any modification                                                   interested parties were given an
                                            (3) when additional therapeutic options      opportunity to discuss the issues raised
will be issued in a guidance document       are needed for a given disease or
with an opportunity for comment.                                                         by the proposed rule. There were three
                                            condition occurring in pediatric             panels, each of which comprised
   FDA will also waive the pediatric        patients; (4) ethical issues raised by
study requirement where: (1) The                                                         representatives from industry, the
                                            clinical trials in pediatric patients; (5)   pediatric community, organizations
applicant shows that the required           the design of trials and analysis of data
studies on the product are impossible or                                                 devoted to specific diseases, patient
                                            for specific products or classes of          groups, and a bioethicist. The panels
highly impractical because, for example,    products; and (6) issues related to the
the population is too small or                                                           considered the following three issues:
                                            progress of individual studies.              (1) When pediatric studies are needed,
geographically dispersed; (2) the
product is likely to be unsafe or           H. Remedies for Violation of the Rule        (2) what types of studies are needed,
ineffective in pediatric patients; or (3)                                                and (3) special challenges in testing
reasonable efforts to develop a pediatric      For violations of this rule, FDA would    pediatric patients. Those who spoke
formulation (if one is needed) have         ordinarily expect to file an enforcement     were nearly unanimous in their support
failed.                                     action for an injunction, asking a           for some kind of regulation requiring
   To reduce the burden on                  Federal court to find that the product is    pediatric studies of some drugs and
manufacturers in applying for waivers       misbranded under section 502 of the act      biologics. There was, however, a wide
and deferrals, FDA intends to issue a       (21 U.S.C. 352) or is an unapproved new      range of views on which drugs and
guidance document providing a format        drug under section 505(a) of the act (21     biologics should be the subject of
for a request for waiver or deferral.       U.S.C. 355) or an unlicensed biologic        required studies and on how the
                                            under section 351 of the Public Health       requirement should be implemented.
E. Marketed Products                        Service Act, and to require the company        Many written and oral comments
  The final rule is also intended to        to submit an assessment of pediatric         raised specific issues for consideration
improve pediatric use information for       safety and effectiveness for the product.    by the agency. These comments are
already marketed drugs and biological       Violation of the injunction would result     addressed below.
products. The rule codifies FDA’s           in a contempt proceeding or such other
authority, discussed in the 1994 rule, to   penalties as the court ordered, e.g.,        A. Purpose of Rule
require, in the compelling                  fines. FDA does not intend, except             1. FDA received many comments
circumstances described in the              possibly in rare circumstances, to           arguing that this rule is needed to
regulation, that manufacturers of           disapprove or withdraw approval of a         ensure adequate medical care for
already marketed drugs and biological       drug or biological product whose             children. Many comments from
products conduct studies to support         manufacturer violates requirements           pediatricians stated that they regularly
pediatric-use labeling for the claimed      imposed under this rule.                     must prescribe to young children drugs


                                                                                                         EX. 7 pg. 005
                                                                                                              App. 0065
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that are not labeled for children under      literature are an adequate substitute for    appropriately labeled and formulated
6 or even 12, and for which pediatric        organized and complete pediatric             for pediatric patients causes parents to
dosage forms do not exist. One comment       labeling information. To the extent that     give children inappropriate doses,
stated that, without adequate testing and    published experience is informative and      sometimes giving up part of their own
labeling, physicians must estimate           credible, it should be used to improve       dose if the child’s physician will not
appropriate pediatric doses, and that        labeling. The comments received from         prescribe it.
even at ‘‘appropriate’’ doses, it is not     pediatricians reflect their view that           Other comments pointed out that
known whether use in children is as          there is often no adequately supported       epilepsy is considered a pediatric
safe as use in adults. One comment           dosing and safety information for the        disease but claimed that many new
argued that the absence of pediatric         drugs they use routinely in their            epilepsy drugs are approved without
labeling puts children at greater risk for   patients. Even where case reports are        information for use in pediatric patients.
adverse drug reactions (ADR’s) and           available, they describe a limited           These comments urged that anti-
therapeutic failures than adults.            number of pediatric patients and cannot      epileptic drugs be added to the list of
According to another comment, most           provide sufficient information to            drug classes with inadequate labeling. A
common and severe ADR’s in pediatric         establish the safety profile of a drug in    comment from a specialist in pulmonary
patients would be eliminated by              pediatric patients.                          medicine stated that although asthma is
adequate testing, and that perhaps 2            2. Some comments argued that              a common disease in pediatric patients,
percent of all pediatric hospitalizations    pediatric studies are needed because         adult formulations are often released
are due to ADR’s. One comment                differences between children and adults      first, leaving pediatric patients without
concluded that the failure to conduct        can make extrapolation from adult data       effective treatments. Other comments
pediatric studies results in a different     treacherous. One comment pointed out         observed that not one of the standard
standard of care for children and adults     that research on antiarrhythmics in          immunosuppressive medications used
in this country.                             pediatric patients has revealed many         in pediatric patients has been tested in
   A comment from a pharmaceutical           surprises in dosing and side effects. For    pediatric patients. One comment
trade association argued, however, that      example, drugs that bind to milk may         contended that poor information about
most of the toxicity problems identified     cause safety or effectiveness problems in    the pharmacokinetics of these drugs in
by FDA as caused by inadequate               pediatric patients not detected in adults.   pediatric patients has led to inadequate
pediatric labeling were from the 1950’s         FDA agrees that pediatric dosing          dosing to achieve effectiveness and
and that these ‘‘dated’’ examples are not    cannot necessarily be extrapolated from      possibly unnecessary toxicity.
relevant to current practice. As an          adult dosing information using an               The American Psychiatric Association
example, the comment cited                   equivalence based either on weight           commented that significant psychiatric
chloramphenicol, a drug referred to by       milligram/kilogram (mg/kg) or body           diseases are increasingly diagnosed in
FDA in the proposed rule because,            surface area (mg/m 2). There are             pediatric patients, who may be treated
when it was used in the 1950’s in            potentially significant differences in       with drugs despite the lack of pediatric
neonates without adequate testing, it        pharmacokinetics, or unique drug-food        labeling. According to this comment,
was responsible for many infant deaths       interactions, that may alter a drug’s        most psychoactive medications are
(Ref. 4). According to the comment, it is    blood levels in pediatric patients.          underutilized in pediatric patients due
now known that chloramphenicol can           Moreover, there can be                       to the lack of pediatric labeling and to
be used in neonates if the dose is           pharmacodynamic differences between          fear of overdosing. In the case of anti-
correct. The comment also stated that        adults and pediatric patients.               hyperactivity drugs, however, the
practicing physicians have access to            3. Several comments argued that           comment states that as many children
adequate dosing information from case        voluntary measures have not resulted in      are overtreated as undertreated,
reports in the medical literature.           a significant increase in pediatric          especially among pre-school age
   FDA agrees that the absence of            labeling, and that new products              children. A comment from the National
adequate pediatric labeling puts             continue to enter the market without         Institute of Mental Health (NIMH) stated
pediatric patients at risk for adverse       adequate, or any, pediatric labeling.        that the rule was much needed to
drug reactions and ineffective dosing.       Pediatricians, professional societies,       provide essential data on the safety and
FDA believes that the reference to new       parents, organizations devoted to            effectiveness of psychiatric medications
dosing information that permits use of       specific diseases, and patient groups        in pediatric patients. This comment
chloramphenicol in infants illustrates       provided many examples of diseases           attached seven NIMH reviews of the
the need for this final rule. Had            and drug classes for which pediatric         existing data on psychotropic
adequate safety and dosing information       labeling was long-delayed, inadequate,       medications for pediatric patients,
been available earlier, many babies’         or nonexistent. Acquired immune              identifying many critical knowledge
lives could have been saved. Instead,        deficiency syndrome (AIDS) drugs were        gaps that remain to be addressed by
adequately supported dosing                  frequently cited as an example of the        pediatric research.
information was not available until after    industry’s failure to obtain adequate           One comment stated that pediatric
the drug had been used in a large            pediatric labeling at or near the time of    nephrologists frequently prescribe drugs
number of babies, with tragic                approval. One comment pointed to             to pediatric patients for life-threatening
consequences. FDA also disagrees with        protease inhibitors, which are               conditions, including antihypertensive
the comment that the remaining reports       theoretically most effective in newborns     medications, diuretics, lipid-lowering
cited in the proposal of unexpected          but have not been tested or approved for     agents, and immunosuppressive agents,
toxicity in pediatric patients from          use in this group. Even for older            even for pediatric patients less than 2
inadequately tested drugs are ‘‘dated.’’     children, the comment observed that it       years of age, without benefit of formal
Contrary to the assertion in the             has taken over a year after adult            studies. This comment further stated
comment, a majority of these reports are     approval to obtain pediatric labeling for    that drug therapy for chronic conditions
from the 1980’s and 1990’s (Refs. 5          these life-saving drugs. Another             like kidney failure is currently based
through 14).                                 comment stated that the absence of           only on experience gained from drug
   FDA also does not believe that case       drugs for human immunodeficiency             usage in children after approval for the
reports scattered through the medical        virus (HIV) infection that are               indication in adults, and that


                                                                                                          EX. 7 pg. 006
                                                                                                               App. 0066
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discovering ‘‘inadequate dosing or                                        pediatric labeling for marketed drugs,                             or that will be widely used in pediatric
severe side effects by empiric use of                                     the new rule should apply only to new                              patients. As described in section I of
these drugs is not desirable or safe.’’                                   drugs. One comment argued that                                     this document, the response to the 1994
Another comment provided the results                                      incentives, including exclusivity,                                 rule has not produced a significant
of a survey of 4,898 pediatric patients                                   waiver of user fees, tax credits, and                              improvement in pediatric labeling for
with end-stage renal disease on the                                       expedited reviews of pediatric                                     marketed drugs. FDA received labeling
medications they receive. Ninety-seven                                    supplements, and liability protection for                          supplements only for a small fraction of
percent received prednisone or                                            research physicians, Institutional                                 the drugs and biologics on the market.
prednisolone, 91 percent received                                         Review Boards (IRB’s), universities,                               Of those supplements it did receive,
cyclosporine, and 84 percent received                                     pharmaceutical firms, and parents, are                             over half of the submissions merely
azathioprine. According to the                                            the best means of obtaining pediatric                              sought to add a statement to the
comment, none of these drugs was                                          labeling. A few comments argued that                               product’s labeling that ‘‘safety and
studied in pediatric patients and no                                      excessive litigation will follow                                   effectiveness in pediatric patients have
information on the pharmacokinetics of                                    imposition of this rule.                                           not been demonstrated,’’ and less than
these drugs in pediatric patients is                                         Two comments argued that the 53                                 a quarter provided adequate pediatric
available.                                                                NME’s approved in 1996 demonstrate                                 information for some or all relevant age
  In contrast, several comments from                                      that pediatric labeling efforts by the                             groups.
the pharmaceutical industry argued that                                   industry are adequate, and that new                                   The agency’s experience in attempting
voluntary measures, the 1994 rule, and                                    requirements are not needed. Although                              to obtain pediatric labeling for new
the incentives provided by FDAMA are                                      the figures used in the 2 comments do                              drugs entering the marketplace through
adequate to assure adequate pediatric                                     not agree exactly, these comments stated                           voluntary measures has also been
labeling and that FDA has not given                                       that 20 or 21 of the 53 have potential for                         disappointing. As described in the
these steps sufficient time to work.                                      pediatric use. According to these                                  proposal, the percentage of NME’s with
Several comments argued that to obtain                                    comments, of these, 4 have approved                                adequate pediatric labeling has not
pediatric studies, FDA should use                                         pediatric labeling, 14 have planned or                             increased since 1991, when the agency
encouragement and early discussion                                        ongoing studies, 1 is switching to over-                           began systematic efforts to obtain better
with sponsors, together with incentives,                                  the-counter (OTC) use, and 1 or 2 have                             pediatric labeling. Although the number
rather than imposing new requirements.                                    no immediate plans for pediatric                                   of requests by the agency and
These comments contended that                                             labeling activities. One comment                                   commitments by sponsors to conduct
sponsors should make ‘‘phase 4                                            contended that, between 1990 and 1997,                             phase 4 (postapproval) pediatric studies
commitments’’ (commitments to                                             a 28 percent increase occurred in the                              may have increased, these requests and
conduct pediatric studies after approval)                                 number of new drugs in development                                 commitments have so far infrequently
and FDA should track these                                                for pediatric uses, but provided no data                           resulted in pediatric labeling. Table 1 of
commitments. According to one                                             to support this claim.                                             this document displays the results of
comment, these methods have not been                                         FDA believes that the current state of                          commitments or requests to conduct
systematically used by FDA. According                                     pediatric labeling for drugs and                                   pediatric studies postapproval between
to another comment, FDA did not                                           biologics in the United States, as amply                           1991 and 1996. FDA notes that the table
describe its present experience in                                        illustrated by comments from the                                   does not reflect any labeling
getting manufacturers to conduct                                          pediatric community, is unsatisfactory.                            supplements under review. There are a
pediatric studies. Other comments                                         The agency’s failure to obtain a                                   total of six pediatric labeling
argued that FDA has not allowed the                                       significant increase in labeling for either                        supplements currently under review for
1994 rule sufficient time to produce                                      new or marketed drugs or biologics                                 NME’s approved between 1991 and
results and that the agency should wait                                   through other measures implemented                                 1996. These supplements may or may
until it has reviewed and acted upon all                                  over the last several years demonstrates                           not add significant new labeling
supplements submitted under that rule                                     the need for a requirement that sponsors                           information; but, in any case, would not
before imposing new requirements. One                                     conduct pediatric studies of drugs and                             substantially increase the number of
comment contended that if the 1994                                        biologics that represent a meaningful                              successfully conducted postapproval
rule was successful in producing                                          therapeutic benefit to pediatric patients                          studies.

                                                                                 TABLE 1.—PEDIATRIC LABELING
                                            Status of pediatric labeling                                                             1991   1992   1993    1994     1995    1996   Totals

NME’s approved ..............................................................................................................          30     25      25      22      28      53     183
Pediatric studies not needed ..........................................................................................                14     11      11       7      14      13      70
Label includes some pediatric use information or pediatric studies complete at time of
  approval .......................................................................................................................      9      4      15      16       5      15      44
Postapproval pediatric studies promised or requested ..................................................                                 7     10    2 10   2,3 10    2 10     17      64
Pediatric labeling added after approval ..........................................................................                      1      0       2       4       2       2      11
   1 In one case, pediatric use information provided for one of two approved indications.
   2 In one case, pediatric data requested for second of two approved indications.
   3 In one case, pediatric data requested for additional age groups.




  As Table 1 of this document reflects,                                   at the time of approval and the number                             why the two sets of figures conflict.
FDA’s figures disagree with those of the                                  for which commitments or requests for                              Nevertheless, the historical experience
comments for the number of 1996                                           postapproval studies have been made.                               reflected in the table suggests that most
NME’s with potential for pediatric use,                                   The comments did not identify specific                             of the postapproval pediatric studies for
the number with some pediatric labeling                                   drugs, so it is not possible to determine                          which commitments were made for the


                                                                                                                                                              EX. 7 pg. 007
                                                                                                                                                                   App. 0067
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1996 NME’s will not result in pediatric      before infants and children are exposed       pediatric patients over 5 million times.
labeling. Of the 17 commitments to           to [a drug].’’                                FDA notes, moreover, that, contrary to
conduct pediatric studies in 1996, there        As described in more detail in section     the suggestion in the comments,
have thus far been only 2 additions of       III.D of this document under ‘‘Deferral,’’    adequate labeling has been added for
pediatric labeling. Although some            FDA expects that for drugs and biologics      only 1 of the 10 drugs for the age group
additional studies supporting labeling       other than those for life-threatening         described in the proposal.
changes may be submitted in the future,      diseases without adequate treatment,             6. Two comments disputed the
the experience reflected in Table 1 of       clinical trials in pediatric patients will    estimated number of times their
this document suggests that this will not    ordinarily begin no earlier than when         products were prescribed to pediatric
be a large number. For example, the 27       initial data from well-controlled trials in   patients. One manufacturer argued that
promised or requested studies for the        adults (frequently referred to as phase 2     the total units sold of Auralgan were
1991 through 1993 cohorts have               data) become available to ensure that         less than the listed number of
resulted in just 3 additions of pediatric    reasonable preliminary evidence of            prescriptions. Another manufacturer
labeling 5 to 7 years after approval.        safety and/or effectiveness is available      disputed the estimates of Ritalin usage.
Thus, FDA does not agree that the            before pediatric patients are exposed to      This manufacturer also complained that
experience with 1996 NME’s                   the drug or biological product. How           it was not contacted by FDA about use
demonstrates the adequacy of current         much evidence of safety or effectiveness      of Ritalin despite the statement in the
efforts to obtain pediatric labeling.        is ‘‘reasonable evidence’’ that should be     proposal that FDA had contacted the
   None of the comments claiming that        available before pediatric trials may         manufacturers of the top 10 drugs used
the rule will result in excessive            begin will be determined on a case-by-        without adequate labeling in pediatric
litigation provided any evidence             case basis. Thus, FDA believes that this      patients.
suggesting a relationship between            rule is substantially consistent with the        Limitations on the data used to
pediatric testing and increased litigation   1977 document.                                estimate number of prescriptions may
or liability. As shown in the number of         FDA notes that the 1977 document           have resulted in the discrepancy noted
NME’s with pediatric labeling at the         was based upon a report prepared for          by the manufacturers of Auralgan or
time of approval, a significant minority     FDA under a contract with the                 Ritalin. The number of prescriptions is
of drug and biologic manufacturers           American Academy of Pediatrics (AAP).         estimated from data provided by IMS
already conducts pediatric testing. FDA      The AAP is currently developing               America, Ltd. IMS NDTI surveys a
is aware of no evidence that excessive       proposed revisions to this document           sample of physicians (more than 2,940
litigation has been associated with this     concerning the types of data needed to        physicians representing 27 specialities)
testing.                                     support pediatric labeling. The 1977          to determine the number of times that,
   With respect to the argument that the     document, which falls under the general       during patient contacts, physicians
incentives provided by FDAMA will be         category of guidance documents, does          mentioned specific drugs for particular
sufficient to ensure adequate pediatric      not bind FDA or the public, but               age groups. Physician mentions may not
labeling, FDA believes that a mixture of     represents the agency’s current thinking      correlate exactly with actual usage. In
incentives and requirements is most          on a particular issue. Alternative            addition, the NDTI numbers taken from
likely to result in real improvements in     approaches may be used if the                 the sample of physicians are
pediatric labeling. FDA is hopeful, e.g.,    alternative satisfies the requirements of     extrapolated to the nation as a whole,
that the FDAMA incentives will make          the applicable statute and regulations        using a given formula. With respect to
more resources available for pediatric       (62 FR 8961, February 27, 1997) (Good         the claim that FDA has not contacted
studies. As described earlier, FDA does      Guidance Practices document). Until           the manufacturer of Ritalin, FDA notes
not believe, however, that incentives        such time as an updated guidance on           that it has scheduled meetings with the
alone will result in pediatric studies on    the clinical evaluation of drugs in           manufacturer to discuss use of the drug
some of the drugs and biologics where        infants and children is published,            in children, which have been canceled
the need is greatest. The incentives         sponsors are encouraged to confer with        at the manufacturer’s request.
provided by FDAMA are available only         the agency before initiating pediatric           7. One comment challenged FDA’s
for drugs already covered by the             studies.                                      use of quinolones as an example of a
exclusivity or patent protection                5. Several comments challenged             class of drug that does not need to be
provided by sections 505 and 526 of the      FDA’s use of the 1994 IMS National            studied in pediatric patients. The
act. Thus, the FDAMA incentives are          Disease and Therapeutic Index (NDTI)          comment claimed quinolones do need
not available for many already marketed      data on the 10 drugs used most                to be studied in pediatric patients
drugs, or for many antibiotics or            frequently in pediatric patients without      because of their important use in cystic
biologics. In addition, limited resources    adequate labeling, arguing that the data      fibrosis patients.
available to conduct pediatric studies       incorrectly imply that physicians have           FDA agrees that fluoroquinolones may
and fiduciary obligations to                 no labeling information, when in fact         provide important therapeutic benefits
shareholders may cause manufacturers         prescribing information is now, or will       to patients with cystic fibrosis. At
to conduct pediatric studies                 be, available for most of the 10 drugs        present, all approved fluoroquinolones
preferentially on those drugs where the      listed.                                       are labeled with the following
incentives are most valuable, rather than       These comments misunderstand the           statement: ‘‘Safety and effectiveness in
on those drugs or biological products        purpose for which FDA cited the 1994          children and adolescents less than 18
where studies are most needed.               data. Those data provided a snapshot of       years of age have not been established.’’
   4. Two comments argued that the rule      the labeling information available to         In addition, the label includes a
is inconsistent with a 1977 FDA              physicians for 10 widely used drugs at        statement advising that the
document entitled ‘‘General                  a given point in time. Even if additional     fluoroquinolones cause arthropathy in
Considerations for the Clinical              information had been added to the             juvenile animals. Historically, the
Evaluation of Drugs in Infants and           labels of these drugs in the 4 years since    agency has recognized a potential
Children,’’ which recommended, among         the survey was conducted, there was           therapeutic role for the
other things, that ‘‘reasonable evidence     none available during a year in which         fluoroquinolones in children with cystic
of efficacy generally * * * be known         the drugs, together, were prescribed to       fibrosis and hematology/oncology


                                                                                                           EX. 7 pg. 008
                                                                                                                App. 0068
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disorders. Indeed, FDA recently              safety and effectiveness data to             and never-before approved biologics, on
approved ciprofloxacin labeling              conclude that the study is ethically and     one hand, and significant modifications
containing a discussion of cystic fibrosis   medically appropriate.                       of those products, on the other hand.
experience in the pediatric use                                                           Therefore, FDA has revised proposed
                                             B. Scope
subsection. These actions show that the                                                   §§ 314.55 (proposed 314.50(g)) and
agency recognizes that there may be a           The proposal would have covered           601.27(a) to cover applications for new
need to study fluoroquinolones in some       only original applications for those         active ingredients, new indications, new
pediatric patients.                          drugs classified as ‘‘new chemical           dosage forms, new dosing regimens, and
   8. One comment from a                     entities,’’ including antibiotics, and new   new routes of administration. The final
pharmaceutical company argued that           biological products that had never been      rule exempts from its coverage any drug
serious ethical, legal, medical, and         approved for any indication. A ‘‘new         for an indication or indications for
technical difficulties often prevent         chemical entity,’’ defined in 21 CFR         which orphan designation has been
conducting pediatric studies. The            314.108(a), is a drug that contains no       granted under the Orphan Drug Act (21
comment cited difficulties in enrolling      previously approved active moiety.           U.S.C. 360bb). FDA believes this
pediatric patients in sufficient numbers,    Under the proposal, chemical                 exemption is appropriate because the
unwillingness of parents to enroll           modifications that did not change the        purpose of the Orphan Drug Act is to
children, and the absence of pediatric       active moiety, such as the formation of      encourage the development of drugs for
patients with the disease near               a different salt or ester of the moiety,     patient populations that are so small as
convenient and qualified study centers.      would not have required further study.       to make the manufacture and sale of the
According to the comment, studies have       New indications or dosage forms of a         drug unprofitable if not for the
been successfully conducted in               previously approved moiety also would        incentives offered by the Orphan Drug
pediatric patients in the past where         not have required further studies. FDA       Act. Imposition of a pediatric study
there was a medical need for the drug        sought comment on whether the                requirement on an orphan drug could
in pediatric patients, but this rule will    requirement should apply more broadly,       conflict with the balance struck by the
require pediatric studies of drugs           e.g., to applications for minor chemical     Orphan Drug Act, by further raising the
intended for adults that may or may not      variations of approved products, new         cost of marketing the drug. This
be administered to pediatric patients.       indications, new dosage forms or new         exemption does not apply after
The comment also contended that the          routes of administration.                    marketing under § 201.23 of this final
rule will necessitate a massive infusion        9. A majority of those who                rule.
of resources for industry, FDA, and          commented on the scope of the rule             FDA’s decision to expand the scope of
medical speciality organizations, and        recommended that the final rule cover        the rule does not mean, however, that
that the agency should start with a small    all new drugs and biologics, including       pediatric studies would always be
list of diseases with similar                new dosage forms and indications,            needed for a new product entering the
pathophysiology in adults and children,      because modifications in existing drugs      marketplace, or for a new claim. The
and a small list of drug classes known       may be as therapeutically significant to     waiver criteria will apply equally to
to have similar metabolism, and plan a       pediatric patients as the original drug or   modifications of existing drugs and
graduated approach.                          biologic. These comments included            biological products. Thus, FDA will
   Contrary to the suggestion in the         pediatricians, medical societies, one        require studies only of those new drugs
comment, this rule is designed to            pharmaceutical company, and one              and biologics that offer a meaningful
require studies only in those settings in    disease-specific organization. Several       therapeutic benefit to pediatric patients
which there is a significant medical         comments, including two companies, an        or that are expected to be used in a
need or where usage among pediatric          IRB, the AAP, a disease-specific             substantial number of pediatric patients.
patients is likely to be substantial. FDA    organization, and a professional society     In many cases, moreover, new dosage
acknowledges the difficulties                recommended including new                    forms might need relatively little
encountered in some cases, but agrees        indications and dosage forms on a case-      pediatric data, such as pharmacokinetic
that where there is a need for studies       by-case basis, generally if their            data alone.
these difficulties have been overcome        inclusion were recommended by an               10. One comment sought clarification
and that pediatric studies have been         expert panel. Several comments               of the applicability of the rule to generic
successfully conducted in many               supported the narrow scope of the            drugs. The comment argued that the
situations. FDA believes that the            proposal, including a pharmaceutical         collection of pediatric data was
number of such studies already               trade association, a professional society,   unwarranted where a generic
conducted each year, for example of          and several companies. The                   manufacturer was copying a drug with
antibiotics, vaccines, and roughly 25        pharmaceutical trade association             an adult dose, and that FDA should
percent of NME’s, support the view that      suggested that the rule might also apply     require a pediatric bioequivalence study
such studies are not medically,              to new formulations uniquely suited to       only where the innovator submits a
ethically, or technically impossible.        pediatric patients.                          supplement for a new dose or regimen
FDA also emphasizes that this rule will         FDA has reconsidered the scope of the     in the pediatric population. Another
not require studies in settings where        rule in light of the comments and has        comment from a generic drug trade
ethical or medical concerns militate         concluded that, in some cases, the need      association argued that bioequivalence
against studies. As with all studies         for pediatric studies is as great for        studies in children should never be
regulated by FDA, no pediatric study         modifications of existing products and       required to support approval of a
may go forward without the approval of       new claims as for the original products.     generic drug.
an IRB, which is responsible for             A new indication or dosage form for a          This rule does not impose any
ensuring that the study is ethical and       previously approved drug, e.g., could be     requirements on studies submitted in
adequately protects the safety of the        far more relevant to pediatric patients      support of applications for generic
subjects. In addition, the deferral          than the originally approved product.        copies of approved drugs that meet the
provisions of the rule are specifically      From a public health standpoint, FDA         requirements of section 505(j) of the act.
designed to ensure that no pediatric         cannot justify the distinction in the        FDA also does not currently require
study begins until there are sufficient      proposal between new chemical entities       bioequivalence studies to be conducted


                                                                                                           EX. 7 pg. 009
                                                                                                                App. 0069
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in children for generic drugs. FDA notes     argued that FDA should not require two       submission of valid and reliable data
that petitions submitted under section       adequate and well-controlled trials for      from a variety of sources. The type and
505(j)(2)(C) for a change in active          pediatric studies, and that the amount of    amount of data required in any
ingredient, dosage form, or route of         evidence required should depend on the       particular case will depend upon many
administration may be denied if              ability of the data to be extrapolated       factors, including those cited in the
‘‘investigations must be conducted to        from adult to pediatric patients, the        comments.
show the safety and effectiveness of’’       seriousness of the illness to be treated,       12. One comment urged FDA, in the
the change. Thus, if a petition is           the ability to assess meaningful             final rule, to encourage sponsors to use
submitted for a change that would            measures of efficacy in pediatric            Computer-Assisted Trial Design
require a pediatric study under this rule,   patients, and the feasibility of             (CATD), allowing them to reduce
the petition may be denied.                  conducting adequate trials in relatively     number of actual trials in pediatric
C. Required Studies                          uncommon pediatric disease states.           patients.
                                             Another comment claimed that the                FDA encourages the use of any
   FDA proposed to amend its                 ability to extrapolate from adult efficacy   validated scientific method for
regulations related to the content of        data is limited and argued that well-        designing, conducting, or analyzing
NDA and biologic license applications        controlled trials in pediatric patients      clinical trials.
(BLA’s) to include required information      should be the norm. This comment also           13. One comment questioned whether
on pediatric studies for certain             stated that safety cannot be extrapolated    there will be a sufficient pool of
applications. Under the proposal, an         from adult data and recommended              pediatric subjects to complete trials, in
application for a new chemical entity or     studying 300 pediatric patients for an       light of the increase in the number of
never before approved biologic would         adequate period to identify frequent         trials occasioned by the rule.
have been required to contain data           ADR’s. Other comments questioned the            FDA believes that with appropriate
adequate to assess the safety and            appropriateness of extrapolating from        organization, the pool of pediatric
effectiveness of the product for all         adult effectiveness data in a variety of     patients available for studies should be
pediatric age groups for the claimed         settings. One comment argued that in         adequate. The Pediatric Pharmacology
indications, unless FDA granted a            the area of blood products, in addition
deferral or full or partial waiver of the                                                 Research Units (PPRU’s), a network of
                                             to extrapolating from pharmacokinetic        groups instituted to conduct pediatric
requirement. As described in section         data, it may be appropriate to
III.B of this document under ‘‘Scope’’,                                                   research, some of which are located
                                             extrapolate from adult data using            outside of major population centers,
FDA has revised § 314.55(a) (proposed
                                             relative blood volume replacement.           have an established record of recruiting
§ 314.50(g)(1)) and § 601.27(a)) to cover
                                             Several comments urged reliance on a         pediatric patients and completing valid
applications for new active ingredients,
                                             variety of other sources of data,            studies. Even where the number of
new indications, new dosage forms, new
                                             including published studies and reports,     pediatric patients affected by a disease
dosing regimens, and new routes of
                                             and actual use information. One              is small, valid studies have sometimes
administration. Under the final rule, all
                                             comment urged FDA to rely on                 been successfully conducted. It should
covered applications will be required to
                                             advanced scientific and statistical          also be reemphasized that many of the
contain data adequate to assess the
                                             methods that optimize safety,                studies contemplated under the rule are
safety and effectiveness of the product,
                                             convenience, and informativeness,            pharmacokinetic studies, dose-response
unless FDA has granted a waiver or
                                             while minimizing unnecessary or              studies with short-term endpoints
deferral of the requirement (see
                                             uninformative clinical trials.               (pharmacodynamic studies) and safety
‘‘Waiver’’ and ‘‘Deferred Submission’’ in
section III.D and E of this document).          FDA agrees that ‘‘adequate evidence’’     studies that are likely to impose
   Assessments required under this           of safety and effectiveness for pediatric    relatively little burden on individual
section for a product that represents a      patients does not necessarily require        patients. Where, however, patient
meaningful therapeutic benefit over          two adequate and well-controlled trials.     recruitment is so difficult as to make the
existing treatments must be carried out      One of two central purposes of the 1994      study impossible or highly impractical,
using appropriate formulations for the       rule was to make it clear that pediatric     the rule permits a waiver of the study
age group(s) for which the assessment is     effectiveness may, in appropriate            requirement (§§ 314.55(c) and
required, unless reasonable efforts to       circumstances, be based on adequate          601.27(c)).
produce a pediatric formulation had          and well-controlled studies in adults           14. One comment urged that the final
failed (see ‘‘Waiver’’ in section III.E of   with supporting data in pediatric            rule include a broader research
this document). Comments on issues           patients that permit extrapolation from      requirement, and sought to have drug
related to formulation are addressed         the adult data. FDA agrees, however,         interactions and drug metabolism taken
under ‘‘Pediatric Formulations’’ in          that extrapolation from adult                into consideration. Another comment
section III.I of this document.              effectiveness data would not always be       sought to have the final rule codify
   The proposal did not mandate              appropriate and that it may not be           minimal requirements for studies, such
particular types of studies. The proposal    appropriate to extrapolate pediatric         as toxic overdose and pharmacokinetic
recommended that the sponsor consult         safety from adult safety data. FDA has       data. One comment urged FDA not to
with FDA on the types of data that           specifically noted, in the FDA guidance      codify specific requirements for clinical
would be considered adequate to assess       document entitled ‘‘Providing Clinical       trials, but to establish these
pediatric safety and effectiveness in        Evidence of Effectiveness for Human          requirements in consultation with an
particular cases.                            Drug and Biological Products,’’ that if      expert pediatric committee.
   FDA received several comments on          further controlled trial data were needed       FDA declines to codify specific
the design and conduct of clinical trials    in a population subset, it would usually     requirements for pediatric studies.
in pediatric patients.                       be sufficient to conduct a single            Flexibility is necessary to assure that
   11. One comment asked for                 additional controlled trial. FDA also        required studies are appropriate for each
clarification of what is meant by            agrees that useful information can come      product. FDA will, however, consult
‘‘adequate evidence’’ to demonstrate         from data other than adequate and well-      with a pediatric committee on specific
safety and effectiveness. The comment        controlled trials, and encourages the        pediatric study issues.


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                                                                                                               App. 0070
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  15. One comment from a professional        description of the planned or ongoing        threatening diseases where there is no
pharmacy organization urged that all         pediatric studies, and evidence that the     substantial difference between the
protocols for pediatric studies be           studies were being, or would be,             disease or the anticipated effect of the
reviewed by pediatric experts, including     conducted: (1) With due diligence, and       drug in children or adults. Another
a pharmacist knowledgeable about             (2) at the earliest possible time. FDA       comment argued that deferral should be
pharmacodynamic factors in each age          sought comment on the circumstances          used sparingly in all age groups,
group.                                       in which FDA should permit deferral,         including infants and neonates, and that
  FDA reviews protocols for pediatric        and on the factors that should be            its use should be evaluated in the
studies submitted in investigational new     considered in determining whether a          context of the seriousness of the
drug applications (IND’s), and its           given product was one that should be         condition to be treated, the therapeutic
reviewers include experts in pediatrics      studied in adults before pediatric           advance the drug represents, and the
and pharmacology.                            patients. FDA received many comments         likelihood that the drug will be given to
D. Deferred Submission                       on the deferral provisions in the            children as soon as it is approved.
                                             proposal.                                    According to this comment, the risks of
   The proposal recognized that there           16. A few comments stated that the        research in pediatric patients may be
would be circumstances in which it           deferral provisions are an appropriate       outweighed by the risks that the drug
would be appropriate to permit the           means of assuring that pediatric patients    will be given to them without data.
submission of pediatric data after           are not studied before adequate safety          One comment argued that pediatric
approval. Two such circumstances were        data have been gathered. A number of         studies of important drugs should be
described in the preamble to the             comments from the pharmaceutical             conducted in parallel to adult studies,
proposal: (1) Where adult safety or          industry asserted, however, that the         especially in children under 12. Several
effectiveness data need to be collected      proposal would require concurrent            comments from the pediatric
before the product could be                  testing in adults and pediatric patients     community, however, supported the
appropriately studied in pediatric           despite medical and ethical reasons for      development of some adult safety and/
patients, and (2) where the product was      delaying testing pediatric testing. For      or effectiveness data before initiation of
ready for approval in adults before          example, a comment from a                    pediatric studies. One comment from an
studies in pediatric patients were           pharmaceutical trade association             organization devoted to pediatric AIDS
completed. Although not included in          claimed that the rule:                       stated that while the general assumption
the text of the proposal, these examples                                                  should be that pediatric studies will be
                                                * * * would require testing of new
have been added to the final rule. Under                                                  submitted at the same time as adult
                                             medical compounds in children before
the proposal, FDA would have the                                                          studies, it may be appropriate to have
                                             safety in adults has been studied
authority to defer the submission of                                                      some testing in adults before children.
                                             adequately, before effectiveness in
some or all of the required pediatric                                                     The AAP stated that it is appropriate to
                                             adults has been established, and in
data until after approval of the product                                                  begin studies in pediatric patients after
                                             young children and neonates without
for adult use, on its own initiative or at                                                phase 1 and phase 2 studies in adults
                                             adequate information about the effects
the request of the applicant. Under the                                                   have defined routes of clearance and
proposed provisions, if the applicant        of the drug in older pediatric patients.
                                                                                          metabolic pathways. Thus, the comment
requested deferral, the request would be        These industry comments appear to         urged that pediatric studies be
required to contain an adequate              have misunderstood the explicit deferral     conducted during phases 2 and 3, not 4.
justification for delaying pediatric         provisions of the rule and perceived         A comment from a nephrology
studies. If FDA concluded that there         them as rare exceptions to a usual           organization argued that drugs for
were adequate justification for deferring    requirement that adults and children be      organ-specific diseases should be
the submission of pediatric use studies,     studied at the same time. Nothing in the     studied in phase 3, as soon as phase 1
the agency could approve the product         rule requires concurrent testing in          and 2 trials have shown safety in adults.
for use in adults subject to a               adults and pediatric patients, nor testing   This and another comment stated that
requirement that the applicant submit        in infants and neonates before testing in    deferring studies until after approval
the required pediatric studies within a      older children. As stated previously and     compromises clinical trial enrollment,
specified time after approval. It is         in the proposal, the deferral provisions     citing the experience with recombinant
important to appreciate that deferred        were specifically included to, among         erythropoietin. According to these
submission of pediatric data refers to       other things, ensure that pediatric          comments, erythropoietin was not
the date on which the data are               studies could be delayed when                studied in pediatric patients until after
submitted, not when the studies are          necessary to assure that appropriate         its approval for adults, and enrollment
initiated. Thus, deferred studies will       safety and/or effectiveness data were        was so difficult that pediatric studies
generally be initiated before approval,      available to support pediatric testing.      were not completed for 5 years.
unless it is concluded that the full adult      17. Most of the comments on deferral         Several comments from the pediatric
data base or marketing experience are        focused on whether the need for safety       community also cited limited
needed before pediatric studies may          and/or effectiveness data in adults          circumstances in which they believed
appropriately begin.                         before initiating pediatric studies          deferral to be appropriate. A medical
   FDA stated in the proposal that it        should be a basis for deferral. Comments     society argued that data should be
would consult with the sponsor in            from disease-specific organizations,         collected after adult studies only for
determining a deadline for the deferred      medical societies, including the AAP,        drugs with narrow therapeutic indices,
submission, but tentatively concluded        and pediatricians argued that deferrals      unusual accumulation in the body,
that it would require the submission not     should be granted rarely if at all on this   where the drug study requires extensive
more than 2 years after the date of the      basis. One comment argued that               blood sampling, or where the study
initial approval. To ensure that deferral    delaying availability of life-saving drugs   design places young patients at risk for
would not unnecessarily delay the            to children cannot be rationalized           limited information gain.
submission of pediatric use information,     scientifically, legally, or ethically, and      Many comments from the
FDA proposed that a request for              contended that deferral should not be        pharmaceutical industry argued, in
deferred submission include a                permitted for serious and life-              contrast, that deferral should be the


                                                                                                          EX. 7 pg. 011
                                                                                                               App. 0071
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rule, rather than the exception. Most of       data will usually be required to initiate        are alternative therapies that have been
these comments contended that it was           studies of drugs and biologics for life-         shown to be safe and effective for use in
unethical to begin studying drugs in           threatening diseases without adequate            children with [indicated condition].
                                                                                                Ordinarily, products already labeled for use
pediatric patients, other than those that      treatment than for less serious diseases.        in children should be used in preference to
are intended primarily for pediatric           Pediatric studies of drugs and biologics         [name of this product].
patients, until the drugs are shown to be      for life-threatening diseases may in
reasonably safe and effective in adult         some cases be appropriately begun as             FDA labeling regulations at 21 CFR
patients. All argued that pediatric            early as the initial safety data in adults       201.57 express the agency’s authority to
studies must not be initiated until            become available, because the urgency            ensure that drugs are safe for use under
substantial data in adults are available,      of the need for such products may                the conditions prescribed,
but cited different initiation points, e.g.,   justify early trials despite the relative        recommended, or suggested in their
after phase 2, after safety and                lack of safety and effectiveness                 labeling, and to require labeling
effectiveness is established in adults         information. In such cases, deferral of          identifying safety considerations that
and an approvable letter is received,          submission of pediatric studies until            limit the use of drugs to certain
after approval, after 1 year of marketing.                                                      situations. Some drugs with no
                                               after approval will be unnecessary,
   Although many of these industry                                                              demonstrated advantage over available
                                               unless drug development is unusually
comments argued that pediatric studies                                                          therapy can nonetheless be expected to
                                               rapid and the product is ready for
should be conducted exclusively as                                                              have wide use in pediatric patients.
                                               approval in adults before completion of
phase 4 (postapproval) commitments, a                                                           Pediatric studies of such drugs should
                                               the pediatric studies.
significant number of industry                                                                  be initiated relatively early, even if they
                                                  Pediatric studies on products for less
comments acknowledged that pediatric                                                            are not completed at the time of
                                               serious diseases should generally not
studies could begin before approval,                                                            approval.
                                               begin until more adult data have been               18. A comment from a pharmaceutical
generally after phase 2, and that there        collected, ordinarily no earlier than the
were circumstances in which deferral                                                            company listed several circumstances in
                                               availability of data from the initial well-      which it argued FDA should permit
was not appropriate. One comment               controlled studies in adults. As noted
argued that because early pediatric                                                             deferral: (1) The pediatric population is
                                               earlier in this document, there may              so small that enrollment and completion
studies often require pediatric                occasionally be exceptions to this
formulations and because up to 50                                                               of trials cannot be accomplished in
                                               principle where all parties agree that           parallel with adult trials, (2) the natural
percent of drugs are abandoned before          earlier initiation is appropriate. Whether
phase 3, it is wasteful to require                                                              course of the disease is different in
                                               deferral of submission of the data until         adults and children, (3) analytic tools
companies to manufacture a pediatric           after approval will be necessary for such
formulation and begin studies before the                                                        and clinical methodologies cannot be
                                               products will depend upon when                   easily adapted to the pediatric
end of phase 2. Another comment                pediatric studies can scientifically and
argued that no pediatric studies should                                                         population, (4) the drug has complex
                                               ethically begin in each case and how             pharmacokinetic properties in adults
begin before the decision to proceed to        difficult the studies are to complete.
phase 3, except where: (1) The disease                                                          making it hard to extrapolate a pediatric
                                                  In some cases, FDA expects that               dosage range, (5) the scope and nature
affects only pediatric patients; (2) the       scientific and ethical considerations
disease mainly affects pediatric patients,                                                      of nonclinical studies support only
                                               will dictate that studies not begin until        adult clinical studies, (6) two or more
or the natural history or severity of the      after approval of the drug or biological
disease is different in pediatric patients                                                      attempts to develop a pediatric
                                               product. For example, pediatric studies          formulation have failed, or (7) unique
and adults; or (3) the disease affects
                                               of ‘‘me-too’’ drugs that do not offer a          drug-drug or drug-food interactions in
both pediatric patients and adults and
                                               meaningful therapeutic benefit and that          children confound drug development.
lacks adequate treatment options. One
                                               are members of a drug class that already         Another comment added to this list: (1)
comment urged that the final rule state
                                               contains an adequate number of                   Where fewer than 200,000 pediatric
that ‘‘in most cases, pediatric testing
                                               approved products with pediatric                 patients are affected by the disease
should not begin with any drug or
                                               labeling may be deferred until well after        being treated, and (2) drugs with a low
biological product until certain adult
                                               approval. In cases where a drug has not          therapeutic index.
safety and/or effectiveness information
                                               been shown to have any benefit over                 FDA agrees that some of these
has been collected.’’ According to this
comment, there could be exceptions             other adequately labeled drugs in the            circumstances could make completion
where no other therapy was available           class, the therapeutic need is likely to be      of studies prior to approval in adults
and there was a potential for the drug         low and the risks of exposing pediatric          difficult, but does not agree that they
to be lifesaving. A pharmaceutical trade       patients to the new product may not be           would make studies impossible or
association argued for a presumption           justified until its safety profile is well       impractical in all cases. The need for
that pediatric studies not begin until the     established in adults through marketing          deferral must be considered case-by-
end of phase 2 or 3, but listed                experience. Because the basis for the            case. A small pediatric population, e.g.,
circumstances in which deferral should         deferral in such cases will be concern           might make completion of controlled
not occur: (1) Where the disease is life       that the drug presents risks to pediatric        trials very slow, but might not prevent
threatening and there is no alternative        patients that will not be known until            obtaining pharmacokinetic data. Simply
therapy, (2) where the drug is intended        there is widespread marketing                    citing a pediatric population under
for a pediatric indication, (3) where the      experience, without offsetting benefit,          200,000 will not be sufficient to justify
drug presents no major safety issues, (4)      FDA may require, in appropriate cases,           deferral; a small fraction of this number
where the drug class is well studied in        that such drugs carry labeling                   participating in trials may be sufficient
pediatric patients, or (5) where a large       statements recommending preferential             to support timely pediatric studies,
amount of ‘‘off-label’’ use in pediatric       use in pediatric patients of products that       depending on the nature of the studies.
patients is anticipated.                       are already adequately labeled. Such a           As an example, over 70 percent of the
   In general, FDA expects that some           statement might read:                            estimated 6,000 pediatric patients with
data on adults will be available before          The safety and effectiveness of this product   cancer each year are enrolled in clinical
pediatric studies begin, but that less         have not been established in children. There     trials (Ref. 15). There does not seem to


                                                                                                                  EX. 7 pg. 012
                                                                                                                       App. 0072
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be any reason to conclude that deferral        to avoid delay in adult marketing could      good reason to study older and younger
is warranted solely because the natural        be applied to most applications, creating    children at the same time.
course of the disease is different in          a de facto situation in which pediatric         21. A few comments objected to
adults and children. FDA also disagrees        data were understood to be not required      FDA’s tentative decision to require the
that deferral is necessarily warranted         until 2 years after approval. One            submission of studies ordinarily no later
where analytic tools and clinical              comment stated that while pediatric          than 2 years after the initial approval.
methodologies cannot be easily adapted         dosing schedules are essential, pediatric    One comment stated that deferral of up
to pediatric patients. Deferral may be         studies should not delay approval of         to 2 years was excessive, citing the
necessary in some cases where the              drugs for a major population, adults.        ‘‘critical’’ need to ensure timely
infants and toddlers are unable to                FDA continues to believe that deferral    performance of pediatric studies in
provide subjective outcome data, but it        is appropriate where awaiting the            populations where the drug is likely to
may also be possible to utilize                completion of pediatric studies would        be used. Another comment stated that 2
alternative endpoints or to extrapolate        delay the availability of a safe and         years may be adequate for collecting
effectiveness data from older pediatric        effective drug or biological product for     pharmacokinetic data, but not
age groups, obtaining pharmacokinetic          adults. Granting a deferral does not         necessarily for collecting safety data.
data from the younger age groups to            automatically mean, however, that            According to this comment, the size of
determine an appropriate dose. Drugs           pediatric studies need not be submitted      the clinical data base will be the
with a low therapeutic index that do not       for 2 years or that initiating them should   principal determinant of when data
fulfill an urgent need should, in general,     be long delayed. The proposal suggested      should be submitted. A comment from
be studied in pediatric patients later in      2 years as the maximum period for a          the American Red Cross stated that the
drug development.                              deferral. Where pediatric studies are        extensive IRB review of studies of blood
   With respect to complex                     supposed to be nearing completion at         products involving pediatric patients,
pharmacokinetic properties that prevent        the time a product is ready for approval     and the difficulty in enrolling such
extrapolation of adult data to pediatric       in adults, FDA expects that the period       patients, makes the 2-year deferral
patients, low-therapeutic index drugs,         of deferral would be significantly           deadline unrealistic for this category of
and unique drug-drug or drug-food              shorter than 2 years. Where some useful      product.
interactions in pediatric patients, FDA        pediatric information, e.g., safety             FDA agrees with the comments that
believes that the need for pediatric           information, is available at the time of     the 2-year deadline suggested by the
studies before approval is even greater        approval, even if some required studies      proposal may not be appropriate, and
where these conditions are present;            are not complete, FDA may require that       that the length of the deferral should be
moreover, none of them represents a            the pediatric use section of the             decided on a case-by-case basis. The
significant impediment to studies.             product’s labeling include that              timing of the deferred submission will
Recognizing that drugs and biologics           information, to the extent consistent        depend upon such factors as the need
approved for adults are regularly              with 21 CFR 201.57(f)(9). FDA also           for the drug or biologic in pediatric
prescribed to pediatric patients despite       notes that it has no authority to impose     patients, when sufficient safety data
the absence of adequate dosing and             a monetary penalty for failure to submit     become available to initiate pediatric
safety data, information positively            a required study of a drug or biological     trials, the nature and extent of pediatric
suggesting that dosing and safety cannot       product. FDA must ask a court to             data required to support pediatric
be extrapolated from adult data                impose such a penalty in a contempt          labeling, and substantiated difficulties
increases the importance of conducting         proceeding.                                  encountered in enrolling patients and in
pediatric studies before the product is           20. Several comments argued that          developing pediatric formulations. FDA
widely used in pediatric patients. The         pediatric trials should be conducted         may also extend the date for submission
absence of supporting nonclinical              sequentially, beginning with the oldest      of studies at the time of approval, e.g.,
studies (e.g., studies in young animals)       pediatric age group, and ending with the     where other drugs in the class have been
should not usually be a basis for              youngest. One comment stated that            approved during the pendency of the
deferral. These studies, if needed, are        IRB’s would question testing a drug in       NDA and the new drug is no longer
readily conducted. Moreover, a full            younger children before older children.      needed as a therapeutic option.
adult data base provides pertinent safety      The AAP argued that there is little
                                                                                            E. Waivers
information that might make further            defense for studying pediatric patients
preclinical data unnecessary.                  sequentially from oldest to youngest,           FDA does not intend to require
Difficulties in developing an adequate         and that such a policy will result in        pediatric assessments unless the
pediatric formulation may, in some             approvals without data in neonates.          product represents a meaningful
cases, justify deferral of studies in          This comment argued that the timing of       therapeutic benefit over existing
young pediatric patients. In other cases,      studies should give consideration to         treatments or is expected to be used in
however, it may be appropriate to study        safety, but without consideration of         a substantial number of pediatric
a less-than-optimal formulation, e.g., an      sequence. Another comment argued that        patients. FDA also does not intend to
injection, if one is available, in pediatric   FDA should not routinely require that        require pediatric assessments in other
patients while awaiting the                    drugs for serious and life-threatening       situations where the study or studies
development of a more desirable                diseases be studied sequentially. In HIV,    necessary to carry out the assessment
pediatric formulation.                         according to this comment, drug testing      are impossible or highly impractical or
   19. One comment argued that it was          should be ‘‘as simultaneous as possible’’    would pose undue risks to pediatric
‘‘unacceptable’’ to defer pediatric            because safety and dosing may be             patients. Thus, FDA proposed to add
studies to avoid delaying approval for         initiated in each age group in a dose        § 314.50(g)(3) (now § 314.55(c)) and
adult use. Instead, the comment urged          escalating manner regardless of the          § 601.27(c) to authorize FDA to grant a
FDA to provide a ‘‘limited approval’’ for      results in previously tested groups.         waiver of the pediatric study
adult use until pediatric data are                FDA agrees that age-dependent             requirement on its own initiative or at
available and impose a monetary                sequential studies are not necessarily       the request of the applicant unless the
penalty for failure to comply. Another         appropriate. Particularly were there is      product represented a meaningful
comment argued that permitting deferral        urgent need for a product, there may be      therapeutic benefit over existing


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treatments, or was likely to be used in       pediatric patients affected by the disease   supported the proposed criteria. Many
a substantial number of pediatric             or condition for which a product was         comments from pediatricians, medical
patients. These provisions also require       indicated would be considered a              societies, and disease-specific
FDA to grant a waiver if necessary            ‘‘substantial number’’ of pediatric          organizations argued that the proposed
studies were impossible or highly             patients. FDA sought comment on the          grounds for waiver were too broad.
impractical, because, e.g., the number of     waiver criteria and on these methods of      Several of these stated that the rule
pediatric patients was very small or          calculating a substantial number of          should apply to drugs for all conditions
patients were geographically dispersed,       pediatric patients. FDA also sought          that affect pediatric patients unless
or there was evidence strongly                comment on whether cost to the               there is a special reason not to do so.
suggesting that the product would be          manufacturer should justify a waiver.        One comment argued that waivers
ineffective or unsafe in some or all             FDA received many comments on the         should be available only for drugs
pediatric populations. If a waiver were       waiver provisions of the proposal, and       known to be extremely toxic in pediatric
granted because there was evidence that       has made certain changes in response to      patients or to have no anticipated use in
the product would be ineffective or           the comments, as described below.            pediatric patients.
unsafe in pediatric patients, this               22. As proposed, new drugs and               Other comments from the
information would be included in the          biologics are presumptively required to      pharmaceutical industry argued that the
product’s labeling.                           be studied in pediatric patients, unless     waiver provisions were too narrow. One
   An applicant could request a full          a waiver is granted. The presumption in      comment from a generic trade
waiver of all pediatric studies if one or     the proposal was supported by                association urged that pediatric studies
more of the grounds for waiver applied        comments from pediatricians, a               be required only when there is a
to the pediatric population as a whole.       pharmacy organization, disease specific      significant public health concern with
A partial waiver permitting the               organizations, and medical societies,        respect to the safety of a drug product
applicant to avoid studies in particular      including the AAP. Several industry          in pediatric patients or to the
pediatric age groups could be requested       comments argued, however, that new           availability of adequate pharmacological
if one or more of the grounds for waiver      drugs and biologics should                   intervention for pediatric patients for
applied to one or more pediatric age          presumptively not be covered by the          the indication. Another comment stated
groups. In addition to the other grounds      rule, unless they were specifically          that the criteria in the proposal ‘‘do not
for waiver, the proposal would                identified by FDA as needing to be           begin to address the complexities
authorize FDA to grant a partial waiver       studied. One of these comments stated        associated with moving forward on a
for those age groups for which a              that companies should not have to            clinical development plan’’ and argued
pediatric formulation was required (see       waste the effort of applying for waiver      that additional criteria should include:
‘‘Pediatric Formulations’’ in section III.I   for drugs of no potential benefit to         (1) The lack of correlative safety
of this document), if reasonable              pediatric patients, which the comment        evidence, (2) liability concerns, and (3)
attempts to produce a pediatric               estimated as a majority of those             prohibitive cost (but the sponsor, not
formulation had failed.                       developed.                                   FDA, should be allowed to determine
   The proposal would require the                FDA continues to believe that it is       the importance of cost).
applicant to include in the request for       appropriate to presume that drugs and           FDA believes that the criteria for
a waiver an adequate justification for        biologics should be studied in pediatric     waiver in the final rule strike a careful
not providing pediatric use information       patients, and that this presumption          balance. On the one hand, requiring
for one or more pediatric populations.        should be overcome only if there are         studies for all new products would have
   FDA would grant the waiver request         clear grounds for concluding that such       potentially severe resource implications
if the agency found that there was a          studies are unnecessary. Pediatric           for manufacturers and the agency. On
reasonable basis on which to conclude         patients are a significant subpopulation,    the other hand, obtaining studies only
that any of the grounds for a waiver had      affected by many of the same diseases        where the studies impose no burden on
been met. If a waiver were granted on         as adults, and are foreseeable users of      the sponsor would continue to expose
the ground that it was not possible to        new drugs and biologics. The agency          millions of pediatric patients to
develop a pediatric formulation, the          has stated, in the context of pediatric      unnecessary risks and ineffective
waiver would cover only those pediatric       studies and other subpopulations, that       treatment. Requiring pediatric studies
age groups requiring a pediatric              an application for marketing approval        only of those drugs or biologics that
formulation.                                  should contain data on a reasonable          offer a meaningful therapeutic benefit or
   The agency also proposed two               sample of the patients likely to be given    that are expected to be used in a
possible methods of determining a             a drug or biological product once it is      substantial number of pediatric patients
‘‘substantial number of patients.’’ The       marketed (59 FR 64240 at 64243; 58 FR        focuses limited resources on those
first method would focus on the number        39406 at 39409, July 22, 1993). FDA          products that are most critically needed
of times the drug or biologic was             does not believe that the cost of drafting   for the care of pediatric patients.
expected to be used in pediatric              a waiver request will be great,                 24. Several comments addressed the
patients, annually. Under this method,        particularly where the basis for the         definition of ‘‘meaningful therapeutic
FDA tentatively concluded that 100,000        waiver is that the product has no            benefit.’’ Some comments from the
or more prescriptions or uses per year        potential use in pediatric patients. To      pharmaceutical industry stated that
in all pediatric age groups would be          assist sponsors in preparing such            ‘‘meaningful therapeutic benefit’’
considered a substantial number.              waivers, FDA has included in this            should be defined as it is used in 21
   The second proposed method for             document a partial list of diseases that     CFR 314.500. (That regulation applies to
establishing whether there was a              are unlikely to occur in pediatric           drugs ‘‘that provide meaningful
substantial number of pediatric patients      patients and for which waiver requests       therapeutic benefit to patients over
would focus on the number of pediatric        need include only reference to this          existing treatments (e.g., ability to treat
patients affected by the disease or           document.                                    patients unresponsive to, or intolerant
condition for which the product is               23. FDA received many comments on         of, available therapy, or improved
intended. Under this method, FDA              the proposed criteria for waiving            patient response over available
tentatively concluded that 100,000            pediatric studies. A few comments            therapy).’’) One of these comments


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suggested that analogous cases in the        randomized, controlled trials in               specific number of products needed will
pediatric context would be: (1) Where        pediatric patients.                            depend upon such factors as the
the drug treats a pediatric disease for         FDA disagrees that it is impossible or      severity of the disease being treated, and
which no other treatments exist; (2)         beyond FDA’s expertise to reach a              the adverse reaction profile of existing
where the drug treats patients who are       conclusion before approval about               therapies. FDA has added this definition
unresponsive to or intolerant of other       whether a product has the potential to         of meaningful therapeutic benefit to
drugs; or (3) where the drug produces a      offer a meaningful therapeutic benefit.        §§ 314.55(c)(5) and 601.27(c)(5). This
superior response over other treatments.     FDA routinely estimates the therapeutic        rule’s definition of meaningful
One industry comment argued that the         benefit of new drugs and biologics at the      therapeutic benefit is intended to apply
agency should consult with the sponsor,      time applications are first submitted, in      only in the pediatric study context and
and the pediatric investigators involved     order to determine whether to assign           is not intended to alter the definition of
to assess whether the drug will provide      ‘‘Priority’’ (expedited) status to the         a Priority drug.
a ‘‘meaningful therapeutic benefit.’’        review of the application. In assigning           25. Several comments addressed the
According to the comment, the                Priority status to new drug applications,      definition of ‘‘a substantial number of
assessment should include the likely         CDER determines whether the product,           pediatric patients.’’ A few comments
use of the product in a specific pediatric   if approved, ‘‘would be a significant          argued that it would be difficult to
population, the likely benefit without       improvement compared to’’ marketed             estimate product use until after
increased risk to patients versus existing   (or approved, if such is required)             marketing. Several comments argued
treatments, a ‘‘definitive need’’ for a      products, including nondrug products           that FDA should not base waivers on the
new therapy in very serious or life-         or therapies. ‘‘Improvement can be             number of patients or prescriptions.
threatening illnesses, and the cost and      demonstrated by, for example: (1)              Many other comments claimed that the
feasibility of developing the necessary      Evidence of increased effectiveness in         proposed numerical cut-offs are
formulations and of conducting studies.      treatment, prevention, or diagnosis of         arbitrary. These comments maintained
Another comment from a disease-              disease; (2) elimination or substantial        that waivers should be decided on a
specific organization argued that            reduction of a treatment-limiting drug         case-by-case basis. Several comments
‘‘meaningful therapeutic benefit’’           reaction; (3) documented enhancement           urged that FDA consult with an expert
should be a relative term, depending on      of patient compliance; or (4) evidence of      panel in deciding whether pediatric use
the severity of the illness, the potential   safety and effectiveness in a new              was substantial.
risk posed by the drug, and the              subpopulation’’ (Ref. 16). These criteria         Comments from the pediatric
availability of alternative treatments.      are similar to many of the criteria            community contended that the
One comment from a medical society           suggested in the comments. FDA notes           numerical cut-offs in the proposal were
                                             that demonstration of an advantage over        too high, and would preclude studies of
devoted to the treatment of psychiatric
                                             existing products may come from                many serious diseases affecting fewer
disorders contended that ‘‘meaningful
                                             evidence other than head-to-head               than 100,000 pediatric patients. One
therapeutic benefit’’ should mean that
                                             comparisons of the new product and             comment, for example, voiced concern
the product enables a child to function
                                             existing products. For example, in some        that pediatric patients with less
better, and participate in age-
                                             cases a new product could be shown to          common seizure types may not benefit
appropriate activities, such as playing
                                             lack an adverse effect associated with an      from the regulations because the use is
and going to school, without undue pain
                                             existing product, or to have an effect on      not sufficiently widespread. Another
and suffering from the disease or
                                             a different outcome or on a different          comment argued that numerical cut-offs
disorder. Another comment argued that
                                             stage of disease than an existing              should not apply to drugs for serious
‘‘meaningful therapeutic benefit’’                                                          and life-threatening diseases, unless the
                                             product, without a direct comparison of
should mean better response or ability                                                      number of pediatric patients was so low
                                             the two products.
to treat nonresponsive patients. Another        FDA has concluded that in                   as to make clinical study impossible.
comment maintained that the                  determining whether a product offers a         Another comment suggested that studies
presumption should be that a product         meaningful therapeutic benefit, it will        be required not only for uses greater
represents a meaningful therapeutic          use the Priority definition, with some         than 100,000 prescriptions, but for
benefit in pediatric patients if it is       modifications. First, in determining           ‘‘drugs used chronically for a defined,
expected to provide a meaningful             whether a product is expected to be an         though smaller group of pediatric
therapeutic benefit in adults.               improvement over other products, the           patients, usually for organ-specific
   Several comments from the                 comparison will be made only to other          diseases, such as kidney failure or
pharmaceutical industry contended that       products that are already adequately           hypertension.’’
it is not possible to define meaningful      labeled for use in the relevant pediatric         Comments from the pharmaceutical
therapeutic benefit before approval or       population. Second, it is often                industry argued that the numerical cut-
that FDA should not be responsible for       therapeutically necessary to have two or       offs proposed by FDA were too low.
defining it. A pharmaceutical trade          more therapeutic options available,            Some of these comments argued that
association argued that meaningful           because some patients will be                  100,000 prescriptions per year translates
therapeutic benefit is the decision of the   unresponsive to a given therapy.               to fewer than 100,000 patients, and that
sponsor, not FDA, and that it is not         Because the Priority definition would          the resulting population could be so
possible to determine meaningful             not cover more than the first or second        small that it would be difficult to study.
therapeutic benefit until a drug has been    product for a given indication or in a         Several of these comments urged that
used for some period of time. Another        given class (unless the product offered        cut-off for substantial use be 200,000
comment maintained that FDA must             an advantage over others for the               patients with the disease, the threshold
first have adult data to reach the           indication or in the class), a drug or         established by the Orphan Drug Act for
conclusion that a drug offers a              biologic will also be considered to            identifying rare diseases.
meaningful therapeutic benefit. The          provide a meaningful therapeutic                  FDA has decided to revise its
same comment also argued that a              benefit if it is in a class of drugs and for   proposed method of defining a
rigorous determination of meaningful         an indication for which there is a need        substantial number of patients, in light
therapeutic benefit would require            for additional therapeutic options. The        of the comments. Physician mention


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data from the IMS National Disease and       even if the products are not also used in    HIV/AIDS drugs should be a benchmark
Therapeutic Index (Ref. 38), which           a substantial number of pediatric            of when a waiver should not be granted:
tracks the use of drugs by measuring the     patients. This will be particularly true     Any group as big or bigger than the
number of times physicians mention           during the first few years after             pediatric AIDS population should be
drugs during outpatient visits, shows        implementation of this rule when few         considered big enough to study.
that pediatric use of drugs is generally     drugs and biologics will yet be                 Another comment argued that because
grouped in two distinct ranges.              adequately labeled for use in pediatric      of special difficulties encountered in
Physician mentions of drugs for              patients, and a larger proportion of new     recruiting pediatric patients into studies
pediatric use generally fall either below    entrants into the marketplace will be        of blood products, such as parental fear
15,000 per year or above 100,000 per         considered to be medically necessary         of disease transmission, the inability to
year. Few drugs fall within the two          therapeutic options.                         obtain a sufficient number of test
ranges. Thus, selecting a cut-off for           In response to the comments arguing       subjects should be added to the criteria
‘‘substantial number of pediatric            that FDA’s proposed numerical cut-off        for waiver or to the definition of ‘‘highly
patients’’ in the middle of the two          is too low and will result in too many       impractical.’’
ranges will provide a reasonable             pediatric studies, FDA expects to defer         FDA agrees with those comments
discrimination between products that         until after approval many of the studies     urging that this ground for waiver be
are widely used and those that are less      of products that will be used in a           interpreted narrowly and that
commonly used, and the specific              substantial number of pediatric patients     unsupported assertions be rejected as a
number chosen will not arbitrarily           but that do not offer a meaningful           basis for waiver. Although the number
include or exclude a significant number      therapeutic benefit. As described            of patients necessary to permit a study
of drugs. FDA has therefore chosen           previously in response to comments on        must be decided on a case-by-case basis,
50,000 as the cut-off for a substantial      the deferral provisions, studies of new      FDA agrees that there are methods
number of pediatric patients. Because        drugs and biologics that do not offer a      available to conduct adequate studies in
the number of pediatric patients with        meaningful therapeutic benefit and are       very small populations. Moreover,
the disease is easier to determine than      members of a class that is already           where only safety or pharmacokinetic
the number of prescriptions per year, a      adequately labeled for pediatric patients    studies are required to support pediatric
substantial number of pediatric patients     are likely to be deferred until well after   labeling, the size of the population or
will be defined as 50,000 pediatric          approval of the product for adults.          geographic dispersion would only rarely
patients with the disease for which the         26. A few comments addressed the          be a sufficient basis to consider trials
drug or biological product is indicated.     provisions that would permit waiver if       impossible or highly impractical.
Although physician mentions per year         pediatric trials were impossible or          Because of the speed and efficiency of
                                             impractical. One comment argued that         modern communications tools,
does not correspond exactly to the
                                             the provision authorizing waiver if the      geographic dispersion will justify a
number of patients with the disease,
                                             proposed population was ‘‘too small or       waiver only in extraordinary
they provide a rough approximation and
                                             geographically dispersed’’ was too           circumstances and will generally have
the IMS data show that the number of
                                             broad. This comment urged that tests         to be coupled with very small
products included or excluded is
                                             should be waived only if ‘‘significant       population size. FDA is not persuaded
relatively insensitive to changes in the
                                             efforts to recruit patients fail.’’ The      that inability to recruit patients because
cut-off chosen. As proposed, a partial
                                             comment also argued that the                 of parental fears associated with
waiver for a particular pediatric age
                                             unsupported suggestion that tests are        administration of the drug is an
group would be available under this
                                             ‘‘impractical’’ should not be accepted,      adequate basis to conclude that studies
method if 15,000 patients in that age        and that evidence of due diligence           are impractical where there is also
group were affected by the disease or        should be required. Another comment          evidence that similar products are
condition. This definition of ‘‘a            argued that waivers should never be          regularly prescribed to pediatric
substantial number of pediatric              granted because the population is too        patients outside of clinical trials.
patients’’ has not been codified,            small or dispersed. According to this           27. Several comments responded to
however, and FDA may modify it, after        comment, many safety and                     the request for comment on whether
consulting with the pediatric panel          pharmacokinetic studies are already          cost should justify a waiver. Comments
discussed in section III.M of this           performed in dispersed populations,          from the pediatric community argued
document (‘‘Pediatric Committee’’). Any      and the comment maintained that no           that cost to the manufacturer should
modification will be issued as a             experimental drug should be                  never or rarely justify a waiver. Two of
guidance document.                           administered to a child with a serious       these comments stated that the cost of
   In response to those comments that        or life-threatening disease without          failure to study is always higher than
voiced concern that this definition          requiring that some safety data and          the cost of research. Another comment
would exclude a number of serious            pharmacokinetics data be obtained.           stated that cost may be a factor, but FDA
diseases, FDA emphasizes that the            Another comment observed that                must be careful not to allow studies to
definition of ‘‘meaningful therapeutic       although only 600 renal transplants are      be waived automatically because they
benefit’’ assures that drugs and biologics   performed each year in pediatric             ‘‘cost too much.’’ Two comments from
will be covered by the rule if they are      patients, pediatric academic centers         a pharmaceutical company and a
medically needed as therapeutic options      have been creative in forming                pharmaceutical trade association argued
because there are insufficient products      collaborative efforts to study these small   that FDA should not have responsibility
adequately labeled for pediatric patients    groups. One comment from an                  for assessing the costs of a study.
for that indication or in that drug class.   organization devoted to children with           In light of the comments, FDA has
Until there are enough adequately            HIV stated that the ‘‘impossible or          concluded that it does not have an
labeled products available, many new         highly impractical’’ standard must be        appropriate basis to evaluate and weigh
drugs and biologics for serious and life-    narrowly interpreted, and that a             cost in granting or declining to grant a
threatening diseases will be considered      manufacturer should show that all            waiver. Therefore, cost will not
to offer a meaningful therapeutic benefit    reasonable efforts to recruit patients       ordinarily be a factor in determining
and thus will be required to be studied,     have failed. According to this comment       whether a waiver should be granted.


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   28. One comment claimed that the           that the rule should include no criteria     the pediatric population (either because
proposal lacks adequate regulatory            for granting waivers and that the            of frequency or severity) to constitute a
procedures for timely processing of           decision should be made on a case-by-        meaningful therapeutic benefit for
waiver requests and will result in a new      case basis in consultation with the          pediatric patients or to be used in a
layer of bureaucracy.                         expert panel.                                substantial number of pediatric patients.
   As described previously in response           As described later in this document,      FDA emphasizes that this decision
to comments on the deferral provisions,       FDA intends to convene a panel of            would not be intended to prevent or
preliminary decisions on whether to           pediatric experts, which will include        impede studies of these diseases or drug
grant waivers will be provided to the         one or more industry representatives, to     classes in the pediatric population,
sponsor at the end of phase 1 for drugs       assist the agency in implementing this       should a sponsor wish to conduct them.
and biologics for life-threatening            rule. FDA will bring before that panel          The agency has identified the diseases
diseases and at the end of phase 2 for        some issues related to waivers. FDA          following for which waivers will be
other products. FDA does not agree that       does not believe, however, that it is        likely to be granted. Some of the
processing of waiver requests will result     reasonable to bring every product            diseases listed in the comment are
in a new layer of bureaucracy. The            undergoing clinical studies before the       included in FDA’s list. Others, such as
decisions will be made by the division        panel for a decision on whether              osteoporosis, gout, multiple sclerosis,
responsible for reviewing the NDA or          pediatric studies are required. Because      and tremors can develop in children,
BLA. FDA intends to ensure that the           many dozens of drugs and biologics           and are not included in FDA’s list.
process is timely and fair. To reduce the     reach the end of phase 1 and phase 2         Waiver decisions on products for the
burden on manufacturers in applying           each year, and the panel could not           listed diseases are expected to be
for waivers and deferrals, FDA intends        realistically meet more than once every      straightforward and noncontroversial.
to issue a guidance document providing        few months, insisting that each product      FDA may add to or revise this list in the
a format for a request for waiver or          be brought before the panel would            future by issuing guidance documents.
deferral.                                     introduce substantial delay into the         An applicant who wishes to obtain a
   29. One comment asked that the rule        development and review of drugs and          waiver because the product is indicated
clarify that the onus is on the               biologics. Moreover, many waiver             for a disease on the list may refer in the
manufacturer to justify waivers. Another      decisions will be straightforward and        waiver request to this Federal Register
comment argued that the proposed              noncontroversial.                            notice, or to any guidance document
standard for granting a waiver                   FDA does, however, agree that it
                                                                                           modifying this notice. FDA’s list
(‘‘reasonable basis’’) places an              would be beneficial to have the advice
                                                                                           follows:
inadequate burden of proof on                 of pediatric experts on its
manufacturers. According to this              administration of the waiver provisions      1. Alzheimer’s disease.
comment, manufacturers should be              of the rule. FDA will therefore ask the      2. Age-related macular degeneration.
required to present ‘‘persuasive proof,’’     panel, at least on an annual basis for the   3. Prostate cancer.
and FDA should have to find that the          first several years, to review the           4. Breast cancer.
grounds for waiver have ‘‘in fact’’ been      agency’s waiver decisions and provide        5. Non-germ cell ovarian cancer.
met.                                          advice on whether it believes that the       6. Renal cell cancer.
   FDA agrees that the burden is on the       criteria used in making those decisions
manufacturer to justify waivers, but                                                       7. Hairy cell Leukemia.
                                              were appropriate. FDA will use the
believes that the rule already adequately     advice it receives to modify future          8. Uterine cancer.
imposes that burden. The rule requires        waiver decisions. FDA also expects to        9. Lung cancer.
both a certification from the                 consult with individual members of the       10. Squamous cell cancers of the
manufacturer that the grounds for             panel on difficult waiver decisions in          oropharynx.
waiver have been met and an adequate          their fields of expertise.                   11. Pancreatic cancer.
justification for the waiver request. FDA        31. One comment suggested that FDA        12. Colorectal cancer.
believes that it would be inappropriate       identify diseases that are not likely to     13. Basal cell and squamous cell cancer.
to require ‘‘proof’’ that the grounds for     occur in pediatric patients, such as         14. Endometrial cancer.
waiver have ‘‘in fact’’ been met because      prostate cancer, and classes of drugs not    15. Osteoarthritis.
each ground requires a degree of              likely to be used in pediatric patients,
                                                                                           16. Parkinson’s disease.
speculation about the safety and              and grant blanket waivers. Another
effectiveness of, or the ability to test, a   comment listed the following product         17. Amyotrophic lateral sclerosis.
product, in a population in which it has      classes as having no applicability to        18. Arteriosclerosis.
not yet been tested.                          pediatric patients: Alcohol abuse agents,    19. Infertility.
   30. Many comments from                     Alzheimer’s agents, Amyotrophic lateral      20. Symptoms of the menopause.
pediatricians, disease-specific               sclerosis agents, antifibrosis therapy,      F. Pediatric Use Section of Application
organizations, a pharmacists’                 antiparkinsonian agents, fertility agents,
organization, a medical society, several      gout preparations, multiple sclerosis           FDA proposed to add § 314.50(d)(7),
companies, a pharmaceutical trade             drugs, oral hypoglycemics, osteoporosis      under which applicants would be
association, and the AAP urged that the       agents, oxytocics, tremor preparations,      required to include in their applications
decision to require pediatric studies be      uterine relaxants, and vasodilators          a section summarizing and analyzing
reviewed by a panel of outside pediatric      (including cerebral vasodilators).           the data supporting pediatric use
experts. Some of the comments                    FDA agrees that there are some            information for the indications being
recommended that the panel include            disease and drug classes that have           sought. FDA received no comments on
industry representatives. The comments        extremely limited applicability to           this provision. The new pediatric use
were divided on whether the panel             pediatric patients and that waiver is        section will be required to contain only
would review only waiver requests or          appropriate for these. The decision to       brief summaries of the studies together
would be responsible for identifying, in      grant a waiver in such cases would be        with a reference to the full description
the first instance, those drugs that need     based on a conclusion that a disease         of each provided elsewhere in the
study. Some of these comments believed        does not have sufficient significance in     application.


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G. Planning and Tracking Pediatric           provide the agency’s best judgment, at       Institute of Allergy and Infectious
Studies                                      that time, whether waiver or deferral is     Diseases (NIAID). Another comment
                                             appropriate. Although a formal request       recommended that evidence
1. Sections 312.23(a)(3)(v), 312.47
                                             for deferral or waiver is not required       demonstrating that the required studies
(b)(1)(i), (b)(1)(iv) and (b)(2), and
                                             until submission of the NDA or BLA,          were underway be submitted to FDA
312.82—Early Discussion of Plans for
                                             FDA has revised § 312.47(b)(1)(iv) to        within 6 months of approval. This
Pediatric Studies
                                             state that a manufacturer who plans to       comment suggested that the evidence
   In the proposal, FDA identified           seek a waiver or deferral should provide     should include: (1) A finalized protocol,
several critical points in the drug          information related to the waiver or         (2) evidence of sufficient entry of
development process, before submission       deferral in the advance submission           patients to address the objective of the
of an NDA or BLA, during which the           required before the end-of-phase 1 or        protocol, and (3) a time line for data
sponsor and FDA should focus on the          end-of-phase 2 meeting, as appropriate.      analysis and submission to FDA.
sponsor’s plans to assess pediatric safety      As described earlier, a pediatric study   Another comment argued that the
and effectiveness. These time points         required under this rule may be eligible     burden should be on manufacturers to
include: Any pre-IND meeting or ‘‘end-       for exclusivity under FDAMA, if such         provide evidence that studies are being
of-phase 1’’ meeting for a drug              study ‘‘meets the completeness,              conducted with due diligence through
designated under subpart E of part 312       timeliness, and other requirements of        submission of protocols, progress
(21 CFR part 312), the IND submission,       [section 505A].’’ (See 21 U.S.C. 355A(i).)   reports and certifications by researchers.
the IND annual report, any ‘‘end-of-         Among other requirements, a pediatric        To hold manufacturers accountable, this
phase 2’’ meeting, the presentation of       study must, to be eligible for               comment suggested that nonproprietary
the IND to an FDA drug advisory              exclusivity, be responsive to a written      information related to deferrals be made
committee, and any pre-NDA or pre-           request for the study from FDA. To           available to the public, including
BLA meeting. Of these, the pre-IND           obtain a written request, a manufacturer     deferral requests, FDA action,
meeting, the ‘‘end-of-phase 1’’ meeting,     may submit a proposed written request        postmarketing status reports, and the
the IND submission, the IND annual           to FDA that contains the information         time line for deferred studies. One
report, the ‘‘end-of-phase 2’’ meeting,      described in a guidance document             comment argued that FDA’s current
and the pre-NDA/pre-BLA meeting are          issued by FDA entitled, ‘‘Qualifying for     procedures are adequate to track the
codified in part 312, FDA’s regulations      Pediatric Exclusivity Under Section          timeliness of pediatric studies. A
governing IND’s.                             505A of the Federal Food, Drug, and          pharmaceutical trade association argued
   In a separate rulemaking, FDA has         Cosmetic Act.’’ A manufacturer who has       that FDA should institute an adequate
already amended the IND annual report        been told in the end-of-phase 1 or end-      tracking system and meet periodically
requirement to include discussion of         of-phase 2 meeting that it is FDA’s best
pediatric patients entered in trials (63                                                  with the sponsor to discuss the progress
                                             judgment at that time that it does not       of the studies, but that no new rules are
FR 6854, February 11, 1998). In the          intend to waive the study requirement
proposal, FDA proposed to amend                                                           needed.
                                             may submit a proposed written request
§§ 312.23(a)(3)(v), 312.47 (b)(1)(i) and     at any time thereafter. FDA will issue a        FDA agrees that an adequate system
(b)(2), and 312.82 (a) and (b) to specify    written request for a study required         for ensuring that studies, both deferred
that these meetings and reports should       under this rule promptly after an            and nondeferred, are carried out in a
include discussion of the assessment of      adequate proposed written request is         timely manner requires the submission
pediatric safety and effectiveness. To       submitted.                                   of plans and progress reports from the
assist manufacturers in planning for            FDA also sought comment on the            sponsor at defined intervals. As
studies that may be required under this      types of evidence that FDA should            described previously, FDA will provide
proposal, FDA also proposed to inform        examine to ensure that deferred              sponsors with a preliminary decision on
manufacturers, at the ‘‘end-of-phase 2’’     pediatric studies are carried out in a       whether pediatric studies will be
meeting, of the agency’s best judgment,      timely fashion. In response to               required and their timing at the end-of-
at that time, of whether pediatric studies   comments, FDA has revised §§ 312.47          phase 1 meeting, for drugs and biologics
would be required for the product and        (b)(1)(iv) and (b)(2) to require             for life-threatening diseases, and at the
when any such studies should be              submission of information about              end-of-phase 2 meeting, for other
submitted. The proposal also stated that,    planned and ongoing pediatric studies.       products. FDA has revised
in addition to the discussions of               32. One comment supported the             § 312.47(b)(1)(iv) to state that sponsors
pediatric testing codified in the            proposed provisions and the need for         should submit, in the advance
proposal, FDA would assist                   early consultation with sponsors, stating    submission for the end-of-Phase 2
manufacturers by providing early             that discussions should take place as        meeting, a proposed time line for
consultations on chemistry and               early as possible in drug development.       protocol finalization, enrollment,
formulation issues raised by                 The comment urged that proposed              completion, data analysis, and
requirements under this rule.                § 312.47(b)(1) be revised to acknowledge     submission of pediatric studies, or, in
   Because, as described previously,         the possibility that studies could           the alternative, information to support a
studies of drugs and biologics for life-     already be underway.                         planned request for waiver or deferral.
threatening diseases may begin as early         FDA agrees with this comment and          For drugs and biologics for life-
as the end of phase 1, FDA will, at the      has revised § 312.47(b)(1) as suggested      threatening diseases, the submission
end-of-phase 1 meeting, provide the          in the comment.                              should be made in advance of the end-
sponsor of such a product the agency’s          33. Several comments provided             of-Phase 1 meeting. FDA has also
best judgment, at that time, whether         suggestions on how to assure that            revised § 312.47(b)(2)(iii) to state that
pediatric studies will be waived or          deferred studies are carried out             sponsors should submit, in the
deferred. Section 312.82(b) has been         expeditiously. One comment urged that        submission in advance of the pre-NDA
revised to include this requirement.         the criteria to ensure deferred studies      or pre-BLA meeting, information on the
Because studies of other products may        are carried out in a timely fashion be       status of needed and ongoing pediatric
begin as early as the end of phase 2,        modeled on the AIDS Clinical Trials          studies. The proposed language of
FDA will, at the end-of-phase 2 meeting,     Group (ACTG) system of National              § 312.47 has been slightly modified to


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seek information on ‘‘needed’’ and            withdraw §§ 314.81(b)(2) and 601.37 for      month); (2) infants (1 month to 2 years);
ongoing studies rather than ‘‘planned’’       consistency with the implementing            (3) children (2 years to 12 years), and (4)
and ongoing studies. This change has          regulations.                                 adolescents (12 years to 16 years). The
been made because not every sponsor              34. Three comments from the               proposal stated that the need for studies
elects to have an end-of-phase 1 or end-      pharmaceutical industry agreed that it       in more than one age group would
of-phase 2 meeting. In those cases, the       was appropriate to require                   depend on whether the drug or
need for a pediatric study may be             postmarketing reports on the progress of     biological product was likely to be used
discussed for the first time at the pre-      postapproval pediatric studies. One          or offered meaningful therapeutic
NDA or pre-BLA meeting. FDA has also          comment argued, however, that                benefit in each age group (see ‘‘Waivers’’
revised the title of § 312.47(b)(2) from      collection of this information along with    section III.E of this document), the
‘‘ ‘Pre-NDA’ meetings’’ to ‘‘ ‘Pre-NDA’       an adequate system to track pediatric        metabolism and elimination of the drug,
and ‘pre-BLA’ meetings.’’ This is merely      studies could preclude the need to           and whether safety and effectiveness in
a clarification, because part 312 is          finalize the rule. Another comment           one age group could be extrapolated to
expressly applicable to products subject      argued that the required analyses of         other age groups. The proposal further
to the licensing provisions of the Public     pediatric data ‘‘may lead to exposure of     stated that it would not ordinarily be
Health Service Act, as well to products       a larger number of children to an            necessary to establish effectiveness in
subject to section 505 of the act and 21      unapproved product.’’ This comment           each age group, but there would
CFR 312.2(a).                                 also contended that estimates of patient     generally need to be pharmacokinetic
                                              exposure are difficult to obtain and         data in each group to allow dosing
2. Sections 314.81(b)(2) and 601.37—          unreliable.
Postmarketing Reports                                                                      adjustments. The proposal recognized
                                                 FDA disagrees that postmarket reports     that studies in neonates and young
   To permit FDA to monitor the               and a tracking system are an adequate        infants present special problems, and
conduct of postapproval studies to            means of assuring that drugs and             sought comment on whether it is
ensure that they are carried out with         biologics are appropriately labeled for      appropriate to require the assessment of
due diligence, FDA proposed to amend          pediatric use. As shown above, even          safety and effectiveness in this age
§ 314.81(b)(2) of the postmarketing           postmarket commitments to conduct            group.
report requirements to require                pediatric studies have infrequently
                                                                                              36. Several comments addressed the
applicants to include in their annual         resulted in pediatric labeling
                                                                                           requirement that all relevant age groups
reports: (1) A summary briefly stating        submissions. FDA also disagrees that
whether labeling supplements for                                                           be studied. Some comments opposed
                                              the analyses required under
pediatric use have been submitted and                                                      studies in more than one age group. One
                                              § 314.81(b)(2) require exposure of any
whether new studies in the pediatric                                                       comment contended that requiring
                                              new patients. The analyses referred to in
population to support appropriate                                                          safety data in each pediatric group may
                                              the provision are of already collected
labeling for the pediatric population                                                      place an unnecessary burden on the
                                              data. Finally, the rule requires estimates
have been initiated; (2) where possible,                                                   sponsor, and that FDA should require
                                              of patient exposure ‘‘where possible.’’ If
an estimate of patient exposure to the                                                     safety data only in one group,
                                              there are no data on which to make such
drug product, with special reference to                                                    presumably that with the highest
                                              estimates, the estimates are not
the pediatric population; (3) an analysis                                                  potential use. Another comment
                                              required. FDA notes, however, that
of available safety and efficacy data in                                                   claimed that requiring studies in all four
                                              there are commercial data bases
the pediatric population and changes                                                       age groups would almost never be
                                              designed to estimate use of marketed
proposed in the label based on this                                                        justified. In most cases, according to this
                                              drugs.
information; (4) an assessment of data           35. One comment argued that FDA           comment, it should be possible to study
needed to ensure appropriate labeling         should require postmarket surveillance       a single subgroup and extrapolate. Other
for the pediatric population; and (5)         of approved drugs that do not have           comments argued that studies in more
whether the sponsor has been required         pediatric labeling, to generate helpful      than one age group could be necessary
to conduct postmarket pediatric studies       comparative information and provide          depending on the pharmacokinetics of
and, if so, a report on the status of those   additional information useful for            the drug, the disease, and expected use
studies. (Additional postmarketing            analysis of adverse event profiles.          of the drug. Most of these comments
reporting requirements are described             The provisions of the final rule          stated that the type and extent of studies
under ‘‘Remedies’’ in section III.L of this   require manufacturers of approved            in different age groups must be decided
document.) Although the proposal was          drugs without pediatric labeling to          on a case-by-case basis. Several
intended to cover both drugs and              conduct postmarket surveillance on           comments contended that drugs should
biological products, the proposal             their products and provide an analysis       be studied in each age group in which
inadvertently omitted a postmarketing         of available safety and efficacy data in     they are expected to be used. One
reports requirement specifically              the pediatric population.                    comment stated that studies in toddlers
applicable to biological products. In the                                                  are especially needed. A comment from
final rule, FDA has corrected this            H. Studies in Different Pediatric Age        an organization devoted to pediatric
oversight and included an identical           Groups                                       AIDS argued that all age groups should
postmarketing reports requirement in             Because the pharmacokinetics and          be studied unless the manufacturer
§ 601.37.                                     pharmacodynamics of a drug or                provides compelling evidence that it
   FDA notes that FDAMA includes a            biological product may be different in       would be impossible or virtually
provision requiring reports of                different pediatric age groups or stages     impossible to study that group.
postmarketing studies in a form               of development, FDA proposed to                 FDA continues to believe that studies
prescribed by the Secretary of Health         require an assessment of safety and          in more than one age group may be
and Human Services (the Secretary) in         effectiveness in each pediatric age group    necessary, depending on expected
regulations. (Section 506 of the act (21      for which a waiver was not granted. The      therapeutic benefit and use in each age
U.S.C. 356B).) At such time as                following age categories for the pediatric   group, and on whether data from one
regulations implementing this provision       population were distinguished in the         age group can be extrapolated to other
are issued, FDA may modify or                 proposal: (1) Neonates (birth to 1           age groups.


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  37. Many comments argued that the         designs will be appropriate and              depending upon such factors as
pediatric subgroups identified in the       necessary ethical issues will be             solubility of the compound and taste.
proposal were arbitrary and that FDA        addressed if neonatologists are included     FDA proposed to waive the requirement
should be flexible in determining which     in the review of studies. Another            for pediatric studies (see ‘‘Waivers’’ in
age ranges or stages of development         comment stated that neonates represent       section III.E of this document) in age
need to be studied. A comment from a        the greatest disparity in drug disposition   groups requiring a pediatric
pharmaceutical trade association            compared to adults, and that, on a           formulation, if the manufacturer
contended that rigid age divisions for      scientific and ethical basis, they must      provided evidence that reasonable
required studies were inappropriate,        therefore be included in drug studies.       attempts to produce a pediatric
and that the method by which the            The AAP stated that premature infants,       formulation had failed.
compound is cleared from the body           newborns, and infants are more difficult        FDA sought comment on whether it is
must be considered in light of what is      to study, but that the difficulties do not   appropriate to require a manufacturer to
known about physical development.           outweigh the importance of studying          develop a pediatric formulation, on
The AAP stated that the groups              them. According to this comment,             whether the cost of developing a
identified in the proposal provide          inadequate study of neonates has led to      pediatric formulation should ever justify
acceptable guidelines, but should not be    frequent and severe toxicity. This           a waiver of the pediatric study
adhered to rigidly. One comment argued      comment agreed that it is inappropriate      requirement, and on how to define
that the definition of pediatric patients   to extrapolate from older pediatric          ‘‘reasonable attempts’’ to develop a
should include all subgroups of growth      patients to the youngest age group.          pediatric formulation.
and development from 0 to 21 years.            FDA agrees that the benefits and risks       39. Many comments from the
  FDA agrees that the age ranges            to premature infants, neonates, and          pediatric community argued that it is
identified in the proposal may be           infants must be carefully weighed before     appropriate to require manufacturers to
inappropriate in some instances and         these pediatric patients are included in     produce pediatric formulations. Several
that it will be reasonable in some cases    pediatric studies. Although the agency       comments from pediatricians and
to define subgroups for study using         believes that studies in these groups        parents described the difficulties and
other methods, such as stage of             may be frequently waived or deferred         uncertainties in attempting to
development. FDA has deleted the            until adequate safety data have been         administer adult formulations to
references in the rule to specific age      collected, there will be cases in which      pediatric patients, and argued that
ranges.                                     the drug or biologic is important and        pediatric formulations are essential to
  38. Several comments addressed            expected to be used in these groups. In      assure bioavailability, accurate dosing,
inclusion of neonates in studies. One       such cases, it will be appropriate to        and patient compliance, and to avoid
comment maintained that because             require studies in these groups. To          wasting medications. The AAP argued
neonates are a special challenge, they      exclude them from study would be to          that FDA should require development of
should not ordinarily be included in        subject the most vulnerable patients to      an appropriate formulation for each age
studies under this rule. Another            the risks of the drugs in clinical use       group for which the drug will be used,
comment described the difficulties in       without adequate information about           taking into account ease of
conducting studies in infants and           safety or dosing. FDA agrees that studies    administration and ability to dose
neonates and recommended that before        in neonates and young infants raise          accurately.
studies in this group there be an           special ethical issues, but once these          Comments from the pharmaceutical
assessment of ‘‘the expected extent of      issues are addressed in each case, the       industry described technical problems
use and potential benefit in this patient   studies should proceed.                      in producing pediatric formulations,
population’’ and an evaluation of safety                                                 including stability, taste and
data in adults and older pediatric          I. Pediatric Formulations                    palatability, and claimed that FDA
patients. One comment contended that           As described in the proposal, testing     underestimated these difficulties. Some
there are not many instances in which       of a product in pediatric patients could     of these comments maintained that
the benefit will outweigh the risk of       require the development of a pediatric       requiring development of pediatric
exposing neonates and young infants to      formulation. Many young children are         formulations during the investigational
drugs. This and another comment also        unable to swallow pills and may require      phase will necessitate diversion of
argued that it is not always possible to    a liquid, chewable or injectable form of     resources, increase the cost of the adult
extrapolate from data in older pediatric    the product. A standardized pediatric        formulation, and create a disincentive to
patients. A pharmaceutical trade            formulation also ensures bioavailability     produce drugs with pediatric uses. One
association maintained that validated       and consistency of dosing, compared to       comment argued that it would be
end-points and ability to assess these by   alternatives such as mixing ground-up        wasteful to require development of a
age should determine which age groups       tablets with food, and permits               pediatric formulation before some
to include, and that it may not be          meaningful testing of safety and             evidence of effectiveness has been
possible to study certain end-points in     effectiveness. FDA proposed in               collected and dose selection has been
very young pediatric patients. One          §§ 201.23, 314.50(g)(1) (now 314.55(a))      achieved, because before that time the
comment argued that early research on       and 601.27(a) to require a manufacturer      drug could be abandoned because of
neonates raises special ethical issues.     to produce a pediatric formulation, if       lack of safety or effectiveness. A
Citing the 1977 FDA guideline, this         one were necessary, only in those cases      pharmaceutical trade association
comment asserted that testing in            where a new drug or new biological           opposed a pediatric formulation
neonates should occur only when             product provided a meaningful                requirement, arguing that the
substantial evidence of benefit or          therapeutic benefit over existing            government has no right to tell
superiority over accepted agents has        treatments, and where the study              manufacturers what products to market.
been demonstrated in older pediatric        requirement had not been waived in the       This comment stated that only if FDA
patients and adults.                        age group requiring the pediatric            successfully demonstrated that ‘‘all
  Other comments argued that neonates       formulation. The proposal recognized         attempts to develop a voluntary solution
should not be excluded from studies.        that the difficulty and cost of producing    have failed’’ might the industry consider
According to one comment, study             a pediatric formulation may vary greatly     other options. One comment stated that


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a single drug could require more than         increase the cost of adult formulations     formulation. FDA will also, at its
one pediatric formulation for different       or create disincentives for producing       discretion, take to the Advisory
pediatric age group, such as a chewable       drugs and biologics with pediatric uses.    Committee for Pharmaceutical Sciences
tablet, a nonalcohol containing liquid,       No evidence was submitted to support        questions about whether ‘‘reasonable
and sprinkles. Counting failed attempts,      either of these assertions.                 attempts’’ have been made to produce
this comment claimed that producing a            40. Several comments discussed how       pediatric formulations in particular
pediatric formulations may cost               to define ‘‘reasonable attempts’’ to        cases. Although FDA believes that it is
millions of dollars.                          produce a pediatric formulation. The        appropriate to consider the cost to the
   FDA believes that for drugs and            AAP argued that difficulty in producing     manufacturer in determining whether
biologics that offer a meaningful             a pediatric formulation should be a         attempts to produce a pediatric
therapeutic benefit to pediatric patients,    basis for waiver only if the sponsor        formulation have been reasonable, the
it is essential to provide pediatric          provides data showing that formulation      agency received no helpful guidance on
formulations that ensure bioavailability      experts encountered insurmountable          how to assess whether the costs of
and accurate dosing. FDA disagrees that       problems of solubility, stability,          producing a pediatric formulation were
it is inappropriate for the government to     compatibility, or palatability using        unreasonable. In addition to any
require manufacturers to produce              accepted methods, and that cost be          informative cost information provided
pediatric formulations. As many               given only limited consideration. The       by the manufacturer, FDA will take into
comments demonstrated, adult                  AAP urged that such an assertion be         account whether a product is still under
formulations of these drugs are               corroborated by a panel of pediatric        patent or exclusivity protection. FDA
frequently used in pediatric patients         experts and FDA as well as formulation      will assume that manufacturers can
because there is no other choice. Drug        experts. Another comment agreed that        incur greater costs for products that
manufacturers profit from these uses,         formulations appropriate for younger        have significant patent life or
but do not take responsibility for them.      age groups should be developed unless       exclusivity remaining.
Where a product is commonly being             the manufacturer shows it would be             41. One comment contended that FDA
used in a subpopulation for an                virtually impossible. This comment          chemistry requirements have increased
indication recommended by the                 argued that if a manufacturer wants to      over the last 10 years. Another comment
manufacturer, it is appropriate to            show that the cost is prohibitive, it       urged that FDA be more flexible in its
require the manufacturer to take steps to     should provide information allowing         review of formulations, e.g., by
ensure that the use is safe and effective.    the financial and other costs of            permitting generally recognized as safe
   FDA agrees that producing a pediatric      development to be seen in terms of the      (GRAS) substances in pediatric
formulation can be difficult or, rarely,      entire drug development process.            formulations.
impossible and has attempted to               Another comment argued that waivers            FDA recently held a conference on
account for this problem by permitting        should not be based on whether              pediatric formulations at which the
waiver of the pediatric study                 reasonable efforts to develop a pediatric   agency sought input from industry on
requirement where reasonable attempts         formulation have failed because this        identifying the regulatory issues that
to produce a pediatric formulation have       ground for a waiver would permit small      affect the development of pediatric
failed. FDA notes that the                    companies to avoid producing pediatric      formulations for both new and approved
pharmaceutical industry did not               formulations on cost grounds. This          marketed drugs. At this meeting, FDA
respond to FDA’s request to help define       comment urged that waivers be allowed       also requested proposals for solutions to
what should constitute such                   only if a pediatric formulation cannot be   facilitate the development and approval
‘‘reasonable attempts.’’                      produced for scientific or technological    of pediatric formulations. FDA is
   To permit pediatric studies that may       reasons. One comment argued that even       committed to removing unnecessary
begin, for products for life-threatening      if producing a pediatric formulation is     burdens on the review and approval of
diseases, at the end of phase 1, or, for      impossible, the manufacturer should be      pediatric formulations.
other products, at the end of phase 2, it     required to study the adult formulation        42. Two comments urged
may be necessary to begin development         in pediatric patients, because it will be   manufacturers to provide formulas in
of a pediatric formulation before             used in pediatric patients.                 product labeling for extemporaneous
initiation of clinical trials. FDA does not      One industry comment urged that the      pediatric formulations made by
agree that it is wasteful to begin            decision to require a pediatric             pharmacists. These comments stated
development of a pediatric formulation        formulation be made on a case-by-case       that the current practice among hospital
at this stage. This rule is premised on       basis. Another comment argued that          pharmacies is to use unvalidated
the view that for drugs and biologics         pediatric formulations should be            formulas, resulting in a lack of
that will have important use in pediatric     required only if a panel of pediatric       consistency from one hospital to
patients, it is the responsibility of the     experts concludes that there is a           another, no stability testing, and, in
manufacturer to ensure that use is safe       genuine pediatric need and substantial      some cases, reluctance to produce
and effective. Although some such             benefit.                                    pediatric formulations at all because of
products may ultimately prove to be              FDA agrees that the burden should be     the lack of guidance. One comment
unsafe or ineffective, work on pediatric      on the manufacturer to provide              stated that information on
formulations of such products is not          evidence that experts in formulation        extemporaneous formulations should be
necessarily more wasteful than work on        chemistry had encountered unusually         provided only where: (1) A commercial
adult formulations. FDA does not agree        difficult technological problems in the     formulation is not possible or (2) the
that manufacturers will be required to        development of a pediatric formulation.     drug has extremely limited use in
develop several pediatric formulations        In determining whether those problems       pediatric patients.
for different age groups. Even for a drug     were sufficiently severe to warrant a          FDA is concerned that the availability
that was to be used in all pediatric age      waiver of pediatric studies, FDA will       of this approach may undermine efforts
groups, a liquid formulation, e.g., might     consider the potential importance of the    to produce standardized pediatric
be usable in all age groups.                  product for pediatric patients. The more    formulations. There are, however, one
   FDA has no basis to conclude that          important the product, the more efforts     or two examples in which approved
producing pediatric formulations will         should be made to develop a pediatric       labeling carries directions for producing


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extemporaneous pediatric formulations.         pharmaceutical industry argued that           comments argued that the phrase ‘‘very
FDA will consider, on a case-by-case           FDA lacked authority to require studies       significant illness’’ was ill-defined. One
basis whether such an approach is              of marketed drugs and that the 1994 rule      comment stated that it was ‘‘so open-
appropriate, e.g., where it has not been       sufficiently addressed pediatric labeling     ended and subjective as to be
possible to develop a stable commercial        for marketed drugs. Some comments             impossible for use as a regulatory
formulation.                                   argued that adding pediatric labeling for     standard.’’ Another comment suggested
                                               indications applicable to pediatric           that any definition of ‘‘very significant
J. Marketed Drug and Biological
                                               patients should be at the sponsor’s           illness’’ would be arbitrary and
Products
                                               discretion. Others claimed that               overbroad. Several comments urged that
   FDA proposed in § 201.23 to codify its      incentives are better than requirements.      the same criteria that are applied to not-
authority to require, in certain               One comment contended that the                yet-approved drugs be applied to
circumstances, a manufacturer of a             proposed requirement forces                   marketed drugs. One of these comments
marketed drug or biological product to         manufacturers ‘‘to take on unwanted           argued that even if the criteria remain as
submit an application containing data          liabilities in order to maintain an asset
evaluating the safety and effectiveness                                                      proposed, ‘‘widely used’’ and
                                               which was created and earned under a          ‘‘significant risk’’ should be defined in
of the product in pediatric populations.       different set of rules.’’ Other comments
FDA proposed to impose such a                                                                terms of the severity of the illness.
                                               maintained that companies should not
requirement only where the agency                                                            According to this comment, if the
                                               be required to conduct new studies, and
made one of two findings: (1) That the                                                       consequences of no treatment are
                                               that pediatric labeling should be based
product was widely used in pediatric                                                         serious, the absence of labeling should
                                               on existing data, such as marketing
populations and the absence of adequate        experience and dosing regimens                be more readily found to present a
labeling could pose significant risks to       generally accepted by experts. A              significant risk. One industry comment
pediatric patients; or (2) the product         comment from a pharmaceutical trade           maintained that the requirement should
was indicated for a very significant or        association argued that studies should        apply to marketed drugs only where
life-threatening illness, but additional       not be required but that FDA should           there is a ‘‘compelling need’’ for
dosing or safety information was needed        work with industry and others to              pediatric data. One comment argued
to permit its safe and effective use in        ‘‘develop creative ways to obtain the         that the requirement should apply to all
pediatric patients.                            needed labeling information’’ for             marketed drugs unless an expert panel
   Before requiring a study under this         marketed drugs.                               concluded that studies were not
section, FDA proposed to consult with             FDA believes that it has ample             required, while other comments urged
the manufacturer on the type of studies        authority to require pediatric studies of     that FDA utilize an expert panel to
needed and on the length of time               marketed drugs and biologics, as              affirmatively identify and prioritize
necessary to complete them, and would          described in the preamble to the 1994         marketed drugs that should be studied
notify the manufacturer, by letter, of the     rule (59 FR 64240 at 64243) and in            in pediatric patients. Some of these
agency’s tentative conclusion that such        ‘‘Legal Authority’’ section IV of this        comments suggested that there be no
a study was needed and provide the             document. FDA has also concluded, as          criteria and that the panel should
manufacturer an opportunity to provide         described previously, that the response       determine which drugs should be
a written response and to have a               to the 1994 rule and other voluntary          studied on a case-by-case basis. One
meeting with the agency. At the                measures have not produced a                  comment suggested that the list should
agency’s discretion, such a meeting            significant improvement in pediatric          be prioritized using the number of
could be an advisory committee                 labeling for many marketed drugs and          pediatric prescriptions.
meeting. If, after reviewing any written       biologics. In addition, as one
response and conducting any requested                                                           FDA believes that criteria are
                                               pharmaceutical company conceded,              necessary to assure consistency and
meeting, FDA determined that                   manufacturers are unlikely to initiate
additional pediatric use information                                                         fairness in deciding which marketed
                                               clinical research on marketed drugs
was necessary, FDA proposed to issue                                                         drugs and biologics are studied. FDA
                                               whose patents have expired, or are
an order requiring the manufacturer to                                                       has reviewed the grounds for requiring
                                               about to expire. FDA has therefore
submit a supplemental application                                                            pediatric studies of marketed drugs and
                                               concluded that where pediatric
containing pediatric safety and                                                              biologics and has revised them in light
                                               information is critical to patient care, it
effectiveness data within a specified          is necessary to require that pediatric        of the comments. FDA has concluded
time. The proposal referred to the order       studies be carried out. FDA notes that        that the phrase ‘‘very significant illness’’
in one place as a letter. FDA has              new requirements are sometimes                is not sufficiently defined and agrees
clarified the final rule by stating that the   imposed on already marketed consumer          that it would be less confusing to use
manufacturer will receive ‘‘an order, in       products when such requirements are           the same concepts that are used in
the form of a letter.’’ A few other minor      necessary to protect the public health.       defining which new products will be
clarifying revisions have also been made       FDA emphasizes, however, that it will         subject to the pediatric study
in this section.                               require studies of marketed products          requirement. FDA has therefore
   FDA sought comment on whether it            only in the compelling circumstances          replaced the concept of ‘‘very significant
should codify its authority to require the     described in the regulation.                  illness’’ and replaced it with
manufacturers of marketed drugs and               44. FDA received many comments on          ‘‘meaningful therapeutic benefit.’’
biologics to conduct pediatric studies,        the grounds for requiring studies of          However, to ensure that this authority is
and, if so, on the circumstances in            marketed products. Comments from              reserved for cases in which there is a
which the agency should exercise that          medical societies, pediatricians, and         compelling need for studies, FDA has
authority.                                     disease-specific organizations argued         added the requirement (already present
   43. Many comments from the                  that the proposed grounds were too            in the first criterion) that FDA also find
pediatric community agreed that FDA            narrow. One comment stated that               that the absence of adequate labeling
should codify its authority to require         pediatric studies should be required of       could pose significant risks for pediatric
pediatric studies on marketed drugs.           any marketed drug that is likely to be        patients. The second criterion will now
Several comments from the                      used in pediatric patients. Several           read:


                                                                                                              EX. 7 pg. 022
                                                                                                                   App. 0082
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  * * * there is reason to believe that the      require studies of any particular product   explicitly ensures protection of
drug product would represent a meaningful        on the list. As noted in the Introduction   vulnerable subjects should be obtained.
therapeutic benefit over existing treatments     to this preamble, before imposing any       This comment also stated that the AAP
for pediatric patients for one or more of the
                                                 requirements under § 201.23, FDA            guidelines provide a means to ensure
claimed indications, and the absence of
adequate labeling could pose significant risks   intends to allow manufacturers eligible     ethical conduct of studies without
to pediatric patients.                           for FDAMA incentives an adequate            impeding pediatric research. One
                                                 opportunity to voluntarily conduct          comment said that DHHS ethics
   FDA has also revised the first                studies of marketed drugs in response to    regulations may not provide sufficient
criterion to conform more closely to the         those incentives. If, following such an     protection for pediatric patients and
criteria for requiring studies in not-yet-       opportunity, there remain marketed          suggested incorporating AAP guidelines
approved drugs and biologics, replacing          drugs for which studies are needed and      for ethical conduct of pediatric studies
‘‘widely used’’ with ‘‘used in a                 the compelling circumstances described      into FDA’s human subjects protections
substantial number of pediatric                  in the rule are met, the agency will        regulations. Another comment
patients.’’ FDA will use the same                consider exercising its authority to        contended that pediatric studies should
definition of ‘‘substantial number’’ for         require studies.                            strictly adhere to regulations currently
both marketed and not-yet-approved                  45. One comment claimed that the         in effect for studies of human subjects
drugs and biologics. The first criterion         proposal requires studies only from         who are unable to give consent, and
will, however, continue to include the           manufacturers of innovator drugs            urged FDA to further define
requirement that ‘‘the absence of                (sponsors of the original application for   requirements for investigation in
adequate labeling could pose significant         the drug), while the major market share     vulnerable populations.
risks to patients.’’ FDA believes that the       for many of these drugs is now held by         FDA believes that adherence to the
pediatric study requirement may impose           generic manufacturers. This comment         DHHS and AAP guidelines will provide
greater burdens on the manufacturers of          argued that a waiver should be granted      sufficient protection to pediatric
marketed drugs and biologics than the            if ANDA holders fail to share the costs     patients from the risks of research. FDA
manufacturers of not-yet-approved                of required studies. Another comment        will, however, seek advice from a panel
products, and that it is appropriate to          argued that the pediatric study             of pediatric experts on whether
require such studies only in the                 requirement should apply only to the        additional protections are necessary.
compelling circumstances described in            sponsor of the original application.           47. Several comments addressed the
the regulation. In determining which                Where the agency requires pediatric      ethics of requiring pediatric studies as
marketed products ‘‘could pose                   studies on a multi-source marketed          described in the proposal. Two
significant risks to patients,’’ FDA will        drug, each manufacturer of that drug,       comments asserted that children are
consider such factors as the severity of         whether innovator or generic, will be       overmedicated and that administering
the illness and the consequences of              responsible for satisfying the study        drugs to children is unacceptable and
inadequate treatment, the number of              requirement. To avoid duplication of        ‘‘ungodly.’’ Comments from the
pediatric prescriptions, and any                 research, FDA will encourage all the        pharmaceutical industry claimed that
available information on adverse events          manufacturers to jointly fund an            the rule as drafted would result in
associated with use of the product.              appropriate study. If, however, a joint     unethical testing of pediatric patients.
   FDA emphasizes that it intends to             study is not agreed to, each                One comment maintained that the
exercise its authority under § 201.23            manufacturer will be responsible for        regulations do not adequately protect
only in compelling circumstances. FDA            submitting adequate studies.                pediatric patients from the risks of
has estimated that it will require studies                                                   research because they impose a ‘‘general
of approximately two marketed drugs              K. Ethical Issues
                                                                                             rule that a deferral of testing in
per year.                                           In the proposal, FDA noted that          pediatrics will only be granted in
   FDA agrees that an expert panel can           because pediatric patients represent a      narrow and limited circumstances.’’
provide useful experience and guidance           vulnerable population, special                 In contrast, comments from the
in developing a prioritized list of              protections are needed to protect their     pediatric community maintained that
marketed drugs and biologics that meet           rights and to shield them from undue        far more serious ethical concerns are
the criteria for required studies. FDA           risk. To address ethical concerns in        raised by using untested drugs in
intends to seek advice on developing             research on pediatric patients, both the    pediatric patients than by conducting
such a list from a pediatric panel, as           AAP (Ref. 17) and the Department of         pediatric research. A comment from the
described in section III.M of this               Health and Human Services (DHHS), 45        AAP stated that there is no greater
document (‘‘Pediatric Committee’’).              CFR part 46, subpart D, have developed      ethical dilemma than whether to give a
   FDA also notes that FDAMA requires            guidelines for the ethical conduct of       drug with insufficient safety and
the agency to publish a list of marketed         clinical studies in pediatric patients.     effectiveness data to a child, or to
drugs for which ‘‘additional pediatric           FDA advised in the proposal that            withhold treatment and let the disease
information may produce health                   sponsors should adhere to these             progress unabated.
benefits in the pediatric population.’’          guidelines for pediatric studies               Some comments suggested specific
FDA published this list within 180 days          conducted under this rule. The agency       points in drug development at which
of the enactment of FDAMA, as required           also sought comment on ethical issues       pediatric testing becomes ethical. One
by that statute. Although the products           raised by the proposal.                     comment argued that testing in pediatric
on the list designated as high priority             46. A few comments addressed             patients before efficacy is demonstrated
may be appropriate candidates for                appropriate ethical guidelines for          in adults may unnecessarily expose
required studies under this rule, the list       pediatric studies. Several comments         pediatric patients to a product’s risks
of high priority products is not                 said that existing ethical guidelines       before its benefits are established.
necessarily exhaustive. Other products           provide an adequate framework for           Another comment contended that it is
that might be subject to a requirement           pediatric studies. A comment from the       unethical to begin studying drugs in
under this rule might not appear on the          AAP stated that ethical conduct should      pediatric patients that are not intended
list. FDA also emphasizes that there is          be guided by the DHHS and AAP               primarily for pediatric patients until the
no implication that the agency will              guidelines, and that IRB approval that      drug is adequately characterized in


                                                                                                             EX. 7 pg. 023
                                                                                                                  App. 0083
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adult patients, including choice of           L. Remedies                                  to the drug product, with special
appropriate adult dose and                       If a manufacturer failed, in the time     reference to the pediatric population.
establishment of reasonable evidence of       allowed, to submit adequate studies to          50. Several comments agreed with the
safety and efficacy with an acceptable        evaluate pediatric safety and                agency that withdrawal or denial of
therapeutic margin. A pharmaceutical          effectiveness required under proposed        approval is infeasible and supported the
trade association argued that it is           § 201.23(c) or § 314.55 (proposed            use of injunctive remedies. One
unethical to begin trials in pediatric        § 314.50(g)), FDA proposed to consider       comment argued that if FDA provides
patients until enough adult safety and        the product misbranded under section         no incentives, disincentives to avoid
effectiveness data have been gathered to      502 of the act or an unapproved new          pediatric trials must be strong, and that
conclude that the drug ‘‘is likely to be      drug under section 505(a) of the act (see    withdrawal and denial of approval must
approved for use in adults.’’                                                              therefore be used as a remedy.
                                              ‘‘Legal Authority,’’ in section IV of this
   FDA believes that some of the                                                              FDA continues to believe that refusal
                                              document). Although proposed § 201.23
comments from the pharmaceutical                                                           to approve or removal from the market
                                              expressly covered both drugs and             is generally an unsatisfactory remedy
industry misstate the application of the
                                              biologics, FDA inadvertently omitted in      from a public health perspective
rule. As described fully previously,
                                              that section a reference to actions          because it denies adequately studied
deferral of pediatric studies is
                                              against biologics that have not obtained     populations access to safe and effective
specifically permitted in those cases
                                              a license under section 351 of the Public    medicines.
where data should be collected in adults
                                              Health Service Act. Such a reference has        51. Several comments supported the
before exposing pediatric patients to the
                                              been added in the final rule. When a         imposition of monetary fines. One
agent. There is no suggestion in either
                                              product is misbranded or an                  comment urged that fines be imposed in
the proposed or final rule that deferral
will be granted only in ‘‘narrow and          unapproved new drug, sections 302,           the amount of a percentage of the profits
limited circumstances.’’ FDA believes         303, and 304 of the act (21 U.S.C. 332,      to ensure that large and small
that, as drafted, the deferral provisions     333, 334) authorize injunction,              companies had an equal disincentive.
of the rule permit ethical pediatric          prosecution or seizure. FDA may also         Several comments argued that fines
testing that does not expose pediatric        seek an injunction or bring a                should be used by FDA to fund
patients to inappropriate risks.              prosecution under the Public Health          pediatric studies carried out by
   48. A few comments urged that              Service Act. In the proposal, FDA            government or private agencies. One
placebo-controlled trials in pediatric        advised that it would bring an               comment contended that monetary
patients be used rarely if at all. The AAP    enforcement action for injunctive relief     penalties, such as fines or shortening of
stated that placebo controls should not       for failure to submit a required             exclusivity, are the only practical
be used where that design would               assessment of pediatric safety or            remedy because industry and
impose a substantial increase in risk to      effectiveness. Violation of the injunction   government are economically driven,
the child or would impede the ability to      would result in a contempt proceeding        but that injunctions are too costly.
perform useful clinical trials. This          or such other penalties as the court            Although FDA continues to believe
comment urged that alternatives to            ordered, e.g., fines. As noted in the        that court-imposed fines are an
placebo controls be used wherever             proposal, FDA does not intend to deny        appropriate remedy for failure to submit
possible and that where placebo               or withdraw approval of a product for        pediatric assessments, the agency has no
controls are used, the study design           failure to conduct pediatric studies,        authority itself to impose fines for
should incorporate safeguards to avoid        except possibly in rare circumstances,       violation of this rule, to set the amount
undue risk.                                   because removal of a product from the        of such fines, or to take the fines and
   The question of appropriate control        marketplace could deprive other              direct them to specific activities.
group arises only when there is a need        patients of the benefits of a useful            52. Two comments opposed treating
for controlled trials to establish efficacy   medical product. Such circumstances          violative products as ‘‘misbranded’’
in the pediatric population. FDA agrees       might arise where the predominant use        because this could limit access to the
that alternatives to placebo-controlled       of the product was in pediatric patients     drugs or could delay availability of the
trials should be used wherever they can       rather than adults, and there were life-     products for adult use. According to one
provide sufficient information to             threatening risks associated with use of     comment, FDA should consider a
establish effectiveness. FDA often            the product in pediatric patients when       misbranding charge only if the sponsor
accepts data from active control studies      used without proper dosing and safety        failed to meet a phase 4 commitment.
for certain therapeutic classes, such as      information in the labeling.                 Another comment argued that
anti-infectives and oncologic drugs. (See        To assist FDA in determining whether      injunction or prosecution are
21 CFR 314.126.) In some cases, new           pediatric assessments are needed or are      appropriate only as a final response, and
treatments can also be studied against a      being carried out with due diligence,        that other, unspecified means are more
placebo together with a background of         FDA proposed to amend § 314.81(b)(2)         efficient to elicit compliance. This
existing therapy, i.e., studied in ‘‘add-     (21 CFR 314.81(b)(2)) (annual                comment also argued that seizure would
on’’ trials.                                  postmarketing reports) to require that       serve only to deprive patients of safe
   49. One comment argued that parents        annual reports filed by the manufacturer     and effective drugs.
should not be given money or                  contain information on labeling changes         The comments arguing that a
equivalent compensation for                   that have been initiated in response to      misbranding charge could limit access
participation in drug studies. This           new pediatric data, analysis of clinical     or delay approval provided no basis for
comment suggested that any                    data that have been gathered on              concluding that these results would
compensation could be put in the              pediatric use, assessment of data needed     occur, and FDA is aware of none. FDA
child’s IRA.                                  to ensure appropriate labeling for the       agrees that injunction and prosecution
   The IRB overseeing a research study,       pediatric population, and information        are appropriate remedies only after the
rather than FDA, is responsible for           on the status of ongoing pediatric           sponsor has been given an adequate
determining whether compensation              studies. FDA also proposed to require        opportunity to meet its obligations
offered to the subjects of the study is       that, where possible, the annual report      under the rule. FDA emphasizes,
ethically appropriate.                        contain an estimate of patient exposure      however, that providing adequate


                                                                                                           EX. 7 pg. 024
                                                                                                                App. 0084
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pediatric labeling cannot be long-           completion of deferred studies. A           FDA may seek the advice of the panel
delayed without putting the health of        disease-specific organization urged that    on whether the manufacturer is acting
pediatric patients at risk and that the      a pediatric committee assist in             with due diligence. In addition, FDA
agency will not accept unwarranted           establishing ‘‘pediatric guidelines and     may bring before the panel other issues
delays in submitting required studies.       practice,’’ including a list of drugs for   that arise in the implementation of the
FDA also notes that it does not intend       which studies would be required,            rule, including the design of trials and
ordinarily to use seizure as a remedy for    protocol design, formulations, and age      analysis of data for specific products
failure to conduct required studies.         ranges. Two industry comments               and classes of products.
   53. Some comments offered                 recommended that the panel review
additional or alternative remedies for                                                   N. Other Comments
                                             which drugs require testing and
failure to conduct required studies. One     labeling, at what phase of drug                54. Several comments suggested
comment urged that failure to provide        development pediatric patients should       various forms of oversight for the
information to support pediatric             be exposed, when waivers should be          implementation of the rule. One
labeling result in highly visible            granted, what methods should be used        comment suggested that FDA establish a
warnings on prescription and OTC             to evaluate safety and effectiveness, the   plan to prospectively evaluate these
labels that the drug has not been            economic burdens on industry, and           regulations, including their effect on the
approved by FDA for pediatric use. Two       liability issues. Several comments,         cost of drug development and on the
comments argued that the label should        including comments from a                   time to new drug approval, and the
disclose the status of pediatric studies,    pharmaceutical trade association, a         number and success of pediatric studies
whether waivers or deferrals had been        disease-specific organization, a medical    actually performed. Another comment
requested or granted, and the timetable      society, and pediatricians,                 urged FDA to appoint a ‘‘Children’s
for full compliance. Another comment         recommended that the panel give advice      Studies Ombudsman.’’ One comment
contended that incentives are more           on which drugs should be studied in         asked that the rule include an appeals
effective than penalties, and that FDA       pediatric patients. One comment             mechanism to resolve disputes between
discussions with sponsors during drug        suggested that FDA appoint a pediatric      sponsors and agency reviewers.
development will achieve the results                                                        As described previously, FDA intends
                                             pharmacology expert to each of the
sought in the proposal.                                                                  to convene a panel of pediatric experts,
                                             existing drug advisory committees,
   FDA agrees that publicity can                                                         including at least one representative of
                                             except possibly the Fertility and
sometimes be a useful tool for                                                           the pharmaceutical industry, to, among
                                             Maternal Health Advisory Committee.
encouraging compliance. FDA does not                                                     other things, review the agency’s
believe, however, that it is feasible to        FDA has concluded that a panel of        implementation of the rule. FDA notes
include in labeling detailed information     pediatric experts could provide useful      that it already has procedures for
on the status of pediatric trials, because   advice and experience on several            resolution of disputes between sponsors
that information could change                aspects of the implementation of the        and FDA reviewing divisions, 21 CFR
frequently. As described in section III.M    rule. FDA will therefore convene a          312.48 and 314.103, and that these
of this document, FDA will, in               panel of pediatric experts, including at    procedures will be available for disputes
appropriate cases, bring issues related to   least one industry representative, and      that arise under this rule.
the progress of pediatric studies before     seek its advice on a range of issues.          55. Several comments contended that
a panel of pediatric experts, and may        Such a panel may be composed of             the rule is inconsistent with
utilize other forms of publicity to          pediatric experts appointed to each of      requirements in Canada, Europe, and
provide the public with information          FDA’s existing drug advisory                Japan for pediatric studies. These
about the status of required pediatric       committees. As described in section         comments argued that the rule was at
studies. FDA notes, e.g., that FDAMA         III.E of this document under ‘‘Waivers,’’   odds with harmonization efforts and
contains provisions concerning               FDA does not believe that it would be       urged FDA to harmonize its
disclosure of information on the status      practical to ask such a committee to        requirements with those of other
of postmarketing studies. FDA may also       review every waiver or deferral request.    countries. One comment recommended
consider the use of prominent warnings       However, the agency will ask the panel      that the United States, the European
about the absence of data on pediatric       to provide annual oversight of the          Union (EU), and Japan adopt pediatric
use, if necessary in particular cases.       agency’s implementation of the final        drug development as a topic for global
                                             rule, including the agency’s record of      discussion and harmonization.
M. Pediatric Committee                       granting or refusing waivers and               Although FDA is not required to
   A large number of comments                deferrals. FDA will also seek the advice    harmonize its labeling regulations and
recommended that FDA form a panel of         of the panel in identifying specific        enforcement with those of our
pediatric experts to provide advice on a     marketed drugs and biological products      International Conference on
range of topics related to                   that should be studied in pediatric         Harmonization (ICH) partners,
implementation of this rule. Two             patients, and the age groups in which       harmonization is a goal that the agency
comments recommended that an expert          they should be studied. FDA will also       strives to achieve. FDA intends to work
panel give advice on all facets of the       ask for advice on assessing when            through the ICH process to harmonize
rule. Several comments suggested more        additional therapeutic options are          methods for conducting pediatric
specific roles for the panel. For            needed in treating specific diseases and    studies.
example, the AAP recommended that            conditions occurring in pediatric              56. A few comments sought
the panel provide advice on waiver           patients. As described previously, FDA      additional incentives for pediatric
requests, which marketed drugs require       will seek the panel’s advice on ethical     studies. One industry comment
study, whether a drug is ‘‘widely used,’’    issues raised by clinical trials in         suggested that FDA should provide: (1)
whether to accept a manufacturer’s           pediatric patients, and whether             Priority reviews for applications
failure to develop a pediatric               additional rules should be implemented      containing pediatric data or ongoing
formulation, relevant age groups for         in this area. Where a manufacturer is       studies; (2) waiver of user fees for
study, the appropriateness of deferral,      not carrying out required studies           pediatric effectiveness supplements;
and appropriate timetables for               according to the agreed upon timetable,     and (3) application of the subpart E


                                                                                                         EX. 7 pg. 025
                                                                                                              App. 0085
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regulations (21 CFR part 312, subpart E)     Misbranding drugs and introducing             201(n) of the act for not-yet-approved
to pediatric development of new drugs        unapproved new drugs into interstate          drugs, claiming that the agency cannot
and biological products, to address the      commerce are prohibited acts under            know what will be the ‘‘customary or
issues associated with small sample size     sections 301(a), (d), and (k) of the act.     usual uses’’ of an unmarketed drug. A
and therapeutic need.                        The statutory definition of ‘‘drug’’ is set   few comments argued that the agency’s
   Since the publication of the proposal,    out at section 201(g) of the act.             legal theory would authorize the agency
two significant new incentives have            57. Several comments agreed that            to require studies of all off-label
become available for pediatric research.     FDA has authority to require pediatric        indications.
First, as described elsewhere in this        testing of drugs and biological products.       FDA disagrees that any of these
document, FDAMA provides 6 months            One comment argued that the act               arguments show that FDA lacks
of exclusive marketing to certain            already gives FDA the authority to            authority to issue this rule. Under FDA’s
applicants who conduct pediatric             require that all drugs be tested in           longstanding policy, statements made in
studies. Second, as a result of changes      pediatric patients, and that the rule,        speeches, even by Commissioners, are
made during the reauthorization of the       which permits waivers and deferred            informal expressions of opinion and do
PDUFA, user fees are no longer required      testing in some cases, weakens the            not constitute a formal agency position
for supplements that are solely for the      agency’s existing statutory authority.        on a matter. As such they are not
purpose of adding a new indication for       One comment contended a provision of          binding on the agency. (See, e.g., 21 CFR
use in pediatric populations.                FDAMA granting exclusivity to ‘‘any           10.85(k).)
                                             pediatric study [that] is required              FDA also disagrees that it has no
IV. Legal Authority
                                             pursuant to regulations promulgated by        authority to require a drug or biologic to
   In the proposal, FDA cited as             the Secretary [and that meets certain         be studied in a population that is
authority for the requirements in the        other requirements]’’ shows that              expected to use the product for the
rule sections 502(a), 502(f), 505(d)(7) of   Congress agrees that FDA has authority        claimed indication, or that this is a new
the act, and § 201.5 (21 CFR 201.5),         to require pediatric studies. This            position. The agency has repeatedly
which require adequate directions for        comment also argued that, to the extent       stated that an application for marketing
use and prohibit false or misleading         that FDA’s position on its authority to       approval should contain data on a
labeling; section 201(n) of the act, which   require pediatric studies has changed,        reasonable sample of the patients likely
defines as misleading labeling that fails    the change in position is justified           to be given the product once it is
to reveal material facts related to          because the proposal articulates a            marketed (59 FR 64240 at 64243; 58 FR
consequences of the customary or usual       reasoned basis for the change.                39406 at 39409). The agency has also
use of a drug; sections 201(p), 301(a)         FDA agrees that it has the authority to     previously asserted its authority to
and (d) (21 U.S.C. 331(a) and (d)), and      require pediatric testing of drugs and        require studies in pediatric patients and
505(a) of the act, which subject a drug      biologics. For the reasons cited in the       in other subpopulations for both not-
to enforcement action if it is not           preamble to the proposed and final            yet-approved products and marketed
recognized as safe and effective or          rules, FDA has concluded that the             products. In the preamble to the 1994
approved for the conditions prescribed,      requirements in the rule appropriately        rule, FDA made the following statement:
recommended, or suggested in the             balance the need for adequate pediatric
labeling; section 502(j) of the act, which                                                    If FDA concludes that a particular drug is
                                             labeling and the limitations on
                                                                                           widely used, represents a safety hazard, or is
prohibits drugs that are dangerous to        resources available for pediatric testing     therapeutically important in the pediatric
health when used in the manner               and agency review. FDA also agrees that       populations, and the drug sponsor has not
suggested in their labeling; sections        the reference in FDAMA, which was             submitted any pediatric use information,
505(i) and 505(k) of the act, which          enacted after the proposal was issued, to     then the agency may require that the sponsor
authorize FDA to impose conditions on        pediatric studies required by FDA,            develop and/or submit pediatric use
the investigation of new drugs,              demonstrate that Congress is aware of         information.
including conditions related to the          FDA’s position that it has the authority         If FDA has made a specific request for the
ethics of an investigation, and to require                                                 submission of pediatric use information
                                             to issue this rule and agrees that the
                                                                                           because of expected or identified pediatric
postmarketing reports; section 701(a) of     agency has such authority. Finally, FDA       use, and the sponsor fails to provide such
the act, which authorizes FDA to issue       agrees that it has articulated a reasoned     information, the agency may consider the
regulations for the efficient enforcement    basis for its position that the agency has    product to be a misbranded drug under
of the act; and section 351 of the Public    authority to require pediatric studies,       section 502 of the act, or a falsely labeled
Health Service Act, which formerly           but notes that FDA previously stated its      biological product under section 351 of the
required biological products to meet         position that it has the authority to         PHS Act, as an unapproved new drug or
standards designed to insure their           require pediatric studies in 1994 (59 FR      unlicensed biological product. (See 21 U.S.C.
‘‘continued safety, purity, and potency.’’                                                 355 and 42 U.S.C. 262.)
                                             64240 at 64243).
FDA notes that section 351 was                 58. Several comments argued that            (59 FR 64240 at 64248; see also 58 FR 39406
amended by FDAMA, and now requires           FDA lacks authority to require pediatric      at 39409)
biological products to be ‘‘safe, pure,      studies of drugs. A few comments cited          The act and implementing regulations
and potent.’’                                remarks by former Commissioner David          require drugs to be adequately labeled
   FDA has authority under section 302       Kessler during a 1992 speech. In that         for their intended uses. See sections
of the act and under the Public Health       speech, David Kessler stated his opinion      502(f) of the act and § 201.5. ‘‘Intended
Service Act to seek an injunction            that FDA does not have ‘‘the authority        uses’’ encompass more than the uses
requiring studies of certain marketed        to require manufacturers to seek              explicitly included in the
drugs on the grounds that the absence        approval for indications which they           manufacturer’s proposed labeling. Id.,
of pediatric safety and effectiveness        have not studied.’’ Other comments            21 CFR 201.128. In determining the
information in the labeling renders the      argued that FDA has no authority to           intended uses of a drug for which it
product misbranded or an unapproved          require the study of any indications or       must be adequately labeled, FDA may
new drug. The act also authorizes            populations other than those proposed         consider both the uses for which it is
seizures of misbranded or unapproved         by the manufacturer. One comment              expressly labeled and those for which
drugs under section 304 of the act.          challenged FDA’s reliance on section          the drug is commonly used, § 201.5.


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                                                                                                                  App. 0086
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FDA may also consider the actual uses        will be commonly used in pediatric           (2nd Cir. 1977). FDA believes that it has
of the drug of which the manufacturer        patients. Indeed, pediatricians often        demonstrated that this regulation is
has, or should have, notice, even if         have no choice but to use these products     reasonably related to the purposes of the
those uses are not promoted by the           in pediatric patients. A drug product        act.
manufacturer, 21 CFR 201.128. Section        that provides a meaningful therapeutic
                                                                                          V. Implementation Plan
201(n) of the act defines labeling as        benefit either because it represents a
misleading if it fails to include material   significant improvement in therapy or           FDA proposed that the rule would
facts about the consequences of ‘‘use of     because it is a necessary therapeutic        become effective 90 days after the date
the [drug] * * * under such conditions       option can be expected to be routinely       of its publication in the Federal
of use as are customary or usual.’’          used in the treatment of pediatric           Register. For new drug and biologic
Sections 201(p) and 505(d) of the act        patients. Under the rule, the decision       product applications submitted before
authorize FDA to require evidence            that a product will provide a meaningful     the effective date of the final rule, the
establishing the safety and effectiveness    therapeutic benefit or will be used in a     agency proposed a compliance date of
of uses ‘‘suggested’’ by the                 substantial number of pediatric patients     21 months after the effective date of the
manufacturer’s labeling as well as those     is made on a case-by-case basis,             final rule (for a total of 2 years after
expressly recommended in the labeling.       depending upon such factors as the           issuance of the final rule). For new drug
Thus, the agency has authority to            number of pediatric patients affected by     and biologic product applications
require a manufacturer to establish the      the disease for which the product is         submitted on or after the effective date
safety and effectiveness of, and             indicated, the availability and adequacy     of the final rule, the agency proposed a
adequately label its product for, use of     of other therapeutic options to treat        compliance date of 15 months after the
the product in a subpopulation for           pediatric patients for the disease, and      effective date of the final rule (for a total
which the product is not labeled if that     whether similar products, e.g., products     of 18 months after issuance of the final
use is common or suggested in the            in the same drug class, have been            rule). FDA has revised the final rule to
labeling.                                    widely used in pediatric patients.           become effective 120 days after
   As described in the proposal, there is       Finally, FDA emphasizes that this         publication in the Federal Register, to
extensive evidence that drugs and            rule applies only where a product is         allow additional time for comment on
biologics indicated for diseases that        expected to have clinically significant      the revised information collection
affect both adults and pediatric patients    use in pediatric populations for the         requirements. FDA has also revised the
are routinely used in pediatric patients     indications already claimed by the           compliance dates. All applications will
despite the absence of pediatric             manufacturer. The record before the          have a compliance date of 20 months
labeling, and even in the face of            agency documents widespread evidence         after the effective date of the rule (for a
disclaimers stating that safety and          of actual use of products in the pediatric   total of 2 years after publication of the
effectiveness have not been established      population for indications labeled for       final rule).
in pediatric patients. FDA may therefore     adults. This record supports FDA’s
consider pediatric use to be ‘‘customary     conclusion that it has authority to             60. Two industry comments argued
or usual’’ or ‘‘commonly used’’ where        require pediatric studies of drugs and       that the proposed effective dates were
the drug is indicated for a disease or       biologics that have or are expected to       too short. One of these suggested that 15
condition that affects both adults and       have clinically significant use among        and 21 months were too short to
children, and the drug is not                pediatric patients for the claimed           develop a pediatric program and
contraindicated in pediatric patients.       indications. The agency has not              formulation, conduct trials, analyze
FDA may also consider pediatric use to       examined evidence concerning the use         data, and submit an application. Two
be ‘‘suggested’’ in a drug’s labeling even   of approved products for diseases or         comments asked that FDA clarify what
where such use is not expressly              conditions not in the label, and the rule    ‘‘compliance’’ means. According to one
recommended or is even disclaimed.           does not apply in those situations.          of these comments, 15 months would be
The medical community generally                 59. Two comments addressed the            adequate for initiation of discussions
expects that drugs and biological            agency’s reliance on section 701(a) of       with a sponsor about plans, but
products will behave similarly in            the act. One comment argued that 701(a)      inadequate for completion of studies.
demographic subgroups, including age         of the act, in combination with the          This comment also argued that it is not
and gender subgroups, even though            substantive statutory provisions cited by    in children’s interest to rush through
there may be variations among the            FDA, authorizes this rule because the        pediatric studies to meet an arbitrary
subgroups, based on, e.g., differences in    agency has demonstrated that the rule is     deadline. Another comment offered the
pharmacokinetics. Thus, where a drug         reasonably related to the purposes of the    example of Ritonavir, a drug to treat HIV
or biological product is indicated for a     act. Another comment argued that             infection, for which pediatric studies
disease suffered equally by men,             701(a) of the act does not authorize the     reportedly took 21 months even after
women, and children, and is not              agency to enforce requirements beyond        development of a pediatric formulation.
contraindicated in women or pediatric        those imposed by the act.                    According to the comment, it took 15
patients, the product will be widely            Section 701(a) of the act gives the       months to agree on a protocol, 3 months
prescribed for all three subgroups even      Secretary authority to issue regulations     to recruit patients, and 3 months to the
if it were studied only in, or labeled       for the efficient enforcement of the act.    first interim analysis of data. One
only for, men.                               Consonant with the Supreme Court’s           disease-specific organization argued that
   FDA disagrees that it can know            determination that the language of the       the effective dates were too long. This
nothing, in advance of marketing, about      act should not be read restrictively, but    comment proposed 12 months from the
whether a drug or biological product         in a manner consistent with the act’s        effective date of final rule, which could
will be used in pediatric patients. The      purpose of protecting the public health,     be extended by 6 months if genuine
evidence cited in the proposal and           a regulation issued under section 701(a)     difficulties occurred. This comment also
confirmed by comments from the               of the act will be sustained so long as      urged that compliance with the early
pediatric community is overwhelming          it is reasonably related to the purposes     discussion requirements be immediate.
that products indicated for diseases that    of the act. United States v. Nova Scotia     One comment argued that pending
affect both adults and children are and      Food Products Corp., 568 F.2d 240, 246       applications should be granted a full


                                                                                                            EX. 7 pg. 027
                                                                                                                 App. 0087
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waiver and treated as marketed                 information. OMB requested that, as         effectiveness of the drug for the
products.                                      part of the final rule, FDA address all     indication for the pediatric population
   ‘‘Compliance,’’ as referred to in the       comments received on the information        is too low. In response to this comment,
proposal, means the submission of an           collection requirements contained in the    FDA has revised its burden estimate
assessment of pediatric safety and             rule, particularly with respect to the      from 16 to 48 hours. FDA has also made
effectiveness under § 314.55(a)                reporting burden imposed by the rule.       a corresponding change in the estimate
(proposed § 314.50(g)(1) or 601.27(a)),        FDA received one comment concerning         for § 601.27(a). FDA has revised the
unless a waiver or deferral for all            the proposed burden estimates of this       estimate of the number of companies
relevant age groups has been granted.          rulemaking under the PRA. The               affected from 10 to 51 to reflect the
FDA has reconsidered the compliance            comment contended that FDA                  broader scope of the rule.
dates and has concluded that                   underestimated the time required to
applications submitted on or after the         comply with the annual reporting               Concerning § 314.55(b), the comment
effective date of the final rule should be     requirements of the proposed                stated that FDA’s estimate of 9
given 20 months from the effective date        rulemaking.                                 manufacturers requesting deferrals of
of the final rule to achieve compliance.         The agency received several               the submission of pediatric study data
Although FDA does not believe that             comments that questioned the accuracy       and the estimate that this would take 8
development of, and agreement on, a            of FDA’s estimate of the burden of the      hours to complete are too low. In
protocol should take 15 months,                proposed collection of information as       response to this comment, FDA has
protocol development, recruitment,             being too low and requested changes.        revised its burden estimate from 8 hours
enrollment, and data analysis may              For example, one comment requested          to 24 hours. FDA has also made a
together take up to 2 years. There is no       changes in the burden estimate for          corresponding change in the estimate
reasonable basis on which to distinguish       manufacturers requesting deferrals of       for § 601.27(b). FDA has revised the
between an application submitted 1 day         submission of pediatric data as well as     estimate of the number of companies
before the effective date of the final rule,   the estimate for manufacturers to submit    affected from 8 to 51 to respond to the
and one submitted a day later.                 pediatric information in their annual       comment and to reflect the broader
   All other provisions of the rule will       report. In addition, the estimate for       scope of the rule.
become effective on the effective date of      manufacturers to submit in their annual        Concerning § 314.81(b)(2)(i), the
the rule. One hundred twenty days from         reports the analysis of available safety    comment contended that FDA’s estimate
the date of publication in the Federal         and efficacy data conducted or obtained     of 1.5 hours for manufacturers to submit
Register is sufficient time to meet these      in the pediatric population as well as
new requirements.                                                                          pediatric information in their annual
                                               proposed labeling was questioned.
                                                                                           reports is too low. In response to this
VI. Paperwork Reduction Act of 1995            Based on these comments the agency
                                                                                           comment, FDA has revised its burden
                                               increased the proposed burden
  This final rule contains information                                                     estimate from 1.5 hours to 8 hours and
                                               estimates. These issues are discussed in
collection requirements that are subject                                                   has made a corresponding change in its
                                               more detail in the preamble to the final
to review by the Office of Management          rule.                                       estimate for § 601.27(c).
and Budget (OMB) under the Paperwork             Concerning § 314.50(d)(7), the               Concerning § 314.81(b)(2)(vi)(c), the
Reduction Act of 1995 (the PRA) (44            comment stated that in order to comply      comment contended that FDA’s estimate
U.S.C. 3501–3520). The title,                  with this requirement, ‘‘one company’’      of 1.5 hours for manufacturers to submit
description, and respondent description        estimated that, for one pediatric           in their annual reports the analysis of
of the information collection                  reporting project, medical staff had        available safety and efficacy data
requirements are shown below with an           spent at least 118 hours, rather than the   conducted or obtained in the pediatric
estimate of the annual reporting burden.       8 hours that FDA had estimated,             population as well as proposed labeling
Included in the estimate is the time for       reviewing the medical literature and        changes is too low. The comment stated
reviewing instructions, searching              summarizing the findings. FDA does not      that even an estimate of 15 hours would
existing data sources, gathering and           believe that this comparison is fully       be too low. Although the comment did
maintaining the data needed, and               appropriate because § 314.50(d)(7) does     not provide an estimate of the hours
completing and reviewing each                  not require an applicant to review the      required to satisfy § 314.81(b)(2)(i) and
collection of information.                     medical literature, or other studies, de    (b)(2)(vi)(c), FDA has increased its
  With respect to the following                novo. It simply requires an applicant to    estimates to 8 and 24 hours,
collection of information, FDA invited         provide a brief summary of data that        respectively.
comment on: (1) Whether the proposed           have already been fully reported and
collection of information is necessary                                                        Based upon these comments, FDA has
                                               analyzed elsewhere in the same
for proper performance of FDA’s                                                            decided to increase the agency’s
                                               application. However, because the data
functions, including whether the               to be summarized may be more                proposed burden estimates. These
information will have practical utility;       extensive than originally estimated,        revisions are reflected in the Table 2 of
(2) the accuracy of FDA’s estimate of the      FDA has, in response to the comment,        this document. In addition, the burden
burden of the proposed collection of           increased its estimate of the reporting     estimates for §§ 314.55(a), (b), and (c),
information, including the validity of         burden for this requirement from 8          and 601.27(a), (b), and (c), have
the methodology and assumptions used;          hours to 50 hours.                          increased because of the new
(3) ways to enhance the quality, utility,        Concerning § 314.55(a), the comment       requirements in the final rule to
and clarity of the information to be           contended that FDA’s estimate of 10         include, in addition to applications for
collected; and (4) ways to minimize the        companies submitting NDA’s annually         new chemical entities and never-before-
burden of the collection of information        for NME’s is too low. The comment           approved biologics, applications for
on respondents, including through the          implied that, based on data for 1996, 50    new active ingredients, new indications,
use of automated collection techniques,        companies would be a more realistic         new dosage forms, new dosing
when appropriate, and other forms of           estimate. The comment also contended        regimens, and new routes of
information technology.                        that FDA’s estimate of 16 hours for a       administration. These estimates are
  OMB filed a Notice of Action, not            manufacturer to prepare the report of       based upon FDA’s analysis of all
approving the proposed collection of           the data supporting the safety and          marketing applications and efficacy


                                                                                                           EX. 7 pg. 028
                                                                                                                App. 0088
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supplements approved over the 5-year                                          Title: Regulations Requiring                                              analyses of data on pediatric safety and
period of 1993 to 1997 and those that                                      Manufacturers to Assess the Safety and                                       effectiveness (§§ 314.81(b)(2)(vi)(c) and
would likely have needed additional                                        Effectiveness of New Drugs and                                               601.37(a)(1)); (8) Postmarketing reports
pediatric data had this rule been in                                       Biological Products in Pediatric                                             on patient exposure to certain marketed
effect by 1993 (see ‘‘Analysis of                                          Patients.                                                                    drug products (§§ 314.81(b)(2)(i) and
Impacts,’’ in section VIII of this                                            Description: This final rule includes                                     601.37(a)(2)); (9) Postmarketing reports
document). In addition, burden                                             the following reporting requirements:                                        on labeling changes initiated in
estimates have been added in Table 2 of                                    (1) Reports on planned pediatric studies                                     response to new pediatric data
this document for the new requirements                                     in IND’s (§ 312.23(a)(10)(iii)); (2) Reports
                                                                                                                                                        (§§ 314.81(b)(2)(vi)(c) and 601.37(a)(3));
in the final rule concerning submissions                                   for end-of-phase 1 and end-of-phase 2
                                                                                                                                                        and (10) Postmarketing reports on the
for end-of-phase 1 and end-of-phase 2                                      meetings (§ 312.47(b)(1)(iv)) and reports
                                                                           for pre-NDA meetings (§ 312.47(b)(2));                                       status of required postapproval studies
meetings under § 312.47(b)(1)(iv) and
submissions for pre-NDA meetings                                           (3) Summaries of data on pediatric                                           in pediatric patients (§§ 314.81(b)(2)(vii)
under § 312.47(b)(2). These estimates                                      safety and effectiveness in NDA’s                                            and 601.37). The purpose of these
are based on FDA’s records of the                                          (§ 314.50(d)(7)); (4) Reports assessing                                      reporting requirements is to address the
number of these meetings held during                                       the safety and effectiveness of certain                                      lack of adequate pediatric labeling of
1997. Finally, burden estimates have                                       drugs and biological products for                                            drugs and biological products by
been added for new postmarket report                                       pediatric use in NDA’s and BLA’s or in                                       requiring the submission of evidence on
requirements added for biological                                          supplemental applications (§§ 314.55(a)                                      pediatric safety and effectiveness for
products under § 601.37 (a), (b), and (c),                                 and 601.27(a)); (5) Requests seeking                                         products with clinically significant use
corresponding to § 314.81 (b)(2)(i),                                       deferral of required pediatric studies                                       in children.
(b)(2)(vi)(c), and (b)(2)(vii). These                                      (§§ 314.55(b) and 601.27(b)); (6)                                               Description of Respondents: Sponsors
estimates are based upon FDA’s records                                     Requests seeking waiver of required                                          and manufacturers of drugs and
of the number of licensed biological                                       pediatric studies (§§ 314.55(c) and                                          biological products.
products.                                                                  601.27(c)); (7) Postmarketing reports of

                                                              TABLE 2.—ESTIMATED ANNUAL REPORTING BURDEN 1
                                                                                                                                    Annual fre-
                                                                                                               No. of                                       Total annual             Hours per
                                       21 CFR section                                                                               quency per                                                              Total hours
                                                                                                            respondents                                      responses               response
                                                                                                                                     response

201.23 .................................................................................................                   2                        1                       2                     48               96
312.47(b)(1)(iv) ...................................................................................                      27                        1.2                    32                     16              512
312.47(b)(2) ........................................................................................                     36                        1.3                    46                     16              736
314.50(d)(7) ........................................................................................                    213                        1                     213                     50           10,650
314.55(a) .............................................................................................                   51                        1                      51                     48            2,448
314.55(b) .............................................................................................                   51                        1                      51                     24            1,224
314.55(c) .............................................................................................                  176                        1                     176                      8            1,408
314.81(b)(2)(i) .....................................................................................                    625                        1                     625                      8            5,000
314.81(b)(2)(vi)(c) ...............................................................................                      625                        1                     625                     24           15,000
314.81(b)(2)(vii) ..................................................................................                     625                        1                     625                      1.5            937.5
601.27(a) .............................................................................................                    2                        1                       3                     48              144
601.27(b) .............................................................................................                    2                        1                       3                     24               72
601.27(c) .............................................................................................                    3                        1                       4                      8               32
601.37(a) .............................................................................................                   69                        1                      69                      8              552
601.37(b) .............................................................................................                   69                        1                      69                     24            1,656
601.37(c) .............................................................................................                   69                        1                      69                      1.5            103.5

      Total .............................................................................................   ....................   ......................   ....................   ......................      40,571
   1There are no capital or operating and maintenance costs associated with this collection of information.




  The information collection provisions                                    cumulatively have a significant effect on                                    regulatory approaches that maximize
of this final rule have been submitted to                                  the human environment. Therefore,                                            net benefits (including potential
OMB for review. Prior to the effective                                     neither an environmental assessment                                          economic, environmental, public health
date of this final rule, FDA will publish                                  nor an environmental impact statement                                        and safety, and other advantages;
a notice in the Federal Register                                           is required.                                                                 distributive impacts; and equity). Under
announcing OMB’s decision to approve,                                                                                                                   the Regulatory Flexibility Act, unless an
modify, or disapprove the information                                      VIII. Analysis of Impacts                                                    agency certifies that a rule will not have
collection provisions in this final rule.                                  A. Introduction and Summary                                                  a significant economic impact on a
An agency may not conduct or sponsor,                                                                                                                   substantial number of small entities, the
and a person is not required to respond                                       FDA has examined the impacts of the                                       agency must analyze regulatory options
to, a collection of information unless it                                  final rule under Executive Order 12866,                                      that would minimize the impact of the
displays a currently valid OMB control                                     the Regulatory Flexibility Act (5 U.S.C.                                     rule on small entities. The Unfunded
number.                                                                    601–612), and the Unfunded Mandates                                          Mandates Reform Act (Pub. L. 104–4)
                                                                           Reform Act (Pub. L. 104–4). Executive                                        (in section 202) requires that agencies
VII. Environmental Impact
                                                                           Order 12866 directs agencies to assess                                       prepare an assessment of anticipated
  The agency has determined under 21                                       all costs and benefits of available                                          costs and benefits before proposing any
CFR 25.30(h) that this action is of a type                                 regulatory alternatives and, when                                            rule that may result in an expenditure
that does not individually or                                              regulation is necessary, to select                                           by State, local, and tribal governments,


                                                                                                                                                                                     EX. 7 pg. 029
                                                                                                                                                                                          App. 0089
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in the aggregate, or by the private sector,   biologicals per year. These studies          additional pediatric data had the
of $100 million or more in any one year       would have involved a total of 10,860        proposal been in place over that period.
(adjusted annually for inflation).            pediatric patients, 7,408 in efficacy           Several industry comments declared
   The agency has reviewed this final         studies, and 3,452 in PK studies. In         that FDA’s analysis of the proposal
rule and has determined that the rule is      addition, an estimated 33 of the 82          substantially underestimated the
consistent with the regulatory                drugs and biologicals needing new            economic impact by understating both
philosophy and principles identified in       pediatric data each year may have            the number and size of the studies that
Executive Order 12866, and in these two       needed new pediatric dosage forms.           would be required. Only two of the
statutes. This rule is an economically        FDA judges that the additional studies       comments, however, included
significant regulatory action, because of     would have cost about $45 million and        alternative estimates. One suggested that
its substantial benefits. It is also a        the new dosage formulations about $33        each new drug could require the testing
significant regulatory action as defined      million annually, for a total annual cost    of 300 or more pediatric patients for
by the Executive Order due to the novel       of almost $80 million. The agency            safety data alone. The other comment
policy issues it raises. With respect to      found, however, that roughly 42 percent      estimated that, ‘‘each new drug studied
the Regulatory Flexibility Act, the           of the costs of the studies would have       would probably require a minimum of
agency certifies that the rule will not       been spent voluntarily had the extended      six clinical trials (two each in Phases I,
have a significant economic impact on         pediatric exclusivity provisions of the      II, and III), for one indication and one
a substantial number of small entities.       recent FDAMA statute been in place.          formulation.’’ This comment explained
Since the rule does not impose any            Adjusting for this effect lowers the         that Phase I trials would include 20
mandates on State, local, or tribal           agency’s final cost estimate for this rule   patients, Phase II trials 50 patients, and
governments, or the private sector that       to about $46.7 million per year.             Phase III trials 100 patients. Assuming
will result in an expenditure of $100           FDA could not develop a quantifiable       two trials for each phase, the comment
million or more in any one year, FDA          estimate of the benefits of this             projected that 34,000 pediatric patients
is not required to perform a cost-benefit     regulation, although numerous                would need to be studied each year (170
analysis according to the Unfunded            anecdotal examples illustrate the            patients x 2 trials x 100 drugs).
Mandates Reform Act.                          current health problem. To consider             FDA agrees that some applications
   FDA is requiring that a limited class      some of the potential benefits, the          will require data from a substantial
of important new drugs and biologicals        agency examined hospitalization rates        number of pediatric patients. The
that are likely to be used in pediatric       for five serious illness (asthma, HIV/       agency believes, however, that most
patients contain sufficient data and          AIDS, cancer, pneumonia, and kidney          studies will not include large numbers
information to support directions for         infections) and found significantly          of pediatric patients. For example, FDA
this use. As the approved labeling for        higher rates for children than for           does not necessarily require two
many of these new products lacks              middle-aged adults. Although FDA can         pediatric studies for each trial phase.
adequate pediatric information, their         not estimate the extent to which these       Moreover, FDA’s 1994 final rule (59 FR
use in children greatly increases the risk    differentials reflect the relative lack of   64240) explains that extrapolations from
of inappropriate dosing, unexpected           pharmaceutical safety and efficacy           adult effectiveness data based on PK
adverse effects, and suboptimal               information for pediatric compared to        studies and other safety data can be
therapeutic outcomes. This rule is            adult use, the agency calculated that a      sufficient to provide the necessary
designed to ensure that new drugs,            25 percent reduction in these                pediatric dosing information for those
including biological drugs, that are          differentials would lead to direct           drugs and biologicals that work by
therapeutically important and/or likely       medical cost savings of $228 million per     similar mechanisms in adults and
to be used in a substantial number of         year. FDA also estimates that about two-     children. The agency expects that the
children contain adequate pediatric           thirds of the approved applications          majority of the studies will rely, to some
labeling at the time of, or soon after,       needing pediatric studies will be            extent, on such extrapolations.
approval.                                     addressed by the incentives established         On the other hand, the proposal
   The agency estimated the costs to          by FDAMA. If the estimated medical           primarily addressed drugs and
industry of the required new pediatric        cost savings were adjusted by a similar      biologicals that contained no previously
studies by first determining what the         ratio, the analysis suggests that a 25       approved active moiety. The final rule
annual costs would have been in 1993          percent reduction in the pediatric/adult     requires pediatric data for new active
to 1997, had the rule become effective        hospitalization rate differentials would     ingredients, new indications, new
in 1993. The methodology included: (1)        yield annual savings of $76 million for      dosage forms, new dosing regimens, and
Constructing a data base of all 583           these five illnesses.                        new routes of administration that
NDA’s and efficacy supplements                                                             represent a meaningful clinical benefit
approved by the agency over that 5-year       B. Number of Affected Products and           over existing treatments for children, or
period for drugs and biologicals likely to    Required Studies                             that are likely to be widely used in
produce health benefits in the pediatric        In the preamble to its proposal, FDA       children. The rule also requires
population, (2) determining which of          explained that neither the precise           pediatric studies for marketed drugs and
those applications would have been            number of drugs that would require           biologicals that are already widely used
required to conduct additional pediatric      additional pediatric studies nor the cost    among children for the claimed
studies, (3) calculating how many             of these studies could be predicted with     indications, if the absence of adequate
unapproved and already marketed drugs         certainty. To develop plausible              labeling could pose significant risks; or
and biologicals would have needed             estimates of the number of new drugs         if the drug would provide a meaningful
additional pediatric studies, and (4)         and biologicals that would be affected,      clinical benefit over existing treatments
estimating the size and cost of the           the agency had examined the pediatric        for pediatric patients, but additional
additional studies. The analysis              labeling status at time of approval for      dosing or safety information is needed
indicated that, on average, this              each NME and important biological            to permit their safe and effective use in
regulation would have required an             approved from 1991 to 1995, and used         children.
estimated 378 additional pediatric            these estimates to project the number of        To develop a revised estimate of the
studies on about 82 drugs and                 drugs that would have required               number of drugs and biologicals that


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would require additional pediatric data,      believes that this assumption overstates     additional pediatric studies, had the
FDA constructed a data base of all 583        the true number of efficacy studies that     rule been in effect starting in 1993.
applications and efficacy supplements         will be needed.                              Assuming separate studies for each
approved over the 5-year period from             2. For the following categories of        pediatric age group specified in the
1993 to 1997 for drugs and biologicals        applications, both an efficacy and a PK      ‘‘List,’’ indicates that an estimated 459
for which pediatric labeling would be         study were assumed for each designated       efficacy studies and 713 PK studies
likely to provide a significant health        age group. Again, FDA believes that this     would have been required for these
benefit. The selected drugs and               assumption may overstate the true            applications.
biologicals included all those for which      number of efficacy studies that will be
the active moiety was listed in the                                                          These estimates understate the
                                              needed:
priority section in the Federal Register                                                   required research effort, however,
                                              Neurological drugs;                          because they omit pediatric studies for
of May 20, 1998 (63 FR 27733),                Oncology drugs;
document entitled ‘‘List of Drugs For                                                      drugs that fail to gain approval. It is
                                              Nausea agents;                               difficult to judge how much additional
Which Additional Pediatric Information
                                              Pulmonary agents;                            pediatric research would be directed
May Produce Health Benefits in the
                                              NSAIDs—arthritis/pain;                       towards nonapprovable products. The
Pediatric Population’’ (‘‘List’’).
                                              AIDS/HIV agents;                             agency notes, however, that because
Mandated by FDAMA, this publication
includes the agency’s priority list of        Asthma drugs;                                only about 63.5 percent of all NME’s
drugs and biologicals that would likely       Anesthesia drugs;                            that enter phase III trials are eventually
provide a significant benefit to the          Hormones;                                    approved (Ref. 18), the number of drugs
pediatric population. The selection           Dermatological agents;                       entering phase III trials is about 58
criteria used to prepare this priority list   Acne agents                                  percent greater than the number of
were almost identical to those set forth         3. A PK study alone was assumed           actual approvals (100/63.5 = 1.58).
in this final rule, i.e.,                     sufficient for each relevant age group for   Moreover, there are two additional
   • The drug product, if approved for        the following types of non-NCE               complications. First, under the rule,
use in the pediatric population, would        applications:                                FDA expects to defer for several years
be a significant improvement compared         Allergies;                                   the conduct of pediatric studies of ‘‘me-
to marketed products labeled for use in       Infectious diseases;                         too’’ drugs that do not offer a
the treatment, diagnosis, or prevention       Cardiovascular diseases;                     meaningful therapeutic benefit and that
of a disease in the relevant pediatric        Imaging agents;                              are members of a drug class that already
population (i.e., a pediatric priority        Hematology agents;                           contains an adequate number of
drug); or,                                                                                 approved products with pediatric
                                              GI disorders;
   • The drug is widely used in the                                                        labeling. No additional pediatric studies
                                              Urologic drugs
pediatric population, as measured by at                                                    would be expected for this group of
least 50,000 prescription mentions per           4. If pediatric labeling was already
                                                                                           never approved drugs. On the other
year; or,                                     adequate as the result of an approved
                                                                                           hand, applications for ‘‘lifesaving’’
   • The drug is in a class or for an         application, additional applications for
                                                                                           drugs may need to begin pediatric trials
indication for which additional               new dosage forms were assumed to be
                                                                                           by the start of Phase II. On the
therapeutic options for the pediatric         exempt.
                                                                                           assumption that these two factors would
population are needed.                           5. If a second applicant sought
                                                                                           roughly offset, FDA has retained the 58
   FDA then identified each of the 583        approval for the same indication of the
                                                                                           percent figure as a reasonable
applications that would likely have           same drug as a previous applicant that
                                                                                           adjustment factor to account for the
needed additional pediatric studies had       had already satisfied the pediatric
                                                                                           number of studies conducted for drugs
this rule been in effect. The number and      labeling requirements, the second
                                                                                           that fail to gain approval. Finally, each
type of studies needed were projected         applicant was considered exempt from
                                                                                           year, the agency expects to identify
based on specific decision rules derived      the pediatric labeling requirement.
                                                                                           about two ‘‘already marketed’’ drugs
from agency experience in reviewing              6. Because the regulation imposes
                                                                                           that require additional pediatric efficacy
drug applications and developed strictly      requirements only on new NDA’s or
                                                                                           data.
for the purpose of estimating the             efficacy supplements that specifically
regulatory costs of this rule. Although in    address an indication needing pediatric        As shown in Table 4 of this
practice, these rules would have been         data, no pediatric requirements were         document, adjusting for the ‘‘never
subject to numerous exceptions, in the        assumed for an NDA supplement                approved’’ and the ‘‘already marketed’’
aggregate, FDA believes that they             submitted for a new indication not           applications implies that, had this rule
provide plausible estimates of the total      identified as needing pediatric data.        become effective in 1993, about 1,892
number and type of pediatric studies             7. Orphan drugs were excluded from        new pediatric studies would have been
that would have been required. The            additional research requirements.            required over the 1993 to 1997 period.
decision rules were as follows:                  The results of this analysis (see Table   About 740 of the studies would have
   1. All New Chemical Entities (NCE’s)       3 of this document) show that about 44       been efficacy studies and 1,151 PK
and biologicals were assumed to need          percent, or an estimated 255, of the total   studies. Thus, on average, each year, the
both an efficacy study and a PK study         583 drug and biological applications for     rule would have required about 378 new
for each age group identified in the          the products on the priority section of      pediatric studies for about 82 NDA’s
priority section of the ‘‘List’’ as needing   the ‘‘List’’ drugs approved over the 5-      and or NDA supplements—148 efficacy
pediatric information, although FDA           year period would have required              studies and 230 PK studies.




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                      TABLE 3.—APPROVED NEW DRUG APPLICATIONS AND THEIR SUPPLEMENTS FROM 1993 TO 1997

                                                                                          Applications    Applications     Efficacy
                                Approval year                                              for ‘‘List’’   needing pe-     studies re-   PK studies    Total stud-   New dos-
                                                                                                          diatric stud-                  required    ies required   age forms
                                                                                             Drugs                          quired
                                                                                                               ies

1993 ..................................................................................             77              43             63          122           185           12
1994 ..................................................................................             76              42             74          118           192           17
1995 ..................................................................................            107              38             69          107           176           13
1996 ..................................................................................            177              74            147          213           360           29
1997 ..................................................................................            146              58            106          153           259           19

      Total ...........................................................................            583             255            459          713         1,172           90

      Average ......................................................................               117              51             92          143           234           18


                           TABLE 4.—ALL NEW DRUG APPLICATIONS AND THEIR SUPPLEMENTS FROM 1993 TO 1997 1
                                                                                                          Applications
                                                                                          Applications    needing pe-
                                                                                                                           Efficacy
                                                                                                                                        PK studies    Total stud-   New dos-
                                Approval year                                              for ‘‘List’’   diatric stud-
                                                                                                                          studies re-
                                                                                                                                         required    ies required   age forms
                                                                                            Drugs 2            ies          quired

1993 ..................................................................................            124              69            102          197           299           22
1994 ..................................................................................            123              68            119          190           310           32
1995 ..................................................................................            173              61            111          173           284           24
1996 ..................................................................................            286             119            237          344           581           54
1997 ..................................................................................            236              94            171          247           418           35

      Total ...........................................................................            942             411            740        1,151         1,892          167

      Average ......................................................................               188              82            148          230           378           33
   1 Includes estimates for ‘‘unapproved’’ and ‘‘already marketed’’ drugs.
   2 Adjusted for ‘‘unapproved’’ and ‘‘already marketed’’ drugs.




C. Number of Pediatric Patients                                            conducting pediatric trials. This                       have required additional data from
                                                                           comment stated that a PK or                             about 10,860 patients per year.
  The number of pediatric patients                                         bioavailability/bioeqivalency study of
needed varies with the particular type of                                  20 patients would cost at least $100,000,               2. Cost of New Formulations
drug studied. However, based on agency                                     a Phase II trial of 50 patients would cost
experience, FDA estimates that, for each                                                                                              In its earlier analysis of the proposal,
                                                                           a minimum of $150,000, and a Phase III                  FDA calculated that about 30 percent of
pediatric age group studied, typical                                       trial of 100 patients would cost
pediatric PK studies may involve about                                                                                             all NME’s were available only in tablets
                                                                           $200,000. For its revised analysis,                     or hard capsules at the time of approval.
15 patients and typical efficacy studies                                   therefore, FDA assumes that a PK study
about 50 patients. For example, if 2 of                                                                                            Acknowledging the potential difficulties
                                                                           of 15 patients will cost $100,000 per                   of developing new formulations for
the 4 age groups lack PK studies, FDA                                      affected age group and that an efficacy
assumed that a total of 30 subjects                                                                                                certain drugs, FDA estimated that the
                                                                           study of 50 patients will cost $150,000                 overall costs could average $1 million
would be needed for the studies. If 3 of                                   per affected age group. Although a few
the 4 age groups lack efficacy studies, a                                                                                          for each new formulation developed.
                                                                           trials may need to be larger and, thus                  Several comments questioned the
total of 150 subjects were assumed to be                                   more expensive; others will require
needed in all 3 age groups. These                                                                                                  agency’s estimates. Based on an
                                                                           substantially fewer pediatric patients.                 informal survey of its members, a major
assumptions indicate that, had this rule                                   Thus, FDA believes these figures
become effective in 1993, each year,                                                                                               industry trade association reported that
                                                                           reasonably project the average added                    the development of a pediatric
about 82 NDA’s would have required                                         costs.
additional pediatric studies; 7,408                                                                                                formulation could take from 5 months to
pediatric patients in efficacy studies and                                    As FDA estimates that the regulation                 4 years and cost from $500,000 to $3.5
3,452 pediatric patients in PK studies,                                    would have required pharmaceutical                      million. It also objected to the agency’s
for an annual total of about 10,860                                        companies to annually conduct an                        estimate of the number of drugs that
pediatric patients.                                                        estimated 378 additional pediatric                      would require reformulation. The
                                                                           studies for 82 NDA’s, 148 efficacy                      association, however, apparently
D. Costs of Compliance                                                     studies, and 230 PK studies; the above                  misunderstood FDA’s methodology. The
1. Cost of Pediatric Studies                                               unit cost estimates imply total industry                agency had found that 10 of 14 drugs
                                                                           costs of $45 million annually. Although                 per year would not need reformulation
  FDA’s analysis of the proposal                                           the industry comment that included the                  because a potentially adequate dosage
assumed that new studies would cost                                        cost data projected clinical trial costs                form (liquid, an injectable, a solution, a
pharmaceutical firms from $5,000 to                                        totaling over $100 million per year, this               dermatological, etc.) was already
$9,000 per pediatric patient. Only one                                     estimate assumed the need for 34,000                    available. The association believed that
comment, that of a large U.S.                                              additional pediatric patients. FDA                      FDA has assumed that only tablets and/
pharmaceutical company, submitted                                          found that had this rule been in place                  or capsules were available for the ten
actual estimates of the cost of                                            over the 1993 to 1997 period, it would                  drugs. None of these comments,


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                                                                                                                                                          App. 0092
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however, offered an alternative                                             estimate by 83 percent, or to 33 per year,                 document describes these reporting
methodology for projecting the aggregate                                    to account for the number of new dosage                    tasks, discusses the industry comment
value of these costs.                                                       forms developed for drugs not                              that questioned the agency’s estimate of
   To develop reasonable estimates of                                       subsequently approved. While FDA                           the paperwork burden for the proposal,
the number of new dosage forms that                                         cannot confidently predict a typical                       and presents the agencies revised
would be needed, FDA again reviewed                                         initiation time for this effort, the 83                    estimate for this final rule. As shown in
all of the 255 approved drug                                                percent adjustment calculation assumes                     that section, FDA projects an annual
applications that would likely have                                         that work on about 25 percent of all new                   burden of about 40,000 hours per year.
required new pediatric studies during                                       formulations would be initiated at the                     On the assumption that 25 percent of
the 1993 to 1997 period, had this rule                                      start of Phase 2 trials and 75 percent by                  these hours will be for upper
been in place. The agency generally                                         the start of Phase 3 trials. (The                          management staff, 50 percent for middle
assumed that those drugs identified as                                      probability of approval was assumed to                     management staff, and 25 percent for
having a meaningful clinical pediatric                                      be .635 for a drug entering phase 3 trials                 administrative and clerical support, at
benefit for the youngest three age                                          and .31 for a drug entering phase 2 trials                 respective labor costs of $52, $34, and
groups, but available only in tablets or                                    (Ref. 18).)                                                $17 per hour, FDA estimates these total
hard capsules at the time of approval,                                         The development of some pediatric                       paperwork costs at about $1.4 million
would have needed to develop an                                             formulations will be difficult, the                        per year.
alternative dosage form. The agency also                                    development of others relatively                           4. Total Costs
assumed that a new pediatric                                                straightforward and achieved without
formulation would not be counted if a                                       substantial problem. The rule requires                        Table 5 of this document summarizes
more appropriate pediatric dosage form                                      only that sponsors take all reasonable                     the agency’s estimates of costs for
was subsequently approved for the same                                      steps to develop needed new                                efficacy studies, PK studies, new dosage
drug. FDA is aware that these estimates                                     formulations. Thus, while                                  forms, and paperwork. Because the
can not be considered precise. For                                          acknowledging that the cost for                            expense of pediatric trials and dosage
example, not all liquids are adequate for                                   particularly difficult formulations may                    form development will be spread over 2
pediatric populations. On the other                                         be higher, FDA has retained its average                    or 3 years for any given drug, the total
hand, new formulations may not be                                           cost estimate of $1 million to develop                     costs to industry in any given year are
needed if a drug is used primarily for                                      each new dosage form and projects this                     unlikely to vary as much as shown in
children between the ages of 8 and 12                                       total industry cost at nearly $33 million                  Table 5. Most importantly, however, the
years. Nevertheless, as shown in Table                                      per year.                                                  average $80.1 million annual cost figure
3 of this document, the results of this                                                                                                reflects only what the rule would have
                                                                            3. Cost of Added Paperwork                                 cost had the rule been in effect from
methodology show that about 35
                                                                            Requirements                                               1993 to 1997. The incentives generated
percent of the approved applications
needing studies, or about 18 per year,                                        The rule also requires additional                        by the additional 6-month marketing
would have needed new dosage forms.                                         industry effort for new or expanded                        exclusivity offered by FDAMA will
Table 4 of this document raises this                                        paperwork reporting. Section VI of this                    reduce the future costs of the regulation.

                                    TABLE 5.—ESTIMATED INDUSTRY COSTS—COMPLIANCE WITH PEDIATRIC LABELING
                                                                                                       [in millions]

                                                                                                                                            New dos-
                                                                                                                  Efficacy
                                                   Year                                                                        PK studies    age form     Paperwork      Total
                                                                                                                  studies
                                                                                                                                            developed

1993 ..........................................................................................................        $15.3         19.7         22.3           1.4         58.6
1994 ..........................................................................................................         17.9         19.0         31.6           1.4         69.9
1995 ..........................................................................................................         16.7         17.3         24.1           1.4         59.5
1996 ..........................................................................................................         35.6         34.4         53.9           1.4        125.2
1997 ..........................................................................................................         25.7         24.7         35.3           1.4         87.0

      Average Per Year ..............................................................................                  $22.2        $23.0        $33.4          $1.4        $80.0



  FDA cannot develop precise                                                Where the estimated exclusivity gain                       of the 85 drugs were based on the cost
adjustments for the forthcoming effects                                     exceeded the cost of all required                          estimates described previously
of FDAMA, due to the complexity of the                                      studies, including the development of                      ($150,000 for each efficacy study,
economic forecasting that would be                                          new dosage forms, FDA concluded that                       $100,000 for each PK study, and $1
needed. Nevertheless, the agency                                            the studies for that drug would have                       million for each new dosage form. The
developed rough projections of the                                          been initiated voluntarily and their cost                  present value of the additional revenues
potential impact of this statute by                                         attributable to FDAMA rather than to                       (at a 7 percent discount rate) were
comparing the estimated present value                                       this regulation.                                           calculated from 1997 sales data
of the 6-month exclusivity gain with the                                       The methodology assumed that a 6-                       published by IMS America (Ref. 20).
estimated cost of the new pediatric                                         month gain of marketing exclusivity                        Because 1997 sales revenues probably
studies, for each of the 85 drugs with                                      would be worth about 25 percent of a                       underestimate the sales revenues that
applications approved in 1993 and 1994                                      drug’s annual sales revenue during the                     will be realized at the time that the
that would have needed new pediatric                                        year the exclusivity is needed, less 60                    added exclusivity is used, this
labeling. (More recent years were not                                       percent for production, administrative,                    methodology likely underestimates the
used, because the revenues of newer                                         and marketing costs (Ref. 19). Costs of                    effects of FDAMA, hence overestimating
drugs are far below their peak values.)                                     conducting the required studies for each                   the costs of the rule. In general,


                                                                                                                                                         EX. 7 pg. 033
                                                                                                                                                              App. 0093
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however, this analysis was insensitive       believes that the regulation will result in   figure of $250,000 per child as the value
to the precise assumptions used. For         fewer adverse drug reactions and fewer        of an avoided death resulting from an
example, using an 11 percent rather          instances of less-than-optimal treatment      ADR. Other comments confirmed that
than 7 percent discount rate raises the      of pediatric patients.                        many adverse outcomes develop quickly
cost totals by only $1.2 million per year.      Despite numerous reports of children       and would be detected in early clinical
  The analysis found that the necessary      endangered by the absence of adequate         studies (e.g., ‘‘gray syndrome’’ in babies
studies would have been conducted            drug labeling, FDA has found no               treated with chloramphenicol).
voluntarily for 56 out of the 85 affected    systematic studies in the literature that        While clearly demonstrating the
applications (66 percent). Adjusting         evaluate the overall magnitude of the         critical need for improved pediatric
estimates of only the approved               harm that results from the incomplete         information, these comments do not
applications by this percentage              labeling of drugs for use in children. In     suggest a practical methodology for
(FDAMA was not assumed to affect             the preamble to the proposal, the agency      quantifying the aggregate benefits of this
studies for applications not obtaining       specifically requested, ‘‘information on      rule. FDA, also, has been unable to
approval), FDA projects that the annual      any available studies or data related to      develop a precise assessment of the
costs attributable to this rule will be      the incidence and costs of either             probable regulatory benefits. The
approximately $46.7 million, or about        undertreatment or avoidable ADE’s in          agency’s approach to estimating
42 percent below the non-FDAMA               pediatric age groups due to the lack of       regulatory benefits therefore is framed
adjusted figure of $80 million.              information on the effects of                 in terms of the following two questions:
  Further, although the agency has not       pharmaceuticals.’’ The comments               (1) Are data available to assess current
yet evaluated the full economic impact       received cited case after case of children    differences in the safety of drug therapy
of the FDAMA legislation, it believes        who have died or suffered because of          for adults versus children with the same
that the present value of the net            the inadequate testing of drugs in            condition? and (2) Are data available to
revenues expected from the 6 months of       children, but the information was             assess current differences in the
added exclusivity granted under the          largely anecdotal and related to              effectiveness of drug therapy for adults
new FDAMA legislation will greatly           particular instances of drug misuse or        versus children with the same
exceed the additional costs imposed by       underuse.                                     condition?
this regulation. One industry                   For example, physicians who care for
publication (MedAdNews, June 1998, p.        HIV-infected patients expressed                  FDA first attempted to assess the
10) for example, reports that products       frustration at their inability to treat       safety of drug therapy by looking for
currently valued at $41 billion in annual    children with drugs known to be               differences in the frequency and
sales will come off patent between 1998      effective in adults. Pulmonary                severity of ADR’s for adults versus
and 2008, or an average of $11 billion       specialists described the dearth of           children treated for the same condition.
per year. Alternatively, FDA estimates       information on risks versus benefits of       The available clinical and health survey
that the annual revenues for NCE’s           new antimicrobials for pediatric              data, however, did not provide a reliable
coming off patent may average between        patients, citing the example of               estimate of the contribution of ADR’s to
$200 and $300 million each. If 25 NCE’s      ciprofloxacin, a quinolone that may be        pediatric as compared to adult rates of
lose exclusivity each year, these annual     valuable in treating cystic fibrosis,         mortality and morbidity. ADR-related
revenues would range from $5 billion to      although the safety and effectiveness of      data are limited by the lack of a general
$7.5 billion. If only 60 percent of these    the drug in children has not been             requirement and a ready mechanism for
NCE’s become eligible for extended           established. Comments received from           the comprehensive reporting of
exclusivity, the methodology described       asthma specialists reaffirmed the             incidents directly attributable to ADR’s
above implies that industry net incomes      difficulties of administering                 (Ref. 21). Moreover, most available
will increase from $300 to $450 million      medications, treating drug side effects,      studies have not addressed ADR rates
per year. Thus, FDAMA and this rule,         or withholding treatment for children         and associated death rates by age group
taken together, will provide critical        with asthma, due to the lack of research      within a treated condition (Refs. 22, 23,
pediatric information without diverting      on drug safety and effectiveness.             and 24). For example, one study of
current resources from pharmaceutical           In both written comments and in            pediatric patients shows an ADR-related
innovation.                                  commentary at the public hearing in           admission rate in the range of only 2.0
                                             October 1997, concerns were raised            to 3.2 percent, well below the average
*COM041**COM041*E. Benefits                  about the costs of not implementing a         for adult and pediatric studies
   The rule addresses two major              requirement for pediatric labeling.           combined. Pediatric cancer patients,
problems associated with the lack of         Avoidable adverse outcomes, cited in          however, experienced a 22 percent
adequate information on the effects of       relation to pediatric dosage problems,        ADR-admission rate (Ref. 25), suggesting
drugs on pediatric patients: (1) Adverse     included opportunistic infections from        that pediatric risks may be significantly
drug reactions in children due to            too much immunosuppression, and loss          greater within condition-defined
inadvertent drug overdoses or other          of grafts in pediatric renal transplant       subpopulations. In addition, potential
drug administration problems that could      patients with too little                      concerns about negative public attention
be avoided with better information on        immunosuppression. Comments also              (Ref. 26) or liability inhibit reporting of
appropriate pediatric use; and (2) under     cited added health care, including            ADR’s. Finally, for many seriously ill
use of safe and effective drugs for          increased hospitalizations, required as a     patients, it is very difficult to attribute
children due to the prescribing of an        result of less effective treatment for        a specific medical outcome to a
inadequate dosage or regimen, a less         pediatric patients. One comment               particular medication, as opposed to
effective drug, or no drug at all because    estimated the cost of delayed access in       some other complication in the patient’s
of uncertainty over the drug’s effect on     terms of infant deaths, attributing an        condition, or misadventure in the
children or the unavailability of a          additional 2,000 unnecessary infant           patient’s care. The agency found
pediatric formulation. By developing         deaths over a 2-year period to the delay      therefore that it could not rely on
improved information on whether, and         in access to AZT for HIV-exposed              available ADR studies to derive an
in what dosage, a drug is safe and           infants. Another suggested using the          assessment of the potential benefits of
effective for use in children, FDA           Vaccine Injury Compensation program           this rule.


                                                                                                            EX. 7 pg. 034
                                                                                                                 App. 0094
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   Data to assess the effectiveness of drug   and children, and comparable data are                 productivity losses based on average
therapy would indicate differences in         available for adult and pediatric                     employee compensation, as reported in
clinical outcomes, or in other health         patients. Moreover, reports received in               the 1997 U.S. Statistical Abstract. A
care utilization concomitant with drug        the FDA Spontaneous Reporting System                  detailed description of all assumptions,
therapy. If drug therapies for children       (SRS) in 1993 indicated that the                      calculations, and data sources is
were less effective than that for adults      therapeutic areas for which the highest               included in the full agency report (Ref.
with the same condition, one might see        number of ADR’s were reported for                     37).
longer recovery times, or lower recovery      patients under age 15, relative to the                   The assumed hypothesis is that a
rates, together with increased health         number reported for patients 15 to 44,                substantial fraction of the difference
services use, assuming a similar              included those for anti-infectives,                   between pediatric and adult
prognosis and course of illness. A            pulmonary drugs and oncology drugs.                   hospitalization rates for like disease
limitation to this approach is that the         Direct costs were based on the                      conditions are attributable to the greater
prognosis and course of illness may not       estimated number of cases,                            range of drug therapies and better
be the same in children and adults with       hospitalization rates, and length of stay             information on drug dosages for adults.
the same serious health condition, even       for each of the selected conditions. The              FDA cannot estimate the precise
if the same drugs were included in best-      number of cases reported were based on                magnitude of the relevant fraction.
practice treatment. Moreover,                 national health survey (Ref. 29) and                  Nevertheless, if the differentials
differential patterns of health care          public surveillance data (Refs. 30, 31,               between pediatric and adult
utilization may reflect variations in         and 32). In 1994, the total number of                 hospitalization rates were reduced by 25
physician practice patterns, insurance        cases for these 5 conditions, in patients             percent, the resulting direct cost savings
benefits, or patient and family behavior      under age 15, was approximately 6.65                  would be $228 million, with indirect
and preferences, rather than measures of      million. The total number of cases for                cost savings of $5.3 million per year. If
drug effectiveness. Notwithstanding           patients ages 15 to 44 was                            the differentials were reduced by as
such limitations, comparisons of health       approximately 8.3 million. The number                 much as 50 percent, the direct cost
care resource use for one therapeutic         of hospitalizations per year for which                savings would be $456 million per year,
approach compared to another are              the selected condition was the primary                with indirect savings of $10.6 million.
commonly used in evaluations of               diagnosis was obtained from the                       Even if the differentials were as low as
therapy effectiveness in the field of         National Hospital Discharge Survey                    10 percent, the resulting reductions in
pharmacoeconomics. In this instance,          (Ref. 33). As shown in Table 6 of this                hospitalization would lead to direct cost
FDA finds that health care utilization        document, the pediatric hospitalization               savings of $91.2 million, with indirect
data may provide at least an indirect         rate exceeded the adult rate for all five             savings of $2.1 million per year.
indication of potential benefits.             conditions.                                              The timing of the benefit after the
                                                                                                    rule’s implementation is uncertain. The
Hospitalization rates, in particular, are
                                                TABLE 6.—HOSPITALIZATION RATES                      previous values represent the potential
the most extensively studied measure of
                                                       PER PATIENT PER YEAR                         benefit over time as the safety and
morbidity related to adverse drug
                                                                                                    effectiveness of drugs are more
reactions and of quality of care for a
                                                                                             Rate   extensively tested, new and already
number of chronic (e.g., asthma) and                                                  Rate
                                                   Primary diagnosis                  under
                                                                                              for   marketed drugs become labeled for use
acute conditions (e.g., pneumonia)                                                           ages
                                                                                     age 15 15–44   in children, and new formulations and
(Refs. 27 and 28). While hospitalizations
                                                                                                    dosage forms are developed to facilitate
due to adverse drug reactions or drug
therapy undertreatment are not always         Asthma ..............................     .045   .024 therapy for children. The figures may
recognized, these admissions are              HIV/AIDS ...........................      .533   .233 overestimate the impact for the selected
                                              Cancer ...............................   4.247 3.903 conditions over the next few years, but
routinely classified with a primary           Pneumonia ........................        .147   .129 may underestimate the potential
diagnosis of the underlying disease.          Kidney Infection ................         .191   .073 benefits for these patients in the longer
FDA therefore has relied on diagnosis-                                                              term if there is an increasing prevalence
related hospitalization rates to develop         The average length of hospital stay                of asthma, cancer, and respiratory and
an order-of-magnitude assessment of the       (ALOS) for patients with the selected                 other infectious diseases in the pediatric
potential benefits of this rule.              condition as the primary diagnosis                    population. Thus, the lower reduction
   For this assessment, the agency            (based on ICD–9 code) was obtained                    estimate may be more realistic in the
compared rates of hospitalization of          from recent hospital survey data (Ref.                near-term, with the higher reduction
pediatric patients to rates of                34), the average cost per day of inpatient estimates offering a better indication of
hospitalization of adult patients for         hospital care for each of the selected                longer-term benefit.
several important disease conditions.         conditions was based on hospital charge                  As discussed previously, FDA
Next, the agency examined the potential       data reported in the survey (Ref. 35),                believes that the new FDAMA statute
direct and indirect cost savings that         and the cost of physician services                    will cause some of these pediatric
would be realized by diminishing any          associated with each episode of                       studies to be conducted voluntarily. In
age-related disparities. The pediatric        hospitalization was based on physician                its assessment of costs, the agency found
population was defined to be all persons      charge data (Ref. 36). Each episode of                that about two-thirds of the applications
under the age of 15 and the comparison        care was assumed to include physician                 for approved drugs needing pediatric
group to be those adults between the          charges for emergency room service,                   studies may be undertaken voluntarily
ages of 15 and 44. (The exclusion of          daily inpatient visits, and a                         due to the incentives established by
older adult patients minimizes the            postdischarge office visit. For cancer                FDAMA. Adjusting the previous
confounding effect of the age-related         hospitalizations, daily inpatient visits              medical cost savings by a similar ratio
increased morbidity and mortality.)           and a followup office visit were                      suggests that if all of the new pediatric
Comparisons were limited to asthma,           included. The calculation of indirect                 studies achieved a 25 percent reduction
HIV/AIDS, cancer, pneumonia, and              costs assumed 8 hours of parental time                in the pediatric/adult hospitalization
kidney infection, as these conditions are     away from work for each episode of                    differentials, the additional studies
life threatening, occur in both adults        hospitalization and income and                        prompted by this rule would yield


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annual savings of $76 million for just       Small Business Administration’s             and Drug Administration, 5630 Fishers
those five diseases. This estimate may       definition of a small firm, only three      Lane, rm. 1061, Rockville, MD 20852,
represent a lower bound on the benefits      approved applications per year were         and may be seen by interested persons
to pediatric patients, however, because      submitted by small companies.               between 9 a.m. and 4 p.m., Monday
a number of other disease conditions are     Multiplying by the previously described     through Friday.
also common to children and adults,          1.58 factor to account for unapproved          1. Pina, L.M., Drugs Widely Used off
including such life-threatening              applications increases this estimate of     Label in Pediatrics, Report of the
conditions as hypertensive disease and       the number of small entities that may       Pediatric Use Survey Working Group of
renal disease. These pediatric               have been significantly affected by this    the Pediatric Subcommittee, in News
populations also would experience            rule to just five small firms per year.     Along the Pike, January 1997.
significant benefits from increased          Because the agency has certified that the      2. Food and Drug Administration,
safety and access to drug treatments         rule will not impose a significant          Guidance for Industry: Standards for the
currently available only to adult            economic impact on a substantial            Prompt Review of Efficacy
patients. Moreover, the analysis omits       number of small entities, the Regulatory    Supplements, Including Priority
any quantification of benefits for           Flexibility Act does not require the        Efficacy Supplements, May 1998.
reduced pain and suffering and reduced       agency to prepare a Regulatory                 3. Population Division, United States
pediatric mortality. Thus, the full          Flexibility Analysis. Moreover, the         Bureau of the Census, PPL–91,
benefits of the rule could easily exceed     agency further points out that the          Appendix a. Resident Population—
$100 million per year. Therefore, in         required new studies will comprise a        Estimates by Age, Sex, Race, and
accordance with the SBREFA, the              very small part of the total cost of        Hispanic Origin, Washington, DC 20233,
Administrator of the Office of               developing new drugs or biologics,          1998.
Information and Regulatory Affairs of        which is generally estimated in the            4. Powell, D.A. et al.,
the Office of Management and Budget          hundreds of millions of dollars for each    ‘‘Chloramphenicol: New Perspectives on
(the Administrator) has determined that      new drug.                                   an Old Drug,’’ Drug Intelligences &
this rule is likely to result in an annual                                               Clinical Pharmacy, 16:295–300, 1982.
                                             G. Regulatory Alternatives                     5. Koren, G. et al., ‘‘Unexpected
effect on the economy of $100 million
or more and thus is a major rule for the        The agency carefully examined two        Alterations in Fentanyl
purpose of congressional review.             major alternatives to the final rule. The   Pharmacokinetics in Pediatric Patients
                                             first alternative considered was the        Undergoing Cardiac Surgery: Age
F. Small Entities                            initial proposal, which covered only        Related or Disease Related?’’
   The rule will impose a burden on          NCE’s. The estimated cost of this           Developmental Pharmacology
relatively few small entities, because       alternative, excluding the FDAMA            Therapeutics, 9:183–191, 1986.
new drug development is typically an         adjustment, would be about $40 million,        6. Gauntlett, I.S. et al.,
activity completed by large                  or roughly 50 percent of the cost of the    ‘‘Pharmacokinetics of Fentanyl in
multinational firms. Only one industry       final rule. The agency rejected this        Neonatal Humans and Lambs: Effects of
comment questioned the agency’s              alternative because of the predominant      Age,’’ Anesthesiology, 69:683–687,
determination that the rule would not        view of the medical community that          1988.
have a significant effect on a substantial   additional pediatric data were needed          7. Kauffman, R.E., ‘‘Fentanyl, Fads,
number of small entities. That comment       for all of the drugs and biologicals that   and Folly: Who Will Adopt the
indicated that about 1,500 small entities    may be therapeutically significantly in     Therapeutic Orphans?’’ Journal of
are conducting diagnostic and                pediatric populations, not just for the     Pediatrics, 119:588–589, 1991.
therapeutic R&D in the United States         new chemical entities.                         8. McCloskey J.J. et al., ‘‘Bupivacaine
and that ‘‘[c]ontributions to new drug          The other major alternative              Toxicity Secondary to Continuous
approvals by the ‘biotech’ and ‘small        considered was to delay implementation      Caudal Epidural Infusion in Pediatric
pharma’ sector are increasing year by        of the rule until the effects of the new    Patients,’’ Anesthesia Analgesia,
year, and the pace of change will—           FDAMA statute were reviewed. FDA            75:287–290, 1992.
almost certainly—continue.’’                 fully expects the FDAMA exclusivity            9. Fisher, D.M. et al., ‘‘Neuromuscular
   FDA agrees that small firms               provisions to provide a substantial         Effects of Vecuronium (ORG NC45) in
contribute substantially to the early        incentive to conduct large numbers of       Infants and Pediatric Patients During
development of many new drugs and            pediatric studies. Nevertheless, the        N2O Halothane Anesthesia,’’
biologicals. Nevertheless, because of the    agency finds that relying on these          Anesthesiology, 58:519–523, 1983.
considerable resources needed for            incentives, alone, would leave                 10. Agarwal, R. et al., ‘‘Seizures
clinical testing and marketing, the          numerous gaps in many important areas       Occurring in Pediatric Patients
agency finds that very few of these small    of pediatric labeling. For example, as      Receiving Continuous Infusion of
firms retain ownership and control           described earlier in this preamble,         Bupivacaine,’’ Anesthesia and
through the large-scale clinical testing     voluntary research may overlook studies     Analgesia, 75:284–286, 1992.
and approval stages. Moreover, many of       for many important drugs, especially           11. Mevorach, D.L. et al.,
the products that are sponsored by small     where such studies require the              ‘‘Bupivacaine Toxicity Secondary to
companies are eligible for orphan            development of new pediatric dosage         Continuous Caudal Epidural Infusion in
designation and therefore exempted           forms. Thus, notwithstanding FDAMA          Pediatric Patients,’’ Anesthesia
from this rule. To approximate the           incentives, FDA has determined that         Analgesia, 77:13005–1306, 1993.
number of small firms that might be          this regulation is necessary to protect        12. Editorial: ‘‘Cystic Fibrosis and
significantly affected, FDA determined       the pediatric population and that further   Colonic Strictures,’’ Journal of Clinical
the sponsor company size for all of the      delay is not warranted.                     Gastroenterology, 21(1):2–5, 1995.
approved applications that may have                                                         13. Olkkola, K.T. et al., ‘‘A Potentially
required additional pediatric studies        IX. References                              Hazardous Interaction Between
had this rule been in place over the           The following references have been        Erythromycin and Midazolam,’’ Clinical
years from 1993 to 1997. The agency          placed on display in the Dockets            Pharmacology Therapy, 53:298–305,
found that, on average, based on the         Management Branch (HFA–305), Food           1993.


                                                                                                          EX. 7 pg. 036
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   14. Hiller, A. et al., ‘‘Unconsciousness   10: Data From the National Health           PART 201—LABELING
Associated with Midazolam and                 Survey, No. 193, PHS 96–1521,
Erythromycin,’’ British Journal of            December 1995.                                1. The authority citation for 21 CFR
Anaesthesia, 65:826–828, 1994.                                                            part 201 continues to read as follows:
                                                30. Center for Disease Control Wonder
   15. Tejeda, H. et al., ‘‘Representation    HIV/AIDS statistics.                          Authority: 21 U.S.C. 321, 331, 351, 352,
of African-Americans, Hispanics, and            31. World Health Organization,            353, 355, 357, 358, 360, 360b, 360gg-360ss,
Whites in National Cancer Institute                                                       371, 374, 379e; 42 U.S.C. 216, 241, 262, 264.
                                              Provisional Working Estimates of Adult
Cancer Treatment Trials,’’ Journal of the     HIV Prevalence as of end of 1994 by           2. Section 201.23 is added to subpart
National Cancer Institute, 88(12):812–        Country.                                    A to read as follows:
816, 1996.                                      32. SEER 1989, Available Through
   16. Center for Drug Evaluation and                                                     § 201.23   Required pediatric studies.
                                              CDC Wonder, ICD 140–239.
Research, Manual of Policies and                                                             (a) A manufacturer of a marketed drug
                                                33. Vital and Health Statistics,          product, including a biological drug
Procedures, Priority Review Policy,           National Hospital Discharge Survey:
MAPP 6020.3, April 22, 1996.                                                              product, that is used in a substantial
                                              Annual Summary, 1995, Series 13, No.        number of pediatric patients, or that
   17. Committee on Drugs, American
                                              133, PHS 98–1794, January 1998.             provides a meaningful therapeutic
Academy of Pediatrics, Guidelines for
                                                34. Vital and Health Statistics,          benefit over existing treatments for
the Ethical Conduct of Studies to
                                              Detailed Diagnoses and Procedures,          pediatric patients, as defined in
Evaluate Drugs in Pediatric Populations,
                                              National Hospital Discharge Survey,         §§ 314.55(c)(5) and 601.27(c)(5) of this
Pediatrics, 95(2):286–294, 1995.
   18. DiMasi et al., ‘‘Cost of Innovation    1995, Series 13: Data From the National     chapter, but whose label does not
in the Pharmaceutical Industry,’’             Health Survey, No. 130, PHS 98–1791,        provide adequate information to support
Journal of Health Economics, p. 127,          November 1997.                              its safe and effective use in pediatric
10:1991.                                        35. Statistics From the HCUP–3            populations for the approved
   19. Office of Technology Assessment,       Nationwide Inpatient Sample for 1994:       indications may be required to submit
‘‘Pharmaceutical R&D: Costs, Risks and        Principal Diagnoses, http://                an application containing data adequate
Rewards, Washington, DC: U.S.                 www.ahcpr.gov/data/94dcchpr.htm,            to assess whether the drug product is
Government Printing Office,’’ Appendix        current as of September 1997, AHCPR         safe and effective in pediatric
G, February 1993.                             Pub. No. 97–0058.                           populations. The application may be
   20. IMS America, ‘‘1997 Retail               36. Health Care Financing                 required to contain adequate evidence
Perspective and Provider Perspective.’’       Administration, Office of Research and      to support dosage and administration in
   21. Bates, D.W., ‘‘Drugs and Adverse       Demonstrations, Health Care Financing       some or all pediatric subpopulations,
Drug Reactions: How Worried Should            Review: 1997 Statistical Supplement,        including neonates, infants, children,
We Be?’’ Journal of American Medical          November 1997.                              and adolescents, depending upon the
Association, vol. 279, No. 15, April            37. ‘‘Potential Benefits of Pediatric     known or appropriate use of the drug
1998.                                         Information,’’ Economics Staff, Office of   product in such subpopulations. The
   22. Einarson, T.R. ‘‘Drug-Related          Planning and Evaluation, FDA, April         applicant may also be required to
Hospital Admission’’, The Annals of           1998.                                       develop a pediatric formulation for a
Pharmacotherapy, vol. 27, pp. 832–840,          38. IMS, National Disease and             drug product that represents a
July/August 1993.                             Therapeutic Index, IMS America:             meaningful therapeutic benefit over
   23. Lazarou, J., B.H. Pomeranz, and        Plymouth Meeting, PA.                       existing therapies for pediatric
P.N. Corey, ‘‘Incidence of Adverse Drug                                                   populations for whom a pediatric
Reactions in Hospitalized Patients’’,         List of Subjects                            formulation is necessary, unless the
Journal of American Medical                   21 CFR Part 201                             manufacturer demonstrates that
Association, vol. 279, No. 15, April                                                      reasonable attempts to produce a
1998.                                           Drugs, Labeling, Reporting and            pediatric formulation have failed.
   24. Phillips, D.P., N. Christenfeld, and   recordkeeping requirements.                    (b) The Food and Drug
L.M. Glynn, ‘‘Increase in U.S.                21 CFR Part 312                             Administration (FDA) may by order, in
Medication-Error Deaths Between 1983                                                      the form of a letter, after notifying the
and 1993’’, The Lancet, vol. 351, 643–          Drugs, Exports, Imports,                  manufacturer of its intent to require an
644, February 1998.                           Investigations, Labeling, Medical           assessment of pediatric safety and
   25. Mitchell, A.A., P.G. Lacouture, J.E.   research, Reporting and recordkeeping       effectiveness of a pediatric formulation,
Sheehan, R.E. Dauffman, and S.                requirements, Safety.                       and after offering an opportunity for a
Shapiro, ‘‘Adverse Drug Reactions in          21 CFR Part 314                             written response and a meeting, which
Children Leading to Hospital                                                              may include an advisory committee
Admission,’’ Pediatrics, vol. 82, No. 1,        Administrative practice and               meeting, require a manufacturer to
July 1988.                                    procedure, Confidential business            submit an application containing the
   26. Bates, D.W., ‘‘Drugs and Adverse       information, Drugs, Reporting and           information or request for approval of a
Drug Reactions: How Worried Should            recordkeeping requirements.                 pediatric formulation described in
We Be?’’ Journal of American Medical          21 CFR Part 601                             paragraph (a) of this section within a
Association, vol. 279, No. 15, April                                                      time specified in the order, if FDA finds
1998.                                           Administrative practice and               that:
   27. National Committee for Quality         procedure, Biologics, Confidential             (1) The drug product is used in a
Assurance (NCQA) HEDIS 2.5,                   business information.                       substantial number of pediatric patients
December 1995.                                  Therefore, under the Federal Food,        for the labeled indications and the
   28. Agency for Health Care Policy          Drug, and Cosmetic Act, the Public          absence of adequate labeling could pose
Research (AHCPR) Conquest 1.1.                Health Service Act, and under authority     significant risks to pediatric patients; or
   29. Vital and Health Statistics,           delegated to the Commissioner of Food          (2) There is reason to believe that the
Current Estimates From the National           and Drugs, 21 CFR parts 201, 312, 314,      drug product would represent a
Health Interview Survey, 1994, Series         and 601 are amended as follows:             meaningful therapeutic benefit over


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existing treatments for pediatric patients    unapproved new drug or unlicensed              marketing application may also be
for one or more of the claimed                biologic.                                      discussed. FDA will also provide its
indications, and the absence of adequate                                                     best judgment, at that time, of the
labeling could pose significant risks to      PART 312—INVESTIGATIONAL NEW                   pediatric studies that will be required
pediatric patients.                           DRUG APPLICATION                               for the drug product and whether their
   (c)(1) An applicant may request a full       3. The authority citation for 21 CFR         submission will be deferred until after
waiver of the requirements of paragraph       part 312 continues to read as follows:         approval. * * *
(a) of this section if the applicant                                                            (2) ‘‘Pre-NDA’’ and ‘‘pre-BLA’’
certifies that:                                 Authority: 21 U.S.C. 321, 331, 351, 352,     meetings. * * * The primary purpose of
                                              353, 355, 357, 371; 42 U.S.C. 262.             this kind of exchange is to uncover any
   (i) Necessary studies are impossible or
highly impractical because, e.g., the           4. Section 312.23 is amended by              major unresolved problems, to identify
number of such patients is so small or        redesignating paragraph (a)(10)(iii) as        those studies that the sponsor is relying
geographically dispersed, or                  paragraph (a)(10)(iv) and adding new           on as adequate and well-controlled to
   (ii) There is evidence strongly            paragraph (a)(10)(iii) to read as follows:     establish the drug’s effectiveness, to
suggesting that the product would be                                                         identify the status of ongoing or needed
                                              § 312.23   IND content and format.             studies adequate to assess pediatric
ineffective or unsafe in all pediatric age
                                                 (a) * * *                                   safety and effectiveness, to acquaint
groups.                                          (10) * * *
   (2) An applicant may request a partial                                                    FDA reviewers with the general
                                                 (iii) Pediatric studies. Plans for          information to be submitted in the
waiver of the requirements of paragraph       assessing pediatric safety and
(a) of this section with respect to a                                                        marketing application (including
                                              effectiveness.                                 technical information), to discuss
specified pediatric age group, if the
                                              *       *     *     *     *                    appropriate methods for statistical
applicant certifies that:                        5. Section 312.47 is amended by
   (i) The product:                                                                          analysis of the data, and to discuss the
                                              revising paragraph (b)(1)(i) and the first     best approach to the presentation and
   (A) Does not represent a meaningful        sentence of paragraph (b)(1)(iv), by
therapeutic benefit over existing                                                            formatting of data in the marketing
                                              removing the fifth sentence of paragraph       application. * * * To permit FDA to
therapies for pediatric patients in that      (b)(1)(v) and adding two sentences in its      provide the sponsor with the most
age group, and                                place, by revising the heading of              useful advice on preparing a marketing
   (B) Is not likely to be used in a          paragraph (b)(2) and the second and last       application, the sponsor should submit
substantial number of patients in that        sentences of the introductory text of          to FDA’s reviewing division at least 1
age group, and                                paragraph (b)(2), and by redesignating         month in advance of the meeting the
   (C) The absence of adequate labeling       paragraph (b)(2)(iii) as paragraph             following information:
could not pose significant risks to           (b)(2)(iv) and by adding new paragraph
pediatric patients; or                                                                       *       *     *    *    *
                                              (b)(2)(iii) to read as follows:                   (iii) Information on the status of
   (ii) Necessary studies are impossible
or highly impractical because, e.g., the      § 312.47   Meetings.
                                                                                             needed or ongoing pediatric studies.
number of patients in that age group is       *      *    *     *     *                      *       *     *    *    *
so small or geographically dispersed, or         (b) * * *                                      6. Section 312.82 is amended by
   (iii) There is evidence strongly              (1) End-of-Phase 2 meetings—(i)             revising the last sentence of paragraph
suggesting that the product would be          Purpose. The purpose of an end-of-             (a) and by removing the second sentence
ineffective or unsafe in that age group,      phase 2 meeting is to determine the            of paragraph (b) and adding two
or                                            safety of proceeding to Phase 3, to            sentences in its place to read as follows:
   (iv) The applicant can demonstrate         evaluate the Phase 3 plan and protocols        § 312.82 Early consultation.
that reasonable attempts to produce a         and the adequacy of current studies and        *      *     *     *    *
pediatric formulation necessary for that      plans to assess pediatric safety and              (a) Pre-investigational new drug (IND)
age group have failed.                        effectiveness, and to identify any             meetings. * * * The meeting may also
   (3) FDA shall grant a full or partial      additional information necessary to            provide an opportunity for discussing
waiver, as appropriate, if the agency         support a marketing application for the        the scope and design of phase 1 testing,
finds that there is a reasonable basis on     uses under investigation.                      plans for studying the drug product in
which to conclude that one or more of         *      *    *     *     *                      pediatric populations, and the best
the grounds for waiver specified in              (iv) Advance information. At least 1        approach for presentation and
paragraphs (c)(2) or (c)(3) of this section   month in advance of an end-of-Phase 2          formatting of data in the IND.
have been met. If a waiver is granted on      meeting, the sponsor should submit                (b) End-of-phase 1 meetings. * * *
the ground that it is not possible to         background information on the                  The primary purpose of this meeting is
develop a pediatric formulation, the          sponsor’s plan for Phase 3, including          to review and reach agreement on the
waiver will cover only those pediatric        summaries of the Phase 1 and 2                 design of phase 2 controlled clinical
age groups requiring that formulation. If     investigations, the specific protocols for     trials, with the goal that such testing
a waiver is granted because there is          Phase 3 clinical studies, plans for any        will be adequate to provide sufficient
evidence that the product would be            additional nonclinical studies, plans for      data on the drug’s safety and
ineffective or unsafe in pediatric            pediatric studies, including a time line       effectiveness to support a decision on its
populations, this information will be         for protocol finalization, enrollment,         approvability for marketing, and to
included in the product’s labeling.           completion, and data analysis, or              discuss the need for, as well as the
   (d) If a manufacturer fails to submit a    information to support any planned             design and timing of, studies of the drug
supplemental application containing the       request for waiver or deferral of              in pediatric patients. For drugs for life-
information or request for approval of a      pediatric studies, and, if available,          threatening diseases, FDA will provide
pediatric formulation described in            tentative labeling for the drug. * * *         its best judgment, at that time, whether
paragraph (a) of this section within the         (v) Conduct of meeting. * * * The           pediatric studies will be required and
time specified by FDA, the drug product       adequacy of the technical information to       whether their submission will be
may be considered misbranded or an            support Phase 3 studies and/or a               deferred until after approval. * * *


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PART 314—APPLICATIONS FOR FDA                age group(s) for which the assessment is         (ii) Necessary studies are impossible
APPROVAL TO MARKET A NEW DRUG                required.                                     or highly impractical because, e.g., the
OR AN ANTIBIOTIC DRUG                           (b) Deferred submission. (1) FDA may,      number of patients in that age group is
                                             on its own initiative or at the request of    so small or geographically dispersed;
  7. The authority citation for 21 CFR       an applicant, defer submission of some           (iii) There is evidence strongly
part 314 continues to read as follows:       or all assessments of safety and              suggesting that the drug product would
  Authority: 21 U.S.C. 321, 331, 351, 352,   effectiveness described in paragraph (a)      be ineffective or unsafe in that age
353, 355, 357, 371, 374, 379e.               of this section until after approval of the   group; or
  8. Section 314.50 is amended by            drug product for use in adults. Deferral         (iv) The applicant can demonstrate
adding paragraph (d)(7) to read as           may be granted if, among other reasons,       that reasonable attempts to produce a
follows:                                     the drug is ready for approval in adults      pediatric formulation necessary for that
                                             before studies in pediatric patients are      age group have failed.
§ 314.50 Content and format of an            complete, or pediatric studies should be
application.
                                                                                              (4) FDA action on waiver. FDA shall
                                             delayed until additional safety or            grant a full or partial waiver, as
*      *    *     *     *                    effectiveness data have been collected. If    appropriate, if the agency finds that
   (d) * * *                                 an applicant requests deferred
   (7) Pediatric use section. A section                                                    there is a reasonable basis on which to
                                             submission, the request must provide a        conclude that one or more of the
describing the investigation of the drug
                                             certification from the applicant of the       grounds for waiver specified in
for use in pediatric populations,
                                             grounds for delaying pediatric studies, a     paragraphs (c)(2) or (c)(3) of this section
including an integrated summary of the
                                             description of the planned or ongoing         have been met. If a waiver is granted on
information (the clinical pharmacology
                                             studies, and evidence that the studies        the ground that it is not possible to
studies, controlled clinical studies, or
                                             are being or will be conducted with due       develop a pediatric formulation, the
uncontrolled clinical studies, or other
data or information) that is relevant to     diligence and at the earliest possible        waiver will cover only those pediatric
the safety and effectiveness and benefits    time.                                         age groups requiring that formulation. If
and risks of the drug in pediatric              (2) If FDA determines that there is an     a waiver is granted because there is
populations for the claimed indications,     adequate justification for temporarily        evidence that the product would be
a reference to the full descriptions of      delaying the submission of assessments        ineffective or unsafe in pediatric
such studies provided under paragraphs       of pediatric safety and effectiveness, the    populations, this information will be
(d)(3) and (d)(5) of this section, and       drug product may be approved for use          included in the product’s labeling.
information required to be submitted         in adults subject to the requirement that        (5) Definition of ‘‘meaningful
under § 314.55.                              the applicant submit the required             therapeutic benefit’’. For purposes of
                                             assessments within a specified time.          this section and § 201.23 of this chapter,
*      *    *     *     *
   9. Section 314.55 is added to subpart        (c) Waivers—(1) General. FDA may           a drug will be considered to offer a
B to read as follows:                        grant a full or partial waiver of the         meaningful therapeutic benefit over
                                             requirements of paragraph (a) of this         existing therapies if FDA estimates that:
§ 314.55   Pediatric use information.        section on its own initiative or at the          (i) If approved, the drug would
   (a) Required assessment. Except as        request of an applicant. A request for a      represent a significant improvement in
provided in paragraphs (b), (c), and (d)     waiver must provide an adequate               the treatment, diagnosis, or prevention
of this section, each application for a      justification.                                of a disease, compared to marketed
new active ingredient, new indication,          (2) Full waiver. An applicant may          products adequately labeled for that use
new dosage form, new dosing regimen,         request a waiver of the requirements of       in the relevant pediatric population.
or new route of administration shall         paragraph (a) of this section if the          Examples of how improvement might be
contain data that are adequate to assess     applicant certifies that:                     demonstrated include, for example,
the safety and effectiveness of the drug        (i) The drug product does not              evidence of increased effectiveness in
product for the claimed indications in       represent a meaningful therapeutic            treatment, prevention, or diagnosis of
all relevant pediatric subpopulations,       benefit over existing treatments for          disease, elimination or substantial
and to support dosing and                    pediatric patients and is not likely to be    reduction of a treatment-limiting drug
administration for each pediatric            used in a substantial number of               reaction, documented enhancement of
subpopulation for which the drug is safe     pediatric patients;                           compliance, or evidence of safety and
and effective. Where the course of the          (ii) Necessary studies are impossible      effectiveness in a new subpopulation; or
disease and the effects of the drug are      or highly impractical because, e.g., the         (ii) The drug is in a class of drugs or
sufficiently similar in adults and           number of such patients is so small or        for an indication for which there is a
pediatric patients, FDA may conclude         geographically dispersed; or                  need for additional therapeutic options.
that pediatric effectiveness can be             (iii) There is evidence strongly              (d) Exemption for orphan drugs. This
extrapolated from adequate and well-         suggesting that the drug product would        section does not apply to any drug for
controlled studies in adults usually         be ineffective or unsafe in all pediatric     an indication or indications for which
supplemented with other information          age groups.                                   orphan designation has been granted
obtained in pediatric patients, such as         (3) Partial waiver. An applicant may       under part 316, subpart C, of this
pharmacokinetic studies. Studies may         request a waiver of the requirements of       chapter.
not be needed in each pediatric age          paragraph (a) of this section with               10. Section 314.81 is amended by
group, if data from one age group can be     respect to a specified pediatric age          revising paragraph (b)(2)(i) and
extrapolated to another. Assessments of      group, if the applicant certifies that:       (b)(2)(vii), and by adding paragraph
safety and effectiveness required under         (i) The drug product does not              (b)(2)(vi)(c) to read as follows:
this section for a drug product that         represent a meaningful therapeutic
represents a meaningful therapeutic          benefit over existing treatments for          § 314.81   Other postmarketing reports.
benefit over existing treatments for         pediatric patients in that age group, and     *       *    *    *     *
pediatric patients must be carried out       is not likely to be used in a substantial         (b) * * *
using appropriate formulations for each      number of patients in that age group;             (2) * * *


                                                                                                             EX. 7 pg. 039
                                                                                                                 App. 0099
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  (i) Summary. A brief summary of                or new route of administration shall              (i) The product does not represent a
significant new information from the             contain data that are adequate to assess       meaningful therapeutic benefit over
previous year that might affect the              the safety and effectiveness of the            existing therapies for pediatric patients
safety, effectiveness, or labeling of the        product for the claimed indications in         and is not likely to be used in a
drug product. The report is also                 all relevant pediatric subpopulations,         substantial number of pediatric patients;
required to contain a brief description of       and to support dosing and                         (ii) Necessary studies are impossible
actions the applicant has taken or               administration for each pediatric              or highly impractical because, e.g., the
intends to take as a result of this new          subpopulation for which the product is         number of such patients is so small or
information, for example, submit a               safe and effective. Where the course of        geographically dispersed; or
labeling supplement, add a warning to            the disease and the effects of the                (iii) There is evidence strongly
the labeling, or initiate a new study. The       product are similar in adults and              suggesting that the product would be
summary shall briefly state whether              pediatric patients, FDA may conclude           ineffective or unsafe in all pediatric age
labeling supplements for pediatric use           that pediatric effectiveness can be            groups.
have been submitted and whether new              extrapolated from adequate and well-              (3) Partial waiver. An applicant may
studies in the pediatric population to           controlled effectiveness studies in            request a waiver of the requirements of
support appropriate labeling for the             adults, usually supplemented with other        paragraph (a) of this section with
pediatric population have been                   information in pediatric patients, such        respect to a specified pediatric age
initiated. Where possible, an estimate of        as pharmacokinetic studies. In addition,       group, if the applicant certifies that:
patient exposure to the drug product,            studies may not be needed in each                 (i) The product does not represent a
with special reference to the pediatric          pediatric age group, if data from one age      meaningful therapeutic benefit over
population (neonates, infants, children,         group can be extrapolated to another.          existing therapies for pediatric patients
and adolescents) shall be provided,              Assessments required under this section        in that age group, and is not likely to be
including dosage form.                           for a product that represents a                used in a substantial number of patients
*      *     *     *     *                       meaningful therapeutic benefit over            in that age group;
   (vi) * * *                                    existing treatments must be carried out           (ii) Necessary studies are impossible
   (c) Analysis of available safety and          using appropriate formulations for the         or highly impractical because, e.g., the
efficacy data in the pediatric population        age group(s) for which the assessment is       number of patients in that age group is
and changes proposed in the labeling             required.                                      so small or geographically dispersed;
based on this information. An                                                                      (iii) There is evidence strongly
                                                    (b) Deferred submission. (1) FDA may,
assessment of data needed to ensure                                                             suggesting that the product would be
                                                 on its own initiative or at the request of
appropriate labeling for the pediatric                                                          ineffective or unsafe in that age group;
                                                 an applicant, defer submission of some
population shall be included.                                                                   or
                                                 or all assessments of safety and                  (iv) The applicant can demonstrate
   (vii) Status reports. A statement on          effectiveness described in paragraph (a)
the current status of any postmarketing                                                         that reasonable attempts to produce a
                                                 of this section until after licensing of the   pediatric formulation necessary for that
studies performed by, or on behalf of,           product for use in adults. Deferral may
the applicant. The statement shall                                                              age group have failed.
                                                 be granted if, among other reasons, the           (4) FDA action on waiver. FDA shall
include whether postmarketing clinical           product is ready for approval in adults
studies in pediatric populations were                                                           grant a full or partial waiver, as
                                                 before studies in pediatric patients are       appropriate, if the agency finds that
required or agreed to, and if so, the            complete, pediatric studies should be
status of these studies, e.g., to be                                                            there is a reasonable basis on which to
                                                 delayed until additional safety or             conclude that one or more of the
initiated, ongoing (with projected               effectiveness data have been collected. If
completion date), completed (including                                                          grounds for waiver specified in
                                                 an applicant requests deferred                 paragraphs (c)(2) or (c)(3) of this section
date), completed and results submitted           submission, the request must provide an
to the NDA (including date). To                                                                 have been met. If a waiver is granted on
                                                 adequate justification for delaying            the ground that it is not possible to
facilitate communications between FDA            pediatric studies, a description of the
and the applicant, the report may, at the                                                       develop a pediatric formulation, the
                                                 planned or ongoing studies, and                waiver will cover only those pediatric
applicant’s discretion, also contain a list      evidence that the studies are being or
of any open regulatory business with                                                            age groups requiring that formulation. If
                                                 will be conducted with due diligence           a waiver is granted because there is
FDA concerning the drug product                  and at the earliest possible time.
subject to the application.                                                                     evidence that the product would be
                                                    (2) If FDA determines that there is an      ineffective or unsafe in pediatric
*      *     *     *     *                       adequate justification for temporarily         populations, this information will be
                                                 delaying the submission of assessments         included in the product’s labeling.
PART 601—LICENSING                               of pediatric safety and effectiveness, the        (5) Definition of ‘‘meaningful
  11. The authority citation for 21 CFR          product may be licensed for use in             therapeutic benefit’’. For purposes of
part 601 is revised to read as follows:          adults subject to the requirement that         this section, a product will be
  Authority: 15 U.S.C. 1451–1461; 21 U.S.C.
                                                 the applicant submit the required              considered to offer a meaningful
321, 351, 352, 353, 355, 360, 360c-360f, 360h-   assessments within a specified time.           therapeutic benefit over existing
360j, 371, 374, 379e, 381; 42 U.S.C. 216, 241,      (c) Waivers—(1) General. FDA may            therapies if FDA estimates that:
262, 263.                                        grant a full or partial waiver of the             (i) If approved, the product would
  12. Section 601.27 is added to subpart         requirements of paragraph (a) of this          represent a significant improvement in
C to read as follows:                            section on its own initiative or at the        the treatment, diagnosis, or prevention
                                                 request of an applicant. A request for a       of a disease, compared to marketed
§ 601.27 Pediatric studies.                      waiver must provide an adequate                products adequately labeled for that use
  (a) Required assessment. Except as             justification.                                 in the relevant pediatric population.
provided in paragraphs (b), (c), and (d)            (2) Full waiver. An applicant may           Examples of how improvement might be
of this section, each application for a          request a waiver of the requirements of        demonstrated include, e.g., evidence of
new active ingredient, new indication,           paragraph (a) of this section if the           increased effectiveness in treatment,
new dosage form, new dosing regimen,             applicant certifies that:                      prevention, or diagnosis of disease;


                                                                                                                 EX. 7 pg. 040
                                                                                                                      App. 0100
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elimination or substantial reduction of a   the anniversary date of approval of the          (c) Status reports. A statement on the
treatment-limiting drug reaction;           license, to the Director, Center for          current status of any postmarketing
documented enhancement of                   Biologics Evaluation and Research:            studies in the pediatric population
compliance; or evidence of safety and          (a) Summary. A brief summary stating       performed by, or on behalf of, the
effectiveness in a new subpopulation; or    whether labeling supplements for              applicant. The statement shall include
   (ii) The product is in a class of        pediatric use have been submitted and         whether postmarketing clinical studies
products or for an indication for which     whether new studies in the pediatric          in pediatric populations were required
there is a need for additional              population to support appropriate             or agreed to, and if so, the status of these
therapeutic options.                        labeling for the pediatric population
   (d) Exemption for orphan drugs. This                                                   studies, e.g., to be initiated, ongoing
                                            have been initiated. Where possible, an       (with projected completion date),
section does not apply to any product       estimate of patient exposure to the drug
for an indication or indications for                                                      completed (including date), completed
                                            product, with special reference to the        and results submitted to the BLA
which orphan designation has been           pediatric population (neonates, infants,
granted under part 316, subpart C, of                                                     (including date).
                                            children, and adolescents) shall be
this chapter.                               provided, including dosage form.                Dated: November 24, 1998.
   13. Section 601.37 is added to subpart                                                 Michael A. Friedman,
D to read as follows:                          (b) Clinical data. Analysis of available
                                            safety and efficacy data in the pediatric     Acting Commissioner of Food and Drugs.
§ 601.37 Annual reports of postmarketing    population and changes proposed in the        Donna E. Shalala,
pediatric studies.                          labeling based on this information. An        Secretary of Health and Human Services.
  Sponsors of licensed biological           assessment of data needed to ensure
                                                                                          [FR Doc. 98–31902 Filed 11–27–98; 8:45 am]
products shall submit the following         appropriate labeling for the pediatric
                                                                                          BILLING CODE 4160–01–P
information each year within 60 days of     population shall be included.




                                                                                                             EX. 7 pg. 041
                                                                                                                 App. 0101
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                   Exhibit 8
    New Drug, Antibiotic, and Biological Drug
   Product Regulations; Accelerated Approval, 57
         Fed. Reg. 58,942 (Dec. 11, 1992)




                                                                      App. 0102
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  58928                            Fed eral R eg ister / V oL 5 7 , N o. 2 3 9 / Frid ay , D ecem b er 1 1 , 1 9 9 2 / N o tices


  EXH I BI T J

  OFFER GUARANTEE CALCULATI ON WORKSHEET

    HLI :

    COLUMN                   ( A)                 ( B)                ( C)               (0)                      ( E)                    ( F)                  ( G)              ( H)
                             HAXQ                UNI T                                   DESQ                     MI NQ                TOTAL DLI               BOND            PRODUCT
    ROW                 ( 0 0 0 / b b ls)         PRI CE              DLI            ( 0 0 0 / b b ls )       ( 0 0 0 / b b ls )          PRI CE                FACTOR               ($)
  (000/ $)

   1                                               $                                                                                   $                        x50
   2                                               $                                                                                                            x50
   3                                               $                                                                                   $                        xSO
   4                                               $                                                                                   $                        x50
   5                                               $                                                                                   $                        x50
   6                                                                                                                                   $                        x50
   7                                               $                                                                                                            x50
   8                                               $                                                                                   $                        x50
   9                                                                                                                                                            x50
  10                                               $                                                                                   $                        x50
  11                                               $                                                                                                            x50

  Total

  1.        U s in g a s e p a r a t e w o r k sh e e t f o r e a ch H LI o f f e r e d a g a i n s t , f r o m t h e SPR S a l e s O f f e r Fo r n ,               e n t e r t h e NL1
            Maximum q u a n t i t y o f f e r e d o n ( e x p r e s se d i n t h o u sa n d s o f b a r r e l s ) i n Colum n ( A ) , Row 1 .

  2.        S t a r t i n g w i t h t h e h ig h e s t OLI u n i t p r i c e o f f e r e d on t h e HLI f r o m t h e SPR S a l e s O f f e r Form ( an d t h e h ig h e s t
            p r e f e r e n c e i f t h e u n i t p r i c e s o f t w o o r m ore O LI s a r e t h e sam e) e n t e r t h e u n i t p r i c e i n Row 1 , Colum n ( 8 ) ;
            t h e OLI l e t t e r i n Row 1 , Colum n ( C) ; t h e OLI d e s i r e d q u a n t i t y i s Row 1 , Colum n ( 0 ) ( i n t h o u sa n d s o f
            b a r r e l s ) an d t h e m inim um q u a n t i t y i n Row 1 , Colum n ( E ) .                 ( T h e m inim um q u a n t i t y i s e i t h e r t h e Go v e r n m e n t 's
            m inim um c o n t r a c t q u a n t i t y , i f t h e o f f e r i n d i c a t e s t h e o f f e r o r w i l l a c c e p t a s l i t t l e a s t h a t am ou nt , o r t h e
            d e s i r e d q u a n t i t y , i f t h e o f f e r o r i n d i c a t e s h e w i l l a c c e p t no l e s s t h a n t h a t am ou nt .       See i n s t r u c t i o n s f o r
            t h e SPR S a l e s O f f e r Fo r m . )

  3.        I f e i t h e r t h e d e s i r e d q u a n t i t y i n Colum n ( D ) , o r t h e m inim um q u a n t i t y i n Colum n ( E) e x ce e d s t h e maximum
            q u a n t i t y i n Colum n ( A ) , y o u h a v e made an e r r o r e i t h e r on t h i s f o r m o r t h e o f f e r f o r m and sh o u ld r e ch e ck
            y o u r f ig u r e s .

  4.        M u l t i p l y t h e p r i c e i n Row 1 , Colum n ( B) t im e s t h e d e s i r e d                     q u a n t it y   in    Colum n    ( D)    ( a s e x p r e sse d    in
            t h o u sa n d s) an d e n t e r t h e t o t a l DLI p r i c e i n Colum n ( F ) .

  5.        H u l t i p l y t h e t o t a l DLI p r i c e i n Colum n ( F) t im e s t h e f a c t o r           i n Colum n ( G) and e n t e r t h e p r o d u c t i n Colum n
            ( H ) . The f a c t o r i s 5 X o f 1 0 0 0 .

  6.        S u b t r a c t t h e DLI d e s i r e d q u a n t i t y     i n Row 1 , Colum n ( D ) f r o m t h e maximum q u a n t i t y                i n Row 1 ,       Colum n ( A ) .
            En t e r t h e r e s u l t i n Row 2 , Colum n               (A),  i f t h e r e s u lt i s ze r o , go t o st e p 11.

  7.     ' E n t e r t h e n e x t h ig h e s t u n i t p r i c e f o r t h e HLI f r o m t h e o f f e r f o r m i n Row                        2 , Colum n ( B ) . En t e r t h e DLI
           l e t t e r , d e s i r e d q u a n t i t y , an d m inim um q u a n t i t y i n t h e i r r e s p e c t i v e co lu m n s. I f t h e r e i s a maximum q u a n t it y
           r e m a in in g i n Row 2 , Colum n ( A ) , b u t n o m ore DLI o f f e r s , o r t h e m inim um q u a n t i t y i n Row 2 , Colum n ( E)
           e x ce e d s t h e maximum q u a n t i t y , y o u may h a v e made an e r r o r and s h o u ld r e c h e c k y o u r f i g u r e s .

  8.        H u l t i p l y t h e l e s s e r o f t h e r e m a in in g maximum q u a n t i t y i n Colum n ( A) ( e v e n i f t h i s q u a n t i t y i s l e s s t h a n
            MI NQ) , o r t h e d e s i r e d q u a n t i t y i n Colum n ( D) t im e s t h e u n i t p r i c e and e n t e r t h e r e s u l t i n g t o t a l DLI p r i c e
            i n Colum n ( F ) .

  9.        H u lt ip ly   Colum n ( F)       t im e s t h e f a c t o r i n   Colum n ( G) an d e n t e r t h e p r o d u c t          in   Colum n ( H ) .

  1 C.    Re p e a t s t e p s 6 - 9 f o r t h e n e x t h ig h e r u n i t p r i c e u n t i l t h e maximum q u a n t i t y r e m a in in g i s z e r o , t h e n go t o
          st e p 11.

  11.       Sum t h e am o u n t s i n Colum n ( H ) an d e n t e r t h e t o t a l i n Row 8 , Co lu m n ( H ) .                       Sum t h i s am ount f o r a l l                 the
            w o r k sh e e t s ,  i f t h e sum o f a l l t h e w o r k sh e e t s i s l e s s t h a n $ 1 0 , OCX),0 0 0 , e n t e r t h e sum i n t h e * p a c «
            o f f e r bon d o n t h e SPR S a l e s O f f e r Fo rm .           I f t h e sum e x ce e d s $ 1 0 , 0 0 0 , 0 0 0 , t h e n e n t e r $ 1 0 , 0 0 0 , 0 0 0 on           the
            o f f e r form .      Send w i t h t h e o f f e r o r w i r e c o n c u r r e n t l y t o t h e U . S. T r e a s u r y ( r e f e r t o i n s t r u c t i o n s i n         the
            N o t i c e o f S a l e ) an o f f e r g u a r a n t e e i n t h e am ount i n d i c a t e d o n t h e o f f e r f o r m .      T h ese w o r k sh e e t s need             not
            b e s u b m it t e d w i t h t h e o f f e r an d s h o u ld b e r e t a i n e d f o r y o u r f i l e s .


  [FR D oc. 9 2 - 1 8 5 7 4 Filed 1 2 - 1 0 - 9 2 ; 8 :4 5 am]
  BtLU N O COD E M K M H - C




                                                                                                                                                                  EX. 8 pg. 001


                                                                                                                                                                                 App. 0103
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                                       Friday
                                       Decem ber 11, 1992




                                       Part VI


                                      Departm ent of the
                                      interior
                                      Fish and W ildlife Service
                                      50 CFR Part 32
                                      Refuge- Specific Hunting and Fishing
                                      Regulations; Proposed Rule




                                                                   EX. 8 pg. 002


                                                                         App. 0104
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     58930                Fed eral R eg ister / V ol’ 5 7 , N o. 239 / Frid ay , D ecem b er 11, 199 2 / Pro p o sed Rules


     D EPARTM EN T O F TH E I NTERI OR               insure refuge user safety. On many             uses are com patible w ith the major
                                                     refuges, the Service policy of adopting        purpose(s) for w hich the area was
     Fish and W ildlife Service                      State hunting regulations is adequate in       established.
                                                     m eeting these objectives. On other               The Refuge Recreation A ct authorizes
     50 CFR Part 32                                  refuges, it is necessary to supplem ent        the Secretary to adm inister areas within
                                                     State regulations w ith m ore restrictive      the Refuge System for public recreation
     FI N 10 1 8 -AA7 1
                                                     Federal regulations to insure that the         as an appropriate incidental or
     Refuge- Specific Hunting and Fishing            Service m eets its management                  secondary use only to the extent thatit
     Regulations                                     responsibilities, as outlined under the        is practicable and not inconsistent with
                                                     section entitled “‘Conformance w ith           the prim ary purpose(s) for which the
     AGENCY: Fish and W ildlife Service,             Statutory and Regulatory A uthorities.”        areas w ere established. The Refuge
     Interior.                                       Refuge-specific hunting and fishing            Recreation A ct also authorizes the
     ACTI ON: Proposed Rule.                         regulations may be issued only after a         Secretary to issue regulations to carry
                                                     w ildlife refuge is opened to migratory        out the purposes of the A ct. Hunting
     SUMMARY: The Fish and W ildlife Service                                                        and sport fishing plans are d eveloped
                                                     game bird hunting, upland game
     (Service) proposes to amend certain                                                            for each refuge prior to opening it to
                                                     hunting, big game hunting or sport
     regulations that pertain to m igratory                                                         hunting or fishing. In many cases,
                                                     fishing through publication in the
     game bird hunting, upland game                                                                 refuge-specific hunting and fishing
                                                     Federal Register. These regulations may
     hunting, big game hunting and sport                                                            regulations are included in the hunting
                                                     list the w ildlife species that may be
     fishing on individual national w ildlife                                                       and sport fishing plans to ensure the
                                                     hunted or are subject to sport fishing,
     refuges. Refuge hunting and fishing                                                            com patibility of the hunting and sport
                                                     seasons, bag lim its, m ethods of hunting
     programs are review ed annually to                                                              fishing programs w ith the p urp o ses for
                                                      or fishing, descriptions of open areas,
     determine w hether the individual refuge                                                       w hich tne refuge was established. Initial
                                                     and other provisions as appropriate.
     regulations governing these programs                                                            com pliance w ith the NW RSAA and
                                                     Previously issued refuge-specific
     should be m odified, deleted or have                                                            Refuge Recreation A ct is ensu red when
                                                     regulations for hunting and fishing are
     additions m ade to them . Changing                                                              hunting and sport fishing plans are
                                                      contained in 50 CFR part 32. M any of
     environm ental conditions, State and                                                            developed, and the determinations
                                                      the proposed am endm ents to these
     Federal regulations, and other factors                                                          required by these acts are made prior to
                                                      sections are being promulgated to
     affecting w ildlife populations and                                                             the addition of refuges to the lists of
                                                      standardize and clarify the existing
     habitat may w arrant m odifications to                                                          areas open to hunting and fishing in SO
                                                      language of these regulations.
     insure the continued com patibility of                                                          CFR. Continued com pliance is ensured
     hunting and fishing w ith the purposes              The policy of the D epartment of the        by annual review of hunting and sport
     for w hich the individual refuges w ere          Interior is, w henever practicable, to         fishing programs and reg u latio n s.
     established. M odifications are designed,        afford the public an opportunity to
                                                      participate in the rulemaking process. It     Econom ic Effect
     to the extent p ractical, to make refuge
     hunting and fishing programs consistent          is, therefore, the purpose of this                Executive O rder 12291 requires the
     w ith State regulations. In addition, these      proposed rulemaking to seek public            preparation of regulatory im pact
     refuge-specific regulations are                  input regarding these proposed                analyses for m ajor rules. A majo r rule is
     consistent w ith the proposed new                am endm ents. Special circum stances in       one likely to result in an annual effect
     format w hich reorganizes all hunting            the reformatting of the hunting and           on the econom y of $100 m illio n or
     and fishing regulations under one part           fishing regulations as proposed to be         m ore; or a major increase in co sts or
     as proposed in another docum ent                 revised at 57 FR 55686 on N ovember 25,       prices for consum ers, ind iv id ual
     published in the Federal Register on             1992, lim it the am ount of tim e that the    industries, government ag encies or
                                                      Service can allow for public com m ent.       geographic regions. The Regulatory
     N ovember 25, 1992.
                                                      A ccordingly, interested persons may          Flexib ility A ct of 1980 (5 U.S.C. 601 et
     DATES: Comments m ust be received on                                                           s e q .) further requires-the preparation
                                                      submit w ritten com m ents to the
     or before D ecember 28, 1992. See                                                              flexibility analyses for rules that will
                                                      A ssistant D irector, Refuges and W ildlife
     SUPPLEM ENTARY I NFORMATI ON below for                                                         have a significant effect on a substantial
                                                      ( ADDRESSES above) by the end of the
     discussion of com m ent periods.                                                               number of small entities, which include |
                                                      com m ent period. A ll substantive
     ADDRESSES: A ddress com m ents to:               com m ents regarding content or format        sm all businesses, organizations or
     A ssistant D irector— Refuges and                w ill be considered by the D epartment        governm ental jurisdictions.
     W ildlife, U .S. Fish and W ildlife Service,     prior to issuance of a final rule.                The proposed amendments to the
     1849 C Street, N W ., M S 670 A RLSQ ,                                                         codified refuge-specific hunting and
     W ashington, DC 20240; Telephone (703)           Conform ance W ith Statutory and              fishing regulations would make
     358-2043.                                        Regulatory A uthorities                       relatively m inor adjustments to existing
     FOR FURTHER I NFORMATI ON CONTACT:                  The N ational W ildlife Refuge System      hunting programs. The regulations are
     D uncan L. Brow n, D ivision of Refuges,         A dm inistration A ct (N W RSA A ) of 1966,   not expected to have any gross
     U .S. Fish and W ildlife Service, 1849 C         as amended (16 U .S.C. 668dd), and the        econom ic effect and w ill not cause an
     Street N W ., M S 670 A RLSQ ,                   Refuge Recreation A ct of 1962 (16            increase in costs or prices for
     W ashington, DC 20240; Telephone (703)           U .S.C. 460k) govern the adm inistration      consum ers, individual industries,
     358-2043.                                        and public use of national w ildlife          Federal, State, or local governments,
                                                      refuges. Specifically, section 4(d)(1)(A )    agencies, or geographic regions. The
     SUPPLEM ENTARY I NFORMATI ON: 50 CFR
     part 32 contains provisions governing            of die N W RSA A authorizes the               benefits accruing to the public are
                                                      Secretary of the Interior to perm it the       expected to exceed by a large margi
     hunting and fishing on national w ildlife
                                                      use of any area w ithin the Refuge             costs of adm inistering this rule.
     refuges. H unting and fishing are                                                              A ccordingly, the D epartment of the
     regulated on refuges to (1) insure               System for any purpose, including but
                                                                                                     Interior has determined that this ^
     com patibility w ith refuge purposes, (2)        not lim ited to, hunting, fishing and
                                                      public recreation, accom m odations and        proposed rule is not a “ major rule
     properly manage the w ildlife resource,
                                                      access, when he determ ines that such          w ithin the meaning of E . 0 . 12291 an
     (3) protect other refuge values and (4)




                                                                                                          EX. 8 pg. 003


                                                                                                                     App. 0105
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                      Fe d eral R eg ister / V oi. 5 7 , N o. 2 3 9 / Frid ay , D ecem b er 11, 199 2 / Pro p o sed Rules                                                            58931

' w ould n o t h av e a sig n if ican t e co n o m ic            A s s is tan t R eg io n al D ire cto r— R ef ug es           W ash in g to n , D C 2 0 2 4 0 , i s d m p rim ary
  effect o n a s u b s tan tial n u m b e r o f s m al l            an d W il d l if e, U .S . Fis h an d W ild lif e          au th o r o f th is p ro p o se d ru lem ak in g
  entities w ith in th e m e an in g o f th e                       S e rv ice , Eastsid e Fe d e ral C o m p l e x,           d o cu m e n t.
  Regulatory Fl e xib il ity A ct.                                  S u ite 1 6 9 2 , 9 1 1 N E. 1 1 th A v e n u e ,
                                                                    Po rtl an d , O rego n 9 7 2 3 2 - 4 1 8 1 ;            List o f Subjects in 50 CFR Part 32
 Paperwork Reduction A ct
                                                                   T elep h o n e (5 0 3 ) 2 3 1 - 6 2 1 4 .                     H u n tin g , Fis h in g , R ep o rtin g an d
    T h e in f o rm atio n co l l e ctio n                   R eg io n 2 —                                                  re co rd k e e p in g re q u ire m e n ts , W ild lif e ,
 req uirem ents f o r p art 3 2 e re f o u n d in 5 0           A riz o n a, N ew M e xico , O k l ah o m a an d            W ild lif e ref u g es.
 O i l p art 2 5 an d h a v e b e e n ap p ro v e d b y            T e xas .
                                                                                                                                 A cco rd in g l y , i t is p ro p o se d to am en d
 the O f f ice o f M an ag e m e n t an d B u d g et            A s s is tan t R eg io n al D ire cto r— R ef u ges
                                                                                                                            Part 3 2 , as p ro p o se d to b e re v is e d at 5 7
 under 4 4 U .S .C . 3 5 0 1 etseq. an d                           an d W ild l if e , U .S . Fis h an d W il d l if e
                                                                                                                            FR 2 2 6 8 6 o n N o v e m b e r 2 5 , 1 9 9 2 , o f
 assigned cl e aran ce n u m b e r 1 0 1 8 - 0 0 1 4 .             S e n d e e , B o x 1 3 0 6 , A lb u q u erq u e,
                                                                                                                            ch ap te r I o f titl e 5 0 o f th e C o d e o f
 The in f o rm atio n is b ein g co l l e cte d to                 N e w M e xico 8 7 1 0 3 ; T e l e p h o n e
                                                                                                                            Fe d e ral R eg u latio n s as s e t f o rth b elo w :
 assist th e S e rv ice i n ad m in is te rin g th e s e           (5 0 5 )7 6 6 - 1 8 2 9 .
 program s in acco rd an ce w ith s tatu to ry               R eg io n 3—
                                                                                                                            PA RT 32— {AM ENDED]
 authorities w h i ch re q u ire th a t                         Il lin o is, In d ian a, Io w a, M ich ig an ,
 recreational u se s b e co m p atib l e w ith th e                 M in n e s o ta, M iss o u ri, O h io an d                   1 . T h e au th o rity citatio n f o r p art 3 2
 prim ary p u rp o s e s f o r w h ich th e are as                  W is co n s in .                                        w o u l d co n tin u e to re ad as f o ll o w s:
 were estab lis h e d . T h e in f o rm atio n                  A s s is tan t R eg io n al D ire cto r— R ef u ges
                                                                                                                                 A u th o rity : 5 U .S.C . 3 0 1 ; 1 6 U .S.C . 4 6 0 k .
 requested in th e ap p l icatio n f o rm is                       an d W ild lif e, U .S . Fis h an d W ild lif e          664, 668d d , and 7151.
 required to o b tain a b e n e f it.                              S e rv ice , Fe d e ral B u ild in g , Fo rt
                                                                                                                              2 . S e ctio n 3 2 . 2 0 A l ab am a i s am en d ed
   th e p u b lic re p o rtin g b u rd e n f o r th e              S n ellin g , T w in C itie s, M in n eso ta
                                                                                                                           b y rev is in g p arag rap h C . o f th e C h o ctaw
 application f o rm i s e s tim ate d to av erag e                 5 5 1 1 1 ; T elep h o n e (6 1 2 ) 7 2 5 - 3 5 0 7 .
                                                             R eg io n 4 —                                                  N atio n al W ild lif e R ef u g e; b y re v is in g
 six (6) m in u tes p e r re s p o n s e , in cl u d in g
                                                                A l ab am a, A rk an s as, Fl o rid a, G eo rg ia,         p arag rap h s A ., B ., an d C . o f Eu f au la
 time for re v iew in g in s tru ctio n s ,
                                                                   K en tu ck y , L o u isian a, M is s is sip p i,        N atio n al W ild l if e R ef uge to re ad as
 gathering an d m ain tain in g d ata, an d
                                                                                                                           f o ll o w s:
 com pleting th e f o rm . D ire ct co m m e n ts                  N o rth C aro l in a, T e n n e s se e , S o u th
 on the b u rd en e s tim ate o r an y o th e r,                  C aro l in a, Pu e rto R ico an d th e V irgin           $ 3 2 .2 0     Alabam a.
 aspect o f th is f o rm to th e S e rv ice                        Islan d s.                                               *        *      *       *       *
 Inform ation C o l l e ctio n C l e aran ce                    A s s is tan t R eg io n al D irecto r— R ef ug es
 O fficer, U .S . Fis h an d W il d l if e S e rv ice ,           an d W ild lif e, U .S . Fis h an d W ild lif e          C h o c ta w N a tio n a l W ild lif e R e fu g e
 1849 C S treet N W „ M S 2 2 4 A R LS Q ,                        S e rv ice , R ich ard B. R u ss e ll Fe d e ral         *       *     *      *      *

 W ashington, D C 2 0 2 4 0 ; an d th e O f f ice                 B u ild in g , 7 5 S p rin g S tre e t, S W ,                 C . B ig G am e H u n tin g . H u n tin g o f w h ite ­
 of M anagem ent an d B u d g e t, Pap e rw o rk                  A tl an ta, G eo rg ia 3 0 3 0 3 ; T e l e p h o n e     ta ile d d e e r an d f e ral h o g s is p e rm itte d o n
 Reduction Pro je ct ( 1 0 1 8 - 0 0 1 4 ) ,                      (4 0 4 ) 3 3 1 - 0 8 3 3 .                               d e sig n ate d a re a s o f th e re f u g e s u b je c t to th e
                                                            R eg io n 5—                                                   f o llo w in g c o n d itio n : P e rm its « re re q u ire d .
 W ashington, D C 2 0 5 0 3 .
                                                              C o n n e cticu t, D elaw are , D is trict o f               *        *      *       *       *
 Environmental Considerations                                     C o lu m b ia, M ain e , M ary lan d ,
                                                                                                                           Eufaula N atio nal W ild life R e tire
  C o m p liance w ith th e N atio n al                           M as s ach u s e tts , N ew H am p sh ire ,
                                                                  N ew Je rs e y , N e w Y o rk ,                              A . H u n tin g o f M ig rato ry G am e B ird s.
Environm ental P o l i cy A c t o f 1 9 6 9
                                                                                                                           H u n tin g o f g e e so , d u c k s, c o o ts , m o u rn in g
(N EPA ) (4 2 U .S .C . 4 3 3 2 (C )) a n d th e                   P e n n sy lv a n ia , R h o d e Islan d ,
                                                                                                                           d o v e s, s n ip e an d w o o d c o c k is p e rm itte d o n
Endangered S p e cie s A c t o f 1 9 7 3 ( 1 6                     V e rm o n t, V irg in ia an d W e st                   d e s ig n a te d are as o f th e re f u g e s u b je c t to th e
U.S.C. 1 5 3 1 —1 5 4 3 ) is e n s u re d w h e n                  V irg in ia.                                            f o llo w in g c o n d itio n : P e rm its are re q u ire d .
hunting an d s p o rt f ish in g p l an s m o                  A s s is tan t R eg io n al D ire cto r— R ef u ges             B . U p lan d G am e H u n tin g . H u n tin g o f q u ail
developed, an d th e d e te rm in atio n s                        an d W il d l if e, UvS. Fis h an d W ild l if e         an d ra b b it is p e rm itte d o n d e sig n ate d are as
required b y th e s e a cts a re m ad e p rio r to                S e rv ice , 3 0 0 W . G ate C e n te r D riv e,         o f th e re f u g e s u b je c t to th e f o llo w in g
the ad d ition o f re f u g es to th e l is ts o f                H ad l ey , M ass ach u s e tts 0 1 0 3 5 ;              c o n d itio n : P e rm its are re q u ire d .
                                                                  T e l e p h o n e (4 1 3 ) 2 5 3 - 8 2 0 0 .                 C . B ig G am e H u n tin g . H u n tin g o f w h ite ­
fimas o p e n to h u n tin g a n d f i sh in g in 5 0
                                                            R e g io n 6 —                                                 ta ile d d e e r is p e rm itte d o n d e sig n ate d are as
Q T y R ef u g e- sp ecif ic h u n tin g an d
                                                               C o l o rad o , K an sas, M o n tan a, N eb rask a,         o f th e re f u g e s u b je c t to th e f o llo w in g
fishing reg u latio n s a re s u b j e ct to a                                                                             c o n d itio n : P e rm its are re q u ire d .
                                                                  N o rth D ak o ta, S o u th D ak o ta, U tah
categorical e xcl u s io n f ro m th e N EPA                                                                               *        *       *      *        *
                                                                  an d W y o m in g .
process if th e y d o n o t s ig n if ican tl y al te r
                                                               A s s is tan t R eg io n al D ire cto r— R ef ug es            3 . S e ctio n 3 2 . 2 2 A riz o n a is am en d ed
toe m astin g u s e o f a p articu l ar n atio n al
                                                                  an d W ild l if e , U .S . Fis h an d W ild l if e       b y re v is in g p arag rap h C . o f B u e n o s
^ ud life ref ug e. T h e ch an g e s p ro p o se d
                                                                  S e rv ice , B o x 2 5 4 8 6 , D en v er Fe d e ral      A ire s N atio n al W ild l if e R efu ge to read
in this ru lem ak in g w o u l d n o t
                                                                  C e n te r, D e n v e r, C o l o rad o 8 0 2 2 5 ;       as f o llo w s:
sub stantially a l ta r th e e xis tin g u s e s o f
                                                                  T e l e p h o n e (3 0 3 ) 2 3 6 - 8 1 4 5 .
  e refuges in v o lv e d . In f o rm atio n                                                                               %32J22 Arizona .
                                                            R eg io n 7—
wjgardmg h u n tin g an d f ish in g p e rm its                                                                            *        *      *        *       *
                                                               A l ask a (H u n tin g an d f ish in g o n
“no m e co n d itio n s th at a p p l y to
                                                                  A l ask a re f u g e s i s in a cco rd an ce             Bueno s A i n a N a tio n a l W ild lif e Refuge
™      f u al ref u g e h u n ts , s p o rt f ish in g            w ith S tate re g u l atio n s . T h e re are n o        *   *      *      *       *
     vities an d m ap s o f th e re s p e ctiv e
                                                                  re f u g e - s p e cif ic h u n tin g an d f ish in g
" o as are av ail ab le at ref u g e                                                                                           C . B ig G am e H u n tin g . H u n tin g o f m u le
                                                                  re g u latio n s f o r th e s e re f u g es).            d e e r a n d w h ite - ta ile d d e e r, ja v e lin a an d f e ral
headq uarters o r ca n b e o b tain e d f ro m                 A s s is tan t R eg io n al D ire cto r— R ef u g es        h o g s Is p e rm itte d o n d e sig n ate d are as o f th e
                                                                  an d W ild l if e , U .S . Fis h an d W ild l if e       re fu g e .

below:
                                                                  S e rv ice , 1 0 1 1 E . T u d o r R d „                 *         *.         *       *       *
                                                                  A n ch o rag e , A l ask a 9 9 5 0 3 ;
Ri     1—                                                                                                                       4 . S e ctio n 3 2 . 2 3 A rk an s as is nnriortd ° d
                                                                  T e l e p h o n e (9 0 7 ) 7 8 6 - 3 5 3 8 .             b y re v is in g p arag rap h B . o f B ig Lak e
     üfonda. H aw aii, Idaho, N evada,                         D u n can L. B ro w n , D iv isio n o f                     N atio n al W il d l if e R efu ge to re ad as
     °regon, and W ashington.                               R ef u g es, U .S . Fi s h an d W il d l if e S e rv ice ,     f o ll o w s:




                                                                                                                                                    EX. 8 pg. 004


                                                                                                                                                                    App. 0106
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    58932                 Fed eral R eg ister / V ol. 5 7 , N o. 2 3 9 / Frid ay , D ecem b er 11, 1 9 9 2 / Prop o sed Rules


   $32.23 A rkansas.                                       A. Hunting o f Migratory Game Birds.               A . Hunting o f M igratory Game Birds. * * *
   *     *   *     *-               *                    * * •                                                 1. W aterfow l hunting is permitted on the        subj
                                                         *     *    *       *     *                         co ntro lled areas o f Grassy Point, Carterville     shal
   Big Lake N ational W ild life Refuge                                                                     and Greenbrier land areas, plus Orchard,             Wi l
                                                            4. Only unloaded firearms may be carried
   *    *    *    *    *                                 on hunter access routes open to motor              Turkey, and Saw mill and Grassy Islands,
                                                         v ehicles o r w hen taken through posted           from sunrise to posted closing times each day
       B. Upland Game Hunting. Hunting o f                                                                                                                       D’A
                                                         retrieving zones w hen traveling to and from       during the goose season. Waterfow l hunting
    squirrel, rabbit, racco o n, beaver and opossum                                                                                                               *
                                                         the hunting areas.                                 in these areas, including lake shorelines, is
    is permitted o n designated areas o f the refuge                                                        permitted o nly from existing refuge blinds.               B
    subject to the follo w ing co nd itio n: Permits     *     *         *          *           *
                                                                                                            Hunters must co mply w ith the special rules          *

    are required.                                          B. Upland Game Hunting. * * *                    posted at the b lina draw ing site. Only                   2
    *     *     *     *     *                            *    *   *    *   *                                w aterfow l hunting is permitted in the               taki
                                                            2. Only unloaded firearms may be carried        contro lled goose hunting areas during goose
      5. Section 32.24 California is                                                                        season.
                                                                                                                                                                   *
                                                         o n hunter access routes o pen to motor
    am ended by rem oving paragraph A .4.                v ehicles o r w hen taken through posted              2 . * * * No person may establish or use
                                                                                                                                                                       5
                                                                                                                                                                   rab
    and revising paragraph A .3. of D elevan             retrieving zones w hen traveling to and from       a goose blind o r pit w ithin 100 yards o f
                                                                                                                                                                   Iasi
    N ational W ildlife Refuge; by revising              the hunting areas.                                 roads, right-of-w ays, easements, and refuge
                                                                                                                                                                   gar
    paragraphs A .3. and paragraph B.2. of               *      $      it     *     t                       p ublic use boundaries.                                    C
    Low er Klamath N ational W ildlife                      6. Section 32.27 D elaware is amended              B. Upland Game Hunting. * * *                       tail
    Refuge; by revising paragraph A .3., and                                                                   1. Upland game hunting is not permitted             of I
                                                         by removing paragraph A .8. and                    in the contro lled goose hunting areas during
    removing paragraph A .4., and by                     redesignating paragraph A .9. as                                                                           coi
                                                                                                            goose season.                                               1
    redesignating paragraph A .5. as                     paragraph A .8. of Bombay Hook                        2 . No rifles o r pisto ls w ith a m m u n itio n
    paragraph A .4. of Sacram ento N ational             N ational W ildlife Refuge; and by                 larger than .22 caliber rim fire, except black
                                                                                                                                                                    pei
                                                                                                                                                                    Sal
    W ildlife Refuge; and by revising                    rem oving paragraph A .7. and                      pow der firearms up to and including .40                Fri
    paragraphs A .4. and B.2. of Tula Lake               redesignating paragraphs A .8. and A .9.           caliber may be used.
    N ational W ildlife Refuge to read as                as A .7. and A .8., respectively, revising            C. Big Game Hunting * * *                             tak
    follow s:                                                                                               *        *     *       H       it
                                                         paragraphs C. introductory text, C .2.,
                                                         C .3., and C .4., and adding new                      3. Deer hunting is no t permitted in the
    $3244          California.                                                                              co ntro lled goose him ting areas during goose
                                                         paragraphs C.7. and C .8. of Prim e Hook
    *      *          *     *       *
                                                                                                            season.                                                  ch
                                                         N ational W ildlife refuge to read as
                                                                                                               4. Hunting stands must be removed at the
    D elevan N atio nal W ild life Refuge                follow s:
                                                                                                            end o f each day's hu nt
      A . Hunting o f Migratory Game                                                                        *     *      *   *    *                                  Dc
                                                         § 32.27       Delaware.
    Bird s. * * *                                        A     tk            9      .9      .       9         8. Section 32.33 Indiana is amended
    *      *          *     *       *                                                                                                                                Hi
                                                                                                            by adding a new paragraph C.5. to                        on
      3. Hunters assigned to the spaced blind            Prim e Hook N atio nal W ild life Refuge           M uscatatuck N ational W ildlife Refuge to
    unit are restricted to w ithin 100 feet o f their    *      *    *      *      *                                                                                 th
                                                                                                            read as follow s:
    assigned hunt site except for retrieving                C. Big Game Hunting. Hunting o f deer and                                                                 ra
    dow ned bird s, placing deco ys, or traveling to     turkey is permitted o n designated areas o f the   $ 3 2 .3 3      In d ia n a .
                                                                                                                                                                      re
    and from the parking area.                           refuge subject to the follow ing co nd itio ns:    *      *         *           *           *                Pi
    *          *      *         *   *                    *     *          *         *           *
                                                            2. Deer hunting on A rea A must be from         M uscatatuck N atio nal W ild life Refuge                 ta
    Low er Klam ath N atio nal W ild life Refuge                                                            *    *     *      *      *                                of
                                                         designated stands o nly, unless actively
        A. Hunting o f M igratory Game Birds.* * *       tracking o r retrieving w ounded deer.                 C. Big Game Hunting. * * *                            cc
    *      *          *         *   *                       3. Hunting A reas A and B and the North         *       *        *           *           *
                                                         Hunting A rea are open to shotgun and                5. Non-hunters must stay in vehicles when
      3. Only unloaded firearms may be carried                                                                                                                        U
                                                         muzzleloader. deer hunting.                        an taring the hunt area during the second
    on hunter access ro utes o pen to motor
                                                            4. A rchery deer hunting is permitted o n the   state d eer muzzleloader season.
    vehicles o r w hen taken through posted
                                                         North Hunting A rea only.                          *        *           *           *           *
    retrieving zo nes w hen traveling to and from        *     *          *         *           *                                                                     *
    the hunting areas.                                                                                         9. Section 32.37 Louisiana is amended
    *      *          *         *       *                   7. A shotgun o nly turkey hunt is permitted    by revising paragraph B. for Atchafalaya
                                                         during the State spring season in Unit 1 north                                                               te
        B. Upland Game Hunting. * * *                                                                      N ational W ildlife Refuge; by revising
                                                         o f Fo w ler's Beach Road and w est o f Slaughter                                                            *
    *      *          *         *       *                                                                  p a r a g r a p h B.2. and adding a new
                                                         Canal.
       2. Only unloaded firearms may be carried             8. Hunters during firearms d eer season        paragraph B.5., by revising paragraph C.                   u
    on hunter access ro utes o pen to motor              must w ear in a co nspicuo us manner o n head, D’A rbonne N ational W ildlife Refuge; by
    v ehicles o r w hen taken through posted             chest and back a minimum o f 400 square           revising paragraphs A ., B., and C. of                     n
    retrieving zo nes w hen traveling to and from        inches o f so lid-colored hunter orange           D elta N ational W ildlife Refuge; by                      li
    the hunting areas.                                   clo thing o r material.                           revising paragraphs B.2. and B.4., and                      8
    *      *          *         *   *                    *       * : # * • #                                adding a new paragraph B.5., by
                                                                                                                                                                       fa
                                                             7. Section 32.32 Illinois is am ended          revising paragraph C. for Upper
    Sacram ento N atio nal W ild life Refuge                                                                                                                           0
                                                         by revising paragraph A .I., removing              O uachita N ational W ildlife Refuge to                    c
      A. Hunting o f M igratory Game Birds.              A.           2. and redesignating A .3. as A .2., and
                                                                                                            read as follows:
    * * *
                                                         adding a sentence at the end of new ly                                                                           1
    *      *          *         *   *                    designated A .2., revising paragraphs              $32.37 Louisiana.                                             {
                                                                                                            *           *            *           *           *            !
      3. Hunters assigned to the spaced blind            B.I ., B.2. and C.3. and adding a new
    unit are restricted to w ithin 100 feet o f their    paragraph C.4. to Crab O rchard N ational          A tchafalay a N atio nal W ild life Refuge
    assigned hunt site excep t for retrieving                                                                                                                             t
                                                         W ildlife Refuge to read as follow s:              *      *     * - '*        *
    dow ned bird s, placing d eco ys, o r traveling to
    and from the parking area.                           $32.32        I llinois.                              B. Upland Game Hunting. Hunting o f                        I
    *      *          *         *       *                *         *         *          *           *       squirrel, rabbit, raccoon, opossum, nutria,
                                                                                                            muskrat, mink, fox. bobcat, beaver and otter
    Tu k Lake N atio nal W ild life Refuge               Crab O rchard N atio nal W ild life Refuge         is permitted o n designated areas o f the retug




                                                                                                                            EX. 8 pg. 005


                                                                                                                                                 App. 0107
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subject to the follow ing co nd itio n: Hunting           1 0 . S e ctio n 3 2 .3 8 M ain e is am e n d e d        c o lo red h u n ter o rang e c lo th in g o r
gball be in accord ance w ith Sherburne                b y rev is in g p arag rap h G 2 . f or                     m aterial.
Wildlife Management A rea regulations.                                                                             *       *    *     *     *
                                                       M o o s e h o m N atio n al W ild lif e R ef ug e; b y
*     *       *     *      *
                                                       ad d in g n e w p arag rap h B . l . an d b y
                                                       ad d in g a n e w p arag rap h C l . to R ach e l           Eastern N eck N atio nal W ild life Refuge
D’Arbonne N atio nal W ild life Refuge
                                                                                                                   *    *    *    *      *
*     *        *     *       *                         C arso n N atio n al W il d l if e R ef u ge; an d b y
                                                       re v is in g p arag rap h C l . o f S u n k h az e              C . B ig G am e H u n tin g . * * *
  B. U p lan d C am e H u n tin g . * * *
                                                                                                                   *         *      *       *        *
*     *        *     *        *                        M ead o w s N atio n al W ild lif e R ef uge to
                                                       re ad as f o llo w s:                                           5.     H u nters d u ring firearm s b ig g am e
  2.    Feral hogs, co yo tes and beaver may be
taken during all refuge hunts.                                                                                     seaso n m u st w ear in a c o n sp ic u o u s
                                                       S 3 2 .3 8      M aine.                                     m an n er o n h ead , c h e st and b ac k a
*     *      *      *      *
                                                       *       *        *           *           *
  5.     Dogs are allow ed fix' hunting squirrels,                                                                 m inim u m o f 4 0 0 sq u are in c h e s o f so lid -
rabbits and racco o n o nly from the end o f the       M o o s e h o m N a tio n a l W ild life R efu g e          c o lo red h u n ter o rang e c lo th in g o r
last refuge gun d eer hunt to the end o f small        *      *       *     *       *                              m aterial.
game season.                                                                                                       *       *   *      *     *
                                                           C . B ig G am e H u n tin g . * * *
  C. Big C am e H u n tin g . Hunting o f w hite­
                                                           2.      H u n te rs d u rin g fire a rm s b ig gam e season 1 2 . S e ctio n 3 2 .4 0 M as s ach u s e tts is
tailed deer is permitted o n designated areas
of the refuge subject to the follow ing                m u s t w e a r in a co n sp icu o u s m a n n e r o n h e ad , am e n d e d b y re m o v in g p arag rap h A .1 .
                                                       ch est an d b ack a m in im u m o f 4 0 0 square                an d re d e sig n atin g p arag rap h A .2 . as
conditions:
  1. Either-sex deer hunting w ith firearms is         in c h es o f s o lid -c o lo re d h u n te r orange            p arag rap h A . I . , an d re m o v in g p arag rap h
permitted iMfing the seco nd consecutive               c lo th in g or, m a te ria l.                                  B . 3 . o f O xb o w N atio n al W ild l if e R ef uge;
                                                       *           *            *           *           *
Saturday and Sund ay and fourth co nsecutive                                                                       b y re m o v in g p arag rap h s A .2 . an d A .5 .
Friday and Saturday in November only.                                                                              an d re d e sig n atin g p arag rap h s A .3 . an d
  2. Feral hogs, coyo tes, and beaver may be           R a c h e l C arso n N a tio n a l W ild life R efu g e
                                                       *       *      *     *       *                              A .4 . as p arag rap h s A .2 . an d A .3 ., and
taken during all refuge hunts.                                                                                     re m o v in g p arag rap h C .7 . an d
  3. Only still hunting is permitted.                      B . U p lan d G am e H u n tin g . * • *
                                                                                                                   re d esig n atin g p arag rap h C .8 . as
  4. Deer stands may no t be left unattended.             1 . H u n te rs d u rin g f irearm s b ig g am e
  5. All deer must be checked at a designated                                                                     p arag rap h C .7 . o f Park e r R iv er N atio n al
                                                       se aso n m u st w e ar in a co n s p icu o u s
check station.                                ■                                                                   W il d l if e R ef uge.
                                                       m an n e r o n h e ad , ch e s t an d b ack a
*        *     .*        *       *                                                                                    1 3 . S e ctio n 3 2 .4 2 M in n e so ta is
                                                       m in im u m o f 4 0 0 sq u are in ch e s o f so l id -     am e n d e d b y re v is in g p arag rap h s A . an d
Delta N ational W ild life                             co l o re d h u n te r o ran g e cl o th in g o r          C . o f th e M in n e s o ta V alle y N atio n al
    A . H u n tin g o f M ig rato ry C am e B ird s.
                                                       m ate rial.                                                W il d l if e R efu ge; an d b y ad d in g a n ew
Hunting o f migratory game birds is permitted              C. B ig G am e H u n tin g . * * *
                                                                                                                  p arag rap h C .4 . to R ice Lak e N atio n al
on designated areas o f the refuge subject to             1. H u n te rs d u rin g f ire arm s b ig g am e        W il d l if e R ef ug e to re ad as f o llo w s:
the following co nd itio n: Permits are required.      se aso n m u st w e ar in a co n s p icu o u s
  B. U plan d G am e H u n tin g . Hunting o f         m an n e r o n h e ad , ch e s t an d b ack a              $32.42          M inneso ta.
rabbit is permitted o n designated areas o f the       m in im u m o f 4 0 0 sq u are in ch e s o f so lid -      *    *           *    *      *
refuge subject to the follo w ing co nd itio n:
                                                       co l o re d h u n te r o ran g e cl o th in g o r
Permits are required.                                                                                              M innesota V alley N atio nal W ild life Refuge
                                                       m aterial.
  C. Big C am e H u n tin g . Hunting o f w hite-
                                                       *       *            *           *           *                  A.       H u n tin g o f M ig rato ry G am e B ird s.
tailed deer is permitted o n designated areas                                                                     Hunting o f geese, ducks, and coots is
of the refuge subject to the follow ing                                                                           permitted on designated areas o f the refuge.
condition: Permits are required.                       S u n k h a z e M e a d o w s N a tio n a l W ild life
* . •*        *      *        *                        R efu g e                                                   *        *        *       *       *


                                                       *       *            *           *           *                  C . B ig G am e H u n tin g . Hunting o f w hite­
Upper O uachita N atio nal W ild life Refuge               C . B ig G am e H u n tin g . * * *                    tailed deer is permitted o n designated areas
*    *     *     *       *                                1 . H u n te rs d u rin g f irearm s b ig g am e
                                                                                                                  o f the refuge subject to the follow ing
         U plan d G am e H u n tin g . *   * *                                                                    co nd itio ns:
    B.                                                 se aso n m u st w e ar in a co n s p icu o u s
*        *      *       *        *                                                                                   1. A rchery hunting is permitted.
                                                       m an n e r o n h e ad , ch e s t an d b ack a                 2. A ll stands must be removed from the
  2; Feral hogs,coyo tes and beaver may be             m in im u m o f 4 0 0 sq u are in ch e s o f so l id -     refuge at the end o f each day’s hu nt
taken during all refuge hunts.                         co l o re d h u n te r o ran g e cl o th in g o r             3. Permits are required to participate in the
      *      *     *     ■*                            m ate rial .                                               shotgun A lternative Deer Control Program.
  4.      Nontoxic shot is required w hile hunting *        *         *      *        *                           *      *     *    *    *
upland game species.
                                                       1 1 . S e ctio n 3 2 .3 9 M ary lan d is                   Rica Lake N atio nal W ild life Refuge
  KkP0®8 818 a^OW0d for hunting squirrels,
rabbits and raccoon o nly from the end o f the     am e n d e d b y rev is in g p arag rap h C .4 . for           *    *    *     *    *
“ St refuge gun deer hunt to the end o f small     B l ack w ate r N atio n al W ild lif e R ef uge;
                                                                                                                       C. B ig G am e H u n tin g . * * *
Ssme season.                                       an d b y rev is in g p arag rap h C .5 . f or                  *       *      *    *       *
. j ‘ 8 G am e H u n tin g . Hunting o f w hite­   Easte rn N eck N atio n al W ild lif e R ef uge
  ned deer is permitted o n designated areas                                                                         4. Hunting o f deer on the Rice Lake Unit
                                                   to re ad as f o llo w s :
0 the refuge subject to the follow ing                                                                            is by firearm o nly; hunting on the Sandstone
conditions:                                        $ 3 2 .3 9 M aryland.                                          Unit is by firearm and archery.
   1. Either-sex deer hunting w ith firearms is    *        *         *      *        *
                                                                                                                  *         *        *       *       *
Pwmitted during the seco nd co nsecutive                                                                            1 4 . S e ctio n 3 2 .4 5 M o n tan a is
Prl7 day and Sunday and fourth consecutive         B la c k w a te r N a tio n a l W ild life R efuge             am e n d e d b y re m o v in g p arag rap h A .3 .
    flay and Saturday in November only.            *        *         *      *        *                           an d b y re v is in g p arag rap h B. f o r Ben to n
     ' j1*! bogs, co yo tes, and beaver may be
                                                       C. B ig G am e H u n tin g . * * *                         Lak e N atio n al W ild lif e R ef uge to read as
token during all refuge hunts.
                                                   *       *      *       *       *                               f o llo w s :
     •firearms must be unloaded w hile being
      «Ported in a vehicle o r b o at                  4.       H u n te rs d u rin g f irearm s b ig g am e
                                                                                                                  $32.45          M ontana.
   5 tv*/        bunting is permitted.             s e as o n m u st w e ar in a co n s p icu o u s               *    *           *    *   *
     •beer stands may no t o e left unattended.    m an n e r o n h e ad , ch e s t an d b ack a
                                                       m in im u m o f 4 0 0 sq u are in ch e s o f so lid -      Bento n Lake N atio nal W ild life Refuge




                                                                                                                                             EX. 8 pg. 006


                                                                                                                                                           App. 0108
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                                                                   chest and back a minimum o f 400 square                      subject to the follow ing condition: Permits
        B. Upland Game Hunting. Hunting o f                        inches o f solid-colored hunter orange                       are required.
   upland game bird s is permitted on                              clo thing o r material.                                         G B ig G am e H u n tin g . Hunting of white­
   designated areas o f the refuge subject to the                  *          *            *        *        *                  tailed deer is perm itted on designated areas
   follow hig co nditio ns:                                                                                                     o f the refuge subject to the following
                                                                      16. Section 32.51 N ew York is                            condition; Perm its are required.
      1. Hunters shall po ssess and use o nly no » -
   to xic sho t w hile in the field.
                                                                   amended by rem oving paragraph A .4.                         *      *    *    *       *
      2. Hunting is p ermitted beginning on the                    and redesignating paragraphs A .5.
                                                                                                                                    1 8 . S e ctio n 3 2 .5 8 Oregon i s am ended
   opening day o f Montana w aterfow l hunting                     through A .8. as paragraphs A .4. through
                                                                                                                                b y re v is in g p arag rap h s A . l . an d B. for
   season and is clo sed at the end o f the hunting                A .7., by adding a new paragraph B .3.,
                                                                                                                                L o w e r K l am ath N atio n al W ild life
   day o f November 30.                                            and by revising paragraph C .1.f o r
   *      *     *     *     *                                                                                                   R ef u ge to re ad as f o llo w s:
                                                                   Iroquois N ational W ildlife Refuge; and
      15.        Section 3 2 . 4 9 N ew Jersey is                  by revising paragraph B., by removing                        $32.56         Oregon.
   amended b y rem oving paragraphs A . I .,                       paragraph C.1. and redesignating                             •        •         *       *         *

   A .3 ., A .4 . and A .7 . and redesignating                     paragraphs C.2. and C.3. as paragraphs
                                                                                                                                Low er K lam ath N a tio n a l W ild life Refuge
   paragraphs A .2 ., A .5 . and A .6 . as                         C l . and C .2., and revising the new ly
   paragraphs A . f ., A .2 ., and A .3 .,                         designated C 2 . of M ontezuma N ational                         A . H u n tin g o f M ig rato ry G o n e B irds. * * *
   respectively, by adding new paragraphs                          W ildlife Refuge to read as follow s;                          1. O nly unloaded firearms m ayb e carried
                                                                                                                                on hunter access routes open to m otor
   A . 4 . , A .5 . and A .0 ., and revising
                                                                   $ 3 2.51           New York.                                 vehicles o r w hen taken through posted
   paragraph C .3. for Edw in B. Forsythe
                                                                   *          *            *        *        *                  retrieving zones w hen traveling to and from
   N ational W ildlife Refuge; b y revising                                                                                     the hunting areas.
   paragraph C .3. and removing paragraph                          Iro q u o is N a tio n a l W ild life R efu g e              *        *         *       '   *     *

   C .4 . for G reat Sw am p N ational W ildlife                   *       *      *      *      *                                   B . U p lan d G am e H u n tin g Hunting of
   Refuge; mid by revising paragraph C .4 .                            B . U p lan d G am e H u n tin g . *            * *
                                                                                                                    pheasant is perm itted on designated areas of
   for Supawna M eadow s to read as                                * .,.* .                #       .* .-.* ?        the refuge subject to d ie following condition:
   follow s:                                                         3.     Hunters during firearms big. game seasonO nly unloaded firearms may b e carried on
   $ 3 2 .4 9        New Je rse y.                                 must w ear in a co nspicuo us maimer o n head, hunter access routes open to m otor vehicles
                                                                   chest and back a minimum o f 400 square          or w hen taken through posted retrieving
   *       *          *   *      *                                                                                  zones w hen traveling to and from the hunting
                                                                   inches o f so lid -colored hunter orange
                                                                   clo thing o r material.                          areas.
   E d w in B . F o rs y th « N a tio n a l W ild life R efu g e
                                                                   *          *        *       *         *                      *        *             *       *         •
        A.           Hunting o f Migratory Game Birds.* * *                                                                       1 9 . S e ctio n 3 2 .5 7 Pen n sy l v an ia is
    *        *         *       *       *                               C . B ig G am e H u n t in g *            * *
                                                                   *              *   *              *       *                  am e n d e d b y rem o v in g p arag rap h A .Z.
      4. Hunters may no t use o r po ssess more                                                                                 an d re d e sig n atin g p arag rap h A . 3 as A .2.,
   than 25 shells per day in Hunting A reas A ,                       1. Hunters during firearms big game season
                                                                   must w ear in a conspicuo us manner o n bead,                an d b y re v is in g p arag rap h s C
   B, and C in the Barnegat Division and to
   Hunting Unit 1 in the Brigantine Division.                      chest and back a minimum o f 400 square                      in tro d u cto ry te x t an d C .1 . f or Erie
      5. In Hunting A rea B o f the Barnegat                       inches o f so lid-colored hunter orange                      N atio n al W ild l if e R ef uge to read as
   Divisio n, hunting is restricted to designated                  clo thing o r material.                                      f o llo w s:
   sites, w ith each site Hmitod to o ne party o f                 *     *     *     *     *
   hunters. A minimum 0f six d ecoys per site                                                                                   § 3287         Pennsy lv ania.
   is required.                                                    M o n te z u m a N a tio n a l W ild life R efu g e          *        *     .       *       *         *
      6. No sites o r areas may be occupied befo re                * " .* ' *               *       *
                                                                                                                                E rie N a tio n a l W ild life R efuge
   4:00 a.m. A ccess is by bo at o nly.                              B . U p lan d G am e H u n tin g . Hunting o f
                                                                                                                                *      *         *       *       *
    *            *         *       *       *                       upland game is permitted on designated
                                                                   areas o f the refuge.                                          G B ig G am e H u n tin g . Hunting of deer and
        C. Big Game Hunting. * * *
                                                                   *     *      *     *    *                                    turkey is perm itted on designated areas of the
    *        *         *       *       *
                                                                                                                                refuge subject to th e follow ing conditions:
      3. Hunters during Firearms big game season                       C. B ig G am e H u n tin g . * * *
                                                                                                                                  1. The refuge is open to turkey hunting
    must w ear in a co nspicuo us m anner on head,                 *      *                *        *        *
                                                                                                                                during the State spring turkey season.
    chest and back a minimum o f 400 square                           2. Hunters during firearms big game season                *     *    *     *      *
    inches o f so lid-co lo red hunter orange                      must w ear in « co nspicuo us manner on head ,
                                                                                                                                  2 0 . S e ctio n 3 2 .8 0 S o u th C arolina is
    clothing o r material.                                         chest and back a minimum o f 400 square
    *     *     *     *       *                                                                                                 am e n d e d fay re v is in g p arag rap h A . for
                                                                   inches o f solid-colored hunter orange
                                                                   clo thing o r material.                                      C ap e R o m ain N atio n al W ild l if e Refuge
    Great S w a m p N a tio n a l W ild life R efu g e             *          *            *        *        *                  to re ad as f o ll o w s:
    *    *      *    *       *
                                                                     17. Section 32.52 N orth Carolina is                       § 3280         So u th Carolina.
        G Big Game Hunting * # *
                                                                   am ended by revising paragraphs A ., B.,                     *    *          *     *    *
    *     *    *   *    *
                                                                   and C. of A lligator River N ational
       3. Hunters during, firearms big game season                                                                              Cape Ro main National W ildlife Refuge
                                                                   W ildlife Refuge to read as follow s:
    must w ear in a co nspicuo us m anner o n head,                                                                                 A.       H u n tin g o f M ig ratory G am e B irds.
    chest and back a minimum o f 400 square                        $ 3 2 .5 2         N orth Ca rolina .                        H u n tin g of rails is permitted on designated
    inches o f so lid-co lo red hunter orange                      *          *            *        *        *                  areas o f the refuge subject to the following
    clo thing o r material.                                                                                                     condition: Perm its are required.
    *       *      *       *     *                                 A llig a to r Riv er N atio nal W ikfiife Refuge             *    *      *     *    *
    S ap a w a n e M e a d o w s N a tio n a l W ild life              A . H u n tin g o f M ig rato ry G am e B ird s.              2 1 . S e ctio n 3 2 .6 3 T e xas is am end ed
    R efa g e                                                      Hunting o f sw ans, geese, chicks, co o ts, snipe,           b y re v is in g p arag rap h s C .4 . an d C .7.
    *      *      *      *      *                                  mourning doves and w oodcock is permitted                    A ran s as N atio n al W il d l if e Ref uge; by
                                                                   on designated areas o f the refuge subject to
      C Big Game Hunting. * * *                                                                                                 ad d in g p arag rap h A 3 , to Brazo ria
                                                                   the follow ing co nd ition: Permits are required.
    *   *    *   *    *                                                                                                         N atio n al W ild lif e Ref uge; b y revising
                                                                      B . U p lan d G am e H u n tin g Hunting o f
                                                                   squirrel, rabbit, quail, racco o n mid opossum               p arag rap h A . l . , rem o v in g p aragrap h
     4. Hunters during firearms big game season
    must w ear h i « co nsp icuo us manner o n head .              is permitted cm designated areas o f the refuge              A .2 ., an d re d esig n atin g p arag rap hs A .3.




                                                                                                                                             EX. 8 pg. 007


                                                                                                                                                                   App. 0109
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end A .4. as A .2. and A .3. of San Bernard            p arag rap hs A . in tro d u c to ry te x t, A .I.,    chest and back a m in im u m o f 400 square
National W ildlife Refuge to read as                   A .4., A .5., and A .6., an d b y rev isin g           inches o f so lid-colored hunter orange
follows:                                               p arag rap h C .3. fo r C hin co teag u e              clo thing o r material.
                                                       N atio n al W ild life Refu g e; and b y               *     *     *     *     *
$32.63 Texas.
*    *   *    *                  *                     rev isin g p arag rap h C .4. fo r G reat D ism al
                                                                                                                24. Section 32.67 W ashington is
                                                       Sw am p N atio nal W ild life Refu g e to read
Aransas N ational W ildlife Refuge                     as fo llo w s:                                        am ended by revising paragraph A . for
*   *        *    *     *                                                                                    Conboy Lake N ational W ildlife Refuge
                                                       $32.66        Virginia.                               to read as follow s:
    C. B ig G am e H u n tin g . *       * *
                                                       *    *         *    *            *
*      *        *       *        *
                                                                                                             $32.67         W ashingto n
  4.   Archery hunting is permitted in October Back Bay N ational W ildlife Refuge                           *    *          *    *    *
on specified days listed In the refuge hunt    *    *    *    *     *
brochure.                                        C. B ig Game H u n tin g . * * *                            Conboy Lake N atio nal W ild life Range
*        *           *       *       *                 *         *          *   .   *        *
                                                                                                                 A. Hunting o f Migratory Game Birds.
  7.    Firearms hunting is permitted in                  5.    Hunters during firearms big game seasonHunting o f doves, geese, co o ts, and common
November on specified days listed in the               must w ear in a co nspicuo us manner o n head, snip e is permitted o n designated areas o f the
refuge hunt brochure.                                  chest and back a m in im u m o f 400 square
*        *           *       *       *
                                                                                                       refuge.
                                                       inches o f solid-colored hunter orange
                                                                                                       *    *      *      *     *
                                                       clo thing o r material.
Brazoria N atio nal W ild life Refuge                  *     *     *    *      *                          25. Section 32.69 W isconsin is
    A.       Hunting o f Migratory Game Birds. * * *
*        *       *       *           *                 Chincoteague N ational W ildlife Kufti y              am ended by revising paragraph A .2. for
                                                                                                             H oricon N ational W ildlife Refuge; and
   3.    Permits are required to hunt o n certain   A . H u n tin g o f M ig rato ry G am e B ird s.
                                                  Hunting o f w aterfow l and rails is permitted             by revising paragraph C. of the
portions o f the hunting area.
 *     *      *     *     *                       on designated areas o f the refuge subject to              Trem pealeau N ational W ildlifB Refuge
                                                  the follow ing conditions:                                 to read as follow s;
San Bernard N atio nal W ild life Refuge             1. W ritten permission is required to hunt
                                                                                                             $32£9         W isco nsin.
   A. Hunting o f Migratory Game Birtfs. * * * o n the nonguided public hunting areas.
                                                  *     *      *      *      *                               *       *           *       *          *
   1. Permits are required to hunt o n certain
portions o f the hunting area.                      4. Permanent blind s are permitted in
*      *     *    *    *                          compartments 1-4 in W ildcat Marsh.                        H o rico n N atio nal W ild life
                                                    5. Hunting parties are limited to a                          A. Hunting o f Migratory Game Birds.* * *
   22.     Section 32.65 V erm ont is             maximum o f 4 hunters.
amended by rem oving paragraph A . 7.                                                                        *       *       *       *          *
                                                    6. Public hunting is permitted o nly on
and by revising paragraph C .2. for               Thursday, Fridays, and Saturdays during the                   2. Only participants in the Young W ild-
Missisquoi N ational W ildlife Refuge to          State w aterfow l and during the entire State              fow lers and Sp ecial Programs are permitted
read as follows:                                  rail season.                                               to hu nt
                                                       *        *       *           *       *                *     *    *     *    *
$32.65 Vermont
                                                           c. B ig G am e H u n t in g * * *
*    *   *  *                    *                                                                           Trem p ealeau N atio nal W ild life Refuge
                                                       *        *       *           *       *
                                                                                                             *    *     *   *      *
Missisquoi N atio nal W ild life Refuge                   3. Hunters during firearms big game season
*   *      *       *     *                             must w ear in a co nspicuo us m a n n e r on head,       C Big Game Hunting. Hunting o f w hite-
    C. Big Game Hunting. * * *                         Chest and back a m in im u m o f 4 0 0 square         tailed deer is permittted o n designated areas
*        *      *        *           *
                                                       inches o f solid-colored hunter orange                o f the Refuge subject to the follow ing
                                                       clo thing o r material.                               co nd ition: Permits are required.
  2. Hunters during firearms big game season           *     *     *    *      *                             *      *    *    *     *
must wear in a conspicuo us manner o n head,
mest and back a m in im u m o f 400 square             G reat D ism al Sw am p N ational W ild life              Dated: September 24,1992.
inches o f so lid-co lo red hunter orange              Refuge                                                Richard N. Sm ith,
clothing or material.                                  *        *       *           *       *
                                                                                                             Acting Director, U.S. Fish and W ildlife
                                                                        * *
                                                           C . B ig G am e H u n tin g . *                   Service.
  23.    Section 32.66 V irginia is am ended *    *    *    *     *
                                                                                                             [FR Doc. 92-29030 Filed 12-10-92; 8:45 am]
by revising paragraph C .5. for Back Bay       4. Hunters during firearms big game season                    M ULJN Q C O D E 4 3 1 0 - M - M
National W ildlife Refuge; by revising      must w ear in a co nspicuo us manner o n head,




                                                                                                                                         EX. 8 pg. 008


                                                                                                                                                        App. 0110
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                                                            EX. 8 pg. 009


                                                                  App. 0111
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                                        Friday
                                        Decem ber 11, 1992




                                         Part VI I


                                         Department of the
                                         Interior
                                         Bureau of I ndian Affairs

                                         Stockbridge-M unsee Alcohol Beverage
                                         Control Law: Notice




                                                                EX. 8 pg. 010


                                                                       App. 0112
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  58938                            Fed eral R eg ister / V ol. 5 7 , N o. 2 3 9 / Frid ay , D ecem b er 1 1 , 1 9 9 2 / N o tices


  D EPARTM EN T O F TH E I NTERI OR                                W hereas, T h e T rib al C o u n cil o f th e              s u ch is s u an ce is in th e in tere st o f the
                                                                S to ck b rid g e - M u n se e C o m m u n ity o f            C o m m u n ity .
  Bureau of I ndian Affa irs                                    W is co n s in h as th e au th o rity to ad o p t                E. L ice n s e s f o r th e sal e o f alco ho l
                                                                o rd in an ce s re g u latin g liq u o r in th e              b e v e rag e s is s u e d b y th e T rib al Council
  Stockbrldge- M unsee Alcoh ol Beverage                        In d ian C o u n try th at l ies w ith in th e                sh al l co n tain th e f o llo w in g
  Control Law                                                   j u ris d ictio n o f th e C o m m u n ity , b y v irtu e     re q u ire m e n ts :
                                                                o f th e p ro v isio n s o f A rticl e V H , s e ctio n s         f l ) E a ch l ice n s e sh al l req u ire its
  December 4,1992.
                                                                1 (a), (e) an d (h) o f th e C o n s titu tio n o f           h o l d e r to co n f o rm its o p eratio n s to the
  AGENCY: Bureau of Indian A ffairs,
                                                                th e S to ck b rid g e - M u n see C o m m u n ity o f        l aw s o f th e C o m m u n ity , th e S tate of
  Interior.                                                                                                                   W is co n s in an d th e U n ite d S tates of
                                                                W is co n s in , ad o p te d O cto b e r 3 0 , 1 9 3 7 ;
  ACT90N: N o tice .                                               N ow therefore be it resolv ed, T h at th e                A m e rica;
                                                                T rib al C o u n cil o f th e S to ck b rid g e-                  (2 ) N o l ice n s e sh al l b e ef f ectiv e for a
  SUMMARY: T h is N o tice is p u b lish e d in                                                                               te rm o f m o re th an o n e y e ar from the
                                                                M u n se e C o m m u n ity o f W is co n s in
  acco rd an ce w ith au th o rity d ele g ated b y                                                                           d ate o f its is s u an ce , an d e ach renew al
                                                                au th o riz e s th e is s u an ce o f l ice n s e s f or
  th e S e cre tary o f th e In te rio r to th e                                                                              th e re o f s h al l b e su b j ect to th e sam e
                                                                o n - p re m ise s sale o f al co h o l b ev e rag e s
  A s s is tan t S e cre tary — In d ian A f f airs b y                                                                       p ro ce d u re s th at ap p l y to th e initial
                                                                w ith in th e In d ian C o u n try th at l ie s
  2 0 9 D M 8 , an d in a cco rd an ce w ith th e                                                                             is s u an ce o f a l ice n se .
                                                                w ith in th e j u ris d ictio n o f th e
  A ct o f A u g u st 1 5 , 1 9 5 3 , 6 7 S tat. 5 8 6 , 1 8                                                                      (3 ) E ach l ice n s e sh al l e xp licitly state
                                                                C o m m u n ity , p ro v id e d :
  U .S .C . 1 1 6 1 . T h is N o tice ce rtif ie s th at                                                                      th at its co n tin u e d v alid ity is dependent
  R eso lu tio n N o . 1 3 1 7 , th e S to ck b rid g e -       1. Licenses                                                   u p o n th e co m p l ian ce o f its h o ld er with
  M u n se e Liq u o r O rd in an ce w as d u ly                   A . L ice n s e s f o r th e sal e o f al co h o l         al l th e p ro v isio n s o f th is O rd in an ce and
  ad o p te d b y th e S to ck b rid g e - M u n se e           b ev erag es m ay b e is s u e d o n l y f o r th e           o th e r ap p licab l e law .
  C o u n cil o n M ay 2 2 , 1 9 9 2 . T h e                    sal e o f s u ch b ev e rag e s w ith in b u ild in g s          (4 ) N o l ice n s e e m ay g iv e aw ay or sell
  o rd in an ce p ro v id e s f o r th e re g u latio n o f     u s e d f o r cas in o s an d re s tau ran t- b ar            al co h o l b ev erag es at a loss.
  th e activ itie s o f th e m an u f actu re ,                 o p e ratio n s o w n e d an d reg u late d b y th e             F. T h e T rib al C o u n cil o f th e
  d is trib u tio n , sal e an d co n s u m p tio n o f         S to ck b rid g e - M u n se e C o m m u n ity .              C o m m u n ity sh al l h av e th e au th ority to
  l iq u o r in th e are a o f In d ian C o u n try                 B. A n y re s tau ran t- b ar o p e ratio n m u st        su s p e n d o r re v o k e an y licen se issued
  u n d e r th e j u ris d ictio n o f th e                     p ro d u ce m o re th an 5 0 % o f its g ro ss                u n d e r th is O rd in an ce , u n d er the
  S to ck b rid g e - M u n se e T rib e , W is co n s in .     sal e s f ro m f o o d s e rv ice in o rd e r to b e          f o llo w in g p ro ce d u re s:
  DATES: T h is O rd in an ce is ef f e ctiv e as o f           l ice n s e d af ter th e f irst y e ar o f o p e ratio n .       (1 ) U p o n re ce iv in g in f orm atio n
  D e ce m b e r 1 1 , 1 9 9 2 .                                    C . L ice n s e s is s u e d to b u sin e ss e s          su g g es tin g th at th e h o l d e r o f a license
                                                                o w n e d b y th e S to ck b rid g e - M u n see              u n d e r th is O rd in an ce m ay h av e violated
  FOR FURTHER I NFORMATI ON CONTACT:
                                                                C o m m u n ity f o r th e sale o f al co h o l               th e te rm s o f th e l ice n se o r ap p licab le
  C h ief , B ran ch o f Ju d icial S e rv ice s ,
                                                                b ev erag e s sh al l b e iss u e d b y th e T rib al         l aw , th e T rib al C o u n cil sh all g ive the
  D iv isio n o f T rib al G o v e rn m e n t S e rv ice s ,
                                                                C o u n cil o f th e C o m m u n ity , u p o n th e           l ice n s e h o l d e r w ritten n o tice that the
  1 8 4 9 C S tre e t, N W ., M S 2 6 1 1 - M I B ,
                                                                re ce ip t b y th e T rib al C o u n cil o f a p ro p e r     T rib al C o u n cil in te n d s to su sp end or
  W ash in g to n , D C 2 0 2 4 0 ; te l e p h o n e (2 0 2 )
                                                                ap p l icatio n co n tain in g th e f o llo w in g            re v o k e th e h o l d e r’s l icen se . S u ch notice
  208-4400.
                                                                in f o rm atio n :                                            sh al l b e sen t b y certif ied m ail, return
  SUPPLEMENTARY I NFORMATI ON: T h e                               (1 ) T h e n am e o f th e e n tity th at                  re ce ip t req u ested , to th e agent o f the
  S to ck b rid g e - M u n se e L iq u o r O rd in an ce       re g u late s th e C o m m u n ity b u sin e ss at            l ice n s e h o l d e r an d sh all sp ecif y the
  [N o . 1 3 1 7 ] is to re ad as f o llo w s:                  w h ich th e s al e o f al co h o l b ev e rag e s            g ro u n d s f or th e p ro p o se d suspension or

  Liquor Control O rdinance—                                    w o u l d tak e p l ace . S u ch e n tity s h al l b e        re v o catio n .
                                                                th e l ice n s e ap p l ican t. N o in d iv id u al o r          (2 ) A n y l ice n s e h o l d e r w h o receives a
  Stockbridge-M unsee Community of
                                                                p riv ate e n tity m ay ap p l y f o r o r re ce iv e         n o tice o f a p ro p o se d su sp en sio n or
  W isconsin
                                                                a l ice n s e u n d e r th is O rd in an ce .                 re v o catio n m ay re q u est a h earing by the
      W hereas, Pu b l ic L aw 2 7 7 , 8 3 rd                      (2 ) A co p y o f th e C o m m u n ity                     T rib al C o u n cil , b y sen d in g a w ritten
  C o n g ress , 1 s t S e ss io n , ap p ro v e d A u g u st   o rd in an ce o r re s o l u tio n u n d e r w h ich th e     re q u e st th eref o r, certif ie d m ail, return
  1 5 , 1 9 5 3 , an d co d if ie d a t s e ctio n 1 1 6 1      ap p l ican t e n tity is o rg an iz ed .                     re ce ip t req u ested , to th e C hairm an of
  o f title 1 8 , U n ite d S tate s C o d e, p ro v id e s       (3 ) A d e s crip tio n o f th e l an d o r                 th e S to ck b rid g e - M u n see C om m unity, at
  th at s e ctio n s 1 1 5 4 , 1 1 5 6 , 3 1 1 3 , 3 4 8 8 ,    b u il d in g o w n e d b y th e C o m m u n ity an d         th e C o m m u n ity ’s T rib al C enter, w itnin
  3 6 1 8 o f T itl e 1 8 o f th e U n ite d S tates            re g u late d b y th e ap p l ican t e n tity at              se v e n (7 ) d ay s o f th e licen se h old er’s
  C o d e sh al l n o t ap p l y w ith in an y are a            w h ich th e ap p l ican t e n tity w is h e s to se l l      re ce ip t o f th e n o tice .
  th at is n o t In d ian C o u n try , n o r to an y           al co h o l b ev erag es.                                        (3 ) U p o n re ce ip t o f th e req u est for a
  a ct o r tran s actio n w ith in an y are a o f                  (4 ) A s tate m e n t th at th e ap p l ican t             h e arin g u n d e r th is O rd in an ce , the Tribal
  In d ian C o u n try , p ro v id e d s u ch a ct o r          e n tity w il l co n f o rm to all re q u ire m e n ts        C o u n cil sh al l se t a d ate f or a hearing,
  tran s actio n is in co n f o rm ity b o th w ith             o f ap p l icab l e T rib al , S tate an d Fe d e ral         w h ich sh al l b e n o l ate r th an thirty days
  th e l aw s o f th e S tate in w h ich s u ch act             l aw , as th e y re l ate to th e p u rch as e an d           f ro m th e re ce ip t o f th e h earin g request.
  o r tran s actio n o ccu rs an d w ith an                     sal e o f al co h o l b ev erag es.                               (4 ) A t a h earin g h e ld u n d er this
  o rd in an ce d u l y ad o p te d b y th e trib e               D . U p o n re ce ip t o f a p ro p e r                     O rd in an ce , th e h o l d e r o f a license under
  h av in g j u ris d ictio n o v e r s u ch are a o f          ap p l icatio n u n d e r th is O rd in an ce ,               th is O rd in an ce sh all b e p erm itted to
   In d ian C o u n try , ce rtif ie d b y th e                 l ice n s e s f o r th e sal e o f al co h o l b ev erag es   p re se n t e v id e n ce w ith re sp e ct to the
   S e cre tary o f th e In te rio r, an d p u b lish e d       m ay b e iss u e d b y th e T rib al C o u n cil o f          h o l d e r’s co m p l ian ce w ith th e term s of
  Jn th e Federal Register.                                     th e C o m m u n ity to a T rib al cas in o o r               its l ice n s e an d ap p licab le law . In
     W hereas, It is the desire of the Tribal                   re stau ran t- b ar o f th e C o m m u n ity i f th e         re ach in g its d e cis io n , th e T rib al Council
  Council of the Stockbridge-M unsee                            T rib al C o u n cil f in d s , in its so u n d               m ay co n s id e r su ch e v id en ce , together
  Community of W isconsin to adopt a                            d is cre tio n , o n th e b asis o f th e f acts              w ith al l o th e r e v id e n ce it d eem s
  liquor control ordinance in the Indian                        d is cl o s e d b y th e ap p l icatio n an d b y             re l e v an t. Fo l lo w in g a h earing , if in fne
  Country that lies w ithin the jurisdiction                    s u ch ad d itio n al in f o rm atio n as th e                ju d g m en t o f th e T rib al C ou n cil the
  of the com m unity; and                                       T rib al C o u n cil m ay d eem re l e v an t, th at          l ice n s e h o l d e r h as n o t co m p lied w ith




                                                                                                                                            EX. 8 pg. 011


                                                                                                                                                          App. 0113
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  the term s o f its l ice n s e an d ap p licab l e           6. State Law A pplicable                                                     125.04(1) ........    G eneral lic ensin g req uirem ent
  law , th e T rib al C o u n cil sh al l s u s p e n d o r                                                                                                           No p erso n m ay sell, m anufac­
  revoke its l ice n s e ; an d i f in th e                        T h e S to ck b rid g e - M u n see C o m m u n ity                                                ture, rec tify, o r brew any alco ­
                                                                                                                                                                      ho lic beverage, o r engage in
  judgm ent o f th e T rib al C o u n cil th e                 re co g n iz e s th e ap p licab ility o f g en eral
                                                                                                                                                                      any o ther activ ity fo r w hich
  term s o f th e l ice n s e an d ap p licab l e law          S tate L aw g o v ern in g th e sal e s o f al co h o l                                                this o rd inance p ro vid es a li­
  have b een co m p l ie d w ith , th e                        b ev erag es.                                                                                          cense w itho ut ho ld ing the ap­
  p ro ceed ing s s h al l b e d is m iss e d . In                                                                                                                    p ro p riate license.
                                                               7 . S tate L aw A d o p te d                                                 125.04(2) ........ No lic ense to be issued in v io la­
  either cas e , th e d e cis io n o f th e T rib al
                                                                                                                                                                      tio n o f this o rd inance. No li­
  C ouncil sh al l b e f in al.                                    T h e S to ck b rid g e- M u n see C o m m u n ity                                                 cen se m ay b e issued to any
     G.     T h e T rib al C o u n cil o f th e                                                                                                                       p erso n excep t as p ro vid ed in
                                                               h ereb y ad o p ts f or p u rp o s e s o f T rib al
  Sto ck b rid g e- M u n see C o m m u n ity m ay                                                                                                                    this o rd inance. A ny lic ense is­
                                                               e n f o rce m e n t ag ain st an y e n tity l ice n se d                                               su ed in v io latio n o f, this o rdi­
  reject an y ap p l icatio n f o r a l ice n s e , o r
                                                               b y th e T rib e u n d e r th is o rd in an ce th e                                                    nance is v o id .
  for a ren ew al o f a l ice n s e , u n d e r th is                                                                                       125.04(10) ..... License to be framed and po sted.
                                                               f o llo w in g p ro v isio n s, as m o d if ied , o f
  O rd inance, i f th e ap p l ican t p re v io u sl y                                                                                                            (a) Fram e. Licenses fo r the sale o f
                                                               ch ap te r 1 2 5 o f th e W is co n s in S tatu te s:
  has co m m itte d a cts w h ich h av e re s u l te d                                                                                                               alco ho l beverages shall be en­
  in the su sp e n s io n o r re v o catio n o f a             125.02 .............   D efinitio ns. Excep t as o therw ise                                          clo sed in fram e hav ing a trans­
                                                                                           p ro v ided , in this o rd inance.                                        p arent fro nt w hich allo w s the
  license u n d e r th is O rd in an ce .
                                                               125.02(1) ........     A lc o h o l       b ev erag es   m eans fer­                                  lic ense to be clearly read.
  2. A gent                                                                               m ented m alt bev erages, w ine                                         (b) D isp lay. Licenses shall be
                                                                                          and into xicating liq uo r as d e­                                         co nsp icu o u sly d isp layed for
    A ny T rib ally o w n e d e n tity l ice n s e d                                      fined belo w .                                                             p u blic insp ectio n at all tim es
 under th is O rd in an ce sh al l ap p o in t,               125.02(6) ........      F e r m e n t e d m a lt b e v e r a g e m eans                                in the ro o m o r p lace w here the
                                                                                          any beverage m ad e by the alco ­                                          sale o f alco ho l beverages is car­
 subject to th e ap p ro v al an d co n f irm atio n                                                                                                                 ried o n.
                                                                                          ho l ferm entatio n o f an infusio n
 of the T rib al C o u n cil , an ag en t w h o                                                                                            125.07 ............. Und erage and into xicated per­
                                                               '                          in p o table w ater o f barley, m alt
 shall hav e f ull au th o rity an d co n tro l o f                                       and ho p s, w ith o r w itho ut                                           so na; p resence o n licensed
 the p rem ises an d o f th e co n d u ct o f al l                                        unm alted grains o r d eco rticated                                       p rem ises; p o ssessio n; p enalties.
                                                                                          and d egerminated grains or                                            (a) A lco ho l bev erages; Restric­
 business o n th e p re m ise s re l ativ e to
                                                                                          sugar co ntaining 0.5% o r m o re                                         tio ns relating to und erage per­
 alco ho l b ev erag es. T h is p e rs o n sh all                                                                                                                   so ns.
                                                                                          alcbo l by v o lume.
 also be th e p e rso n d e sig n ate d b y W i s .           125.02(8) ........      I n t o x ic a t in g liq u o r m eans all ar­                             1. No p erso n m ay p ro cure for,
 Stats. § 1 2 5 .0 4 (6 ) re q u irin g th e                                              d ent, sp irituo us, d istilled o r v i­                                  sell, d isp ense o r giv e aw ay any
                                                                                                                                                                    alco ho l beverages to any und er­
 ap p o intm ent o f ag en ts.                                                            no us liquo rs, liq uid s o r co m ­
                                                                                          p o und s, w hether m ed icated ,                                         age p erso n no t acco m p anied by
  3. A u th o rity o f th e T rib al C o u n cil                                          p ro prietary, p atented o r no t,                                        his o r her p arent, guard ian or
                                                                                          and by w hatev er nam e called ,                                          sp o use w ho has attained the
    A. The Tribal Council, or any                                                         co ntaining 0.5% o r m o re o f al­                                       legal d rinking age.
 ind ivid ual member thereof or any                                                       co ho l by v o lum e, w hich are                                      2. No lic ensee m ay sell, vend,
                                                                                          beverages, but d o es no t inclu d e                                      d eal o r traffic in alco ho l bev ­
 person acting w ith prior w ritten                                                                                                                                 erages to o r w ith any underage
                                                                                          “ ferm ented m alt bev erages” .
 authorization of the Tribal Council may                                                                                                                            p erso n no t acco m p anied by his
                                                              125.02(22) ......       W in e m eans p ro d ucts o btained
 enter any prem ises licensed under this                                                  from the no rm al alco ho l fer­
                                                                                                                                                                    o r her p are n t guard ian o r
 o rdinance at any tim e to o b serv e the                                                                                                                          sp o use w ho has attained the
                                                                                          m entatio n o f the ju ic e o r m ust
                                                                                                                                                                    legal d rinking age.
 activities taking place.                                                                 o f so und , rip e grapes, o ther
                                                                                                                                                                3. No ad ult m ay kno w ingly per­
    B. W ritten au th o riz atio n m ay b e                                               fruits o r o ther agriculture p ro d ­
                                                                                                                                                                    m it o r fail to take actio n to pre­
                                                                                          ucts, im itatio n w ine, co m ­
 enacted at a cl o s e d se s sio n o f th e Trib al                                                                                                                v ent the illeg al co nsum p tio n o f
                                                                                          p o und s so ld as w ine, v er­
 Council an d re m ain co n f id e n tial u n til                                                                                                                   alco ho l bev erages by an und er­
                                                                                          m o uth, cid er, perry, m ead and
                                                                                                                                                                    age p erso n o n p rem ises und er
 any rep ort m ad e b y s u ch p e rs o n is                                              sake, if su ch p ro d ucts co ntain
                                                                                                                                                                    the ad ult’s co ntro l.
 before th e T rib al C o u n cil f o r actio n o r                                       0.5% o r m o re o f alco ho l by v o l­
                                                                                                                                                                4. No ad ult m ay intentio nally en­
                                                                                          ume.
 until su ch p e rs o n seek s to g ain acce s s to                                                                                                                 co urage o r co ntribute to a v io ­
                                                              125.02(8m )             L eg al   d r in k in g   ag e   m ean s     21
 the p rem ises o f an y T rib al ly l ice n se d                                                                                                                   latio n o f this sectio n.
                                                                                        y ears o f age.
                                                                                                                                           125.07(2) ........ (b) Sales o f alco ho l to into xicated
 facility d u rin g n o rm al cl o s e d h o u rs in          125.02(14) ......       Perso n m ean s           natu ral    p erso n,
                                                                                                                                                                   p erso ns.
 w hich case it sh al l b e p re se n te d to th e                                        so le p ro p rieto rship , p artner­
                                                                                                                                                                1. No p erso n m ay p ro cure for,
 manager o n d u ty at th e tim e , an d said                                             ship , co rp o ratio n o r asso cia­
                                                                                                                                                                   sell, d isp ense o r give aw ay al­
                                                                                          tio n.
 manager sh al l im m e d iate l y ad m it th e                                                                                                                    co ho l beverages to a perso n
                                                              125.02(14m ) ...        P r e m is e s    m eans the area de-                                        w ho is into xicated .
 person to th e p re m ise s.                                                            scribed in a lic ense issued by                                        2. No licensee m ay sell, vend ,
    C. Tribal Council members do not                                                     the Tribal Co uncil.                                                      d eal o r traffic in alco ho l bev­
 need such w ritten authorization and                         125.02(17) ......       R e g u la t io n m eans any ru le o r o r­                                  erages to o r w ith a p erso n w ho
 may enter any Tribally licensed facility                                                d inance ad o p ted by the Tribal                                         is into xicated .
                                                                                         Co uncil.
 at any time upon identifying them selves
                                                              125.02(20) ......       S e ll, s o ld , s a l e o r s e llin g m eans
 if such adm ission is sought during                                                     any transfer o f alco ho l bev ­
 normal closed hours.                                                                    erages w ith co nsid eratio n o r
                                                                                         any transfer w itho ut co nsid er­
 4. S ep arate L ice n se e f o r E a ch Fa ci l i ty                                    atio n if kno w ingly m ade for
                                                                                         p urp o ses o f evad ing the law re­
   Each Tribally owned entity licensed
                                                                                         lating to the sale o f alco ho l
 tf t? r       ® r^ n an c® s h al l b e req u ired                                      beverages             or   any       d ev ice,
  o file a se p arate ap p l icatio n an d h o l d                                       schem e o r transactio n for o b­
 a ^ Ps rate l ice n s e f o r e ach f acil ity it                                       taining alco ho l beverages, in­
 operates.                                                                               clud ing the so licitatio n o f o r­
                                                                                          d ers for, o r the sale o f future
 5* T ran s f e r o f L ice n s e s Pro h ib ite d                                       d eliv ery o f, alco ho l beverages.
                                                              125.02(20) ......       U n d e r a g e p e r s o n m eans a p erso n
   No license issued under this                                                          w ho has no t attained the legal
 Ordinance may be transferred to any                                                     d rinking age.
 other entity or person.




                                                                                                                                                                 EX. 8 pg. 012


                                                                                                                                                                              App. 0114
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  58940                           Fed eral R eg ister / V ol. 5 7 , N o. 2 3 9 / Frid ay , D ecem b er 1 1 , 1 9 9 2 / N otices

  125.085 ...........    A ny tribal entity selling alco ho l
                           bev erages sh all req uire the
                           p ro o f o f age sp ecified by this
                            sec tio n.
                         (a) D efinitio n. In this sectio n, “ o f­
                            fic ial     id entificatio n   card “
                            m eans a v alid o p erato r’ s li­
                            cen se issu ed und er chap ter 343
                            o f the W isco nsin Statutes that
                            co ntain s d ie p hoto grap h o f the
                            ho ld er, an id entificatio n card
                            issu ed und er sec tio n 343.50 o f
                            d ie W isco nsin Statu tes o r an
                            id entificatio n      card    issued
                            und er sectio n 125.08 o f the
                            W isco nsin Statu tes.
                         (b) Use. N o card o ther than the
                            id entificatio n card autho riz ed
                            und er this sec tio n m ay b e rec­
                            o gnized as an o ffic ial id enti-        ~
                            fic atio n card by the Trib e fo r                    *
                            p u rp o ses o f o btaining alco ho l
                            bev erages at any Trib ally li­
                            censed entity.

 8. Closing H ours
    Every entity licensed by the
 Stockbridge-M unsee Community shall
 observe the closing hours established by
 W isconsin Statutes governing Class B
 Retail State licenses. Failure to do so
 shall be the basis for the revocation of
 licenses issued by the Tribal Council.
 David ). M atheson,
 A c t in g A s s is t an t S e c r e t ar y — In d ian A ffair s .
 IFRJDoc. 02-30132 Filed 12-10-02; 8:45 am]
 BH.UNQ CODE 43KH U -M




                                                                                                                   EX. 8 pg. 013


                                                                                                                              App. 0115
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                                         Friday
                                         Decem ber 11, 1992




                                          Part VI I I


                                          Department of
                                          Health and Human
                                          Services_____________
                                          Food and Drug Adm inistration

                                          21 CFR Parts 314 and 601
                                          New Drug, Antibiotic, and Biological Drug
                                          Product Regulations; Accelerated
                                          Approval; Final Rule




                                                                 EX. 8 pg. 014


                                                                        App. 0116
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 58942          Fed eral R eg ister / V ol. 5 7 , N o. 239 / Frid ay , D ecem b er 11, 199 2 / Rules and Regulations


 D EPARTM EN T O F H EALTH AN D                                 ag e n cy w o u l d acce l e rate ap p ro v al o f               B. C riteria f o r A p p ro v al
 HUM AN SERVI CES                                               ce rtain n e w d ru g s an d b io l o g ical                        A cce l e rate d ap p ro v al w il l b e
                                                                p ro d u cts f or se rio u s o r l if e- th reaten in g          co n s id e re d in tw o situ atio n s : (1 ) W hen
 Food and Drug Adm inistration                                  ill n e ss e s, w ith p ro v isio n f o r re q u ire d           ap p ro v al can b e re l iab l y b ase d o n
                                                                co n tin u e d s tu d y o f th e d ru g s’ cl i n ical           e v id e n ce o f th e d ru g ’s e f f e ct o n a
 21 CFR Parts 314 and 601
                                                                b en ef its af te r ap p ro v al o r f o r re s trictio n s      su rro g ate e n d p o in t th at re as o n ab l y
 [ Dock* No. 91N-0278]                                          o n d is trib u tio n o r u s e , w h e re th o s e are          su g g e sts cl i n ical b e n e f it o r o n evid ence
                                                                n e ce s s ary f or saf e u s e o f th e d ru g s . FD A         o f th e d ru g ’ s ef f e ct o n a cl in ical
 RI N 0 9 0 5 -AD6 6
                                                                p ro v id e d 6 0 d ay s f o r p u b l ic co m m e n t,          e n d p o in t o th e r th an s u rv iv al o r
 New Drug, Antibiotic, and Biologica l                          an d , u p o n req u est, in th e Fe d e ral                     irre v e rsib le m o rb id ity , p en d in g
 Drug Product Regulations; Accelerated                          R e g is te r o f Ju n e 1 8 , 1 9 9 2 (5 7 FR 2 7 2 0 2 ) ,     co m p l e tio n o f stu d ie s to estab lis h and
 Approval                                                       e xte n d e d th e co m m e n t p e rio d f o r an               d ef in e th e d eg ree o f cl i n ical b en ef its to
                                                                ad d itio n al 3 0 d ay s u n til Ju l y 1 5 , 1 9 9 2 .         p atie n ts; an d (2 ) w h e n FD A d eterm ines
 AGEN CY: Food and D rug A dm inistration,
                                                                T h e f in al ru l e in co rp o rate s al l o f th e             th at a d ru g , e f f e ctiv e f o r th e treatm en t of
 HHS.
                                                                p ro v is io n s o f th e p ro p o se d ru l e an d              a d is e ase , can b e u s e d saf e ly o n ly if
 ACTI ON: Fin al ru l e .                                                                                                        d is trib u tio n o r u s e is m o d if ied o r
                                                                p ro v id e s ad d itio n al cl arif icatio n
 SUMMARY: T h e Fo o d an d D ru g                              reg ard in g b o th tim in g an d co n te n t o f th e           re s tricte d . D ru gs o r b io l o g ical p rod u cts
 A d m in is tratio n (FD A ) is is s u in g f in al            su b m iss io n s o f p ro m o tio n al m ate rials              ap p ro v e d u n d e r th is f in al ru l e w ill have
 re g u latio n s u n d e r w h i ch th e ag e n cy w il l      an d reg ard in g th e n atu re o f re q u ire d                 m e t th e re q u is ite s tan d ard s f or saf ety
 acce l e rate ap p ro v al o f ce rtain n e w d ru g s         p o s tm ark etin g stu d ie s . T h e ag e n cy h as            an d e f f e ctiv e n e s s u n d e r th e act o r the
 an d b io l o g ical p ro d u cts f o r se rio u s o r         ad d e d a n e w p ro v isio n cl arif y in g w h e n            PH S A ct an d , th u s , w il l h av e full
 l if e- th reaten in g il l n e s s e s , w ith                ce rtain p o stm ark e tin g re q u ire m e n ts o f             ap p ro v al f o r m ark etin g (2 1 C FR 314.510,
 p ro v isio n s f o r an y n e ce s s ary co n tin u e d       th e ru l e w il l b e te rm in ate d .                          3 1 4 .5 2 0 , 6 0 1 . 4 1 , an d 6 0 1 .4 2 ).
 stu d y o f th e d rugs* cl i n ical b e n e f its af ter                                                                       O rd in arily , p ro d u cts u se d to treat
                                                                     H ig h lig h ts o f th e f in al ru l e are
 ap p ro v al o r w ith re s trictio n s o n u s e , if                                                                          se rio u s o r l if e- th reaten in g illn ess es, for
                                                                su m m ariz e d b e lo w , f o llo w ed b y a
 n e ce s s ary . T h e s e n e w p ro ce d u re s are                                                                           w h ich ap p ro v al is b ase d o n a surrogate
                                                                su m m ary an d d is cu s s io n o f th e
 in te n d e d to p ro v id e e xp e d ite d                                                                                     e n d p o in t ih at is re co g n iz e d as validated
                                                                co m m e n ts.
 m ark etin g o f d ru g s f o r p atie n ts suf f erin g                                                                        b y d ef in itiv e stu d ie s , w il l b e co nsid ered
 f ro m s u ch ill n e s s e s w h e n th e d ru g s            n.     H ig h lig h ts o f th e Fin a l R u le                   f o r ap p ro v al u n d e r th e trad itio n al
 p ro v id e m ean in g f u l th e rap e u tic b en ef it                                                                        p ro ce s s rath e r th an u n d e r accel erated
                                                                     T h is f in al ru l e e stab l is h e s p ro ce d u re s    ap p ro v al .
 co m p are d to e xis tin g tre atm e n t.
                                                                u n d e r p arts 3 1 4 an d 6 0 1 (2 1 C FR p arts
 A cce l e rate d ap p ro v al w il l b e co n s id e re d                                                                       C . P o stm arket in g S t u d ies
 in tw o situ atio n s : (1 ) W h e n ap p ro v al              3 1 4 an d 6 0 1 ) u n d e r w h ich FD A w il l
                                                                acce l e rate ap p ro v al o f ce rtain n e w d ru g s              W h e re a d ru g ’s ap p ro v al u n d er these
 can b e re l iab l y b ase d o n e v id e n ce f ro m
                                                                an d b io l o g ical p ro d u cts f o r se rio u s o r           p ro v is io n s is b ase d o n a surro g ate
 ad eq u ate an d w e l l - co n tro l l e d s tu d ie s o f
                                                                lif e- th reate n in g il l n e ss e s, w ith p ro v isio n      e n d p o in t o r o n an ef f ect o n a clin ical
 th e d ru g ’s ef f e ct o n a su rro g ate e n d p o in t
                                                                f o r re q u ire d co n tin u e d stu d y o f th e               m id p o in t o th e r th an su rv iv al o r
 th at re as o n ab ly su g g e sts cl i n ical b en ef it
                                                                d ru g s’ cl i n ical b en ef its af te r ap p ro v al o r       irre v e rsib le m o rb id ity , th e ap p lican t
 o r o n e v id e n ce o f th e d ru g ’s e f f e ct o n a
                                                                f o r re s trictio n s o n d istrib u tio n o r u s e ,          w il l b e re q u ire d to co n d u ct cl in ical
 cl i n ical e n d p o in t o th e r th an s u rv iv al o r
                                                                w h e re th o s e are n e ce s s ary f o r saf e u s e           s tu d ie s n e ce s s ary to v erif y an d describe
 irre v e rsib le m o rb id ity , p e n d in g
                                                                o f th e d ru g s . T h e s e p ro ce d u re s are               th e d ru g ’s cl i n ical b en ef it an d to resolve
 co m p l e tio n o f stu d ie s to estab l is h an d
                                                                in te n d e d to p ro v id e e xp e d ite d                      re m ain in g u n ce rtain ty as to th e relation
 d ef in e th e d eg re e o f cl i n ical b e n e f its to
                                                                m ark e tin g o f d ru g s f o r p atie n ts su f f erin g       o f th e su rro g ate e n d p o in t u p o n w hich
 p atie n ts ; an d (2 ) w h e n FD A d e te rm in e s
                                                                f ro m s u ch ill n e ss e s w h e n th e d ru g s               ap p ro v al w as b ase d to cl in ical b enefit,
 th at a d ru g , e f f e ctiv e f o r th e tre atm e n t o f
                                                                p ro v id e m ean in g f u l th e rap e u tic                    o r th e o b se rv e d cl in ical b en ef it to
 a d is e ase , can b e u s e d saf e ly o n l y i f
                                                                                                                                 u l tim ate o u tco m e . T h e req u irem en t for
 d istrib u tio n o r u s e is m o d if ie d o r                ad v an tag e o v e r e xistin g tre atm e n t. T h e
                                                                                                                                 an y ad d itio n al stu d y to d em o n strate
 re s tricte d . D ru gs o r b io l o g ical p ro d u cts       p re am b l e o f th e p ro p o se d ru l e (5 7 FR
                                                                                                                                 actu al cl i n ical b en ef it w il l n o t b e m ore
 ap p ro v e d u n d e r th e s e p ro ce d u re s w il l       1 3 2 3 4 ) p ro v id e s a d e s crip tio n o f o th e r
                                                                                                                                 strin g e n t th an th o s e th at w o u l d
 h av e m e t th e re q u is ite s tan d ard s f or             m e ch an is m s av ailab le to f acil itate
                                                                                                                                 n o rm al l y b e re q u ire d f o r m ark eting
 saf ety an d e f f e ctiv e n e s s u n d e r th e             a cce s s , s p e e d d e v e l o p m e n t, an d
                                                                                                                                 ap p ro v al ; it i s e xp e cte d th at th e studies
 Fe d e ral Fo o d , D ru g, an d C o s m e tic A ct            e xp e d ite re v ie w o f th e rap e u tic p ro d u cts
                                                                                                                                 w il l u s u al l y b e u n d e rw ay at th e tim e of
 (th e act) o r th e Pu b l ic H e alth S e rv ice              (e .g ., tre atm e n t in v e stig atio n al n e w d ru g
                                                                                                                                 ap p ro v al . T h e p ro p o se d reg ulation s
 A ct (th e PH S A ct) an d , th u s , w il l h av e            ap p l icatio n s (IN D ’s), su b p art E, p aral l e l
                                                                                                                                 h av e b e e n re v is e d to cl arif y th at
 f u ll ap p ro v al f o r m ark etin g .                       track ). W h e re ap p ro p riate , th e s e
                                                                                                                                 re q u ire d p o s tm ark etin g stu d ies m ust
 EFFECTI VE DATE: Jan u ary 1 1 , 1 9 9 3 .                     m e ch an is m s can b e u til iz e d in co n ce rt
                                                                                                                                 al so b e ad e q u ate an d w ell- co n tro lled (21
 FOR FURTHER I NFORMATI ON CONTACT:                             w ith acce l e rate d ap p ro v al . T h e m ajo r
                                                                                                                                 C FR 3 1 4 . 5 1 0 an d 6 0 1 .4 1 ).
 M arily n L. W ats o n , C e n te r f o r D rug                p ro v is io n s o f th e f in al ru l e are as
 Ev al u atio n an d R e s e arch (H FD - 3 6 0 ),              f o llo w s:                                                     D . R est ric tio n s on Use A ft er M arketin g
 Fo o d an d D ru g A d m in is tratio n , 7 5 0 0                                                                                   FD A m ay g ran t m ark etin g ap p rov al of
                                                                A . Scope
 S tan d ish PI., R o ck v ill e , M D 2 0 8 5 5 , 3 0 1 -                                                                       a d ru g o r b io l o g ical p ro d u ct sh ow n to be
 295-8038.                                                           T h e n e w p ro ce d u re s ap p l y to ce rtain           e f f e ctiv e w h e re saf e u se can o n ly be
                                                                n e w d ru g , an ti b io tic, an d b io l o g ical              as s u re d i f d is trib u tio n o r u se is
 SUPPLEM ENTARY I NFORMATI ON:
                                                                p ro d u cts u se d in th e tre atm e n t o f                    re s tricte d . U n d e r th is f inal rule, FD A
 I . B ack g ro u n d                                           se rio u s o r l if e- th reaten in g d is e ase s,              m ay : (1 ) R e s trict d istrib u tio n to certain
    In th e Fe d e ra l R e g is te r o f A p ril 1 5 ,         w h e re th e p ro d u cts p ro v id e m e an in g f u l         f acil itie s o r to p h y s ician s w ith sp ecial
 1 9 9 2 (5 7 FR 1 3 2 3 4 ) , FD A p u b lish e d              th e rap e u tic ad v an tag e o v e r e xistin g                train in g o r e xp e rie n ce , o r (2) cond ition
 p ro p o s e d p ro ce d u re s u n d e r w h ich th e         tre atm e n t (2 1 C FR 3 1 4 .5 0 0 an d 6 0 1 .4 0 ).           d is trib u tio n o n th e p erf o rm an ce o f




                                                                                                                                                  EX. 8 pg. 015


                                                                                                                                                              App. 0117
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 specified m edical procedures. The             IV . Comments on the Proposed Rule          clinical outcom e, a surrogate indicator
 restrictions on use w ill be tailored to the                                               is no m ore than a hypothetical
                                                   FD A received 54 com m ents on the
 specific safety issue raised by the                                                        construct. The com m ent asserted that
                                                proposed rule. The com m ents cam e
 particular drug or biological product                                                      the proposed rule's endorsem ent of the
                                                from individuals, specific disease
 and agreed to by the applicant at the                                                      use of un validated surrogate endpoints,
                                                organizations, universities,
 time of approval (21 CFR 314.520 and                                                       therefore, appears to represent a
                                                pharm aceutical m anufacturers, trade
 601.42). FD A expects that the                                                             significant departure from traditional
                                                associations, health professionals, and
 imposition of these restrictions on                                                        agency interpretations of “ substantial
                                                professional societies. The c o m m en ts
 distribution w ill be rare.                                                                evidence” w ithin the meaning of the act
                                                reflect broad support and acceptance of
                                                the goal of expediting the approval of      because it allow s belief rather than
 E. P ro m o tio n al M aterials
                                                                                            evidence to serve as the basis for a
   The final rule requires submission of        drugs intended for the treatm ent of
                                                                                            conclusion about the effectiveness of a
 planned prom otional m aterials,               serious and life-threatening illnesses. A
                                                                                            new drug.
 including prom otional labeling and            number of com m ents asked that the
                                                                                               Three com m ents asserted that the new
 advertisements, both prior to approval         proposed be finalized expeditiously
                                                                                            regulations are not needed to approve
 (reflecting the initial cam paign), and        w ithout change. M any com m ents posed
                                                                                            drugs intended to treat serious or life-
 following approval, unless informed by         specific questions and raised important
                                                                                            threatening illnesses. Tw o com m ents
 the agency that such submission is no          concerns.
                                                                                            cited FD A ’s approval, w ithout new
 longer necessary, at least 30 days before      A . G en eral C om m en ts                  regulations, of didanosine (formerly
 the intended tim e of initial                                                              called ddi) and zaldtab ine (formerly
                                                   1. O ne com m ent suggested that the
 dissemination of the prom otional                                                          called ddc) in com bination w ith
                                                term “ conditional approval“ was less
 labeling or initial publication of the                                                     zidovudine (form erly called A ZT) based
                                                confusing and ambiguous than the term
 advertisement (21 CFR 314.550 and                                                          on a surrogate m arker, i.e., an increase
                                                “ accelerated approval.” The comment
 601.45).                                                                                   in CD4 cell counts and the “ subpart E"
                                                also referred to the statem ent in the
                                                                                            procedures at 21 CFR part 312, w hich
 F. W ithdraw al o f A p p ro v al              proposal that “ D rugs * * * approved
                                                                                            address the need for expediting the
   The final rule establishes an                under this proposal w ill have met the
                                                                                            developm ent, evaluation, and marketing
 expedited procedure for the w ithdraw al       requisite standards * * * under the
                                                                                            of new therapies intended to treat life-
 of approval if: (1) Postm arketing clinical    (act)“ and argued that because
                                                                                            threatening or severely debilitating
 studies fail to verify clinical benefit; (2)   postmarketing conditions may be
                                                                                            illnesses as exam ples of existing
 the applicant fails to perform the             imposed, this statem ent can only be
                                                                                            m echanism s for the expedited approval
 required postm arketing study w ith due        read to say that the requisite standards
                                                                                            of im portant new drugs. O ne com m ent
 diligence; (3) use after marketing             under the act can only be m et by a low er
                                                                                            argued that the act requires that drugs
 demonstrates that postmarketing                standard of evidence in hand, combined
                                                                                            be shown to be “ safe" and “ effective,”
 restrictions are inadequate to ensure          w ith assurance that further evidence
                                                                                            and proof of effectiveness is not lim ited
 safe use of the drug or biological             w ill be obtained.
                                                                                            by the act to dem onstration of an effect
 product; (4) the applicant fails to adhere        A nother com m ent expressed concern
                                                                                            on “ survival or irreversible m orbidity,”
 to the postmarketing restrictions agreed       that the proposal appears to establish a
                                                                                            as the proposed rule seems to assum e.
 upon; (5) the prom otional m aterials are      standard for the evaluation of drug
                                                                                            The com m ent further argued that FD A
 false or m isleading; or (6) other             product effectiveness that is               has considerable statutory discretion to
 evidence dem onstrates that the drug or        inconsistent w ith the substantial          define w hat type of data constitutes
 biological product is not shown to be          evidence requirement of section 505(d)      proof of effectiveness, and
 safe or effective under its conditions of      of the act (21 U .S.C. 355(d)), w hich      dem onstration of an effect on a
 use (21 CFR 314.530 and 601.43).               m eans “ evidence consisting of adequate    surrogate m arker is one type of such
                                                and w ell-controlled investigations,        proof.
 G. T erm in ation o f R equ irem en ts         including clinical investigations, by          The agency believes that w hat the
   In response to com m ents, the final         experts qualified by scientific training    procedures are called is m uch less
 rule provides that the requirem ents set       and experience to evaluate the              im portant than w hat the procedures are.
 forth in $§ 314.520, 314.530, and              effectiveness of the drug involved, on      The shorthand term selected by the
 314.550 for new drugs and antibiotics          the basis of w hich it could fairly and     agency reflects the intent of the rule,
 and §§ 601.42, 601.43, and 601.45 for          responsibly be concluded by such            especially that part related to use of
 biological products ordinarily w ill           experts that the drug w ill have the effect surrogate m arkers, w hich is to make
 terminate when FD A determ ines that           it purports or is represented to have       drugs that provide meaningful
 the results of required postm arketing         under the conditions of use prescribed,     improvem ent over existing therapies for
 studies have dem onstrated that the drug       recom m ended, or suggested in the          serious illnesses w idely available
 or biological product has clinical             labeling or proposed labeling * *            (through marketing) at the earliest tim e
 benefit, or, w here restrictions on            The com m ent argued that, w ith few        consistent w ith the law . The essence of
 distribution or use have been imposed,         exceptions, the agency has consistently     the proposal is thus acceleration, not the
 when FD A determ ines that safe use of         interpreted the “ substantial evidence“     im position of conditions. A pproval
 the drug or biological product can be          requirement as an instruction that          under these procedures is dependent on
 ensured w ithout such restrictions, e.g.,      determ inations of effectiveness be based com pliance w ith certain additional
 through appropriate labeling. FD A w ill       on data unambiguously reflecting the        requirem ents, such as tim ely
 notify the applicant w hen these               clinical status of subjects evaluated       com pletion of studies to docum ent the
 requirements no longer apply (21 CFR           under controlled conditions in bona fide expected clinical benefit. The evidence
 314.560 and 601.46).                           clinical experim ents. In the absence of    available at the tim e of approval under
                                                com pelling em pirical evidence             this rule w ill m eet the statutory
 Hi- Effective D ate
                                                docum enting that a drug-induced             standard, in that there must be evidence
   This regulation w ill becom e effective      change in a surrogate m easure reliably      from adequate and w ell-controlled
 °n January l l , 1993.                         and consistently predicts improved           studies showing that the drug w ill have




                                                                                                        EX. 8 pg. 016


                                                                                                                  App. 0118
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 the effect it is represented to have in its                   re l atio n s h ip m ay f ail to em erg e b e cau s e :            of large numbers of clinically
 labeling. That effect w ill, in this case, be                 (1 ) T h e id e n tif ie d su rro g ate m ay n o t in              ineffective, but pharm acologically
 an offset on a surrogate endpoint that is                     f act b e cau s al l y re l ate d to cl in ical                    active, drugs and this m ay not be in the
 reasonably likely to predict a clinical                       o u tco m e (ev en th o u g h it w as th o u g h t to              interest of the pub lic health. The
 benefit and labeling w ill refer to the                       b e) o r (2 ) th e d ru g m ay h av e a sm all e r                 com m ent argued that early access to so-
 effect on the surrogate, not to effect on                     th an e xp e cte d b en ef it an d a l arg e r th an               called " prom ising” drugs is not the
 qlinical outcom e.                  '                         e xp e cte d ad v e rse ef f ect th at co u l d n o t              same as early access to safe and effective
    W h il e th e a ct d o e s n o t re f e r to               b e re co g n iz e d w ith o u t larg e - scale                    drugs, and the num ber of potential
 p articu l ar e n d p o in ts o r s tate a                    cl in ical trial s o f lo n g d u ratio n . R e lian ce            markers that may be advanced as
 p re f e re n ce f o r cl i n ica l , as o p p o se d to      o n s u rro g ate m ark e rs th e re f o re re q u ires            surrogates of clinical outcom e is
 su rro g ate , e n d p o in ts , i t is w e ll                an ad d itio n al m e as u re o f j u d g m en t, n o t            exceedingly large. The com m ent
 e s tab l is h e d th at th e ef f e ct sh o w n in           o n l y w eig h in g b en ef it v e rs u s risk , as               suggested that it m ayb e more
 w e l l - co n tro l l e d stu d ie s , m u st, in th e       al w ay s, b u t al s o d e cid in g w h at th e                   appropriate to seek adoption o f the
 j u d g m en t o f th e ag e n cy , b e cl in ical l y        th e rap e u tic b en ef it is b ase d u p o n th e                proposed requirem ents through an
 m e an in g f u l. M o re o v e r, th e saf ety               d ru g ef f e ct o n th e su rro g ate.                            am endm ent to the act.
 s tan d ard in th e a ct, th at a d ru g m u st b e               T n e s e ctio n s o f th e f in al ru l e th at                  FD A agrees w ith the contention that
 sh o w n to b e saf e f o r its in te n d e d u se ,          ad d re ss ap p ro v al b ase d u p o n a d ru g                   providing people who have serious or
 im p l ie s a risk / b e n e f it j u d g m en t. T h e       ef f ect o n a su rro g ate e n d p o in t                         life-threatening illnesses w ith numerous
 ef f e ct sh o w n m u st b e su ch as to                     s p e cif ical l y cl arif y th e re g u lato ry                   clinically ineffective drugs would not be
 o u tw e ig h th e risk s o f th e tre atm e n t              ap p ro v al crite ria w h e n th e ag e n cy re l ie s            helpful. H owever, the agency does not
 u n d e r th e co n d itio n s o f u se . A p p ro v al       o n a su rro g ate e n d p o in t th at, w h il e                  agree that the rule can be expected to
 u n d e r th is ru l e re q u ire s, th e re f o re , th at   " re as o n ab l y lik el y ” to p re d ict cl in ical             have this result. A lthough studies using
 th e ef f ect sh o w n b e , in th e j u d g m en t o f       b en ef it, is n o t so w e l l estab l is h ed as th e            surrogate endpoints may provide less
 th e ag e n cy , cl i n ical l y m e an in g f u l, an d      su rro g ates o rd in arily u se d as b ase s o f                  assurance of clinical benefit than
 o f s u ch im p o rtan ce as to o u tw eig h th e             ap p ro v al in th e p ast. Po s tm ark etin g                     studies using clinical endpoints, FDA
 risk s o f tre atm e n t. T h i s j u d g m en t d o e s      s tu d ie s req u ired to v erif y an d d e scrib e                believes com pliance w ith all of the
 n o t re p re s e n t e ith e r a " l o w e r s tan d ard ”   actu al cl in ical b en ef its w o u l d al so b e                 elem ents of the accelerated approval
 o r o n e in co n s is te n t w ith s e ctio n 5 0 5 (d )     re q u ire d to b e ad eq u ate an d w ell-                        program w ill not result in the marketing
 o f th e act, b u t rath e r an as s e ss m e n t             co n tro l l e d stu d ie s. S e ctio n s 3 1 4 .5 1 0 an d        of large numbers of clinically ineffective
 ab o u t w h e th e r d if f eren t ty p e s o f d ata        6 0 1 .4 1 h av e b een re v is e d to cl arif y th is             drugs. The new procedures apply to a
 sh o w th at th e sam e s tatu to ry stan d ard               p o in t. If, o n co m p l e tio n o f re q u ired                 lim ited group of circum stances, namely,
 h as b ee n m e t                                             p o stm ark etin g stu d ie s , th e ef f ect o n th e             to drugs intended for serious or life-
   A pproval based on surrogate                                su rro g ate is n o t sh o w n to co rre s p o n d to              threatening illnesses when the drugs
 endpoints is not new , although the issue                     a f av o rab l e ef f e ct o n cl i n i ca l b e n e f it, th e    provide a meaningful therapeutic
 has not previously been considered in                         ru l e p ro v id e s an e xp e d ite d m e an s o f                benefit over existing therapy. Reliance
 regulations. The agency has, in a                             re m o v in g th e d ru g f ro m th e m ark et.                    on a surrogate endpoint is not
 num ber of instances, approved drugs                             A p p ro v al o f d iaan o s in e an d                          equivalent to reliance on any evidence
 based on surrogate endpoints. For                             z al citab in e u n d e r cu rre n t p ro ce d u re s              of pharm acologic activity. The endpoint
 exam ple, drugs for hypertension have                         d o e s n o t sh o w th at th e ru l e is o f n o                  must be reasonably likely, based on
 been approved based on their effects on                       v alu e . A l th o u g h ap p ro v al d id re l y o n a            epidem iologic, therapeutic,
 blood pressure rather than on survival                        su rro g ate e n d p o in t th at is o f th e k in d               pathophysiologic, or other evidence, to
 or stroke rate. Sim ilarly, drugs for                         sp e cif ical l y ad d re ss e d b y th e ru l e , th e            predict clinical benefit.
 hypercholesterolem ia nave been                               f act th at s tu d ie s to d ef in e cl in ical                       W hether a given endpoint is, in fact,
 approved based on effects on serum                            b en ef it w e re n e arl y co m p l e te an d w ere               reasonably likely to predict clinical
 cholesterol rather than on coronary                           b ein g co n d u cte d u n d e r th e au s p ice s o f             benefit is inevitably a m atter of
 artery disease (angina, heart attacks).                       th e N atio n al In stitu te o f A l le rg y an d                  judgment. FD A , using available internal
 But, in those cases there w as very good                      In f e ctio u s D ise ases m ad e it l e s s cru cial              and external expertise, w ill have to
 evidence from clinical trials (in the case                    to h av e ad d itio n al g u aran te e s th at su ch               make informed judgments in each case
 of hypertension) and from                                     stu d ie s w o u l d b e co n d u cte d p ro m p tl y .            presented, just as it does now. The
 epidem iologic and anim al studies (in                        M o re o v er, th e s p o n so rs o f d iaan o s in e              agency acknow ledges that there are
 the case of hypercholesterolem ia) that                       an d z al citab in e ag ree d p rio r to ap p ro v al              w ell-recognized reasons for caution
 improving the surrogate would lead to                         to e xp e d ite d w ith d raw al o f th e d ru g                   when surrogate endpoints are relied on.
 or is associated w ith the desired effects                    f ro m th e m ark et i f b en ef it w ere n o t                    Certain putative surrogates have
 on m orbidity and m ortality. Even so,                        sh o w n . T h e p ro v isio n s o f th e f in al ru l e           ultim ately been shown not to
 there is still today considerable debate                      w il l e n su re th at ap p ro p riate saf eg u ard s              correspond to clinical benefit. Perhaps
 about who w ill benefit from cholesterol                      e xis t f or tim e l y g en eratio n o f d ata o n                 the m ost notew orthy example is the
 lowering. Controlled trials assessing                         actu al cl in ical b en ef it, f o r ap p ro p riate                failure of antiarrhythm ic agents in the
 effects on clinical endpoints of                              p ro m o tio n al in f o rm atio n ab o u t lab el ed               Cardiac A rrhythm ia Suppression Trial
 m orbidity and m ortality from use of                         in d icatio n s , an d f o r p ro m p t w ith d raw al              (CA ST) to improve survival by
 cholesterol-low ering drugs have been,                        o f th e d ru g f ro m th e m ark et i f cl in ical                 depressing ventricular ectopic beats;
 and are being, conducted.                                     b e n e f it is n o t co n f irm e d .                              effective suppression of ectopic beats
   Reliance on a surrogate endpoint                                2 . Po in tin g to a s tate m e n t in th e                     w as associated w ith increased mortality.
 alm ost alw ays introduces some                               p re am b l e to th e p ro p o se d ru l e th at it is                A sponsor m ust persuasively support
 uncertainty into the risk/benefit                             in th e p u b li c in te re s t to m ak e p ro m is in g            the reasonableness of the proposed
 assessm ent, because clinical benefit is                      n e w tre atm e n ts av ail ab le at th e e arl ie s t              surrogate as a predictor and show how
 not m easured directly and the                                p o ssib le p o in t in tim e f o r u s e in lif e-                 the benefits of treatm ent w ill outweigh
 quantitative relation of the effect on the                    th re ate n in g an d se rio u s ill n e ss e s, o n e              the risks. Such presentations are likely
 surrogate to the clinical effect is rarely                    co m m e n t e xp re s s e d co n ce rn th at th e                  to be persuasive only when the disease
 known. The expected risk/benefit                              p ro p o se d ru l e m ay le ad to th e m ark etin g                to be treated is particularly severe (so




                                                                                                                                              EX. 8 pg. 017


                                                                                                                                                        App. 0119
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              F e d e ra l R e g is te r /    V o l. 5 7 , N o . 2 3 9      /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2    /   R u l e s a n d R e g u l a tio n s          58945


that co n sid e rab le risk is acce p tab l e )             se rio u s. T h e co m m e n t as k ed th at FD A                T h e co n ce rn s e xp re s s e d in th e s e an d
and/or w h e n th e su rro g ate e n d p o in t is          al so d es crib e: ( 1 ) D ise ases th at are n o t           o th e r co m m e n ts ab o u t co n sid e rin g to o
well su p p o rte d . In ad d itio n , it w il l b e        cu rre n tl y i n cl u d e d in th e cate g o ry o f          m an y ill n e s s e s e lig ib le f o r co n sid e ratio n
the sp o n so r’s cl e a r o b lig atio n to re s o l v e   “ s e rio u s ,” ( 2 ) e xam p l e s o f d is e ase s th at   u n d e r th e acce l e rate d ap p ro v al
any d ou b ts as to cl i n ical v al u e b y                are cu rre n tl y ju d g ed “ l if e - th re ate n in g ,”    p ro ce d u re s m ay arise f ro m th e
carrying o u t d ef in itiv e stu d ies.                    an d (3 ) e xam p l e s o f d is e ase s th at are n o t      u n d e rly in g f e ar th at re l ian ce o n
  FD A d o e s n o t ag re e th at i t w o u l d b e        cu rre n tl y i n cl u d e d in th e cate g o ry “ lif e-     su rro g ate e n d p o in ts w il l b e co m e
more ap p ro p riate to seek an am e n d m e n t            th re ate n in g .”
                                                                                                                          ro u ti n e , th e “ n o rm al ” w ay d ru g s are
to the act th an to ad o p t th e p ro p o se d                 O n e co m m e n t co n te n d e d th at th e
                                                                                                                          b ro u g h t to th e m a rk e t T h is f ear is
req uirem ents. A s d is cu s s e d in th e                 state m e n t in th e p re am b le th at
                                                                                                                          g ro u n d le s s. T h e v as t m aj o rity o f d ru g s
preamble to th e p ro p o se d ru l e 85 w e ll as          “ se rio u sn e ss o f a d is e ase is a m atte r o f
                                                                                                                          are d ire cte d at s y m p to m atic o r s h o rt­
elsew here in th is p re am b l e to th e f inal            ju d g m e n t, b u t g e n e rally is b ase d o n its
                                                                                                                          te rm co n d itio n s (p ain , h e art f ailu re,
rule, existin g p ro v is io n s o f th e a ct an d         im p act o n su ch f acto rs as su rv iv al , d ay -
the PH S A ct au th o riz e p ro m u lg atio n o f                                                                        acu te in f e ctio n s , g astro in te s tin al
                                                            to - d ay f u n ctio n in g , o r th e lik el ih o o d
the req u irem en ts in th e f in al                                                                                      co m p l ain ts ) w h o s e re s p o n s e to d ru g s , if
                                                            th at th e d is eas e, i f lef t u n tre ate d , w ill
regulations.                                                                                                              it o ccu rs , is re ad il y m e as u re d an d w h e re
                                                            p ro g ress f ro m a le ss se v ere co n d itio n to
  3. O ne co m m e n t e xp re s s e d co n ce rn           a m o re se rio u s o n e ” to o n arro w l y l im its        th e re is n o n e e d to co n s id e r o r acce p t
that b ecau se th e p ro p o se d ru l e w o u l d          d is eas es co v e re d b y th e p ro p o se d ru l e         su rro g ate e n d p o in ts . S u rro g ate s, w ith
establish co n d itio n s o n a d ru g ’s                   (5 7 F R 1 3 2 3 4 at 1 3 2 3 5 ). T h e co m m e n t         f ew e xce p tio n s , are o f in te re s t in th e
approval, th ird - p arty p ay o rs m ay                    arg u ed th at so m e “ le ss se v e re ” d is e ase s,       f o llo w in g situ atio n s : ( 1 ) W h e re th e
decline re im b u rs e m e n t b e cau s e th e so -        e v e n i f tre ate d , m ay p ro g ress to a m o re          cl in ical b en ef it, i f th e re is o n e , is lik ely
called ap p ro v al w o u l d h av e attrib u tes o f       se rio u s state , an d th at th e s e d is ease s            to b e w e ll in th e f u tu re; an d ( 2 ) w h e re
investigational statu s.                                    sh o u ld al so b e co v e re d b y th e ru le . O n          th e im p l icatio n s o f th e ef f ect o n th e
  The ag en cy e xp e cts th at, b e cau s e                th e o th e r h an d , tw o co m m e n ts arg u ed            su rro g ate are g re at b e cau s e th e d is eas e
drugs ap p ro v ed u n d e r th e acce l e rate d           th at th e lang u ag e in th e p re am b le th at             h as n o tre atm e n t at al l o r th e d ru g seem s
approval p ro ce s s m e e t th e statu to ry               cl as sif ie s d is ease s as “ se rio u s ” w as             to tre at p e o p l e w ith n o al te rn ativ e (e.g .,
standards f or saf ety an d e f f e ctiv e n e ss,          o v e rl y b ro ad an d su b jectiv e an d f ar to o          b e cau s e th e y can n o t to l e rate th e u su al
they w ou ld b e el ig ib le f o r                          larg e a n u m b er o f ill n e ss e s co u l d b e           ef f ectiv e tre atm e n t). In th e f irst cas e ,
reim b ursem ent u n d e r S tate M e d icaid               e l ig ib le as b ein g “ s e rio u s .”                      g reat care is n e e d e d , an d w o u l d b e
programs o r o th e r th ird - p arty p lan s.                   FD A d is cu s se d th e m ean in g o f th e             g iv en , as th e re w o u l d g en erally b e n o
Drug p ro d u cts g ran te d acce l e rate d                te rm s “ se rio u s ” an d “ f if e- th reaten in g ”        e xp e rie n ce f ink ing an ef f e ct o n th e
approval w il l n o t b e , u n d e r th e l aw ,           in its f in al ru l e s o n “ tre atm e n t IN D ’s ”         su rro g ate to cl i n ical s u cce s s , an d th ere
investigational, as su g g e ste d b y th e                 (5 2 FR 1 9 4 6 6 at 1 9 4 6 7 , M ay 2 2 , 1 9 8 7 )         h av e b e en co n s p icu o u s e xam p l e s o f lack
comment.                                                    an d “ su b p art E ” p ro ce d u re s (5 4 FR                o f lin k ag e (C A S T , re f e rred to ab o v e ;
  4. O ne co m m e n t ask ed i f al l d ru g s             4 1 5 1 6 at 4 1 5 1 8 - 4 1 5 1 9 , O cto b er 2 1 ,         d ru g s th at in cre as e card iac o u tp u t in
considered f o r acce l e rate d ap p ro v al               1 9 8 8 ). T h e u s e o f th e s e te rm s in th is          p atie n ts w ith h e art f ailu re b u t th at
must b e re v ie w e d b y an ad v iso ry                   ru l e is th e sam e as FD A d ef in ed an d                  d e cre as e su rv iv al ; im p e rf e ct ag reem en t
com m ittee. T h e co m m e n t state d th at               u se d th e te rm s in th o se ru lem ak in g s. It           o f ef f e cts o n co ro n ary arte ry p ate n cy
because ad v iso ry co m m itte e s m e e t                 w o u l d b e v irtu all y im p o s sib le to n am e
                                                                                                                          an d ef f e cts o n su rv iv al in p atien ts w ith
infrequently, w aitin g f o r th e n e xt                   e v e ry “ se rio u s ” an d “ l if e- th reaten in g ”
                                                                                                                          m y o card ial in f arctio n ; l ack o f b en ef icial
meeting m ay s l o w d o w n th e ap p ro v al              d is e ase th at w o u l d b e w ith in th e sco p e
                                                                                                                          ef f e ct o n b o n e f ractu re rate d e sp ite
process.                                                    o f th is ru le. In FD A ’s e xp e rie n ce w ith
                                                                                                                          f av o rab l e ef f ects o n b o n e d e n sity in
  FDA is n o t re q u ire d to co n s u l t w ith           “ tre atm e n t IN D ’s ” an d d ru g s co v e re d b y
                                                                                                                          p atie n ts w ith o ste o p o ro s is ). FD A an d
an ad visory co m m itte e b ef o re ap p ro v in g         th e “ su b p art E ” p ro ce d u re s th e re h av e
                                                                                                                          o u tsid e e xp e rts w il l b e aw are o f th ese
an ap p licatio n u n d e r th e s e acce l e rate d        n o t b een p ro b l em s in d e term in in g
                                                                                                                          e xam p l e s as p ro p o se d su rro g ates are
approval re g u latio n s, o r an y o th e r                w h ich d is e ase s f all w ith in th e m e an in g
                                                                                                                          co n s id e re d . T h e im p li catio n s are
regulation. H o w e v e r, FD A in te n d s to              o f th e te rm s “ se rio u s ” an d “ lif e-
                                                                                                                          e s p e cial l y g re at w h e n co n sid e rin g
consult the ap p ro p riate co m m itte e in                th re ate n in g ,” an d FD A w o u l d e xp e ct n o
                                                                                                                          p ro p h y l actic th e rap y , i.e ., tre atm e n ts to
most in s tan ces. A d v is o ry co m m itte e              p ro b l em s u n d e r th is acce l e rate d
                                                                                                                          p re v e n t ch ro n ic il l n e ss (co ro n ary artery
meetings can u s u al l y b e sch e d u l e d to            ap p ro v al p ro g ram . T h e lik elih o o d o f
avoid sig n if ican t d e lay s in th e re v ie w           p ro g ressio n to a serio u s co n d itio n w ith            d is e ase , can ce r), in an ess e n tial ly w ell
process. T h e ag e n cy w il l co n s id e r an y          av ail ab le tre atm e n ts w o u l d al so b e               p o p u l atio n . In th e s e co n d cas e , ¿here
request b y an ap p l ican t f o r re f e rral o f          co n sid e re d in ass ess in g w h e th e r th e             w il l g en erall y h av e b een e xp e rie n ce
me ap p licatio n to an ad v iso ry                         d is e ase is w ith in th e s co p e o f th e f inal          (w ith th e s tan d ard th e rap y ) to ev al u ate
committee.                                                  ru le . T h e p ream b le to th e p ro p o se d ru l e        in co n s id e rin g lin k ag e o f th e su rro g ate
                                                            (5 7 FR 1 3 2 3 4 at 1 3 2 3 5 ) re f e rred to               to b en ef it; th is w as , f o r e xam p l e , th e
  S cope
                                                            ch ro n ic ill n e ss e s th at are g en erally w ell         cas e w ith d id an o sin e , w h e re e v id e n ce
  5. Fo u r co m m e n ts ask ed f or f u rth er            m an ag ed b y av ail ab le th e rap y , b u t can            f ro m z id o v u d in e s tu d ie s o f th e
clarification o f w h at d is e as e s are                  h av e se rio u s o u tco m e s f o r ce rtain                re l atio n s h ip o f an ef f e ct o n C D 4
covered b y th e ru l e . O n e co m m e n t                p o p u l atio n s o r in so m e o r al l o f th e ir         l y m p h o cy te s an d cl i n ical o u tco m e
plated th at th e te rm s “ s e rio u s ,” an d             p h ase s . A p p l ican ts are e n co u rag e d to           co u l d b e ass e ss e d . S im il arl y , th e re is
 h fe- threatening, ” are d ef in ed in th e                co n s u l t w ith FD A *8 rev ie w in g d iv isio n s        co n sid e rab l e e xp e rie n ce to sh o w th at
proposal b y re f e re n ce to 2 1 C FR 3 1 2 .3 4 ,        e arl y in th e d ru g d e v e l o p m e n t p ro ce s s      d u rab le co m p l e te re s p o n s e s in m an y
ollowed b y a b rie f s tate m e n t e xp lain in g         i f th e y h av e q u e stio n s ab o u t w h e th e r        can ce rs co rre s p o n d to im p ro v ed
me role o f j u d g m en t an d e xam p l e s o f           th e ir s p e cif ic p ro d u ct is w ith in th e             su rv iv al , so th at an ag en t in d u cin g th em
 iseases th at are cu rre n tl y ju d g ed to b e           s co p e o f th is ru le .                                    in re f racto ry ill n e s s o r in p rim ary




                                                                                                                                               EX. 8 pg. 018


                                                                                                                                                             App. 0120
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  58946           F e d e ra l R e g is te r /     V o l. 5 7 , N o . 2 3 9      /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2     /   R u l e s a n d R e g u la tio n s


  d is e ase th at h ad p re v io u s l y b e e n p o o rl y      th at can b en ef it f ro m e xp e d ite d                   ap p ro v al re g u latio n s w il l ap p ly .
  re s p o n siv e w o u l d g e n e rall y b e se e n as         ap p ro v al , th e n e e d s o f th e p atien ts            S e ctio n s 3 1 4 . 5 0 0 an d 6 0 1 .4 0 describe
  re as o n ab ly l ik el y to p ro v id e a cl in ical           sh o u ld d e te rm in e th e p ro ce d u re s u se d        as p e cts o f th e s co p e o f th e s e regulations,
  b en ef it.                                                     to ap p ro v e th e d ru g . O n e co m m e n t              M o re o v e r, th e s e re g u latio n s are
     6 . O n e co m m e n t s tate d th at e p il e p sy          co n te n d e d th at ap p l ican ts o f p ro d u cts        in te n d e d to ap p l y to ap p licatio n s based
  is a se rio u s an d l if e- th reaten in g                     co n s id e re d can d id ate s f o r acce l e rate d        o n su rro g ate e n d p o in ts w h o se validity is
  co n d itio n an d ask ed th at it b e in cl u d e d            ap p ro v al m ay h av e th e ir d ru g o r                  n o t f u lly e stab l is h e d , to ap p lication s
  w ith in th e s co p e o f th e p ro p o sal . T h e            b io l o g ical p ro d u ct “ f o rce d ” in to th e         b ase d o n cl i n ical e n d p o in ts th at leave
  p re am b le cite d , am o n g o th e r il l n e ss e s,        acce l e rate d ap p ro v al p ro ce s s an d b e            u n an s w e re d m aj o r q u estio n s ab out the
  d e p re ss io n an d p s y ch o s e s as e xam p l e s         f o rce d to co n d u ct a p ro g ram o f s tu d ie s        p ro d u ct’s e f f e ct o n u ltim ate outcom e,
  o f ch ro n ic il l n e s s e s th at can h av e                to su b stan tiate th at su rro g ate m id p o in ts         an d to ap p l icatio n s f o r p ro d u cts whose
  se rio u s o u tco m e s e v e n i f th e y are                 actu al l y p re d ict sig n if ican t cl in ical            saf e an d e f f e ctiv e u s e re q u ires
  g e n e rall y w e l l m an ag ed . O n e co m m e n t          b en ef its.                       -                         l im itatio n s o n d istrib u tio n o r use. In all
  as s e rte d th at n e ith e r d e p re s s io n n o r              T h e m e d ical re v ie w in g d iv isio n s            o th e r s itu atio n s , acce l e rate d approval
  p s y ch o s is is a d is e ase , n o r is e ith e r o n e      w ith in FD A ’s C en te r f o r D ru g                      re q u ire m e n ts w il l n o t ap p ly .
  se rio u s o r l if e- th reaten in g . T h e                   Ev al u ati o n an d R e se arch (O D ER) an d                  W h e re ap p ro v al is b ase d o n a
  co m m e n t s tate d th at d e p re ss io n an d               C e n te r f o r B io lo g ie s Ev al u ati o n an d         su rro g ate e n d p o in t th at is accep ted as
  p s y ch o s is are d iag n o s es . T h e co m m e n t         R e se arch (C BER ) w il l d e te rm in e th e              v al id ate d to p re d ict o r co rrelate w ith
  u rg ed th e ag e n cy to re m o v e th e m f ro m              ty p e o f re g u lato ry re v ie w th at FD A m ay          cl i n ical b e n e f it, th e p ro d u ct w ill be
  th e d ef in itio n o f lif e - th re ate n in g                ap p l y to an ap p l icatio n . FD A                        co n s id e re d u n d e r th e trad itio n al
  “ il l n e s s e s ” o r " d i s e a s e s .”                   e n co u rag e s sp o n so rs to m e e t w ith FD A          p ro ce s s , an d th e p o stm ark etin g
     W ith re s p e ct to e p il e p s y , FD A n o te s          e arl y in th e d ru g d e v e l o p m e n t p ro ce s s     re q u ire m e n ts u n d e r acce l e rate d
  th at in th e “ tre atm e n t IN D ” f in al ru le              to d is cu s s th e ap p licab ility o f th e                ap p ro v al w il l n o t ap p ly . A p p ro vals of
  (5 2 F R 1 9 4 8 6 at 1 9 4 6 7 , M ay 2 2 , 1 9 8 7 ) ,        acce l e rate d ap p ro v al p ro g ram to th e ir           p ro d u cts f o r se rio u s o r life-threatening
  th e ag e n cy l is te d “ ce rtain f o rm s o f                p ro d u ct; h o w e v e r, FD A re s e rv e s th e          ill n e s s e s b ase d o n cl in ical end p oints
  e p il e p s y ” as an e xam p l e o f a d is e as e o r        d is cre tio n to d e te rm in e w h e th e r th e s e       o th e r th an su rv iv al o r irrev ersib le
  stag e o f d is e as e th at w o u l d n o rm al l y b e        p ro ce d u re s are ap p licab l e to a sp e cif ic         m o rb id ity w il l u s u al l y al so b e
  co n s id e re d “ s e rio u s .” C ertain f o rm s o f         p ro d u ct.                                                 co n s id e re d u n d e r trad itio n al
  e p il e p sy m ay al s o b e co n s id e re d                     W ith re s p e ct to th e p re am b le                    p ro ce d u re s . A p p ro v al s b ased on such
  “ se rio u s ” u n d e r th e acce l e rate d                   s tate m e n t cite d b y o n e co m m e n t, th e           cl i n ical e n d p o in ts w il l b e considered
  ap p ro v al p ro g ram . It i s u n lik e ly ,                 co m m e n t m isre ad s th e p re am b le                   u n d e r th e acce l e rate d ap p ro v al
  h o w e v e r, th at a s u rro g ate e n d p o in t             state m e n t, w h ich d o e s n o t say th at FD A          re g u latio n s o n l y w h e n it is essential to
  w o u l d b e u til iz e d in s u ch a cas e , as               w il l , in al l cas e s , ap p l y FD A ’s                  d e te rm in e e f f e cts o n su rv iv al o r
  se iz u re f re q u e n cy , a cl i n ical e n d p o in t, is   trad itio n al ap p ro v al m e ch an is m s rath e r        irre v e rsib le m o rb id ity in o rd er to
  re ad il y m e as u re d .                                      th an th is acce l e rate d p ro ce s s f o r d ru g s       co n f irm th e f av o rab l e risk /b en ef it
     FD A ’s re f e re n ce to d e p re ss io n an d              w h e re a m aj o rity o f th e d ru g ’s                    j u d g m e n t th at le d to ap p ro v al.
  p s y ch o s e s w as in te n d e d to g iv e                   f o reseeab le u se s are o u tsid e th e s co p e o f       A p p l icatio n s f o r p ro d u cts f or serious or
  e xam p l e s o f co n d itio n s o r d is e as e s th at       “ l if e - th re ate n in g ” d is e ase s w ith o u t       lif e - th re ate n in g ill n e ss e s th at provide a
  can b e se rio u s f o r ce rtain p o p u l atio n s o r        m e an in g f u l th e rap e u tic b en ef it o v e r          m e an in g f u l th e rap e u tic b en ef it over
  in so m e o r al l o f th e ir p h ase s . W h il e             e xistin g th e rap y . T h e state m e n t m e re l y         e xis tin g th e rap y w il l re ce iv e a priority
  d ru g s f o r th e tre atm e n t o f d e p re ss io n          in f o rm s ap p l ican ts th at FD A w il l                   ratin g an d e xp e d ite d rev iew , even when
  an d p s y ch o s is w o u l d b e e xam p l e s o f            co n s id e r th e p o s sib le im p act o f                   n o t co n s id e re d u n d e r th e accelerated
  th o s e th at co u l d b e co v e re d b y th e                w id e s p re ad u s e o f a d ru g f o r u s e s o th e r     ap p ro v al p ro ce d u re s.
  acce l e rate d ap p ro v al p ro g ram , it is n o t           th an th e o n e su p p o rtin g acce l e rate d                 T h e ag e n cy al so w is h e s to clarify that
  th e u s e o f su rro g ate e n d p o in ts th at               ap p ro v al ; d ru g s ap p ro v e d u n d e r th is          w h e n e v e r an ap p l icatio n is approved
  w o u l d b e e xp e cte d ; th e s y m p to m s an d           p ro g ram w o u l d o f ten h av e o n l y sm all             u n d e r § 3 1 4 .5 1 0 o r § 6 0 1 .4 1 ,
  sig n s o f th e s e d is e as e s are re ad il y               saf ety d ata b ase s so th at w id e s p re ad off-           p o stm ark e tin g s tu d ie s con firm ing the
  stu d ie d . O n th e o th e r h an d , s o m e o f             lab el u s e m ig h t h av e se rio u s                        p ro d u ct’s cl i n ical b en ef it w ill thus be
  th e s e d ru g s h av e b e e n q u ite to x i c (e .g .,      im p l icatio n s . T h e ag e n cy d o e s n o t              re q u ire d . T h e re f o re , in o rd er to
  cl o z ap in e f o r re f racto ry p s y ch o s e s ) an d      b e lie v e th at s u ch a s itu atio n w o u l d              e l im in ate p o te n tial co n f u sio n , the
  m ig h t b e co n s id e re d f o r ap p ro v al w ith          re g u larl y l e ad to e xcl u s io n f ro m th e s e         ag e n cy h as am e n d e d § § 3 1 4 .5 1 0 and
  re s trictio n s to e n s u re saf e u se .                     p ro v isio n s .                                              6 0 1 .4 1 to cl arif y th e s e p o in ts.
     7 . T w o co m m e n ts ask e d h o w FD A                      FD A d o e s n o t ag ree th at ap p l ican ts                 FD A al s o re co g n iz e s th at o ver tim e a
  w il l d e cid e th at a d ru g is el ig ib le f or             seek in g ap p ro v al to m ark et d ru g an d                 p articu l ar su rro g ate , o n ce accep tab le as
  acce l e rate d ap p ro v al . O n e co m m e n t               b io l o g ical p ro d u cts th at w o u l d b e               a b asis f o r ap p ro v al o n ly u n d er the
  ass e rte d th at th e d e cis io n sh o u ld b e an            can d id ate s f o r acce l e rate d ap p ro v al w il l       a cce l e rate d ap p ro v al reg ulatio ns, could
  o p tio n f o r th e ap p l ican t to co n s id e r, n o t      b e f o rce d to u s e th e acce l e rate d                    b e co m e re co g n iz e d as v alid ated by
  a d e cis io n f o r FD A to m ak e U n ilateral ly .           ap p ro v al m e ch an is m . It is tru e ,                    d e f in itiv e s tu d ie s (ju st as h igh blood
  Po in tin g to a state m e n t in th e p re am b l e            h o w e v e r, th at s o m e p ro p o se d su rro g ate        p re s s u re , f o r e xam p l e , o v er tim e became
  (5 7 FR 1 3 2 3 4 at 1 3 2 3 5 ) th at FD A                     e n d p o in ts w o u l d n o t b e co n s id e re d           v al id ate d as a su rro g ate w ith clinical
  re s e rv e s th e rig h t n o t to ap p l y                    acce p tab l e b ase s f o r ap p ro v al w ith o u t          si g n if ican ce ). In s u ch cas e s, a future
  acce l e rate d ap p ro v al p ro ce d u re s w h e n it        as s u ran ce th at th e cl i n ical s tu d ie s to            ap p l icatio n re l y in g o n su ch a surrogate
  b e lie v e s in g o o d f aith th at th e d ru g ’s            sh o w cl i n ical b en ef it w il l b e co n d u cte d .      w o u l d n o t re q u ire p ostm ark etin g studies
  f o reseeab le u s e is re as o n ab ly l ik el y to b e        A s p o n s o r th at w is h e s th s ap p l icatio n to       co n f irm in g th e su rro g ate 's clinical
  o u tsid e th e s co p e o f “ lif e - th re ate n in g         b e co n s id e re d u n d e r th e trad itio n al             b e n e f it an d th e ap p licatio n w ould be
  d is e ase s w ith o u t m ean in g f u l th e rap e u tic      ap p ro v al p ro ce s s m ay re q u e st an d                 co n s id e re d u n d e r trad itio n al
  b en ef it o v e r e xis tin g th e rap y ,” th e               re ce iv e s u ch co n s id e ratio n .                        p ro ce d u re s .
  co m m e n ts arg u ed th at, i f th e re are                      T h e ag e n cy w is h e s to cl arif y th e                   8.      T w o co m m e n ts ask ed for
  p atie n ts w ith l if e - th re ate n in g co n d itio n s     circu m s tan ce s in w h ich th e acce l e rate d             cl arif icatio n o f th e p h rase “ meaningful




                                                                                                                                              EX. 8 pg. 019


                                                                                                                                                            App. 0121
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                   F e d e ra l R e g is te r /    V o l. 5 7 , N o . 2 3 9     /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2       /   R u l e s a n d R e g u l a tio n s        58947


    therap eu tic b en ef it o v e r e xistin g                co n s id e re d as a m ean in g f u l b en ef it an d           l ack o f re g re ss io n o f th e su rro g ate
    therap y ” as u s e d in th e d e s crip tio n o f         w ith in th e sco p e o f th e p ro p o sal .                    e n d p o in t sh o u ld b e co m m o n l y
    w hat d ru gs th e acce l e rate d ap p ro v al               A ch an g e i n th e ro u te o f                              as s o ciate d w ith a l ack o f cl in ical
j   program sh o u ld ap p l y to . S p e cif ical l y ,       ad m in is tratio n m ay b e a can d id ate f o r                im p ro v e m e n t; an d ( 6 ) th e in cid e n ce o f
    pointing to an e xam p l e d e scrib e d in th e           acce l e rate d ap p ro v al d ep en d in g u p o n              re g re ss io n o r im p ro v e m e n t in th e
    pream b le th at a n e w th e rap y w o u l d b e          th e p articu l ar e v id e n ce p re se n ted .                 su rro g ate e n d p o in t sh o u ld b e
    eligible f or acce l e rate d ap p ro v al i f th e re        10 . O n e co m m e n t as k ed i f su b p art E              sig n if ican tly g re ate r in tre ate d th an
    w as “ a cl e ar im p ro v e m e n t” o v e r              d ru g s cu rre n tl y tin d e r in v e stig atio n w il l       u n tre ate d p atien ts.
    existing th e rap y in b ein g m o re ef f e ctiv e        b e co n s id e re d f o r acce l e rate d ap p ro v al .           O n e co m m e n t ask ed i f th e u se o f
    or b etter to l e rate d , o n e co m m e n t u rg ed      T h e co m m e n t ass u m e d th at n e w d ru g                m icro al b u m in u ria d ata is a su rro g ate f or
    FD A to cl arif y th e m e an in g o f “ cl e ar           ap p l icatio n s (N D A ’s) an d su p p l e m e n tal           d iab e tic n e p h ro p ath y an d i f al l d ru g s
    im p rov em en t” to d is co u rag e ap p l ican ts        N D A ’s co n sid e re d f o r acce l e rate d                   rel y in g o n su rro g ate e n d p o in ts w o u l d b e
    of “ m e- to o ” p ro d u cts f ro m w astin g th e        ap p ro v al w il l h av e th e h ig h est p rio rity            elig ib l e f o r acce l e rate d ap p ro v al , e .g ., an
    agency’s tim e an d re s o u rce s b y ap p ly in g        f o r re v ie w .                                                an g io te n sin re ce p to r an tag o n ist w ith
    for acce l e rate d ap p ro v al o f s u ch                    S u b p art E d ru g s w il l b e co n s id e re d f or      p o te n tial u til ity f o r tre atm e n t o f
    products. T h e co m m e n t al so ask ed th at            acce l e rate d ap p ro v al i f th e y satisf y b o th          co n g e s tiv e h e art f ailu re. T h e co m m e n t
    FD A sp ecif y th at i f a n e w d ru g is                 el ig ib ility crite ria f o r acce l e rate d                   al s o ask ed w h at w o u l d h ap p e n i f
    approved u n d e r th e acce l e rate d                    ap p ro v al , i.e ., i f th e y are b ein g                     p o stm ark etin g stu d ie s d e m o n strate
    approval p ro v is io n s b e cau s e th e d ru g          d e v e l o p e d f o r th e tre atm e n t o f serio u s o r     b e n e f icial ch an g e s o f su rro g ate
    exhibits a “ cl e ar i m p ro v e m e n t” o v e r an      l if e- th reaten in g ill n e ss e s an d th e                  e n d p o in ts b u t n o t b e n e f icial c lin ic al
    existing d ru g th at w as al so g ran ted                 p ro d u cts w ill p ro v id e m eaning ful
                                                                                                                                e n d p o in ts . T h e co m m e n t al s o ask ed if
    accelerated ap p ro v al , th e n s p e cif ic             th e rap e u tic b en ef its to p atien ts o v e r               FD A w il l co n s id e r p u b lish in g
    restrictions w il l b e p l ace d o n th e p rio r         e xistin g tre atm e n t. A s d is cu s se d ab ov e,            g u id e lin e s o n w h ich su rro g ate
    approved d ru g to l im it its u s e o n l y to            ap p l ican ts sh o u ld co n s u l t w ith FD A                 e n d p o in ts w o u l d b e ap p ro p riate for th e
    patients w h o can n o t to l e rate th e n e w            e arl y in th e d ev e l o p m e n t p ro ce s s to              d is e ase s th at m ay b e af f e cted b y th e
    drug, o r w h o se p h y s ician s ass e ss th at a        d ete rm in e th e n atu re o f th e reg u lato ry               p ro p o se d ru l e . A n o th e r co m m e n t
    change to th e n e w d ru g m ig h t in v o lv e          re v ie w . Earl y co n su l tatio n s are a critical            e xp re s s e d th e b e l ie f th at th e re is n o
    significant risk s to th e p atie n t th at               p art o f su b p art E p ro ce d u re s. D rugs                  e v id e n ce th at su rro g ate en d p o in ts are
                                                              b ein g re v ie w e d u n d e r acce l e rate d                  n e ce s s aril y g o o d in d icato rs o f
    outw eigh th e b en ef its. O n e co m m e n t
    asked th at th e te rm “ m ean in g f u l                 ap p ro v al p ro ce d u re s w ill re ce iv e h ig h            th e rap e u tic b en ef it. T h e co m m e n t stated
                                                              p rio rity rev iew . H o w ev e r, ap p licatio n s              th at a d ru g m ay h av e an ef f ect o n a
    therap eutic b en ef it o v e r e xistin g
                                                              f o r d ru g s f o r acq u ire d                                 su rro g ate e n d p o in t, b u t w il l n o t m ak e
    therapy” b e in te rp re te d an d co n s is te n tl y
                                                              im m u n o d e f icie n cy sy n d ro m e (A ID S)                an y cl in ical d if f e re n ce b e cau s e th e
    applied to b o th d ru g s an d b io l o g ical
    products.                                                 an d h u m an im m u n o d e f icie n cy v iru s                 ad v an ce d stag e o f th e p atie n t’s d is ease
                                                              (H IV J- related co n d itio n s w il l re ce iv e th e          p re cl u d e s an y e f f e ctiv e th e rap y o r th e
      FD A b e lie v es th at th e e xam p l e s g iv en
                                                              h ig h est p rio rity rev iew .                                  su rro g ate m ark er is n o t s y n ch ro n o u s
    to help clarif y th e p h ras e “ m e an in g f u l
    therap eutic b e n e f it o v e r e xistin g              C . C r it e r ia f o r A p p r o v a l                          w ith th e p atie n t’s cl in ical co n d itio n .
    therapy” (ab il ity to tre at u n re sp o n siv e                                                                             A n o th e r co m m e n t ass e rte d th at th e
                                                                 1 1 . T w o co m m e n ts e xp re ss e d co n ce rn           re q u irem en t to b ase an ap p ro v al o n a
    or in to leran t p atie n ts o r im p ro v e d            th at th e p ro p o sal d id n o t p ro v id e
                                                                                                                               su rro g ate e n d p o in t th at is “ re aso n ab ly
    response co m p are d to av ail ab le th erap y )         en o u g h d etail o n w h at co n stitu te s an
                                                                                                                               lik e ly , b ased o n e p id e m io lo g ic,
    are read ily u n d e rs to o d ill u stratio n s o f      ap p ro p riate su rro g ate e n d p o in t. O ne
                                                                                                                               th e rap e u tic, p ath o p h y s io lo g ic, o r o th e r
    the inten t o f th e re q u ire m e n t. A d ru g         co m m e n t re co m m e n d e d th at FD A ad o p t
                                                                                                                               e v id e n ce , to p re d ict cl in ical b en ef it
    that is es sen tial ly th e sam e as av ail ab le         sp e cif ic crite ria f o r w h at co n stitu te s an
                                                                                                                               o th e r th an s u rv iv al o r irrev ersib le
    treatm ent (w h at th e co m m e n t re f e rs to         ap p ro p riate su rro g ate e n d p o in t. T h e
                                                                                                                               m o rb id ity ” is n o t re s trictiv e en o u g h to
    as a “ m e to o ” d ru g ) w il l n o t h av e a
                                                              co m m e n t su g g este d th at su ch crite ria                 assu re ad eq u ate co n s u m e r p ro te ctio n .
    credib le cl aim to a m ean in g f u l                    sh o u ld in cl u d e : ( 1 ) T h e su rro g ate                 T e rm s lik e “ re aso n ab ly l ik e l y ” an d “ or
    therap eutic b en ef it o v e r th at e xistin g          en d p o in t m u st b e b io l o g icall y p lau sib le         o th e r e v id e n ce ” al lo w d ru g
    treatm ent an d th is sh o u ld b e e asil y              in th at it m u st b e co n siste n t w ith w h at
    detected.                                                                                                                   m an u f actu re rs to o m u ch latitu d e for
                                                              is k n o w n ab o u t th e p ath o p h y sio lo g y               cl aim in g th at th e re is a co rre l atio n
      W ith re s p e ct to re s trictin g u s e o f a         an d p ath o g e n e sis o f th e d is e ase ; ( 2 ) th e        b etw een su rro g ate e n d p o in ts af f ecte d b y
    drug p re v io u sl y ap p ro v e d u n d e r             su rro g ate e n d p o in t m u st b e p re se n t o r           th e ir d ru g s an d cl i n ical en d p o in ts . T h e
    accelerated ap p ro v al p ro ce d u re s w h e n a       ab n o rm al in a larg e p e rce n tag e o f p eo p le           co m m en t arg u ed th at u n til a co rre l atio n
    new d rug g ran te d acce l e rate d ap p ro v al         w h o h av e th e d is e ase ; (3) th e su rro g ate             b etw een a su rro g ate e n d p o in t an d a
    is a cl ear im p ro v e m e n t o v e r th e p rio r      e n d p o in t m u st b e a g o o d p re d icto r o f            cl in ical e n d p o in t h as b e en estab lis h e d ,
    approved d ru g , th is w o u l d rare l y b e            th e d is e ase p ro g ressio n an d sh o u ld                   a p articu l ar su rro g ate e n d p o in t sh o u ld
    app rop riate. A l th o u g h , in so m e                 co rre l ate cl o s e l y w ith th e sig n if ican t             o n l y b e u se d to ap p ro v e su b seq u en t
    instances, ce rtain th e rap ie s are                     cl i n ical e n d p o in t; (4 ) th e re sh o u ld b e a          d ru g s, w ith o u t ad e q u ate cl in ical
    identified as “ s e co n d - l in e ,” th is              co rre l atio n b e tw e e n th e q u an titativ e                e v id e n ce , if th e re is a v e ry stro n g ef f ect
    requires ess e n tial ly u n e q u iv o cal               as p e ct o f th e su rro g ate e n d p o in t an d th e          o f th e d ru g o n th e su rro g ate m ark er o r,
    evid ence o f an ad v an tag e o f al te rn ativ e        p ro g re ssio n o f th e d is e ase (e.g ., th e m o re          if th e ef f e ct is n o t su f f icie n tly stro n g ,
    tnerapy, n o t l ik el y o n th e b asis o f a            se v e re th e d is e ase , th e m o re d e v ian t th e          th e re is an ad d itio n al su rro g ate m ark er
    surrogate e n d p o in t. Lab elin g f o r b o th         su rro g ate e n d p o in t f ro m n o rm al); (5 ) th e          w h ich co rro b o rate s th e re s u l ts o f th e
    drugs w ill b e a ccu rate , h o w e v e r,
                                                              re g re ss io n o f th e su rro g ate e n d p o in t              f irst.
    allow ing p h y s ician s to p re s crib e b o th         sh o u ld b e sig n if ican tly ass o ciate d w ith                   FD A in te n d s to p u b lish in f o rm al
      e n ew ly ap p ro v e d d ru g an d th e p rio r        cl i n ical im p ro v e m e n t (e .g ., th o se w ith            g u id an ce co n ce rn in g su rro g ate
    drug p ro p erly .
                                                              th e g re ate st im p ro v e m e n t in th e                      e n d p o in ts , b u t d o e s n o t b elie v e sp e cif ic
      9. O ne co m m e n t ask e d i f a ch an g e in         su rro g ate e n d p o in t sh o u ld al so sh o w th e           re q u ire m e n ts f o r an ap p ro p riate
    uie ro ute o f ad m in is tratio n w o u l d b e          g re ate st cl i n ical ef f e cts ); co n v e rs e l y , th e    su rro g ate sh o u ld b e sp e cif ie d b y




                                                                                                                                                   EX. 8 pg. 020


                                                                                                                                                                  App. 0122
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  58948           F e d e ra l R e g is te r /       V o l. 5 7 , N o . 2 3 9    /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2     /   R u l e s a n d R e g u l a tio n s


  reg u latio n . A n y g iv en sp e cif icatio n s               n o t b e p e rf e ct: B l o o d p re ss u re l o w erin g    p ro p e r as s e s s m e n t o f b en ef it, and valid
  m ay n o t b e ap p l icab l e to a p articu l ar               h as b een a b e tte r p re d icto r o f ef f ect o n         w eig h in g o f its re l atio n to risk , is
  cas e . Fo r e xam p l e , th e th o u g h tf u l               stro k e th an o n co ro n ary arte ry d is e ase ,           e s p e cial l y critical .
  su g g e ste d crite ria s u p p l ie d b y th e                ch o l e s te ro l lo w erin g h as h ad a cl e are r             1 3 . O n e co m m e n t ask ed th at FD A
  co m m e n t w o u l d rare l y , i f e v e r, b e              ef f ect o n co ro n ary arte ry d is e ase th an o n         cl arif y th at o n e stu d y co u l d b e the basis
  ap p licab l e to th e f irst ef f e ctiv e d ru g f or         su rv iv al . M o re o v er, a su rro g ate m ay b e          o f ap p ro v al an d th at o n e postm arketing
  a d is e ase , b e cau s e crite rio n 5 re q u ires            p e rsu as iv e f o r a p h ase o f d is e ase w ith          s tu d y s h o u l d b e al l th at is n eed ed to
  th at reg re ss io n o f th e s u rro g ate e n d p o in t      s h o rt e xp e cte d su rv iv al b u t m u ch l e s s so     estab l is h th e lin k b e tw e e n th e endpoint
  b e ass o ciate d q u an titativ e l y w ith                    in an e arl ie r p h ase o f th e d is ease .                 u s e d f o r ap p ro v al an d so m e relevant
  cl in ical im p ro v e m e n t. If th e re h ad n e v e r       C au tio n is al w ay s ap p ro p riate in                    cl i n ical b en ef it.
  b e en ef f e ctiv e tre atm e n t, th is w o u l d             e v alu atin g su rro g ate e n d p o in ts an d th e             FD A in te rp re ts th e statu te, and good
  n e v e r b e k n o w n . Y e t th e su rro g ate co u l d      p articu l ar th e rap e u tic se ttin g sh o u ld            s ci e n ce , as re q u irin g at least tw o
  b e p e rsu as iv e o n o th e r g ro u n d s, s u ch as        al w ay s b e co n s id e re d . T h e ag e n cy              ad e q u ate an d w e ll - co n tro l l e d studies to
  a w e l l - d o cu m e n te d e tio l o g ic re l atio n . In   b e lie v e s th at th e e v alu atio n o f su rro g ate      estab l is h ef f e ctiv e n e s s. In so m e
  g en eral, it is l ik el y th at o n e o r an o th e r          e n d p o in t d ata an d th e saf e g u ard s b u il t       in s tan ce s , d ru g s h av e b een ap p roved on
  stro n g l y su p p o rtiv e p ie ce o f e v id e n ce          in to th e s e acce l e rate d ap p ro v al                   th e b asis o f a sin g l e w ell - co n tro lled
  m ig h t o u tw e ig h g ap s in o th e r are as.               p ro ce d u re s w il l p ro v id e ad eq u ate               s tu d y : th is h as b e en d o n e w h ere the
      In d e v e l o p in g in f o rm al g u id an ce o n         co n s u m e r p ro te ctio n .                               stu d y w as o f e xce l l e n t d esig n , show ed
  su rro g ate e n d p o in ts , FD A w il l co n s id e r            12 .       O n e co m m e n t e xp re s s e d co n ce rn. a h ig h d eg ree o f s tatis tical significance,
  th e su g g e stio n s in th is co m m e n t.                   th at if th e re is n o acce p te d su rro g ate              in v o lv e d m u l tip le stu d y ce n te rs , and
  In teres ted p e rso n s w il l h av e an                       e n d p o in t, an ap p l ican t’s o n l y o p tio n is       sh o w e d so m e e v id e n ce o f intern al
  o p p o rtu n ity to co m m e n t o n an y                      to co n d u ct a stu d y u sin g so m e cl in ical            re p l icab il ity , e .g ., sim il ar ef f ects in
  g u id an ce d o cu m e n ts in th is are a                     e v e n t as an e n d p o in t, w h ich m ay re su l t        m aj o r stu d y su b sets. FD A encourages
  d e v e l o p e d b y th e ag e n cy . In s o m e cas e s ,     in lo n g , large stu d ie s th at d e lay                    ap p l ican ts to d is cu s s w ith FD A early in
  n e w o r re v is e d d ru g cl as s , o r d is e ase -         ap p ro v al to th e d etrim e n t o f p atie n ts            a d ru g ’s d e v e l o p m e n t th e b asis for the
  s p e cif ic, cl i n ical g u id e lin e s m ay re f e r to     an d sp o n so rs . O n e co m m e n t su g g ested           ap p l i can t’s ch o ice o f a sp ecif ic endpoint
  su rro g ate e n d p o in ts . FD A is n o t                    a s an al te rn ativ e th at FD A p e rm it                   an d , w h e re ap p li cab l e , th e b asis for its
  p re p are d , at th is tim e , to co m m e n t o n             ap p ro v al o f a d ru g b ase d o n a stu d y               b e l ie f th at a sin g l e stu d y w o u l d b e a
  th e acce p tab il ity o f an e n d p o in t th at it           u sin g a cl in ical e n d p o in t, b u t acce p t a         su f f icie n t b asis f or ap p ro v al . W ith
  h as n o t sp e cif ical l y co n s id e re d , e.g .,          le ss rig o ro u s stan d ard o f s tatis tical               re s p e ct to p o s tm ark etin g stu d ies, FD A
  m icro al b u m in u ria.                                       s ig n if ican ce , e .g ., 0 .2 0 o r 0 .1 5 in s te ad o f   an ticip ate s th at th e req u irem e n t w ill
     T h e f in al re g u latio n s m ak e it cl e ar             0 .0 5 . T h e co m m e n t f u rth er su g g e ste d          u s u al l y b e m e t b y stu d ies alread y
  th at n o t all d ru g s su b m itte d f o r ap p ro v al       th at th e sp o n so r co u l d th e n co m p l e te           u n d e rw ay at th e tim e o f ap p ro val. A s
  b ase d o n su rro g ate e n d p o in t d ata are               p o s tm ark etin g stu d ie s to e stab lis h                 state d in th e p ro p o se d ru le , the
  el ig ib le f o r a cce l e rate d ap p ro v al                 statis tical s ig n if ican ce at co n v e n tio n al          re q u ire m e n t f o r an y ad d itio n al study to
  (§ § 3 1 4 .5 0 0 an d 6 0 1 .4 0 ) . T h e d ru g in           l ev e ls . T h e co m m e n t arg u ed th at th is            d e m o n s trate actu al cl in ical b enefit will
                                                                                                                                 n o t b e m o re strin g e n t th an th o se that
  C
         'io n m u st b e f o r a se rio u s o f lif e-           al te rn ativ e is to tal l y co n s is te n t w ith
          te n in g co n d itio n an d m u st p ro v id e         FD A ’s w il lin g n e ss to acce p t g re ater                w o u l d n o rm all y b e req u ired for
  m e an in g f u l th e rap e u tic b en ef it o v e r           u n ce rtain ty in ap p ro v in g d ru g s f or                m ark etin g ap p ro v al o f th e sam e drug for
  e xistin g th e rap y . In th e cas e o f an                    se rio u s an d l if e- th re aten in g illn ess es.           th e sam e cl aim .
  an g io ten sin re ce p to r an tag o n ist p o s ed               T h e in te n t o f th e ru le is to al l o w FD A             1 4 . O n e co m m e n t exp re ss ed concern
  b y th e co m m e n t, th e re is e xistin g                    to u til iz e a p articu l ar k in d o f e v id e n ce ,       th at th e p re am b le to th e p ro p o sed rule
  d o cu m e n te d lif e - p ro lo n g in g tre atm e n t        an ef f e ct o n a su rro g ate e n d p o in t, as a           im p lie d th at a sp o n so r o f an A ID S drug
  f o r co n g e s tiv e h e art f ailu re . A n                  b as is f o r ap p ro v al , an d , w h e re                   m ig h t h av e to d o a p o stm ark etin g study
  ap p l icatio n f o r a n e w ag en t, to b e                   ap p ro p riate , to en su re th at re m ain in g              to e stab lis h an ef f ect o n surv iv al after
  el ig ib le f o r acce l e rate d ap p ro v al , w o u l d      d o u b ts ab o u t th e re l atio n s h ip o f th e           sh o w in g an ef f e ct o n s u ch end p oints as
  h av e to sh o w p o te n ti al b en ef it o v e r              ef f ect o n th e su rro g ate to cl in ical b en ef it        w eig h t o r in cid e n ce o f o p p o rtun istic
  av ail ab le th e rap y as w e l l as id en tif y a             are re s o l v e d b y ad d itio n al ad e q u ate an d        in f e ctio n ( 5 7 FR 1 3 2 3 4 at 1 3 2 3 5 - 1 3 2 3 6 ) .
  re as o n ab le su rro g ate e n d p o in t. T h is is          w e l l - co n tro l l e d stu d ie s w ith cl in ical         T h e co m m e n t state d th at FD A ’s ow n
  p ro b l e m atic s in ce n o acce p te d su rro g ate          en d p o in ts . T h e ru l e is n o t in te n d e d to        ad v iso ry co m m itte e in d icate d that it
  en d p o in t f o r s tu d ie s to tre at co n g e s tiv e      p l ace in to th e m ark et d ru g s w ith little              w as p le as e d to see an ef f ect from a
  h e art f ailu re h as b e e n id e n tif ie d to d ate.        e v id e n ce o f u se f u ln ess . A lth o u g h th e re      n u cl e o s id e an alo g u e o n th e incid ence of
  Fo r e xam p l e , s o m e d ru g s w ith f av o rab le         is n o statu to ry re q u ire m e n t f or                     o p p o rtu n is tic in f e ctio n s w ith A ID S
  ef f e cts o n h e m o d y n am ic m e as u re s in             sig n if ican ce te stin g o f an y p articu l ar              p atie n ts b u t d id n o t sug gest th at further
  h e art f ailu re p atie n ts h av e b ee n                     v alu e , th e re are w e ll - e stab l ish e d                w o rk sh o u ld b e d o n e to sh o w an effect
  cl in ical l y in e f f e ctiv e .                              co n v e n tio n s f o r ass e ss in g statis tical            o n m o rtal ity . T h e co m m e n t argued that
      T h e re g u latio n s are cl e a r in req u irin g         s ig n if ican ce to s u p p o rt th e s tatu to ril y         in so m e cas e s d ire ct co rre latio n w ith
  th at, f o r d ru g s ap p ro v e d u n d e r th e s e          re q u ire d co n cl u s io n th at th e w e ll -              cl i n ical e n d p o in ts su ch as m o rtality is
  p ro v isio n s b ase d o n su rro g ate                        co n tro l l e d s tu d ie s h av e d e m o n s trate d        d if f icu lt to p ro v e an d u rg ed FD A to be
  e n d p o in ts , th e p o stm ark e tin g stu d ie s           th at a d ru g w il l h av e th e e f f e ct it is             f le xib le o n th is iss u e to en co u rage
  m u st sh o w cl i n ical b en ef it, n o t ju st th e          re p re s e n te d to h av e. T h e re is n o th in g          s p o n so rs to g o th ro u g h th e accelerated
  p re v io u sl y sh o w n ef f e ct o n th e su rro g ate       ab o u t se rio u s o r l if e- th re aten in g                ap p ro v al p ro ce s s .               . , ,
  (§ § 3 1 4 .5 1 0 , 3 1 4 .5 3 0 , 6 0 1 .4 1 , an d            d is e ase s th at m ak e th e m u n iq u e l y                  O rd in arily , an ef f ect o n a meaningtui
  6 0 1 .4 3 ).                                                   d if f icu lt to stu d y . A m ean in g f u l ef f e ct        cl in ical e n d p o in t, e.g ., o n rate o f
     S u rro g ate s, o r p ro p o s e d su rro g ate s ,         o n s u rv iv al o r m o rb id ity w h e re th e re is         o p p o rtu n is tic in f ectio n s in A ID S, is a
  are n o t al w ay s g o o d , n o r n e ce s s aril y           n o e f f ectiv e th e rap y sh o u ld b e re ad ily           su f f icie n t b asis f o r ap p ro v al w ithout
  b ad , in d icato rs o f th e rap e u tic b en ef it            d is ce rn e d . S u ch s tu d ie s n e e d b e lo n g         n e e d f o r f o llo w u p stu d ies . O ther
  an d m u st b e ju d g ed o n a cas e - b y - cas e             an d larg e o n l y w h en th e ef f ect is sm all             e n d p o in ts , h o w e v e r, m igh t leave major
  b asis. Ev e n v e ry g o o d su rro g ate s m ay               o r d if f icu lt to d e te ct. In th at ev e n t,             q u e stio n s u n an sw ere d . Fo r exam ple* a




                                                                                                                                                EX. 8 pg. 021


                                                                                                                                                               App. 0123
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                F e d e ra l R e g is te r /   V o l. 5 7 , N o . 2 3 9    /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2     /   R u l e s a n d R e g u l a tio n s       58949


 m odest ef f ect o n w e ig h t g ain in A ID S           su b m is sio n o f p ro m o tio n al m ate rials              e n s u re th e co n tin u e d saf ety , p u rity , an d
 w ithout o th e r d e m o n s trate d b en ef it, i f     w as n o t b ased u p o n an ass u m p tio n th at             p o te n cy o f th e p ro d u cts . T h e co n te n t o f
 co n sid ered an ad e q u ate b asis f o r                p ro m o tio n al m ate rials f o r d ru g s                   p ro m o tio n al m ate rials is im p o rtan t to
 ap p roval, w h il e a cl in ical e n d p o in t,         in te n d ed to tre at se rio u s d is e ase s are             th e co n tin u e d saf e an d e f f ectiv e u se o f
 m ight leav e su f f icie n t d o u b t as to th e        m o re lik el y to b e m isl ead in g th an                    b io l o g icals .
 ultim ate v alu e o f th e ef f e ct so th at             p ro m o tio n al m ate rials f or o th e r ty p e s o f          T h e re f o re , th e p ro v isio n s o f th e f inal
 further stu d ie s w o u l d b e n e ce s s ary . FD A    d ru g s b e cau s e an y s u ch ass u m p tio n               ru l e re q u irin g su b m iss io n o f
 intends to in te rp re t th is p ro v isio n o f th e     w o u l d b e u n f o u n d ed . O n e co m m e n t            p ro m o tio n al m ate rials p rio r to ap p ro v al
 regulations w ith f lexib ility . T h is                  arg u ed th at i f an ad v e rtise m e n t o r                 u n d e r th e acce l e rate d ap p ro v al
 p rovision sh o u ld al so s e rv e as a                  lab eling is in accu rate , th e p ro d u ct is                p ro ce d u re s an d su b se q u en t to s u ch
 rem ind er, h o w e v e r, th at f o r lif e-             m isb ran d ed an d FD A co u l d th e n o b tain              ap p ro v al are au th o riz e d h y statu to ry
 threatening d is e ase s , th e u ltim ate aim o f        in j u n ctiv e re l ie f , se iz e th e p ro d u ct, an d /   p ro v isio n s. FD A m ig h t al so in v o k e th e
 therapy is im p ro v e d s u rv iv al as w el l as        o r in itiate crim in al p ro ce e d in g s.                   au th o rity o f s e ctio n 5 0 2 (n ) o f th e act (2 1
 im p roved sy m p to m s.                                 A n o th e r co m m e n t co n s id e re d req u irin g        U .S .C . 3 5 2 (n )) to req u ire p rio r ap p ro v al
    15. O n e co m m e n t ask ed FD A to                  ad v an ce su b m is sio n o f p ro m o tio n al               o f th e co n te n t o f an y p re scrip ti o n d ru g
 clarify w h at a sp o n s o r's o b lig atio n is to      m ate rials u n re aso n ab le b e cau s e                     ad v e rtise m e n t in " e xtrao rd in ary
 continue su p p l y in g m e d icatio n o n a             co m p an ie s are n o t re q u ired to d u so                 circu m s tan ce s .” W h e th e r FD A co u l d
 co m p assion ate b asis i f cl i n ical e f f icacy      n o w . O n e co m m e n t q u estio n ed th e legal           ap p ro p riate ly re l y o n s e ctio n 5 0 2 (n ) o f
 is not d e m o n strate d to FD A 's                      au th o rity f o r req u irin g p re su b m iss io n o f       th e a ct in p ro m u lg atin g § § 3 1 4 .5 5 0 an d
 satisfaction in p o stm ark e tin g s tu d ie s b u t     p ro m o tio n al m ate rial f o llo w in g                    6 0 1 .4 5 n e e d n o t b e d e te rm in e d ,
 ind ividual p atie n ts ap p e ar to b e                  ap p ro v al o f a d ru g p ro d u ct, an d th e               h o w e v e r, b e cau s e FD A is n o t re ly in g
 benefiting f ro m u s e o f th e d ru g .                 re aso n f or th e re q u irem en t.                           u p o n s e ctio n 5 0 2 (n ) o f th e act as legal
   S p o nso rs are n o t o b lig ated to su p p l y          T h e ag e n cy b eliev es th at th e                       au th o rity f o r th e s e (o r an y o th er)
 drugs o n a " co m p as s io n ate b as is .”             re q u irem en ts f o r su b m is sio n o f                    s e ctio n s o f th e acce l e rate d ap p ro v al
 W hether, i f cl i n ical s tu d ie s d id n o t          p ro m o tio n al m ate rials in th e co n te xt o f           reg u latio n s.
 show ef f e ctiv en e ss, f u rth e r av ailab ility      acce l e rate d ap p ro v al are au th o riz ed b y                T h e ag e n cy b e lie v e s th at ad v an ce
 of the d ru g w o u l d b e ap p ro p riate u n d e r    statu te. S u b se ctio n s 5 0 5 (d )(4 ) an d (d )( 5 )       su b m iss io n s o f p ro m o tio n al m aterials
 any m ech an ism w o u l d b e d e te rm in e d          o f th e act p ro v id e th at, in d eterm in in g              f o r acce l e rate d ap p ro v al p ro d u cts are
 case-b y -case.                                          w h e th e r to ap p ro v e a d ru g as saf e an d              w arran te d u n d e r th e acce l e rate d
 D. P r o m o t io n al M a t e r ia ls                   ef f e ctiv e , th e ag e n cy m ay co n s id e r n o t         ap p ro v al circu m s tan ce s . T h e sp e cial
                                                          o n l y in f o rm atio n s u ch as d ata f ro m                 circu m s tan ce s u n d e r w h ich d ru g s w ill
    16. T h ree co m m e n ts ass e rte d th at           cl in ical stu d ies b u t al so " a n y o th e r               b e ap p ro v e d u n d e r th e s e p ro v isio n s an d
 requiring ad v an ce s u b m iss io n s o f
                                                          in f o rm atio n ” re l e v an t to saf ety an d                th e p o s sib il ity th at p ro m o tio n al
 p rom otional m ate rial s is b o th b e y o n d         ef f e ctiv en e ss u n d e r th e p ro p o se d                m ate rials co u l d ad v e rse l y af f ect th e
 FD A ’s statu to ry au th o rity an d is
                                                          co n d itio n s o f u se . S u ch in f o rm atio n              se n s itiv e risk / b en ef it b al an ce ju stify
 u nnecessary . A l th o u g h FD A state d in            w o u l d in cl u d e in f o rm atio n ab o u t h o w           re v ie w o f p ro m o tio n al m ate rials b ef o re
 the p ro p o sal th at it d o e s n o t in te n d
                                                          th e d ru g w o u l d b e p ro m o ted . In                     an d af ter ap p ro v al . Fo r e xam p l e , i f th e
 sp ecif ically to ap p ro v e p ro m o tio n al          d eterm in in g w h e th e r th e d ru g ’s                     p ro m o tio n al m ate rials exag g e rate th e
 m aterials, tw o co m m e n ts co n te n d e d th at     p ro p o se d lab elin g w o u ld b e " f al s e o r            k n o w n b en ef its o f th e d ru g , w id e r an d
 is the lik ely ef f e ct o f ad v an ce
                                                          m isl e ad in g ” u n d e r se ctio n 5 0 5 (d )(7 ) o f        in ap p ro p riate u se o f th e d ru g co u l d b e
 sub m ission. T h e co m m e n t cite d se ctio n        th e act, th e ag e n cy is sim ilarly                          e n co u rag e d , w ith h arm f u l re su lts.
 502(n) o f th e a ct (21 U .S .C . 3 5 2 (n )),                                                                             S im il arl y , h ig h risk d ru g s th at are
                                                          au th o riz e d to e v alu ate " a l l m ate rial
 w hich p ro v id e s th at n o re g u latio n                                                                            ap p ro v e d b ase d o n p o stm ark etin g
                                                          f acts ” d u rin g th e ap p ro v al p ro ce s s ,
 prom ulgated u n d e r th at p ro v isio n sh al l       in cl u d in g th e f acts ab o u t p ro m o tio n .            re s trictio n s w o u l d n o t h av e b een
 require p rio r FD A ap p ro v al o f th e                   FD A is al so au th o riz e d b y se ctio n                 ap p ro v e d f or u s e w ith o u t th o se
 content o f an y ad v e rtis e m e n t " e x ce p t in   5 0 5 (k ) o f th e act to re q u ire re p o rtin g o f         re s trictio n s b e cau s e th e risk / b en ef it
 extraord inary ci rcu m s ta n ce s ,” an d              in f o rm atio n su b seq u en t to ap p ro v al                b al an ce w o u l d n o t justif y su ch
 asserted th at th e " e xtrao rd in ary                  n e ce s s ary to en ab le th e ag en cy to                     ap p ro v al . If p ro m o tio n al m ate rials w ere
 circu m stan ces” lan g u ag e w o u l d n o t           d e te rm in e w h e th e r th e re m ay b e                    to u n d e rm in e th e p o stm ark etin g
 apply to d ru g s ap p ro v e d u n d e r th e           g ro u n d s f or w ith d raw in g th e ap p ro v al.           re s trictio n s , th e h e alth an d saf ety o f
 accelerated ap p ro v al p ro g ram . O n e              A m o n g th e g ro u n d s f o r w ith d raw al                p atie n ts co u l d b e g re atly jeo p ard iz ed .
 com m ent arg u ed th at su b m iss io n o f             sp e cif ie d in se ctio n 5 0 5 (e ) o f th e act are             A lth o u g h th e re is p o te n tial h arm f rom
 p rom otional m ate rial p rio r an d                    th at th e e v id e n ce re v e al s th e d ru g is n o t       an y m isl e ad in g p ro m o tio n , an d th ere is
 subsequent to ap p ro v al is u n w arran te d           sh o w n to b e saf e an d ef f e ctiv e u n d e r its          n o re as o n to b e lie v e im p ro p e r
 when d ealin g w ith tre atm e n ts f or                 co n d itio n s o f u se . In ad d itio n , d ru g              p ro m o tio n is m o re lik el y in th is settin g
 serious o r lif e- th reaten in g ill n e ss e s         ap p ro v al m ay b e w ith d raw n if                          th an in o th e rs , th e risk / b en ef it b alan ce
 w here d is se m in atio n o f th e m o st cu rre n t    in f o rm atio n sh o w s th e lab elin g to b e                is e s p e cial l y se n s itiv e in th is settin g .
 and tim ely in f o rm atio n is im p o rtan t to         f alse o r m is le ad in g . In f o rm atio n o n h o w         T h e re l ativ e ly sm all d ata b ase av ailab le
 the treatin g p h y s ician . O n e co m m e n t         th e d ru g w il l b e p ro m o te d is ag ain                  an d th e m in im al p u b lis h ed in f o rm atio n
 questioned w h y th e re w o u l d b e an y              re l e v an t to w h e th e r th e d ru g ’s m ark etin g       av ail ab le al so can co n trib u te to m ak ing
 greater lik el ih o o d o f m isl e ad in g              ap p ro v al sh o u ld b e w ith d raw n . S e ctio n           th e p h y s ician an d p atie n t p o p u latio n s
 Prom otional cl aim s f o r p ro d u cts                 7 0 1 (a) o f th e act (21 U .S .C . 3 7 1 (a))                 p articu l arl y v u l n e rab le u n d e r
 A pproved u n d e r th e p ro p o se d                   g en eral l y au th o riz e s FD A to p ro m u lg ate           acce l e rate d ap p ro v al circu m s tan ce s .
 accelerated ap p ro v al p ro ce s s th an f o r         re g u latio n s f o r th e ef f icien t e n f o rce m e n t       R e lian ce o n co u rt actio n s (su ch as
 «rugs in te n d ed to tre at se rio u s o r lif e-       o f th e act.                                                   se iz u re s , in j u n ctio n s, an d crim in al
 threatening d is e ase s th at are ap p ro v e d            Fo r b io l o g ical p ro d u cts , ad d itio n al           p ro s e cu tio n s ) can b e ef f e ctiv e in en d in g
 under th e n o rm al N D A p ro ce d u re s . T h e      au th o rity in s e ctio n 3 5 1 o f th e PH S A ct             f alse p ro m o tio n s, b u t can o n l y b e
 com m ent al so e xp re s s e d th e h o p e th at       (4 2 U .S .C . 2 6 2 ) au th o riz e s th e                     in itiate d af ter th e f act, w h e n h arm h as
 the p ro p o sed re q u ire m e n t f o r ad v an ce     p ro m u lg atio n o f re g u latio n s d esig n ed to          al re ad y o ccu rre d . C o rre ctiv e ef f o rts can




                                                                                                                                            EX. 8 pg. 022


                                                                                                                                                          App. 0124
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  53950           F e d e ra l R e g is te r /    V o l. 5 7 , N o . 2 3 9     /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2     /   R u l e s a n d R e g u la tio n s


  b e h elp f u l b u t are al w ay s s o m e w h at           ap p ro v al w h e th e r th e p ro d u ct is a n e w          th e s p o n s o r to p ro ce e d to u se
  d el ay ed . U n d e r th e circu m s tan ce s o f           d ru g , an an tib io tic, o r a b io l o g ical               p ro m o tio n al m ate rial s af te r an allotted
  acce l e rate d ap p ro v al , FD A b e l ie v e s th at     p ro d u ct.                                                   tim e f ram e , s u ch a s 3 0 d ay s , unless
  it is f ar p re f e rab l e to av o id p ro b l e m s b y       1 8 . O n e co m m e n t co n te n d e d th at FD A         o th e rw is e n o tif ie d b y FD A .
  re v ie w in g th e p ro m o tio n al m ate rial s in        re v ie w an d ap p ro v al o f al l p ro m o tio n al            A s in d icate d fay th is co m m e n t and
  ad v an ce o f d ru g ap p ro v al an d o f                  p ie ce s b ef o re th e ir u se w il l in d e f in ite l y    o th e rs , ad d itio n al cl arif icatio n regarding
  d is se m in atio n o f m e m ate rials .                    d e lay p ro d u ct m ark e tin g cam p aig n s an d           b o th tim in g an d co n te n t o f th e
     17.       T w o co m m e n ts su p p o rte d th e         o th e r p atie n t an d p h y s ician e d u catio n al        s u b m iss io n s o f p ro m o tio n al m aterials
  p ro v isio n ab o u t su b m iss io n o f                   activ itie s , w h ich are e ss e n tial to m ark et           se e m s u se f u l. T h e re f o re , th e agency is
  p ro m o tio n al m ate rial s . O n e co m m e n t          a p ro d u ct, th ereb y sig n if ican tly                     re v is in g p ro p o s e d § § 3 1 4 .5 5 0 and
  u rg ed th e ag e n cy to re q u ire th at s p e cif ic      d im in ish in g th e ad v an tag e o f se cu rin g            6 0 1 .4 5 to m ak e it cl e ar th at, u nless
  p atie n t in f o rm atio n b e in cl u d e d in             an e arl y ap p ro v al f o r th e a p p l i ca n t T h e      o th e rw is e in f o rm e d b y th e ag ency ,
  p ro m o tio n al m ate rial s to in d icate th e            co m m e n t f u rth e r co n te n d e d th at th e            ap p l ican ts m u st su b m it d u rin g the
  f eet th at th e d ru g ’s cl i n ical b en ef it h as       re q u ire m e n t to su b m it “ al l p ro m o tio n al       p re ap p ro v al re v ie w p e rio d co p ies of ail
  n o t y e t b e en e s tab l is h e d . Fo r d ru g s        m ate rial s * * * in te n d e d f o r                         p ro m o tio n al m ate rial s in ten d ed for
  ap p ro v e d u n d e r th e re s tricte d u s e             d is se m in atio n o r p u b licatio n u p o n                d is s e m in atio n o r p u b licatio n w ithin the
  p ro v isio n , th e co m m e n t re co m m e n d e d        m ark etin g ap p ro v al ” w il l b e o v e rl y              f irst 120 (to ys f o llo w in g m ark eting
  th at th e lab e lin g s p e cif y in d etail th e           b u rd e n so m e l o r FD A an d w il l                       ap p ro v al . T h e in itial p ro m o tio n al
  e x a ct re s trictio n s p l ace d o n th e d ru g . In     u n n e ce s s aril y s l o w d o w n th e p ro ce s s f o r   cam p aig n , s o m e tim e s ref erred to as the
  b o th cas e s , th e co m m e n t re co m m e n d e d       re v ie w o f al l m ate rials , n o t j u s t th o s e f or   “ l au n ch cam p aig n ,” o f ten h as a
  th at th is p atie n t in f o rm atio n ap p e ar as         p ro d u cts su b j e ct to th is p ro p o se d ru l e .       sig n if ican t ef f ect o n th e clim ate o f use
  b o xe d w arn in g s.                                       T h e co m m e n t re co m m e n d e d th at FD A              f o r a n e w p ro d u ct. A s d is cu sse d
     S e ctio n 5 0 2 (n ) o f th e a ct an d                  o n l y re q u e st f o r re v ie w th e p rim ary             e l s e w h e re in th is p ream b le, th e risk/
  re g u latio n s at § 2 0 2 . 1 (e )( 1 ) (21 C FR           ad v e rtisin g p ie ce s , su ch as th e                      b en ef it b al an ce o f acce l e rate d approval
  2 0 2 . 1 (e )( 1 )) re q u ire p re s crip tio n d ru g     in tro d u cto ry l e tte r to p h y s ician s , th e          p ro d u cts is e s p e cial l y s en sitiv e , and
  ad v e rtise m e n ts (p ro m o ti o n al m ate rial)        m ain d e tail p ie ce , an d th e m ain jo u rn al            in ap p ro p riate p ro m o tio n m ay adversely
  to co n tain , am o n g o th e r th in g s , a tru e         ad v e rtise m e n t, b u t n o t th e s e co n d ary          af f e ct th e b al an ce w ith resultin g harm.
  s tate m e n t o f in f o rm atio n in b rie f               m ate rial s , e .g ., a l e tte r to p h arm acis ts , o f       T h e re m ay b e so m e in s tan ce s in
  su m m ary re l atin g to s i d e ef f e cts ,               th e in itial p ro m o tio n al cam p aig n .                  w h ich p ro m o tio n al m ate rial s that had
  co n train d icatio n s , an d e f f e ctiv e n e s s,          A s p re v io u sl y d is cu s s e d in th is               n o t b een co m p l e te d an d sub m itted by
  w h ich w o u l d i n cl u d e w arn in g s,                 p re am b l e , FD A w il l b e re v ie w in g an              th e ap p l ican t p rio r to ap p ro v al w ould be
  p re cau tio n s , an d l im itatio n s o n u se . T h e     ap p l ican t’s p lan n e d p ro m o tio n al                  b e n e f icial in f o sterin g saf e an d effective
  in f o rm atio n in b rie f su m m ary re l atin g to        m ate rials b o th p rio r to ap p ro v al o f an              u s e o f th e p ro d u ct d u rin g th e first 120
  sid e e f f e cts , co n train d icatio n s , an d           ap p l icatio n (ref l ectin g th e in itial                   d ay s . U n d e r re v is e d § § 3 1 4 .5 5 0 and
  ef f e ctiv e n e s s is re q u ire d to b e b ase d         cam p aig n ) an d su b seq u en t to ap p ro v al             6 0 1 .4 5 , FD A w o u l d h av e th e discretion
  s o l e ly o n th e ap p ro v e d lab elin g .               to as ce rtain w h e th e r th e m ate rials m ig h t          to co n s id e r s u ch m ate rials at a later
  T h e re f o re , to th e e xte n t th at a d ru g ’s        ad v e rse l y af f ect th e d ru g ’ s s e n s itiv e         tim e . A n ap p l ican t w h o req uested
  lab e lin g re f l e cts th e e xte n t o f cl in ical       risk / b e n e f it b al an ce . B e cau s e al l              p e rm iss io n to in cl u d e ad d itio n al
  e xp o s u re an d i n cl u d e s ap p ro p riate            p ro m o tio n al m ate rials , in cl u d in g th o se         m ate rials am o n g th o s e d issem inated
  w arn in g s, a d ru g ’s p ro m o tio n al m ate rial       re f e rred to b y th e co m m e n t as                        w ith in th e f irst 120 d ay s follow ing
  w o u l d al so in cl u d e th is in f o rm atio n .         “ s e co n d ary ” m ate rial s , can h av e                   p ro d u ct ap p ro v al w o u l d b e notified of
     FD A re g u latio n s g o v ern in g                      sig n if ican t ad v e rse ef f ects i f th e y are            FD A ’s d e te rm in atio n . If FD A agreed that
  p re s crip tio n d ru g lab e lin g (21 C FR                m isl e ad in g , th e ag e n cy d o e s n o t ag ree          d is se m in atio n o f s u ch m aterials w as
  2 0 1 .5 6 an d 2 0 1 .5 7 ) re q u ire th at se rio u s     th at su ch m ate rials s h o u ld , as a m atte r             acce p tab l e , th e m ate rials co u ld then be
 ad v e rs e re actio n s an d p o te n tial saf e ty          o f co u rs e , n o t b e re q u e ste d f o r re v ie w .     d is se m in ate d o r p u b lis h ed up on
 h az ard s, as w e l l as l im itatio n s in u se             In so f ar as s u ch m ate rials m ay b e                      n o tif icatio n .
 im p o s e d b y th e m , b e i n cl u d e d in th e          d ire ctl y d e riv e d f ro m th e in tro d u cto ry             Fo r p ro m o tio n al m ate rial s intended
  “ W arn in g ” s e ctio n o f th e lab el in g . In th e     l e tte r to p h y s ician s , o r o th e r m ate rials        f o r d is se m in atio n su b seq u en t to the
 cas e o f ap p ro v al b as e d u p o n ef f ect o n a        ch aracte riz e d b y th e co m m e n t as                     in itial 1 2 0 d ay s u n d e r § § 3 1 4 .5 5 0 and
  su rro g ate m id p o in t, th e “ I n d icatio n s an d     “ p rim ary ” m ate rial s , th e ad d itio n al tim e         6 0 1 . 4 5 FD A w o u l d re v ie w th e submitted
 U s ag e ” s e ctio n o f th e l ab elin g w o u l d          to re v ie w th e d e riv ativ e m ate rials                   m ate rial s w ith in 3 0 d ay s o f receip t. This
 re f l e ct th e n atu re o f th e d e m o n s trate d        sh o u ld n o t b e e xte n s iv e .                           3 0 - d ay p e rio d is m ean t to b e tim e-
 e f f e ct If th e ap p ro v al is b ase d o n u se              T h e ag e n cy d o e s n o t ag re e w ith th e            lim ited ,- s o th at th e ap p lican t w ill be
 re s trictio n s , th e lab el w o u l d al s o sp ecif y     co m m e n t’s co n te n tio n th at th e                      as s u re d o f n o u n n e ce s s ary d elay, ft will
 th e re s trictio n s .                                       re q u ire m e n t to su b m it al l p ro m o tio n al         b e im p o rtan t f o r th e ap p lican t to
    FD A m ay re q u ire b o xe d w arn in g s if              m ate rials p rim to an d su b seq u en t to                   id e n tif y th e m ate rials b ein g subm itted
 th e re are s p e cial p ro b l e m s ass o ciate d           ap p ro v al w il l in d e f in ite l y d e lay                ap p ro p riate l y , so th at it is cl e ar that the
 w ith a d ru g , p articu l arl y th o s e th at m ay         m ark etin g cam p aig n s an d e d u catio n al               m ate rials are su b je ct to th e 30- d ay
 le ad to d e ath o r s e rio u s in j u ry (2 1 C FR          activ itie s o r b e o v e rl y b u rd e n so m e to           re v ie w p e rio d . T h e ag en cy intend s to
 2 0 1 .5 7 (e )). T h e ag e n cy d o e s n o t ag ree        FD A re v ie w e rs . FD A is co m m itte d to                 re v ie w al l su ch m ate rials p rom p tly, and
 th at in f o rm atio n re l ate d to cl i n ical              rap id re v ie w an d e v al u atio n o f al l d ru g s        to n o tif y th e ap p l ican t o f an y identified
 b en ef it o r u s e re s trictio n s f o r acce l e rate d   co n s id e re d to r ap p ro v al u n d e r th is ru le       p ro b l e m s as so o n as p o ssib le. T he
 ap p ro v al d ru g s w o u l d n e ce s s aril y             an d w il l p ro m p tl y re v ie w th e                       ag e n cy e xp e cts th at, i f th e ag ency
 al w ay s re q u ire a b o xe d w arn in g .                  p ro m o tio n al m ate rials .                                n o tif ie s th e ap p l ican t o f significant
    A s in d icate d b y § § 3 1 4 . 5 5 0 an d                   1 9 . O n e co m m e n t su g g e ste d a p ass iv e ,      o b j e ctio n s to th e p ro p o se d m aterials, no
 5 0 1 .4 5   o f th e f in al ru l e , ap p l ican ts w ill   tim e - l im ite d cl e aran ce s y ste m f o r                m ate rial s w il l b e d is sem in ated o r
 b e re q u ire d to su b m it p ro m o tio n al               re v ie w o f ad v e rtisin g af te r th e in itial            p u b lish e d u n til th e ag e n cy ’s objections
 m ate rials p rio r to ap p ro v al an d in                   p ro m o tio n al cam p aig n s u ch as th at u se d           are re s o l v e d . T h e ap p lican t should plan
 ad v an ce o f d is s e m in atio n su b seq u en t to        for re v ie w o f IN D ’ s, w h ich w o u l d al lo w          to al l o w su f f icie n t tim e af ter receiving




                                                                                                                                             EX. 8 pg. 023


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                   F e d e ra l R e g i s te r /        V o l. 5 7 , N o . 2 3 9    /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2       /   R u l e s a n d R e g u l a ti o n s        58951


  FDA’s co m m e n ts f o r re s o l v in g                         ass u re th e saf ety an d ef f e ctiv e n e ss o f              th e re i s n o s tatu to ry au th o rity to im p o se
  d if ferences an d in co rp o ratin g re q u e ste d              n e w d ru g s.                                                  re s trictio n s o n d is trib u tio n f or
  changes in th e su b m itte d m ate rials p rio r                    T h e ag e n cy d o e s n o t ag ree w ith th e               acce l e rate d ap p ro v al d ru g s. T h e
  to d issem in atio n o r p u b licatio n .                        co m m e n ts ’ co n te n tio n th at th e                       situ atio n co n s id e re d in th at cas e is
    W hen FD A re m o v e s th e re q u ire m e n t                 m is b ran d in g p ro v isio n s o f th e a ct are              re ad ily d is tin g u is h ab le f ro m th e
  for ad v an ce su b m iss io n o f p ro m o tio n al              irre l e v an t. S e ctio n 5 0 2 (a) o f th e act               s itu atio n ad d re ss e d in § § 3 1 4 .5 2 0 an d
  m aterial, th e ag e n cy w il l co n tin u e to                  p ro h ib its f alse o r m isl ead in g lab elin g o f           6 0 1 . 4 2 o f th e acce l e rate d ap p ro v al
  offer a p ro m p t re v ie w o f al l v o l u n tarily            d ru g s , in cl u d in g (u n d e r s e ctio n 2 01 (n)         re g u latio n s. T h e A P h A cas e co n ce rn e d a
  sub m itted p ro m o tio n al m ate rial.                         o f th e act) f ailu re to re v e al m ate rial f acts           re g u latio n th at w ith d re w ap p ro v al o f
                                                                    re l atin g to p o te n tial co n s e q u e n ce s u n d e r     N D A ’s f o r m e th ad o n e , b u t p erm itted
  E.    P o s t m ar k e t in g R e s t r ic t io n s               cu s to m ary co n d itio n s o f u se . S e ctio n              d istrib u tio n to ce rtain m ain te n an ce
     FD A re ce iv e d m an y co m m e n ts o n th e                5 0 2 (f ) o f th e a ct re q u ire s d ru g s to h av e         tre atm e n t p ro g ram s an d ce rtain h o s p ital
  p roposed re q u ire m e n t to l im it                           ad eq u ate d ire ctio n s f o r u s e an d                      an d co m m u n ity p h arm acie s . B e cau se
  d istrib ution to ce rtain f acil itie s o r                      ad eq u ate w arn in g s ag ain st u n saf e u s e ,             m e th ad o n e is a co n tro l le d su b stan ce
  p hysicians w ith s p e cial train in g o r                       s u ch as m e th o d s o f ad m in is tratio n , th at           w ith in th e p ro v isio n s o f th e C o n tro l led
  exp erience, o r co n d itio n d istrib u tio n o n               m ay b e n e ce s s ary to p ro te ct u se rs . In               S u b stan ce s A ct, w h ich is im p lem en te d
  the p erf o rm an ce o f s p e cif ie d m e d ical                ad d itio n , s e ctio n 5 0 2 (j ) o f th e act                 b y th e D rug En f o rce m e n t
  p ro ced u res i f s u ch re s trictio n s are                    p ro h ib its u s e o f d ru g s th at are                       A d m in is tratio n w ith th e Ju s tice
  needed to co u n te rb al an ce th e d ru g ’s                    d an g e ro u s to h e alth w h e n u se d in th e               D ep artm en t, th e d is trict co u rt
  know n saf ety co n ce rn s .                                     m an n e r su g g ested in th e ir lab elin g . Each             co n cl u d e d th at th e q u estio n o f
       20 . S ev eral co m m e n ts q u estio n ed                  o f th e s e m isb ran d in g p ro v isio n s is                 p erm is sib le d is trib u tio n o f th e d ru g w as
  FD A ’s au th o rity to im p o s e re s trictio n s               in te n d e d , at le ast in sig n if ican t p art, to           w ith in th e ju ris d ictio n o f th e Ju stice
  on d istrib u tio n o r u s e af te r an ap p ro v e d            p ro te ct co n su m e rs ag ain st th e m ark e tin g           D ep artm en t, n o t FD A . T h e C o u rt o f
                                                                    o f d ru g s th at w o u l d n o t b e saf e u n d e r           A p p e al s d e te rm in e d th at th e ty p e o f
  drug is m ark eted . T w o co m m e n ts
  disagreed w ith th e statu to ry p ro v isio n s                  ce rtain co n d itio n s o f u se. S e ctio n 7 0 1 (a)          m isu se ass o ciate d w ith m e th ad o n e , i.e .,
                                                                    o f th e act au th o riz e s FD A to iss u e
  cited b y FD A in th e p ro p o s e d ru le as its                                                                                 m isu se b y p e rs o n s w h o h av e n o in ten t
                                                                    re g u latio n s f or th e ef f icien t e n f o rce m e n t      to try to u s e d ru g s f o r m e d ical p u rp o s es,
  authority to im p o s e re s trictio n s o n
                                                                    o f th e act. T h e re s trictio n s o n u se
  distrib ution o r u s e statin g th at th e y re f er                                                                              d if f ered f ro m saf ety iss u e s co n te m p l ate d
                                                                    co n te m p l ate d b y § § 3 1 4 .5 2 0 an d 6 0 1 .4 2
  only to FD A ’s g e n e ral au th o rity to                                                                                        f o r co n tro l u n d e r s e ctio n 5 0 5 o f th e act.
                                                                    h e lp to en su re th at p ro d u cts th at w o u l d
  ensure th at d ru g s are n o t m is b ran d e d ,                                                                                 In co n tras t, th e re s trictio n s
                                                                    b e m is b ran d ed u n d e r s e ctio n 5 0 2 o f th e
  w hich is an e n tire l y s e p arate is su e.                                                                                     co n te m p l ate d u n d e r § § 3 1 4 .5 2 0 an d
                                                                    a ct are n o t m ark eted .
  A nother co m m e n t arg u e d th at s e ctio n                                                                                   6 0 1 .4 2 are p re cis e l y th o se d eem ed
                                                                        T h e re s trictio n s o n u se im p o se d
  503(b) o f th e a ct (21 U .S .C . 3 5 3 (b ))                                                                                     n e ce s s ary to e n su re th at s e ctio n 5 0 5
                                                                    u n d e r se ctio n 5 0 3 o f th e act, w h ich
  co ntem p lates th at th e is s u e s w arran tin g                                                                                crite ria h av e b e en m e t, i.e ., re s trictio n s
                                                                    re l ate to p re scrip tio n u se lim itatio n s,
  a restriction as to d is trib u tio n are n o t                                                                                    to en su re th at th e d ru g w il l b e saf e
                                                                    p rim arily co n ce rn w h e th e r a d ru g is saf e
  factors in w h e th e r a d ru g p ro d u ct is                                                                                    u n d e r its ap p ro v e d co n d itio n s o f u se . It
                                                                    f o r u s e e xce p t u n d e r th e su p e rv is io n o f
  " saf e” f or p u rp o s e s o f ap p ro v al , b u t                                                                              is cl e arl y FD A ’s re sp o n sib il ity to
                                                                    a l ice n se d p ractitio n e r. W h il e th e
  rather o n ly w h e th e r th e p ro d u ct m u s t b e                                                                            im p le m e n t th e statu to ry p ro v isio n s
                                                                    ag e n cy ag rees th at th e re s trictio n s
  lim ited to p re s crip tio n statu s. T w o                                                                                       reg ard in g n e w d ru g ap p ro v al.
                                                                    im p o s e d u n d e r § § 3 1 4 .5 2 0 an d 6 0 1 .4 2
  com m ents said th at, in th e ab se n ce o f                                                                                         N o r d o e s FD A ag ree th at th e
                                                                    co n ce rn in g d is trib u tio n to ce rtain
  specific statu to ry au th o rity , th e co u rts                                                                                  p ro v isio n s p lacin g re s trictio n s o n
                                                                    f acil itie s o r p h y s ician s w ith sp e cial
  clearly h av e re f u se d to p e rm it FD A to                                                                                    d is trib u tio n to ce rtain f acil ities o r
                                                                    train in g o r e xp e rie n ce w o u l d b e in
  im pose re s trictio n s o n d is trib u tio n an d                                                                                p h y s ician s , o r co n d itio n e d o n th e
                                                                    ad d itio n to o rd in ary p re scrip tio n
  cited A m e r ic an P h a r m a c e u t ic a l                                                                                     p e rf o rm an ce o f ce rtain m e d ical
                                                                    l im itatio n , FD A b eliev es th e s e
  A s s o c iat io n (A P h A ) v . W e in b e r g e r , 377                                                                         p ro ce d u re s, im p erm iss ib l y in terf ere
                                                                    re s trictio n s are co n siste n t w ith th e sp irit
  F.    Supp. 8 2 4 , 8 2 9 n . 9 (D .D .C . 1 9 7 4 ),
                                                                    o f se ctio n 5 0 3 o f th e act, as w ell as th e               w ith th e p ractice o f m e d icin e an d
  ° f f d s u b n o m . A P h A v . M at h e w s , 5 3 0                                                                             p h arm acy . T h e re is n o leg al su p p o rt for
                                                                    o th e r p ro v isio n s o f th e açt ref e rred to , in
  F.2 d 1 0 5 4 (D .C . C ir 1 9 7 6 ) , a cas e _                  en su rin g saf e u se .                                         th e th e o ry th at FD A m ay o n l y ap p ro v e
  concerning co n d itio n s p l ace d o n th e                       N ew d ru g s m ay b e ap p ro v e d u n d e r                 s p o n so rs’ d ru g s w ith o u t re s trictio n
  approval o f th e d ru g m e th ad o n e .                        s e ctio n 5 0 5 (d ) o f th e a ct o n ly if th e y are         b e cau s e p h y s ician s o r p h arm acis ts m ay
    Som e co m m e n ts as s e rte d th at p l acin g               saf e f o r u s e u n d e r th e co n d itio n s                 w is h to p re scrib e o r d is p e n se d ru g s in
  restrictions o n th e d is trib u tio n o f an                    p re scrib e d , re co m m e n d e d , o r su g g ested          a ce rtain w ay . T h e re s trictio n s u n d e r
  approved d ru g to o n l y ce rtain f acil itie s                 in th e p ro p o se d lab elin g , h i ad d itio n , f or        th e s e p ro v isio n s w o u l d b e im p o se d o n
  or p h y sician s, o r re s trictin g u s e to                    ap p ro v al , a d ru g ’s lab elin g m u st n o t b e           th e sp o n so r o n l y as n e ce s s ary f o r saf e
  certain m e d ical p ro ce d u re s in te rf e re s               f alse o r m isl e ad in g b ase d o n a f air                   u se u n d e r th e e xtrao rd in ary
  with th e p ractice s o f m e d icin e an d                       e v alu atio n o f al l m ate rial f acts , w h ich              circu m s tan ce s o f th e p articu l ar d ru g an d
  p harm acy, w h ich th e co m m e n ts                            w o u l d in cl u d e d etail s ab o u t th e                    u se . W ith o u t su ch re s trictio n s , th e d ru g s
  contend ed FD A d o e s n o t h av e th e                         co n d itio n s o f u se . Fo r b io lo g ical                   w o u l d n o t m e e t th e statu to ry crite ria,
  authority to re g u late .                                        p ro d u cts , se ctio n 3 5 1 (d ) o f th e PH S A ct           co u l d n o t b e ap p ro v e d f or d istrib u tio n ,
       T he ag en cy b e l ie v e s th at th e                      al so au th o riz e s th e im p o sitio n o f                    an d w o u l d n o t b e av ailab le for
  restrictions to e n s u re saf e u s e                            re s trictio n s th ro u g h re g u latio n s                    p re scrib in g o r d is p en sin g . T h e ag en cy ,
  con tem p lated f o r ap p ro v al s u n d e r                    “ d es ig n ed to in su re th e co n tin u e d                   as a m atte r o f l o n g stan d in g p o l icy , d o es
  §§ 3 1 4 .5 2 0 an d 6 0 1 . 4 2 are au th o riz e d b y          saf ety , p u rity , an d p o te n cy ” o f th e                 n o t w is h to in te rf e re w ith th e
  statute. A s d is cu s s e d in th e p re am b l e to             p ro d u cts .                                                   ap p ro p riate p ractice o f m e d icin e o r
  the p ro p o sed ru l e ( 5 7 F R 1 3 2 3 4 at                       T h e ag e n cy d isag rees w ith th e                        p h arm acy . In th is in s tan ce , th e ag en cy
  13237), se ctio n s 5 0 1 , 5 0 2 , 5 0 3 , 5 0 5 , an d          co m m e n ts ’ im p l icatio n th at th e co u rts ’            b eliev es th at rath e r th an in terf erin g w ith
             a ct p ro v id e b ro ad au th o rity                  ru l in g s in A m e r ic a n P h a r m a c e u t ic a l         p h y s ician o r p h arm acy p ractice , th e
  tor FD A to iss u e re g u l atio n s to h e lp                   A s s o c ia t io n ( A P h A ) v . W e in b e r g e r m e an    reg u latio n s p e rm it, in e xce p tio n al cas e s,




                                                                                                                                                      EX. 8 pg. 024


                                                                                                                                                                     App. 0126
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5B952           F e d e r « ! R e g i s te r /   V g I. 5 7 , N o .   239   /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2       /   R u l e s a n d R e g u l a ti o n s


                                                             th e rap e u tic are a b ein g co n s id e re d an d             o n a p atie n t w h ich ach ie v e s the
ap p ro v al o f d ru g s w ith re s trictio n s so
                                                             in re l e v an t d ru g d is trib u tio n sy ste m s.            o b j e ctiv e o f p re v e n tin g p ro b lem s w ith
th at th e d ru g s m ay b e av ail ab le f o r
                                                             W h e re ap p o in tm e n t o f p h arm acis ts to               d ru g th e rap y . S o m e co m m e n ts argued
p re scrib in g o r d is p e n sin g .
                                                             th e s e co m m itte e s o r p an e ls i s n o t                 th at th ro u g h th e rap e u tic o u tco m es
   21.       O n e co m m e n t as serted th at
p o s tm ark etin g re s trictio n s o n                     f easib le, th e co m m e n t re co m m e n d e d                m o n ito rin g , a p h y s ician , a p h arm acist,
                                                              th at FD A u se p h arm acis ts in a                            an d a p atie n t can w o rk to g e th er to
 d is trib u tio n to ce rta i n f atalitie s o r
                                                              co n s u l tan t cap acity . A n o th e r co m m e n t          p re v e n t p ro b l e m s w ith d rag therapy by
 p h y s ician s w ith ce rtain train in g o r
                                                              arg u ed th at cu rre n t sy ste m s f o r d rag                b ein g co n s tan tl y al e rt to sig ns o f trouble.
 e xp e rie n ce sh o u ld b e l im ite d to rare
                                                              d is trib u tio n in co rp o rate “ ch e ck s an d              O n e co m m e n t said th at in d icato r data
 o ccas io n s i s cas e s o f e xtre m e h az ard to
                                                              b al an ce s ” s u ch th at p re s crib e !* an d               ru n b e ro u tin e l y re p o rte d to a central
 p atie n t s af ety in w h ich to x i ci ty o f a
                                                              p h arm acis ts w o rk to g e th e r to ass u re saf e          co l l e ctio n p o in t f o r u til iz atio n review by
 p articu l ar d ru g m ay re q u ire it, b u t
                                                              u s e o f a d ru g b y a p atie n t. T w o                      h e al th ca re p ro f e ss io n als , f o llow ed by
 sh o u ld n o t b e ap p l ie d b e cau s e o f
                                                              co m m e n ts w o u l d o p p o se an y re s tricte d           e d u catio n al p ro g ram s to f u rther improve
 in su f f icien t efficacy d ata. S o m e
 co m m e n ts arg u ed th at saf e ty issu es in             d is trib u tio n sy ste m th at al l o w s                     th e e f f icacy o f d rag th erap y .
                                                              m an u f actu re rs e xcl u s iv e l y to d e liv e r               T h e p o stm ark e tin g re strictio n s set
 th e co n te xt o f d ru g u s e sh o u ld b e
                                                              p re s crip tio n d rag s d ire ctl y to p atie n ts.           f o rth in th e p ro p o sal an d in th is final
 ad d re ss e d th ro u g h p atient m an ag e m e n t
                                                              O n e co m m e n t ask ed w h e th e r FD A o r                 ra l e are in te n d e d to e n h an ce th e safety
 an d ef f e ctiv e p ro d u ct l ab elin g , n o t
                                                              th e ap p l ican t w o u l d m o n ito r th e crite ria         o f a d rag w h o se risk s w o u l d outw eigh
 th ro u g h re s tricte d d is trib u tio n . In
                                                              f or re s tricte d d istrib u tio n s ite s o r                 its b e n e f its in th e ab se n ce o f the
 s u p p o rt o f th is arg u m e n t, th e co m m e n ts
                                                              p h y s ician s .                                               re s trictio n . T h e rap e u tic o u tco m es
 cite d th e l ab elin g o f o n co l o g ic d ru g s ,
                                                                 T h e m e d ical re v ie w in g d iv is io n s               m o n ito rin g d o e s n o t co n trib u te to that
 w h ich p ro v id e s p h y s ician s w ith
                                                              w ith in FD A ’s O D ER an d C BER w ill                        e n h an ce m e n t, an d w o u l d n o t b e
 ad eq u ate w arn in g s an d
                                                              d e te rm in e i f re s tricte d d is trib u tio n o r          re q u ire d u n d e r th is ra l e .
 re co m m e n d atio n s f o r th e ir u s e w ith o u t
                                                              u se sh o u ld b e im p o s e d . FD A w ill                       24.       S o m e co m m e n ts ask ed th at FDA
 l im itin g d is trib u tio n .
                                                              u su al ly seek th e ad v ice o f o u tsid e e xp e rt          cl arif y h o w p ro d u cts w il l m o v e from
     FD A ag re es w ith th e s e co m m e n ts in
                                                              co n s u l tan ts o r ad v iso ry co m m itte e s               re s trictiv e s tatu s to a re g u lar
 p art an d in te n d s to im p o s e re s trictio n s
                                                              b ef o re m ak in g th i s d e te rm in atio n , an d           p re s crip tio n d rag statu s. T h e com m ents
 o n d is trib u tio n o r u s e u n d e r th is ra l e
                                                              w il l, o f co u rs e , co n s u l t w ith th e                 as s e rte d th at al l co n d itio n s associated
 o n l y in th o s e rare in s tan ce s in w h ich
                                                                                                                               w ith acce l e rate d ap p ro v al sho uld
 th e ag e n cy b e lie v e s carefully w o rd e d            ap p lican t.
                                                                T h e ag e n cy d o e s n o t ag ree th at FD A                au to m atical l y te rm in ate f ollow ing
 lab elin g f o r a p ro d u ct g ran te d
                                                               sh o u ld d ev el o p crite ria th at cl e arl y                co m p l e tio n o f co n f irm ato ry clin ical
 acce l e rate d ap p ro v al w il l n o t ass u re th e
                                                               estab lis h th e activ itie s o f h e alth care                 trial s ; o n e co m m e n t u rg ed FD A to
 p ro d u ct’s saf e u se . A s s tate d in th e
                                                               p ro f e ss io n als in th e ca re o f p atie n ts              e xp l icitl y state th is in th e f inal rule. One
 p re am b le to th e p ro p o s e d ra l e (5 7 FR
                                                               re ce iv in g a d rag ap p ro v e d u n d e r th is             co m m e n t ass e rte d th at restrictio n s
 1 3 2 3 4 at 1 3 2 3 7 ) , FD A b e lie v e s th at th e
                                                               ra l e an d f or w h ich re s tricte d                          sh o u ld au to m atical l y b e rem o v ed 180
 saf e u se o f m o st p re s crip tio n d ru g s w il l
                                                               d is trib u tio n h as b een im p o s e d ; A n y               d ay s af te r a s u p p l e m e n tal ap p licatio n
 co n tin u e to b e as s u re d th ro u g h
                                                               p o s tm ark etin g re s trictio n s re q u ired                co n tain in g th e d ata f ro m th e
 trad itio n al p atie n t m an ag e m e n t b y
                                                               u n d e r th is ra l e w il l im p o s e an                     p o stm ark e tin g stu d y h as b een filed if
 h e al th p ro f e ss io n als an d th ro u g h
 n e ce s s ary saf e ty w arn in g s in th e d ra g ’s        o b lig atio n o n th e ap p l ican t to e n su re              FD A h as n o t y e t acte d U pon th e
                                                               th at th e d ru g o r b io l o g ical p ro d u ct is            s u p p l e m e n tal ap p l icatio n an d the
  lab elin g .
                                                               d istrib u te d o n l y to th e sp e cif ie d                   p ro d u ct sh o u ld b e d e e m e d ap p rov ed as
     2 2 r T w o co m m e n ts as k ed w h o w ill
                                                               f acil itie s o r p h y s ician s . FD A w il l seek            if b y “ trad itio n al ” p ro ce d u re s and all
  d e te rm in e i f re s tricte d d is trib u tio n
                                                               th e ad v ice o f o u ts id e co n s u l tan ts w ith           o th e r p ro v isio n s o f th e act sho u ld apply,
  sh o u ld o ccu r an d w h at f acil itie s o r
                                                               e xp e rtis e in d istrib u tio n sy ste m s o r                e .g ., th e ap p l ican t m u s t h av e a formal
  p h y s ician s w ith s p e cial train in g o r
                                                               ad v iso ry co m m itte e s w h e n n e ce s s ary in           h earin g b ef o re re m o v al o f th e product
  e xp e rie n ce w il l p articip ate . S ev e ral
  co m m e n ts e xp re s s e d co n ce rn th at               d e te rm in in g th e n e e d f or o r ty p e o f              f ro m th e m ark et.
                                                               re s tricte d d is trib u tio n . T h e l im itatio n s             FD A w il l n o tif y th e ap p lican t w hen a
  re s tricte d d is trib u tio n an d / o r
                                                               o n d istrib u tio n o r u s e im p o s e d u n d e r           p articu l ar re s trictio n is n o lon g er
  co n d itio n al u s e m ay n o t in cl u d e all
                                                                                                                               n e ce s s ary f or saf e u se o f th e p rod u ct, to
  h e alth care p ro f e ss io n als w h o sh o u ld           th is ru l e , in cl u d in g s p e cif ic d is trib u tio n
                                                               sy ste m s to b e u s e d an d th e ap p l ican t’ s            th e cas e o f d rag s ap p ro v e d w ith a
  p articip ate in saf e an d ef f e ctiv e p atie n t
                                                                                                                               re q u ire m e n t f o r p o stap p ro v al studies,
  care . T w o o rg an iz atio n s re p re s e n tin g         p lan f o r m o n ito rin g co m p l ian ce w ith
                                                               th e l im itatio n s , w il l h av e b e en ag ree d to          FD A w o u l d e x p e ct th at al l o f the
  p h arm acis ts as k ed th at FD A d e v e l o p
                                                                                                                                p o s tap p ro v al re q u ire m e n ts set forth in
  f u n ctio n al an d o b j e ctiv e crite ria th at          b y th e ap p l ican t at th e tim e o f ap p ro v al .
                                                                                                                                th is ra l e , i .e ., su b m iss io n o f promotional
  cl e arl y e s tab l is h th e activ itie s o f              T h e b u rd en is o n th e ap p l ican t to e n s u re
                                                               th at th e co n d itio n s o f u s e u n d e r w h ich           m ate rial an d u s e o f e xp e d ite d
  p h arm acis ts , p h y s ician s , an d o th e rs in
                                                                                                                                w ith d raw al p ro ce d u re s , w o u l d no
  th e care o f p atie n ts re ce iv in g a d rag              th e ap p l ican t’s p ro d u ct w as ap p ro v e d
                                                                                                                                l o n g e r ap p l y af ter p o s tm ark etin g studies
  u n d e r re s tricte d d is trib u tio n . T h e            are b ein g f o llo w ed . A s ap p ro p riate , FD A
                                                                                                                                h av e v e rif ie d an d d escrib ed th e drug s
  co m m e n ts as s e rte d th at an y h e al th care         m ay m o n ito r th e sp o n s o r’ s co m p l ian ce
                                                                                                                                cl in ical b en ef it. C o n cu rre n t w ith the
  p ro f e ss io n al th at m e t th e s e crite ria            w ith th e sp e cif ie d te rm s o f th e ap p ro v al
                                                                                                                                re v ie w o f th e p o stm ark etin g stud ies, it
  sh o u ld b e al l o w e d to p articip ate in                an d w ith th e s p o n s o r's o b lig atio n s.
                                                                  2 3 . O n e co m m e n t re co m m e n d e d th at            re q u e ste d , FD A w il l al so re v ie w the
  d is trib u tio n o f th e d rag m id ca re o f th e
                                                                p ro p o se d § 3 1 4 . 5 2 0 b e m o d if ied to               n e e d to co n tin u e an y re strictio n s on
  p atie n t. O n e co m m e n t re co m m e n d e d
                                                                in cl u d e th e rap e u tic o u tco m e s                      d is trib u tio n th at h av e b een im p osed, in
  th at an y p o stm ark e tin g re s trictio n s o n
                                                                m o n ito rin g as a th ird e xam p l e o f a                   th e cas e w h e re re s trictio n s o n
  d is trib u tio n o r u s e o f a d ra g ap p ro v e d
                                                                                                                                d is trib u tio n o r u se h av e b een imposect,
  u n d e r th e acce l e rate d ap p ro v al p ro ce s s       p e rm iss ib l e p o s tm ark etin g re s trictio n .
                                                                T h e co m m e n t d e f in e d th e rap e u tic                s u ch re s trictio n s w o u l d b e elim inate
  b e d e v e l o p e d b y ap p ro p riate FD A
                                                                o u tco m e s m o n ito rin g as th e s y s te m atic           o n l y i f FD A d e te rm in e s th at saf e use or
   ad v iso ry co m m itte e s o r p an e l s
                                                                an d co n tin u al m o n ito rin g o f th e cl i n ical         th e p ro d u ct can b e ass u re d w ith ou t
   e xp an d e d to i n cl u d e p h y s ician s an d
                                                                                                                                th e m , th ro u g h ap p ro p riate labeling, to
   p h arm acis ts w ith e xp e rtis e in th e                  an d p s y ch o s o cial ef f e cts o f d ru g th e rap y




                                                                                                                                                 EX. 8 pg. 025


                                                                                                                                                               App. 0127
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                F e d e ra l R e g is te r /    V o l. 5 7 , N o . 2 3 9      /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2   /   R u l e s a n d R e g u l a tio n s       58953


  som e cas e s, h o w e v e r, th at as s u ran ce         w o rd e d lab elin g , FD A w il l ap p ro v e th e           p o s tm ark etin g stu d ie s to b e p erf o rm ed
  could n o t b e e xp e cte d an d th e n atu re o f       p ro d u cts f o r e arl y m ark etin g o n l y i f            as a co n d itio n o f ap p ro v al b ase d o n a
  the sp ecif ic saf ety iss u e raise d b y th e           p o s tm ark etin g re s trictio n s o n                       “ s u rro g ate ” e n d p o in t. O n e co m m e n t
  p rod uct m ig h t re q u ire co n tin u e d              d is trib u tio n o r u s e are im p o s e d . T h e           s tate d th at i t i s w id e l y acce p te d th at th e
  restriction s. FD A n a s ad d e d n e w                  p h rase “ sh o w n to b e e f f e ctiv e ” w as n o t         a ct e m p o w e re d th e ag e n cy to d ef in e th e
  § § 3 1 4 .5 3 0 an d 6 0 1 . 4 6 to state w h e n        in te n d e d to d is tin g u is h d ru g s ap p ro v e d      ty p e an d e xte n t o f e f f icacy d ata
  p ostap p ro val re q u ire m e n ts w il l n o           u n d e r n e w su b p art H f ro m m u g s                    n e ce s s ary to ap p ro v e a p ro d u ct
  longer ap p ly an d state th at th e ap p l ican t        ap p ro v e d u n d e r an y o th e r su b p art o f th e      ap p l icatio n . If a su rro g ate m ark er can b e
  m ay p etitio n th e ag e n cy , in acco rd an ce         re g u latio n s. A l l d ru g s ap p ro v e d w ill           sh o w n to b e su f f icien tly re l ate d to
  w ith 21 C FR 1 0 .3 0 , a t an y tim e to                h av e h ad ef f e ctiv e n e ss d e m o n s trate d o n       actu al p atie n t b en ef it, th e n , th e
  rem ove s p e cif ic p o s tap p ro v al                  th e b as is o f ad e q u ate an d w e ll -                    co m m e n t ass e rte d , d ata reg ard ing th e
  req uirem ents.                                           co n tro l l e d stu d ies, w h e th e r th e                  ef f ect o f a d ru g o n a su rro g ate m ark er
     W ith re s p e ct to th e su g g e ste d tim e         e n d p o in t o f th e stu d ie s is a su rro g ate           co n s titu te acce p tab l e p ro o f o f ef f icacy
  period f or re m o v in g re s trictio n s o n            e n d p o in t o r a cl in ical e n d p o in t.                u n d e r th e a c t T w o co m m e n ts u rg ed
  d istrib ution o r u s e f o llo w in g su b m is sio n        2 6 . O n e co m m e n t e xp re s s e d co n ce rn       FD A to co n tin u e to ask ap p l ican ts to
  of a su p p le m en tal ap p l icatio n                   th at th e p ro p o se d re s tricte d d istrib u tio n        ag re e v o l u n taril y to p erf o rm
  containing th e d ata f ro m a                            o r u s e p ro v isio n s w o u l d re s trict o r             p o stm ark etin g stu d ie s w h e n m e d ical ly
  p ostm ark eting s tu d y , FD A d o e s n o t            e l im in ate th e w h o l e sal e d is trib u tio n o f       w arran te d as is th e cu rre n t p o l icy u n d e r
 believe it sh o u ld p re scrib e an y sp e cif ic         d ru g s ap p ro v e d th ro u g h th e acce l e rate d        th e trad itio n al ap p ro v al p ro ce s s . O n e
 tim e p eriod . T h e s e ap p l icatio n s w ill          ap p ro v al p ro ce ss .                                      co m m e n t e xp re s s e d co n ce rn th at
 receive a p rio rity ratin g an d FD A is                      T h e lim itatio n s o n d is trib u tio n o r u s e       req u irin g p o stm ark etin g stu d ie s m ay
 firmly co m m itte d to e xp e d ite d re v ie w o f       re q u ired u n d e r th is ru l e are im p o s e d o n        b eco m e , th e n o rm rath e r th an th e
 an ap p licatio n co n s id e re d f o r                   th e ap p lican t. T h eref o re , th e b u rd en is           e xce p tio n .
 accelerated ap p ro v al an d al l d ata                   o n th e ap p l ican t to e n s u re th at th e                   T h e ag e n cy ’s re s p o n s e to co m m e n t 1 .
 sub m itted f ro m a p o stm ark e tin g stu d y to        co n d itio n s o f u se u n d e r w h ich th e                e xp l ain e d th e ci rcu m s tan ce s in w h ich
 verify cl in ical b e n e f it an d b e lie v e s m o st   ap p l ican t’s p ro d u ct w as ap p ro v e d are             FD A m ig h t co n cl u d e th at a d ru g sh o u ld
 review s w ill b e co m p l e te d an d actio n            b ein g f o llo w ed . T h is ru l e d o e s n o t             b e m ark e te d o n th e b asis o f an ef f ect o n
 taken w ith in 1 6 0 d ay s .               <?             sp e cif y h o w a m an u f actu re r w ill                    a su rro g ate e n d p o in t re aso n ab ly lik ely
    25.     O ne co m m e n t arg u ed th at, as            d is trib u te its p ro d u ct to th o se re ce iv in g        to p re d ict cl i n ical b en ef it o n l y if stu d ies
 proposed, it is n o t cl e ar h o w acce l e rate d        th e p ro d u ct u n d e r th e ap p ro v al te rm s.          w e re carrie d o u t to co n f irm th e p re se n ce
 approval w o u ld ap p l y to d ru g s w h ich             FD A w il l o n l y d e te rm in e w h ich                     o f th e lik el y b en ef it. A s d is cu s se d in th e
 fall un d er th e co n d itio n s d e scrib e d in         f acil itie s o r p h y s ician s m ay re ce iv e th e         p re am b l e to th e p ro p o se d ru l e (5 7 FR
 § § 3 1 4 .5 2 0 an d 6 0 1 . 4 2 , w h ich state th e     d ru g , an d th e ap p l ican t w il l h av e ag ree d        1 3 2 3 4 at 1 3 2 3 6 ) , FD A b elie v es th at it is
 p ostm ark eting re s trictio n s o n                      to th is lim itatio n o n d istrib u tio n o r u se.           au th o riz e d b y l aw to re q u ire
 distrib ution o r u se th at FD A m ay ap p ly ,              2 7 . O n e co m m e n t e xp re s s e d co n ce rn         p ostm airk etin g s tu d ie s f o r n e w d ru gs
 b ecause th e l an g u ag e o f th e s e se ctio n s       th at th e p ro p o se d p o s tm ark etin g                   an d b io l o g ical p ro d u cts . S e ctio n 5 0 5 (d )
 exp licitly states th at th e s e ctio n s ap p ly         re s trictio n p ro v isio n d o e s n o t p re cl u d e       o f th e act p ro v id e s f o r th e ap p ro v al o f
 to p ro d u cts “ sh o w n to b e e f f e ctiv e ,”        a p h y s ician to w h o m re s tricte d                       n e w d ru g s f o r m ark etin g if th e y m e et th e
 w hich are al re ad y ad e q u ate l y co v e re d         d istrib u tio n ap p lie s f ro m p re scrib in g             saf ety an d e f f ectiv en es s crite ria se t forth
 by the act. T o th e co m m e n t, th e                    d ru g s ap p ro v e d u n d e r th e acce l e rate d          in s e ctio n 5 0 5 (d ) o f th e act an d th e
 language “ sh o w n to b e e f f e ctiv e ”                ap p ro v al p ro ce s s f or u n ap p ro v e d (off-          im p le m e n tin g re g u latio n s (21 C FR p art
 im plies th at f u ll Ph as e 3 e f f icacy trial s        lab el) u se s.                                                3 1 4 ). A s d is cu s s e d in th e p ro p o se d ru le,
 have b een co n d u cte d , ass e ss e d , an d               T h e co m m e n t is co rre ct th at th is ru l e          to d e m o n s trate ef f e ctiv en e ss, th e law
 deem ed to d e m o n s trate th at th e d ru g is          d o e s n o t its e l f p re v e n t a p h y s ician f ro m    re q u ire s e v id e n ce f ro m ad eq u ate an d
 effective f or its p ro p o s e d u s e . If th e          p re scrib in g a d ru g g ran ted acce l e rate d             w e l l - co n tro l l ad cl in ical stu d ie s o n th e
 clinical d ata d e m o n s trate th at th e                ap p ro v al f o r an u n ap p ro v e d u se . U n d e r       b asis o f w h ich q u alif ied e xp e rts co u ld
 p roduct h as an acce p tab l e saf ety p ro f il e,       th e act, a d ru g ap p ro v e d f o r m ark etin g            f airly an d res p o n sib ly co n cl u d e th at th e
 the safe u se o f th e d ru g s h o u ld b e               m ay b e lab ele d , p ro m o te d , an d                      d ru g h as th e ef f ect it is p u rp o rte d to
 addressed in th e p ro d u ct lab elin g . T h u s ,       ad v e rtise d b y th e m an u f actu re r o n l y f or        h av e . U n d e r se ctio n 5 0 5 (e ) o f th e act,
 the co m m en t arg u e d th at § § 3 1 4 .5 2 0 an d      th o s e u se s f o r w h ich th e d ru g ’s saf ety           ap p ro v al o f a n e w d ru g ap p licatio n is to
 601.42 sh o u ld n o t b e in cl u d e d in n e w          an d ef f e ctiv e n e s s h av e b e en estab l is h ed       b e w ith d raw n if n e w in f o rm atio n sh o w s
 subpart H o f p art 3 1 4 an d su b p art E o f            an d th at FD A h as ap p ro v e d . Ph y s ician s            th at th e d ru g h as n o t b een d em o n strated
 part 6 0 1 , re s p e ctiv e l y , w h ich d e al w ith    m ay ch o o s e to p re scrib e th e d ru g f o r a            to b e e ith e r saf e o r ef f ectiv e. A p p ro v al
 accelerated ap p ro v al b e cau s e th e s e              co n d itio n n o t re co m m e n d e d in lab elin g .        m ay al so b e w ith d raw n i f n ew
 sections e xp l icitl y ap p l y to p ro d u cts           S u ch o f f -lab el u s e w o u l d , o f co u rs e , b e     in f o rm atio n sh o w s th at th e d ru g ’s
 show n to b e ef f e ctiv e u n d e r a f u ll d ru g      carrie d o u t u n d e r th e re s trictio n s                 lab elin g is f alse o r m islead in g .
 d evelop m ent p ro g ram
                                                            im p o s e d u n d e r th is s e ctio n . FD A als o              S e ctio n 5 0 5 (k ) o f th e act au th o riz es
    S ection s 3 1 4 .5 2 0 an d 6 0 1 . 4 2 ap p ly
                                                            b e lie v e s th at p h y s ician s w il l b e                 th e ag e n cy to p ro m u lg ate reg u latio n s
 not only to d ru g s an d b io l o g ical
                                                            co g n iz an t o f th e p ro d u ct’s s p e cial risk s        req u irin g ap p l ican ts to m ak e re co rd s
 p roducts ap p ro v e d o n th e b asis o f an
                                                            an d w il l u s e s u ch d ru g s w ith p articu l ar          an d re p o rts o f d ata o r o th e r inf o rm atio n
 effect o n a su rro g ate e n d p o in t b u t al so
                                                            care . T h e lab elin g o f p ro d u cts ap p ro v e d        th at are n e ce s s ary to en ab le th e ag en cy
  o drugs an d b io l o g ical p ro d u cts th at                                                                         to d e te rm in e w h e th e r th ere is reas o n to
                                                            u n d e r th is ru l e w il l in cl u d e all
  ave b een stu d ie d f o r th e ir saf ety an d                                                                         w ith d raw ap p ro v al o f an N D A . T h e
                                                            n e ce s s ary w arn in g s an d f ull d is cl o su re
 ef f ectiveness in tre atin g s e rio u s o r lif e-                                                                     ag e n cy b eliev es th at th e re f eren ced
                                                            lab elin g w o u l d g en erall y re f l e ct th e
 threatening i ll n e ss e s u sin g cl i n ical                                                                          re p o rts can in cl u d e ad d itio n al stu d ies to
                                                            e xte n t o f cl in ical e xp o s u re to th e d ru g.
 ®n^ ;Pptnts an d th at h av e se rio u s                                                                                 ev alu ate th e cl in ical ef f ect o f a d rug
 oxicity. In e ith e r cas e , i f th e p ro d u cts        F.   P o s t m a r k e t in g S t u d ie s
                                                                                                                          ap p ro v ed o n th e b asis o f an ef f ect on a
 are so p o ten tially h arm f u l th at th e ir saf e         2 8 . T h re e co m m e n ts arg u ed th at FD A           su rro g ate e n d p o i n t S ectio n 7 0 1 (a) o f tha
 —0 - an n o t b e ass u re d th ro u g h care f u ll y     d o e s n o t h av e th e au th o rity to req u ire           act g en erally au th o riz e s FD A to issu e




                                                                                                                                             EX. 8 pg. 026


                                                                                                                                                            App. 0128
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   58954           F e d e ra l R e g is te r /      V o l. 5 7 , N o . 2 3 9    /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2      /   R u l e s a n d R e g u latio n s


   re g u latio n s f o r th e " e f f icie n t                   in th e ap p l ican t’s m ark etin g ap p l icatio n .          im p o rtan t e th ical q u estio n s because

   e n f o rce m e n t" o f th e act.                             In ad d itio n , in acco rd w ith th e an n u al                o n ce a d ru g p ro d u ct is ap p roved , it may
   ' W ith re s p e ct to b io l o g ical p ro d u cts ,          re p o rtin g re q u ire m e n ts at                            b e u n e th ical , d e p e n d in g o n the
   s e ctio n 3 5 1 o f th e PH S A ct p ro v id e s              § 3 1 4 .8 1 (b )(2 )(v i i) (2 1 C FR                          circu m s tan ce s , fo r a p h y sician to
   leg al au th o rity f o r th e ag e n cy to re q u ire         3 1 4 .8 1 (b )(2 )(v i i), an N D A ap p l ican t is           co n d u ct a s tu d y u sin g a p laceb o control.
   p o s tm ark etin g stu d ie s f o r th e s e                  re q u ire d to p ro v id e FD A w ith a                        O n e co m m e n t al s o co n ten d ed that a
    p ro d u cts . L ice n s e s f o r b io l o g ical            state m e n t o f th e cu rre n t s tatu s o f an y             p o stm ark etin g stu d y req uirem ent could
    p ro d u cts are to b e is s u e d o n l y u p o n a          p o s tm ark etin g stu d ie s . FD A d e cl in e s to          co m p ro m is e th e N D A h o l d e r’s ability to
   sh o w in g th at th e y m e e t s tan d ard s                 im p o s e th e s an ctio n s su g g e ste d b y th e           e n ro l l su f f icie n t n u m b ers o f patients in
   " d e s ig n e d to in s u re th e co n tin u e d              co m m e n t f o r f ailu re o f an ap p l ican t to            th e s tu d y w h e n th e n e w ap p roved drug
   saf ety , p u rity , an d p o te n cy o f su ch                m e e t its p l an s f o r co m p l e tio n o f a               an d p o s sib le al te rn ativ e therap ies are
   p ro d u cts " p re s crib e d in re g u latio n s (4 2        p o stm ark etin g s tu d y . FD A b e lie v e s th is          w id e l y av ail ab le to p atien ts.
   U .S .C . 2 6 2 (d )). T h e " p o te n cy ” o f a             ru l e ap p li e s ap p ro p riate re g u lato ry                  U s u al l y , an d p ref erab ly , b ecause of
   b io l o g ical p ro d u c t i n cl u d e s its                san ctio n s . U n d e r th e p ro p o se d ru l e an d         p ro b l e m s su g g e ste d in th e com m ent, the
   ef f e ctiv e n e s s ( 2 1 C FR 6 0 0 . 3 (s)).               th is f in al ru l e , FD A m ay w ith d raw                    re q u ire m e n t f o r p o stm ark etin g studies
      T h e ag e n cy n o te s th at it h as in th e              ap p ro v al o f an ap p l icatio n i f th e                    w il l b e m e t b y s tu d ie s al read y underway
   p ast re q u ired p o s tm ark e tin g s tu d ie s as a        ap p l ican t f ails to p e rf o rm th e re q u ire d           at th e tim e o f ap p ro v al , e.g ., b y
   p re re q u is ite f o r ap p ro v al f o r so m e d ru g s
                                                             p o stm ark etin g stu d y w ith d u e d il ig e n ce .              co m p l e tio n o f s tu d ie s th at show ed an
   (se e 3 7 FR 2 0 1 , Jan u ary 7 , 1 9 7 2 ; an d 3 7        FD A b e lie v e s th at it is n o t w ith in th e                ef f ect o n th e su rro g ate. FD A recognizes
   FR 2 6 7 9 0 , D e ce m b e r 1 5 , 1 9 7 2 ) .           s co p e o f th is ru l e to e stab l is h th e ro l e o f           th at e th ical co n sid e ratio n s w ill play a
      29.       O n e co m m e n t re co m m e n d e d th at p h arm acis ts in p o stm ark etin g stu d ie s.                    ce n tral ro l e in th e ty p e o f stud y carried
   FD A re q u ire th at s p e cif ic tim e l in e s f o r   T h at ro le sh o u ld m o re p ro p e rl y b e                      o u t, a ch o ice th at w il l d ep en d upon the
   co m p l e tio n o f th e re q u ire d                    d ef in ed b y th e cl in ical in v e stig ato r an d                ty p e an d se rio u sn e ss o f th e disease
   p o stm ark etin g stu d ie s b e in cl u d e d in        e ach in s titu tio n o r f acil ity at w h ich a                    b ein g tre ate d , av ailab ility o f alternative
   th e m ark etin g ap p l icatio n . T h e                 p o s tm ark etin g stu d y is co n d u cte d .                      th e rap ie s , an d th e n atu re o f the drug
   co m m e n t f u rth e r s u g g e sted th at, i f th e       30.      O n e co m m e n t ass e rte d th at th e               an d th e p atie n t p o p u latio n . T here often
   sp o n so r f ails to m e e t its tim e l in e s ,             p ro p o sal se ts f o rth an in h e re n t                     are al te rn ativ e s to u se o f a p laceb o
   ap p ro v al o f its ap p l icatio n b e                       co n trad ictio n b e tw e e n th e w ay FD A                   co n tro l , in cl u d in g activ e co n tro l designs
   w ith d raw n , o r in th e e v e n t it is d if f icu lt      e v alu ate s th e b en ef it an d risk f o r d ru g s          an d d o s e - re sp o n s e stu d ies th at can
   to w ith d raw ap p ro v al o f d ru g s f o r                 to d ay an d th e w ay th e p ro p o sal                        satisf y b o th th e d em an d s o f ethics and
   se rio u s o r lif e - th re ate n in g d is e ase s , FD A    co n te m p l ate s . T h e co m m e n t arg u ed th at          ad e q u acy o f d esig n .
   sh o u ld es tab l is h su b stan tial f in es an d            n o w , i f p o s tm ark etin g d ata raise                        32.       O n e co m m e n t co n ten d ed that the
   p e n altie s f o r s p o n s o rs th at d el ib erately       q u e stio n s ab o u t th e risk as s o ciate d w ith           te rm " p o s tm ark e tin g stu d y ” is used
   w ith h o l d in f o rm atio n f ro m FD A                      a d ru g p ro d u ct, FD A co n s id e rs th at d ata           in co n s is te n tl y in th e p ro p o sed rule. The
   re g ard in g th e p re l im in ary re s u l ts an d            al o n g w ith th e o th e r d ata k n o w n ab o u t           co m m e n t arg u ed th at " p ostm ark eting
   th e p ro g re ss o f th e ir p o etm ark etin g                th e p ro d u ct, an d d e te rm in e s w h e th e r,           s tu d y " is an acce p te d regu latory term of
   stu d ie s , o r d e l ay th e co m p l e tio n o f s u ch      b ase d o n th e o v e ral l k n o w led g e ab o u t           art w h ich , to th is p o in t, h as referred to
   stu d ie s. H i e co m m e n t al so u rg e d FD A              th e d ru g , th e re is a n e e d to seek                      s tu d ie s co n d u cte d to co n f irm safety (not
    to p u b lish in th e F e d e ra l R e g is te r               w ith d raw al o f ap p ro v al . U n d e r th is               e f f icacy ), af te r an ap p ro v al h as been
    id e n tif icatio n o f m an u f actu re rs w h o are          p ro p o sal , i f th e p o s tm ark etin g stu d y             g ran te d , w h e re as in th is p ro po sal, a
    n o t m ee tin g th e ir o b lig atio n to co m p l e te       d ata rais e d q u e stio n s ab o u t th e risk o f            " p o s tm ark e tin g stu d y ” ref ers to a study
    th e re q u ire d p o stm ark e tin g stu d ie s o n           th e p ro d u ct, FD A w o u l d seek                           re q u ire d to estab l is h cl in ical efficacy
    tim e . T h e s e re co m m e n d atio n s w e re              w ith d raw al o f ap p ro v al , w h e th e r o r n o t        (i.e ., a Ph as e 3 stu d y ), b u t n o t
    p ro m p te d b y th e co m m e n t's co n ce rn               th e n e w d ata re al l y m ad e a f u n d am e n tal          n e ce s s aril y saf ety , alth o u g h safety data
    th at o n ce a m an u f actu re r i s g ran te d               d if f e re n ce to w h at is k n o w n ab o u t th e           w il l b e co l l e cte d . T o p rev en t confusion
    ap p ro v al f o r i ts p ro d u ct, th e                      b en ef it an d risk o f th e p ro d u ct.                      an d to d if f e re n tiate b etw een these
    m an u f actu re r w il l h av e l ittl e in ce n tiv e           FD A d o e s n o t ag ree th at th e                         re q u ire d p o s tm ark etin g confirm atory
    to co m p l e te p o s tm ark e tin g s tu d ie s in a         co n trad ictio n d e scrib e d b y th e co m m e n t           e f f icacy stu d ie s an d saf ety studies
    tim e l y m an n e r, e s p e cial l y i f th e                e xis ts . U n d e r th e ci rcu m s tan ce s o f               trad itio n al l y co n d u cte d sifter approval
    p re l im in ary re s u l ts o f s u ch s tu d ie s            acce l e rate d ap p ro v al , ap p ro v al w o u l d b e       an d to cl arif y th at p ro d u cts granted
    in d icate th at d ie d ru g m ay n o t b e saf e              b as e d o n a w eig h in g o f th e b en ef it                 acce l e rate d ap p ro v al h av e b een
    an d / o r ef f e ctiv e. A n o th e r co m m e n t            su g g e ste d b y th e e f f e ct o n th e su rro g ate        ap p ro v e d o n th e b asis o f Ph ase 2
    u rg e d FD A to i n cl u d e in th e f in al ru l e           e n d p o in t ag ain st k n o w n an d p o te n tial           (su rro g ate en d p o in t) d ata, th e comment
    lan g u ag e th at re q u ire s th e p articip atio n          risk s o f th e d ru g . S h o u l d w e ll - d e s ig n e d    su g g e sted ch an g in g th e term
    o f p h arm acis ts in p o stm ark e tin g s tu d ie s         p o s tap p ro v al stu d ie s f ail to d e m o n s trate       " p o s tm ark e tin g s tu d y ” to " Ph ase 3

    b e cau s e p h arm acis ts ca n s e rv e as an                th e e xp e cte d cl in ical b e n e f it, th e b en ef it      s tu d y ” in th is ru l e e xce p t w here
                                                                   e xp e cte d at th e tim e o f ap p ro v al                     trad itio n al p o stm ark etin g stud ies are
    ad d itio n al s o u rce o f in f o rm atio n o n
                                                                   (re aso n ab l y l ik ely to e xis t) w o u l d n o             in te n d e d . T h e co m m e n t also suggested
    th e rap e u tic o u tco m e s o f p atie n ts tak in g
                                                                   lo n g er b e e xp e cte d an d th e to tal ity o f             th at th e te rm " P h as e 3 stu d y ” be
    d ru g s ap p ro v e d u n d e r th is ru l e an d
                                                                   th e d ata, sh o w in g n o cl i n ical b en ef it,             d e f in e d as a stu d y req u ired to confirm
    m o n ito rin g f o r s u ch d ru g s .
       T h e ag e n cy e x p e cts th at th e                      w o u l d n o l o n g e r su p p o rt ap p ro v al . T h is      fin d in g s o f e f f icacy b ased u pon
    re q u ire m e n t f o r p o e tm ark e tin g s tu d ie s      e v alu atio n o f th e d ata is n o t d if f eren t             su rro g ate d ata co l l e cte d in Phase 2,
    w il l u s u al l y b e m e t b y stu d ie s al re ad y        f ro m co n s id e ratio n s th at w o u l d ap p l y in         w h ich w il l b e co n d u cte d af ter an
    u n d e rw ay at th e tim e o f ap p ro v al an d              e v alu atin g d ata in th e cas e o f a d ru g                  acce l e rate d ap p ro v al h as b een grant
                                                                    ap p ro v e d u n d e r o th e r p ro v is io n s o f th e      an d w il l b e re q u ire d b ef o re restrictions
     th at th e re w il l b e re as o n ab l e e n th u s ias m
     f o r re s o l v in g th e q u e stio n s p o s e d b y        reg u latio n s.                                                s e t f o rth in § 3 1 4 .5 2 0 are rem oved .
                                                                       31.      T w o co m m e n ts e xp re s s e d th e                T h e ag e n cy d o e s n o t b elieve m at tn
     th o s e stu d ie s. T h e p l an f o r tim e l y
                                                                    v ie w th at th e p ro p o se d re q u ire m e n t f or         co m m e n t h as accu rate l y d escrib ed
     co m p l e tio n o f th e re q u ire d
                                                                    p o stm ark etin g stu d ie s m ay rais e                       acce p te d m ean in g s o f v ariou s terms.
     p o stm ark e tin g stu d ie s w il l b e in cl u d e d




                                                                                                                                            EX. 8 pg. 027


                                                                                                                                                          App. 0129
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                     F e d e ra l R e g is te r /   V o l. 5 7 , N o . 2 3 9   /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2      /   R u l e s a n d R e g u l a tio n s       58955


T h e te r m p o stm ark etin g s tu d y d o e s n o t          co u rts h ad n o t d e cid e d th at s u ch a                 co u l d re q u e st th at th e ap p l ican t
refer to an y p articu l ar k in d o f s tu d y , b u t         h earin g w as n e ce s s aril y le g ally re q u ired         v o l u n taril y w ith d raw its p ro d u ct, an d
to stud ies e arn e d o u t af te r a d ru g is                 (se e 4 0 FR 4 0 6 8 2 at 4 0 6 9 1 , S ep te m b er           m o s t ap p l ican ts \ vou ld co m p l y i f a
m ark e te d , o f te n as p art o f an ag re e m e n t         3 , 1 9 7 5 ) . In p ro m u lg atin g its p ro ce d u ral      le g itim ate h az ard e xis ts .
by a sp o n so r to d o s o . T h e s e h av e                  re g u latio n s, FD A al s o d e te rm in e d th at a            A s n o te d i n th e p ro p o se d ru l e , FD A
in c lu d e d p h arm aco k in e tic, d ru g - d ru g           f o rm al e v id e n tiary h e arin g i s n o t                an d ap p l ican ts h av e o f ten re ach e d
in te ra c tio n , an d p e d iatric stu d ie s ,               re q u ired b ef o re w ith d raw in g ap p ro v al o f        m u tu al ag re e m e n t o n th e n e e d to
stu d ie s o f d o s e - re sp o n s e o r o f h ig h e r       b io l o g ical p ro d u cts , b u t th at i t w o u l d b e   re m o v e a d ru g f ro m th e m ark et rap id l y
d o ses, an d s tu d ie s o f n e w u se s . T h e              ap p ro p riate to ap p l y th e sam e                         w h e n sig n if ican t saf ety p ro b l em s n av e
term is n o t l im ite d to saf ety stu d ie s.                 p ro ce d u re s to b io l o g ical p ro d u cts as to         b e en d is co v e re d . H o w e v e r, ap p lican ts
M o re o v e r, Ph as e 2 an d 3 s tu d ie s are n o t          d ru g re m o v al (se e 4 0 FR 4 0 6 8 2 at                   u su al ly h av e b een u n w il lin g to e n te r
distinguished b y th e e n d p o in ts ch o s e n .             4 0 6 9 1 ).                                                   in to s u ch ag re e m e n ts w h e n d o u b ts
Phase 3 h y p e rte n sio n s tu d ie s , f o r                     T h ro u g h th e h e arin g p ro ce s s in th is          ab o u t ef f e ctiv e n e s s h av e arise n , su ch as
e x am p le , still m e as u re b lo o d p re ss u re ,         f in al ru l e , as in th e p ro p o se d ru l e ,             f o llo w in g th e re v ie w o f ef f e ctiv e n e ss o f
no t s tro k e rate . T h e ag e n cy b e lie v e s th at       ap p l ican ts w il l b e af f o rd e d th e                   p re - 1 9 6 2 ap p ro v al s carrie d o u t u n d e r
the u s e o f th e “ p o stm ark e tin g s tu d y ” in          o p p o rtu n ity to p re se n t an y d ata an d               th e D ru g Ef f icacy S tu d y Im p le m en tatio n
the final ru l e is ap p ro p riate an d                        in f o rm atio n th e y b e lie v e to b e re l e v an t       (D ES I) p ro g ram . Fo r d ru g s ap p ro v e d
c o n s is te n t.                                              to th e co n tin u e d m ark etin g o f th e ir                u n d e r th e acce l e rate d p ro ce d u re
                                                                p ro d u ct. T h e p ro p o se d p ro ce s s al s o            re g u latio n s, th e risk / b e n e f it ass ess m en t
G. W ith d raw al o f A p p r o v a l
                                                                w o u l d h av e p e rm itte d th e p re sid in g              is d e p e n d e n t u p o n th e lik el ih o o d th at
   33.        O n e co m m e n t s u p p o rte d th e           o f f icer, th e ad v iso ry co m m itte e                     th e su rro g ate e n d p o in t w il l co rre l ate
p ro p o se d w ith d raw al o f ap p ro v al                   m e m b e rs , a re p re s e n tativ e o f th e                w ith cl in ical b en ef it o r th at
p ro c e d u re . O th e r co m m e n ts as s e rte d           ap p l ican t, an d a re p re s e n tativ e o f th e           p o stm ark etin g re s trictio n s w il l en ab le
that th e p ro p o se d p ro ce d u re d o e s n o t            C e n te r th at in itiate s th e w ith d raw al               saf e u se . If th e ef f ect o n th e su rro g ate
p ro v id e th e ap p l ican t w ith th e                       p ro ce e d in g s to q u estio n an y p erso n                d o e s n o t tran sl ate in to a cl in ical b en ef it,
p ro c e d u ral saf e g u ard o f a f o rm al                  d u rin g o r a t th e co n cl u s io n o f th e               o r i f re s trictio n s d o n o t l e ad to saf e u se ,
e v id e n tia ry h e arin g g u aran te e d b y                p e rs o n ’s p re se n tatio n . A s d is cu s se d           th e risk / b en ef it ass e s s m e n t f or th ese
se c tio n 5 0 5 o f th e a ct an d th e                        b e lo w in re s p o n se to a co m m e n t, FD A              d ru g s ch an g e s sig n if ican tly . FD A
A d m in is tra tiv e Pro ce d u re A ct ( A P A ) . A s        h as d e cid e d to al lo w u p to th re e                     b e lie v e s th at i f th at o ccu rs , rap id
an exam p le, th e co m m e n ts said th at                     re p re s e n tativ e s o f th e ap p l ican t an d o f        w ith d raw al o f ap p ro v al as se t f o rth in
b ased on a f in d in g o f a sin g l e stu d y                 th e C en ter to q u estio n p re se n te rs .                 th is ru l e is im p o rtan t to th e p u b lic
f ailin g to s h o w cl i n ical b en ef it o r                 Particip an ts co u l d co m m e n t o n o r reb u t           h e alth .
m isu se o f an y p ro m o tio n al m ate rial , an             in f o rm atio n an d v ie w s p re se n te d b y                 3 5 . U n d e r th e p ro p o se d w ith d raw al
ap p ro v e d n e w d ru g w o u l d b e su b je ct to          o th ers . A s w ith o rd in ary 2 1 C FR p art 1 5            p ro ce d u re s , in ad d itio n to o th e r
w ith d ra w a l f ro m th e m ark e t w ith o n l y            h e arin g s, th e h earin g w iil b e                         p e rso n s, o n e re p re s e n tativ e o f th e
a m in im a l o p p o rtu n ity f o r th e N D A                tran scrib e d . S u b seq u en t to th e h earin g ,          C e n te r th at in itiate s th e w ith d raw al
h o ld e r to b e h e ard . T h e co m m e n ts                 th e C o m m is sio n e r o f Fo o d an d D rugs               p ro ce e d in g s m ay q u estio n p articip an ts
arg u ed th at s e ctio n 5 0 5 (e ) o f th e a ct              w o u l d re n d e r a f in al d e cisio n o n th e            at a w ith d raw al o f ap p ro v al h earin g .
g u aran te e s ap p l ican ts “ d u e n o tice an d            m atte r. T h e ag e n cy b e lie v e s th at th e             O n e co m m e n t o b je cte d to lim itin g th e
o p p o rtu n ity f o r a h e arin g ” o n                      ad m in is trativ e re co rd cre ate d th ro u g h             C en ter to o n e re p re s e n tativ e b e cau s e
w ith d ra w a l o f an N D A in co m p l ian ce                th is p ro ce s s w o u l d b e su f f icien t f or            d e tail e d k n o w led g e ab o u t a d ru g
w ith A P A h earin g stan d ard s, th u s FD A                 j u d icial rev iew .                                          p ro d u ct is lik el y to b e av ail ab le f rom
m u st co n d u ct h e arin g s o n w ith d raw al s                T h e ag e n cy e m p h asiz e s th at, as p art o f       se v e ral scie n tis ts .
o f N D A ’s u sin g th e f o rm al ad ju d icato ry            th e ap p ro v al p ro ce s s u n d e r th is ru l e ,            T h e p ro p o se d lim itatio n o f
p ro c e d u re s o f th e A PA . O n e co m m e n t            ap p l ican ts w il l h av e ag re ed th at th e s e           q u es tio n in g to sin g l e re p re s e n tativ e s o f
asse rte d th at, u n d e r th e p ro p o se d                  w ith d raw al p ro ce d u re s ap p ly to th e                th e in itiatin g C en te r a n a th e ap p lican t
p ro c e d u re , th e re is th e ab s e n ce o f a             d ru g f o r w h ich th e y seek ap p ro v al ;                w as in te n d e d to m ak e th e p ro ce e d in g s
d is c e rn ib le leg al s tan d ard , an in ab il ity          ap p l ican ts o b jectin g to th e s e p ro ce d u re s       m an ag eab le. O n f u rth er co n sid e ratio n ,
to cro s s- e xam in e, th e p ro s e cu tin g                  m ay f o rego ap p ro v al u n d e r th e s e                  th e ag e n cy h as d e te rm in e d th at it w o u l d
atto rn e y an d ju d g e are o n e an d th e sam e             re g u latio n s an d seek ap p ro v al u n d e r th e         b e ap p ro p riate an d m an ag eab l e to al lo w
p e rso n , an d th e re i s a l ack o f e v e n                trad itio n al ap p ro v al p ro ce s s . U n d e r            u p to th re e p e rs o n s to b e d esig n ate d as
m in im a l f o rm al e v id e n tiary p ro ce d u re s .       s u ch circu m s tan ce s , ap p l ican ts w o u ld            q u e stio n e rs f o r th e ap p l ican t an d for
T h e c o m m e n t e xp re s s e d d o u b t th at th e        n o t h av e th e b en ef it o f acce l e rate d               FD A . S e ctio n s 3 1 4 .5 3 0 (e )(2 ) an d
p ro p o se d p ro ce d u re w o u l d b e su f f icie n t      ap p ro v al ; if th e d ru g w e re su b seq u en tly         6 0 1 .4 3 (e )(2 ) h av e b e e n rev is ed
to c re a te a re co rd su itab l e f o r re v ie w b y         ap p ro v e d , h o w e v e r, b ef o re w ith d raw al        acco rd in g l y .
a C o u rt o f A p p e al s , w h i ch m u s t b e ab le,       o f th e ap p ro v al , th e ap p l ican t w o u l d               3 6 . S o m e co m m e n ts q u es tio n ed FD A ’s
o n th e b asis o f s u ch a re co rd , to                      h av e an o p p o rtu n ity f o r a 2 1 C FR p art             ab ility to w ith d raw ap p ro v al u n d e r th e
d e te rm in e w h e th e r th e ap p ro v al is                12 h earin g .                                                 p ro p o se d p ro ce d u re s e f f icien tly o r
8u£ P® d e d b y “ s u b s tan tial e v id e n ce .”               34.      O n e co m m e n t n o te d th at th e             ef f ectiv ely b e cau s e of : (l p T h e lack o f
  r D A b e lie v es th e w ith d raw al                        “ im m in e n t h az ard ” p ro v isio n o f se ctio n         ass u ran ce th at th e re s u l ts o f
p ro c e d u re s se t f o rth in p ro p o s e d                5 0 5 (e ) o f th e a ct al l o w s FD A to su s p e n d       p o stm ark e tin g s tu d ie s w il l b e p ro m p tly
§§ 3 1 4 .5 3 0 an d 6 0 1 . 4 3 an d in th is final            ap p ro v al o f a p ro d u ct, im m e d iate l y , i f it     p ro v id e d to FD A ; (2 ) l im ited ag en cy
ru le a re co n s is te n t w ith re l e v an t statu te s      is f o u n d to p o s e an im m in e n t h az ard to           re s o u rce s to re v ie w stu d y re su l ts an d act
®nd p ro v id e ap p l ican ts ad e q u ate d u e               th e p u b li c h e alth . A s an al te rn ativ e to           u p o n th e m p ro m p tl y ; (3 ) th e d if f icu lties
p ro c e ss. A s state d in th e p ro p o s e d ru l e ,        th e p ro p o se d w ith d raw al p ro ce d u re o r           ass o ciate d w ith e stab lis h in g th at an
ln lssuing its g en e ral p ro ce d u ral                       in ad d itio n to th e “ im m in e n t h az ard "              ap p ro v e d d rtig is “ in e f f e ctiv e ;” an d (4)
regulations, FD A d e cid e d to af f o rd N D A                s tatu to ry p ro v isio n , th e co m m e n t                 p o l itical p re ss u re n o t to re s cin d th e
noiders an o p p o rtu n ity f o r a f o rm al                  su g g e ste d th at, w h e n co n f ro n te d w ith a         ap p ro v al o f N D A ’s f o r d ru g p ro d u cts
evidentiary h earin g e v e n th o u g h th e                   d an g ero u s p ro d u ct o n th e m ark et, FD A             th at m ay lack e v id e n ce o f ef f ectiv en ess,




                                                                                                                                                   EX. 8 pg. 028


                                                                                                                                                                  App. 0130
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  58958          F e d e ra l R e g is te r /     V o l. 5 7 , N o . 2 3 9      /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2     /   R u le s an d    R e g u la tio n s


                                                                 im p le m e n t th e p ro v isio n s o f § 3 1 4 .5 3 0      f o r b io l o g ical p ro d u cts in cl u d es
  e s p e cial l y i f n o cl e arl y e f f ectiv e
  al te rn ativ e tre atm e n ts are av ail ab l e . O n e       as ap p ro p riate ; d ata th at are am b ig u o u s         e f f e ctiv e n e s s (21 C FR 6 0 0 .3 (s )). The PHS
  co m m e n t o f f ered th e o p in io n th at w h e re        w il l in ev itab ly le ad to d if f icu lt                  A ct d o e s n o t s p e cif y l ice n se revocation
  a d ru g sh o w s o n l y m o d e s t e v id e n ce o f        ju d g m en ts.                                              p ro ce d u re s , e x ce p t to state th at licenses
                                                                    A d ru g w ith cl e ar cl in ical                         m ay b e su s p e n d e d an d rev ok ed “ as
  b en ef it, p e rh ap s o n a su rro g ate
  e n d p o in t, an d o n l y s h o w s e q u iv o cal          ef f e ctiv e n e ss in a su b set o f th e                  p re s crib e d b y re g u l atio n s .”
                                                                 p o p u l atio n , b u t n o t in th e p o p u l atio n           Fo r d ru g s ap p ro v e d u n d er § 314.510,
  e v id e n ce o f cl i n ical e f f icacy in
                                                                 d es crib e d in lab elin g , w o u l d h av e its           FD A w il l h av e d e te rm in e d th at reports
  p o s tm ark etin g stu d ie s it w o u l d b e
                                                                 lab elin g re v is e d to re f l e ct th e d ata.            o f p o stm ark etin g stu d ie s are critical to
  d if f icu lt an d s o cial l y d is ru p tiv e to
                                                                 W ith d raw al w o u l d b e in ap p ro p riate              th e risk / b e n e f it b al an ce n eed ed for
  w ith d raw ap p ro v al an d re m o v e th e d ru g
                                                                 u n d e r su ch circu m s tan ce s .                         ap p ro v al ; i f th o s e re p o rts are not
  f ro m th e m ark et i f th e d ru g h as b e co m e
                                                                    If an im m in e n t h az ard to th e p u b lic            f o rth co m in g , th e n , u n d e r authority of
  w e ll es tab l is h e d an d a cce p te d , an d th e re
                                                                 h e al th e xis ts , th e S e cre tary o f H eal th          s e ctio n 5 0 5 (d ) o f th e act, th e drug
  is n o iss u e o f to xi ci ty . A n o th e r co m m e n t
                                                                 an d H u m an S e rv ice s m ay s u s p e n d                can n o t o n an o n g o in g b asis m eet the
  b e lie v e d it w o u l d b e d if f icu lt to
                                                                 ap p ro v al o f an ap p l icatio n an d th e n              stan d ard s o f saf ety an d ef f icacy required
  w ith d raw ap p ro v al o f a d ru g th at m ay
                                                                 af f o rd th e ap p l ican t an o p p o rtu n ity f or       f o r m ark etin g u n d e r th e act. Therefore,
  b e b e n e f icial in a su b p o p u l atio n b u t
                                                                 an e xp e d ite d h earin g . In th e ab se n ce o f         it i s im p o rtan t to e n su re th at the
  w h ich , in f act, h as n o t b ee n sh o w n to b e
                                                                 a sig n if ican t h az ard re q u irin g im m e d iate       ap p l ican t m ak e a g o o d faith effort to
  e f f icacio u s in b ro ad e r p atie n t
                                                                 w ith d raw al , FD A b e lie v e s th e e xp e d ite d      co m p l e te an y re q u ired postm arketing
  p o p u l atio n stu d ie s . T h e co m m e n ts
                                                                 p ro ce d u re d escrib e d in th e ru l e satisf ie s         stu d ie s in a tim e l y m an n e r so that FDA
  su g g este d th e n e e d f o r a l e s s e r san ctio n .
                                                                 th e n e e d f o r p ro m p t actio n w h il e , at th e       can rap id l y d e te rm in e w h eth er the
      A n o th e r co m m e n t su g g e ste d th at
                                                                 sam e tim e , al lo w in g o p p o rtu n ity f o r             su rro g ate e n d p o in t u p o n w h ich the drug
  e xp e d itin g re m o v al o f a p ro d u ct f ro m
                                                                 d is cu s s io n an d d eb ate b ef o re                       w as ap p ro v e d h as b een con firm ed to
  th e m ark et co u l d b e acco m p l is h e d b y
                                                                 w ith d raw al .                                               co rre l ate w ith cl i n ical b enef it. Failure to
  u sin g a p ro ce d u re lik e th e “ im m in e n t
  h az ard ” p ro v isio n o f th e act, i.e .,                     37,       O n e co m m e n t n o te d th at th e            su b m it th e stu d y re s u l ts in a tim ely
                                                                 p ro p o se d ru l e w o u l d al lo w FD A to                 f ash io n w o u l d al so co n stitu te failure to
  im m e d iate re m o v al o f th e d ru g f ro m th e
                                                                 w ith d raw ap p ro v al f o r f ailu re to                    m ak e a re q u ire d re p o rt. S im ilarly,
  m ark et i f an y o f th e co n d itio n s l is te d in
                                                                 p erf o rm th e re q u ire d p o stm ark etin g                w ith o u t su b m is sio n o f th e information
    ro p o s e d § 3 1 4 .5 3 0 w e re m e t f o llo w ed
                                                                 s tu d ie s w ith d u e d il ig en ce. T h e                   f ro m re q u ire d p o stm ark etin g studies on
    y a h earin g .
      A l th o u g h th e p o te n tial d if f icu ltie s        co m m e n t as s e rte d th at th e act d o e s n o t         b io l o g ical p ro a u cts ap p ro v e d under
   cite d b y th e co m m e n ts are re al , th e y are          p e rm it FD A to w ith d raw ap p ro v al o n                 th e s e p ro ce d u re s , th e b io log ical product
   n o t f u n d am e n tal l y d if f eren t f ro m             th is g ro u n d . A n o th e r co m m e n t,                  is n o t ass u re d o f co n tin u e d saf ety and
   d e te rm in atio n s FD A re g u larl y m u st               h o w e v e r, su g g e ste d th at b e cau s e                e f f e ctiv e n e s s. T h e l ice n se application
   m ak e in carry in g o u t its re s p o n sib il itie s.      p ro p o se d § § 3 1 4 .5 3 0 an d 6 0 1 .4 3 cite            m ay , th e re f o re , ap p ro p riatel y be revoked

   T h e n e w re g u latio n s p ro v id e f o r an             g ro u n d s f or w ith d raw al o f ap p ro v al th at        as d e s crib e d in § 6 0 1 .4 3 .
                                                                 are n o t g ro u n d s u n d e r th e act, th e                   FD A d o e s n o t f in d th e statem ents of
   e xp e d ite d p ro ce d u re to w ith d raw
                                                                  lan g u ag e o f th e s e p ro p o se d se ctio n s           th e g ro u n d s f o r w ith d raw al o f approval
   ap p ro v al ; th e y d o n o t g u aran te e th at
                                                                  sh o u ld b e re v is e d to u s e lan g u ag e th at         u n d e r § § 3 1 4 .5 3 0 an d 6 0 1 .4 3 of this rule
   re s u l ts o f s tu d ie s w il l b e w h o l ly
                                                                  cl o s e r alig n s to th at u se d in th e act, e .g .,      in co n s is te n t w ith statu to ry language or
   u n am b ig u o u s o r th at FD A w il l al w ay s
                                                                  d e scrib e a “ p o s tm ark etin g s tu d y ” in             am b ig u o u s . T h e ag e n cy n o tes that, in
   b e ab le to p re v ail in its v ie w as to th e
                                                                  statu to ry lan g u ag e.                                     th e e v e n t n o n e o f th e g ro u n d s for
   n e e d f o r w ith d raw al , an y m o re th an
                                                                    FD A re af f irm s th e p o s itio n e xp re s s e d        w ith d raw al sp e cif ical l y listed in
   cu rre n t w ith d raw al p ro ce d u re s d o . T h e
                                                                  in th e p re am b l e to th e p ro p o sal (5 7 FR            § 3 1 4 .5 3 0 o r § 6 0 1 . 4 3 ap p lies, b ut
   stu d ie s b ein g carrie d o u t u n d e r th e s e
                                                                  1 3 2 3 4 at 1 3 2 3 9 ) th at th e re is ad eq u ate         an o th e r g ro u n d f o r w ith d raw al under
   p ro v isio n s w il l b e co n s p icu o u s an d
                                                                  au th o rity u n d e r th e a ct to w ith d raw               se ctio n 5 0 5 o f th e act o r sectio n 351 of
   im p o rtan t an d th e ir co m p l e tio n w il l b e
                                                                  ap p ro v al o f an ap p l icatio n f o r th e                th e PH S A ct an d im p lem en tin g
   w id e l y k n o w n . T h e re is n o re as o n to
                                                                  re as o n s state d u n d e r p ro p o se d                   re g u latio n s at 2 1 C FR 3 1 4 .1 5 0 or 601.5
   b e lie v e th e ir re s u l ts w o u l d o r co u l d b e
                                                                  § § 3 1 4 .5 3 0 an d 6 0 1 .4 3 , w h ich in cl u d e        d o e s ap p ly , th e ag e n cy w ill proceed to
   lo n g h id d e n . A stu d y th at f ails to sh o w
                                                                  f ailu re o f an ap p l ican t to p e rf o rm th e            w ith d raw ap p ro v al u n d er traditional
   cl in ical e f f e ctiv e n e s s d o e s n o t p ro v e a
   d ru g h as n o cl i n ical ef f ect b u t it is a             re q u ired p o s tm ark etin g stu d y w ith d u e            p ro ce d u re s .
                                                                  d il ig e n ce . S e ctio n 5 0 5 (e ) o f th e act               38.       T w o co m m e n ts exp ress ed concern
   stu d y th at, u n d e r § 3 1 4 .5 3 0 , w il l l e ad to
                                                                  au th o riz e s th e ag e n cy to w ith d raw                  th at it m ay b e d if f icu lt f o r th e agency to
   a w ith d raw al p ro ce d u re b e cau s e it h as
                                                                  ap p ro v al o f an N D A if n e w in f o rm atio n            e n f o rce th e req u irem en t th at
   f ailed to sh o w th at th e su rro g ate
                                                                  s h o w s th at th e d ru g h as n o t b e en                  p o stm ark etin g stu d ie s b e p ursued witn
   e n d p o in t o n w h ich ap p ro v al w as b ase d ,
                                                                  d e m o n s trate d to b e e ith e r saf e o r                 d u e d il ig e n ce . T h e co m m en ts asked
   can b e co rre l ate d w ith a f av o rab l e
                                                                                                                                 w h at w o u l d h ap p e n i f a sp o nso r using
   cl in ical ef f ect. T h is m ay h av e o ccu rre d            ef f ectiv e. A p p ro v al m ay al so b e
                                                                  w ith d raw n i f th e ap p l ican t h as f ailed to           d u e d il ig e n ce is u n ab le to recru it
   b e cau s e th e s tu d y w as p o o rl y d es ig n ed
                                                                  m ain tain re q u ire d re co rd s o r m ak e                  en o u g h p atie n ts, o r if th e sp onsor
   o r co n d u cte d ; w h il e FD A w il l m ak e
                                                                                                                                 q u e stio n s th e v alid ity o f th e data from
   e v e ry ef f o rt to av o id th is , th e                      re q u ire d re p o rts . In ad d itio n , ap p ro v al
                                                                                                                                 th e re q u ire d p o stm ark etin g stud y, ana
   co m m e rcial sp o n s o r h as th e                          i n a y b e w ith d raw n i f n e w in f o rm atio n ,
                                                                                                                                 w o u l d cl u m s y d ata m an ag em en t be seen
   re s p o n sib il ity f o r p ro v id in g th e n e e d e d     al o n g w ith th e in f o rm atio n co n s id e re d
                                                                                                                                 as su f f icie n t re aso n to re scin d approve
   e v id e n ce co n f irm in g cl i n ica l b en ef it. A s     w h e n th e ap p l icatio n w as ap p ro v e d ,
                                                                                                                                 f o r a m ark e te d d ru g ? A n o th er common
   p re v io u sl y d is cu s s e d , § $ 3 1 4 , 5 1 0 an d      sh o w s th e lab elin g to b e f alse o r
                                                                                                                                 s tate d th at o n ce a p ro d u ct is approved
   6 0 1 .4 1 h av e b ee n re v is e d to cl arif y th at        m is le ad in g .
                                                                    Fo r b io l o g ical p ro d u cts , s e ctio n               an d , b y d ef in itio n , p ro v id es a
   re q u ire d p o stm ark e tin g stu d ie s m u st
                                                                                                                                 “ m ean in g f u l th e rap e u tic b enefit over
   al so b e aae q u ate an d w e l l - co n tro l l e d .         3 5 1 (d ) o f th e PH S A ct au th o riz e s
                                                                   ap p ro v al o f l ice n s e ap p l icatio n s u n d e r      e xis tin g th e rap ie s ,” stu d y accru al may
   T h e p o s sib il ity th at an in e f f e ctiv e d ru g
                                                                   stan d ard s d esig n ed to e n su re co n tin u e d          d ro p o f f d ram aticall y as p atien ts may
   h as b e co m e “ a cce p te d ” is n o t a b asis f o r
                                                                   saf ety , p u rity , an d p o te n cy . “ P o te n cy "       re f u se to re ce iv e th e “ o ld    therapy ° r
   co n tin u e d m ark etin g . FD A in te n d s to




                                                                                                                                            EX. 8 pg. 029


                                                                                                                                                           App. 0131
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                 F e d e ra l R e g is te r /        V o l.      5 7 , N o . 2 3 9 / F rid a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u l a tio n s                       58957


 placebo, o r p h y s ician s m ay co n s id e r it                   acce l e rate d ap p ro v al p ro ce s s is to             th e ap p l ican t h ad an o p p o rtu n ity f or
 unethical n o t to tre at al l p atie n ts w ith                     p ro v id e im p ro v e d tre atm e n ts to                h e arin g as d e scrib e d in th o se se ctio n s.
 the ap p rov ed in d icatio n w ith th e n e w                       d e sp e rate l y ill p atie n ts at th e e arl ie s t     T h e C o m m is sio n e r w o u l d th e n e xp e ct to
 d rug o r b io lo g ical p ro d u ct. U n d e r th ese               p o s sib le tim e , an d w ith d raw al o f               re v ie w th e iss u e s w ith o b j ectiv ity an d
 circum stan ces, th e co m m e n t e xp re s s e d                   ap p ro v al o f th e n e w tre atm e n ts f o r           f airn ess h av in g h ad th e b en ef it o f th e
 the op inion th at n e ith e r th e s p o n s o r n o r             re as o n s n o t d ire ctl y re l ate d to saf e ty o r      re s e n tatio n s an d d is cu s sio n s at th e
 the p ro d u ct sh o u ld b e p e n aliz e d , n o r                e f f icacy u n d e rm in e s th e p u rp o s e o f th e      e arin g an d o f th e ad v iso ry co m m itte e ’s
 should th ere b e a th re at to w ith d raw                         p ro p o se d ru l e . T w o co m m e n ts                  re co m m e n d atio n s.
 approval. B as ed o n FD A ’s p ast h is to ry                      su g g este d th at co rre ctio n o f th e
 in p ostm ark etin g s tu d ie s , w h ich o n e                                                                                H.    S a fe g u a r d s f o r P a t ie n t S a fe t y
                                                                     p ro m o tio n al m ate rial w ith o u t
 com m ent ch aracte riz e d as re su l tin g in                     in te rru p tio n o f a cce s s to th e d ru g w o u l d       4 1 . O n e co m m e n t ask ed if d ru g s
 p o o rly d o n e stu d ie s , stu d ie s co n d u cte d            b e a b e tte r ap p ro ach . A n o th e r co m m e n t     ap p ro v e d u n d e r th e acce l e rate d
 m u c h later th an ag ree d u p o n , o r n o t at                 su g g e ste d th at th e re m ay b e                       ap p ro v al p ro ce s s w il l b e h e ld to th e
 all, the co m m e n t e xp re s s e d th e o p in io n              circu m s tan ce s w h e re co n tin u e d a cce s s        sam e s tan d ard s co n ce rn in g
 that the ’’ d u e d il ig e n ce ” w ith w h ich                    to th e d ru g , i f acco m p an ie d b y in f o rm ed      p o stm ark etin g saf e ty as d ru g s ap p ro v ed
 a p p lic a n ts are e xp e cte d to carry o u t                    co n s e n t, w o u l d b e ap p ro p riate e v e n if      b y th e trad itio n al p ro ce ss .
 postm arketing stu d ie s m ay b e an o v e rl y                    su b stan tial q u estio n s aris e ab o u t a                 A s d is cu s s e d in th e p re am b le to th e
 great e xp ectatio n . O n e co m m e n t ask ed                    p ro d u ct’s saf e ty an d e f f ectiv en es s. O n e      p ro p o se d ru l e , ap p l ican ts g ain in g
 FD A to g iv e e xam p l e s o f w h e n it m ay                    co m m e n t u rg ed th at an ticip ate d                   ap p ro v al f o r n e w d ru g s th ro u g h th e
 w ith d raw ap p ro v al i f ’ ’ o th e r e v id e n ce             w ith d raw al o f ap p ro v al b e p re ce d e d b y       acce l e rate d ap p ro v al p ro ce d u re s w il l
 dem onstrates th at th e d ru g p ro d u ct is                      m e as u re s to e n su re th at p atien ts an d            al so b e e xp e cte d to ad h e re to th e
 not show n to b e saf e o r ef f e ctiv e u n d e r                 th e ir p h y s ician s w il l h av e an                    ag e n cy ’s l o n g stan d in g req u irem en ts f or
 its co n d ition s o f u s e ” (p ro p o se d                       u n in te rru p te d su p p l y u n til al tern ativ e      p o s tm ark etin g re co rd k eep in g an d saf ety
 §§ 3 1 4 .5 3 0 (a)(6 ) an d 6 0 1 .4 3 (a )(6 )).                  tre atm e n t arran g em en ts can b e m ad e.              rep o rtin g (se e 2 1 C FR 3 1 4 .8 0 an d
    FD A d o e s n o t ag re e th at it w il l b e                      T h e n e e d f or ‘ ‘ d u e d il ig e n ce ” in         3 1 4 .8 1 ). In f o rm atio n th at co m e s to FD A
 d if f ic u lt to e n f o rce th e ‘ ‘ d u e d il ig e n ce ”       co n d u ctin g th e ag ree d to p o stm ark etin g         f ro m th e ap p l ican t o r e l se w h e re th at
 p ro v isio n o f th is ru l e . T h e " d u e                      stu d ie s is d is cu s se d in p arag rap h 3 7 .          raise s p o te n tial saf ety co n ce rn s w ill b e
 d ilig e n c e ” p ro v isio n w as d esig n ed to                  T h e re as o n s f o r co n ce rn ab o u t                 e v alu ated in th e sam e m an n e r th at su ch
 en su re that th e ap p l ican t m ak es a g o o d                  m isl ead in g p ro m o tio n al m ate rials are            in f o rm atio n is e v alu ate d f o r d ru gs
 faith e f f o rt to co n d u ct a re q u ire d                      d is cu s se d u n d e r p arag rap h 1 6 . W ith          ap p ro v e d u n d e r th e ag e n cy ’s trad itio n al
 p o stm a rk e tin g s tu d y in a tim e l y m an n e r             re s p e ct to p ro m o tio n al m aterials , FD A         p ro ce d u re s. If th e p o stm ark etin g
 to c o n f irm th e p re d ictiv e v alu e o f th e " >             e xp e cts th at, in m o st cas e s , an y                 in f o rm atio n sh o w s th at th e risk / b en ef it
 su rro g ate m ark er o r o th e r i n d icato r. A n y             d is ag re em en ts b etw een th e ap p lican t            as s e ss m e n t is n o l o n g er f av o rab le, th e
 re q u ire m e n t f or p o stm ark e tin g stu d ie s              an d FD A w ill b e re s o l v e d th ro u g h             ag e n cy w il l act acco rd in g l y to re m o v e
 w ill h a v e b een ag re ed to b y th e                            d is cu s sio n an d m o d if icatio n o f d ie            th e d ru g f ro m th e m ark et.
 ap p lic an t at th e tim e o f ap p ro v al , an d if              m ate rials , so th at th e d ru g o r b io l o g ical        4 2 . Chie co m m e n t u rg ed FD A , if th e
 the stu d y is n o t co n d u cte d in a tim e l y                    ro d u ct can co n ti n u e to b e m ark eted . If,      p ro p o se d ru l e w ere ad o p te d , to req u ire
 m an n er a s ag ree d to b y th e ap p l ican t,                     o w ev er, FD A co n cl u d e s th at th e               w ritte n in f o rm ed co n s e n t so th at
 ap p ro v al o f th e ap p l i can t’s ap p l icatio n              p ro m o tio n al m ate rials ad v erse l y af f ect       p atie n ts w o u l d k n o w th at th e d ru g s
 w ill b e w ith d raw n . FD A w il l e xp e ct an y                th e risk / b en ef it co n cl u s io n su p p o rtin g    w ith w h ich th e y w e re b ein g tre ate d h ad
 re q u ire d p o s tm ark etin g s tu d y to b e                    th e d ru g ’s m ark etin g , th e ag e n cy in ten d s    risk s an d th at th e b en ef its h ad n o t b een
 c o n d u c te d in co n s u l tatio n w ith th e                   to m in im iz e th e risk to th e p u b lic h ealth        ad eq u ately estab lis h ed .
agency. T h ere f o re, s h o u l d th e ap p l ican t               b y rem o v in g th e p ro d u ct f rom th e                  T h e ag e n cy d o es n o t ag ree th at
encounter p ro b l e m s w ith su b je ct                            m ark et th ro u g h th e w ith d raw al                   p atie n ts u sin g d ru g p ro d u cts ap p ro v ed
enrollment in a s tu d y o r e th ical                               p ro ce d u re s in th is ru le.                          u n d e r th e acce l e rate d ap p ro v al
difficulties ab o u t th e ty p e o f stu d y to                        40.       O n e co m m e n t e xp re ss e d co n ce rn reg u latio n s sh o u ld b e ask ed to p ro v id e
conduct, FD A e xp e cts th e ap p l ican t to                       th at th e p ro p o se d w ith d raw al p ro ce d u re    w ritten in f o rm ed co n se n t. D rugs
discuss these p ro b l e m s w ith th e ag e n cy                    m ay g iv e th e ap p e aran ce o f b ias o r             ap p ro v e d u n d e r th e s e p ro v isio n s are n o t
and reach ag re em en t o n th e ir re s o l u tio n .               p re co n ce iv e d n o tio n s o n th e p art o f th e   co n sid e re d e xp e rim e n tal d ru g s f o r th e ir
  Examples o f o th e r e v id e n ce                                ag e n cy b e cau s e th e f inal d e cisio n to           ap p ro v e d u ses. Lik e all ap p ro v e d d ru gs,
demonstrating th e d ru g p ro d u ct is n o t                       w ith d raw ap p ro v al o f a d ru g w o u l d b e        d ru g s ap p ro v ed u n d e r th e s e p ro v isio n s
shown to b e saf e an d ef f e ctiv e co u l d                       m ad e b y th e C o m m is sio n er o f Fo o d an d        w ill h av e b o th risk s an d b en ef its. A s
include further s tu d ie s o f th e ef f ect o f                    D ru gs an d th e in ten tio n to w ith d raw              p re v io u sl y d is cu s se d in th is p ream b le,
the drug an d th e su rro g ate e n d p o in t th at                 ap p ro v al o f th e d ru g w il l al re ad y h av e      f or d ru g s ap p ro v e d b ased o n stu d ie s
fail to sho w th e ef f e ct se e n in p re v io u s                 b een d e te rm in e d b y th e ag en cy .                 sh o w in g an ef f ect o n a su rro g ate
studies, new e v id e n ce ,cas tin g d o u b t o n                     U n d e r th e w ith d raw al p ro v isio n s o f       e n d p o in t, th e ap p ro v ed lab elin g w ill
the v alid ity o f th e su rro g ate e n d p o in t as               th is ru l e , FD A ’s C D ER o r C BER , rath e r         d escrib e th at ef f ect. In ad d itio n , th e
a predicto r o f cl i n ical b e n e f it, o r n e w                 th an th e C o m m is sio n e r, w il l in itiate th e     lab elin g w ill co n tain in f o rm atio n o n
evidence o f sig n if ican t to xicity .                             w ith d raw al p ro ce e d in g s. T h e                   k n o w n an d p o te n tial saf ety h az ard s an d
   39. So m e co m m e n ts o b j ected to                           w ith d raw al p ro ce s s w il l b eg in w ith a          p re cau tio n ary in f o rm atio n . A s w ith al l
W ith d raw al o f ap p ro v al o f a d ru g                         l e tte r f rom C D ER o r C BER n o tif y in g th e       p re scrip tio n d ru g s, th e p h y s ician h as
p ro d u c t ap p ro v ed u n d e r th e acce l e rate d             ap p l ican t th at th e C e n te r p ro p o se s to       th e re s p o n sib ility f o r ap p ro p riately
ap p ro v al p ro ce ss b e cau s e o f p e rce iv e d               w ith d raw m ark e tin g ap p ro v al an d                ad v isin g th e p atie n t reg ard in g th e d ru g
M isc o n d u c t b y th e ap p l ican t, s u ch as                  statin g th e re as o n s f o r th e p ro p o se d         b ein g p re scrib ed .
 ailu re to p erf o rm a re q u ire d                                actio n . A lth o u g h se p aratio n o f f u n ctio n s      4 3 . O n e co m m e n t ask ed th at FD A
p o stm a rk e tin g stu d y w ith d u e d il ig e n ce              w il l n o t ap p ly u n d e r th e p ro v isio n s o f    req u ire m an u f actu re rs to m ain tain an
or use o f p ro m o tio n al m ate rial s th at are                  § § 3 1 4 . 5 3 0 o r 6 0 1 .4 3 , th e                    u p d ate d list o f n am es, ad d re ss es, an d
      ° r m islead in g . T h e co m m e n ts                        C o m m is s io n e r’s d e cis io n reg ard in g           p h o n e n u m b ers o f p h y s ician s
“ Su ed th a t d ie p rim ary p u rp o s e o f th e                  w ith d raw al w o u l d n o t o ccu r u n til af ter       p re scrib in g th e ir p ro d u cts ap p ro v ed




                                                                                                                                                       EX. 8 pg. 030


                                                                                                                                                                        App. 0132
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  53958           F e d e ra l R e g is te r /     V o l. 5 7 , N o . 2 3 9       /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2     /     R u l e s a n d R e g u la tio n s


                                                                                                                                Se c .
  u n d e r th is ru l e , an d in th e cas e o f re cal l       ap p l ican ts w il l m o st p ro b ab ly ch o o s e to
                                                                                                                                314.510 A pproval based on a surrogate
  o r w ith d raw al o f ap p ro v al , re q u ire               tak e ad v an tag e o f th e p to g ram o n l y
                                                                                                                                    end po int o r o n an effect on a clinical
  m an u f actu re rs to co n ta ct th e s e                     w h e re its u se is e xp e cte d to re d u ce n e t
                                                                                                                                    endpo int o ther than survival or
  p h y s ician s an d e n co u rag e th e m to n o tif y        co s ts , S im il arl y , th e f in al ru l e d o e s n o t        irreversible morbidity.
  th e ir p atie n ts.                                           im p o s e a sig n if ican t e co n o m ic im p act            314.520 A pproval w ith restrictions to
     FD A d o e s n o t b e l ie v e s u ch a                    o n a su b stan tial n u m b e r o f sm all e n titie s            assure safe use.
  p ro ce d u re is n e ce s s ary . Fu rth e rm o re ,          so as to re q u ire a re g u lato ry f l e xib ility           314.530 W ithdraw al procedures.
  m ain tain in g s u ch a re g is try f o r d ru g s            an aly sis u n d e r th e re q u ire m e n ts o f th e         314.540 Postmarketing safety reporting.
  p re s crib e d th ro u g h p h arm acie s w o u l d           R eg u lato ry Fle xib il ity A ct o f 1 9 8 0 .               314.550 Promotional materials.
  b e v e ry d if f icu lt. A g e n cy e xp e rie n ce                                                                          314.560 Terminatio n o f requirements
                                                                 V L En v iro n m e n tal I m p act
   w ith re cal l s an d p ro d u ct w ith d raw al s
                                                                T h e ag e n cy h as d e te rm in e d u n d e r 2 1
                                                                                                                                Subpart H — Acce lera ted A p p r o v a l o f N sw
   in d icate s th at th e m e th o d s o f
                                                                                                                                D rugs for Se riou s or U fa - T h r e a te n in g
   n o tif icatio n th at h av e b e e n d e v e l o p e d   C FR 2 5 .2 4 (a )(8 ) th at th is actio n is o f a
                                                                                                                                lUneesee
   f o r su ch circu m s tan ce s are ad eq u ate.           ty p e th at d o e s n o t in d iv id u all y o r
       44.      O n e co m m e n t re co m m e n d e d th at cu m u l ativ e l y h av e a sig n if ican t ef f ect o n          § 3 1 4 .5 0 0    Scope .
   FD A re q u ire p atie n t p ack ag e in s e rts          th e h u m an en v iro n m e n t. T h e re f o re ,                    T h is su b p art ap p lie s to certain new
   (PPI’s) f o r al l d ru g s p a n te d acce l e rate d    n e ith e r an e n v iro n m e n tal ass e ss m e n t              d ru g an d an tib io tic p ro d u cts that have
   e p p ro v al th at w o u l d s tate th e s p e cif ic    n o r an e n v iro n m e n tal im p act state m e n t              b e en stu d ie d f or th e ir saf ety and
   re s trictio n s p l ace d o n a d ru g p ro d u ct           is re q u ired .                                               e f f e ctiv e n e s s in tre atin g serio u s or life-
   a n d / o r th e re as o n f o r re q u irin g                                                                                 th re ate n in g ill n e ss e s an d th at provide
                                                                 V II.   P a p e rw o rk R e d u ctio n A ct o f 1 9 8 0
   p o stm ark etin g stu d ie s . In ad d itio n , th e                                                                          m ean in g f u l th e rap e u tic b en ef it to
   co m m e n t re co m m e n d e d th at FD A                      T h is ru le d o e s n o t co n tain n e w
                                                                                                                                  p atie n ts o v e r e xistin g treatm en ts (e g.,
   r equire th e m an u f actu re r to i n cl u d e an           co l l e ctio n o f in f o rm atio n re q u irem en ts .
                                                                                                                                  ab ility to tre at p atie n ts unresp onsive to,
   ad v e rse d ru g re actio n “ h o tl in e ” p h o n e        S e ctio n 3 1 4 .5 4 0 d o e s re f e r to re g u latio n s
                                                                                                                                  o r in to l e ran t o f , av ail ab le therap y, or
   n u m b e r in th e PPI al o n g w ith an FD A                th at co n tain co l l e ctio n o f in f o rm atio n
                                                                                                                                  im p ro v e d p atie n t re s p o n se over
   p h o n e n u m b e r. T h e PPI s h o u l d in f o rm        re q u ire m e n ts th at w e re p re v io u sl y
                                                                                                                                  av ail ab le th e rap y ).
   th e p atie n t to re p o rt im m e d iate l y an y           su b m itte d f o r re v ie w to th e D ire cto r o f
   ad v e rse d ru g re actio n e xp e rie n ce d to h is        th e O f f ice o f M an ag em en t an d Bu d g et                $ 3 1 4 .5 1 0 Approva l based on a surrogate
   o r h e r d o cto r, th e m an u f actu re r, an d            (O M B) u n d e r s e ctio n 3 5 0 4 o f th e                    endpoint or on an effect on a clinical
   FD A , an d th e m an u f actu re r sh o u ld b e             Pap e rw o rk R e d u ctio n A ct o f 1 9 8 0                    endpoint other then survival or irreversible
   re q u ire d to co n tact FD A im m e d iate l y              (A d v e rs e D rug E xp e rie n ce R ep o rtin g ,              m orbidity.
   af te r re ce iv in g a re p o rt o f a se rio u s            O M B N o. 0 1 9 0 - 0 2 3 0 ) .                                     FD A m ay g ran t m ark etin g approval
   ad v e rse re actio n .                                                                                                        f o r a n e w d ru g p ro d u ct o n th e basis of
                                                                 L is t o f S u b jects                                           ad e q u ate an d w e ll - co n tro ll e d clinical
      FD A co n cl u d e s th at p atie n t p ack ag e
   in s e rts are n o t ro u tin e l y n e e d e d f or          2 1 C FR P ar t 3 1 4                                            trial s e stab lis h in g th at th e d rug product
   d ru g s g ran te d acce l e rate d ap p ro v al ,                                                                             h as an ef f ect o n a su rro g ate endpoint
                                                                     A d m in is trativ e p ractice an d
   al th o u g h i f ci rcu m s tan ce s m ad e o n e                                                                             th at is re as o n ab ly lik e ly , b ased on
                                                                 p ro ce d u re , C o n f id e n tial b u sin e ss
   ap p ro p riate , o n e w o u l d b e d e v e l o p e d                                                                        e p id e m io l o g ic, th e rap e u tic,
                                                                 in f o rm atio n , D ru gs, R ep o rtin g an d
   f o r a p articu l ar d ru g . A s w ith an y                                                                                  p ath o p h y s io l o g ic, o r o th e r evid ence, to
                                                                 re co rd k e e p in g re q u irem en ts .
   p re s crip tio n d ru g , th e ap p ro v e d lab elin g                                                                       p re d ict cl i n ica l b en ef it o r o n the basis
   f o r a p ro d u ct g ran te d acce l e rate d                 2 1 C FR P ar t 6 0 1                                           o f an ef f e ct o n a cl in ical end p oint other
   ap p ro v al w il l co n tain in f o rm atio n ab o u t           Bio lo g ies, C o n f id en tial b u sin e ss                th an su rv iv al o r irrev ersib le morbidity.
   th e saf e an d ef f e ctiv e u s e o f th e p ro d u ct,      in f o rm atio n .                                              A p p ro v al u n d e r th is se ctio n w ill be
   in cl u d in g al l n e ce s s ary w arn in g s an d              T h e re f o re , u n d e r th e Fe d e ral Fo o d ,         su b j ect to th e re q u irem en t th at the
   th e e xte n t o f cl i n ical e xp o s u re . In              D rug, an d C o s m e tic A ct, th e Pu b li c                  ap p l ican t s tu d y th e d ru g f urther, to
   ad d itio n , th e co n d itio n s o f u s e w il l b e        H eal th S e rv ice A ct, an d u n d e r au th o rity           v erif y an d d e scrib e its cl in ical benefit,
   care f u ll y w o rd e d to re f l e ct th e n atu re o f      d e leg ated to th e C o m m is sio n e r o f Fo o d            w h e re th e re is u n ce rtain ty as to the
   th e d ata s u p p o rtin g th e p ro d u ct’s                 an d D ru gs, 2 1 C FR p arts 3 1 4 an d 6 0 1 are              re l atio n o f th e su rro g ate en d p oint to
   ap p ro v al . Ph y s ician s h av e th e                      am e n d e d as f o ll o w s:                                   cl in ical b en ef it, o r o f th e observed
   re s p o n sib il ity to in f o rm p atie n ts ab o u t                                                                        cl i n ical b en ef it to u ltim ate outcom e.
   th e saf e an d ef f e ctiv e u s e o f an ap p ro v e d       PART 314— APPLI CATI ON S FOR FD A                              Po s tm ark e tin g s tu d ie s w o u ld usually be
   p ro d u ct. Lab el in g i n cl u d e s su g g e stio n s      APPR O V AL TO M AR KET A NEW DRUG                              s tu d ie s al re ad y u n d e rw ay . W hen
   to th e p h y s ician co n ce rn in g in f o rm atio n         OR AN ANTI BI OTI C D RUG                                       re q u ire d to b e co n d u cte d , su ch studies
   to b e p ro v id e d to p atie n ts.                                                                                           m u s t al so b e ad eq u ate an d w ell-
                                                                     1 . T h e au th o rity citatio n f o r 21 C FR
      T h e ag e n cy n o te s th at in th is f in al                                                                             co n tro l l e d . T h e ap p l ican t shall carry out
                                                                  p art 3 1 4 co n tin u e s to re ad as f o llo w s:
   ru l e l im ite d e d ito rial ch an g e s h av e b ee n                                                                       an y s u ch stu d ie s w ith d u e diligence.
   m ad e to th e w o rd in g o f th e p ro p o se d                A uthority: Secs. 201,301, 501, 502, 503,
                                                                  505, 506, 507, 701, 706 o f the Fed eral Foo d,                 $ 314.520 Approva l w Hh restrictions to
   ru l e . H i e ag e n cy h as d e te rm in e d th at
                                                                  Drug, and Cosmetic A ct (21 U.S.C. 321, 331,                    a ssu re sa fe u se .
   th e s e ch an g e s d o n o t af f e ct th e in te n t o f
                                                                  351, 352,353, 355, 356, 357, 371, 376).                             (a) If FD A co n cl u d e s th at a drug
   th e p ro p o s e d ru l e .
                                                                     2 . S u b p art H co n s is tin g o f § § 3 1 4 .5 0 0        p ro d u ct sh o w n to b e ef f ectiv e can be
   V.    Econom ic I m pact                                       th ro u g h 3 1 4 . 5 6 0 is ad d e d to re ad as                saf e ly u s e d o n l y if d istrib u tio n or use is
        In acco rd a n ce w ith E xe cu tiv e O rd er             f o ll o w s:                                                    re s tricte d , FD A w il l req u ire such        ,
    1 2 2 9 1 , FD A h as care f u l l y an al y z e d th e                                                                        p o stm ark e tin g re s trictio n s as are needs“
   e co n o m ic ef f e cts o f th is f in al ru l e an d         Subpart H— Acce lera ted Approva l o< New                        to ass u re saf e u se o f th e d rug p r o d u c t ,
   h as d e te rm in e d th at i t is n o t a m aj o r            D rugs tor Se riou s or Ufa- Threatening                         8U cll 88 «
                                                                  I llnesses                                                             (1 )    D istrib u tio n re stricte d to certain
   ru l e as d e f in e d b y th e O rd e r. In d eed ,
                                                                                                                                   f acil itie s o r p h y s ician s w ith special
   b e cau s e f irm s w il l n o t b e f o rce d to u se         Sec.
    th e acce l e rate d ap p ro v al m e ch an is m ,            314.500         Scope.                                           train in g o r e xp e rie n ce ; o r




                                                                                                                                                 EX. 8 pg. 031


                                                                                                                                                               App. 0133
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                 F e d e ra l R e g is te r /       V o l. 5 7 , N o . 2 3 9      /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2             /   R u l e s a n d R e g u l a tio n s                 58959


    (2)    D istrib u tio n co n d itio n e d o n th e           w il l b e p re se n t at th e h earin g . T h e                       w o u l d b e ap p ro p riate f o r ap p ro v al
 p erf orm ance o f sp e cif ie d m e d ical                     co m m itte e w il l b e ask ed to re v ie w th e                      u n d e r trad itio n al p ro ce d u re s. Fo r d ru g
 p roced u res.                                                  iss u e s in v o l v e d an d to p ro v id e ad v ice                  p ro d u cts ap p ro v e d u n d e r § 3 1 4 .5 2 0 , th e
    (b) T h e l im itatio n s im p o s e d w il l b e            an d re co m m e n d atio n s to th e                                  re s trictio n s w o u l d n o lo n g er ap p ly
 co m m en su rate w ith th e s p e cif ic saf ety               C o m m is sio n e r o f Fo o d an d D rugs.                           w h e n FD A d e te rm in e s th at saf e u se o f
  co ncerns p re se n te d b y th e d ru g p ro d u ct.             (2 ) T h e p re sid in g o f f icer, th e ad v iso ry               th e d ru g p ro d u ct can b e ass u re d th ro u g h
                                                                 co m m itte e m em b ers, u p to th re e                               ap p ro p riate lab elin g . FD A als o re tain s
  $314,539      W ithdraw s! p ro ced ures.
                                                                 re p re s e n tativ e s o f th e ap p l ican t, an d u p               th e d is cre tio n to re m o v e sp e cif ic
    (a) Fo r n e w d ru g s an d an tib io tics                  to th re e re p re s e n tativ e s o f th e C en ter                   p o s tap p ro v al re q u ire m e n ts u p o n re v ie w
  approved u n d e r § § 3 1 4 . 5 1 0 an d 3 1 4 .5 2 0 ,       m ay q u estio n an y p e rso n d u rin g o r at                       o f a p e titio n su b m itted b y th e sp o n so r
  FD A m ay w ith d raw ap p ro v al , f o ll o w in g           th e co n cl u s io n o f th e p e rs o n ’s                           in acco rd an ce w ith § 1 0 .3 0 .
  a hearing as p ro v id e d in p art 1 5 o f th is              p re se n tatio n . N o o th e r p e rs o n atte n d in g
  chapter, as m o d if ied b y th is s e ctio n , if;            th e h earin g m ay q u estio n a p ers o n                            PA RT 601— LICENSING
    (1) A p o stm ark etin g cl in ical stu d y                  m ak in g a p re se n tatio n . T h e p re sid in g                       3 . T h e au th o rity citatio n f o r 21 C FR
  fails to v erif y cl in ical b en ef it;                       o f f ice r m ay , as a m atte r o f d is cre tio n ,                  p art 6 0 1 co n tin u e s to re ad as f o llo w s:
    (2 ) T h e ap p l ican t f ails to p e rf o rm th e
                                                                 p e rm it q u estio n s to b e su b m itted to th e
  required p o stm ark etin g s tu d y w ith d u e                                                                                        A uthority: Secs. 201, 501, 502,503, 505,
                                                                 p re sid in g o f f ice r f o r re s p o n se b y a
  diligence;                                                                                                                            510, 513-516,518-520, 701, 704, 706, 801 o f
                                                                 p e rs o n m ak in g a p re se n tatio n .                             the Federal Food, Drug, and Cosmetic A ct (21
    (3) U se af ter m ark etin g d e m o n s trate s
                                                                    (f)      Ju d ic ia l r e v ie w . T h e                            U .S.C 321, 351, 352, 353, 355, 360, 360c -
  that p o stm ark etin g re s trictio n s are
                                                                 C o m m is sio n e r’s d e cisio n co n stitu te s                     360f, 360h—360j, 371, 374, 376, 381); secs.
  inadeq uate to ass u re saf e u s e o f th e d ru g            f in al ag e n cy actio n f ro m w h ich th e                          215, 301, 351, 352 o f the Public Health
  product;                                                                                                                              Serv ice A ct (42 U.S.C. 216, 241, 262, 263);
                                                                 ap p l ican t m ay p e titio n f o r j u d icial
      (4) T he ap p l ican t f ails to ad h e re to th e                                                                                secs. 2-12 o f the Fair Packaging and Labeling
                                                                 re v ie w . B ef o re req u estin g an o rd er f ro m
  postm ark eting re s trictio n s ag re ed u p o n ;
                                                                 a co u rt f o r a stay o f actio n p en d in g
                                                                                                                                        A ct (15 U.S.C. 1451-1461).
      (5) T he p ro m o tio n al m ate rials are
                                                                 re v ie w , an ap p l ican t m u st f irst su b m it a                     4 . S u b p art E co n sistin g o f § § 6 0 1 .4 0
  false or m is le ad in g ; o r
                                                                 p e titio n f o r a stay o f actio n u n d e r                         th ro u g h 6 0 1 .4 6 is ad d e d to re ad as
      (6 ) O th er e v id e n ce d e m o n s trate s th at
                                                                 § 1 0 .3 5 o f th is ch ap te r.                                       f o llo w s:
  the drug p ro d u ct is n o t sh o w n to b e saf e
  or effective u n d e r its co n d itio n s o f u se .          § 3 1 4 .5 4 0   P o s tm a rk s t in g s a fe ty r e p o r tin g .    S u b p a r t E — A c c e le r a te d A p p r o v a l o f
      (b) N o t ic e o f o p p o r t u n it y f o r a               D rug p ro d u cts ap p ro v ed u n d e r th is                     B io lo g ic a l P r o d u c ts f o r S e r io u s o r U fa *
  h e ar in g . T h e D ire cto r o f th e C e n te r f or       p ro g ram are su b ject to th e                                       T h r e a te n in g Illn e s s e s
  D rug Ev al u atio n an d R e s e arch w il l g iv e           p o stm ark etin g re co rd k eep in g an d saf ety                    Sec.
  the ap p lican t n o tice o f an o p p o rtu n ity             re p o rtin g ap p licab l e to al l ap p ro v ed                      601.40 Scope.
  for a h earin g o n th e C e n te r’s p ro p o sal to          d ru g p ro d u cts , as p ro v id e d in § § 3 1 4 .8 0               601.41 A pproval based on a surrogate
  w ithdraw th e ap p ro v al o f an ap p l icatio n             arid 3 1 4 .8 1 .                                                           endpoint o r on an effect on a clinical
  approved u n d e r § 3 1 4 . 5 1 0 o r § 3 1 4 .5 2 0 .                                                                                    endpoint other than survival or
  The n o tice, w h ich w il l o rd in aril y b e a              § 3 1 4 .5 5 0   P r o m o tio n a l m a te r ia ls .                       irreversible morbidity.
  letter, w ill state g e n e rall y th e re as o n s f o r          Fo r d ru g p ro d u cts b ein g co n sid e re d                   601.42 A pproval w ith restrictio ns to assure
  the action an d th e p ro p o s e d g ro u n d s f o r
                                                                                                                                             safe use.
                                                                 f o r ap p ro v al u n d e r th is su b p art, u n le s s
                                                                                                                                        601.43 Withdraw al procedures.
  the order.                                                     o th e rw is e in f o rm ed b y th e ag en cy ,                        601.44 Postmarketing safety reporting.
     (c) S u b m is s io n o f d a t a a n d                     ap p l ican ts m u st su b m it to th e ag e n cy f or                 601.45 Promotional materials.
  in fo r m at io n , ( l ) If th e ap p l ican t f ails to      co n sid e ratio n d u rin g th e p re ap p ro v al                    601.46 Terminatio n o f requirements.
  file a w ritten re q u e st f o r a h e arin g                 re v ie w p e rio d co p ie s o f all p ro m o tio n al
  w ithin 15 d ay s o f re ce ip t o f th e n o tice ,           m ate rials , in cl u d in g p ro m o tio n al                         S u b p a r t E — A c c e le r a te d A p p r o v a l o f
  the ap p lican t w aiv e s th e o p p o rtu n ity f o r        lab elin g as w e ll as ad v ertise m en ts,                           B io lo g ic a l P r o d u c ts f o r S e r io u s o r U fa *
  a hearing.                                                                                                                            T h r e a te n in g Illn e s s e s
                                                                 in te n d e d f or d is se m in atio n o r
     (2) If th e ap p l ican t f iles a tim e l y                p u b licatio n w ith in 120 d ay s f o llo w in g                     § 6 0 1 .4 0    S cope.
  request f or a h e arin g , th e ag e n cy w il l              m ark etin g ap p ro v al . A f ter 1 2 0 d ay s
                                                                                                                                           T h is su b p art ap p lie s to ce rtain
  publish a n o tice o f h e arin g in th e                      f o ll o w in g m ark etin g ap p ro v al, u n le s s
                                                                                                                                        b io l o g ical p ro d u cts th at h av e b een
  Fed eral R e g iste r in a cco rd an ce w ith                  o th e rw is e in f o rm ed b y th e ag e n cy , th e                  stu d ie d f or th e ir saf ety an d ef f e ctiv en ess
  § s 1 2 .3 2(e ) an d 1 5 .2 0 o f th is ch ap te r.           ap p l ican t m u st su b m it p ro m o tio n al                       in tre atin g se rio u s o r lif e- th re aten in g
     (3) A n ap p l ican t w h o re q u e sts a                  m ate rials at le ast 3 0 d ay s p rio r to th e                       ill n e ss e s an d th at p ro v id e m ean in g f u l
  hearing u n d e r th is s e ctio n m u st, w ith in            in te n d e d tim e o f in itial d is se m in atio n o f               th e rap e u tic b en ef it to p atie n ts o ,rer
  30 days o f re ce ip t o f th e n o tice o f                   th e lab elin g o r in itial p u b licatio n o f th e                  e xistin g tre atm e n ts (e.g ., ab ility to treat
  o pp ortunity f o r a h e arin g , su b m it th e              ad v e rtise m e n t.                                                  p atie n ts u n re sp o n siv e to , o r in to le ran t
  data and in f o rm atio n u p o n w h i ch th e
                                                                 S 3 1 4 .5 5 0   T e r m in a tio n o f r e q u ir e m e n ts .
                                                                                                                                        o f , av ail ab le th e rap y , o r im p ro v ed
  ap p licant in te n d s to re l y at th e h earin g .
                                                                                                                                        p atie n t re s p o n se o v e r av ail ab le th erap y ).
    (d) S e p a r a t io n o f fu n c t io n s .                    If FD A d e te rm in e s af ter ap p ro v al th at
  S ep aration o f f u n ctio n s (as s p e cif ie d in          th e re q u ire m e n ts e stab lis h e d in                           § 6 0 1 .4 1    A p p r o v a l b a s e d o n a s u r r o g a te
  § 10 .55 o f th is ch ap te r) w il l n o t ap p l y at        § 3 1 4 ,5 2 0 , § 3 1 4 .5 3 0 , o r § 3 1 4 .5 5 0 are n o           e n d p o in t o r o n a n e f f e c t o n a c lin ic a l
  &ny p oin t in w ith d raw al p ro ce e d in g s               lo n g er n e ce s s ary f o r th e saf e an d                         e n d p o in t o th e r th a n a u r v iv a l o r ir r e v e r s ib le
  under th is se ctio n .                                        e f f ectiv e u s e o f a d ru g p ro d u ct, it w ill                 m o r b id ity .
    (e) P r o c e d u r e s f o r h e a r in g s . H earin g s   so n o tif y th e ap p lican t. O rd in arily , f or                       FD A m ay g ran t m ark etin g ap p ro v al
  neld u n d er th is s e ctio n w il l b e                      d ru g p ro d u cts ap p ro v e d u n d e r                            f o r a b io l o g ical p ro d u ct o n th e b asis o f
  co nd u cted in acco rd an ce w ith th e                       § 3 1 4 .5 1 0 , th e s e re q u ire m e n ts w il l n o               ad eq u ate an d w e l l - co n tro l l e d cl in ical
  p rovisions o f p art 1 5 o f th is ch ap te r,                lo n g er ap p ly w h e n FD A d e te rm in e s th at                  trial s estab lis h in g th at th e b io lo g ical
  with the f o llo w in g m o d if icatio n s :                  th e re q u ired p o stm ark etin g stu d y                            p ro d u ct h as an ef f ect o n a su rro g ate
     U ) A n ad v iso ry co m m itte e d u ly                    v e rif ie s an d d e scrib e s th e d ru g p ro d u ct’s              e n d p o in t th at is re aso n ab ly lik el y , b ased
  con stitu ted u n d e r p art 1 4 o f th is ch ap te r         cl i n ical b en ef it an d th e d ru g p ro d u ct                    o n e p id e m io lo g ic, th e rap e u tic,




                                                                                                                                                                EX. 8 pg. 032


                                                                                                                                                                                  App. 0134
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  58960            F e d e ra l R e g i s te r /            V o l. 5 7 , N o. 2 3 9     /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2      /   R u l e s a n d R e g u l a ti o n s


  p ath o p h y s io lo g ic, o r o th e r e v id e n ce , to           B io lo g ies Ev al u atio n an d R e se arch w il l            p e ti tio n f o r a s tay o f actio n u nd er
  p re d ict cl i n ical b en ef it o r o n th e b asis                 g iv e th e ap p l ican t n o tice o f an                       § 1 0 .3 5 o f th is ch ap te r.
  o f an ef f e ct o n a cl i n ical e n d p o in t o th e r            o p p o rtu n ity f o r a h e arin g o n th e
                                                                                                                                        $601.44        Po stm arketing safety reporting.
  th an su rv iv al o r irre v e rsib le m o rb id ity .                C e n te r’s p ro p o sal to w ith d raw th e
  A p p ro v al u n d e r th i s s e ctio n w il l b e                  ap p ro v al o f an ap p l icatio n ap p ro v e d                  B io l o g ical p ro d u cts ap p ro v ed under
  su b j ect to th e re q u ire m e n t th at th e                      u n d e r $ 6 0 1 . 4 0 o r $ 6 0 1 .4 1 . T h e n o tice ,     th is p ro g ram are su b j ect to the
  ap p l ican t s tu d y fire b io l o g ical p ro d u ct               w h ich w il l o rd in arily b e a l e tte r, w il l            p o stm ark etin g reco rd k eep in g and safety
  f u rth er, to v erif y an d d e s crib e its                         state g en erall y th e re as o n s f o r th e actio n          re p o rtin g ap p licab l e to all ap p roved
  cl in ical b en ef it, w h e re th e re is                            an d th e p ro p o se d g ro u n d s f o r th e o rd er.        b io l o g ical p ro d u cts .
  u n ce rtain ty as to th e re l atio n o f th e                          (c) S u b m is s io n o f d a t a a n d
                                                                                                                                        $ 8 0 1 .4 6   Prom otional m aterials.
  su rro g ate e n d p o in t to cl i n ica l b en ef it, o r           in fo r m a t io n . ( 1) If th e ap p l ican t f ails to
  o f th e o b se rv e d cl in ical b en ef it to                       f ile a w ritte n re q u est f o r a h earin g                     Fo r b io l o g ical p ro d u cts b eing
  u l tim ate o u tco m e . Po stm ark e tin g                          w ith in 1 5 d ay s o f re ce ip t o f th e n o tice ,          co n s id e re d f o r ap p ro v al u n d er this
  stu d ie s w o u l d u s u al l y b e stu d ie s                      th e ap p l ican t w aiv e s th e o p p o rtu n ity f o r       su b p art, u n le s s o th e rw is e inf orm ed by
  al re ad y u n d e rw ay . W h e n re q u ired to b e                 a h earin g .                                                   th e ag e n cy , ap p l ican ts m u st sub m it to
  co n d u cte d , su ch s tu d ie s m u st al so b e                      ( 2 ) If th e ap p l ican t f iles a tim e l y               th e ag e n cy f o r co n sid e ratio n during the
  ad eq u ate an d w e l l - co n tro l l e d . T h e                   re q u e st f o r a h earin g , th e ag e n cy w il l           p re ap p ro v al re v ie w p e rio d co p ies o f all
  ap p l ican t s h al l c a n y o u t an y su ch                       p u b lish a n o tice o f h e arin g in th e                    p ro m o tio n al m ate rials , inclu d in g
  stu d ie s w ith d u e d il ig e n ce .                               Fe d e ra l R e g iste r in acco rd an ce w ith                 p ro m o tio n al lab elin g as w el l as
                                                                        § § 1 2 .3 2 (e ) an d 1 5 .2 0 o f th is ch ap te r.           ad v e rtis e m e n ts , in te n d e d for
  $ 6 0 1 .4 2   A p p r o v a l w tth r e s t r ic t io n s t o
                                                                           (3 ) A n ap p l ican t w h o req u ests a                    d is se m in atio n o r p u b licatio n w ithin 120
  a s s u r s safs u s e .
                                                                        h earin g u n d e r th is s e ctio n m u st, w ith in           d ay s f o ll o w in g m ark etin g ap p rov al.
     (a) If FD A co n cl u d e s th at a b io l o g ical
                                                                        3 0 d ay s o f re ce ip t o f th e n o tice o f                 A f te r 1 2 0 d ay s f o llo w in g m ark eting
  p ro d u ct sh o w n to b e ef f e ctiv e can b e
                                                                        o p p o rtu n ity f o r a h earin g , su b m it th e            ap p ro v al , u n le s s o th e rw is e inf orm ed by
  saf ely u se d o n l y i f d is trib u tio n o r u s e is
                                                                        d ata an d in f o rm atio n u p o n w h ich th e                th e ag e n cy , th e ap p l ican t m u st submit
  re s tricte d , FD A w il l re q u ire s u ch
                                                                        ap p l ican t in te n d s to re l y at th e h earin g .         p ro m o tio n al m ate rials at least 3 0 days
  p o stm ark etin g re s trictio n s as are n e e d e d
                                                                           (d) S e p a r a t io n o f fu n c t io n s .                 p rio r to th e in te n d e d tim e o f initial
  to as s u re saf e u s e o f th e b io l o g ical
                                                                        S ep aratio n o f f u n ctio n s (as sp e cif ie d in           d is se m in atio n o f th e lab eling o r initial
  p ro d u ct, s u ch as:
     ( 1 ) D istrib u tio n re s tricte d to ce rtain                   § 1 0 .5 5 o f th is ch ap te r) w il l n o t ap p ly at        p u b licatio n o f th e ad v ertisem e n t.
  f acil itie s o r p h y s ician s w ith s p e cial                    an y p o in t in w ith d raw al p ro ce e d in g s
                                                                                                                                        $601.46        Terminatio n o f requirements.
  train in g o r e xp e rie n ce ; o r                                  u n d e r th is s e ctio n .
     (2) D istrib u tio n co n d itio n e d o n th e                       (e) P r o c e d u r e s f o r h e a r in g s . H earin g s       If FD A d e te rm in e s af ter ap p ro val that
  p e rf o rm an ce o f sp e cif ie d m e d ical                        h e ld u n d e r th is s e ctio n w il l b e                    th e re q u ire m e n ts estab lis h e d in
  p ro ce d u re s.                                                     co n d u cte d in acco rd an ce w ith th e                      § 6 0 1 . 4 2 , $ 6 0 1 . 4 3 , o r § 6 0 1 .4 5 are no
     (b) T h e l im itatio n s im p o s e d w il l b e                  p ro v isio n s o f p art 1 5 o f th is ch ap te r,             lo n g er n e ce s s ary f o r th e saf e and
  co m m e n s u rate w ith th e s p e cif ic saf e ty                  w ith th e f o llo w in g m o d if icatio n s:                  e f f ectiv e u se o f a b io l o g ical p ro d u ct, it
  co n ce rn s p re se n te d b y th e b io l o g ical                     ( 1 ) A n ad v iso ry co m m itte e d u ly                   w il l so n o tif y th e ap p lican t. O rdinarily,
  p ro d u ct.                                         .                co n s titu te d u n d e r p art 1 4 o f th is ch ap te r       f o r b io l o g ical p ro d u cts ap p ro v ed under
                                                                        w ill b e p re se n t at th e h earin g . T h e                 § 6 0 1 .4 1 , th e s e req u irem en ts w ill no
  $601.43        Withdraw al p r o c e d u r e s .                      co m m itte e w il l b e ask ed to re v ie w th e               l o n g er ap p ly w h e n FD A d eterm ines that
     (a) Fo r b io l o g ical p ro d u cts ap p ro v e d                iss u e s in v o lv ed an d to p ro v id e ad v ice             th e req u ired p o stm ark etin g stu d y
  u n d e r § § 6 0 1 . 4 0 an d 6 0 1 . 4 2 , FD A m ay                an d re co m m e n d atio n s to th e                           v erif ie s an d d e scrib e s th e b iological
  w ith d raw ap p ro v al , f o ll o w in g a h earin g                C o m m is sio n e r o f Fo o d an d D rugs.                    p ro d u ct’s cl i n ical b en ef it an d the
  as p ro v id e d in p art 1 5 o f th is ch ap te r,                      ( 2 ) T h e p re sid in g o f f icer, th e ad v iso ry       b io l o g ical p ro d u ct w o u l d b e appropriate
  as m o d if ied b y th is s e ctio n , if:                            co m m itte e m em b ers , u p to th re e                       f o r ap p ro v al u n d e r trad itio n al
     ( 1 ) A p o stm ark etin g cl in ical stu d y
                                                                        re p re s e n tativ e s o f th e ap p l ican t, an d u p        p ro ce d u re s. Fo r b io lo g ical p ro d u cts
  f ails to v erif y cl in ical b en ef it;
                                                                        to th re e re p re s e n tativ e s o f th e C en te r           ap p ro v e d u n d e r § 6 0 1 . 4 2 , th e
     ( 2 ) T h e ap p l ican t f ails to p e rf o rm th e
                                                                        m ay q u es tio n an y p ers o n d u rin g o r at               re s trictio n s w o u l d n o lo n g er ap p ly
  req u ired p o s tm ark etin g s tu d y w ith d u e
                                                                        th e co n cl u s io n o f th e p e rs o n ’s                    w h en FD A d e te rm in e s th at saf e use of
  d il ig e n ce ;
                                                                        p re se n tatio n . N o o th e r p e rs o n atte n d in g       th e b io l o g ical p ro d u ct can b e assured
     (3) U se af te r m ark etin g d e m o n s trate s
                                                                        th e h earin g m ay q u estio n a p e rs o n                    th ro u g h ap p ro p riate lab elin g. FD A also
  th at p o s tm ark e tin g re s trictio n s are
                                                                        m ak in g a p re se n tatio n . T h e p re sid in g             re tain s th e d is cre tio n to rem o v e specific
  in ad eq u ate to e n su re saf e u se o f th e
                                                                        o f f icer m ay , as a m atte r o f d is cre tio n ,            p o s tap p ro v al re q u ire m e n ts u p on review
  b io lo g ical p ro d u ct;
                                                                        p e rm it q u estio n s to b e su b m itted to th e             o f a p e titio n su b m itted b y th e sponsor
     ( 4 ) T h e ap p l ican t f ails to ad h e re to th e
  p o stm ark etin g re s trictio n s ag reed u p o n ;                 p re sid in g o f f icer f or re s p o n se b y a               in acco rd an ce w ith § 1 0 .3 0 .
     (5 ) T h e p ro m o tio n al m ate rials are                       p erso n m ak in g a p re se n tatio n .                            Dated: December 7,1992.
  f alse o r m isl e ad in g ; o r                                         (f) Ju d ic ia l r e v ie w . T h e
                                                                                                                                        D avid A . K essler,
     (6 ) O th er e v id e n ce d e m o n s trate s th at               C o m m is sio n e r’s d e cisio n co n s titu te s
                                                                                                                                        C o m m is s io n e r o f F o o d an d Drugs.
  th e b io l o g ical p ro d u ct i s n o t sh o w n to                f inal ag e n cy actio n f ro m w h ich th e
                                                                                                                                        Louis W . S ullivan,
  b e saf e o r ef f e ctiv e u n d e r its co n d itio n s             ap p l ican t m ay p e titio n f o r ju d icial
                                                                                                                                        S e c r e t ar y o f H e alt h a n d H u m an S erv ices.
  o f u se.                                                             re v ie w . Bef o re req u estin g an o rd e r f ro m
      (b) N o t i c e o f o p p o r t u n it y f o r a                  a co u rt f or a stay o f actio n p en d in g                   [FRD o c. 92-30129 Filed 12-9-92; 9:51 ami
  h e a r in g . T h e D ire cto r o f th e C e n te r f or             re v ie w , an ap p l ican t m u st f irst su b m it a          BI U JM a COD E 41* 0-01- F




                                                                                                                                                        EX. 8 pg. 033


                                                                                                                                                                       App. 0135
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                Exhibit 9
                   2002 Citizen Petition




                                                                      App. 0136
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      Citizen Petition re: Request for        1
      Stay and Repeal of the Approval of      1
      Mifeprex (mifepristone) for thk’Medica1 )
      Termination of Intrauterine Pkegnancy )
      through 49 Days’ Gestation              )
 10

                  CITIZEN PETITIOl?$ AND, REQUEST FOR ADMINIST-RATIVE                                  STAY       ’


               The American Association of Pro Life Obstetricians and Gynecologists (“AAPLOG”),

      the Christian Medical Association (“CMA”), and ConcernedWomen for America (“CWA”)

      (collectively, “the Petitioners”) submit this Petition pursuant to 21 C.F.R. $0 10.30 and 10.35;

      21 C.F.R. Part 314, Subpart H ($5 314.500-314.590); and Section 505 of the FederalFood, Drug

      and Cosmetic Act (21 U.S.C. 0 355).’ The Petitioners urge the Commissioner of Food and Drugs

      to impose an immediate stay of the approval by the Food and Drug Administration (“FDA” or

20    “agency”) of MifeprexTM (mifepristone; also, “RU-486”),2 thereby halting all distribution and

      marketing of the drug, pending final action on this Petition. In addition the Petitioners urge the

      Commissioner to revoke FDA’s approval of Mifeprex and request a full FDA audit of the

      Mifeprex clinical studies.3



      ’ Federal Food, Drug, & Cosmetic Act of 1938 (“FD&C Act”), Pub. L. No. 75-717, 52 Stat. 1040 (1938) (codified
      as amended at 21 U.S.C. $9 301 etseq.).
      2 The New Drug Application for Mifeprex, which was filed by the Population Council, was approved on September
      28,200O. Mifeprex is distributed by Dance Laboratories, a licensee of the Population Council.
      3 The Petitioners will, at times, cite to documents contained in FDA’s January 3 I,2002 public release of documents
      (approximately 9,000 pages in 94 files) made pursuant to a Freedom of Information Act request (“FDA FOIA
      Release”) filed by the non-profit organization, judicial Watch These bracketedcitations will reflect the page
      numbering FDA has stamped on the bottom of each page, for example: [FDA FOIA Release: MIF OOOOOl-OS]. The
      FDA webpage posting the 94 tiles is: <http://www.fda.gov/cder/archives/mifepristoneldefault.h~~.       Since the
      initial release FDA has edited some of the 94 files. However, the stamped page numbers have not changed.
      Additionally, many footnotes refer to Appendix A to this Petition, which contains a selected bibliography.




                                                                                              EX. 9 pg. 001


                                                                                                               App. 0137
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                  The Petitioners respectfully requestthat the Commissioner immediately stay the approval

           of Mifeprex, thereby halting all distribution and marketing of the drug pending final action on

           this Petition. They urge the Commissioner to revoke market approval for Mifeprex in light of

       5   the legal violations and important safety concernsexplained below. In addition, they request a

           full FDA audit of all records from the French and American clinical trials offered in support of

           the Mifeprex NDA.




                                      II. INTERE~TOFTHEPETIT~~NERS

                  While it is true that the Petitioners have consistently opposed abortion and continue to do

           so, a careful examination of the claims made in this petition should alert people of conscience on

           either side of this issue that wornen are being harmed. Regardlessof one’s position on abortion,

      15   FDA’s violations of its standardsand rules have’put women’s health and lives at risk. The

           Petitioners are non-profit organizations that sharea great concern about women’s health issues.

           The American Association of Pro-Life Obstetricians and Gynecologists (“AAPLOG”) is a

           recognized interest group of the American College of Obstetricians and Gynecologists

           (“ACOG”), currently representing over 2,000 obstetricians and gynecologists throughout the

      20   United Statesof America. The Christian Medical Association, founded in 1931, is a professional

           organization with thousandsof physician members representing every medical specialty.

           Concerned Women for America (“CWA”), founded in 1979, is the largest public policy

           women’s organization in the United Stateswith members in every State and a total membership

           exceeding 500,000.

      25
‘-,


                                                           2
                                                                                      EX. 9 pg. 002


                                                                                                    App. 0138
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                                         III. STATEMENT OF GROUNDS

              A.        SUMMARY OFi THE ‘PkTITIDNERS’                     AlEi;GUil$EhTS

              Good causeexists to grant an immediate stay of the agency’s September28,200O

     Mifeprex approval4 Good causealso exists for the subsequentrevocation of that approval.5 As

     established herein, (1) the approval of tiifeprex violated the Administrative Procedure’hict’s

     prohibition on agency action that is arbitrary, capricious, an abuseof discretion, or otherwise not

     in accordancewith law;6 (2) FDA’s approval of Mifeprex violated 21 U.S.C. $355 becausethe

     drug does not satisfy the safety and labeling requirements of that section; and (3) the agency

     approved Mifeprex despite the presenceof substantial risks to women’s health.

              This Petition representsthe latest attempt by members of the medical community and

     other concerned observersto warn FDA of the dangersposed by Mifeprex abortions to the health

     of women.7 Women undergoing Mifeprex abortions risk, among other problems, uncontrolled

     fatal hemorrhage and serious bacterial infections. Mifeprex abortions particularly endanger

     women with ectopic pregnanciesand those whose pregnancieshave progressedbeyond 49 days.*

                                                                                                              ,..

     4 When FDA approved the Population Council’s NDA for mifepristone, it approved the drug for use in conjunction
     with misoprostol. In this Petition, “Mifeprex Regimen” will refer to the combined use of Mifeprex and misoprostol
     to effect an abortion.
     5 See 21 C.F.R. 5 314.530 (“Withdrawal   Procedures”).
     6 5 U.S.C. 9 706(2)(A).
    7 On February 28, 1995, Americans United for Life and other groups and individuals filed a Citizen Petition with
    FDA requesting it to “refuse to approve any NDA for RU 486.for use as a pharmaceutical abortifacient that does not
    contain adequate evidence that the drug has undergone nonclinical and clinical safety and effectiveness trials.” The
    petitioners also set forth a number of factors for the agency to consider. -Americans United for Life et al., Citizen
    Petition (Feb. 28 1995)[FDA FOIA Release: MIF 006144:62481; see also, Letter, Ronald G. Chesemore, Associate
    Commissioner for Regulatory Affairs, FDA, to’Gary L. Yingling, McKemra & Cuneo (March 20, 1995) (one-page
    letter suggesting that the petition was prematurely filed and claiming to be a “full response”)[FDA FOIA Release:
    MIF 0062501.
    * The gestational age of a pregnancy is based on the first day of a woman’s last menstrual period, which is
    designated as Day 1 of the pregnancy. On Day 49, a woman is deemed to be seven weeks pregnant, which means
    she has experienced 49 days of amenorrhea (time elapsed since the beginning of her iast menstrual period).



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                                                                                              EX. 9 pg. 003

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       Warnings about these dangers,together with FDA’s own concernsabout the safety of the

       abortion regimen, went unheeded. On September28,2000, FDA approved the new drug

       application (“ND,“)      for Mifeprex.g The initial reports of life-threatening and fatal adverse

      events appear to bear out the safety concernsunderlying the pre-approval warnings. The Petition

  5   highlights a number of agency actions that were arbitrary, capricious, an abuseof discretion, or

      otherwise not in accordancewith the law. These serious departuresfrom standardagency

      practice allowed the NDA for Mifeprex, a drug that is not safe for its intended use, to be

      approved by FDA. lo

               First, the approval of Mifeprex violated the legal requirements of FDA’s Accelerated

 10   Approval Regulations found in Subpart H.” Mifeprex is not a drug for the treatment of a serious

      or life-threatening illness. It does not demonstratethe potential to addressan unmet medical

      need becausea less dangerousand more effective alternative for performing abortions already

      exists. It appearsthat FDA’s decision to use Subpart H was motivated by its concern that,

      without restrictions, the drug couldJnotbe used safely; Rather than attempting to compensatefor


      Ovulation for the small percentage of woman with a perfect 28 day cycle typically takes place between Days 12 and
      14 and fertilization typically takes place 24 to 48 hours later.
      ’ See U.S. Department of Health and HumanServices, HHSNews, Press Release POO-19, “FDA Approves
      Mifepristone for the Termination of EariyPregn$ncy,” September 28,.26iSO. x selection of FDA ‘documents.
      relevant to its approval of Mifeprex may found at: <http://www.fda.gov/cder/drug~infopagelmifepristone~; and on a
      second page: ~http://www.fda.gov/cder/foi/nd2000~2~687~~ifepristone.htm~.
      lo FDA’s unlawful approval of Mifeprex may not be unprecedented. The medical-scientific community and the
      mainstream press have called attention to a number of other instances in which one could question whether drugs
      and medical devices have been improperly approved. See, e.g., Richard Horton, “Lotronex and the FDA: A Fatal
      Erosion of Integrity,” Lancet 357 (May 19,200l): 1544-1545; David Willman, “How a New Policy Led to Seven
      Deadly Drugs,” Los Angeles Times(Dec. 20,200O): at Al; Kit R. Roane, “Replacement Parts: How the FDA’Allows
      Faulty, and Sometimes Dangerous, Medical Devices onto -the Market,” U.S.News h World Report (July 29, iOQ2):
      54-59 (discussing FDA’s recent approval policies regarding medical devices).
      I1 21 C.F.R. QQ3 14.500-3 14.560. FDA’s Accelerated Approval Regulations are set forth at 21 C.F.R. Part 3 14,
      Subpart H (“Accelerated Approval of New Drugs for Serious or Life-Threatening Ifmesses”) (“Accelerated
      Approval Regulations” or “Subpart H”). The Accelerated Approval Regulations were promulgatedby FDA after
      notice and comment: New Drug, Antibiotic, and Biological Product Regulations; Accelerated Approval, Proposed
      Rule, 57 Fed. Reg. 13234 (April 15, 1992) (“‘Subburt H Piopohed Rule”) and New Drug, Antibiotic,’ and Biolbgical




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              the inherent dangerousnessof Mifeprex by inappropriately resorting to the Subpart H approval
*       ,.’                                 /i,.   /,‘8 .,.   ,/               .
              mechanism, FDA should simply have refused to approve Mifeprex. (See Section III.D., in&.)

                       Second, Mifeprex was not proven to be “safe and effective” as required by law.12 The

              scientific quality of the trials used to support the NDA was undeniably deficient according to

    5         Congress’s statutory requirements and FDA’s well-established standards.13The trials were not

              blinded, randomized, or concurrently controlled. FDA failed to explicitly waive its rules or offer

              a reasonedexplanation for defying its own standards. (SeeSection IIIE., in@.)

                       Third, the Mifeprex Regimen requires that Mifeprex be used in conjunction with another

              drug, misoprostol. FDA, however, has never approvedmisoprostol as an abortifacient.

 10           Although FDA normally opposesthe promotion of off-label uses,in connection with the

              Mifeprex NDA, the agency sanctioned‘anditself participated in the promotion of the off-label

              use of misoprostol. Mifeprex, the   label of which createsthe false impression that misoprostol is
                                               I/
              approved for use as an abortifacient, is misbranded.‘(SeeSection III.F., infra.)

                       Fourth, and most critically, the Mifeprex Regimen is dangerous. FDA sought, tiithout

 15           success,to convince the drug sponsorto place safety restrictions on Mifeprex. When that failed,

              on June 1,2000, FDA itself proposed restrictions intended to reduce the unacceptablehealth

              risks associatedwith mifepristone abortions. Nevertheless,the agency, under concerted pressure

              from abortion advocatesand politicians, ultimately approved mifepristone for’use in a

              deregulated regimen that lacks key safeguards. For example, the regimen does not include a

20            requirement that transvaginal ultrasound be used to ~datepregnanciesand rule out ectopic



              Product Regulations; Accelerated Approval, Final Rule, 57 Fed. Reg. 58942 (De& 11, 1992) (“Subpart H Final
              Rule”) (available at: <http://www.fda.gov/cder/fedreg/frl9921211 .txt~).
              I2 See21 U.S.C. $355.
              I3 See 21 C.F.R. 9 3 14.126.




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      : pregnancies,which cannot be treated vvith the Mifeprex Regimen. In addition, FDA failed to

       restrict accessto mifepristone to physicians trainedin the provision of Mifeprex and surgical

       abortions and capable of treating complications arising from abortions. Concerns about the

       dangers of Mifeprex were confirmed when Dance and FDA announcedpublicly on April 17,

  5    2002, a number of serious adverseevents,including two deaths. (SeeSection III.G., in&~)

               Fifth, the drug’s sponsor’hasneglected to require Mifeprex providers to adhereto the

       limited restrictions contained in the approved regimen. The sponsor’s inaction is surprising in

       light of the fact that these restrictions are being flouted openly. Section 3 14.530 authorizes FDA

       to withdraw the approval of a Subpart H drug if a drug’s sponsor does not fulfill its responsibility

 10    of ensuring compliance with the restrictions on the use of the drug. (SeeSection III.H., infra.)

               Sixth, the safeguardsemployed in the U.S. Clinical. Trial are not mirrored in the regimen

       that FDA approved. Transvaginal ultrasounds, for example, although employed in the U.S:

       Clinical Trial, are not required under FDA’s approved regimen. Nor are the trial requirements

       governing emergency care reproduced in the approved regimen. (SeeSection III.I., zkfra.)

15             Seventh, FDA’s waiver of its rule, 21 C.F.R. $ 314.55, requiring the testing of all new

       drugs for their potential effects on children, hasjeopardized the health and safety of American

       teenagegirls who may have abortions. FDA expressly contemplated the pediatric use of

       Mifeprex, but waived, without an adequatelyreasonedjustification, the requirement that the drug

       undergo pediatric testing. (See Section III. J., infra.)

20             Eighth, FDA did not require the sponsorof Mifeprex to honor its commitments for Phase

       IV studies, which provide the opportunity to study in-depth the drug’s safety and effectiveness

       after approval. When FDA approved Mifeprex, the agency permitted the Population Council to

      replace the six PhaseIV study commitments it had made in 1996 with two much narrower
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     commitments. The modified studies will not adequately addressoutstanding questions, such as
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     the effects of mifepristone abortions on women outside the tested age range of 18 to 35 years.

     (See Section III.K., infra.)

              In sum, FDA, in approving Mifeprex, acted in a manner inconsistent with its statutory

     authorization, regulations, and well-established policies. FDA did not provide a

     contemporaneousexplanation of its numerous departuresfrom past practice.14Its aberrant

     actions coupled with the absenceof explanations violated a fundamental principle of

     administrative law; an agency must either adhereto prior policies or fully explain khy it is’not

     doing so.” The approval of Mifeprex &as, therefore, arbitrary, capricious, an abuseof

     discretion, or otherwise not in accordancewith law. It must be reversed.


              B.    FDAAPPR~V~LOFTHI~MIFEPREX~EGIMEN
                    1.       The Introduction, of Mifepristone into the United States
                                      I      I
              Roussel Uclaf, a French ~harmaceutical’“firm,first developed and tested mifefiristone

     (“RU-486”) as an abortifacient. By April 1990 the drug had become permanently available in



     l4 An agency must explain its reasons for acting in a particular manner. See, e.g., Securities & Exchange
     Commissionv. Chenery Corp., 332 U.S. 194, 196-97 (1947) (noting that a court should not “be compelled to guess
     at the theory underlying the agency’s action,” but rather “[i]f the administrative action is to be tested by the basis
     upon which it pm-ports to rest, that basis must be set forth with such clarity as to be understandable.“). Post hoc
     rationalizations cannot salvage the agency’s action with respect to Mifeprex. See,e.g., Martin v. Occupatiorial
     Safety and Health Review Commission,499 U.S. 144, 156-57 (1991) (‘posthoc rationalizations of counsel “do not
     constitute an exercise of the agency’s delegated lawmaking powers”)j Invkstment CompanyInstitute v. Camp, 401
     U.S. 6 17, 628 (197 1) (“Congress has delegated to‘theadminisirative official andnot to appellate counsel the
     responsibility for elaborating and enforcing statutory commands.“).
      I5 See,e.g., Greater Boston Television Corp. v. FCC, 444 F.2d 841,852 (D.C. Cir. 1970) (“[AIn agency changing
     its course must supply a reasoned analysis indicating that prior policies and standards are being deliberately
     changed, not casually ignored, and if an agency glosses over or swerves from prior precedents without discussion it
     may cross the line from the tolerably terse to the intolerably mute.“) (footnote omitted) (citing approvingly Motor
      Vehicle Manufacturers Ass ‘n v. State Farm M&ual Automobile Ins. Co., 463 U.S. 29, 57 (1983)); JSG Tiadiizg
     Corp. v. USDA, 176 F.3d 535,544 and 545 ‘@iC. Cir. 1999) (remanding agency action where “the agency
     manifestly failed to explain its abrupt departure from prior precedent” and noting that the agency “was obligated to
     articulate a principled rationale for departing from [its prior] test”) (citations omitted); Gilbert v. National Labor
     Relations Board, 56 F.3d 1438, 1445 (DC. Cir. 1995) (“It is, of course, elementary that an agency must conform to
     its prior decisions or explain the reason for its departure from such precedent.“).



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     France. According to Dr. Andre Ulmann, the Roussel project manager for the development of

     RU-486, Roussel prohibited the commencement of any new studies in the United States and took

     the position that “under no circumstance[s]” would it permit a new drug application to be filed

     with FDA.16 In fact, “the chairman of Hoechst [the parent company to Roussel] had officially

     declared that mifepristone was not compatible with the ethics of the company.“”

             Undeterred by Hoechst’s,reluctance to bring the drug to the United States,on January 22,

     1993, President Clinton directed,Department of Health and Human Services (“HHS”) Secretary

     Donna Shalala to assessinitiatives,to promote the testing and licensing of mifepristone or other

     antiprogestins in the United States.‘* Further signaling that approval of mifepristone by FDA

     was a top priority of his Administration, President Clinton reportedly “wrote to Hoechst asking

     the company to file a new drug application with the FDA (an unprecedentedsituation in the

     pharmaceutical industry!), which Hoechst intransigently refused to do.“l’

             In early 1993, Secretary Shalala and FDA Commissioner David Kessler “cornrmmicated

     with senior Roussel Uclaf officials to begin efforts to pave the way for bringing RU-486 into the

     American marketplace.“20 On May 16, 1994, the Population Council reached an agreementwith

     Roussel Uclaf, pursuant to which the European drug maker transferred “without remuneration,




     I6 See Andre Ulmann, M.D., “The Development of Mifepristone: A Pharmaceutical Drama in Three Acts,” Journal
     of the American Medical Women’sAssociation 55 (Supplement 2000): 117-20, at 119. In 1994 Roussel Uclaf joined
     with the German pharmaceutical fii, Hoechst AG, to form Hoechst Roussel Ltd. In 1995, this entity merged with
     a third firm, Marion Merrell Dow, to form Hoechst Marion Roussel. In December 1999 Hoechst and Rhone-
     Poulenc combined to form Aventis, S.A., headquartered in Strasbourg, France.
     i7 Ulmann, in&z Appendix A, at 120.
     i* See Memorandum for the Secretary of Health and Human Services, “Importation of RU-486,” Public Papers of
     the Presidents: Administration of William J Clinton, 1993 (Jan. 22, 1993) at 11.
     I9 Uhnann, infra Appendix A, at 120 (emphasis’in original).
     2o HHS Fact Sheet, “Mifepristone (RU-486): Brief Overview,” (rel. May 16, 1994). Available at:
     <http://www.hhs.gov/news/press/pre1995pres/9405  16.t~~.



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      its United Statespatent rights for mifepristone (RU-486) to the”Population Council . . . .“2’

      Secretary Shalala was instrumental in bringing about the transfer of the patent rights to the

      Population Councilz2and even set a deadline - May 15, 1994 - for the transfer.23

              After obtaining the American patent rights to mifepristone, the Population Council

  5   conducted clinical trials in the United Statesland filed a nely drug application in 1996. The

      Population Council established a non-profit corporation, American Health Technologies

      (“AHT”), to assist in the effort to bring the drug to the market.24The Population Council

      ultimately granted Dance Laboratories, LLC ((‘Dance”), which was incorporated in the Cayman

      Islands in 1995, “an exclusive license to manufacture, market, and distribute Mifeprex in the

 10   United States.“25Dance, after a difficult searcht6selectedthe Chinese drug manufacturer,


      21 HHS Press Release, “Roussel Uclaf Donates U.S. Patent Rights for RU-486 to Population Council,” (rel. May 16,
      1994). Available at: <http://www.hhs.gov/news/press/pre1995pres/940516.tx~.
      22 Id. (“Shalala commended Roussel Uclaf and the Population Council for coming to closure after months of
      complex negotiations amid repeated urging from the Clinton administration.“)
                                                                 ;.
      23 See William J. Eaton, “Path Cleared for Abortion Pill Use Medicine: French Maker of RU-486 Gives Patent
      Rights to a Nonprofit Group,” Los Angeles T&es, May 17,1994, at Al (“Negotiations between the French
      manufacturer and the Population Council dragged on‘ for more than a year until Shalala set a May 15 deadline,
      producing the agreement. . . .“).
      24 Dr. Susan Allen, who once served as president and CEO of American Health Technologies, joined the staff of the
      Reproductive and Urologic Drug Products Division in FDA’s Center for Drug Evaluation and Research in 1998 as a
      medical officer and was promoted to team leader for reproductive drugs in January 1999. See “RU-486 Action Date
      Is Sept. 30; Allen Named Reproductive Division Director,” ThePink Sheet62 (June 12,200O): at 14. Dr. Allen
      became acting director of,the Division in January 2000 and permanent director on June 18,200O. Seeid. The Pink
      Sheet also commented, “Allen is presumably recused from the mifepristone review as a result of her prior
      experience with the product.” Id.
      25 Dance, “The History of Mifeprex,“available at <http://www.earlyoptionpill.com/history.php3~.   (Dance has
      dubbed mifepristone “the Early Gption Pill” for marketing purposes.) Little information about Dance is available.
      See Robert O’Harrow, “RU-486 Marketer Remains Elusive,” WashingtonPost (Oct. 12,200O): at Al8 (“Secretive
      and obscure, Dance is one of the most enigmatic companies in the pharmaceutical industry.“). Dance is apparently
      a successor entity to Advanced Health Technology. See “RU-486 Action Date Is Sept. 30; Allen Named
      Reproductive Division Director,” The Pink Sheet62 (June 12,200O): at 14 (reporting that Advanced Health
      Technologies had become Neogen, which, in mm, had become Dance, according to the Population Council and
      Dance, “with some management and investor changes”).
      26 In 1995 Dance contracted with a Hungarian pharmaceutical fq      Gideon Richter, to manufacture mifepristone
      for American distribution. After Gideon Richter reneged on the contract in February 1997, Dance sued Gideon
      Richter for breach of contract and began searching for a new producer. See “Ru-486: U.S. Partners Sue European
      Manufacturer,” Kaiser Daily Reproductive Health Report (June 12, 1997) (available at:
      ~http://www.kaisernetwork.org/reports/1997~06~a970612.1.htm1~).    This was one of a number of lawsuits stemming



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     Shanghai Hua Lin Pharmaceutical Company, to manufacture the drug.27Abortion advocates
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     eagerly awaited the approval of mifepristone in the United Statesbecause,among other reasons,

     they anticipated that it would enhancewomen’s accessto abortion.28


                       2.       FDA Apfiroval of Mifepristone

              The Population Council filed a new drug application for “mifepristone 200 mg tablets”

     on March 18, 1996.*’ FDA initially accordedthe drug standardreview, but in a letter dated

     May 7, 1996, FDA’s Center for Drug Evaluation and Research”notified the Population Council

     that mifepristone would receive priority review.3o On September 18, 1996, FDA issued a letter


     from attempts to bring mifepristone to the United States. See,“Ru-486: Litigation Could Cause Delay For U.S.
     Introduction,” Kaiser Daily Reproductive Health Report (Dec. 17, 1996) (available at:
     <http://www.kaisemetork.org/reports/l996/~2/a961217.9.html>)       (describing some of the legal problems
     encountered by the Population Council inbringing the drug to market).
     27 Pamela Wiley, “Chinese Plant to Make RU-486 for U.S.,” (Oct. 15, 2000) (available at:
     <http://www.nurseweek.comlnews/00-10/1015-486.asp>).
     28 See Margaret Talbot, “The Little White Bombshell,” New York TimesMagazine (July 11, 1999): at 39-43 (“‘One of
     my real, and I think realistic, hopes for this method,’ says Carolyn Westhoff, an OB-GYN at Columbia University
     medical school who offers medical abortion as part of a clinical trial, ‘is that it will help get abortion back into the
     medical mainstream and out-of this ghettoized place it’s been in.’ And if that is indeed the scenario we’re looking at -
     a scenario in which abortion is folded far more seamlessly into regular medical practice - then it has implications not
     only for women’s experience of abortion but for the politics of abortion as well.“); id. (“Not only are m&p&tone
     abortions, by nature, more discreet than their surgical equivalents (like vacuum aspiration), but the practitioners who
     prescribe them will almost certainly constitute a larger and a more varied group than the dwindling corps of GB-GYNs
     willing to do surgical abortions.“) In fact, access to medical abortion, will continue to depend on the availability of
     surgical abortion, which serves as a back-up in FDA’S approved Mifeprex regimen. Thus, it is spurious to suggest that
     Mifprex abortions can safely be made available in places in which surgical abortion is not offered.
     2g The application was dated March 14, 1996 and received by FDA on March 18,1996. See Letter, FDA/CDER to
     Ann Robbins, Population Council (Sept. 18, 1996): at 1 (“1996 Mifepristone Approvable Letter”).
     3o See Letter, FDAKDER to Ann Robins, Population Council (May 7, 1996)[FDA FO’IA Release: MIF 00643 11.
     The Population Council filed its complete response on March 30,2000, which gave FDA until September 30,200O
     to act on the application. In fiscal year 2000 a “standard” designation would have given FDA at least ten months to
     consider the application. FDA accorded mifepristone “priority review, ” which typically required FDA to act within
     six months. See FDAKDER, “PDUFA Reauthorization Performance Goals and Procedures” (Nov. 16, 1997)
     (available at: <http://www.fda.gov/cder/news/pdufagoals.htm>)     (“Fiscal Year 2000”). Of 98 approvals in 2000,
     only 20 were Priority Review drugs. See FDA/CDER, Report to the Natibn (2000): at 6. FDA’s use of priority
     review appears inappropriate when considered in light of the agency’s current guidance on the issue, which states
     that priority review is appropriate when “[tlhe’drug product, if approved, would be a significant improvement
     compared to marketed products [approved (if such is required), including non-“drug” products/therapies] in the
     treatment, diagnosis, or prevention of a disease.” See FDA/CDER, “Review Management:’ Priority Review Policy,”
     Manual of Policies and Procedures (MAPP) 6020.3, at 1 (Apr. 22, 1996) (text bracketed as in original).



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      stating that the application was approvable and requestedmore information from the sponsor.31
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                                            _;
      FDA issued a second approvable letter for mifepristone, dated February 18,2000, setting forth

      the remaining prerequisites for approval.32The 20OO’MifepristoneApprovable Letter announced

      that FDA had “considered this application under the restricted distribution regulations contained

  5   in 21 CFR 314.500 (Subpart H) and [had] concluded that restrictions as per [21] CFR 314.520 on

      the distribution and use of mifepristone are neededto assuresafe use of this product.“33

               On September 28,2000, FDA approved mifepristone (‘MifeprexTM”) “for the medical

      termination of intrauterine pregnanciesthrough 49 days’ pregnancy.“34Mifeprex was approved

      under Subpart H, which, FDA explained, “applies when FDA concludes that a drug product

 10   shown to be effective can be safely used only if distribution or use is restricted, such as to certain

      physicians with certain skills or experience.“35The approvedregimen requires at least three

      office visits.36 FDA required the Population Council to include, on the Mifeprex Label, a “black

      box warning for special problems, particularly those that may lead to death or serious injury.“37


      31 1996 Mifepristone Approvable Letter at 1.
      32 2000 Mifepristone Approvable Letter at 1.
      33 2000 Mifepristone Approvable Letter at 5.
      34 Letter, FDA/CDER to Sandra P. Arnold, Population Council (Sept. 28, 2000): at 1 (“Mifeprex Approval Letter”).
      In conjunction with the Mifeprex Approval Letter, FDA issued a memorandum that expanded upon the basis for and
      the restrictions on the approval of Mifeprex. See Memorandum, FDA/CDER to “NDA 20-687 MIFEPREX
      (mifepristone) Population Council” (Sept. 28, 2000): at 6 (“Mifeprex Approval Memo”).
      35 Mifeprex Approval Memo at 6.
      36 Pursuant to the approved regimen, on “Day One: Mifeprex Administration” the patient reads the Medication
      Guide, signs the Patient Agreement, and ingests 600 mg of Mifeprex; on “Day Three: Misoprostol Administration”
      the patient ingests 400 micrograms of misoprostol orally (unless abortion has occurred and been confirmed by
      clinical examination or ultrasonographic scan); and, on or about “Day 14: Post-Treatment Examination” the patient
      returns to the practitioner for verification through a clinical examination or ultrasound that the pregnancy has been
      successfully terminated. See Mifeprex Label (“Dosage and Administration”)(available        at:
      <http://www.fda.gov/cder/foillabell2000/206871b1.pd~).
      37 Mifeprex Approval Memo at 2 (citing 21 CFR 201.57(e), which authorizes FDA to require such a warning). The
      terms “label,” “labeling,” and “package insert” are often used interchangeably in food and drug law literature. In
      this Petition, “Label” describes the fine-print “package insert” that accompanies a drug when it is purchased.
      However, the FD&C Act defines “label” as “a display of written, printed, or graphic matter upon the immediate
      container of any article . . . .” 21 U.S.?. $ 321(k). The term “labeling,” which will also appears in this Petition,



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      FDA also outlined the Population Council’s post-approval, PhaseIV study commitments38and

      waived, without explanation, FDA’s regulations providing that all new drugs must be tested for

      safety and effectiveness in children.3g


  5            C.        BACKGROUN@.ON @DA’S Dl@G AppRQy&L PROCESS                       I
                         1.   FDA’s Default Pyles for E+ablishing Drug Safety and Effectiveness
               FDA’s regulations state that “[tlhe purpose of conducting clinical investigations of a drug

      is to distinguish the effect of a drug from other influences, such as spontaneouschange in the

 10   course of the disease,placebo effect, or biased obse,rvation.‘“l’ FDA’s default criteria for

      establishing safety and effectivenessare commonly referred to as the agency’s “gold standard.“41

      At the core of this default standardis FDA’s recognition, reflecting the development of the

      scientific method and its application to pharmacology, that human bias and misperceptions are

      pervasive and that every precaution must be taken to avoid them. “The history of experimental
                                                                                            / a
 15   medicine and researchpsychology,” Michael Greenbergwrites, “had demonstratedthat

      uncontrolled, unblinded clinical trials were
                                               )’ systematically vulnerable to experimenter bias,
      placebo effects, and the like.“42 Consequently, rigorous policies have been set forth by FDA and,



      encompasses “all labels and other written, printed, or graphic matter (1) upon any article or any of its containers or
      wrappers, or (2) accompanying such article.” 2 1 USC. 5 32 1(m). “Labeling” may even describe promotional
      materials used by the drug manufaciurer%icliidmg “[blrochures, booklets, mailmg’piecks, .‘. .‘price’lists, catalogs,
      house organs, letters, motion picture films, fihn strips, lantern slides, . . . and reprints and similar pieces of printed,
      audio or visual matter descriptive of a drug and references published (for example, the Physician’s Desk Reference)
      for use by medical practitioners, pharmacists, or nurses . . . .” 21 C.F.R. Q202.1(l)(2). FDA has provided more
      information on this terminology at: <http://www.fda.gov/cderfhandbooMadverdef.htm~.
      38 See Mifeprex Approval Memo at 7.
      3g See FDA Mifeprex Approval Letter at 3.
      4o 21 C.F.R. 5 314.126(a).
      41 See Jennifer Kulynych, “Will FDA Relinquish the ‘Gold Standard’ for New Drug Approval? Redefining
      ‘Substantial Evidence’ in the FDA Modernization Act of 1997,” Food and Drug Law Journal 54 (1999): 127-149, at
      129. We will refer to these criteria as the “default standard.”
      42 Michael D. Greenberg, “AIDS, Experimental Drug Approval, and the FDA New Drug Screening Process,”
      Legislation and Public Policy 3 (2000): 295-330, at 308.


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     more recently, by the International Conference on &rrnonisation (“ICH”) to eliminate bias from
                                      :-y  i            :
     the evaluation of drug safety and effectiveness.43

              FDA has been criticized for its zealous implementation of this policy,44but there is

     widespread recognition of the value of the default standard. The 1962 statutory arnendmentsto

     the FD&C Act “authorized the agency to review all NDAs, not only to assessdrug safety, but

     also to determine whether a manufacturer has provided ‘substantial evidence’ from ‘adequate

     and well-controlled investigations’ that a drug is effective for its intended use.“45In

     implementing regulations, FDA “required that the evidence include at least one (and usually two)

     well-controlled (preferably ‘blind’) trials showing statistically significant results for treatment of

     humans with the new drug.“46 “[B] arrm
                                          ’ g unusual circumstances,the agency ordinarily requires

     two successful and well-controlled clinical trials for new drug approval.“47FDA’s mandate for

     clinical trials “has two very important elements:”

              (1) a “controlled” trial, in which an experimental drug is compared to a placebo, or a
              known effective treatment in order to establish the comparative efficacy of the drug, and
              (2) a “double-blind” trial, which involves random assignmentof researchsubjects to the


     43 FDA, “International Conference on Harmonisation; Guidance on General Considerations for Clinical Trials,”
     Notice, 62 Fed. Reg. 66113 (Dec. 17,1997) (FDA Guidance (ICH: E8): General Considerations). The homepage,
     (www.ich.org), for the ICH describes the organization as follows: “The International Conference on Harrnonisation
     of Technical Requirements for Registration of Pharmaceuticals for Human Use (ICH) is a unique project that brings
     together the regulatory authorities of Europe, Japan and the United States and experts from the pharmaceutical
     industry in the three regions to discuss scientific and technical aspects of product registration. The purpose is to
     make recommendations on ways to achieve greater harmonisation in the interpretation and application of technical
     guidelines and requirements for product registration
                                                      -i .., I,. in order to reduce or obviate the need to duplicate the testing
     carried out during the research and development of new medicmes~ Th?objec%eof suchharmomsation is a more
     economical use of human, animal and material resources, and the elimination of unnecessary delay in the global
     development and availability of new medicines whilst maintaining safeguards on quality, safety and efficacy, and
     regulatory obligations to protect public health.”
     44 See, e.g., Henry I. Miller, “Failed FDA Reform,” Regulation 21 (Summer 1998): 24-30.
     45 Kulynych,   infia Appendix A, at 129 (citing 21 U.S.C. $355(d)).
     46 Greenberg, in.a Appendix A, at 307 (citing 21 C.F.R. 0 314.126 (1999). FDA comprehensively revised NDA
     evaluation rules in what is commonly referred‘to as the “NDA Rewrite.” SeeFinal Rule, “New Drug and Antibiotic
     Regulations,” 50 Fed. Reg. 7452 (Feb. 22, 1985). Section 314.126 was promulgated in that final rule. Id. at 7506-7.
     47 Kulynych,   infra Appendix A, at 130.


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                       experimental and control groups, under conditions in which neither the doctors nor the
;   :                  researchsubjects know tiho is getting the experimental drug and who the contro1.48

                       Each of the mandated featureshelps to eliminate bias in trial results. First, in “double-

        5     blinded” studies neither the patient nor the provider team (physician, nurse, etc.) knows the

               identity of the drug administered. If that is not possible, the person evaluating the trial results

              will not know which treatment .h
                                            hasi/been ,admimstere,dto,whiqh subject. Second, a “randomized”

               study requires a random determination of which subject receiveswhich treatment. This

               determination is often effected through computer-generatedassignmentsdone before clinical

        10    testing begins. Finally, comparison-control (also known as “comparator-control”) requires that

               the experimental drug be compared c~~tcurrentlyto‘ the current best treatment, or, alternatively,

               to a placebo. A placebo is used when the drug being tested representsthe first treatment of its

              kind for the particular indication and no establishedtreatment exists.


        15                      2.       FDA Initiatives to Expedite the Approval of Drugs for the Very Sick
                       Largely in responseto FDA’s perceived sloivnessin approving drugs for human

               immunodeficiency virus (“HIV”) patients, the agency undertook severalinitiatives to either

               expedite the ability of seriously or terminally-ill patients to have accessto experimental drugs or

     20        to provide processes“intended to move drugs to market more quickly by compressing clinical

               development and FDA review times.“4g In 1988, FDA adopted an interim rule establishing

               Subpart E of 21 C.F.R. Part 312 (“Drugs Intended to Treat Life-Threatening and Severely-




               48 Greenberg, inj?a Appendix A, at 307-8 (footnotes omitted).
               4g Sheila R. Shuhnan and Jeffrey S. Brown, “The Food and Drug Administration’s Early Access and Fast-Track
             ‘ Approval Initiatives: How Have They Worked?” Food and DIrug Law Journal 50 (1995): 503-53 1, at 503-4.


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                                                                                                                  App. 0150
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      Debilitating Diseases”).” Subpart
                                    , E embodied several of the new proceduresthat FDA had used

      to bring the HIV medication, AL$T(zidoiudine), to market quickly.51 Subpart E also created a

      “collaborative framework in which early and repeatedconsultation between the FDA and

      pharmaceutical manufacturers servedto facilitate clinical trials, and to insure ex ante that

  5   prospective researchdesigns would meet with subsequentregulatory approval.“52 “Taken

      together,” the innovations found in Subpart E, “served to radically alter the new drug approval

      processwith regard to life-threatening illnesses, particularly for AIDS.“53

                 On April 15, 1992, FDA took its procedural innovations further when it proposed an

      “Accelerated Approval” process(i.e., Subpart H). Shulman and Brown believe that Subpart H

 10   “represent[ed] the most significant departure from the traditional FDA standardsfor drug

      approval.“54 Subpart H’s “major point of departure” from previously existing approval regimes

      was its focus on granting drug approval
                                      /       “on the basis of the drug’s effect on a surrogate endpoint
                                            /          ‘. :     ., ‘ gzx, _’*                  ,-a   ‘,_
      that is reasonably likely to predict clinical benefit over time.“55 A “surrogate end point” or

      “surrogate marker” is “a laboratory parameter or physical sign that is used in a clinical trial as a

 15   substitute for a clinically meaningful end point, such as mortality.“56 The value of surrogate




      5o SeeInterim Rule, “Investigational New Drug, Antibiotic, and Biological Drug Product Regulations; Procedures
      for Drugs Intended To Treat Life-Threatening and Severely ‘Debilitating Illnesses, ” 53 Fed. Reg. 4 1,5 16 (Oct. 2 1,
      1988). The Subpart E rules may be found at 21 C.F.R. QQ312.80-88.
      51
           See Greenberg, inj?a Appendix A, at 32 1.
           Greenberg, infra Appendix A, at 321 (citation omitted).
           Greenberg, infra Appendix A, at 323.
           Shuhnan and Brown, infra Appendix A, at 5 14.
         Shuhnan and Brown, infra Appendix A, at 5 14. Likewise, Greenberg observed that the “essential element of the
      accelerated approval regulations [i.e., Subpart H] was the provision that ‘surrogate endpoints’ could be employed as
      the empirical basis for FDA approval of a new drug.” Greenberg, inpa Appendix A, at 323 (citation omitted).
      56 Dennis F. Thompson, “Surrogate End Points, Skepticism, and the CAST Study,” editorial, Annals of
      Pharmacotherapy, 36 (Jan. 2002): 170-71, at 170 (citations omitted).




                                                                                               EX. 9 pg. 015


                                                                                                                App. 0151
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      endpoints lies in their ability to predict   clinical outComes. As “examples of surrogate end
                                         7,,.*i / / .,s .,I -. .,( { _.. /                / ‘, 1”: : .’
      points that have been proven to be excellent predictprs of clinical outcomes and, hence, have
                                    .
      savedboth money and precious time expediting drugs to the patient care arena,” Dean Detiis

      Thompson cites “a diverse group of antihypertensive drugs approved on the basis of reduced

  5   blood pressure effects [that] has shown clear benefits in reducing cardiovascular events and

      mortality.“58 With the passageof the Food and Drug Administration Modernization Act of 1997

      (“FDAMA”), Congresseffectively codified Section 314.510, the surrogate endpoint provision of

      Subpart H.5g

              Neither Sehulmanand Brown nor Greenbergfocused on a secondtype of drug approval

 10   included in Subpart H - codified now at 21 C.F.R. $3 14.520.” This secondavenue for

      Subpart H approval is reservedfor circumstancesin which “FDA determines that a drug,

      effective for the treatment of a disease,can be used safely only if distribution or use is modified

      or restricted.“61 Pursuant to this provision “FDA may approve a treatment subject to special


      57 See Thompson, inj+a Appendix A, at 170.
      ‘* Thompson, infra Appendix A, at 170.
      5g This codification was part of Congress’s major reauthorization and modernization of the Federal Food, Drug &
      Cosmetic Act. Section 506(b) of FDAMA (21’U.S.C. Q 356) “in effect, codifie[d] in statute FDA’s Accelerated
      Approval Rule . . . , made final in 1991, which allows expedited marketing of certain new drugs or biological
      products intended to treat serious or life-threatening illneises and that appear &provide meaningful therapetitic
      benefits to patients compared with existing treatments.” FDA Centers for Drug Evaluation and Research and for
      Biologics Evaluation and Research, Guidancefor Industry: Fast Track Drug Development Programs - Des@ation,
      Development, and Application Review, at 2 (Sept. 1998) (footnote omitted). While clearly codifying Subpart H’s
      surrogate endpoint provision at 21 U.S.C. $ 35’6(b)( l), Congr&s does not appear to have enacted a parallel provision
      to Section 3 14.520, which pertains to “restricted use” drugs, under which Mifeprex was approved.
                                                        : :
      ” Section 3 14.520 (Approval with restrictions to ensure safe hse.) states:
               (a) If FDA concludes that a @g product shown to be effective can be safely used only if distribution or use
                          is restricted, FDA will require such postmarketing restrictions as are needed to ensure safe ‘use of
                          the drug product, such as:
               (1) Distribution restricted to certain ficilities or physicians with special training or experience; or
               (2) Distribution conditioned on the performance of specified medical procedures.
               (b) The limitations imposed Will be commensurate with the specific safety concerns presented by the drug
                          product.
      ” Subpart HFinal Rule, 57 Fed. Reg. at 58942.



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     distribution or use restrictions that-addressoutstanding safety issues.““2 Section 314.520

     balanced FDA’s desire to bring clinically beneficial drugs to the market with the agency’s

     concern that “[slome drugs, however, are so inherently toxic or otherwise potentially harmful

     that it is difficult to justify their unrestricted use.“63The agency explained “that some clinically

     beneficial drugs can be used safely only if distribution and use are modified and restricted.“”

              Section 3 14.520 is intended for, drugs that are vitally necessary,but which may impose

     greater than normal risks for the patient.65FDA was willing “to approve such high risk drugs for

     early marketing if the‘agency can be assuredthat postmarketing restrictions will be in place to

     counterbalancethe known safety concems.“66Postmarketing restrictions would be designed “to

     enhancethe safety of a drug whose risks would outweigh its benefits in the absenceof the

     restriction.“67 FDA intended to employ restrictions on distribution “only in those rare instances

     in which the agency believes carefully worded labeling
                                     ._                 r for a product granted accelerated
                                            I
     approval will not assurethe product’s safe use.“68In the absenceof restrictions, which “may

     vary with the circumstancesof each drug[,] . . . the drug would be adulterated under Section 501

     of the act, misbranded under Section 502 of the act, or not shown to be safe under Section 505 of

     the act.“69 In short, “[wlithout such restrictions, the drugs would not meet the statutory criteria,



     62 Geoffrey M. Levitt, James N. Czaban, and Andrea S. Paterson, “Chapter 6: Human Drug Regulation” in
     Fundamentals of Law and Regulation: An In-Depth Look at Therapeutic Products (David G. Adams, Richard M.
     Cooper, and Jonathan S. Kahan, eds.), vol. II (Washington, D.C.: Food and Drug Law Institute, 1997): at 206.
     63 Subpart H Proposed Rule, 57 Fed. Reg. at 13236.
     64 Subpart H Proposed Rule, 57 Fed. Reg. at 13236.
     65 Of course, “[v]irtually all drug[s] can be toxic to humans, and no drug is completely free of risk,” but,’ as the
     seriousness of an illness and the effect,of the drug on that illness increase, “the greater the acceptable risk from the
     drug.” Subpart H Proposed Rule, 57 Ped. Reg. at 13236.
     66 Subpart HProposed Rule, 57 Fed. Reg. at 13237.
     67 Subpart H Final Rule, 57 Fed. Reg., at 58952.
     68 Subpart H Final Rule, 57 Fed. Reg. at’58952 (emphasis added).
     69 Subpart H Proposed Rule, 57 Fed. Reg. at 13237.


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      could not be approved for distribution,‘and would not be available for prescribing or
                    ,/                        :          *
      dispensing.“70 Mifeprex was the third of four drugs approvedpursuant to Section 3 14.520.71


               D.       FDA’S APPROVAL OF MIF&PR&X IJNIJl$R ITS ACC@LERATl$D
  5                     APPROVAL REGULATIONS (SUBPART H) WAS ARBITRARY,
                        CAPRICIOUS, AN ABUSE OF DTSCRETION, OR OTHERWISE NOT IN
                        ACCORDANC$ WITh LAW
               FDA’s acceleratedapproval regulations (Subpart H) apply to certain new drug products

 10   “that have been studied for theirsafety and effectivenessin treating serious or life-threatening

      illnesses and that provide meaningful therapeutic benefit to patients over existing treatments

      (e.g., ability to treat patients unresponsiveto, or intolerant of, available therapy, or improved

      patient responseover available therapy.)“72 When it proposed Subpart H in 1992, FDA observed

      that the following types of illness would fall within the reach of Subpart H:

                       The terms “serio$s” and “life-threatening” would be used as FDA has defined
               them in the past. The seriousnessof a diseaseis a matter of judgment, but generally is
               based on its impact on such factors as survival, day-to-day functioning, or the likelihood
               that the disease,if left untreated, will progress from a less severecondition to a more
               serious one. Thus, acquired immunodeficiency syndrome (AIDS), all other stagesof
               human immunodeticiency virus (HIV) infection, Alzheimer’s dementia, angina pectoris,
               heart failure, cancer, and many ‘other diseasesare clearly serious in their ft& ”     ’
               manifestations. Further, many chronic illnesses that are generally well-managed by
               available therapy can have serious outcomes. For example, inflammatory bowel disease,

      7o Subpart H Final Rule, 57 Fed. Reg. at 5895 1. The agency continued: “The agency, as a matter of longstanding
      policy, does not wish to interfere with ime appropriate practice of medicine or pharmacy. In this instance; the agency
      believes that rather than interfering with physician or pharmacy practice, the regulations permit, in exceptional
      cases, approval of drugs with restrictions so that the drugs may be available for prescribing or dispensing.” Id. at
      58951-52.
      7’ On June 7,2002, the drug Lotronex (alosetron hydrochloride) was reintroduced to the market after a
      Supplemental NDA was approved pursuant to Subpart H’s redistricted distribution provision. See Letter,
      FDAKDER, Florence Houn, M.D., Director, Office of Drug Evaluation III to Olivia Pinkett, Product Director,
      Regulatory Affairs, GlaxoSmithKline (June 7, 2002): at 1 (“This supplemental application, considered for approval
      under 21 CFR 3 14, Subpart H at your ie@est,‘narrows the original approved indication to use of the drug in‘a
      population for whom the benefits of the drug may outweigh the risks and provides for a risk management
      program. . . . You have indicated your agreement with approval under restricted conditions.“).
      72 21 C.F.R. Q 314.500. The rule was amended in 1999 to remove the words “and antibiotic.” See Conforming
      Regulations Regarding Removal of Section 507 of the Federal Food, Drug, and Cosmetic Act, Final Rule, 64 Fed.
      Reg. 396,402 (Jan. 5, 1999).
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              asthma, rheumatoid arthritis, diabetesmellitus, systemic lupus, erythematosus,
              depression,psychoses,and many other diseasescan be serious for certain populations or
              in some or all of their phases.73“

  5   According to FDA, the agency has approved 38 NDAs, including the Mifeprex application,

      under Subpart H.74Of these approvals, 20 were for the treatment of HIV and HIV-related

      diseases,nine were for the treatment of various cancers,and their symptoms, four were for severe

      bacterial infections, one was for erythema nodosum leprosum (leprosy), one was for

      hypotension, and, finally, one was for the termination of unwanted pregnancies.75

 10           Pregnancy, without major complications, is not a “serious or life-threatening illness” for

      purposes of Subpart H. It is, rather, a normal physiological state experiencedby most females

      one or more times during their childbearing years, and it is rarely accompaniedby complications

      that threaten the life of the mother or the child. Following delivery, almost all women return to a

      normal routine without disability.I Thus, pregnancy is not the kind of exceptional circumstance
                                             <,
                                                         .:
 15   that falls within the scopeof Subpart I% The fact that the Mifeprex Regimen is intended for

      healthy women provides further evidence of this point.




      73 Subpart H Proposed Rule, 57 Fed. Reg. at 13235. In the Subpart H Final Rule, FDA asserted that “serious and
      life-threatening illnesses” would be readily identifiable: “FDA discussed the meaning of the terms ‘serious’ and
      ‘life-threatening’ in its final rules on ‘treatment &D’s’ (52 FR 19466 at 19467, Iviay 22,1987) and ‘subpart E’
      procedures (54 FR 41516 at 41518-41519, October 21,1988). The use of these terms in this rule is the same as
      FDA defined and used the terms in those rulemakings. It would be virtually impossible to name every ‘serious’ and
      ‘life-threatening’ disease that would be within the scope of this rule. In FDA’s experience with ‘treatment IND’s’
      and drugs covered by the ‘subpart E’ procedures there have not been problems in determining which diseases fall
      within the meaning of the terms ‘serious’ and ‘life-threatening,’ and FDA would expect no problems under this
      accelerated approval program.” Subpart H Fihal Rule, 57 Fed. Reg. at 58945.
      74 These estimates are based on the version of FDA’s webpage, dated February 5,2002, listing Subpart H approvals,
      infra Appendix A.
      75 See FDAKJDER webpage, “NDAs Approved under Subpart H,” infra Appendix A. A copy of the most recently
      available version is reproduced in Appendix C (available at: <http://www.fda.gov/cder/rdmt/accapp.htm>).       See also
      “NDA Supplements Approved under Subpart II” (available an <http://w&v.fda.gov/cder/rdmt/accap$ri          :‘htni>)
      (supplemental approvals are not included in the figures set forth in the text because they refer to FDA actions
      regarding drugs that have already been approved).



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             In fact, the Population Council argued strenuously that its application for mifepristone
                                                         i                                    ;,, :
     did not fall within the scope of Subpart H.76 In a letter to FDA written approximately three

     weeks before the final approval of the mifepristone NDA, the Population Council’s Sandra P.

     Arnold protested, “. . . it is clear that the imposition, of Subpart H is unlawful, unnecessary,’and

     undesirable. We ask FDA to reconsider.“77Arnold,argued correctly that “[nleither pregnancy

     nor unwanted pregnancy is an illness, and Subpart H is therefore inapplicable for that reason

     a1one.“78She continued, stating, ‘Neither is pregnancy nor unwanted pregnancy a ‘serious’ or

     ‘life-threatening’ situation as that term is defined in Subpart H.“7g In the next paragraph, after

     directly quoting the Supbart H Final Rule, Ms. Arnold assertedthat “[t]he plain meaning of these

     terms does not comprehend normal, everyday occurrencessuch as pregnancy and unwanted

     pregnancy.“so She added that, unlike HIV infection, pulmonary tuberculosis, cancer, and other

     illnesses, “pregnancy and unwanted pregnancy do not affect survival or day-to-day functioning
                                                                                              :
     as those terms are used in Subpart H.“81 She continued that, “although a pregnancy

     ‘progresses,“’ the development of a pregnancy “is hardly the sameas the worsening of a disease

     that physicians call progression.“82



     76 The Population Council appears to have been concerned about getting the drug approved “without invoking the
     Subpart H regulatory provisions that signal ‘big deal’ to the pharmaceutical industry.” Letter, Sandra Arnold to
     FDAKDER, Office of Drug Evaluation III, Division of Reproductive and Urolcgic Products (Sept.’ 6, 2000): at 4
     [FDA FOIA Release: MIF 001333-49](“Sandra Arnold Letter”). Sandra Arnold was “Vice President, Corporate
     Affairs” of the Population Council.
     77 Sandra Arnold Letter at 1.
     78 Sandra Arnold Letter at 1-2.
     7g Sandra Arnold Letter at 2.
     *’ Sandra Arnold Letter at 2.
     *i Sandra Arnold Letter at 2.
      *2 Sandra Arnold Letter at 2. Ms. Arnold also warned the agency that extending the scope of Subpart H to include
     pregnancy and unwanted pregnancy by exercising agency “judgment” was not defensible; the exercise of such
     judgment should go to whether or not “aparticular disease a&ally‘is serious; ‘not [act as] a means of’stietching the
      meaning of serious to cover entirely new categories
                                                    /     of non-serious situations.” Id.



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              Additionally, Mifeprex fails to meet the second
                                                          : requirement
                                                              ?’        set forth in Section 3 14.500
                                      I                   1                         I       ,I: ,.
      that drugs approved under Subpart H “provide meaningful therapeutic
                                                                 I,       benefit  to patients over

      existing treatments (e.g., ability to treat patients unresponsiveto, or intolerant of, available

      therapy, or improved patient responseover available therapy.)” As was noted above, the
                                                                                          -’ :
  5   Mifeprex Approval Memo contends “that the termination of an unwanted pregnancy is a serious

      condition within the scopeof Subpart H [and] [t]he meaningful therapeutic benefit over existing

      surgical abortion is the avoidance of a surgical procedure.“83By defining the “therapeutic

      benefit” solely as the avoidance of the current standardof care’s delivery mechanism, FDA

      effectively guaranteesthat a drug will satisfy this secondprong of Subpart H as long as it

 10   representsa different method of ‘therapy.84It does not appearthat such considerations formed the

      basis of any other Subpart H approval.

              When FDA adopted Subpart H,  I_:/it cited as “readily
                                                             f      understood illustrations of the intent
                                                                                                 ,,‘:
      of the [meaningful therapeutic benefit] requirement” an “improved responsecompared to

      available therapy” and the “ability to treat unresponsiveor intolerant patients.“*$ Based on these

 15   illustrations, Mifeprex does not fall within the intent of the requirement. First, there is a less

      dangerous,more effective alternative to Mifeprex available for the termination of pregnancies:

      namely, surgical abortions. Dr. Jeffrey Jensenconducted a study to compare the safety and




                                             /
      83 Mifeprex Approval Memo at 6.
      84 The view that merely making a different mode of therapy available per se produces a benefit is inconsistent with
      the position the agency has articulated elsewhere. MAPP 6020.3, which defines eligibility for FDA priority review,
      suggests that drug therapies are not inherently superior to non-drug therapies. Specifically, a drug may be afforded
      priority review if it would provide a significant
                                               I _A.,,     improvement when compared with “marketed products . . . including
                                                    .,,..*..,‘
      non-k&g)) products/therapies.” See‘$DA/CD@&;L~~:e~~~w~a~ag~~~~~i-Pribrity
                                                                             $+$~eWP&~,M“&f$‘Pp &~0.3,~
      at 1 (Apr. 22, 1996).
      85 Subpart H Final Rule, 57 Fed. Reg. at 58947.




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      efficacy of medical abortion with that of’surgical abortion.86The study compared 178 patients

      who, as participants in the U.S. clinical trial in support of the Mifeprex NDA, underwent

      mifepristone/misoprostol abortions, with 199 patients who later received surgical abortions at the

      same clinical site. The primary procedure
                                      /     ?.I failed (i.e.,
                                                          ; there was a subsequentsurgical
 5    intervention) in 18.3 percent of the mifepristone/misoprostol patients and 4.7 percent of the

      surgical patients.87Of the mifepi-istone/misoprostol patients who failed their primary procedure,

      12.5 percent required surgical intervention for acute bleeding, 43.8 percent for persistent

      bleeding, 15.6 percent for incomplete abortion, and 28.1 percent for ongoing pregnancy.” By

      contrast, the sole causefor surgical intervention among the surgical patients who failed their

 10   primary procedure was persistent bleeding.” In addition, mifepristone/misoprostol patients

      “reported significantly longer bleeding” and “significantly higher levels of pain . . . , nausea . . . ,

      vomiting . . . , and diarrhea” than their ,surgicalcounterparts.go

              Second, Mifeprex does not treat a subsetof the female.population that is unresponsiveto,

      or intolerant of surgical abortion. To the contrary, because“medical abortion failures should be

 15   managedwith surgical termination” the option for surgical abortion must be available for any

      Mifeprex patientg’ As the U.S. trial conducted in support of the NDA indicated, the possibility




      86 Jeffrey T. Jensen, Susan J. Astley, Elizabeth Morgan, and Mark D. Nicols, “Outcomes of Suction Curettage and
      Mifepristone Abortion in the United States: A Prospective Comparison Study,” Contraception 59 (1999): 153-l 59
      (“Jensen Study”)[FDA FOIA Release: MIF 000438-441.
      87 See Jensen Study, infia Appendix A, at 155, Table 2.
      ” See Jensen Study, inj?a Appendix A, at 156, Table 3.
      ” See Jensen Study, infia Appendix A, at 156, Table 3.
      go Jensen Study, inj?a Appendix A, at 156.
      ” Mifeprex Label (“Warnings”).




                                                                                           EX. 9 pg. 022


                                                                                                           App. 0158
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      for failure is substantial.g2Thus, any patient who would be intolerant of surgical abortion, if such
                                                                                               I.
                                         I_
      a class of patients exists, cannot use the Mifeprex Regimen.

              As discussedbelow, FDA approvedMifeprex pursuant to Section 3 14.520 in order to

      impose safety restrictions to counteract the risks it had~identl:fied, FDA, confronted by the

 5    sponsor’s refusal to establish vohu$ary restrictions on distribution,g3viewed Subpart H as the

      only available regulatory vehicle that had the potential to make Mifeprex safe.g4The

      inappropriate application of Section 3 14.520 servedthe agency’s immediate need of conditioning

      the drug’s approval on certain safety measures. However, Mifeprex fails to satisfy the Subpart H

      requirements because,although it presentsgreat risk to the user, it neither treats a serious or life-

 10   threatening illness nor provides a therapeutic benefit above existing treatments. A drug with

      such characteristics should not have been approved.




      g2 FDA, “Medical Officer’s Review of Amendments 024 .,,~  and“.e,
                                                                     033:   Final*Reports for the U.S. Clinical Trials
                                                                      ._ ./ I.“.
      Inducing Abortion up to 63 Days Gestational Age and Complete Responses Regarding Distribution System and
      Phase 4 Commitments,” at 11 (Table 1) (reporting a failure rate of 8% for pregnancies less than or equal to 49 days’
      duration) (“Medical Officer’s Review”).
      g3 Early in the approval process, FDA anticipated that the Population Council would cooperate, thus obviating the
      need for Subpart H restrictions: “[Blecause the applicant has voluntarily proposed a system of limited distribution,
      imposition of further distribution restr$ctions under the Agency’s Subpart H regulations d&Snot appear *arranted.”
      See Memorandum, FDA/CDER to NDA 20-687 File (Sept. 16, 1996): at 2 [FDA FOIA Release MIF 000560-621.
      The voluntary restrictions placed on the drug Accutane, a drug for severe acne, illustrate that a cooperative drug
      sponsor may be able to obviate the need for Subpart H restrictions. Because Accutane can cause birth defects, the
      restrictions are designed to ensure that’women taking the drug are not and do not become pregnant. The “System to
      Manage Accutane Related TeratogenicityTM (S.M.A.R.T.TM),” controls the distribution of the drug through the
      issuance of yellow Accutane Qualification Stidkers. These stickers are distributed to physicians who meet a number
      of qualifications and they, in turn, distribute them to patients;who must undergo two tests to confirm they are not
      pregnant and must commit to use two forms of contraception. Pharmacists may fill prescriptions for the drug only if
      they bear the qualification sticker, were issued within the past week, and prescribe no more than 30 days’ worth of
      the drug. See Accutane Label.
      g4 This interpretation of the agency’s actions is supported by FDA spokeswoman Crystal Rice, tiho said Ithat
      outside of Subpart H, the FDA does not have another regulatory program to mandate safety restrictions on drug
      marketing for drugs used to treat ‘serious or life-threatening illnesses”’ and “that ‘other agreements [or rest&ions
      on the drug] not under Subpart H worked out beheen FDA and ,a sponsor would be essentially voluntary.“’ “Dance
      Medical Director Explains Mifepristone’s FDA Approval Not Fast-Tracked or Accelerated, Despite Media Reports,”
      Kaiser Daily Reproductive Health Report (March 29, 2001) (available at:
      ~http://report.kff.org/archive/repro/2001/3~010329.5.htm>).



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                                                                                              EX. 9 pg. 023


                                                                                                               App. 0159
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 5           FDA’s approval of the Mifeprex NDA ran counter to Congress’s statutory requirements,

      the agency’s regulations and guidance documents, and FDA’s well-established standardsfor the

      quality and quantity of scientific evidenceneededto support an agency finding that a new
                                                                                             ,) drug is
      safe and effective. The clinicaJ trials submitted  by the Population Council to support its NDA
                                                  _.,. s.>

      did not use the full set of design featuresFDA typically requires to produce unbiased

 10   investigations of drug safety and effectiveness. Becausethese trials were not blinded,

      randomized, or concurrently controlled, they did not establish the safety and effectiveness of the

      Mifeprex Regimen. Inexplicably, FDA failed to perform a statistical analysis of the data from

      the American trial. Furthermore, FDA’s approval of Mifeprex pursuant to Subpart H compounds

      the deficiencies in the trials becausesponsorsof Subpart H drugs. must demonstratethat  , the drug
                                        /
 15   for which approval is being sought provides a “meaningful
                                                         j. I therapeutic
                                                                  .. . ,,.. _- benefit
                                                                                , , over
                                                                                       >. ;,;existing
                                                                                                ,./ 4.
      therapy.” BecauseMifeprex was approved in reliance on French and American trials that did not

      compare the Mifeprex Regimen with the existing standardof care for ending pregnancies (i.e.,

      surgical abortion), the trials cannot
                                        //. support this Subpart H approval.
                                                                      _.

 20                   1.      The Clink$l Trials Underljring FDA’s Approval of Mifeprex

              FDA based its approval of Mifeprex on safety and effectivenessdata derived from two

      French clinical trials (“French Clinical,Trials”) and’oneU.S. clinical trial (“U.S. Clinical

      Trial”).g5 Neither the French Clinical Teals nor the)U.S.”CjinkaJ Trial, was bhnded, randomized,




      ” See Mifeprex Approval Memo, injka Appendix A, at 1.
                                               1:


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                                                                                  EX. 9 pg. 024


                                                                                                 App. 0160
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      or concurrently
          ~1 _Z’ _, controlled
                      -_       - the hahmarks of unbiased; scientific analysis generally relied upon
                                 i, *     .‘/” i-i ..” ,,/,._ ,: ,                               ”
                                     I < _< I .          i
      by FDA.


                                 a.       The French Clinical.Trials

 5             The French Clinical Trials, which formed the basis for the Population Council’s original

      NDA submission in 1996, were open-label, multi-center studies.g6One of these trials consisted

      of 1,286 patients at 24 centersin France (“French Trial I”).“’ The trial was limited to women

      who had pregnancies of no more than 49 days’ gestational age, as establishedby ultrasound, if

      available, or by the patient’s estimate.” On the first day of the procedure, the patient received

 10   600 mg of mifepristone orally “in the presenceof a study investigator.“99 Approximately 48

      hours later, she returned and, unless the abortion had already taken place, ingested 400’                      ‘

      micrograms of misoprostol “in the presenceof a study investigator.““’ The patient remained

      under observation for four hours or more after-the ingestion of misoprostol and returned for “a

      final assessmentof the pregnancy termination procedure” eight
                                                                ,,.. to I15 days later.“’




      g6.FDA’s Reproductive Health Drugs Advisory Committee (“FDA Advisory Committee”), which met in July 1996
      to consider the mifepristone NDA, based its conclusion primarily on the French trial along with preliminary data
      from the U.S. Clinical Trial, See FDA’ Advisory CommiGee,pearings dn fiew Drug Application& ?hk tie of
      Mifpristone for Interruption of Ear& Pregnancy, at 6, 132-33 (July 19, 1996) (FDA Hearirigs Transcript)[FDA
      FOIA Release: MIF 005200-901. Committee member Dr. Mary Jo O’Sullivan asked why the Committee meeting
      was being held “at this time when the data is not finalized.” I&. at 37. .Dr, C. Wayne Bardin, who was responsible
      for overseeing the Population Council’s NDA preparation, responded that “we have sufficient data . . . [fjrom the
      non-U.S. data to allow us to submit anapplication to the FDA.” Id.
       97 See FDA, Statistical Review and Evaluation, at 2-4 (May 21, 1996) (“Statistical Review”). This French trial is
      referred to as FFRl91/486/14.
       ” See Statistical Review, infra Appendix A, at 2. “Since the’ultrasound estimate of gestational age was more
       reliable than the patient’s estimate . . . gestational age based on the ultrasound examination was used if available.”
      Id. Investigators, in violation of study protocol, ‘included some women with pregnancies of more than 49 days. See
       Statistical Review, infra Appendix A, at 3.
      ” See Statistical Review, inj?a Appendix A, at 2.
      loo See Statistical Review, infra Appendix A, at 2.
      lo1 See Statistical Review, infia Appendix A, at 2.




                                                                                                EX. 9 pg. 025


                                                                                                                  App. 0161
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                The efficacy analysis of French Trial I encompassedonly 1,205 patients, while the safety
“’                                         I                  i
         analysis included all 1,286 participants.‘o2 The regimen resulted in “complete expulsion’ in 95.4

         percent of the 1,189 participants whose pregnancieswere 49 days or less.‘03The rate of complete

         expulsion declined with increase.dgestational age.‘04Sixty-one women had complete expulsions

     5   before taking misoprostol.‘05 Almost 86 percent of _I
                                                            patients in French Trial I experienced at least

         one adverseevent as a result of the procedure.1o6

                  The secondFrench clinical trial (“French Trial II”) enrolled 1,194 patients at 11

         centers.‘07The trial was limited to ,yomen who had pregnanciesof no more than 63 days’

         gestational age, as establishedby ultrasound, if available, or by the patient’s estimate.“’ The

 10      regimen used in French Study II was essentially the.sameas that described above in connection

         with French Study I, except that an additional 200 micrograms of misoprostol was administered

         if complete expulsion did not occur within three hours after taking the initial 400 microgram
*                                           ,_ I,       . i”          I            .
         dose of misoprostol.log Patients who received the second  dose  of misoprostol  remained under

         observation for a total of five hoI$+suO
                                                                         /



         lo2 See Statistical Review, infra Appendix A, at 3.
         lo3 See Statistical Review, infra Appendix A, at 3. Patients for whom expulsion of the embryo was complete at the
         end of the process were categorized as’successes, while patients with incomplete expulsions (2.8%), ongoing
         pregnancies (1.5%), and those who needed surgical procedures for bleeding (.3%)were classified as failures. See id.
         at 3 and 9 (Table 1).
         to4 See Statistical Review, irzfia Appendix A, at 3 (“[Tlhere was a statistically significant . . . inverse relationship
         between gestational age and the success rate as the success rate generally declined with increasing gestational age.“).
         *OSSee Statistical Review, infra Appendix A, at 3. Twenty-six of these women received misoprostol anyway,
         because the investigators did not realize that they had had complete abortions. See id.
         lo6 See Statistical Review, infia Appendix A, at 4.
         to7 See Statistical Review, infra Appendix A, at 4-7. This French trial is designated as FFl921486124.
         to8 See Statistical Review, in.a Appendix A, at 4-5.
         tog See Statistical Review, infra Appendix A, at 5.
         ‘lo See Statistical Review, infia Appendix A, at 5.



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                                                                                     .-e            EX. 9 pg. 026


                                                                                                                     App. 0162
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                                             :.                                                   /




              The efficacy analysis of French:Trial Ii encompassedonly 1,104 patients, while the

      safety analysis included all 1,194 participants.“’ The regimen resulted in “complete expulsion”

      in 92.8 percent of the participants.1’2 The rate of complete expulsion declined with increased

      gestational age.‘13Twenty-six women had complete expulsions before taking misoprostol.1’4

 5    Almost 93 percent of patients in’French Trial II experiencedat least one adverseevent as aresult

      of the procedure.‘l’

              Among the deficiencies that characterizedboth French Clinical Trials was the absenceof

      an appropriate control group. Consequently, as an FDA statistician concluded after reviewing

      the data fkom the French Clinical Trials: “Jn the absence,of a concurrent con@01group in each of

 10   these studies, it is a matter of clinical judgment whether or not the sponsor’s proposed

      therapeutic regimen is a viable alternative to uterine aspiration for the termination of

      pregnancy.“116


                                 b.        The U.S Clinical Trial

 15            The U.S. Clinical Trial vyascarried out from September 13, 1994 to September 12, 1995

      at various qualified university hospitals and clinics.117Patients had to satisfy a number of criteria


      “’ See Statistical Review, infra Appendix A, at 5.
      ‘12 See Statistical Review, infia Appendix A, at 6. As in French Study I, patients for whom expulsion of the
      embryo was complete at the end of the process were categorized as successes, while patients with incomplete
      expulsions (4.0%), ongoing pregnancies (2.3%), and those who needed surgical procedures for bleeding (.9O;lb)were
      classified as failures. See id. at 5 and 12 (Table 4).
      ‘13 See Statistical Review, inJEaAppendix A, at 6.
      ‘14 See Statistical Review, inj?a Appendix A, at 6.
      i15 See Statistical Review, inj?a Appendix A, at 7.
      ‘I6 Statistical Review, infia Appendix A, at 7-8.
      iI7 See Medical Officer’s Review, infFa Appendix A, at 6. More specifically, the U.S. Clinical Trial consisted of
      “two prospective, open-label, multicenter clinical trials in theUnited States’according’to two identical protocols.”
      Medical Officer’s Review, infia Appendix A, at 6 and 9. In this Petition, the trials will be referred to as “the U.S.
      Clinical Trial,” because the protocols employed were identical, the results of the two trials were analyzed jointly,
      and the results were published in the same article. See Irving M. Spitz, M.D., C. Wayne Bardin, M.D., Lauri
                                             I”                ,..    .     “..



                                                                                                EX. 9 pg. 027


                                                                                                                  App. 0163
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      to be included in the study.“’ All patients were screenedby pelvic examination and ultrasound
                                              !
      to ensurethat their pregnancieswere not too advancedfor. the procedure.“’ On their first visit,

      patients took 200 mg of mifepristone orally “[i]n the presenceof the investigator.“‘20 Patients

      returned 36 to 60 hours later to ingest 400 micrograms of misoprostol orally in the presenceof

 5    the investigator, unless the investigator determined that the termination was already complete.‘21

      Following ingestion of misoprostol, patients were observedfor a minimum of four hours.‘2f

      Patients were instructed to return again 12 days later for a follow-up assessment.‘23A patient’s

      pregnancy was terminated surgically “at any time if the investigator believed there was a threat

      to a woman’s health (medically indicated), at a woman’s request, or at the end of the study for an

 10   ongoing pregnancy or incomplete abortion.“‘24



                                                     :
                                                               :     ,
      Benton, M.D.; and Ann Robbins, “Early Pregnancy Termination with Mifepristone and Misoprostol in the United
      States,” New England Journal ofMedicine 338 (Apr. 30, 1998): 1241-47 (“Spitz Article”) “)[FDA FOIA Release:
      MIF 006692-971. The members of the FDA Advisory Committee who were still working for _.          FDA at the
                                                                                                               -_ time
                                                                                                                    .~_ of _
      publication received a copy of the Spitz Article. Set?Medical,Officer’s Review, injka Appendix A, at 29. Although
      FDA considered data from the entire U.S. Clinical Trial, it alIpears that the agency formally approved Mifeprex
      based only on the portion of the U.S. Clinical Trial data that was generate’d among women whose pregnancies were
      no more than 49 days’ gestational age., See Mifeprex Approval Memo, infra 14ppendix A, at 1 (‘The U.S. trial
      consisted of 859 women providing safety data and 827 women provic ling effectiveness data‘for gestations of49 days
      or less, dated from the last menstrual period.“). See also Mifeprex Label (“Clinical St udies”).
      “’ Among the inclusion criteria were requirements that a patient be at least 18 years old, be in good health, have an
      intrauterine pregnancy of no more than 63 days (confirmed by a pelvic examination and ultrasound), and have
      agreed to a surgical abortion if the mifepristone-misoprostol abortion failed. Medical Officer’s Review, injka
      Appendix A, at 7-8. The study excluded women with certainhealth problems, such as liver, respiratory, or renal
      disease, cardiovascular disease, chronic hypertension, anemia, clotting problems, pelvic inflammatory disease, and
      ectopic pregnancies. See id. at 8. In addition, ‘women who were over 35 and smoked, had KIDS, Were breastfeeding,
      were unlikely to comply with study requirements, or who “[llived or worked more than one hour from the
      emergency care facility” were excluded. See id. at 8-9.
      “’ See Medical Officer’s Review, infia Appendix A, at 8.
      i2’ Medical Officer’s Review, infra Appendix A, at 9.
      i2’ See Medical Officer’s Review, i&a Appendix A, at 9.
                                                                                 .
      122See Medical Officer’s Review, infra Appendix A, at 7.
      ‘23 See Medical Officer’s Review, in? Appendix A, at 7.
      124Medical Ofticer’s Review, infra Appendix A, at 16.



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                                                                                               EX. 9 pg. 028


                                                                                                                App. 0164
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             The U.S. Clinical Trial consiste,dof2,121 subjects.“’ Of thesepatients, 2,015 were
                                                /          8                                   9
      evaluated for efficacy, lz6which “was defined as the termmation of pregnancy with complete

      expulsion of the conceptuswithout the ,needfor a surgical procedure.“‘27The remaining 106

      patients did not return for the third   visit.128
                                       “, ,.._-;
                                               “. ..,)1.1”The
                                                        .,“-   mifepristone-misoprostol combination was
                                                           “~/j>a^.//L~.

 5    effective in 92 percent of patients with pregnanciesno greater than 49 days, 83 percent of

      patients with pregnanciesbetween 50 and 56 days, and 77 percent of women with pregnancies

      between 57 and 63 days.12’All 2,121 subjectswere evaluated for safety.13’Ninety-nine’percent

      of patients experienced adverse
                                 ., eventsand
                                            I. most of-. these-experienced
                                                         /        ,,     multiple adverseevents.13’

      Twenty-three percent of the adverseeffects experiencedby each gestational age group were

 10   “severe.“‘32

               Finally, FDA did not conduct a,statistical re;view,of the~resultsof-the U.S. Clinical,,T+,ql. i

      FDA’s statistical reviewer explained
                                      -/ I this failure by noting that “[a] statistical evaluation of the
      European studies was completed previously “and “[t]he clinical results of the supporting U.S.
                                                                                                ,




      I25 See Medical Officer’s Review, infra Appendix A, at 10.
      ‘26 See Medical Officer’s Review, infra Appendix A, at 10.
      127Medical Officer’s Review, inj?a Appendix A, at 16. The failure to establish a pre-trial, statistical definition for
      drug efficacy was a defect in trial design.
      12’ See Medical Officer’s Review, infra Appendix A, at 16. It would have been appropriate to include these 106
      patients in the efficacy analysis as “failures,” if for no other reason than,that they did not appear for all three
      required visits. Although “[fJor 92 of these patients, there was some information suggesting a successful outcome,”
      id. at 10, there was neither defmitive .evidence, of complete abortion nor, apparently, any information with respect to
      whether these women subsequently experienced any adverse effects. In fact, during their second visit, five of these
       106 women were diagnosed as having’continuing pregnancies. Id. at 10. ‘See also Spitz Article, infra Appendix A,
      at 1246 (“The ultimate outcome of these pregnancies is unknown, despite our repeated attempts to contact the
      women.“).
      12’ See Medical Officer’s Review, infia Appendix A, at 11 (Table 1).
      13’ See Medical Officer’s Review, infia Appendix A, at 10.
      13’ See Medical Officer’s Review, infia Appendix’&
                                                    II.‘      at 11.
      132See Medical Officer’s Review, in&a Appendix A, at 11, ’



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                                                                                                 EX. 9 pg. 029


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     studies . . . are similar “.enough
                                  ^.I’.ii to the results of the European studies that, in the opinion of the
                                                                                                          1
     medical reviewer, a statistical evaluation of the results.pf-the ,LJ.S.studies is notrequired.“’


                       2.        Requirements for Proving Drug Safety and Effectiveness

              FDA has developed a rigorous default standardfor scientific demonstrations of.safety
                                                                                            I:     and

     effectiveness of human drug products.‘34Section 565(d)(5) of the FD & C Act provides, in

     relevant part, that FDA shall refuse to approve a new drug application when “there is a lack of

     substantial evidence that the drug will have the effect it purports or is representedto have under

     the conditions of,use prescribed, recommended, or suggestedin the proposed labeling.“135

     Section 505(d) defines “substantial evidence” to mean “evidence consisting of adequateand

     well-controlled investigations, including clinical investigations, by experts qualified by scientific

     training and experienceto evaluate the effectivenessof the drug involved . . . .“13’jFDA has

     statedthat “substantial evidence!’requnes a showing of clinic$ily significant evidence of

     effectivenessrather than mere.st,atistic@evidence of significance.‘37No such showing was made

     for Mifeprex, which has been demonstratedto be less effective than surgical abortion for all

     segmentsof the population.



                                             f.       ;..I”. . _ ...s. .1-.           ,( .x,_                     _,“. a,.              .,,        ,
     *33 FDA, “Statistical Comments on Amendment 024,” Memorandum to File NDA 20-687 (Feb. 14,200O). This
     document is available along with the agency’s,Statistical Review. See Statistical Review, in@-aAppendix A.
     134See the discussion of the development and requirements of FDA’s “gold standard,” supra Section 1II.C. 1.
     13521 U.S.C. 8 355(d)(5).
     13621 U.S.C. $ 355(d) (“the term ‘substantial evidence’ means evide,nceVconsisting of adequate and well-controlled
     investigations, including clinical investigations, by experts qualified by scientific training and experience to evaluate
     the effectiveness of the drug involved,‘o;;~~~~~iso~~~ich         it could fairly-andresponsibly be concluded by ‘such
     experts that the drug will have the effect it purl~orts or is represented to have -under the conditions of use prescribed,
     recommended, or suggested in the labeling or proposed labeling ‘thereof.“).
     *37See Warner-Lavnbert Co. v. Heckler, 787 F.2d 147, 155 (D.C. Cir. 1986) (“It is important to note that the
     Commissioner does not contend that the’effectiveness shown must amount,@ a ‘medical bre.a&$ough’, as ARW
     complains, but contends in his brief that’he would be satisfied w”ith even a modest clinical or therapeutic effect.“).



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                                                                                                  EX. 9 pg. 030

                                                                                                                            App. 0166
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              Section 3 14.126 of FDAls rules statesthat “[rleports of adequateand well-controlled
                                      /
                         . ;,.        ; ‘. _;.. .*> ,., .;, ....,.-. :_.-TllljL ~‘*/,_,:                                         . , ,.
      investigations provide the primary basis for determming whether there is Csub&m.ia~.e~denck;~ ’                       “-

      to support the claims of effectivenessfor new drugs.“13*The rule statesthat a major pu$ose of

      an adequateand well-designed study is to “permit[ ] a valid comparison with a control to provide

 5    a quantitative assessmentof drug effect.“139According to Section 3 14.126(b), an adequate‘and

      well-controlled study servesto ensurethat the subjects of the trial have the diseaseor condition

      being studied,14’that the method of assigning patients to treatment and control groups minimizes

      bias (e.g., using randomization),~41and, that “[aldequate measuresare taken to minimize bias on

      the part of the subjects, observers,and analysts of the data? (e.g., blinding).142The criteria that

 10   the rule establishes“have been developed over a period.of years and are recognized by the

      scientific community as the essentialsof an adequateand well-controlled clinical

      investigation.“‘43
                                    I                                                ,/_,
              Agency guidance provides !hat.FDA may a$rove %iiSLiA basedon only one, not two,

      effectiveness trials for drugs in one of the following three categories:

 15           1) when effectivenessmay be demonstrated’adequatelywith existing studies of another
              claim or dose (e.g., approval for pediatric use on the basis of studies in adults); 2) when a
              controlled trial of a specific new use& supportedby evidence from adequately co,ntrolled
              trials from related uses,dosages,or endpoints; and 3) when a single multicenter trial
              provides statistically convincing andclinically meaningful evidence of effectiveness,
 20           supported by contirmatoiy research.144


      13* 21 C.F.R. 5 3 14.126(a) (“Adequate and well-controlled  studies.“).
      13921 C.F.R. $j 314.126(b)(2) (d escribing “placebo concurrent control, ” “dose-comparison concurrent control,” “no
      treatment concurrent control,” “active treatment concurrent control,” and “historical control”).
      14’ 21 C.F.R. 6 314.126(b)(3).
      14’ 21 C.F.R. 0 314.126(b)(4).
      14’ 21 C.F.R. Q 314.126(b)(5).
      14321 C.F.R. 0 314.126(a).
      144Kulynych,  infra Appendix A, at 146 (citing FDA, Guidancefor Industry: Providing Clinical Evidence of
      Efictiveness for Human Drug and Bi&ogical~P~oducts(May 1998) at S-17 (FDA Efictiveness Guidance).
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                                                                                             EX. 9 pg. 031                          I
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         Mifepristone did not fall within any of thesecategories. The first and second categorieswere

         inapposite becausemifepristone had not been approved for any use in any population in the

         United States; additionally, no evidence from adequateand well-controlled trials had ever been

         presentedto FDA regarding any’use for mifepristone. Becauseneither the French Clinical Trials

    5    nor the U.S. Clinical Trial was rjmdomjzed, blinded;‘45or comparator-controlled, none of these

         trials could provide the type of data necessaryfor the third category either. Furthermore, these

         studies lacked “clear, prospectively determined clinical and stat&&al analytic criteria.“146
                                                        /,,      ..)




                 Even though FDA takes the position elsewherethat the extent to which a trial’s design

         controls for various types of bias “is a critical determinant of its quality and persuasiveness,“147

    10   neither the French Clinical Trials nor the U.S. Clinicaj. Trial. were,r,andomized,concurrently

         controlled, or blinded. A control group “allow[s for] discrimination of patient outcomes (for

         example, changesin symptoms, signs, or
                                              : other morbidity) caused ., by the test treatment from
”                                      /     _..i ;.      _.)_) ,. ,I ,”                     ‘i’/’
         outcomes causedby other factors, such as the natural progression of the disease,observer or

         patient expectations, or other treatrnent.“14’ Control groups also enable investigators to




                                                   ,.   /.                      .




         145Blinding is the normal method by which those who evaluate a medication’s effectiveness and side effects, are
         kept unaware of whether they are evaluating the comparator drug (sometimes a’placebo), or the new medication (or
         procedure) under study. If possible, the patient is also blinded and not allowed to know which treatment ‘she:is
         receiving (“double-blinding”).  According to standard
                                                            “,.“_.”scientific
                                                                    .”.,,.    and medical practice and the standards to which
         FDA holds pharmaceutical sponsors, all clinical‘research smdies~iirvestigating the effects ofneti drugs should be
         subjected to an assessment by a blinded evaluator. Conducting a concurrently-controlled, randomiied trial
         comparing surgical abortion with the mifepristone-misoprostol regimen is readily achievable. There are study
         designs that would have also allowed for blinding. Had blinding proved too difficult to perform, the requirement
         could have been waived based upon a satisfactory showing by the sponsor.
         146FDA Eflectiveness Guidance, infra’ Appendix A, at 12.
         147FDA, “Guidance for Industry: ElO’Choice of Control Group and Related Issues in Clinical Trials,” (Rockville,
         Md.: May 2001) at 3 (6 1.2.1) (FDA Guidance (ICH: ElO): Choice of Control Group). FDA’s publication of “ElO”
         is available at: <http://www.fda.gov/cder/guidance/4155fnl.pdf>.
         14*FDA Guidance (ICH: EIO): Choice of Control Group, i&a Appendix A, at 3 (0 1.2) (Introduction, “Purpose of
         Control Group”).



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                                                                                                 EX. 9 pg. 032


                                                                                                                   App. 0168
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      determine “what would have happenedto patients ifthey had not received the test treatment or if
                                                                                       a .^
      they had received a different treatment ‘known to be’effective.“i49

               A trial that employs a concurrent control group drawn fi-om the samepopulation yields

      the most robust data. Concurrent control groups are chosen from the samepopulation as the test

  5   group and are “treated in a defined way as part of the sametrial that studiesthe test treatment,

      and over the sameperiod of time.““’ When concurrent control groups are used, the treatment

      and non-treatment groups are similar in all baseline‘andnon-treatment variables that could

      influence the outcome or introduce bias into the study.‘“’
                                                                                                   ,,
               By contrast, in a trial using external or historical controls “the control group consists of

 10   patients who are not part of the samerandomized study as the group receiving the investigational

      agent; i.e., there is no concurrently randomized control grou~.“‘~~ FDA cautions:

               “The external control may be defined (a specific group of patients) or non-defined (a
               comp*aratorgroup based on general medical knowledge of outcome). Use of the latter
               comparator is particularly treacherous(such ‘trials are usually considereduncontrolled)
 15            becausegeneral impressions are so often inaccurate.“153

      In such a trial, “[tlhe control group is thus not derived from exactly~the samepopulation as the

      treated population.“154 If, as is most common, the external’control group is composed of “a well-

      documented population of patients observedat an earlier time,” the trial is said to be




      149FDA Guidance (ICH: EIO): Choice of Control Group, infra Appendix A, at 3 (Q 1.2).
      15’ FDA Guidance (ICH: ElO): Choice of Control Group, infa Appendix A, at 3 (0 1.2).
      15’ SeeFDA Guidance (ICH: El 0): Choice of Control Group, infra Appendix A, at 3 (0 1.2). “Bias here . . . means
      the systematic tendency of any aspects of the design, conduct, analysis, and interpretaticn of the results of clinical
      trials to make the estimate of a treatment effect deviate from its true value.” Id.
      152FDA Guidance (ICH: EIO): Choice of Co&o1 Group, infra Appendix A, at 26 (Q 2.5.1).
      153FDA Guidance (ICH: EIO): Choice of Control Group, infra Appendix A, at 5 (Q 1.3.5).
      154FDA Guidance (iCH: ElO): Choice of Control Group, infia Appendix A, at 26 (0 2.5.1).



                                                                 33
                                                                                                   EX. 9 pg. 033


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          “historically” controlled.‘55 Blinding and randomization are also not available to minimize bias
                                             i ,i             : :           _’                 1 ,i
          when external or historical controls are,used.ls6

                  According to FDA, the “[ilnability to control bias is the major and well-recognized

          limitation of externally controlled trials and is sufficient in many casesto make the design
,    5    unsuitable.“15’ A legal commentator recently cautioned courts about the scientific validity of

          experiments and trials that have no conc,urrentcontroJ.‘.5”She explained that “historically

          controlled subjects have not been subjectedto exactly
                                                        ...,> 6 the same
                                                                    .,, / ,Iconditions
                                                                             ,_ , as the test subjects.“15’
                                                 <.,                                   “_         _*.
          Consequently, “one must be wary of” non-concurrently controlled studies (i.e., historical,

          external, or uncontrolled studies) becausetheir conclusions can be manipulated more easily than

     10   if concurrent controls are used.‘@             i


                           3.    FDA’s Accept&e of the French and U.S. Clinical Trial Data Viglated
                                 Section 3+4.126(e) of the Agency’s Rules
                                           !~
                                           !     ,,          I
     15           Section 3 14.126(e) of FDA’s rules statesunequivocally that “[u]ncontrolled studies or

          partially controlled studies are npt acciptable as the sole basis for the approval of claims of

          effectiveness.“161The section authorizesthe use of uncontrp&d~trials merely to present

          supporting evidence for controlled trials; uncontrolled trials, if they are “carefully conducted and



          ‘55 SeeFDA Guidance (ICH: ElO): Choice of Control Group, infia Appendix A, at 26 (9 2.5.1) (“but it could be a
          group at another institution observed contemporaneously, or even a group at the same institution but outside the
          study.“).
          156FDA Guidance (ICH: ElO): Choice of Control Group, i&-a Append’ix A, at 27 (9 2.5.2).
          15’ FDA Guidance (ICH: ElO): Choice of Control Group, infra Appendix A, at 26 (5 2.5.2).
          I58 Erica Beecher-Monas, “The Heuristics of Intellectual Due Process: A Primer for Triers of Science,” New York
          University Law Review 75: 1563-1657, 1628.
          lsg Beecher-Monas, infra Appendix A, at 1628, n.357.
          r6’ Beecher-Monas, infra Appendix A, at 1628, n.357 ((‘ ‘you can prove anything with selective controls,’ so one
          must be wary of historical controls,” Beecher-Monas quoting Jon Cohen, “Cancer Vaccines Get a Shot in the Arm,”
          262 Science 841,843 (1993)).
          16’ 21 C.F.R. Q 3 14.126(e)(emphasis added).




                                                                                                EX. 9 pg. 034


                                                                                                                 App. 0170
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          documented, may provide corroborative support of well-controlled studies regarding efficacy
.                                         /
          and may yield valuable data regsirding safety of the test drug.“162

                   FDA recognizes a limited role for external, historically controlled studies. The agency

          takes the position that “[hlistorical (external) controls can be justified in some cases,but

          particular care is important to minimize the likelihood of erroneousinference.“163Similarly,

          Section 3 14.126 cautions that “[blecause historical control populations usually cannot be as well

          assessedwith respect to pertinent variables as can concurrent controlled populations, historical

          control designs are usually reservedfor special circumstances.“164FDA cites as an example,

          “studies of diseaseswith high and predictable mortality (for example, certain malignancies),“‘65

          in which a decision might be made to offer all trial participants a potentially effective drug.

          Externally controlled studies also may suffice because“the effect of the drug is self-evident

          (general anesthetics,drug metabolism).“‘@

                   The French and U.S. Clinic,al Trials, which did not employ either external or historical

          control groups, were uncontrolled. During the Advisory Committee Hearings, FDA’s Dr.

          Ridgley C. Bennett, who summarized the data from the French Clinical Trials, stated:

                      There are very few studies comparing medical methods and vacuum aspiration for
                   termination of early pregnancy. To date, no large randomized controlled trials have
                   compared mifepristone plus misoprostol with suction curettage abortion. However, large
                   published serieshave demonstratedmorbidity rates associatedwith mifepristone plus
                   prostaglandin to be similar to those of suction-curettage.‘67

          16221 C.F.R. 9 314.126(e).
          163FDA Guidance (ICH: E8): General Considerations, infia ‘Appendix A, 62 Fed. Reg. at 66117 ($ 3.2.2.2).
          According to FDA guidance, the “main advantage” of an     externally
                                                                 _.._.. “!_    controlled trial “is that all patients can receive a
          promising drug, making the study more attractive to‘patrents and physicians.” FDA Guidance (ICH: ElOj: Choice of
          Control Group, infra Appendix A, at 27 (8 2.5.6).
          16421 C.F.R. Q 314.126(b)(2)(v) (“Historical control.“).
          16521 C.F.R. 8 314.126(b)(2)(v).
          16621 C.F.R. 0 314.126(b)(2)(v).
          ‘67 FDA Hearings Transcript, infra Appendix A,, at 130. Jensen and his fellow researchers conducted “[a]
          prospective, noncurrent, single center cohort
                                                  ,     comparison.” Ske Jensen Study, infra Appendix A, at’ 153. The study
                                                                      :


                                                                     35
                                                                                                     EX. 9 pg. 035


                                                                                                                       App. 0171
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     “Published series” and uncontrolled studies cannot serve,as,asubstitute for the we&controlled                                ,

     clinical trials that FDA requires., A concurrent control group would have been feasible because

     the trial participants were preparedto receive surgical abortion in the event of a failed

     mifepristone abortion.

              The unusual circumstancesthat:sometim~es
                                                     justify relying on externally controlled trials

     are not applicable with respect to pregnancy termination, generally, or the termination using

     mifepristone and misoprostol, specifically. Randomized, concurrently-controlled, blinded trials

     would have allowed investigators to compare not only the relative rates of complete termination

     and expulsion, but also the nature, intensity, and duration of the numerous side effects. In the

     absenceof concurrent controls and blinding, the duration and intensity of cramping, nausea,

     bleeding, pain, and any emotional or psychological effects of the treatments would be subject to

     investigator and patient bias. The design of the U.S. Clinical Trial precluded unbiased

     comparison groups that could have helped analysts arrive “at a complete understanding of

     potential advantages,disadvantagesand differences” between medical and.surgical abortion.“j*

     FDA’s defacto waiver of Section 3 14.126(e) constituted a gross departure from its past practice

     and announced standardsfor the conduct,of adequateand well-controlled clinical trials.‘6g


     compared the data from Mifeprex patients at one of the sites that participated in the U.S. Clinical Trial with data
     from patients who subsequently underwent surgical abortions at the same site. Although the methodological quality
     of this study is arguably superior to either the French or US. Clinical ,Trials, had it been offered as trial data it also
     would have been a weak substitute foria randowed co,ntrolled trial establishing equivalent or superior efficacy to
     surgical abortion.
     16’ SeeJensen Study, in@aAppendix A, at 156. Dr. Cassandra Henderson, a member of the FDA A&Gory
     Committee, wondered about this point as well: “Since this regimen is not without any side effects and we know that
     spontaneous abortion is not an infrequent occurrence, is it appropriate to use historical controls in trying to evaluate
     the efficacy of this regimenand not a randomized placebo trial. 3” FDA Hearings Transcript, in.a Appendix A, at
     131 (FDA’s Dr. Ridgely C. Bennett gave the following puzzling response: “Well, I think it would be difficult to do a
     randomized trial of this nature. But I think it is, fair to use a historical
                                                                        ..,..,.“”._\_ control
                                                                                        - 1 for efficacy.“).
     16’ There is no evidence that FDA formally issued a waiver under Section 3 14.126(c) of the requirement for well-
     controlled studies or that the Ropulation Council ever requested such a waiver.
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                            4.       Subpart H’s St$ndard
                                                     I.(  for Proving
                                                               !       Drug Effectiveness
                                                                      /.,_   .,
                  The approval of a drug under Subpart H does not lower the applicable standardsfor

          proving the drug’s effectiveness. As FDA statedwhen it adopted Subpart H, “[a]11drugs

          approved [under Subpart H] will have had effectivenessdemonstratedon the basis of adequate

     5    and well-controlled studies.“‘7? In fact, Subpart H is available only for drugs “that have been

          studied for their safety and effectivenessin treating serious or life-threatening illnesses and that

          provide meaningful therapeutic benefit to patients
                                                          . over
                                                             * existing fe&zeizkv (e.g.,
                                                                                  ,__.. ability
                                                                                         _, ,_to treat
                                                                                                  ,,“...                          ,.
          patients unresponsive to, or intolerant of, available therapy, or improved patient responseover

          available therapy).“171Neither the French nor the U.S. Clinical Trials yielded scientifically valid

     10   comparisons with the existing therapy, surgical abortion, to support a finding of a “meaningful

          therapeutic benefit over existing’treatments.” FDA should have required the concurrent testing

          of mifepristone with surgical abortion to test the proposition that mifepristone has a meaningful
                                           1’                                                      ‘( :
i                                                  I       ” (4
          therapeutic benefit over the standardmethod for terminating pregnancies. FDA did not require.
          the drug sponsor to perform such trials’for Mifeprex,, which departs fkom FDA’s normal

     15   treatment of Subpart H drugs generally and for the other drugs .approved under the restricted

          distribution provisions in Section 3 14.320.

                   Mifeprex appearsto be the only drug that FDA has approved
                                                                          ” under Section 3 14.520 of
          Subpart H without requiring compliance with the statutory and regulatory requirements that

          safety and efficacy be scientifically demonstratedthrough blinded, comparator-controlled, and

     20   randomized clinical trials capable of providing data for subjection to rigorous statistical analysis.



          I70 Subpart H Final Rule, 57 Fed. Reg. at 58953.
          17’ 21 C.F.R. 8 3 14.500 (emphasis added). The class of “existing treatments” to which there must be a cpmparison,
          as specified in this rule section, is not iimited to hhAtiaceuticals. For example, a potential chemotherapeutic agent
          might be compared to radiation therapy.                            ;


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                                                                                                   EX. 9 pg. 037


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             Aside from Mifeprex, only four drugs have been approved pursuant to Section 3 14.520, the

             restricted distribution prong of Subpart H. Each of ‘these-drugs,Xeloda,lt2”Thaiomkl,‘7f:Actiq;174

             and Tracleer,175
                            was an appropriate candidate for approval under Section 3 14.520. Moreover, in

             each case,studies were performed that allowed for a meaningful statistical analysis of the

         5   effectiveness of this drug in comparison with the current available standardof care. FDA’s                            ’

             decision to require randomized, comparator-controlled, blinded trial design for each drug, even

             in the face of urgent need for the treatments at issue, supportsthe claim that FDA’s treatment of

             the mifepristone NDA was aberrant.

                      XelodaTM(capecitabine) was approved for use in treating patients with widely metastatic

        10   (“Stage IV”) terminal breast cancer, for whom all other modalities of chemotherapy have failed

             or are contraindicated.176The averagelifespan of a patient with multi-drug resistant tumors

             participating
                    _    - in the clinical trials I’for this drub
                                                             ; ,. - was only
                                                                         ,i _- 8.5 months.
                                                                                    ,.i    ’ Bercause‘Xelodawas only
                                                   ./    _.,              .t.      *   ,.,
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             modestly effective (25% of the recipients improved for an averageof five months), exhibited

             significant toxicity, and was a last resort treatment for dying patients, FDA approved it’under

        15   Section 3 14.520 with use restrictjons and commitments to further study the drug. Subsequent

             randomized, concurrent controlled, blinded evaluator trials demonstratedXeloda’s statistical

             superiority to the standardof care for metastatic colon and breast cancers.177



             172NDA 20896.
             173NDA 20785.
             174NDA 20747.
             175NDA 21290.
             176See “NDAs Approved under Subpart H,” infra Appendix A. The current version of the Subpart H approval chart
             (updated Aug. 8,2002) indicates that Xeloda is a“‘surrogate eudpoint” drug, rather than a restricted distribution
             drug. However, the two previous postings of the chart state the opposite. Furthermore, FDA’s approval letter states
             that the NDA “[was] approved under 21 CFR 3’14.520.” Letter, FDA/CDER to Cynthia Dinella, Croup Director,
             Regulatory Affairs, Hoffman-La Roche Inc. (Apr. 30, 1998).
”   ‘        177See Xeloda package insert.



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                                                                                                    EX. 9 pg. 038


                                                                                                                         App. 0174
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                   Thalidomide
                        .’ _. (Thalomidyf’.) was,b,.
                                                 approved under ‘Section 3 14.520 ‘for the treatment
                                                                                                 ,,, ofi ‘        ..
                                                            ,.
      ,

          leprosy, a disfiguring, chronically disabling, and often lethal-skin infection.17* Thalidomide is a

          drug the severetoxicity of which, particularly to fetuses,is well-documented. Children exposed

          to this drug in utero suffer dramatic birth defects,namely the partial absenceof hands, feet; arms

  5       and legs. The public outcry following the discovery that thalidomide causesthese alarming

          malformations helped to spur the scientific modernization of FDA drug approval policy and

          practices in the 1960s. Clinical trials involving leprosy are difficult and require long periods of

          time becausethe diseaseis very rare in the United States. Three randomized, doubleLblinded

          comparator-controlled clinical trials were performed to support the Thalomid NDA.17g

 10                Oral fentanyl citrate (ActiqTM) was approvedunder Section 3 14.520 as a powerful

          sedating narcotic painkiller, primarily for use to relieve the suffering of dying cancer patients.“’

          Actiq can be lethal, particularly to children, becauseit quickly abolishes a patient’s drive to
                                                              ,:
          breathe, unless the patient is already accustomedto narcotic analgesics. Moreover, Actiq, a

          powerful narcotic, has a high potential for abuseand diversion into the illegal drug market.

 15       Actiq was evaluated in a “double blinded, placebo controlled” study for the treatment of

          breakthrough cancerpain and was shown to “produce statistically significantly more pain relief

          compared with placebo.““’ Actiq is restricted for use only by oncologists and pain specialists

          who are familiar with the managementof the side effects and complications of the drug’s use as

          approved.




          17* See “NDAs Approved under Subpart H,” infra Appendix A.
          I79 See Thalomid package insert.
          lgo See “NDAs Approved under Subpart H,” infra Appendix A.
          ‘*’ Actiq package insert.



                                                              39
                                                                                       EX. 9 pg. 039


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P “_
   i                TracleerTM(bosentantab@>-gas approved@muant to Section 3’14.520for use in ’
                                                                                                   I’
            treating pulmonary hypertension, a life threatening and frequently progressive condition of

            excessively high blood pressure‘in the lung blood vesselsresulting from chronic scarring and

            injury of the lung tissue.‘** Tracieer can causeliverldamage and major birth defects.Ttio

        5   randomized, double-blinded, placebo-controlled clinical trials demonstratedthe superiority of the

            drug over a placebo. Tracleer was compared to a placebo becausethere is no alternate standard

            of care for pulmonary hypertension. Despite its potential toxicity, Tracleer was approved subject

            to usagerestrictions under Section 3 14.520 becauseIt. is the only treatment available for a life

            threatening and debilitating condition. 183

   I”


                              5.       FDA Fail@to Require a Comprehensive.^ Audit       of Freti&Clini&l
                                                                                 _, 1.,.-,,
                                       Trial Data after Discovering ViolaGoodsof Good ‘cl~~~~~~“~~~~i~~~~”‘.       .

                   In June 1996, FDA inspected the trial records of a “French government-supported
                                                                                                   II ;
   15       abortion clinic” that participated in the French Clinical Trials. FDA issued a Form4$3’ detailing

            problems uncovered during the inspection. The problems identified by the investigator

            suggestedcarelessness,fraud, evidencetampering, and the systematic under-reporting of serious

            adverseevents. The inspection “revealed a failure to maintain complete and accuraterecords.”

            The violations that were discovered included: “laboratory reports that were missing” for 11’

  20        patients, “missing ultrasound documents” for 20 patients, “pages missing from the caserecord
                                                                         _
            files and unreported aspirations,” mclusion
                                               ’        of 4 ineligible patients, and “consent forms were

            dated after the start of study for some subjects, and the investigator had signed consent form




            lg2 See “NDAs Approved under Subpart H,” infra Appendix A.
            lg3 See Tracleer package insert.



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                                                                                        EX. 9 pg. 040

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                                                                                                       App. 0176
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       sometimes in advance,up to 4 days before the subjectshad signed.“ls4 There were also ‘yunder-
l”.   1                                   t        / ‘i      “/I.. (, ; : .~_. :”/ _ i”     ’ .m*.
                                                                                                / j ,i ,/ ,                           c
       reported side effects” such as,‘(a natient bleeding with two subsequentaspirations; convulsions

       reported as fainting; and expulsion which was actually a surgical evacuation; bleeding, nausea

       and contractions, or bleeding and pelvic pain.“ls5 After elaborating on the deficiencies found, the

       FDA inspector concluded: “Not$ithstanding theseobjectionable conditions; [redacted name of

       an FDA official] assuredDr. Aubeny that he would not recornmend_lratthe,Lsmdies
                                                                                   I - not
                                                                                        ._I...be
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       included in the evaluation~ofthe~,NDD.application.“‘86

                                                    data to ,,supportthe Mifeprex NDA. A complete
                FDA should not have.allovved.t~ainted,

       audit of all French Clinical Trial .l.data is warranted
                                              ,w-x..-^l
                                                  *,.,ex           to
                                                      ,a”5‘1‘.*.^ih”;
                                                                  >I  /determine
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                                                                       *“ice       whether
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                                                                                  wr           another
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       trials must be performed to replace the tainted French trial data.


                F.       THE wAs
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                          OR OTHER.Y?$E’N~~ 1 IN, ACC$j~&NCE*  r. %‘Wm “R‘.i.,,,LAY
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                                                                    .Gij         I_ )” _.                         ,_      :

                When FDA approved Mifeprex, it also took action witlr respectto a seconddrug -

       misoprostol. Taken alone, mifepristone is ineffective as an abortifacient.‘87 In orderto,achieve

       an abortion rate greater than 90 percent,
                                        1,    ,, the administration
                                                            L       of mifepristone is followed

       approximately two days later by a prostaglandin to complete the abortion. In the U.S. Clinical
                                             ‘              :
                                                          ,     ^‘..                         ,, 8
       ls4 Summary of Findings, Memorandum Accompanying FDA Form 483 Issued. to Dr. Elizabeth Aubeny (June 28,
       1996): at 1 [FDA FOIA Release: MIF pO4135;45].
       Is5 Summary of Findings, Memorandum Accompanying FDA Form 483 Issued
                                                                       ,”   to Dr. Elizabeth Aubeny (June 28,
       1996): at 1.
       186Summary of Findings, Memorandum Accompanying FDA Form 483 Issued to Dr. Elizabeth Aubeny (June 28,
       1996): at 9.
       lg7 Although some studies using mifepristone alone have produced completion rates as high as 60 to 80 percent, it is
       widely recognized that, on its own, mifepristo;le is not a viable,s,ubstitute for,surgical abortion. See, e.g., Mitchell
       D. Creinin, “Early Medical Abortion with Mifepristone or Memotrexate,: Qverview    . ,_ _._..) ” Early Medical Abortion with
       Mfipristone or Methotrexate: Overview and @@co1*,.Recoimendations
                                                                 x_-._. &“,,W>”  ._/ ,_x (Washington, D.C.: National Abortion
                                                                             *,,.._
       Federation, 2001) at 3 (reporting that “[flor gestations up to 49 days, complete abortion occurs in abproximately
       60% to 80%” of women using mifepristone alone); Helena~vdn’Hei-tzen; MD., “Research on Regiinens’for Early
       Medical Abortion,” Journal of the American Medical Wdmeg’sAssociation 55 (Supplement 2000): 133-36.




                                                                                                     EX. 9 pg. 041


                                                                                                                       App. 0177
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        Trial, the prostaglandin used was misoprostol, whichwas distributed by G.D Searle & Co.
      ;       I.,                       I, I    I,‘     “,. i     _:   .<                       II.
      . (“Searle”) as the anti-ulcer drug CytotccTM.Is* Uhimately, FDA based’its approval of Mifeprex

       on the combined action of a mifepristone                    ^., _ On the day FDA approved
                                              a, and misoprostol regimen.
       mifepristone, it notified Searle that “[tlhe drug mifepristone is now approved in a regimen with

 5     misoprostol for termination, of pregnancy of 49 days or less.“‘8g

                 Searle, which opposed the use of its drug in conjunction with Mifeprex as an

       abortifacient,‘godid not tile a Supplemental NDA for the use ofmis,oprostol as part of an abortion

       regimen. lgl Absent such an application, FDA lacked the basis for sanctioning a new indication

       for rnisoprostol. As Peter Barton Hutt, former FDA general counsel, observed,the agency’s

 10    treatment of misoprostol “set[ ] an extraordinary precedent” becauseFDA was “seemingly




                             .._ ,._.          1 ‘j.   (      *, ., r             *;        ~~      .,    . . ii   ,~,_,;      ,,,’   _,.
       is8 After a series of corporate transactions, Searle is now part of Pharmacia Corporation, which is headquartered in
       Peapack, New Jersey. In 1985, G.D. Searle & ,Co. became the pharmaceutical unit of Monsanto. In April 2000,
       Monsanto merged with Pharmacia & Upjohn to create the Ph$ma~ia,Corporation. Pharmatiia & Upjohn had been
       created in 1995 when Pharmacia AB and, the Upjohn Company merged. On July 15,2002, Pfizer Inc. mounted
       that it would purchase Pharmacia.
       lsg Letter, Dr. Lilia Talarico, M.D., Director, FDA/CDER, Division of Gastrointestinal and Coagulation Drug
       Products, Office of Drug Evaluation III to Dr. Mary Jo Pritza, G.D. Searle & Co. (Sept. 28,200O): at.1 [FDA‘FGIA
       Release: MIF 008847-481. The Talarico Letter came in response to the August 8,200O application by Searle to
       obtain approval for changes that would have bolstered the Cytotec label’s discussion of adverse effects (presumably
       in anticipation of FDA’s approval of the mifepristone NDA). FDA chided Searle for attempting to make the
       proposed changes and summarily rejected them. Id. at 1, When it announced the*,Mifeprex approval, FDA referred
       to the “approved treatment” regimen. ” See FDA, Press Release, “FDA Approves Mifepristone for the Termination of
       Early Pregnancy” (Sept. 28,200O). S&e also FDA webpage, infia Appendix A, “Mifepristone Questions ‘and
       Answers 4/17/2002,” at Question 4 (referring to the “mifepristone treatment regimen”).
       lgo In fact, on August 23, 2000, Searle wrote an open letter to all health care practitioners stating that “Cytotec is not
       approved for the induction of la&r or aborti~;~~,‘,The letter
                                                            _,~.   i listed
                                                               w,_,,_       +$a‘;~>rwA;~~~..-.,...“~
                                                                      .r:X.‘_:   number of
                                                                                         *I potential “[slerious adverse events
       reported following off-label use of Cytotec in pregnant women includ[ing] maternal or fetal death.” Mi&hael Cullen,
       M.D., Medical Director.U.S., Searle, Open Letter to Health Care Providers (Aug. 23,2’000)[FDA FOIA Release:
       MIF 008022]. Officials of the American College of Obstetricians and Gynecologists, among others, decried
       Searle’s lack of cooperation, See Ralph W. Hale, M.D., and Stanley Zinberg, M.D., “The Use of Misoprostol in
       Pregnancy,” editorial, New England Jdurnal ofMedicine 344’(Jan. 4,ZOOi): 59-60. FDA’s approval of the
       Mifeprex Regimen in the face of Searle’s,opposition appears to have usurped Searle’s rights to control the
       distribution of its drug.
       igl Because Searle’s patent on misoprostol did not expire until July 2000, no other party would have been able to
       file a timely supplemental NDA for the use .of a generic form of misoprostol as an abortifacient.
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                                                                                                    EX. 9 pg. 042

                                                                                                                     App. 0178
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         encouraging a drug’s unapproved:”use.““’ He addedthat
                                                          !I’
                                                               the agency is in an “embarrassing and

         uncomfortable position.“lg3 FDA did more than encouragethe unanproved use of misom&tol; it

         mandated the unapproved use.


    5                        1.        Misopros’tol’s Use as an Abord[&&d +eI*,.
                                                                           is“I...
                                                                              a^.LYlr_.
                                                                                 N&w    Indication
                                                                                   ,>“.,i.,i_.,“j.,l”^l~*
                                                                                                  ..-.,  for which
                                                                                                     ^,-.,,i.xl,rr.,i.*r.nrU
                                                                                                                     _.~
                                                                                                                       ,l,li,i.                       ~
                                       the Requisitk Slidplemental New Drug Application Was Not File.@

                    A drug that differs in any material
                                               -.       way (including
                                                                4      in composition, effect, or intended

         use) from an approved drug is a new drug that must independently be establishedto be safe, and

 10      effective.lg4 Furthermore, a drug already being used to treat one diseaseor part of the body.may

         be a new drug when used to treat another diseaseor part of the body.lg5 Misoprostol’s new use as

         an abortifacient, therefore, marks it as a “new drug.“lg6

                  New drugs must be shown to be safe and.effective. Specifically, FDA requires that “[a]11

         indications shall be supportedby substantial evidence of effectjveness.basedon adequate and
,
 15      well-controlled studies as defined in 0 3 14.126(b) . . . unfessthe requirement is waived . . . .“lg7

                                       ” “.     . ‘( I‘, _ !         ~ 1).-~*(.A
                                                                              * i              I-‘/ I *._, _                                               __
                                                                                                                 */L,_,~_, .,, _.,,? ~ \ , .‘ .,‘,? ( _ = _.”
         lg2 Rachel Zimmerman, “Clash Between Pharmacia and FDA May Hinder the Use of RU-486,” Wall Street Journal
         (Oct. 18,200O): at Bl.
                                            I                                                              _-
         lg3 Zimmerman at B 1.
          lg4 See Thompson v. WesternMedical Center, Brief for the Petitioners (filed by the Solicitor General of the United
          States), No. 01-344 (Dec. 2001): at 4 (“See Uriited Statesv. Generix Qrug Corp., 460 U.S. 453,460-461 (1983)
         (determination whether a product is a new drug takes into account both active’and inactive ingredients); 21 C.F.R.
         3 10.3(h) (discussing factors that make a drug a ‘new drug’).
         lg5 A drug may be deemed “new” because of ‘$t]he newness of use of such drug in diagnosing, curing, mitigating,
         treating, or preventing a disease, or to affect a”structure% function of t&body,’ even though such drug is not a new
         drug when used in another disease or to affe,ct ~an&er.s@ucture            or  function
                                                                                         ;u...**e
                                                                    ~,i - =lji Ilr%*hrirsl
                                                                                     A.>.            of the*a<
                                                                                                             body.”
                                                                                                              6 ias. 21 C.F.R. 0 3 10.3(h)(4).
                                                                                               “l-v-~~~“:~‘:,“^“-.
                                                                                                             ,,.,
           lg6 The “newness” of misoprostol in this indication was heightened by the fact that, when Mifeprex was approved,
           misoprostol was explicitly contraindicated for ‘4
                                                           pregnant       n...>.l ” The
                                                                         women.
                                                            .*,a.-I _* _._*          ,^ misoprostol label included the following
        : .black-box warning: “CYTOTEC (MIS&%GSTOL)                  ADMINISTRATION          By ANY ROUTE IS
           CONTRAINDICATED,          BECAUSE IT CAN CAUSE AB.O,RIION, IN WOMEN WHO ARE PREGNANT ; . . .”
           In April 2002, the Cytotec label was changed to “‘remove[ ] the contraindication and precaution that Cytotec should
           not be used in women, who are pregnant.” FDA, “Major Changes to Cyiotec Labeling” (April 17,2002).‘ The label
           now restricts the contraindication to pregnant women who are using Cytotec as a non-steroidal anti-inflammatory
           drug (“NSAID”).    The revised Cytotec label and, more specifically, the “Indications and Usage” section, however,
           continue to lack any reference to the use of misoprostol in the Mifeprex Regimen.
          ig7 21 C.F.R. 3 201.57(c)(2). To the best of the Petitioners’,knowledge,           FDA did not formally waive the
i       ( requirement for misoprostol as part of an abortion regimen.
                                                         : -i


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                                                                                                               EX. 9 pg. 043


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       A Supplemental NDA provides the necess,aryevidence in support of a new indication.19* Absent
                          _          !^I .‘/       *    j,:
       a waiver, a Supplemental NDA permits:‘F’D”Ato consider the evidence in support of the proposed
                                                     _
       change and approve related labehng changesin advance.‘ggEventhough a new use for
                                                                   ~I                      :
       misoprostol is an integral part of the Mifeprex Regimen, FDA sanctionedthis new misoprostol

 5     indication without having received and considereda Supplemental NDA.

               Among the changesfor which FDA approval is necessaryare changesto statementsin a

       drug’s labeling indicating whether f‘[t]he drug, if used for a particular indication only in

       conjunction with a primary mode of therapy, e.g., diet, surgery, or some other drug, is an adjunct

       to the mode of therapy.“2ooA well-knoti            treatment regimen illustrates how FDA has typically

 10    dealt with the labeling of two drugs that have been approved for combined use. The regimen

       pairs methotrexate and Leucovorin    Rescue.
                                  .._ Ie+j,.,,.
                                             .^,.. .‘./h.,,.1~Methotrexate
                                                l_,l_                        a chemotherapeuticagent, kills cancer
                                                              i.‘_. _ ,..&*&+.*,
       cells by depriving them of folic acid which is necessaryfor DNA synthesis,but, in the process,

      ” methotrexate deprives normal bone m%o&*ce@, of ~~~f~~~c,~~~~~~“~~~e~
                                                                      need. Leucovorm Rescue

       servesas an antidote to the toxic, effects.I,of
                                                    ,.a.methotrexate.
                                                       .-a
                                                         ”,_._..
                                                             <.*z
                                                              1.;.        The labeling for Leucovorin Rescue
                                                                 a*/p%,*‘,.,,_
                                                                        ,_”~.,r,riri.;,.~~~r,r,~~
 15    refers to its use “after high-dose methotrexate therapy in osteosarcoma,”which is an approved


                                                     ,I         :,,         .’                                      :



       19* A recent article noted: “To,obtain FDA approval for an additional use of a previously approved drug, the sponsor
       must submit a supplemental application (sNDA, sBLA, or sPMA) demonstrating the safety and efficacy of the drug
       when used in the new way or for the new indication. The supplemental application typically requires clinical data
       similar to those in the original application, but does not require the same extensive chemistry, manufacturing and
       controls, and preclinical pharmacology and toxicology data as in the original application.” Shane M. Ward,
       “Washington Legal Foundation and the ‘Iwo-Click.Rule; T&$irstv.d”_*..i*>
                                                                              Amendment    Inequity
                                                                                 Ili%“&ew”>i~rn.
                                                                                         1.,*,
                                                                                            ‘(3.    of “the Food andDrug
       Administration’s Regulation of Off-Label Drug Use Information on the Internet,” Food and Drug Law Journal 56
       (2001): 41-56, at 44 (citations omitted).
       199See 21 C.F.R. $ 314.70(b). See also Richard A. Merrill, “The Architecture of Government Regulation of
       Medical Products,” Univ. of Virginia Law Review 82 (1996):’ 1753-1866, at 1775 (“FDA takes the position, which
       no manufacturer has sought to challenge in court, that any potentially significant modification of an approve’d new
       drug [application] likewise requires advance agency approval. As a consequence, not only attempts to expand the
       indications for a drug but other changes in labeling, in inactive ingredients, in the me-thod or location of
       manufacture, or in packaging must first be the. subject of an .,.
                                                                       approved
                                                                             . . Supplemental New Drug Application.“).
                                                                                                                   _I
       2oo See 21.C.P.R. 9 201.57(c)(l)(iv).  1       :
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                                                                                                EX. 9 pg. 044

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                       ,“,. .,. ....‘,, < : ~Similarly,
     indication,for ,methotrexate.“’               i_,..,. methotrexate’s labeling refers to an approved use of
                                              ,/_,:,a
                                                                    .’ ‘: .
     Leucovorin Rescue.2o2                    (1                             _
             By contrast, in the Mifeprex labeling, an unipproved indication for misoprostol,,is

     discussed. In approving such labeling, FDA has taken the aberrantposition that the maker of one

 5   drug (Mifeprex) can secureapproval of a new indicationfor another company’s drug

     (misoprostol) merely by describing that new use as part of a combined therapy. FDA

     circumvented its pwn regulations by failing to require that both drugs in the Mifeprex Regimen

     be approved for the indication in: question
                                             s - pregnancy
                                                       ,( termination.203
                                                                 .~, ”




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     ‘01 See Leucovorin Calcium for Injection Package Insert (“Indications and Usage”) (“Leucovorin calcium rescue is
     indicated after high-dose methotrexate therapy in osteosarcoma. Leucpvo#r calci~ is .also,,mdicated,to~dimin&r __
     the toxicity and counteract the effects of impaired methotrexate elimination and of inadvertent overdosages of folic
     acid antagonists.“). The package insert is available at:
     <http://www.xanodyne.com/leucovorm~calci~p1~2002.pdf>.
     202 The methotrexate package insert states that “[mlethotrexate in high doses followed by leucovorin rescue in
     combination with other chemotherapeutic agents is’effective’in prolonging relapse-free survival in patients with non-
     metastatic osteosarcoma who have undergone surgical resection or amputation for the primary tumor.” The package
     insert is available at: <http://www.rxlist.com/cgi/generic/mtx_ids.h~>..   _
     203 A recent approval of a biologic product also illustrates the principle that FDA-approved labeling lists only
     approved indications. On February 19,2002, FDA approved Zevalin for use in combina.tion with .Ritt&r            I__              I   .   .   .




     (rituximab) to treat low-grade B-cell non-Hodgkins Lymphoma (NHL). Rituxan had been approved previously and                  ”
     was already indicated “for the treatment of patients with relapsed or refractory, low-grade or follicular, CD20-
     positive, B-cell non-Hodgkin’s lymphoma.” See Rituxan Package Insert (“Indications and Usage”). Rituxan and
     Zevalin are monoclonal antibodies that can significantly shrink tumors by targeting white blood cells (B-cells)
     including malignant”B cells. The %&l&$io,ns ,and.Usage” section of Zevalin’s label describes the. drug as being
     “part of the ZEVALIN therapeutic regimen (see Dosage and Administration).”         The “Dosage” section directs that
     Rituxan be administered and then followed by Zevalin on Day One and then again seven to nine days later. After
     the Zevalin NDA was approved, detailed information about the administration of the.“Zevalm J’herapeutic
     Regimen” was added to the Rituxan label. & February 13; 2002, FDA’s”Center for Biologics Evaluation and
     Research approved a supplement to the Rituximab biologics license application “to revise the dosage and
     administration section of the package insert to include information regarding the use of Rituximab as a,component
     of the Zevalin therapeutic regimen . . . .” Letter, Dr. Karen D. Weiss, M.D., Director, Division of Clinical Trial
     Design and Analysis, Office of Therapeutics Research and Review, Center for Biologics Evaluation and Research,
     to Alice Wei, IDEC Pharmaceuticals (Feb. 19,’ 2002) (see <http://www,fda.gov/cber/approvltr/rituide021902L.ht@).



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                          2.       FDA
                                   Use asSggctioned t@ -‘Tomotion of I)@oprostol for an Unapproved
                                          .pi&xf ~~e:.~ifehrex’~~~imen

                   The use of misoprostol as an abortifacient is an unapproved or “off-label” use.2” FDA

 5        objects to the promotion of off-lab,el uses,of drugs by ma&facturers~205“Off-1abel”‘uses:of:drugs.
                                                                                                      ’
          are common as physicians explore new ways of using approved drugs, but normally FDA strives

          to ensurethat physicians and patients are not misled into belie_vingthat FDA has approved such

          uses. In an effort to curb the promotion of offilabel,uses by pharmaceutical manufacturers,‘FDA

          issued regulatory guidance in 1996 pertaining to the dissemination of off-label.use info,mation.
                                                                                                                               206




 10       In this case,however, FDA not only sanctioned,but participated in, the promotion of an,off-label

          use of misoprostol. FDA oversay.the cremation-of the
                                                             promotional materials for Mifeprex,*”

          which discussedthe off-label use of misoprostol.208FDA itself disseminated information about

                                                ,. ^A- ._* .. ..,” / “.-._ _.‘ ” _. /_            “‘_.   ,_      _         ~~. .;_ j ,_
         204 See generally James M. Beck and Elizabeth D. Azari, “FDA, Off-Label Use, and Informed Consent: Debunking ’
      -’ Myths and Misconceptions, ” Food & Drug L&v Journal 53 (1998): 71-104, at 71 n.2, which explains “off-label”
         use as follows:
                   “Off-label” has more accurately been termed “extra label” use. It~means only that a product is used,for a
                   condition or in a way not appearing on its FDA-regulated labeling, not that the agency has judged the use
                    adversely. See, e.g., Wushingion Leg& FouizB < ‘Ke$sbr, 880 FSupp. 2628 n.1 ‘(D;D:C. 1995). . .’ . Off-
                    label can mean many things. “[U]sing an approved drug to treat a disease that is-not indicated ,on its. label,
                   but is closely related to an indicated disease, treating’unrelated; unind~~~~ed.~~‘seases,‘giiatreating the
                    indicated disease.but varying from the indicated. dosage, regimen, or patient population may all be
                    considered off-label use.” Willi& L1 Christopher, Off-Label Drug Prescription: Filling the Regulatory
                     Vacuum, 48 FOOD & DRUG L.J. 247,24’8 (1993) (footnotes omitted).
          *OSSee,e.g., Subpart HFinal Rule, 57 Fed. Reg. at 58,953 (“Under the act, a drug approved for marketing may be
          labeled, promoted, and advertised by the manufacturer only for those uses for which the drug’s safety and
          effectiveness have been established and.) that
                                                    i‘_&  FDA , 4 has
                                                       (“_“,-T-i       approved.“).
                                                                  ,.*.%-Ly+,                                          .
          206 See FDA, “Advertising and Promotion; Guidances, ” Notice, 61 Fed. Reg. 52,800 (Oct. 8, 1996) (publishing two
          guidance documents: “Guidance to Industry on Dissemination of Reprints of Certain Published, Original Data” and
          “Guidance for Industry Funded Dissemination of Reference Texts”).
          *07 FDA reminded the Population Council in the Mifeprex’Approval Letter that, pursuant to 21 C.F.R. Q 3 14.550,
          the drug sponsor is obligated to submit Mifeprex promotional material for review~by the agency prior to
          dissemination to physicians and the public. See Mifeprex Approval Letter at 3.
          *‘* A Dance Laboratories webpage, for example, contains the following question and answer:
                  Q: How Does Mifeprex Work?
                  A: Mifeprex blocks progesterone, a hormone necessary for a pregnancy to continue. You take Mifeprex
                  followed by a prostaglandin, misoprostol, which causes uterine contractions, that.help to end pregnancy.
                    In more detail, Mifeprex blocks progesterone, a naturally produced hormone that prepares the lining of
      _           the uterus for a fertilized egg and helps maintain pregnancy. ‘Without progesterone, the lining of the uterus


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     the off-label use of misoprostol in documents such as the press releaseannouncing the approval
                                                                                              I
                                             ; _! j^ _ I.: “- .^ __,:.-_: .,. , ,, .__ ‘, ,./ ,..a ).. ,
     of Mifeprex for use in conjunction with misoprostol.209Recently it did so again when the agency

     emphasized the importance of adhering to the approvedregimen, including the off-label use of




                      3.       Mifeprex Is Mis’branded: Its Labeling Promotes an Unapprdved Use of
                               Another Drug

             The labeling for Mifeprex is misleading becauseit directs physicians to use misoprostol for a

     purpose that FDA never approved.211l?D’AA’sability
                                                 ,.
                                                        to regulate the marketing and distribution of

     drugs rests largely on its legal capacity,to strict$ control the content of a drug’s labeling. A~

     fundamental tenet of drug regulation is that FDA requires approval for every indication listed in the

     labeling of a drug.2’2..FDA would undercut its own authority if it did not also apply this rule to uses

     for a drug referenced on anotherdrug’s labeling.
           ._                        /;-   !I                     ”
                                     !                                                   I ‘, /
              The Mifeprex labeling createsfalse expectations.aboutmisoprostol. Physicians and

     patients arejustified in believing that any use or indication for “adrug, included in the “Indication

                                                                       :.                                                       I


             softens, breaks down and bleeding begins. Mifeprex is followed by a prostaglandin that causes the uterus
             to contract, which helps to complete the process. . . . The prostaglandin used following Mifeprex is”
             misoprostol, a drug already available in the United States.
     “Using Mifeprex: Frequently Asked User Questions, ” Dance Laboratories website at
     <http://www.earlyoptionpill.com/maytfaqs.php3>.    The electronic version of the Mifeprex Label contains a
     hyperlink to the Dance Laboratories website, ~w~.earlyoptionpill.com~,    which contains the’above-referenced
     webpage. (When printed, the hyperlink appears.to be ordinary text.)
     2og See, FDA, Press Release, “FDA Approves Mifepristone for the Termination of Early Pregnancy” (Sept. 28,
     2000) (“Under the approved treatment regimen, -/a woman      fist
                                                        ..“.” )11,<~. takes 600 milligrams of mifepristone’ (three 200     -’
     milligram pills) by mouth. Two days later, she takes 400 micrbgrams’(tio r’O~%icrogram $lii) of”inisoprostol, a
     prostaglandin.“).
     210 See FDA webpage, infra Appendix A, “Mifepristone Questions and Answers 4/17/2002,” at Question 6. In this
     same document, however, FDA cautions health care providers’agairist “using misoprostol ‘off-label,’ in other words,
     using misoprostol vaginally at different doses ; . . .” Id. at Question 9.
     211 Misoprostol receives more than a passing mention on the Mifeprex Label; the word “misoprostol”    appears
                                                                                                             : /, 34
     times (compared to 57 appearances of “mifepristone”
                                           / _. /_a       and 34 .i.appearances
                                                                           .~, of “Mifeprex”).
                                                                                   . .       ,.

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                                                                                                        .     *_.




       and Usage” section of an FDA-approved label, has been subjectedto the rigorous approval
                                                                                             1.”
                                                     .r_ $
                                                         ;
       process set forth in Section 505 of the $D&C.Act. section 201.6(a) of the Agency’s rules states

       that misbranding may arise from “a false or misleading representationwith respectto another

       dws* “213“When a physician, manufacturer, or other thirdparty stepsin to promote an
                                                           ! ,. I                             /.*. j
 5     unapproved use of a drug by advertising or distribution to other physicians, the drug may become

       unlawful under Section 301(k) the FD&C Act, 21 U.S.C. 9 331(k)(1994), which prohibits

       misbranding, and Section 502(f)(l), 21 U.S.C. 5 352(f)( l)( 1994),
                                                                      ~ which requires a</drug’s
                                                                                             /,;
       labeling to bear ‘adequate directions for use.“‘2’4 Mifeprex is, therefore, misbranded.
                                                            L
                 Mifeprex is also misbranded becauseit is unsafe when used as directed in the approved

 10    labeling. Section 502(j) of the FD& C Act statesthat “[a] drug or device shall be deemedto be

       misbranded . . . [i]f it is dangerousto health when used in the dosageor manner, or with the

         frequency or duration prescribed, recommended,or suggestedin the labeling thereof.“215As
      ,,                                 I
         discussedin the next section, FDA’s aiproved regimen’is unsafe becauseit‘lacks important

       safeguards.

 15




                                                     : .,                                                     :     *
       *I2 See Elizabeth A. Weeks, “Is It Worth the Trouble? The New Policy on Dissemination of Information onOff-
       Label Drug Use under the Food and Drug Modernization Act ,of 1997,” FbOd and Drug Law Journal 54 (1999):
       645-65, at 647 n.13 (citing Merrill, (infra Appendix A), at 1853).
       213 See 21 C.F.R. 0 201.6(a).
       214 Merrill, infra Appendix A, at n.318 (emphasis added). See also 21 C.F.R. 5 314.530(a)(5) (authorizing the
       Secretary to withdraw approval of a Subpart B drug if “[t]he promotional materials are false or misleading”).
        215 21 U.S.C. 5 352(j). See also Jeffrey N. Gibbs and Judith E. Beach, ‘Chapter 7: Adulteration and Misbranding of
        Drugs” in Fundamentals of Law and I?e&&tion: An In-Dep&iobk’tit Thkrapeutic Products (David G. Adams,
       ‘Richard M. Cooper, and Jonathan S. Rahan, eds.), vol. II (Washington, D.C.: Food and Drug Law Institute, 1997): at
        229 (When the drug is dangerous to the health of the user even when used as recommended on the label, it is
        misbranded.“).
           I,                                                ,
                                                       ,             i ‘“”


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                         SAFEGUARDS IN FDA’S Al?&‘R(?V&JJ,&EGIMJZN                                           /
 5             On February l&2000, FDA informed the Population Council that “adequate information

      ha[d] not been presentedto demonstratethat [mifepristone], when marketed in accordancewith

      the terms of distribution proposed [by the Population Council], is safe and effective for use as

      recommended.“216Over the next severalmonths, the Population Council and Dance refused to

      supplement its distribution plan with a meaningful patient safety component. This prompted

 10   FDA, on June 1,2000, to privately convey to the sponsora set of proposed restrictions intended

      to rectify the sponsor’s omission. ‘The agency’s proposedrestrictions were soon leaked to the

      public. Amidst a vigorous political and‘editorial backlash; the sponsornot only rejected FDA’s

      proposal but, in what was describedby FDA as a “very s&nificant change,” repudiated

      restrictions the sponsor itself had proposed in 1996.217FDA succumbedand soon approved a

 15   regimen that did not embody restrictions,sufficient to ,addressthe agency’s legitimate safety

      concerns.

               Early in the approval process,FDA expressedits intention to place restrictions on the use

      of mifepristone.218FDA’s position was informed, in part, by the international experiencewith




                                                        :
      216 2000 Mifepristone Approvable Letter, infra Appendix A, at 5 (emphasis added).
      217 See FDA Email (June 23,200O): at, 1 (explaining that the Population Council’s attorney “affirmed that the 1996
      proposals for distribution system as presented by the Pop Council .,_.   then,“jx-l
                                                                                     andj^_(...
                                                                                           agreed
                                                                                             “_ /_... to
                                                                                                      .,,.I.by
                                                                                                             ,.-Ithe [FDA Advisory
                                                                   -- “” c-1-
      Committee] and FDA are NOT what t&Pop ‘Council wants today. I explamed that this &ngeis very significant
      and that they need to provide their justification/rationale.“)[FDA      FOIA Release: MIF 0025231.
      218 In order to allay concerns of the drug’s European owner, FDA pledged, in the course of securing the U.S. patent
      rights for the Population Council, to “take appropriate measures . . . to assist throughthe N’DA~approval process in
      the creation of a regime for the distribution and use that will protect against misuse of the drug.” Letter, David A.
      Kessler, Commissioner of Food and Dmgs, to the President & CEO-of Roussel Uclaf [name redacted] and to
      Margaret Catley-Carlson, President of ,Population Council (May 16, 1994): at 1 [FDA FOIA Release: MIF 004992-
      931.
                                                                       j       ._                                 -, j


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                                                                                                     EX. 9 pg. 049


                                                                                                                       App. 0185
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                                                                      :

          mifepristone.21gThe NDA submitted by the Population Council on March 14, 1996’included a
                                           /      i’
          plan that would have limited distribution, of mifepristone to “licensed physicians (with prior
                                                                               ‘ .-
          training in assessingthe length of pregnancy, in diagnosing ectopic pregnancy, and [redacted]), i.

          who will attend e.ducatio,nalseminarsonthe   safe
                                                   ... s/m   use of this regimen.“22o
                                                         ‘e/“,~~lsL,r,l,.X1
                                                                    j/>:n*j*

 5                The FDA Advisory Committee, when it met in July 1996, was not satisfied with,the

          restrictions proposed by the Population Council and expressed“serious reservationson how [the

          proposed drug distribution systeml’is currently described
                                                             )      in terms of assuring safe and adequate

          credentialing of providers.“22’ The Committee reconmended ad~~tio,~al.restrictions
                                                                                           ,,designed
                                                                                             ,,_      to

          ensure“that this dmg not be expandedto hands of physicians who are not already skilled in.

 10       managing pregnancies,terminations, and complications of both.“222Accordingly, FDA’s 1996

          Approvable Letter required the submission of “a comprehensivedescription of the proposed

          distribution system.“223
      :          I        ‘<             I     j,a -       j                                    ,I
                   In subsequentsubmissions,however, the Population Council insisted that the drug was

          safe and proffered restrictions designedprimarily to control the manufacturing and retailing of

 15       the drug product. On August 18, 1999, the Population Council proposed to:224(i) limit the

          number and type of distributors;’ (ii) limit distribution to distributor-registered physicians Gho


          2’g In Europe, for example, mifepristone is used,under more highly coxrtrolled conditions than were ultimately
          required in the United States. See Amendment. to .NDA 2Q-“68’7,International Product Labeling with English
          Translations (submitted March 21,20dO) (presenting English translation of mifepristone product label, approved
          July 6, 1999, used in Austria, Belgium; Den&irk, France, Germany, Greece, the Netherlands and Spain)[FDA FOIA
          Release: MIF 000493,-5061.
          220 Memorandum, FDAKDER        to NDA 20-687 File (Sept. 16, 1996): at 2 [FDA FOIA Release MIF 000560-621.
          221 FDA Advisory Committee, Minutes of July 19, 1996 Meeting (approved July 23, 1996): at 7 [FD A FOIA
          Release: MIF 000539-451.
          222 FDA Memorandum, “Highlights of the July 19, 1996 Reproductive Health Products Advisory Comrnittee (AC)
          Meeting on Mifepristone: Outstanding’ Issues for FDA to Address” (undated): at 3-4 [FDA FOIA Release:
          MIF 000534-381.
          223 1996 Mifepristone Approvable Letter , infra
                                                        (, Appendix A, at 1.
                                              /
                                                I-      /         I   !_       _                             i.:.          ,,




                                                                                             EX. 9 pg. 050


                                                                                                              App. 0186
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      had provided certain assurances;225and, (iii) make available “training materials and information”
                                             I            I> --.                                I;
                                      I
      and medical consultation to health care providers and product information to patients12’6On

      January 2 1,2000, Dance opined that “[r]egardless of the distribution system for mifepristone, the

                                                        and proposed a distribution system that was
      medical safety of this drug is well documented.“227

 5    designed”only to ensurethat Da&o would “exert[ ] positive ‘control over distribution of

      Mifeprex@through all phasesofimanufacturing, storage,shipment
                                                             .-.    and administration from
                                                                                        .(
      manufacturer to patient.“228

               In reaction to the sponsor’s recalcitrance, FDA took the position “that restrictions as per

      CFR 3 14.520 on the distribution and use of mifepristone are neededto assuresafe use of this

 10   product.“22gThe agency neverthelesscontinued to encouragethe sponsorto take an active role in

      devising appropriate restrictions on the use of mifepristone. Instead, in March 2000, the

      Population Council again protested that such restrictions were unwarranted.230It submitted a


                                                      i
      224 See Medical Officer’s Review, infra Appendix A, at 2 1-23 (setting forth the Population Council’s complete
      response submitted to FDA on August l&1999).
      225 The physician would be required to provide a self-attestation covering the physician’s ability to accurately date
      pregnancies and determine the patient’s blood ,Rhfactor and the physician’s access to emergency medical facilities.
      Registering physicians would also agree to obtain from each patient an acknowledgement that she has received full
      information and is willing to comply with the’ treatment regimen, to ‘maintain certain records (including ultrasound
      and blood test records) for each patient, to report adverse events, and information about ongoing pregnancies, and to
      “[u]se every effort to ensure patients return for their follow up visit-14-20 days after taking the product.“. Seti
      Medical Officer’s Review, infru Appendix A, at 22-23.
      226 See Medical Officer’s Review, infia Appendix A, at 23.
      227 Amendment 039 to the NDA, Cover Letter, Dance to FDA (Jan. 21,20’00): at l.[FDA-FOIA Release: MIF
      000525-261. Dance attempted to attribute any deleterious effects of mifepristone abortions to misoprostol: “More
      serious adverse events are quite rare and are related to the entire treatment (not mifepristone per se), almost always
      following the use of the prostaglandin.” Id. at 2.
      228 See Amendment 039 to the NDA, Mifeprex Distribution Plan Executive Summary (Jan. 21,200O): at 3 [FDA
      FOIA Release: MIF 00053p-3 11.
      22g See 2000 Mifepristone Approvable Letter, ‘iafra Appendix A; at 5. See sbpra Section III.C.2 and 1II.D. for a
      discussion of Subpart H, Section 3 14.520; which is reserved for -drugs that are so inherently dangerous that their
      distribution and use must be restricted.,
      230 In the course of objecting to the approval of the drug under subpart H, which is “likely to falsely ‘mark’
      mifepristone as a highly toxic and risky drug,” t&Population Council insisted that “the FDA knows,     .I [Mifeprex]
                                                                                                                  1,         is
                                                                    “’         -^>


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                                                                                                  EX. 9 pg. 051


                                                                                                                    App. 0187
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              distribution plan that it characterizedas ‘(det&ed and
                                                                  I comprehensive” and “surely .,equalI,to its
. ...”             .(,    ._.
              purpose.“231Once again, the’pla$consrsted of restrictions intended only to control the

              manufacturing and retailing of the drug productu2 Again FDA objected that “[tlhe I proposed
                                                                                                       *._
              distribution system as submitted primarily addressessecurity for the manufacturer and

         5    distributor; it must also include safeguardsfor the patient.“233The agency requested“that

              sponsor present a proposal regarding provider qualifications
                                                                 I         that addressessafety concerns of

              patients receiving the drug product.“234

                                        On June 1,2000, FDA proposed the following set of “Qualifications for Physician

              Recipients:” (1) the physician must demonstratethat she is-licensed to practice medicine; (2) the

         10   physician must be “trained and authori?ed by law” to perform surgical abortions; (3) the

              physician must have “been trained to and ha[ve] the
                                                               ,r* ability
                                                                        .” to
                                                                            .,. assess
                                                                                   ,. _,the,,.)_
                                                                                             age of.,.a pregnancy
                                                                                                        ,. ,,,‘.“,/*ul
                                                                                                                    %,‘, I _                                                                                          ”
              accurately by ultrasound examination, to monitor abortion by ultrasound examination, and to
                                                    /                                       ,      ,_,._:                                                                                                    ”    _
              diagnose an ectopic pregnancy by ultrasound exammation;” (4) the physician must have :
                                                      2
              “satisfactorily completed training certified by the distributor in the mifepristone treatment

         15   procedure, including mechanism of action, appropriate use, proper administration, follow-up,

              efficacy, adverseevents, adverseevent reporting, complications, and surgical indications;” and

                                                                         :                                        .          :                                          ^,
                                                                                                                                                                                                 (.




              exceptionally safe and effective.” Responses by Population Council to “FDA Letter, [redacted] to Arnold, Sandra
              (February 18,200O)” (Mar. 2000): at ‘1 [FDA PdlA.Release: PF ~0@23,2?](“Ma;ch 2000 Response”).
              23’ March 2000 Response, ilzfra Appendix A, at 2.
              232 Specifically, the plan provided for “secure manufacturing’and shipping procedures, controlled returns, tracking of
              distribution of individual packages to the patient level, use of a limited number of distributors [redacted], account
              registration and other detailed ordering requirements for practitioners, direct distribution only to practitioners (not
              through retail pharmacies), and the use of signed patient agreements.” March 2000 Response, inpa Appendix A, at 2.
              233 Teleconference Meeting Minutes (between FDA staff and representatives of Population Council and Dance)                                                                                 I

              (May 19,200O): at 1 [FDA FOIA Release: MIP PO781I-131.
              234 T-lm-nnfmwnre
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                                   Mpptino
                      VIVVVIILYIVIL””
                                           Minntpr   /hptwppn Fl3A ptnffand
                                                A”“““‘~   AIL-U.“”   \
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                                                                                             -   -.   _      -- ___-_-_
                                                                                                            Council
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                                                                                                                      and
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              (May 19,200O): at 1. FDA wanted the sponsor to provide a set of auditable provider qualifications, a plan for
              auditing providers to ensure that they %ere-meeting these”criteria, and an arrangement for ^discontinuing
                                                                                                                    (_ distribution
              to unqualified providers. See id. at 2. ’ *     ” .’ ’    ‘.   ’            ’
                                                                                     ._




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        (5) the physician must have “continuing access(e.g., admitting privileges) to a medicaf facky  “,
                                        1
                                  ,,),, ,     ; _1,,, j. Is “j~.‘_I__
        equipped for instrumental pregnancy termination, resuscitation
                                                          .‘1    ,^ procedures,
                                                                        ,-          and
                                                                                     . blood
                                                                                         ..I.,. transfusion
                                                                                                 ,,.. ‘2.
        at the facility or [one hour’s] drive from the treatment facility.“235 FDA’s proposals were

        intended to addressconcerns about the safety of the.:s.,..I
                                                               womenb. undergoing mifepristone-
  5    misoprostol abortions that the Population Council and Dance had refused to take into account in

        crafting restrictions for the drug.23G

                 The Population Council and Dance objected strenuously to the proposed restrictions and
                                               i3, FD~Aieprim-&ae’d &e-Population. counci‘l forile&~.g ,tfie -
        aired their complaints in public.

       restrictions to the public and misrepresenting the nature of the restrictions.238The Executive Vice

 10    President of the American College of Obstetricians and Gynecologists
                                                                      _. submitted an analysis
                                                                                            ” of
        the leaked restrictions to FDA.23?The editorial and’political reaction,240
                                                                                 together with the


        235 See FDA, “FDA Proposed Restricted Distribution System for’NDA 20-687 on 6/l/00” (June 1,2000)[FDA
      * FOIA Release: MIF 0005221. See also American College of Obstetricians and Gynecologists, “Analysis of the
        Possible FDA Mifepristone Restrictions” (July 27,200O): at 1 (setting forth FDA’s second proposed restriction,
        which is redacted in the publicly available copy of FDA’s proposal; also providing the redacted portion of the fifth
        restriction)[FDA FOIA Release: MIF 001366~69].
       236 It should be noted, that even these restrictions would not have been sufficient to make mifepristone-misoprostol
       abortions safe. Among the key safeguards missing from FDA’s proposal were requirements that every prospective
       patient undergo an ultrasound and that pres&ibmg”physiciahs be required to have admitting privileges at facilities
       able to provide emergency care.
        237 Paul Blumenthal, M.D., Jane Johnson, and Felicia Stewart, M.D., “The Approval of Mifepristone (RU486) in the
        United States: What’s Wrong with this Picture ?” Medsc&e ~Women        ‘s Health 5 (2000) (reproduced in an internal
        FDA email)[FDA FOIA Release: MIF 00002597-991 (“At a meeting of early abortion providers and abortion
        advocates, the Population Council and”Danco revealed that the ‘U.S.‘“Food am@-ug Administration (FDA) had made
        a series of proposals regarding the labeling and distribution of mifepristone that would severely limit women’s
        access to the drug if and when it is approved.“).
        238See Teleconference Meeting Minutes (between FDA staff,a.nd representatives of the Population Council and
        Dance) (June 7,200O): at 1 (“Meeting Objective: . . . to discuss the misrepresentations by the Press regarding the
        proposed distribution system, and to agree on the need for serious, candid, and confidential discussions 9o resolve
        deficiencies of the application.“)[FDAFOTA   Releas& M@       0~2136-J7]~FDA
                                                                ._... _,. I,x_”         internal email (June 23,2ObO)i at 1
        (re: telephone conversation with PopulationCouncil attorney, Nancy But+ on 6123l’o”o)(“I&o        said’@ we were
        looking to Pop Council to be a responsible entity in manufacturing, distributing, and shepherding this drug and that
        most responsible entities make proposals rather than expect FDA to write labels and distribution systems’and obtain
        comments through the media.‘)pDA FOIA Release: MIF 0025231.
        23g See Letter, Ralph Hale, M.D. (Executive Vice President, ACOG) to Jane Henney, M.D. (July 24, 2000) and
        enclosure: ACOG, “Analysis of the Possible FDA Mifepristorie Restrictions” (July 27,2000)[FDA FOIA Release:
        MIF 00 1366-691. ACOG and the American Medical Association (“AMA”) also attempted to secure a meeting with
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           ___.,”
               .,*:‘.. /a...,. ,/,. ” ., ~    I‘?, _.)f ,*, ._\ ”-..‘I., e,&: “,. ,,.I.,u..,. .,, .. ,_, .‘ .N /,:_ ; ~ ,


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            impending approval deadline of $eptember 30, 2000,24*however,
                                                                    ,.I., had
                                                                          -. the desired effect of ’,
.   ?                                                       !.
            undermining FDA’s resolve.

                     At a meeting on July 19,2000, FDA yielded to the Population Council and Dance on a
                                                                                                    ,
            number of important issues.242FDA abandonedits proposal for auditable physician

        5   qualifications and agreedinstead to permit physicians to attest to their own qualifications.243

            Instead of requiring formal training, FDA merely “request[ed]
                                                               ,   ,      that the physician also attest.to

            having read and understood the training materials and labeling.“244FDA also agreednot to




            Dr. Jane Henney, FDA Commissioner, and her staff, in order to further discuss their opinion of the restrictions. See
            Letter, Ralph Hale, M.D. (Executive Vice President, ACOG) and E. Ratcliffe Anderson, Jr., M.D. (Executive Vice
            President, AMA) to Jane Henney, M.D. (July 24,200O): at 1 (“The undersigned organizations . . . are very
            concerned about restrictions . . . [FDA] has proposed for . . . mifepristone. . . . We would like the opportunity to
            meet with you and your staff to discuss this important issue. It’s imperative that the FDA fully understands the
            effect that these proposals would have on the quality of health care. It’s equally imperative that the FDA’s work be
            based solely on evidence from the drug’s clinical trials, and be entirely from political influence.“)[FDA FOIA
            Release: MIF 001363]. They were permitted only to meet with offidials’~~~~‘s’Offi~e-~f’~o~e~~             Health, an
            office within the agency that was not involved in’reviewing the’NlX”SiQ       Letter, Jane Henriey to Hale and ’
            Anderson (Aug. 11, 2000): at l-2 [FDA FGIA’Release:‘MIF 0;01361]. The questionable scientific basis for this
            challenge to FDA’s proposed restrictions was recently brought to the attentionof ACOG by one of the Petitioners.
            Letter, Donna Harrison, M.D. (Chairperson, AAPLOG-Committee on Mifeprex Use) to Ralph Hale, M.D.
            (Executive Vice President, ACOG) (May 23,2002) ( available,at <http://www.aaplog.org/acogmifeprexletter.htm>).
            240 See, e.g, Letter, U.S. Senator Barbara Boxer to Dr. Jane Henney (June 9,200O): at 1 (“According to news
            reports, the FDA is considering placing draconian restrictions on the accessibility of RU-486 as a condition of its
            approval . . . . In 1996, the FDA found RU-486 to be safe and effective.’ ‘Themfore, it is a‘mystery to me why the
            FDA would even consider restricting access to it.“)[FDA FOIA Release: MIF 0063761; Letter, Mark Green, Public
            Advocate for the City of New York, to Dr. Jane Hemrey (Sep. 22,200O): at 1 (“Earlier this week Planned
            Parenthood of New York City, NARAL-New York, the Access Project and Physicians for Reproductive Health and
            Choice joined me in convening a public hearing in New York City on pending action by [FDA] on mifepristone . . . .
            [I am] also concerned about the restrictions on Iaccessto RU-4.86 that ‘FDA is said to be considering?)[FDA FOIA
            Release: MIF 001288-13021; Sheryl Gay Stolberg, “F.D.A. Adds Hurdles in Approval of Abortion Pill,” New York
            Times(June 8,200O): at A21 (“The long-running effort to bring the French abortion pill to women in this country
            has encountered yet another obstacle: a suggestion by [FDA] that it may place tight restrictions on how the drug,
            RU-486, is distributed and who can prescribe it.“); Letter, U.S. Representative Lynn Woolsey to Dr. Jane Heiiney
            (June 22,200O): at 1 (“However, I am deeply c,oncerned abou~~recent
                                                                              >-._I.-press_,_
                                                                                           reports<,about
                                                                                                      “_,. proposed restrictions.“)
                                                                                                                           .    /
            FDA FOIA Release: MiF 0063721.
            24’ As noted above, because FDA had accorded priority review to mifepristone, the approval process was slated for
            completion by September 30,200K     ‘1       .
            242See Meeting Minutes, re: Approvability Issues Related to’@beling and”DistributionPlan      for Mifepristone (July
                                                                                . . ,,                                     I
            19,200O): at 2-4 [FDA FOIA Release: MIF 004661-651.
            243See id. at 2.
            244Id. at 2.                                                                                         m-        /
                                                    I


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                                                                                                      EX. 9 pg. 054


                                                                                                                       App. 0190
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     require pre-procedure ultrasounds.      Furthermore, PDA stated“that it is not necessaryto require
                                                                     , ..,
                                                     ‘.”. I ,,^,_
                                                               i; .,       ,, .* _, .‘   ” .- ;;; ,__
                                                                                                    ,i __. ,<:
     the patient to take the drugs in the presenceof health care’prov~der.“‘i$6        .

              Among the unresolved issuesat the conclusion of the July i9; TO’oO’tic%&g‘%&~“thk

     question of whether prescribing physicians should be limited to those who were able to perform

     surgical abortions, a provider qualification FDA believed was necessary:

           FDA requeststhat the ability to perform vacuum aspirations and/or D&Cs be added to
           provider qualifications. Providers also need to have accessto emergency services. The
           need for surgical intervention is predictable unlike with other drugs. All OEi/GYNs ‘and
           other practitioners of women’s health have these skills. The countries with experience
           with mifepristone have tight provision of complete servicesand have a long record of
           good outcomes.247
                                                         j
     The Population Council later rejected FDA’s request,248  and the agency acquiesced.24g

              Despite its persistent concerns,FDA approved a regimen that posed the very risks to

     women’s health that the agency had previously identified. When it approved Mifeprex, FDA

     stated that “[ulnder 21 CFR 314520, distribution of the drug is restricted as follows:”

              MifeprexTM must be provided by or under the supervision of a physician who meets the
              following qualifications:
                   l  Ability to assessthe duration of pregnancy accurately.
                   l  Ability to diagnose ectopic pregnancies.
                   l  Ability to provide surgical intervention in casesof incomplete abortion or severe
                      bleeding, or have made plans to provide such care through other qualified
                      physicians, and are able to assurepatient accessto medical facilities equipped to
                      provide blood transfusions arid’resuscitation~if necessary.            .^ ‘. ‘- ’
25                 l  Has read and understood the prescribing‘information of MifeprexTM.



     245Seeid. at 3.
     246Id. at 3.
     247Id. at 3.
     248 See Amendment 954 to the NDA, re: Further Response Regarding Labeling and Distribution: Follow up to July
     19, 2000 Meeting (July 27,200O): at 6 (arguing that bolstering the provider qualifications in this way would be “not
     only unnecessary, but also in fact potentially counterproductive for patients”)[FDA FOIA Release: MIF 0001373-
     811.
     249 See Teleconference Meeting Minutes, re: status of pending review issues pertaining to this drug product (Aug.
     11,200O): at 1 [FDA FOIA Release: MIF 004587-881.
                                          i       ,i _/           iI        .” ...j _, ,.   s.               , / I_ _(_.


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                                                                                               EX. 9 pg. 055


                                                                                                                App. 0191
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                   l    Must provide eachpatient with a Medication Guide and must fully explain the
                        procedure to eachpatient, provide her with a copy of the Medication Guide ‘and‘
                        Patient Agreement, give her an opp&turiitytb read and discussboth’the        ’
                        Medication Guide and the Patient A~eement,%btain her signature on the Patient                    ~ ’
 5                      Agreement, and must sign it as well.
                   l    Must notify the sponsor’or its designatein writing as discussedin the Package
                        Insert under the heading DOSAGE AND ADMINISTRATION in the -eventof an
                        ongoing pregnancy, which is not terminated subsequentto the conclusionofthe’
                        treatment procedure.
 10                l    Must report any hospitaliiation, transfusion or other serious eventsto the sponsor
                        or its designate.
                   l    Must record the MifeprexTM package serialnumber in eachpatient’s records.25o

      In addition, the restrictions include a requirement that distribution be carried out in accordance

 15   with the plan submitted to FDA by the Population Council in a March 30,200O submission.25’

      Even as it assentedto a regimen that lacked critical safeguards;FDA took a number of stepsthat

      indicated its lingering concernsabout the safety of the drug. First, FDA ultimately decided to

      rely on an infrequently used provision in Subpart H in hopes of ensuring that mifepristone would

      be used safely and, if necessary,could be withdrawn from market rapidly.252Second,the staff

20    insisted that the mifepristone label “include a black boxed warning describing the major

      requirements and conditions for use.“z53“ FDA generally reservesboxed warnings for serious or




                                                   /              l”~”      ”


      250 Mifeprex Approval Letter at 2.
      251 See Mifeprex Approval Letter at 2.
      252 See 21 C.F.R. 530 (“Withdrawal Procedures”). See also FDA, Memorandum, re: NDA 20-687 (Feb. 17,200O):
      at 3 [FDA FOIA Release: MIF 000583-851.‘ As late as Jiiljj lSr,2OOa,’the question of whether to use SubpartG was
      deemed to be an “Outstanding Issue.” See Mectmg Minutes, re: Approvability Issues (July 19,2OOi>): at 4 [PDA
      FOIA Release: MIF 094661-651.
      253 FDA, Memorandum, re NDA 20-687 (Feb. 17,200O): at 2. The Population Cotmcll,,which opposed the
      inclusion of such a warning, ultimatelv’persuadcd FDA to atieedto a da@d-do&i Black Box Warni% which would
      merely direct the prescribing physician ii) to plan in advance for emeriencycare,and(ii) to makea&able to the
      patient and provide her with the opport&i~ 7to.d@cuss
                                                        --      - patient information and patient agreement. See
                                                               the
      Amendment 054 to the NDA, re: Further Rg:sponse Regarding’Labelina and Distribution: Folhow up’to July 19,200O
      Meeting (July 27,200O): at l-2 [FDA FOIA Release h&F 0001373-811:



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                                                                                            EX. 9 pg. 056

                                                                                                             App. 0192
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      life-threatening risks that best can be minimized by conveying critical information to the
                                                                                               8,
      prescribing doctor in a highlighted ‘man.ner.‘7254

               FDA’s willingness to tailor the restrictions on Mifeprex to suit the demands of the

      Population Council and Dance will continue to manifest itself in serious adverseevents among
                                                                                               /
 5    the women who use the Mifeprex Regimen. Some of the most critical flaws in the approved

      regimen are discussedbelow along
                                    / with serious adverseeventsthat have already been reported.

                         1.       The Appioved Regimen Is @safe Because It Does Not Require
                                  Ultrasoudd
 10                               a.     Ultrasound Is Necessary to Accurately Date Pregnancies

               The gestational age of a woman’s pregnancy is a critical factor in determining whether

      she is an appropriate candidate for a mifepristone abortion. In order to minimize the risks of

      hemorrhage, incomplete abortion and continuing pregnancy, the gestational age of the pregnancy

 15   must be less than or equal to 49 days255The authors Xthe’Spitz Article, for example, found that

      “[flailures, defined as casesrequiring surgical intervention for medical reasonsor becausethe

      patient requestedit, the abortion was incomplete, or the pregnancy was ongoing, increasedwith

      increasing duration of the pregnancy.“256Through the combination of mifepristone and

                                              1”,     ,_,




      254 Judith E. Beach et al., “Black Box Warnings in Prescription Drug Labeling: Results of a Survey’of 206 D’mgs,”
      Food and Drug Law Journal 53 (1998): 403-412, at 403 (available at:
      ~http://www.fdli.org/pubs/Joumalo/o2O’On~~e/53~3/art2.p~~.         See also 21 C.F.R. 8 201.57(e) (“Warnings”)
      255 As noted above, the gestational age of a pregnancy is based on the first day of a woman’s last menstrual period,
      which is designated as Day 1 of the pregnancy.
      256 Spitz Article, @-a Appendix A, at 1241. ‘The larger ;t increase was in failures representing ongoing pregnancy,
      which increased from 1 percent in the [less than or equal to] 4%days group to 9 percent in the?7-t~-63-days?group’
      (P<O.OOl).” Children born from ongoing pregnancies, after a failed’apphcation of the Mifeprex Regimen; may
      suffer birth defects, fertility problems, or other’“~kal~h.pio~ie;l;s‘l?;te~~~ hfe’e:-Researchers have found .evidence
      linking misoprostol and birth defects such as missing or deformed limbs and misshapen skulls. Much of this
      research was conducted in Brazil, where numerous women have attempted to induce abortions using misoprostol
      alone. See, e.g.., Sylvia Pagan Westphal, “Birth Defects Caused by Ulcer Drug Abortions,” NewSci&tis’t.boti (29
      Aug. 200 1) (“Several studr& in Bra&l,’ where up to 75 percent of clandestine abortions involve misoprostol, suggest
      the drug causes birth defects such as fused joints; grow&retardation and a condition known as Mobius syndrome,
      which is characterised by paralysis of the face.“); Ieda MI’Orioli
                                                                  T , L.‘L\_   and .*Ed&do-E.
                                                                             w...,..   .i: “._” ,_“_Castilla,
                                                                                                      ,,. ,,“Epidemiological
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                                                                                                  EX. 9 pg. 057


                                                                                                                    App. 0193
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               misoprostol, “pregnancy was terminated in 762 of the 827 women pregnant for[less than or
                                                       i :    ,%.
                                                               L j     I                               : I.
               equal to] 49 days (92 percent), 563 of the 678 women @regnantfor 50 to 56 days (83 percent),

               and 395 of the 510 women pregnant for 57 to 63 days (77 percent) . . . .“257The study also found

               that “[albdominal pain, nausea,vomiting, diarrhea, and vaginal bleeding also increasedwith

          5    advancing gestational age.“258Due to the signi‘ficam incresse ih‘ failiires and com$ications‘\th
                                                     ,,
               increasing gestational age! FDA’apnroved Mifeprex only for pregnanciesof less than or equal to

               49 days’ gestation.25g

                         The only way to date a pregnancy with the degreeof accuracynecessaryto exclude’

               women whose pregnancies are beyond 49 days’ gestation is by use of transvaginal ultrasound.
                                                                 : .
          10   FDA severely undermined the limitation on gestational age,however, when it failed to require


               Assessment of Misoprostol Tetratogenicity,” British Journal of Obstetrics and G$aecology 107 (April 2000): 5 19-
               23, at 522 (“. . . there is an association of prenatal use of misoprostol
                                                                                .,./“““,_.&,...as .an
                                                                                                   . ...abortifacient and congenital defects of
               vascular disruption type.“); F.R. Vargas et al., “Prenatai Exposure to Misoprostol and Vascular Disruption Defects:
               A Case-Control Study,” American Jtiurnal of A&diGi %&eiik95 (2OUO)1302-306,at 306 (“‘add[ing]-                             ’
               epidemiological basis to the growing body of evidence that prenatal exposure to misoprostol is related to the
               occurrence of vascular disruption defedts in some exposed fetuses.“). FDA determined that data submitted by the
               Population Council from a survey of fetal abnormalities in82 pregnancies that were exposed to mifepristone alone
               or in combination with misoprostol was inconclusive. See FDA Mifeprex Approval Memorandum, infia Appendix
               A, at 4. FDA acknowledged, however, the possible link between misoprostol and birth defects. See Medical
               Officer’s Review, inj?a Appendix A, at 18 ‘r‘. .’ . medical follow-up is required to ensure that surgical termination is
               performed in case the medical termination attempt fails since misoprostol has been reported to be teratogenic’in
               humans (limb defects and skull defects).“). The need for a study of the possible joint effects of niifepristone and
               misoprostol on babies born after a failed applidation of the‘&Iifeprex Regimen was highlighted by the abnormalities
               discovered in a fetus exposed to misoprostol and mifepristone; See Office of Postinarketing Drug Risk Assessment,
               AERS Report, ISR Number 3877547-X (March. 1,2002) (French report of numerous deformities in fetus that was
               exposed to mifepristone and misoprostol but survived until a subsequent surgical ‘abortion was performed, “The
               anatomopatbology examination showed a meningo-encephalotiele. The left hand was constituted ofonly two fmgers
               (oligodactylia), left and right foot were’ constituted of only one finger (monodactylia). There was a facial:
               dysmorphia.“).
               257Spitz Article, infra Appendix A, at 11241.
               258 Spitz Article, infia Appendix A, at 1241. In order to treat vag’mal bleeding, “[t’jwo percent of the women in the
               [less than or equal to] 49-days group, as compared with 4 percent in eacli,of the other two groups, were hospitalized,
               underwent surgical intervention, and refeived intravenous fluids (P=O.OOS).”Id.
               25g FDA’s Medical Officer’s Review noted: “The success of medical termination of pregnancy decreased with
               advancing gestational age and the incidence of adverse events’increased with advancing gestational age.” ‘Medical
               Officer’s Review, infra Appendix A, at 18. The review stated further: “This method of pregnancy termination is of
               limited value because of the relatively short window of opportunity, in whlich it can be employed. Its safety and
-/
     1
               effectiveness is based on its use durine’the seven “weeks following
                                                        “1,       I        -~~- .--‘z the
                                                                                      -~~~~-- t day of the last menstrual period.” Id.
                                                                                          firs
      *                                                           ,                   ._



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     the ultrasound dating of pregnancies. FDA’S approved    regimen relies instead on-a patient’s
                                              ,’     . _:
     recollection of her menstrual history and a physical examination. Dating based on menstrual

     history is inherently inaccurate becausewomen may not have a perfect 28-day menstrual cycle26o

     and because25 percent of women experiencebleedmg during the early stagesof pregnancy.261

 5   Gestational dating through physical examination, even when carried out by experienced

     clinicians, can also be inaccurate.262Factors such aspatient body size, uterine fibroids, previous

     parity, and uterine position may impair’a clinician’s’ ability to assessuterine size.263Transvaginal

     ultrasound, by contrast, is accuratewithin plus or minus 3 days at gestational agesof 5 to 7

     weeks.264“Transvaginal ultrasonographic examination is necessaryto ensureaccurategestational



     260See, e.g., Leon Speroff, M.D., Robert H. Glass, M.D., and’Naman i;.‘K&$ n;r:~.l’Cli~i;7ai”i;yn~c~Z~~ic *
     EndocrinoZogy and Infertility, 5’ ed. (Baltimore: Lippincott Williams and Wilkins, 1994) at 219 (“The perfedt 28
     day cycle is indeed the most common mode, but it totaled.only 12.4% of Volhnan’s cycles. Overall, approximately
      15% of reproductive age cycles are 28 days in length. Only 0.5% of women experience a cycle less than 21 days
     long, and only 0.9%.a Cpdle greater than‘35 days. Most women have cycles that last from 24-35 days, but at least
     20% of women experience irregular cycles.“).
     261See Peter W. Callen, M.D., Ultrasonography in Obstetrics‘and Gynecology 2”d ed. (Phila, Pa: W.B.Saunders
     Company; Harcourt, Brace, Jovanovich, 1988) at 32 (“Threatened abortion is a common complication that odcurs in
     approximately 25% of clinically apparent pregnancies.“); Speroff, et al, %linical Gynecologic Endocrinolo@ and
     Infertility, 5& ed. (Baltimore: Lippincott Williams and Wilkins, 1994) at 536 (noting that “pregnancy and pregnancy-
     related problems such as ectopic pregnancy or spontaneous abortion” can cause uterine bleeding).
     262 Steven R. Goldstein, M.D., Francis R. M. Jacot, M.D., Claude Poulin, M.D., and D. Scott Poehhnann, M.D.,
     “Documenting Pregnancy and Gestational Age,” Chapter 4, in Maureen Paul et al., eds., I4 Clinician-‘s Gu’ide.to
     Medical and Surgical Abortion (Philadelphia: Churchill’Livirigstone l~Har&rrt”Brace~‘l999) C‘A &%?c%z+‘s ~
     Guide”): at 4 1 (“Although clinical sizing of the uterus during the first trimester can provide a rough estimate of
     gestational age, it is imprecise; misestimation of gestational age by uterine sizing alone can occur even ~mmehands
     of experienced clinicians.“).
     263SeeA Clinician ‘s Guide, infra Appendix A, at 41 (“a number of conditions such as leiomymas, multiple
     gestation, and obesity may severely limit, the atcuracy of gestational age assessment by physical examination,
     warranting preprocedure assessment by ultrasonography in known or suspected cases”) (footnotes omitted).
     264 See Salim Daya, M.B., “Accuracy of Gestational Age Estimation using Fetal Crown-rump Measurements,”
     American Journal of Obstetrics and Gynecology 168 (March 1993): 903-908; Ivar K. Rossavik, M.D., George 0.
     Torjusen, M.D., and William E. Gibbons, M.D., “Conceptual Age and IJltraso~d~Measurements of‘destation Age
     and Crow-Rump Length in in Vitro Fertilization Pregnancies,” F&tz%ty’hnd %&?$~9’ (1988)1-li)l2-i7.            Sek also ‘.
     Mitchell D. Creinin, M.D. and Heather Jerald, “Success R.ates:and Estimation of Gestational Age for Medical
     Abortion Vary with Transvaginal Ultrasonographic Criteria,” Amen’can-Journal of Obstetrics and.Gynecology 180
     (1999): 35-41. In this study comparisons of gestational age estimates based on the last reported menstrual period to
     those generated through ultrasound in patients presenting for medical abortion, revealed the former method to be
     significantly inaccurate in approximately half the cases. The authors observed: “It is interesting that in this
     population of women seeking abortion’the gestational age according to the LMP [last menstrual period] was verified



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                                                                                                EX. 9 pg. 059


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     dating for provision of medical abortion actor-ding
                                                       _ to current standardsin clinical tiidelines
      _.      -          .   .          _.__          .(




                               _’                      _:/
     establishedby-the National Abortion Federation.“265


                                  b.           Ultrasound Is Necesgary to Identify Ectopic Pk&gGmcies
                                                                                                                       ,
 5                Approximately two percent of all
                                                ,_ pregnancies
                                                            > in the United .Statesare “ectopic

     pregnancies,” in which the pregnancy is located outside the uterus - often in the fallopian tube.266

     Mifeprex does not terminate ectopic pregnancies.267Therefore, if a woman who has an ectopic

     pregnancy undergoes a mifepristone-misoprostol abortion, she is at risk for tubal rupture and

     subsequenthemorrhage due to delay in,diagnosis and delay in treatment. The symptoms of an

     ectopic pregnancy - vaginal bleeiding,pelvic’pain, and
                                                         . , cramping - are confusingly similar to
     certain side effects of the Mifeprex Regimen.268A &Oman with an ectopic pregnancy is at risk of

     suffering massive intra-abdominal hemorrhage, damageto her reproductive organs, permanent

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     by the transvaginal ultrasonographic examination only 48% to 56% of the time when a gestational sac was present
     and only 55% to 64% of the time when’an embryonic poie was present . . . . These’results, though, do not even
     include those women who were excluded fromlthe studies because the uhrasonographic examination fmdings-were
     so different from the dates by LMP that the estimation of gestational age tias changed too much for them to be
     included.” Id.
     265 Mitchell D. Creinin, M.D. and Heather Jerald, “Success Rates and Estimation of Gestational Age for Medical
     Abortion Vary with Transvaginal Ultrasonographic Criteria,” American Journal of Obstetrics and.Gynecology 180
     (1999): at 35-41 (text preceding n. 8) (citation omitted).
     266 Centers for Disease Control, “‘Ectopic pregnancy -United States, 1990-1992,” Morbidity and Moriality Weekly
     Report (MMFVR)44 (No. 3) (Jan. 27, 1995): at 46. The number of,ectopic pregnancies may be even higher now
     because sexually transmitted diseases and other causes of ectopic pregnancy are more widespread than they were in
      1992 - the latest year for which the Centers for Disease Control have reported the number of ectopic pregnancies.
     Id. at 46-7.
     267 See, e.g., Beth Kruse et al., “Management of Side Effects and Complications in Medical Abortion,” American
     Journal of Obstetrics and Gynecology 183 (2000): S65375, ‘~~‘S72’(“liiiifep;ris~oneehas not proved effective in ’
     treating extrauterine pregnancy . . . .“).
     268 See American College of Obstetricians and Gynecologists, “Medical Management of Abortion,” ACOG Practice
     Bulletin: Clinical Management Guidelinesfor Obstetrician-Gynecologists 26 (April 200 1): at 6 (noting that in
     medical abortions, “women may even experience symptom resolution consistent with a complete medical abortion
     and still have a persistent gestational sac or even an ectopic pregnancy”) (“ACOG Practice Bulletin”). Vaginal
     bleeding, for example, is a normal consequence of the Mifeprex Regimen and may continue for weeks after a
     woman?ngests Mifeprex and misoprostol. -See,:erg., Spiti, infia Appendix A, at 1243 (“Vaginal bleeding is a
     natural consequence of the abortion process, and it occurred in all the women whose pregnancies were terminated

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     cterility, and even,death if not promptly treated by emergency surgery. ‘The authors of a French
                     ” I~                                               ;I ’
     mifepristone study in which a participant with an ectopic pregnancy underwent emergency

     surgery to stop heavy bleeding, concluded that:

             The caseof undiagnosed ectopic pregnancy, which ruptured suddenly 2 days after
 5           misoprostol intake, indicates that (1) mifepristone plus misoprostol is not an effective
             treatment of ectopic pregnanciesand should not be used for this purpose, and (2) all
             medical means of detecting an ectopic pregnancy should be used before prescribing
             mifepristone plus misoprosto1.26g

10           Although the Mifeprex Label statesthat the Mifeprex Regimen is contraindicated for

     women with a “[c]onfirmed or suspectedectopic pregnancy,“27o
                                                                FDA did not require that

     ultrasound be used to exclude women @h ectopic pregnancies. Instead, the approved regimen

     relies solely on a self-certificatiqn by the prescribing physician that she has the “[albility to

     diagnose ectopic pregnancies.“*” A physical examination alone cannot accurately identify

     ectopic pregnancies. Ultrasound, “[i]n addition to providing the best information for gestational

     age determination . . . can also provide useful diagnostic information regarding a wide variety of

     pathologies of early pregnancy,” including ectopic pregnancies.272




     medically. The median duration of bleeding or spotting was 13 days in the [less than or equal to] 49-days group and
     1.5days in the other two groups (P<O.OOl).“).
     26g Elizabeth Aubeny, et al., “Termination of Early Pregnancy (Up to 63 Days of Amenorrhea) with Mifepristone
     and Increasing Doses of Misoprostol,” International Journal of Fertility & Menopausal Studies 40 (1995): 85-91, at
     91.
     270 See Mifeprex Label (“Contraindications”).
      *‘I See Mifeprex Prescriber’s Agreement.
      272A Clinician’s Guide, infra Appendix A, at 47-8.


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                                                                                                        EX. 9 pg. 061

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                                FDA’s Approved Regimen Is Not ResQic@d_tq,qroperly Trained
                                Physicians who Have Admitting Privileges to Emergency Facilities

 5            FDA’s approved regimen lacks any objective qualifications for prescribing physicians

      and administering health care providers. 273The health care provider administering the Mifeprex

      Regime need not undergo training, may not necessarilybe an obstetrician or gynecologist, may

      not have any surgical training or training in the managementof abortion complications, and may

      not even be a physician.274For example, the Mifeprex Regimen could be administered by a nurse

10    untrained in any type of abortion and under the remote supervision of a family practitioner who

      does not regularly practice obstetrics and is incapable of providing emergency care.

              Physicians and the health care staff that,they superviserequire formal training in both

      pharmaceutical and surgical abortion to minimize the morbidity inherent in performing

      mifepristone abortions.275National
                                      . _.Abortion
                                           ‘.,*1. .,IFederation
                                                      *.”Y,,_I .,.*./_ guidelines provide that “[a]11personnel

 15   performing abortions must receive training in the performance of abortions and in the prevention,

                                                              ^         .    ,, __
      273 Self-certifications.do not~provide an effective substitute for imposing objective, auditable requirements. The
      Mifeprex Prescriber’s Agreement, for example, merely requires that the prescribing physician profess to have the
      “[albility to assess the duration of pregnancy accurately.” The vacuity of this stipulation is illustrated in remarks
      made by Dr. Susan Allen (who later became an FDA official) before the FDA Advisory Committee. Dr. Allen
      stated, “If you also recall when you go through medical school you learn how to date a pregnancy.” FDA Hearings
      Transcript, in&-aAppendix A, at 3 19.
      274 See Teleconference Meeting Minutes, re: status of pending review issues pertaining to this drug product (Aug.
      11,200O): at 1 (“the distribution system would allow for physicians to obtain the drug product after meeting all
      qualifications, but Mifeprex could be administered by someone yho is under the supervision of that physician such
      as midwives or nurse practitioners”)[FDA FOIA Release: MIF qO4587-881; see also, Mifeprex Approval Memo,
      inj?a Appendix A, at 4-5 (“Thus, physicians remain the initial populatron who will receive this drug for dispensing.
      This does not preclude another type of health care provider, acting under the supervision of a qualified physician
      from dispensing the drug to patients, provided state laws permit this.“).
      275 A survey of methotrexate abortion providers underscores the necessity of training in both medical and surgical
      abortion. See S. Marie Harvey, Linda .I. Beckman, and Sarah J. Satre, “Experiences and Satisfaction with Providing
      Methotrexate-Induced Abortions among U.S. Providers, ” Journal of the American Medical Womq ‘T&qcigtiqn~~5~
      (2000): 161-63, at 162 (In a study comparing methotrexate and surgical abortion, “[mlost providers felt strongly that
      all clinic staff should be familiar with both procedures and, thus, the training needs would be equivalent. This
      thought was echoedanot only by physicians, who must be prepared to perform an emergency surgical abortion if
      metbonexate fails, but also by other clinic personnel. Thirty-nine percent of providers thought that medical abortion




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                                                                                                EX. 9 pg. 062

                                                                                                                  App. 0198
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          recognition, and management of complications.“276Additionally, AC06 recommends that
                            ,
          “[c]linicians other than obstetrician-gynecologists who wish to provide medical abortion services

          should work in conjunction with an obstetrician-gynecologist or be trained in surgical abortion in
                            .                      Vet The necessity for training in. surgical abortion as
          order to offer medical abortion,treatment:~

     5    well as mifepristone abortion stemsprimarily from the high failure rate of the Mifeprex

          Regimen. In the U.S. Clinical Trial, the Mifeprex Regimen failed for 8 percent of women with

          pregnancies of less than or equal to 49 days’ gestational age.“*

                   Excessive bleeding, which is much more common following a Mifeprex abortion than a

          surgical abortion, is particularly likely to necessitateurgent surgical intervention. Based on an

    10    international study comparing surgical and medical abortion, FDA’s Medical Officer noted that

          “[o]n the whole, medical abortion patients reported significantly more blood loss than did

-         sureical
          - ---a-- --~abortion natients”
                               I                         d this as a ‘,‘seriouspotential disadvantageof the
                                         and characterizes

          medical method.“27gIn the U.S. Clinical Trial among patients whose pregnancieswere of no

          more than 49 days’ gestation, excessivebleeding resulted in one blood transfusion, two

     15   hospitalizations, two emergency room treatments, and thirteen surgical interventions.28oIn




          required more training; specifically, learning to do a vaginal ultrasound and to handle the unpredictable outcomes of
          methotrexate abortion required lengthy training.“).
          276 National Abortion Federation, “National Abortion Federation Chn&al Policy Guidelines, 1998,” Appendix, in
          Maureen Paul,,et al., eds., A Clinician ‘s Guide to Medical .pqdSurgical Abortion (Philadelphia: Churchill
          Livingstone / Harcourt Brace, 1999): at 256 (“A Clinician’s Guide”).
           *I’ ACOG Practice Hulletin, infia Appendix A, at 6.
           278 See Medical Ofqcer’s Review, inJ;a Appendix A, at Table 1. Seventeen percent of women with pregnancies of
           between 50 and 56 days’ gestational age and 23 percent of women with pregnancies between 56 and 63 days were
           failures. See id. In an international _,_study
                                                      /. reviewed by the Medical Officer, failure rates for mifepristone abortion
           were 5.2 percent, 8.6 percent and 16 percent in India, China and Cuba respectively, while comparable failure rates
           for surgical abortion were 0,0.4 percent, and 4.0 percent. See Medical Officer’s,Review, infra Appendix A, at 19.
           27g Medical Officer’s Review, infia Appendix A, at 19 (no citation by FDA Medical Officer).
           280 Medical Ofticerjs Review, infra Appendix A, at 17.



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    addition, 5 percent of the patients in this group received uterotonic agentsto stem bleeding.281A
                                              .,               , “_,.”
    delay in intervention may be life-threatening,  **’ as was illustrated by the experienceof one of the

    participants in the U.S. Clinical Trial. The treating physician describedthe incident to the FDA

    Advisory Committee:

                     In November of 1994, I was called to the [emergency room] for a woman who
             was bleeding due to a miscarriage, and was in obvious shock. A blood testx showed
                                                                                            .I, /_”
                                                                                                  _ that                     I
             she had lost between one-half to two thirds of her blood,volu.m,e,. . . .,:
                     I had thought she was having an incomplete miscarriage, but her husband . . . told
             me that she had taken RU4,@ approximately 2 weeks before. It was my clinical opinion
             that she would die soon ifa“Ishe  did
                                          “.,i,“./ not have an immediate [dilation and curettage].
                                                *11,,”
                     Without even doing the routine ~~~~~~~~~~‘~~nonnally’do for surgery, I realized
             that I had to take her immediately to surgery to saveher life. I took her to the operating
             room and removed the contents,of her uterus,surgically. I gave her two units of packed
             red blood cells intraoperatively.
                     Even later that evening, . . . [s]he required two more units of blood b~ecause she
             was still orthostatic and symptomatic.283

             The Mifeprex Regimen is contraindicated for “any patient who does not have adequate

     accessto medical facilities,equipped to provide emergencytreatment.“284FDA’s approved

     regimen, however, does not require prescribing physicians to have admitting privileges to

     emergency facilities. The approved regimen requires only that a physician who is not able “to

     provide surgical intervention in casesof incomplete abortion or severebleeding . . . ma[k]e plans

     to provide such c:arethrough others, and [be] able to assurepatient accessto medical facilities

     equipped to provide blood transfusions and  resuscitation,
                                             j -,_.
                                                 _~.,,~_.
                                                     c,*.*.. /_, if necessary.“285Plans for back-up care
                                                       .~,*_x/”


     28’ Medical Officer’s Review, infra Appendix A, at 17.
     282 When surgery is indicated because ofacute b&e&ng, significant, or even life threatening blood loss, has already
     taken place. The preoperative preparation of the patient is often compromised in the rush to complete the surgery,
     which results in higher infection rates and,more, anes.metic,complications, such as aspiration during intubation.
     283 FDA Hearings Transcript, z’nfraAppendix A, at 223-25 (testimony of Dr. Mark Louviere).
     284 See Mifeprex Label (“Contraindications”).
     285 Mifeprex Prescriber’s Agreement. FDA, however, took two steps that suggested that it has lingering concerns
     about the absence of a surgical intervention qualification for Mifeprex prescribers. First, the Mifeprex Label
     includes a “black box” warning governing surgical back-up. Second, FDA required the Population Council to
     perfotrn a post-approval study “[t]o ensure that the quality of care is not different for patients who are treated by


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     may be nothing more than “having the ability and responsibility to direct patients to hospitals, if

     needed.“286Moreover, the approved regimen does not include an objective geographical

     limitation to ensurethat the patient has easy accessto the designatedemergency care facility.287


 5                     3.       The Sponsor’s &eceq$ “Dear     Doc$$r
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                                                                                ‘%.<“*.  FDA’s
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                                Webpage Announcing Serious Adverse Events Validate the
                                Petitioners’ Cowerns

             On April 17,2002, 288Dance, with FDA’s assistance,issued a letter to health care

10   providers to alert them to “New Safety Information, ” to remind them that Mifeprex was

     approved for use in a prescribed regimen, and to encouragethem to provide patient counseling

     and report adverseevents.**’ The “New Safety Information” consisted of a number of reports of

     serious adverseeventsthat had been experiencedby women who were undergoing or had


                                                         __ _,I        *”    ;.            1. ~,
     physicians who have the skill for surgical intervention (as in the clinical trials) compared to those treated by
     physicians who must refer patients for surgical intervention . . . .” Mifeprex Approval Memo, infra Appendix A, at
     5.
     286 Mifeprex Approval Memo, inj?a Appendix A, at 5. FDA’s decision not to include a requirement that the
     prescribing physician have admitting privileges at a hospital could delay the patient’s admission for emergency care.
     Another likely consequence of not requiring the prescribing physician to have admitting privileges is underreporting
     of serious adverse events related to, the,,,$feprex Regimen. The treating physician, not privy to the Prescriber’s
     Agreement, may not file a serious adverse event report or notify the abortion provider of the complications that
     arose from the Mifeprex Regimen.
     287 The Chinese experience with mifepristone suggests that mifepristone should not be administered in facilities
     unable to provide potentially necessary emergency services. Thus, recently, the Chinese State Drug Administration
     responded to concerns that women were suffering as a result of lax controls on mifepristone by reiterating its policy
     that the drug “can only be administered at a hospital under a doctor’s supervision and cannot be sold at pharmacies
     even with a prescription.” See Kaiser Family Foundation, “China Reaffirms Restrictions on Unsupervised
     Mifepristone Use,” Kaiser Daily Reproductive HeaZthReport (Oct. 15, 2001) (available at:
     <http://www.kaisemetwork.org/daily_reports/rep_index.cfm?hint=2&DR_ID=7453>)            (reporting also that, “[tlhree
     years ago, the Shanghai Health Bureau restricted the use of mifepristone to certain hospitals in the area because of
     fears of complications”).
     288 The letter bears the date, April 19, 2002, but was disseminated to the public on April 17, 2002.
     28g Dance Laboratories, Open Letter to Health Care Providers (Apr. 19,2002) (“Dear Doctor Letter”) (available at:
     ~h~://www.fda.go~/medwatch/SAFETY/2002/mifeprex~deardoc.pd~).               Coincidentally, on the same day FDA and
     Dance publicized these serious adverse, events, the agency also announced major changes to the Cytotec
     (misoprostol) label. See FDA, “M ajor Changes to Cytotec Labeling” (April 17,2002). Pursuant to these labeling
     changes, pregnancy ‘was removed from the list of,contrainditcrati~~~,.~~~,~~Cytotec label and the black box warning
     cautioning pregnant women
                          _      not to take the .drug was also removed.



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                                                                                                EX. 9 pg. 065

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      recently completed the Mifeprex Regimen.2v!A number of patients had suffered from ruptured

      ectopic pregnancies and one of these            from hemorhage.2v* The letter also reported
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                                                 .I
      “[t]wo casesof serious systemic bacterial infection (one fata1).“2v2The fatality apparently

      precipitated a halt in the Population Council’s Canadian clinkal trials of mifepristone.2v3Finally,

 5    a 2 1 year old woman suffered a heart attack,threesdays after she completed the Mifeprex

      Regimen.294These and other adverseeventshad b,eenreportedto FDA through its Adverse

      Event Reporting System (AERS).295Two of the patients who were reported to have suffered life-

      threatening adverseeventswere 15 years o1d.2v6These incidents bear out the concerns about the

      safety of the regimen detailed above, and the relatively high rate of serious adverseevents among

 10   adolescentsis of particular concern.


      290 The letter did not specify the number of adverse events about which Dance had, been informed, but five
      individual cases were discussed.
      291 See Dear Doctor Letter, infra Appendix A, at 1.
      292 See Dear Doctor Letter, infra Appendix A, at 1.
      293 It appears that the woman reported to have died from a systemic bacterial infection ;was a Canadian trial subject.
      See Marnie Ko, “A Volunteer Dies While Testing a Controversial New Drug, Bringing the Trial to a Halt,” The
      Report (Oct. 8,2001’) ( available at: <http://report.ca/archive/report/20011008/p48ai011008f.htmI>).          See also Hemy
      P. Kaiser Family Foundation, “Population Council Announces Death ofWo_man__.““...li.W._/(
                                                                                            Involved in
                                                                                                     ,.._Canadian
                                                                                                          Iji ,I _^l,“.. ”
      MifepristoneMisoprostol     Trial,” Daily Reproductive Health Report (Sept. 11,200l) (available at:
      <http://www.kaisemetwork.orgfl)aily_reports/rep_index.cfm?D~~~~~~S,~~~).             A Clostridium sordellii infection
      apparently caused the woman to suffer. septic shock. See generally G.L. Mandell, J.E. Bennett, and R. Dolin,
      Principles and Practice of Infectious Diseases(5” ed. 2000): at 255 1 (explaining that a disease process in which
      “clostridia clearly play a major pathogenic role i[s] uterine gas gangrene, now a rare complication that was
      previously seen in the setting of septic abortion. ” “C’sordellii has been reported as a cause of uterine gas
      gangrene . . . .“). See also FDA Q & A’s, infia Appendix A, at Question 3 (“Serious systemic bacterial infection is a
      severe life-threatening infection that spreads throughout the body and can cause death.“).
      294 See Dear Doctor’Letter, infra Appendix A, at 1.
      2v5 See, e.g., Office of Postmarketing Drug Risk Assessment, AERS Report, ISR Numbers 3819498-2 (Nov. 2,
      2001) (intervention to prevent permanent impairment or damage); 3806144-7 (Oct. 9,200l) (death of a patient with
      an ectopic pregnancy); 3769840-6 (July 30,200l) (hospitalization of patient with an ectopic pregnancy); 3769842-X
      (July 30,200l) (intervention to prevent permanent impairment or damage); 3719885-7 (May 8,200l) (death in
      conjunction with the use of misoprostol and Mifegyne, which is the trade name of mifepristone distributed in
      France); 3713452-7 (Apr. 27,200l) (intervention to prevent permanent impairment or damage); and, 3769838-8
      (July 30, 2001) (intervention to prevent permanent impairment or damage). The AERS depends on voluntary
      reporting and the accuracy of these reported adverse events cannot be verified, nor can the cause of these events be
      identified with certainty. There may have been other adverse events that were not reported.

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              Simultaneously with Dance’s distribution of the &ar Doctor Letter, FDA published a

      webpage with 14 questions and answersrelated to mifepristone in’an attempt to answer some of

      the questions likely to be prompted by the letter and to urge health care providers to adhere to the

      approved regimen.297FDA’s answers,however, leave much to be desired from a medical and

 5    scientific standpoint.

              First, FDA has understatedthe possibility that the Mifeprex Regimen causedthe serious

      adverseevents reported in the letter.298FDA did not adequately explain why women who were

      apparently healthy prior to undergoing the Mifeprex Regimen experiencedlife-threatening or

      fatal complications such as ruptured ectopic pregnancies,heart attacks, and systemic bacterial

 10   infections.

               Second, FDA inappropriately attempted to link these adverseeventsto the unapproved

      vaginal administration of misoprostol.29vIt was reckless for EDA to suggestthat the vaginal

      administration of misoprostol causedthese adverseeventswhile overlooking critical flaws in the



      2v6See Office of Pos,tmarketing Drug Risk Assessment, AERS Report, ISR Numbers 3803789-5 (Oct. 3,200l)                              and
      3815629-9 (Oct. 26,200l).
      2v7 FDA, “Mifepristone Questions and Answers 4/17/2002” (“FDA Q & As”) (available at:
      <http://www.fda.gov/cder/drug/infopage/mifepristone/!7_O~.htm                  ).
      29s See Dear Doctor Letter, infra Appendix A, at 1 (“No causal relationship between any of these events and use of
      Mifeprex and misoprostol has been established.“). An FDA official interviewed (without attribution) downplayed
      the connection between the Mifeprex Regimen and the adverse events. See Susan Qkie, “Physicians Sent Abortion
      Pill Alert: Six Women Using RU-486 Taken Ill, and Two Died, Letter Says,” WashingtonPost (Apr. 18,2002): at
      A2 (“These are, in fact, a very small number of events. Some of them were clearly not caused by the drug
      regimen.“).
      2v9 The repeated references to the unapproved vaginal use of misoprostol in the FDA Q & As give rise to the
      inference that the reported adverse events are attributable to this single departure from the Mifeprex Regimen. See,
      e.g., FDA Q & As, infia Appendix A, at Question 1 (“In all of these cases, misoprostol was given vaginally, not
      orally, which is the approved regimen. FDA has not reviewed data on the safety and effectiveness of vaginal
      administration of misoprostol.“); id. at Question 4 (“We do not know what role, if any, Mifeprex and ‘off-label’ use
      of vaginal misoprostol may have in developing serious infections.“); id at Question 9 (“Why are physicians using
      misoprostol ‘off-label,’ in other words, using misoprostol vaginally at different doses? There are published studies
      of the use of mifepristone with vaginal administration of misoprostol for abortion. The misoprostol doses used in
      these studies are higher than those described in the Mifeprex labeling . . . .“); id. at Question 10 (“Are there risks
      with vaginal use of misoprostol?“).



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     approved regimen for Mifeprex use in the United States. FDA should have first assessed.

     essential aspectsof this regimen.

             It is clear, for example, that absentultrasonographic screening for ectopic pregnancy,

     there is increasedrisk that an intact or rupturing ectopic pregnancy will be misdiagnosed as a

     normally progressing Mifeprex abortion. Additionally, Mifeprex abortions may be performed by

     practitioners who are not physicians, who cannot perform surgical abortions, or who are unable

     to diagnose ectopic pregnancies and their complications.

             Nor is there reasonto believe that systemic bacterial infection is more likely to occur

     following vaginal, rather than oral, administration of misoprostol. Misoprostol is commonly

     administered vaginally for the induction of labor without higher reported rates of either

     intrauterine or systemic infection when compared to orally administered misoprostol or other

     methods of labor!induction. Rather, the occurrenceof life-threatening infection in women

     undergoing a Mifeprex abortion should raise questions about whether prolonged genital tract

     bleeding in the artificial hormonal milieu createdby the Mifeprex Regimen might foster or

     promote infectious complications. In addition, infection might occur in women who, believing

     that their abortion is complete and unaware that their uterus a@ually contains dead tissue, fail to

     return for follow-up visits.300This may be a particular problem when the Mifeprex Regimen is

     prescribed to adolescents.

              The occurrence of a heart attack in a 21 year old woman is always causefor significant

     concern. A French woman undergoing a mifepristone. abortion suffered a fatal heart attack in


     3oo A. Karen Kreutner, M.D., “Postabortion Infections,” Contemporary Ob/Gyn 1 (2001): at 37-42 (,‘. . . because
     medical termination may be incomplete in between 3% and 23% of patients, retained tissue and subsequent infection
     may go unrecognized in those lost to follow up. . . . Some experts fear there will be compliance problems with the
     third visit, especially when the patient terminates early. In these cases, retained tissue, thought by the patient to be
     normal bleeding, could lead to endometritis.“).



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          1991. A different prostaglandin (Sulprostone) administered by injection was used in that case.3o*
                                                                         I
          This new casehighlights the need for further investigation into a possible causal link between

          mifepristone-prostaglandin abortions and myocardial infarction.302

                   The ratio of serious adverseeventsto total usesof the Mifeprex Regimen cannot be

     5    ascertainedbecauseserious adverseevent reporting is likely incomplete and becauseit is not

          ‘publicly known how many times the Mifeprex Regimen has been used. Regardlessof the

          relative number of serious adverseevents,the nature of these eventsdemandsimmediate FDA

          action to prevent future patient injuries and deaths.303The Joint Commission on the

          Accreditation of Healthcare Organizations304
                                                     (“JCAHO” or “Joint Commission”) has developed

     10   an approach for investigating adverseevents similar in gravity to those that prompted the

          issuanceof the Dear Doctor Letter. The JCAHO looks for “sentinel events” which are

          “unexpected occurt-ence[s]involving death or serious physical or psychological injury, or the

          risk thereof.“3o5“,Sentinel events” signal the need for the commencementof a “root cause




          301 See ‘Noticeboard: A Death Associated with MifepristoneKulprostone,” Lancet 337 (April 20, 1991): at 969-70
          (“A spokeswoman for Roussel-Uclaf SA, the company that manufactures mifepristone, ‘said ‘the death was clearly
          from cardiovascular shock following ‘Nalador’ (Schering) injection.“‘).
          302 The Mifeprex Regimen should be contraindicated for women with cardiovascular risk factors until further
          clinical experience indicates that such contraindication is unnecessary.
          303 Even FDA acknowledged the rarity of the events referenced in the Dear Doctor Letter. With respect to bacterial
          infection, for example, FDA observed that ‘the rate of serious infection as a complication of pregnancy is 3.5 per
           1000 pregnancies. Uterine infection occurs in O.l-4.7% of first trimester surgical abortions and in O.O-6.1% of
          medical abortions. In the past, it was most often associated with illegal abortions. It rarely occurs with pelvic
          surgery or even with otherwise normal childbirth.” FDA Q & A’S, infra Appendix A, at Question 3. FDA similarly
          noted the unusual nature of a heart attack in a young woman: ‘The single heart attack occurred in a 21 year old. A
          heart attack in very young women is extremely rare. . . . In 1997, the rate among US women aged 20-24 years was
          0.19 per 100,000 women.” See id. at Question 4.
          304 The Joint Commission “evaluates and accredits nearly 18,000 health care organizations and programs in the
          United States. An independent, not-for-profit organization, JCAHO is the nation’s predominant standards-setting
          and accrediting body in health care. Since 195 1, JCAHO has developed state-of-the-art, professionally based
          standards and evaluated the compliance of health care organizations against these benchmarks.” Joint Commission
          webpage at: <http://www.jcaho.orglwhatwedo-frm.html>.
          305 Joint Commission webpage at: <http://www.jcaho.org/sentinellseqp.html#I.     Sentinel Events>.
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                                   with the goal of developing an appropriate administrative response
       analysis” of the event(s),3o6

       from the health care organization that will prevent the occurrenceof future serious adverse

       events. A root causeanalysis of sentinel eventsis performed before a statistically significant

       number of injuries or deathsoccurs. It seeksto discern the facts surrounding each occurrence,

  5    distinguish factors peculiar to individuals from those pointing to procedural or administrative

       deficiencies, and recommend corrective measuresto such systemic failures in the delivery of a

       particular therapy.

                It is particularly important that FDA react to these sentinel eventsbecausethe clinical

       trials underlying the approval of the Mifeprex Regimen did not adhereto FDA’s endorsed

 10    scientific methodology for such trials. The substandardtrial design of the U.S. and French

       Clinical Trials precluded an accurateestimation of the safety of the Mifeprex Regimen compared

       to the existing available alternatives. Moreover, FDA did not require the sponsor to conduct

       rigorous PhaseIV studies, which could have compensatedfor some of these deficiencies by

       generating additional safety data. The agency has not performed a root causeanalysis, but has

.‘I5   instead hastily postulated that the vaginal administration of misoprostol is the underlying cause

       of the adverseevents.3o7The Petitioners beli,evethat thereare probably more scientifically sound

       explanations for these adverseeventsand that the supposedsafety of the Mifeprex Regimen has

       been called into question. The occurrenceof the adverseeventsrelated to ectopic pregnancies

       and life-threatening systemic bacterial infections adds significant weight to the concernsof those


       306 The Joint Commission defines “root cause analysis” as “a process for identifying the basic or causal factors that
       underlie variation in performance, including the occurrence or possible occurrence of a sentinel event. A root cause
       analysis focuses primarily on systems and processes, not individual performance. It progresses from special causes
       in clinical processes to common causes in organizational processes and identifies potential improvements in
       processes or systems that would tend to decrease the .likelihood of such events in the future, or determines, after
       analysis, that no such improvement opportunities exist.” Joint Commission webpage at:
       4ntp://www.jcaho.org/sentinel/seqp.html#Root      cause analysis>.




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      who have long warned that mifepristone-misoprostol abortions are dangerous. FDA has

      previously dismissed such concernsbut now must respond to the accumulating evidence and act

      accordingly. Withdrawal of the approval is warranted.30X


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               Mifeprex abortion providers openly flout the restrictions included in the approved

 10   regimen without any reaction from FDA, Dance, or the Population Council.3o9Shortly after

      approval, FDA asserted that “[i]f restrictions are not adheredto, FDA may withdraw

      approval.“31oSubpart H authorizes FDA to withdraw approval of a drug approved under Section

      314.520 if “[tlhe applicant fails to adhereto the postmarketing restrictions agreedupon.“3”

      When it adopted Subpart H, FDA explained that “[t]he burden is on the applicant to ensurethat



      307See FDA Q & As, infra Appendix A, at Nos. 1,4,9, 10, and 11.
      308 The Secretary of HHS is authorized by 21 C.F.R. 0 3 14530(a) to withdraw approval of a Subpart H drug,
      subject to the applicant’s right to a hearing, if, among other things, “(3) [n]se after marketing demonstrates that
      postmarketing restrictions are inadequate to assure safe use of the drug; (4) [tjhe applicant fails to adhere to the
      postmarketing restrictions agreed upon; (5) [t]he promotional materials are false or misleading; or (6) [olther
      evidence demonstrates that the drug product is not shown to be safe‘br.effective under its conditions of use.”
      309 The absence of a reaction from Danco.may not be surprising in light of the cavalier attitude towards the FDA
      approval process exhibited by Dr. Richard Hausknecht, who is Dance’s medical director. As early as July 1994, Dr.
      Hausknecht, had used methotrexate and misoprostol in clinical tests in the. U.S. that Dr Mitchell Creinin, a
      prominent abortion researcher, described as “downright unethical” and which Sandra Waldman of the Population
      Council described as being “very risky.” Dr. Hausknecht stopped these experiments in September 1994 when the
      FDA told him to “stop performing the abortions unless he gets the backing of a medical institution and submits his
      data and procedures to the FDA for review.” Carol Jouzaitis, “Doctor’s Abortion-Drug” Technique Draws Fire,”
      Chicago Tribune (Sept. 12,1994): at 1 & 14. Dr. Hausknecht admitted, “ ‘This is a little bit uncharted.’ . . . . But
      he declared: ‘Damn it. I’m not going to wait. This is a step forward. This is important. I want to see this available
      to women where it’s not available now.’ ” Id. In ad&ion, Dr. Hausknecht’s website explains step two of the
      Mifeprex procedure that he employs: “At the conclusion of the [first] visit, the patient receives a packet containing
      tablets of misoprostol which’are to be taken orally or placed in the vagina depending on the regimen you and Dr.
      Hausknecht choose.” Available at: <http://www.safeabortion.com/procedure.htm>         (visited July 7, 2002). Both the
      home use and the vaginal administration of misoprostol contravene FDA’s approved regimen.
      310 See Letter, Melinda K. Plaisier, Associate Commissioner for Legislation (FDA) to Senator Tim Hutchinson (Oct.
      20,200O): at 2 [FDA FOIA Release: MIF 002648-521.
      311 21 C.F.R. 5 314.530(a)(4).



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      the conditions offuse under which the applicant’s product was approved are being followed.“3’2

      FDA should exercise its~,authorjtyto withdraw its approval for Mifeprex.

               Among the common departuresfrom the approvedregimen is the practice of offering the

      Regimen to women with pregnanciesbeyond sevenweeks313The “Mifepristone Medication

 5    Guide” directs women not to take Mifeprex if “[i]t has been more than 49 days (7 weeks) since

      your last menstrual period began.” Moreover, women who use the Mifeprex Regimen sign a

      Patient Agreement, which includes a representationby the patient that “I believe I am no more

      than 49 days (7 weeks) pregnant.“).3*4Thus, the practice of offering Mifeprex to women beyond

      sevenweeks not only contravenesthe approvedregimen, but it also effectively requires patients

 10   to make an untruthful representationin the Patient Agreement. The Los Angeles Times explained

      that, “[B]y offering mifepristone up to the ninth week of pregnancy,” Pamily Planning

      Associates, “the nation’s largest for-profit abortion chain,” “obtains a competitive edge over

      Planned Parenthood, which stays within the seven-weekguideline.“315

               In another comrnon deviation from the approved regimen, some abortion providers have

 15   eliminated the secondof the three prescribed visits. During the initial visit, theseproviders give




      312Subpart H Final Rule, 57 Fed. Reg. at 58952.
      313 Liberty Women’s Health Care of Queens, NY, openly acknowledges its use of Mifeprex beyond seven weeks:
      “While the FDA has approved mifepristone for non-surgical abortions only up to 7 weeks, we use a modified
      method to extend this period of eligibility in selected patients an additional 14 days up to 9 weeks.” Available at:
      <http://www.abortbypill.com/2.html>       (visited Dec. 31,200l). Likewise, Preterm, an abortion clinic in Cleveland,
      Ohio, states that abortion using Mifeprex “is effective in terminating pregnancies up to 63 days (9 weeks) from the
      last normal menstrual period.” Available at: <http://www.preterm.org/nonsurg.htm>        (visited July 7,2002).
      314See Item 4 of the Patient Agreement for Mifeprex (mifepristone) Tablets (“Patient Agreement”).
      315 Denise Gellene, “RU-486 Abortion Pill Hasn’t Caught on in U.S.,” Los Angeles Times(May 3 1,200O): at Al
      (quoting Family Planning Associates’ official as saying, “You can’catch a lot of women in those two [extra] weeks”).
      Family Planning Associates’ website confirmed that the abortion provider offers Mifeprex to women with pregnancies
      up to nine weeks’ gestational age. Available at: <http://www.webworldinc.com/fpamg/abortionqill.htm>         (visited
      July 7,2002) (“Medical abortion is limited to patients less than nine weeks pregnant as verified by ultrasound.“).
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     the patient misoprostol, typically with instructions to administer it to herself vaginally316at home

     two days later.317Yet home administration of misoprostol runs counter to what patients agreeto

     in the Patient Agreement, which statesthat “I will . . . return to my provider’s office in 2 days

     (Day 3) to check,if my pregnancy has ended. My provider will give me misoprostol if I am still

 5   pregnant.“318The Population Council argued in favor of and FDA consideredthe benefits of

     self-administration at home, chief among which is the reducedburden on abortion providers and

     their facilities, but the agency concluded that thesebenefits are outweighed by the significant

     risks to women.319The secondvisit affords the physician the opportunity to monitor the status of


     316 The likely reason that FDA’s approved regimen calls for oral administration is that it is the only mode of
     administering misoprostol that is currently approved by the FDA. As discussed above, however, the use of
     misoprostol in conjunction with mifepiistone’to effect aboitions’is itself an unapproved indication.
     317 Presidential Women’s Center in West Palm Beach, Florida, for example, gives women “four Misoprostol200
     mcg tablets to take home. Forty eight hours after the Mifepristone tablets have been administered the woman
     moistens four Misoprostol tablets with tap water and inserts them high into her vagina with her fingers.” Available
     at: <http://www.presidentialcenter.com/medical.html~       (visited July 7,ioOi). See also:
     <http://www.heritageclinic.com/abortibn/                                    (visited July 4,‘2002) (Two days after the
     patient takes mifepristone, she “inserts Cytotec vaginally, which causes the uterus to contract and expel^the embryo.
     This is very similar to the procedure that was FDA approved in 2000 and is approximately 98% effective. Note:
     The FDA approved protocol calls for 3 Mifeprex pills taken orally the first day and 2 Cytotec pills taken orally two
     days later. However, subsequent studies have show[n] 1 oral Mifeprex and 4 vaginal Cytotec to be as effective with
     less gastro-intestinal upset.“); see also: <http://www.fwhc.org/concord/pages/mifepristone.html>         (visited July 7,
     2002) (Concord Feminist Health Center’s web site describes the second phase of the procedure: “In a few days she
     inserts misoprostol tablets into her vagina. The pregnancy usually ends at home within four hours.“); see also:
     <http://www.gynemed.org/ru.html>        (visited July 7,2002) (Gynemed Surgi-Center’s web site states: “You will be
     given two doses of Misoprostol tablets and instructions on how to insert them into your vagina, which you wil[l] do
     48 hours after taking RU486.“); see also: <http://www.hopeclinic.com/medab.htm>            (visited July 7,2002) (Hope
     Clinic for Women, Ltd. Explains: “You will receive pills, misoprostol (“miss o pross tul”) to take home’with you.
     You will be instructed when to use them; they are placed vaginally.“):“~~,veii’~the‘~at~onal Abortion Federation,
     which initiated a nationwide advertising campaign for Mifeprex, sanctions home administration of misoprostol in its
     “Medical Abortion Start-Up Packet.” See National Abortion Federation, “Protocol Recommendations for Use of
     Mifepristone and Misoprostol in Early Abortion,” Early Medical Abortion with Mifpristone or Methotrexate:
     Overview and Protocol Recommemfations(Washington, D.C.: National Abortion Federation, 2001) at 36 (“Home
     administration of vaginal misoprostol has been found to be safe and effective up to 63 days’ gestation and is highly
     acceptable to patients.“).
     318See Patient Agreement, Item 14. See also Mifeprex Medication Guide, which explains that on “Day 3 at your
     provider’s office, ” “your provider will check to see if you are still pregnant,” and “[i]f you are still pregnant, take 2
     misoprostol tablets.”
     319 FDA, which in its 2000 Mifepristone Approvable Letter, agreed to the Population Council’s proposal to allow
     home administration of misoprostol, rejected that option after reconsideration of the issue. See Mifeprex Approval
     Memo, infia Appendix A, at 2-3 (“The approvable letter issued by FDA on 2/l 8/2000 agreed to the Population
     Council’s statement, that women could have the option of taking misoprostol on Day 3 either at home or at the



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     the termination320and assessthe need for misoprostol - tasks which cannot be delegated to the

     patient.321In addition, the secondvisit enablespatients whose abortions are complete to avoid

     having to take misoprosto1.322

              Dance and the Population Council have not effectively constrainedproviders of Mifeprex

 5   to adhereto the approved regimen. It appearsinstead that Dance and the Population Council

     have ignored well-publicized departuresfrom that regimen. Deviations from the approved

     regimen are particularly troubling becausethe patient is told to disregard the regimen that she

     reads about in the Medication Guide,and pledges to follow in the Patient Agreement. When a

     drug is approved under Subpart H, the drug’s sponsoris responsible for ensuring compliance



     prescriber’s office. However, data provided by the Population Council supporting home use was re-reviewed and
     found not to provide substantial evidence for safety and efficacy. . . . Returning to the health care provider on Day 3
     for misoprostol, as in the U.S. clinical trial, assures that the misoprostol is correctly administered. This requirement
     has the additional advantage of contact between the patient and health care provider to provide ongoing care and to
     reinforce the need to return on Day 14 to confirm that expulsion has occurred.“).
     320 Because of the complications that can arise, periodic monitoring during the termination process is important.
     For the significant percentage of patients that fail to return for the third visit, the second visit may be the last
     opportunity for a health care provider to monitor the termination. In the U.S. Clinical Trial, five percent of patients
     failed to return for the third visit. See Medical Gffcer’s Review, infia Appendix A, at 10. In other studies, the
     “loss to follow-up has ranged from three to eleven percent.” See Spitz Article, irzfra Appendix A, at 1246 (citations
     omitted). The rate of patients who do not complete the entire regimen in routine clinical practice is likely to be even
     higher as they will not necessarily be subject to the U.S. Clinical Trial’s exclusion criteria, which, among other
     things, excluded women who were “unlikely to understand and comply with the requirements of the study.”
     Medical Officer’s Review, inJia Appendix A, at 9.
     321 See ACOG Practice Bulletin, infra Appendix A, at 6 (citing Mitchell Creinin, et al., “Methotrexate and
     Misoprostol for Early Abortion: A Multicenter Trial,” Contrtice$zkr 53 (1996): at 321-27) (“Women as well as
     their practitioners are often unable to judge correctly if the women have aborted by evaluating symptomatology. In
     clinical trials with methotrexate and misoprostol, only about half of women who thought they had aborted actually
     had done so.“); Beth Kruse et al., “Management of Side Effects and Complications in Medical Abortion,” American
     Journal of Obstetrics and Gynecology 183 (2000): S6.5-375, S73 (“Studies demonstrate that women may be unable
     to judge correctly on the basis of symptoms whether abortion has occurred.“).
     322 For those patients whose abortions are not complete, the benefits of in-clinic misoprostol use would be enhanced
     if patients were required to spend several hours afterward in the abortion facility, where they would have ready
     access to pain medication and other medical help even if the abortion does-not occur during the observation period.
     The Population Council persuaded FDA not to include this requirement, which was included in the protocol for the
     U.S. Clinical Trial. Forty-nine percent of the participants expelled their pregnancies during the four-hour
     observation period after the administration of misoprostol. See Spitz Article, inj?a Appendix A, at 1243.
     Nevertheless, a post-misoprostol waiting period was likely disfavored because the protracted presence of large
     numbers of bleeding and cramping women’could place a strain on abortion facilities.

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     with the restrictions included in the approved regimen for use of the drug.323The Population

     Council and Dance have shirked this responsibility. FDA, therefore, should withdraw its

     approval of Mifeprex.


              I.        Ti3E U.S. CLINICAL            TRIAL FOR MIFJ3PRISTONE DID NOT MIRROR
                        THE ANTICIPATED               CONDITION!3 FOR THE ULTIMATE USE OF THE
                        DRUG

              As a general rule, “Phase 3 trials are usually [conducted] in settings similar to those

     anticipated for the ultimate use of the drug.“324FDA, however, approved a regimen that does not

     contain important safeguardsthat were employed in the U.S. Clinical Tria1.325In the U.S.

     Clinical Trial, for example, the investigators relied on transvaginal ultrasonography (along with

     menstrual history and pelvic examination) to confirm the gestational age of eachpregnancy.326

     The use of ultrasonography also excluded women with ectopic pregnancies. Moreover,

     physicians participating in the U.S. Clinical Trial had experiencein performing surgical

     abortions, were trained in the administration of the mifepristone-misoprostol procedure, and had

     admitting privileges at medical facilities that could provide emergency care and

     hospitalization.327In addition, “[a]11patients were within one hour of emergency facilities or the


     323SeeSubpart H Final Rule, 57 Fed. Reg. at 58953 (“The limitations on distribution or use required under this rule
     are imposed on the applicant. Therefore, the burden is on the applicant to ensure that the conditions of use under
     which the applicant’s product was approved are being followed.“).
     324 Bertram G. Katzung, M.D., Ph.D., and Barry A. Berkowitz, Ph.D., “Basic & Clinical Evaluation of New Drugs”
     in Bertram G. Katzung, ed., Basic and Clinical Pharmacology, 4ti ed. (Norwalk: Appleton 8z Lange, 1989): at 56.
     325 The French Clinical Trials, which were not performed by the Population Council, are not discussed here because
     they were not conducted for the purpose of supporting the mifepristone NDA and, therefore, were not designed to
     reflect American conditions of use.
     32bSee Spitz Article, inj?a Appendix A, at 1242.
     327 “The types of skills physicians had ,$I the U.S. clinical trial were: 1) the ability to use ultrasound and clinical
     examination to date pregnancies and diagriose ectopic pregnancies, 2) the ability to perform surgical procedures,
     including dilation and curettage, vacuum suction, and for surgical abortions, for bleeding or incomplete abortion,
     and, 3) they had privileges at medical facilities to provide emerge&y resuscitation, transfusion, hospitalization, etc.
     Physicians were trained to use the drug per protocol. Fourteen of the seventeen physicians in the U.S. clinical trial
     were obstetricianslgjlnecologists.” Mifeprex Approval Memo, infra Appendix A, at 5. Medical Officer’s   _)       Review,



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     facilities of the principle [sic] investigator.“328In the U.S. Clinical
                                                                    .,       Trial, after taking

     misoprostol, “women were monitored for four hours for adverseevents.“32gFDA has not

     retained these requirements governing physician training, uhrasound, the post-misoprostol

     waiting period, or physician privileges at facilities that provide emergency care.33oFDA should

     not have extrapolated conclusions about the safety and efficacy of FDA’s approved regimen

     from data generatedunder trial conditions not mirroring’the approvedregimen. Effectively,

     therefore, the agency approved a drug regimen that it had not tested.


              J.        BY WAIVING THE PEDIATRIC STUDY REQUIREMENT, FDA MAY
                        HAVE ENDANGERED THE HEALTH OF ADOLESCENT GIRLS

              FDA’s approval of Mifeprex violated FDA’s regulations, effective April 1, 1999,

     requiring that new drugs be tested for safety and effectivenessin the pediatric population

     (collectively, the “Pediatric Rz.&“).~~’ Requiring data on girls age 18 and under also would have

     been consistent with the guidelines for trials in the pediatric population that FDA acceptedat the


     infra Appendix A, at 6 (The U.S. Clinical Trial was “conducted at centers that could perform abortions by either
     vacuum aspiration or dilatation and curettage and had access to facilities that provided blood transf?rsions and
     performed routine emergency resuscitation procedures.“).
     328 Mifeprex Approval Memo, inJ;a Appendix A, at 5. The “one hour travel distance restriction in the clinical trial
     was intended to ensure access by patients to emergency or health care services.” Id. FDA contends that concerns
     arising from the elimination of the geographical proximity rule have “been dealt with through labeling, which makes
     it clear that if there isn’t adequate access to emergency services, the medication is contraindicated.” Mifeprex
     Approval Memo at 5.
     32gSeeSpitz Study, inf;a Appendix A, at 1242.
     330 The Prescriber’s Agreement requires only that the supervising physician be “able to assure patient access to
     medical facilities equipped to provide blood transfusibns and resuscitation, if necessary? By dorm&t, the protocol
     for the U.S. Clinical Trial required that the physician have “privileges at medical facilities to provide emergency
     resuscitation, transfusion, hospitalization, etc.” Mifeprex Approval Memo, ‘infia Appendix ‘A, at 5. The shift in
     focus from access by the provider of the abortion to access by the woman who has the abortion, attenuated the link
     between the abortion provider and the emergency care provider, a link that is critical to ensuring thatwomen receive
     timely emergency care.
     331 See Regulations Requiring Manufacturers to Assess the Safety and Effectiveness of New Drugs and Biological
     Products in Pediatric Patients, Final Rule, 63 Fed. Reg. 66632 (Dec. 2, 1998) (Pediatric Adopting Release). The
     notice of proposed rulemaking was released as: Regulations Requiring Manufacturers to Assess  *,,.the   ISafety
                                                                                                         . “,Reg.    and
                                                                                                              _ - 4jgocib
     Effectiveness of Ne+ Drugs and Biolo~ic‘$IP~~~ucts”~~~~~~i~~i~ P~~fs;.“~~~~~~ed-~~l~~ 62.Fed.
     (Aug. 15, 1997).



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      International
           .<       Conference
                     ,;  _.... on Harmonization.332
                                   “;..   ,,.      Nevertheless,
                                                           ._.. in the Mifeprex
                                                                         ,”     Approval Letter,

      FDA stated, “We are waiving the pediatric study requirement for this action on this

      application.“333Thus, FDA approved Mifeprex for use without requiring safety and effectiveness

      testing for the pediatric population.334

 5             As FDA noted when it adopted the Pediatric Rule, “many of the drugs and biological

      products that are,widely used in pediatric patients carry disclaimers stating that safety and

      effectiveness in pediatric patients have not been established.“335FDA observedthat “the absence

      of pediatric labeling information poses significant risks for children.“336The ICH has noted that

      adolescence“is a period of sexual maturation; medicinal products may interfere with the actions

 10   of sex hormones ‘andimpede development.“337Such hormonal changesmay “influence the

      results of clinical studies.“33sThese concernsfor the health of infants, children, and adolescents



      332FDA Guidance: El1 Clinical Testingfor Pediatric Uses at 9 and 11 (Heading for Section 2.5.5). FDA,
      cognizant of the need for such studies, obtained a commitment from the sponsor in 1996 to conduct Phase IV studies
      to examine the safety and efficacy of the regimen in girls under 18 years of age. FDA subsequently curtailed this
      Phase IV study requirement when it approved the Mifeprex NDA.
      333 Mifeprex Approval Letter at 3.
      334 The Mifeprex Label accordingly included the standard disclaimer employed in drug labeling when the drug
      sponsor has not provided sufficient information to support a pediatric use-for ‘the drug: “Safety and effectiveness in
      pediatric patients have not been established.”
      335Pediatric Adopting Release,63 Fed. Reg. at 66632.
      336Pediatric Adopting Release,63 Fed. Reg. at 66632.
      337 FDA, “Guidance for Industry: El 1 Clinical Investigation of Medicinal Products in the Pediatric Population”
      (Rockville, Md.: Dec. 2000): at 11 (5 2.5.5) (“FDA Guidance: El1 Clinical Testingfor Pediatric Uses”). Section
      2.5.5 states that the adolescent subgroup should extend from “12 to 16-18 years (dependent on region).” Id. at 11-12
      (6 2.5.5).
      33aSeeFDA Guidance (ICH: El I): Clinical Testingfor Pediatric Usesat 12 (8 2.5.5). These ICH concerns, quoted
      below, pertaining to the difficulty of testing drugs in the adolescent population amplify the need for FDA to have
      required clinical study of the difficulties that might arise when teenage girls undergo the Mifeprex Regimen:
                   Many diseases are also influenced by the hormonal changes around puberty (e.g., increases in insulin
               resistance in diabetes mellitus, recurrence of seizures around menarche, changes in the frequency and
               severity of migraine attacks and asthma exacerbations). Hormonal changes may thus influence the results
               of clinical studies.
                 Within this age group, adolescents are assuming responsibility for their own health and medication.
               Noncompliance is a special problem, particularly when medicinal products (for example, steroids) affect



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          prompted FDA to begin the rulemaking that culminated with the issuanceof the Pediatric Rule,

          establishing “a pres?ption that all new drugs and biologics will be studied in pediatric patients”

          unless the requirement is waived.339More specifically, the Pediatric Rule requires that applicants

          seeking approval for new chemical entities, new biological products, new active ingredients, new

      5   indications, new dosageforms, new dosing regimens, and new routes of administration contain

          safety and effectivenessinformation on relevant pediatric age group~.~~O

                   FDA made clear that the Mifeprex NDA was coveredby the Pediatric RuZe.34’

          Nevertheless,FDA fully waived the rule for Mifeprex without explanation. Full or partial



                   appearance. In clinical studies compliance checks are important. Recreational use of unprescribed drugs,
                   alcohol, and tobacco should be specifically considered.
                       The upper age limit varies among regions. It may be possible to include older adolescents in adult
                   studies, although issues of compliance may present problems. Given some’of the unique challenges of
                   adolescence, it may be appropriate to consider studying adolescent patients (whether they are to be
                   included in adult or separate protocols) in centers knowledgeable and skilled in the care of this special
                   population.“).
          Id. at 12 ($ 2.5.5).
          33gPediatric Adopting Release,63 Fed. Reg. at 66634 (introduction to “II. Highlights of the Final Rule”). The
          importance of testing drugs in children was highlighted during the recent controversy surrounding FDA’s attempt to
          suspend the Pediatric Rule. FDA’s planned two-year suspension came in response to the passage of the Best
          Pharmaceuticals for Children Act, which offers incentives for manufacturers to test drugs in children. Public Law
          No. 107-109, 115 Stat. 1408 (“BPCA”). See also Association of American Physicians and Surgeons, Inc. v. FDA,
          Defendants’ Motion for Stay of Proceedings, CiGil Actiori No. OO-2898’@HK) (Mar: l&2002). FDA later reversed
          its position in response to criticism from physicians and members of Congress. FDA’s attempt to suspend the
          Pediatric Rule prompted the introduction of identical legislation in the House of Repr&kht&i~es and the Senate to
          codify the Pediatric Rule. See S. 2394, 107* Congress, 2”d Session (2002) (co-sponsors: Senators Hillary Rodham
          Clinton (D-NY), Mike DeWine (R-OH), and Chris Dodd (D-CT)j; and H.R. 4730,107* Congress, 2”d Session
          (2002) (co-sponsors: Representatives John D. Dingell (D-MI), Henry A. Waxman (D-CA), Rosa DeLauro (D-CT),
          Anna Eshoo (D-CA) and Sherrod Brown (D-OH)). As Senator Hillary Rodham Clinton, a co-sponsor of the Senate
          bill explained, “if we want to protect our children over the long term, then we in Congress need to step in and make
          the Pediatric Rule the law of the land. Short of taking that action, we iisk denying children the protection that we
          require for adults.” Press Release, “Senators Will Introduce Legisl&on ‘to Codify Pediatric Rule” (Apr. 17,2002)
          (available at: ~h~://c1inton.senate.gov/-c1inton/news/2002/04/20~24’17~1      l.html>). See also Marc Kaufman and
          Ceci Connolly, “U.S. Backs Pediatric Tests In Reversal on Drug Safety,” WashingtonPost (April 20,2002): at A3.
          340Pediatric Adopting Release,63 Fed. Reg. at 66634 (“A. Scope of the Rule”), and as required pursuant to 21
          C.F.R. 0 314.55(a).
          341 The Mifeprex Approval Letter stated: “Be advised that, as of April 1, 1999, all applications for new active
          ingredients, new dosage forms, new indications, new routes of administration, and new dosing regimens are required
          to contain an assessment of the safety and eff&tiveli&s of the piodtict in pediatric patients unless this requirement is
          waived or deferred (63 FR 66632). We are waiving the pediatric study requirement for this action on this
          application.” Mifeprex Approval Letter at 3. Because the Mifeprex NDA was filed before the Pediatric Rule went


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      waivers of the pediatric study requirement may be granted either upon request of the applicant or
                                               _         _’
      by FDA on its own motron.342Both PDA-initiated andsponsor-requestedwaivers must satisfy

      certain criteria. FDA is required to grant a full or partial waiver “if the agency finds that there is

      a reasonablebasis on which to conclude that one or more of the grounds for waiver . . . have been

 5    met .“343

                Section 3 14.55 provides three procedural tracks by which an applicant may obtain a

      waiver of the study requirement. The first requires that two conditions being met: 344(l)“[t]he

      drug product does not representa meaningful therapeutic benefit over existing treatments for

      pediatric patients,” and (2) the drug product “is not likely to be used in a substantial number of

 10   pediatric patients.” With respect to this basis for waiver, FDA has “emphasize[d] that the study

      requirement applies to a product that offers a meaningful therapeutic benefit even if it is not used

      in a substantial number of pediatric patients, and vice versa.“345As noted above, FDA, in

      connection with its determination to approve Mifeprex under Subpart H, concluded that the

      Mifeprex Regimen provides a therapeutic benefit over the existing treatment - surgical




      into effect, if a waiver had not been granted, the Population Council would have had until December 2,200O to
      submit “an assessment of pediatric safety and effectiveness.” SeePediatric Adopting Release, 63 Fed. Reg. at
      66658-59 (“V. Implementation Plan”).
      342 Although it appears that FDA waived the rule ma sponte, FDA should have required the manufacturer to provide
      certain information to support the waiver. The agency has not released such documents to the public in response to
      FOIA requests. When it adopted the Pediatric Rule, the agency noted: “FDA agrees that the burden is on the
      manufacturer to justify waivers, but believes that the rule already adequately imposes that burden. The rule requires
      both a certification from the manufacturer that the grounds for waiver have been met and an adequate justification
      for the waiver request.” Pediatric Adopting Release,63 Fed. Reg. at 66648 (9 29).
      343 21 C.F.R. 9 3 14.55(c)(4)(“FDA   action on waiver.“).
      344 21 C.F.R. 0 314.55(c)(2)(i).
      345Pediatric Adopting Release,63 Fed. Reg at 66635 (“II.D.2. Waiver of the Study Requirement,” see first
      paragraph).




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      abortion.346This ,conclusionby itself precludes FDA from using the first method’ for granting

      waiver of the Pediatric Rule.347

               Even if FDA had not judged the Mifeprex Regimen to offer a “meaningful therapeutic

      benefit,” the secondrequirement for waiver in this first track is not met becauseMifeprex can be

  5   expectedto be used in a “substantial number of pediatric patients,” which FDA defines as

      “50,000 pediatric patients with the diseasefor which the drug or biological product is

      indicated.“348In the Pediatric Adopting Release,FDA statedthat the ‘“relevant age groups

      will . . . be defined flexibly.“34g With respectto Mifeprex, it would have been appropriate to

      classify girls under the age of 18 as pediatric patients becausesafety and effectivenessin this

 10   population had not been studied.350If the pediatric population comprises all girls age 17 and

      under, then we estimate that there were 357,200 pediatric pregnanciesper year from 1995 to

      1997 in the United States.351If the pediatric population comprises all girls age 16 and under, then

      we estimate that there were a total of 196,520 pregnanciesper year from 1995 to 1997.352Even if

      the pediatric population encompassesonly girls age 15 and under, we estimate that there were


      34GSee Mifeprex Approval Memo at 6.
      347FDA noted that, for purposes of the Pediatric Rule, it would rely “in part, on CDER’s current administrative
      definition of a ‘Priority’ drug, applied to pediatric populations” to define “meaningful therapeutic benefit.” The
      phrase, “meaningful therapeutic benefit,” appears identical in the Subpart H and Priority review contexts. As noted
      above, Mifeprex was accorded priority review. The modifications to “meaningful therapeutic benefit” for purposes
      of the Pediatiic Rule appear to have broadened the scope of the phrase. See Pediatric Rule, 63 Fed. Reg. at 66646.
      348Pediatric Adopting Release,63 Fed. Reg. at 66647.
      34gPediatric Rule, 63 Fed. Reg. at 66634 (“C. Age Groups”). After noting comments to the proposed rule that
      argued for flexibility in setting age definitions (including a comment arguing for “pediatric patient” to include those
      “from 0 to 2 1 years”), FDA stated that “the age ranges identified in the proposal may be inappropriate in some
      instances” and that it had “deleted the references in the rule to specific age ranges.” Id. at 6665 1.
      350Although FDA acknowledged that the safety and effectiveness of Mifeprex were not studied in girls under age
      18 and required a statement to that effect in the labeling, the agency anticipated and even encouraged use in this
      population when it stated that: “there is no biological reason to expect menstruating females under age 18 to have a
      different physiological outcome with the regimen. The Spitz data actually suggests a trend towards increased
      success of medical abortion with younger patients.” Mifeprex Approval Memo at 7.
      351See infra Appendix B at B-3.
      352See infra Appendix B at B-4.


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      85,960/. pregnanciesper year from 1995 to 1997 in this age range.353
                                                                  ,.     Thus, under any definition

      of the pediatric population, the 50,000 patient cut-off set forth in the Pediatric Adopting Release

      is exceeded. In sum, neither of the requisite conditions for a waiver of the Pedi&c       RuZeunder

      the first waiver track provided in Section 3 14.55 is satisfied.354

  5             Second, FDA may also waive the pediatric study requirements if the “necessary studies

      are impossible or highly impractical because,e.g., the number of such patients is so small or

      geographically dispersed.“355FDA explained that “that this ground for waiver [must] be

      interpreted narrowly”:356

               Although the number of patients necessaryto permit a study must be decided on a case-
 10            by-case basis, FDA agreesthat there are methods available to conduct adequatestudies in
               very small populations. . . . Becauseof the speedand efficiency of modern
               communications tools, geographic dispersion will justify a waiver only in extraordinary
               circumstances and will generally have to be coupled with very small population size.
               FDA is not persuadedthat inability to recruit patients becauseof parental fears associated
               with adrninistration of the drug is an adequatebasis to conclude that studies are
               impractical where there is also evidencethat similar products are regularly prescribed to
               pediatric patients outside of clinical trials.357

      Pediatric Mifeprex studies would not have been either “impossible or highly impractical.” As

20    described above and in Appendix B, the population of pediatric females that becomes pregnant

      each year is large and the female population is evenly distributed throughout the United States.

      Thus, this second’waiver track available under Section 3 14.55 could,not have been satisfied (and

      FDA apparently has not taken a position to the contrary).

               FDA may’ waive the pediatric study requirement under Section 3 14.55’s third waiver

25    track when “[tlhere is evidence strongly suggestingthat the drug product would be ineffective or


      353SeeinjPa Appendix B at B-4.
      354See 21 C.F.R. Q 3 14.55(c)(2)(i).
      355See 21 C.F.R. 0 3 14.55(c)(2)(ii).
      356f’ediqtric Adopting
                           : Release,63 Fe$ Reg. at 66647 (§ 26, final paragraph).



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           unsafe in all pediatric age grou~s.“~~*As noted above,FDA endorsedthe proposition that “there
.                                                                   ,-
            is no biological reason to expect menstruating females under age 18 to have a different

           physiological outcome with the regimen.“359Thus, by suggestingthat Mifeprex could be used

            appropriately in the pediatric population, FDA eliminated this third track as a possible basis for

      5    waiver.

                     Absent a waiver or deferral, the Pediatric Rule requires any drug application to “contain

           data that are adequateto assessthe safety and effectivenessof the drug product for the claimed

           indication in all relevant pediatric subpopulations . . . .“360FDA is authorized instead to

           extrapolate such data from adult studies “[wlhere the course of the diseaseand the effects of the

     10    drug are sufficiently similar in adults and pediatric patients.“361The underlying adult studies,

           however, must be “adequate and well-controlled.“362 As noted above, the Population Council did

           not provide evidence
                            ! from adequateand well-controlled studies as to the safety and effectiveness
           of Mifeprex in the aduEtpopulation. Reliance on these flawed adult studies for a determination

           of the safety and effectivenessof Mifeprex in the pediatric population was inappropriate.

     15    Furthermore, to assumethat the effects of a potent antiprogesterone,mifepristone, and a




           357Pediatric Adopting Release,63 Fed. Reg. at 66647 (§ 26, final paragraph).
           35* 21 C.F.R. 0 314.55(c)(2)(iii).
           35g Mifeprex Approval Memo at 7.
           360 21 C.F.R. 5 3 14.55(a). FDA stated that it was waiving the Pediatric Rule. Mifeprex Approval Letter at 3. The
           agency did not assert that it had made a determination that pediatric studies were not required because the adult trials
           were sufficient to support extrapolation of conclusions as to safety and effectiveness in the pediatric population.
           However, because FDA failed to provide any justification for its waiver,, it is difficult to determine whether the
           agency was, in fact, relying on this provision to eliminate the pediatric study requirement for Mifeprex.
           361See 21 C.F.R. 5 314.55(a).
          ,, 362,.Sqq21 C.F.R. 0 314.55(a).




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      powerful prostaglandin analogue, misoprostol, in pregnant adults can be extrapolated to pregnant
                                    .I._ “,
      adolescents,who are still developing physiologically and anatomically, is medically unsound.363

               FDA violated its own rules when it waived the Pediatric Rule in the face of explicit

      criteria that necessitatedcompliance with the rule.364Furthermore, FDA offered no explanation

  5   for its determination to waive the rule. As FDA’s treatment of other drugs illustrates, a waiver

      would have been appropriate only if Mifeprex had already been tested in children and labeled

      accordingly, or if the Pediatric Rule ‘s criteria for waiver were satisfied.365BecauseFDA waived

      the study requirement in the face of explicit criteria that appearto prohibit such action in this

      instance, the agency violated its rule. In addition to violating Section 3 14.55, FDA’s

 10   unexplained waiver of the Pediatric Rule for the Mifeprex NDA constitutes agency action that is

      arbitrary, capricious, an abuseof discretion, or othewse not in accordancewith 1aw.366

                           :”
      363 The Mifeprex Regimen acts upon the reproductive system, which changes dramatically during adolescence.
      Adolescents, for exainple, could face disruptions in ovulaiory fuhction’as a resu’llof ;d’bn’&iitia&%of mifepristone
      in developing ovarian follicles, or other health problems. Moreover, teenagers may face heightened risks arising
      from decreased compliance with the full regimen, poor recall of their last men&n& period, and their reluctance to
      tell others about their pregnancies.
      364 Of course, a partial waiver of the study requirement is appropriate for the non-adolescent pediatric sub-groups.
      See 21 C.F.R. $ 314.55(c)(3). According to FDA Guidance (XH: Eli): Clinical Testingfor Pediatric Uses,the
      pediatric sub-populations other than “adolescents” are: 1) preterm newborn infants; 2) term newborn infants (0 to 27
      days); 3) infants andtdddlers (28 days to 23 months); 4) children (2 to 11 years). FDA Guidance (ICH: Ell):
      Clinical Testingfor Pediatric Usesat 9 (3 2.5).
      365 In April 2000, FDA approved a suitability petition for Pamidronate Disodium Injection, 3 mg/mL, 10 mL vials,
      and 9 mg/mL, 10 mL vials, the listed drug products for which are Aredia (Pamidronate Disodium for Injection), 30
      mg/vial and 90 mg/vial, and determined that the “pio$o&d change hi dosage foi!m is subject to tlik Pediatric Rule
      but that a full waiver of the pediatric study requirement . . . is appropritite.” See L&t&, FDA fd’ Mitchall G. Clark
      (April l&2000): at 1 (Docket No. OOP-0091/CPI) ( concluding “that +yestigations are not necessary to demonstrate
      the safety and effectiveness of your proposed product in the pediatic population sirice the necessary studies are
      impossible or highly ‘impractical because the number of patients is small and geographically dispersed”). See also
      Letter, FDA to The Weinberg Group, Inc. (June 13,200O): at l-2 (Dock& No. 99P-5447KPI) (approving a generic
      manufacturer’s petition to file an Abbreviated New Drug Application for Cefaclor Chewable Tablets, 125 mg, 187
      mg, 250 mg, and 375 mg, the listed drug products for which are Ceclor (Cefaclor) for Oral Suspension, 125
      mg/SmL, 187 mg/SmL, 250 mg/SmL, and 375 mg/SmL because FDA determined that the “proposed change in
      dosage form is subject to the Pediatric Rule” but “that investigations tie not necessary to demonstrate the safety and
      effectiveness of your proposed products iri the pediatric population, because the specific drug products tliat you
      reference are adequaiely labeled for pediatric use”). ^
      366 FDA has required numerous drug sponsors to comply with the Pediatric RUE!,,         but it approved Mifeprex without
      stating its basis for tiaivtig the requirekent; Se& e.g., Letiei, FDA tb”I(ing &‘ Spaldi&(Jmie 13,200O): at 1



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                         REQUIREMENTS WAS ARBITARY, CAPRICIOIJS, AN tiUSE OF
                         DISCRETION, OR OTHERWISE NOT IN ACCORDANCE %?I’lX LAW
 5
               Not only did FDA improperly and without explanation waive its own pediatric testing

      requirements, but it also inexplicably narrowed the scopeof the Population Council’s

      commitments to conduct post-approval PhaseIV studies. As a general rule, the clinical trials

      required by FDA to support an NDA are adequateto establish short-term drug safety and

 10   effectiveness. The standardpre-approval clinical trials, however, are typically incapable of

      providing either the amount or type of data necessaryto assessa drug’s long-term effects.367

      PhaseIV, which occurs after a drug is approved,provides the opportunity to “monitor[ ] the

      safety of the new drug under actual conditions of use in large numbers of patients.“368Not only


      (Docket No. 99P-2776KPI) (denying a generic manufacturer’s petition to file an Abbreviated New Drug
      Application for Oxycodone Hydrochloride and Acetaminophen Oral Solution, 7’.5 nig/50’0’;iigper 15 iiiL, the listed
      drug product for which is Oxycodone and Acetaminophen Tablets 7.5 mg/SOOmg, based on the fact that ‘FDA “has
                                                                                                           ._.”.,,
      determined that your proposed change in dosage form is’subject to the‘pediatric Rule and has concluded that
      investigations are necessary to demonstrate the safety and effectiveness in the pediatric‘population . .. . . Therefore,
      the Agency concludes that the proposed product should be evaluated for safety and efficacy in the pediatric
      population.“); Letter, FDA to Abbott Laboratories (Sept. 29, 1999): at 1-2‘(Docket No. 98P-082’l/CPI) (denying a
      generic manufacturer’s petition to file an Abbreviated New Drug Application for Hydromorphone Hydrochloride
      Injection, 0.2 mg/mL, 30 mL vials, the listed drug product ‘for which is Dilaudid-HP’Injection,     10 mglmi, 5 ri&
      ampoules and 50 mL vials, because the “proposed change in route of administration is subject to the Pediatric Rule,”
      “clinical trials are required for this specific drug product,” and “investigations are necessary to demonstrate the
      safety and effectiveness in the pediatric population”).
      367A.G. Gihnan, T.W. Rail, A.S. Nies, P. Taylor, eds., The Pharmacological Basis of Therapeutics, 8th ed. (New
      York: Pergamon Press, 1990): at 77 (“Although assessment of risk is a major objective of [clinical trials], this is far
      more difficult than is the determination of whether a drug is efficacious for a selected condition. IJsually’about 500 ’
      to 300 carefully selected patients receive a new drug during phase-3 clinical trials . . . . Thus, the most profound and
      overt risks that occur almost immediately after the drug is given can be detected in a phase-3 study, if these occur
      more often than once per 100 administrations. Risks that are medically important but delayed or less frequent than 1
      in 1000 administrations may not be revealed prior to marketing. It is ‘thus obvious that a number of unanticipated
      adverse and beneficial effects of drugs are only detectable after the drug is used broadly.“):
      368 Bertram G. Katzung, M.D., ed., Basic and Clinical Pharmacology, 4ti ed. (Norwalk, CT: Appleton & Lange,
       1989): at 56. “Final release of a drug for general prescription use should be accompanied by a vigilant
      postmarketing surveillance program. The importance of careful and complete reporting of toxicity after-marketing
      approval by the FDA can be appreciated by noting that many drug-induced effects have an incidence of 1: 10,000 or
      less. . . . Because of the small numbers of subjects in phases l-3, such low-incidence drug effects will not generally
      be detected before Phase 4, no matter how carefully the studies are executed. Phase 4 has no fixed duration.” Id. at
      56-7.                ;                                            ‘(’


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                                                                                                  EX. 9 pg. 084


                                                                                                                    App. 0220
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      did FDA approve the NDA on the basis of ciinidal trials so defective with respect to their design

      and execution as to render them insufficient to establish short-term safety and effectiveness,but

      FDA also permitted the Population Council to substantially pare down the PhaseIV trials that it

      would perform.

 5             In responseto an FDA request, on September 16, 1996, the Population Council agreedto

      conduct a set of PhaseIV studies.36gFDA “reminded” the Population Council of these

      commitments in both the 1996 and 2000 Approvable Letters.37oThe Population Council agreed

      to perform studies with the following objectives:

               1. To monitor the adequacyof the distribution and credentialing system.
 10            2. To follow-up on the outcome of a representativesample of mifepristone-treated
                      women who have surgical abortion b,ecauseof method failure.
               3. To assessthe long-term effects of multiple use of the regimen.
               4. To ascertainthe frequency with which women follow the complete treatment regimen
                      and the outcome of those who do not.
 15            5. To study the safety and efficacy of the regimen in women (1) under 18 years of age,
                      (2) over age 35, and (3) who smoke.
               6. To ascertainthe effect on children born after treatment failure.371

      These studies would have addressedsome of the health issuesthat were not evaluated during

      pre-approval testing.

20             The Mifeprex Approval Letter releasedon September28,2000, however, contains only

      two Phase4 study obligations, a radical curtailment of the earlier commitments.372The letter




      36g FDA made its request on August 22, 1996, after it had received Phase IV study recommendations from the FDA
      Advisory Committee. See Medical Officer’s Review, infra Appendix A, at 20-24.
      370See 1996 Mifepristone Approvable Letter, infia Appendix A, at 7-8 and 2000 Mifepristone Approvable Letter,
                                                                       ._ ._
      infra Appendix A, at 5.
      371 1996 Mifepristone Approvable Letter, infra Appendix A, at 7-8 and 2000 Mifepristone Approvable Letter, infra
      Appendix A, at 5.
      372 See Mifeprex Approval Letter, inj-a Appendix A, at 2-3.
                                             _ “.                   /_


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                                                                                            EX. 9 pg. 085


                                                                                                             App. 0221
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      stated that “the following Phase4 commitments, specified in‘[the Population Council’s]

      submission dated September l&2000 . . . replace allprevious commitments . . . .“373

                (1) “A cohort-based study of safety outcomes of patients having medical abortion under
                       the care of physicians with surgical intervention skills compared to physicians
  5                    who refer their patients for surgical intervention.“374
                (2) “A surveillance study on outcomes of ongoing pregnancies.“375

      FDA stated that “[plrevious study questions related to age, smoking, and follow-up on day 14

      (compliance with return visit) will be incorporated into this cohort study, as well as an audit of

 10   signed Patient Agreement forms.“376The agency, thus, compounded its failure to require the

      Population Council and Dance to comply with the strictures of the Pediatric Rule when it

      permitted them to consider the effect of the Mifeprex Regimen on patients under 18 as part of

      another study rather than as a separatePhaseIV study.377The Approval Letter explained that


      373 Mifeprex Approval Letter, infia Appendix A, at 2.
      374Mifeprex Approval Letter, infra Appendix A, at 3. The Population Council acknowledged three weaknesses of
      this study. First, the sample size would be limited so that the sponsor “U;ill only be able% determine whether the
      combined safety rates of hospitalizations, medically necessary surgical interventions, and IV fluids in each of the
      two cohorts are within plus or minus 5 percentage points of the expected 2% rate. We will not be able to detect
      differences of individual safety outcomes such as blood transfusions and deaths.” See Amendment 062 to the NDA,
      Revised Materials (Sept. 19,200O): at 3. FDA FOIA Release: MIP 00789679031. Second, the Population Council
      predicted that it might have difficulty fmding women who were referred to another provider for care. Id. at 3-4.
      Third, it might be difficult to find women who did not return for’their follow-@visit.     Id. at 4. These three study
      weaknesses appear, at least in part, to stem from faulty selection criteria for study subjects.’ Patients should not be
      enrolled in a study unless they are willing to comply with follow-up visits and telephone inquiries. Additionally,
      informed consent forms authorize investigators to request medical records from other health care providers.
      375 Mifeprex Approval Letter, infia Appendix A, at 3.
      376 Mifeprex Approval Letter, injka Appendix A, at 3. These issues were characterized by the sponsor as
      “Secondary Study Objectives.” See Amendment 062 to the NDA (Sept.‘1 9; 2000): at 1: Th’e failure to consider
      each issue in a separate study is likely to compromise the quality of the data generated.
                                                                                        , d,.‘a*_~,.,,,Because
                                                                                                        .. . . I_~~the;.;study
                                                                                                                    I__,   ‘   is
      primarily focused on a provider-level variable (ability to provide surgical intervention), the study wrll not
      necessarily yield a meaningful sample size’for each o~~‘reI~S~~~a~~ntl~~l           variables (age-and smoking Siam).
      Patients will be enrolled “consecutively from each provider until the provider’s quota is met.” See id. at 2.
      377 ‘Ihe Population Council submitted data from the Spitz Study on 106 women age 35 and older and 51 patients
      under age 20. See Mifeprex Approval Letter, infra.Appendix A, at 7. Bowever, the effects and potential age-
      specific risks of the Mifeprex Regimen on women outside ‘the tested “ageraiige deserve separate consideration in
      studies with far more subjects. Approximately 279,000 girls nineteen and younger and more than 84,000 women
      over the age of 35 obtain abortions in the United States annually. See Appendix B, infra, at B-4 ($5 5 and 6). The
      Mifeprex Regimen, which directly interacts with the reproductive system, couldconceivably interfere with pubertal
      development, as discussed above, and might pose unique risks to women who are nearing the end of their
      reproductive years.
              .”


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            “the changesin postmarketing commitments reflect current postmarketing questions given
        .                             ,I.^     _.“__._;,_ ,   ,- ., ;. ._ :      ,
            establishment of final labeling, Medidation’Guide, and distribution system, along with

            availability of additional clinical data with the drug since 1996.“37*

                     It appears,however, that the modifications came largely in responseto the Population

       5    Council’s unwillingness to explore the ramifications of the Mifeprex Regimen. On August 18,

            1999, the Population Council acknowledged its PhaseIV commitments, but stated that “[w]e

            plan to discuss in more detail and develop a consensuswith the FDA post-NDA approva1.“37g

            The Population Council complained, for example, that “[a] prospective study of the long-term

            effects of multiple use of the regimen in all American women would be unduly burdensome,

       10   might result in an invasion of women’s privacy and would not likely produce a meaningful

            scientific result for decades.“380Similarly, the Population Council informed FDA that it was “not

            able to commit to tracking down those women who are lost to follow-up becausethis would be
                                              “’   .
            very difficult and extraordinarily expensive. We are also concernedabout the ethics of doing




            378 Mifeprex Approval Memo, infra Appendix A, at 7. FDA’s conclusion that the reduction to only two Phase IV
            studies “reflect[s] current postmarketing questions” ignores a number ofissues aboutMifeprex”that remain
            unexplored. Because mifepristone iritzrferes%im pregnancy by tiiiiit~~-fo’~e’progeste;one      receptor in the placenta,
            there is concern that the drug may affect not only the u&us, but ihe braik,‘bri?asts; ‘ad&al glands, ovariis, and
            immune cells, all of which also have progesterone receptors. Concerns that mifepristone may have a carcinogenic
            effect on breast tissue have also been expressed. See, e.g., Testimony of Dr. Joel B&d, FDA Hearings Transcript,
            infia Appendix A, at 172-175. Mifepristone also could affect the pituitary gland, the adrenal glands, and immune
            cells, all of which have glucocorticoid receptors. In addition, it is unclear whether a woman who undergoes multiple
            mifepristone-misoprostol abortions could suffer adverse effects. See AC,QG Practice‘Bulletin, &$-a Appendix A,
            at 9 (“No well-designed prospective studies address the issue of repeat medical abortion.“). Questions also remain
            about possible effects on the children born to women~who’have terminateda previous pregnancy ivith the Mifeprex
            Regimen. See, e.g., P. Van der Schoot and R. Baumgarten, ‘^‘Effects ofTreatment of”Male^‘and”F&n&e Rats in
                                                                                                               _,“.. .
            Infancy with Mifepristone on Reproductive Function in Adulthood,” Jou~~;l~~f~~~~~~~~~~~‘a~dFertilig’ 30
            (1990): 255-66 (finding that rats exposed to mifepri&rne in theirinfancy suffered mfertiiity in’aduhhood)[FDA
            FOIA Release: MIF 907165- 0071761.
            37g Medical Officer’s Review, infra Appendix A, at 24 (quoting from the Population Council’s submission to FDA
            onAug. 18, 1999).
            380 Medical Officer’s Review, infra Appendix A, at 24 (quoting from the Population Council’s submission to FDA
            on Aug. 18, 1999); see also Mifeprex Approval Memo at 7 (agreeing with the Population Council’s reasoning).
“..-                            .!          ,_ , /         \..-..        . . .:‘_ ,    < .


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      this, as it could violate women’s privacy.“381The Population Council’s concernsabout privacy
                                                                    /. ,.
      lack merit. Patients who participate in clinical trials give their consentto participate and to be

      -monitored, thus eliminating concernsabout privacy. Similarly .’ FDA should not have accorded

      undue weight to the Population Council’s protestations about the potential expenseof the trials;

 5    drug sponsors,who stand to profit from a drug’s sales,are responsible for bearing the expenses

      incurred in establishing the safety and efficacy of a drug.382

               FDA’s acquiescencein the Population Council’s reduction in its PhaseIV commitments

      compounded the Agency’s earlier failure to require the sponsorto conduct clinical trials in

      accordancewith the requirements of Section 3 14.126 of FDA’s rules. FDA’s inadequately

 10   justified curtailment of the sponsor’s PhaseIV study commitments was arbitrary, capricious, an

      abuseof discretion, or otherwise not in accordancewith law:




      381 Medical Officer’s Review, irzfia Appendix A, at 24 (quoting from the Population Council’s submission to FDA
      on Aug. 18, 1999). The necessity of long-term monitoring is particularly’critical to compensate for the unusually
      short tracking periods employed m-the U~S.‘Cl&al Trial; in’which’investigators &nerallydiclnot        track.‘patients
      after their third visit.’ See Spitz Article; infia Appendix A,‘at 1242: “Poilowfup was extended beyond visit 3 if there
      was uncertainty about the completeness of the abortion or if bleeding persisted.” Id. ‘Five ‘percent of the participants
      in the U.S. ClinicalTrial were not tracked through the third visit (which would have occurred on Day 15) because
      they failed to return for it, suggesting that each of these women was last seen on Day 3; only 2 days after the initial
      administration of mifepristone. Se& Medical Officer’s Review, infia Appendix A, at 10. Abbreviated follow-up
      periods run counter to ICH standards, which state that in clinical~trials of drugs intended foruse during pregnancy,
      “followup of the pregnancy, fetus, and child is very important.“’ FE4 %Zd&z& (ICX:‘E8)~‘?&i%i~
      Considerations, infia Appendix A, 62 Fed. Reg. at 66117 (Q 3.1.4.3) (“Special populations”).
      382 In fact, the sponsors of Mifeprex received substantial outside funding to support their efforts. See “Mifepristone:
      FDA Approval Imminent, Advocates Predict,” Kaiser Daily Reproductive He&h Report (Sept. 28,200O) (available
      at: ~http://www.kaisemetork.org/reports/200’(’i~~cd                              Laboratories; LLC!; a small’New
      York-based company, will market the drug with funding from billionaire”flnancier WarrenBuffet and hedge-fund
      czar George Soros and a $10 million loan from the David and Lucile Packard Foundation.“); Sharon Bernstein,
      “Persistence Brought Abortion Pill to V.S.,” Los Angeles Times(Nov. 5,‘2000): at Al @he Population Council
      raised $16 million from like-minded foundations, including the Open Society Institute of New York, which iS the
      philanthropic arm of billionaire George Soros, and the California-based Kaiser Family Foundation.“).



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                                           ;_.        IV. PETITIONERS
                                                           I ,“.      SEEK. LEA@  ,_ .<TO A.h@!W
                                                                            . . .__.>                                                                  ’”

                      The Petitioners respectfully inform FDA that they may file amendmentsto this Petition

       as information becomes available from Freedom of Information Act requestsmade before the

  5    filing date of this document.383


                                                                                 V. CONCLUSION
 10
                      For the foregoing reasons,the Petitioners respectfully request that the Commissioner

       immediately enter an administrative stay to halt any further distribution and marketing of

      Mifeprex until final agency action is taken on this Petition. The Petitioners also respectfully

      request that the Commissioner revoke approval of Mifeprex for the medical termination of

 15   pregnancies less than 49 days’ gestation. On the basis of the evidencepresentedabove, the

      Petitioners respectfully request a full PDA’audit of the Prench and b%. ‘Clin&i Trial~.~‘~




      383 The Petitioners have filed numerous Freedom of Information Act (“FOIA”) requests with FDA that remain
      unanswered, including: 1) FOIL Request, filed by Wendy Wright, ‘Director of Communications, CWA (Aug. 3 1,
      2001) (seeking “an entire copy of FDA’s letter to the Population Council dated, or mailed, on or about June 1,2000,
      along with any attachments, appendices, and other accompanying materials”); 2) POiA Request; filed by Wendy
      Wright, Director of Communications, CWA (Aug. 3 1,200l) (seeking “an entire copy of the new drug
                                                                                   ., .
      application . . . tiled 1. . on or about March 18,1996 (NDA20-687)“)j‘3)FOIA      Request, filed by Wendy Wright,
      Director of Communications, CWA (Sept.’ 14,200l) (seeking a copy of data submitted by the.sponsor “related to the
      use of mifepristone by women over the age of thirty-five, females under the age~ofeighteen, and women who
      SmOke))   and     of   the   Phase         Iv   Study   protbcols   suiimitted   I;y    ~~~   S~b;~~~~       ~~~   ,y-pha,~~     vial   iota)-        aiid;   ‘~)“FO~




      Request, filed by Wendy Wright, Director of Communications, CWA (Feb: 6,2002) (seeking a correct listing of all
      drug applications approved pursuant to 21 C.F.R. 6 3 14.520 and documents detailing FDA’s reasoning for
      approving drugs under this section of its rules).
      384An audit of the U.S. Clinical Trial is additionally warranted because of an unusual data management decision
      made bv the Population Council with the aunarent annroval of the FDA:
                 Thank you for speaking with me the other day about our data dilemma. In response to our conversation, we
                 have decided to create two versions ‘ofour electronic database from the mifepr&one study. .The first will
                 reflect exactly the physical copies of the patient record forms, and will be used as the basis for our
                 regulatory submissions to you. The second version will closely match the f&t, particularly on safety and
                 efficacy indicators, but certain variables will be modified to create an internally consistent database that we
                 can use easily for our planned scholarly publicatiohs~ on the-topic. We will keep careful‘ track’ of the
                 changes we make and we will be able to explain them‘to an FDA ‘auditor should the need arise. One result

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                  This Petition for withdrawal of approval of an NDA is categorically excluded under 2 1
                                                                          .,“,, .:... .,.   A,.’ .: I.
     5     C.F.R. 5 25.3 l(d). An environmental%npact statementis, thus; not required.




 10                The Economic Impact information shall be submitted only &en and $&&&ted                             by the “’

          Commissioner following review of the Petition, in accordancewith 21 CF.R. 9 10.30:




 15                On behalf of the petitioner organizations listed,below, we the undersignedhereby certify
          that, to the best of petitioners’ knowledge, this Citizen Petition is true and accurate. It includes
          all available information relevant to this Petition ‘~~~c~~~~~~~‘~~~~rm,tio;l
                                                                                      born,,favorable and
                                                           ..,d,-.%S,X.
          unfavorable to Petitioners’ position in this matter.     .d”..
                                                                     +.e.

20

          So executedthis /< day of August’2002.

                                                                                                  mmittee on Mifeprex
25
                                                                                                                       .      ‘.


                                                                         Eau Claire, MI 49111
                                                                         Phone: (616) 921-2513
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                  of this approach     to handling th<d&tais &at“cetiai;l as$e&s’of &rfkt&e publications may diff& ‘fioti
                  tabulatigns th;at appear in our re’gulatory submissions.                       ‘”
         Letter, Charlotte Elletison, population‘ cociiicil, toi .tResacted~~~~~~~~~~~~~~~~~~~~j~~~~~~~~~
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      So executedthis /3   day of August 2002.
                                                      2h
                                                      Associate ixecutive Director
  5                                                   Christian Medical Association
                                                      P.O. Box 7500
                                                      Bristol, TN 37621
                                                      Phone: (423) 844-l 000




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Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24               Page 232 of 684 PageID 5990




     So executed this 2 O”l‘day of August 2002.    \San 0l.q -z.iA;
                                                  Sandy Rios President
                                                  Concern&l Women for America
                                                  10’15Fifteenth Street, N.W‘.
                                                  Suite 1luu
                                                    ._   ..A,.




                                                  Washington, D.C. 20005
                                                    tone: f202’1488-7000




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Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24   Page 233 of 684 PageID 5991




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                                                                Page 234 of 684 PageID 5992
                                                                          I




                          Citizen Petition (Mifeprex) Documents



Exhibit B: Statistics Usedin the Petition.
Exhibit C: FDA’s Subpart H Webpage (Chart).
Exhibit D: Printouts from Mifeprex abortion websites illustrating deviations from the
approved regimen.
David Willman, “How a New’Policy ‘Led to Seven Deadly Drugs,” Los Angeles Times
(Dec. 20,200O): at Al.
Kit R. Roane, “Repladement Parts: How the FDA Allows Faulty, and Sometimes




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Medical Aborfion with Mifepristone or Metbotrexate: Overview and Protocol
Recommendations (Washington, D.C., 2000): 33-37; “National Abortion Federation
(NAF) Protocol for Methotrexate and, Misoprostol in Early Abortion” in Early Medical
Abortion with Mifepristone or Methotrexate: Overview and Protocol Recommendations
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Age for Medical Abortion Vary with Transvaginal Ultrasonographic Criteria,” American




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.Gyneco/ogists 26 (April 2001)(“ACOG Practice Bulletin”).



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                                Citizen Petition (Mifeprex) Documents                                                   2




4menorrheti) With Mifepristone (RU 486) and Increasing Doses of Misoprostol,”
fnternational Joumal cqfFe#/ity 40 (I 995): 85-91.                                                                  P
Carol Jouzaitis, “Dotitor’s Abortion-drug Tectinique Draws Fire,” Chicago Tribune (Sept.
12, 1994): sec. 1, p. 1 & 14.                                                                                       Q
Denise Gellene, “RU-486 Abortion Pill.Ha%n’t “Caught on in U.S.,“ Los Angeles Times
(May 31,200l): Al.                                                                                                  R
                                  ./ “,     ;,. . .      jl.l ,I .” _,    /       , . “,I
                                                                                                                          .^
Susan Okie, “Physicians Sent Abortion Pill, Alert,” Washington Post (Apr. 18, 2002): A2.                            S
Claudette Hajaj Gonzalez,’ et al. , ‘Congenital Abnormalities in Brazilian Children
Associated with Misoprostol Misuse in First Trimester of Pregnancy,” The Lancet 351
(1998): 1624-27.                                                                                                    T
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Salim Daya, M.B., “Accuracy of Gestational Age Estimati.on Using Fetal Crown-rump
Measurements,” American Journal of Qbst&ics and Gynecology 168 (1993): 903-908.                                     U”
lvar K. Ro&avik, George O..Torjusen, and William E. Gibbons, “Conceptual Age and
Ultrasound Measurements of Gestation,, Age and Crow-Rump Length in in Vitro


Tetratogenicity,” Briti$h Journa




William J. Eaton, “Path Cleared for Abortjqn~,Pjll ,Use    Medicine.
                                                    .._,.(,*>         .LFrench
                                                            / _j.“*,~“__  N/1-     Maker
                                                                            . ... .L.   ,,.f/_,of
                                                                                     .l~LI     ..,* RU-486
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               Exhibit 10
          FDA Letter to Population Council
              re: NDA (Feb. 18, 2000)




                                                                      App. 0232
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                                                               EX. 10. pg. 001


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                                                               EX. 10. pg. 002


                                                                        App. 0234
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                                                               EX. 10. pg. 003


                                                                        App. 0235
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                                                               EX. 10. pg. 004


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                                                               EX. 10. pg. 007


                                                                        App. 0239
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                 Exhibit 11
  FDA Approval Memo. to Population Council re:
      NDA 20-687Mifeprex (mifepristone)
               (Sept. 28, 2000)




                                                                      App. 0240
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                                                               EX. 11 pg. 001


                                                                       App. 0241
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                                                               EX. 11 pg. 003


                                                                       App. 0243
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                                                               EX. 11 pg. 004


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                                                               EX. 11 pg. 005


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                                                               EX. 11 pg. 006


                                                                       App. 0246
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                                                               EX. 11 pg. 007


                                                                       App. 0247
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                                                               EX. 11 pg. 008


                                                                       App. 0248
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                 Exhibit 12
      2000 FDA Approval Letter for Mifeprex
     (mifepristone) Tablets at 1 (Sept. 28, 2000)




                                                                      App. 0249
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                                                               EX. 12 pg. 001


                                                                       App. 0250
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                                                               EX. 12 pg. 002


                                                                       App. 0251
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                                                               EX. 12 pg. 003


                                                                       App. 0252
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                 Exhibit 13
 2003 Citizen Petitioners’ Response to Opposition
  Comments filed by The Population Council, Inc.
and Danco Laboratories, LLC to Comments at 2–4
   (Oct. 10, 2003) https://www.aaplog.org/wp-
 content/uploads/2002/08/ResponseToDanco10-
          03reRU-486.pdf (2003 Response)




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October 10, 2003


VIA HAND DELIVERY


Dockets Management Branch
U.S. Food and Drug Administration
Document Control Room
5630 Fishers Lane, First Floor
Room 1061 (HFA-305)
Rockville, Maryland 20852

        Re:      Docket No. 02P-0377
                 Response to Opposition Comments filed by The Population Council, Inc. and
                 Danco Laboratories, LLC

        We submit these comments on behalf of The American Association of Pro Life
Obstetricians and Gynecologists (“AAPLOG”), the Christian Medical Association (“CMA”), and
Concerned Women for America (“CWA”) (collectively, “the Petitioners”), in response to
Opposition Comments filed by the makers/distributors of Mifeprex™ (mifepristone) 200 mg
tablets (NDA 20-687).1 In particular, The Population Council, Inc. (“the Council”) and Danco
Laboratories, LLC (“Danco”) (collectively, “the Sponsor”) submitted comments on March 13,
2003 opposing the Citizen Petition and Request for Administrative Stay (“Petition”) filed by the
Petitioners on August 20, 2002.2

        Not surprisingly, the Council and Danco ask the Food and Drug Administration (“FDA”)
to maintain the status quo, so that they can continue to sell Mifeprex, a “non-surgical” alternative
to abortion. By contrast, the Petitioners seek to protect women from the unknowing use of a
dangerously unsafe drug by pursuing an immediate stay and withdrawal of FDA’s approval of
the new drug application (“NDA”) for mifepristone.

      Although opposing comments were inevitable, the Petitioners are concerned that the
Sponsor has refused to acknowledge any problems regarding the safety, effectiveness and overall



1
 Opposition of The Population Council, Inc. and Danco Laboratories, LLC to Citizen Petition and Request for
Administrative Stay Regarding Mifeprex® (Mifepristone), Docket No. 02P-0377 (March 13, 2003) (“Opposition
Comments”) (available at: <http://www.fda.gov/ohrms/dockets/dailys/03/Mar03/031303/031303.htm>).
2
  Citizen Petition of the American Association of Pro Life Obstetricians and Gynecologists, the Christian Medical
Association, and Concerned Women for America, Request for Stay and Repeal of the Approval of Mifeprex
(mifepristone) for the Medical Termination of Intrauterine Pregnancy through 49 Days’ Gestation, Docket No. 02P-
0377 (filed Aug. 20, 2002) (available at: <http://www.aaplog.org/newscitizenpetitionru486.htm>).




                                                                                              EX. 13 pg. 001
                                                                                                    App. 0254
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                                                                                                                 2

 medical suitability of the Mifeprex Regimen.3 The Petitioners are not surprised, however, that
 the Sponsor has failed to produce medical-scientific data and adequate explanations for the
 administrative irregularities described in the Petition. This failure is consistent with the
 Petitioners’ contention that the clinical data in support of the Mifeprex Regimen are scarce, not
 the product of adequate and well-controlled trials, and cannot support a reasoned risk-benefit
 analysis by FDA. Instead, the available evidence points to the fact that Mifeprex should never
 have been approved by FDA.

         We have set forth below our responses to the Sponsor’s Opposition Comments, along
 with additional evidence that the safety and effectiveness of Mifeprex have not been established
 in accordance with FDA’s regulations. In particular, the drug, which was not lawfully entitled to
 consideration under Subpart H, could not have been approved apart from that provision’s special
 distribution restrictions; the clinical trials relied on to support the NDA were legally and
 clinically insufficient; the inclusion of misoprostol in the Mifeprex Regimen without a
 corresponding misoprostol approval was unlawful; and the Regimen’s use is inherently unsafe,
 as proven by recent life-threatening adverse events and even deaths. With this evidence, FDA is
 both statutorily empowered and obligated to grant an Administrative Stay to suspend the
 Mifeprex NDA approval and expedite withdrawal proceedings.

 I.      The Safety and Effectiveness of Mifeprex Have Not Been Established in Accordance
         with FDA’s Regulations.

         FDA’s approval of a drug product must rest on the Agency’s conclusion that the drug is
 safe and effective for its labeled conditions for use. In the case of Mifeprex, the Petitioners
 previously provided evidence that the NDA should not have been approved, and the Sponsor’s
 Opposition Comments did not rebut that evidence. In fact, as described below, although the
 Opposition Comments reiterate the Sponsor’s confidence in the safety and efficacy of the
 Mifeprex Regimen, they also expose the dearth of pre- or post-approval evidence for that
 position. Consequently, given the body of evidence now before FDA, the Agency should
 withdraw its approval of the Mifeprex NDA at this time.

         A.       Subpart H Enables FDA to Place Special Restrictions on Especially Risky
                  Drugs like Mifeprex.

         Although Petitioners maintain their original position that FDA’s reliance on Subpart H
 was unlawful for this drug, the Sponsor’s response that Mifeprex could have been approved
 alternatively under Section 505 is incorrect. The Sponsor’s Opposition Comments repeat an
 argument that the Sponsor made when it was trying to convince FDA not to use Subpart H – that
 “[t]he restrictions FDA imposed under Subpart H could as well have been imposed (and
 enforced) under Section 505 [of the FD&C Act]4 itself, without reference to Subpart H.”5 The

 3
  When FDA approved the Population Council’s NDA for mifepristone, it approved the drug for use in conjunction
 with misoprostol. In this Response, “Mifeprex Regimen” will refer to the combined use of Mifeprex and
 misoprostol to effect an abortion.
 4
   Federal Food, Drug, & Cosmetic Act of 1938 (“FD&C Act”), Pub. L. No. 75-717, 52 Stat. 1040 (1938) (codified
 as amended at 21 U.S.C. §§ 301 et seq.).




                                                                                            EX. 13 pg. 002
                                                                                                   App. 0255
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 fact that FDA proceeded under Subpart H suggests that the Agency did not subscribe to this
 argument. Indeed, had FDA taken this position, it would not have promulgated the restricted
 distribution prong of Subpart H,6 but would simply have relied on Section 505 to impose
 restrictions. When FDA adopted Subpart H, it noted that “the restrictions to ensure safe use
 contemplated for approvals under [Subpart H] are authorized by statute.”7 FDA went on to
 explain that Subpart H would enable the Agency to impose on drugs restrictions “necessary to
 ensure that section 505 criteria have been met, i.e., restrictions to ensure that the drug will be
 safe under its approved conditions of use.”8 Additional restrictions are necessary because
 Mifeprex and other Subpart H drugs carry greater risks than drugs approved through the typical
 new drug approval processes.9 In short, when FDA adopted Subpart H, it added a new tool to its
 regulatory toolbox enabling it to approve drugs that otherwise could not have been approved
 because the safe usage mandates in Section 505 would not have been satisfied.10 Therefore, the
 Sponsor errs in asserting that the approval of the Mifeprex NDA is independently grounded in
 Section 505(d).

          The Sponsor also claimed that its cooperation with FDA to devise restrictions obviates
 the need to rely on Subpart H.11 The Sponsor’s unfailing confidence in the safety of mifepristone
 even in the face of scientific evidence to the contrary is part of the reason that restrictions under
 section 505 could not be effective. The Sponsor’s bias in favor of Mifeprex clouds its analysis of
 the inherent hazards of the Regimen. In fact, the Sponsor refused to participate in devising
 restrictions that were designed to protect Mifeprex patients.

        As “evidence” of its cooperation, the Sponsor pointed to the restricted distribution plan it
 proposed to an FDA advisory committee in 1996.12 The FDA Advisory Committee’s reaction to
 5
  See Opposition Comments at 3 (citing 21 U.S.C. § 355). See also Letter, Sandra Arnold to FDA/CDER, Office of
 Drug Evaluation III, Division of Reproductive and Urologic Products (Sept. 6, 2000): at 3-5 [FDA FOIA Release:
 MIF 001333-49].
 6
      21 C.F.R. § 314.520.
 7
   New Drug, Antibiotic, and Biological Product Regulations; Accelerated Approval, Final Rule, 57 Fed. Reg.
 58942, 58951, § 20 (Dec. 11, 1992) (“Subpart H Final Rule”).
 8
   Subpart H Final Rule, 57 Fed. Reg. at 58951, § 20. See also New Drug, Antibiotic, and Biological Product
 Regulations; Accelerated Approval, Proposed Rule, 57 Fed. Reg. 13234, 13237, sec. III.B.3. (April 15, 1992)
 (“Subpart H Proposed Rule”) (noting that without Subpart H restrictions, the drug “would be adulterated under
 section 501 of the act, misbranded under section 502 of the act, or not shown to be safe under section 505 of the
 act”).
 9
   See Subpart H Final Rule, 57 Fed. Reg. at 58952, § 23 (“The postmarketing restrictions set forth in the proposal
 and in this final rule are intended to enhance the safety of a drug whose risks would outweigh its benefits in the
 absence of the restriction.”).
 10
    FDA explained that “rather than interfering with physician or pharmacy practice, the regulations permit, in
 exceptional cases, approval of drugs with restrictions so that the drugs may be available for prescribing or
 dispensing.” Subpart H Final Rule, 57 Fed. Reg. at 58951-52, § 20.
 11
      See Opposition Comments at 5-6.
 12
   See Opposition Comments at 4. The Sponsor was referring to a plan presented to FDA’s Reproductive Health
 Drugs Advisory Committee (“FDA Advisory Committee”). See FDA Advisory Committee, Hearings on New Drug
 Application for the Use of Mifepristone for Interruption of Early Pregnancy, at 7 (July 19, 1996) (FDA Hearings
 Transcript)[FDA FOIA Release: MIF 005200-90, MIF 005209]. The Petitioners will, at times, cite to documents



                                                                                                  EX. 13 pg. 003
                                                                                                         App. 0256
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 the proposal, however, reveals its inadequacy; the Advisory Committee stated that “[w]e agree in
 concept with the proposal but have serious reservations on how it is currently described in terms
 of assuring safe and adequate credentialing of providers.”13 The Sponsor also cited to its
 “comprehensive distribution plan” submitted in January 2000 and to its revised distribution plan
 submitted to FDA in March 2000.14 The Sponsor indicated in its January 2000 submission that it
 was providing the proposal only “in light of the unique situation surrounding abortion provision
 in the United States and not out of any medical safety concerns,”15 and the March 2000
 submission was prefaced with a denial that mifepristone was “a highly toxic and risky drug.”16
 However, as the Petition explained, the plans that the Sponsor submitted on both occasions were
 not designed with the safety of the patient in mind and when FDA proposed a set of restrictions
 that focused on patient safety, the Sponsor balked.17 Further, even if the Sponsor had
 participated willingly in drawing up restrictions that embodied key safeguards for patients, FDA
 could not necessarily expect similar cooperation from future generic producers of mifepristone.18

            Conclusion

         As explained above, the Mifeprex approval cannot rest independently on Section 505(d)
 of the FD&C Act. The Sponsor refused to acknowledge that there are serious risks associated
 with the Mifeprex Regimen, let alone to propose restrictions designed to counteract those risks.
 FDA approved Mifeprex under Subpart H in order to impose mandatory safety restrictions on the
 distribution and use of the drug. That being said, the proper course would have been for FDA to
 have rejected the NDA because Mifeprex is unsafe and ineffective under Section 505 and fails to
 satisfy the Subpart H prerequisites that it treat a serious or life-threatening illness and provide a
 meaningful therapeutic benefit above existing treatments.19



 contained in FDA’s January 31, 2002 public release of documents (approximately 9,000 pages in 94 files) made
 pursuant to a Freedom of Information Act (“FOIA”) request (“FDA FOIA Release”) filed by the non-profit
 organization, Judicial Watch. These bracketed citations will reflect the page numbering FDA has stamped on the
 bottom of each page of the document cited, for example: [FDA FOIA Release: MIF 000001-05]. The FDA webpage
 posting the 94 files is: <http://www.fda.gov/cder/archives/mifepristone/default.htm>.
 13
   FDA Advisory Committee, Minutes of July 19, 1996 Meeting (approved July 23, 1996): at 7 [FDA FOIA
 Release: MIF 000539-45, MIF 000545] (citing statement voted on unanimously by the FDA Advisory Committee).
 14
      See Opposition Comments at 4-5.
 15
   Amendment 039 to the NDA, Cover Letter, Danco to FDA (Jan. 21, 2000): at 1 [FDA FOIA Release: MIF
 000525-26, MIF 000525]. The Sponsor’s reference to the “unique situation surrounding abortion provision in the
 United States” reveals the Sponsor’s primary concern in proposing restrictions, namely that the safety and
 confidentiality of abortion providers be maintained, not that patient safety be maximized.
 16
   Responses by Population Council to “FDA Letter, [redacted] to Arnold, Sandra (February 18, 2000)” (Mar.
 2000): at 1 [FDA FOIA Release: MIF 000523-24, MIF 000523].
 17
      See Section I.D. herein; see also Petition at 50-54.
 18
    See FDA, Memorandum, re: NDA 20-687 (Feb. 17, 2000): at 3 [FDA FOIA Release: MIF 000583-85, MIF
 000585] (“Subpart H approval will also allow the FDA to impose similar distribution restrictions and system on any
 future generic mifepristone approved for this indication.”).
 19
      See Petition at 18-23 (explaining why Mifeprex was an inappropriate candidate for Subpart H).




                                                                                                 EX. 13 pg. 004
                                                                                                        App. 0257
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            B.          The Mifeprex Clinical Trials Were Legally and Clinically Insufficient.

         The Petition describes numerous problems that plagued the clinical trials underlying the
 approval of Mifeprex. The Sponsor’s Opposition Comments, rather than demonstrating the
 sufficiency of the clinical trial data that formed the basis for the Mifeprex NDA, heightened the
 Petitioners’ concerns about the legal and clinical sufficiency of the French and U.S. Clinical
 Trials (collectively, “Mifeprex Trials”). First, a close reading of the Sponsor’s Opposition
 Comments reveals that the Mifeprex Trials were not historically controlled but, rather, were
 uncontrolled.20 Second, even if the Mifeprex trials were historically controlled, as the Sponsor
 maintains, the use of historically controlled trials to support this NDA violated clearly
 established FDA rules and agency policies.21 Finally, the Sponsor’s additional arguments in
 support of the scientific adequacy of the Mifeprex trials do not answer the objections presented
 in the Petition. Untested by adequate clinical trials, the Mifeprex Regimen cannot be deemed to
 be safe and effective; accordingly, the marketing of Mifeprex must be halted.

                        1.     The Mifeprex Trials Were Uncontrolled.

         A review of the record regarding the scope and methodology of the trials, prompted by
 the Sponsor’s defense of the Mifeprex Trials,22 reveals that the trials used to support the
 Mifeprex NDA were not historically controlled, but were uncontrolled.23 The Petition cited to
 the discussion between a member of FDA’s Advisory Committee and an FDA official in which
 the Mifeprex Trials were characterized as “historically” controlled.24 The Petitioners noted,
 however, that the Mifeprex Trials appeared to have been uncontrolled.25

        The French Clinical Trials consisted of two studies in which all participants were given a
 mifepristone-misoprostol regimen, and no concurrent control group underwent a different
 abortion treatment.26 The Sponsor did not describe any historical (or “external”) control group,27
 20
    Because the Mifeprex Regimen was the first drug regimen that FDA approved to induce abortions, in order to
 scientifically demonstrate the safety and effectiveness of this drug regimen, the Sponsor should have compared this
 new drug regimen to surgical abortions performed during the first 49 days after a woman’s last menstrual period.
 21
    The Petitioners believe that a longitudinal analysis of all past occasions on which FDA accepted uncontrolled and
 historically controlled trials as an adequate basis for an NDA and all past occasions on which it has rejected the use
 of uncontrolled or historically controlled clinical trials would demonstrate the inadequacy of the clinical trials
 underlying this NDA. FDA is uniquely qualified to perform such an analysis.
 22
      See Opposition Comments at 6-9.
 23
    One consequence of the failure to conduct properly controlled trials is that a statistical evaluation of effectiveness
 could not be made. As FDA’s statistical reviewer noted, with reference to the French trials: “[i]n the absence of a
 concurrent control group in each of these studies, it is a matter of clinical judgment whether or not the sponsor’s
 proposed therapeutic regimen is a viable alternative to uterine aspiration for the termination of pregnancy.” See
 FDA, Statistical Review and Evaluation (May 21, 1996): at 7-8.
 24
   Petition at 36, n.168 (referring to statements by Dr. Cassandra Henderson, a member of the FDA Advisory
 Committee, and FDA’s Dr. Ridgely C. Bennett at the Advisory Committee Hearings).
 25
      Petition at 35.
 26
    Letter, C. Wayne Bardin, Population Council, to FDA/CDER (June 5, 1995) (Submission Serial Number: 131) at
 3-4 (“Bardin Letter”)[FDA FOIA Release: MIF 004746-47]. The patients in the French Clinical Trials took 600 mg
 of mifepristone followed by 400 µg of misoprostol. In one of the French Clinical Trials, some patients received an



                                                                                                     EX. 13 pg. 005
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 nor did the Sponsor indicate that any of the well-established scientific guidelines for selecting a
 proper control group before commencing a historically controlled study were used for the French
 Clinical Trials.28 The Sponsor, nevertheless, informed FDA that “[a]ll studies conducted with
 mifepristone in the induction of abortion can be regarded as having historical controls which
 consist of the body of information available on abortion using surgical procedures.”29 This
 observation appears to be the only basis for the Sponsor’s claim that the French Clinical Trials
 were historically controlled, and it is inadequate.

         The U.S. Clinical Trial mimicked the design of the French Clinical Trials.30 All
 participants were given a mifepristone-misoprostol regimen, and no concurrent control group
 underwent a different abortion treatment. Descriptions of the U.S. Clinical Trial do not mention
 a control group, historical or otherwise, or the procedures according to which a control group
 was selected.31 The absence of any reference to a control group suggests that the U.S. Clinical
 Trial was not historically (externally) controlled.32

         The Sponsor’s failure to precisely identify a historical control group is fatal to its claim
 that the Mifeprex Trials were historically controlled. Postulating the existence of some generic,



 extra 200 µg of misoprostol if the first 400 µg was not sufficient to complete the abortion. The approved Mifeprex
 Regimen consists of 600 mg of mifepristone followed by 400 µg of misoprostol.
 27
      Bardin Letter at 3-4.
 28
    FDA guidance lists “some approaches to design and conduct of externally controlled trials could lead them to be
 more persuasive and potentially less biased:”
            A control group should be chosen for which there is detailed information, including, where pertinent,
            individual patient data regarding demographics, baseline status, concomitant therapy, and course on study.
            The control patients should be as similar as possible to the population expected to receive the test drug in
            the study and should have been treated in a similar setting and in a similar manner, except with respect to
            the study therapy. Study observations should use timing and methodology similar to those used in the
            control patients. To reduce selection bias, selection of the control group should be made before performing
            comparative analyses; this may not always be feasible, as outcomes from these control groups may have
            been published. Any matching on selection criteria or adjustments made to account for population
            differences should be specified prior to selection of the control and performance of the study.”
 FDA, “Guidance for Industry: E10 Choice of Control Group and Related Issues in Clinical Trials,” (Rockville, Md.:
 May 2001): at 27 (§ 2.5.2) (ICH: E10). ICH: E10 is available at: <http://www.fda.gov/cder/guidance/4155fnl.pdf>.
 29
      Bardin Letter at 4.
 30
   For a description of the U.S. Clinical Trial, see Irving M. Spitz, M.D., C. Wayne Bardin, M.D., Lauri Benton,
 M.D., and Ann Robbins, “Early Pregnancy Termination with Mifepristone and Misoprostol in the United States,”
 New England Journal of Medicine 338 (Apr. 30, 1998): 1241-47 (“Spitz Article”) [FDA FOIA Release: MIF
 006692-97].
 31
      See, e.g., Spitz Article.
 32
    The Spitz Article does compare two groups, patients who are differentiated by the age of their pregnancies, but a
 comparison of that type does not generate data about whether mifepristone-misoprostol abortions are safe and
 effective. To the extent the Sponsor believed that a correlation existed between the age of the pregnancy and the
 safety and efficacy of mifepristone-misoprostol abortions, any historical control group that the Sponsor used should
 have been classified by, among other characteristics, gestational age.




                                                                                                    EX. 13 pg. 006
                                                                                                           App. 0259
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 undefined comparison group based on the literature about surgical abortion does not suffice.33 In
 sum, the Mifeprex Trials were uncontrolled and cannot support the Mifeprex NDA.34

                   2.       Mifeprex Is Not a Drug for Which Historically Controlled Trials Were
                            Appropriate.

         Assuming arguendo, as the Sponsor maintains, that the Mifeprex Trials were historically
 controlled, they were nevertheless not adequately controlled and did not provide an adequate
 basis for approving the Mifeprex NDA. In its Opposition Comments, the Sponsor erroneously
 suggested that “historically controlled” trials yield data of the same quality as data generated in
 concurrently controlled trials.35 In fact, the scientific community (and FDA specifically) regard
 historically controlled studies to be little better than uncontrolled studies and, therefore, generally
 disfavor their use with a few well-defined exceptions.36

        Mifepristone-misoprostol abortions do not fall within any of those exceptions. The
 Rochester Glossary states that historical controls are “mainly used in the study of rare diseases”
 in which sample size would not be sufficient to support a randomized clinical trial.37 This
 exception is inapplicable because the number of pregnant women seeking to terminate their
 pregnancies is large enough to support randomized, concurrently controlled trials. Section
 314.126(b)(2)(v) of FDA’s rules cautions that the use of historical controls is “usually reserved

 33
    In addition, the Sponsor, in its Opposition Comments, invented a historical control group ex post facto by
 comparing the rate of spontaneous abortions in the general population of pregnant women with the rate of abortions
 in patients who underwent a mifepristone-misoprostol regimen during the Mifeprex Trials. See Opposition
 Comments at 6-7 (“In these major studies, 92-95% of the 2508 women evaluated for efficacy had complete
 abortions … . By comparison, the rate of spontaneous abortion in the first trimester is assumed to be about 10%.”).
 Using the general population as a historical control group and retrospectively assuming a rate of spontaneous
 abortion in this group is not a scientifically acceptable approach to identifying a control group, particularly when, as
 here, an established surgical treatment group could have been used as the control group.
 34
    Section 314.126(e) of FDA’s rules states that “[u]ncontrolled studies or partially controlled studies are not
 acceptable as the sole basis for the approval of claims of effectiveness.” 21 C.F.R. § 314.126. A publicly available
 FDA staff presentation about clinical trials illustrates this point. The presentation explained, under the heading
 “Phase 3 – Comparative trial to evaluate drug,” “Comparator group important – Standard of care, placebo, never
 nothing in serious or life-threatening diseases (ICH E3, E9, E10).” See Peter A. Lachenbruch, “Some Things You
 Always Wanted to Know about Clinical Trials but Were Afraid to Ask,” Slide Presentation for CBER 101: An
 Introduction to the Center for Biologics Evaluation and Research (CBER) (March 24-26, 2003): at 5 (emphasis in
 original) (available at: http://www.fda.gov/cber/summaries/cber101032403pl.pdf).
 35
      See Opposition Comments at 6-8.
 36
    For example, the Research Subjects Review Board of the University of Rochester Medical Center authored a
 guidance document, which states that “[h]istorical controls are considered to be the least reliable because they
 compare results obtained in another time, in another place and by another investigator.” University of Rochester
 Medical Center, Research Subjects Review Board, “Glossary of Research Terms,” at 2 (“Rochester Glossary”)
 (available at: http://www.urmc.rochester.edu/rsrb/pdf/glossary.pdf ). Similarly FDA has explained, “[t]he
 limitations of historical controls are well known (difficulty of assuring comparability of treated groups, inability to
 blind investigators to treatment, etc.) and deserve particular attention.” FDA/CDER, Guideline for the Format and
 Content of the Clinical and Statistical Sections of an Application (July 1988): at 54.
 37
    Rochester Glossary at 2 (“Historical controls are mainly used in the study of rare diseases where the n is not
 sufficient for a randomized clinical trial.”).




                                                                                                     EX. 13 pg. 007
                                                                                                            App. 0260
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 for special circumstances” and cites “studies of diseases with high and predictable mortality (for
 example, certain malignancies) and studies in which the effect of the drug is self-evident (general
 anesthetics, drug metabolism).”38 Mifepristone-misoprostol abortions do not fit within either of
 these categories. First, the Regimen does not treat a condition with “high and predictable
 mortality.” Second, the effects of the Regimen are not “self-evident” as in the case of general
 anesthetics. The Sponsor’s discussion of the adequacy of its trial data reflects the Sponsor’s
 fundamental misconception that there are only two possible outcomes of the Mifeprex Regimen,
 both of which are self-evident: regimen failure (failed abortion) and regimen success (death and
 complete expulsion of the fetus). The Sponsor’s focus on this dyadic set of possibilities (failure
 (0) or success (1)) obscures a whole range of less easily measurable, but critically important,
 outcomes. Such outcomes include tissue retention, life-threatening hemorrhaging, persistent
 bleeding, infection, teratogenicity, pain, continued fertility, and psychological effects.

        The Sponsor’s reliance on FDA Guidance, ICH: E10, is also misplaced.39 Although ICH:
 E10 includes a discussion of situations in which externally controlled trials may be used, it also
 warns of their inherently problematic nature.40 The Sponsor’s reliance on the acknowledgement
 in ICH: E10 that historical controls are appropriate in some circumstances is misplaced. ICH:
 E10 explains:

            An externally controlled trial should generally be considered only when prior
            belief in the superiority of the test therapy to all available alternatives is so strong
            that alternative designs appear unacceptable and the disease or condition to be
            treated has a well-documented, highly predictable course. It is often possible,
            even in these cases, to use alternative, randomized, concurrently controlled
            designs (see section 2.1.5).41


 38
      21 C.F.R. § 314.126(b)(2)(v) provides:
            Historical control. The results of treatment with the test drug are compared with experience historically
            derived from the adequately documented natural history of the disease or condition, or from the results of
            active treatment, in comparable patients or populations. Because historical control populations usually
            cannot be as well assessed with respect to pertinent variables as can concurrent control populations,
            historical control designs are usually reserved for special circumstances. Examples include studies of
            diseases with high and predictable mortality (for example, certain malignancies) and studies in which the
            effect of the drug is self-evident (general anesthetics, drug metabolism).
 39
      Opposition Comments at 7.
 40
    See ICH: E10 at 29 (§ 2.5.7)(“The externally controlled study cannot be blinded and is subject to patient,
 observer, and analyst bias; these are major disadvantages. It is possible to mitigate these problems to a degree, but
 even the steps suggested in section 2.5.2 cannot resolve such problems fully, as treatment assignment is not
 randomized and comparability of control and treatment groups at the start of treatment, and comparability of
 treatment of patients during the trial, cannot be ensured or well assessed. It is well documented that externally
 controlled trials tend to overestimate efficacy of test therapies. It should be recognized that tests of statistical
 significance carried out in such studies are less reliable than in randomized trials.”). See also Henry Sacks, Ph.D.,
 M.D., Thomas C. Chalmers, M.D., Harry Smith, Jr., Ph.D., “Randomized Versus Historical Controls for Clinical
 Trials,” The American Journal of Medicine 72 (Feb. 1982): 233-240, 233 (“The data suggest that biases in patient
 selection may irretrievably weight the outcome of [historical controls] in favor of new therapies.”).
 41
      ICH: E10 at 28 (§ 2.5.4).




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 Even proponents of mifepristone-misoprostol abortions would not argue that such abortions are
 superior to alternative methods of abortion.42 In fact, the Mifeprex Regimen has been shown to
 be an inferior method of abortion.43 Absent a clear belief in the Regimen’s superiority,
 concurrently controlled trials should have been performed.44 Furthermore, pregnancies often do
 not follow a “well-documented, highly predictable course.”45 Mifepristone-misoprostol
 abortions do not satisfy either prong of the ICH: E10 prerequisite for the use of historically
 controlled studies.46

                    3.       The Mifeprex Clinical Trials Did Not Establish a “Meaningful and
                             Therapeutic Benefit” As Required By Subpart H.

          Drugs, like Mifeprex, approved pursuant to Section 314.520 (Subpart H) of the Agency’s
 rules,47 must provide a “meaningful therapeutic benefit to patients over existing treatments.”48
 Subpart H drugs “will have had effectiveness demonstrated on the basis of adequate and
 well-controlled studies.”49 The Sponsor argued that “meaningful therapeutic benefit” does not
 impose design features for the clinical trials required to support an NDA approved pursuant to
 Subpart H.50 The Sponsor’s position is inconsistent with the plain meaning of the rule. Subpart
 H is reserved for drugs that have a higher risk profile than drugs approved through standard FDA
 processes. A meaningful therapeutic benefit over available therapies justifies the heightened
 risks, and only well-controlled clinical trials can demonstrate that such a benefit exists.51

 42
    See, e.g., Richard Hausknecht, M.D., “Mifepristone and Misoprostol for Early Medical Abortion: 18 Months
 Experience in the United States,” Contraception 67 (2003): 463-65, 465 (“Hausknecht Article”) (“Which approach
 to early abortion, medical or surgical, is safer remains unknown but it does appear that medical abortion is as safe as
 early surgical abortion. There are no recent data on failed surgical abortions but the failure rate of
 mifepristone/misoprostol medical abortions is higher than that reported decades ago for suction curettage.”)
 43
   Petition at 21-22 (discussing Jeffrey T. Jensen, Susan J. Astley, Elizabeth Morgan, and Mark D. Nicols,
 “Outcomes of Suction Curettage and Mifepristone Abortion in the United States: A Prospective Comparison Study,”
 Contraception 59 (1999): 153-159 [FDA FOIA Release: MIF 000438-44]).
 44
    The Petitioners believe that trials comparing mifepristone-misoprostol abortion with the surgical alternative were
 not conducted for precisely this reason (i.e., such trials would have demonstrated that mifepristone-misoprostol
 abortions were inferior). Because of its inferiority, the Mifeprex Regimen is contraindicated.
 45
    Even though pregnancy occurs regularly, complications arise during pregnancy on a frequent basis (e.g.,
 approximately 2% of pregnancies are ectopic and others involve such complications as high blood pressure, ruptured
 placenta, infection, cysts, abnormal pain, anemia, and fetal malposition).
 46
    Even if mifepristone-misoprostol abortion were deemed to be an acceptable candidate for historically-controlled
 testing, the Sponsor should have attempted to devise concurrently controlled trials anyway. ICH: E10 states that
 even when historically controlled testing may be appropriate, “[i]t is often possible … to use alternative,
 randomized, concurrently controlled designs.” ICH: E10 at 28 (§ 2.5.4).
 47
      21 C.F.R. § 314.520.
 48
      21 C.F.R. § 314.500.
 49
      See Subpart H Final Rule, 57 Fed. Reg. at 58953, § 25.
 50
      Opposition Comments at 8.
 51
    The Sponsor also argued that by the time FDA decided to approve Mifeprex using Subpart H, the Sponsor had
 completed the Mifeprex Trials and that FDA could not have required the Sponsor to modify the trial design and
 perform new trials for Subpart H purposes. See Opposition Comments at 9, n. 4. FDA is under no obligation to



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         The Sponsor argued that two of the examples of “meaningful therapeutic benefit” listed
 in Section 314.500 (“ability to treat patients unresponsive to, or intolerant of, available therapy”)
 present situations in which comparative trials with the existing therapy are not feasible.52 Yet,
 sponsors who intend their drugs to treat unresponsive or intolerant patients are not exempt from
 the requirement to conduct “well-controlled” trials. In fact, Subpart H trials are routinely
 designed to compare, in unresponsive or intolerant patients, the safety and effectiveness of the
 new therapy with either the standard of care or a placebo.53

         The Sponsor further claimed that FDA “routinely approves Subpart H drugs on the basis
 of study designs that do not compare the Subpart H drug directly to existing therapy.”54 In
 support of this claim, the Sponsor offered one example, the Subpart H approval of the leprosy
 drug, Thalomid (thalidomide).55 That example is inapposite because the Thalomid NDA was
 supported by three controlled trials despite the existence of factors that might have supported an
 exemption from the standard trial requirements.56 In one of the three underlying trials,
 thalidomide plus the standard treatment was compared against the standard treatment alone plus
 a placebo.57 This study design allowed for a meaningful statistical analysis of the effectiveness
 of this drug in comparison with the current available standard of care – in direct contrast to the
 faulty study designs and minimal statistical analysis associated with the Mifeprex NDA.

            Conclusion

          By statute and agency regulation, drug applications must be supported by adequate and
 well-controlled studies. The failure of the Sponsor to offer legally and scientifically sufficient
 trial data should have been fatal to its NDA and now requires withdrawal of that approval.58

 approve an NDA at all, let alone to approve an NDA based on insufficient trial data. It is not uncommon at any
 stage of the NDA review process for FDA to require a drug sponsor to correct or amend an NDA by conducting
 properly designed and executed studies. Had the sponsor followed standard scientific norms and performed
 randomized, concurrently controlled trials comparing mifepristone-misoprostol abortion with surgical abortion it
 would have been able to supply comparative data.
 52
   See Opposition Comments at 8-9. Mifepristone-misoprostol abortions do not fall within either of these examples.
 Because surgical abortion, the standard of care, is the backup procedure if the Mifeprex Regimen fails, ipso facto the
 Regimen cannot be used to treat patients unresponsive to or intolerant of the standard of care.
 53
    Furthermore, in this instance, the Sponsor did not attempt to test the drug in populations that it identified as
 intolerant or unresponsive and, indeed, the Mifeprex Regimen is not an option for patients unresponsive to or
 intolerant of surgical abortion because surgical abortion is the back-up procedure for Mifeprex patients.
 54
      Opposition Comments at 9.
 55
      NDA 20-785.
 56
     The fact that leprosy is a rare disease in the U.S. makes it difficult to perform clinical trials. In addition, there are
 compassionate reasons for not awaiting the results of randomized, double-blinded comparator controlled clinical
 trials before treating patients suffering from leprosy. The fact that well-controlled trials were employed despite the
 existence of these mitigating factors is evidence of the value that the scientific community places on well-controlled
 trials.
 57
    See Petition at 39 (discussing the thalidomide trials). In one study, all participants received either thalidomide or
 a placebo in addition to the standard dapsone treatment.
 58
      See Petition at 30-35 (discussing statutory and regulatory requirements for clinical trials).



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           C.      The Inclusion of Misoprostol in the Mifeprex Regimen Was Unlawful.

         The Mifeprex Regimen combines the use of mifepristone and a second drug, misoprostol
 (Cytotec™). Although FDA never approved misoprostol as a stand-alone abortifacient, it
 approved misoprostol for use as an abortifacient in combination with mifepristone and mandated
 this use in the Mifeprex Package Insert. As explained in the Petition, FDA effectively
 sanctioned the use and promotion of misoprostol for an unapproved indication.59 The promotion
 of an unapproved use contradicts the FD&C Act, which takes the position that “a drug
 manufacturer may not promote [its] product for any use other than the ones for which the
 company received FDA approval.”60

         In its Comment, the Sponsor defended the de facto approval of misoprostol for a new
 indication as an abortifacient and asserted that “FDA routinely approves drugs for use in
 combination with previously approved drugs without requiring any change in the labeling of the
 previously approved drug.”61 The Sponsor denied that this practice “puts either FDA or the
 sponsor of the later-approved drug in the position of ‘promoting’ off-label use of the previously
 approved drug.”62 The Sponsor offered four examples to support its position that this practice is
 not uncommon.63

        In fact, the Sponsor’s four examples support the position set forth in the Petition that
 subsequently approved drugs (Drug Bs – like Mifeprex) may reference previously approved
 drugs (Drug As – like misoprostol) on Drug B’s labeling only for FDA-approved indications.64


 59
    See Petition at 41-48. The drug’s manufacturer, G.D. Searle & Co. (“Searle”), did not file a supplemental NDA
 to obtain approval for misoprostol’s use as an abortifacient. Searle has subsequently been purchased, most recently,
 by Pfizer. See Petition at 42, n.188.
 60
   See Elizabeth A. Weeks, “Is It Worth the Trouble? The New Policy on Dissemination of Information on Off-
 Label Drug Use under the Food and Drug Modernization Act of 1997,” Food and Drug Law Journal 54 (1999):
 645-65, 645.
 61
      Opposition Comments at 9.
 62
      Opposition Comments at 10.
 63
      Opposition Comments at 9-10.
 64
    The first example offered by the Sponsor is the approval by FDA on September 10, 2001 of the combination of
 Xeloda (capecitabine) and Taxotere (docetaxel) for treating patients with metastatic breast cancer that has
 progressed after treatment with an anthracycline-containing cancer therapy. FDA initially approved Xeloda, an oral
 therapy, for the treatment of breast cancer on April 30, 1998, and FDA approved Taxotere, an intravenous product,
 for the treatment of advanced breast cancer on May 15, l998. See FDA Press Release, “FDA Approves Xeloda in
 Combination with Taxotere for Advanced Breast Cancer” (Sept. 10, 2001) (available at:
 <http://www.fda.gov/bbs/topics/ANSWERS/2001/ANS01101.html>). Thus, when Xeloda and Taxotere are used
 together, each is being used for an FDA-approved use.
           The Sponsor’s second example is FDA’s approval on July 15, 1999 of Actos to improve glycemic control
 in patients with Type 2 diabetes. Actos is indicated as a monotherapy and for use in combination with a
 sulfonylurea, metformin, or insulin “when diet and the single agent does not result in adequate glycemic control.”
 Letter, FDA/CDER to Mikihiko Obayashi, President, Takeda America Research & Development Center, Inc. (July
 15, 1999). When used alone or together to treat Type-2 diabetes, each drug is being used for one of its FDA-
 approved indications.



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 Each example describes drug products that are being used in combination to treat indications
 approved for the single drugs at issue.

         Upon close examination, the Sponsor’s four examples underscore the fact that FDA’s
 approval of mifepristone for use in combination with misoprostol, a drug never approved as an
 abortifacient, constitutes a significant departure from FDA precedents. As Professor Richard
 Merrill explained, “[i]n FDA’s view, to promote any use of [its] new drug, the manufacturer
 must have agency approval – allowing that use to be included in the official labeling.”65 The
 approval in this instance struck at the heart of FDA’s long-held policy that in order for a new
 drug use to be promoted, the drug’s sponsor must submit an application seeking to demonstrate
 the safety and effectiveness of that new use.66 It defies logic to imagine that Danco could be
 allowed to do with misoprostol what Searle could not do with its own drug – that is, promote an
 unapproved use of misoprostol. Yet, that activity is exactly what FDA permitted in Mifeprex’s
 case. FDA’s regulatory framework would be rendered toothless if third parties were permitted to
 behave in this manner.

         In fact, Searle, which held the patent for misoprostol,67 apparently objected to adding an
 indication for abortion to the Cytotec label. Searle’s objections were overridden because only
 the combined regimen was effective. As the Sponsor explained, “[t]he fact is that mifepristone
 used as contemplated in 1983 was a failed drug – it was not sufficiently efficacious to have ever
 been approved.”68 Perhaps to avoid having to obtain Searle’s cooperation, in an unprecedented

           The Sponsor’s third example is FDA’s approval on October 26, 2001 of Viread (tenofovir disoproxil
 fumarate), a nucleotide reverse transcriptase inhibitor of HIV, for combined use with other antiretroviral agents for
 the treatment of HIV-1 infection in adults. The antiretroviral agents with which Viread is to be used have separately
 been approved for the treatment of HIV. Letter, FDA/CDER to Rebecca Coleman, Gilead Sciences, Inc. (Oct. 26,
 2001) (NDA 21-356). The fact that Viread was not approved for use as a monotherapy in the treatment of HIV does
 not alter the analysis, but rather makes it a useful comparison for mifepristone, which has been approved as an
 abortifacient only in conjunction with misoprostol. Thus, when used together, each drug is being used for one of its
 FDA-approved indications.
           The Sponsor offers as its fourth example FDA’s approval of Nexium (esomeprazole magnesium) on
 February 20, 2001 for the treatment of erosive esophagitis and other symptoms associated with GERD
 (Gastroesophageal Reflux Disease). Letter, FDA/CDER to Kathryn D. Kross, AstraZeneca, LP (Feb. 20, 2001)
 (NDA 21-153; NDA 21-154). For one of its approved indications, H. pylori eradication, Nexium is used in
 combination with amoxicillin and clarithromycin, both of which have been approved for treating H. pylori. Thus,
 when they are used in combination with Nexium, each drug is simply being used for one of its approved indications.
 65
    Richard A. Merrill, “The Architecture of Government Regulation of Medical Products,” Univ. of Virginia Law
 Review 82 (1996): 1753-1866, at 1766, n.40. As noted in the Petition, former FDA general counsel, Peter Barton
 Hutt, observed that FDA’s actions with respect to misoprostol “set[ ] an extraordinary precedent” because FDA was
 “seemingly encouraging a drug’s unapproved use.” See Petition at 42-43 (Hutt’s quotation was reported in Rachel
 Zimmerman, “Clash Between Pharmacia and FDA May Hinder the Use of RU-486,” Wall Street Journal (Oct. 18,
 2000): at B1).
 66
    A drug may be deemed “new” because of “[t]he newness of use of such drug in diagnosing, curing, mitigating,
 treating, or preventing a disease, or to affect a structure or function of the body, even though such drug is not a new
 drug when used in another disease or to affect another structure or function of the body.” 21 C.F.R. § 310.3(h)(4).
 67
   The patent for misoprostol has since expired, but at the time the Mifeprex Regimen was approved, Searle held
 exclusive rights to that patent.
 68
   Population Council Response to the Request for Revision of the Regulatory Review Period Determination for
 MIFEPREX® Submitted by Corcept Therapeutics Inc., Docket No. 01E-0363 (July 2, 2002): at 3 (“Sponsor’s



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 “joint decision” in July 1994, FDA and the Sponsor “determined that the NDA need not cover
 misoprostol as well as mifepristone.”69 The Sponsor subsequently explained, however, that
 “there can be no doubt that the approved human drug product contemplates both mifepristone
 and misoprostol, as shown in the approved labeling,”70 which “specifically states that
 administration of mifepristone must be followed by administration of misoprostol.”71 The
 Sponsor added that “FDA has made clear on numerous occasions, FDA review of an NDA is
 ‘inextricably intertwined’ with the proposed labeling for the product.”72 In so stating, the
 Sponsor speaks out of both sides of its mouth – acknowledging that combined use with
 misoprostol is necessary for Mifeprex’s effectiveness and labeling, but “agreeing” with FDA that
 a corresponding misoprostol approval is not necessary.

            Conclusion

        In summary, the inclusion of misoprostol in the Mifeprex Regimen, outside of the NDA
 approval process for misoprostol, was unlawful. In order to reverse the extraregulatory approval
 of misoprostol as an abortifacient, FDA must withdraw its approval of the Mifeprex NDA.

            D.       Mifeprex-Misoprostol Abortions Are Not Safe.

         The Sponsor continued in its Opposition Comments to defend the safety of Mifeprex, but
 has not allayed the concerns set forth in the Petition.73 Rather than address the scientific and
 medical issues raised in the Petition, the Sponsor has mischaracterized them. As discussed
 above, the trials submitted by the Sponsor to support its NDA did not establish the safety of
 mifepristone-misoprostol abortions, and post-approval data on the Regimen have done no better -
 - serving only to raise the Petitioners’ concerns about the safety of the Mifeprex Regimen.

                     1.      FDA Determined that Mifeprex Would Be Unsafe without Restrictions.

         FDA approved mifepristone under the restricted distribution prong of Subpart H, which
 FDA reserves for drugs that “can be used safely only if distribution or use is modified or
 restricted.”74 Accordingly, the Mifeprex Regimen includes a number of restrictions.75 As the

 Response to Corcept”). In this document, the Sponsor responded to Corcept’s June 10, 2002 request that FDA
 consider 1983 rather than August, 4, 1994 as the starting date for the regulatory review of the Mifeprex
 investigational new drug application (“IND”). The Sponsor sought to convince FDA that the appropriate period for
 determining patent length began on August 4, 1994, the date of the IND that allowed for the investigation of
 mifepristone plus misoprostol to induce abortions. The Sponsor did not obtain the patent extension that it sought.
 The initial ruling in the Population Council’s favor was reversed by FDA. See Note, Determination of Regulatory
 Review Period for Purposes of Patent Extension; Mifeprex; Amendment, 67 Fed. Reg. 65358 (Oct. 24, 2002).
 69
      Sponsor’s Response to Corcept at 2.
 70
      Sponsor’s Response to Corcept at 3.
 71
      Sponsor’s Response to Corcept at 2.
 72
      Sponsor’s Response to Corcept at 2-3 (citation omitted).
 73
      See Opposition Comments at 10-14.
 74
      Subpart H Final Rule, 57 Fed. Reg. at 58942 (“Summary”).




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 Petition explained, however, these restrictions were inadequate to make the drug safe.76
 Moreover, the Sponsor never acknowledged the inherent dangers posed by the approved
 Mifeprex Regimen, balked at implementing distribution restrictions, and dismissed out of hand
 the challenges about the adequacy of the restrictions to reduce the dangers of the Mifeprex
 Regimen.77 Now that it has FDA’s imprimatur to market the drug, the Sponsor takes minimal, if
 any, actions to carry out the required restrictions.78

         Additionally, FDA’s final decision to omit key restrictions from the approved Regimen
 has subjected patients who use the Mifeprex Regimen to unnecessary risks. A pre-procedure
 ultrasound, for example, is necessary to evaluate the gestational age because the Mifeprex
 Regimen has been shown to be less effective and riskier to the patient as gestational age
 increases.79 Ultrasound is also necessary to identify women whose pregnancies are ectopic and
 who should not undergo the Mifeprex Regimen.80 Further, because complications and failures
 are common and predictable and can seriously endanger the health of the patient, FDA should



 75
    For a list of the restrictions, see Letter, FDA/CDER to Sandra P. Arnold, Population Council (Sept. 28, 2000): at
 2 (“Mifeprex Approval Letter”). The Sponsor contends in its Opposition Comments that it cooperated with FDA by
 proposing restrictions. See Opposition Comments at 10-11. This contention reflects the Sponsor’s failure to
 distinguish between restrictions on the distribution of a drug to prescribing physicians and restrictions designed to
 ensure patient safety. Furthermore, contrary to the Sponsor’s suggestion that decisions about the restrictions in the
 Mifeprex Regimen were the product of “discussion, negotiation, give and take, debate, even on occasion disputes,
 between FDA and the Sponsors [that] is characteristic of the review process for many drugs” (Opposition Comments
 at 11), the Sponsor went to great lengths to avoid including safety restrictions in the Mifeprex Regimen. In fact,
 after the Sponsor failed to suggest appropriate restrictions to protect Mifeprex patients, FDA proposed its own set of
 restrictions. Then, the Sponsor complained publicly about the allegedly onerous restrictions. FDA relented and
 inappropriately eliminated a number of key restrictions. See Petition at 49-57 for a discussion of the development of
 and the Sponsor’s opposition to safety restrictions.
 76
      See Petition at 57-65.
 77
    See Opposition Comments at 10. The Petition did not assert that the approved regimen must exactly follow the
 regimen employed during the trials. Nevertheless, if trials include important safeguards that are omitted from the
 approved regimen, then the relevance of the data generated by those trials is undermined. For this reason, a trial
 should be designed to reflect the anticipated conditions under which a drug will be used. See Petition at 75-76. For
 example, had the Sponsor designed the trial to reflect anticipated conditions of use, misoprostol probably would
 have been administered vaginally during the trials, which appears to be the standard method of administration now
 that the Mifeprex Regimen is approved. Had the trial protocol called for vaginal administration, it would have
 drawn attention to the unlawful inclusion of misoprostol in the Regimen because misoprostol is approved only for
 oral use. As FDA has explained, “[i]n order to change or add a new dosing regimen to the labeling, the sponsor
 must submit data to FDA from clinical trials that show the new regimen is safe and effective.” See FDA,
 “Mifepristone Questions and Answers 4/17/2002” (“FDA Q & As”) at Question 9 (“Why are physicians using
 misoprostol ‘off-label,’ in other words, using misoprostol virginally at different doses?”) (available at:
 <http://www.fda.gov/cder/drug/infopage/mifepristone/mifepristone-qa_4_17_02.htm>).
 78
      See Section I.D.3, herein.
 79
      See Spitz Article at 1241 (“Results”).
 80
    The Sponsor’s Opposition Comments addressed the use of ultrasound only for the purpose of dating pregnancies.
 As explained in the Petition, ectopic pregnancies cannot be treated by the Mifeprex Regimen and the symptoms of
 ectopic pregnancy are likely to be mistaken as the normal effects of undergoing a Mifeprex abortion. For a more
 complete discussion of the necessity of using ultrasound to identify ectopic pregnancies, see Petition at 60-61.




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have required prescribing physicians to be trained in mifepristone-misoprostol administration
and surgical abortions and to have admitting privileges at a nearby emergency facility.81

       FDA determined that Subpart H restrictions were necessary because, without them,
mifepristone-misoprostol abortions were not safe. Thus, the Petitioners’ concerns with the
Regimen’s safety rest on the belief that the weakness of the Regimen’s restrictions is inconsistent
with FDA’s decision to approve the drug under Subpart H.

                  2.       Post-approval Evidence Confirms that the Approved Distribution
                           Restrictions Were Insufficient to Adequately Protect Patients.

        The Sponsor’s analysis inaccurately characterized the post-approval experience with the
Mifeprex Regimen.82 A number of life-threatening adverse events experienced by Mifeprex
patients caused FDA to work with the Sponsor to issue a letter to health care providers.83 The

81
   In fact, FDA proposed to include such restrictions in the Mifeprex Regimen. The set of restrictions proposed by
FDA on June 1, 2000, would have required physicians prescribing Mifeprex to be “trained and authorized by law” to
perform surgical abortions, to be trained in administering the Mifeprex Regimen and handling resulting adverse
events, and to have “continuing access (e.g., admitting privileges) to a medical facility equipped for instrumental
pregnancy termination, resuscitation procedures, and blood transfusion at the facility or [one hour’s] drive from the
treatment facility.” See FDA, “FDA Proposed Restricted Distribution System for NDA 20-687 on 6/1/00” (June 1,
2000) [FDA FOIA Release: MIF 000522]. See also American College of Obstetricians and Gynecologists,
“Analysis of the Possible FDA Mifepristone Restrictions” (July 27, 2000): at 1 (setting forth FDA’s second
proposed restriction, which is redacted in the publicly available copy of FDA’s proposal; also providing the redacted
portion of the fifth restriction)[FDA FOIA Release: MIF 001366-69].
82
    Opposition Comments at 10, 13-14. The Sponsor pointed to a recent article authored by the medical director of
Danco, Dr. Richard Hausknecht, as evidence that Mifeprex is safe. See Opposition Comments at 10 (citing
Hausknecht Article); regarding Dr. Hausknecht, see also Petition at 71, n.309. Unfortunately, the article, which
reports on the drug’s use in the United States since approval, relies on data that are incomplete and of questionable
quality. First, reliable data as to the number of patients who have undergone the Mifeprex Regimen is not available.
Dr. Hausknecht used a figure of 80,000, which was derived from “sales figures [for Mifeprex] and known patterns
of mifepristone utilization.” Hausknecht Article at 464. This number may be too high as it may not take into
account drugs that were ordered but not used. Second, the number of adverse events reported is likely to be
significantly underestimated. Abortion clinics, which (according to Dr. Hausknecht’s estimates) carried out
approximately 90% of Mifeprex abortions, may have a disincentive to report adverse events from a procedure that
they promote and may be less likely than physicians in private practice to report adverse events. In addition, it is
likely that many patients were lost to follow up. In the U.S. Clinical Trial, 106 of the 2,121 patients (or nearly 5%)
did not return for their third required visit. A higher “lost to follow up” number is to be expected outside of the
clinical setting. Finally, the article’s descriptions of the adverse events that were reported generally appear to be
incomplete and tend to downplay any possible connection with the Mifeprex Regimen. For example, the article
explained that a twenty-one year old woman had suffered a coronary artery occlusion five days after she received
misoprostol. See Hausknecht Article at 464, col. 2. The article provided few details about her Mifeprex abortion
and pointed to her “strong family history of heart disease” without also mentioning that there are no data on the
safety of the Mifeprex Regimen in women with cardiac problems and these women were excluded from the Clinical
Trials. In sum, an objective assessment of the safety and efficacy of mifepristone-misoprostol abortions would
require a concurrently-controlled, randomized comparison of a mifepristone-misoprostol regimen reflecting actual
conditions of use with surgical abortion. The Sponsor did not conduct or provide data from such trials in support of
its application and Dr. Hausknecht’s article – a very general overview without the first-hand, patient-level detail
necessary to scientifically assess the safety of the Mifeprex Regimen – does not fill this void.
83
  Danco Laboratories, Open Letter to Health Care Providers (Apr. 19, 2002) (“Dear Doctor Letter”) (available at:
<http://www.fda.gov/medwatch/SAFETY/2002/mifeprex_deardoc.pdf>).




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Petition discussed these life-threatening adverse events which included ruptured ectopic
pregnancies, serious systemic bacterial infections, and a coronary event.84 The Sponsor, in its
Opposition Comments, insisted that “FDA has not found any causal connection” between the
Mifeprex Regimen and these adverse events.85 However, the clear implication of the issuance of
the Dear Doctor Letter and FDA’s accompanying “Questions and Answers” is that such a causal
link does exist.

        The serious adverse events reported to date are consistent with concerns about the drug
regimen that were expressed prior to the approval.86 The recent death of Holly Patterson, an
eighteen year old from Livermore, California, unfortunately epitomizes the concerns of the
Petitioners.87 According to Ms. Patterson’s father, at the time of his daughter’s death, she was
terminating her pregnancy with a Mifeprex Regimen prescribed by the Planned Parenthood in
Hayward, California. Apparently, Ms. Patterson started the abortion procedure on Wednesday,
September 10, 2003, by taking mifepristone tablets. On Saturday, September 13, 2003, she
apparently took the misoprostol that the clinic had given her. By Sunday she was having such
severe cramping and bleeding that her boyfriend took her to the emergency room. Ms. Patterson
received pain killers and was sent home, but she continued to bleed severely and experienced
acute pain that prevented her from walking. Early Wednesday, September 17, 2003, Ms.
Patterson’s boyfriend took her back to the emergency room, where she died that afternoon.

         According to Mr. Patterson, the doctor told him that his daughter “hadn’t aborted all the
fetus, and she had fragments left in her, and she had a massive systemic infection and went into
septic shock.”88 The results of the coroner’s investigation are not expected to be released for
several months, but Ms. Patterson’s apparent death of a serious systemic bacterial infection is not
the first such death since FDA approved Mifeprex. As noted above, the Dear Doctor Letter


84
   See Petition at 65-71. As the number of mifepristone-misoprostol abortions rises, the number of serious adverse
events associated with these abortions is likely to increase as well. Because the normal progression of the Mifeprex
Regimen is characterized by prolonged bleeding, the patient bears the responsibility for determining how much
bleeding is excessive and whether she needs to seek medical assistance. Health care providers who are not
experienced providers of abortion, generally, or mifepristone-misoprostol abortions, specifically, may be poorly
equipped to assist the patient in determining whether medical intervention is necessary, let alone to provide the
needed medical intervention.
85
     See Opposition Comments at 13.
86
  See Americans United for Life et al., Citizen Petition (Feb. 28 1995) (requesting FDA’s consideration of a
number of potential hazards of mifepristone-misoprostol abortions) [FDA FOIA Release: MIF 006144-6248].
87
   Julian Guthrie, “Pregnant Teen’s Death Under Investigation; East Bay Woman Had Taken RU-486, According to
Father,” San Francisco Chronicle (Sept. 19, 2003): at A21 (available at: http://www.sfgate.com). See also Gina
Kolata, “Death at 18 Spurs Debate Over a Pill for Abortion,” New York Times (Sept. 24, 2003): at A24 (“There were
264 adverse reactions, including infections, bleeding, allergic reactions and tubal pregnancies.”).
88
    Id. See also Julian Guthrie, Sabin Russell, and Katherine Seligman, “After Daughter’s Death, Father Wants Close
Look at RU-486; Abortion Pill’s Safety Defended by Doctors as Better than Surgery,” San Francisco Chronicle (Sept.
20, 2003): at A17 (available at: http://www.sfgate.com/cgi-bin/article.cgi?file=/chronicle/archive/2003/09/
20/BA310011.DTL) (“Patterson said the attending physician at Pleasanton’s Valley Care Medical Center told him his
daughter had died of septic shock – a severe bacterial infection. ‘The doctor told me she had fragments of the fetus
still left in her uterus and that caused the infection.’”).




                                                                                                EX. 13 pg. 016
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reported “[t]wo cases of serious systemic bacterial infection (one fatal).”89 The presence of
retained products of conception can lead to the development of intrauterine or systemic infection,
and it is possible that mifepristone could potentiate this possibility via negative effects on
immune system function or normal protective mechanisms.90

         In addition to questions about Mifeprex causation in this case, questions also have been
 raised about the role that Ms. Patterson or her local hospital emergency room may have played in
 contributing to her death.91 These questions cannot be answered without recognizing that
 patients and emergency room physicians may be unable to distinguish the normal progress of the
 Regimen from a life-threatening situation. Consequently, it is not at all clear that emergency
 rooms will be able to rescue dangerously ill Mifeprex patients from the peril in which they have
 been placed by the Regimen. Consider the plausible scenario described in the footnote below.92
 The severity of the reported adverse events requires FDA action to remove Mifeprex from the
 market.
 89
  Dear Doctor Letter at 1. The fatality apparently precipitated a halt in the Population Council’s clinical trials of
mifepristone in Canada.
 90
   Given the nature of the Mifeprex Regimen, the embryo or other products of conception will not be expelled from
the uterus in a number of cases. It is well known that the presence of retained necrotic products of conception can
lead to intrauterine and systemic infection. Furthermore, it is possible that mifepristone itself may alter the local
immune response at the level of the endometrium or the cervix. There are numerous alterations of the immune
system during pregnancy, and progesterone can affect immune system function. Therefore, it is plausible that a
progesterone receptor antagonist like mifepristone could negatively affect the normal immune system within the
uterus, or compromise antibacterial mechanisms of the cervix, making a woman more susceptible to infection. See,
e.g., World Health Organization (WHO), “Pregnancy Termination with Mifepristone and Gemeprost: A Multicenter
Comparison between Repeated Doses and a Single Dose of Mifepristone,” 56 Fertility & Sterility 32-40 (1991)
(29.4% of patients with incomplete abortion compared with 2.6% of those with complete abortion received
antibiotics during a six week follow-up period for suspected genitourinary infection; both groups combined
accounted for 3.9% of the total study population).
 91
    See, e.g., Gina Kolata, “Death at 18 Spurs Debate Over a Pill for Abortion,” New York Times (Sept. 24, 2003): at
 A24 (“But it is unclear what happened to Holly Patterson. Did she have enough medical supervision while taking
 the pills? When did she seek medical attention? Did she wait until it was too late? Did she tell the doctors in the
 emergency room that she had taken mifepristone? Why, in fact, did she die?”).
 92
    A patient comes to the emergency room complaining of significant pelvic pain and cramps. She reports that she
has taken Mifeprex and misoprostol for a medical abortion. At this time, she has no significant change in vital signs
(i.e., no fever or very low grade fever – which can be related to misoprostol – and no significant tachycardia, etc.).
The emergency room physician, knowing that this drug combination normally causes cramping at this stage in the
process, assumes she has a personal low pain tolerance threshold, and, therefore, gives her pain medications to try to
alleviate her discomfort until the abortion completes. However, the patient may be in the early stage of an
intrauterine infection even though she is not yet manifesting other signs of that condition aside from pain and
bleeding which are both part of the Mifeprex abortion process. At this stage, the emergency room physician has no
good way to detect that an infection has begun. Furthermore, even if the emergency room physician found evidence
of retained tissue in the uterus, the physician would not be surprised or alarmed by that discovery given the nature of
mifepristone-misoprostol abortions. Unless the patient had significant hemorrhaging or evidence of infection, no
intervention would be necessary or even warranted since one would presume that the abortion was going according
to plan at that juncture (recall that bleeding can last up to several weeks duration). So to continue this hypothetical
scenario, the patient goes home, and the infection subsequently becomes systemic. The patient goes into septic
shock and is not able to be saved by the time she re-presents to the emergency room. It would not be surprising if
Ms. Patterson’s death followed such a course given statements made to the press by her father. In this credible
scenario the Mifeprex Regimen, after having placed her in great danger, effectively camouflaged the seriousness of
her condition from the emergency room physician.




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         Furthermore, FDA cannot rely on the “spotty” reporting of adverse events for the
 Mifeprex Regimen. The usual flow of post-approval adverse event information will not be
 forthcoming for this drug. It is questionable whether individual lawful distributors of Mifeprex,
 who tend to be outside the mainstream pharmaceutical wholesale distribution industry, will
 routinely report adverse events to FDA.93 Also, because the drug is intended to be administered
 in physicians’ offices, a pharmacist is unlikely to dispense the product or hear of drug-drug and
 drug-food interactions, or other adverse events. Moreover, the types of facilities that provide
 medical and surgical abortions are often staffed with social-work counselors and health care
 workers who are not medical doctors and have limited medical training. As such, they may be
 unfamiliar with the adverse event reporting procedure for medical professionals (i.e.,
 MedWatch).

         Even for properly-licensed physicians, FDA’s MedWatch reporting is voluntary.94 Since
 privacy issues are often the primary concern of women who seek abortions, a physician may not
 file a MedWatch report in order to protect patient confidentiality. Accordingly, the Petitioners
 are concerned about the possibility that medical complications are not being reported. Finally, it
 is possible that other women who have suffered adverse events during a mifepristone-
 misoprostol abortion have sought assistance from crisis pregnancy centers, counselors, and
 charitable organizations,95 which may not be familiar with the MedWatch reporting system.
 Given the foregoing, the Petitioners believe that FDA’s continuing review of the safety profile of
 Mifeprex relies improperly on an incomplete database of post-approval adverse events.

                   3.       The Sponsor Has Failed to Require Adherence to the Restrictions.

         The Sponsor insisted that it “will continue, as [it] always intended, to honor [its]
 commitments to carry out the program of restrictions imposed in the approval letter.”96 Yet, the
 Sponsor has broken its promise. The Sponsor apparently has not taken steps to ensure that
 Mifeprex is used in accordance with the approved Regimen and has continued to distribute the
 drug to providers that depart from the Mifeprex Regimen. For instance, the Sponsor has
 asserted, in its Opposition Comments, the erroneous position that the guidelines in the
 Prescriber’s Agreement “do not state any specific dose or regimen for prescribing Mifeprex …
 .”97 The Sponsor’s statement reflects only one example of its continuing refusal to accept even
 FDA’s minimal restrictions issued pursuant to Subpart H.


 93
    Obviously, distributors of mifepristone who are outside the lawful channels of distribution are even less likely to
 report adverse events.
 94
      See <http://www.fda.gov/medwatch/report/hcp.htm>.
 95
   Consider Estate of Brenda Vise vs. Volunteer Women's Medical Clinic, L.L.C., et al. (Circuit Court of Hamilton
 County, Tennessee, filed August 14, 2002); Danlin Tang, Albert Ng vs. Dr. Soon Chon Sohn, Family Planning
 Associates Medical Group, and Does 1 – 50 (Superior Court of the State of California for the County of Los
 Angeles, Central District, notice to file dated December 13, 2002).
 96
      Opposition Comments at 6.
 97
      Opposition Comments at 14.




                                                                                                   EX. 13 pg. 018
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         In the face of this recalcitrance, FDA should exercise its enforcement authority,
 investigate the Sponsor’s failed commitments under its NDA approval, and take appropriate
 action, as it has in other cases where risk management programs were deemed insufficient to
 protect patients.98 We note that, contemporaneous with the issuance of the Sponsor’s Dear
 Doctor Letter, FDA underscored the possibility that if providers “do not follow the agreement,
 the distributor may discontinue distribution of the drug to them.”99 Shortly after approving
 Mifeprex, the Agency wrote to a member of Congress and stated, “If restrictions are not adhered
 to, FDA may withdraw approval.”100

         Even assuming that the Sponsor’s responsibilities extend only as far as ensuring that the
 prescriber is adhering to the Prescriber’s Agreement, the Sponsor is failing to meet its due
 diligence obligation.101 The Prescriber’s Agreement requires, inter alia, that the prescriber “must
 fully explain the procedure to each patient, provide her with a copy of the Medication Guide and
 PATIENT AGREEMENT, give her an opportunity to read and discuss them, obtain her signature
 on the PATIENT AGREEMENT, and sign it yourself.”102 The Patient Agreement, which both
 the patient and the prescriber sign, states that the patient “believe[s] I am no more than 49 days
 (7 weeks) pregnant.”103 Yet numerous prescriber websites advertise the Mifeprex Regimen as
 being available for patients whose pregnancies have progressed beyond 49 days.104 The Patient
 98
     For example, GlaxoSmithKline voluntarily withdrew its NDA for Lotronex (alosetron hydrochloride) rather than
 accept restrictive risk management guidelines involving informing patients of risks, limiting access to closely
 monitored patients, and continued clinical research. See “FDA and Glaxo Still Working on Lotronex’s Return,”
 Dickinson’s FDA Webview (Jan. 24, 2002). Bayer voluntarily withdrew Baycol (cerivastatin) after reports of deaths
 due to severe rhabdomyolysis, when risk management efforts of labeling changes and “Dear Healthcare Provider”
 letters had little impact on physicians who continued to prescribe the drug at unrecommended higher doses. See “31
 Baycol-related Deaths Cause the Drug’s Withdrawal,” Dickinson’s FDA Webview (Aug. 8, 2001). Warner Lambert
 withdrew Rezulin (troglitzone) at FDA’s urging after label restrictions and recommended monitoring of liver
 function failed to control inappropriate prescribing. See “Rezulin Withdrawal a Defeat for FDA ‘Labeling Can Do
 It’ Theory”, Dickinson’s FDA Webview (Mar. 21,2000).
 99
       See FDA Q & As at Question 12.
 100
     See Letter, Melinda K. Plaisier, Associate Commissioner for Legislation (FDA) to Senator Tim Hutchinson (Oct.
 20, 2000): at 2 [FDA FOIA Release: MIF 002648-52].
 101
       See Opposition Comments at 14-15.
 102
       Mifeprex™ (Mifepristone) Tablets, 200 mg Prescriber’s Agreement (“Prescriber’s Agreement”).
 103
    See Item 4 of the Patient Agreement Mifeprex (mifepristone) Tablets (“Patient Agreement”). In addition, the
 Mifepristone Medication Guide (“Medication Guide”) states that you should not take Mifeprex if “[i]t has been
 more than 49 days (7 weeks) since your last menstrual period began.”
 104
     See, e.g., All Women’s Health Centers website (available at:
 <http://www.floridaabortion.com/services_abortion/nonsurgical.shtml>) (visited Sept. 5, 2003) (“Non-surgical
 abortions, sometimes called ‘medical abortions,’ are performed in the first 9 weeks of pregnancy. Non-surgical
 abortion can be administered in pill form (otherwise known as Mifeprex or RU-486).”); Family Planning Associates
 Medical Group, Phoenix and Tempe Arizona, (available at: <http://www.fpamg.com/medical.html>) (visited Sept.
 5, 2003) (noting that Mifeprex Regimens are “done until the 56th day of pregnancy”); Planned Parenthood Golden
 Gate (available at: http://www.ppgg.org/medical/abortion_medical.asp) (visited Oct. 1, 2003) (“Medical abortion is
 a way to end pregnancy without surgery. It is done with medications up to 63 days after the last period begins.”;
 Seattle Medical and Wellness Clinic (available at: <http://www.smawc.com/html/services.html>) (visited Sept. 5,
 2003) (including following description: “Medical Abortion (9 weeks LMP or less): We offer non-surgical
 abortion with Mifeprex (a.k.a. the Abortion Pill, RU486) and Cytotec (misoprostol).”).




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 Agreement also states that the patient “will take misoprostol in [her] provider’s office two days
 after [she] take[s] Mifeprex (Day 3).”105 Yet many prescribers’ websites indicate that patients
 take misoprostol at home rather than at the provider’s office.106 The discrepancies between the
 marketplace regimen being prescribed and the approved Regimen that the patient agrees to
 follow indicate that many prescribers are allowing patients to make false statements. Under its
 NDA duties, the Sponsor has an obligation to conduct due diligence about the prescribers to
 whom it sells Mifeprex, and it must stop those sales if the approved Regimen is breached.
 Furthermore, the Sponsor has a duty to keep records of these stopped distributions.107

        Given that these discrepancies are freely published on prescriber websites, the Sponsor
 should be aware of them.108 Therefore, the Sponsor knowingly continues to supply prescribers
 who are not following the guidelines in the Prescriber’s Agreement. These prescribers are
 knowingly eviscerating the requirements to provide patients with the Medication Guide, to

 105
    See Patient Agreement, Item 6. In addition, the Medication Guide states that the patient “must return to [her]
 provider on Day 3 and about Day 14” (emphasis in original).
 106
     See, e.g., Family Planning Associates Medical Group, Phoenix and Tempe Arizona, (available at:
 <http://www.fpamg.com/medical.html>) (visited Sept. 5, 2003) (explaining that “[t]he patient inserts 4 tablets of
 Misoprostol into the vagina at home 2-3 days” after ingestion of Mifeprex); Little Rock Family Planning website
 < http://www.lrfps.com/RU486.html > (visited Sept. 5, 2003) (describing the regimen employed by the clinic, which
 is “one of these regimes [sic] which has been shown to be safe and is more convenient for women using the
 method”: “Step Two, at home (or motel) … Six to 8 hours after the mifepristone pills have been swallowed 8
 Cytotec tablets are placed in the vagina. Step Three, this will depend on how far you live from our clinic: A) If
 you live within one hour of Little Rock … If you have not passed the pregnancy by 24 hours after you put the
 Cytotec tablets in your vagina, you will put a [sic] 4 tablets in your vagina and still plan to keep your appointment
 for the following week. B) If you live outside the Little Rock Area … You will return at 9AM the following morning
 to have an ultrasound to see if the abortion is complete. If the abortion is complete you will be discharged home
 and asked to take a urine pregnancy test in 3 weeks. … If you have not had a complete abortion you will be given 4
 Cytotec [sic] to place in your vagina … .”); Planned Parenthood Golden Gate (available at: <http://www.ppgg.org/
 medical/abortion_medical.asp>) (visited Oct. 1, 2003) (“Medical abortion using Mifepristone involves three steps.
 First, the doctor will give you mifepristone pills, which block progesterone, a hormone needed to maintain
 pregnancy. Two days later, as directed by your clinician, you will insert another medication called misoprostol as a
 vaginal suppository. Misoprostol causes the uterus to contract and empty which completes the abortion. Finally,
 women must return to the clinic a few days after taking the misoprostol for a follow-up.”); Women’s Health Practice
 website (available at: <http://www.womenshealthpractice.com/abortion.htm>) (visited Sept. 5, 2003) (explaining, as
 part of the medical abortion regimen that the clinic describes as “most similar to the FDA-approved regimen,” that
 “[t]he misoprostol will be provided to you with medication instructions that carefully explain the timing and route of
 administration.”).
 107
     21 C.F.R. § 314.81(b)(2) (requiring NDA sponsors to submit an annual report describing distribution data).
 State or federal agencies may need these data if patient deaths continue and the public outcry (and/or the plaintiffs’
 lawyers bar) demand investigations.
 108
     The Petition set forth a number of examples of Mifeprex provider websites that advertised noncompliance with
 the approved Mifeprex Regimen. See Petition at nn. 309, 313, 315, 317. Since the submission of the Petition, these
 websites have not been altered. (These websites were visited most recently on September 5-7, 2003. One of the
 website addresses changed and its content was updated, but it still states that “at home, the patient will insert four
 tablets [of misoprostol] into her vagina.” See <http://www.presidentialcenter.com/services_nonsurgical.html>
 (visited Sept. 7, 2003)). It appears, therefore, that the Sponsor, alerted by the Petition to these instances of
 noncompliance, has not taken any steps to require compliance with the approved regimen. Dr. Hausknecht, the
 medical director of Danco, operates one of the websites that continues to advertise a regimen that differs from the
 approved regimen. See <http://www.safeabortion.com/procedure.htm> (visited Sept. 7, 2003).




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 obtain their signatures on the Patient Agreement, and to give them the opportunity to read and
 discuss these documents. The Patient Agreement is intended by FDA to describe the Mifeprex
 Regimen as approved and to obtain the patient’s informed consent to adhere to the approved
 Regimen, all for the protection of the patient. Instead, some prescribers, with the Sponsor’s tacit
 approval, are permitting patients to sign the Patient Agreement while effectively directing them
 not to adhere to its requirements. In the face of such evidence, the Sponsor cannot be described
 as meeting its obligations with respect to the restrictions on Mifeprex.

            Conclusion

          Women are being told that Mifeprex is safe even if it is used in a manner different from
 the Regimen approved by FDA. This is a cavalier approach to distributing a drug that was
 deemed by FDA to be too dangerous to approve without restrictions. The Sponsor’s refusal to
 restrict distribution to physicians who adhere to the approved Regimen represents the
 continuation of a pattern of overlooking the risks to women’s health posed by Mifeprex. FDA
 should halt the marketing of this unsafe drug.

            E.       The Sponsor’s Revised Phase IV Commitments Are Inadequate.109

         The Sponsor’s Opposition Comments downplayed the significance of the changes prior
 to approval in the Sponsor’s Phase IV commitments.110 As noted in the Petition, those changes
 by the Sponsor relegated certain study objectives to secondary status, eliminated the commitment
 to study the long-term effects of multiple uses of the Regimen, and weakened the commitment to
 monitor the adequacy of the distribution and credentialing system.111

         The Sponsor’s insistence that the range of topics to be studied was not narrowed
 contradicts statements made by the Sponsor when it proposed modifications of its Phase IV
 commitments in September 2000.112 The Sponsor, citing feasibility concerns, decided not to
 study the long-term effects of multiple uses of the Mifeprex Regimen.113 Moreover, combining
 multiple study objectives into one study reduced the value of the data that would be generated

 109
     The Petitioners requested, pursuant to FOIA, information about the Phase IV Mifeprex study protocols and any
 data arising from the Phase IV studies submitted by the Sponsor. See FOIA Request, filed by Wendy Wright,
 Director of Communications, CWA (Sept. 14, 2001). To date, the Petitioners have not received any responsive
 information.
 110
      See Opposition Comments at 15-16. See also Letter, Sandra Arnold to FDA/CDER, Office of Drug Evaluation
 III, Division of Reproductive and Urologic Products (Sept. 15, 2000): at 1 [FDA FOIA Release: MIF 001326]
 (committing to conducting two Phase IV studies).
 111
       See Petition at 84-88.
 112
     See Letter, Sandra Arnold to FDA/CDER, Office of Drug Evaluation III, Division of Reproductive and Urologic
 Products (Sept. 6, 2000): at 5 [FDA FOIA Release: MIF 001333-49] (“As new data have become available, some of
 the studies originally proposed have become unnecessary. Other studies, on reflection, seem unlikely to gather
 useful data at any reasonable cost or, in some cases, at any cost.”).
 113
     See Memorandum, FDA/CDER to “NDA 20-687 MIFEPREX (mifepristone) Population Council” (Sept. 28,
 2000): at 7 (“Mifeprex Approval Memo”). As discussed in the Petition, the Sponsor, in asking for the elimination of
 this commitment, was motivated in part by concerns that conducting such a study would be burdensome for the
 Sponsor – a reason that is not generally persuasive with FDA. See Petition at 87.




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                                                                                                                       22

 with respect to the secondary study objectives.114 Given the importance of understanding the
 effect of a patient’s age, the effect of a patient’s smoking status, the rate of patient follow-up on
 Day 14, and the adequacy of the distribution and credentialing system, the Sponsor should not
 have been permitted to accord these study objectives secondary status.

         The Sponsor defended the changes in the study requirements by citing FDA’s approval
 memorandum for the proposition that the changes in the Phase IV Study commitments reflected
 changes to the distribution system and labeling.115 The Sponsor’s argument is misleading. By
 allowing the distribution of mifepristone to physicians who could not provide surgical
 intervention, an immediate need arose to study the effect of that major change; 116 accordingly,
 FDA added a primary study requirement.117 However, the September 2000 changes in
 distribution and labeling should have not have reduced or eliminated other primary Phase IV
 study commitments that were not related to the distribution or labeling changes.

           Conclusion

        FDA inappropriately granted the Sponsor’s request to reduce its original Phase IV
 commitments. As a consequence, key questions about the safety of the Mifeprex Regimen will
 remain unanswered.

           F.       The Approval of Mifeprex Without Supporting Pediatric Data Was Both
                    Unlawful And Imprudent.

         In its Opposition Comments, the Sponsor admitted that it did not conduct clinical studies
 in the pediatric population, but relied instead on an FDA “waiver” of pediatric testing. Yet, the
 FD&C Act and FDA’s approval regulations for NDAs require safety and effectiveness testing to
 support a new drug’s indications for use. In a case where the Sponsor does not intend to restrict
 the drug’s use in the pediatric population, FDA has only limited authority to cede the
 requirement for pediatric testing. In the case of Mifeprex, FDA’s decision to approve the NDA
 without pediatric data was arbitrary, capricious and unlawful agency action.


 114
     Specifically, the effects of age and smoking status and the frequency with which patients return for follow-up on
 Day 14 were to be studied as part of “[a] cohort-based study of safety outcomes of patients having medical abortion
 under the care of physicians with surgical intervention skills compare to physicians who refer their patients for
 surgical intervention.” See Petition at 86 (citing Mifeprex Approval Letter at 3). Furthermore, this study would be
 the only Phase IV study of another objective originally slated to be the focus of a separate Phase IV study, namely
 the adequacy of the distribution and credentialing system. See generally Mifeprex Approval Memo at 7.
 115
       See Opposition Comments at 15-16 (citing Mifeprex Approval Memo at 7).
 116
     This change was deemed significant enough to require the addition of a “black box” warning to physicians who
 could not perform surgical abortions. The black box warning directed them to make arrangements for the provision
 of emergency surgical intervention.
 117
     FDA correctly noted the need for a new study objective when it approved this change: “To ensure that the
 quality of care is not different for patients who are treated by physicians who have the skill for surgical intervention
 (as in the clinical trials) compared to those treated by physicians who must refer patients for surgical intervention,
 FDA has proposed and the Population Council has agreed to structure a Phase 4 monitoring study.” Mifeprex
 Approval Memo at 5.




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                     1.      FDA’s NDA Approval Regulations Required Pediatric Data.

         The law is clear that the clinical studies used to support an NDA must establish the drug’s
 safety and efficacy for the proposed conditions of use. Under the FD&C Act, a person may file
 an NDA requesting FDA approval of a new drug provided that the NDA contains, in relevant
 part, “full reports of investigations which have been made to show whether or not such drug is
 safe for use and such drug is effective in use . . . .”118 Likewise, FDA’s NDA approval
 regulations require “a description and analysis of each controlled clinical study pertinent to a
 proposed use of the drug.”119 This testing requirement exists separately from the so-called
 “Pediatric Rule,”120 which also delineates pediatric testing requirements.

        The Petitioners acknowledge that, as of October 17, 2002 and for the time being, FDA is
 enjoined from enforcing the Pediatric Rule.121 However, the Petitioners challenge the Sponsor’s
 contention that the issue of FDA’s proper administration of the Rule is moot, in light of the
 AAPS court’s decision to grant an appeal of the case, which is now pending.122 Rather, the
 Mifeprex NDA was subject to the Pediatric Rule, which was finalized and became effective
 while FDA was reviewing the NDA,123 and FDA should have administered it properly124 or
 waived it properly.125


 118
       21 USC § 355(b)(1)(A) (emphasis added).
 119
       21 C.F.R. § 314.50(d)(5)(ii) (emphasis added).
 120
    See Regulations Requiring Manufacturers to Assess the Safety and Effectiveness of New Drugs and Biological
 Products in Pediatric Patients, Final Rule, 63 Fed. Reg. 66632 (Dec. 2, 1998) (testing requirements set forth in 21
 C.F.R. § 314.55). See also Petition at 76-83 (discussing Pediatric Rule).
 121
       Association of American Physicians and Surgeons v. FDA, 226 F. Supp. 2d 204 (D.D.C. 2002) (“AAPS”).
 122
    The Elizabeth Glaser Pediatric AIDS Foundation and the American Academy of Pediatrics filed a motion to
 appeal on December 16, 2002. See Docket for Case No. 00-CV-2898 (entry no. 73).
 123
     The Pediatric Rule was promulgated on December 2, 1998 and became effective on April 1, 1999. FDA
 reviewed the Mifeprex NDA from March 18, 1996 until September 28, 2000, when it was approved.
 124
     Under the Pediatric Rule, FDA’s treatment of the Mifeprex NDA was improper, in part, because the agency did
 not require the Sponsor to submit supporting pediatric data. The regulation stated that, “where the course of the
 disease and the effects of the drug are sufficiently similar in adults and pediatric patients, FDA may conclude that
 pediatric effectiveness can be extrapolated from adequate and well-controlled studies in adults usually supplemented
 with other information obtained in pediatric patients, such as pharmacokinetic studies.” 21 C.F.R. § 314.55(a)
 (emphasis added). This requirement also was articulated earlier by FDA in the Prescription Labeling regulation.
 See 59 Fed. Reg. 64240 (Dec.13, 1994); 21 C.F.R. § 201.57(f)(9)(iv). As noted elsewhere in this Response, the
 Petitioners also question whether the Sponsor’s adult data were derived “from adequate and well-controlled studies.”
 125
     It should be noted that even if FDA concluded that pediatric effectiveness of the Mifeprex Regimen could be
 extrapolated from adult studies, this would not be an appropriate ground for an actual waiver of the Pediatric Rule.
 The Pediatric Rule provides three grounds for waiver from the obligation imposed by the rule on drug sponsors to
 demonstrate that their drug is safe and effective for pediatric patients. 21 C.F.R. § 314.55(c). In some instances,
 drug sponsors are able to provide sufficient adult data, usually supplemented by pediatric-specific data, from which
 pediatric safety and efficacy can be extrapolated. 21 C.F.R. § 314.55(a). FDA stated that it was waiving the
 pediatric rule with respect to Mifeprex, yet did not cite to any of the bases for waiver provided in paragraph (c) of
 the Pediatric Rule. Mifeprex Approval Letter at 3. For a comprehensive discussion on the ineligibility of Mifeprex
 for a waiver from the Pediatric Rule, see the Petition at 78-82.




                                                                                                  EX. 13 pg. 023
                                                                                                         App. 0276
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         Irrespective of the current status of the AAPS case, at the time of the approval of the
Mifeprex NDA the Agency was obligated to meet the requirements of its NDA approval
regulations. FDA erred in its failure to require the Sponsor to submit pertinent pediatric data and
to assess those data in its review of the NDA for Mifeprex. In so doing, the Agency abrogated
its role of protecting and promoting the public health and safety. This constitutes the type of
“arbitrary and capricious” action that is generally prohibited under the Administrative
Procedures Act (“APA”).126

                    2.       The Drug’s Expected Conditions of Use Included the Pediatric Population.

        Mifeprex is intended for use by menstruating females. The drug’s labeling states
“Mifeprex is indicated for the medical termination of intrauterine pregnancy through 49 days’
pregnancy.” Nothing in the “Indication and Usage” section of the labeling limits the drug’s use
to adults.127 Likewise, Danco’s marketing claims are not targeted to a particular age group, such
as women “over age 18.” The patient population therefore logically includes all females who
can become pregnant – that is, as of the age their first menstrual period begins (i.e., “menarche”)
until they no longer have a menstrual period (i.e., “menopause”). According to FDA, the
average age of menarche in the United States is 12 years, although menstruation may commence
in healthy females as early as age 10.128

        Under the pediatric labeling regulations, the Agency defines “pediatric population(s)”
and “pediatric patient(s)” as the age group “from birth to 16 years, including age groups often
called … adolescents.”129 Therefore, the population of menstruating females (i.e., 10 or 12 and
older) and the pediatric population (i.e., up to 16) overlap by up to 6 years. Based on Danco’s
labeling and marketing to the menstruating female population without any age restriction,
pediatric use of this product was clearly contemplated. Because Mifeprex will be used by some
number of adolescent girls who become pregnant, FDA should have required the Sponsor to
produce safety and effectiveness data for the pediatric population.

                    3.       FDA Should Have Required the Submission of Pediatric Study Data
                             Prior to Approving Mifeprex.

       Under its broad authority granted by the FD&C Act, not only may FDA require the
submission of pediatric data as part of a product’s NDA, but the Agency must require such data
when the product’s conditions of use warrant pediatric testing. However, the Agency approved

126
      5 USC § 706(2)(A).
127
    Instead, the drug’s labeling contains one non-constructive statement in the “Precautions” section of the labeling:
“Safety and effectiveness in pediatric patients have not been established.” Given the logical reading of the drug’s
indication and the medical information on the age range of menstruation, this one sentence in a package insert of 15
pages is valueless.
128
   See On the Teen Scene: A Balanced Look at the Menstrual Cycle, FDA Consumer Magazine (Dec. 1993)
(available at: <http://www.fda.gov/fdac/reprints/ots_mens.html>). In the U.S., the average age of the start of
menopause is 51. See Taking Charge of Menopause, FDA Consumer Magazine (Nov.-Dec. 1999) (available at:
<http://www.fda.gov/fdac/features/1999/699_meno.html>).
129
      21 C.F.R. § 201.57(f)(9).




                                                                                                  EX. 13 pg. 024
                                                                                                         App. 0277
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 Mifeprex without requiring the Sponsor to submit pediatric data or, apparently, any review of the
 pertinent scientific literature. When approving Mifeprex based solely on the data submitted in
 the NDA (i.e., studies conducted in an adult population), FDA made the unsupported assumption
 that younger females (i.e., children and adolescents) would have the same physiological response
 to this product as adult females.130 Specifically, the Sponsor cited FDA’s conclusion that “the
 drug regimen is expected to be as safe and effective for pregnant women under the age of 18
 years as it is for those of the age of 18 ... ,” despite the Agency’s concession that most of the
 available data are from women 18 years and older.131 Further, the Sponsor noted that FDA has
 not found any “biological reason to expect that menstruating females under age 18 to have a
 different physiological outcome with the regimen.”132

         As stated in the Petition, however, FDA’s conclusion misreads the science. To assume,
 without specific data, that the effects of a potent antiprogesterone and a powerful prostaglandin
 analogue in pregnant adults will be the same for adolescents who are still developing in their
 physiologic, anatomic, and reproductive functions, is medically unsound. The relevant scientific
 evidence suggests that an assumption cannot be made that the effectiveness or safety of Mifeprex
 for adolescent girls is the same as for fully-developed adult women. Therefore, FDA’s decision
 to the contrary lacks a sound and justified scientific basis.

         Moreover, the Agency decision disregards decades of its own medical judgment. In the
 past, FDA has said that drugs should be studied directly in the pediatric population because “the
 action and adverse actions of pharmaceutical agents will vary as absorption, distribution,
 metabolism, and excretion, and receptor sensitivity are altered by the changes associated with
 growth and development.”133 For Mifeprex, these factors were not directly studied in children.

        Studying the subpopulation of adolescents is even more important, according to FDA.
 For example, “[t]he development of puberty and the known effects of sex hormones on drug
 metabolism warrant consideration in drug evaluation in the adolescent.”134 Other “special
 problems” arise from the intense concern with self-image, leading to increased use (both
 admitted and denied) of prescription and over-the-counter drugs, dietary supplements, and
 cosmetics for such purposes as altering physical growth and sexual development, regulating
 mood and behavior, and influencing physical appearance.135 FDA did not require a review of
 these adolescent-specific considerations with respect to the Mifeprex Regimen.



 130
       See Mifeprex Approval Memo at 7.
 131
    Opposition Comments at 15 (citing FDA, “Medical Officer’s Review of Amendments 024 and 033: Final
 Reports for the U.S. Clinical Trials Inducing Abortion up to 63 Days Gestational Age and Complete Responses
 Regarding Distribution System and Phase 4 Commitments,” at 28).
 132
       Opposition Comments at 15 (citing Mifeprex Approval Memo at 7).
 133
    FDA Guidance for Industry, “General Considerations for the Clinical Evaluation of Drugs in Infants and
 Children” (Sept. 1977), at 6 (hereafter, “Pediatric Study Guidance”).
 134
       Pediatric Study Guidance at 15.
 135
       See Pediatric Study Guidance at 16-17.




                                                                                              EX. 13 pg. 025
                                                                                                     App. 0278
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        In addition, FDA has said previously that a drug’s safety profile may be different for
 adolescents because “medication may not be taken as prescribed. The adolescent frequently
 omits doses of medication, takes it at erratic intervals, and may take more than prescribed.
 Safety considerations should be addressed not only to the therapeutic dosage, but also to the
 consequences of suboptimal dosage and overdosage.”136 Given the two-drug-regimen and three-
 doctor-visit administration of the Mifeprex Regimen, a study of patient compliance issues in
 adolescents was warranted.

            Conclusion

         In summary, it is logical to conclude that Mifeprex is intended for use by a female
 population that, under the pertinent definitions adopted by FDA, includes pediatric females.
 Therefore, FDA should have required the submission of pediatric data with the NDA. Without
 any consideration of pediatric data, FDA’s approval of Mifeprex is an abrogation of its
 fundamental duty to conduct the drug approval process in a way that protects and promotes the
 public health and safety. In so doing, the Agency acted in a way that was arbitrary, capricious,
 and contrary to law and its own regulations.

 II.        FDA Is Both Statutorily Empowered and Obligated to Grant an Administrative
            Stay of the Mifeprex NDA Approval.

          The Sponsor’s Opposition Comments contain three technical objections to the request for
 an administrative stay of the Mifeprex NDA approval.137 First, the Sponsor alleges that an
 administrative stay is not the appropriate method by which FDA could withdraw the Mifeprex
 NDA. Second, the Sponsor alleges that the request is “untimely” because it was not filed within
 30 days of the effective date for the Mifeprex NDA approval. Third, the Sponsor makes a
 general allegation that the Petitioners do not meet the criteria for an administrative stay under
 FDA’s regulations. As described below, these allegations stem from an incorrect and overly
 restrictive reading of the Petitioners’ request. Instead of answering the serious substantive issues
 raised in the Petition, the Sponsor has focused on the way in which the Petitioners framed their
 request for FDA action. Even more disconcerting, the Sponsor asks FDA to place administrative
 procedures above the Agency’s statutory obligation to protect the public health.

            A.       FDA Has the Statutory Authority to Suspend the Mifeprex NDA
                     Pending the Outcome of a Decision to Withdraw the Application.

        The Petitioners’ request for administrative stay of the Mifeprex NDA approval is
 equivalent to a request for FDA to use its authority under section 505(e) of the FD&C Act to
 “suspend the approval of [the] application immediately.”138 The FD&C Act states that an NDA
 may be “suspended” whenever FDA makes a finding of “imminent hazard to the public


 136
       Pediatric Study Guidance at 15.
 137
       See Opposition Comments at 16-24.
 138
       21 U.S.C. § 355(e); see also 21 C.F.R. § 314.150(a)(1).




                                                                                    EX. 13 pg. 026
                                                                                           App. 0279
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 health.”139 In the Petition and in this Response, the Petitioners have provided extensive evidence
 that Mifeprex poses, under FDA’s definition, “a significant threat of danger to health, [and]
 creates a public health situation . . . that should be corrected immediately to prevent injury.”140
 Furthermore, an emergency or “crisis” situation is not required, but merely a “substantial
 likelihood that serious harm will be experienced during . . . any realistic projection of the
 administrative process.”141 In interpreting this definition, a court upheld an FDA decision similar
 to that which the Petitioners are requesting. Specifically, even though “respectable scientific
 authority [could] be found on both sides of this question”, and “much of the raw data used by the
 [Agency] in arriving at its conclusion had been available for some length of time,” these facts did
 not preclude FDA’s use of the data in finding an imminent hazard when “the magnitude of [the
 drug’s] risk was determined only after an extensive re-evaluation of the data.”142

         FDA’s authority is resolute and can be exercised immediately, notwithstanding any
 related issues regarding how the matter was initially raised (e.g., a Citizen Petition), who
 exercised the authority (e.g., HHS Secretary or FDA), and what actions follow it (e.g., notice and
 hearing).143 FDA should disregard the Sponsor’s attempt to redirect the Agency away from the
 substance of the Petition toward a focus on the administrative requirements of delegating
 authority, providing notice, and holding a hearing. Clearly, FDA’s suspension of the Mifeprex
 approval could occur during the pendency of any notice period or hearing which the Sponsor so
 forcefully claims to be entitled to under the FD&C Act, the APA and Constitutional due process
 provisions. Given the situation, the Petitioners are dismayed at the Sponsor’s insistence that its
 “property right to produce and market Mifeprex,”144 outweighs any concern for the safety of the
 patients that the Sponsor is seeking to “treat.”

         Furthermore, even if FDA finds that an imminent hazard does not exist in this case, FDA
 may still summarily withdraw approval of an NDA in certain circumstances. During its four-
 page discussion on notice and hearings, the Sponsor fails to mention that the FD&C Act’s “due
 notice and hearing” provision does not guarantee an NDA Sponsor a hearing, and also leaves
 FDA with discretion regarding the type of notice that is provided.145 Rather, FDA may proceed
 by summary judgment to withdraw an NDA in certain circumstances – for example, when there
 139
       See id.
 140
       21 C.F.R. § 2.5.
 141
    Forsham v. Califano, 442 F. Supp. 203, 208 (D.D.C. 1977) (citing Environmental Defense Fund v. EPA, 510
 F.2d 1292, 1297 (D.C. Cir 1975)).
 142
       Forsham v. Califano, 442 F. Supp. 203, 209 (D.D.C. 1977) (emphasis added).
 143
    Forsham v. Califano, 442 F. Supp. 203 (D.D.C. 1977) (on petition raised by a consumer health organization, the
 HHS Secretary referred the matter to FDA, which withdrew approval of a drug with notice but no formal hearing,
 based on a finding of imminent hazard to the public health).
 144
     Opposition Comments at 18. When the Sponsor included misoprostol as part of the Mifeprex Regimen, it did
 not demonstrate any concern for the property rights of Searle over misoprostol.
 145
     See John D. Copanos and Sons, Inc. v. FDA, 854 F.2d 510, 518, 520 (D.C. Cir. 1988) (“It is well settled that this
 [notice and hearing] provision does not guarantee the applicant a hearing in all circumstances.” and “The
 requirements of ‘due notice’ must depend upon the context of the agency’s action.”); Brandenfels v. Heckler, 716
 F.2d 553, 555 (9th Cir. 1983) (“The FDA is authorized to satisfy its own notice requirements by providing holders of
 new drug applications with either general or specific notice of opportunity for hearing.”).




                                                                                                  EX. 13 pg. 027
                                                                                                         App. 0280
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 is no genuine and substantial issue of fact, when the applicant does not meet the minimum
 regulatory requirements, or when it appears conclusively from the applicant’s pleadings that the
 applicant cannot succeed.146

         The Petitioners’ request for administrative stay contains ample evidence to support a
 finding in this case of imminent hazard or the requisite basis for summary withdrawal. Millions
 of women are being misled to believe that the Mifeprex Regimen is safe, while in actuality
 neither the data submitted in the original NDA nor the subsequent marketing history can support
 a safety profile that justifies the continued marketing of the drug product. There is simply no
 legal basis to assert that FDA lacks the authority to grant the requested remedy of a “stay” (i.e.,
 suspension) of the NDA pending resolution of a formal NDA withdrawal process.

            B.      The Request for Administrative Stay Was Timely Filed.

        An NDA is not a “static” document. Rather, it is a “living” document that is constantly
 being supplemented, updated, and reviewed by FDA.147 Therefore, FDA is constantly making a
 “decision” to allow an NDA approval to stand in light of new information that is submitted to the
 Agency. Likewise, a drug’s safety and efficacy profile and risk/benefit profile also require
 constant re-analysis by FDA. For example, over time “newer” medical evidence comes to light
 and adverse reactions are recorded in the patient population. FDA’s approval decisions on
 NDAs are not “stuck in time.” Instead, “FDA has an obligation to judge a drug’s effectiveness
 by contemporary scientific standards. If those standards change to the extent that it is
 questionable whether a drug can be regarded as having been shown to be effective, FDA may
 under the act appropriately review the drug’s status.”148

        FDA’s regulations state that a stay of action must be filed within 30 days of the “date of
 the decision involved” unless FDA permits a later filing for “good cause.”149 In this instance, the
 “decision involved” is FDA’s decision to uphold the Mifeprex NDA and to not suspend the
 approval despite the influx of new information. This decision is ongoing. The Petitioners are
 requesting that FDA “stay” that decision and suspend the NDA approval immediately in
 response to the imminent hazard presented by the Mifeprex Regimen.


 146
    See Weinberger v. Hynson, Westcott & Dunning, Inc., 412 U.S. 609, 620-1 (1973) (withdrawing approval of
 NDA without a hearing based on lack of evidence negating “new drug” status); John D. Copanos and Sons, Inc. v.
 FDA, 854 F.2d 510, 518 (D.C. Cir. 1988) (withdrawing approval of NDA without a hearing based on failure to
 comply with current good manufacturing practices); Cooper Laboratories, Inc. v. FDA, 501 F.2d 772, 780 (D.C. Cir
 1974) (withdrawing approval of NDA without a hearing based on insufficient evidence of efficacy).
 147
     See, e.g., 21 C.F.R. §§ 314.70, 314.72, 314.80, 314.81. At the very least, the Sponsor of the Mifeprex NDA is
 required to submit an annual report to FDA each year. 21 C.F.R. § 314.81(b)(2). The Sponsor’s misdirection on
 this matter is revealed by the fact that, under their interpretation of the “30 days” filing requirement, the Petitioners
 could “cure” the alleged timeliness defect by merely submitting the Petition within 30 days of any Mifeprex NDA
 Supplement or Annual Report.
 148
     50 Fed. Reg. 7452, 7488 (Feb. 22, 1985) (FDA’s rejection of an industry suggestion, on withdrawal of approval
 of an application under 21 C.F.R. § 314.150, that FDA’s conclusion concerning a drug product “should remain
 unchanged even if FDA later adopted new standards”).
 149
       21 C.F.R. § 10.35(b) (emphasis added).




                                                                                                      EX. 13 pg. 028
                                                                                                             App. 0281
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          Even if the request were considered to be “untimely” from a technical perspective, FDA
 should nevertheless still grant the requested stay pursuant to either (1) the Agency’s “imminent
 hazard” authority under section 505(e), which contains no time limitation; or (2) the “good
 cause” exception of 21 C.F.R. § 10.35(b). In fact, the “imminent hazard” authority and the
 “good cause” exception were included in the statute and regulations for the very reasons outlined
 in the Petitioners’ request. Namely, these provisions allow FDA to move quickly to protect the
 public from unsafe drug products without being slowed by overly technical readings of the
 regulations. Additionally, if FDA deemed the request to be untimely filed, the Agency still may
 stay its action on the NDA on its own initiative at any time. In other words, if FDA determines
 that the Petition’s underlying request has merit, FDA may suspend approval and/or initiate
 withdrawal proceedings independent of the Petitioners’ request.

           C.       The Petitioners Comply with the Spirit and Letter of the
                    Requirements for an Administrative Stay.

         As supported by the original submission, the Petitioners’ request for an administrative
 stay meets all of the requirements of 21 C.F.R. § 10.35(e). In particular, the Petitioners have
 demonstrated irreparable harm to American women and an overwhelming public policy reason
 for removing the Mifeprex drug product from the market. The Petitioners’ request is clearly not
 frivolous, and is being pursued in good faith. In response, the Sponsor has raised minor
 technical challenges that obfuscate and mischaracterize the issues raised by the Petitioners.
 Despite the evidence contained in the Petition concerning the harm that Mifeprex is inflicting on
 American women, and the Petitioners’ direct interest as their physicians in speaking for these
 women, the Sponsor has alleged that there is insufficient injury to justify an administrative stay.
 Specifically, the Sponsor argued that the Petitioners are not the actual injured party.150 Yet, that
 response is a mischaracterization of the Petitioners’ request. The Petition clearly stated that the
 Petitioners were seeking Agency action to prevent further injury to women seeking to terminate
 their pregnancies.151 The evidence submitted in the Petition and in this submission
 unequivocally demonstrates that women are being harmed by this drug product. In light of this
 fact, FDA is obliged to investigate whether the Mifeprex NDA approval should be suspended
 and ultimately withdrawn.




 150
       See Opposition Comments at 21-22.
 151
     Just as the Petitioners have with their Petition, patient advocacy groups routinely utilize the Citizen Petition
 process to request that FDA overturn its safety and effectiveness decision for drug products and, ultimately,
 withdraw them from the market. See Letter to FDA from AIDS Healthcare Foundation, August 19, 2003 (Docket
 number not assigned), requesting market removal of Trizivir (abacavir sulfate/lamivudine/zidovudine) due to poor
 efficacy results in post-approval clinical studies letter; Docket No. 02P-1778, Citizen Petition from Public Citizen
 and Arizona Arthritis Center, March 28, 2002, requesting market removal of Arava (leflunomide) due to patient
 deaths and severe liver failure; Docket No. 02P-0120, Citizen Petition from Public Citizen, March 19, 2002,
 requesting market removal of Meridia (sibutramine) due to patient deaths related to cardiovascular adverse effects.
 Many of these Citizen Petitions are ultimately successful. See e.g., Rezulin (troglitazone), banned March 2000 after
 a July 1998 Petition (Docket No. 98-0622); and Lotronex (alosetron HCl), banned November 2000 after an August
 2000 Petition (Docket No. 00P-1499).



                                                                                                 EX. 13 pg. 029
                                                                                                        App. 0282
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 III.   Conclusion.

         For the foregoing reasons, the Petitioners respectfully request that FDA immediately
 suspend the approval of the NDA for Mifeprex and enter an administrative stay to halt any
 further distribution and marketing of Mifeprex until final Agency action is taken to withdraw the
 NDA approval for Mifeprex. For copies of any of the reference materials cited herein, please
 contact the undersigned.

 Respectfully submitted,



 Gary L. Yingling



 Rebecca L. Dandeker




                                                                                 EX. 13 pg. 030
                                                                                        App. 0283
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                 Exhibit 14
         AAPLOG Statement on FDA removing
         Mifepristone safety protocols (REMS)




                                                                      App. 0284
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   AAPLOG Statement on FDA removing Mifepristone safety protocols (REMS)

As women’s healthcare experts, we fight hard every day for the health of our patients. And
when political agendas supersede the health of our patients, it is our responsibility to speak up.
The FDA’s announcement yesterday that they plan to lift safety restrictions that govern the
dispensing of medication abortions makes women’s health simply a pawn in the effort to push
for more abortion. The American Association of Prolife Obstetricians and Gynecologists
(AAPLOG) represents approximately 7,000 women’s healthcare practitioners who will not allow
our patients’ lives to be put in jeopardy in order to appease the abortion industry and their allies.

When Mifepristone was first approved in 2000, it was only approved with safety regulations in
place (known later as REMS) that would attempt to minimize the significant risk of hemorrhage,
tissue not removed, and infection. These REMS were relaxed in 2016 by the FDA, without any
further safety testing and despite evidence of significant adverse events, as well as maternal
deaths. Inexplicably in 2016, the FDA stopped collecting data on non-fatal adverse events and
has only collected data on maternal deaths related to Mifepristone. They have chosen to
completely ignore the thousands of women who are showing up in their local emergency rooms
due to heavy bleeding, retained tissue, infection, or other complications as a result of medication
abortions. A recent analysis of the Adverse Events submitted to the FDA with the REMS in
place shows over 3000 women suffering with complications, of which 24 of these women died,
and another 500 would have died if they had not reached emergency medical care in time. These
numbers will only increase if the current REMS, which require that a woman be seen and
evaluated by a licensed healthcare practitioner prior to receiving the medications for an abortion,
are removed. This requirement is not restrictive – it is protective.

It is critical that a woman be seen in person before being given Mifepristone for an abortion for
numerous reasons, including:
1) Her doctor(s) will know her actual risks;
2) her doctor(s) will be able to rule out contraindications like ectopic pregnancies; and
3) her doctor(s) will be able to give her Rhogam if she is Rh negative.

Requiring that a woman be seen in person in order to undergo medication abortion ensures that
she is able to give her fully informed consent – a basic tenet of medical ethics. Many women are
pressured into abortions by their partner, a family member, or a trafficker. Oftentimes, their visit
with a physician in early pregnancy is the only chance these women will have to expose this
pressure they’re facing. As compassionate physicians, we should do everything we can to ensure
that a woman is not being unduly pressured to have an abortion she does not want. Screening for
abuse and trafficking is inadequate during a telemed visit because the physician cannot control




                                                                                   EX. 14 pg. 001
                                                                                         App. 0285
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the environment of the woman on the other end of the screen, or know who is hovering behind
the computer screen.

An in-person visit is medically necessary and sound medical practice because it ensures that
every woman receives a full evaluation for any contraindications to a medication abortion. First,
it ensures that the gestational age of her pregnancy can be confirmed. Mifepristone is only
approved for use through 10 weeks gestation and the complication rates associated with it
increase significantly after this gestational age. According to a Committee Opinion from the
American College of OB/GYN’s (ACOG) on dating pregnancies, up to 50% of women will be
wrong about their gestational age when relying only on recall of their last menstrual period. For
this reason, a pregnancy that has not had a first trimester ultrasound is considered sub optimally
dated. A woman’s risk of dying from an abortion increases by 38% for every week beyond 8
weeks gestation, and so confirmation of her gestational age is critical.

An ultrasound is also crucial to rule out an ectopic pregnancy, which can be life threatening if
not detected. This cannot be diagnosed via a televisit or through symptom/risk factor screenings
over the phone, as stated by ACOG – it requires an in person visit with an exam and ultrasound.
This is particularly important since the symptoms of a life-threatening ruptured ectopic
pregnancy mimic those of a medication abortion. Claims that allowing women to have
Mifepristone delivered through the mail will put women who live hours from the closest medical
care unit in danger – a woman experiencing hemorrhage related to her abortion or a ruptured
ectopic pregnancy does not have hours and could die before she reaches a hospital.

Women who have an Rh negative blood type require an in person visit to receive a medication
called Rhogam to prevent complications in future pregnancies. Even ACOG admits that it is
standard medical care for women to receive Rhogam after a miscarriage or an abortion. Claims
that this step can be skipped will potentially lead to the loss of future pregnancies from a disease
known as rhesus isoimmunization.

These are not hypothetical scenarios. One of the largest studies to date analyzed high-quality
registry data obtained from nearly 50,000 women in Finland who underwent abortions from
2000-2006 with a gestational duration of 9 weeks or less. This study found that the overall
incidence of immediate adverse events is four-fold higher for medical abortions than for surgical
abortions. In particular, this study indicated that hemorrhage and incomplete abortion are more
common after medical abortions; the incidence of hemorrhage was 15.6 percent following
medical abortions, compared to 2.1 percent for surgical abortions, and 6.7 percent of medical
abortions resulted in incomplete abortion, compared with 1.6 percent of surgical abortions. This
means that nearly 7% of women will need surgical intervention - a significant number when you
consider how many abortions happen everyday in the U.S.

These figures do not tell the whole story, either. The true number of complications from use of a
Mifepristone abortion regimen is much larger, since many studies show that on average 5-8% of
women need emergency room visits for complications, and this does not even include the



                                                                                   EX. 14 pg. 002
                                                                                           App. 0286
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number of surgeries done in the abortion clinics. 5% of the 3.7 million women who have used
Mifepristone according to FDA estimates means at least 185,000 women have suffered and
needed surgery and medical treatment as a result. The FDA Mifepristone Adverse Event Reports
represent only 1.73% of these women. And no one is systematically collecting data on the
women hurt or killed by Mifepristone complications. The FDA knows that there are widespread
inadequacies in reporting and the FDA itself admits, for example, that it “does not receive
reports for every adverse event… that occurs with a product.” This is in part because healthcare
professionals are not required to report adverse events; rather, such reporting is voluntary.

It is impossible for a physician who is states away to safely, compassionately and fully care for a
woman and ensure she has appropriate follow up. Abandoning our patients to the closest clinic
or emergency room is not good medicine. We would like the FDA and ACOG to explain why
women seeking abortions deserve substandard medical care that places their lives at risk.
Mifepristone is a potentially dangerous medication for women, as evidenced by its black box
warning label. Women deserve excellent healthcare – not the gross negligence that this decision
by the FDA, at ACOG’s encouragement, provides.


Dr. Christina Francis
Chair of the Board, American Association of Pro-Life OB/GYNs (AAPLOG)
https://aaplog.org




                                                                                  EX. 14 pg. 003
                                                                                          App. 0287
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                 Exhibit 15
2016 FDA Letter to AAPLOG, Christian Medical
& Dental Associations, and Concerned Women for
 America denying 2002 Citizen Petition, Docket
  No. FDA-2002-P-0364, (Mar. 29, 2016) (2016
                Petition Denial)




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                                       Re: Docket No. FDA-2002-P-0364

                       Dear Drs. Harrison and Rudd and Ms. Nance:

                       This letter responds to your citizen petition submitted on August 20, 2002, to the Food and Drug
                       Administration (FDA or Agency) on behalf of the American Association of Pro Life Obstetricians
                       and Gynecologists (AAPLOG), the Christian Medical Association (CMA) (n/k/a the Christian
                       Medical and Dental Associations), and Concerned Women for America (CWA) (Petition). 1 Your
                       Petition requests that the Agency stay FDA's approval ofMifeprex (mifepristone, also known as
                       RU-486), thereby halting the distribution and marketing of the drug pending final action on the
                       Petition. The Petition also requests that the Agency revoke FDA's approval ofMifeprex and
                       requests a full audit of the French and U.S. clinical trials submitted in support of the new drug
                       application (NDA) for Mifeprex.

                       We have carefully considered the information submitted in your Petition, comments on your
                       Petition submitted to the docket, other submissions to the docket, and other relevant data available
                       to the Agency. Based on our review of these materials and for the reasons described below, your
                       Petition is denied.

                       1
                         The citizen petition was originally assigned docket number 2002P-0377/CP I. The number was changed to
                       FDA-2002-P-0364 as a result of FDA's transition to its new docketing system (Regulations.gov) in January
                       2008. This citizen petition was submitted by AAPLOG, CMA, and Sandy Rios, the then-President of CW A.
                       We have addressed this response to CW A's current CEO and President, Penny Young Nance.




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      I.       BACKGROUND

      On September 28, 2000, FDA approved Mifeprex for the medical termination of intrauterine
      pregnancy through 49 days' pregnancy (NDA 20-687). The application was approved under 21
      CFR part 314, subpart H, "Accelerated Approval of New Drugs for Serious or Life-Threatening
      Illnesses" (subpart H). This subpart applies to certain new drug products that have been studied for
      their safety and effectiveness in treating serious or life-threatening illnesses and that provide
      meaningful therapeutic benefit to patients over existing treatments. Specifically,§ 314.520 of
      subpart H provides for approval with restrictions that are needed to assure the safe use of the drug
      product. In accordance with § 314.520, FDA restricted the distribution ofMifeprex as specified in
      the approval letter, including a requirement that Mifeprex be provided by or under the supervision
      of a physician who meets eight qualifications specified in the letter.

                                                                                                    2
      The September 28, 2000, approval Jetter also listed two Phase 4 commitments that the then-
      applicant of the Mifeprex NDA (i.e., the Population Council) 3 agreed to meet. In addition, the
      letter stated that FDA was waiving the pediatric study requirement in 21 CFR 314.55.

      II.      DISCUSSION OF ISSUES RAISED

      You maintain that good cause exists for granting an immediate stay of the Mifeprex approval and
      for the subsequent revocation of that approval under 21 CFR 314.530 (Petition at 3). You contend
      that:

               •   The approval ofMifeprex in 2000 violated the Administrative Procedure Act' s (APA's)
                   prohibition against agency action that is arbitrary, capricious, an abuse of discretion, or
                   otherwise not in accordance with Jaw (5 U.S.C. 706(2)(A));

               •   The 2000 approval violated section 505 of the Federal Food , Drug, and Cosmetic Act
                   (the FD&C Act) (21 U .S.C. 355) because Mifeprex does not satisfy the safety and
                   labeling requirements of that section; and

               •   FDA approved Mifeprex in 2000 despite the presence of substantial ri sks to women's
                   health, including fatal hemon·hage and serious bacterial infections.


      You make eight arguments for the stay and revocation of the 2000 Mifeprex approval , as follows
      (Petition at 4-7):




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        For purposes of this petition response, the tenn 'Phase 4 commitments' refers to the postmarketing studie
      that the Mifeprex sponsor agreed to perfonu as a condition of approval.
      3
       Effective October 3 1, 2002, the Population Council transferred ownership of the Mifeprex NDA to Danco
      Laboratories, LLC (Danco), which had been licensed to manufac ture and market Mifeprex.



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           •   That the approval of Mifeprex in 2000 violated the legal requirements of the accelerated
               approval regulations under 21 CFR Subpart H.

           •   That Mifeprex was not proven safe and effective in 2000 as required by law.

           •   That the Mifeprex regimen requires that Mifeprex be used in conjunction with another
               drug, misoprostol, which has not been separately approved as an abortifacient.

           •   That the Mifeprex regimen was approved in 2000 without adequate safety restrictions.

           •   That the drug' s sponsor, following the approval in 2000, neglected to require Mifeprex
               providers to adhere to the restrictions contained in the regimen approved at that time.

           •   That the safeguards employed in one of the clinical trials that supported the 2000 approval
               were not mirrored in the regimen that FDA approved.

           •   That FDA improperly waived a requirement for pediatric studies in c01mection with the
               2000 Mifeprex approval.

           •   That FDA did not require the sponsor ofMifeprex to honor its commitments for Phase 4
               studies.

      We respond to each of these arguments below.

      We note your petition challenges the ori ginal approval ofMifeprex in 2000, and therefore this
      response is addressed to the 2000 approval and to the labeling that was approved at that time.
      Today, the Agency is approving a supplemental NDA submitted by Danco Laboratories, LLC
      (Danco), the holder of the Mifeprex NDA. This supplemental NDA proposed modified labeling
      for Mifeprex, including an updated dosing regimen, and included data to support the new labeling.
      After reviewing Dance ' s supplemental NDA, FDA determined that it met the statutory standard for
      approval. The fact that the previously approved regimen is no longer included in the labeling does
      not reflect a decision that there were safety or effectiveness concerns with the previously approved
      regimen.


      A.       Approval of Mifeprex \Vas Consistent \\1ith Subpart H

      You maintain that FDA' s 2000 approval of Mifeprex under the subpart H regulations was
      arbitrary, caprici ous, an abuse of di scretion, or otherwi se not in accordance with law, and thus
      violated the APA (Petition at 18-23). You state th at pregnancy, without major complications, is
      not a serious or life-threatening illness; instead, you cl aim it is a nonnal physiological state
      experienced by most females one or more times and is rarely accompanied by li fe-threatening
      complications (Petition at 19). You contend that Mifeprex does not provide meaningful
      therapeutic benefit to pati ents over existing treatm ents because surgical abortion is a less
      dangerous, more effective alternative for the tennination of pregnancy, and that M ifeprex does not
      treat any subset of the female population that is unresponsive to or intolerant of surgical abortion


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      (Petition at 21 -23). Thus, you assert that the approval of Mifeprex did not meet the requirements
      for product approval under subpart H (Petition at 23).

      We disagree with your conclusion that we inappropriately approved Mifeprex under subpart H. As
      stated in section I above, the accelerated approval regulations apply to new drug products that have
      been studied for their safety and effectiveness in treating serious or life-threatening illnesses and
      that provide meaningful therapeutic benefit to patients over existing treatments(§ 314.500). As
      FDA made clear in the preamble to the final rule for subpart H, the subpart H regulations are
      intended to apply to serious or life-threatening conditions, as well as to illnesses or diseases .4 The
      Agency also made clear that a condition need not be serious or life-threatening in all populations or
      in all phases to fall within the scope of these regulations. 5 Unwanted pregnancy falls within the
      scope of subpart H under § 314.500 because unwanted pregnancy, like a number of illnesses or
      conditions, can be serious for certain populations or under certain circumstances.

       Pregnancy can be a serious medical condition in some women. 6 Pregnancy is the only condition
       associated with preeclampsia and eclampsia and causes an increased risk of thromboembolic
       complications, including deep vein thrombophlebitis and pulmonary embolus. Additionally, there
       is a significant risk of a major surgical procedure and anesthesia if a pregnancy is continued; for
       2013 (the most recent data available), the Centers for Disease Control and Prevention reported an
       overall 32.7 percent rate of cesarean sections in the United States. 7 Other medical concerns
     . associated with pregnancy include the following: disseminated intravascular coagulopathy (a rare
       but serious complication); amniotic fluid embolism; life-threatening hemorrhage associated with
       placenta previa, placenta accreta, placental abruption, labor and delivery, or surgical delivery;
       postpartum depression; and exacerbation or more difficult management of preexisting medical
       conditions (e.g., diabetes, lupus, cardiac disease, hypertension). In addition, approximately 50
       percent of all pregnancies in the United States each year are unintended. 8 According to the

      4
          See, e.g., 57 FR 58942, 58946 (Dec. 11 , 1992).
      5
          Id .
      6
        According to data from the Centers for Disease Control and Prevention (CDC), for 20 12 (the most recent
      year for which data are available), the pregnancy-related mortality ratio in the United States was 15.9
      maternal pregnancy-related deaths per I 00,000 live births. See CD C, Pregnancy Mortality Surveillance
      System, available on the CDC Web page at
      http://www.cdc.gov/reproductivehea lthlmatemalinfanthealth/pmss. html. A 2012 study by Raymond and
      Grimes provides a comparison for the mortality rate associated with legal abortion to Jive birth in the United
      States for the earlier period from J 998 through 2005. Investigators reported that over the study period, the
      pregnancy related mortality rate among women who delivered live neonates was 8.8 deaths per I 00,000 live
      births. This lower rate excludes deaths from ectopic pregnancies, stil lbirths, gestational trophoblastic disease,
      etc. During the same period, the rate of abortion related morta lity was 0.6 per I 00,000 abortions. The risk of
      childbirth related death was therefore approximately 14 times higher than the rate associated with legal
      abortion. Raymond, EG and DA Grimes, Feb. 20 12, The Comparative Safety of Legal Induced Abortion and
      Childbirth in the United States, Obstet Gynecol, 119 (2, Part I ):2 15-219.
      7
       See CDC, Nov. 5, 20 14, Trends in Low-risk Cesarean Delivery in the United States, 1990-20 13, National
      Vital Statistics Report, 63(6), available at http: 'NWw.cdc.go\ nchs data m sr m sr63 m sr63 06.pdf .
      8
       Guttmacher Institute, Feb. 20 I 5, Unintended Pregnancy in the United States, at 1, available at
      http:. www.guttmacher.org. pubs FB-Unintended-Pregnancy-US.pdf. See also Institute of Medicine, 20 1 I ,


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      Institute of Medicine, women experiencing an unintended pregnancy may experience depression,
      anxiety, or other conditions. 9

      Furthermore, consistent with § 314.500, medical abortion through the use ofMifeprex provides a
                                                                                10
      meaningful therapeutic benefit to some patients over surgical abortion. Although FDA provided
      several examples in the preamble to the final rule to illustrate how the term "meaningful
      therapeutic benefit" might be interpreted, the Agency did not suggest that the meaning of the term
                                              11
      was limited to the examples provided. In the Phase 3 clinical trial ofMifeprex conducted in the
      United States, medical termination of pregnancy avoided an invasive surgical procedure and
      anesthesia in 92 percent of the 827 women with an estimated gestational age (EGA) of 49 days or
      less. 12 Complications of general or local anesthesia, or of intravenous sedation ("twilight"
      anesthesia), can include a severe allergic reaction, a sudden drop in blood pressure with
      cardiorespiratory arrest, death, and a longer recovery time following the procedure. Medical (non-
      surgical) termination of pregnancy provides an alternative to surgical abortion; it is up to the
      patient and her provider to decide whether a medical or surgical abortion is preferable and safer in
      her particular situation. 13



      Clinical Preventive Services for Women: Closing the Gaps (Closing the Gaps), at 102-110, available at
      http:. books.nap.edu openbook.php?record id 13181 (stating that "[u]nintended pregnancy is highly
      prevalent in the United States").

      9
          See Closing the Gaps, supra note 8, at 103.

       °
      1 For a discussion of how FDA interprets the phrase " meaningful therapeutic benefit to patients over existing
      treatments" in 21 CFR 314.500, see FDA guidance for industry, Expedited Programs for Serious
      Conditions- Drugs and Biologics, at 3-4, 16- 17, available on the FDA Drugs guidance Web page at
      http://www.fda.govDrugs GuidanceComplianceRegulatory1nfomlation/Guidances/default.htm.
      11 57 FR 58942, 58947 (Dec. II , 1992).

      12
         FDA, 1999, Medical Officer' s Review of Amendments 024 and 033: Final Reports for the U.S. Clinical
      Trials Inducing Abortion Up to 63 Day Gestational Age and Complete Responses Regarding Distribution
      System and Phase 4 Commitments (Med ical Officer' s Review), at II (Table I) and 16, available at
      http: www.accessdata.fda.go• drugsatfda docs nda '>000 '20687 Mifepristone medr Pl.pdf and
      http:. www.accessdata.fda.gov drugsatfda docs nda '2000 '20687 Mifepristone medr P2.pdf. Spitz, IM, et
      al., 1998, Early Pregnancy Tennination With Mifepristone and Misoprostol in the US, NEJM, 338: 124 1-
      1243.
      13
        CDC data indicate that for the 730,322 abortions reported in 20 II , there were 2 deaths. The CDC's
      calculated case fatality rate over the period from 2008 to 20 11 (the most recent year for which data are
      avai lable), the case fatality rate was 0.73 legal induced abortion-related deaths per 100,000 reported legal
      abortions. http://www.cdc.gov/mmwr/preview/mmwrhtml/ss641 Oa l.htm?s cid ss641 Oa 1 e. Mortality rates
      identified by type of abortion (medical or surg ical) were not avai lable. However, the evidence suggests that
      the risk of mortality associated with medical abortion is quite low. Confirmation o f the low risk of medical
      abortion is provided in a study by Trussell, et al., which recorded no deaths for 7 11 ,556 medical abortions
      performed by Pla1med Parenthood clinics under the buccal misoprostol administration protocol (Trussell J, D
      Nucatola, et al., Mar. 20 14, Reduction in Infection-Related Mortality Since Modifications in the Regimen of
      Medical Abortion, Contraception, 89(3): 193-6). W e note that one study reported a comparatively high
      occurance of fatality (1 death in a study of II , 155 early medical abortions); however, this apparent high
      occurence of fatality is likely due to instability in the estimate as a result of the small sample size (Goldstone
      P, J Michelson, et al., Sept. 3, 20 12, Early Medical Abortion Using Low-Dose Mifepristone Followed by


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      You cite a study by Jensen, et al., as support for your claim that surgical abortion is less dangerous
      and more effective than Mifeprex (Petition at 21-22 (citing Jensen, JT, et al., 1999, Outcomes of
      Suction Curettage and Mifepristone Abortion in the United States: A Prospective Comparison
      Study, Contraception, 59:153-159 (Jensen study)). This study was a prospective, nonconcurrent
      cohort analysis comparing the patients from one site in the U.S. phase 3 trial and a separate group
      of patients (who were not part of the U.S. phase 3 trial) who underwent surgical abortion at the
      same facility. The populations that were compared were not randomized to treatment (i.e., medical
      or surgical abortion) and the treatment periods did not overlap. 14 In addition, the data on medical
      abortion cited in the Jensen study are based on the 178 subjects at a single site in the phase 3 U.S.
      Mifeprex trial that enrolled 2,121 women. This small subset ofthe U.S. trial included patients with
      pregnancies of up to 63 days' gestation. Although you cite a surgical intervention rate of 18.3
      percent in the Mifeprex patients, the surgical intervention rate for Mifeprex patients with an EGA :::;
      49 days was 12.7 percent (9 of 71 ), which, because of the small number of patients in the two
      groups, is not statistically significantly different from the 3.9 percent rate for re-intervention in the
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      comparative surgical group (3 of77). Furthermore, the 3.9 percent who first had a surgical
      abortion and then required surgical re-intervention ultimately required two surgical interventions,
      not one, thereby exposing them twice to the risks inherent in invasive surgical procedures and
      anesthesia. Finally, although you state that the medical abortion patients in the Jensen study
      reported significantly longer bleeding than did surgical patients, there was not a greater amount of
      bleeding in the medical abortion group, nor was there a significant difference between the two
      treatment groups in the incidence of anemia as determined by the overall change in hemoglobin
      concentrations.

      You state that FDA "viewed [s]ubpart Has the only available regulatory vehicle that had the
      potential to make Mifeprex safe" (Petition at 23 (footnote omitted)). The question of whether
      subpart H was "the only available regulatory vehicle" is not relevant here. As described above,
      Mifeprex met the criteria for approval under subpart H. Additionally, as stated in the September
      28, 2000, memorandum to NDA 20-687 (Mifeprex Approval Memorandum), "the Population
      Council proposed and FDA agreed that this drug will be directly distributed via an approved plan
      that ensures the physical security of the drug to physicians who meet specific qualifications" that
                                                                          16
      were set out in the approval letter and the Prescriber's Agreement.



      Buccal Misoprostol: A Large Australian Observational Study, Med J Aust, 197(5):282-6). Much more
      accurate and meaningful data are provided by Trussell's study covering >700,000 medical abortions.
      14
        We are not suggesting that in order to be adequate and well-controlled a trial must be concurrentl y
      controlled. As discussed below in section Il .B. l , FDA's regulations in § 3 14.126 recognize a number of
      different types of controls.

      15
         In addition, the mean surgical intervention rate for all Mifeprex patients with gestational ages s 49 days in
      the Phase 3 U.S. trial was 7.9 percent (65 of 827 evaluable patients).
      16
         FDA, Sept. 28 , 2000, Memorandum to NDA 20-687 MIFEPREX (mifepristone) Population Council
      (Mifeprex Approval Memorandum), available at
      http:. www.fda.gm download:- Drugs DrugSafety PostmarketDrugSafetylnfonnationforPatientsandProviders
      ucml 11366.pdf


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      Furthermore, we approved a risk evaluation and mitigation strategy (REMS) for Mifeprex in June
      2011 , consisting of a Medication Guide, elements to assure safe use, an implementation system,
      and a timetable for submission of assessments of the REMS. Mifeprex was identified as one of the
      products that was deemed to have in effect an approved REMS under the Food and Drug
      Administration Amendments Act of 2007 (FDAAA) because on the effective date of Title IX,
      subtitle A ofFDAAA (March 28, 2008), Mifeprex had in effect elements to assure safe use. 17
      The2011 REMS for Mifeprex incorporated the restrictions under which the drug was approved.
      Indeed, there is substantial overlap between the requirements of subpart H and the statutory criteria
      for REMS set out in Title IX.

      Given all of the above, the Mifeprex NDA was appropriately approved in 2000.

      B.         The French and U.S. Clinical Trials of Mifeprex Provided Substantial Evidence to
                 Support Approval

      You contend that the studies on which the Population Council relied in support of its NDA for
      Mifeprex do not meet the statutory and regulatory requirements for the quality and quantity of
      scientific evidence needed to support a finding that a new drug is safe and effective (Petition at 24).

      Our review of Mifeprex was thorough and consistent with the FD&C Act and FDA regulations,
      including the requirements under section 50S(d) of the FD&C Act that: (1) there be adequate tests
      to show that the drug is safe for use under the conditions prescribed, recommended, or suggested in
      the proposed labeling (section 505(d)(l)) and (2) there be substantial evidence that the drug will
      have the effect it purports or is recommended to have under the conditions of use prescribed,
      recommended, or suggested in the labeling (section 505(d)(5)). The Mifeprex NDA was
      thoroughly reviewed, and the drug product was found to be safe and effective for its approved
      indication. In addition, as noted in the Mifeprex Approval Memorandum (at 1), FDA' s
      Reproductive Health Drugs Advisory Committee (Advisory Committee) voted 6 to 0 (with 2
      abstentions) on July 19, 1996, that the benefits of Mifeprex exceeded the risks. As set forth below,
      we disagree with your cl aims concerning the clinical trials that fonn the basis for the approval of
      Mifeprex.

                  1.      The Clinical Trials Used to Support the Mifeprex NDA Were in Accordance With
                          the FD&C Act and Applicable Regulations

      You argue that because neither the French clinical trials nor the U.S. clinical trial of mifepristone
      were blinded, randomized, or concurrently controlled, these trials were inadequate to establi sh the
      safety and effectiveness ofMifeprex (Petition at 24-25 and 32-34). In addition, you assert in the
      response you submitted on October 10, 2003, to the comments in opposition to the Petition
      submitted by the Population Council and Danco (Response to Oppositi01V that the clinical trials of
      Mifeprex were not historically controlled but instead were uncontrolled. 1 You state that the

      17
           73 FR I 63 13 (Mar. 27, 2008).
      18
        Response to Opposition at 5. You also state that because the Mifeprex regimen was the first drug regime n
      that FDA approved to induce abortions, the applicant should have compared the new drug regimen to surgical
      abortions perfom1ed during the fi rst 49 days after a woman's last menstrual period (Response to Opposition at


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      applicant did not describe any historical control group in the French clinical trials, and did not
      indicate that any of the scientific guidelines for selecting a proper control group before begitming a
      historically controlled study were used for these trials (id. at 5-6). You also reject the applicant's
      claim that the available information on surgical abortion constitutes historically controlled data (id.
      at 6).

      We disagree with your conclusion that the French and U.S. clinical trials ofmifepristone were not
      clinically and legally adequate to support the approval ofMifeprex. The data from these three
      clinical trials (a large U.S. trial and two French trials) constitute substantial evidence that Mifeprex
      is safe and effective for its approved indication in accordance with section 505(d) of the FD&C
      Act. The labeling approved in 2000 for Mifeprex was based on data from these three clinical trials
      and from safety data from a postrnarketing database of over 620,000 women in Europe who had
      had a medical termination of pregnancy (approximately 415,000 of whom had received
                                                  19
      mifepristone together with misoprostol).

      The U.S. trial ofMifeprex involved 2,121 subjects enrolled at 17 sites. Ofthese, 827 had an EGA
      of :::; 49 days and were included in the efficacy evaluation. 20 Medical termination of pregnancy was
                                                                                                   21
      complete (without the need for surgical intervention) in 762 of these subjects (92 percent). Sixty-
      five of the subjects in the U.S. trial who were evaluable for efficacy were classified as having had a
      "treatment failure." The reasons for treatment failure (and number of subjects experiencing each)
      were: incomplete pregnancy tennination (n = 39), still pregnant (n = 8), subject request for surgical
      intervention (n = 5), and medical indication (bleeding, n = 13 ). 22 The two French trials enrolled a
      total of 1,681 subjects providing effectiveness outcomes. Among the French subjects, the success
      rate for medical termination of pregnancy was 95.5 percent. 23

      In the U.S. trial , 859 subjects with an EGA of ::; 49 days were evaluated for safety. Among these
      subjects, there were no deaths, one transfusion, and nine instances in which subjects received
      intravenous fluids. 24 The safety profile of the patient group in the French trials with an EGA of:::;
      49 days did not differ significantly from the safety profile of the same patient group in the U.S.

      5, note 20). The fact that a drug might be the first one approved for a particular indication is not a factor in
      determining what type of control is adequate for a clinical trial of that drug for that indication. As discussed
      above, FDA' s regul ations provide for a variety of different types of controls (see 2 1 CFR 3 14. 126(b)), and do
      not require comparison of a proposed drug product to an active control group to establish the safety and
      effectiveness of the drug. Therefore, the clinical trials to support the approval ofMifeprex were not required
      to have a surgical comparator arm.
      19
         Mifeprex labeling, Sept. 28, 2000, PRECAUTIONS, Teratogenic Effects: Human Data, Pregnancy,
      available at http: WW\\ .accessdata. fda.gO\ drugsatfda docs label '"'000 206871bl.pdf.
      20
           Mifeprex Approval Memorandum, supra note 16, at I; Medical Offi cer's Review, supra note 12, at I 0.
      21
           Medi cal Officer's Review, supra note 12, at II (Tabl e I) and I 6.
      22
           Id. at II (Table I).
      23
           Mifeprex Approval Memorandum, supra note 16, at I .
      24
           Medical Officer' s Review, supra note 12, at 12- 13.




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      trial, and the percentage of patients in the French and U.S. trials requiring hospitalization and blood
      transfusion and experiencing heavy bleeding was comparable? 5 There were no deaths in the
      French trials?6

      Section 505(d) of the FD&C Act states, in part, that FDA must refuse to approve an application if
      the Agency finds that there is a lack of substantial evidence that the drug will have the effect it
      purports or is represented to have under the conditions of use prescribed, recommended, or .
      suggested in the drug' s proposed labeling. Section 505(d) defines "substantial evidence" as
      "evidence consisting of adequate and well-controlled investigations, including clinical
      investigations, by experts qualified by scientific training and experience to evaluate the
      effectiveness ofthe drug involved."

      As stated in 21 CFR 314.126(a), the purpose of conducting clinical investigations of a drug is to
      distinguish the effect of the drug from other influences, such as a spontaneous change in the course
      of the disease or condition, placebo effects, or biased observation. Reports of adequate and well-
      controlled investigations serve as the main basis for determining whether there is substantial
      evidence to support the claims of effectiveness for a drug.

      We agree that randomization and the use of concurrent controls are two principal means of
      ensuring that clinical trial data are reliable and robust. However, that does not mean that in order
      to be adequate and well-controlled, a clinical trial must use a randomized concurrent control
      design. Section 314.126(b) lists the characteristics of an adequate and well-controlled study.
      Contrary to your assertion (Petition at 24), FDA regulations do not require that a study be blinded,
      randomized, and/or concurrently controlled. Among the characteristics of an adequate and well-
      controlled study is that it uses a design that permits a valid comparison with a control to provide a
      quantitative assessment of drug effect(§ 314.126(b)(2)). A historical control is one of the
      recognized types of control (§ 314.126(b)(2)(v)), and one in which the results of treatment with the
      test drug are compared with experience historically derived from the adequately documented
      natural history of the disease or condition, or from the results of acti ve treatment in comparable
      patients or populations (id.). Unlike some other types of control (e. g., placebo concurrent control
      (§ 314.126(b)(2)(i)) or dose-comparison concurrent control (§ 314.1 26(b )(2)(ii))), use of a
      historical control does not include randomization or blinding. Because historical control
      populations usually cannot be as well assessed with respect to pertinent variables as can concurrent
      control populations, histori cal control designs are usually reserved for special circumstances,
      including studies in which the effect of the drug is self-evident. 27 Thus, in the proper setting,


      25
           Id. at 18.
      26
         FDA, May 2 I , 1996, Statisti cal Review and Evaluation (May 2 1, 1996, Statistical Review), at 4 and 7,
      available at http:. www.accessdata.fda.gov. drugsatfda docs/nda 2000;?0687 Mifepristone statr.pdf.
      27
         21 CFR 314.126(b)(2)(v). We note your contention that the effects of the regimen approved in 2000 are not
      self-ev ident because "[t]he Sponsor 's focus on this dyadic set of possibilities (failure (0) or success (l ))
      obscures a whole range of less easily measurable, but critically imp011ant, outcomes," including "tissue
      retention, life- threatening hemorrhaging, persistent bleeding, infection, teratogenicity, pain, continued
      fertility, and psychological effects" (Response to Oppositi on at 8). We disagree with your argument. From a
      clinical perspective, there are two outcomes associated with the use ofMifeprex for medical abortion: either
      there is a complete abortion (witho ut the need for surgical intervention) or there is not. The "outcomes·• yo u


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                                                                                                      EX. 15 pg. 009


                                                                                                                    App. 0297
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      historically controlled trials can be considered adequate and well-controlled, and there is no need
      for the other types of control listed in § 314.126(b)(2). 28

      The use of historical controls in the Mifeprex clinical trials was appropriate for two reasons. First,
      the natural history of a viable prewancy is adequately documented (a pregnancy continues on
      average for 40 weeks' gestation). 9 Second, the effect ofMifeprex is dramatic, occurs rapidly
      following treatment, and has a low probability of having occurred spontaneously. 3 Furthermore,       °
      contrary to your assertion (Petition at 32-34), the use of a historical control in these circumstances
      is consistent with ICH's guidance for industry, EJO Choice of Control Group and Related Issues in
      Clinical Trials (ElO Guidance).31 The ElO Guidance addresses external controls (including
      historical controls) that are used in externally controlled trials to compare a group of subjects
      receiving the test treatment with a group of patients external to the study, rather than with an
      internal control group consisting of patients from the same population assigned to a different
      treatment. 32 The guidance states that the "external control may be defined (a specific group of
      patients) or non-defined (a comparator group based on general medical knowledge of outcome)."33

      cite are complications that can be associated with all abortions (including surgical abortion, missed abortion
      (non-viable pregnancy that has not been expelled from the uterus), and spontaneous abortion).
      28
         You cite to a statement in the May 2 1, 1996, Statistical Review regarding the two French trials that " [i]n the
      absence of a concurrent control group in each of these studies, it is a matter of clinical judgement whether or
      not the sponsor's proposed therapeutic regimen is a viable alternative to uterine aspiration for the termination
      of pregnancy" (Petition at 27). FDA 's finding that Mifeprex was safe and effective for its labeled indication
      was b ased on data from three trials, one in the U.S. and two in France, as well as from safety data from a
      database of over 620,000 women in Europe who had had a medical termination of pregnancy (and
      approximately 41 5,000 of whom had received the combination of mifepristone and misoprostol). The
      Medical Officer's Review, supra note 12, also states that the " U.S. clinical trials confirm the safety and
      efficacy of mifepristone and misoprostol found in the pivotal French studies for women seeking medical
      abortions with gestations of 49 days duration or less" (ld. at 18-1 9) . As stated previously, it is up to the
      physician and his/her patient to decide whether a medical or surgical abortion is preferable and safer in the
      patient's particular situation.
      29
           MacDonald, PC, NF Gant, et al., 1996, Williams Obstetrics (201h ed.), Appleton and Lange, at 151.
      30
        Although sources and studies differ somewhat, the 92% success rate following mifepristone/misoprostol
      use far exceeds the rate of spontaneous abortion (spontaneous miscarriage). One source states: "N o less than
      30% and as much as 60% of all conceptions abort within the first 12 weeks of gestation, and at least half of all
      losses go unnoticed. Most recognized_pregnancy losses occur before 8 weeks' gestation, and relatively few
      occur after 12 weeks" (Fritz, M and L Speroff, 2011 , Clinical Gynecologic Endocrinology and Infertility (8 th
      ed.), Lippincott Wi lliams & Wilkins, Philade lphia, at 11 93). Other sources indicate that 15% of all
      pregnancies between 4-20 weeks of gestation spontaneously abort (See Speroff, L, e t al., 1989, Clinical
      Gynecologic Endocrinology and Infertility (4th ed.), W illiams and Wilkins, Baltimore, at 535 ; see also
      Stenchever, MA, 200 1, Comprehensive Gynecology (4th ed.), Mosby, at 414). According to the National
      Library of Medicine, " [a]mong women who know U1ey are pregnant, the miscarriage rate is about 15-20%.
      M ost miscarriages occur during the fi rst 7 weeks of pregnancy." (Miscarriage, available on the M edlinePius
      W eb site at http://www.nlm.nih.gov/medlineplus/ency/articlc. 00 1488.htm.
      31
          El O Guidance, available on the FDA Drugs Web p age at
      http: WW\\ .fda.go\ Drugs GuidanceComplianceRegulatorylnformation!Guidan ce~ default.htm, at 6.

      32 Id.


      33 ld.




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                                                                                                        EX. 15 pg. 010


                                                                                                                     App. 0298
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      Moreover, the El 0 Guidance clearly states that, notwithstanding certain limitations of external
      controls, including the possibility of bias, external controls can be appropriate under circumstances
      where the effect of the treatment is dramatic and the usual course of the disease or condition is
                          34
      highly predictable. In other words, historical controls can be appropriate in circumstances such
      as medical termination of early pregnancy. The use of the expected rate of spontaneous abortion
      during early pregnancy as the control in the Mifeprex clinical trials was appropriate and fully
      consistent with FDA regulations and guidance. The applicant could rely on the data from the three
      trials to support approval because they were adequate and well-controlled , using a historical
      control. 35

      It is not uncommon for the drug product review divisions in FDA's Center for Drug Evaluation and
      Research (CDER) to accept for filing and approve applications that rely on clinical trials
      employing historical controls to support approval for drug products in which the outcome of the
      condition is well known and the effect of the drug is anticipated to be markedly different from that
      of a placebo. Examples include FDA ' s approval of numerous oncology drug products, including,
      for example, Xalkori (crizotinib) for the treatment of patients with locally advanced or metastatic
      non-small cell lung cancer (NSCLC) that is anaplastic lymphoma kinase (ALK)-positive as
      detected by an FDA-approved test, and Adcetris (brentuximab vedotin) for the treatment of
      patients with Hodgkin lymphoma and a rare lymphoma known as systemic anaplastic large cell
      lymphoma. Other examples include iPlex (mecasermin rinfabate [rDNA origin] injection) for
      treatment of growth failure in children with severe primary IGF-1 deficiency (Primary IGFD) or
      with growth hormone (GH) gene deletion who have developed neutralizing antibodies to GH;
      Myozyme (alglucosidase ALFA) for use in patient~ with Pompe disease (GAA deficiency);
      Ferriprox (deferiprone) for the treatment of patients with transfusional iron overload due to
      thalassemia syndromes when current chelation therapy is inadequate; Voraxaze (glucarpidase) for
      treatment of toxic (> 1 micromole per liter) plasma methotrexate concentrations in patients with
      delayed methotrexate clearance due to impaired renal function; and Elelyso (taliglucerase alfa) for
      injection for use as a long-term enzyme replacement therapy in patients with Type 1 Gaucher
      disease. Similarly, it is not unusual for the CDER review divisions to accept for filing-applications
      relying on historically controlled clinical trials. Examples of reproductive drug products for which
      a historical control is often relied on in the drug approval process include contraceptive drug
      products (e. g., most birth control pills, Mirena intrauterine device, NuvaRing (an intravaginal
      hormonal contraceptive), and Implanon (an implanted honnonal contraceptive)) and menopausal
      hom1onal therapy products with the addition of a progestin to prevent endometrial cancer
      secondary to unopposed estrogen stimulation.


      34
           ld. at 27.
      35
         We disagree with your statement that the sponsor's fai lure to identify precisely a historical control group is
      fatal to its claim that the trials supporting the approval ofMifeprex were historicall y contro lled (Response to
      Opposition at 5-6). In situations where an investigational product is anticipated to have an effect that is
      readily discernible and greatly exceeds that which would be expected otherwise, the historical control may be
      relied upon without explicitly describing it as such. Examples of situations where this arises include, as here,
      the use of a drug for early medical abortion, given that the majority of pregnancies continue to term, and the
      use of a drug as a contraceptive, given that the pregnancy rate in sexually active women between 18 and 35
      years old in the absence of contraception for one year is well documented at approximately 85% ( Hatcher,
      RA, et al., 20 12, Contraception Teclmology (20th ed.), Ardent Media, Inc., at 780.



                                                              11
                                                                                                        EX. 15 pg. 011


                                                                                                                     App. 0299
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      You state that FDA did not conduct a statistical review of the results of the U.S. clinical trial
      (Petition at 29). The Agency, however, concluded that the clinical results of the supporting U.S.
      clinical trial were "similar enough to the results of the European studies" (the studies used to
      support the original approval ofMifeprex in Europe) that a statistical evaluation of the results of
      the U.S. trial was not required.36

      You maintain that the Mifeprex approval is not in accordance with Agency guidance37 on when
      only one effectiveness trial may be necessary for approval because: (1) mifepristone had not been
      approved for any use in any population in the United States and (2) no one had ever presented to
      FDA any evidence from adequate and well-controlled trials regarding any use for mifepristone. 38
      As stated above, our approval of Mifeprex was based on not one but three studies that met the
      requirements of§ 314.126. Therefore, Agency guidance concerning reliance on only one
      effectiveness trial is not relevant to the approval of Mifeprex.

      You argue that FDA's acceptance ofthe French and U.S. clinical trial data violated§ 314.126(e),
      which states that uncontrolled studies or partially controlled studies are not acceptable as the sole
      basis for approval of claims of effectiveness (Petition at 34-36). As explained above, the Mifeprex
      clinical trials were neither uncontrolled nor partially controlled. They were historically controlled,
      and the use of an historical control was appropriate under § 314.126(b)(2)(v). Consequently,
      § 314.1 26(e) is inapplicable.

      Citing § 314.500, you contend that the approval of Mifeprex under subpart H was improper
      because FDA did not require the concurrent testing of mifepristone with surgical abortion to test
      the proposition that mifepristone provides a meaningful therapeutic benefit over the standard
      method for terminating pregnancies (Petition at 37-40). You maintain that Mifeprex is the only
      drug that we have approved under § 314.520 (approval with restrictions to assure safe use) without
      requiring "that safety and efficacy be scientifically demonstrated through blinded, comparator-
      controlled, and randomized clinical trials" (Petition at 37).

      Nothing in subpart H requires that an applicant conduct comparative clinical trials in order to
      demonstrate that a drug product provides meaningful therapeutic benefit to patients over existing
      treatments. Furthennore, nothing in the concept of "meaningful therapeutic benefit" requires
      concmTent testing of a proposed drug with an existing treatment. 39 We have approved other drugs

      36
         FDA Memorandum to NDA 20-687 re: Statistical conm1ents on Amendment 024 , Feb. 14, 2000, avai lable
      at http: \\W\\ .accessdata.fda.gov drugsatfda docs nda '2000.'20687 Mifepristone statr.pdf.
      37
        FDA guidance for industry, Providing Clinical Evidence ofEffecriveness for Human Drug and Biological
      Products (Effecti veness Guidance), available on the FDA Drugs Web page at
      http: WW\\ .fda.gov Drugs GuidanceComplianceRegulatorylnformation/Guidances default.htm.
      38
           Petition at 3 1-32 (citing Effectiveness Guidance at 5-17).
      39
        You state that " [c]onducting a concurrently-controlled randomized trial comparing surgical abortion wi th
      the mifepristone-misoprostol regimen is readily achievable'· (Petit ion at 32, note 145). You add that " [t]here
      are study designs that would have also allowed for blinding'' (ld.). Assuming, arguendo, that it may have
      been feasible to design a randomized, concurrently-controlled study, such study was not required under our
      regulations; as described previously in this response, the clinical trials supporting the approval ofMifeprex


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                                                                                                       EX. 15 pg. 012


                                                                                                                    App. 0300
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      under subpart H based on clinical trials that do not directly compare the drug to an existing
      therapy, including Gleevec (imatinib mesylate), Tracleer (bosentan), and Xyrem (sodium oxybate).
      We also note that the latter two referenced drug products, Tracleer (bosentan) and Xyrem (sodium
      oxybate), were approved under the restricted distribution provisions at 21 CFR 314.520. As
      previously explained in this response, Mifeprex was deemed to have in effect an approved REMS
      under Title IX ofFDAAA. The Mifeprex REMS, which was approved in June 2011 and is still in
      effect, incorporated the subpart H restrictions under which the drug was approved.

      As evidenced by the foregoing, the studies supporting the 2000 approval of Mifeprex were
      consistent with the FD&C Act and FDA regulations, including § 314.126 and subpart H.

              2.       There Is No Need for an Audit ofthe French Clinical Data

      You assert that FDA allowed "tainted data" to support the Mifeprex NDA by failing to require a
      comprehensive audit of the French clinical trial data after discovering violations of good clinical
      practices (Petition at 40-41 ). You maintain that we should therefore conduct a complete audit of
      all of the French clinical trial data to determine whether other trials must be conducted (Petition at
      41 and 89).

      We disagree with your characterization of both the French data and FDA's reliance on that data.
      You reference the Form FDA 483 issued on June 28, 2006, to Dr. Elisabeth Aubeny, as well as the
      Summary of Findings related to that Form FDA 483 . It is not uncommon to have trial sites receive
      a Fonn FDA 483, listing the FDA investigator's observations regarding non-compliance with good
      clinical practice, at the conclusion of an inspection. The investigator will draft an Establishment
      Inspection Report (EIR) that reviews the violations noted and will recommend an action, taking
      into consideration the nature of the inspectional findings, any actions that occurred following the
      findings , and Agency policy. For products regulated by CDER, compliance reviewers in the
      Division of Clinical Compliance Evaluation in the Office of Scientific Investigations (previously,
      the Division of Scientific Investigations) review the EIR, the Form FDA 483, and the evidence
      collected during the inspection, as well as any written response submitted timely by the inspected
      party, to determine whether the recommended action is appropriate and is supported by adequate
      evidence. This review evaluates each violation's effect on the timeliness, accuracy, and/or
      completeness of the data collected from the site to ascertain if the data are reliable. In this
      particular case, although there were violations cited on the Fonn FDA 483 and discussed in the
      EIR , the violations were detennined not to affect the reliability of the data provided by that site.
      The statement you quote from the Summary of Findings reflects this conclusion. We note that,
      although the French studies were not perfonned under a U.S. investigational new drug application
      (IND), this is typical of many approved drugs that originally were developed or studied outside the
      United States, and is fully pennissible under 21 CFR 312. 120 (Foreign clinical studies not
      conducted under an IND) (including the version of the provision in effect at the time of the 2000




      were historically controlled, which was appropriate under § 314.126(b)(2)(v). Furthermore, your suggestion
      that there are study designs that wou ld have allowed for blinding raises ethical issues that go beyond the
      scope of your Petition and this response.



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      approval ofMifeprex). FDA concluded that the French trials were conducted in accordance with
      good clinical practice, 40 and the Agency was able to validate the data from those studies.

      It is worth noting that in 1996, when the Advisory Committee reviewed the French data without
      considering the U.S. data, the committee voted 6 to 2 that the French data alone demonstrated
                                                                                      41
      efficacy and 7 to 0 (with one abstention) that the French data supported safety. The subsequent
      approval of Mifeprex was based not only on the data from the two French trials but also on the data
      from the large Phase 3 U.S. trial. The Advisory Committee received a report on the U.S. trial (the
      article by Spitz, et al., referenced in note 12 above) and had no comments.

      For the foregoing reasons, there is no scientific or regulatory need for us to further review the
      French clinical data on Mifeprex.

                 3.       Your Request for an Audit of the U.S. Clinical Data

      In addition to your request that FDA conduct a full audit of the data from the French trials, you
      request that FDA conduct a full audit of all data from the U.S. trial (Petition at 1-2 and 89). Other
      than one footnote referring to a letter from the NDA sponsor to FDA (Petition at 89, note 384), you
      have provided no information supporting this request. Accordingly, we do not address this request
      further, other than to note that we do not believe there is any scientific or regulatory need to further
      review the U.S. clinical trial data relied on for approval of the Mifeprex NDA.

      C.         FDA Lawfully Approved Labeling for Mifeprex for Use with Misoprostol

      You contend that FDA 's "de facto" approval ofmisoprostol for use with Mifeprex as part of a
      medical abortion regimen was unlawful because the holder of the only approved NDA for
                 42
      misoprostol did not submit a supplemental NDA for this new use (Petition at 41 -45). You further

      40
         The regulations in effect at the time of the Mifeprex approval in 2000 refer to FDA accepting such studies
      when they are " well designed, we ll conducted, performed by qualified investigators, and conducted in
      accordance with ethical principles acceptable to the world community" FDA has genera lly interpreted that
      language as incorporating the principles of"good clinical practice" (see, e.g., lCH guidance for industry, ICH
      £6 Good Clinical Practice: Consolidated Guidance (E6 Guidance), available on the FDA Drugs Web page at
      http:, www.fda.gov Drugs. GuidanceComplianceRegulatorylnfonnation/Guidances default.htm), wh ich is the
      term used in the current regulations. The E6 Guidance states that GCP:

                 is an intemational ethical and scientific quality standard for designing, conducting,
                 recording, and reporting trials that involve the participation of human subjects. Compliance
                 with this standard provides public assurance that the rights, safety, and well-being of trial
                 subjects are protected, consistent with the principles that have their origin in the Declaration
                 of Helsinki, and that clinical trial data are credible

      (E6 Guidance at I).
      41
           Mifeprex Approval Memorandum, supra note 16, at 1.
      42
        Two abbreviated new drug applications (MTDAs) for misoprostol have been approved since Mifeprex was
      approved: ANDA 076095 (IVAX Pham1aceuticals, Inc., approved July 10, 2002) and ANDA 091667 (Novel
      Laboratories Inc., approved July 25, 20 12).




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      argue that FDA not only sanctioned, but participated in, the promotion of an off-label use of
      misoprostol by overseeing the creation ofMifeprex promotional materials that discuss the off-label
      use of misoprostol and by disseminating information about the off-label use in documents such as
      the press release announcing Mifeprex's approval (Petition at 46-47).

      The approval ofMifeprex was based on evidence from three adequate and well-controlled clinical
      trials using the treatment regimen of administration of mifepristone on day one, followed
      approximately 48 hours later (i.e., on day three) by the administration ofmisoprostol (unless a
      complete abortion has already been confirmed before that time). Neither the FD&C Act nor FDA
      regulations require the submission of a supplemental NDA by the sponsor of the misoprostol NDA
      for the use of misoprostol as part of the approved treatment regimen for Mifeprex. In this
      situation, the "drug product" subject to section 505(b) of the FD&C Act (21 U.S.C. 355(d)) was
      Mifeprex. 43 The NDA for Mifeprex appropriately contained the full reports of investigations which
      have been conducted to show whether .or not "such drug" is effective in use(§ 505(b)(l) of the
      FD&C Act), and FDA appropriately found that the Mifeprex NDA met the approval requirements
      in § 505(d) of the FD&C Act.

      There are a number of drug products that FDA has approved as safe and effective in combination
      with another drug for a use that was not sought by the applicant of the second drug product, and for
      which the Agency did not require any change in the labeling of the second product (i.e., that the
      second product's labeling include the indication for use with the newly approved drug product).
      Examples of approved drug labeling that refer to the concomitant use of another drug without there
      being a specific reference to the combined therapy in the previously approved labeling for the
      referenced drug include the following:

                    •    Xeloda (capecitabine) for treatment of metastatic breast cancer in
                         combination with Taxotere (docetaxel) after failure of prior anthracycline-
                                            4
                         containing therap/


      43
         In the Response to Opposition, you reference a July 2, 2002, letter submitted by the Population Council to
      Docket 0 I E-0363 re: Determination of Regulatory Review Period for Purposes of Patent Extension; Mifeprex
      (Response to Opposition at 12-13). ln its July 2, 2002, letter, the Population Council made several statements
      regarding what it believed should be considered " the approved human drug product" for purposes of21 CFR
      60.22(a)(J ), fo r purposes of patent term restoration. In the Agency's October 24, 2002, notice amending
      FDA 's previous determination of the regulatory review period for Mifeprex (67 FR 65358), we addressed -
      and rej ected - the Population Council ' s assertions. We stated that "[t]he app licant tries to characterize
      Mifeprex as mifepristone 'in combination with another active ingredient' in an attempt to take advantage of
      portions of the definition of 'human drug product' in 35 U.S.C I 56(f), that is, a human drug product means
      'the active ingredient of a new drug * * * as a single entity or in combination with another active ingredient.·
      The applicant points to the definition of ' combination product' at 2 1 CFR 3.2( e) in this eff011. A more useful
      description of a drug ' in combination with another active ingredient' is found at 2 1 CFR 300.50 (two or more
      drugs combined in a single dosage form). Mifeprex is not mifepristone ' in combination with another acti ve
      ingredient. ' Mifeprex is single entity mifepristone" (67 FR 65358, note 2).
      44
        We note your assertion tha t when Xeloda and Taxotere are used together, each is being used for an FDA-
      approved use (Response to Opposition at 11). Taxotere (docetaxel) was approved on May 14, 1996; its
      current labeling states that it is indicated as a single agent for treatment of locally advanced or metastatic
      breast cancer after failure of prior chemotherapy, and in combination with doxorubicin and cyclophosphamide
      as adjuvant treatment of patients with operable node-positive breast cancer. Xeloda (capecitabine), which


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                                                                                                                    App. 0303
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                    •    Nexium (esomeprazole magnesium) in combination with clarithromycin
                         and amoxicillin for H. pylori eradication
                    •    Persantine (dipyridamole) as an adjunct to coumarin anticoagulants for
                         prevention of postoperative thromboembolic complications of cardiac valve
                         replacement
                    •    Herceptin (trastuzumab) in combination with paclitaxel for treatment of
                         metastatic breast cancer
                    •    Vistide ( cidofovir) administered with probenecid for treatment of CMV
                         retinitis in patients with AIDS
                    •    Daraprim (pyrimethamine) for treatment of toxoplasmosis when used
                         conjointly with a sulfonamide

      You maintain that the labeling for Mifeprex is misleading because it directs physicians to use
      misoprostol for a purpose that FDA never approved and because it creates the false expectation
      that misoprostol is approved for medical abortion (Petition at 47). We disagree that the labeling
      for Mifeprex is misleading by virtue of the fact that it includes instructions for the use of
      misoprostol as part of the approved treatment regimen for Mifeprex. The Mifeprex labeling
      appropriately describes the clinical trial treatment regimen in which Mifeprex was shown to be safe
      and effective. The labeling for Mifeprex makes clear that Mifeprex tablets contain mifepristone,
      not misoprostol, and although the Indication and Usage section in the 2000 labeling does address
      the use ofmisoprostol in a regimen with Mifeprex, the labeling is clearly addressed to Mifeprex.

      You claim that Mifeprex is misbranded because, per 21 CFR 201.6(a), the references to
      misoprostol in the Mifeprex labeling constitute a false or misleading representation that
      misoprostol itself is approved for medical termination of pregnancy (Petition at 48). In addition,
      you contend that Mifeprex is misbranded under section 502(j) of the FD&C Act (21 U.S.C. 352(j))
      because it is unsafe when used as directed in the 2000 approved labeling (id.).

      The references to misoprostol in the Mifeprex labeling do not render Mifeprex misbranded as
      described in § 201.6(a) because the labeling does not make any false or misleading representations
      with regard to misoprostol. We detennined, and the labeling reflects, that Mifeprex is safe and
      effective for the tennination of early pregnancy when used in combination with misoprostol. The
      approval was based on evidence from adequate and well controlled clinical trials in which
      misoprostol was administered two days after mifepri stone to help stimulate uterine contractions;
      accordingly, the approved labeling describes the use ofMi feprex in combination with misoprostol.


      originally was approved on April 30, 1998, for the treatment of metastatic breast cancer that is resistant to
      both paclitaxel and an anthracycline-containing chemotherapy regimen or resistant to paclitaxel and for whom
      further anthracyc line therapy may be contraindicated, is cun-ently approved (in addition to other indications)
      for use in combination with docetaxel for treatment of patients with metastatic breast cancer after failure of
      prior anthracycline-containing chemotherapy. The indication to which this response refers is the concomitant
      use (i.e., use in combination) of the two drugs, a use that is not referenced in the labeling for Taxotere. Your
      arguments with respect to Actos (pioglitazone) in combination with a sulfonylurea, metformin, or insulin;
      Viread (tenofovir disproxil fumarate) in combination with other antiretroviral agents; and Nexium
      (esomeprazole magnesium) in combination with clarithromycin and amoxicillin (id.) are similarly inapposi te.




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                                                                                                                  App. 0304
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      Additionally, the approved labeling in no way implies that misoprostol alone would be safe and
      effective for the tennination of pregnancy. Thus, the statements in the labeling are neither false
      nor misleading with regard to the use of misoprostol.

      With regard to section 502U) of the FD&C Act, Mifeprex is not misbranded under that provision
      because, as discussed in the following section, the approved regimen for Mifeprex is not
      "dangerous to health when used in the dosage or manner; or with the frequency or duration
      prescribed, recommended, or suggested in the labeling thereof. "

      D.       Mifeprex Is Safe for Its Approved Use and the Conditions of Approval Do Not Lack
               Essential Safeguards

      You contend that FDA "approved mifepristone for use in a deregulated regimen that lacks key
      safeguards" (Petition at 5). You claim that in 2000, the Population Council repudiated distribution
      restrictions that it had proposed in 1996, and that FDA subsequently approved a regimen that does
      not embody restrictions sufficient to address legitimate safety concerns (Petition at 49). You note
      that the February 18, 2000, Mifeprex approvable letter stated that restrictions (per § 314.520) on
      the distribution and use ofMifeprex were needed to ensure safe use of the drug but that in March
      2000, the Population Council said such restrictions were unwarranted (Petition at 51-52). You
      claim that we later yielded to the applicant on several important issues (Petition at 54-55).

      FDA has found that Mifeprex is safe and effective for its intended use. It is true that, before the
      2000 approval ofMifeprex, FDA and the applicant were not always in full agreement about the
      distribution restrictions. It is not unusual for such differences to emerge during the course of the
      review process for a proposed drug product. We ultimately determined that the distribution
      restrictions stated in the approval letter were appropriate to ensure the safety of Mifeprex for its
      intended use.45 Three adequate and well-controlled clinical trials supported the safety of Mifeprex
      for its intended use, and over 15 years of postmarketing data and many comparative clinical trials
      in the United States and elsewhere continue to support the safety of this drug product. 46 Further,
      we approved a risk evaluation and mitigation strategy (REMS) for Mifeprex in June 2011 ,
      consisting of a Medication Guide, elements to assure safe use, an implementation system, and a
      timetable for submission of assessments of the REMS .

      Following is our response to the specific safety issues you raise in the Petition.

               1.       Ultrasound Dating

      45
         We note your reference in your Response to Opposition to the statement by the Reproductive Health Drugs
      Advisory Committee that it had concems about the distribution proposal discussed at the Jul y 19, 1996,
      meeting (Response to Opposition at 4 (referencing the minutes from the I 996 Reproductive Health Drugs
      Advisory Conm1ittee meeting)). In light of FDA's determination in 2000 that the distribution restrictions
      stated in the approval were appropriate to ensure that Mifeprex was safe for its intended use, as well as the
      20 1 1 approval of the Mifeprex REMS, the Committee's reservations in 1996 are not applicable.
      46
         See, e.g., Raymond, EG, et a!., 20 13, First-Trimester Medical Abortion With Mifepristone 200 mg and
      Misoprostol: A Systematic review, Contraception, 87:26-37 In this article, 87 trials were reviewed and 91
      references were cited.




                                                           17
                                                                                                    EX. 15 pg. 017


                                                                                                                  App. 0305
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      You maintain that the Mifeprex regimen is unsafe because it does not require ultrasound
      examination. Specifically, you maintain that the use of transvaginal ultrasound is necessary to
      accurately date pregnancies and to identify ectopic pregnancies, and you note both that Mifeprex
      was approved in 2000 only for women through 49 days' gestation and that it is contraindicated for
      women with a confirmed or suspected ectopic pregnancy (Petition at 57-61).

      Although the protocol for the U.S. clinical trial required a transvaginal sonogram (TVS) for each
      patient at Visit 1 and stated that the test should be used "as indicated" at Visits 2 and 3, this does
      not mean that a TVS is essential to ensure the safe use ofMifeprex. 47 As stated in the Mifeprex
      Approval Memorandum, during the review process, the Agency carefully considered the role of
                   48
      ultrasound. In the clinical trials, ultrasound was performed to ensure proper data collection on
      gestational age, but in clinical practice, pregnancies can also be (and frequently are) dated using
      other clinical methods. (As discussed in section II.F below, safeguards employed during clinical
      trials are not always essential for safe use of the approved drug product.) As part of the restricted
      distribution ofMifeprex put in place in 2000, each provider must have the ability to accurately
      assess the duration of pregnancy and to diagnose ectopic pregnancy. We determined that it was
      inappropriate for us to mandate how providers clinically assess women for duration of pregnancy
      and for ectopic pregnancy. These decisions should be left to the professional judgment of each
      provider, as no method (including TVS) provides complete accuracy. The approved labeling for
      Mifeprex recommended ultrasound evaluation as needed, leaving this decision to the judgment of
      the provider.

      You claim that the only way to date a pregnancy accurately enough to exclude EGA > 49 days is
      by using TVS (Petition at 58). That is incorrect. As noted above, using TVS (or any other
      method) does not ensure complete accuracy in dating a pregnancy. In most cases, a provider can
      accurately make such a determination by performing a pelvic examination and obtaining a careful
      history, whi9h would include the following: date of last menstrual period, regularity of menses,
      intercourse history, contraceptive history, and (if available) home pregnancy test results. 49 If in
      doubt, the provider can order an ultrasound and/or a blood test measuring the quantitative beta-
      human chorionic gonadotropin (hCG) to further assist in dating the gestational age.

      Furthermore, use of a TVS does not guarantee that an existing ectopic pregnancy will be identified.
      As of April 30, 2015, there were 89 unduplicated reports in FDA's Adverse Event Reporting
      System (F AERS) database of ectopic pregnancy in women in the United States who had received
      mifepristone for tennination of pregnancy since the approval of Mifeprex in the United States. In

      47
       We note that the French clinical trials did not require an ultrasound examination; rather, the decision as to
      whether an ultrasound was needed was left to the discretion of the investigator.
      48
           Mifeprex Approval Memorandum, supra note 16, at 5.
      49
         See, e.g., Fielding, SL, et al., 2002, Clinicians' Perception of Sonogram Indication for Mifepristone Abortion up to
      63 Days, Contraception, 66: 27-3 1 (discussing the results of a prospective study of 1,016 women in a medical abortion
      trial at 15 sites that concluded that ·'clinicians conectly assessed gestat ional age as no more than 63 days in 87% of
      women. In only 1% (14/ 10 13) of their assessments did clinicians underestimate gestational age. We conclude that the
      clinicians felt confident in not using ultrasound in most cases").



                                                             18
                                                                                                      EX. 15 pg. 018


                                                                                                                   App. 0306
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      42.7% (38 of89) of the reported cases, an ultrasound was completed. Of the 38 cases that had an
      ultrasound completed, 55.3% (21 of 38) showed no changes indicative of ectopic pregnancy.50 In
      light of the fact that Mifeprex is contraindicated for women with a confirmed or suspected ectopic
      pregnancy, we believe it is reasonable to expect that the women's providers would not have
      prescribed Mifeprex if a pelvic ultrasound examination had clearly indicated an ectopic pregnancy;
      this strongly suggests, therefore, that ultrasound examinations were falsely negative for ectopic
      pregnancy in these women. The currently approved labeling for Mifeprex reflects this, stating that
      the "presence of an ectopic pregnancy may have been missed even if the patient underwent
                                                              51
      ultrasonography prior to being prescribed Mifeprex."

               2.       Physician Training and Admitting Privileges

      You contend that the administration of Mifeprex should have been restricted to physicians who
      have formal training in both pharmaceutical and surgical abortion and who have admitting
      privileges to emergency facilities (Petition at 62-65).

      Although we did not restrict the administration ofMifeprex to physicians with the specific
      requirements you list in your Petition, we did conclude in 2000 that Mifeprex had to be provided
      by a physician who, among other qualifications, either (1) has the ability to provide surgical
      intervention in cases of incomplete abortion or severe bleeding or (2) has made plans to provide
      such care through other qualified providers and facilities.

      During the clinical trials for Mifeprex, the principal investigators were trained in surgical abortions
                                                                        2
      and were able to conduct any necessary surgical interventions. 5 The protocol for the U.S. trial
      was designed such that the studies were conducted at 17 centers where the principal investigators
      could perform abortions by either vacuum aspiration or dilatation and curettage and had access to
      facilities that provided blood transfusions and performed routine emergency resuscitation
      procedures.

      During the NDA review process, the issue of physician qualifications and certification was
      thoroughly discussed within the Agency, with the applicant, and with an outside consultant with
      expertise in early pregnancy tem1ination. Although the distribution of Mifeprex was not restricted
      to any particular medical specialist, the Agency did determine in 2000 that certain restrictions were

      50
         Seventeen cases were identified as having an ultrasound with a possible ectopic pregnancy. Fourteen of
      these 17 (82.3%) cases noted appropriate follow-up procedures, such as additional hCG monitoring,
      ultrasounds, appointments, or emergency room referral, while two cases did not include any additional
      follow-up infom1ation. In the re maining case, a diagnosis of a heterotop ic gestation (simultaneous ectopic
      pregnancy and intrauterine pregnancy) was noted .

      51
        M ifeprex labe ling (Mar. 29, 20 16) available at
      http: wwv1.accessdata.fda.g0\ scripts cder drugsatfda index.cfm?fuseactio n Search.Label ApprovalHistory#
      apphist. .

      52
         Additionall y, it is conunon in drug deve lopme nt that the clinical investigators who conduc t pivotal Phase 3
      clinical trials have more sp ecialized training than may be necessary to ensure the safe use of a drug post-
      approval. Examples are trials for male erectile dysfunction (typically conducted by urologists), hypertension
      (internists), depression (psychiatrists), and endometriosis (gynecologists).




                                                              19
                                                                                                         EX. 15 pg. 019


                                                                                                                     App. 0307
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      necessary under§ 314.520. In accordance with this detennination, the Prescriber's Agreement for
                                     53
      Mifeprex stated the following:

                 Under Federal law, Mifeprex must be provided by or under the supervision of a physician
                 who meets the following qualifications:

                 •   Ability to assess the duration of pregnancy accurately.
                 •   Ability to diagnose ectopic pregnancies.
                 •   Ability to provide surgical intervention in cases of incomplete abortion or severe
                     bleeding, or have [sic] made plans to provide such care through others, and are [sic]
                     able to assure patient access to medical facilities equipped to provide blood transfusions
                     and resuscitation, if necessary.
                 •   Has read and understood the prescribing information ofMifeprex ....

      As noted in the Mifeprex Approval Memorandum, the requirement that a physician certify, by
      signing the Prescriber Agreement, that he or she has the qualifications described in that Agreement
      limited the physicians who would be eligible to receive Mifeprex from the sponsor to those who
      are familiar with managing early pregnancies. 54 Because only such qualified physicians would be
      using or would oversee the use of Mifeprex, we concluded that there was no need for special
      certification programs or additional restrictions. Additionally, as noted in the Mifeprex Approval
      Memorandum, in the U.S. clinical trial ofMifeprex, 11 out of roughly 850 patients needed surgical
      intervention to treat bleeding, and three of these patients were treated by non-principal
      investigators such as emergency room physicians and a non-study gynecologist. 55 These data
      suggested that patients would receive any needed surgical intervention from either their physician
      or another physician with the needed skills. 56 The Mifeprex Approval Memorandum also pointed
      out that the Mifeprex labeling and the Medication Guide approved at that time highlight that
      surgery may be needed and that patients must understand whether the provider will furnish any
      necessary medical intervention or whether they will be referred to another provider and/or
      facility. 57

      In addition, one of the Phase 4 commitments accompanying the approval of Mifeprex was a
      cohort-based study of safety outcomes when Mifeprex is prescribed by physicians with the skills
      for surgical intervention compared to physicians who refer patients for surgical intervention. ln a
      February 2008 submission, the applicant stated that so few medical abotiions are prescribed by
      physicians who do not have surgical intervention skills that it was not feasib le to do a meaningful


      53
         M ifeprex label ing (June 8, 20 II ), Mifeprex (mifepristone) tablets, 200 mg, Prescriber' s Agreement,
      available at
      http://www.accessdata.fda.gov/drugsatfda _ docs/labeV20 II /020687s0 14lbl.pdf.
      54
           Mifeprex Approval Memorandum, supra note 16, at 5.

      ss Id.

      56 Id.


      57 Id.




                                                             20
                                                                                                        EX. 15 pg. 020


                                                                                                                   App. 0308
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      study to assess this specific issue. After review of this submission, the Agency: (1) concurred
      with the applicant regarding the non-feasibility of conducting a meaningful study and (2)
      concluded that no differences between non-referrers or referrers in terms of clinical outcomes
      could be identified based on the data that had been submitted. Accordingly, on September 26,
      2008, the Agency released the applicant from this commitment.

      The provi sions of the currently approved labeling (including the REMS) that relate to provider
      training and admitting privileges are substantially similar to the labeling provisions approved in
      2000. Under current labeling, healthcare providers who admini ster Mifeprex must be licensed to
      prescribe, and must have the ability to date pregnancies accurately and to diagnose ectopic
      pregnancies. These healthcare providers must also (1 ) be able to provide any necessary surgical
      intervention, or (2) have made arrangements for others to provide for such care. Healthcare
      providers must be able to ensure that women have access to medical facilities for emergency care,
      and must agree to other responsibilities, including reviewing and signing the Patient Agreement
      Form with the patient and providing each patient with a copy of the signed Patient Agreement
      Form and the Medication Guide. 5 8

              3.      " Dear Health Care Provider" Letter and FDA "Mifepristone Questions and
                      Answers"; Adverse Events Discussed in Response to Opposition

      You maintain that your concerns about the safety ofMifeprex are validated by the April1 9, 2002,
      "Dear Health Care Provider" letter issued by Danco and by statements in the "Mifepristone
      Questions and Answers" (Mifepristone Q&A) document (placed on FDA 's Web site on April 17,
      2002) about reports of serious adverse events, including ruptured ectopic pregnancies and serious
      systemic bacterial infections (Petition at 65-71). You argue that FDA understated the possibility
      that the Mifeprex regimen caused the serious adverse events referred to in the letter and
      inappropriately attempted to link those events to the unapproved vaginal administration of
      misoprostol (Petition at 67-68).

      The fact that Danco and FDA agreed that there was a need to issue a Dear Health Care
      Provider letter in April 2002 (or that a subsequent Dear Health Care Provider letter and a
      Dear Emergency Room Director letter were issued on September 30, 2004) does not imply
      that the approved Mifeprex regimen is unsafe. It is not uncommon for drug sponsors to
      issue "Dear Health Care Provider" letters, and, as noted in the Mifepristone Q&A
      document posted on our Web site in April 2002, " [w]hen FDA receives and reviews new
      informati on, the agency provides appropriate updates to doctors and their patients so that
      they have essential information on how to use a drug safely." 59 The intent of the two " Dear
      Health Care Provider" letters and the " Dear Emergency Room Director" letter was to
      provide health care pers01mel with new safety infom1ati on regarding the use ofMifeprex.
      Similarly, when these letters were issued, we posted Mifepristone Q&A documents to


      58
         Mifeprex REMS, avai lable at
      http://wv.rw.accessdata .fda.gov/scripts/cder/rems/index.cfm?event= IndvRemsDetails.page&REMS=35
      59
         See Historical Information on Mifepristone (Marketed as Mifeprex), available at
      http: www.fda.go" Drugs DrugSafety PostmarketDrugSafet) Infom1ationforPatientsandPro\'iders ucm 11133
      4.htm.



                                                       21
                                                                                             EX. 15 pg. 021


                                                                                                         App. 0309
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      address questions that might arise as a result of the issuance of the letters. We disagree that
      we have in any way "inappropriately attempted to link" the adverse events to the
      intravaginal use of misoprostol. Rather, the April 2002 Mifepristone Q&A document
                                                                            60
      accurately stated that in all of the adverse event cases at that time, the misoprostol was
      given vaginally not orally; that we did not know what role, if any, the use of Mifeprex and
      vaginal misoprostol may have in the development of serious infections; and that FDA had
      not reviewed data on the safety and effectiveness of vaginal administration of misoprostol.

      You maintain that it is particularly important for FDA to respond to these adverse events because
      the clinical trials in support ofMifeprex allegedly did not adhere to the Agency's scientific
      methodology for such trials (Petition at 70). As explained above, however, the clinical trials
      supporting the approval of Mifeprex were adequate and well-controlled, and they provided
      substantial evidence of the safety and effectiveness of the drug product in accordance with the
      FD&C Act and FDA regulations.

      In your Response to Opposition, you state that the serious adverse events reported to date are
      consistent with concerns expressed before approval (Response to Opposition at 16). You refer to
      the death of Holly Patterson on September 17, 2003, after she had taken Mifeprex and misoprostol
      to terminate her pregnancy. You state that Ms. Patterson's apparent death from a serious systemic
      bacterial infection after taking Mifeprex is "not the first such death since FDA approved
      Mifeprex," referring to a fatality due to serious systemic bacterial infection mentioned in the April
      2002 "Dear Health Care Provider Letter" (Response to Opposition at 16-17). You also question
      whether adverse events for Mifeprex will be adequately reported to FDA (Response to Opposition
      at 18).

      As with all approved drug products, we continue to monitor the safety ofMifeprex. Since the
      approval ofMifeprex, the Agency has issued two public health advisories (one in July 2005 61 and
      one in March 200662 ) and posted multiple MedWatch safety alerts (in November 2004 63 and July
      2005, the latter with updates in November 2005 and March 2006 64 ). As referenced above, Danco
      has issued two Dear Health Care Provider letters and one Dear Emergency Room Director letter.
      Furthennore, since you submitted your Response to Opposition, Danco has revised the labeling for

      60
           The April 2002 Mifepristone Q&A document refers to cases of ectopic pregnancy, sepsis, and heart attack.

      61
         Available at,
      http://www.fda.go" Drugs DrugSafety PostmarketDrugSafetylnfom1ationforPatientsandProviders ucm05173
      4.htm.
      62
         Available at
      http: WW\\ .fda. go\ Drugs DrugSafety/PostmarketDrugSafetylnfomlationforPatientsandProviders ucm05119
      6.htm.

      63
         Available at
      http ://www.fda.gov/Safety/MedWatch Safetylnfom1ation/SafetyAiertsforHumanMedicaiProducts/ucrn 166463
      .htm.

      64
         Available at
      http: \\W\\ .fda. gO\ Drugs DrugSafety' PostmarketDrugSafetylnfonnationforPatientsandPro' iders ucm 11133
      9.htm.




                                                             22
                                                                                                     EX. 15 pg. 022


                                                                                                                 App. 0310
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      Mifeprex (including the prescribing information, the Medication Guide, and the Patient
      Agreement), in November 2004, December 2004, July 2005, and April 2009 65 to provide
      prescribers and women with additional infonnation about infection, vaginal bleeding, and ectopic
      pregnancy.

      The boxed warning for Mifeprex currently states the following:

               Serious and sometimes fatal infections and bleeding occur very rarely following
               spontaneous, surgical, and medical abortions, including following MIFEPREX use. No
               causal relationship between the use ofMIFEPREX and misoprostol and these events has
               been established.

               •      Atypical Presentation of Infection. Patients with serious bacterial infections (e.g.,
               Clostridium sordellii) and sepsis can present without fever, bacteremia, or significant
               findings on pelvic examination following an abortion. Very rarely, deaths have been
               reported in patients who presented without fever, with or without abdominal pain, but with
               leukocytosis with a marked left shift, tachycardia, hemoconcentration, and general malaise.
               A high index of suspicion is needed to rule out serious infection and sepsis.

              •       Bleeding. Prolonged heavy bleeding may be a sign of incomplete abortion or other
              complications and prompt medical or surgical intervention may be needed. Advise patients
              to seek immediate medical attention if they experience prolonged heavy vaginal bleeding.

               Because of the risks of serious complications described above, MIFEPREX is available
               only through a restricted program under a Risk Evaluation and Mitigation Strategy (REMS)
               called the MIFEPREX REMS Program.

              Before prescribing MIFEPREX, inform the patient about the risk of these serious events.
              Ensure that the patient knows whom to call and what to do, including going to an
              Emergency Room if none of the provided contacts are reachabl e, if she experiences
              sustained fever, severe abdominal pain, prolonged heavy bleeding, or syncope, or if she
              experiences abdominal pain or discomfort, or general malaise (including weakness, nausea,
              vomiting or diarrhea) for more than 24 hours after taking misoprostol.

              Advise the patient to take the Medication Guide with her if she visits an emergency room or
              a healthcare provider who did not prescribe MIFEPREX, so that the provider knows that
              she is undergoing a medical abortion .




      65
        The Mifeprex labeling also was revised in June 2011 whe n the REMS was approved. In addition, as
      described above, FDA is today approving a supplemental NDA submitted by Danco that proposed modified
      labeling for Mifeprex. See Mifeprex labeling (Mar. 29, 20 16) available at
      http: ww\\ .accessdata.fda.gov scripts cder drugsatfda index.cfm'?fuseaction Search. Label Approvalll istoryft
      apphist.




                                                           23
                                                                                                    EX. 15 pg. 023


                                                                                                                App. 0311
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      The WARN INGS section of the Mifeprex labeling states, in part, the following:

      [With respect to infection and sepsis.]

             As with other types of abortion, cases of serious bacterial infection, including very rare
             cases of fatal septic shock, have been reported following the use ofMIFEPREX. Healthcare
             providers evaluating a pati ent who is undergoing a medical abortion should be alert to the
             possibility of this rare event. A sustained (> 4 hours) fever of 100.4 op or higher, severe
             abdominal pain, or pelvic tenderness in the days after a medical abortion may be an
             indication of infection.

             A high index of suspicion is needed to rule out sepsis (e.g., from Clostridium sordellii) if a
             patient reports abdominal pain or discomfort or general malaise (including weakness,
             nausea, vomiting or diarrhea) more than 24 hours after taking misoprostol. Very rarely,
             deaths have been reported in patients who presented without fever, with or without
             abdominal pain, but with leukocytosis with a marked left shift, tachycardia,
             hemoconcentration, and general malaise. No causal relationship between MIFEPREX and
             misoprostol use and an increased risk of infection or death has been established.
             Clostridium sordellii infections have also been reported very rarely following childbirth
             (vaginal delivery and caesarian section), and in other gynecologic and non-gynecologic
             conditions.

      [With respect to uterine bleeding.]

             Uterine bleeding occurs in almost all patients during a medical abortion. Prolonged heavy
             bleeding (soaking through two thick full-size sanitary pads per hour for two consecutive
             hours) m ay be a sign of incomplete abortion or other complications and prompt medical or
             surgical intervention may be needed to prevent the development of hypovolemic shock.
             Counsel patients to seek immediate medi cal attention if they experience prolonged heavy
             vaginal bleeding following a m edical abortion.

             Women should expect to experience vaginal bleeding or spotting for an average of 9 to 16
             days. Women report experiencing heavy bleeding for a median duration of2 days. Up to
             8% of all subj ects may experience some type of bleeding for 30 days or more. In general,
             the duration of bleeding and spotting increased as the duration of the pregnancy increased.

             Decreases in hemoglobin concentration, hematocrit, and red blood cell count may occur in
             women who bl eed heavil y.

             Excessive uterine bl eeding usuall y requires treatment by uterotonics, vasoconstrictor drugs,
             surgical uterine evacuati on, administration of saline infusions, and/or blood transfu-.sions.
             Based on data from several large clinical trials, vasoconstri ctor drugs were used in 4.3% of
             all subjects, there was a decrease in hemoglobin of more than 2 g/dL in 5.5% of subjects,
             and blood transfusions were administered to :S 0.1 % of subjects. Because heavy bleeding
             requiring surgical uterine evacuation occurs in about 1% of patients, special care should be
             given to patients with hemostatic disorders, hypocoagulability, or severe anemi a.



                                                   24
                                                                                       EX. 15 pg. 024


                                                                                                 App. 0312
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      [With respect to ectopic pregnancy.]

                 MIFEPREX is contraindicated in patients with a confirmed or suspected ectopic pregnancy
                 because MIFEPREX is not effective for terminating ectopic pregnancies. Healthcare
                 providers should remain alert to the possibility that a patient who is undergoing a medical
                 abortion could have an undiagnosed ectopic pregnancy because some of the expected
                 symptoms experienced with a medical abortion (abdominal pain, uterine bleeding) may be
                 similar to those of a ruptured ectopic pregnancy. The presence of an ectopic pregnancy may
                 have been missed even if the patient underwent ultrasonography prior to being prescribed
                 MIFEPREX.

                 Women who became pregnant with an IUD in place should be assessed for ectopic
                 pregnancy.

      The Agency has regularly completed a cumulative summary of U.S. postmarketing adverse events
      reported for the use of mifepristone for medical termination of pregnancy. From the approval date
      ofMifeprex (September 28, 2000) through October 31 , 2012, we received 2,740 reports of adverse
      events associated with the use ofmifepristone in the United States to terminate pregnancy,66
      including 57 reports of severe infections67 and 416 incidences of blood loss requiring transfusion.
      From November 1, 2012, through April 30, 2015, we received 984 reports of adverse events
      associated with the use ofmifepristone in the United States to terminate pregnancy, includin& 9
      reports of severe bacterial infections and 134 incidences of blood loss requiring transfusion. 6 As
      of April 30, 2015, 89 ectopic pregnancies associated with the use of mifepristone in the United
      States had been reported since the approval ofMifeprex. As of July 24, 2015, 17 U.S. deaths had
      been reported since the approval of Mifeprex. Deaths were associated with sepsis in 8 of the 17
      reported fatalities (7 cases tested positive for Clostridium sordellii, and 1 case tested positive for
      Clostridium p erfringens). 69 Seven of the eight fatal sepsis case reported vaginal misoprostol use;

      66
           This represents data from the FDA 's previous adverse event reporting system, which was known as AERS.
      67
         Severe infections generally involve death or hospi talization for at least 2-3 days, intravenous antibiotics for
      at least 24 hours and total antibiotic usage for at least 3 days, and any other physical or clinical findings,
      laboratory data or surgery that suggest a severe infection.
      68
        This represents data from the current FDA Adverse Event Reporting System (FAERS), which was
      implemented in September 20 12 and replaced AERS . FDA mi grated all of the data fro m the previous
      reporting system (AERS) to FAERS. FDA validated and recoded product information as the reports from the
      AERS database were migrated to the F AERS database. In addition, the F AERS database features a new
      search functi onality that is based on the date FDA initially received for the case; this facilitates more accurate
      follow-up for cases that have multiple reports and multiple receipt dates. For these reasons, there may be
      differences in the case counts between AERS and F AERS.
      69
        We note your statements in your October I 0, 2003, Response to Opposition Comments that the presence of
      retained products of conception can lead to the development of intrauterine or systemic infection and that
      Mifeprex might potentiate this possibility through negative effects on immune system function or normal
      protective mechanisms (Response to Opposition at 17). Regarding retained product of conception and the
      emergence of infections, based on autopsy and/or ultrasound reports, there were no retained products of
      conception in any o f the eight deaths associated with infections (sepsis). With respect to your claim that
      Mifeprex might increase the likelihood of infection by adversely affecting immune system function, although


                                                              25
                                                                                                         EX. 15 pg. 025


                                                                                                                      App. 0313
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      one case reported buccal misoprostol use. Seven of the nine remaining U.S. deaths involved two
      cases of ruptured ectopic pregnancy and one case each ofthe following: substance abuse/drug
      overdose; methadone overdose; suspected homicide; suicide; and a delayed onset of toxic shock-
      like syndrome. In the eighth case, the cause of death could not be established despite performance
      of an autopsy; tissue samples were negative for C. sordellii. In the ninth case, infection was ruled
                                                                                            70
      out and the final autopsy report listed pulmonary emphysema as the cause of death.

      We disagree with your assertion that adverse event reporting for Mifeprex is "spotty" and that, as a
      result, the database for post-approval adverse events for Mifeprex is incomplete (Response to
      Opposition at 18). You are correct that reporting to the Agency's MedWatch program is voluntary,
      and we acknowledge that there is always a possibility with any drug that some adverse events are
      not being reported. We believe, however, that the potential for underreporting of serious adverse
      events associated with the use ofMifeprex for medical abortion has been very low because of the
      restricted distribution of the product and because healthcare providers have agreed in writing to
      report any hospitalizations, transfusions, or other serious adverse events associated with the drug to
      the sponsor, which is required under FDA's regulations to report all adverse events, including
      serious adverse events, to the Agency (see 21 CFR 314.80, 314.81 ). As with all drugs, we will
      continue to closely monitor the postmarketing safety data on Mifeprex.




      published experimental data from animal models suggest that this is a theoretical possibility, the overall event
      rate of serious infections does not support this. If Mifeprex were adversely affecting immune system
      function, we would expect to see a much higher rate of serious infections from more common organisms, as
      well as a higher number of deaths in Europe (where mifepristone has been approved for over 24 years) and in
      the United States. Contrary to your statements, data from the medical literature and findings by the CDC
      suggest that the critical risk factor in the reported cases of sepsis is pregnancy itself (see Miech, RP , 2005 ,
      Pathophysiology ofMifepristone-Jnduced Septic Shock Due to Clostridium sordellii, Ann Pharmacother,
      39: I483- 1488). In May 2006, FDA, along with the CDC and the National Institute of Allergy and Infectious
      Diseases at the National Institutes of Health held a workshop on emerging clostridial disease. The issue of
      immunosuppression also was discu sed at length during this public workshop. It was clear from the
      presentations at the workshop that C. sordellii causes rapid and serious clinical illness in settings other than
      medical abortion , including among pregnant women who have recently undergone spontaneous abortion or
      tenn delivery. The fact that cases of C. sordelfii have been identified both in pregnant women who have
      undergone medical abo1iion and those who have not supports the idea that the physiology of pregnancy may
      be a more plausible risk factor for C. sordel/ii illness than having undergone a medical abortion with
      Mifeprex.

      °
      7
         FDA is aware of II additional deaths of women in foreign countries who used mifepristone for the
      tem1ination of pregnancy. This included one death associated with sepsis (Clostridium sordellii identified in
      tissue samples) in a foreign clinical trial, and I 0 deaths identified from post-marketing data. These I 0 fatal
      cases were associa ted with the following: sepsis (Group A Streptococcus pyogenes); a ruptured gastric ul cer;
      severe hemorrhage; severe hem orrhage and possible sepsis; " multivisceral fai lure''; thrombotic
      thrombocytopenic purpura leading to intracranial hemorrhage; toxic shock syndrome (Clostridium sorde/lii
      was identified through uterine biopsy cultures); asthma attack with cardiac arrest; respiratory decompensation
      wi th secondary pulmonary infection 30 days after mifepristone in a patient on the lung transplant list with
      diabetes a jejunostomy feeding tube, and severe cystic fibrosis; ClosTridium sep1icum sepsis (from a published
      literature report).




                                                             26
                                                                                                       EX. 15 pg. 026


                                                                                                                    App. 0314
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      E.           Withdrawal of the Approval for Mifeprex Based on Current Use Is Not Appropriate

      You claim that Mifeprex abortion providers have disregarded the restrictions in the approved
      regimen "without any reaction from FDA, the Population Council, or Dan co" (Petition at 71 ). You
      also claim that "common departures from the approved regimen" have included (I) offering the
      regimen to women with pregnancies beyond 7 weeks and (2) eliminating the second of the three
      prescribed visits to the health care provider (Petition at 72-74). You argue that we should
      withdraw approval ofMifeprex under§ 314.530(a)(4) due to the failure ofthe Population Council
      and Danco to adhere to the postmarketing restrictions in the approval letter (Petition at 71 ).

      In the Response to Opposition, you suggest that some providers have not met their obligations
      because many prescriber Web sites (1) advertise the Mifeprex regimen as being available for
      patients whose pregnancies have progressed beyond 49 days and (2) indicate that patients take
      misoprostol at home rather than at the provider's office (Response to Opposition at 19-20). Thus,
      yoi.l maintain that many prescribers have allowed patients to make false statements and that the
      applicant is obligated to stop sales to these prescribers (id. at 20). You claim that prescribers have
      disregarded the requirements imposed with the 2000 approval of Mifeprex to provide patients with
      the Medication Guide, obtain their signatures on the Patient Agreement, and give them the
      opportunity to read and discuss these documents (id. at 20-21 ). You state that because some
      prescribers, with the applicant's tacit approval, have permitted patients to sign the Patient
      Agreement while effectively directing them not to adhere to its requirements, the applicant cannot
      be described as meeting its obligations (id. at 21 ).

      FDA is aware that medical practitioners may use modified regimens for administering Mifeprex
      and misoprostol. However, FDA does not believe that it is appropriate to initiate proceedings
      under 21 CFR 314.530 or section 505(e) ofthe FD&C Act to withdraw the approval ofMifeprex
      based on available information regarding the distribution ofMifeprex.

      The Mifeprex approval letter included nine items that the applicant and/or prescriber were
      obligated to follow. As stated earlier in this response, Mifeprex has been subject to a
      REMS which incorporated these restrictions, including by appending a Prescriber's
      Agreement outlining required qualifications and guidelines prescribers must agree to
      follow. Specifically, the Prescriber' s Agreement required each physician to attest to
      possessing certain necessary skills and abilities related to managing early pregnancy to
                                  71
      ensure safe use of the drug. The Prescriber's Agreement also contained responsibilities
      that prescribers must carry out. 72 The Prescriber' s Agreement stated that prescribers must
      have read and understood the prescribing materials. 73




      71
           Prescriber's Agreement, supra note 53 , at I.

      72
           ld. at 1-2.

      73
           ld. at I.




                                                           27
                                                                                       EX. 15 pg. 027


                                                                                                  App. 0315
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      The 2000 Prescriber's Agreement also required that the prescriber (1) provide each patient with a
      copy of the Medication Guide and the Patient Agreement, (2) fully explain the procedure to the
      patient, and (3) give the patient the opportunity to read and discuss the Medication Guide and
                          74
      Patient Agreement. The Medication Guide and the Patient Agreement stated the approved
      dosage and administration ofMifeprex. FDA has no evidence, nor have you provided any
      evidence, that prescribers have not signed the Prescriber' s Agreement, or that women either have
      not been given the opportunity to read and discuss the Patient Agreement or have not signed the
      Patient Agreement.

      As noted above, restrictions on the distribution and use ofMifeprex substantially similar to
      those approved in 2000 remain in place today.

      F.       Safeguards Employed in Clinical Trials Are Not Necessarily Essential Conditions for
               Approval

      You maintain that we effectively approved a drug regimen that we had not tested because the
      Mifeprex regimen approved in 2000 does not include important safeguards employed in the U.S.
      clinical trial (e.g., governing physician training, use of ultrasound, 4-hour post-misoprostol
      monitoring, physician privileges at facilities that provide emergency care) (Petition at 75-76). You
      argue that we should not have extrapolated conclusions about the safety and effectiveness of the
      Mifeprex regimen from data generated under trial conditions that do not mirror the approved
      regimen (id.).

      We disagree with your assertions. Furthermore, your implication that the approved conditions of
      use for a drug product must mirror those used in the clinical trials supporting its approval is
      incorrect. As discussed above with respect to ultrasound dating and physician qualifications,
      safeguards employed in clinical trials are often not reflected in approved drug product labeling nor
      are they necessarily needed for the safe and effective use of the drug product after approval. Many
      clinical trial designs are more restrictive (e.g. , additional laboratory and clinical monitoring, stricter
      inclusion and exclusion criteria, more visits) than will be necessary or recommended in
      postapproval clinical use; this additional level of caution is exercised until the safety and efficacy
      of the product is demonstrated. For example, in menopause hormonal therapy trials, specialists
      perfonn pe1iodic endometrial biopsies to establish the safety of long-tenn honnone use. Once the
      safety of the product has been established, these biopsies are not recommended in the approved
      product labeling, nor are they routinely perfom1ed in actual use with the approved product. During
      our review of the clinical data submitted in support of an NDA, we make an assessment of the
      procedures employed during the clinical trial s and the conditions under which the drug was
      studied. Thi s assessment is reflected in the approved labeling for the drug product.

      Upon reviewing the data submitted in support of the Mifeprex NDA, we concluded in 2000 that
      restrictions requiring ultrasound dating of gestational age of the pregnancy and limiting access to
      Mifeprex to physicians trained in surgical abortions and capable ofperfonning surgical
      intervention if complications arise subsequent to use ofMifeprex were not necessary to ensure its
      safe use (see discussion in section II.D above).


      74 ld.




                                                      28
                                                                                           EX. 15 pg. 028


                                                                                                     App. 0316
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      G.       FDA Appropriately Concluded That Studies ofMifeprex in Pediatric Patients Were
               Unnecessary

      You maintain that our 2000 approval of Mifeprex violated regulations requiring that new drugs be
      tested for safety and effectiveness in the pediatric population (Petition at 76). You state that
      although we stated in the September 28, 2000, approval letter that the application was subject to
      the Pediatric Rule (21 CFR 314.55), we waived the requirement without explanation (Petition at
      78). You contend that the Mifeprex application was not in accordance with any of the three
      provisions under which an applicant may obtain a waiver under 21 CFR 314.55(c)(2) of the
      pediatric study requirement, for the following reasons:

               •   21 CFR 314.55(c)(2)(i) does not apply because FDA maintained that Mifeprex
                   represented a meaningful therapeutic benefit over existing treatments and because
                   Mifeprex can be expected to be used in a substantial number of pediatric patients.

               •   21 CFR 314.55(c)(2)(ii) does not apply because pediatric studies ofMifeprex would not
                   have been either impossible or highly impractical because a large population of
                   pediatric females becomes pregnant each year and the female population is evenly
                   distributed throughout the country.

               •   21 CFR 314.55(c)(2)(iii) does not apply because FDA stated that there was no reason to
                   expect menstruating females under age 18 to have a different physiological outcome
                   with the regimen than older females (Petition at 79-82).

      As an initial matter, we reject your contention that the Population Council did not provide evidence
      from any adequate and well-controlled adult studies ofMifeprex, and that therefore it was
      inappropriate to rely on the submitted adult studies under§ 314.55(a) with respect to the use of
      Mifeprex in the pediatric population (Petition at 82). As discussed above, the Mifeprex approval
      was based on three adequate and well-controlled clinical trials.

      Our conclusion that studies ofMifeprex in pediatric patients were not needed for approval was
      consistent with FDA's implementation of the regulations in effect at that time.75 We detennined
      that there were sufficient data from studies ofmifepristone. Therefore, the Mifeprex approval
      letter should have stated our conclusion that the pediatric study requirements were waived for pre-
      menarchal patients and that the pediatric study requirements were met for post-menarchal pediatric
                                                                                                        76
      patients, rather than stating that we were waiving the requirements for all pediatric age groups.


      75
        FDA was enj oined from enforcing 2 1 CFR § 314.55 under Ass 'n ofAm. Physicians& Surgeons v. FDA , 226
      F. Supp. 204 (D.D.C. 2002). However, on December 3, 2003, the President signed into law the Pediatric
      Research Equity Act of 2003 (PREA 2003), Public Law I 08- 155 , which gave FDA the statutory authority to
      require pediatric studies of drugs when such studi es are needed to ensure the safe and effective use of drugs in
      children. PREA 2003 stated that any waivers or deferrals that were granted under the Pediatric Rule were
      considered to be granted under PREA 2003 (see Section 4 of Public Law 108- 155).
      76
         FDA' s implementation oft he Pediatric Rul e was still at a relatively earl y stage in September 2000 and the
      Agency was not always precise regarding the language used in approval letters to distinguish between
      situations where studies were waived and where studies were not needed because the requirements were met.


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                                                                                                       EX. 15 pg. 029


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      It is still our scientific opinion, based on the medical literature and over 15 years of use in the
      United States, that there is no biological reason to expect menstruating females under age 18 -
      compared to women age 18 and older - to have a different physiological outcome with the
      Mifeprex regimen. 77

      H.         The Mifeprex Approval Letter Included Appropriate Phase 4 Commitments

      You state that although the Population Council agreed in 1996 to perfonn Phase 4 studies with six
      different objectives, the Mifeprex approval letter included only two Phase 4 study obligations
      (Petition at 85-86). You allege that the changes in its Phase 4 commitments were largely in
      response to the Population Council 's unwillingness to explore the "ramifications" of the Mifeprex
      regimen (Petition at 87). You maintain that thi s alleged "curtailment" of Phase 4 study
      commitments was arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with
      law (Petition at 88). 78

      We disagree with your assertions. Our process for determining the appropriate Phase 4 studies for
      Mifeprex adequately addressed our concerns and reflected typical Agency-applicant interactions to
      reach consensus on appropriate postmarketing studies.79 It is common for proposed Phase 4
      commitments to evolve during the application review process. As you note (Petition at 85), in
      1996, the Population Council committed to six postmarketing studies with the following
      objectives:




      77
        In the Mifeprex Approval Memorandum, the Office Director stated, "FDA agrees there is no biological
      reason to expect menstruating females under age 18 to have a different physiological outcome with the
      regimen. The Spitz data actually suggests a trend towards increased success of medical abortion with younger
      patients" (Mifeprex Approval Memorandum, supra note 16, at 7).

      78
           We note that post-marketing studies are not required for approvals under 2 1 CFR 3 14 .520.

      79
         You a lso state that, "[a]s a general rul e, the clinical trials req uired by FDA to support an NDA are adequate
      to establish short-term drug safety and effectiveness. The standard pre-approval clinical trials, however, are
      typically incapable of providing e ither the amount or type of data necessary to assess a drug' s longcte rm
      effects" (Petition at 84). This argument is not relevant to Mifeprex, which is approved for medical
      termination of pregnancy. Mifeprex is not approved fo r long-term or chronic use, which is an important
      factor in assessing the need to study long-term effects of a drug. Long-tenn safety fo r a single-dose
      medication is generally not a concern. However, FDA routinely monitors postmarketing safety data for all
      approved drugs. Mifeprex is no exception. FDA's Office of Surveillance and Epidemiology continuously
      monitors available safety data from use of mifepristone for tennination of pregnancy both within and outside
      of the Uni ted States and has not identified any long-tenn safety signals. The Mifeprex adverse events
      reported are consistent with product labeling and with what can be expected with spontaneous and surgical
      abortions. Furthermore, as explained in this response, si nce Mifeprex 's approval, safety concerns and adverse
      events have been monitored through enhanced surveillance and reporting b y certified prescribers, and we
      have required a REMS for Mifeprex including a Medication Guide, elements to assure safe use, an
      implementation system that requires the sponsor to assess the performance of certified distributors, and a
      timetable for submission of assessments of the REMS. We also continue to closely monitor the post-
      marketing safety of mifepristone for termination of pregnancy for any new or long-tem1 signals.




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                                                                                                         EX. 15 pg. 030


                                                                                                                     App. 0318
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             ( 1) Monitor the adequacy of the distribution and credentialing system.

             (2) Follow-up on the outcome of a representative sample of Mifeprex-treated women who
                 have surgical abortion because of method failure.

             (3)   Assess the long-term effects of multiple use of the regimen.

             (4) Ascertain the frequency with which women follow the complete treatment regimen and
                 the outcome of those who do not.

             (5) Study the safety and efficacy of the regimen in women under age 18, women over age
                 35, and women who smoke.

             (6) Ascertain the effect of the regimen on children born after treatment failure.

      As stated in the Mifeprex Approval Memorandum (at 7), during the final review of the Mifeprex
      NDA in 2000, items 1, 2, 4, and 5 above were revised and integrated into a single Phase 4 study to
      assess whether, for providers who did not have surgical intervention skills and referred patients for
      surgery, clinical outcomes were similar to those of patients under the care of physicians (such as
      those in the clinical trials) who possessed surgical skills. Based on a revised protocol, this Phase 4
      study would monitor the adequacy of provider qualifications (item 1) and collect data on safety
      outcomes and method failures (item 2) and return of patients for their follow-up visits (item 4).
      Because patients would not be restricted to a specific age range or smoking status, information to
      address item 5 also would be obtained. In a second Phase 4 study, the applicant would examine the
      outcomes of ongoing pregnancies (i.e. , method failures) through a surveillance, reporting, and
      tracking system (item 6). Thus, although the approval letter listed only two Phase 4 studies, those
      two studies incorporated all but one element of the six studies listed in the September 18, 1996,
      approvable letter concerning the Mifeprex NDA. (As discussed below, the remaining study was not
      included for logistical and practical reasons.)

      As mentioned in section 11.0.2 above, for the first Phase 4 study, which addressed items 1, 2, 4,
      and 5 above, the applicant reported in a submission in February 2008 that so few medical ab011ions
      are prescribed by physicians who do not have surgical intervention skill s that it was not feasible to
      do a meaningful study to assess this specific issue. We agreed with the applicant regarding the
      non-feasibility of conducting a meaningful study and concluded that no differences between non-
      referrers or refen·ers in terms of clinical outcomes could be identified based on the data that had
      been submitted. In September 2008, we released the applicant from this postmarketing
      commitment.

      For the second Phase 4 study, which addressed item 6 above, based on the reporting of ongoing
      pregnancies during the first 5 years ofMifeprex distribution, the applicant provided updates in
      January 2006 and November 2007. Danco reported that only one to two pregnancies per year were
      followed for final outcomes, and explained that the small number was due, in prui, to the
      requirement that the patients consent to participation after seeking a pregnru1cy termination . In
      January 2008, because of the lack of an adequate number of enrolled women, and based on
      subsequent reports, we released the applicant from this postmarketing commitment.



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                                                                                       EX. 15 pg. 031


                                                                                                 App. 0319
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      In addition, as noted in the Mifeprex Approval Memorandum (at 7), we agreed with the Population
      Council both that it would not be feasible to identify and enroll sufficient numbers of repeat users
      of the drug and that the pharmacology of mifepristone does not suggest any carryover effect after
      one-time administration. Accordingly, we did not include item 3 as a Phase 4 commitment in the
      September 28, 2000, approval letter. However, we note that data from many other studies
      reported in the medical literature using mifepristone for, e.g., fibroids, uterine myoma,
      meningioma, psychiatric illnesses, and Cushing ' s disease, in much higher daily and lower daily
      doses for chronic use (months) have not raised any major safety issues. 80

      III.     REQUEST FORSTAY AND REVOCATION OF APPROVAL

      You request that we immediately stay the approval of Mifeprex, thereby halting all distribution and
      marketing of the drug pending final action on your Petition (Petition at 2). You cite 21 CFR 10.3 5
      as the basis for your request for a stay (Petition at 1). In addition, you urge us to revoke the
      approval of Mifeprex because of the purported legal violations and safety concerns set forth in
      your Petition (Petition at 2).

      As described above, we are denying your Petition. Therefore, your request for a stay pending final
      action on your Petition is moot.

      For the reasons set forth in section II of this response, we conclude that you have not presented any
      evidence that the applicable grounds in 21 CFR 314.530 have been met with respect to Mifeprex.
      Furthermore, you have not provided any evidence that any of the applicable grounds in section
      50S( e) of the FD&C Act have been met for Mifeprex. 81 Therefore, you have not provided any
      evidence that would serve as a basis for seeking to withdraw the approval ofMifeprex.




      80
         See, e.g. , Tristan, M, et al. , 201 2, Mifepristone for Uterine Fibroids (Review), Cochrane Library, 8: 1-47;
      Esteve, JL, e t a!, 20 13, Mifepristone Versus Placebo To Treat Uterine Myoma: A Double-Blind, Randomized
      Clinical Trial, Int J Womens Health, 5:361; Spitz, IM, et al. , 2005 , Management of Patients Receiving Long-
      Tem1 Treatment With Mifepristone, Fertil Steri1, 84: 1719 ; Blasey, CM, TS Block, JK Belanoff, and RL Roe,
      2011 , Efficacy and Safety ofMifepristone for the Treatment of Psychotic Depression, J Clin
      Psychophannacol, 3 1:436; Fleseriu, M. et al., 201 2, Mifepristone. a Glucocorticoid Receptor Antagonist.
      Produces Clinical and Metabolic Benefit s in Patients with Cushing's Syndrome. J Clin Endocrinol Me tab,
      97:2039.
      81
        You have not presented any clirucal data or other informati on de monstrating that Mifeprex is unsafe for use
      under its approved conditions for use, either on the basis of evidence available to the Agency at the time of
      approval or when also considering evidence obtained subsequent to approval. In addition, you have not
      provided any new evidence that, when evaluated with the e vidence available at the time ofMifeprex's
      approval, shows that there is a lack of substantial evidence that the drug will have its intended effect.




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                                                                                                       EX. 15 pg. 032


                                                                                                                   App. 0320
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      IV.     CONCLUSION

      We appreciate and share your concerns about the need to appropriately manage the risks associated
      with the use ofMifeprex. Our concerns about the potential complications associated with
      Mifeprex led to its approval in accordance with 21 CFR 314.520. It was deemed to have in effect a
                                                                  82
      REMS in 2007, and it has had an approved REMS since 2011.

      For the reasons set forth above, your request that we immediately stay the approval ofMifeprex is
      moot, and we deny your request that we revoke approval of the Mifeprex NDA. In addition, we
      deny your request that we conduct an audit of all records of the French and U. S. clinical trials
      supporting the Mifeprex approval. As with all approved new drug products, we will continue to
      monitor the safety of Mifeprex and take any appropriate actions.

                                                         Sincerely,




                                                         Janet Woodcock, M.D.
                                                         Director
                                                         Center for Drug Evaluation and Research




      82
         As oftoday's approva l ofDanco' s supplemental NDA, the Medication Guide is no longer part ofthe
      REMS. However, the Medication Guide will remain as part of approved patient labeling and will be required
      to be provided to the patient under current Medication Guide regulations.




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                                                                                                EX. 15 pg. 033


                                                                                                            App. 0321
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                 Exhibit 16
 Identification of Drug and Biological Products
Deemed to Have Risk Evaluation and Mitigation
  Strategies for Purposes of the Food and Drug
Administration Amendments Act of 2007, 73 Fed.
       Reg. 16,313, 16,314 (Mar. 27, 2008)




                                                                      App. 0322
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                                                                        Federal Register / Vol. 73, No. 60 / Thursday, March 27, 2008 / Notices                                                    16313

                                         DEPARTMENT OF HEALTH AND                                 of FDAAA created new section 505–1 of                 FDA is developing guidance on the
                                         HUMAN SERVICES                                           the Federal Food, Drug, and Cosmetic                  preferred content and format of a
                                                                                                  Act (the act) (21 U.S.C. 355–1). Section              proposed REMS required to be
                                         Food and Drug Administration                             505–1(a) of the act authorizes FDA to                 submitted under section 909(b) of
                                         [Docket No. FDA–2008–N–0174]                             require persons submitting certain                    FDAAA and will issue it as soon as
                                                                                                  applications1 to submit and implement                 possible.
                                         Identification of Drug and Biological                    a REMS if FDA determines that a REMS
                                                                                                  is necessary to ensure that the benefits              II. List of Drug and Biological Products
                                         Products Deemed to Have Risk
                                                                                                  of a drug outweigh the risks of the drug              Deemed to Have a REMS
                                         Evaluation and Mitigation Strategies
                                         for Purposes of the Food and Drug                        and informs the holder of the                            Drug and biological products deemed
                                         Administration Amendments Act of                         application for the drug of the
                                                                                                                                                        to have in effect an approved REMS are
                                         2007                                                     determination. Section 909 of FDAAA
                                                                                                                                                        those that on March 25, 2008 (the
                                                                                                  provides that Title IX, subtitle A takes
                                         AGENCY: Food and Drug Administration,                                                                          effective date of Title IX, subtitle A of
                                                                                                  effect 180 days after its enactment,
                                         HHS.                                                                                                           FDAAA), had in effect ‘‘elements to
                                                                                                  which is March 25, 2008.
                                         ACTION: Notice.                                             FDAAA also contains REMS                           assure safe use.’’ ‘‘Elements to assure
                                                                                                  requirements for drug and biological                  safe use’’ include the following: (1)
                                         SUMMARY: The Food and Drug                               products approved before the effective                Health care providers who prescribe the
                                         Administration (FDA) is issuing this                     date of Title IX, subtitle A. Section                 drug have particular training or
                                         notice to notify holders of certain                      909(b)(1) of FDAAA specifies that a                   experience, or are specially certified; (2)
                                         prescription new drug and biological                     ‘‘drug that was approved before the                   pharmacies, practitioners, or health care
                                         license applications that they will be                   effective date of this Act is * * *                   settings that dispense the drug are
                                         deemed to have in effect an approved                     deemed to have in effect an approved                  specially certified; (3) the drug is
                                         risk evaluation and mitigation strategy                  risk evaluation and mitigation strategy               dispensed to patients only in certain
                                         (REMS) under the Food and Drug                           under section 505–1 of the Federal                    health care settings, such as hospitals;
                                         Administration Amendments Act of                         Food, Drug, and Cosmetic Act * * * if                 (4) the drug is dispensed to patients
                                         2007 (FDAAA). Holders of applications                    there are in effect on the effective date             with evidence or other documentation
                                         deemed to have in effect an approved                     of this Act elements to assure safe use—              of safe use conditions, such as
                                         REMS are required to submit a proposed                   (A) required under section 314.520 or                 laboratory test results; (5) each patient
                                         REMS to FDA.                                             section 601.42 of title 21, Code of                   using the drug is subject to certain
                                         DATES: Submit proposed REMSs to FDA                      Federal Regulations; or (B) otherwise                 monitoring; or (6) each patient using the
                                         by September 21, 2008.                                   agreed to by the applicant and the                    drug is enrolled in a registry (see section
                                         ADDRESSES: Written communications                        Secretary [of Health and Human                        505–1(f)(3) of the act).
                                         regarding the applicability of this notice               Services] for such drug.’’                               Some applications approved before
                                         to a specific product should be                             Section 909(b)(3) of FDAAA states:                 the effective date of FDAAA Title IX,
                                         identified with Docket Number FDA–                       ‘‘Not later than 180 days after the                   subtitle A contain these elements to
                                         2008–N–0174 and submitted to the                         effective date of this Act, the holder of             assure safe use.3 Some of these
                                         Division of Dockets Management (HFA–                     an approved application for which a                   applications were approved under
                                         305), Food and Drug Administration,                      risk evaluation and mitigation strategy               § 314.520 (21 CFR 314.520) or § 601.42
                                         5630 Fishers Lane, rm. 1061, Rockville,                  is deemed to be in effect * * * shall                 (21 CFR 601.42). Others were not
                                         MD 20852. Submit electronic                              submit to the Secretary a proposed risk               approved under part 314, subpart H or
                                         communications to http://                                evaluation and mitigation strategy. Such              part 601, subpart E, but still contain
                                         www.regulations.gov. Information about                   proposed strategy is subject to section               elements to assure safe use that were
                                         FDA implementation of FDAAA is                           505–1 of the Act as if included in such
                                                                                                                                                        agreed to by the applicant and the
                                         available on the Internet at http://                     application at the time of submission of
                                                                                                                                                        Secretary for such drug. Since 2005,
                                         www.fda.gov/oc/initiatives/advance/                      the application to the Secretary.’’2
                                                                                                     Section 909(b)(2) of FDAAA states                  these elements typically appeared in
                                         fdaaa.html.                                                                                                    approved risk minimization action
                                                                                                  that a REMS for a drug deemed to have
                                         FOR FURTHER INFORMATION CONTACT:                         a REMS consists of the timetable                      plans (RiskMAPs) (see the guidance for
                                         Mary Dempsey, Center for Drug                            required under section 505–1(d) of the                industry entitled ‘‘Development and Use
                                         Evaluation and Research, Food and                        act and any additional elements under                 of Risk Minimization Action Plans’’ (70
                                         Drug Administration, 10903 New                           section 505–1(e) and (f) of the act in                FR 15866, March 29, 2005)).
                                         Hampshire Ave., Bldg. 22, rm. 4326,                      effect for the drug on the effective date                FDA has reviewed its records to
                                         Silver Spring, MD 20993–0002, 301–                       of FDAAA.                                             identify applications that were
                                         796–0147.                                                   The purpose of this notice is to                   approved before the effective date of
                                         SUPPLEMENTARY INFORMATION:                               identify those drugs that FDA has                     Title IX of FDAAA with elements to
                                                                                                  determined will be deemed to have in                  assure safe use and has identified the
                                         I. Introduction                                          effect an approved REMS and to notify                 drug and biological products listed in
                                           On September 27, 2007, the President                   holders of applications for such drugs                table 1 of this document as those that
                                         signed into law FDAAA (Public Law                        that they are required to submit a                    will be deemed to have in effect an
                                         110–85). Title IX, subtitle A, section 901               proposed REMS by September 21, 2008.                  approved REMS.
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                                           1 Section 505(p)(1) of the act (21 U.S.C. 355(p)(1))      2 Title IX, subtitle A of FDAAA, which includes    for health care providers or patients. A drug will
                                         states that section 505–1 of the act applies to          section 909, takes effect March 25, 2008; 180 days    not be deemed to have a REMS if it has only a
                                         applications for prescription drugs approved under       after that date is September 21, 2008.                Medication Guide, patient package insert, and/or
                                         section 505(b) or (j) of the act and applications           3 These plans sometimes contain other elements
                                                                                                                                                        communication plan (see section 505–1(e)(2) and
                                         approved under section 351 of the Public Health          to minimize risk such as a Medication Guide (21       (e)(3) of the act).
                                         Service Act (42 U.S.C. 262).                             CFR part 208) or a communication/educational plan



                                    VerDate Aug<31>2005    16:08 Mar 26, 2008   Jkt 214001   PO 00000   Frm 00069   Fmt 4703   Sfmt 4703   E:\FR\FM\27MRN1.SGM   27MRN1
                                                                                                                                                                           Ex. 16 pg. 001
                                                                                                                                                                                     App. 0323
                                         Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                                                       Page 328 of 684 PageID 6086
                                         16314                        Federal Register / Vol. 73, No. 60 / Thursday, March 27, 2008 / Notices

                                                                         TABLE 1.—PRODUCTS DEEMED TO HAVE IN EFFECT AN APPROVED REMS
                                               Generic or Proper Name                             Brand Name                           Application Number1                   Date of Approval2

                                         Abarelix                                   Plenaxis3                                   NDA 21–320                                                 11/25/2003

                                         Alosetron                                  Lotronex                                    NDA 21–107                                                 02/09/2000

                                         Ambrisentan                                Letairis                                    NDA 22–081                                                 06/15/2007

                                         Bosentan                                   Tracleer                                    NDA 21–290                                                 11/20/2001

                                         Clozapine                                  Clozaril                                    NDA 19–758                                                 09/26/1989
                                                                                                                                ANDA 74–949                                                  11/26/97
                                                                                                                                ANDA 75–417                                                    5/27/99
                                                                                                                                ANDA 75–713                                                  11/15/02
                                                                                                                                ANDA 75–162                                                    4/26/05
                                                                                                                                ANDA 76–809                                                  12/16/05
                                                                                    Fazaclo ODT                                 NDA 21–590                                                 02/09/2004

                                         Dofetilide                                 Tikosyn                                     NDA 20–931                                                 10/01/1999

                                         Eculizumab                                 Soliris                                     BLA 125166                                                 03/16/2007

                                         Fentanyl PCA                               Ionsys3                                     NDA 21–338                                                 05/22/2006

                                         Fentanyl citrate                           Actiq                                       NDA 20–747                                                 11/04/1998

                                         Isotretinoin                               Accutane                                    NDA 18–662                                                 05/07/1982
                                                                                    Amnesteem                                   ANDA 75–945                                                   11/2002
                                                                                    Claravis                                    ANDA 76–135                                                   04/2003
                                                                                                                                ANDA 76–356                                                   04/2003
                                                                                    Sotret                                      ANDA 76–041                                                   12/2002
                                                                                                                                ANDA 76–503                                                   06/2003

                                         Lenalidomide                               Revlimid                                    NDA 21–880                                                 12/27/2005

                                         Mifepristone                               Mifeprex                                    NDA 20–687                                                 09/28/2000

                                         Natalizumab                                Tysabri                                     BLA 125104                                                 11/23/2004

                                         Small pox (Vaccinia) Vaccine, Live         ACAM2000                                    BLA 125158                                                 08/31/2007

                                         Sodium oxybate                             Xyrem                                       NDA 21–196                                                 07/17/2002

                                         Thalidomide                                Thalomid                                    NDA 20–785                                                 07/16/1998
                                                                                                                                NDA 21–430
                                            1 New drug application (NDA), abbreviated new drug application (ANDA), biologics license application (BLA).
                                            2 The original date of approval of the drug. FDA may have required elements to assure safe use at a later date.
                                            3 Product is not currently marketed in the United States.




                                            FDA is further asking members of the                   FDA will notify the application holder                DEPARTMENT OF HEALTH AND
                                         public to please notify the agency if they                within 30 days of receipt of the letter of            HUMAN SERVICES
                                         are aware of applications that have not                   its determination.
                                         been identified in this document and                                                                            Food and Drug Administration
                                                                                                     Dated: March 19, 2008.
                                         that they believe should be deemed to
                                         have in effect an approved REMS.                          Jeffrey Shuren,                                       Joint Meeting of the Anesthetic and
                                         Please provide the information to Mary                    Associate Commissioner for Policy and                 Life Support Drugs Advisory
                                         Dempsey, Risk Management                                  Planning.                                             Committee and the Drug Safety and
                                         Coordinator (see the FOR FURTHER                          [FR Doc. E8–6201 Filed 3–26–08; 8:45 am]              Risk Management Advisory
                                         INFORMATION CONTACT section of this                       BILLING CODE 4160–01–S
                                                                                                                                                         Committee; Notice of Meeting
                                         document).                                                                                                      AGENCY: Food and Drug Administration,
                                            Any application holder that believes                                                                         HHS.
                                         its product identified in this notice                                                                           ACTION: Notice.
                                         should not be on the list of drug or
                                         biological products that will be deemed                                                                           This notice announces a forthcoming
                                         to have in effect an approved REMS                                                                              of a public advisory committee of the
                                         should submit a letter identified with                                                                          Food and Drug Administration (FDA).
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                                         Docket Number FDA–2008–N–0174 to                                                                                The meeting will be open to the public.
                                         the Division of Dockets Management                                                                                Name of Committees: Anesthetic and
                                         (see ADDRESSES) stating why the                                                                                 Life Support Drugs Advisory Committee
                                         application holder believes its product                                                                         and the Drug Safety and Risk
                                         was improperly identified in this notice.                                                                       Management Advisory Committee.


                                    VerDate Aug<31>2005   16:08 Mar 26, 2008   Jkt 214001     PO 00000   Frm 00070   Fmt 4703   Sfmt 4703   E:\FR\FM\27MRN1.SGM   27MRN1
                                                                                                                                                                           Ex. 16 pg. 002
                                                                                                                                                                                App. 0324
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                 Exhibit 17
   2011 FDA Supplemental Approval Letter to Danco
    Laboratories, LLC (June 6, 2011) (2011 Approval
                        Letter)




                                                                      App. 0325
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                  DEPARTMENT OF HEALTH AND HUMAN SERVICES


                                                                                   Food and Drug Administration
                                                                                   Silver Spring MD 20993

          NDA 020687/S-014
                                                                             SUPPLEMENT APPROVAL

          Danco Laboratories, LLC
                                         (b) (6)




          P.O. Box 4816
          New York, NY 10185

          Dear                       :
                           (b) (6)




          Please refer to your Supplemental New Drug Application (sNDA) dated September 16, 2008,
          received September 17, 2008, submitted under section 505(b) of the Federal Food, Drug, and
          Cosmetic Act (FDCA) for MIFEPREX® (mifepristone) Tablets. We note that NDA 020687 is
          approved under the provisions of 21 CFR 314.520 (Subpart H).

          This supplemental application provides for a proposed risk evaluation and mitigation strategy
          (REMS) for MIFEPREX (mifepristone) and was submitted in accordance with section 909(b)(1)
          of the Food and Drug Administration Amendments Act of 2007 (FDAAA). Under
          section 909(b)(1) of FDAAA, we identified MIFEPREX (mifepristone) as a product deemed to
          have in effect an approved REMS because there were in effect on the effective date of FDAAA,
          March 25, 2008, elements to assure safe use required under 21 CFR 314.520.

          We acknowledge receipt of your amendments dated December 9, 2008, November 8, 2010, and
          May 19 and 27, 2011.

          In accordance with section 505-1 of the FDCA, we have determined that a REMS is necessary
          for MIFEPREX (mifepristone) to ensure the benefits of the drug outweigh the risks of serious
          complications by requiring prescribers to certify that they are qualified to prescribe MIFEPREX
          (mifepristone) and are able to assure patient access to appropriate medical facilities to manage
          any complications.

          Your proposed REMS, as amended and appended to this letter, is approved. The REMS consists
          of a Medication Guide, elements to assure safe use, an implementation system, and a timetable
          for submission of assessments of the REMS.

          We remind you that section 505-1(f)(8) of FDCA prohibits holders of an approved covered
          application with elements to assure safe use from using any element to block or delay approval
          of an application under section 505(b)(2) or (j). A violation of this provision in 505-1(f) could
          result in enforcement action.




                                                                                             EX. 17 pg.001
Reference ID: 2957855
                                                                                                 App. 0326
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          NDA 020687/S-014
          Page 2


          The REMS assessment plan will include the information submitted to FDA on May 27, 2011,
          and should include the following information:

                  a. Per section 505-1(g)(3)(A), an assessment of the extent to which the elements to
                     assure safe use are meeting the goal or goals to mitigate a specific serious risk listed
                     in the labeling of the drug, or whether the goal or goals or such elements should be
                     modified.
                  b. Per section 505-1(g)(3)(B) and (C), information on the status of any postapproval
                     study or clinical trial required under section 505(o) or otherwise undertaken to
                     investigate a safety issue. With respect to any such postapproval study, you must
                     include the status of such study, including whether any difficulties completing the
                     study have been encountered. With respect to any such postapproval clinical trial,
                     you must include the status of such clinical trial, including whether enrollment has
                     begun, the number of participants enrolled, the expected completion date, whether
                     any difficulties completing the clinical trial have been encountered, and registration
                     information with respect to requirements under subsections (i) and (j) of section 402
                     of the Public Health Service Act. You can satisfy these requirements in your REMS
                     assessments by referring to relevant information included in the most recent annual
                     report required under section 506B and 21 CFR 314.81(b)(2)(vii) and including any
                     updates to the status information since the annual report was prepared. Failure to
                     comply with the REMS assessments provisions in section 505-1(g) could result in
                     enforcement action.

          We remind you that in addition to the assessments submitted according to the timetable included
          in the approved REMS, you must submit a REMS assessment and may propose a modification to
          the approved REMS when you submit a supplemental application for a new indication for use as
          described in Section 505-1(g)(2)(A) of FDCA.

          Prominently identify future submissions containing the REMS assessments or proposed
          modifications with the following wording in bold capital letters at the top of the first page of the
          submission:

                  NDA 020687 REMS ASSESSMENT

                  NEW SUPPLEMENT FOR NDA 020687
                  PROPOSED REMS MODIFICATION
                  REMS ASSESSMENT

                  NEW SUPPLEMENT (NEW INDICATION FOR USE) FOR NDA 020687
                  REMS ASSESSMENT
                  PROPOSED REMS MODIFICATION (if included)

          If you do not submit electronically, please send 5 copies of REMS-related submissions.

          As part of the approval under Subpart H, as required by 21 CFR 314.550, you must submit all
          promotional materials, including promotional labeling as well as advertisements, at least 30 days



                                                                                              EX. 17 pg.002
Reference ID: 2957855
                                                                                                 App. 0327
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          before the intended time of initial distribution of the labeling or initial publication of the
          advertisement. Send one copy to the                                                             and two
                                                                                                  (b) (6)


          copies of the promotional materials and the package insert directly to:

                  Food and Drug Administration
                  Center for Drug Evaluation and Research
                  Division of Drug Marketing, Advertising, and Communications
                  Food and Drug Administration
                  5901-B Ammendale Road
                  Beltsville, MD 20705-1266

          REPORTING REQUIREMENTS

          We remind you that you must comply with reporting requirements for an approved NDA
          (21 CFR 314.80 and 314.81).

          If you have any questions,
                                                                                                  (b) (6)




                                                        Sincerely,

                                                        {See appended electronic signature page}
                                                                           (b) (6)




          ENCLOSURES:
            REMS Document
            REMS Materials




                                                                                                  EX. 17 pg.003
Reference ID: 2957855
                                                                                                     App. 0328
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     ---------------------------------------------------------------------------------------------------------
     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
     ---------------------------------------------------------------------------------------------------------
     /s/
     ----------------------------------------------------
                            (b) (6)


     06/08/2011




                                                                                        EX. 17 pg.004
Reference ID: 2957855
                                                                                              App. 0329
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24   Page 334 of 684 PageID 6092




                 Exhibit 18
       2011 REMS for NDA 20-687 Mifeprex
    (mifepristone) Tablets, 200mg (June 8, 2011)
                    (2011 REMS)




                                                                      App. 0330
   Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                Page 335 of 684 PageID 6093
                               NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg

                                              Danco Laboratories, LLC
                                                   PO Box 4816
                                               New York, NY 10185



              I.    GOALS

                    A.   To provide information to patients about the benefits and risks of MIFEPREX
                         before they make a decision whether to take the drug.

                    B.   To minimize the risk of serious complications by requiring prescribers to
                         certify that they are qualified to prescribe MIFEPREX and are able to assure
                         patient access to appropriate medical facilities to manage any complications.

              II.   REMS ELEMENTS

                    A.   Medication Guide

                         1.   A Medication Guide will be dispensed with each MIFEPREX prescription
                              in accordance with 21 CFR 208.24.

                         2.   Please see the appended Medication Guide.

                    B.   Elements to Assure Safe Use

                         1.   Healthcare providers who prescribe MIFEPREX will be specially
                              certified.

                              Danco will ensure that healthcare providers who prescribe MIFEPREX are
                              specially certified.

                              a. To become specially certified, each prescriber must complete and fax
                                 to the MIFEPREX distributor the one-time Prescriber’s Agreement,
                                 agreeing that they meet the qualifications and will follow the
                                 guidelines outlined in the Prescriber’s Agreement.

                              b. The following materials are part of the REMS and are appended:

                                 i. Prescriber’s Agreement.

                                 ii. Patient Agreement.




                                                                                           EX. 18 pg. 001
Reference ID: 2957855

                                                                                           App. 0331
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                        2.   MIFEPREX will be dispensed only in certain health care settings,
                             specifically clinics, medical offices, and hospitals.

                             Danco will ensure that MIFEPREX will only be available to be dispensed
                             in a clinic, medical office, or hospital, by or under the supervision of a
                             specially certified prescriber. MIFEPREX will not be distributed to or
                             dispensed through retail pharmacies.

                        3.   MIFEPREX will only be dispensed to patients with documentation of safe
                             use conditions.

                             Danco will ensure that MIFEPREX will only be dispensed to patients with
                             documentation of the following safe use conditions:

                             a. The patient has completed and signed the Patient Agreement, and the
                                Patient Agreement has been placed in the patient’s medical record.

                             b. The patient has been provided copies of the signed Patient Agreement
                                and the Medication Guide.

                   C.   Implementation System

                        The Implementation System will include the following:

                        1.   Distributors who distribute MIFEPREX will be certified. To become
                             certified, distributors must agree to:

                             a. Ship drug only to site locations identified by specially certified
                                prescribers in signed Prescriber’s Agreements, and maintain secure
                                and confidential records of shipments.

                             b. Follow all distribution guidelines, including those for storage, tracking
                                package serial numbers, proof of delivery, and controlled returns.

                        2.   Danco will assess the performance of the certified distributors with regard
                             to the following:

                             a. Whether a secure, confidential and controlled distribution system is
                                being maintained with regard to storage, handling, shipping, and return
                                of MIFEPREX.

                             b. Whether MIFEPREX is being shipped only to site locations identified
                                by specially certified prescribers in the signed Prescriber’s Agreement
                                and only available to be dispensed to patients in a clinic, medical
                                office, or hospital by or under the supervision of a specially certified
                                prescriber.




                                                          2
                                                                                            EX. 18 pg. 002
Reference ID: 2957855

                                                                                            App. 0332
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                        3.   If Danco determines the distributors are not complying with these
                             requirements, Danco will take steps to improve their compliance.

                   D.   Timetable for Submission of Assessments

                        Danco will submit REMS assessments to the FDA one year from the date of
                        the approval of the REMS and every three years thereafter. To facilitate
                        inclusion of as much information as possible while allowing reasonable time to
                        prepare the submission, the assessment reporting interval covered by each
                        assessment should conclude no earlier than 60 days before the submission date
                        for that assessment. Danco will submit each assessment so that it will be
                        received by the FDA on or before the due date.




                                                          3
                                                                                          EX. 18 pg. 003
Reference ID: 2957855

                                                                                          App. 0333
     Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                Page 338 of 684 PageID 6096
                                               MEDICATION GUIDE
                                               Mifeprex® (MIF-eh-prex)
                                                    (mifepristone)

          Read this information carefully before taking Mifeprex* and misoprostol. It will help you
          understand how the treatment works. This MEDICATION GUIDE does not take the place of
          talking with your health care provider (provider).

          What is Mifeprex?
          Mifeprex is used to end an early pregnancy. It blocks a hormone needed for your pregnancy
          to continue. It is not approved for ending later pregnancies. Early pregnancy means it is 49
          days (7 weeks) or less since your last menstrual period began. When you use Mifeprex (Day
          1), you also need to take another medicine misoprostol, 2 days after you take Mifeprex (Day 3),
          to end your pregnancy. But, about 5-8 out of 100 women taking Mifeprex will need a surgical
          procedure to end the pregnancy or to stop too much bleeding.

          What is the most important information I should know about
          Mifeprex?
          What symptoms should I be concerned with? Although cramping and bleeding are an
          expected part of ending a pregnancy, rarely, serious and potentially life-threatening bleeding,
          infections, or other problems can occur following a miscarriage, surgical abortion, medical
          abortion, or childbirth. Prompt medical attention is needed in these circumstances. Serious
          infection has resulted in death in a very small number of cases; in most of these cases
          misoprostol was used in the vagina. There is no information that use of Mifeprex and
          misoprostol caused these deaths. If you have any questions, concerns, or problems, or if you
          are worried about any side effects or symptoms, you should contact your provider. Your
          provider’s telephone number is ________________________.

          Be sure to contact your provider promptly if you have any of the following:

                  Heavy Bleeding. Contact your provider right away if you bleed enough to soak through
                  two thick full-size sanitary pads per hour for two consecutive hours or if you are
                  concerned about heavy bleeding. In about 1 out of 100 women, bleeding can be so
                  heavy that it requires a surgical procedure (surgical abortion/D&C) to stop it.

                  Abdominal Pain or “Feeling Sick”. If you have abdominal pain or discomfort, or you
                  are “feeling sick”, including weakness, nausea, vomiting or diarrhea, with or without
                  fever, more than 24 hours after taking misoprostol, you should contact your provider
                  without delay. These symptoms may be a sign of a serious infection or another problem
                  (including an ectopic pregnancy, a pregnancy outside the womb).

                  Fever. In the days after treatment, if you have a fever of 100.4°F or higher that lasts for
                  more than 4 hours, you should contact your provider right away. Fever may be a
                  symptom of a serious infection or another problem (including an ectopic pregnancy).

          Take this MEDICATION GUIDE with you. When you visit an emergency room or a provider
          who did not give you your Mifeprex, you should give them your MEDICATION GUIDE so that




                                                                                             EX. 18 pg. 004
Reference ID: 2957855

                                                                                              App. 0334
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          they understand that you are having a medical abortion with Mifeprex.

          What to do if you are still pregnant after Mifeprex with misoprostol treatment. If you are
          still pregnant, your provider will talk with you about the other choices you have, including a
          surgical procedure to end your pregnancy. There is a chance that there may be birth defects if
          the pregnancy is not ended.

          Talk with your provider. Before you take Mifeprex, you should read this MEDICATION GUIDE
          and sign a statement (PATIENT AGREEMENT). You and your provider should discuss the
          benefits and risks of your using Mifeprex.



          Who should not take Mifeprex?
          Some women should not take Mifeprex. Do not take it if:
          • It has been more than 49 days (7 weeks) since your last menstrual period began.
          • You have an IUD. It must be taken out before you take Mifeprex.
          • Your provider has told you that you have a pregnancy outside the uterus (ectopic
            pregnancy).
          • You have problems with your adrenal glands (chronic adrenal failure).
          • You take a medicine to thin your blood.
          • You have a bleeding problem.
          • You take certain steroid medicines.
          • You cannot return for the next 2 visits.
          • You cannot easily get emergency medical help in the 2 weeks after you take Mifeprex.
          • You are allergic to mifepristone, misoprostol, or medicines that contain misoprostol, such as
            Cytotec or Arthrotec.

          Tell your provider about all your medical conditions to find out if you can take Mifeprex. Also,
          tell your provider if you smoke at least 10 cigarettes a day.

          How should I take Mifeprex?
          •   Day 1 at your provider’s office:
              - Read this MEDICATION GUIDE.
              - Discuss the benefits and risks of using Mifeprex to end your pregnancy.
              - If you decide Mifeprex is right for you, sign the PATIENT AGREEMENT.
              - After getting a physical exam, swallow 3 tablets of Mifeprex.
          •   Day 3 at your provider’s office:
              - If you are still pregnant, take 2 misoprostol tablets.
              - Misoprostol may cause cramps, nausea, diarrhea, and other symptoms. Your provider
                may send you home with medicines for these symptoms.
          •   About Day 14 at your provider’s office:
              - This follow-up visit is very important. You must return to the provider about 14 days after
                 you have taken Mifeprex to be sure you are well and that you are not pregnant.
              - Your provider will check whether your pregnancy has completely ended. If it has not
                 ended, there is a chance that there may be birth defects. If you are still pregnant, your
                 provider will talk with you about the other choices you have, including a surgical
                 procedure to end your pregnancy.




                                                                                            EX. 18 pg. 005
Reference ID: 2957855

                                                                                             App. 0335
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          What should I avoid while taking Mifeprex and misoprostol?
          Do not take any other prescription or non-prescription medicines (including herbal medicines or
          supplements) at any time during the treatment period without first asking your provider about
          them because they may interfere with the treatment. Ask your provider about what medicines
          you can take for pain.

          If you are breastfeeding at the time you take Mifeprex and misoprostol, discuss with your
          provider if you should stop breastfeeding for a few days.

          What are the possible and reasonably likely side effects of Mifeprex?

          Cramping and bleeding are expected with this treatment. Usually, these symptoms mean that
          the treatment is working. But sometimes you can get cramping and bleeding and still be
          pregnant. This is why you must return to your provider on Day 3 and about Day 14. See “How
          should I take Mifeprex?” for more information on when to return to your provider. If you are not
          already bleeding after taking Mifeprex, you probably will begin to bleed once you take
          misoprostol, the medicine you take on Day 3. Bleeding or spotting can be expected for an
          average of 9–16 days and may last for up to 30 days. Your bleeding may be similar to, or
          greater than, a normal heavy period. You may see blood clots and tissue. This is an expected
          part of ending the pregnancy.

          Other common symptoms of treatment include diarrhea, nausea, vomiting, headache, dizziness,
          back pain, and tiredness. These side effects lessen after Day 3 and are usually gone by Day
          14. Your provider will tell you how to manage any pain or other side effects.

          Call your doctor for medical advice about side effects. You may report side effects to FDA at 1­
          800-FDA-1088.

          When should I begin birth control?
          You can become pregnant again right after your pregnancy ends. If you do not want to become
          pregnant again, start using birth control as soon as your pregnancy ends or before you start
          having sexual intercourse again.



                                                      *   *   *


          Medicines are sometimes prescribed for purposes other than those listed in a MEDICATION
          GUIDE. For more information, ask your provider for the information about Mifeprex that is
          written for health care professionals. Ask your provider if you have any questions.

          This MEDICATION GUIDE has been approved by the U.S. Food and Drug Administration.

          Rev 3: 4/22/09
          *Mifeprex is a registered trademark of Danco Laboratories, LLC.




                                                                                          EX. 18 pg. 006
Reference ID: 2957855

                                                                                             App. 0336
      Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                                   Page 341 of 684 PageID 6099
                                                                                     ®
                                                                      MIFEPREX
                                                               (Mifepristone) Tablets, 200 mg

                                                              PRESCRIBER’S AGREEMENT

      We are pleased that you wish to become a provider of Mifeprex* (Mifepristone) Tablets, 200 mg, which is
      indicated for the medical termination of intrauterine pregnancy through 49 days from the first day of the patient’s
      last menstrual period (see full prescribing information). Prescribing Information, Mifeprex Medication Guides and
      PATIENT AGREEMENT forms will be provided together with your order of Mifeprex.

      Prior to establishing your account and receiving your first order, you must sign and return this letter to the
      distributor, indicating that you have met the qualifications outlined below and will observe the guidelines outlined
      below. If you oversee more than one office facility, you will need to list each facility on your order form prior to
      shipping the first order.

      By signing the reverse side, you acknowledge receipt of the PRESCRIBER’S AGREEMENT and agree that you
      meet these qualifications and that you will follow these guidelines for use. You also understand that if you do not
      follow these guidelines, the distributor may discontinue distribution of the drug to you.

      Under Federal law, Mifeprex must be provided by or under the supervision of a physician who meets the
      following qualifications:

                  • Ability to assess the duration of pregnancy accurately.

                  • Ability to diagnose ectopic pregnancies.

                  • Ability to provide surgical intervention in cases of incomplete abortion or severe bleeding, or have
                  made plans to provide such care through others, and are able to assure patient access to medical
                  facilities equipped to provide blood transfusions and resuscitation, if necessary.

                  • Has read and understood the prescribing information of Mifeprex. The prescribing information is
                  attached to this letter, and is also available by calling our toll free number, 1-877-4 Early Option (1-877­
                  432-7596), or logging on to our website, www.earlyoptionpill.com.

      In addition to these qualifications, you must provide Mifeprex in a manner consistent with the following guidelines.

                  • Under Federal law, each patient must be provided with a Medication Guide. You must fully explain the
                  procedure to each patient, provide her with a copy of the Medication Guide and PATIENT
                  AGREEMENT, give her an opportunity to read and discuss them, obtain her signature on the PATIENT
                  AGREEMENT, and sign it yourself.

                  • The patient’s follow-up visit at approximately 14 days is very important to confirm that a complete
                  termination of pregnancy has occurred and that there have been no complications. You must notify
                  Danco Laboratories in writing as discussed in the Package Insert under the heading DOSAGE AND
                  ADMINISTRATION in the event of an on-going pregnancy which is not terminated subsequent to the
                  conclusion of the treatment procedure.

                  • While serious adverse events associated with the use of Mifeprex are rare, you must report any
                  hospitalization, transfusion or other serious event to Danco Laboratories, identifying the patient solely by
                  package serial number to ensure patient confidentiality.

                  • Each package of Mifeprex has a serial number. As part of maintaining complete records for each
                  patient, you must record this identification number in each patient’s record.


      Danco Laboratories, LLC
      P.O. Box 4816
      New York, NY 10185
      1-877-4 Early Option (1-877-432-7596)
      www.earlyoptionpill.com
      *MIFEPREX is a registered trademark of Danco Laboratories, LLC.
                                                                                                       EX. 18 pg. 007
Reference ID: 2957855
                                                                                                             App. 0337
      Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                                                      Page 342 of 684 PageID 6100



                                         ACCOUNT SETUP FORM
                                         MIFEPREX (Mifepristone) Tablets, 200 mg; NDC 64875-001-03
                                                         TM




                                         Billing information

       To set up your                    Bill to Name ________________________________________________________________

          account:                       Address ____________________________________________________________________
                                         City ________________________________                          State ________ ZIP ___________________
                                         Phone ______________________________                           Fax ________________________________
                  1
                                         Attention ___________________________
Read the Prescriber’s Agreement on
the back of this Account Setup Form.     Shipping information (❑ Check if same as above)
                                         Ship to Name _______________________________________________________________
                  2                      Address ____________________________________________________________________

   Complete and sign this form.          City ________________________________                          State ________ ZIP ___________________
                                         Phone ______________________________                           Fax ________________________________
                                         Attention ___________________________
                  3
 Fax the completed Account Setup         Additional site locations
  Form to the Danco distributor at       I will also be prescribing Mifeprex* at these additional locations:
  1-866-227-3343. Your account
                                          Name _________________________________                         Address __________________________________
  information will be kept strictly
            confidential.                 City __________________________________                        State ________ ZIP _________________________
                                          Phone ________________________________                         Fax ______________________________________

                  4
                                          Name _________________________________                         Address __________________________________
 The distributor will call to finalize
                                          City __________________________________                        State ________ ZIP _________________________
 your account setup and take your
            initial order.                Phone ________________________________                         Fax ______________________________________
                                         (Any additional sites may be listed on an attached sheet of paper.)


                  5                      Request additional materials
 Subsequent orders may be phoned         ❑ Medication Guides                                    ❑ Patient Agreements
 in and are usually shipped within       ❑ State Abortion Guidelines                            ❑ Patient Brochures
              24 hours.
                                         Establishing your account (required only with first order)
                                         Each facility purchasing Mifeprex must be included on this form (see additional site locations box above) before the
                  6                      distributor can ship the product. Please read the Prescriber’s Agreement on the reverse of this form and sign below.
Unopened, unused product may be
                                         By signing below, you acknowledge receipt of the Prescriber’s Agreement and agree that
returned for a refund or exchange up
                                         you meet these qualifications and that you will follow these guidelines for use.
 to a year after the expiration date.
                                         Print Name _________________________________                         Signature _________________________________
                                         Medical License # ___________________________                        Date ______________________________________

                                         Fax this completed Account Setup Form to the authorized distributor. Fax: 1-866-227-3343
                                         Please fax any questions to the above number or call 1-800-848-6142.
                                         *Mifeprex is a trademark of Danco Laboratories, LLC.




                                                                                                                               EX. 18 pg. 008
 Reference ID: 2957855
                                                                                                                                                            OWEB


                                                                                                                                          App. 0338
     Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                      Page 343 of 684 PageID 6101
                   ®
          Mifeprex (Mifepristone) Tablets, 200 mg

          PATIENT AGREEMENT
          Mifeprex* (mifepristone) Tablets
          1. I have read the attached MEDICATION GUIDE for using Mifeprex and misoprostol to end my pregnancy.
          2. I discussed the information with my health care provider (provider).
          3. My provider answered all my questions and told me about the risks and benefits of using Mifeprex and
          misoprostol to end my pregnancy.
          4. I believe I am no more than 49 days (7 weeks) pregnant.
          5. I understand that I will take Mifeprex in my provider’s office (Day 1).
          6. I understand that I will take misoprostol in my provider’s office two days after I take Mifeprex (Day 3).
          7. My provider gave me advice on what to do if I develop heavy bleeding or need emergency care due to the
          treatment.
          8. Bleeding and cramping do not mean that my pregnancy has ended. Therefore, I must return to my
          provider’s office in about 2 weeks (about Day 14) after I take Mifeprex to be sure that my pregnancy has
          ended and that I am well.
          9. I know that, in some cases, the treatment will not work. This happens in about 5 to 8 women out of 100
          who use this treatment.
          10. I understand that if my pregnancy continues after any part of the treatment, there is a chance that there
          may be birth defects. If my pregnancy continues after treatment with Mifeprex and misoprostol, I will talk with
          my provider about my choices, which may include a surgical procedure to end my pregnancy.
          11. I understand that if the medicines I take do not end my pregnancy and I decide to have a surgical
          procedure to end my pregnancy, or if I need a surgical procedure to stop bleeding, my provider will do the
          procedure or refer me to another provider who will. I have that provider’s name, address and phone number.
          12. I have my provider's name, address and phone number and know that I can call if I have any questions or
          concerns.
          13. I have decided to take Mifeprex and misoprostol to end my pregnancy and will follow my provider’s advice
          about when to take each drug and what to do in an emergency.
          14. I will do the following:
               - contact my provider right away if in the days after treatment I have a fever of 100.4°F or higher that
                   lasts for more than 4 hours or severe abdominal pain.
               - contact my provider right away if I have heavy bleeding (soaking through two thick full-size sanitary
                   pads per hour for two consecutive hours).
               - contact my provider right away if I have abdominal pain or discomfort, or I am “feeling sick”, including
                   weakness, nausea, vomiting or diarrhea, more than 24 hours after taking misoprostol.
               - take the MEDICATION GUIDE with me when I visit an emergency room or a provider who did not give
                   me Mifeprex, so that they will understand that I am having a medical abortion with Mifeprex.
               - return to my provider’s office in 2 days (Day 3) to check if my pregnancy has ended. My provider will
                    give me misoprostol if I am still pregnant.
               - return to my provider’s office about 14 days after beginning treatment to be sure that my pregnancy
                    has ended and that I am well.


          Patient Signature: ___________________________________________

          Patient Name (print): ________________________________________

          Date: _____________________________________________________

          The patient signed the PATIENT AGREEMENT in my presence after I counseled her and answered all her
          questions. I have given her the MEDICATION GUIDE for mifepristone.

          Provider’s Signature: ________________________________________

          Name of Provider (print): ______________________________________




                                                                                                  EX. 18 pg. 009
Reference ID: 2957855
                                                                                                      App. 0339
   Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                       Page 344 of 684 PageID 6102
          Date: _____________________________________________________

          After the patient and the provider sign this PATIENT AGREEMENT, give 1 copy to the patient before she
          leaves the office and put 1 copy in her medical record. Give a copy of the MEDICATION GUIDE to the
          patient.



          Rev 2: 7/19/05
          *Mifeprex is a registered trademark of Danco Laboratories, LLC.




                                                            -2-

                                                                                              EX. 18 pg. 010
Reference ID: 2957855
                                                                                               App. 0340
       Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24               Page 345 of 684 PageID 6103
     ---------------------------------------------------------------------------------------------------------
     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
     ---------------------------------------------------------------------------------------------------------
     /s/
     ----------------------------------------------------
                            (b) (6)


     06/08/2011




                                                                                        EX. 18 pg. 011
Reference ID: 2957855
                                                                                              App. 0341
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24   Page 346 of 684 PageID 6104




                 Exhibit 19
 2016 FDA Letter to Danco Laboratories re: NDA
       020687, Supp 20 (Mar. 29, 2016)




                                                                      App. 0342
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24   Page 347 of 684 PageID 6105




                                                                 EX. 19 pg. 001
                                                                      App. 0343
  Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                   Page 348 of 684 PageID 6106
          NDA 020687/S-020
          Page 2


          The SPL will be accessible from publicly available labeling repositories.

          Also within 14 days, amend all pending supplemental applications that includes labeling changes
          for this NDA, including CBE supplements for which FDA has not yet issued an action letter,
          with the content of labeling [21 CFR 314.50(l)(1)(i)] in MS Word format, that includes the
          changes approved in this supplemental application, as well as annual reportable changes and
          annotate each change. To facilitate review of your submission, provide a highlighted or marked-
          up copy that shows all changes, as well as a clean Microsoft Word version. The marked-up copy
          should provide appropriate annotations, including supplement number(s) and annual report
          date(s).

          We request that the labeling approved today be available on your website within 10 days of
          receipt of this letter.

          REQUIRED PEDIATRIC ASSESSMENTS

          Under the Pediatric Research Equity Act (PREA) (21 U.S.C. 355c), all applications for new
          active ingredients, new indications, new dosage forms, new dosing regimens, or new routes of
          administration are required to contain an assessment of the safety and effectiveness of the
          product for the claimed indication(s) in pediatric patients unless this requirement is waived,
          deferred, or inapplicable.

          We are waiving the pediatric study requirement for pre-menarcheal patients because the use of
          this product before menarche is not indicated, and we have determined that you have fulfilled the
          pediatric study requirement for post-menarcheal patients.

          RISK EVALUATION AND MITIGATION STRATEGY REQUIREMENTS

          The REMS for Mifeprex (mifepristone) Tablets was originally approved on June 8, 2011. The
          REMS consisted of a Medication Guide, elements to assure safe use, an implementation system,
          and a timetable for submission of assessments of the REMS. Your proposed modifications to the
          REMS included revisions to both the prescriber and patient agreement forms.
          Other changes proposed in the efficacy supplement prompted additional revisions to the
          Mifeprex REMS materials. During review of this efficacy supplement, we also assessed the
          current REMS program to determine whether each Mifeprex REMS element remains necessary
          to ensure that the drug’s benefits outweigh the risks.

          After consultations between the Office of New Drugs (OND) and the Office of Surveillance and
          Epidemiology (OSE), we have determined that the approved REMS for Mifeprex should be
          modified to continue to ensure that the benefits of Mifeprex outweigh its risks and to minimize
          the burden on the healthcare delivery system of complying with the REMS. The REMS
          modifications submitted by you on March 29, 2016 are approved.

          We have determined that it is no longer necessary to include the Medication Guide as an element
          of the approved REMS to ensure that the benefits of Mifeprex outweigh its risks. The




Reference ID: 3909592
                                                                                        EX. 19 pg. 002
                                                                                             App. 0344
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          Page 3


          Medication Guide will continue to be part of the approved labeling in accordance with 21 CFR
          208. Like other labeling, Medication Guides are subject to the safety labeling change provisions
          of section 505(o)(4) of the FDCA.

          Your proposed modified REMS, submitted on July 17, 2015, and appended to this letter, is
          approved as amended. The modified REMS consists of elements to assure safe use (A, C and D),
          an implementation system, and a timetable for submission of assessments of the REMS.

          The timetable for submission of assessments of the REMS remains the same as that approved on
          June 8, 2011.

          The REMS assessment plan will include the information submitted to FDA on March 29, 2016.

          The revised REMS assessment plan must include, but is not limited to, the following:

          REMS Assessment Plan
            1. Number of prescribers enrolled (cumulative)
            2. Number of new prescribers enrolled during reporting period
            3. Number of prescribers ordering Mifeprex during reporting period
            4. Number of healthcare providers who attempted to order Mifeprex who were not enrolled;
               describe actions taken (during reporting period and cumulative).
            5. Number of women exposed to Mifeprex (during reporting period and cumulative)
            6. Summary and analysis of any program deviations and corrective action taken
            7. Based on the information reported, an assessment and analysis of whether the REMS is
               meeting its goals and whether modifications to the REMS are needed

          The requirements for assessments of an approved REMS under section 505-1(g)(3) include with
          respect to each goal included in the strategy, an assessment of the extent to which the approved
          strategy, including each element of the strategy, is meeting the goal or whether 1 or more such
          goals or such elements should be modified.

          We remind you that in addition to the REMS assessments submitted according to the timetable in
          the approved REMS, you must include an adequate rationale to support any proposed REMS
          modification for the addition, modification, or removal of any of goal or element of the REMS,
          as described in section 505-1(g)(4) of the FDCA.

          We also remind you that you must submit a REMS assessment when you submit any future
          supplemental application for a new indication for use as described in section 505-1(g)(2)(A) of
          the FDCA. This assessment should include:
               a) An evaluation of how the benefit-risk profile will or will not change with the new
                  indication;
               b) A determination of the implications of a change in the benefit-risk profile for the current
                  REMS;




Reference ID: 3909592
                                                                                          EX. 19 pg. 003
                                                                                               App. 0345
  Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                    Page 350 of 684 PageID 6108
          NDA 020687/S-020
          Page 4


               c) If the new indication for use introduces unexpected risks: A description of those risks
                  and an evaluation of whether those risks can be appropriately managed with the currently
                  approved REMS.
               d) If a REMS assessment was submitted in the 18 months prior to submission of the
                  supplemental application for a new indication for use: A statement about whether the
                  REMS was meeting its goals at the time of that the last assessment and if any
                  modifications of the REMS have been proposed since that assessment.
               e) If a REMS assessment has not been submitted in the 18 months prior to submission of the
                  supplemental application for a new indication for use: Provision of as many of the
                  currently listed assessment plan items as is feasible.
               f) If you propose a REMS modification based on a change in the benefit-risk profile or
                  because of the new indication of use, submit an adequate rationale to support the
                  modification, including: Provision of the reason(s) why the proposed REMS
                  modification is necessary, the potential effect on the serious risk(s) for which the REMS
                  was required, on patient access to the drug, and/or on the burden on the health care
                  delivery system; and other appropriate evidence or data to support the proposed change.
                  Additionally, include any changes to the assessment plan necessary to assess the
                  proposed modified REMS. If you are not proposing REMS modifications, provide a
                  rationale for why the REMS does not need to be modified.

          If the assessment instruments and methodology for your REMS assessments are not included in
          the REMS supporting document, or if you propose changes to the submitted assessment
          instruments or methodology, you should update the REMS supporting document to include
          specific assessment instrument and methodology information at least 90 days before the
          assessments will be conducted. Updates to the REMS supporting document may be included in a
          new document that references previous REMS supporting document submission(s) for
          unchanged portions. Alternatively, updates may be made by modifying the complete previous
          REMS supporting document, with all changes marked and highlighted. Prominently identify the
          submission containing the assessment instruments and methodology with the following wording
          in bold capital letters at the top of the first page of the submission:

                  NDA 020687 REMS CORRESPONDENCE
                  (insert concise description of content in bold capital letters, e.g.,
                  UPDATE TO REMS SUPPORTING DOCUMENT - ASSESSMENT
                  METHODOLOGY

          An authorized generic drug under this NDA must have an approved REMS prior to marketing.
          Should you decide to market, sell, or distribute an authorized generic drug under this NDA,
          contact us to discuss what will be required in the authorized generic drug REMS submission.

          We remind you that section 505-1(f)(8) of FDCA prohibits holders of an approved covered
          application with elements to assure safe use from using any element to block or delay approval
          of an application under section 505(b)(2) or (j). A violation of this provision in 505-1(f) could
          result in enforcement action.




Reference ID: 3909592
                                                                                         EX. 19 pg. 004
                                                                                              App. 0346
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          NDA 020687/S-020
          Page 5


          Prominently identify any submission containing the REMS assessments or proposed
          modifications of the REMS with the following wording in bold capital letters at the top of the
          first page of the submission as appropriate:

                  NDA 020687 REMS ASSESSMENT

                  NEW SUPPLEMENT FOR NDA 020687/S-000
                  CHANGES BEING EFFECTED IN 30 DAYS
                  PROPOSED MINOR REMS MODIFICATION

                                or

                  NEW SUPPLEMENT FOR NDA 020687/S-000
                  PRIOR APPROVAL SUPPLEMENT
                  PROPOSED MAJOR REMS MODIFICATION

                                or

                  NEW SUPPLEMENT FOR NDA 020687/S-000
                  PRIOR APPROVAL SUPPLEMENT
                    PROPOSED REMS MODIFICATIONS DUE TO SAFETY LABEL CHANGES
                    SUBMITTED IN SUPPLEMENT XXX

                                or

                  NEW SUPPLEMENT (NEW INDICATION FOR USE)
                    FOR NDA 020687/S-000
                           REMS ASSESSMENT
                           PROPOSED REMS MODIFICATION (if included)

          Should you choose to submit a REMS revision, prominently identify the submission containing
          the REMS revisions with the following wording in bold capital letters at the top of the first page
          of the submission:

                  REMS REVISIONS FOR NDA 020687

          To facilitate review of your submission, we request that you submit your proposed modified
          REMS and other REMS-related materials in Microsoft Word format. If certain documents, such
          as enrollment forms, are only in PDF format, they may be submitted as such, but the preference
          is to include as many as possible in Word format.

          If you do not submit electronically, please send 5 copies of REMS-related submissions.




Reference ID: 3909592
                                                                                         EX. 19 pg. 005
                                                                                              App. 0347
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                                                                 EX. 19 pg. 006
                                                                      App. 0348
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                        Page 7




                        ENCLOSURES:
                          Content of Labeling
                          REMS




              Reference ID: 3909592
                                                      EX. 19 pg. 007
                                                                       App. 0349
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     ---------------------------------------------------------------------------------------------------------
     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
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     /s/
     ----------------------------------------------------
                               (b) (6)


     03/29/2016




Reference ID: 3909592
                                                                                        EX. 19 pg. 008
                                                                                             App. 0350
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24   Page 355 of 684 PageID 6113




                 Exhibit 20
 FDA, Center for Drug Evaluation and Research,
    Summary Review of Application Number:
020687Orig1s020 (Mar. 29, 2016) (2016 Summary
                    Review)




                                                                      App. 0351
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24   Page 356 of 684 PageID 6114

   CENTER FOR DRUG EVALUATION AND
              RESEARCH

                    APPLICATION NUMBER:


                      020687Orig1s020

                  SUMMARY REVIEW




                                                              EX. 20 pg. 001
                                                                       App. 0352
   Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24           Page 357 of 684 PageID 6115




                            Summary Review for Regulatory Action

              Date                                March 29, 2016
              Subject                             Summary Review
              NDA #/Supplement #                  20687/S-020
              Applicant name                      Danco Laboratories, LLC
              Date of submission                  May 28, 2015
              Date of submission receipt          May 29, 2015
              PDUFA goal date                     March 29, 2016
              Proprietary name/established name   Mifeprex/mifepristone
              Dosage form/strength                Oral tablet/200 mg
              Dosage regimen                      Mifeprex 200 mg tablet orally followed in 24-48
                                                  hours by 800 mcg buccal misoprostol
              Proposed indication                 Mifeprex is a progestin antagonist indicated, in a
                                                  regimen with misoprostol, for the medical
                                                  termination of intrauterine pregnancy through 70
                                                  days gestation
              Action                              Approval




                                                     1
                                                                                       EX. 20 pg. 002
Reference ID: 3909594




                                                                                       App. 0353
   Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24               Page 358 of 684 PageID 6116
              1. Introduction
              2. Background
              3. CMC
              4. Nonclinical Pharmacology/Toxicology
              5. Clinical Pharmacology
              6. Clinical Microbiology
              7. Efficacy/Statistics
              8. Safety
              9. Advisory Committee Meeting
              10. Pediatrics
              11. Other Relevant Regulatory Issues
              12. Labeling
              13. Decision/Action/Risk Benefit Assessment

              1. Introduction

              Danco Laboratories, LLC, referred to hereafter as the Applicant, submitted an efficacy
              supplement (S-020) to NDA 20687 for Mifeprex (mifepristone). The Applicant sought
              the following changes to its approved application:
                  1.                                     Decrease mifepristone dose from 600 to 200 mg,
                                                 (b) (4)


                      followed by misoprostol at a dose increased from 400 mcg to 800 mcg,
                      administered buccally instead of orally; see below:
                      • Day One: Mifeprex Administration (oral)
                             One 200 mg tablet of Mifeprex is taken in a single oral dose
                      • After a 24-48 hour interval: Misoprostol Administration (buccal)(minimum
                          24-hour interval between Mifeprex and misoprostol)
                             Four 200 mcg tablets (total dose: 800 mcg) of misoprostol are taken by the
                             buccal route

                  2. Removal of the instruction that administration of misoprostol must be done in-
                      clinic, to allow for administration at home or other location convenient for the
                      woman
                  3. Administration of misoprostol at 24-48 hours instead of 48 hours after Mifeprex
                  4. Follow-up, although still needed, not restricted to in clinic at 14 days after
                      Mifeprex
                  5. Increase in the maximum gestational age from 49 days to 70 days
                  6. Change of the labeled time for expected expulsion of pregnancy from 4-24 hours
                      to 2-24 hours post misoprostol administration
                  7. Addition that a repeat 800 mcg buccal dose of misoprostol may be used if needed
                  8. Change of “physician” to “healthcare provider” in the label and Risk Evaluation
                      and Mitigation Strategies (REMS) document
                  9. Change in the indication statement to add reference to use of misoprostol:
                      “Mifeprex is indicated, in a regimen with misoprostol, for the medical termination
                      of pregnancy through 70 days gestation.”
                  10. Removal of references to “under Federal law” from the Prescriber’s Agreement
                      under the REMS


                                                          2
                                                                                           EX. 20 pg. 003
Reference ID: 3909594

                                                                                           App. 0354
   Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                 Page 359 of 684 PageID 6117
                  11. Labeling changes addressing the pediatric requirements under the Pediatric
                      Research Equity Act

              This efficacy supplement submission includes information from published studies, review
              articles and additional information from the authors of some of the publications. These
              published studies evaluated reproductive age women in the U.S. and outside the U.S. who
              had early medical termination with mifepristone, in a regimen with misoprostol,
              including women up through 70 days of gestation.

              This memorandum serves as the Division’s decisional memorandum for the efficacy
              supplement.

              2. Background

              The active ingredient of Mifeprex, mifepristone, is a progestin antagonist. Mifeprex, in a
              regimen with misoprostol, is approved for the medical termination of pregnancy up
              through 49 days’ gestation. The approved dosing regimen is currently labeled as follows:
                  • Day 1: The patient takes three 200 mg tablets of Mifeprex in a single oral dose in
                     the clinic, medical office, or hospital.
                  • Day 3: The patient returns to the clinic, medical office, or hospital and takes two
                     200 mcg tablets of misoprostol orally.
                  • Day 14: The patient returns for a follow-up visit to confirm that a complete
                     termination has occurred.

              At the time of the September, 2000 approval, FDA restricted distribution of Mifeprex
              under 21 CFR 314.520, requiring that Mifeprex be dispensed only by or under the
              supervision of a physician who meets certain qualifications. With the passage of
              FDAAA in 2007, Mifeprex was deemed to have in effect an approved REMS. The
              Applicant submitted a formal REMS, which was approved on June 8, 2011 and consisted
              of the following: a Medication Guide, elements to assure safe use (ETASU A [special
              certification of healthcare providers who prescribe Mifeprex], ETASU C [dispensing
              only in certain healthcare settings], and ETASU D [safe use condition of a signed Patient
              Agreement]), an implementation system and a timetable for assessments. The goals of the
              REMS were 1) To provide information to patients about the benefits and risks of
              Mifeprex before they make a decision whether to take the drug and 2) To minimize the
              risk of serious complications by requiring prescribers to certify that they are qualified to
              prescribe Mifeprex and are able to assure patient access to appropriate medical facilities
              to manage any complications. The REMS for Mifeprex incorporated the restrictions
              under which the drug was originally approved.

              Since 2011, the Applicant has submitted two REMS assessment reports. The Agency
              review of these reports determined that the REMS goals were being met and that no
              modifications were required to the REMS at that time.




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              FDA held a pre-NDA meeting with the Applicant on January 29, 2015, to discuss
              proposed labeling and REMS changes to be submitted in this efficacy supplement. These
              changes were submitted with the efficacy supplement.

              The Applicant submitted published literature and supportive information to support
              changes to the dose, dosing regimen, gestational age, revisions to labeling, modifications
              to the REMS document, and to address PREA requirements. The Agency accepts the use
              of peer reviewed literature as primary data for an application under the framework of a
              505(b)(2) application.

              3. CMC

              No new CMC information was submitted with this efficacy supplement. The CMC team
              determined no additional review or inspections were required. The CMC team completed
              a review of the labeling and found the CMC sections of labeling (sections 3, 11 and 16)
              acceptable (See review dated March 29, 2016). The CMC review team recommends
              approval of the efficacy supplement; refer also to the CMC review of the separate
              supplement proposing a single tablet blister pack for Mifeprex, dated January 11, 2016.
              There are no outstanding CMC issues or postmarketing commitments or requirements.

              Comment: On March 10, 2016, a separate CMC supplement was approved that allowed
              the packaging of individual 200 mg tablets of mifepristone; previously packaging
              consisted of three 200 mg tablets per blister pack (a total of 600 mg Mifeprex as
              administered under the originally approved dosing regimen).

              4. Nonclinical Pharmacology/Toxicology

              No new nonclinical information was submitted in this supplement. The
              Pharmacology/Toxicology team revised labeling to conform to the Pregnancy and
              Lactation Labeling Rule. There are no outstanding nonclinical issues. The
              Pharmacology/Toxicology review team recommends approval of the efficacy
              supplement; refer to the Pharmacology/Toxicology review dated March 4, 2016.

              5. Clinical Pharmacology

              The Applicant did not conduct any new clinical pharmacology studies pertaining to the
              proposed                  regimen, but provided information on pharmacokinetics (PK) of
                                (b) (4)


              misoprostol following various routes of administration. The PK of the 200 mg Mifeprex
              tablet has not been characterized in women, but data are available in men and were
              submitted in the original NDA. The Clinical Pharmacology review team determined that
              the PK data were appropriate for inclusion in labeling. Review of the labeling pertinent
              to the Clinical Pharmacology sections is complete and labeling relevant to
              pharmacokinetics and pharmacodynamics is acceptable. There are no outstanding
              Clinical Pharmacology issues or postmarketing commitments or requirements. The
              clinical pharmacology review team recommends approval of the efficacy supplement;
              refer to the Clinical Pharmacology review dated March 29, 2016.



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              6. Clinical Microbiology

              Not applicable.

              7. Efficacy/Statistics

              The Applicant submitted published literature as the primary evidence to support the
              efficacy (and safety) of the proposed dosing regimen (refer to the Clinical Review dated
              March 29, 2016, Section 9.5 for a list of submitted references). Most published articles
              submitted by the Applicant and reviewed by the clinical review team reported the
              primary efficacy endpoint as complete termination of pregnancy without further medical
              or surgical intervention; the Division considers this to be a clinically relevant endpoint.

              The majority of the publications included a statement that the study was conducted under
              institutional review board (IRB) or Ethical Review Committee approval and the women
              gave informed consent. The clinical review team concluded that the published literature
              was adequate as the primary information source to support the changes proposed in the
              efficacy supplement. During the course of the review, the team also requested and
              received more detailed information from select publications from their authors via
              communication with the Applicant.

              Although there were slight demographic differences among the published studies from
              the database, these differences were not expected to alter the efficacy or safety of
              Mifeprex. Therefore, for the majority of the proposed efficacy changes, the clinical team
              assessed efficacy information from a subset of publications that evaluated a given
              proposed change. An independent statistical review was not needed for this review of
              published literature.

              The clinical review team identified several major proposed clinical changes in the
              efficacy supplement. As these major changes are interrelated, in some cases data from a
              given study were relied on to provide evidence to support multiple changes. These major
              changes as considered by the clinical team included:
                  1. A proposed dosing regimen consisting of mifepristone 200 mg orally followed by
                      the buccal administration of 800 mcg misoprostol including:
                          a. Use of a revised interval between mifepristone and misoprostol from 48
                              hours to 24-48 hours
                          b. Allowing home administration of misoprostol
                          c. Use of an additional dose of misoprostol
                  2. Support for extending the gestation age through 70 days
                  3. Flexibility in follow-up visit: follow-up is needed in the range of 7-14 days after
                      Mifeprex administration; the specific nature and exact timing of the follow-up to
                      be agreed upon by the healthcare provider and patient.
                  4. Change in who can provide Mifeprex from physician to healthcare provider who
                      prescribes




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              The following section summarizes the clinical review team’s evaluations that supported
              the above proposed changes:

                  1. Support for the proposed dose and dosing regimen of 200 mg of Mifeprex orally
                     and 800 mcg of misoprostol buccally 24-48 hours after Mifeprex administration:
                     The clinical review team reviewed the submission and identified studies and
                     review articles that evaluated over 35,000 women who were treated with efficacy
                     in the 91-98% range. For additional details on the efficacy from these studies,
                     please refer to Section 6 of the Clinical Review.

                  2. Support for extending the gestational age to 70 days:
                     The Applicant submitted a number of published articles and systematic reviews
                     that supported the proposed dose and dosing regimen. Four studies and one
                     systematic review evaluated the exact proposed dosing regimen through 70 days
                     gestation. These include three prospective observational studies (Winikoff et al
                     2012 1, Boersma et al 2 , Sanhueza Smith et al 3) and one randomized controlled
                     trial (RCT) (Olavarrieta et al 4) that had a primary objective of evaluating medical
                     abortion provision by non-physicians. The systematic review by Chen and
                     Creinin 5 covered 20 studies including over 30,000 women; all but one of the
                     studies used the proposed regimen in gestations through 70 days (the remaining
                     study used 400 mcg of buccal misoprostol). For those publications that provided
                     overall success rates, these were in the range of 97-98%. Other relevant
                     publications include the systematic review by Raymond 6 of 87 studies, which
                     covered a variety of misoprostol doses and routes of administration used with 200
                     mg of mifepristone. Assessing the efficacy by misoprostol dose, the paper noted
                     that doses ≥ 800 mcg had a success rate of 96.8%, with an ongoing pregnancy rate
                     of 0.7%.




              1
                Winikoff B, Dzuba IG, Chong E, et al. Extending outpatient medical abortion services through 70 days of
              gestational age. Obstet Gynecol 2012; 120: 1070-6
              2
                Boersma AA, Meyboom-de Jong B, Kleiverda G. Mifepristone followed by home administration of
              buccal misoprostol for medical abortion up to 70 days of amenorrhoea in a general practice in Curacao. Eur
              J Contracept Reprod Health Care 2011; 16: 61-6
              3
                 Sanhueza Smith P, Pena M, Dzuba IG, et al. Safety, efficacy and acceptability of outpatient
              mifepristone-misoprostol medical abortion through 70 days since last menstrual period in public sector
              facilities in Mexico City. Reprod Health Matters 2015; 22: 75-82
              4
                Olavarrieta CD, Ganatra B, Sorhaindo A, Karver TS, Seuc A, Villalobos A, Garcia SG, Pérez M,
              Bousieguez M, Sanhueza P. Nurse versus physician-provision of early medical abortion in Mexico: a
              randomized controlled non-inferiority trial. Bull World Health Organ 2015; 93: 249-258
              5
                Chen MJ, Creinin MD. Mifepristone with Buccal Misoprostol for Medical Abortion Obstet Gynecol: a
              Systematic Review. Obstet Gynecol 2015; 126(1): 12-21
              6
                Raymond EG & Grimes DA. The comparative safety of legal induced abortion and childbirth in the
              United States. Obstet Gynecol 2012; 119: 215-9


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                        The original dosing regimen specifies taking misoprostol 2 days after Mifeprex.
                        This efficacy supplement proposes a more flexible time frame of 24 to 48 hours
                        between Mifeprex and misoprostol administration. Data from a review article by
                        Wedisinghe et al 7 evaluated different time intervals using administration of
                        misoprostol after Mifeprex. A meta-analysis of all five studies found a non-
                        significant odds ratio for failure for shorter vs. longer dosing intervals, but a trend
                        for lower success if a dosing interval < 8 hours is used. Chen & Creinin’s
                        systematic review 8 of 20 studies including over 33,000 women, all but one using
                        the proposed regimen, compared the success of dosing intervals of 24 hours with
                        intervals ranging from 24-48 hours. The success rate in six studies that used a 24-
                        hour interval through 63 days gestation was 94.2%, compared to the rate of 96.8%
                        in 14 studies that used a 24-48 hour interval, and this difference was statistically
                        significant. The clinical team concluded that the efficacy of the revised dosing
                        regimen was not compromised by revising the dosing interval to 24-48 hours. In
                        addition, they noted that the overall rate of ongoing pregnancies did not differ
                        significantly by dosing interval.

                  3. Administration of misoprostol after Mifeprex administration at home: Currently,
                     the dosing regimen specifies that misoprostol is taken in the clinic setting
                     following Mifeprex administration. No specific publication evaluated treatment
                     outcomes with use of misoprostol at home compared to in-clinic dosing.
                     However, one large literature review (Raymond et al 9) evaluated a variety of
                     mifepristone treatment regimens with different misoprostol doses, routes of
                     administration and dosing intervals used in gestations through 63 days. Roughly
                     half of the studies included in this review did not require women to take
                     misoprostol in-clinic. Rates of treatment failure and of ongoing pregnancy were
                     very similar regardless of whether misoprostol was taken in-clinic or at another
                     location. The clinical review team concluded that the review provided sufficient
                     data to support labeling that misoprostol does not need to be restricted to in-clinic
                     administration.

                  4. Use of a repeat misoprostol dose, if necessary: The Applicant submitted several
                     published studies that supported use of a repeat misoprostol dose, when complete
                     uterine expulsion did not occur after the initial misoprostol dose following
                     Mifeprex. In clinical practice, the usual treatment for incomplete expulsion
                     (retained products of conception) may include either a repeat dose of misoprostol,
                     expectant management or a surgical procedure (suction aspiration or a dilation
                     and curettage). Studies that specifically report the success rate of a repeat dose of
                     misoprostol are:

              7
                Wedisinghe L and Elsandabesee D. Flexible mifepristone and misoprostol administration interval for
              first-trimester medical termination. Contraception 2010; 81(4): 269-74. doi: 10.1016/
              j.contraception.2009.09.007. Epub Oct 29, 2009
              8
                Creinin MD, Fox MC, Teal S, Chen A, Schaff EA, Meyn LA. MOD Study Trial Group: A randomized
              comparison of misoprostol 6-8 hours versus 24 hours after mifepristone for abortion. Obstet Gynecol 2004;
              103: 851-859
              9
                Raymond EG & Grimes DA. The comparative safety of legal induced abortion and childbirth in the
              United States. Obstet Gynecol 2012; 119: 215-9


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                        •   Winikoff et al 10 – studied the proposed regimen through 70 days gestation; of
                            the few women who received a second dose for an incomplete abortion at
                            follow-up, the success rate was 91% at 57-63 days and 67% at 64-70 days.
                        •   Chen and Creinin 11 – a systematic review of 20 studies, all but one of which
                            used the proposed regimen up through 70 days; success of a second dose
                            ranged from 91-100%
                        •   Boersma et al 12 – included pregnancies through 70 days treated with the
                            proposed regimen; five of 330 women took a second dose due to absence of
                            bleeding 48 hours after first dose; the success rate was 80%
                        •   Louie et al 13 – studied the proposed regimen to 63 days; in 16 women (of
                            863) who took a second dose of misoprostol, the success rate was 100%
                        •   Chong et al 14 – compared the proposed regimen to a lower dose of
                            misoprostol; the success of a second dose of misoprostol was 92% overall, but
                            the number of women in each dose arm getting a second dose was not
                            specified.
                        •   Winikoff et al 15 – 14 women in the proposed regimen took a second dose of
                            misoprostol with a success rate of 92.9%.

                        Using the information from the above studies and other supportive data, the
                        clinical team concluded that the available data support the efficacy of a repeat
                        dose of misoprostol if complete expulsion has not occurred. The relatively high
                        complete pregnancy termination rates indicate that this option is likely to reduce
                        the need for a surgical intervention.

                   5. Requirements regarding follow-up care: Current labeling states that women will
                      return to the clinic 14 days after Mifeprex administration for follow-up. This
                      provision was based on the follow up regimen in the U.S. phase 3 trial that
                      supported the initial approval in 2000. Although the Applicant submitted several
                      studies that evaluated flexibility in the time of follow-up, the key publication
                      identified by the review team that addressed this issue was a 2013 article by


              10
                 Winikoff B, Dzuba IG, Chong E, et al. Extending outpatient medical abortion services through 70 days
              of gestational age. Obstet Gynecol 2012; 120: 1070-6
              11
                 Creinin MD, Fox MC, Teal S, Chen A, Schaff EA, Meyn LA. MOD Study Trial Group: A randomized
              comparison of misoprostol 6-8 hours versus 24 hours after mifepristone for abortion. Obstet Gynecol 2004;
              103: 851-859
              12
                 Boersma AA, Meyboom-de Jong B, Kleiverda G. Mifepristone followed by home administration of
              buccal misoprostol for medical abortion up to 70 days of amenorrhoea in a general practice in Curacao. Eur
              J Contracept Reprod Health Care 2011; 16: 61-6
              13
                 Louie KS, Tsereteli T, Chong E, Ailyeva F, Rzayeva G, Winikoff B. Acceptability and feasibility of
              mifepristone medical abortion in the early first trimester in Azerbaijan. Eur J Contracept Reprod Health
              Care 2014; 19(6): 457-464
              14
                 Chong E, Tsereteli T, Nguyen NN, Winikoff B. A randomized controlled trial of different buccal
              misoprostol doses in mifepristone medical abortion. Contraception 2012; 86: 251-256
              15
                 Winikoff B, Dzuba IG, Creinin MD, Crowden WA, Goldberg AB, Gonzales J, Howe M, Moskowitz J,
              Prine L, Shannon CS. Two distinct oral routes of misoprostol in mifepristone medical abortion: a
              randomized controlled trial. Obstet Gynecol 2008; 112(6): 1303-1310



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              8. Safety

              The safety of the proposed dosing regimen for Mifeprex was supported by the evidence
              from submitted published literature and postmarketing experience. The focus of the
              safety analysis was on published studies that evaluated the proposed dosing regimen
              (Mifeprex 200 mg followed by 800 mcg misoprostol buccally 24-48 hours later), with
              comparison to the known safety profile of the currently approved dosing regimen.

              Exposure: Per the Applicant’s submission, the clinical review concluded that there have
              been approximately 2.5 million uses of Mifeprex by U.S. women since the drug’s
              approval in 2000. The clinical review team estimated that exposure to the proposed
              dosing regimen for their safety analysis was based on approximately 30,000 patients
              (refer to Table 11 for a list of references used to evaluate safety). Such exposure volume
              is sufficient to characterize the safety profile of the proposed dosing regimen and other
              proposed changes in this efficacy supplement.

              Deaths: Deaths with medical abortion rarely occur and causality can be difficult to
              determine. Most of the publications did not specifically report any deaths with medical
              abortion with Mifeprex. Among the seven U.S. studies submitted to support the safety
              profile of Mifeprex and misoprostol, only one (Grossman, et al 18) explicitly addressed
              deaths and noted that there were no deaths among 578 subjects evaluated in the study.
              Only one observational study (Goldstone, et al 19) from Australia contained a report of a
              death after a mifepristone and misoprostol dosing regimen. In this retrospective review of
              13,345 pregnancy terminations, the authors identified one death from sepsis. The article
              stated that the death was in an individual who failed to follow-up with her healthcare
              provider despite showing signs of illness. Based on this information, deaths in association
              with abortion are extremely rare.

              Deaths reported from the postmarketing experience of Mifeprex are summarized below in
              the Postmarketing Experience section.

              Nonfatal serious adverse events: The clinical review team identified key nonfatal serious
              adverse events (SAEs) associated with the proposed dosing regimen for Mifeprex. These
              SAEs include: hospitalization, serious infection, bleeding requiring transfusion and
              ectopic pregnancy. Section 7 of the clinical review dated March 29, 2016, provides a
              detailed discussion of reported rates of hospitalization, serious infection, bleeding
              requiring transfusion and ectopic pregnancy. The latter is not an adverse reaction
              because an ectopic pregnancy would exist prior to the Mifeprex regimen; it represents
              instead a failure to diagnose an ectopic pregnancy. Overall rates identified by the clinical
              review team from the published literature are as follows:
                  • Hospitalization: 0.04-0.6% in U.S. studies of over 14,000 women; 0-0.7% in
                      international studies of over 1,200 women

              18
                 Grossman D, Grindlay K, Buchacker T, Lane K, Blanchard K. Effectivenesss and acceptability of
              medical abortion provided thorugh telemedicine. Obstet Gynecol 2011;118:296-303.
              19
                 Goldstone P, Michelson J, Williamson E. Early medical abortion using low-dose mifepristone followed
              by buccal misoprostol: A large Australian observational study. Med J Austral 2012; 197: 282-6.


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                   •    Serious infection/sepsis: 0-0.2% in U.S. and international studies of over 12,000
                        women
                   •    Transfusion: 0.03-0.5% in U.S. studies of over 17,000 women; 0-0.1% in
                        international studies of over 12,000 women

              A study by Upadhyay et al 20 reported a 0.31% rate of major complications (including
              incomplete or failed abortion, hemorrhage, infection or uterine perforation that required
              hospitalization, surgery or transfusion) for medical abortions (dosing regimen
              unspecified) through 63 days; this was about double the rate reported for first trimester
              aspiration abortions and statistically significantly higher. However, these rates were
              driven by higher rates of incomplete/failed abortion; rates of hemorrhage (0.14%) and
              infection (0.23%) did not differ from those associated with aspirations.

              Only one submitted study reported an ectopic pregnancy. This study (Winikoff et al 21)
              reported one ectopic among 847 women (0.12%).

              Comment: The proposed dosing regimen has been studied extensively in the literature
              using U.S. and global sites. Serious adverse events including deaths, hospitalization,
              serious infections, bleeding requiring transfusion and ectopic pregnancy are rarely
              reported. The rates of these serious adverse events are well below 1% and do not suggest
              a safety profile different from the original approved Mifeprex dosing regimen. Although
              there is less serious adverse event data on women who received Mifeprex and
              misoprostol between 64-70 days of gestation, the data from a U.S. study of 379 women
              (Winikoff et al) 22 in that gestational age is reassuring that the rates of these serious
              adverse events are not clinically different from that of other gestational age ranges.

              In summary, based on the published literature, nonfatal serious adverse events occur with
              Mifeprex and misoprostol use with rates generally less than 1%. Increased gestational
              age (64-70 weeks) was not associated with an increased incidence of nonfatal SAEs.
              Other submission- specific safety issues that were evaluated including uterine rupture and
              angioedema/anaphylaxis are discussed in the Postmarketing Experience section below.

              Loss to follow-up: The studies included in this safety review revealed a wide range of
              loss to follow-up, from 0.6% loss to follow-up in the study with telephone follow-up
              (Ngoc et al 23) to 22% in the Grossman et al 24 study using telemedicine to deliver medical


              20
                 Upadhyay UD, Desai S, Lidar V, Waits TA, Grossman D, Anderson P, Taylor D. Incidence of emergency
              department visits and complications after abortion. Obstet Gynecol 2015;125(1):175-183.
              21
                 Winikoff B, Dzuba IG, Creinin MD, Crowden WA, Goldberg AB, Gonzales J, Howe M, Moskowitz J,
              Prine L, Shannon CS. Two distinct oral routes of misoprostol in mifepristone medical abortion: a
              randomized controlled trial. Obstet Gynecol 2008;112(6):1303-1310.
              22
                 Winikoff B, Dzuba IG, Chong E, et al. Extending outpatient medical abortion services through 70 days of
              gestational age. Obstet Gynecol 2012;120:1070-6.
              23
                 Ngoc NTN, et al. Acceptability and feasibility of phone follow-up after early medical abortion in
              Vietnam: A randomized controlled trial. Obstet Gynecol 2014;123:88-95.
              24
                 Grossman D, Grindlay K, Buchacker T, Lane K, Blanchard K. Effectivenesss and acceptability of
              medical abortion provided thorugh telemedicine. Obstet Gynecol 2011;118:296-303.


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              abortion services.

              Comment: Based on these data reviewed by the clinical review team, there is no literature
              that suggests that follow-up modality alters safety. Therefore, labeling will not be
              directive regarding follow-up; that will be a decision left to the patient and provider.

              Common adverse events: The clinical review team evaluated common adverse reaction
              data and compared U.S. and global study locations. The comparison revealed that there
              were differences in the frequency of common adverse reactions, with the reporting rates
              considerably higher among the U.S. studies. There is no reason to anticipate regional
              differences in the safety profile for the same treatment regimen, so these differences
              likely reflect lower ascertainment or subject reporting of adverse reactions in non-U.S.
              studies. Regardless, inclusion of this non-U.S. data in labeling would not be appropriate,
              as it is unlikely to be informative to the U.S. population of users. The data to be reported
              in labeling is outlined in Table 1 below:

              Table 1: Common Adverse Events (≥ 15%) in U.S. Studies of the Proposed Dosing Regimen
              Adverse             # U.S.         Number of                  Range of                Upper Gestational Age of
              Reaction            studies        Evaluable Women            frequency (%)           Studies Reporting Outcome
              Nausea              3              1,248                      51-75%                  70 days
              Weakness            2              630                        55-58%                  63 days
              Fever/chills        1              414                        48%                     63 days
              Vomiting            3              1,248                      37-48%                  70 days
              Headache            2              630                        41-44%                  63 days
              Diarrhea            3              1,248                      18-43%                  70 days
              Dizziness           2              630                        39-41%                  63 days
              Source: Data from Middleton 25, Winikoff 26 and Winikoff 27 as outlined in Table 2 of the CDTL review dated March
              29, 2016.

              One concerning adverse event is severe vaginal bleeding. Severe vaginal bleeding can
              result in interventions such as hospitalization and transfusion and may be associated with
              infection. The overall rate of bleeding across publications varied between 0.5% and 4.2%.
              Two publications (Sanhueza Smith et al 28 and Gatter et al 29) evaluated clinically
              significant bleeding by gestational age. Although the publications reported slightly
              different rates, there was no trend of increased bleeding requiring intervention with
              Mifeprex and misoprostol use with increasing gestational age.


              25
                 Middleton T, et al. Randomized trial of mifepristone and buccal or vaginal misoprostol for abortion
              through 56 days of last menstrual period. Contraception 2005; 72: 328-32
              26
                 Winikoff B, Dzuba IG, Chong E, et al. Extending outpatient medical abortion services through 70 days
              of gestational age. Obstet Gynecol 2012; 120: 1070-6
              27
                 Winikoff B, Dzuba IG, Creinin MD, Crowden WA, Goldberg AB, Gonzales J, Howe M, Moskowitz J,
              Prine L, Shannon CS. Two distinct oral routes of misoprostol in mifepristone medical abortion: a
              randomized controlled trial. Obstet Gynecol 2008; 112(6): 1303-1310
              28
                 Sanhueza Smith P, Pena M, Dzuba IG, et al. Safety, efficacy and acceptability of outpatient mifepristone-
              misoprostol medical abortion through 70 days since last menstrual period in public sector facilities in
              Mexico City. Reprod Health Matters 2015;22:75-82.
              29
                 Gatter M, Cleland K, Nucatola DL. Efficacy and safety of medical abortion using mifepristone and buccal
              misoprostol through 63 days. Contraception 2015; 91:269-273.


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                   To evaluate each of these changes, the reviewers evaluated the adverse event
                   information regarding:
                   • Changing the timing interval between Mifeprex and misoprostol and change in
                       the gestational age to 70 days: Support for the 24-48 hour interval and use up
                       through 70 days was primarily based on a large systematic review by Shaw et
                       al 33. This review evaluated studies looking at different follow-up modalities and
                       demonstrated that there are a variety of acceptable alternatives to in-clinic follow-
                       up that can identify cases in which there is need for additional intervention. In
                       addition, the systematic review did not identify any significant difference in
                       adverse events with different time intervals. Based on these findings, labeling
                       will not be directive regarding specific details of how follow-up should be
                       performed; this will be a decision between the patient and her healthcare provider.

                   •    Home administration of misoprostol: The Applicant supplied several published
                        studies that supported this change including Gatter et al 34 and Ireland et al 35.
                        These studies reported on large numbers of women in the U.S. who took
                        misoprostol at home. The authors showed that home administration of
                        misoprostol, as part of the proposed regimen, is associated with exceedingly low
                        rates of serious adverse events, and with rates of common adverse events
                        comparable to those in the studies of clinic administration of misoprostol that
                        supported the initial approval in 2000. Given that information is available on
                        approximately 45,000 women from the published literature, half of which
                        incorporated home use of misoprostol, there is no clinical reason to restrict the
                        location in which misoprostol may be taken. Given the fact that the onset of
                        cramping and bleeding occurs rapidly (i.e., generally within 2 hours) after
                        misoprostol dosing, allowing dosing at home increases the chance that the woman
                        will be in an appropriate and safe location when the process begins.

                   •    Use of a repeat dose of misoprostol: Safety reporting from studies that evaluated
                        a repeat dose of misoprostol did not specifically assess the subset of women who
                        received a second dose, but no unexpected findings were identified. One
                        randomized controlled trial (Coyaji et al 36) conducted in 300 women seeking
                        medical abortion in India looked at a single misoprostol dose as compared to two
                        misoprostol doses. Although there was no difference in the complete pregnancy
                        termination rate in women who received a second misoprostol dose compared to
                        those who did not, the repeat misoprostol dose reduced the need for surgical
                        intervention. This study was reassuring in that there was no significant difference
                        in the adverse events observed—similar percentages of women experienced

              33
                  Shaw KA, Topp NJ, Shaw JG, Blumenthal PB. Mifepristone-misoprostol dosing interval and effect on
              induction abortion times. Obstet Gynecol 2013;121(6):1335-1347.
              34
                  Gatter M, Cleland K, Nucatola DL. Efficacy and safety of medical abortion using mifepristone and
              buccal misoprostol through 63 days. Contraception 2015; 91:269-273.
              35
                 Ireland LD, Gatter M, Chen AY. Medical compared with surgical abortion for effective pregnancy
              termination in the first trimester. Obstet Gynecol 2015;126:22-8.
              36
                  Coyaji K, Krishna U, Ambardekar S, Bracken H, Raote V, Mandlekar A, Winikoff B. Are two doses of
              misoprostol after mifepristone for early abortion better than one? BJOG 2007;114:271-278.


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                        cramping (87% in the single dose group, 89% in the repeat dose group), nausea
                        (both groups 1%), vomiting (both groups 0%), and diarrhea (0% in the single dose
                        group versus 2% in the repeat dose group). A supportive systematic review by
                        Gallo et al 37 also provided safety information on subjects who received repeat
                        misoprostol. In this review, the only side effects discussed in the trials were
                        diarrhea, which was more common on those groups receiving misoprostol orally
                        than in those receiving it exclusively vaginally (26-27% versus 9%). Rash was
                        reported <1%. Based on these findings, labeling will be changed because the
                        misoprostol dose does not need to be restricted to in clinic administration to
                        assure safe pregnancy termination using the proposed dosing regimen. Given the
                        onset of bleeding and cramping after misoprostol, allowing home administration
                        increases the likelihood that a woman will be in an appropriate and safe location
                        when the pregnancy termination process begins.

                   •    Change in the follow-up timeframe and method of follow-up: The Applicant
                        submitted several articles that described different methodologies in follow-up
                        including phone calls and standardized instructions. The clinical reviewers
                        evaluated a study in Scotland by Cameron et al 38 that evaluated self-assessment as
                        compared to standard follow-up methodologies (clinic visit or phone call). Most
                        of the women chose self-assessment over an in-clinic visit or phone call, and there
                        were no significant differences in adverse outcomes between women who
                        underwent self-assessment of health compared to those who had a clinic visit or
                        phone call. Among women with an ongoing pregnancy after Mifeprex and
                        misoprostol, the majority self-identified and presented within two-weeks for care.
                        Based on this information and the other data from the Raymond systematic
                        article 39 that did not identify a difference in failure rate for earlier (less than one
                        week) as compared to one week or greater of follow-up, sufficient support was
                        provided to use a broadened window of 7 to 14 days for follow-up. This revised
                        follow-up time frame will be included in labeling.

                   •    Allowing providers other than physicians to provide Mifeprex: The current
                        Prescriber’s Agreement in the REMS specifies that “…Mifeprex must be
                        provided by or under the supervision of a physician who meets the following
                        qualifications…” In addition, current labeling states that Mifeprex will be
                        supplied only to licensed physicians who sign and return a Prescriber’s
                        Agreement. However, labeling states that other healthcare providers, acting under
                        the supervision of a qualified physician, may also provide Mifeprex to patients.
                        Several published studies submitted by the Applicant indicate that health care
                        providers such as nurse practitioners, nurse midwives, and physician assistants are


              37
                 Gallo MF, Cahill S, Castelman L, Mitchell EMH. A systematic review of more than one dose of
              misoprostol after mifepristone for abortion up to 10 weeks gestation. Contraception 2006;74:36-41.
              38
                 Cameron ST, Glasier A, Johnstone A, Dewart H, Campbell A. Can women determine the success of early
              medical termination of pregnancy themselves? Contraception 2015;91:6-11.
              39
                 Raymond EG & Grimes DA. The comparative safety of legal induced abortion and childbirth in the
              United States. Obstet Gynecol 2012; 119: 215-9


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                        currently providing abortion services. One of these studies (Kopp Kallner et al 40 )
                        was a randomized controlled trial of 1,068 women in Sweden who were
                        randomized to receive medical abortion care from two nurse midwives
                        experienced in medical terminations and trained in early pregnancy ultrasound
                        versus a group of 34 physicians with varying training and experience. Success
                        rates were ≥ 96% regardless of gestational age. The nurse midwife group had few
                        complications, though this was not statistically significant (4.1% for nurse
                        midwives, versus 6.1% for doctors, p=0.14). No serious complications were
                        reported and no blood transfusions were administered in the study. Based on this
                        and other supportive studies, the information supports the efficacy and safety of
                        allowing healthcare providers other than physicians can effectively and safely
                        provide abortion services, provided that they meet the requirements for
                        certification described in the REMS. The clinical team also felt that the term
                        “healthcare provider who prescribes” would be the appropriate terminology as
                        prescribing ability is a critical factor in dispensing Mifeprex.

              The clinical review team concluded that the evidence demonstrated acceptable safety for
              each of the above proposed changes, and I concur with their conclusion. The proposed
              dosing regimen has a similar safety profile as the original regimen approved in 2000.
              Adverse outcomes of interest, such as deaths, serious infection, transfusions, ectopic
              pregnancies and uterine rupture, remain rare, and are not necessarily attributable to
              Mifeprex use. Overall, the rate of deaths and nonfatal serious adverse events are
              acceptably low, and data for the proposed regimen do not suggest a safety profile that
              deviates from that of the originally approved regimen No association between adverse
              outcomes and increasing gestational age was identified. Finally, the available information
              supports the safety of the other proposed changes, including increasing the flexibility of
              the time interval between Mifeprex and misoprostol, at home use of misoprostol, use of a
              repeat dose of misoprostol, change in the follow-up timeframe and allowing health care
              providers other than physicians to prescribe and dispense Mifeprex were acceptable.

              9. Advisory Committee Meeting

              Mifeprex is not a new molecular entity requiring discussion before an advisory
              committee. In addition, an advisory committee was not necessary as the application did
              not raise complex scientific or other issues that would warrant holding an AC before
              approval.

              10. Pediatrics

              This efficacy supplement triggered requirements under the Pediatric Research Equity Act
              (PREA). The Agency granted a partial PREA waiver for pre-menarcheal females ages
              birth to 12 years because it would be impossible to conduct studies in this pediatric
              population, as pregnancy does not exist in premenarcheal females.

              40
                Kopp Kallner H, Fiala C, Stephansson O, Gemzell-Danielsson K. Home self-administration of vaginal
              misoprostol for medical abortion at 50-63 days compared with gestation of below 50 days. Human Reprod
              2010;25(5):1153-1157.


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              The Applicant fulfilled the remaining PREA requirement in postmenarcheal females by
              submitting published studies of Mifeprex for pregnancy termination in postmenarcheal
              females less than 17 years old. Efficacy and safety information in these adolescents was
              based on a U.S. study in 322 postmenarcheal adolescents (Gatter et al 41). Of the 322
              adolescents, 106 of these adolescents were under 16; see Table 2 below:

              Table 2: Age and Number of Adolescents Undergoing Medical Abortion (Gatter et al 42)
                   Age of Subject         Number of Subjects
                                             evaluated
                        11                        1
                        12                        1
                        13                        2
                        14                       20
                        15                       82
                        16                      216
              Source: Refer to Table 17 of the Medical Officer’s review dated March 29, 2016

              The Gatter et al 43 study reported that postmenarchal females less than 18 years old had a
              98.7% pregnancy termination rate as compared to females aged 18-24, who had a rate of
              98.1%. This article reported that loss to follow-up was slightly higher in those less than
              18 years old, however, age did not adversely impact efficacy outcomes.

              One issue was whether adolescents would comply with at home use of misoprostol. The
              Gatter 44 et al study incorporated at home use of misoprostol into the Mifeprex dose
              regimen given to all females, including postmenarchal females less than 18 years old.
              The overall efficacy in adolescents was similar to that of all older women. This
              information supports at home administration of misoprostol in postmenarchal females
              under 17.

              Two other published studies provided additional efficacy on Mifeprex use by adolescents
              for pregnancy termination:
                   • Phelps et al 45 evaluated data from 28 adolescents aged 14 to 17, at ≤ 56 days
                      gestation, using Mifeprex 200 mg followed 48 hours later by misoprostol 800
                      mcg vaginally. In this study, 100% of subjects had a complete pregnancy
                      termination, with five not requiring misoprostol.




              41
                 Gatter M, Cleland K, Nucatola DL. Efficacy and safety of medical abortion using mifepristone and buccal
              misoprostol through 63 days. Contraception 2015; 91:269-273.
              42
                 Ibid.
              43
                 Gatter M, Cleland K, Nucatola DL. Efficacy and safety of medical abortion using mifepristone and buccal
              misoprostol through 63 days. Contraception 2015; 91:269-273.
              44
                 Gatter M, Cleland K, Nucatola DL. Efficacy and safety of medical abortion using mifepristone and buccal
              misoprostol through 63 days. Contraception 2015; 91:269-273.
              45
                 Phelps RH, et al. Mifepristone abortion in minors. Contraception 2001;64:339-343.


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              The        concurred with use of the term “healthcare providers who prescribe.” To
                    (b) (6)


              support a change in the REMS that would allow qualified healthcare providers other than
              physicians to prescribe Mifeprex through the Mifeprex REMS program, the Applicant
              provided information from over 3,200 women in randomized controlled trials and 596
              women in prospective cohort studies comparing medical abortion care by physicians
              versus other providers (nurses or nurse midwives). These studies were conducted in a
              variety of settings (international, urban, rural, and low-resource). No differences in
              serious adverse events, ongoing pregnancy or incomplete abortion were identified
              between the groups. Given that providers other than physicians are providing family
              planning and abortion care under supervision and that the approved labeling and REMS
              program stipulate that prescribers must be able to refer patients for additional care,
              including surgical management, allowing these prescribers to participate in the Mifeprex
              REMS program is acceptable.

              The       also concurred with the teams’ recommendation to remove the Patient
                    (b) (6)


              Agreement (ETASU D) from the REMS although some                     members commented that
                                                                          (b) (6)


              additional support for the review team’s rationale for this modification was needed. The
              review team’s rationale for this change was:




                                             APPEARS THIS WAY ON ORIGINAL




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                  •     The safety profile of Mifeprex is well-characterized over 15 years of experience,
                        with known risks occurring rarely; the safety profile has not changed over the
                        period of surveillance.
                  •     Established clinical practice includes patient counseling and Informed Consent,
                        and, more specifically with Mifeprex, includes counseling on all options for
                        termination of pregnancy, access to pain management and emergency services if
                        needed.
                  •     Medical abortion with Mifeprex is provided by a well-established group of
                        organizations and their associated providers who are knowledgeable in this area
                        of women’s health. Their documents and guidelines cover all the safety
                        information that also appears in the Patient Agreement.
                  •     ETASUs A and C remain in place: The Prescriber’s Agreement under ETASU A
                        requires that providers “explain the procedure, follow-up, and risks to each patient
                        and give her an opportunity to discuss them.” The REMS will continue to require
                        that Mifeprex be dispensed to patients only in certain healthcare settings,
                        specifically, clinics, medical offices, and hospitals. This ensures that Mifeprex
                        can only be dispensed under the direct supervision of a certified prescriber.
                  •     Labeling mitigates risk: The Medication Guide, which will remain a part of
                        labeling, contains the same risk information covered under the Patient Agreement.

              The Mifeprex REMS program will have a modified ETASU REMS that will continue to
              ensure that Mifeprex can only be prescribed by certified prescribers and be dispensed to
              patients in certain healthcare settings, specifically, clinics, medical offices and hospitals.
              The Medication Guide will continue to be distributed to patients required under 21 CFR
              part 208. As required for all ETASU REMS, ongoing assessments of the Mifeprex REMS
              program will continue to ensure that the modified Mifeprex REMS program is meeting
              its goals.

              13. Decision/Action/Risk Benefit Assessment

              Decision:

              All regulatory and scientific requirements have been adequately addressed in this efficacy
              supplement. Review teams involved in this supplement have recommended approval of
              the supplement from their disciplines’ perspective. The submitted efficacy and safety
              information supported approval of the proposed dosing regimen through 70 days
              gestation, and other changes discussed in this summary memo. This supplement will
              receive an Approval action.

              Benefit Risk Assessment:

              This efficacy supplement provided substantial evidence of efficacy for the proposed
              dosing regimen through 70 days gestation. The efficacy findings were similar to those
              that led to the approval of the original dosing regimen in 2000. In addition, the submitted
              published literature supported other changes sought in this efficacy supplement that will


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              be reflected in labeling: 1) a more flexible time interval of 24 to 48 hours between
              Mifeprex and misoprostol administration, 2) the option of at home administration of
              misoprostol, 3) the option of repeat misoprostol dosing, if clinically indicated, 4)
              flexibility in the follow–up time frame of 7 to 14 days, and 5) permitting qualified
              healthcare providers other than physicians to prescribe Mifeprex.

              The safety findings of the proposed dosing regimen were acceptable and were similar to
              those seen with the original dosing regimen approved in 2000.

              After review of the REMS modifications proposed by the Sponsor, I concur with the
              clinical team and            recommendations that:
                                   (b) (6)




              1.      The Medication Guide can be removed from the Mifeprex REMS program. The
              Medication Guide requirements under 21 CFR part 208 require the Medication Guide to
              be distributed to patients. Mifeprex will only be dispensed by a healthcare professional
              who will be knowledgeable and able to provide the patient instructions on appropriate use
              of the drug, including what potential side effects may occur or follow-up that may be
              required as appropriate, and who will answer any questions the patient may have. In that
              setting, the Medication Guide will already be a required available tool for counseling.
              Therefore, given the existing requirements under 21 CFR part 208, I concur that there is
              no reason for the Medication Guide to specifically be a part of the REMS.

              2.     The Prescriber Agreement Form (ETASU A) as revised reflects current FDA
              format and content to conform to current REMS programs and reflect the labeling
              changes that will be approved in this supplement. I concur that the changes are
              acceptable.

              3.      Revision of the Mifeprex REMS goals (ETASU C) will adequately mitigate the
              risk of serious complications by requiring certification of healthcare providers who
              prescribe and ensuring the Mifeprex is dispensed only in certain healthcare settings by or
              under the supervision of a certified prescriber.

              4.       Removal of the Patient Agreement Form (ETASU D): I concur with the clinical
              review team that the Patient Agreement Form, which requires a patient’s signature, does
              not add to safe use conditions for the patient for this REMS and is a burden for patients.
              It is standard of care for patients undergoing pregnancy termination to undergo extensive
              counseling and informed consent. The Patient Agreement Form contains duplicative
              information already provided by each healthcare provider or clinic. I believe that it is
              much more critical for the healthcare provider who orders or prescribes Mifeprex to
              provide and discuss informed consent derived from their own practice so that care can be
              individualized for the patient.




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     /s/
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                               (b) (6)


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                 Exhibit 21
   Beverly Winikoff et al., Extending Outpatient
   Medical Abortion Services Through 70 Days of
   Gestational Age, 120 Obstetrics & Gynecology
                    1070 (2012)




                                                                      App. 0380
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Extending Outpatient Medical Abortion
Services Through 70 Days of Gestational Age
Beverly Winikoff, MD, MPH, Ilana G. Dzuba, MHS, Erica Chong, MPH, Alisa B. Goldberg, MD, MPH,
E. Steve Lichtenberg, MD, MPH, Carol Ball, MD, Gillian Dean, MD, MPH, Daniel Sacks, MD,
William A. Crowden, BA, and Yael Swica, MD, MPH

OBJECTIVE: To estimate the efficacy and acceptability of                            pregnancy rates also did not differ significantly (57–63
medical abortion at 64–70 days from last menstrual                                  days: 3.1%, 95% CI 1.6–5.8; 64–70 days: 3.0%, 95% CI
period (LMP) and to compare it with the already proven                              1.5–5.7). Acceptability was high and similar in both arms,
57–63 days from LMP gestational age range.                                          with most women (57–63 days: 87.4%; 64–70 days:
METHODS: This prospective, comparative, open-label                                  88.3%) reporting that their experience was either very
trial enrolled 729 women with pregnancies 57–70 days                                satisfactory or satisfactory.
from LMP requesting abortion at six U.S. clinics. Medical                           CONCLUSION: Medical abortion with mifepristone and
abortions were managed with 200 mg mifepristone and                                 misoprostol in current outpatient settings is an effica-
800 micrograms buccal misoprostol and sites’ service                                cious and acceptable method of ending pregnancies
delivery protocols. Follow-up visits occurred 7–14 days                             64–70 days from LMP and can be offered without alter-
after mifepristone, with an abortion considered complete                            ation of existing services.
if surgical intervention was not performed. Success, ongo-                          CLINICAL TRIAL REGISTRATION: ClinicalTrials.gov,
ing pregnancy, and acceptability rates were compared.                               www.clinicaltrials.gov, NCT00997347.
RESULTS: A total of 629 cases were analyzable for                                   (Obstet Gynecol 2012;120:1070–76)
efficacy. Success rates were similar in the two groups                              DOI: http://10.1097/AOG.0b013e31826c315f
(57–63 days group: 93.5%, 95% confidence interval [CI]                              LEVEL OF EVIDENCE: II
90–96; 64–70 days group: 92.8%, 95% CI 89–95). Ongoing

From the Gynuity Health Projects, Planned Parenthood of New York City, and
the Columbia University College of Physicians and Surgeons, Obstetrics/
                                                                                    W        hen medical abortion with mifepristone and
                                                                                             misoprostol was approved by the U.S. Food
                                                                                    and Drug Administration (FDA) in 2000, the regimen
Gynecology Department, New York, New York; Planned Parenthood League of
Massachusetts and Harvard University, Boston, Massachusetts; Family Planning        was recommended for outpatient use through 49 days
Associates Medical Group and Northwestern University, Chicago, Illinois;            from the last menstrual period (LMP).1 Extensive
Planned Parenthood of Minnesota, North Dakota, South Dakota, St. Paul,
Minnesota; Presidential Women’s Center, West Palm Beach, Florida; and
                                                                                    research and more than 11 years of experience in
Planned Parenthood of Waco, Waco, Texas.                                            the United States with approximately 1.75 million
The authors thank Kathryn Conkling for manuscript preparation and data entry        uses have established that medical abortion is safe
and management, and Jennifer Fortin, Rose Ali, Michelle Arnesen, Stefanie           and effective through 63 days from LMP when used
Sanden, Lauren Porsch, Mona Reis, Ellen Kimmel, Irene Saenz, and Iris               by women at home (May 2011, Danco Laboratories,
Draughn for collecting data for this study. Nancy Sloan provided technical assis-
tance in review of the draft manuscript.                                            personal communication).2–6
Presented at the National Abortion Federation’s Annual Meeting, April 10-12,              Generally, women in the United States whose
2011, Chicago, Illinois, and at Reproductive Health 2010, September 25, 2010,       first-trimester pregnancies are beyond 63 days from
Atlanta, Georgia.                                                                   LMP are not offered medical abortion with mifepris-
The findings and conclusions in this article are those of the authors and do not    tone and misoprostol. Medical abortion after 63 days
necessarily represent the views of Planned Parenthood Federation of America.
                                                                                    from LMP is occasionally available outside the United
Corresponding author: Ilana G. Dzuba, MHS, Gynuity Health Projects, 15 East         States, but only on an inpatient basis using complex
26th Street, Suite 801, New York, NY 10010; e-mail: idzuba@gynuity.org.
                                                                                    regimens.7–9 Inpatient protocols typically involve re-
Financial Disclosure
The authors did not report any potential conflicts of interest.                     dosing of medications, vaginal speculum examination,
© 2012 by The American College of Obstetricians and Gynecologists. Published
                                                                                    and an overnight stay, and are burdensome for
by Lippincott Williams & Wilkins.                                                   women, providers, and health care systems. Data sup-
ISSN: 0029-7844/12                                                                  porting use of medical abortion past 63 days from


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  LMP in outpatient services are limited to one small               Participants returned to the study site 7 to 14 days
  trial, but results were not available when this study        after using mifepristone (according to clinic practice)
  began.10 Our study sought to estimate the efficacy           for clinical assessment, which included ultrasonogra-
  and acceptability of the most common outpatient              phy. Uterine suction curettage was recommended for
  medical abortion regimen in the United States (200           women with ongoing pregnancies. Women with non-
  mg mifepristone and 800 micrograms buccal miso-              viable pregnancies (eg, empty sac or static size with
  prostol) through 70 days from LMP and to compare             absent cardiac activity on ultrasonography) could opt
  outcomes between women with pregnancies of 64–70             for suction curettage, expectant management, or
  days’ duration and women with pregnancies in the             a second misoprostol dose. If either of the latter two
  range of 57–63 days. The gestational age limit of 70         options was chosen, then women were asked to return
  days extends the usual gestational age cutoff of 63          to the clinic in 1 week for further follow-up. If
  days by 1 week.                                              a persistent nonviable pregnancy was diagnosed at
                                                               the extended follow-up visit, suction curettage was
                                                               recommended. Providers also intervened surgically if
  MATERIALS AND METHODS                                        they deemed it medically necessary or at the patient’s
  The study was performed at six facilities: Family            request. After expulsion of uterine contents was con-
  Planning Associates Medical Group (Chicago, IL),             firmed, women responded to a semi-structured inter-
  Planned Parenthood League of Massachusetts (Boston,          view about their experiences with the medical
  MA), Planned Parenthood of New York City (New                abortion overall, the incidence of side effects and their
  York, NY), Planned Parenthood of Waco (Waco, TX),            severity (based on their own definitions of mild, mod-
  Presidential Women’s Center (West Palm Beach, FL),           erate, and severe), and the acceptability of the proce-
  and Planned Parenthood of Minnesota, North Dakota,           dure. If a participant failed to return for a follow-up
  South Dakota (St. Paul, MN). The Quorum Review               visit, then assessment of abortion status and the inter-
  Institutional Review Board approved the protocol.            view could be conducted by telephone. Study sites
       Women seeking pregnancy termination were                were required to document at least three attempts to
  invited to participate in the study if they were eligible    contact women who were lost to follow-up.
  for medical abortion, were at least 18 years old, and             The study’s primary objective was to assure that
  had a confirmed intrauterine pregnancy 57 through            an outpatient medical abortion regimen could be used
  70 days from LMP, based on routine ultrasound                in gestations 64–70 days from LMP and achieve a suc-
  practices of the respective study sites (crown-rump          cess rate of at least 90%, which would characterize
  length+42 was most commonly used). Participants              a clinically acceptable regimen. A cohort of women
  had to be willing and able to provide informed con-          with gestations 57–63 days from LMP was also
  sent, have access to a telephone and emergency trans-        enrolled to serve as a comparison; 334 women per
  portation, be able to speak and read English or              group were needed to detect a 5% or greater lower
  Spanish, and agree to follow study protocols. Screen-        efficacy than the hypothesized 95% success rate in the
  ing and enrollment generally occurred during the             57–63 days group, based on previously published
  same visit, except when a state-mandated 24-hour             reports (a50.05, 12b50.8, using a one-tailed test)
  waiting period after informed consent required a sec-        and would allow us to estimate a success rate of
  ond visit.                                                   90% with a confidence interval (CI) of 63.2%.2–3,11
       On day 1, participants swallowed mifepristone           Data were analyzed using SPSS 15.0. An independent
  200 mg (Mifeprex) in the clinic and then were                data and safety monitoring committee reviewed the
  provided with misoprostol 800 micrograms to take             interim results for safety and efficacy after 50% of
  24–48 hours later at home. Women were instructed             the data were available.
  to hold the misoprostol buccally for 30 minutes                   The primary outcome of the trial was complete
  before swallowing any remains. Analgesics and anti-          abortion without surgical intervention at any point,
  nausea medications were dispensed or prescribed ac-          regardless of the number of misoprostol doses used.
  cording to local standards at each facility, and             Secondary outcomes included side effects, patient
  participants were counseled to call the clinic with          satisfaction and acceptability, days of heavy bleeding,
  questions or concerns. Participants maintained a diary       days of missed work or school, and number of calls
  for up to 15 days to record time of misoprostol              and unscheduled visits to the clinic. One-tailed P ,.05
  administration, bleeding, expulsion time (if recog-          was considered to indicate statistical significance. We
  nized), pain medications used, and days of missed            chose to use one-tailed P values because our objective
  work or school.                                              was to determine whether use of medical abortion in


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  the gestational age range of 64–70 days would result             rates. The study would have required an additional
  in worse outcomes than its current use in the 57- to 63-         13,120 women with follow-up in each study group
  day age range. Binomial proportion CIs for efficacy              (total 26, 240 analyzable cases) to be able to find a sta-
  rates were calculated. We used Fisher’s exact test to            tistically significant difference between the observed
  determine differences in proportions, and for contin-            success rates. Therefore, a total of 629 medical abor-
  uous variables we used the Student t test to determine           tions, 325 in the 57–63 days group and 304 in the 64–
  differences in means.                                            70 days group, were analyzed for efficacy in the final
                                                                   analysis. Baseline characteristics of women in the two
  RESULTS                                                          groups were similar for mean age, education level,
  Between August 2009 and February 2011, the study                 gravidity, and previous abortions (Table 1).
  sites enrolled 729 women; 379 women in the 57–63                       Efficacy of the outpatient medical abortion regi-
  days group and 350 women in the 64–70 days group.                men in the 57–63 days group was 93.5% (95% CI
  Fifty-three (14%) women in the earlier and 45 (13%) in           90.1–95.9) and 92.8% (95% CI 89.1–95.3; P5.41) in
  the later gestational age group were lost to follow-up,          the 64–70 days group (Table 2). Three percent of
  and two women, one from each group, withdrew                     women in both groups had a surgical intervention
  before using mifepristone. Enrollment was continued              because of ongoing pregnancy (57–63 days: 3.1%,
  to 729 women to compensate for loss to follow-up.                95% CI 1.6–5.8; 64–70 days: 3.0%, 95% CI 1.5–5.7;
  Six-hundred twenty-nine cases had outcome data,                  P5.62). Rates of surgical intervention attributable to
  short of the estimated sample size of 668. Analysis              persistent nonviable pregnancy or sac (P5.33), sub-
  of the outcomes at that time were conducted to deter-            stantial uterine debris (P5.29), excessive prolonged
  mine the utility of continuing the study and whether             bleeding (P5.75), or woman’s request (P5.86) were
  a statistically significant difference in success would be       comparable between study groups. There was no sig-
  possible if the study were to continue and the remain-           nificant difference in efficacy by study site (P5.137).
  ing 39 analyzable case records were available. We                      Approximately 5.2% of women in the 57–63 days
  analyzed the hypothetical scenario that maximized                group and 5.3% of women in the 64–70 days group
  the possible difference in efficacy between the two              had incomplete abortion diagnosed (ie, persistent ges-
  groups by adding all 39 hypothetical additional cases            tational sac or substantial debris) at their first follow-
  to the 57–63 days group (because it had the higher               up visits (P5.56). The majority were treated with a sec-
  efficacy rate) and assuming that every woman had                 ond dose of misoprostol, with those in the 57–63 days
  a successful abortion (to model the maximum mathe-               group receiving a second dose at a higher rate than
  matical differences possible between the groups). This           those in the 64–70 days group (76.5% compared with
  model improved the efficacy rate in the 57–63 days               56.3%; P5.195). Of those who received a second dose
  study group by 0.7 percentage points and doubled the             of misoprostol and underwent an extended follow-up
  difference in efficacy between the two gestational age           evaluation, 91% (10 of 11) in the earlier and 66.7%
  groups from 0.7% to 1.4%. Comparing the projected                (6 of 9) in the later gestational age group were deter-
  success rates of the two gestational age groups resulted         mined to have a complete abortion (P5.974).
  in P50.2. It was therefore determined that enrolling                   Almost 70% of participants in each group
  all 688 women would not show a statistically signifi-            reported a time of expulsion at follow-up. Among
  cant or a clinically meaningful difference in success            women who reported a time of expulsion, those in

  Table 1. Participant Demographic Characteristics
                                                      57–63 d                    64–70 d
                                                      (n5325)                    (n5304)                      P (Two-Tailed)

  Age (y)                                           26 (18–42)                 26 (18–42)                     .66
  Primigravid woman                                 32 (103)                   31 (94)                        .86
  Previous abortion                                 47 (154)                   48 (146)                       .87
  Previous medical abortion                         21 (67)                    24 (72)                        .39
  Education level                                   322                        303                            4 unknowns
     Less than high school                           8 (24)                     9 (26)                        .71
     High school                                    59 (191)                   60 (183)                       .85
     University                                     27 (87)                    27 (83)                        .99
     Postgraduate                                    6 (20)                     4 (11)                        .19
  Data are mean (range), n (%), or n unless otherwise specified.




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  Table 2. Efficacy and Major Adverse Events by Gestational Age Group
                                                                57–63 d (n5325)                64–70 d (n5304)               P (One-Sided)

  Success                                                      93.5 (304; 90–96)              92.8 (282; 89–95)                    .41
  Interventions                                                 6.5 (21)                       7.2 (22)
  Ongoing pregnancies                                           3.1 (10)                       3.0 (9)                             .62
  Persistent nonviable sac                                     0.92 (3)                        1.6 (5)                             .33
  Substantial debris in uterus                                 0.31 (1)                        1.0 (3)                             .29
  Excessive prolonged bleeding                                  1.2 (4)                        1.0 (3)                             .75
  Woman’s request                                              0.61 (2)                       0.33 (1)                             .86
  Other                                                        0.31 (1)                       0.33 (1)                             .73
  Major adverse events
     Went to emergency department                               3.7 (12)                       4.6 (14)                            .36
     Received blood transfusion                                 0.6 (2)                        0.3 (1)                             .52
     Admitted to hospital                                       0.9 (3)                        0.7 (2)                             .53
  Data are % (n; 95% confidence interval) or % (n) unless otherwise specified.



  the earlier gestational age group were significantly                                  Twenty-nine women made visits to an emergency
  more likely than those in the later gestational age                              department, primarily for pain and bleeding during
  group to expel sooner (Fig. 1; log-rank test P5.005).                            the study period (3.7% from the earlier gestational age
  This difference in reported expulsion time was most                              group and 4.6% from the later group (P5.35)
  notably seen at 3 hours after using misoprostol                                  (Table 2). Three women received blood transfusions,
  (37.7% in week 9 compared with 22.5% in week 10;                                 two in the 57–63 days group and one in the 64–70
  P5.001), but equal numbers (93.1% compared with                                  days group (P5.52). One woman in the 57–63 days
  92.1%, respectively; P5.43) reported expulsion by 24                             group was admitted to the hospital and was success-
  hours (Fig. 1).                                                                  fully treated for Escherichia coli sepsis, and one woman
                                                                                   in the 57–63 days group with a history of chronic
                        1.0           57–63 days after last menstrual period
                                                                                   pancreatitis was admitted to the hospital for recur-
                                      64–70 days after last menstrual period       rence of her disease.
                                                                                        Eighty-five percent of participants completed and
                        0.8                                                        submitted the diaries they maintained for up to 15
                                                                                   days. Mean duration of heavy bleeding did not differ
                                                                                   significantly by group (Table 3). There was no signif-
  Cumulative survival




                        0.6                                                        icant difference in mean days of work or school
                                                                                   missed by women because of the abortion (1.85 in
                                                                                   57–63 days group compared with 1.80 in 64–70 days
                        0.4                                                        group; P5.81).
                                                                                        The side effect profiles of each study group were
                                                                                   similar, with no significant differences except for
                        0.2                                                        vomiting (Table 3). A minority of women in each
                                                                                   group experienced this side effect, but fewer in the
                                                                                   earlier gestational age group (36% compared with
                        0.0                                                        46%; P5.01). However, severe vomiting was no differ-
                                                                                   ent in the two groups (10.7% for 57–63 days compared
                              0   5          10        15       20         25
                                      Time to expulsion (hours)                    with 12.0% for 64–70 days; P5.35). Opiates were
  Fig. 1. Time from misoprostol administration to pregnancy
                                                                                   reportedly used more often for pain relief by women
  expulsion. Survival curves of the number of hours since                          in the 64–70 days group (76% in the 57–63 days group
  misoprostol administration until pregnancy expulsion for                         compared with 84%; P5.003), but nonsteroidal anti-
  women 57–63 days from last menstrual period or 64–70                             inflammatory drug use did not differ. Mean days of
  days from last menstrual period. Includes women who                              any analgesic use were the same in both groups. Fewer
  reported a time of expulsion, excluding those with ongoing
  pregnancies or persistent nonviable sac at follow-up. Log-
                                                                                   women in the 57–63 days group reported use of anti-
  rank test P5.005.                                                                emetic medication (34% compared with 46%; P5.002).
  Winikoff. Medical Abortion Through 70 Days From LMP. Obstet                      The study participants requested relatively little clinic
  Gynecol 2012.                                                                    staff time beyond the scheduled study visits. Only 20%



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  Table 3. Side Effect and Bleeding Profile
  Side Effects                                      57–63 d (n5318)                   64–70 d (n5300)             P (One-Sided)

  None                                              22.6 (72)                         17.0 (51)                        .05
  Chills                                            24.2 (77)                         22.7 (68)                        .36
  Fever                                             11.9 (38)                         10.3 (31)                        .31
  Vomiting                                          35.8 (114)                        45.7 (137)                       .008
  Nausea                                            50.0 (159)                        51.7 (155)                       .37
  Diarrhea                                          17.9 (57)                         17.3 (52)                        .47
  Heavy bleeding                                    319                               298
     Days of heavy bleeding                         2.562.06 (0–14)                   2.361.86 (0–11)                  .09
     Median days of heavy bleeding                  2                                 2
  Data are % (n), n, or mean6standard deviation (range) unless otherwise specified.


  of women in both groups made phone calls because of                  offered the same outpatient medical abortion regimen
  concerns related to their abortion, and 4% of women in               as in the current study to 26 women with gestational
  the earlier and 3% of women in the later gestational age             ages 64–70 days from LMP, but with an interval of
  groups made unanticipated clinic visits.                             24–36 hours between the mifepristone and misopros-
       The majority of women in both groups (57–63                     tol doses. That study found 96% success in those
  days: 87.4%; 64–70 days: 88.3%) reported being                       women but was too small to provide reliable point
  either satisfied or very satisfied with the medical abor-            estimates of success rates.
  tion method, and 78% and 79% of women in the two                          The study cannot reject the null hypothesis that
  groups, respectively, reported that they would choose                there is no difference between the success rates of
  medical abortion again instead of surgery. Women in                  medical abortion among women with pregnancies of
  the earlier gestational age group were as likely to                  9 and 10 weeks of gestation. Although the inability to
  report seeing the pregnancy or some part of it as those              reject the null hypothesis theoretically could be
  in the later gestational age group (64% compared with                attributable to early cessation of the study, the
  69.3%; P5.10). There were no significant differences                 observed differences between study groups are much
  in women’s reported reactions to what they saw, with                 smaller than those originally hypothesized and are not
  the exception that women in the earlier gestational                  clinically meaningful. The additional analyses con-
  age group were more likely to report “nothing or no                  ducted also suggest that continuing enrollment to
  feeling” (13.9% compared with 8.2%; P5.04) and                       include 668 analyzable cases would not have affected
  those in the later group were more likely to report                  the study conclusions.
  that they were “relieved” (7.4% compared with                             The overall high efficacy of the medical abortion
  13.9%; P5.02).                                                       regimen used in this study through 63 days from LMP
                                                                       is well-documented, and only a very minimal decline
  DISCUSSION                                                           in efficacy as gestational age increases has been
  The results show that medical abortion with an                       noted.2,13 The trend observed in the two point esti-
  outpatient regimen of 200 mg mifepristone followed                   mates for success in weeks 9 and 10 in this study is
  24 to 48 hours later by 800 micrograms buccal                        consistent with such a small decline (Fig. 2), alleviat-
  misoprostol self-administered at home is efficacious                 ing concern of an abrupt decline in efficacy of the
  and acceptable in women 64 to 70 days from LMP                       method beyond 63 days from LMP.
  and is not statistically or clinically different from                     The study was not powered to detect a difference
  a current outpatient medical abortion protocol used                  in safety outcomes because major adverse events
  with women 57–63 days from LMP. In 2000, the FDA                     attributable to medical abortion (eg, hospitalizations,
  approved mifepristone based on an efficacy of 92%                    emergency department visits, and blood transfusions)
  for gestations up to 49 days from LMP.12 The success                 are rare. No medical abortion studies (including the
  rate achieved in this study during week 10 of gestation              pilot studies on which FDA approval was based) were
  (92.8%) is similar to that rate and clinically acceptable.           powered to detect rates of rare occurrences such as
  Based on this evidence, medical abortion using the                   transfusion or hospitalization. Similar to those studies,
  study protocol can be extended from 63 days from                     the occurrence of major adverse events in this study
  LMP to 70 days from LMP without reconfiguration                      was very infrequent.
  of existing outpatient clinical services. Our findings                    Many studies have explored women’s experiences
  are consistent with those of Boersma et al,10 who                    with outpatient medical abortion in the first trimester,14


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                                                    Winikoff2          Peña*         spectrum considered in this study (ie, a comparison
                     100                                                             of the earlier half of the early age range with the latter
                                                    Current study      Middleton13
                                                                                     half of the later age range), as well as by standardizing
                                                                                     gestational age assessment, did not affect our out-
                                                                                     comes or our conclusions (data not shown).
  Success rate (%)




                      95
                                                                                          The content of counseling was not dictated by the
                                                                                     study protocol and was based on usual counseling
                                                                                     provided. Possible assumptions that pain, bleeding,
                      90
                                                                                     and the size of the expelled fetus in week 10 may be
                                                                                     more than at earlier weeks of gestation could have had
                                                                                     an effect on women’s perceptions. It is also possible
                                                                                     that there were slight differences in counseling mes-
                      85                                                             sages as a result of the counselors’ knowledge of gesta-
                           42 or fewer   43–49     50–56       57–63     64–70       tional age in each woman. Similarly, observations and
                                            Gestational age (days)
                                                                                     experience amassed during the course of the study may
  Fig. 2. Efficacy of mifepristone medical abortion with 800                         have resulted in adjustments in counseling messages to
  micrograms buccal misoprostol from 49 to 70 days from
  last menstrual period. Illustration of success rates by ges-                       later enrollees, better-preparing women with pregnan-
  tational age from different studies that used the same                             cies in week 10 for what they might experience.
  medical abortion regimen as in this study. *Peña M. Med-                               The study sites already were highly experienced
  icamentos para la interrupción legal del embarazo: La ex-                         at providing medical abortion and were accustomed
  periencia de la Secretarı́a de Salud del Districto Federal                         to administering the specific regimen used in this
  (Mexico). 20th Congress of the Latin American Federation
  of Obstetrics and Gynecology (FLASOG) 2011; Managua,                               study. Therefore, the observed efficacy rates may not
  Nicaragua.                                                                         be generalizable to clinics that are less experienced.
  Winikoff. Medical Abortion Through 70 Days From LMP. Obstet                        Results also are not generalizable to regimens other than
  Gynecol 2012.                                                                      the one studied, for either efficacy or the side effects of
                                                                                     misoprostol, which are known to vary by route and
                                                                                     dose. Last, because adverse events were so rare in our
  but often the information is not disaggregated by week.                            study, the sample size was not sufficient to characterize
  Although our findings do not show any differences                                  adequately the occurrence of adverse events for women
  between the two study groups in such aspects as bleed-                             who terminate their pregnancies medically during the
  ing profiles, days of school or work missed, and reports                           ninth or tenth week other than to say that serious events
  of seeing the expulsion, women’s experiences at these                              are infrequent and side effects are tolerable.
  later weeks of gestational age may differ in some ways                                  In conclusion, the regimen of 200 mg mifepristone
  from women with earlier first-trimester pregnancies.                               and 800 micrograms buccal misoprostol is efficacious
  The results from this study may help clinicians who                                and acceptable for women seeking medical abortion
  provide medical abortion to women with pregnancies                                 with pregnancies of 70 days or less. The findings of this
  57–70 days of gestational age to tailor counseling mes-                            research are important for expanding the availability of
  sages to prepare women for what to expect. For example,                            this nonsurgical option to women seeking termination
  more than two-thirds of women reported witnessing uter-                            of pregnancy in the first trimester.
  ine expulsion, so women should be counseled on that
  likelihood. Women with gestations in week 10 may                                   REFERENCES
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                                                                                                                         EX. 21 pg. 006
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                 Exhibit 22
 Mary Gatter et al., Efficacy and safety of medical
     abortion using mifepristone and buccal
        misoprostol through 63 days, 91
            Contraception 269 (2015)




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                                                          Contraception xx (2015) xxx – xxx


                                                               Original research article

   Efficacy and safety of medical abortion using mifepristone and buccal
                     misoprostol through 63 days☆,☆☆
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                                            Received 24 June 2014; revised 7 January 2015; accepted 7 January 2015



Abstract

Objective: The aim of this study was to report on the safety and efficacy of an evidence-based medical abortion regimen utilizing 200 mg of
mifepristone orally followed by home use of 800 mcg misoprostol buccally 24–48 h later through 63 days estimated gestational age.
Study design: We analyzed outcomes in women presenting for medical abortion between April 1, 2006, and May 31, 2011, using an
evidence-based alternative to the United States Food and Drug Administration (FDA)-approved regimen. Cases were identified for this
descriptive study from our electronic practice management (EPM) database, and our electronic database on adverse events was queried for
information on efficacy and safety. The primary outcome was successful abortion. Logistic regression was used to identify predictors of
successful abortion.
Results: Among the 13,373 women who completed follow-up, efficacy of the regimen was 97.7%. Efficacy was highest at 29 to 35 days
(98.8%) and 36 to 42 days (98.8%) of gestation and lowest at 57 to 63 days (95.5%). The odds of needing aspiration for any reason were
greatest at higher gestational ages. Rates of infection requiring hospitalization and rates of transfusion were 0.01 and 0.03%, respectively.
Conclusions: An evidence-based regimen of 200 mg of mifepristone orally followed by home use of 800 mcg of buccal misoprostol 24–48 h
later is safe and effective through 63 days estimated gestational age. Further, the need for aspiration for any reason was low, and
hospitalization was rare.
Implications: This study reinforces the safety and efficacy of the evidence-based regimen for medical abortion (200 mg mifepristone orally
followed by home use of 800 mcg of misoprostol buccally 24–48 h later) through 63 days estimated gestational age, and contributes to the
existing evidence against restrictions requiring use of the FDA-approved regimen.
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Keywords: Medical abortion; Mifepristone; First-trimester abortion; Evidence-based regimen; Buccal misoprostol; Efficacy



1. Introduction                                                                     of three visits to the healthcare provider. Six hundred
                                                                                    milligrams of mifepristone was taken orally at Visit 1, followed
   The United States Food and Drug Administration (FDA)                             in 2 days by misoprostol 400 mcg, also taken orally. A third
approved the use of mifepristone and misoprostol for                                follow-up visit was required in 14 days to ensure that the
pregnancy termination in 2000. The regimen, labeled for use                         abortion was complete. The efficacy of this regimen ranged
through 49 days estimated gestational age, required a minimum                       from 92 to 97% [1–3]. Publications soon followed providing an
                                                                                    evidence base for alterations to the regimen. Alterations
                                                                                    included a lower dose of mifepristone, different routes of
   ☆
       Funding source: Planned Parenthood Federation of America (MG and             administration of misoprostol, variations in the timing of
DN) and Eunice Kennedy Shriver National Institute of Child Health and               misoprostol administration, home use of misoprostol, and
Human Development, grant no. 2R24HD047879 (KC).                                     increasing the gestational age limit for the regimen [4–11]. A
 ☆☆
      Disclaimer: The findings and conclusions in this article are those of the     recent publication confirmed the low rate of significant adverse
authors and do not necessarily represent the views of Planned Parenthood
                                                                                    events with use of the evidence-based regimen [11].
Federation of America Inc.
    ⁎ Corresponding author at: 400 W. 30th Street, Los Angeles, CA 90007.               In 2008, a prospective study was published describing the
Tel.: +1 212 261 4632; fax: +1 818 986 5035.                                        use of 200 mg of mifepristone followed in 24 to 36 h by 800
      E-mail address: deborah.nucatola@ppfa.org (D.L. Nucatola).                    mcg of buccal misoprostol for pregnancy termination to 63
http://dx.doi.org/10.1016/j.contraception.2015.01.005
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                                                                                                                           EX. 22 pg. 001
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days of gestation with a success rate for the regimen of 96.2%             We also maintain a separate electronic database of adverse
[8]. Despite the growing literature supporting evidence-based              events including ongoing pregnancy, aspiration for symptoms
provision of medical abortion, some providers are required by              and/or retained products of conception, infection requiring
law to limit the provision of medical abortion to that regimen,            hospitalization, and hemorrhage requiring transfusion.
which was FDA-approved more than a decade ago [12]. The
goal of the current study was to assess, in a much larger cohort of        2.2. Statistical methods
patients, the safety and efficacy of an evidence-based medical
abortion regimen utilizing 200 mg of mifepristone orally                      Bivariate and multivariate logistic regression were used to
followed by home use of 800 mcg of misoprostol buccally                    assess predictors of successful medical abortion. Covariates
24–48 h later through 63 days estimated gestational age.                   available in our data set were poverty level, race/ethnicity,
                                                                           gestational age, and patient age; other patient-level data were
                                                                           not available. Results were considered statistically signifi-
2. Materials and methods                                                   cant at p b .05. Statistical analysis was performed using
                                                                           Stata/SE 11.2 (College Station, TX).
2.1. Medical abortion protocols and monitoring                                The primary outcome of interest was successful abortion. A
    Our large network of urban healthcare centers includes 19              successful abortion was defined as expulsion of the pregnancy
health centers providing approximately 15,000 abortions per                without the need for aspiration. Patients who required
year, of which about 30% are medical abortions. Demo-                      aspiration for an ongoing pregnancy or symptoms such as
graphic information, treatment dates, and diagnostic codes                 pain or bleeding were considered to have had unsuccessful
for all patients were retrieved using the electronic practice              medical abortions. We queried our adverse events database to
management (EPM) billing system. Some clinical informa-                    identify continuing pregnancies (those pregnancies with
tion was retrieved from an electronic medical records (EMR)                documented fetal growth or cardiac activity seen at the
system, which was gradually implemented across all study                   follow-up), all cases of aspiration, and hospitalization for
sites between 2008 and 2010. All patients undergo an                       either infection or transfusion. We cross-checked this against
ultrasound examination for pregnancy dating prior to                       the list of postprocedure visits in our EPM system in order to
abortion. The clinician administering the medication abor-                 ensure that all cases had been identified.
tion performed and interpreted the ultrasound. All clinicians                 Institutional review board (IRB) approval was obtained
had undergone the same standardized training and were                      from the Ethical and Independent Review Service of
monitored regularly to ensure accuracy and to maintain                     Independence, MO, and an exemption for analysis of the
consistency. Ultrasound machines using a Hadlock scale                     existing data was granted by the Princeton University IRB.
calculated gestational age in days; herein, we analyze and
report gestational age in 7-day increments (e.g., 22 to 28
days). Since April 2006, our medical abortion regimen has                  3. Results
consisted of 200 mg of mifepristone taken orally at the health             3.1. Sample description
center followed by 800 mcg of buccal misoprostol used by
the patient at home 24 to 48 h later. Medical protocols during                For this descriptive study, we queried our EPM database
the study period allowed for repeat doses of misoprostol for               and identified 15,890 patients who had a medical abortion
patients who had an incomplete medical abortion. Data on                   between April 1, 2006, and May 31, 2011. During the period
which patients received a repeat dose are not available from               under review, medical abortions were provided at 14
the EPM system, but only in the EMR system; therefore, for                 different clinic sites belonging to our network in one urban
patients seen at sites that had not yet implemented EMR at                 area, all using the same evidence-based protocol. There were
the time of treatment, information on whether a repeat dose                2470 (15.5%) patients who failed to return for a follow-up
of misoprostol was given is not available. For the first 3 years           visit and were excluded from analysis. An additional 20
of the study period, the upper gestational age limit for this              patients were excluded from the analysis due to missing data
regimen was 56 days. In February 2009, based on newly                      on gestational age, and a further 27 patients were excluded
published data, the upper limit was increased to 63 days [8].              because they did not complete the medical abortion (these
All patients were scheduled to return in 7 to 14 days for a                patients either changed their mind and chose a surgical
postabortion evaluation. Beginning in 2007, all patients also              abortion, were ineligible for a medical abortion because they
received routine antibiotic coverage beginning on the day of               were beyond the 63-day gestational limit, or began the
the mifepristone administration. The standard antibiotic                   regimen but did not take all of the medications). This left
regimen was a 7-day course of doxycycline (100 mg twice a                  13,373 patients for analysis.
day), with an alternative regimen of one dose of azithromycin                 Demographic characteristics of the 13,373 women who
(1 g) for cases in which doxycycline was contraindicated.                  had a medical abortion between April 1, 2006, and May 31,
    Our EPM database contains information on all patients                  2011, and who returned for follow-up are shown in Table 1.
undergoing medical abortion, including patient demo-                       Half of the women were between the ages of 18 and 24, and
graphics and the ultrasound-determined gestational age.                    small proportions were under the age of 18 (4.5%) or 40 or


                                                                                                              EX. 22 pg. 002
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Table 1                                                                    infection or hemorrhage requiring transfusion was very low
Demographic characteristics of women having a medical abortion with        (Table 3). In total, six women required hospitalization for
mifepristone 200 mg and misoprostol 800 mcg buccally (N=13,373)
                                                                           any reason (two women were hospitalized for infection, and
                                       n                        %          four were hospitalized for transfusion), and incidence was at
Gestational age (days)                                                     or below 0.1% among all gestational ages.
  22–28                                 554                      4.1          In a multivariate logistic regression model (Table 4),
  29–35                                1080                      8.1
                                                                           poverty level and race/ethnicity were not significant
  36–42                                2495                     18.7
  43–49                                4816                     36.0       predictors of successful abortion. Certain categories of
  50–56                                3142                     23.5       gestational age were significantly associated with success;
  57–63                                1286                      9.6       compared with the reference category (43 to 49 days), those
Poverty level (% FPL)                                                      at 36 to 42 days of gestation had greater odds of success,
  0–100                                9679                     72.4
                                                                           whereas those at 50 to 56 days and 57 to 63 days had lower
  N 100                                3694                     27.6
Race/ethnicity                                                             odds of success. Compared with the reference category (18
  Hispanic/Latino                      6215                     46.5       to 24), those in the middle three age groups had significantly
  White                                3235                     24.2       lower odds of success, but differences for those in the
  African American                     1263                      9.5       youngest (17 and under) and highest (40 and older) age
  Asian                                1172                      8.8
                                                                           groups were not significant.
  Other/declined                       1487                     11.1
Patient age (years)
  b 18                                  605                      4.5       3.3. Loss to follow-up
  18–24                                6684                     50.0
  25–29                                3317                     24.8          A comparison of patients who completed follow-up and
  30–34                                1613                     12.1       those who were lost to follow-up is presented in Table 5.
  35–39                                 855                      6.4       Compared with patients at 43 to 49 days of gestation,
  40 +                                  299                      2.2
                                                                           patients at higher gestational ages were more likely to be lost
                                                                           to follow-up. For patients with incomes at or below the
older (2.2%). Nearly half of women identified as Hispanic                  Federal Poverty Level (FPL), the odds of being lost to
or Latino, and 72% reported an income at or below the                      follow-up were greater than those above FPL. Odds of being
poverty line. The most frequent gestational age in our data                lost to follow-up were greater for those younger than 18
set was 43 to 49 days (36.0%), and the least frequent was                  (compared with those 18 to 24) and lower for those aged 40
22 to 28 days (4.1%).                                                      and older.


3.2. Frequency and predictors of successful abortion
                                                                           4. Discussion
    Termination of pregnancy with 200 mg of oral mifepris-                 4.1. General implications
tone followed by 800 mcg of buccal misoprostol 24–48 h
later was successful among 97.7% of women who completed                        This study demonstrates that the evidence-based regimen
follow-up. Only 307 (2.3%) of the 13,373 women included in                 for medical abortion (mifepristone 200 mg orally followed by
this study underwent aspiration for any reason. Specifically, 70           home use of misoprostol 800 mcg buccally 24–48 h later) is
(0.5%) women had a continuing pregnancy, and 237 (1.8%)                    highly effective through 63 days estimated gestational age,
women required aspiration for reasons other than continuing                with an overall success rate of 97.7%. This is higher than the
pregnancy, most commonly due to reported symptoms of pain                  efficacy rates reported in two pivotal trials used in submission
and/or bleeding. Data on the need for a repeat dose of                     for FDA approval of mifepristone,[1,2] yet utilizes one-third
misoprostol were available from a subset of women from                     the dose of mifepristone (200 mg rather than 600 mg) and
clinics in which the EMR system was used, which included                   buccal administration and home use of misoprostol rather than
7335 women (54.8% of the total sample). Of these 7335                      oral administration in the clinic. Repeat dosing of misoprostol
women, 87 (1.2%) received a repeat dose of misoprostol.                    was administered in only 1.2% of patients for whom this
   Table 2 shows the proportion of patients requiring                      information is available, and given the way in which the EMR
aspiration for ongoing pregnancy or for symptoms, such as                  system was implemented across study sites, we can assume
heavy bleeding, by gestational age. The proportion with                    that this rate would be representative of the entire sample.
ongoing pregnancy ranged from 0.15% for those at 36 to 42                  Although efficacy is lower at later gestational ages, even in the
days of gestation to 1.63% at 57 to 63 days of gestation.                  57- to 63-day range, this evidence-based regimen was still
Compared with the reference category (43 to 49 days), odds                 more effective than rates reported in the FDA-approved
of ongoing pregnancy were greater for those at the highest                 regimen, which sets the upper gestational age limit at 49 days.
gestational age. The proportion of women treated with                      Furthermore, the rates of unsuccessful abortion in this study
aspiration for symptoms, not ongoing pregnancy, ranged                     are lower than the rates reported in the two trials that were
from 0.65 to 2.49%. The incidence of hospitalization for                   initially submitted to the FDA for approval of mifepristone.


                                                                                                              EX. 22 pg. 003
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Table 2
Aspiration for ongoing pregnancy, symptoms or any indication among those who completed follow-up, by gestational age.
Gestational       Aspiration for        OR           95% CI              Aspiration         OR         95% CI           Aspiration for      OR          95% CI
age               ongoing pregnancy                                      for symptoms                                   any reason ⁎
                  n (%)                                                  n (%)                                          n (%)
22–28 days        4 (0.72)              2.69         0.87–8.27           11 (1.99)          1.39       0.73–2.65        15 (2.71)           1.39        0.80–2.43
29–35 days        5 (0.46)              1.72         0.61–4.83           7 (0.65)           0.45       0.21–0.98        13 (1.20)           0.61        0.34–1.10
36–42 days        4 (0.16)              0.59         0.19–1.82           25 (1.00)          0.70       0.44–1.10        30 (1.20)           0.61        0.40–0.92
43–49 days        13 (0.27)             ref                              69 (1.43)          ref                         94 (1.95)           ref
50–56 days        23 (0.73)             2.72         1.38–5.39           64 (2.04)          1.43       1.01–2.02        97 (3.09)           1.60        1.20–2.13
57–63 days        21 (1.63)             6.13         3.06–12.28          32 (2.49)          1.76       1.15–2.80        58 (4.51)           2.37        1.70–3.31
Totals            70 (0.5)                                               237 (1.8)                                      307 (2.3)
OR: odds ratio; CI: confidence interval
  ⁎ This column includes 29 cases wherein reason for aspiration is unknown.

This study adds to the growing literature supporting provision                       loss of follow-up of 18 to 45% [14–17]. We found that loss to
of medical abortion using evidence-based regimens, and                               follow-up was significantly more common among those at
supports the conclusion that legislative efforts to restrict                         higher gestational ages; given that odds of success are lower
medical abortion to the FDA regimen are based on political                           among those with more advanced pregnancies, it is possible that
goals to restrict abortion services, not efficacy or patient safety.                 this study underestimates the true odds of unsuccessful abortion.
                                                                                     Loss to follow-up was significantly higher among the youngest
4.2. Limitations                                                                     age group and lower among the oldest age group, but as these
                                                                                     age categories were unrelated to whether the abortion was
    Our study has some limitations. It is retrospective in
                                                                                     successful, we do not believe that these differences would
nature and relies on the accuracy of our EPM database.
                                                                                     systematically bias our results.
However, review of our EPM system has shown a high
degree of accuracy when compared with patient records [13].                          4.3. Conclusion
In addition, we are not a closed system, and it is possible and
even likely that some patients who experienced complica-                               In summary, an evidence-based regimen of mifepristone
tions did not return to us for care. However, since many                             200 mg orally followed by misoprostol 800 mcg buccally
patients need to pay for aftercare obtained outside our
system, but not within our system, it is more likely than not
that the patients who did not return for follow-up did so because                    Table 4
                                                                                     Factors associated with successful medical abortion in women using
they did not feel that they needed follow-up, rather than that they                  mifepristone 200 mg and misoprostol 800 mcg buccally (N=13,373)
were experiencing a complication. In that case, excluding them
                                                                                                              Successful        Unsuccessful     OR     95% CI
from our analysis would have tended to overestimate, rather than
                                                                                                              n (%)             n (%)
underestimate, the need for aspiration in our population. We
                                                                                     Gestational age (days)
based our analysis of efficacy only on those patients who did
                                                                                       22–28                     539 (97.3)      15 (2.7)        0.72   0.41–1.25
return for a follow-up visit, so we cannot exclude the possibility                     29–35                    1067 (98.8)      13 (1.2)        1.68   0.94–3.01
of additional visits or treatment elsewhere.                                           36–42                    2465 (98.8)      30 (1.2)        1.65   1.09–2.50
    Loss to follow-up is common in studies of medical abortion,                        43–49                   4722 (98.1)       94 (2.0)        Ref
as many patients may determine on their own that their abortion                        50–56                   3045 (96.9)       97 (3.1)        0.62   0.47–0.83
                                                                                       57–63                   1228 (95.5)       58 (4.5)        0.42   0.30–0.58
is complete and that follow-up is not needed. The rate of loss to
                                                                                       Total patients         13,066 (97.7)     307 (2.3)
follow-up in this study (15.5%) is lower than loss to follow-up                      Poverty level (% FPL)
found in other clinical medical abortion studies, which report                         0–100                    9466 (97.8)     213 (2.2)        0.95   0.74–1.23
                                                                                       N 100                    3600 (97.5)      94 (2.5)        Ref
Table 3                                                                              Race/ethnicity
Hospitalizations for infection or transfusion in women having a medical                Hispanic/Latino          6074 (97.7)     141 (2.3)        Ref
abortion with mifepristone 200 mg and misoprostol 800 mcg buccally                     White                    3163 (97.8)      72 (2.2)        1.02   0.76–1.37
(N= 13,373)                                                                            African American         1228 (97.2)      35 (2.8)        0.90   0.62–1.31
                                                                                       Asian                    1146 (97.8)      26 (2.2)        1.02   0.67–1.57
Gestational age         Patients        Infections            Transfusions
                                                                                       Other/declined           1454 (97.8)      33 (2.2)        1.08   0.74–1.59
                        n               n (%)                 n (%)
                                                                                     Patient age (years)
22–28 days               554            0 (0.00)              1 (0.18)                 b 18                      597 (98.7)       8 (1.3)        1.44   0.70–2.98
29–35 days              1080            1 (0.09)              0 (0.00)                 18–24                    6560 (98.1)     124 (1.9)        Ref
36–42 days              2495            0 (0.00)              0 (0.00)                 25–29                    3233 (97.5)      84 (2.5)        0.72   0.54–0.96
43–49 days              4816            1 (0.02)              0 (0.00)                 30–34                    1556 (96.5)      57 (3.5)        0.51   0.37–0.70
50–56 days              3142            0 (0.00)              3 (0.10)                 35–39                     829 (97.0)      26 (3.0)        0.58   0.37–0.89
57–63 days              1286            0 (0.00)              0 (0.00)                 40 +                      291 (97.3)       8 (2.7)        0.68   0.33–1.40
  Total                 13,373          2 (0.01)              4 (0.03)
                                                                                     OR, odds ratio; CI, confidence interval.



                                                                                                                                EX. 22 pg. 004
                                                                                                                                               App. 0392
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Table 5                                                                                doses of misoprostol (vol 40, pg 85, 1995). Int J Fertil Menopausal
Loss to follow-up analysis among women having a medical abortion with                  Stud 1996;41:56.
mifepristone 200 mg and misoprostol 800 mcg buccally (N=13,373)                    [3] Spitz I, Bardin C, Benton L, Robbins A. Early pregnancy termination
                                                                                       with mifepristone and misoprostol in the United States. N Engl J Med
                          Completed       Lost to         OR a    95% CI
                                                                                       1998;338:1241–7.
                          follow-up       follow-up
                                                                                   [4] Schaff E, Eisinger S, Stadalius L, Franks P, Gore B, Poppema S. Low-
                          n (%)           n (%)
                                                                                       dose mifepristone 200 mg and vaginal misoprostol for abortion.
Gestational age (days)                                                                 Contraception 1999;59:1–6.
  22–28                    554 (85.1)       97 (14.9)     1.00    0.79–1.25        [5] World Health Organization Task Force on Post-Ovulatory Methods of
  29–35                   1080 (86.3)      172 (13.7)     0.91    0.76–1.08            Fertility Regulation. Comparison of two doses of mifepristone in
  36–42                   2495 (85.6)      419 (14.4)     0.96    0.84–1.09            combination with misoprostol for early medical abortion: a randomised
  43–49                   4816 (85.1)      845 (14.9)     Ref                          trial. Br J Obstet Gynaecol 2000;107:524–30.
  50–56                   3142 (83.0)      645 (17.0)     1.17    1.05–1.31        [6] Schaff E, Fielding S, Westhoff C, Ellertson C, Eisinger S, Stadalius L,
  57–63                   1286 (81.7)      288 (18.3)     1.28    1.10–.48             et al. Vaginal misoprostol administered 1, 2, or 3 days after
Poverty level (% FPL)                                                                  mifepristone for early medical abortion—a randomized trial. JAMA
  0–100                   9679 (83.7)     1887 (16.3)     1.24    1.12–1.38            2000;284:1948–53.
  N 100                   3694 (86.5)      579 (13.6)                              [7] Schaff E, Fielding S, Westhoff C. Randomized trial of oral versus
Race/ethnicity                                                                         vaginal misoprostol at one day after mifepristone for early medical
  Hispanic/Latino         6215 (84.1)     1173 (15.9)                                  abortion. Contraception 2001;64:81–5.
  White                   3235 (83.4)      643 (16.6)     1.05    0.95–1.17        [8] Winikoff B, Dzuba IG, Creinin MD, Crowden WA, Goldberg AA,
  African American        1263 (82.8)      262 (17.2)     1.10    0.95–1.27            Gonzales J, et al. Two distinct oral routes of misoprostol in
  Asian                   1172 (91.1)      115 (8.9)      0.52    0.43–0.64            mifepristone medical abortion: a randomized controlled trial. Obstet-
  Other/declined          1487 (84.5)      273 (15.5)     0.97    0.84–1.12            rics & Gynecology 2008;112:1303–10.
Patient age (years)                                                                [9] Winikoff B, Dzuba IG, Chong E, Goldberg AB, Lichtenberg ES, Ball
  b 18                     605 (80.0)      152 (20.0)     1.42    1.17–1.71            C, et al. Extending outpatient medical abortion services through 70
  18–24                   6684 (84.9)     1186 (15.1)                                  days of gestational age. Obstet Gynecol 2012;120:1070–6.
  25–29                   3317 (83.7)      646 (16.3)     1.10    0.99–1.22       [10] Fjerstad M, Sivin I, Lichtenberg ES, Trussell J, Cleland K, Cullins V.
  30–34                   1613 (84.8)      289 (15.2)     1.01    0.88–1.16            Effectiveness of medical abortion with mifepristone and buccal
  35–39                    855 (84.6)      156 (15.4)     1.03    0.86–1.23            misoprostol through 59 gestational days. Contraception 2009;80:282–6.
  40 +                     299 (89.0)       37 (11.0)     0.70    0.49–0.99       [11] Cleland K, Creinin MD, Nucatola D, Nshom M, Trussell J. Significant
                                                                                       adverse events and outcomes after medical abortion. Obstet Gynecol
OR, odds ratio; CI, confidence interval.
  a                                                                                    2013;121:166–71.
     OR represents odds of being lost to follow-up.
                                                                                  [12] Boonstra H. Medication abortion restrictions burden women and
                                                                                       providers—and threaten US trend toward very early abortion.
48–72 h later is safe and effective through 63 days estimated                          Guttmacher Policy Rev 2013;16:18–23.
gestational age. Further, need for aspiration for any reason                      [13] Steward R, Melamed A, Kim R, Nucatola D, Gatter M. Infection and
was low, the chance of needing aspiration increased with                               extramural delivery with use of digoxin as a feticidal agent.
                                                                                       Contraception 2012;85:150–4.
gestational age at the time of medical abortion, and the
                                                                                  [14] Grossman DA, Grindlay K, Buchacker T, Potter JE, Schmertmann CP.
frequency of hospitalization was rare. This study reinforces                           Changes in service delivery patterns after introduction of telemedicine
the safety and efficacy of the evidence-based regimen for                              provision of medical abortion in Iowa. Am J Public Health
medical abortion, and contributes to the evidence against                              2013;103:73–8.
restrictions that require use of the FDA-approved regimen.                        [15] Clark W, Bracken H, Tanenhaus J, Schweikert S, Lichtenberg ES,
                                                                                       Winikoff B. Alternatives to a routine follow-up visit for early medical
                                                                                       abortion. Obstet Gynecol 2010;115:264–72.
                                                                                  [16] Horning EL, Chen BA, Meyn LA, Creinin MD. Comparison of
References                                                                             medical abortion follow-up with serum human chorionic
                                                                                       gonadotropin testing and in-office assessment. Contraception
 [1] Peyron R, Aubeny E, Targosz V, Silvestre L, Renault M, Elkik F, et al.            2012;85:402–7.
     Early termination of pregnancy with mifepristone (RU-486) and the orally     [17] Haimov-Kochman R, Arbel R, Sciaky-Tamir Y, Brzezinski A, Laufer
     active prostaglandin misoprostol. N Engl J Med 1993;328:1509–13.                  N, Yagel S. Risk factors for unsuccessful medical abortion with
 [2] Aubeny E, Peyron R. Termination of early pregnancy (up to and after               mifepristone and misoprostol. Acta Obstet Gynecol Scand
     63days of amenorrhea) with mifepristone (RU 486) and increasing                   2007;86:462–6.




                                                                                                                           EX. 22 pg. 005
                                                                                                                                          App. 0393
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                 Exhibit 23
       2019 Citizen Petition of AAPLOG to FDA
                   (Mar. 29, 2019)




                                                                      App. 0394
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                                            Citizen Petition

  March 29, 2019

  The undersigned submit this petition to request the Commissioner of Food and Drugs to:
  (I) restore and strengthen elements of the Mifeprex regimen and prescriber requirements
  approved in 2000, and (II) retain the Mifeprex Risk Evaluation and Mitigation Strategy
  (REMS), and continue limiting the dispensing of Mifeprex to patients in clinics, medical
  offices, and hospitals, by or under the supervision of a certified prescriber.

                                          A. Action Requested

      I. RESTORE AND STRENGTHEN ELEMENTS OF THE MIFEPREX REGIMEN
         AND PRESCRIBER REQUIREMENTS APPROVED IN 2000.

      Current language and requested language for the Mifeprex Label and the Mifeprex
  Risk Evaluation and Mitigation Strategy (REMS) are included in Exhibit A.1 Requests
  include:

      A. Indications and Usage. Mifeprex, in a regimen with misoprostol, for the
         termination of intrauterine pregnancy, should be limited to 49 days’ gestation.

      B. Dosage and Administration.

          1. Mifeprex should be administered by or under the supervision of a physically
             present and certified physician who has ruled out ectopic pregnancy.

          2. The use of Mifeprex and misoprostol for the termination of pregnancy should
             require three office visits by the patient.

      C. Contraindications. Mifeprex use is contraindicated for patients who do not have
         convenient access to emergency medical care.

      D. Adverse Event Reporting. Certified prescribers, emergency medical personnel,
         physicians treating complications, and Danco Laboratories should report to
         FDA’s MedWatch Reporting system any deaths, hospitalizations, blood
         transfusions, emergency room visits, failures requiring surgical completion,
         ongoing pregnancy, or other major complications following the use of Mifeprex
         and misoprostol.

  1
   Other documents will require corresponding modifications, including the Mifeprex Medication Guide,
  Prescriber Agreement Form, and Patient Agreement Form.


                                                    1
                                                                                         EX. 23 pg. 001
                                                                                                   App. 0395
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       E. Additional studies. The Mifeprex REMS should require a formal study of
          outcomes for at-risk populations, including: patients under the age of 18; patients
          with repeat Mifeprex abortions; patients who have limited access to emergency
          room services; and patients who self-administer misoprostol.

       II.      RETAIN THE MIFEPREX RISK EVALUATION AND MITIGATION
                STRATEGY (REMS), AND CONTINUE LIMITING THE DISPENSING OF
                MIFEPREX TO PATIENTS IN CLINICS, MEDICAL OFFICES, AND
                HOSPITALS, BY OR UNDER THE SUPERVISION OF A CERTIFIED
                PRESCRIBER.

       A. Retain the Mifeprex REMS.

       B. Continue limiting the dispensing of Mifeprex to patients in clinics, medical
          offices, and hospitals, by or under the supervision of a certified prescriber.

             1. Mifeprex should be dispensed only in clinics, medical offices, and hospitals.

                    a. The “TelAbortion” Direct-to-Consumer Mifeprex Study

                    b. The Mifeprex through Pharmacy Dispensing Study

                    c. Beyond the Current Studies

             2. Mifeprex Prescribers Should be Certified.




                                                 2
                                                                                  EX. 23 pg. 002

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                                          B. Statement of Grounds

        I.   RESTORE AND STRENGTHEN ELEMENTS OF THE MIFEPREX REGIMEN
             AND PRESCRIBER REQUIREMENTS APPROVED IN 2000.2

         A. Indications and Usage. Mifeprex, in a regimen with misoprostol, for the
            termination of intrauterine pregnancy, should be limited to 49 days’ gestation.

        In 2016, FDA increased the maximum gestational age for Mifeprex use for abortion
    from 49 days (7 weeks) to 70 days (10 weeks), and changed the method of administration
    of misoprostol from oral to buccal (i.e., in the cheek pouch). However drug-induced
    abortion3 regimens demonstrate an increase in complications and failures after 49 days’
    gestation.

        In a 2011 study of thousands of patients, the majority of whom had a drug-induced
    abortion using what is now the Mifeprex regimen, the rate of infection and the rate of
    failure requiring surgical intervention increased with gestational age.4 The American
    College of Obstetricians and Gynecologists (ACOG) has stated: “the risk of clinically
    significant bleeding and transfusion may be lower in women who undergo medical
    abortion of gestations up to 49 days compared with those who undergo medical abortion
    of gestations of more than 49 days.”5

       Further, a 2015 meta-analysis examined all the existing publications on buccal
    administration of misoprostol, 20 studies in all, from November 2005 through January
    2015. The failure rate of the buccal misoprostol regimen increased as the gestational age

    2
      The FDA approved Mifeprex for use in the United States on September 28, 2000, with safeguards
    considered necessary to ensure patient safety. The drug’s initial approval was for termination of pregnancy,
    in a regimen with misoprostol, through 49 days of pregnancy. FDA significantly modified the drug’s label
    at the application of the manufacturer, Danco Laboratories, in 2016, extending approved use to 70 days of
    pregnancy. Additional changes included: a new dosage of both Mifeprex and misoprostol; permitting home
    administration of Mifeprex and misoprostol; a new route of administration for the misoprostol (buccal, in
    the cheek pouch); permitting non-physicians to become certified prescribers; a decrease from 3 to 1
    mandatory office visits by the patient; and reduced reporting requirements. U.S. Gov’t Accountability
    Office, GAO-18-292, Food and Drug Administration: Information on Mifeprex Labeling Changes and
    Ongoing Monitoring Efforts 4-7 (2018); Mifeprex Risk Evaluation and Mitigation Strategy (REMS),
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf; Mifeprex
    Medication Guide, https://www.fda.gov/downloads/Drugs/DrugSafety/ucm088643.pdf.
    3
      The terms “Medication abortion,” “medical abortion,” “chemical abortion,” and “drug-induced abortion”
    [or termination of pregnancy] share the same meaning and refer to the use of abortion-inducing drugs,
    rather than surgery, to induce abortion. The current FDA-approved regimen uses two drugs, mifepristone
    (a.k.a. Mifeprex or RU-486) and misoprostol.
    4
      Mentula MJ, Niinimaki M, Suhonen S, Hemminki E, Gissler M, and Heinkinheimo O, Immediate Adverse
    Events after Second Trimester Medical Termination of Pregnancy: Results of a Nationwide Registry Study,
    Human Reproduction 26(4), 927-932 (2011).
    5
      ACOG Practice Bulletin 143: Medical Management of First-Trimester Abortion, p. 5 (Mar. 2014,
    reaffirmed 2016).


                                                         3
                                                                                                EX. 23 pg. 003

                                                                                                        App. 0397
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    increased, especially at gestational ages greater than 49 days.6 The current FDA label also
    acknowledges this fact.7

        Given the serious risks of failure, hemorrhage, infection, and ongoing pregnancy that
    increase as pregnancy advances, the gestational limit for the Mifeprex regimen should
    have never been increased.

        B. Dosage and Administration.

        1. Mifeprex should be administered by or under the supervision of a physically
           present and certified physician who has ruled out ectopic pregnancy.

        The 2000 Mifeprex regimen required Mifeprex to be “provided by or under the
    supervision of a physician” who meets qualifications discussed in this section below.8
    However, the 2016 regimen replaced “physician” with “healthcare provider,” thus
    permitting non-physicians to apply to be certified prescribers.9 Given the regimen’s
    serious risks, the FDA should limit the ability to prescribe and dispense Mifeprex to
    qualified, licensed physicians. Physicians are better trained to diagnose patients who have
    contraindications to Mifeprex and to verify gestational age.

        The current Mifeprex Risk Evaluation and Mitigation Strategy (REMS), discussed in
    Section II below, continues to provide that “Mifeprex must be dispensed to patients only
    in certain healthcare settings, specifically clinics, medical offices, and hospitals, by or
    under the supervision of a certified prescriber.” 10 Yet, abortion providers today are
    promoting and performing “telemedicine abortions,” where the certified prescriber’s
    “supervision” of the dispensing of Mifeprex is limited to a videoconference. 11 This
    practice demonstrates a flagrant disregard for FDA safeguards.

        To ensure true supervision, the FDA should require certified prescribers to be
    physically present when Mifeprex is dispensed so that they can appropriately examine
    patients and rule out contraindications to the use of Mifeprex. This requirement would be
    consistent with other requirements in the Mifeprex Label and REMS.


    6
      Chen MJ, Creinin MD, Mifepristone with Buccal Misoprostol for Medical Abortion, Obstet. Gynecol 126
    (1) July 2015 12-21.
    7
      Mifeprex 2016 label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
    8
      Mifeprex 2000 label, Dosage and Administration, emphasis added.
    9
      Mifeprex 2016 label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
    10
       Mifeprex 2016 REMS, emphasis added,
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf.
    11
       See Planned Parenthood Releases New Educational Video on Telemedicine Abortion (Feb. 6, 2018),
    https://www.plannedparenthood.org/about-us/newsroom/press-releases/planned-parenthood-releases-new-
    educational-video-on-telemedicine-abortion.


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                                                                                                  App. 0398
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        In the Mifeprex Label, the FDA emphasizes that “Mifeprex is available only through
    a restricted program under a Risk Evaluation and Mitigation Strategy (REMS)” because
    of the drug’s “risks of serious complications.” In a bold-print box, the FDA states that
    before prescribing Mifeprex, a provider must inform a patient: about the risks of serious
    events; whom to call and what to do if certain symptoms occur; and to take the
    Medication Guide with her if she visits an emergency room or healthcare provider who
    did not prescribe Mifeprex, so that she receives appropriate, informed care.12

       Further, a provider must sign a Provider Agreement Form, attesting that he or she
    can:

    •    Assess the duration of pregnancy accurately. 13 Failures and complications of
         Mifeprex abortion increase with increasing gestational age. Mifeprex use is approved
         through 70 days’ gestation.14 FDA should strengthen this requirement by mandating
         that gestational age be accurately assessed by ultrasound in order to both ensure
         compliance with FDA restrictions and adequately inform the patient of gestational
         age-specific risks, which rise with increasing gestational age.

    •    Diagnose ectopic pregnancies15 (i.e., extrauterine pregnancy; pregnancy outside the
         uterus), which Mifeprex cannot end. When an ectopic pregnancy progresses, it can
         rupture the fallopian tube, causing bleeding, severe pain, or death. If a woman with an
         extrauterine pregnancy is given Mifeprex, she may believe the symptoms for ectopic
         pregnancy are simply the side effects of drug-induced abortion, which are similar. As
         of December 31, 2017, at least 97 women with ectopic pregnancies in the United
         States had been given Mifeprex.16 Of these women, at least two bled to death from an
         undiagnosed ectopic pregnancy.17 They likely did not recognize that their cramps,
         abdominal pain, and perhaps vaginal bleeding were dangerous—not side effects
         expected in a Mifeprex abortion.18


    12
       Mifeprex 2016 label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
    13
       Mifeprex Prescriber Agreement Form,
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-
    29_Prescriber_Agreement_Form.pdf.
    14
       See Section I.A, supra.
    15
       Mifeprex Prescriber Agreement Form,
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-
    29_Prescriber_Agreement_Form.pdf.
    16
       Mifepristone U.S. Post-Marketing Adverse Events Summary through 12/31/2017, RCM # 2007-525,
    NDA 20-687,
    https://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProvid
    ers/UCM603000.pdf).
    17
       Id.
    18
       Donna Harrison, M.D. & Michael J. Norton Testimony before the Iowa Board of Medicine, p. 3 (Aug.
    21, 2013), citing Postmarket Drug Safety Information for Patients and Providers, Questions and Answers
    on Mifeprex,


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   •   Provide surgical intervention if needed, or has made plans to provide such care
       through others.19 He or she must assure patient access to medical facilities equipped
       to provide blood transfusions and resuscitation, if necessary.20

        Clearly, a provider who does not physically meet with and examine a patient, but
   simply consults with the patient over the Internet, is not capable of fulfilling these
   requirements, or of ruling out additional contraindications (i.e., circumstances that make
   a treatment or medication unadvisable) to Mifeprex use. These physical contraindications
   include pelvic infections, ovarian masses, cardiac arrhythmias, and liver abnormalities.21
   A physician bears responsibility to diagnose and rule out contraindications prior to
   Mifeprex use. It is inadequate to entrust this critical care to another healthcare provider
   who is not trained in diagnosis. Further, a healthcare provider who is not physically
   accessible to a patient cannot provide adequate follow-up care to patients, as required by
   the FDA Mifeprex regimen.

       Thirty-four states permit only physicians to prescribe Mifeprex,22 with nineteen states
   requiring the provider to be physically present with the patient.23 For example, the law in
   Alabama states that the physical presence and care of a physician are necessary because
   “the failure and complications from medical abortion increase with advancing gestational
   age, because the physical symptoms of medical abortion can be identical to the symptoms
   of ectopic pregnancy, and because abortion-inducing drugs do not treat ectopic
   pregnancies but rather are contraindicated in ectopic pregnancies.”24

       Lawmakers in these states recognize that abortion providers cannot diagnose
   contraindications and cannot adequately care for their patients through a
   videoconference. Fundamentally, telemedicine “may be legitimate when it comes to
   discrete, document-based tasks such as reading X-rays,” but it “is not the standard of care
   when it comes to abortion or the management of miscarriage.”25




   https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm492
   705.htm.
   19
      Mifeprex Prescriber Agreement Form,
   https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-
   29_Prescriber_Agreement_Form.pdf.
   20
      Id.
   21
      Harrison & Norton Testimony, p. 3.
   22
      Donovan MK, Self-Managed Medication Abortion: Expanding the Available Options for U.S. Abortion
   Care, Guttmacher Policy Review, Vol. 21, p. 44 (2018).
   23
      Id.
   24
      Ala. Code § 26-23E-7.
   25
      Harrison & Morton Testimony, p. 19.


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                                                                                      EX. 23 pg. 006

                                                                                               App. 0400
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         2. The use of Mifeprex and misoprostol for the termination of pregnancy should
            require three office visits by the patient.

        The 2016 regimen significantly diminished doctor-patient interaction. While the 2000
    Mifeprex label required three patient visits with the abortion provider, women may now
    obtain Mifeprex at a clinic and self-administer it at home. They are no longer required to
    return to the clinic for the administration of misoprostol, which prevents abortion
    providers from ensuring that they take the drugs at the correct times. Further, providers
    may now “confirm” that a patient’s drug-induced abortion was successful without a clinic
    visit,26 increasing the threat that Rh-negative patients will not receive administration of
    Rhogam, which is necessary to prevent serious risks in subsequent pregnancies.

        The 2016 regimen directs that patients be given or prescribed misoprostol to take 24
    to 48 hours after taking Mifeprex. However, without monitoring, a patient may take
    misoprostol before 24 hours have passed since she consumed Mifeprex, rendering the
    regimen ineffective and increasing the likelihood that she will experience a failed drug-
    induced abortion and require surgery.

        Using buccal misoprostol sooner than 24 hours after administering mifepristone leads
    to a significantly increased failure rate. In one study investigating the timing of buccal
    misoprostol after mifepristone, nearly one out of every three to four women who took
    buccal misoprostol shortly after mifepristone failed to abort.27 The failure rate ranged
    from 27% to 31%, depending on the pregnancy gestation.28 Given these results, the
    authors of this study strongly recommended that buccal misoprostol not be taken
    immediately after mifepristone because of the very high abortion failure rate.29 However,
    with home administration of misoprostol, healthcare providers have no control over when
    their patients consume the drug.

        A woman may also choose to swallow misoprostol rather than keep the pill between
    her cheek and gum for 30 minutes, converting a “buccal” administration into an “oral”
    administration. An oral administration of misoprostol following the lower dose of
    mifepristone in the current regimen is not as effective in ending the pregnancy.

       Further, waiting until 24 hours after Mifeprex to administer misoprostol does not
    guarantee success, and the failure rate of buccal misoprostol is higher than that under the
    2000 regimen. A comprehensive systematic review and meta-analysis of the existing

    26
       See Mifeprex 2016 label,
    https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
    27
       Lohr PA, Reeves MF, Hayes JL, Harwood B, Creinin MD, Oral Mifepristone and buccal misoprostol
    administered simultaneously for abortion: a pilot study, Contraception 76 (2007) 215-220.
    28
       Id.
    29
       Id.


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                                                                                         EX. 23 pg. 007

                                                                                                App. 0401
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                       Page 406 of 684 PageID 6164
    studies of the 2016 regimen found that women who take misoprostol earlier than 48 hours
    after mifepristone are more likely to fail the regimen.30

       Under the 2000 regimen, doctors were also able to provide care to patients during the
    most challenging and painful time in the drug-induced abortion. According to the World
    Health Organization, up to 90% of women will abort within 4-6 hours after taking
    misoprostol.31 The 2000 regimen permitted a patient to be in a clinic for this period of
    time, during which she would be under the observation and care of medical personnel.
    This observation period is for “both patient safety and compassion. . . . This is the time
    when women should be in a place where their bleeding can be monitored, their vital signs
    can be observed by trained medical personnel, and they can receive sufficient pain
    medication during the most difficult part of the expulsion.”32

        Abortion complications are also more frequent when women abort at home, without
    the oversight of a healthcare provider. A 2018 combined retrospective and longitudinal
    follow-up study of complications related to induced abortion in Sweden determined that
    “[t]he complication frequency [of drug-induced abortion] was significantly higher among
    women <7 gestational weeks who had their abortions at home.”33

        In-person contact with a healthcare provider is critical to post-abortion care as well.
    Abortion providers should perform a “follow-up [physical exam] after the use of
    mifepristone in order to confirm abortion and rule out life-threatening infection.” 34
    Before FDA approved the 2016 regimen, the follow-up visit was considered “very
    important to confirm by clinical examination or ultrasonographic scan that a complete
    termination of pregnancy has occurred.”35 In fact, the 2000 label provided that “[e]ach
    patient must understand the necessity of completing the treatment schedule, including a
    follow-up visit approximately 14 days after taking Mifeprex.”36 ACOG’s current policy
    explains that:

            Women are not good candidates for medical abortion if they … desire
            quick completion of the abortion process [or] are not available for follow-
            up contact or evaluation….37
    30
       Chen MJ, Creinin MD, Mifepristone with Buccal Misoprostol for Medical Abortion, Obstet.Gynecol 126
    (1) July 2015 12-21.
    31
       World Health Organization, Safe Abortion: Technical and Policy Guidance for Health Systems 45.
    32
       Donna Harrison, M.D., Aff. Okla. Coalition for Reproductive Justice v. Cline, Case No. CV-2014-1886
    (Feb. 24, 2015) ¶ 136.
    33
       Carlsson I, Breding K, and Larsson PG, Complications Related to Induced Abortion: a Combined
    Retrospective and Longitudinal Follow-up Study, BMC Women’s Health (2018) 18:158, p. 4 (emphasis
    added).
    34
       Harrison & Norton Testimony, p. 18.
    35
       Mifeprex 2000 label, Day 14: Post-Treatment Examination.
    36
       Mifeprex 2000 label, Information for Patients.
    37
       ACOG Practice Bulletin 143, p. 6.


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                                                                                           EX. 23 pg. 008

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        In addition to ensuring for all drug-induced abortion patients that the uterus has been
    emptied of retained tissue and that they are not suffering from infection, the follow-up
    examination is particularly critical for Rh-negative patients. These patients must be
    administered Rhogam in order to prevent Rh isoimmunization in subsequent pregnancies.
    Without follow-up, women will not receive the Rhogam after the abortion, greatly
    increasing their risk of subsequent Rh isoimmunization, which can endanger future
    pregnancies.38

        Nonetheless, abortion advocates strongly supported the reduction in required visits,
    and continue to advocate for the elimination of direct provider-patient contact. Gynuity
    Health Projects (an organization that “has been at the forefront of efforts to increase
    women’s access to medical abortion in settings throughout the world”)39 has conducted at
    least three domestic and five international studies40 on eliminating pelvic ultrasound or
    exam after drug-induced abortion. Following one study, researchers determined that
    “[s]emi-quantitative pregnancy tests … could be used in lieu of transvaginal ultrasound
    and/or serum hCG at clinic-based follow-up or by women themselves for home-based
    follow-up.”41

        In a more recent study, researchers asserted that the “common practice of scheduling
    a clinical contact after every medical abortion may not be necessary to ensure safety;
    enabling patients to determine for themselves whether or not a contact is needed can be a

    38
      ACOG Practice Bulletin 181: Prevention of Rh D Alloimmunization (Aug. 2017);
    and SOGC Clinical Practice Guidelines: Prevention of Rh Alloimmunization (No. 133, Sept. 2003).
    39
       See Gynuity Health Projects, Medical Abortion, https://gynuity.org/programs/medical-abortion. Founded
    by Beverly Winikoff, M.D, M.P.H., in 2003, Gynuity outlines on its “Medical Abortion” page the
    organization’s research projects, including efforts to: “Develop innovative service delivery systems through
    telemedicine; Simplify and de-medicalize medical abortion services; Expand access to medical abortion in
    the 1st and 2nd trimesters of pregnancy; Conduct clinical research to develop new abortion medications;
    Develop a ‘missed menses pill’/menstrual regulation method; Develop additional clinical indications for
    mifepristone.” Gynuity has launched a “coalition to expand access to mifepristone in the United States,”
    co-created a “medical abortion commodities database,” “introduce[d] medical abortion in new settings,”
    “incorporate[ed] new clinical evidence into service guidelines,” and “expanded medical abortion access
    through education and local champions.”
    40
       See, e.g., Self-Assessment of Medical Abortion Outcome Using Serial Multi-level Pregnancy Tests
    [NCT02570204] (Sept. 2015 – Dec. 2016),
    https://www.clinicaltrials.gov/ct2/show/NCT02570204?term=Self-
    Assessment+of+Medical+Abortion+Outcome+Using+Serial+Multi-level+Pregnancy&rank=1; Exploring
    the Role of At-home Semi-Quantitative Pregnancy Tests for Medical Abortion Follow-up [NCT01150279]
    (Aug. 2009 – May 2014),
    https://www.clinicaltrials.gov/ct2/show/NCT01150279?term=Exploring+the+Role+of+At-home+Semi-
    Quantitative+Pregnancy+Tests+for+Medical+Abortion+Follow-up&rank=1; De-Medicalizing Mifepristone
    Medical Abortion [NCT00120224] (May 2005 – Apr. 2007),
    https://www.clinicaltrials.gov/ct2/show/NCT00120224?term=De-
    Medicalizing+Mifepristone+Medical+Abortion&rank=1.
    41
       Lynd K, et al., Simplified Medical Abortion Using a Semi-Quantitative Pregnancy Test for Home-Based
    Follow-up, Int J Gynaecol Obstet. 2013 May;121(2):144-8.


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    reasonable approach.”42 They reached this conclusion even with 26% of participants
    failing to provide sufficient follow-up information.43

        Gynuity researchers also conducted a recent systematic review of existing studies on
    “the accuracy and acceptability of a strategy for identifying ongoing pregnancy after
    medical abortion treatment using a low-sensitivity pregnancy test (LSPT).” While the
    researchers acknowledged that “the LSPT strategy had moderate sensitivity for
    identifying ongoing pregnancy” and “the LSPT itself had a limited role in the detection of
    treatment failures [i.e., ongoing pregnancy] in the studies,” they stated that the “LSPT
    strategy shows promise for reducing the need for in-person follow-up after medical
    abortion. A range of home-based options should be validated to meet the varied needs of
    women and abortion providers in diverse settings.”44

        In reality, a de-emphasis on follow-up care increases risks of post-abortion
    complications. As discussed above, the 2000 regimen’s requirement that women return
    approximately 14 days after ingesting mifepristone was considered necessary to ensure
    that all pregnancy tissue had been passed. 45 This determination is crucial, because
    retained pregnancy tissue can lead to continued bleeding and serious intrauterine
    infections. The return visit permits healthcare providers to ensure that a patient is not
    experiencing these or other complications from the abortion procedure, and that Rh
    negative patients are administered Rhogam to protect future pregnancies.

        Abortion advocates argue that three clinic visits make accessing abortion-inducing
    drugs more difficult for patients with transportation challenges; however, as noted above,
    ACOG acknowledges that drug-induced abortion is contraindicated for patients who “are
    not available for follow-up contact or evaluation.”46 Surgical abortion is a better choice
    for these patients, because it “[d]oes not require follow-up in most cases.”47

        Drug-induced abortion is a longer process that requires more attention and care from
    healthcare providers. Three visits to a physician in the interest of patient safety should not
    be sacrificed for the convenience of healthcare providers or even their patients.




    42
       Raymond EG, et al., Self-assessment of Medical Abortion Outcome Using Symptoms and Home
    Pregnancy Tests, Contraception 97 (2018) 324-28.
    43
       Id.
    44
       Raymond EG, et al., Low-sensitivity Urine Pregnancy Testing to Assess Medical Abortion Outcome: A
    Systematic Review, Contraception (2018), https://doi.org/10.1016/j.contraception.2018.03.013 (emphasis
    added).
    45
       Mifeprex 2000 label, Day 14: Post-Treatment Examination.
    46
       ACOG Practice Bulletin 143, p. 6.
    47
       Id.


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         C. Contraindications. Mifeprex use is contraindicated for patients who do not have
            convenient access to emergency medical care.

         The 2000 Mifeprex Label stated:

            Because it is important to have access to appropriate medical care if an
            emergency develops, the treatment procedure is contraindicated if a
            patient does not have adequate access to medical facilities equipped to
            provide emergency treatment of incomplete abortion, blood transfusions,
            and emergency resuscitation during the period from the first visit until
            discharged by the administering physician.48

        This critical language was excluded from the 2016 Mifeprex Label. Yet, studies
    comparing the outcome of surgical versus drug-induced abortion “have clearly
    demonstrated that Mifeprex abortions have a greater risk of hemorrhage, infection,
    continued pregnancies, retained tissue and need for emergency reoperation than surgical
    abortions.” 49 ACOG acknowledges that “[c]ompared with surgical abortion, medical
    abortion takes longer to complete, requires more active patient participation, and is
    associated with higher reported rates of bleeding and cramping,” and has lower success
    rates.50

        Drug-induced abortion is optional. If a woman does not meet the criteria necessary to
    use abortion-inducing drugs, then surgical abortion is still an option. For women with
    transportation difficulties, an abortion provider can complete surgical abortion “in a
    predictable period of time,” and the procedure “[d]oes not require follow-up in most
    cases.”51

         Efforts to promote abortion-inducing drugs to women in rural areas where access to
    emergency medical care is scarce are detrimental to women’s health. It is better for a
    patient in a remote region to have a surgical abortion, “which requires a single visit, and
    is less likely to result in serious or life-threatening complications.”52




    48
       Mifeprex 2000 label, Contraindications.
    49
       Harrison Aff. ¶ 115.
    50
       ACOG Practice Bulletin 143, p. 3 & Box 1.
    51
       Id.
    52
       Harrison & Norton p. 9.


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         D. Adverse Event Reporting. Certified prescribers, emergency medical personnel,
            physicians treating complications, and Danco Laboratories should report to
            FDA’s MedWatch Reporting system any deaths, hospitalizations, blood
            transfusions, emergency room visits, failures requiring surgical completion,
            ongoing pregnancy, or other major complications following the use of Mifeprex
            and misoprostol.

        The 2016 regimen dramatically reduced accountability for Mifeprex providers by
    limiting adverse event reporting (AER) requirements, a critical safety mechanism.53
    While prescribers were required to report any serious adverse event associated with
    Mifeprex under the 2000 label, they are now required to report only deaths associated
    with Mifeprex.

        Even with the 2000 regimen requirements, collecting accurate and complete adverse
    event information was highly difficult. Adverse events were often not reported or were
    interpreted by emergency health care providers as the results of spontaneous abortion.54
    The Mifeprex label instructs prescribers to “[a]dvise the patient to take the Medication
    Guide with her if she visits an emergency room or a healthcare provider who did not
    prescribe Mifeprex, so that the provider knows that she is undergoing a medical
    abortion.” 55 Yet, many Mifeprex prescribers violate FDA protocol, instructing their
    patients to lie to emergency medical personnel. The organization Aid Access instructs
    patients that if they need to go to an emergency room:

            You do not have to tell the medical staff that you tried to induce an
            abortion; you can tell them that you had a spontaneous miscarriage.
            Doctors have the obligation to help in all cases and know how to handle a
            miscarriage. The symptoms of a miscarriage and an abortion with pills are
            exactly the same and the doctor will not be able to see or test for any
            evidence of an abortion, as long as the pills have completely dissolved.56

    Such deception prevents emergency healthcare providers from appropriately caring for
    their patients, and further decreases the likelihood that adverse events will be reported.

        With reduced AER reporting requirements under the 2016 label, what was previously
    difficult is now virtually impossible. The FDA cannot adequately assess the safety of the
    current Mifeprex regimen without comprehensive information on adverse events. AERs
    are the only objective means by which FDA has any data whatsoever on the effects of the

    53
       Mifeprex 2016 label.
    54
       See GAO-18-292, pp 24-25.
    55
       Mifeprex 2016 label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
    56
       Aid Access, How do you know if you have complications, and what should you do?,
    https://aidaccess.org/en/page/459/how-do-you-know-if-you-have-complications-and-what-should-you-do.


                                                     12
                                                                                          EX. 23 pg. 012

                                                                                                  App. 0406
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    Mifeprex regimen on women, and the voluntary and minimal nature of the current AERs
    means that FDA has no accurate information about the actual number of women injured
    by drug-induced abortion, or the nature of complications caused by this drug.

        After prescribing Mifeprex and misoprostol, certified prescribers should at minimum
    be required to report the following directly to the FDA Medwatch reporting system,
    copying Danco Laboratories: deaths, hospitalizations, blood transfusions, emergency
    room visits, failures requiring surgical completion, ongoing pregnancy, or other major
    complications. Detailed information must also be included, such as pulse, blood pressure,
    temperature, pre- and post-transfusion hemoglobin/hematocrit, white blood count,
    number of units of blood transfused, surgeries, and any other pertinent laboratory or
    hospital course information, as well as emergency room and hospital discharge
    diagnoses.

       Further, FDA should provide guidance to emergency healthcare providers and
    physicians responsible for treating complications so that they know how to distinguish
    complications following drug-induced abortion from complications following
    spontaneous miscarriage. The guidance should also instruct these providers on how to
    report adverse events.57

        The abysmal quality of the current AERs received from Danco Laboratories shows
    the lack of concern that Danco has demonstrated for the safety of the women who have
    undergone drug-induced abortion. Responsible reporting is a fundamental safety
    mechanism that should not be sacrificed in the interest of convenience for abortion
    providers.

         E. Additional Studies. The Mifeprex REMS should require a formal study of
            outcomes for at-risk populations, including: patients under the age of 18; patients
            with repeat Mifeprex abortions; patients who have limited access to emergency
            room services; and patients who self-administer misoprostol.

        Mifeprex was approved for use in the pediatric population in 2000 after the FDA
    waived, without explanation, the requirement for studies in the pediatric population. The
    developmental stage of puberty involves a complex interplay of both progesterone and
    estrogen effects on the developing female reproductive system. The use, and especially
    the potential multiple use, of Mifeprex, which is a powerful progesterone blocker, is

    57
      The Self-Induced Abortion Legal Team has created a document titled “Self-Induced Abortion and the
    Law: What Emergency Room Staff Need to Know.” This document heavily emphasizes patient privacy
    requirements, including the penalties that healthcare providers may face if they disclose patient
    information. While these concerns are valid, emergency healthcare providers should also have training on
    public health reporting requirements and how such reporting does not violate HIPAA or other laws
    regarding patient privacy. See, https://www.sialegalteam.org.


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                                                                                              EX. 23 pg. 013

                                                                                                      App. 0407
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    likely to significantly impact the developing reproductive system of the adolescent
    female.58 It is irresponsible to allow the continued uninvestigated use of Mifeprex in the
    pediatric female population 59 without requiring long-term studies on the impact of
    Mifeprex use on pubertal development.

        More than one out of every three abortions in the U.S. is a repeat abortion.60 The
    repeat use of Mifeprex has been associated in some studies with adverse reproductive
    health outcomes in future wanted pregnancies.61 This concern requires further study.

        The adverse events of hemorrhage, retained tissue, and infection are common after
    Mifeprex use. The hemorrhage is often significant enough to warrant transfusion. When
    patients lack access to emergency medical facilities, such complications could easily
    translate to deaths. Thus a study of deaths and of severe hemorrhages requiring
    transfusion should be done to compare outcomes in women with and without access to
    emergency medical facilities.

         II.   RETAIN THE MIFEPREX RISK EVALUATION AND MITIGATION
               STRATEGY (REMS), AND CONTINUE LIMITING THE DISPENSING OF
               MIFEPREX TO PATIENTS IN CLINICS, MEDICAL OFFICES, AND
               HOSPITALS, BY OR UNDER THE SUPERVISION OF A CERTIFIED
               PRESCRIBER.

           A. Retain the Mifeprex REMS.

        Mifeprex, when used for abortion, is subject to a Food and Drug Administration
    (FDA) Risk Evaluation and Mitigation Strategy (REMS) with elements to assure safe use
    (ETASU). FDA determined that the Mifeprex REMS is necessary to ensure the safety
    and efficacy of the drug, because it carries risks of life-threatening hemorrhage, infection,
    continued pregnancy, retained tissue, need for emergency surgery, and death. The
    approved Mifeprex regimen includes the use of another potent drug, misoprostol, which
    carries its own risks.

        Under the Mifeprex REMS with ETASU, a healthcare provider must be certified to
    prescribe Mifeprex by reviewing the prescribing information and completing a

    58
       Arain M, et al., Maturation of the adolescent brain, Neuropsychiatric Disease and Treatment, 2013:9
    449-461.
    59
       Because of their immaturity, minors are also less likely to understand the importance of following
    prescriber instruction or of recognizing when they need to seek emergency medical treatment.
    60
       Jones R, et al., Which Abortion Patients Have Had a Prior Abortion? Findings from the 2014 U.S.
    Abortion Patient Survey, Journal of Women’s Health, DOI: 10.1089/jwh.2017.6410 (2014).
    61
       Fang L, et al., Repeated Abortion Affects Subsequent Pregnancy Outcomes in BALB/c Mice, PLoS ONE
    7(10): e48384. doi:10.1371/journal.pone.0048384 (2012).



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                                                                                            EX. 23 pg. 014

                                                                                                    App. 0408
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    “Prescriber Agreement Form,” attesting that they can: assess the duration of pregnancy
    accurately; diagnose ectopic pregnancies; and provide surgical intervention in cases of
    incomplete abortion or severe bleeding, or designate someone else to provide that care.
    Further, they must agree to follow the guidelines for use of Mifeprex.

        The REMS also requires Mifeprex to “be dispensed to patients only in certain
    healthcare settings, specifically clinics, medical offices, and hospitals, by or under the
    supervision of a certified prescriber.” Mifeprex may not be distributed or dispensed
    through retail pharmacies. Also, a patient must sign a “Patient Agreement Form” and be
    fully informed of the risks by a certified prescriber. She must receive the Mifeprex
    Medication Guide, informing her that she needs a “follow-up assessment” 7 to 14 days
    after she has taken Mifeprex to ensure that she is well and has terminated her
    pregnancy.62

        The REMS remains the lone safeguard to monitor and mitigate the risks of death and
    adverse events from the Mifeprex regimen. Gynuity Health Projects and researchers from
    the University of California, San Francisco (UCSF) obtained approval from FDA through
    Investigational New Drug Applications (INDs) to conduct studies that do not comply
    with the Mifeprex REMS. They intend to use the results of these studies to press for the
    elimination of the Mifeprex REMS.63 [See Section II.B, below.]

        The Mifeprex Medication Guide acknowledges that serious risks accompany FDA’s
    approved regimen for drug-induced abortion, which includes the use of Mifeprex and
    another potent drug, misoprostol. The document improperly downplays the risks,
    however, stating that “rarely, serious and potentially life-threatening bleeding, infections,
    or other problems can occur following . . . medical abortion.” Specifically, “in about 1
    out of 100 women [administered Mifeprex and misoprostol] bleeding can be so heavy
    that it requires a surgical procedure.”64

       In fact, the internationally used criteria for reporting complications from drugs
    demonstrate that complications from drug-induced abortions are common, not rare. The
    Council for International Organizations of Medical Sciences (CIOMS)65 defines the word

    62
       GAO-18-292, pp 4-7 (2018); Mifeprex Risk Evaluation and Mitigation Strategy (REMS),
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf; 21 U.S.C. §
    355-1; Mifeprex Medication Guide, https://www.fda.gov/downloads/Drugs/DrugSafety/ucm088643.pdf.
    63
       See Daniel Grossman, MD, Research Protocol: Alternative Provision of Medication Abortion via
    Pharmacy Dispensing, Version #:1.3 (July 17, 2018) p. 14.
    64
       Mifeprex Medication Guide, https://ww.w.fda.gov/downloads/Drugs/DrugSafety/ucm088643.pdf.
    65
       The Council for International Organizations of Medical Sciences (CIOMS) is an international, non-
    governmental, nonprofit organization established jointly by WHO and UNESCO in 1949. Through its
    membership, CIOMS is representative of a substantial proportion of the biomedical scientific community.
    In 2013, the membership of CIOMS included 49 international, national, and associate member
    organizations, representing many of the biomedical disciplines, national academies of sciences, and
    medical research councils.


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    “rare” in adverse event reporting as an event that happens in between “1 out of 1,000” to
    “1 out of 10,000” uses. “Common” is the uniform term used for events that happen in
    between “1 out of 10” to “1 out of 100” uses.66 Given that “about 1 out of 100 women”
    using Mifeprex/misoprostol require surgery, serious complications are common, not
    rare.67

        Also, as discussed in Section I.C above, Mifeprex abortions carry greater risks than
    surgical abortions.68 A study of over 42,000 women in Finland who had abortions from
    2000 to 2006 found that “overall, medical abortion had roughly four times the rate of
    adverse events than surgical abortion, and hemorrhaging was experienced by 16 percent
    of medical abortion patients compared with 2 percent of surgical abortion patients.”69

        A combined retrospective and longitudinal follow-up study of complications related
    to induced abortion in Sweden published in 2018 determined that the share of
    complications related to drug-induced abortions at less than 12 weeks increased
    significantly during 2008-2015 without an evident cause. The increase was from 4.2% in
    2008 to 8.2% in 2015, with incomplete abortion as the most common complication
    related to drug-induced abortions at less than 12 weeks.70

        Abortion advocates are also attacking the REMS by advocating for mifepristone use
    in spontaneous miscarriage management. In a small recent study, researchers compared
    the efficacy and safety of using mifepristone with misoprostol for the management of
    early miscarriages to using misoprostol alone.71 Notably, 6-10% of study participants had
    a gestational age of “4-5 weeks gestation.” 72 It is not clear from the authors how
    participants of that gestational age could meet the published guidelines for diagnosis of
    non-viable pregnancy recently published by the Society of Radiologists in Ultrasound
    multispecialty consensus panel.73 The panel requires the crown-rump length cutoff to 7
    mm for embryos without a heartbeat and the mean sac diameter cutoff to 25 mm for




    66
       CIOMS training manual on medicine safety,
    http://www.who.int/medicines/areas/quality_safety/safety_efficacy/trainingcourses/definitions.pdf.
    67
       See Mifeprex Medication Guide; CIOMS training manual on medicine safety, supra.
    68
       See Harrison Aff. ¶ 115; ACOG Practice Bulletin 143, p. 3 & Box 1.
    69
       GAO-18-292, p. 25, discussing Niinimaki M, et al., Immediate Complications after Medical Compared
    with Surgical Termination of Pregnancy, Obstetrics & Gynecology, vol. 114, no. 4 (October 2009): 795-
    804.
    70
       Carlsson I, Breding K, and Larsson PG, Complications Related to Induced Abortion: A Combined
    Retrospective and Longitudinal Follow-up Study, BMC Women’s Health (2018) 18:158.
    71
       Schreiber CA, et al, Mifepristone Pretreatment for the Medical Management of Early Pregnancy Loss, N
    Engl J Med 2018; 378:2161-70.
    72
       Id. Table 1.
    73
       Doubilet PM, Benson CB, Bourne T, et al., Diagnostic criteria for nonviable pregnancy early in the first
    trimester, N Engl J Med 2013; 369:1443–1451.


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                                                                                               EX. 23 pg. 016

                                                                                                       App. 0410
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    “empty” sacs, in order to minimize interventions that “interrupt a pregnancy that
    otherwise would have had a normal outcome.”74

        The authors admit that the study “was not powered to show differences between
    groups in the proportions of serious adverse events,”75 an important consideration prior to
    recommending a change in spontaneous abortion management protocols. Yet, the authors
    incorrectly stated “such events were rare.”76 Table 3 gives a total number of serious
    adverse events as 3.4% for the mifepristone pretreatment group, and 2.0% for the
    misoprostol alone group.77 Under the CIOMS criteria for reporting complications from
    drugs, discussed above, the rate of 2%-3.4% of adverse events in each study arm
    demonstrates clearly that adverse events are common, not rare, in both misoprostol alone
    and mifepristone + misoprostol miscarriage management.

        Further, the Mifeprex + misoprostol arm raises a concern about the need for further
    study of adverse events, especially hemorrhage. Mifepristone is known to inhibit
    endometrial hemostasis (i.e., arrest of bleeding),78 as demonstrated by many reports of
    hemorrhage with transfusions reported to the FDA after use of mifepristone and
    misoprostol for elective abortions.79

        Of additional concern is the vaginal route of administration of misoprostol. After
    reports of overwhelming sepsis following vaginal administration of misoprostol, Planned
    Parenthood changed the route of administration of misoprostol from vaginal to buccal,80
    with subsequent decrease in reported infections. Animal studies have demonstrated that
    both mifepristone81 and misoprostol82 can profoundly suppress innate immunity and the
    ability to fight infections.


    74
       Hu M, Poder L, Filly R, Impact of New Society of Radiologists in Ultrasound Early First-Trimester
    Diagnostic Criteria for Nonviable Pregnancy, J Ultrasound Med 2014; 33:1585–1588.
    75
       Schreiber, supra p. 2168.
    76
       Id.
    77
       Id. p. 2169.
    78
       Miech RP, Pathopharmacology of excessive hemorrhage in mifepristone abortions, Ann Pharmacother
    2007 Dec; 41(12):2002-7.
    79
       Gary MM, Harrison DJ. “Analysis of severe adverse events related to the use of mifepristone as an
    abortifacient.” Ann Pharmacother. 2006 Feb;40(2):191-7; Food and Drug Administration “Mifepristone
    U.S. Postmarketing Adverse Events Summary” 2011,
    https://www.minnpost.com/sites/default/files/attachments/Mifeprex_April2011_AEs.pdf.
    80
        Fjerstad M, Trussell J, Sivin I, Lichtenberg ES, Cullins V, Rates of Serious Infection after Changes in
    Regimens for Medical Abortion, N Engl J Med 2009; 361:145-51.
    81
       Sternberg EM, Hill JM, Chrousos GP, Kamilaris T, Listwak SJ, Gold PW, Wilder RL, Inflammatory
    mediator-induced hypothalamic-pituitary-adrenal axis activation is defective in streptococcal cell wall
    arthritis-susceptible Lewis rats, Proc Natl Acad Sci U S A. 1989 Apr;86(7):2374-8; Miech RP,
    Pathophysiology of mifepristone-induced septic shock due to Clostridium sordellii, Ann Pharmacother.
    2005 Sep;39(9):1483-8. Epub 2005 Jul 26.
    82
       Aronoff DM et al., Misoprostol impairs female reproductive tract innate immunity against clostridium
    sordellii, 180 J. Immunol. 8222-8230 (2008).


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                                                                                                 EX. 23 pg. 017

                                                                                                         App. 0411
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         Despite the clear methodological errors, including a failure to accurately diagnose
    fetal death according to accepted criteria as well as lack of adherence to the stated
    inclusion criteria, and despite the absence of power to evaluate safety, abortion advocates
    are calling for the routine use of mifepristone to manage spontaneous miscarriages.83 Any
    change in spontaneous miscarriage management with mifepristone should require an
    FDA New Drug Application (NDA) with two randomized controlled trials (RCTs)
    comparing the arms of mifepristone and misoprostol, misoprostol alone, surgical
    management, and expectant management. Without blinded RCTs to evaluate not only
    efficacy but also safety, it is premature to remove the REMS for Mifeprex to facilitate
    mifepristone access for spontaneous miscarriage management.

       Despite the presence of serious risks and contraindications to the Mifeprex regimen,
    Gynuity, the University of California, San Francisco (UCSF), and other abortion
    advocates want the FDA to eliminate the remaining safeguards that were enacted to
    ensure the safety and efficacy of Mifeprex. They are pursuing their goals through
    publication, advocacy, litigation,84 and/or controversial research enabled by FDA.85

       Further, as Section II.B below explains, lifting the REMS is only the starting point for
    abortion advocates.

         B. Continue limiting the dispensing of Mifeprex to patients in clinics, medical
            offices, and hospitals, by or under the supervision of a certified prescriber.

            1. Mifeprex should be dispensed only in clinics, medical offices, and hospitals.

        The Mifeprex REMS requires that Mifeprex “be dispensed to patients only in clinics,
    medical offices and hospitals, by or under the supervision of a certified prescriber.” That
    prescriber must be capable of assessing the duration of a pregnancy accurately,
    diagnosing ectopic pregnancies, and providing or referring for surgical intervention in
    cases of incomplete abortion or hemorrhaging.86

        Abortion advocates, however, want the FDA to permit healthcare providers to
    prescribe Mifeprex to pregnant patients over the Internet or phone, with the drug
    available at pharmacies or through the mail, and through advance provision (i.e., before a
    patient is pregnant). Eliminating or relaxing the REMS to facilitate Internet or telephone
    prescriptions would be dangerous to women and adolescent girls. Healthcare providers

    83
       Molly Walker, Mifepristone: Better for Managing Early Miscarriage, Medpage Today, (June 6, 2018),
    https://www.medpagetoday.com/obgyn/pregnancy/73336.
    84
       Chelius v. Azar. CIV. NO. 1:17-cv-00493-DKW-KSC (Dist. Ct. HI 2018).
    85
       See Section II.B, below.
    86
       Mifeprex Risk Evaluation and Mitigation Strategy (REMS),
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf.


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                                                                                           EX. 23 pg. 018

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    prescribing abortion-inducing drugs over the Internet or phone or before a patient is even
    pregnant cannot adequately evaluate patients for contraindications to the drugs.87 Further,
    as discussed above, Rh-negative patients must be administered Rhogam in order to
    prevent Rh isoimmunization in subsequent pregnancies. Without direct patient contact,
    women will not receive the Rhogam after the abortion, greatly increasing their risk of
    subsequent Rh isoimmunization, which can endanger future pregnancies.88 [See Section
    I.B.2, supra.]

        Telemedicine abortion further distances women from the practitioners responsible for
    caring for them, and approval by FDA would further absolve abortion providers of
    responsibility for the well-being of their patients. Promoting telemedicine abortion to
    women and adolescent girls in rural areas with limited access to healthcare is extremely
    dangerous—they will have little recourse if they face known and predictable emergency
    complications such as severe hemorrhage.89

        Nonetheless, Gynuity Health Projects and researchers from UCSF obtained approval
    from FDA through Investigational New Drug Applications (INDs) to conduct studies that
    do not comply with the Mifeprex REMS. They will use the results of these studies to
    press for the elimination of the Mifeprex REMS.

                 a. The “TelAbortion” Direct-to-Consumer Mifeprex Study

        Gynuity Health Projects is the sponsor of the study “Feasibility of Medical Abortion
    by Direct-to-Consumer Telemedicine.” 90 Gynuity filed an IND with the FDA.91 The
    status is listed as “recruiting,” with age eligibility that includes 11-year-old children and
    an estimated enrollment of 1,000 participants at five locations.92 The start date is listed as
    March 22, 2016, and the estimated completion date was extended from June 2018 to June
    2019.

        The study’s brief summary states: “This pilot study is designed to obtain preliminary
    data on the safety, acceptability, and feasibility of direct-to-consumer telemedicine

    87
       Harrison & Norton Testimony, p. 2.
    88
      ACOG Practice Bulletin 181: Prevention of Rh D Alloimmunization (Aug. 2017);
    and SOGC Clinical Practice Guidelines: Prevention of Rh Alloimmunization (No. 133, Sept. 2003).
    89
       Harrison & Norton Testimony, p. 9.
    90
       (NCT02513043), https://www.clinicaltrials.gov/ct2/show/NCT02513043?term=NCT02513043&rank=1.
    91
       Raymond EG, Chong E, & Hyland P, Increasing Access to Abortion with Telemedicine, JAMA Internal
    Medicine Vol. 176, N. 5 (May 2016).
    92
       Hawaii – University of Hawaii Women’s Options Center; Maine – Maine Family Planning; New York –
    Choices Women’s Medical Center (active, but not recruiting according to ClinicalTrials.gov, and not listed
    on TelAbortion.org); Oregon and Washington – Planned Parenthood Columbia Willamette; Oregon Health
    and Sciences University Women’s Health Research Unit. Washington State patients may also participate
    because an Oregon abortion provider is also licensed in Washington State. Claire Lampen, Webcam
    Abortion Services Offer Crucial Access—So What’s Stopping them? Gizmodo (Apr. 17, 2018).


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   abortion.”93 The study’s website states that “[a] TelAbortion involves all the same steps
   and procedures as a regular medical abortion, but you do them without going into an
   abortion clinic.”94

       Women who participate in the study have a video “evaluation” with the study
   abortion provider over the Internet, during which they can ask questions, provide medical
   history, and learn about the pre-abortion tests that they need. They also electronically
   sign consent forms for the study. Afterwards, they are required to obtain the tests and
   direct the reports to be sent to the study provider.

       Once a patient is determined eligible, the study provider will send her a package
   containing Mifeprex and misoprostol, with instructions that she must follow on her own.
   She is also instructed to have additional tests to verify that the abortion is complete, and
   later have another consultation with the study provider to review the results.95

       Obviously, a woman may not take the abortion drugs in the manner prescribed, nor
   obtain the follow-up care that is recommended. With a doctor-patient relationship limited
   to online chats, she has virtually no accountability or support as she navigates a
   complicated procedure. The responsibility of the provider of the drugs to follow up with
   the patient is obviated as well.

               b. The Mifeprex through Pharmacy Dispensing Study

           The University of California, San Francisco (UCSF) is the sponsor of the
   “Alternative Provision of Medication Abortion via Pharmacy Dispensing” study. 96
   Daniel Grossman, M.D., with UCSF is listed as the study’s “responsible party.”97 Like
   Gynuity, UCSF filed an IND with the FDA to obtain authorization for this study.98 The
   status is listed as “recruiting,” with July 2019 as the estimated completion date. The
   sponsors plan to recruit 300 patients at four study clinic sites and survey 50 pharmacists
   at associated study pharmacy sites.99




   93
      NCT02513043, https://www.clinicaltrials.gov/ct2/show/NCT02513043?term=NCT02513043&rank=1.
   94
     TelAbortion: The Telemedicine Abortion Study: FAQs, http://telabortion.org/faq/.
   95
      Id.
   96
      NCT03320057, https://www.clinicaltrials.gov/ct2/show/NCT03320057?term=NCT03320057&rank=1;
   Daniel Grossman, MD, Research Protocol: Alternative Provision of Medication Abortion via Pharmacy
   Dispensing, Version #:1.3 (JUL. 17, 2018) p. 5.
   97
      Id.
   98
      In a May 2018 phone conversation with a contact for the UCSF study, she stated that the study was
   approved through an IND application with FDA.
   99
      Grossman, pp. 5-7; 16-17.


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        The stated aim of the study is to “investigate the feasibility, acceptability, and
    effectiveness of pharmacy dispensing of Mifeprex; safety data will also be collected. . . .
    The results of this study eventually could lead to changes in the Mifeprex REMS. . . .”100

        The sponsors intend to measure “pharmacist satisfaction with dispensing Mifeprex
    and the proportion of pharmacists who refuse to dispense the medication to patients.”
    They secondarily intend to assess patient satisfaction, describe clinical outcomes,
    including effectiveness and adverse events, and compare pharmacists’ knowledge about
    medication abortion before and after.101

        Patients enroll at one of the study clinic sites on Day 1, where they choose medication
    abortion, have an ultrasound if one has not been done, and obtain pre-abortion
    counseling. They then are prescribed Mifeprex, misoprostol, and anything else necessary
    to be filled at the associated study pharmacy site.102 Some patients have serum hCG
    measured on the day of Mifeprex administration and again around eight days later “to
    assess for completion of the abortion.”103 The “follow-up” for patients “may include a
    follow-up visit or a phone call from clinic staff approximately 7-14 days after the initial
    visit.”104 However, as discussed extensively above, a clinician needs to perform an exam
    to rule out retained tissue—even if the patient has a negative serum hCG. A phone call
    that “may” be placed, or fail to connect, is not enough.

        Notably, “[a]ll except one of [the participating] pharmacies is [sic] located within the
    same building as the clinic….”105 While UCSF is using a community pharmacy not
    affiliated with the University, the other three study clinic sites are using affiliated
    pharmacies.106



    100
        Grossman, p.14 (emphasis added). The sponsors dubiously assert that “pharmacy dispensing could []
    help increase the number of clinicians willing and able to provide medication abortion by enabling them to
    avoid the associated costs and logistical challenges of stocking and dispensing the medication at their
    facilities.” They reference a survey of Fellows of the American College of Obstetricians and Gynecologists
    that sought to determine if doctors not presently practicing abortion would prescribe Mifeprex if their
    patients could obtain the drug at a pharmacy. Fifty-four percent responded to the survey. Seventy-seven
    percent of respondents do not perform abortions and nine percent perform surgical abortions only—of
    those, 19% said they would prescribe Mifeprex if it could be obtained at a pharmacy, and an additional
    18% said they were unsure. Based on this, the sponsors claim “the proportion of obstetrician-gynecologists
    providing [Mifeprex] would at least double (from 14% to 29%) “if the dispensing restriction in the REMS
    were removed and physicians could write a prescription for Mifeprex that could be dispensed at a
    pharmacy.” The fact that 46 percent of the fellows surveyed did not take the time to respond, however,
    places this conclusion in doubt. See Grossman, pp. 12-14.
    101
        Grossman, pp. 15-16.
    102
        Grossman, p. 23.
    103
        Grossman, p. 23.
    104
        Grossman, p. 24.
    105
        Grossman, p. 20.
    106
        Grossman, pp 16-17.


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                                                                                               EX. 23 pg. 021

                                                                                                       App. 0415
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        While the rationale for the study states that pharmacy dispensing of Mifeprex could
    “help facilitate provision of medication abortion through telemedicine,”107 the sponsors
    emphasize that the only difference between this study and FDA protocol “is that the
    patient would obtain the mifepristone directly from the pharmacist, rather than in a clinic
    facility.”108 In fact, the schedules for the participating pharmacists are “mapped” to
    “ensure that trained pharmacists are available to dispense to study participants during
    business hours.”109

        The following demonstrates the extensive assistance that the sponsors offer patients
    in obtaining the drugs from the participating pharmacies:

            [The patient] will be told that only a limited number of pharmacies are
            able to dispense Mifeprex and given information about how to get to the
            participating pharmacy (as well as the hours during which a participating
            pharmacist will be working, if needed). If there are any gaps in staffing at
            the pharmacy, the patient will be notified of the timing of those gaps in
            coverage before leaving the clinic via the pharmacy directions/handout. If
            this will be an issue for the patient, a solution will be found at the clinic
            before the patient leaves or she will not be enrolled in the study. Patients
            will be told that if they have any problems accessing the medications at
            the clinic, they should come back to the clinic [where they can obtain
            Mifeprex].110

        While this assistance may ensure that the study does not deviate dramatically from
    FDA protocol, the study certainly does not model the experience a patient would have
    outside of this controlled environment—particularly a patient who obtains Mifeprex
    through telemedicine and has no physical contact with her prescriber.

         The physical proximity of the study pharmacy sites to the study clinic sites, the
    probable professional associations between participating doctors and pharmacists, and the
    extensive assistance offered by the clinics to ensure that patients access abortion-inducing
    drugs at participating pharmacies, raise questions as to whether the study is
    fundamentally biased and will inaccurately forecast widespread behavior and experiences
    if the REMS is removed. Therefore, any results of the study cannot provide a justification
    for permitting pharmacy distribution of Mifeprex, much less abortion through
    telemedicine.



    107
        Grossman, p. 6.
    108
        Grossman, p. 6.
    109
        Grossman, p. 18.
    110
        Grossman, pp. 19-20.


                                                 22
                                                                                   EX. 23 pg. 022

                                                                                            App. 0416
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        Further, as discussed below, eliminating the REMS to enable pharmacy dispensing of
    Mifeprex is only the beginning of a long-term strategy to achieve over-the-counter status
    for Mifeprex, further diminishing patient care and abortion provider accountability.

                 c. Beyond the Current Studies

        A recent article by Dr. Grossman and colleagues reveals that they want Mifeprex
    access extended even beyond the parameters contained in their Pharmacy Dispensing
    study. They used an online survey to gauge women’s “personal interest in and general
    support for three alternative methods for accessing abortion pills: (1) in advance from a
    doctor for future use, (2) over-the-counter (OTC) from a drugstore and (3) online without
    a prescription.”111

        None of the options in the survey require a healthcare provider to provide patient care
    comparable to even the inadequate care provided in the two studies discussed above.
    Only the first option requires a prescription from a doctor; however, the doctor would not
    know in advance when his patient actually becomes pregnant and chooses to use the
    drugs. The survey disingenuously stated that “[m]edication abortion, or the abortion pill,
    is a safe and effective way to terminate a pregnancy up to 10 weeks,” without informing
    participants of a single risk associated with the regimen.112

       Further, in a November, 21, 2018 op-ed, Dr. Grossman advocated for providing
    abortion pills before women are pregnant. He stated:

            The idea is simple: Give women abortion pills before they need them –
            “advance provision,” as it’s known – so that they can take them as soon as
            they discover a pregnancy. Women could get the pills from their
            gynecologist at the time of their annual exam, say, or the pills could be
            made available online.113

        Incredibly, Dr. Grossman stated that he has “few medical concerns about handing out
    abortion pills in advance.”114 He asserts that evidence from advance provision research
    “could strengthen the case for making [abortion-inducing drugs] available without a
    prescription.”115


    111
        Biggs MA, et al, Support for and interest in alternative models of medication abortion provision among
    a national probability sample of U.S. women, Contraception (2018),
    https://doi.org/10.1016/j.contraception.2018.10.007.
    112
        See id.
    113
        Daniel Grossman, American women should have access to abortion pills before they need them, Los
    Angeles Times (Nov. 21, 2018).
    114
        Id.
    115
        Id.


                                                        23
                                                                                               EX. 23 pg. 023

                                                                                                       App. 0417
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                      Page 422 of 684 PageID 6180
       In addition to his failure to address all of the dangers posed by abortion-inducing
    drugs, Dr. Grossman does not acknowledge the risk that women will share their abortion-
    inducing pills with other women. While an abortion provider may screen his patient for
    contraindications to Mifeprex, nothing will stop his patient from giving her stored
    Mifeprex to a friend who is unaware that she is Rh negative, for instance, which poses
    health risks for future pregnancies (See section I.B.2, supra).

        In fact, Dr. Grossman’s research program has listed a study titled “Alternative
    Provision of Medication Abortion Via Advance Provision” on ClinicalTrials.gov, with
    May 2019 listed as the estimated study start date.116 In the study, patients who are “at risk
    of unintended pregnancy and with a desire to avoid pregnancy will be assessed by a
    clinician and provided counseling on pregnancy recognition and testing, as well as how to
    administer [drug-induced abortion] at home.” They will then receive Mifeprex and
    misoprostol while not pregnant. If/when the patient becomes pregnant and wants to take
    the drugs, she is instructed to contact a study clinician for an “over-the-phone assessment
    of eligibility” for drug-induced abortion, “including evaluation of contraindications and
    gestational age” before taking the drugs, and “then attend a follow-up visit with the
    clinician.”117 However, it is impossible for the study sponsors to truly assess the patient
    for contraindications, verify gestational age, prevent patients from sharing the drugs with
    others, or ensure that patients attend a follow-up visit.

       In a 2018 Policy Review, the Guttmacher Institute also advocated for lifting the
    Mifeprex REMS. However, the article did not stop there. The author argues:

            [w]hile lifting the REMS on mifepristone would open new possibilities for
            medication abortion access, stopping there would fall short of realizing the
            full potential of this method, particularly when it comes to self-managed
            abortion care. In a self-management model, anyone who needs to
            terminate a pregnancy would be able to legally access mifepristone and
            misoprostol without a requirement to see a health care provider or
            pharmacist first. . . . To fully integrate self-managed medication abortion
            with existing abortion practices in the United States, misoprostol and
            mifepristone must first become available without a prescription.118

        These recent publications demonstrate how abortion advocates will continue to
    pressure FDA to eliminate the REMS and move towards over-the-counter access for
    Mifeprex. In spite of the serious risks and contraindications to the Mifeprex regimen,
    abortion advocates will not rest until Mifeprex is available to all, without a prescription
    116
        NCT03829696, https://clinicaltrials.gov/ct2/show/NCT03829696?term=NCT03829696&rank=1.
    117
        Id.
    118
        Donovan MK, Self-Managed Medication Abortion: Expanding the Available Options for U.S. Abortion
    Care, Guttmacher Policy Review, vol. 21 (2018).


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                                                                                         EX. 23 pg. 024

                                                                                                 App. 0418
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    or mandatory medical management of any kind. The FDA’s vigilance in protecting
    women from such negligence is critically important.

            2. Mifeprex Prescribers Should be Certified.

        The 2016 regimen requires Mifeprex prescribers to be certified as qualified. This is
    simply common sense—only healthcare providers qualified to prescribe an abortion-
    inducing drug should do so. The prescriber form attests that the healthcare provider must
    be able to assess pregnancy duration, diagnose ectopic pregnancy, and provide or refer
    for surgical intervention if necessary.

       Given that drug-induced abortion is contraindicated beyond 10 weeks’ gestation and
    when the pregnancy is not in the uterus, and that at least 1 out of 100 women using
    Mifeprex need surgery, 119 these qualifications are entirely logical. Yet, abortion
    advocates, ignoring the best interests of their patients, claim such restrictions are
    onerous.120

    CONCLUSION

        The Mifeprex REMS with ETASU remains critical for patient safety. Mifeprex
    carries risks of life-threatening hemorrhage, infection, continued pregnancy, retained
    tissue, need for emergency surgery, and death. The 2000 regimen provided significantly
    more protections for patients than the 2016 regimen. FDA should restore and strengthen
    elements of the Mifeprex regimen and provider requirements, including: limiting
    Mifeprex use to 49 days’ gestation; requiring that Mifeprex be administered only by or
    under the supervision of a physically present physician; requiring three office visits by a
    patient who has been prescribed Mifeprex; clarifying that Mifeprex use is contraindicated
    for patients who do not have convenient access to emergency medical care; expanding
    mandatory adverse event reporting; and requiring additional studies of Mifeprex use in
    at-risk populations.

        At the very least, FDA should not further erode patient protections. The agency
    should retain the Mifeprex REMS, and continue limiting the dispensing of Mifeprex to
    patients in clinics, medical offices, and hospitals, by or under the supervision of a
    certified prescriber.




    119
        Mifeprex Risk Evaluation and Mitigation Strategy (REMS),
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf.
    120
        Mifeprex REMS Study Group, Sixteen Years of Overregulation: Time to Unburden Mifeprex, N Engl. J.
    Med. 376;8 (Feb. 23, 2017).


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                                                                                          EX. 23 pg. 025

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                                   C. Environmental Impact

    This petition is categorically excluded under 21 C.F.R. § 25.30.

                                      D. Economic Impact

    Available upon Commissioner’s request, pursuant to 21 C.F.R. §10.30(3).

                                        E. Certification

    The undersigned certify, that, to the best knowledge and belief of the undersigned, this
    petition includes all information and views on which the petition relies, and that it
    includes representative data and information known to the petitioners, which are
    unfavorable to the petition.

    Signature: /s/ Donna J. Harrison M.D., Executive Director

    Name of petitioner: American Association of Pro-Life Obstetricians and Gynecologists

    Mailing address: PO Box 395, Eau Claire, MI 49111-0395

    Telephone number: (202) 230-0997

    Signature: /s/ Quentin L. Van Meter, M.D., FCP, President

    Name of petitioner: American College of Pediatricians

    Mailing address: PO Box 357190, Gainesville, FL 32635-7190

    Telephone number: (352) 376-1877




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                                                                               EX. 23 pg. 026

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                Exhibit 24
          2019 FDA ANDA Approval Letter to
            GenBioPro, Inc. (Apr. 11, 2019)




                                                                      App. 0421
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    ANDA 091178


                                                                                   ANDA APPROVAL

                                                     (b) (6), (b) (4)

                     GenBioPro, Inc.
                   (b) (6), (b) (4)



    Attention:                    (b) (6), (b) (4)




    Dear Sir:

    This letter is in reference to your abbreviated new drug application (ANDA) received for review
    on February 3, 2009, submitted pursuant to section 505(j) of the Federal Food, Drug, and
    Cosmetic Act (FD&C Act) for Mifepristone Tablets, 200 mg.

    Reference is also made to the complete response letter issued by this office on
    February 23, 2018, and to any amendments thereafter.

    We have completed the review of this ANDA and have concluded that adequate information has
    been presented to demonstrate that the drug is safe and effective for use as recommended in
    the submitted labeling. Accordingly, the ANDA is approved, effective on the date of this
    letter. The                      (b) (6) has determined your Mifepristone Tablets, 200 mg, to be

    bioequivalent and, therefore, therapeutically equivalent to the reference listed drug (RLD),
    Mifeprex Tablets, 200 mg, of Danco Laboratories, LLC.

    Under section 506A of the FD&C Act, certain changes in the conditions described in this ANDA
    require an approved supplemental application before the change may be made.

    RISK EVALUATION AND MITIGATION STRATEGY (REMS) REQUIREMENTS

    Section 505-1 of the FD&C Act authorizes FDA to require the submission of a risk evaluation
    and mitigation strategy (REMS), if FDA determines that such a strategy is necessary to ensure
    that the benefits of the drug outweigh the risks [section 505-1(a)]. In accordance with section
    505-1(i) of the FD&C Act, a drug that is the subject of an ANDA under section 505(j) is subject
    to certain elements of the REMS required for the applicable listed drug.

    The details of the REMS requirements were outlined in our letter dated June 15, 2011. In that
    letter, you were also notified that pursuant to section 505-1(i) of the FD&C Act, a drug that is the
    subject of an ANDA and the listed drug it references must use a single, shared system for
    elements to assure safe use (ETASU), unless FDA waives that requirement.

    Your REMS, known as the Mifepristone REMS Program, submitted on May 30, 2017; is
    approved, and will be posted on the FDA REMS website: http://www.fda.gov/rems

    The REMS consists of ETASU and an implementation system.


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    Silver Spring, MD 20993
    www.fda.gov

                                                                                       EX. 24 pg. 001
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 Your REMS must be fully operational before you introduce Mifepristone Tablets, 200 mg, into
 interstate commerce.

 The Mifepristone REMS uses a single, shared system for the ETASU. This single, shared
 system REMS Program currently includes the products listed on the FDA REMS website,
 available at http://www.fda.gov/rems. Other products may be added in the future if additional
 NDAs or ANDAs are approved.

 Under section 505-1(g)(2)(C) of the FD&C Act, FDA can require the submission of a REMS
 assessment if FDA determines an assessment is needed to evaluate whether the REMS should
 be modified to ensure the benefits of the drug outweigh the risks or to minimize the burden on
 the healthcare delivery system of complying with the REMS.

 We remind you that you must include an adequate rationale to support a proposed REMS
 modification for the addition, modification, or removal of any goal or element of the REMS, as
 described in section 505-1(g)(4) of the FD&C Act.

 We also remind you that section 505-1(f)(8) of the FD&C Act prohibits holders of an approved
 covered application from using any element to assure safe use to block or delay approval of an
 application under section 505(b)(2) or (j). A violation of this provision in 505-1(f) could result in
 enforcement action.

 Prominently identify any submission containing a REMS assessment or proposed modifications
 of the REMS with the following wording in bold capital letters at the top of the first page of the
 submission as appropriate:

         ANDA 091178 REMS ASSESSMENT

         NEW SUPPLEMENT FOR ANDA 091178/S-000
         CHANGES BEING EFFECTED IN 30 DAYS
         PROPOSED MINOR REMS MODIFICATION

                          or

         NEW SUPPLEMENT FOR ANDA 091178/S-000
         PRIOR APPROVAL SUPPLEMENT
         PROPOSED MAJOR REMS MODIFICATION

                          or

         NEW SUPPLEMENT FOR ANDA 091178/S-000
         PRIOR APPROVAL SUPPLEMENT
         PROPOSED REMS MODIFICATIONS DUE TO SAFETY LABELING CHANGES
         SUBMITTED IN SUPPLEMENT XXX

 Should you choose to submit a REMS revision, prominently identify the submission containing
 the REMS revisions with the following wording in bold capital letters at the top of the first page
 of the submission:


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                                                                                     EX. 24 pg. 002
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 Page 3

         REMS REVISION FOR ANDA 091178

 To facilitate review of your submission, we request that you submit your proposed modified
 REMS and other REMS-related materials in Microsoft Word format. If certain documents, such
 as enrollment forms, are only in PDF format, they may be submitted as such, but the preference
 is to include as many as possible in Word format.

 SUBMISSION OF REMS DOCUMENT IN SPL FORMAT

 In addition to submitting the proposed REMS as described above, you can also submit the
 REMS document in Structured Product Labeling (SPL) format. If you intend to submit the
 REMS document in SPL format, include the SPL file with your proposed REMS submission.

 For more information on submitting REMS in SPL format, please email
 REMSWebsite@fda.hhs.gov

 REPORTING REQUIREMENTS

 Postmarketing reporting requirements for this ANDA are set forth in 21 CFR 314.80-81 and
 314.98 and at section 506I of the FD&C Act. The Agency should be advised of any change in
 the marketing status of this drug or if this drug will not be available for sale after approval. In
 particular, under section 506I(b) of the FD&C Act, you are required to notify the Agency in
 writing within 180 days from the date of this letter if this drug will not be available for sale within
 180 days from the date of approval. As part of such written notification, you must include (1) the
 identity of the drug by established name and proprietary name (if any); (2) the ANDA number;
 (3) the strength of the drug; (4) the date on which the drug will be available for sale, if known;
 and (5) the reason for not marketing the drug after approval.

 PROMOTIONAL MATERIALS

 You may request advisory comments on proposed introductory advertising and promotional
 labeling materials prior to publication or dissemination. Please note that these submissions are
 voluntary. To do so, submit, in triplicate, a cover letter requesting advisory comments, the
 proposed materials in draft or mock-up form with annotated references, and the package insert
 (PI), Medication Guide, and patient PI (as applicable) to:

                          OPDP Regulatory Project Manager
                          Food and Drug Administration
                          Center for Drug Evaluation and Research
                          Office of Prescription Drug Promotion
                          5901-B Ammendale Road
                          Beltsville, MD 20705

 Alternatively, you may submit a request for advisory comments electronically in eCTD format.
 For more information about submitting promotional materials in eCTD format, see the draft
 Guidance for Industry (available at:
 http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/U
 CM443702.pdf).


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                                                                                      EX. 24 pg. 003
                                                                                             App. 0424
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 You must also submit final promotional materials and package insert(s), accompanied by a
 Form FDA 2253, at the time of initial dissemination or publication [21 CFR 314.81(b)(3)(i)].
 Form FDA 2253 is available at
 http://www.fda.gov/downloads/AboutFDA/ReportsManualsForms/Forms/UCM083570.pdf.
 Information and Instructions for completing the form can be found at
 http://www.fda.gov/downloads/AboutFDA/ReportsManualsForms/Forms/UCM375154.pdf. For
 more information about submission of promotional materials to the Office of Prescription Drug
 Promotion (OPDP), see http://www.fda.gov/AboutFDA/CentersOffices/CDER/ucm090142.htm.

 ANNUAL FACILITY FEES

 The Generic Drug User Fee Amendments of 2012 (GDUFA) (Public Law 112-144, Title III)
 established certain provisions1 with respect to self-identification of facilities and payment of
 annual facility fees. Your ANDA identifies at least one facility that is subject to the
 self-identification requirement and payment of an annual facility fee. Self-identification must
 occur by June 1st of each year for the next fiscal year. Facility fees must be paid each year by
 the date specified in the Federal Register notice announcing facility fee amounts.

 All finished dosage forms (FDFs) or active pharmaceutical ingredients (APIs) manufactured in a
 facility that has not met its obligations to self-identify or to pay fees when they are due will be
 deemed misbranded. This means that it will be a violation of federal law to ship these products
 in interstate commerce or to import them into the United States. Such violations can result in
 prosecution of those responsible, injunctions, or seizures of misbranded products. Products
 misbranded because of failure to self-identify or pay facility fees are subject to being denied
 entry into the United States.




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                                                                                   EX. 24 pg. 004
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 CONTENT OF LABELING

 As soon as possible, but no later than 14 days from the date of this letter, submit, using the FDA
 automated drug registration and listing system (eLIST), the content of labeling [21 CFR
 314.50(l)] in structured product labeling (SPL) format, as described at
 http://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/default.htm, that is
 identical in content to the approved labeling (including the package insert, and any patient
 package insert and/or Medication Guide that may be required). Information on submitting SPL
 files using eLIST may be found in the guidance for industry titled “SPL Standard for Content of
 Labeling Technical Qs and As” at
 http://www.fda.gov/downloads/DrugsGuidanceComplianceRegulatoryInformation/Guidances/UC
 M072392.pdf. The SPL will be accessible via publicly available labeling repositories.

                                            Sincerely yours,

                                            {See appended electronic signature page}
                                                                              (b) (6)




                                            Center for Drug Evaluation and Research




 1   Some of these provisions were amended by the Generic Drug User Fee Amendments of 2017 (GDUFA II) (Public
     Law 115-52, Title III).




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                 Exhibit 25
    FDA Supplemental Approval Letter to Danco
        Laboratories, LLC (Apr. 11, 2019)




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                                                               EX. 25 pg. 001


                                                                       App. 0429
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               http://www.fda.gov/downloads/DrugsGuidanceComplianceRegulatoryInformation/Guidances/U
               CM072392.pdf.

               The SPL will be accessible from publicly available labeling repositories.

               Also within 14 days, amend all pending supplemental applications that include labeling changes
               for this NDA, including CBE supplements for which FDA has not yet issued an action letter,
               with the content of labeling [21 CFR 314.50(l)(1)(i)] in Microsoft Word format, that includes the
               changes approved in this supplemental application, as well as annual reportable changes. To
               facilitate review of your submission(s), provide a highlighted or marked-up copy that shows all
               changes, as well as a clean Microsoft Word version. The marked-up copy should provide
               appropriate annotations, including supplement number(s) and annual report date(s).

               RISK EVALUATION AND MITIGATION STRATEGY REQUIREMENTS

               The REMS for Mifeprex (mifepristone) Tablets was originally approved on June 8, 2011. The
               most recent modification was approved on March 29, 2016. The REMS consists of elements to
               assure safe use, an implementation system, and a timetable for submission of assessments of the
               REMS. Your proposed modifications to the REMS establish a SSS REMS for the elements to
               assure safe use and the implementation system required for the reference listed drug (RLD)
               Mifeprex and ANDAs referencing Mifeprex, called the Mifepristone REMS Program.

               Your proposed modified REMS, submitted on January 25, 2018, and appended to this letter, is
               approved.

               The timetable for submission of assessments of the REMS must be revised to one year from the
               date of the initial approval of the SSS REMS (04/11/19) and every three years thereafter.

               The revised REMS assessment plan must include, but is not limited to, the following:

               Both cumulative data from the date of the initial approval of the SSS REMS (04/11/19) and data
               from the reporting period (i.e., from the preceding Mifeprex REMS assessment cut-off date to
               the cut-off date for the Mifepristone REMS Program.)

               REMS Assessment Plan
                 Provide each metric for the current reporting period and cumulative for the RLD and
                 ANDA(s):
                 1. Number of prescribers enrolled
                 2. Number of prescribers ordering mifepristone
                 3. Number of healthcare providers who attempted to order mifepristone who were not
                    enrolled; describe actions taken
                 4. Number of women exposed to mifepristone
                 5. Summary and analysis of any program deviations and corrective action taken
                 6. Based on the information reported, an assessment and analysis of whether the REMS is
                    meeting its goals and whether modifications to the REMS are needed




                                                                                               EX. 25 pg. 002
Reference ID: 4418041
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               The requirements for assessments of an approved REMS under section 505-1(g)(3) include with
               respect to each goal included in the strategy, an assessment of the extent to which the approved
               strategy, including each element of the strategy, is meeting the goal or whether 1 or more such
               goals or such elements should be modified.

               We remind you that in addition to the REMS assessments submitted according to the timetable in
               the approved REMS, you must include an adequate rationale to support any proposed REMS
               modification for the addition, modification, or removal of any of goal or element of the REMS,
               as described in section 505-1(g)(4) of the FDCA.

               We also remind you that you must submit a REMS assessment when you submit any future
               supplemental application for a new indication for use as described in section 505-1(g)(2)(A) of
               the FDCA. This assessment should include:

                    a) An evaluation of how the benefit-risk profile will or will not change with the new
                       indication;
                    b) A determination of the implications of a change in the benefit-risk profile for the current
                       REMS;
                    c) If the new indication for use introduces unexpected risks: A description of those risks and
                       an evaluation of whether those risks can be appropriately managed with the currently
                       approved REMS.
                    d) If a REMS assessment was submitted in the 18 months prior to submission of the
                       supplemental application for a new indication for use: A statement about whether the
                       REMS was meeting its goals at the time of that the last assessment and if any
                       modifications of the REMS have been proposed since that assessment.
                    e) If a REMS assessment has not been submitted in the 18 months prior to submission of the
                       supplemental application for a new indication for use: Provision of as many of the
                       currently listed assessment plan items as is feasible.
                    f) If you propose a REMS modification based on a change in the benefit-risk profile or
                       because of the new indication of use, submit an adequate rationale to support the
                       modification, including: Provision of the reason(s) why the proposed REMS modification
                       is necessary, the potential effect on the serious risk(s) for which the REMS was required,
                       on patient access to the drug, and/or on the burden on the health care delivery system;
                       and other appropriate evidence or data to support the proposed change. Additionally,
                       include any changes to the assessment plan necessary to assess the proposed modified
                       REMS. If you are not proposing REMS modifications, provide a rationale for why the
                       REMS does not need to be modified.

               If the assessment instruments and methodology for your REMS assessments are not included in
               the REMS supporting document, or if you propose changes to the submitted assessment
               instruments or methodology, you should update the REMS supporting document to include
               specific assessment instrument and methodology information at least 90 days before the
               assessments will be conducted. Updates to the REMS supporting document may be included in a
               new document that references previous REMS supporting document submission(s) for
               unchanged portions. Alternatively, updates may be made by modifying the complete previous



                                                                                                 EX. 25 pg. 003
Reference ID: 4418041
                                                                                                     App. 0431
    Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                      Page 436 of 684 PageID 6194
               NDA 020687/S-022
               Page 4


               REMS supporting document, with all changes marked and highlighted. Prominently identify the
               submission containing the assessment instruments and methodology with the following wording
               in bold capital letters at the top of the first page of the submission:

                        NDA 020687 REMS CORRESPONDENCE
                        (insert concise description of content in bold capital letters, e.g.,
                        UPDATE TO REMS SUPPORTING DOCUMENT - ASSESSMENT
                        METHODOLOGY

               An authorized generic drug under this NDA must have an approved REMS prior to marketing.
               Should you decide to market, sell, or distribute an authorized generic drug under this NDA,
               contact us to discuss what will be required in the authorized generic drug REMS submission.

               We remind you that section 505-1(f)(8) of FDCA prohibits holders of an approved covered
               application with elements to assure safe use from using any element to block or delay approval
               of an application under section 505(b)(2) or (j). A violation of this provision in 505-1(f) could
               result in enforcement action.

               Prominently identify any submission containing the REMS assessments or proposed
               modifications of the REMS with the following wording in bold capital letters at the top of the
               first page of the submission as appropriate:

                        NDA 020687 REMS ASSESSMENT

                        NEW SUPPLEMENT FOR NDA 020687/S-000/ SECONDARY TRACKING
                        NUMBER
                        CHANGES BEING EFFECTED IN 30 DAYS
                        PROPOSED MINOR REMS MODIFICATION

                                             Or

                        NEW SUPPLEMENT FOR NDA 020687/S-000/ SECONDARY TRACKING
                        NUMBER
                        PRIOR APPROVAL SUPPLEMENT
                             PROPOSED REMS MODIFICATIONS DUE TO SAFETY LABEL
                             CHANGES SUBMITTED IN SUPPLEMENT XXX

                                      Or

                        NEW SUPPLEMENT (NEW INDICATION FOR USE)
                         FOR NDA 020687/S-000
                             REMS ASSESSMENT
                             PROPOSED REMS MODIFICATION (if included)

               Should you choose to submit a REMS revision, prominently identify the submission containing
               the REMS revisions with the following wording in bold capital letters at the top of the first page



                                                                                                 EX. 25 pg. 004
Reference ID: 4418041
                                                                                                    App. 0432
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24   Page 437 of 684 PageID 6195




                                                               EX. 25 pg. 005


                                                                       App. 0433
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               Page 6




               ENCLOSURES:
                 Content of Labeling
                    Prescribing Information
                    Medication Guide
                 REMS




                                                                       EX. 25 pg. 006
Reference ID: 4418041
                                                                       App. 0434
       Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                  Page 439 of 684 PageID 6197
                                                                                                    Signature Page 1 of 1

          --------------------------------------------------------------------------------------------
          This is a representation of an electronic record that was signed
          electronically. Following this are manifestations of any and all
          electronic signatures for this electronic record.
          --------------------------------------------------------------------------------------------
          /s/
          ------------------------------------------------------------

                                    (b) (6)


          04/11/2019 02:13:59 PM




                                                                                           EX. 25 pg. 007
Reference ID: 4418041
                                                                                                   App. 0435
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24   Page 440 of 684 PageID 6198




                 Exhibit 26
2020 Letter from ACOG and SMFM, to FDA about
       Mifepristone REMS (Apr. 20, 2020)
           (2020 ACOG-SMFM Letter)




                                                                      App. 0436
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                       Page 441 of 684 PageID 6199




 April 20, 2020

 Stephen M. Hahn, M.D.
 Commissioner
 U.S. Food and Drug Administration
 10903 New Hampshire Avenue NW
 Silver Spring, MD 20993

 Re: Docket Number: FDA-2020-D-1106; Policy for Certain REMS Requirements During the COVID-19
 Public Health Emergency Guidance for Industry and Health Care Professionals


 Dear Commissioner Hahn:

 On behalf of more than 60,000 of the nation’s primary care obstetrician-gynecologists and subspecialty
 and high-risk obstetric practitioners dedicated to advancing women’s health, thank you for your recent
 action to suspend enforcement of Risk Evaluation and Mitigation Strategy (REMS) requirements for
 certain drugs with laboratory testing or imaging requirements for the duration of the COVID-19 public
 health emergency. The American College of Obstetricians and Gynecologists and the Society for
 Maternal-Fetal Medicine urge the U.S. Food and Drug Administration (FDA) to immediately expand this
 policy to REMS and Elements to Assure Safe Use (ETASU) requirements for certain prescription drugs
 requiring in-person health care professional administration, where treatment could safely occur through
 telehealth or self-administration. In addition, physicians who provide such services in accordance with
 current clinical guidelines during this pandemic should not be held liable.

 Obstetrician-gynecologists are serving on the front lines responding to the COVID-19 crisis. In order to
 provide the safest care for their patients and themselves, in-person visits are limited to emergency and
 essential physically necessary visits. We support the FDA’s acknowledgment that REMS-required health
 care professional in-person dispensation is difficult because patients may need to avoid public places and
 patients suspected of having COVID-19 may be self-isolating and/or subject to quarantine. Under these
 circumstances, undergoing in-person clinic administration in order to obtain a drug subject to a REMS
 can put patients and others, including health care professionals and their families, at risk for COVID-19
 transmission. As referenced in ACOG Committee Opinion #798, Implementing Telehealth in Practice,
 evidence suggests that telehealth provides comparable health outcomes when compared with traditional
 methods of health care delivery without compromising the patient–physician relationship. 1 Telehealth has
 quickly become integrated into nearly every aspect of obstetrics and gynecology. During this pandemic, it
 is essential to use telehealth services to limit COVID-19 transmission.

 It is critical that the FDA promptly expand its recent policy to apply to the REMS and ETASU
 requirements for certain drugs requiring in-person dispensation, especially mifepristone. The current
 REMS and ETASU requirements for mifepristone are outdated and serve as a barrier to accessing this
 safe, effective medication. Further, they cause unnecessary delays in obtaining time-sensitive health care,
 without supporting improvements to patient safety or outcomes. During this federally declared public
 health emergency, these antiquated and superfluous requirements put patients and their physicians at risk,
 with no demonstrated benefit. As noted in the ACOG Position Statement, Improving Access to




                                                                                          EX. 26 pg. 001
                                                                                                App. 0437
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Mifepristone for Reproductive Health Indications, mifepristone has been used by over 3 million women
in the United States since FDA approval in 2000 and strong evidence exists regarding the safety of
mifepristone for medication-induced abortion and medical management of early pregnancy loss.2,3,4,5

Restricting access to mifepristone interferes with the ability of obstetrician–gynecologists and other
women’s health clinicians to deliver the highest quality care for their patients, especially during the
COVID-19 pandemic. Abortion is an essential component of comprehensive health care and is a time-
sensitive service for which a delay of several weeks, or in some cases days, may increase the risks or
potentially make it completely inaccessible.6 Temporarily waiving REMS and ETASU requirements that
certain drugs be dispensed in-person by certain medical professionals is particularly important for patients
who suffer from other medical conditions and are at higher risk of serious complications from COVID-19,
as well as those in rural areas for whom hours of travel for in-person administration would disallow social
distancing recommendations and travel advisories.

In addition, we urge you to consider waiving the requirement for health care professional administration
of subcutaneous depot medroxyprogesterone acetate (DMPA). Several studies have shown patient interest
in self-administration and increased continuation of DMPA via subcutaneous at-home delivery. 7,8,9 In a
period when limiting patient interactions with the health care system is essential to prevent COVID-19
transmission, it is in our patients’ best interest to have unencumbered access to the contraceptive method
of their choice, including DMPA.

Ensuring the safety of patients and physicians during the COVID-19 pandemic requires policy changes
such as those already enacted by FDA to waive the REMS requirements for certain drugs with laboratory
testing or imaging requirements. We strongly urge FDA to further protect patients and their health care
professionals from the risk of transmission by promptly expanding the existing policy to waive REMS
and ETASU requirements that certain drugs be dispensed in-person by certain medical professionals.
Thank you for your consideration. We are available to answer any questions you may have regarding
these issues.

Sincerely,




Maureen G. Phipps, MD, MPH, FACOG                         Judette Louis, MD, MPH
Chief Executive Officer                                   President
American College of Obstetricians and                     Society for Maternal-Fetal Medicine
Gynecologists




                                 Matt J. Granato, LL.M., MBA
                                 Chief Executive Officer
                                 Society for Maternal-Fetal Medicine




                                                                                         EX. 26 pg. 002
                                                                                                  App. 0438
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                          Page 443 of 684 PageID 6201

1
  Implementing telehealth in practice. ACOG Committee Opinion No. 798. American College of Obstetricians and
Gynecologists. Obstet Gynecol 2020;135:e73–9.
2
  Improving Access to Mifepristone for Reproductive Health Indications. Position Statement. American College of
Obstetricians and Gynecologists. June 2018. Available at https://www.acog.org/clinical-information/policy-and-
position-statements/position-statements/2018/improving-access-to-mifepristone-for-reproductive-health-indications.
3
  Cleland K, Smith N. Aligning mifepristone regulation with evidence: Driving policy change using 15 years of
excellent safety data. Contraception. 2015;92(3):179-181. doi:10.1016/j.contraception.2015.06.016.
4
  Sixteen Years of Overregulation: Time to Unburden Mifeprex. N Engl J Med. 2017;376(8):790-794.
5
  Song LP, Tang SY, Li CL, Zhou LJGYK, Mo XT. Early medical abortion with self-administered low-dose
mifepristone in combination with misoprostol. J Obstet Gynaecol Res. 2018;44(9):1705-1711.
doi:10.1111/jog.13716.
6
  Joint Statement on Abortion Access During the COVID-19 Outbreak. March 18, 2020. Available at
https://www.acog.org/news/news-releases/2020/03/joint-statement-on-abortion-access-during-the-covid-19-
outbreak.
7
  Upadhyay UD, Zlidar VM, Foster DG. Interest in self-administration of subcutaneous depot medroxyprogesterone
acetate in the United States. Contraception. 2016;94(4):303-313. doi:10.1016/j.contraception.2016.06.006.
8
  Kohn JE, Simons HR, Della Badia L, et al. Increased 1-year continuation of DMPA among women randomized to
self-administration: results from a randomized controlled trial at Planned Parenthood. Contraception.
2018;97(3):198-204. doi:10.1016/j.contraception.2017.11.009.
9
  Burke HM, Chen M, Buluzi M, et al. Effect of self-administration versus provider-administered injection of
subcutaneous depot medroxyprogesterone acetate on continuation rates in Malawi: a randomised controlled trial.
Lancet Glob Heal. 2018;6(5):e568-e578. doi:10.1016/S2214-109X(18)30061-5.




                                                                                              EX. 26 pg. 003

                                                                                                       App. 0439
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24   Page 444 of 684 PageID 6202




                 Exhibit 27
    2021 FDA Letter to ACOG and SMFM About
        Mifepristone REMS, (Apr. 12, 2021)
         (2021 Non-Enforcement Decision)




                                                                      App. 0440
Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                          Page 445 of 684 PageID 6203




                                                                     April 12, 2021

Maureen G. Phipps, MD, MPH, FACOG
Chief Executive Officer
American College of Obstetricians and Gynecologists
c/o    Rachel Tetlow, Federal Affairs Director
       rtetlow@acog.org

        Skye Perryman, General Counsel
        sperryman@acog.org

William Grobman, MD, MBA
President
Society for Maternal-Fetal Medicine
w-grobman@northwestern.edu


Dear Drs. Phipps and Grobman,

In your letter of April 20, 2020, to former Commissioner Stephen Hahn, you expressed concerns
about the in-person dispensing requirements for certain prescription drugs during the current
public health emergency. In my letter to you of March 19, 2021, I indicated that staff in the
Food and Drug Administration’s (FDA) Center for Drug Evaluation and Research (CDER) were
evaluating the issues you raised.

Following up on my March 19, 2021, letter I am writing to report the results of CDER’s review
and analysis.

CDER conducted a literature search for studies pertinent to the in-person dispensing requirement
in the Mifepristone REMS Program during the COVID-19 pandemic. Based on this literature
search, CDER identified four publications that included relevant clinical outcome data. 1 CDER

1
 Chong E, et al. Expansion of a Direct-to-Patient Telemedicine Abortion Service in the United States and
Experience during the COVID-19 Pandemic. Contraception 2021 (accepted manuscript).
https://www.sciencedirect.com/science/article/pii/S0010782421000913; Kerestes C, et al. Provision of
medication abortion in Hawai’i during COVID-19: Practical experience with multiple care delivery
models. Contraception 2021 (accepted manuscript). https://doi.org/10.1016/j.contraception.2021.03.025;
Aiken A et al. Effectiveness, Safety and Acceptability of No‐test Medical Abortion Provided Via Telemedicine: a
National Cohort Study. British J Obstet Gynecol 2021. https://obgyn.onlinelibrary.wiley.com/doi/10.1111/1471-
0528.16668; Reynolds-Wright JJ et al. Telemedicine medical abortion at home under 12 weeks’ gestation:
a prospective observational cohort study during the COVID-19 pandemic. BMJ Sex Reprod Health 2021.
https://srh.bmj.com/content/early/2021/02/04/bmjsrh-2020-200976


U.S. Food & Drug Administration
10903 New Hampshire Avenue
Silver Spring, MD 20993
w ww.fda.gov
                                                                                            EX. 27 pg. 001
                                                                                                   App. 0441
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                                                                                              Page 2


found that although there are limitations to the study designs, the overall findings from these
studies do not appear to show increases in serious safety concerns (such as hemorrhage, ectopic
pregnancy, or surgical interventions) occurring with medical abortion as a result of modifying
the in-person dispensing requirement during the COVID-19 pandemic.

CDER also reviewed postmarketing adverse events that reportedly occurred from January 27,
2020 - January 12, 2021, with mifepristone use for medical termination of early pregnancy,
along with available information about deviations or noncompliance events associated with the
Mifepristone REMS Program. 2 CDER found that the small number of adverse events reported to
FDA during the COVID-19 public health emergency (PHE) provide no indication that any
program deviation or noncompliance with the Mifepristone REMS Program contributed to the
reported adverse events.

In summary, provided the other requirements of the Mifepristone REMS Program are met, and
given that the in-person dispensing of mifepristone for medical termination of early pregnancy
may present additional COVID-related risks to patients and healthcare personnel because it may
involve a clinic visit solely for this purpose, CDER intends to exercise enforcement discretion
during the COVID-19 PHE with respect to the in-person dispensing requirement of the
Mifepristone REMS Program, including any in-person requirements that may be related to the
Patient Agreement Form. Further, to the extent all of the other requirements of the Mifepristone
REMS Program are met, CDER intends to exercise enforcement discretion during the COVID-
19 PHE with respect to the dispensing of mifepristone through the mail either by or under the
supervision of a certified prescriber, or through a mail-order pharmacy when such dispensing is
done under the supervision of a certified prescriber.

CDER is communicating this decision to the approved application holders subject to the
Mifepristone REMS Program.

                                                   Sincerely yours,




                                                   Janet Woodcock, M.D.
                                                   Acting Commissioner of Food and Drugs




2
 See Mifepristone REMS Program at
https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=390. CDER’s
analysis covers both products that are subject to the Mifepristone REMS Program (Mifeprex and the approved
generic, Mifepristone Tablets, 200 mg).



                                                                                            EX. 27 pg. 002
                                                                                                   App. 0442
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                 Exhibit 28
    FDA Supplemental Approval Letter to Danco
               Laboratories, LLC
                (May 14, 2021)




                                                                      App. 0443
     Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24               Page 448 of 684 PageID 6206




               NDA 020687/S-024
                                                                           SUPPLEMENT APPROVAL

               Danco Laboratories LLC              (b) (4), (b) (6)




               P.O. Box 4816
               New York, NY 10185
                            (b) (4), (b) (6)
               Dear                            :

               Please refer to your supplemental new drug application (sNDA) dated and received
               March 15, 2021, and your amendments, submitted pursuant to section 505(b)(2) of the
               Federal Food, Drug, and Cosmetic Act (FDCA) for Mifeprex (mifepristone) Tablets.

               This Changes Being Effected sNDA provides for changes to the single, shared system
               risk evaluation and mitigation strategy (REMS) for mifepristone products for the medical
               termination of intrauterine pregnancy, known as the Mifepristone REMS Program, to
               include gender neutral language in the Patient Agreement Form. This sNDA also
               provides for minor changes to the REMS document to be consistent with the changes
               made to the Patient Agreement Form.

               We have completed our review of this application, as amended. It is approved, effective
               on the date of this letter.

               REQUIRED PEDIATRIC ASSESSMENTS

               Under the Pediatric Research Equity Act (PREA) (21 U.S.C. 355c), all applications for
               new active ingredients (which includes new salts and new fixed combinations), new
               indications, new dosage forms, new dosing regimens, or new routes of administration
               are required to contain an assessment of the safety and effectiveness of the product for
               the claimed indication in pediatric patients unless this requirement is waived, deferred,
               or inapplicable.

               Because none of these criteria apply to your application, you are exempt from this
               requirement.

               RISK EVALUATION AND MITIGATION STRATEGY (REMS) REQUIREMENTS

               The REMS for Mifeprex was originally approved on August 7, 2012, and the most recent
               REMS modification, establishing the Mifepristone REMS Program, was approved on
               April 11, 2019. The Mifepristone REMS Program consists of elements to assure safe
               use, an implementation system, and a timetable for submission of assessments of the
               REMS. Your proposed modification to the Mifepristone REMS Program consists of a



                                                                                         EX. 28 pg. 001
Reference ID: 4795916
                                                                                            App. 0444
     Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                  Page 449 of 684 PageID 6207
            NDA 020687/S-024
            Page 2


               revised Patient Agreement Form to include gender neutral language and minor
               revisions to the REMS document to be consistent with the revisions to the Patient
               Agreement Form.

               The timetable for submission of assessments of the REMS remains the same as that
               approved on April 11, 2019.

               There are no changes to the REMS assessment plan described in our April 11, 2019
               letter.

               We remind you that in addition to the REMS assessments submitted according to the
               timetable in the approved Mifepristone REMS Program, you must include an adequate
               rationale to support a proposed REMS modification for the addition, modification, or
               removal of any goal or element of the Mifepristone REMS Program, as described in
               section 505-1(g)(4) of the FDCA.

               We also remind you that you must submit a REMS assessment when you submit a
               supplemental application for a new indication for use, as described in section 505­
               1(g)(2)(A) of the FDCA. This assessment should include:

                    a) An evaluation of how the benefit-risk profile will or will not change with the new
                       indication;

                    b) A determination of the implications of a change in the benefit-risk profile for the
                       current REMS;

                    c) If the new indication for use introduces unexpected risks: A description of those
                       risks and an evaluation of whether those risks can be appropriately managed
                       with the currently approved REMS.

                    d) If a REMS assessment was submitted in the 18 months prior to submission of the
                       supplemental application for a new indication for use: A statement about whether
                       the REMS was meeting its goals at the time of that last assessment and if any
                       modifications of the REMS have been proposed since that assessment.

                    e) If a REMS assessment has not been submitted in the 18 months prior to
                       submission of the supplemental application for a new indication for use: Provision
                       of as many of the currently listed assessment plan items as is feasible.

                    f) If you propose a REMS modification based on a change in the benefit-risk profile
                       or because of the new indication of use, submit an adequate rationale to support
                       the modification, including: Provision of the reason(s) why the proposed REMS
                       modification is necessary, the potential effect on the serious risk(s) for which the
                       REMS was required, on patient access to the drug, and/or on the burden on the
               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov
                                                                                             EX. 28 pg. 002
Reference ID: 4795916
                                                                                                App. 0445
     Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                Page 450 of 684 PageID 6208
            NDA 020687/S-024
            Page 3


                        health care delivery system; and other appropriate evidence or data to support
                        the proposed change. Additionally, include any changes to the assessment plan
                        necessary to assess the proposed modified REMS. If you are not proposing
                        REMS modifications, provide a rationale for why the REMS does not need to be
                        modified.

               If the assessment instruments and methodology for your REMS assessments are not
               included in the REMS supporting document, or if you propose changes to the submitted
               assessment instruments or methodology, you should update the REMS supporting
               document to include specific assessment instrument and methodology information at
               least 90 days before the assessments will be conducted. Updates to the REMS
               supporting document may be included in a new document that references previous
               REMS supporting document submission(s) for unchanged portions. Alternatively,
               updates may be made by modifying the complete previous REMS supporting document,
               with all changes marked and highlighted. Prominently identify the submission containing
               the assessment instruments and methodology with the following wording in bold capital
               letters at the top of the first page of the submission:

                        NDA 020687 REMS ASSESSMENT METHODOLOGY
                        (insert concise description of content in bold capital letters, e.g.,
                        ASSESSMENT METHODOLOGY, PROTOCOL, SURVEY METHODOLOGIES,
                        AUDIT PLAN, DRUG USE STUDY)

               An authorized generic drug under this NDA must have an approved REMS prior to
               marketing. Should you decide to market, sell, or distribute an authorized generic drug
               under this NDA, contact us to discuss what will be required in the authorized generic
               drug REMS submission.

               We remind you that section 505-1(f)(8) of FDCA prohibits holders of an approved
               covered application with elements to assure safe use from using any element to block
               or delay approval of an application under section 505(b)(2) or (j). A violation of this
               provision in 505-1(f) could result in enforcement action.

               Prominently identify any submission containing the REMS assessments or proposed
               modifications of the REMS with the following wording in bold capital letters at the top of
               the first page of the submission as appropriate:

                        NDA 020687 REMS ASSESSMENT

                                     or

                        NEW SUPPLEMENT FOR NDA 020687/S-000
                        CHANGES BEING EFFECTED IN 30 DAYS
                        PROPOSED MINOR REMS MODIFICATION


               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov
                                                                                          EX. 28 pg. 003
Reference ID: 4795916
                                                                                             App. 0446
     Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                Page 451 of 684 PageID 6209
           NDA 020687/S-024
           Page 4


                                    or

                        NEW SUPPLEMENT FOR NDA 020687/S-000
                        PRIOR APPROVAL SUPPLEMENT
                        PROPOSED MAJOR REMS MODIFICATION

                                    or

                        NEW SUPPLEMENT FOR NDA 020687/S-000
                        PRIOR APPROVAL SUPPLEMENT
                          PROPOSED REMS MODIFICATIONS DUE TO SAFETY LABELING
                          CHANGES SUBMITTED IN SUPPLEMENT XXX

                                    or

                        NEW SUPPLEMENT (NEW INDICATION FOR USE)
                        FOR NDA 020687/S-000/
                          REMS ASSESSMENT
                          PROPOSED REMS MODIFICATION (if included)

               Should you choose to submit a REMS revision, prominently identify the submission
               containing the REMS revisions with the following wording in bold capital letters at the
               top of the first page of the submission:

                        REMS REVISIONS FOR NDA 020687

               To facilitate review of your submission, we request that you submit your proposed
               modified REMS and other REMS-related materials in Microsoft Word format. If certain
               documents, such as enrollment forms, or website screenshots are only in PDF format,
               they may be submitted as such, but Word format is preferred.

               SUBMISSION OF REMS DOCUMENT IN SPL FORMAT

               FDA can accept the REMS document in Structured Product Labeling (SPL) format. If
               you intend to submit the REMS document in SPL format, as soon as possible, but no
               later than 14 days from the date of this letter, submit the REMS document in SPL format
               using the FDA automated drug registration and listing system (eLIST).

               For more information on submitting REMS in SPL format, please email
               FDAREMSwebsite@fda.hhs.gov.

               REPORTING REQUIREMENTS

               We remind you that you must comply with reporting requirements for an approved NDA
               (21 CFR 314.80 and 314.81).

               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov
                                                                                          EX. 28 pg. 004
Reference ID: 4795916
                                                                                             App. 0447
 Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24             Page 452 of 684 PageID 6210
          NDA 020687/S-024
          Page 5




                                                                        (b) (6)
               If you have any questions, call                                    .

                                                   Sincerely,

                                                   {See appended electronic signature page}
                                                                                               (b) (6)




                                                   Center for Drug Evaluation and Research



               ENCLOSURE:
                 • REMS




               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov
                                                                                      EX. 28 pg. 005
Reference ID: 4795916
                                                                                      App. 0448
(
      Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                    Page 453 of 684 PageID 6211
                                                                                                    Signature Page 1 of 1

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          This is a representation of an electronic record that was signed
          electronically. Following this are manifestations of any and all
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                                                                                           EX. 28 pg. 006
Reference ID: 4795916
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                 Exhibit 29
2021 FDA Center for Drug Evaluation & Research
Director Patrizia Cavazzoni Letter to Dr. Graham
             Chelius (Dec. 16, 2021)




                                                                      App. 0450
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                 Center for Drug Evaluation and Research             Food and Drug Administration




     December 16, 2021

     Graham Chelius, M.D.
     The Society of Family Planning
     The California Academy of Family Physicians

     Dear Dr. Chelius:

     This letter is to inform you that FDA has completed its review of the Mifepristone Risk Evaluation and
     Mitigation System (REMS) Program.1 The agency has determined that the Mifepristone REMS
     Program continues to be necessary to ensure that the benefits of the drug outweigh the risks. However,
     we have determined that it must be modified to minimize the burden on the health care delivery system
     of complying with the REMS and to ensure that the benefits of the drug outweigh the risks. See 21 USC
     355-1(g)(4)(B). The modifications to the REMS will consist of: (1) removing the requirement that
     mifepristone be dispensed only in certain healthcare settings, specifically clinics, medical offices, and
     hospitals (i.e., the “in-person dispensing requirement”); and (2) adding a requirement that pharmacies
     that dispense the drug be specially certified.

     A REMS Modification Notification letter has been sent to both Applicants subject to the Mifepristone
     REMS Program. The letter describes the modifications and directs the Applicants to submit prior
     approval supplements within 120 days. We have also answered a related citizen petition from the
     American Association of Pro-Life Obstetricians and Gynecologists and
     the American College of Pediatricians. That response will be posted in the public docket (Docket No.
     FDA-2019-P-1534; available at www.regulations.gov).


                                                            Sincerely,
                                                             Patrizia A.         Digitally signed by Patrizia A.
                                                                                 Cavazzoni -S
                                                             Cavazzoni -S        Date: 2021.12.16 15:05:01 -05'00'

                                                            Patrizia Cavazzoni, M.D.
                                                            Director
                                                            Center for Drug Evaluation and Research




     1
         We also note your letter of September 29, 2021 to us on this subject.




                                                                                                                     EX. 29 pg. 001
                                                                                                                       App. 0451
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                 Exhibit 30
  2021 FDA Letter to AAPLOG and Am. Coll. of
Pediatricians denying in part and granting in part
  2016 Citizen Petition, Docket No. FDA-2019-P-
    1534 (Dec. 16, 2021) (2021 FDA Response)




                                                                      App. 0452
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Donna J. Harrison, M.D.
Executive Director
American Association of Pro-Life Obstetricians and Gynecologists
P.O. Box 395
Eau Claire, MI 49111-0395

Quentin L. Van Meter, M.D., FCP
President
American College of Pediatricians
P.O. Box 357190
Gainesville, FL 32635-7190
                                                                               December 16, 2021
                  Re: Docket No. FDA-2019-P-1534

Dear Drs. Harrison and Van Meter:

This letter responds to your citizen petition submitted to the Food and Drug Administration (FDA
or Agency) on March 29, 2019, on behalf of the American Association of Pro-Life Obstetricians
and Gynecologists and the American College of Pediatricians (Petition). In the Petition, you
request that FDA: (1) restore and strengthen elements of the Mifeprex regimen and prescriber
requirements approved in 2000, and (2) retain the Mifeprex Risk Evaluation and Mitigation
Strategy (REMS) and continue limiting the dispensing of Mifeprex to patients in clinics, medical
offices, and hospitals, by or under the supervision of a certified prescriber.

Specifically, in your Petition you request that the Agency:

    (1) Restore and strengthen elements of the Mifeprex regimen and prescriber requirements
        approved in 2000, to include the following:

       •    Indications and Usage - Mifeprex, in a regimen with misoprostol, for the termination of
            intrauterine pregnancy, should be limited to 49 days gestation.

       •    Dosage and Administration:
             o Mifeprex should be administered by or under the supervision of a physically present
                and certified physician who has ruled out ectopic pregnancy.

             o The use of Mifeprex and misoprostol for the termination of pregnancy should
               require three office visits by the patient.

U.S. Food & Drug Administration
10903 New Hampshire Avenue
Silver Spring, MD 20993
w ww.fda.gov



                                                                                    EX. 30 pg. 001
                                                                                          App. 0453
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           •   Contraindications - Mifeprex use is contraindicated for patients who do not have
               convenient access to emergency medical care.

           • Adverse Event Reporting - Certified prescribers, emergency medical personnel,
             physicians treating complications, and Danco Laboratories should report to FDA’s
             MedWatch Reporting system any deaths, hospitalizations, blood transfusions, emergency
             room visits, failures requiring surgical completion, ongoing pregnancy, or other major
             complications following the use of Mifeprex and misoprostol.

           • Additional studies - The Mifeprex REMS should require a formal study of outcomes for
             at-risk populations, including: patients under the age of 18; patients with repeat Mifeprex
             abortions; patients who have limited access to emergency room services; and patients
             who self-administer misoprostol.

       (2) Retain the Mifeprex REMS and continue limiting the dispensing of Mifeprex to patients in
           clinics, medical offices, and hospitals, by or under the supervision of a certified prescriber.

 We have carefully considered the information submitted in your Petition and other relevant data
 available to the Agency. Based on our review of this information, your Petition is granted in part
 and denied in part.

 I.         BACKGROUND

       A. Mifeprex

 On September 28, 2000, FDA approved Mifeprex for the medical termination of intrauterine
 pregnancy through 49 days’ pregnancy (new drug application (NDA) 020687). The application
 was approved under part 314, subpart H (21 CFR part 314, subpart H), “Accelerated Approval of
 New Drugs for Serious or Life-Threatening Illnesses” (subpart H). Specifically, § 314.520 of
 subpart H provides for approval with restrictions that are needed to assure the safe use of the drug
 product. In accordance with § 314.520, FDA restricted the distribution of Mifeprex as specified in
 the September 2000 approval letter.1

 Subsequently, Mifeprex was identified as one of the products that was deemed to have in effect an
 approved REMS under the Food and Drug Administration Amendments Act of 2007 (FDAAA)
 because on the effective date of Title IX, subtitle A of FDAAA (March 28, 2008), Mifeprex had in
 effect elements to assure safe use.2 Accordingly, in June 2011, we approved a REMS for
 Mifeprex, consisting of a Medication Guide, elements to assure safe use (ETASU), an
 implementation system, and a timetable for submission of assessments of the REMS.

 Elements to assure safe use included: (1) prescriber certification (ETASU A); (2) that Mifeprex is
 dispensed only in certain healthcare settings by or under the supervision of a certified prescriber

 1
     See https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2000/20687appltr.pdf.
 2
     73 FR 16313 (Mar. 27, 2008).



                                                        2
                                                                                            EX. 30 pg. 002
                                                                                                 App. 0454
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(ETASU C); and (3) that Mifeprex is dispensed only with documentation of safe use conditions
(ETASU D). Documentation of safe use conditions consists of a Patient Agreement Form between
the prescriber and the patient indicating that the patient has received counseling from the prescriber
regarding the risk of serious complications associated with Mifeprex.

On March 29, 2016, we approved an efficacy supplement (S-020) to NDA 020687 for Mifeprex
submitted by the applicant Danco Laboratories, LLC (S-020 efficacy supplement). The approval
included changes in the dose of Mifeprex and the dosing regimen for taking Mifeprex and
misoprostol (including the dose of misoprostol and a change in the route of misoprostol
administration from oral to buccal (in the cheek pouch); the interval between taking Mifeprex and
misoprostol; and the location at which the patient may take misoprostol). The approval also
modified the gestational age up to which Mifeprex has been shown to be safe and effective, as well
as the process for follow-up after administration of the drug.

Specifically, the following changes, among others, were made as part of the 2016 approval:3

    •   Revised the dosing regimen to consist of 200 mg of Mifeprex taken by mouth, followed in
        24-48 hours by 800 mcg of misoprostol taken buccally (in the cheek pouch). This differs
        from the originally approved dosing regimen of 600 mg of oral Mifeprex followed 48 hours
        later by 400 mcg of oral misoprostol.

    •   Revised the indication for use of Mifeprex, in a regimen with misoprostol, to extend the
        maximum gestational age for the medical termination of intrauterine pregnancy from 49
        days to 70 days.

    •   Reduced the number of office visits by the patient under the approved regimen from three
        to one.

    •   Replaced the term “physician” with the term “healthcare provider.”

In addition, after reviewing the data and information submitted by the applicant in the S-020
efficacy supplement, and after taking into consideration the safety data that had become available
since the initial approval of Mifeprex in 2000, we determined the Mifeprex REMS continued to be
necessary to ensure the benefits of the product outweigh the risks. However, we approved
modifications to the Mifeprex REMS that reflected the changes approved in the efficacy
supplement. These changes to the REMS included, among others:4

    •   Updating the Prescriber Agreement Form to reflect the revised indication and dosing
        regimen.

    •   Removing the Medication Guide as a REMS element (but retaining the Medication Guide
        as labeling).


3
  See https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2016/020687Orig1s020ltr.pdf and
https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
4
  See https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020RemsR.pdf.


                                                   3
                                                                                                 EX. 30 pg. 003
                                                                                                      App. 0455
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    •    Removing the requirement that certified prescribers report certain enumerated adverse
         events to the applicant (specifically, any hospitalization, transfusion or other serious
         adverse events), but retaining the requirement that certified prescribers report all deaths to
         the sponsor.

Under the March 2016 approval, the Mifeprex REMS also continued to require that Mifeprex be
dispensed to patients only in certain healthcare settings, specifically, clinics, medical offices, and
hospitals, by or under the supervision of a certified prescriber.5

    B. Generic Version of Mifeprex

On April 11, 2019, we approved GenBioPro, Inc.’s generic version of Mifeprex, Mifepristone
Tablets, 200 mg (abbreviated new drug application (ANDA) 091178). This action took place after
this Petition was submitted to the Agency. As required by 21 CFR 314.94(a)(8), GenBioPro’s
approved generic version of Mifeprex, Mifepristone Tablets, 200 mg, has the same labeling (with
certain permissible differences) as the brand product it references, Mifeprex. Accordingly,
although we refer to the Mifeprex labeling in several sections of this response, our discussions in
this response apply equally to both the NDA and the generic product labeling, unless otherwise
specifically noted.6

GenBioPro’s generic version of Mifeprex is subject to the same ETASU as its listed drug (21
U.S.C. -1(i)). At the time we approved GenBioPro’s generic version of Mifeprex, that ANDA
product was required to use a single, shared system for the ETASU with the brand drug product,
Mifeprex, unless the requirement was waived by FDA (21 U.S.C. 355-1(i)). FDA did not waive
this requirement. Accordingly, at the same time that FDA approved GenBioPro’s generic version
of Mifeprex in 2019, FDA approved a supplemental new drug application (sNDA) for Mifeprex,
approving modifications to the existing, approved REMS for Mifeprex to establish a single, shared
system REMS for mifepristone products for the medical termination of intrauterine pregnancy
through 70 days gestation (referred to as the Mifepristone REMS Program). In establishing the
single, shared system REMS in 2019, no substantive changes were made to the ETASU in the
March 2016 Mifeprex REMS. References to the REMS in this response refer to the Mifepristone
REMS Program established in 2019, unless otherwise noted.

    C. In-Person Dispensing Requirement During the COVID-19 PHE



5
  See https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2016/020687Orig1s020ltr.pdf.
6
  We note that Korlym and the generic version of Korlym (Mifepristone Tablets, 300 mg) contain the same
active ingredient – mifepristone - as Mifeprex and the generic version of Mifeprex (Mifepristone Tablets, 200
mg). Although these drug products contain the same active ingredient, their intended uses target different
receptors, and the products have different strengths and use different dosing regimens. Korlym and the
generic version of Korlym are approved for the control of hyperglycemia (high blood sugar levels) due to
hypercortisolism in adult patients with endogenous Cushing’s syndrome who have type 2 diabetes or glucose
intolerance, and have failed surgery or are not candidates for surgery. References to mifepristone in this
response refer to the use of mifepristone for the medical termination of intrauterine pregnancy through 70
days gestation, unless otherwise noted.




                                                      4
                                                                                                   EX. 30 pg. 004
                                                                                                        App. 0456
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FDA has recognized that during the COVID-197 public health emergency (PHE),8 certain REMS
requirements for various products may be difficult to comply with because patients may need to
avoid public places and patients suspected of having COVID-19 may be self-isolating and/or
subject to quarantine. The Agency has also received queries concerning products with REMS that
have ETASUs, including REMS with ETASUs that restrict distribution, and the impact of such
ETASUs on patient access when patients self-isolate or are subject to quarantine.

In April 2021, FDA communicated its intent to exercise enforcement discretion during the
COVID-19 PHE regarding the requirement in the Mifepristone REMS Program that mifepristone
used for medical termination of intrauterine pregnancy through 70 days gestation be dispensed to
patients by or under the supervision of a certified prescriber only in certain healthcare settings,
specifically clinics, medical offices, and hospitals (referred to as the “in-person dispensing
requirement”).

Specifically, FDA communicated that provided all other requirements of the Mifepristone REMS
Program are met, the Agency intends to exercise enforcement discretion with respect to the in-
person dispensing requirement of the Mifepristone REMS Program, including any in-person
requirements that may be related to the Patient Agreement Form, during the COVID-19 PHE. This
determination, which FDA made on April 12, 2021, was effective immediately. We also note that
from July 13, 2020 to January 12, 2021, per a court order, FDA was enjoined from enforcing the
in-person dispensing requirement of the Mifepristone REMS Program.9

Further, and as we also communicated on April 12, 2021, to the extent all of the other requirements
of the Mifepristone REMS Program are met, the Agency intends to exercise enforcement discretion
during the COVID-19 PHE with respect to the dispensing of Mifeprex or the approved generic
version of Mifeprex, Mifepristone Tablets, 200 mg, through the mail, either by or under the
supervision of a certified prescriber, or through a mail-order pharmacy when such dispensing is
done under the supervision of a certified prescriber.

FDA’s intent to exercise enforcement discretion with respect to these requirements during the
COVID-19 PHE was the result of a thorough scientific review by experts within FDA’s Center for
Drug Evaluation and Research (CDER), who evaluated relevant information, including available
clinical outcomes data and adverse event reports.

    D. Minor Modification



7
  The virus has been named “SARS-CoV-2” and the disease it causes has been named “Coronavirus Disease
2019” (COVID-19).
8
  Secretary of Health and Human Services, Determination that a Public Health Emergency Exists (originally
issued Jan. 31, 2020, and subsequently renewed), available at
https://www.phe.gov/emergency/news/healthactions/phe/Pages/default.aspx.
9
  Am. Coll. of Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183, 233 (D. Md. July 13, 2020), order
clarified, 2020 WL 8167535 (D. Md. Aug. 19, 2020) (preliminarily enjoining FDA from enforcing the in-
person dispensing requirement and any other in-person requirements of the Mifepristone SSS REMS); FDA v.
Am. Coll. of Obstetricians & Gynecologists, 141 S. Ct. 578 (Jan. 12, 2021) (staying the preliminary injunction
imposed by the District Court).


                                                      5
                                                                                                    EX. 30 pg. 005
                                                                                                         App. 0457
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In response to a request submitted by the applicants, FDA approved a minor modification to the
Mifepristone REMS Program on May 14, 2021. This minor modification revised the Patient
Agreement Form to use gender neutral language. Specifically, the pronouns “she” and “her” in the
Patient Agreement Form were replaced with “the patient.” The minor modification also included
revisions to the REMS document to be consistent with the revisions to the Patient Agreement
Form. These changes did not affect the substance of the Patient Agreement Form, the REMS
document, or the Mifepristone REMS Program.

     E. Review of the Mifepristone REMS Program

In 2021, FDA also undertook a full review of the Mifepristone REMS Program.10 In conducting
this review, FDA reviewed multiple different sources of information, including published
literature, safety information submitted to the Agency during the COVID-19 PHE, FDA Adverse
Event Reporting System (FAERS) reports, the first REMS assessment report for the Mifepristone
REMS Program, and information provided by advocacy groups, individuals, and the Plaintiffs in
ongoing litigation, as well as information submitted by the sponsors of the NDA and the ANDA
(together, the Applicants). As discussed in more detail below, based on our review of this
information, FDA has determined that certain elements of the Mifepristone REMS Program remain
necessary to assure the safe use of mifepristone for medical termination of intrauterine pregnancy
through 70 days gestation; and therefore, the Mifepristone REMS Program continues to be
necessary to ensure the benefits outweigh the risk. Specifically, we find that the healthcare
provider certification and dispensing of mifepristone to patients with evidence or other
documentation of safe use conditions continue to be necessary components of the REMS to ensure
the benefits of mifepristone outweigh the risks for this indication.

We also find that the in-person dispensing requirement is no longer necessary to assure the safe use
of mifepristone for medical termination of intrauterine pregnancy through 70 days gestation. We
have concluded that mifepristone will remain safe and effective for medical abortion if the in-
person dispensing requirement is removed, provided all the other requirements of the REMS are
met and pharmacy certification is added.11 Removing the in-person dispensing requirement will
render the REMS less burdensome to healthcare providers and patients, and provided all other
requirements of the REMS are met, including the additional requirement for pharmacy
certification, the REMS will continue to ensure that the benefits of mifepristone for medical
abortion outweigh the risks. Accordingly, today we are sending a REMS Modification
Notification letter to both Applicants in the Mifepristone REMS Program. As stated in that letter,
FDA has concluded that a modification is necessary and must include the following changes:

     •   Removing the requirement that mifepristone be dispensed only in certain healthcare
         settings, specifically clinics, medical offices, and hospitals.

10
   We note that the Agency is in litigation regarding the Mifepristone REMS Program and committed to
conducting a full review of the Mifepristone REMS Program, including reviewing any relevant data and
evidence submitted to the Agency by the Plaintiffs in that litigation (Chelius et al v. Becerra, Joint Mot. to
Stay Case Pending Agency Review, ECF No. 148, May 7, 2021, Civ. No. 1:17-00493 (D. Haw.)).
11
   Although we have determined that the Mifepristone REMS Program must be modified to add a requirement
for pharmacy certification, this was not raised in your Petition and therefore is not discussed further in this
response.


                                                      6
                                                                                                     EX. 30 pg. 006
                                                                                                          App. 0458
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         •   Adding a requirement that pharmacies that dispense the drug be specially certified.


   II.       DISCUSSION OF ISSUES RAISED

                A. Mifeprex Regimen

             1. Indications and Usage

   In the Petition, you ask FDA to restore and strengthen elements of the Mifeprex regimen
   and prescriber requirements approved in 2000, to limit Mifeprex, in a regimen with
   misoprostol, for the termination of intrauterine pregnancy, to 49 days gestation (Petition at
   1 and 3). For the reasons explained below, we deny this request.

   Citing to a 2011 study and a practice bulletin issued by the American College of
   Obstetricians and Gynecologists (ACOG), you state that medical abortion12 regimens
   demonstrate an increase in complications and failures, including serious risks of
   hemorrhage, infection, and ongoing pregnancy, after 49 days gestation (Petition at 3-4).

   Our review of the S-020 efficacy supplement in 2016 concluded that Mifeprex, in a
   regimen with misoprostol, is safe and effective for medical termination of intrauterine
   pregnancy through 70 days gestation.13 Complete medical abortion rates from the pivotal
   clinical trials relied on for the initial approval of Mifeprex (with an indication for medical
   termination of intrauterine pregnancy through 49 days gestation) were 92.1 percent and
   95.5 percent in the United States and French trials, respectively.14 The studies reviewed in
   support of the 2016 approval for Mifeprex (with an indication for medical termination of
   intrauterine pregnancy through 70 days gestation) showed comparable efficacy. The 2016
   Clinical Review of the S-020 efficacy supplement summarized clinical outcomes and
   adverse effects from 22 studies (7 in the United States and 15 from outside the United
   States) through 70 days gestation, using the currently approved regimen of 200 mg oral
   mifepristone with 800 mcg buccal misoprostol. The ranges of complete medical abortion
   rates calculated by the clinical reviewer were 93.2 percent to 98.7 percent in the United
   States studies, and 92 percent to 98 percent in the non-United States studies.15

   Serious adverse events associated with the use of mifepristone through 70 days gestational
   age are rare. Per the current mifepristone labeling, the rates of serious adverse events are
   low: transfusions are 0-0.1 percent, sepsis is less than 0.01 percent, hospitalization related
   to medical abortion is 0-0.7 percent, and hemorrhage is 0.1 percent.16 As discussed

   12
      In this response, the terms “medical abortion” and “medication abortion” both refer to the use of
   mifepristone, in a regimen with misoprostol, for the medical termination of intrauterine pregnancy.
   13
       See 2016 Clinical Review available at
   https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020MedR.pdf, at 32-38 and 47-47.
   14
      See 1999 Medical Officer’s Review, available at
   http://www.accessdata.fda.gov/drugsatfda_docs/nda/2000/20687_Mifepristone_medr_P1.pdf, at 11 (Table 1)
   and 16.
   15
      See 2016 Clinical Review, supra n. 13, at 28-31.
   16
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.


                                                     7
                                                                                            EX. 30 pg. 007
                                                                                                 App. 0459
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   throughout this response, the benefit/risk assessment supported our 2016 conclusion that
   the product is safe and effective through 70 days gestation.

   In support of your assertion that medical abortion demonstrates an increase in
   complications after 49 days gestation, you cite to Mentula, et al.,17 a register-based,
   retrospective cohort study that included 18,248 women in Finland who underwent medical
   abortion between January 1, 2003, and December 31, 2006 (Petition at 3). As an initial
   matter, we note that the Mentula study was primarily designed to assess the immediate
   adverse events following medical abortion in the second trimester (13 to 24 gestational
   weeks as defined by the authors) and then compare those events to those identified with
   medical abortion in the first trimester (up to 12 gestational weeks as defined by the
   authors). The study was not designed to compare rates of complications across gestational
   weeks within the first trimester. It is true that the Mentula publication includes information
   on the percentages of women who had surgical evacuation following medical abortion and
   the percentages of women who had infection following medical abortion, based on weekly
   gestational age, from 5 weeks to 20 weeks gestation.18 However, the data in the Mentula
   study are relatively old (2003-2006); in our 2016 review of the S-020 efficacy supplement,
   we conducted an extensive review of more recent data19 and concluded that Mifeprex, in a
   regimen with misoprostol, is safe and effective for medical termination of intrauterine
   pregnancy through 70 days gestation.

   You also cite to ACOG Practice Bulletin No. 143, which states: “the risk of clinically
   significant bleeding and transfusion may be lower in women who undergo medical abortion
   of gestations up to 49 days compared with those who undergo medical abortion of
   gestations of more than 49 days.”20 This statement is based on a 1998 publication which
   evaluated patients undergoing medical abortion with mifepristone 600 mg and then oral
   misoprostol 400 mcg two days later.21 The regimen studied in this 1998 publication is not
   the currently approved regimen for mifepristone in the United States. Further, ACOG
   Practice Bulletin No. 143 has been withdrawn and replaced by Practice Bulletin No. 225,
   which was published in October 2020 and no longer contains this statement.22

   You also state that the failure rate of the approved regimen (which you refer to as the
   “buccal misoprostol regimen”) increases as the gestational age increases, especially at

   17
      Mentula MJ, Niinimake M, Suhonen S, et al. Immediate Adverse Events After Second Trimester Medical
   Termination of Pregnancy: Results of a nationwide registry study, Human Reproduction. 2011;26(4):927-932.
   18
      Id. at Fig. 2 and Fig. 3. Surgical intervention after medical abortion and infection after medical abortion are
   two distinct adverse events. The calculation of abortion completion rates accounts for the need for surgical
   intervention. In clinical studies we reviewed, success of medical abortion was defined as the complete
   expulsion of the products of conception without the need for surgical intervention.
   19
      See 2016 Cross-Discipline Team Leader Review, available at
   https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020CrossR.pdf, at 37 (Table 4).
   20
      Petition at 3. See Medical Management of First-Trimester Abortion. ACOG Practice Bulletin Number 143.
   March 2014 (Reaffirmed 2016. Replaces Practice Bulletin Number 67, October 2005); Obstet Gynecol. 2014
   Mar;123(3):676-692 at 680.
   21
      Spitz I, Bardin CW, Benton L, Robbins A. Early pregnancy termination with mifepristone and misoprostol
   in the United Sates, NEJM. 1998;338 (18):1241-1247.
   22
      See ACOG Practice Bulletin No. 225. Medication Abortion Up to 70 Days of Gestation. Obstetrics and
   Gynecology 2020; 136(4); e31 to e47.


                                                           8
                                                                                                      EX. 30 pg. 008
                                                                                                           App. 0460
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   gestational ages greater than 49 days, relying on a 2015 meta-analysis,23 and that the
   gestational limit should not have been increased (Petition at 3-4). We agree that the failure
   rate of medical abortion regimens, including the currently approved regimen, generally
   increases with increasing gestational age. However, the increase in failure rate with each
   incremental week of gestation, as described in approved mifepristone labeling and in this
   2015 meta-analysis, is small, and we believe that the benefit/risk profile for medical
   termination of intrauterine pregnancy between 49 and 70 days gestation remains acceptable.

   For these reasons, we deny your request that FDA limit mifepristone, in a regimen with
   misoprostol for the termination of intrauterine pregnancy, to 49 days gestation.

        2. Dosage and Administration

                a. Prescriber Qualifications

   You state that FDA should limit the “ability” to prescribe and dispense Mifeprex to
   qualified, licensed physicians, rather than permitting non-physicians to apply to be certified
   prescribers, because of the regimen’s serious risks and because physicians are better trained
   to diagnose patients who have contraindications to Mifeprex and to verify gestational age
   (Petition at 4). We do not agree.

   Healthcare providers who are licensed to prescribe can become certified in REMS
   programs if they are able to meet the applicable REMS requirements. To become certified
   to prescribe mifepristone under the Mifepristone REMS Program, the prescriber must
   review the prescribing information for mifepristone and complete a Prescriber Agreement
   Form. By signing the form, the prescriber agrees that they meet certain qualifications,
   including the ability to date pregnancies accurately and to diagnose ectopic pregnancies.
   These healthcare providers must also: (1) be able to provide any necessary surgical
   intervention or have made arrangements for others to provide for such care; or (2) be able
   to assure patient access to medical facilities equipped to provide blood transfusions and
   resuscitation, if necessary.24

   In our review of the S-020 efficacy supplement in 2016, we determined that available data
   support that Mifeprex is safe and effective when prescribed by midlevel providers, such as
   physician assistants and nurse practitioners, as well as by physicians.25 Our 2016 review
   included four studies that evaluated the safety and efficacy of medical abortion when
   performed by non-physician healthcare providers. Two trials evaluated the currently




   23
      Petition at 4, fn. 6 (citing Chen MJ, Creinin MD, Mifepristone with Buccal Misoprostol for Medical
   Abortion, Obstet. Gynecol 126 (1) July 2015 12-21).
   24
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf; see also
   https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=390.
   25
      See 2016 Clinical Review, supra n. 13, at 79; see also 2016 Cross-Discipline Team Leader Review, supra n.
   19, at 17-18. We also note that in most states, midlevel clinicians, such as physician assistants and nurse
   practitioners, are licensed to prescribe medications.


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   approved Mifeprex and buccal misoprostol regimen (Olavarrieta and Kopp Kallner);26,27
   one trial studied a regimen using vaginal misoprostol (Warringer);28 a fourth study did not
   specify the route of misoprostol administered (Puri).29 Olavarrieta reported a completion
   rate of 97.9 percent when medical abortion was provided by nurses as compared with 98.4
   percent with physicians. Kopp Kallner reported a completion rate of 99 percent with
   certified nurse midwives versus 97.4 percent with physicians. Warriner reported an
   abortion completion rate of 97.4 percent with nurses as compared with 96.3 percent with
   physicians. Puri reported an abortion completion rate of 96.8 percent when the service was
   provided by nurse-midwives as compared with 97.4 percent in the “standard care” group.30
   Our 2016 review also included a systematic review of six controlled clinical studies by
   Renner;31 the authors concluded that the evidence “indicates that trained mid-level
   providers may effectively and safely provide first trimester surgical and medical
   termination of pregnancy services.” Additionally, Barnard et al., in a Cochrane systematic
   review, assessed the safety and effectiveness of abortion procedures administered by mid-
   level providers (nurse practitioners, midwives, other non-physician healthcare providers)
   compared to doctors.32 The authors concluded, based in part on two of the studies that we
   had reviewed in 2016,33 that there was no statistically significant difference in the risk of
   failure for medical abortions performed by mid-level providers compared with doctors.

   We also believe that the identification of patients for whom the use of mifepristone is
   contraindicated can be done by mid-level healthcare providers, as well as physicians.
   Mifepristone in a regimen with misoprostol for medical termination of intrauterine
   pregnancy through 70 days gestation is contraindicated in patients with any of the
   following conditions:34

                •    Confirmed or suspected ectopic pregnancy or undiagnosed adnexal mass

   26
      Olavarrieta CD, Ganatra B, Sorhaindo A, et al. Nurse versus Physician-provision of Early Medical
   Abortion in Mexico: A Randomized Controlled Non-Inferiority Trial. Bull World Health Organ.
   2015;93:249-258.
   27
      Kopp Kallner H, Gomperts R, Salomonsson E, et al. The efficacy, safety and acceptability of medical
   termination of pregnancy provided by standard care by doctors or by nurse-midwives: a randomised
   controlled equivalence trial. BJOG. 2015; 122: 510-517.
   28
      Warriner IK, Wang D, et al. Can midlevel health-care providers administer early medical abortion as safely
   and effectively as doctors? A randomized controlled equivalence trial in Nepal. Lancet. 2011; 377: 1155-61.
   29
      Puri M, Tamang A, Shrestha P, et al. The role of auxiliary nurse-midwives and community health
   volunteers in expanding access to medical abortion in rural Nepal. Reproductive Health Matters. 2015; 22(44)
   94-103.
   30
      2016 Clinical Review, supra n. 13, at 43.
   31
      Renner RM, Brahmi D, Kapp N. Who can provide effective and safe termination of pregnancy care? A
   systematic review. BJOG 2013 Jan;120(1):23-31.
   32
      Barnard S, Kim C, Park MN, Ngo TD. Doctors or mid-level providers for abortion (Review). Cochran
   Database of Systematic Reviews. 2015, Issue 7.
   33
      Of the medical abortion studies reviewed by Barnard et al (Id.), two were reviewed by the Agency as part of
   the review of the S-020 supplement in 2016. See Warriner et al (supra n. 28) and Kopp Kallner et al (supra n.
   27). The third used a different dose of misoprostol than the currently approved regimen. See Jejeebhoy SJ,
   Kalyanwalaa S, Zaviera AJF, Kumara R, Mundleb S, Tankc J, et al. Feasibility of expanding the medication
   abortion provider based in India to include avurvedic physicians and nurses. International Perspectives on
   Sexual and Reproductive Health 2012;38(3)133-42)
   34
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.


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                •   An intrauterine device in place
                •   Chronic adrenal failure
                •   Concurrent long-term corticosteroid therapy
                •   History of allergy to mifepristone, misoprostol, or other prostaglandins
                •   Hemorrhagic disorder or concurrent anticoagulant therapy
                •   Inherited porphyrias

   These contraindications can be assessed by trained healthcare providers who prescribe
   mifepristone by obtaining a medical history, from medical records, and/or from physical
   examination or ultrasound if appropriate. We continue to believe that available data
   support the conclusion that mid-level healthcare providers, as well as physicians, possess
   the clinical and counseling skills necessary to provide medical abortion. We note this is
   consistent with ACOG’s statement in its current practice bulletin that “[i]n addition to
   physicians, advanced practice clinicians, such as nurse-midwives, physician assistants, and
   nurse practitioners, possess the clinical and counseling skills necessary to provide first-
   trimester medical abortion.”35 Further, if necessary, ultrasound training and certification is
   available to nurse practitioners and physician assistants, as well as physicians.36 In sum,
   available information supports that mid-level healthcare providers as well as physicians can
   determine whether mifepristone is an appropriate treatment for a particular patient and
   dispense it.

   You also assert that FDA should strengthen the requirement that providers accurately assess
   the duration of the pregnancy by mandating that gestational age be assessed by ultrasound
   (Petition at 5). We refer you to FDA’s 2016 Response to the citizen petition submitted to
   Docket No. FDA-2002-P-0364 (the “2016 CP Response”), where FDA stated that the
   determination of gestational age does not always require an ultrasound. In the 2016 CP
   Response, FDA stated it had “determined that it was inappropriate for us to mandate how
   providers clinically assess women for duration of pregnancy and for ectopic pregnancy.
   These decisions should be left to the professional judgment of each provider, as no method
   (including TVS [transvaginal ultrasound]) provides complete accuracy. The approved
   labeling for Mifeprex recommended ultrasound evaluation as needed, leaving this decision
   to the judgment of the provider.”37

   In the Petition, you reference the Prescriber Agreement Form, in which the provider must
   attest they have the ability to: (1) accurately assess the duration of the pregnancy; (2)
   diagnose ectopic pregnancies; and (3) provide surgical intervention if needed (or have made
   plans to provide such care through others), and you state that a provider who does not
   physically meet with and examine a patient, but simply consults with the patient over the
   Internet, is not capable of fulfilling these requirements, or of ruling out additional

   35
      ACOG Practice Bulletin No. 225, supra n. 22.
   36
      American Institute of Ultrasound in Medicine. Accessed November 26, 2021.
   https://www.aium.org/officialStatements/70.
   37
      FDA’s citizen petition response dated March 29, 2016, to the citizen petition submitted by the American
   Association of Pro-Life Obstetricians and Gynecologists, the Christian Medical and Dental Association, and
   Concerned Women for America on August 20, 2002, Docket No. FDA-2002-P-0364 at 18. See
   https://www.regulations.gov/document/FDA-2002-P-0364-0002.


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   contraindications (Petition at 5-6). You state that FDA should require certified prescribers
   to be physically present when Mifeprex is dispensed so that they can appropriately examine
   patients and rule out contraindications to the use of Mifeprex (Petition at 4).

   Certified prescribers do not have to be physically present with the patient as long as they
   have confirmed the patient’s gestational age and intrauterine pregnancy. As noted above,
   in the 2016 CP response, FDA “determined that it was inappropriate for us to mandate how
   providers clinically assess women for duration of pregnancy and for ectopic pregnancy.”38
   Moreover, the evaluation of patients for contraindications to medical abortion does not
   necessarily require direct physical contact with the certified prescriber and can be done in
   different types of healthcare settings. A certified prescriber can also review the Patient
   Agreement Form39 with the patient, fully explain the risks of the mifepristone treatment
   regimen, and answer any questions, as in any consent process, without physical proximity.
   See also section II.B.1.c (ETASU C – In-person Dispensing).

   With respect to providing surgical intervention in cases of incomplete abortion or severe
   bleeding and assuring patient access to medical facilities equipped to provide blood
   transfusions and resuscitation (if necessary), the Prescriber Agreement Form does not
   reflect a requirement that the certified prescriber must provide such care personally; rather,
   the prescriber must agree that they have the ability to provide such care or that they have
   made plans to provide such care through others, and that they have the ability to assure the
   patient has access to appropriate medical facilities. It is common practice for healthcare
   providers to provide emergency care coverage for other healthcare providers’ patients, and
   in many places, hospitals employ “hospitalists” to provide care to all hospitalized patients.
   We also note ACOG’s statement that “[i]n rare cases, a patient who undergoes a medication
   abortion may need to obtain an additional intervention, such as uterine aspiration. If the
   prescribing clinician does not perform the intervention, it is medically appropriate to
   provide a referral.”40

   For these reasons, we deny your request that FDA limit the “ability” to prescribe and
   dispense mifepristone to licensed physicians, and we deny your request that FDA require
   certified providers to physically meet with and examine the patient.

               b. Office Visits and Administration of Mifepristone/Misoprostol

   In the Petition, you state that the use of mifepristone and misoprostol should require three
   office visits by the patient (Petition at 7). In support of this position, you state the
   following:

        •   Drug-induced abortion is contraindicated for patients who are not available for
            follow-up contact or evaluation (Petition at 10).



   38
      Id.
   39
      See https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=390.
   40
      ACOG Practice Bulletin Number 225 supra n. 22.


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        •   Abortion complications are more frequent when women abort at home and more
            healthcare oversight is needed (Petition at 8).

        •   Home administration of misoprostol does not permit healthcare providers to control
            when their patients take misoprostol and without monitoring:

                o a patient may take buccal misoprostol before the minimum 24-hour period
                  after taking Mifeprex, which leads to a significantly increased failure rate
                  (Petition at 7).

                o a patient may swallow misoprostol rather than administer it buccally, and
                  oral administration is not as effective as buccal administration in ending the
                  pregnancy (Petition at 7).

        •   Because providers may now “confirm” that a patient’s drug-induced abortion was
            successful without a clinic visit, this increases the threat that Rh-negative patients
            will not receive Rhogam, which is necessary to prevent serious risks in subsequent
            pregnancies (Petition at 7 and 9).

   We address each of these points below.

                              i. Follow-up Care

   The safe use of mifepristone when used in the approved regimen with misoprostol is not
   contingent on a specific number of office visits being made by the patient undergoing a
   medical termination of pregnancy. The 2016 labeling change for Mifeprex regarding post-
   treatment assessment, including the change to the approved regimen to reduce the number
   of offices visits from three to one, was based on evidence reviewed in the S-020 efficacy
   supplement. We concluded, upon reviewing the data, that three office visits were not
   necessary to assure the safe use of Mifeprex.41

   In your Petition, you point to statements by ACOG that medical abortion is contraindicated
   for patients who are not available for follow-up contact or evaluation (Petition at 8, 10).
   The ACOG statements you point to are from ACOG Practice Bulletin No. 143, which has
   been withdrawn and replaced by Practice Bulletin No. 225.42 Neither of the statements
   from the withdrawn Practice Bulletin nor Practice Bulletin No. 225 contraindicate medical
   abortion in women who are not available for an in-clinic follow-up visit. The current
   ACOG recommendations indicate that for medical abortion, “[f]ollow-up can be performed
   by telephone at 1 week, with subsequent at-home urine pregnancy testing at 4 weeks after
   treatment, which avoids the need for the patient to go to a facility.”43 The patient and their
   healthcare provider should determine the best option for follow-up as part of the
   consultation and consent process.44 As reflected in ACOG’s guidance, appropriate follow-

   41
      See 2016 Clinical Review, supra n. 13, at 44 and 64-67.
   42
      ACOG Practice Bulletin Number 225, supra n. 22.
   43
      Id.
   44
      Id.


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   up after medical termination of a pregnancy may be accomplished in multiple ways and not
   all require an in-clinic visit.

   You also question findings in multiple studies that evaluated the effectiveness of
   semiquantitative urine pregnancy tests (multi-level pregnancy tests, or MLPT) and low
   sensitivity urine pregnancy tests (LSPT) to rule out on-going pregnancies and assessed the
   ability of patients to self-administer these tests and interpret the test results (Petition at 9-
   10). Overall, these studies concluded that in the majority of women, it is feasible to use a
   simplified test to determine if further follow-up is necessary. A recent systematic review
   and meta-analysis by Baiju assessed the effectiveness and safety of self-assessment of the
   outcome of medical abortion completed at home versus routine clinic follow-up after
   medical abortion, concluding self-assessment was not inferior to routine clinic follow-up.45
   We note that this is consistent with current ACOG recommendations, which state that
   “follow-up can be performed by telephone at 1 week, with subsequent at-home urine
   pregnancy testing at 4 weeks after treatment, which avoids the need for the patient to go to
   a facility.”46

   You also assert that it is important for a patient to be under observation after taking
   misoprostol to ensure that they are appropriately monitored and provided sufficient pain
   medication (Petition at 8). You cite the World Health Organization (WHO)’s statement in
   guidance that up to 90 percent of women will abort within 4-6 hours after taking
   misoprostol; you further state that the 2000 regimen permitted patients to be in the clinic
   during this time period (Petition at 8). Your reference to the WHO guidance document47
   appears to be out of context. The WHO guidance takes no position on whether women
   should return to and remain in the clinic during a follow-up visit for purposes of taking
   misoprostol; in fact, it explicitly recognizes that post-abortion care may not require a
   follow-up visit if the patient is adequately counseled.48 In the United States, and as
   reflected in the approved labeling, medical termination of pregnancy usually involves
   patients terminating the pregnancy at home, with appropriate follow-up that may not
   include a return visit.

                              ii. At Home Medical Abortion and Healthcare Oversight

   In addition, you cite a 2018 study to support your statement that abortion complications are
   more frequent when women abort at home (Petition at 8). The study evaluated
   complications following medical abortion (both less than 12 weeks and more than 12 weeks
   gestation) as well as following surgical abortion, at one hospital in Sweden between 2008
   and 2015.49 For the years 2008 to 2010, data were collected retrospectively; for the years

   45
      Baiju, N, Acharya, G, D’Antonio, F, et al. 2019. Effectiveness, safety and acceptability of self-assessment
   of the outcome of first-trimester medical abortion: a systematic review and meta-analysis. BJOG; 126:1536-
   1544.
   46
      ACOG Practice Bulletin Number 225, supra n. 22.
   47
      World Health Organization, Safe Abortion: technical and policy guidance for health systems – 2nd edition.
   2012. Page 45 and Section 2.2.2.1 Medication for pain.
   48
      Id. at Section 2.3 Post-abortion care and follow-up, at 52.
   49
      Carlsson I, Breding K, Larsson PG, 2018, Complications Related to Induced Abortion: A Combined
   Retrospective and Longitudinal Follow-up Study, BMC Women’s Health 18:158.


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   2011 to 2015, data were collected prospectively. In this study, medical abortions after 12
   gestational weeks all occurred at the hospital. The authors report that, among medical
   abortions less than 12 weeks, the complication frequency increased from 5.4 percent (2008
   to 2010) to 8.2 percent (2015). However, the authors also compared the complications
   related to medical abortions that occurred at less than 12 gestational weeks between “at
   home” abortions (managed as an outpatient) and “at the hospital” abortions, in 2015 and
   found no statistically significant difference (8.2 percent “at home” versus 8.0 percent at the
   hospital). For pregnancies less than or equal to 9 gestational weeks, the rates are similar for
   the “at home” group (10.0 percent) and the “at the hospital” group (9.3 percent). Notably,
   as part of our review and approval of the S-020 efficacy supplement in 2016, we assessed
   serious adverse events by gestational age, including hospitalizations, serious infection
   requiring hospitalization or intravenous antibiotics, bleeding requiring transfusion, and
   ectopic pregnancy, as reported in the literature submitted by the Applicant. We concluded
   that these serious adverse events are rarely reported in the literature and that the regimen of
   mifepristone 200 mg followed by buccal misoprostol 800 mcg in 24-48 hours is safe to
   approve for use through 70 days gestation.50

   You also state that medical abortion is a longer process than surgical abortion and that it
   requires more attention and care from healthcare providers (Petition at 10). We agree that
   medical abortion can be a longer process than surgical abortion,51 but we disagree that
   medical abortion always requires in-person follow-up with a healthcare provider. Not all of
   the complications associated with medical abortion necessarily require more intensive
   management from healthcare providers during a follow-up visit. The question of whether
   to include an in-person follow-up visit should be discussed by the healthcare provider and
   the patient. We have concluded that medical abortions are safe and effective for patients
   who are appropriate candidates and reducing the number of clinic visits does not
   compromise patient safety.

   The current approved labeling for mifepristone for medical termination of pregnancy states
   that complete pregnancy termination “can be confirmed by medical history, clinical
   examination, human Chorionic Gonadotropin (hCG) testing, or ultrasonographic scan.”
   Not all these modalities require an in-clinic assessment during a follow-up visit. Our
   review of the S-020 efficacy supplement concluded that “available data support … that
   there are a variety of follow-up modalities that can adequately identify the need for
   additional intervention.”52 We note that these findings are also consistent with ACOG
   guidelines, which state that “[r]outine in-person follow-up is not necessary after
   uncomplicated medication abortion” and recommend several methods for post-treatment
   follow-up, as appropriate, including serial serum hCG testing alone or telephone follow-up
   at one week after treatment followed by urine pregnancy testing at four weeks after
   treatment.53 Because there is more than one effective method to detect an on-going
   pregnancy, we conclude that the way in which post-treatment follow-up is performed may
   be determined by the healthcare provider and the patient.

   50
      2016 Clinical Review, supra n. 13, at 51-57.
   51
      See ACOG Practice Bulletin Number 225, supra note 22.
   52
      2016 Cross Discipline Team Leader Review, supra n. 19, at 17.
   53
      ACOG Practice Bulletin Number 225, supra note 22.


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                    iii.     Misoprostol

   In the Petition, you make a number of assertions regarding the use of misoprostol. We
   address each in turn.

   First, you assert that a patient may take misoprostol before the prescribed minimum 24-
   hour period after taking Mifeprex, thereby rendering the regimen ineffective, and that home
   administration of misoprostol does not permit health providers to control when their
   patients take misoprostol (Petition at 7). You similarly assert that the use of buccal
   misoprostol sooner than 24 hours after administering mifepristone leads to significantly
   increased failure rates (Petition at 7).

   As an initial matter, our review of the S-020 efficacy supplement in 2016 included data that
   evaluated the home use of misoprostol in over 30,000 women. The data showed that
   Mifeprex was safe and effective in a regimen with misoprostol when misoprostol was self-
   administered at home.54 Therefore, any incorrect administration resulting in a failed
   abortion was infrequent and did not significantly affect the safety and efficacy of medical
   abortion. Furthermore, because the process of expelling the pregnancy may begin as soon
   as 2 hours after taking misoprostol, there is a benefit in allowing patients to choose when
   and where to start this process, to maximize the possibility of their being at a safe place at a
   convenient time to experience cramping and bleeding.55

   In support of your assertion of significantly increased failure rates, you cite a pilot study by
   Lohr et al.56 Lohr et al. assessed the complete abortion rate using simultaneous oral
   mifepristone and buccal misoprostol in three gestational age groupings (less than or equal
   to 49 days, 50-56 days, 57-63 days) and compared the rates with those published in
   previous pilot investigations57 using simultaneous oral mifepristone and vaginal
   misoprostol in the same three gestational age groupings. The complete abortion rates
   reported by Lohr at 24 hours for oral mifepristone and buccal misoprostol were 72.5
   percent, 69.2 percent, and 72.5 percent, respectively; the complete abortion rates at two
   weeks, however, were 97.5 percent, 100 percent, and 94.9 percent, respectively (and are
   consistent with the completion rates as described in the approved labeling).58 The
   published complete abortion rates at 24 hours for simultaneous oral mifepristone and
   vaginal misoprostol administration were 90 percent, 88 percent, and 83 percent,
   respectively, for the gestational age groupings and the complete abortion rates at 2 weeks
   were 98 percent, 93 percent, 90 percent, respectively. Based on the data presented in Lohr,

   54
      See 2016 Clinical Review, supra n. 13, at 41 and 48.
   55
      Id. at 38.
   56
      Petition at 7 (referencing Lohr PA, Reeves MF, Hayes JL, et al., 2007, Oral Mifepristone and Buccal
   Misoprostol Administered Simultaneously for Abortion: A Pilot Study, Contraception, 76:215-220).
   57
      Schreiber CA, Creinin MD, Harwood B, Murthy AS. A pilot study of mifepristone and misoprostol
   administered at the same time for abortion in women with gestation from 50 to 63 days. Contraception
   2005;71:447–50; Murthy AS, Creinin MD, Harwood B, Schreiber C. A pilot study of mifepristone and
   misoprostol administered at the same time for abortion up to 49 days gestation. Contraception 2005;71:333–6.
   58
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.


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   the use of buccal misoprostol at the same time as oral mifepristone does not adversely
   affect efficacy, although expulsion may be delayed. As recommended in Section 2.3 of the
   approved labeling, follow-up at 7-14 days after administration of mifepristone is more
   appropriate to evaluate efficacy.59 It is misleading to only reference the abortion
   completion rates observed at the 24-hour timepoint from Lohr. Therefore, we do not agree
   that data from Lohr indicate higher failure rate with misoprostol taken before the prescribed
   minimum 24-hour period after taking mifepristone.

   Although we disagree that Lohr demonstrates a higher failure rate with misoprostol taken
   before 24-hours after taking mifepristone, we note that our 2016 review of the S-020
   efficacy supplement referenced a 2013 systematic review by Raymond, which concluded
   that if the interval between mifepristone and misoprostol interval is less than or equal to 24
   hours, the procedure is less effective compared to an interval of 24-48 hours.60 As
   explained above, the data reviewed in 2016 showed that Mifeprex, in a regimen with
   misoprostol administered at home, was safe and effective. Therefore, incorrect
   administration, if it occurred, was infrequent and did not significantly affect the safety and
   efficacy of medical abortion. However, in light of the data reviewed, section 2.1 of the
   labeling approved in 2016 (as well as the currently approved labeling and Medication
   Guide) states that there should be a “minimum 24-hour interval between” mifepristone and
   misoprostol (emphasis included in the labeling).61 The approved dosing regimen also states
   that misoprostol is taken within 24 to 48 hours after taking mifepristone and acknowledges
   that the effectiveness of the regimen may be lower if misoprostol is administered less than
   24 hours after mifepristone administration.

   In addition to your concerns that a woman may take misoprostol too soon after
   administering mifepristone, you also state that waiting until 24 hours after administering
   mifepristone does not guarantee success (Petition at 7-8). In support of this concern, you
   cite a 2015 review by Chen and Creinin. You state that this review found “women taking
   misoprostol earlier than 48 hours after Mifeprex are more likely to fail the regimen”
   (Petition at 8). Chen and Creinin included studies in which the intervals between
   mifepristone and buccal misoprostol were 24 hours or 24-48 hours and stated that “based
   on the available literature, the overall efficacy of regimens with a 24-hour interval between
   mifepristone and buccal misoprostol is significantly lower than those with a 24- to 48-hour
   interval (94.2 percent compared with 96.8 percent).”62 The rate differences were
   statistically significant, but both regimens were more effective than the 92 percent efficacy
   rate of the original regimen approved in 2000 (administering misoprostol 48 hours after
   taking mifepristone).

   Finally, you also express concern that if misoprostol is self-administered, a woman may
   swallow it rather than keep the pill between her cheek and gum, and oral administration of

   59
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.
   60
      2016 Clinical Review, supra n. 13, at 31 (citing 8 Raymond EG, et al. First-trimester medical abortion with
   mifepristone 200 mg and misoprostol: a systematic review. Contraception 2013;87(1):26-37.)
   61
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.
   62
      See Chen MJ and Creinin MD. Mifepristone with buccal misoprostol for medical abortion. Obstet
   Gynecol. 2015;126(1):12-21; see also 2016 Clinical Review, supra n. 13, at 21.


                                                         17
                                                                                                   EX. 30 pg. 017
                                                                                                        App. 0469
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   misoprostol (i.e., swallowing the pill) following the lower dose of mifepristone in the
   current regimen is not as effective in ending the pregnancy (Petition at 7). Winikoff et al.
   specifically studied the use of oral compared to buccal misoprostol 24-36 hours after
   mifepristone 200 mg with overall success rates of 91.3 percent and 96.2 percent,
   respectively.63 Both regimens resulted in a greater than 91 percent successful medical
   abortion. Although the study showed decreased efficacy with oral versus buccal
   administration in 57-63 days gestational age, there were no statistical differences in other
   gestational age groupings. Even assuming there is a small proportion of women who are
   57-63 days gestational age and use oral administration of misoprostol (rather than buccal as
   labeled), a small decrease in the reported efficacy in that population would not justify
   requiring a clinic visit for all women undergoing medical abortion.

   Overall, studies support the efficacy of the mifepristone, in a regimen with misoprostol
   when taken by the patient at home, Therefore, we do not agree that an in-person visit is
   necessary to manage administration of misoprostol.


                             iii.     Rh-Negative Patients

   In the Petition, you state that a follow-up examination is particularly critical for Rh-
   negative patients and that without that follow-up examination, women will not receive
   Rhogam after the abortion, increasing their risk of subsequent Rh isoimmunization, which
   can endanger future pregnancies (Petition at 9). You suggest that a clinic visit after the
   administration of Mifeprex is important for Rh-negative women to receive Rhogam and
   that removing the required follow-up visit puts Rh-negative women at risk for
   isoimmunization. We do not agree.

   Rh testing is standard of care in the United States and RhD immunoglobulin (such as
   Rhogam) should be administered if indicated. Further, administration of RhD
   immunoglobulin should be given within 72 hours of a sensitizing event (e.g., medical
   abortion).64 However, the facility where the RhD immunoglobulin injection occurs (clinic,
   hospital or laboratory) is not critical. A shift from medical clinics to hospitals for
   administration of injections has occurred over the years due to shortages of RhD
   immunoglobulin and poor reimbursement for RhD immunoglobulin injection from third-
   party payers.65 This has resulted in pregnant women frequently obtaining routine 28-week
   RhD immunoglobulin injections at hospitals/laboratories with a prescription provided by
   their healthcare providers. This same process of obtaining RhD immunoglobulin via
   prescription is available to patients after medical termination of pregnancy and does not
   require a follow-up clinic visit.




   63
      Winikoff B, Dzuba, IG, Creinin MD, et al, 2008, Two Distinct Oral Routes of Misoprostol in Mifepristone
   Medical Abortion, Obstet Gynecol 112(6):1303-1310.
   64
      ACOG Practice Bulletin No. 181. Prevention of Rh D Alloimmunization. August 2017.
   65
      See https://www.mdedge.com/obgyn/article/61083/practice-management/rhogam-injections-payment-
   levels-vary-among-insurers.


                                                       18
                                                                                                EX. 30 pg. 018
                                                                                                     App. 0470
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   In summary, the totality of data on the efficacy and safety of medical abortion at less than
   70 days gestation, derived from numerous studies, has characterized the complications and
   rates of complications for completing medical abortion at home, and the findings show
   medical abortion at home is both safe and effective without three office visits. We
   therefore deny your request that the use of mifepristone in a regimen with misoprostol
   require three office visits by the patient.

                c.   Contraindications

   In the Petition, you assert that critical language contraindicating Mifeprex for patients
   without access to appropriate emergency medical care was excluded from the 2016
   Mifeprex labeling. You cite to a study66 and ACOG statements as evidence that medical
   abortions have greater risks and more need for emergency “operation” than a surgical
   abortion, particularly for patients in rural areas with limited access to emergency medical
   care (Petition at 11).

   Although inadequate access to medical facilities for appropriate care was removed from the
   list of contraindications in section 4 of the approved labeling when we approved the S-020
   efficacy supplement, the 2016 Mifeprex labeling and the currently approved mifepristone
   labeling, as well as the Mifepristone REMS Program, continue to include appropriate
   instructions for providers regarding patient access to appropriate medical care.67 For
   example, the Boxed Warning includes language directing healthcare providers to ensure
   that the patient knows whom to call and what to do, including potentially going to an
   emergency room, if the patient experiences serious events associated with the use of
   mifepristone. The labeling also directs healthcare providers, as part of the dosing regimen,
   to give the patient the name and phone number of a healthcare provider who will be
   handling emergencies.68 In addition, one of the required qualifications listed in the
   Prescriber Agreement Form is the “[a]bility to provide surgical intervention in cases of
   incomplete abortion or severe bleeding, or to have made plans to provide such care through
   others, and ability to assure patient access to medical facilities equipped to provide blood
   transfusions and resuscitation, if necessary.”69 Therefore, although certain language about
   access to medical facilities was removed from the approved labeling in 2016, we disagree
   that critical language about access to appropriate emergency medical care is lacking from
   the approved labeling.




   66
      See Petition Reference Document No. 17 (Harrison Affidavit: Donna Harrison, M.D., Aff. Okla. Coalition
   for Reproductive Justice v. Cline, Case No. CV-2014-1886 (Feb. 24, 2015), ¶115 (referencing M. Niinimaki
   et al., Immediate Complications after Medical compared with Surgical Termination of Pregnancy, Obstet.
   Gynecol. 114:795 (Oct. 2009)).
   67
      See Mifeprex labeling, approved 2016.
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf. See also current labeling at
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.
   68
      Id.
   69
      Mifepristone REMS Program,
   https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=390.
   Emphasis added.


                                                      19
                                                                                              EX. 30 pg. 019
                                                                                                   App. 0471
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   You also cite information in Box 1, Features of Medical and Surgical Abortion (page 3) in
   the ACOG Practice Bulletin No. 143.70 As mentioned above, the ACOG Practice Bulletin
   No. 143 has been withdrawn and the language you cite is not included in the current
   Practice Bulletin No. 225.

                    d.      Adverse Event Reporting

   In the Petition, you assert that even under the regimen approved in 2000, it was difficult to
   collect accurate and complete adverse event information for Mifeprex, and that collecting
   such information is virtually impossible under the regimen approved in 2016 because
   prescribers only are required to report deaths associated with Mifeprex (Petition at 12).
   You also assert that FDA cannot adequately assess the safety of the current Mifeprex
   regimen without comprehensive information on adverse events (Petition at 12). You state
   that certified prescribers should at a minimum be required to report the following to FDA’s
   MedWatch reporting system and to the sponsor: deaths, hospitalizations, blood
   transfusions, emergency room visits, failures requiring surgical completion, ongoing
   pregnancy, or other major complications, including detailed information on these events
   (Petition at 13).

   We acknowledge that there is always a possibility with any drug that some adverse events
   are not being reported, because reporting to the Agency’s MedWatch program by health
   care professionals and patients is voluntary. We do not agree, however, that the 2016
   changes to the prescriber reporting requirements limit our ability to adequately monitor the
   safety of mifepristone for medical termination of pregnancy. Prior to the 2016 approval of
   the S-20 efficacy supplement, we assessed approximately 15 years of adverse event reports
   both from the Applicant and through the MedWatch program and determined that certain
   ongoing additional reporting requirements under the Mifeprex REMS, such as
   hospitalization and blood transfusions, were not warranted. This assessment was based on
   the well-characterized safety profile of Mifeprex, with known risks occurring rarely, along
   with the essentially unchanged safety profile of Mifeprex during this 15-year period of
   surveillance. Accordingly, the Prescriber Agreement Form was amended as part of our
   2016 approval of the S-20 efficacy supplement to require, with respect to adverse event
   reporting, only that prescribers report any cases of death to the Applicant.

   We also note that the reporting changes to the Prescriber Agreement Form as part of our
   2016 approval do not change the adverse event reporting requirements for the Applicants.
   Like all other holders of approved NDAs and ANDAs, the Applicants are required to report
   all adverse events, including serious adverse events, to FDA in accordance with the
   requirements set forth in FDA’s regulations (see 21 CFR 314.98, 21 CFR 314.80, and 21
   CFR 314.81). FDA also routinely reviews the safety information provided by the
   Applicants in the Annual Reports. As with all drugs, FDA continues to closely monitor the
   postmarketing safety data on mifepristone for the medical termination of pregnancy.


    Petition at 11. Medical Management of First-Trimester Abortion. ACOG Practice Bulletin Number 143.
   70

   March 2014 (Reaffirmed 2016. Replaces Practice Bulletin Number 67, October 2005); Obstet Gynecol. 2014
   Mar;123(3):676-692 at 680.


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                                                                                            EX. 30 pg. 020
                                                                                                 App. 0472
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   You state that FDA should provide guidance to emergency healthcare providers and
   physicians so that they know how to distinguish complications following drug-induced
   abortion from complications following spontaneous miscarriage (Petition at 13). We
   disagree that specific guidance is needed at this time. In the past, when appropriate, FDA
   has worked with the NDA Applicant to issue communications to healthcare providers and
   emergency department providers concerning certain serious adverse events.71 Furthermore,
   the approved Medication Guide advises patients to take the Medication Guide with them if
   they need to go to the emergency room or seek care from a healthcare provider other than
   the one who dispensed the medication to them, so the emergency room or healthcare
   provider understands the patient is having a medical abortion. We have not identified a
   change in the safety profile of mifepristone that would warrant additional communications
   to healthcare providers and emergency department providers concerning complications
   following medical abortion. If we become aware of safety information that merits further
   communications with emergency department providers or healthcare providers, or that
   warrants revisions to the approved labeling, we will act as appropriate.

   You also assert that many Mifeprex prescribers “violate FDA protocol,” instructing their
   patients to lie to emergency medical personnel, and that this prevents emergency healthcare
   providers from appropriately caring for their patients and further decreases the likelihood
   that adverse events will be reported (Petition at 12). Your only support for this claim is a
   reference to instructions from the organization Aid Access72 to patients that they can tell
   emergency room staff that they had a miscarriage and do not need to tell medical staff that
   they had a medical abortion. The Petition does not provide any data or additional
   information establishing “many Mifeprex prescribers violate FDA protocol, instructing
   their patients to lie,” or that these providers thereby prevented appropriate care and
   decreased the number of adverse events reported.

        B. REMS

        1. Request to Retain Mifeprex REMS

   In your Petition, you request that FDA retain the Mifeprex REMS (Petition at 14). We
   agree that a REMS is necessary to ensure that the benefits of mifepristone in a regimen with
   misoprostol outweigh the risks. FDA’s determination as to whether a REMS is necessary

   71
      See Historical Information on Mifepristone (Marketed as Mifeprex), available at
   http://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm11133
   4.htm. For example, the NDA applicant and FDA agreed that there was a need to issue a Dear Health Care
   Provider letter in April 2002 and a Dear Emergency Room Director letter in September 2004. The fact that
   these letters were issued does not imply that the approved mifepristone regimen is unsafe; it is not
   uncommon for drug sponsors to issue “Dear Health Care Provider” letters, and, as noted in the Mifepristone
   Q&A document posted on our Web site in April 2002, “[w]hen FDA receives and reviews new information,
   the agency provides appropriate updates to doctors and their patients so that they have essential information
   on how to use a drug safely.”
   72
      We note that Aid Access facilitated the sale of unapproved mifepristone and misoprostol to U.S. consumers
   and that FDA sent Aid Access a warning letter asking it to promptly cease causing the sale of unapproved and
   misbranded drugs to U.S. consumers. US FDA Warning Letter to Aidaccess.org, dated March 8, 2019.
   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
   letters/aidaccessorg-575658-03082019.


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   to ensure that the benefits of a drug outweigh its risks is a complex, drug-specific inquiry,
   reflecting an analysis of multiple, interrelated factors and of how those factors apply in a
   particular case.73 In conducting this analysis, FDA considers whether (based on
   premarketing or postmarketing risk assessments) there is a particular risk or risks associated
   with the use of the drug that, on balance, outweigh its benefits and whether additional
   interventions beyond FDA-approved labeling are necessary to ensure that the drug’s
   benefits outweigh its risks.74

   As described in the background section of this response (see section I.A.), FDA determined
   that interventions in addition to the FDA-approved labeling were necessary to ensure that
   the benefits of Mifeprex outweighed its risks when the drug was initially approved in 2000,
   and periodic re-evaluations of the REMS since that time have reached the same conclusion.
   As further described in the background section of this response (see section I.E.), FDA
   recently undertook a review of the Mifepristone REMS Program. As explained below, the
   Mifepristone REMS Program continues to be necessary to ensure the benefits outweigh the
   risks.
   After review of multiple different sources of information, including published literature,
   safety information submitted to the Agency during the COVID-19 PHE, FAERS reports,
   the first REMS assessment report for the Mifepristone REMS Program, and information
   provided by advocacy groups, individuals, and the Plaintiffs in ongoing litigation,75 as well
   as information submitted by the Applicants, we have concluded that the REMS can be
   modified to reduce the burden on the health care delivery system without compromising
   patient safety. As explained below, we agree that the healthcare provider certification
   (ETASU A) and dispensing of mifepristone to patients with evidence or other
   documentation of safe use conditions (ETASU D) continue to be necessary components of
   the REMS to ensure the benefits outweigh the risks. However, we have concluded that the
   Mifepristone REMS Program must be modified to remove the requirement under ETASU C
   that mifepristone be dispensed only in certain healthcare settings, specifically clinics,
   medical offices, and hospitals.
   Below, we discuss each of these elements of the Mifepristone REMS Program.

                        a. ETASU A – Prescriber Certification/Qualifications

   ETASU A under the Mifepristone REMS Program requires healthcare providers who
   prescribe mifepristone to be certified. In order to become certified, prescribers must: 1)
   review the prescribing information for mifepristone and 2) complete the Prescriber
   Agreement Form. In signing the Prescriber Agreement Form, prescribers agree they meet
   the qualifications listed below:


   73
      See FDA Guidance for Industry, REMS: FDA’s Application of Statutory Factors in Determining When a
   REMS Is Necessary (Apr. 2019).
   74
      Id.
   75
      See supra n. 10.


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                                                                                            EX. 30 pg. 022
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      •   Ability to assess the duration of pregnancy accurately
      •   Ability to diagnose ectopic pregnancies
      •   Ability to provide surgical intervention in cases of incomplete abortion or severe
          bleeding, or to have made plans to provide such care through others, and ability to
          assure patient access to medical facilities equipped to provide blood transfusions
          and resuscitation, if necessary.
      •   Has read and understood the Prescribing Information of mifepristone (which the
          provider can access by phone or online).


   In addition to meeting these qualifications, as a condition of certification the healthcare
   provider also agrees to follow the guidelines for use below:

      •   Review the Patient Agreement Form with the patient and fully explain the risks of
          the mifepristone treatment regimen. Answer any questions the patient may have
          prior to receiving mifepristone.
      •   Sign and obtain the patient’s signature on the Patient Agreement Form.
      •   Provide the patient with a copy of the Patient Agreement Form and the Medication
          Guide.
      •   Place the signed Patient Agreement Form in the patient’s medical record.
      •   Record the serial number from each package of mifepristone in each patient’s
          record.
      •   Report deaths to the Applicant, identifying the patient by a non-identifiable patient
          reference and the serial number from each package of mifepristone.

   Our review of the published literature did not identify any studies comparing healthcare
   providers who met these qualifications with healthcare providers who did not. In the
   absence of such studies, there is no evidence to contradict our previous finding that
   prescribers’ ability to accurately date pregnancies, diagnose ectopic pregnancies, and
   provide surgical intervention either personally or through others, is necessary to mitigate
   the serious risks associated with the use of mifepristone in a regimen with misoprostol.
   Therefore, our conclusion continues to be that a healthcare provider who prescribes
   mifepristone in a regimen with misoprostol should meet the above qualifications. Absent
   these provider qualifications, we are concerned that serious and potentially fatal
   complications associated with medical abortion, including missed ectopic pregnancy and
   heavy bleeding from incomplete abortion, may not be detected or appropriately managed.

   Accordingly, we have determined that ETASU A must remain an element of the
   Mifepristone REMS Program to ensure the benefits outweigh the risks. Maintaining the
   requirement for prescriber certification ensures that providers meet the necessary
   qualifications and adhere to the guidelines for use listed above. The burden of prescriber
   certification has been minimized to the extent possible by requiring prescribers to certify
   only one-time for each applicant.


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   Although we agree with your request to retain the REMS for mifepristone (now the
   Mifepristone REMS Program) insofar as it pertains to ETASU A, as discussed in section
   II.A.2.a of this response, we do not agree with your request that the healthcare provider
   needs to be a licensed physician to meet this requirement.

                  b. ETASU D – Requirement For The Drug To Be Dispensed With
                     Evidence Or Other Documentation Of Safe-Use Conditions

   ETASU D under the Mifepristone REMS Program requires mifepristone to be dispensed
   with evidence or other documentation of safe-use conditions. To receive mifepristone for
   medical termination of intrauterine pregnancy through 70 days gestation, the patient must
   sign a Patient Agreement Form indicating that the patient has received, read, and been
   provided a copy of the Patient Agreement Form and received counseling from the
   prescriber regarding the risk of serious complications associated with mifepristone for this
   indication. The Patient Agreement Form ensures that patients are informed of the risks of
   serious complications associated with mifepristone for this indication. In a number of
   approved REMS, Patient Agreement Forms or Patient Enrollment Forms ensure that
   patients are counseled about the risks of the product and/or informed of appropriate safe use
   conditions.76

   As a condition of certification under the Mifepristone REMS Program, healthcare providers
   must follow the guidelines for use of mifepristone, including reviewing the Patient
   Agreement Form with the patient, fully explaining the risks of the treatment regimen and
   answering any questions the patient may have before receiving the medication. With this
   form, the patient acknowledges that they have received and read the form, and that they
   have received the counseling regarding when to take mifepristone, the risk of serious
   complications associated with mifepristone and what to do if they experience adverse
   events (e.g., fever, heavy bleeding). Both the healthcare provider and patient must sign the
   document and the patient must receive a copy of the signed form. In addition to the
   counseling described in the Patient Agreement Form, patients also receive a copy of the
   Medication Guide for mifepristone. Ultimately, the Patient Agreement Form serves as an
   important counseling component, and documentation that the safe use conditions of the
   Mifepristone REMS Program have been satisfied, as the prescriber is required to place the
   signed Patient Agreement Form in the patient’s medical record.

   In addition, we conducted an updated review of published literature since 2016 to assess the
   utility of maintaining the Patient Agreement Form as part of the Mifepristone REMS
   Program, and these studies do not provide evidence that would support removing ETASU
   D. For these reasons, we have determined that ETASU D must remain an element of the
   Mifepristone REMS Program to ensure the benefits outweigh the risks.




   76
        REMS@FDA, https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm, Accessed November 15, 2021.


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                                                                                            EX. 30 pg. 024
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                c. ETASU C – In-Person Dispensing

   ETASU C under the Mifepristone REMS Program currently requires mifepristone to be
   dispensed to patients only in certain healthcare settings, specifically clinics, medical
   offices, and hospitals, by or under the supervision of a certified prescriber. This creates
   what we refer to in this response as an in-person dispensing requirement under the REMS;
   i.e., the patient must be present in person in the clinic, medical office, or hospital when the
   drug is dispensed. The mifepristone REMS document currently states that mifepristone
   may not be distributed to or dispensed through retail pharmacies or settings other than a
   clinic, medical office, or hospital. As explained below, based on a recent review of the
   REMS, we believe that the Mifepristone REMS Program must be modified to remove the
   requirement that mifepristone be dispensed only in certain healthcare settings, specifically
   clinics, medical offices, and hospitals, because this requirement is no longer necessary to
   ensure that the benefits of the drug outweigh the risks. This conclusion is based on our
   review of information from the Mifepristone REMS Program one-year (1st) REMS77
   assessment data and postmarketing safety information, and supported by our review of the
   published literature.

                             i. Assessment Data

   As part of our review of the REMS, we evaluated information included in the 1st REMS
   assessment report for the Mifepristone REMS Program, which included healthcare provider
   certification data, program utilization data, and non-compliance data. This 1st REMS
   assessment report covers a reporting period between April 11, 2019 through February 29,
   2020. During this reporting period, a small number of non-compliance events were
   reported.

   As described in section I.C. of this response, during the timeframe from January 27, 2020
   through September 30, 2021, there were periods when the in-person dispensing requirement
   was not enforced. To better understand whether there was any impact on safety or non-
   compliance during the periods when the in-person dispensing requirement was not
   enforced, we requested additional information from the Applicants to provide for more
   comprehensive assessment of the REMS for the time period from January 27, 2020 (the
   effective date of the COVID-19 PHE) to September 30, 2021. We requested the Applicants
   provide a summary and analysis of any program deviation or non-compliance events from
   the REMS requirements and any adverse events that occurred during this time period that
   had not already been submitted to FDA. The NDA and the ANDA Applicants reported a
   total of eight cases reporting adverse events between January 27, 2020 and September 30,
   2021. These eight cases were also identified in the FAERS database and are described
   below.

   The number of adverse events reported to FDA during the COVID-19 PHE with
   mifepristone use for medical termination of pregnancy is small, and the data provide no


    This REMS assessment report was the first submitted following the approval of the single, shared system
   77

   REMS for mifepristone.


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   indication that any program deviation or noncompliance with the Mifepristone REMS
   Program contributed to these reported adverse events.


                             ii. FAERS/Postmarketing Safety Data

   FDA routinely monitors postmarketing safety data for approved drugs through adverse
   events reported to our FAERS database,78 through our review of published medical
   literature, and when appropriate, by requesting applicants submit summarized
   postmarketing data. For our recent review of the REMS, we searched our FAERS
   database, reviewed the published medical literature for postmarketing adverse event reports
   for mifepristone for medical termination of pregnancy, and requested that the Applicants
   submit a summary and analysis of certain adverse events. Our review of this postmarketing
   data indicates there have not been any new safety concerns with the use of mifepristone for
   medical termination of pregnancy through 70 days gestation, including during the time
   when in-person dispensing was not enforced.

   In order to evaluate the periods when in-person dispensing was and was not enforced, we
   conducted a search of the FAERS database and the published medical literature to identify
   U.S. postmarketing adverse events that reportedly occurred from January 27, 2020 through
   September 30, 2021 with mifepristone use for medical termination of pregnancy. The data
   for this time period were then further divided into the date ranges when in-person
   dispensing was enforced per the REMS (January 27, 2020 - July 12, 2020 and January 13,
   2021 - April 12, 2021) versus when in-person dispensing was not enforced: July 13, 2020 -
   January 12, 2021 (in-person dispensing enforcement was temporarily enjoined) and April
   13, 2021 - September 30, 2021 (enforcement discretion for in-person dispensing because of
   the COVID-19 PHE).

   Based on the above search, a total of eight cases were identified in FAERS and no
   additional case reports were identified in the medical literature. Two of the eight cases
   reported adverse events that occurred when in-person dispensing was being enforced (i.e.,
   January 27, 2020-July 12, 2020 and January 13, 2021-April 12, 2021). These two cases
   reported the occurrence of uterine/vaginal bleeding (case 1) and uterine/vaginal bleeding
   and sepsis (case 2). Of note, uterine/vaginal bleeding and sepsis are labeled adverse events.
   Five of the eight cases reported adverse events that occurred when in-person dispensing
   was not enforced (i.e., July 13, 2020-January 12, 2021 and April 13, 2021-September 30,
   2021); however, the narratives provided in the FAERS reports for three of the five cases
   explicitly stated that mifepristone was dispensed in-person. These five cases reported the
   occurrence of ongoing pregnancy (case 3), drug intoxication and death approximately 5
   months after ingestion of mifepristone (case 4), death [cause of death is currently unknown]
   (case 5), sepsis and death (case 6), and pulmonary embolism (case 7). Of note, ongoing
   pregnancy and sepsis, including the possibility of fatal septic shock, are labeled adverse
   events. The remaining case reported the occurrence of oral pain/soreness (case 8) in July

   78
     FAERS is a database that contains adverse event reports, medication error reports and product quality
   complaints resulting in adverse events that were submitted to FDA. The database is designed to support
   FDA's post-marketing safety surveillance program for drug and therapeutic biologic products.


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   2021, but did not provide sufficient information to determine the exact date of the adverse
   event.

   As discussed in section II.A.2.d., the Applicants report adverse events, including serious
   adverse events, to FDA in accordance with applicable regulations.79 To enable additional
   review of adverse events, Applicants were requested to provide a summary and analysis for
   adverse events reported with incomplete medical abortion requiring surgical intervention to
   complete abortion, blood transfusion following heavy bleeding or hemorrhage, ectopic
   pregnancies, sepsis, infection without sepsis, hospitalization related to medical abortion,
   and emergency department/urgent care encounter related to medical abortion. The
   Applicant for Mifeprex provided the requested summary of postmarketing safety
   information from March 29, 2016, when S-020 was approved, through September 30, 2021.
   The Applicant for the generic provided the requested summary of postmarketing safety
   information from April 11, 2019 (date of initial approval) through September 30, 2021.
   The information provided by the Applicants included the same cases identified in FAERS,
   as discussed above.

   We analyzed the FAERS data referenced above to determine if there was a difference in
   adverse events when in-person dispensing was and was not enforced. Based on FDA’s
   review of this data, we concluded that there does not appear to be a difference in adverse
   events when in-person dispensing was and was not enforced and that mifepristone may be
   safely used without in-person dispensing. FDA’s review of the summary and analysis data
   submitted by the Applicants (which, as noted above, included the same cases identified
   from FAERS) did not change this conclusion.

                               iii. Published Literature

   As noted above, we also conducted an extensive review of the published literature since
   March 29, 2016 (the date the S-020 efficacy supplement for Mifeprex was approved)
   through September 30, 2021.80 Published studies have described alternatives in location and
   method for dispensing mifepristone by a certified prescriber (or equivalent healthcare
   provider in countries other than the United States). Some studies have examined replacing
   in-person dispensing in certain healthcare settings with dispensing at retail pharmacies81

   79
      See 21 CFR 314.98, 21 CFR 314.80, and 21 CFR 314.81.
   80
      In support of your request that we retain the REMS and continue limiting the dispensing of Mifeprex to
   patients in clinics, medical offices, and hospitals by or under the supervision of a certified prescriber, you
   reference two studies that you assert do not comply with the REMS (Petition at 19-22). Outcomes from both
   of the studies you reference have been reported in the published literature and are addressed in the discussion
   that follows. We note that as a general matter, a clinical investigation of an approved drug that is subject to a
   REMS can take place in healthcare settings outside those provided for in the REMS. When an approved drug
   that is subject to a REMS is studied in a clinical trial, the REMS does not apply to the use of the drug in that
   clinical trial. However, FDA reviews the protocol to ensure that it will be conducted in a manner that
   adequately addresses the risks that the REMS is intended to mitigate, such that the trial participants will not
   be exposed to an unreasonable and significant risk of illness or injury. See 21 CFR 312.42(b)(1)(i) and
   (b)(2)(i).
   81
      Grossman D, Baba CF, Kaller S, et al. Medication Abortion With Pharmacist Dispensing of Mifepristone.
   Obstet Gynecol 2021;137:613–22; Rocca CH, Puri M, et al. Effectiveness and safety of early medication



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   and dispensing mifepristone from pharmacies by mail.82 Other studies have evaluated two
   modes of dispensing by prescribers: (1) prescribers mailing the medications to patients,83
   and (2) prescribers using couriered delivery of medications.84 Different studies have
   evaluated dispensing mifepristone by mail by an entity described as “a partner
   organization.”85

   We note that the ability to generalize the results of these studies to the United States
   population is hampered by differences between the studies with regard to pre-abortion care
   (e.g., telemedicine versus in-person). In addition, the usefulness of the studies is limited in
   some instances by small sample sizes and lack of follow-up information on outcomes with
   regard to both safety and efficacy. There are also factors which complicate the analysis of
   the dispensing element alone. Some of these factors are: (1) only a few studies have
   evaluated alternatives for in-person dispensing of mifepristone in isolation (for example,
   most studies on mail dispensing of mifepristone also include telemedicine consultation);
   and (2) because most serious adverse events with medical abortion are infrequent, further
   evaluation of changes in dispensing would require studies with larger numbers of
   participants. We did not find any large clinical studies that were designed to collect safety
   outcomes in healthcare systems similar to the United States. Despite the limitations of the
   studies we reviewed, we have concluded that overall the outcomes of these studies are not
   inconsistent with our conclusion that, based on the 1st year REMS assessment report and
   postmarketing safety data, mifepristone will remain safe and efficacy will be maintained if
   the in-person dispensing requirement is removed from the Mifepristone REMS Program.



   abortion provided in pharmacies by auxiliary nurse-midwives: A non-inferiority study in Nepal. PLoS ONE
   13(1): e0191174. https://doi.org/10.1371/journal.pone.019117; Wiebe ER, Campbell M, et al. Comparing
   telemedicine to in-clinic medication abortions induced with mifepristone and misoprostol. Contracept X.
   2020; 2: 100023.
   82
      Grossman D, Raifman S, Morris N, et.al. Mail-order pharmacy dispensing of mifepristone for medication
   abortion after in-person clinical assessment. Contraception 2021, ISSN 0010-7824,
   https://doi.org/10.1016/j.contraception.2021.09.008, Available online 20 September 2021; Upadhyay UD,
   Koenig LR, Meckstroth KR. Safety and Efficacy of Telehealth Medication Abortion in the US During the
   COVID-19 Pandemic. JAMA Network Open. 2021;4(8):e2122320,
   doi:10.1001/jamanetworkopen.2021.22320; Hyland P, Raymond EG, Chong E. A direct-to-patient
   telemedicine abortion service in Australia: Retrospective analysis of the first 18 months. Aust N Z J Obstet
   Gynaecol 2018;58: 335-340.
   83
      See Anger HA, Raymond EG, et al. Clinical and service delivery implications of omitting ultrasound before
   medication abortion provided via direct-to-patient telemedicine and mail. Contraception 2021 Jul 28;S0010-
   7824(21)00342-5. doi: 10.1016/j.contraception.2021.07.108. Published online. Raymond E, Chong E, et al.
   TelAbortion: evaluation of a direct to patient telemedicine abortion service in the United States.
   Contraception 2019; 100:173-177. See also Chong et al., infra n. 103 Kerestes et al., infra n. 105, and Aiken
   et al., infra n. 106.
   84
      Reynolds-Wright JJ, et al. BMJ Sex Reprod Health 2021;0:1–6. doi:10.1136/bmjsrh-2020-200976.
   85
      Endler M, Beets L, Gemzell Danielsson K, Gomperts R. Safety and acceptability of medical abortion
   through telemedicine after 9 weeks of gestation: a population-based cohort study. BJOG 2019;126;609-618.
   Norten H, Ilozumba O, Wilkinson J, Gemzell Danielsson K, Gomperts R. 10-year evaluation of the use of
   medical abortion through telemedicine: a retrospective cohort study. BJOG 2021;
   https://doi.org/10.1111/1471-0528.16765; Aiken ARA, Digol I, Trussell J, Gomperts R. Self-reported
   outcomes and adverse events after medical abortion through online telemedicine: population based study in
   the Republic of Ireland and Northern Ireland. BMJ 2017;357:j2011 http://dx.doi.org/10.1136/bmj.j2011.


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   Below is a summary of our review of the literature, organized by the methods of dispensing
   mifepristone that were studied.


        (a) Retail pharmacy dispensing

   Three studies reported medical abortion outcomes for retail pharmacy dispensing of
   mifepristone after clinical evaluation (Grossman,86 Rocca,87 Wiebe88). Grossman
   conducted a US-based study in which mifepristone and misoprostol were dispensed from a
   pharmacy partnered with the clinic. Complete abortion without additional procedures
   occurred in 93.5 percent of participants with known outcomes. The reported proportion of
   complete abortion is within the range described in the approved mifepristone labeling. No
   participants experienced a serious adverse event, were hospitalized or required transfusion.
   Three participants had emergency department (ED) visits with treatment (intravenous
   hydration, pain medication, pelvic infection after uterine aspiration for incomplete
   abortion). The study safety and efficacy outcomes are consistent with labeled outcome
   frequencies. The study has limited generalizability because it was conducted in two US
   states and involved partnered pharmacies, some of which were in the same building as the
   clinic. Additionally, all participating pharmacies in this study were required to have a
   pharmacist on duty during clinic hours who had been trained in the study protocol and was
   willing to dispense mifepristone. The study conditions may not be generalizable to United
   States retail pharmacies; there is insufficient information to assess this.

   Rocca89 conducted an observational study evaluating participants who obtained medical
   abortions in Nepal by comparing the provision of medical abortion service by newly trained
   nurse midwives in pharmacies to medical abortion provided in government-certified clinics.
   The authors reported that, with respect to complete abortion (greater than 97 percent) and
   complications (no hospitalizations or transfusions), evaluation and dispensing in pharmacy
   was non-inferior to in-clinic evaluation and dispensing.

   Wiebe,90 in a retrospective, chart review study conducted in Canada, compared abortion
   outcomes of women who underwent medical abortion with telemedicine consult, and either
   received medications by courier or picked them up at a local pharmacy, with outcomes of a
   matched control cohort of women who received the medications at a pharmacy after an in-
   clinic visit. The groups had similar documented complete medical abortion outcomes
   (equal to or greater than 95 percent participants with known outcomes). The telemedicine
   group had one case of hemorrhage (0.5 percent) and one case of infection requiring
   antibiotics (0.5 percent) compared with no cases of hemorrhage or infection requiring
   antibiotics in the in-clinic cohort. The telemedicine group had more ED visits (3.3 percent
   compared to 1.5 percent in-clinic cohort). Both models of dispensing mifepristone resulted
   in efficacy and safety outcomes within labeled frequency.

   86
      Grossman et al., supra n. 81.
   87
      Rocca et al., supra n. 81.
   88
      Wiebe et al., supra n. 81.
   89
      Rocca et al., supra n. 81.
   90
      Wiebe et al., supra n. 81.


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   None of the three studies allow a determination regarding differences in safety between in-
   person dispensing by a certified prescriber in a health care setting and dispensing through a
   retail pharmacy, due to limitations on the generalizability of the results of the studies to the
   current retail pharmacy environment in the United States. The outcome findings from the
   one United States study (Grossman)91, in which the pharmacies were partnered with
   prescribers, are unlikely to be broadly generalizable to the current retail pharmacy
   environment and do not reflect typical prescription medication availability with use of retail
   pharmacy dispensing. For the retail pharmacy dispensing study in Canada (Wiebe),92
   timely provision of medication from the retail pharmacy was accomplished by either
   courier to the woman or faxed prescription to the woman’s pharmacy. It is unknown
   whether conditions that would allow timely access to medications for medical abortion
   would occur in retail pharmacies throughout the United States, suggesting the findings from
   that study may not be broadly generalizable. The third study (Rocca)93 evaluated medical
   abortion provided in Nepali pharmacies and essentially moved the abortion provider and
   clinical examination into the pharmacy, a scenario that is not, at this time, applicable to the
   United States retail setting.

        (b) Mail order pharmacy

   Three studies evaluated mail order pharmacy dispensing (Grossman,94 Upadhyay,95
   Hyland96). Grossman published an interim analysis of an ongoing prospective cohort study
   evaluating medical abortion with mifepristone and misoprostol dispensed by mail-order
   pharmacy after in-person clinical assessment. Complete abortion without additional
   procedures occurred in 96.9 percent of participants with known outcomes. Two (0.9
   percent) participants experienced serious adverse events; one received a blood transfusion
   and one was hospitalized overnight. Nine (4 percent) participants attended 10 ED visits. In
   this interim analysis, the outcomes are consistent with labeled frequencies.

   Upadhyay97 reports findings from a retrospective cohort study of women undergoing
   medical abortion in the United States without a consultation or visit. Eligibility was
   assessed based on a participant-completed online form collecting pregnancy and medical
   history. Participants who were considered eligible received medication delivered by a
   mail-order pharmacy. Abortion outcome was determined by either an assessment on day 3
   or a 4-week pregnancy test. The investigators reported a complete abortion rate without
   additional procedures of 95 percent for participants with known outcomes and stated that
   no participants had any major adverse events. The proportion of abortion outcomes
   assessed at 3 days versus 4 weeks is not reported. Regardless, determining outcomes at 3
   days is insufficient to determine outcome rates or safety findings because a 3-day follow-up
   period is too short. As recommended in Section 2.3 of the approved labeling, follow-up at
   91
      Grossman et al., supra n. 81.
   92
      Wiebe et al., supra n. 81.
   93
      Rocca et al., supra n. 81.
   94
      Grossman et al, supra n. 82.
   95
      Upadhyay et al., supra n. 82.
   96
      Hyland et al., supra n. 82.
   97
      Upadhyay et al., supra n. 82.


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   7-14 days after administration of mifepristone is more appropriate to evaluate safety and
   efficacy. This study used a model with numerous deviations from standard provision of
   medical abortion in the United States, such as no synchronous interaction with the
   prescriber during informed consent or prior to prescribing medication and no confirmation
   of self-reported medical, surgical, and menstrual history. These deviations, limited follow-
   up information, and small sample size limit the usefulness of this study.

   Hyland98 describes findings from a cohort study in Australia evaluating medical abortion
   outcomes utilizing telemedicine and a central mail order pharmacy. Complete abortions
   without additional procedures occurred in 96 percent of participants with documented
   outcomes and is consistent with labeled efficacy. Of the participants included in the
   analysis, 95 percent had no face-to-face clinical encounters after medications were mailed
   while 3 percent were admitted to the hospital and 2 percent had an outpatient encounter.
   One participant who was hospitalized and underwent a surgical uterine evacuation received
   a transfusion. Not included in the findings are 7 hospitalizations occurring in 7 participants
   who did not have “full follow up.” The authors do not report any other adverse events and
   conclude use of the telemedicine medical abortion service is safe. However, the reasons for
   hospitalization are not discussed by the authors; therefore, it is unknown why the patients
   were hospitalized. Although the reported frequency of hospitalizations (3 percent) is higher
   than the less than 1 percent in the FDA-approved mifepristone labeling, conclusions on the
   safety findings cannot be made in the absence of information about the reasons for
   hospitalization. Other limitations of this study include incomplete information about
   outcomes with face-to-face encounters.

   Overall, the three studies evaluating mail order pharmacy dispensing suggest that efficacy
   of medical abortion is maintained with mail order pharmacy dispensing. With respect to
   safety, in the Grossman study99 the interim analysis, although small, does not raise serious
   safety concerns. Safety findings from the Hyland100 study are difficult to interpret.
   Although only one transfusion is reported and the authors state the findings demonstrate
   safety, a higher hospitalization rate and lack of information on the reasons for
   hospitalization preclude reaching any conclusions about the safety findings. Lastly, the
   Upadhyay101 study had no reported adverse events, but the findings are less useful because
   of the limited follow-up, and because medical abortions were provided using a model with
   numerous deviations from standard provision of medical abortion in the United States.

        (c) Clinic dispensing by mail

   A total of five studies evaluated clinic dispensing by mail. Gynuity Health Projects
   conducted a prospective cohort study (the “TelAbortion” study) evaluating use of
   telemedicine for remote visits and mifepristone being dispensed from clinics via overnight
   or regular tracked mail. Three publications reviewed have reported outcomes for the
   Gynuity population exclusively: Raymond (outcomes from May 2016 to December

   98
      Hyland et al., supra n. 82.
   99
      Grossman et al., supra n. 82.
   100
       Upadhyay et al., supra n. 82.
   101
       Hyland et al., supra n. 82.


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   2018),102 Chong (outcomes from May 2016 to September 2020)103 and Anger (outcomes
   from March 2020 to September 2020).104 A fourth study, Kerestes,105 reports outcomes of
   medical abortion at the University of Hawai’i from April 2020 to November 2020 and a
   fifth study, Aiken (2021)106 reports outcomes of medical abortion up to 70 days gestational
   age in the United Kingdom before and during the COVID-19 PHE in a retrospective cohort
   study.

   In Raymond,107 complete abortion without additional procedures occurred in 93 percent of
   participants with known outcomes. There were two hospitalizations (one participant
   received a transfusion for severe anemia despite having had a complete abortion) and 7
   percent of participants had clinical encounters in ED/urgent care centers. The reported
   outcomes are similar to outcomes described in approved labeling except the combined
   ED/urgent care center encounters (7 percent) exceeded the ED visits in approved labeling
   (2.9-4.6 percent).108 Of note, the authors state that half of the ED/urgent care visits did not
   entail any medical treatment. In Chong,109 approximately 50 percent of the medical
   abortions occurred during the period of the COVID-19 PHE. Complete abortion without an
   additional procedure occurred in 95 percent of those with known outcomes. Transfusions
   were 0.4 percent and hospitalizations were 0.7 percent; 6 percent of participants had
   unplanned clinical encounters in ED/urgent care. Surgical interventions were required in
   4.1 percent to complete abortion. The reported outcomes in Chong (which updated the
   findings described in Raymond) are similar to outcomes described in approved labeling
   except that (as with the Raymond study it updated) the combined ED/urgent care center
   encounters (6 percent) exceeded the ED visits in approved labeling (2.9-4.6 percent).

   Anger,110 which compared outcomes among participants enrolled in the Gynuity study who
   did (“test medical abortion cohort”) versus did not (“no-test medical abortion cohort”)111

   102
       Raymond et al., supra n. 83.
   103
       Chong E, Shochet T, et al. Expansion of a direct-to-patient telemedicine abortion service in the United
   States and experience during the COVID-19 pandemic. Contraception 2021;104:43-48.
   104
       Anger et al., supra n. 83.
   105
       Kerestes C, Murayama S, et al. Provision of medication abortion in Hawai‘i during COVID-19: Practical
   experience with multiple care delivery models. Contraception 2021 Jul;104(1):49-53.
   doi:10.1016/j.contraception.2021.03.025. Epub 2021 Mar 28.
   106
       Aiken ARA, Lohr PA, et al. Effectiveness, safety and acceptability of no-test medical abortion
   (termination of pregnancy) provided via telemedicine: a national cohort study. BJOG 2021;128:1464–1474.
   107
       Raymond, supra n. 83.
   108
       The authors reported the combined frequency of emergency department/urgent care visits, whereas the
   approved labeling includes the frequency for emergency department (emergency room) visits. Therefore it is
   unknown whether the frequency of emergency department visits in the trial, as distinct from the combined
   frequency of emergency department/urgent care visits, is comparable to the frequency of emergency
   department visits reflected in approved labeling.
   109
       Chong et al., supra n. 103.
   110
       Anger et al., supra n. 83.
   111
       “No-test medication abortion” refers to medical abortion provided without a pretreatment ultrasound,
   pelvic examination or laboratory tests when, in the judgment of the provider, doing so is medically
   appropriate (appropriateness based on history and symptoms); “no-test medication abortion” does include
   post-abortion follow up. A sample protocol is described by Raymond et al.” (Raymond EG, Grossman D,
   Mark A, et.al. Commentary: No-test medication abortion: A sample protocol for increasing access during a
   pandemic and beyond. Contraception 2020;101:361-366)


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   have confirmation of gestational age/intrauterine location with an examination or
   ultrasound, found that those without an examination or ultrasound prior to medical abortion
   were more likely to require procedural interventions and had more unplanned clinical
   encounters.112 There were no reported ectopic pregnancies in either group. The number of
   ED/urgent care visits and the proportion of unplanned clinical encounters that led to
   medical treatment were not reported. In the “test” group, complete medical abortion was
   confirmed in 98 percent of participants with known outcomes; one participant was
   “hospitalized and/or blood transfusion” and 8 percent had an unplanned clinic encounter
   (participant sought in-person medical care related to abortion and the visit was not planned
   prior to abortion). In the “no-test” group, complete medical abortion was confirmed in 94
   percent of participants with known outcomes; two participants were “hospitalized and/or
   blood transfusion” and 12.5 percent had an unplanned clinical encounter.

   Kerestes113 included three different delivery models: traditional in-person visits,
   telemedicine consultation with in-person pick-up of medications, and telemedicine
   consultation with delivery of medications by mail (most of the latter were enrolled through
   Gynuity’s TelAbortion study). Among participants with follow-up data, the rates of
   successful medical abortion without surgery were consistent with outcomes in approved
   labeling. Blood transfusion was given to two participants (both in the telemedicine plus in-
   person pickup group). Although ED visits occurred the most frequently in the telemedicine
   plus mail group (four participants or 5.8 percent) and the least in the in-person group (two
   participants or 2.1 percent), the study reported no increases in other serious adverse events.
   Aiken (2021)114 reported outcomes before and during the pandemic in a retrospective
   cohort study in the United Kingdom. The study compared the two cohorts: one before the
   pandemic with in-person visits and dispensing (traditional model) and one during the
   pandemic with either an in-person visit and in-person dispensing or a telemedicine visit and
   dispensing by mail or picked up from the clinic (hybrid model). Complete abortion
   occurred in greater than 98 percent in both cohorts; the rate was slightly higher in the
   telemedicine group than in the in-person group. There were no significant differences in
   the rates of reported serious adverse events. The investigators’ analysis determined that the
   efficacy and safety were comparable between both cohorts and concluded the hybrid model
   for medical abortion is effective and safe.

   Taken together, data from the three Gynuity study reports (Raymond, Chong, and Anger),
   Kerestes, and Aiken (2021) support that efficacy of medical abortion was maintained when
   mifepristone was dispensed by mail from the clinic. Study reports of Raymond, Chong,
   and Kerestes all suggest there may be an increase in ED/urgent care visits with
   telemedicine visits and dispensing by mail from the clinic, but without increases in other
   serious adverse events. Anger’s comparative analysis suggests a pre-abortion examination
   may decrease the occurrence of procedural intervention and decrease the number of
   unplanned visits for postabortion care. The Aiken (2021) study appears to be of sufficient

   112
       We note that the two cohorts were not randomized in the Anger study; they had different baseline
   characteristics. Consequently, findings based on the comparisons between the two cohorts should be
   interpreted carefully.
   113
       Kerestes et al., supra n. 105.
   114
       Aiken et al., supra n. 106.


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   sample size to determine whether safety outcomes with mail dispensing differ from in-
   person dispensing; however, significant limitations include that the analysis was based on
   deidentified information and the investigators were unable to verify the outcomes extracted.
   Further, the study’s design did not capture all serious safety outcomes, thus limiting the
   certainty of the findings.

   Notwithstanding the limitations discussed above, these studies overall support that
   dispensing by mail from the clinic is safe and effective. Although the literature suggests
   there may be more frequent ED/urgent care visits related to the use of mifepristone when
   dispensed by mail from the clinic, there are no apparent increases in other serious adverse
   events related to mifepristone use.

          (d) Clinic dispensing by courier

   Reynolds-Wright115 reported findings from a prospective cohort study of participants at less
   than 12 weeks gestational age in Scotland undergoing medical abortion at home that
   provided mifepristone for pick up at the service or by couriered delivery to woman’s home.
   The outcomes from this study in Scotland are consistent with the outcomes in the approved
   mifepristone labeling. However, the number of couriered deliveries was not reported. Thus
   this study does not provide abortion outcomes separately for couriered delivery of
   mifepristone and misoprostol. The study shares the same limitations as the Aiken (2021)
   study; the study’s design did not capture all serious safety outcomes, thus limiting the
   certainty of the findings.

          (e) Partner organization dispensing by mail

   Women on Web (WoW), an internet group, connects patients and providers outside of the
   US and provides medical abortion globally, dispensing mifepristone through “a partner
   organization” by mail. WoW uses a model with numerous deviations from the standard
   provision of medical abortion in the United States. For example, this model has no
   synchronous interaction with the prescriber during informed consent or prior to prescribing
   medication and no confirmation of self-reported medical, surgical, and menstrual history or
   confirmed pregnancy testing. Three studies (Endler, Norten, and Aiken (2017))116 reported
   outcomes based on dispensing through this model. Endler and Norten reported outcomes
   from WoW cohorts but do not provide relevant information on mifepristone dispensing by
   mail because neither provide meaningful outcomes data for consideration. Although Aiken
   (2017) is a large cohort study, the outcomes are self-reported and an unusually high rate of
   outcomes are unaccounted for; these limitations result in the data being insufficient to
   determine the safety of dispensing mifepristone by mail though a partner organization.

   In sum, there are insufficient data from the literature we have reviewed to determine the
   safety and efficacy of dispensing from a retail pharmacy, by courier, or by a partner
   organization. With respect to dispensing mifepristone by mail, our review of the literature
   indicates that dispensing mifepristone by mail from the clinic or from a mail order

   115
         Reynolds-Wright JJ, et al. BMJ Sex Reprod Health 2021;0:1–6. doi:10.1136/bmjsrh-2020-200976.
   116
         Endler et al., Norten et al., and Aiken et al., supra n. 85.


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   pharmacy does not appear to jeopardize the efficacy of mifepristone for medical abortion.
   While the studies we reviewed are not adequate on their own to establish the safety of the
   model of dispensing mifepristone by mail, the safety and efficacy outcomes reported in
   these studies remain within the ranges labeled for the approved mifepristone products.
   Although the literature suggests there may be more frequent ED/urgent care visits related to
   the use of mifepristone when dispensed by mail from the clinic, there are no apparent
   increases in other significant adverse events related to mifepristone use.

   Based on the REMS assessment data, FAERS data from the time period when the in-person
   dispensing requirement was not being enforced, and our review of the literature, we
   conclude that mifepristone will remain safe and effective if the in-person dispensing
   requirement is removed, provided all the other requirements of the REMS are met and
   pharmacy certification is added. Removing the in-person dispensing requirement will
   render the REMS less burdensome to healthcare providers and patients, and provided all
   other requirements of the REMS are met, including the additional requirement for
   pharmacy certification, the REMS will continue to ensure that the benefits of mifepristone
   for medical abortion outweigh the risks. Therefore, to reduce the burden imposed by the
   Mifepristone REMS Program, the REMS must be modified to remove the in-person
   dispensing requirement, which would allow, for example, dispensing of mifepristone by
   mail via certified prescribers or pharmacies, in addition to in-person dispensing in clinics,
   medical offices and hospitals as currently outlined in ETASU C.

   In your Petition, you state that “[e]liminating or relaxing the REMS to facilitate Internet or
   telephone prescriptions would be dangerous to women and adolescent girls” and that
   “health care providers prescribing abortion-inducing drugs over the Internet or phone or
   before a patient is even pregnant cannot adequately evaluate patients for contraindications
   to the drugs” (Petition at 18-19).

   We do not agree that eliminating the REMS requirement for the dispensing of Mifeprex in
   certain healthcare settings will be dangerous to patients, nor do we agree that doing so will
   affect the ability of healthcare providers to evaluate women for contraindications to
   mifepristone in a regimen with misoprostol for medical termination of intrauterine
   pregnancy through 70 days gestation. There are many factors that contribute to patient
   safety, including evaluation of a patient, informed consent, development of a follow-up
   plan, and provision of a contact for emergency care. All of these can occur in many types
   of healthcare settings. The evaluation of patients for contraindications to medical abortion
   does not necessarily require direct physical contact with the certified prescriber.

   You also assert that telemedicine abortion absolves abortion providers of responsibility for
   the well-being of their patients (Petition at 19). We do not agree. Healthcare providers
   who prescribe mifepristone are responsible for the well-being of their patients regardless of
   mode of evaluation or dispensing of medication. The Agency agrees with the American
   Medical Association that a healthcare provider-patient relationship is entered when the
   “physician serves a patient’s medical needs;”117 in the context of medical abortion, this


   117
         See www.ama-assn.org/delivering-care/ethics/patient-physician-relationships.


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                                                                                            EX. 30 pg. 035
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   healthcare provider-patient relationship continues until resolution of the pregnancy or
   transfer of care to another healthcare provider.118

   We also note that patients who are not pregnant at the time of evaluation would not be
   appropriate candidates for being prescribed mifepristone for medical termination of
   pregnancy because they do not fulfill the approved indication of having an intrauterine
   pregnancy of up to 70 days gestation.


            2.       Other Safety Issues and Additional Studies

   In support of your request that we retain the Mifeprex REMS, you cite the Council for
   International Organizations of Medical Sciences’ (CIOMS) definition of “rare” to assert
   that because “about 1 out of 100 women” using Mifeprex and misoprostol require surgery,
   serious complications are common, not rare (Petition at 15-16).119 Although we agree that
   certain elements of the Mifepristone REMS Program are necessary to assure the safe use of
   mifepristone, we do not agree with your assertion.

   In the Petition, you state that the Medication Guide improperly downplays the risks of the
   use of Mifeprex in a regimen with misoprostol and you cite the Medication Guide as stating
   “‘rarely, serious and potentially life-threatening bleeding, infections, and other problems
   can occur following . . . medical abortion.’ Specifically, ‘in about 1 out of 100 women
   [administered Mifeprex and misoprostol] bleeding can be so heavy that it requires a
   surgical procedure.” (Petition at 15). Using these two separate statements in the
   Medication Guide, you argue that the CIOMS’s definition of rare (“1 out of 1000”) means
   that if 1 out of 100 women using Mifeprex in a regimen with misoprostol require surgery,
   serious complications are common, not rare. (Petition at 16). However, your reference to
   the two sentences in the Medication Guide conflates two different clinical scenarios: (1) the
   adverse event of serious and potentially life-threatening bleeding, and (2) treatment failure.

   The first sentence you reference states: “Although cramping and bleeding are an expected
   part of ending a pregnancy, rarely, serious and potentially life-threatening bleeding,
   infections, or other problems can occur following a miscarriage, surgical abortion, medical
   abortion, or childbirth.” This statement refers to life-threatening adverse events that can
   occur during termination regardless of gestational age or during miscarriage or childbirth
   regardless of the mode of delivery (e.g., vaginal delivery or cesarean section). At the time
   of our review of the clinical studies submitted to support the S-020 efficacy supplement, the
   reported rate of death in the studies reviewed, based on one death, was 0.007 percent (very
   rare under the CIOMS definition).120 The rate of infections requiring hospitalization or



   118
       See https://www.ama-assn.org/delivering-care/ethics/ethical-practice-telemedicine.
   119
       Council for International Organizations of Medical Sciences. Guidelines for Preparing Core Clinical Safety
   Information on Drugs Second Edition. 1999. https://cioms.ch/wp-content/uploads/2018/03/Guidelines-for-
   Preparing-Core-Clinical-Safety-Info-Drugs-Report-of-CIOMS-Working-Group-III-and-V.pdf. Accessed
   December 13, 2021 (CIOMS).
   120
       Id. at 36 (defining the “very rare” standard category of frequency as less than 0.01 percent).


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                                                                                                   EX. 30 pg. 036
                                                                                                        App. 0488
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   intravenous antibiotics was less than 0.1 percent (rare under the CIOMS definition),121 and
   rates of transfusion were 0.03-0.7 percent (rare to uncommon under the CIOMS
   definition).122 Therefore, “rarely” accurately refers to the frequency of the adverse events
   referenced in this statement.

   The second sentence you reference from the Medication Guide states: “In about 1 out of
   100 women, bleeding can be so heavy that it requires a surgical procedure (surgical
   aspiration or D&C).” This statement refers to the rate of surgical procedures for bleeding
   following treatment with mifepristone. Heavy bleeding or hemorrhage after medical
   abortion is a small subset of bleeding and can require a surgical procedure due to ongoing
   pregnancy or incomplete expulsion; these are considered failed treatment rather than
   adverse events and are not characterized using the CIOMS definitions. Even if heavy,
   bleeding after medical abortion may not be considered a serious adverse event unless
   clinically diagnosed as hemorrhage or requiring a transfusion. Furthermore, in the vast
   majority of medical abortions, surgical intervention is not necessary.

   You also cite a 2009 study and a 2018 study to assert that medical abortions carry greater
   risks than surgical abortions (Petition at 16). The 2009 Niinimaki, et al.123 study reported
   overall incidences of immediate adverse events (up to 42 days) in medical and surgical
   abortions performed in women undergoing induced abortion from 2000-2006 based on data
   from the Finnish national registries. We agree that the overall incidence of adverse events
   for medical abortion was fourfold higher when compared with surgical abortion (20.0
   percent versus 5.6 percent). Specifically, the incidence of hemorrhage, incomplete
   abortion, and surgical (re)evacuation were higher for medical abortion. However, the
   authors specifically noted that because medical abortion is associated with longer uterine
   bleeding, the high rate of events, which were pulled from a national registry reflecting both
   inpatient and outpatient visits, is not surprising. They opined that uterine bleeding
   requiring surgical evacuation probably better reflects the severity of bleeding after
   termination of pregnancy; the incidence of such bleeding was relatively low, although it
   was more common with medical abortion. In addition, the authors acknowledged there are
   inherent weaknesses in registry-based studies; there is variable reliability both of diagnoses
   and of severity of diagnoses. Nevertheless, the authors concluded that both methods are
   generally safe and recommended discussing the adverse event profiles of different methods
   when counseling women seeking pregnancy termination.

   We note that Ireland, et al.124 reported findings from a more recent retrospective cohort
   study of 30,146 United States women undergoing pregnancy termination before 64 days of
   gestation from November 2010 to August 2013. Efficacy of pregnancy termination was
   99.6 percent and 99.8 percent for medical and surgical abortion, respectively.

   121
       Id. at 36 (defining the “rare” standard category of frequency as greater than or equal to 0.01 percent and
   less than 0.1 percent).
   122
       Id. at 36 (defining the “uncommon” standard category of frequency as greater than or equal to 0.1 percent
   and less than 1 percent); see also 2016 Clinical Review, supra n. 13, at 47 and 51.
   123
       Niinimaki M, Pouta A, Bloigu A, et al. Immediate complications after medical compared with surgical
   termination of pregnancy. Obstet Gynecol. 2009;114(4):795-804.
   124
       Ireland LD, Gatter, M, Chen, A. 2015. Medical Compared with Surgical Abortion for Effective Pregnancy
   Termination in the Frist Trimester. Obstetrics & Gynecology 126;22-28.


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                                                                                                   EX. 30 pg. 037
                                                                                                        App. 0489
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   Unanticipated aspiration for persistent pain, bleeding or both were 1.8 percent and 0.4
   percent for medical and surgical abortion respectively. These findings are compatible with
   the Niinimaki study findings. There was no difference in major adverse events as defined
   by the authors (emergency department visit, hospitalization, uterine perforation, infection,
   hemorrhage requiring transfusion) between the groups. The authors conclude medical and
   surgical abortion before 64 days of gestation are both highly effective with low
   complication rates.

   The 2018 Carlsson study is addressed above in section II.A.2.b.ii. of this response; as
   discussed above, that study showed no statistically significant difference between the
   overall complication rates between an “at home” and “at the hospital” abortion.125

   We acknowledge that medical abortion is known to have more days of bleeding and
   increased rates of incomplete abortion compared to surgical abortion. However, as noted
   above, in the vast majority of medical abortions, surgical intervention is not necessary.
   Thus, medical abortion and surgical abortion are two options; both have benefits, side
   effects, and potential complications. Patients and their healthcare providers should discuss
   which method is preferable and safer according to each woman’s unique situation.

   You state that the Mifeprex REMS should require a formal study for at-risk populations,
   including: patients under the age of 18; patients with repeat Mifeprex abortions; patients
   with limited access to emergency room services; and patients who self-administer
   misoprostol (Petition at 13-14). As we explain below, additional studies are not needed at
   this time.

   In justifying your assertion that a formal study is required in patients under the age of 18,
   you state that Mifeprex was approved for use in the pediatric population in 2000 after the
   requirement for studies in the pediatric population was waived (Petition at 13-14). The
   approved indication for mifepristone does not limit its use by age. Although patients age
   17 and under were not included in the clinical trials supporting the initial approval of
   Mifeprex in 2000, we stated at the time that the safety and efficacy were expected to be the
   same for postpubertal (i.e., post-menarchal) adolescents. Our conclusion in 2000 that
   pediatric studies of Mifeprex were not needed for approval was consistent with FDA’s
   implementation of the regulations in effect at that time. Because we determined that there
   were sufficient data from studies of mifepristone, the original Mifeprex approval should
   have reflected the Agency’s conclusion that the pediatric study requirements were waived
   for pre-menarchal females and that the pediatric study requirements were met for post-
   menarchal adolescents, rather than stating that the Agency was waiving the requirements
   for all pediatric age groups.

   As currently required by the Pediatric Research Equity Act (PREA),126 certain applications
   or supplemental applications must include pediatric assessments of the safety and
   effectiveness of the drug for the claimed indication(s) in all relevant pediatric


   125
         Carlsson et al., supra n. 49.
   126
         Section 505B of the FD&C Act (21 U.S.C. 355c).


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                                                                                    EX. 30 pg. 038
                                                                                         App. 0490
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   subpopulations, unless that requirement is waived or deferred.127 In accordance with
   PREA, when FDA reviewed the S-020 efficacy supplement, a partial waiver was granted
   for pediatric studies in pre-menarchal females because pregnancy does not occur in
   premenarchal females. We also determined that the applicant had fulfilled the pediatric
   study requirement in post-menarchal adolescents. This determination was based on data
   extrapolated from adults and information in literature. Review of these findings found the
   safety and efficacy in this population to be similar to the safety and efficacy in the adult
   population.128 Therefore, we do not agree that a formal study is required in patients under
   18.

   With regard to your concerns about repeat abortions and your assertion that a study is
   necessary in this population, we acknowledge that published data concerning adverse
   reproductive health outcomes in U.S. women who undergo repeat medical abortions are
   limited. We concluded in our 2016 review of the S-020 efficacy supplement that there is
   no evidence that repeated medical or surgical abortion is unsafe or that there is a tolerance
   effect. We also noted that return to fertility after the use of mifepristone is well
   documented. 129 This is reflected both in Section 17 of the approved labeling, Patient
   Counseling Information, which states that the provider should “inform the patient that
   another pregnancy can occur following medical abortion and before resumption of normal
   menses,” and in the Medication Guide, which states “You can become pregnant again right
   after your pregnancy ends.” Although you state that more than one out of every three
   abortions in the United Sates is a repeat abortion (Petition at 14),130 we are not aware of
   reports suggesting greater safety concerns in repeat abortions than a first-time abortion.
   Therefore, we do not agree that a study is necessary in this population. You also cite a
   published study, using a mouse model, of repeated medical termination of pregnancy that
   showed repeat medical abortion impaired the reproductive function of female mice
   (Petition at 14).131 Per our 2016 review, there is no evidence in available clinical data that
   repeated medical or surgical abortion is unsafe, or that fertility is impaired by the use of
   mifepristone; therefore, data from a single non-clinical study in mice are not persuasive.132

   With respect to your request for a formal study of mifepristone for medical abortion in
   women without access to emergency care, we disagree that such a study is necessary. In
   order to become a certified prescriber, a healthcare provider must agree that they have the
   ability to provide surgical intervention in cases of incomplete abortion or severe bleeding or
   have made plans to provide such care through others, and that they have the ability to
   assure patient access to medical facilities equipped to provide blood transfusions and
   resuscitation, if necessary. These prescriber qualifications ensure that mifepristone is
   prescribed to women for whom emergency care is available.


   127
       Section 505B(a)(2) of the FD&C Act (21 U.S.C. 355c(a)(2)).
   128
       2016 Clinical Review, supra n. 13, at 74-76.
   129
       Id. at 47.
   130
       In support of this assertion, you cite Jones R, Jerman J, Ingerick M. Which abortion patients have had a
   prior abortion? Findings from the 2014 U.S. Abortion Patient Survey. J Womens Health.
   131
       Lv F, Xu X, Zhang S, et al. Repeated abortion affects subsequent pregnancy outcomes in BALB/c mice.
   PLoS One. 2012;7(10):e48384. doi:10.1371/journal.pone.0048384.
   132
       2016 Clinical Review, supra n. 13, at 47.


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                                                                                                   EX. 30 pg. 039
                                                                                                        App. 0491
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Finally, you assert that FDA should require a formal study in patients who self-administer
misoprostol. As explained in section II.A.2.b.ii of this response, FDA conducted a literature
review of self-administration of misoprostol at home as part of its review of the S-020
efficacy supplement and found no safety or efficacy concerns with home self-
administration of misoprostol. Therefore, we disagree that a formal study is required in this
population.

With regard to safety generally, in addition to the FAERS data provided above (see section
II.B.1.c.ii. in this response), FDA routinely monitors adverse events reported to FAERS and
published in the medical literature for mifepristone for medical termination of pregnancy
through 70 days gestation. We have not identified any new safety concerns with the use of
mifepristone for this indication.


         3.       Other Articles

In your Petition, you reference several documents that discuss alternative models of
providing abortion medications and advocate for the lifting of the REMS on mifepristone
(Petition at 23-24). You assert that these recent publications demonstrate how abortion
advocates will continue to pressure FDA to eliminate the REMS and move towards over-
the-counter access for Mifeprex.133
We agree that the overarching message in the publications you reference appears to be
advocating self-management of medical abortion. Nonetheless, as discussed in this
response, we have determined that the Mifepristone REMS Program continues to be
necessary for the safe use of this drug product, with some modifications.


III.     CONCLUSION

For the reasons set forth above, we deny your request that FDA restore and strengthen elements of
the Mifeprex regimen and prescriber requirements approved in 2000; and we grant in part and deny
in part your request to retain the Mifepristone REMS Program. As with all approved drug
products, we will continue to monitor the safety of mifepristone for the approved indication and
take any appropriate actions.

                                                       Sincerely,
                                                       Patrizia A.              Digitally signed by Patrizia A.
                                                                                Cavazzoni -S
                                                       Cavazzoni -S             Date: 2021.12.16 15:05:41 -05'00'


                                                       Patrizia Cavazzoni, M.D.
                                                       Director
                                                       Center for Drug Evaluation and Research

133
   You also reference clinical trials relating to the use of mifepristone for spontaneous miscarriage
management and question the results of studies related to this use (Petition at 16-18). The use of mifepristone
for the management of early miscarriage is not an approved indication for this drug product and is outside the
scope of the Mifepristone REMS Program. Therefore, we do not address it in this response.


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                                                                                                               EX. 30 pg. 040
                                                                                                                    App. 0492
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                 Exhibit 31
 Questions and Answers on FDA’s Adverse Event
           Reporting System (FAERS)




                                                                      App. 0493
       Case 2:22-cv-00223-Z Document 176-1 Filed 01/12/24                                         Page 498 of 684 PageID 6256
10/10/23, 1:36 PM                                Questions and Answers on FDA's Adverse Event Reporting System (FAERS) | FDA




           Questions and Answers on FDA's Adverse Event Reporting System
                                     (FAERS)

     What is FAERS?
     The FDA Adverse Event Reporting System (FAERS) is a database that contains adverse event reports, medication
     error reports and product quality complaints resulting in adverse events that were submitted to FDA. The database
     is designed to support the FDA's post-marketing safety surveillance program for drug and therapeutic biologic
     products. The informatic structure of the FAERS database adheres to the international safety reporting guidance
     issued by the International Conference on Harmonisation (ICH E2B (/drugs/guidances-drugs/international-
     council-harmonisation-efficacy)). Adverse events and medication errors are coded using terms in the Medical
     Dictionary for Regulatory Activities (MedDRA) (http://www.meddra.org/)  (http://www.fda.gov/about-
     fda/website-policies/website-disclaimer) terminology.


     How does FDA use the information in FAERS?
     FAERS is a useful tool for FDA for activities such as looking for new safety concerns that might be related to a
     marketed product, evaluating a manufacturer's compliance to reporting regulations and responding to outside
     requests for information. The reports in FAERS are evaluated by clinical reviewers, in the Center for Drug
     Evaluation and Research (CDER) and the Center for Biologics Evaluation and Research (CBER), to monitor the
     safety of products after they are approved by FDA.
      If a potential safety concern is identified in FAERS, further evaluation is performed. Further evaluation might
     include conducting studies using other large databases, such as those available in the Sentinel System. (/sentinel-
     initiative-transforming-how-we-monitor-product-safety) Based on an evaluation of the potential safety concern,
     FDA may take regulatory action(s) to improve product safety and protect the public health, such as updating a
     product’s labeling information, restricting the use of the drug, communicating new safety information to the public,
     or, in rare cases, removing a product from the market.


     Who sends reports to FAERS?
     Healthcare professionals, consumers, and manufacturers submit reports to FAERS. FDA receives voluntary reports
     directly from healthcare professionals (such as physicians, pharmacists, nurses and others) and consumers (such as
     patients, family members, lawyers and others). Healthcare professionals and consumers may also report to the
     products’ manufacturers. If a manufacturer receives a report from a healthcare professional or consumer, it is
     required to send the report to FDA as specified by regulations.


     How can I report an adverse event or medication error to FDA?
     The MedWatch (https://www.fda.gov/Safety/MedWatch/default.htm) website provides information about
     voluntary and mandatory reporting (https://www.fda.gov/Safety/MedWatch/HowToReport/default.htm).


     Can mandatory reporters submit adverse events electronically?
     Yes, the FDA Adverse Events Reporting System (FAERS) Electronic Submissions (/drugs/fda-adverse-event-
     reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-submissions) website provides drug
     and therapeutic biological product manufacturers, distributors, packers, and other interested parties with
     information about FDA Adverse Event Reporting System (FAERS) electronic submissions and instructions on how
     to electronically submit post-marketing individual case safety reports (ICSRs), with and without attachments.
                                                                                                                 EX. 31 pg. 001
https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-adverse-event-reporting-system-faers                                     1/4
                                                                                                                               App. 0494
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10/10/23, 1:36 PM                                Questions and Answers on FDA's Adverse Event Reporting System (FAERS) | FDA

     Does FAERS data have limitations?
     Yes, FAERS data does have limitations. First, there is no certainty that the reported event (adverse event or
     medication error) was due to the product. FDA does not require that a causal relationship between a product and
     event be proven, and reports do not always contain enough detail to properly evaluate an event. Furthermore, FDA
     does not receive reports for every adverse event or medication error that occurs with a product. Many factors can
     influence whether an event will be reported, such as the time a product has been marketed and publicity about an
     event. There are also duplicate reports where the same report was submitted by a consumer and by the sponsor.
     Therefore, FAERS data cannot be used to calculate the incidence of an adverse event or medication error in the U.S.
     population. For more information, please refer to the question “ What points should I consider while viewing the
     dashboard content? (https://fis.fda.gov/extensions/fpdwidgets/2e01da82-13fe-40e0-8c38-
     4da505737e36.html#_Toc493751926)”


     Is FAERS data available to the public?
     FAERS data is available to the public in the following ways:

            FAERS dashboard (/drugs/fda-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-
            faers-public-dashboard): a highly interactive web-based tool that allows for the querying of FAERS data in a
            user friendly fashion.
            FAERS data files (/drugs/fda-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-
            faers-latest-quarterly-data-files): provides raw data consisting of individual case safety reports extracted from
            the FAERS database. A simple search of FAERS data cannot be performed with these files by persons who are
            not familiar with the creation of relational databases.
            Individual case safety reports from the FAERS database can also be obtained by sending a Freedom of
            Information (FOI) request to FDA (/how-make-foia-request).


     How do I find or confirm my report is in FAERS?
     To confirm that your report is in FAERS, please send a Freedom of Information (FOI) request to FDA (/how-make-
     foia-request).


     What are the benefits of the FAERS public dashboard?
     This tool makes the data easier to query and produces user-friendly information and charts. For example, users can
     view a summary of adverse event reports received from 1968 to the present or for a specific timeframe. In addition,
     users can search on a product of interest within a specific timeframe.


     Will there be a tutorial so I can learn how to use this database?
     Yes, a recorded webinar (/about-fda/pharmacy-student-experiential-program/fda-drug-topics-fda-adverse-events-
     reporting-system-faers-public-dashboard-january-30-2018) is available which reviews the capabilities, and
     limitations, of the FAERS public dashboard.


     Is the FAERS public dashboard accessible on an Android™ or iPhone®?
     Yes, but the user interface layout may not be very user friendly. FDA will continue to work on the dashboard to make
     the user interface Android and iPhone friendly.




                                                                                                                 EX. 31 pg. 002
https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-adverse-event-reporting-system-faers                                     2/4
                                                                                                                               App. 0495
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10/10/23, 1:36 PM                                Questions and Answers on FDA's Adverse Event Reporting System (FAERS) | FDA

     Can I download my search results from the dashboard?
     Yes, you will be able to export a limited set of search data to an Excel® spreadsheet and then download it. FDA will
     still continue to provide the FAERS Latest Quarterly Data Files (/drugs/fda-adverse-event-reporting-system-
     faers/fda-adverse-event-reporting-system-faers-latest-quarterly-data-files) online.

     Note: The data fields listed on the FAERS Dashboard currently is a subset of the data fields available in the FAERS
     Quarterly Data files. Future release of the FAERS Dashboard plans to make the other data fields available. Also the
     data displayed in the FAERS Dashboard may not be identical to the data in the FAERS Quarterly Data files due to
     different data extraction dates.


     Where else can I find safety information?
            Potential Signals of Serious Risks/New Safety Information Identified from the FDA Adverse Event Reporting
            System (FAERS): quarterly reports on potential serious side effects identified by FAERS. (/drugs/fda-adverse-
            event-reporting-system-faers/potential-signals-serious-risksnew-safety-information-identified-fda-adverse-
            event-reporting-system)
            Post-marketing Drug and Biologic Safety Evaluations (/drugs/surveillance/postmarket-drug-and-biologic-
            safety-evaluations): provides summary information about ongoing and completed post-marketing safety
            evaluations of adverse experience reports made to FDA for New Drug Applications (NDAs) and Biologic
            License Applications (BLAs) approved since September 27, 2007.
            Center for Drug Evaluation and Research (CDER): Drug Safety and Availability
            (https://www.fda.gov/Drugs/DrugSafety/default.htm)
            Post-market Drug Safety Information for Patients and Providers
            (https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/default.htm)
            MedWatch: The FDA Safety Information and Adverse Event Reporting Program
            (https://www.fda.gov/Safety/MedWatch/default.htm)


     How are versions of a case in FAERS handled?
     Each unique submission of a case received is assigned a version number (for example, Case #1234567, version 1).
     The initial version received will be version 1. If a follow up is received on a previously submitted case, then that
     version of the case will be version 2, and so on. The latest version of a case represents the most current information
     about that case.

     The data is updated quarterly.


     What points should I consider while viewing the dashboard content?
     When you view the website output of reported reactions (side effects or adverse drug reactions) for a drug product, it
     is important to consider the following points:

            Data Quality: There are many instances of duplicative reports and some reports do not contain all the
            necessary information. Duplicate reporting occurs when the same report is submitted by the consumer and the
            sponsor. The information in FAERS evolves daily and the number of individual cases may increase or decrease.
            It is therefore possible that the information on this website may change over time.
            Existence of a report does not establish causation: For any given report, there is no certainty that a
            suspected drug caused the reaction. While consumers and healthcare professionals are encouraged to report
            adverse events, the reaction may have been related to the underlying disease being treated, or caused by some

                                                                                                                 EX. 31 pg. 003
https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-adverse-event-reporting-system-faers                                     3/4
                                                                                                                               App. 0496
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            other drug being taken concurrently, or occurred for other reasons. The information in these reports reflects
            only the reporter's observations and opinions.
            Information in reports has not been verified: Submission of a report does not mean that the
            information included in it has been medically confirmed nor it is an admission from the reporter that the drug
            caused or contributed the event.
            Rates of occurrence cannot be established with reports: The number of suspected reactions in FAERS
            should not be used to determine the likelihood of a side effect occurring. The FDA does not receive reports for
            every adverse event or medication error that occurs with a product. Many factors can influence whether an
            event will be reported, such as the time a product has been marketed and publicity about an event. Therefore,
            information in these reports cannot be used to estimate the incidence (occurrence rates) of the reactions
            reported.
            Patients should talk to their doctor before stopping or changing how they take their medications.
            Patient Outcomes received in FAERS: These data describe the outcome of the patient as defined in U.S.
            reporting regulations (21 CFR 310.305, 314.80, 314.98, 600.80). Serious means that one or more of the
            following outcomes were documented in the report: death, hospitalization, life-threatening, disability,
            congenital anomaly, and/or other serious outcome. Documenting one or more of these outcomes in a report
            does not necessarily mean that the suspect product(s) named in the report was the cause of the outcomes.

     Importantly, the FAERS data by themselves are not an indicator of the safety profile of the drug.




                                                                                                                 EX. 31 pg. 004
https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-adverse-event-reporting-system-faers                                     4/4
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                 Exhibit 32
  Kathi A. Aultman et al., Deaths and Severe
Adverse Events after the use of Mifepristone as an
 Abortifacient from September 2000 to February
   2019, 26 Law & Medicine 3, 25–26 (2021)




                                                                      App. 0498
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                  Deaths and Severe Adverse
                    Events after the use of
                      Mifepristone as an
                     Abortifacient from
                     September 2000 to
                       February 2019
                      Kathi A. Aultman M.D.,* Christina A. Cirucci M.D.,
                     Donna J. Harrison M.D.,** Benjamin D. Beran M.D.,***
                     Michael D. Lockwood D.O.,**** Sigmund Seiler M.D.*****

       ABSTRACT: Objectives: Primary: Analyze the Adverse Events (AEs)
       reported to the Food and Drug Administration (FDA) after use of
       mifepristone as an abortifacient. Secondary: Analyze maternal intent
       after ongoing pregnancy and investigate hemorrhage after mifepristone
       alone.
            Methods: Adverse Event Reports (AERs) for mifepristone used as an
       abortifacient, submitted to the FDA from September 2000 to February
       2019, were analyzed using the National Cancer Institute’s Common
       Terminology Criteria for Adverse Events (CTCAEv3).
              Results: The FDA provided 6158 pages of AERs. Duplicates, non-
       US, or AERs previously published (Gary, 2006) were excluded. Of the
       remaining, there were 3197 unique, US-only AERs of which there were
       537 (16.80%) with insufficient information to determine clinical
       severity, leaving 2660 (83.20%) Codable US AERs (Figure 1). Of these, 20
       were Deaths, 529 were Life-threatening, 1957 were Severe, 151 were
       Moderate, and 3 were Mild.

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                                                                                       EX. 32 pg. 001


                                                                                                  App. 0499
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              The deaths included: 9 (45.00%) sepsis, 4 (20.00%) drug toxicity/
         overdose, 1 (5.00%) ruptured ectopic pregnancy, 1 (5.00%)
         hemorrhage, 3 (15.00%) possible homicides, 1 (5.00%) suicide, 1
         (5.00%) unknown (Table 1).
              Retained products of conception and hemorrhage caused most
         morbidity. There were 75 ectopic pregnancies, including 26 ruptured
         ectopics (includes one death).
              There were 2243 surgeries including 2146 (95.68%) D&Cs of which
         only 853 (39.75%) were performed by abortion providers.
              Of 452 patients with ongoing pregnancies, 102 (22.57%) chose to
         keep their baby, 148 (32.74%) had terminations, 1 (0.22%) miscarried,
         and 201 (44.47%) had unknown outcomes.
              Hemorrhage occurred more often in those who took mifepristone
         and misoprostol (51.44%) than in those who took mifepristone alone
         (22.41%).
              Conclusions: Significant morbidity and mortality have occurred
         following the use of mifepristone as an abortifacient. A pre-abortion
         ultrasound should be required to rule out ectopic pregnancy and confirm
         gestational age. The FDA AER system is inadequate and significantly
         underestimates the adverse events from mifepristone.
              A mandatory registry of ongoing pregnancies is essential
         considering the number of ongoing pregnancies especially considering
         the known teratogenicity of misoprostol.
              At the very least, the FDA should reinstate the original 2011 REMS
         and strengthen the reporting requirements.
              Conflict of Interest Statement: The authors did not report any
         potential conflicts of interest. Authors note that although Dr. Harrison is
         an associate editor for Issues in Law and Medicine, she recused herself
         from any involvement in the peer review process for this manuscript.
              Keywords:     Mifepristone,     Mifeprex,     RU-486,    Misoprostol,
         Abortifacient, Medical Abortion, Abortion Pill, Medical Abortion
         Complications, No touch abortion, DIY Abortion, Self-Administered
         Abortion, Adverse Events, Adverse Event Reports, Post-marketing
         Surveillance, FAERS, Drug Safety, Emergency Medicine, FDA, REMS, Risk
         Evaluation Mitigation Strategy.




                                                                    EX. 32 pg. 002
                                                                               App. 0500
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        Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient                               5



                                                      Introduction
             The application for mifepristone (RU-486, RU-38486, Mifeprex) as an
        abortifacient was submitted to the Food and Drug Administration (FDA) in 1996
        by the Population Council, which was given the manufacturing and distribution
        rights from Roussel Uclaf. 1 The Population Council partnered with Danco
        Laboratories, newly created in 1995, and gave them the manufacturing,
        marketing, and distribution rights. The FDA approved mifepristone in September
        2000 under restricted distribution regulations (Subpart H) due to the FDA’s
        conclusion that restrictions “on the distribution and use of mifepristone are
        needed to ensure safe use of this product.” 2
             Included in these restrictions was the requirement that all serious Adverse
        Events (AEs), after the use of mifepristone as an abortifacient, be reported to the
        FDA by Danco as part of post-marketing surveillance. According to the FDA,3 the
        purpose of such post-marketing surveillance includes identification of potential
        risks recognized after the time of approval, identification of unexpected deaths,
        causal attribution of AEs based on the product’s known pharmacological action,
        and AEs for which a Risk Evaluation Mitigation Strategy (REMS) is intended to
        mitigate the risk.
             In 2006, in response to the deaths of 4 women from a rare bacterial sepsis
        from Clostridium sordellii (C. sordellii), the FDA and CDC convened a workshop,
        during which mifepristone alteration of the immune system was detailed, and
        they concluded that such alteration could lead to impaired ability to respond to C.
        sordellii toxin.4




              1
                Citizen petition re: Request for Stay and Repeal of the Approval of Mifeprex (mifepristone) for the Medical
        Termination of Intrauterine Pregnancy through 49 Day’s Gestation Final. Before the Department of Health and
        Human Services: Food and Drug Administration. AAPLOG. 2002. 7-10. Accessed November 13, 2020.
        https://aaplog.wildapricot.org/resources/Documents/2002%20Aug%2020%20Citizen%20Petition_Mifeprex.pdf
              2
                Center for Drug Evaluation and Research. Approval Letter for Mifeprex NDA 20-687. February 18, 2000.
        Food and Drug Administration. p 5. Accessed November 16, 2020.
        https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2000/20687approvable00.pdf
              3
                US Department of Health and Human Services, Food and Drug Administration Center for Drug Evaluation and
        Research, Center for Biologics Evaluation and Research. Best Practices in Drug and Biological Product Postmarket
        Safety Surveillance for FDA Staff. November 2019. p 7-8. Accessed Jan 16 2021.
        https://www.fda.gov/media/130216/download p7-8
              4
                Emerging Clostridial Disease Workshop: May 11, 2006, Atlanta, GA. Department of Health and Human
        Services, Centers for Disease Control and Prevention, Food and Drug Administration, National Institutes of Health.
        2006. p. 109,110. Accessed November 13, 2020.
        https://aaplog.wildapricot.org/resources/2006%20CDC%20FDA%20Clostridial%20Disease%20Transcript.pdf
                                                                                             EX. 32 pg. 003
                                                                                                    App. 0501
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          There is evidence that both mifepristone 5 , 6 , 7 and misoprostol 8 can suppress
          immune response to C. sordellii in animal models.
               In response to the septic deaths, Planned Parenthood changed their off-label
          protocol from vaginal administration of misoprostol to buccal in 2006. 9,10 Yet, as
          we found in our analysis, sepsis deaths from C. sordellii and other bacteria
          continued to occur after 2007. All sepsis deaths occurred with either vaginal or
          buccal misoprostol, which were both off label routes of administration until the
          buccal route was authorized in 2016. 11
               In 2011, the FDA approved a Risk Evaluation and Mitigation Strategy (REMS)
          for Mifepristone incorporating the original restrictions. 12 In May 2015,
          Mifepristone’s sponsor submitted a supplemental new drug application to the
          FDA to obtain approval to revise the drug’s labeling, which the FDA approved in
          2016.13,14 The 2016 changes in the Regimen and Prescriber Agreement extended
          the original gestational age limit from 49 days to 70 days, changed the
          mifepristone dose from 600 mg to 200 mg orally, changed the misoprostol dose
          from 400 mcg orally on Day 3 to 800 mcg buccally on Day 2 or 3, allowed non-
          physicians to become prescribers, reduced the number of required office visits
          from 3 to just one initial office visit, and allowed a repeat dose of misoprostol if
          complete expulsion did not occur.15 The prescriber agreement was changed so

                5
                  Emerging Clostridial Disease Workshop: May 11, 2006, Atlanta, GA. Department of Health and Human
          Services, Centers for Disease Control and Prevention, Food and Drug Administration, National Institutes of Health.
          2006. p. 109, 110 Accessed November 13, 2020.
          https://aaplog.wildapricot.org/resources/2006%20CDC%20FDA%20Clostridial%20Disease%20Transcript.pdf
                6
                  Webster JI, Sternberg EM. Role of the hypothalamic-pituitary-adrenal axis, glucocorticoids and glucocorticoid
          receptors in toxic sequelae of exposure to bacterial and viral products. J Endocrinol. 2004;181(2):212, 213, 216, 217.
          doi.org/10.1677/joe.0.1810207
                7
                  Hawes AS, Rock CS, Keogh CV, Lowry SF, Calvano SE. In vivo effects of the antiglucocorticoid RU 486 on
          glucocorticoid and cytokine responses to Escherichia coli endotoxin. Infect Immun. 1992;60(7):2645, 2646.
          doi:10.1128/IAI.60.7.2641-2647.1992
                8
                  Aronoff DM, Hao Y, Chung J, et al. Misoprostol impairs female reproductive tract innate immunity against
          Clostridium sordellii. J Immunol. 2008;180(12):8227-8229. https://doi.org/10.4049/jimmunol.180.12.8222
                9
                  Trussell, J, Nucatola, D, Fjerstad, M, Lichtenberg, ES. Reduction in infection-related mortality since
          modifications in the regimen of medical abortion. Contraception, 2014;89(3):193-196.
          https://doi.org/10.1016/j.contraception.2013.11.020
                10
                   Fjerstad M, Trussell, J, Sivin, I, Lichtenberg, ES, Rates of Serious Infection after Changes in Regimens for
          Medical Abortion. N Engl J Med. 2009 July 9;361(2):148-149. July 9, 2009 N Engl J Med 2009; 361:145-151.
          doi:10.1056/NEJMoa0809146
                11
                   GAO-18-292 Revised Mifeprex Labeling: Food and Drug Administration Information on Mifeprex Labeling
          Changes and Ongoing Monitoring Efforts. Report to Congressional Requesters. Food and Drug Administration. 2018.
          p. 7. Published March 2018. Accessed November 13, 2020. https://www.gao.gov/assets/700/690914.pdf
                12
                   NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg: Risk Evaluation and Mitigation Strategy (REMS).
          Food and Drug Administration. 2011. 1-11. Reference ID: 2957855. Published June 8, 2011. Accessed November 13,
          2020. https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2011-06-08_Full.pdf
                13
                   GAO-18-292 Revised Mifeprex Labeling: Food and Drug Administration Information on Mifeprex Labeling
          Changes and Ongoing Monitoring Efforts. Report to Congressional Requesters. Food and Drug Administration. 2018.
          p. 1. Published March 2018. Accessed November 13, 2020. https://www.gao.gov/assets/700/690914.pdf
                14
                   NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg: Risk Evaluation and Mitigation Strategy (REMS).
          Food and Drug Administration. 2016. 1-8. Reference ID: 3909592. Published March 29, 2016. Accessed November
          13, 2020. https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020RemsR.pdf
                15
                   GAO-18-292 Revised Mifeprex Labeling: Food and Drug Administration Information on Mifeprex Labeling
          Changes and Ongoing Monitoring Efforts. Report to Congressional Requesters. Food and Drug Administration. 2018.
          p.7. Published March 2018. Accessed November 13, 2020. https://www.gao.gov/assets/700/690914.pdf
                                                                                                 EX. 32 pg. 004

                                                                                                                App. 0502
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        Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient                                   7



        that instead of being required to “report any hospitalization, transfusion or other
        serious event to Danco Laboratories,”16 providers were only required to report
        deaths.17 The requirement to report ongoing pregnancies that are not terminated
        was also eliminated. “The FDA approved GenBioPro, Inc.’s abbreviated new drug
        application (ANDA) for generic Mifeprex on April 11, 2019” and “established a
        single, shared system REMS for mifepristone products” without substantially
        changing the REMS.18
              During the COVID-19 pandemic the Maryland District Court issued a
        preliminary injunction prohibiting the FDA from enforcing the in-person
        dispensing and signature requirements contained in the mifepristone REMS. 19
        This decision eliminated the need for an initial office visit for dispensing the
        medication and opened the door for dispensing of the drug via telehealth with no
        actual clinician contact. On January 12, 2021, the Supreme Court enabled the FDA
        to enforce the mifepristone REMS. 20 These requirements are essential for the
        safety of women and must be kept in place.
              The first systematic analysis of these Adverse Event Reports (AERs)
        obtained by the Freedom of Information Act (FOIA), was published by Gary and
        Harrison in 2006. 21 This paper extends that analysis to AERs not previously
        published and augments the scant published literature on mifepristone safety.

        Objectives
             Primary: To analyze and codify the significant adverse events and their
        treatment after the use of mifepristone as an abortifacient, extending the
        previously published analysis by Gary in 2006.22 Secondary: To examine maternal
        decisions in the case of ongoing pregnancy after attempted mifepristone
        termination, and to determine if failing to take misoprostol after mifepristone
        increased the risk of hemorrhage.




              16
                 NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg: Risk Evaluation and Mitigation Strategy (REMS).
        Food and Drug Administration. 2011. p. 7. Reference ID: 2957855. Published June 8, 2011. Accessed November 13,
        2020. https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2011-06-08_Full.pdf
              17
                 NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg: Risk Evaluation and Mitigation Strategy (REMS).
        Food and Drug Administration. 2016. p. 6. Reference ID: 3909592. Published March 29, 2016. Accessed November
        13, 2020. https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020RemsR.pdf
              18
                 Questions and Answers on Mifeprex. Food and Drug Administration. March 28, 2018. Updated 4-12-2019.
        Accessed November 13, 2020. https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-
        providers/questions-and-answers-mifeprex
              19
                 American College of Obstetricians and Gynecologists, et al., v. Food and Drug Administration, et al., No. 20-
        1320, 2020 WL 3960625 (D. Md. July 13, 2020). Accessed November 16th, 2020.
        https://www.courthousenews.com/wp-content/uploads/2020/07/093111166803.pdf
              20
                 FDA v ACOG. SCOTUS. 20a34_3f14. Accessed January 20, 2021.
        https://www.supremecourt.gov/opinions/20pdf/20a34_3f14.pdf
              21
                 Gary M, Harrison D. Analysis of Severe Adverse Events Related to the Use of Mifepristone as an
        Abortifacient. Ann Pharmacother. 2006 Feb 40(2):191-7. https://doi.org/10.1345/aph.1G481
              22
                 Gary M, Harrison D. Analysis of Severe Adverse Events Related to the Use of Mifepristone as an
        Abortifacient. Ann Pharmacother. 2006 Feb 40(2):191-7. https://doi.org/10.1345/aph.1G481
                                                                                               EX. 32 pg. 005

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         Materials and Methods
              FDA AERs related to the use of mifepristone from September 2000 to
         February 2019 were obtained through the Freedom of Information Act (FOIA)
         from the FDA, and a comparison was made with FDA reports available online on
         the FDA Adverse Events Reporting System (FAERS) Dashboard. 23 Duplicate AERs
         were identified by comparing FDA case identification numbers, manufacturer
         identification numbers, dates of treatment, patient age, and descriptions of case
         scenarios to ensure that each case was included only once in this analysis. The
         authors excluded duplicates, cases originating outside of the United States, and
         cases previously published in the Gary analysis24 (Figure 1).
              One of the concerns in looking at AEs is the risk of falsely assigning causality.
         The FDA does not give guidance for determining causality for AEs in the AERs but
         does give guidance for selecting AEs for inclusion in the Adverse Reaction section
         of the Drug Label.25 They recommend that, “Decisions on whether there is some
         basis to believe there is a causal relationship are a matter of judgment and are
         based on factors such as” the “frequency of reporting,” “the extent to which the
         adverse event is consistent with the pharmacology of the drug,” “the timing of the
         event relative to the time of drug exposure,” and other factors. Although a causal
         relationship cannot be attributed with certainty to all reported AEs for a drug, a
         causal relationship seems probable for each of the categories of AEs we chose to
         analyze based on these factors, except for ectopic pregnancies and some of the
         deaths. Ectopic pregnancies were included in our analysis not because there is a
         causal relationship, but because ectopic pregnancy is a contraindication to the use
         of mifepristone and the diagnosis was missed, putting women’s lives at risk. The
         deaths must be evaluated individually to determine causality.
              Because reporting is often voluntary and sporadic, there is no denominator
         for how many mifepristone abortions are performed in the U.S. It was therefore
         impossible to calculate complication rates for mifepristone and misoprostol
         abortions based on AER data. For clarity, we specified the denominator used in
         each case. Coding for severity was done using the National Cancer Institute’s
         Common Terminology Criteria for Adverse Events (CTCAEv3), 26 since this was




               23
                  FDA Adverse Events Reporting System (FAERS) Public Dashboard. Food and Drug Administration.
         Accessed November 13, 2020. https://fis.fda.gov/sense/app/d10be6bb-494e-4cd2-82e4-
         0135608ddc13/sheet/33a0f68e-845c-48e2-bc81-8141c6aaf772/state/analysis
               24
                  Gary M, Harrison D. Analysis of Severe Adverse Events Related to the Use of Mifepristone as an
         Abortifacient. Ann Pharmacother. 2006 Feb 40(2):191-7. https://doi.org/10.1345/aph.1G481
               25
                  Guidance for Industry Adverse Reactions Section of Labeling for Human Prescription Drug and Biological
         Products — Content and Format. U.S. Department of Health and Human Services, Food and Drug Administration,
         Center for Drug Evaluation and Research (CDER), Center for Biologics Evaluation and Research (CBER); January
         2006. P. 8. Accessed January 8, 2021. https://www.fda.gov/media/72139/download
               26
                  Common Terminology Criteria for Adverse Events v3.0 (CTCAE). Cancer Center Therapy Evaluation
         Program (CTEP); 2003. 1-77. Published December 12, 2003. Accessed November 13, 2020.
         https://aaplog.wildapricot.org/resources/CTCAEv3.pdf
                                                                                             EX. 32 pg. 006
                                                                                                           App. 0504
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        Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient                            9



        the methodology used in the original analysis of the first 607 Adverse Events. 27
        The five levels of coding are: Mild, Moderate, Severe, Life-threatening, and Death.
             Overall severity (Figure 1) for each unique AER was determined
        independently by two board-certified physicians (Obstetrics and Gynecology or
        Family Medicine). Since within each AER, a patient may have experienced several
        Adverse Events (AEs), the overall severity of the AER was based on the highest
        severity of its AEs. For the diagnoses we analyzed (Table 1), each AE was coded
        in the same manner and stratified according to type, severity, and treatment.
        Disagreements were resolved by discussion or review by a third board-certified
        Obstetrician-Gynecologist who also reviewed coding for uniformity. Surgeries,
        transfusions, providers, and location of treatment were analyzed and tabulated.
             Ruptured ectopic pregnancies were coded as Life-threatening and
        unruptured ectopic pregnancies as Severe.
             Infections were coded as Life-threatening when evidence of sepsis was
        present, or ICU-level treatment was required. They were coded as Severe if
        parenteral/IV antibiotics were given and Moderate if oral antibiotics were
        prescribed.
             Life-threatening hemorrhage was defined, as in the previous analysis, to be
        transfusion of two or more units of packed red blood cells (PRBCs), hemoglobin
        less than 7, or documented large volume, rapid blood loss with clinical
        symptomatology of acute blood loss anemia (e.g., syncope, tachycardia,
        hypotension). Severe hemorrhage was defined as requiring surgical intervention
        and/or less than 2 U PRBCs. Moderate hemorrhage was defined as management
        with fluids/medication alone.
             Retained Products of Conception (RPOC) was coded as Severe if a dilatation
        and curettage/evacuation (D&C) was performed. Ongoing viable intrauterine
        pregnancy was considered equivalent in severity to RPOC requiring curettage and
        thus Severe. When the ultimate outcome was unknown, the pregnancy was
        considered ongoing if “ongoing pregnancy” was noted or ultrasound showed
        cardiac motion or significant growth.
             AEs which did not contain sufficient information to assign an accurate
        severity code were deemed “Uncodable.” AERs lacking any codable information
        were deemed overall Uncodable.
             The percent of women with significant hemorrhage after mifepristone alone
        was compared to those who took both mifepristone and misoprostol, to
        investigate the validity of the assertion that lack of subsequent misoprostol
        administration was a causative factor in hemorrhage after mifepristone use.28



             27
                Gary M, Harrison D. Analysis of Severe Adverse Events Related to the Use of Mifepristone as an
        Abortifacient. Ann Pharmacother. 2006 Feb 40(2):191-7. https://doi.org/10.1345/aph.1G481
             28
                Creinin MD, Hou MY, Dalton L, Steward R, Chen MJ. Mifepristone Antagonization With Progester-one to
        Prevent Medical Abortion: A Randomized Controlled Trial. Obstet Gynecol. 2020;135(1):158-165.
        doi:10.1097/AOG.0000000000003620
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                                                          Results
         Adverse Event Report Overall Severity
              Figure 1 summarizes the handling of the AERs provided by the FDA and their
         severity coding. The FDA provided 6158 pages of AERs. Of these, any duplicates,
         non-US, or AERs previously published in the Gary paper were excluded from the
         analysis. There were 3197 unique, US-only AERs of which 537 had insufficient
         information to determine clinical severity, leaving 2660 Codable US-only AERs. Of
         these, 20 were Deaths, 529 were Life-threatening, 1957 were Severe, 151 were
         Moderate, and 3 were Mild.

         Deaths (Table 1)
               Our analysis identified 23 of the 24 deaths reported by the FDA as of 2018. 29
         Three of those deaths were previously published in the Gary paper30 leaving 20
         deaths (Table 1). Our analysis yielded a total of 7 sepsis deaths. These included
         five cases of C. sordellii and one case of Clostridium perfringens, all consistent with
         those reported by the FDA. There was an additional death which we categorized
         as a sepsis death whereas the FDA labeled this case as “delayed onset toxic shock-
         like syndrome” but did not include it as a sepsis death. The patient had an
         exploratory laparotomy revealing green pus, which was culture positive for
         prevotella and peptostreptococcus, and she died intraoperatively.31




               29
                  RCM # 2007-525 NDA 20-687 Mifepristone U.S. Post-Marketing Adverse Events Summary through
         12/31/2018. FDA. 1-2. Reference ID: 4401215. Accessed November 13, 2020.
         https://www.fda.gov/media/112118/download
               30
                  Gary M, Harrison D. Analysis of Severe Adverse Events Related to the Use of Mifepristone as an
         Abortifacient. Ann Pharmacother. 2006 Feb 40(2):191-7. https://doi.org/10.1345/aph.1G481
               31
                  Individual Case Safety Report number 4734082-4-00-01. Danco Laboratories, LLC. Office of Post-marketing
         Drug Risk Assessment, Food and Drug Administration. Received August 4, 2005. Accessed November 13, 2020.
         https://aaplog.wildapricot.org/resources/Peptostreptococcus%20death%209.10277-8.pdf
                                                                                            EX. 32 pg. 008
                                                                                                          App. 0506
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        Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient                           11



                                        Figure 1. AER Distribution




            Note: From 2000 to 2016 FDA only required the manufacturer to report AEs which were severe,
        life-threatening or had fatal outcomes. Since 2016, FDA only requires the manufacturer to report
        fatal outcomes.

             We categorized two deaths as suspicious for infectious death. One case was
        labeled by the FDA as “undetermined natural causes,” however, the AER reported
        the cause of death as “acute visceral and pulmonary (1420 grams) congestion and
        edema,” 32 which is consistent with the clinical findings for sepsis/Acute
        Respiratory Distress Syndrome (ARDS). This patient had autopsy-proven
        retained products of conception and blood cultures which grew Strep viridans
        isolated at less than 24 hours incubation. One additional case which the FDA
        labeled “methadone overdose”33,34 we considered suspicious for sepsis. Prior to
        her death, this patient had fever and chills and was treated by an outside physician
        with cephalexin, which would have been ineffective against infections from C.
        sordellii or anaerobic gram-negative bacilli. There was no autopsy report or
        toxicology report in the AER.
             Non-infectious deaths include one death that the FDA listed as “natural,”
        caused by “pulmonary emphysema.” 35 This patient was a 40-year-old chronic
        smoker who died within hours of misoprostol ingestion and had a contusion on
        her head consistent with a fall, a scenario possibly related to a cardiac event or
        acute respiratory reaction to misoprostol. She had an intact fetus at the time of

              32
                 Individual Case Safety Report number 9587011-03-00-01. Danco Laboratories, LLC. Office of Post-
        marketing Drug Risk Assessment, Food and Drug Administration. Received May 21, 2014. Accessed November 13,
        2020. https://aaplog.wildapricot.org/resources/death%20Visc%20pul%20cong.pdf
              33
                 Individual Case Safety Report number 4970303-0-00-01. Danco Laboratories, LLC. Office of Post-marketing
        Drug Risk Assessment, Food and Drug Administration. Received April 21, 2014. Accessed November 13, 2020.
        https://aaplog.wildapricot.org/resources/death%2023%20yo%20meth%20overdose%20fever%20and%20chills.pdf
              34
                 Individual Case Safety Report number 5063156-8-00-01. Danco Laboratories, LLC. Office of Post-marketing
        Drug Risk Assessment, Food and Drug Administration. Received July 27, 2006. Accessed November 13, 2020.
        https://aaplog.wildapricot.org/resources/methadone%20AER%20(1).pdf
              35
                 Individual Case Safety Report number 11283049-02-00-01. Danco Laboratories, LLC. Office of Post-
        marketing Drug Risk Assessment, Food and Drug Administration. Received December 8, 2015. Accessed November
        13, 2020. https://aaplog.wildapricot.org/resources/emphysema.pdf
                                                                                           EX. 32 pg. 009

                                                                                                        App. 0507
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         autopsy. Other non-infectious deaths included one death from a ruptured ectopic
         pregnancy, one from hemorrhage, 3 possible homicides, one suicide, and 4 deaths
         from drug toxicity/overdose. It is unknown whether the 8 women who died by
         homicide, suicide, or drug toxicity/overdose were screened for domestic violence,
         drug addiction, or depression prior to the abortion.

         Infection (Table 1)
              Infection was the leading cause of mortality. There were 502 cases of
         infection, which included 9 Deaths, 39 had Life-threatening sepsis, 249 were
         Severe infections, 132 Moderate infections, and 73 infections which were
         Uncodable.

         Ectopic Pregnancy (Table 1)
              There were 75 ectopic pregnancies. Of these, 26 were ruptured, including 1
         death. Twenty-four were unruptured, and there were 25 for which the rupture
         status was not given. Fifty-six ectopic pregnancies were treated surgically and 11
         were treated with methotrexate. The management was not documented in 7
         cases. The patient who died received no treatment as she died on the way to the
         hospital.

         Retained Products of Conception (RPOC) (Tables 1 and 2)
             RPOC was the leading cause of morbidity. There were 977 confirmed cases
         of RPOC, including 2 molar pregnancies, and 1506 likely cases of RPOC
         (documentation was inadequate for confirmation). Of the 2146 total D&Cs, most
         were for RPOC, including 897 for confirmed RPOC, 1058 for bleeding or presumed
         RPOC, but no pathology was provided, and 2 for molar pregnancy. A small
         percentage of RPOC had medical treatment or no treatment.

         Hemorrhage/Bleeding (Table 1)
               There were 1639 bleeding events including one death. These included 466
         Life-threatening and 642 Severe events. There were also 106 events coded as
         Moderate, while 424 reports of bleeding were Uncodable given the information in
         the database.

         Ongoing Pregnancy (Table 1)
              There were 452 ongoing pregnancies. Of these 102 chose to keep their
         baby, 148 chose termination, 1 miscarried, and 201 had an unknown outcome.
         Of those with an unknown outcome, there were 44 patients referred or
         scheduled for termination, who did not follow through (39 no-showed, 3
         canceled, 2 did not schedule).




                                                                      EX. 32 pg. 010
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        Surgeries (Table 2)
             There      were    2243     surgeries      including    2146     D&Cs,     76
        laparoscopies/laparotomies without hysterectomy, 7 hysterectomies, and 14
        other surgeries. Of the hysterectomies, 3 were performed for sepsis, 2 for
        hemorrhage, 1 for a cervical ectopic, and 1 for placenta accreta. There were 1291
        surgeries performed in the hospital or ER and 952 in an outpatient setting. Of the
        2146 D&Cs, 1194 were performed in the hospital or ER, and 952 in an outpatient
        setting. Of the 2146 D&Cs, 1194 were provided by the Hospital or ER, 853 by the
        abortion provider, and 99 by another outpatient provider.

        Transfusions (Table 2)
            Four hundred and eighty-one patients required blood transfusion following
        medical abortions. Of these, 365 received 1 to 10 units packed red blood cells
        (PRBCs) alone, 1 received fresh frozen plasma (FFP) alone, 8 received a
        combination of PRBCs and FFP, and 107 received an unknown amount of blood
        product.

        Relationship of Misoprostol Use to Hemorrhage (Table 3)
             The use of mifepristone with misoprostol was associated with a higher
        incidence of hemorrhage than the use of mifepristone alone. Of the 3056 women
        who took both mifepristone and misoprostol, 1572 (51.44%) hemorrhaged,
        whereas, among the 58 women who did not take misoprostol, only 13 (22.41%)
        hemorrhaged. It was unclear whether 84 patients took misoprostol or not. Fifty-
        four (64.29%) of them hemorrhaged. The hemorrhage rate was higher for the
        mifepristone with misoprostol group as compared to the mifepristone alone
        group even if all the unknowns were assigned to the mifepristone alone group or
        vice versa.




                                                                           EX. 32 pg. 011
                                                                                  App. 0509
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                             Table 1 - Diagnosesa




                                                             EX. 32 pg. 012

                                                                        App. 0510
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       Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient   15



                             Table 1 – Diagnoses (Continued)




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                                                                                 App. 0511
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                       Table 1 – Diagnoses (Continued)




                                                             EX. 32 pg. 014
                                                                        App. 0512
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         Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient                                              17



                                       Table 1 – Diagnoses (Continued)




         a
           Because of rounding, percentages may not appear to add up exactly.
         b
           FDA attributed to methadone overdose.
         c
           40 year old smoker died within hours of misoprostol ingestion. Per FDA, “natural causes due to severe pulmonary emphysema.”
         d
           Patients with documented infection but inadequate information to determine severity.
         e
           One of the ruptured ectopics died on the way to the hospital. The other 25 were treated surgically.
         f
           The unruptured ectopics include two cornual ectopics, one treated surgically and one treated medically.
         g
           Includes two cervical ectopics, one treated with D&C/Hysterectomy/massive transfusion and one with unknown treatment.
         h
           Either with path provided, or described as RPOC, placental fragments, fetus, or tissue.
         i
           Suspected RPOC indicating D&C needed, but not documented as being done.
         j
           Patients with documented bleeding but inadequate information to determine severity.
         k
           Includes one hysterotomy for pregnancy in non-communicating horn.
         l
           After no show for surgical termination.
         m
            Includes 10 with known gestational age 20-29 weeks.




                                                                                                       EX. 32 pg. 015
                                                                                                                     App. 0513
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                            Table 2 – Treatmenta




                                                             EX. 32 pg. 016
                                                                         App. 0514
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          Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient     19



                                Table 2 – Treatment (Continued)




                                                                             EX. 32 pg. 017
                                                                                     App. 0515
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                                        Table 2 – Treatment (Continued)




         a
           Because of rounding, percentages may not appear to add up exactly.
         b
            With or without suction, one with hysteroscopy.
         c
            There were 8 patients who had 2 D&Cs and one who required uterine artery embolization. There were 4 perforations: two had
         resultant hysterectomies, one had a laparoscopy, and one received 2 U PRBCs but no documented surgery.
         d
            Additionally there were 7 patients who likely received transfusion, but was not recorded, 3 patients who refused transfusion,
         and 1 patient for whom transfusion was considered but not given.




                                                                                                           EX. 32 pg. 018
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        Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient                          21



                   Table 3 – Relationship of Misoprostol to Hemorrhagea




        a
            Because of rounding, percentages may not appear to add up exactly.
        b
            Assumes all unknowns took both mifepristone and misoprostol.
        c
            Assumes all unknowns took mifepristone, but not misoprostol.




                                                               Discussion

              This article is critically important considering the paucity of published
        literature on mifepristone safety and the minimal analysis done on the AERs by
        the FDA.

        Ectopic Pregnancies
             Although reported as AEs, ectopic pregnancies are not a direct adverse event
        from the medication, but rather a contraindication to its administration. They
        were reported as adverse events because the ectopic pregnancies were missed.
             The American College of Obstetricians and Gynecologists (ACOG) notes that
        “According to the Centers for Disease Control and Prevention, ectopic pregnancy
        accounts for approximately 2% of all reported pregnancies. However, the true
        current incidence of ectopic pregnancy is difficult to estimate because many
        patients are treated in an outpatient setting where events are not tracked, and
        national surveillance data on ectopic pregnancy have not been updated since
        1992. Despite improvements in diagnosis and management, ruptured ectopic
        pregnancy continues to be a significant cause of pregnancy-related mortality and
        morbidity. In 2011–2013, ruptured ectopic pregnancy accounted for 2.7% of all
        pregnancy-related deaths and was the leading cause of hemorrhage-related
        mortality.”36

             36
                ACOG Practice Bulletin No. 193: Tubal Ectopic Pregnancy, Obstet Gynecol: March 2018; 131(3): e91-e103.
        doi:10.1097/AOG.0000000000002560
                                                                                          EX. 32 pg. 019
                                                                                                 App. 0517
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              Confirmed/suspected ectopic pregnancy and undiagnosed adnexal mass are
         contraindications to mifepristone use under current prescribing requirements.
         The label warnings state: “Ectopic pregnancy: exclude before treatment.” 37
         Unfortunately, it is difficult to rule out ectopic pregnancy by history alone
         because, “half of all women who receive a diagnosis of an ectopic pregnancy do
         not have any known risk factors.”38 According to ACOG Practice Bulletin No. 193,
         “The minimum diagnostic evaluation of a suspected ectopic pregnancy is a
         transvaginal ultrasound evaluation and confirmation of pregnancy.” Of the 75
         reported ectopic pregnancies in the FDA AERs we analyzed, over a third were
         known to be ruptured including one death. Clearly, an ultrasound should be
         required prior to the administration of mifepristone to document that the
         pregnancy is located within the uterus. Although not 100% effective, this will
         screen for ectopic pregnancy, confirm gestational age, which can be inaccurate
         based on menstrual history alone, 39 and screen for adnexal masses, another
         contraindication to mifepristone use.40

         Ongoing pregnancies
              Of the women with an ongoing pregnancy, less than a third were known to
         have proceeded with termination of the pregnancy, and almost a quarter were
         known to have kept their pregnancy; in almost half, the outcome was unknown.
         The significant percentage of women with ongoing pregnancy who changed their
         mind and chose to keep their pregnancy, after initially choosing termination,
         raises concerns regarding the pre-abortion counseling and informed consent they
         received. Women undergoing abortion should receive the same quality of
         informed consent and pre-procedural counseling that is standard of care prior to
         other medical treatment or surgery. It is imperative that women considering
         abortion be provided adequate and complete information and counseling on risks,
         advantages, disadvantages, and alternative options.
              Additionally, the high percentage of women with ongoing pregnancies for
         whom there is no follow up or known outcome is concerning. As health care
         providers we are to continue to care for our patients and manage any
         complications, yet in the AERs we reviewed this was not typically the case for the
         abortion provider. Furthermore, a federal registry of known outcomes and birth
         defects is imperative. One of the initial FDA post-marketing requirements for


               37
                  MIFEPREX. Package insert. Danco; 2016. Approved March 2016. p. 1. Accessed November 13, 2020.
         https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf
               38
                  ACOG Practice Bulletin No. 193: Tubal Ectopic Pregnancy, Obstet Gynecol: March 2018; 131(3): e91-e103.
         doi: 10.1097/AOG.0000000000002560
               39
                  Shipp, Thomas D. 2020. Overview of ultrasound examination in obstetrics and gynecology. Lit Rev current
         through Dec 2020. UpToDate. Edited by Barss A Vanessa. Wolters Kluwer. June 10, 2020. Accessed January 11,
         2021. https://www.uptodate.com/contents/ectopic-pregnancy-clinical-manifestations-and-
         diagnosis/print?source=history_widget.
               40
                  MIFEPREX. Package insert. Danco; 2016. Approved March 2016. Accessed November 13, 2020.
         https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf
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        Danco was a surveillance study of outcomes of ongoing pregnancies.41 The FDA
        released them from this post-marketing commitment in January 2008 because
        Danco reported that only one or two ongoing pregnancies per year were followed
        for final outcomes in part because of consent requirements.42 This is disturbing in
        light of the percentage of women in our analysis who kept their pregnancies, as
        well as those with ongoing pregnancy and unknown outcomes, all of whom could
        have been followed for final outcomes. The significant lack of follow-up of ongoing
        pregnancies (44.47% with unknown outcomes) and the very minimal information
        on those who chose to keep the pregnancy, highlights the need for a national
        registry especially considering the teratogenicity of misoprostol. 43

        Relationship of Misoprostol to Hemorrhage
             The Creinin study of abortion pill reversal was stopped for safety concerns
        due to hemorrhage in 3 of the 12 study participants.44 One of the conclusions of
        that study was that “Patients who use mifepristone for a medical abortion should
        be advised that not using misoprostol could result in severe hemorrhage, even
        with progesterone treatment.”45 The authors hypothesized that the absence of
        misoprostol caused these women to hemorrhage. The women who had
        documented use of misoprostol in our database hemorrhaged at a higher rate
        than those documented not to have taken misoprostol.

        Reporting of Adverse Events
             Although not the initial goal of this study, the analysis of the AERs revealed
        glaring deficiencies in the AE reporting system making it difficult to properly
        evaluate adverse events. When mifepristone was approved in 2000, FDA required
        that providers “must report any hospitalization, transfusion or other serious
        event to Danco Laboratories.”46 This created an inherent conflict of interest as it
        is not in the best interest of the entities or providers to report adverse events to
        those regulating them. Because only severe events were reportable, this
        requirement likely resulted in an underestimation of moderate and mild AEs. It

              41
                 Center for Drug Evaluation and Research. NDA 20-687. Approval Letter for MIFEPREX (mifepristone)
        Tablets, 200 mg to Population Council. Food and Drug Administration. Written September 28, 2000. Accessed
        November 13, 2020. https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2000/20687appltr.htm
              42
                 2016 03 20 FDA resp to Cit Pet.pdf. Docket No. FDA-2002-P-0364. FDA. March 29, 2016. p. 31. Accessed
        November 13, 2020.
        https://aaplog.wildapricot.org/resources/2016%2003%2020%20%20FDA%20resp%20to%20Cit%20Pet.pdf
              43
                 Cytotec (misoprostol tablets). Package insert. G.D. Searle; Revised November 2012. Accessed November 13,
        2020. https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/019268s047lbl.pdf
              44
                 Creinin MD, Hou MY, Dalton L, Steward R, Chen MJ. Mifepristone Antagonization With Progesterone to
        Prevent Medical Abortion: A Randomized Controlled Trial. Obstet Gynecol. 2020;135(1):158-165.
        doi:10.1097/AOG.0000000000003620
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                 Creinin MD, Hou MY, Dalton L, Steward R, Chen MJ. Mifepristone Antagonization With Progesterone to
        Prevent Medical Abortion: A Randomized Controlled Trial. Obstet Gynecol. 2020;135(1):5.
        doi:10.1097/AOG.0000000000003620
              46
                 M I F E P R E XTM(Mifepristone) Tablets, 200 mg Prescriber’s agreement. Food and Drug Administration.
        September 28, 2000, 1-2. Accessed November 16, 2020. http://wayback.archive-
        it.org/7993/20170113112742/http://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugSafetyInformationfor
        PatientsandProviders/ucm111364.pdf
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         is also likely that some of the AEs that we coded as Mild or Moderate were actually
         Severe but there was not enough information in the AER for us to justify coding
         them as Severe. In March 2016, the FDA substantially reduced the prescribing
         requirements and changed the drug protocol 47 and yet at the same time
         eliminated reporting requirements except for deaths. 48 With the relaxation of
         reporting requirements, the ability to perform any relevant post-marketing
         evaluation of mifepristone was lost. It is imperative for the safety of women that
         the FDA restore and strengthen the 2011 REMS requirements.
               The information in the AERs is almost exclusively obtained from abortion
         providers, rather than the physician treating the complication, yet in this analysis,
         abortion providers managed only 39.75% of surgical complications (a number
         which is likely much lower since these are only the cases which are known to the
         abortion provider). Throughout the reports, there was also a lack of detail and
         many patients who were simply “lost to follow-up.” This resulted in 16.80% of
         the AERs being Uncodable as to severity and likely under-coding of many AERs
         and AEs, as coding could only be assigned based on the scant information
         provided. Many of the AEs experienced by women were unknown to the abortion
         provider until the follow-up examination, which is troubling considering the poor
         follow-up rate and elimination of the requirement for an in-office follow up visit.
         Some of the patient deaths were not known to the abortion provider until they
         saw the death in an obituary or were contacted by an outside source. Because of
         this, in addition to abortion providers, hospitals, emergency departments, and
         private practitioners should be required to report AEs.
               Complications occur in the best of hands in all areas of medicine, but as
         physicians, we are responsible to manage those complications and follow our
         patients through to resolution. The findings that: 1. the most common outcome
         of ongoing pregnancy was unknown outcome, 2. abortion providers performed
         less than half the D&Cs done for complications, and 3. a third of ectopic
         pregnancies (missed prior to administering the abortifacient) had unknown
         rupture status, leave us deeply concerned regarding the care these women
         received. A post-marketing requirement was that there be a “cohort-based study
         of safety outcomes of patients having medical abortion under the care of
         physicians with surgical intervention skills compared to physicians who refer
         their patients for surgical intervention.”49 The applicant was released from this
         requirement because they stated that because there were so few providers



               47
                  GAO-18-292 Revised Mifeprex Labeling: Food and Drug Administration Information on Mifeprex Labeling
         Changes and Ongoing Monitoring Efforts. Report to Congressional Requesters. Food and Drug Administration. 2018.
         p. 7. Published March 2018. Accessed November 13, 2020. https://www.gao.gov/assets/700/690914.pdf
               48
                  NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg: Risk Evaluation and Mitigation Strategy (REMS).
         Food and Drug Administration. 2016. p. 3, 6. Reference ID: 3909592. Published March 29, 2016. Accessed
         November 13, 2020. https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020RemsR.pdf
               49
                  Center for Drug Evaluation and Research. NDA 20-687. Approval Letter for MIFEPREX (mifepristone)
         Tablets, 200 mg to Population Council. Food and Drug Administration. Written September 28, 2000. Accessed
         November 13, 2020. https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2000/20687appltr.htm
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        without surgical intervention skills, no meaningful study could be done. 50 Yet,
        that same year the FDA changed the provider agreement to allow non-physicians
        to become prescribers.51 These findings highlight the importance of follow-up
        and management of complications by the abortion provider. Allowing any further
        relaxation of mifepristone prescribing requirements will put women at an even
        higher risk of adverse events

        Limitations and Strengths
              It was not possible to calculate complication rates for mifepristone and
        misoprostol abortions based on AER data because there is no denominator for
        how many mifepristone abortions are performed in the U.S. since reporting is
        often voluntary and sporadic. For clarity, we specified the denominators we used.
              Our analysis was limited by the fact that the number of AEs for which we
        received reports is likely a gross underestimation of the actual number of AEs that
        occurred. In our analysis, the surgical management of over half the complications
        was performed by someone other than the abortion provider, yet treating
        physicians are not required to report complications. Few reports were generated
        by those in Emergency Departments and hospitals who treated the complications.
              Our analysis was also limited by the lack of information in the AERs,
        including redaction of critical dates, a paucity of diagnosis and treatment
        information, and lack of follow up.
              Our study has several strengths. Our data comes from information provided
        to the FDA and is the largest analysis of AERs for mifepristone abortions. This data
        is publicly available under the Freedom of Information Act so that anyone can
        verify the data for themselves. This analysis reviews all AERs not reported in the
        first study by Gary.52 Although heavily redacted, there was sufficient information
        in over 80% of the AERs to evaluate severity. An objective standardized system,
        CTCAEv3, was used to code for severity, and each AER was coded by at least two
        board-certified obstetrician-gynecologists or family medicine physicians.


                                        Conclusions and Relevance
             This article is important because it augments the scant published literature
        on mifepristone safety.
             Due to the lack of adequate reporting of adverse events, especially by those
        treating them, these unique AERs represent a fraction of the actual adverse events
        occurring in American women.

              50
                 2016 03 20 FDA resp to Cit Pet.pdf. Docket No. FDA-2002-P-0364. FDA. March 29, 2016. p. 31. Accessed
        November 13, 2020.
        https://aaplog.wildapricot.org/resources/2016%2003%2020%20%20FDA%20resp%20to%20Cit%20Pet.pdf
              51
                 GAO-18-292 Revised Mifeprex Labeling: Food and Drug Administration Information on Mifeprex Labeling
        Changes and Ongoing Monitoring Efforts. Report to Congressional Requesters. Food and Drug Administration. 2018.
        p. 7. Published March 2018. Accessed November 13, 2020. https://www.gao.gov/assets/700/690914.pdf
              52
                 Gary M, Harrison D. Analysis of Severe Adverse Events Related to the Use of Mifepristone as an
        Abortifacient. Ann Pharmacother. 2006 Feb 40(2):191-7. https://doi.org/10.1345/aph.1G481
                                                                                          EX. 32 pg. 023

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               Significant morbidity and mortality have occurred with the use of
          mifepristone as an abortifacient, including at least 24 US deaths reported by the
          FDA from September 2000 to December 2018. Because of this and the significant
          morbidity associated with this drug, the FDA should consider at a minimum
          reinstating the original 2011 REMS and strengthening the reporting
          requirements. The reporting of transfusions, hospitalizations, and other serious
          adverse events are essential.
               Given the morbidity and mortality of undiagnosed ectopic pregnancy, a clear
          contraindication to the use of mifepristone, an ultrasound to confirm pregnancy
          location is essential before mifepristone is dispensed.
               Considering the significant percentage of women with ongoing pregnancies
          who chose to continue their pregnancy, there must be reasonable waiting periods,
          parental involvement, and adequate pre-abortion counseling on all pregnancy
          options. It is also critical that a pregnancy registry be established.
               In our analysis, the patients who used mifepristone alone had a lower rate of
          hemorrhage than those using mifepristone followed by misoprostol.
               The FDA Adverse Event Reporting System is woefully inadequate to
          determine the post-marketing safety of mifepristone due to its inability to
          adequately assess the frequency or severity of adverse events. The reliance solely
          on interested parties to report, the large percentage of uncodable events, the
          redaction of critical clinical information unrelated to personally identifiable
          information, and the inadequacy of the reports highlight the need to overhaul the
          current AER System.
               This analysis evaluated 3197 adverse events resulting from the use of
          mifepristone as an abortifacient and brought to light serious concerns about the
          safety requirements and care of women undergoing mifepristone abortion.
          Although complications may occur in the best of hands, and no medical procedure
          is without risks, safety measures must be employed to minimize these adverse
          outcomes. Women undergoing abortion should receive the same quality of
          informed consent and pre-procedural counseling that is standard of care prior to
          other medical treatment or surgery. It is imperative that women considering
          abortion be provided adequate and complete information and counseling on risks,
          advantages, disadvantages, and alternative options. Although there may be
          disagreements about the ethics of abortion, there must be total agreement that
          our patients—whether undergoing a medical abortion or otherwise—deserve the
          highest standard of medical care.

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                                                                       EX. 32 pg. 024

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        Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient   27



        M.D., Jenny Mao D.O., Patrick Marmion M.D., Richard Moutvic M.D., Mary
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                                                                           EX. 32 pg. 025
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                 Exhibit 33
Christiana A. Cirucci et al., Mifepristone Adverse
Events Identified by Planned Parenthood in 2009
and 2010 Compared to Those in the FDA Adverse
  Event Reporting System and Those Obtained
Through the Freedom of Information Act, 8 Health
Servs. Rsch & managerial Epidemiology 1 (2021)




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 Research Letter
                                                                                                                                      Health Services Research and
                                                                                                                                      Managerial Epidemiology
 Mifepristone Adverse Events Identiﬁed by                                                                                             Volume 8: 1-5
                                                                                                                                      © The Author(s) 2021
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 Planned Parenthood in 2009 and 2010                                                                                                  sagepub.com/journals-permissions
                                                                                                                                      DOI: 10.1177/23333928211068919
 Compared to Those in the FDA Adverse                                                                                                 journals.sagepub.com/home/hme


 Event Reporting System and Those Obtained
 Through the Freedom of Information Act

 Christina A. Cirucci1                   , Kathi A. Aultman2                        , and Donna J. Harrison3



 Abstract
 Background: As part of the accelerated approval of mifepristone as an abortifacient in 2000, the Food and Drug Administration
 (FDA) required prescribers to report all serious adverse events (AEs) to the manufacturer who was required to report them to
 the FDA. This information is included in the FDA Adverse Event Reporting System (FAERS) and is available to the public online.
 The actual Adverse Event Reports (AERs) can be obtained through the Freedom of Information Act (FOIA).
 Methods: We compared the number of speciﬁc AEs and total AERs for mifepristone abortions from January 1, 2009 to
 December 31, 2010 from 1. Planned Parenthood abortion data published by Cleland et al. 2. FAERS online dashboard, and
 3. AERs provided through FOIA and analyzed by Aultman et al.
 Results: Cleland identiﬁed 1530 Planned Parenthood mifepristone cases with speciﬁc AEs for 2009 and 2010. For this period,
 FAERS online dashboard includes a total (from all providers) of only 664, and the FDA released only 330 AERs through FOIA.
 Cleland identiﬁed 1158 ongoing pregnancies in 2009 and 2010. FAERs dashboard contains only 95, and only 39 were released
 via FOIA.
 Conclusions: There are signiﬁcant discrepancies in the total number of AERs and speciﬁc AEs for 2009 and 2010 mifepristone
 abortions reported in 1. Cleland’s documentation of Planned Parenthood AEs, 2. FAERS dashboard, and 3. AERs provided
 through FOIA. These discrepancies render the FAERS inadequate to evaluate the safety of mifepristone abortions.

 Keywords
 mifepristone, misoprostol, adverse drug reaction reporting systems, drug-related side effects and adverse reactions,
 postmarketing product surveillance, induced abortion, steroidal abortifacient agents, United States food and drug administration



 Introduction                                                                         days and less performed by Planned Parenthood in 2009 and
                                                                                      2010. They analyzed hospital admissions, blood transfusions,
 The accelerated approval of mifepristone in the United States (US)
                                                                                      emergency department (ED) treatments, intravenous (IV)
 in 2000 included post-marketing restrictions to monitor safety.
 Prescribers were required to report any ongoing pregnancies, hos-
 pitalizations, transfusions, and other serious events to the manufac-                1
                                                                                        Sewickley, PA
                                                                                      2
 turer, who was required to submit them to the Food and Drug                            Charlotte Lozier Institute
                                                                                      3
 Administration (FDA).1 Adverse events (AEs) are documented                             American Association of Pro-Life Obstetricians and Gynecologists, USA
 in the FDA Adverse Event Reporting System (FAERS), available                         Submitted November 22, 2021. Revised December 3, 2021. Accepted
 online.2 Copies of the actual Adverse Event Reports (AERs) can                       December 3, 2021.
 be obtained via the Freedom of Information Act (FOIA).3
                                                                                      Corresponding Author:
     A paper published by Cleland et al. analyzed eight adverse                       Christina A. Cirucci, Sewickley, Pennsylvania, United States.
 events/outcomes (AEs) from mifepristone abortions at 63                              Email: chris@aaplog.org


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antibiotics, infections requiring IV antibiotics or hospitaliza-     AERs for the events in Cleland and conﬁrmed any missing
tion, deaths, ongoing pregnancies, and ectopic pregnancies.          reports by searching the 6158 pages of AERs related to mifep-
Cleland explained that Planned Parenthood reports all signiﬁ-        ristone abortion obtained by FOIA. In analyzing FOIA data,
cant AEs to Danco Laboratories, which submits them to the            Aultman accounted for duplicates. In the FAERS data, we
FDA, per the mifepristone prescribing information. Their anal-       accounted for duplicates for deaths and ectopic pregnancies,
ysis for these speciﬁc AEs led them to conclude that, “Among         but FAERS did not provide sufﬁcient detail to do so for hospital
the 233 805 medical abortions provided at Planned Parenthood         admissions and ongoing pregnancies. We then compared the
health centers in 2009 and 2010, signiﬁcant adverse events or        total number of reports, as well as hospitalizations, ongoing
outcomes were reported in 1530 (0.65%) cases.”4 Unless asso-         pregnancies, ectopic pregnancies, and deaths from Cleland,
ciated with another AE, they did not include data on incomplete      FAERS, and FOIA AERs for 2009 and 2010. Adverse events
abortion managed at Planned Parenthood or hemorrhage                 not reported by Cleland were not evaluated. The FAERS and
without transfusion, two of the most common AEs resulting            FOIA total AERs include reports from all sources, not just
from mifepristone abortion. They also admit that “we cannot          from Planned Parenthood, and include all reports for those
exclude the possibility that some clinically signiﬁcant adverse      years, not just those with the eight AEs evaluated by Cleland.
events or outcomes were not included. Some patients may
have experienced a signiﬁcant adverse event or outcome but
did not follow up after their medical abortion.”4 Cleland did        Results
not provide the loss to follow-up rate.                              Our analysis shows signiﬁcant discrepancies between the
    In 2021, Aultman et al. published an analysis of the AERs        number of AERs identiﬁed by Planned Parenthood as reported
for mifepristone abortion from September 2000 to February            in Cleland, the number in the FAERS database, and the number
2019 (excluding those published by Gary in 2006) utilizing           received under FOIA. There are also discrepancies in the
AERs obtained through FOIA.5,6                                       number of hospitalizations, ectopic pregnancies, and ongoing
    The objective of this paper was to compare the total number      pregnancies.
of AERs/cases (which may include more than one AE) and the
individual AEs identiﬁed by Cleland for 2009 and 2010 mifep-
ristone abortions from three sources: those identiﬁed by             Total Reports (Figure 1)
Planned Parenthood as published by Cleland, those currently          Cleland identiﬁed 1530 cases involving eight speciﬁc AEs after
posted on the FAERS dashboard, and those provided by the             Planned Parenthood mifepristone abortion in 2009 and 2010.
FDA in response to FOIA and analyzed by Aultman.                     The FAERS dashboard contains only 664 AERs for this
                                                                     period, and only 330 were provided through FOIA. Both
                                                                     include AERS with other types of adverse events not included
Methods                                                              by Cleland and include reports from all sources, not just
                                                                     Planned Parenthood.
We searched the FAERS dashboard for any US AERs related to
mifepristone abortion occurring from January 1, 2009 through
December 31, 2010 and tabulated the total number of AERs,            Speciﬁc Adverse Events/Outcomes (Table 1)
hospital admissions, deaths, ongoing pregnancies, and ectopic
                                                                     Cleland identiﬁed 548 ongoing pregnancies after mifepristone
pregnancies. The FAERS did not have enough information to
                                                                     abortion in 2009, the FAERS dashboard includes just 56, and
evaluate for transfusion, ED visits, IV antibiotics, or infections
                                                                     only seven were received via FOIA. For 2010, Cleland identi-
requiring IV antibiotics or hospital admission. Since FAERS
                                                                     ﬁed 610 ongoing pregnancies, FAERS contains just 39, and
does not provide the “abortion date,” we used the “event
                                                                     only 32 were obtained via FOIA. Cleland identiﬁed 70 hospital
date”; in cases where there was no “event date,” we used the
                                                                     admissions in 2009 and 65 in 2010. FAERS includes 87 and
“latest manufacturer received date.” We evaluated Aultman’s
                                                                     125, respectively, but the FDA only provided 14 and 94 via
                                                                     FOIA. Ectopic pregnancy, although not caused by mifepristone,
                                                                     is a contraindication to its use. Cleland reported eight ectopic
                                                                     pregnancies in 2009 and eight in 2010. FAERS includes eight
                                                                     for 2009 and nine for 2010. The FOIA AERs have only one
                                                                     ectopic for 2009 and eight for 2010. Cleland reported no
                                                                     deaths in 2009 and one in 2010. FAERS and FOIA were con-
                                                                     sistent with one death in 2009 and two in 2010.


                                                                     Discussion
                                                                     The total number of AEs published in Cleland is signiﬁ-
Figure 1. Comparison of total adverse event reports from three       cantly higher than the number in the FAERs database,
sources.                                                             even though Cleland did not evaluate all AEs, including

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Table 1. Comparison of Number of Speciﬁc Adverse Eventsa from Three Sources.

                                                          2009                         2010                          Total 2009 to 2010
                                                                            b                            b
                                                          Cleland   FAERS       FOIA   Cleland   FAERS       FOIA    Cleland   FAERSb     FOIA

Hospital Admission                                          70       87          14      65       125         94      135       212       108
Transfusion                                                 42                   10      72                   59      114                 69
ED Treatment                                                87                   27     151                  105      238                 132
IV Antibiotics                                              23                   5       34                   27       57                 32
Infection requiring IV Antibiotics or Admission             14                   4       23                   21       37                 25
Death                                                       0         1          1        1        2           2        1         3        3
Ongoing Pregnancy                                          548       56          7      610        39         32      1158       95       39
Ectopic Pregnancy                                           8         8          1        8        9           8       16        17        9
a
Events are not mutually exclusive.
b
If blank, FAERS dashboard does not provide this detail.




failed abortions treated at Planned Parenthood.4 The dis-                 that, based on a review of post-marketing AEs from January
crepancy is particularly concerning because the total                     27, 2020, to January 12, 2021, the in-person dispensing require-
number of AEs and AERs in the FAERS should be signiﬁ-                     ments in the mifepristone REMS would not be enforced.13 It is
cantly higher than Cleland since Planned Parenthood per-                  alarming that policy decisions that affect women’s safety are
forms only 37% of US abortions.7 It is unclear why so                     based on a lack of information in the FAERS. Whether the inac-
many cases identiﬁed by Planned Parenthood in Cleland                     curacy of FAERS extends to required reporting for other med-
do not appear in FAERS. Cleland states, “In accordance                    ications is unknown to us, but the ﬁndings in this paper have
with the mifepristone prescribing information, Planned                    signiﬁcant implications for drug safety evaluation in general.
Parenthood Federation of America reports all signiﬁcant                       The ability of the FAERS to accurately identify complica-
adverse events and outcomes to Danco Laboratories, the US dis-            tions from mifepristone abortion depends on 1. the abortion
tributor of mifepristone, which in turn reports them to the               provider being aware of the adverse event, 2. the provider
FDA.”4 If this claim is true, then either Danco did not report a          reporting the adverse event to the manufacturer, 3. the manufac-
signiﬁcant number of adverse events to the FDA, or the FDA                turer reporting to the FDA, and 4. the FDA including the event
did not include them in FAERS. It also raises the question of             in the FAERS. One problem inherent in this system is that
whether FAERS includes all complications reported by the                  adverse events unknown to the abortion provider or occurring
other 63% of abortion providers.                                          in patients lost to follow-up will be missed. In addition, ED
    We are concerned that FDA and others will continue to rely            physicians or treating physicians other than the abortion pro-
on Cleland’s statement, “signiﬁcant adverse events or outcomes            vider were never obligated to report and may not even be
were reported in 1530 (0.65%) cases”4 to claim that the compli-           aware of the system. For those events known to Planned
cation rate for the abortion pill regimen is low. Although                Parenthood, it is unclear whether the error occurred in the abor-
Cleland’s paper is a study of over 200 000 abortions and is               tion provider reporting to the manufacturer, the manufacturer
cited extensively in support of the safety of medical abor-               reporting to the FDA, or the FDA uploading to the database.
tion8–11 the analysis excludes the most common adverse                        FDA compliance in response to FOIA requests is required by
events (retained products of conception and hemorrhage not                law.3 The number of AERs supplied under FOIA is much lower
requiring transfusion). Additionally, Cleland’s reported compli-          than the number in the FAERS database and known to the FDA
cation rate of 0.65% is only a report of the complications known          at the time. Although there may be extenuating circumstances
to Planned Parenthood. Cleland does not report the percent of             requiring that some information be withheld, withholding infor-
patients lost to follow-up.4                                              mation, especially to this extent, interferes with independent,
    There is also concern that the FDA will continue to rely on           scientiﬁc analysis necessary to validate claims of safety and
the FAERS to make decisions about removing mifepristone                   efﬁcacy.
REMS, despite the ﬁndings herein that FAERS does not
include all the events even known to the abortion provider.
To compound this problem, in 2016, the FDA eliminated the                 Strengths and Limitations
requirement to report adverse events resulting from mifepris-             One of the limitations of this study is that Cleland only reported
tone other than death.12 Nevertheless, in her April 12, 2021              on a limited number of possible AEs. Because of the scant
letter to the American College of Obstetricians and                       information included in the FAERS, we could not even
Gynecologists, FDA Commissioner Janet Woodcock stated                     compare all AEs reported by Cleland. Since we do not have

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access to the Planned Parenthood records, reports cannot be                 4. Cleland K, Creinin MD, Nucatola D, Nshom M, Trussell J.
evaluated on a patient-by-patient basis but only as a composite.               Signiﬁcant adverse events and outcomes after medical abortion.
    One of the strengths of this study is that it is the ﬁrst known            Obstet Gynecol. 2013;121(1):166‐171. https://doi.org/10.1097/aog.
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There are signiﬁcant discrepancies in the number of AEs and                    uploads/2021/01/Deaths-and-Severe-Adverse-Events-after-the-
total AERs reported for 2009 and 2010 mifepristone abortions                   use-of-Mifepristone-as-an-Abortifacient-from-September-2000-to-
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those in FAERS, and those provided by FOIA, impugning the                   6. Gary MM, Harrison DJ. Analysis of severe adverse events related
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ristone abortions at a time when the FDA is under pressure to                  2006;40(2):191‐197. https://doi.org/10.1345/aph.1G481
eliminate REMS on mifepristone.14,15 The FDA used their                     7. Communities Need Clinics: The Essential Role of Independent
review of post-marketing adverse events that occurred in                       Abortion Clinics in the United States. Abortion Care Network.
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nated in 2016.13 Whether Planned Parenthood did not submit                     The Safety and Quality of Abortion Care in the United
all the AEs to Danco, Danco did not submit all to the FDA,                     States. The National Academies Press; 2018: Kindle
or the FDA did not include all is unknown. By withholding a                    Locations 1351–1367. Accessed 11–29–21. https://doi.org/10.
signiﬁcant number of AERs, the FDA did not adequately                          17226/24950
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crepancies, and the fact that since 2016, reporting AEs other                  org/10.21037/mhealth.2018.01.01
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the research, authorship, and/or publication of this article.
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The author(s) received no ﬁnancial support for the research, authorship        Labeling Changes and Ongoing Monitoring Efforts. GAO-18-
and/or publication of this article.                                            292 Report to Congressional Requesters. March 2018:8.
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Christina A. Cirucci   https://orcid.org/0000-0002-4681-6529
                                                                               Drugs) to Phipps MG (Chief Executive Ofﬁcer ACOG) and
Kathi A. Aultman     https://orcid.org/0000-0002-9235-5049
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                                                                                                                    EX. 33 pg. 004
                                                                                                                          App. 0528
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Cirucci et al.                                                                                                                             5


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Christina A. Cirucci, MD received her Bachelor of Science in
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Mechanical Engineering from Virginia Tech in Blacksburg, VA and
                                                                      Medical and Dental Associations, the Florida Medical Association,
her MD from Thomas Jefferson University, Philadelphia, PA. She
                                                                      and is a Life Fellow of the American College of Obstetricians and
completed her residency in obstetrics and gynecology at the Medical
                                                                      Gynecologists. She practiced medicine from 1981-2014 in Orange
College of Virginia in Richmond, VA. She is a diplomate of the
                                                                      Park, Florida. Dr. Aultman was the co-founder and co-director of the
American Board of Obstetrics and Gynecology and a life Fellow of
                                                                      ﬁrst Rape Treatment Center in Jacksonville, Florida and performed
the American College of Obstetricians and Gynecologists. She is a
                                                                      sexual assault exams on women and children as a medical examiner
member of the Christian Medical and Dental Associations, the North
                                                                      for Duval and Clay Counties. She performed 1st trimester D&C with
American Menopause Society, the Pennsylvania Medical Society,
                                                                      suction abortions and 2nd trimester D&Es. She also served as the
and the Allegheny County Medical Society. She is a board member
                                                                      Medical Director for Planned Parenthood of Northeast Florida, Inc.
of the American Association of Pro-Life Obstetricians and
                                                                      from 1981 to 1983.
Gynecologists. She worked in private practice for twenty years in
Pittsburgh, PA.
                                                                      Donna J. Harrison, MD received her MD from the University of
Kathi A. Aultman, MD received her B.A. from Drew University in        Michigan and completed her OBGYN residency at a University of
1972, earned her MD at the University of Florida College of           Michigan afﬁliate hospital (St. Joseph Mercy Hospital). She is a diplo-
Medicine in 1977, and completed her OB/GYN Residency at the           mate of the American Board of Obstetrics and Gynecology. She is cur-
University of Florida afﬁliated Jacksonville Health Education         rently CEO of the American Association of Pro-Life Obstetricians and
Program in 1981. She is a diplomate of the American Board of          Gynecologists.




                                                                                                               EX. 33 pg. 005
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                 Exhibit 34
  FDA Adverse Event Reporting System (FAERS)
            Electronic Submissions




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10/10/23, 1:44 PM                                  FDA Adverse Event Reporting System (FAERS) Electronic Submissions | FDA




         FDA Adverse Event Reporting System (FAERS) Electronic
                             Submissions


          Updates for Electronic Submission of Individual Case Safety
          Reports (ICSRs) to FAERS
          FDA recently updated the following guidances for industry to incorporate technical updates: E2B (R3)
          Electronic Transmission of Individual Case Safety Reports Implementation Guide – Data Elements and
          Message Specification (/regulatory-information/search-fda-guidance-documents/e2br3-electronic-
          transmission-individual-case-safety-reports-implementation-guide-data-elements-and) and Appendix to
          the Implementation Guide — Backwards and Forwards Compatibility (/regulatory-information/search-fda-
          guidance-documents/e2br3-electronic-transmission-individual-case-safety-reports-implementation-guide-
          appendix).


          Premarketing Safety Reporting
          In preparation for the electronic transmission of premarketing safety reports in the International Council
          for Harmonisation (ICH) E2B(R3) format, FDA has posted the following documents regarding the
          electronic submission of ICSRs for certain investigational new drug application (IND) safety reports for
          drug and biological products and IND-exempt bioavailability/bioequivalence (BA/BE) safety reports to
          FAERS. These documents are posted to help sponsors prepare their systems for electronic submission
          of IND safety reports in the E2B(R3) format.

               1. Providing Regulatory Submissions in Electronic Format: IND Safety Reports - Draft Guidance for
                    Industry (https://www.fda.gov/regulatory-information/search-fda-guidance-documents/providing-
                    regulatory-submissions-electronic-format-ind-safety-reports-guidance-industry) (October 2019)
               2. Electronic Submission of IND Safety Reports - Technical Conformance Guide
                    (https://www.fda.gov/regulatory-information/search-fda-guidance-documents/electronic-
                    submission-ind-safety-reports-technical-conformance-guide) (April 2022)

               3. Technical Specifications Document - FDA Regional Implementation Guide for E2B(R3) Electronic
                    Transmission of Individual Case Safety Reports for Drug and Biological Products
                    (https://www.fda.gov/regulatory-information/search-fda-guidance-documents/fda-regional-
                    implementation-guide-e2br3-electronic-transmission-individual-case-safety-reports-drug) (August
                    2022)

               4. Electronic Submission of Expedited Safety Reports From IND-Exempt BA/BE Studies - Draft
                    Guidance for Industry (https://www.fda.gov/regulatory-information/search-fda-guidance-

                                                                                                                     EX. 34 pg. 001
https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-su…   1/5
                                                                                                                                 App. 0531
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10/10/23, 1:44 PM                                  FDA Adverse Event Reporting System (FAERS) Electronic Submissions | FDA

                    documents/electronic-submission-expedited-safety-reports-ind-exempt-babe-studies-guidance-
                    industry) (August 2022)

               5. FDA E2B(R3) Core and Regional Data Elements and Business Rules (/media/157982/download?
                    attachment) (Excel file June 2023)

               6. FDA ICSR XML Instances (/media/157983/download?attachment) (zip file September 2023)

          Please note, FDA is not currently accepting the submission of premarket ICSRs in the E2B(R3) format.
          Please continue to submit IND safety reports using eCTD format and IND-exempt BA/BE safety reports
          on Form FDA 3500A. FDA will update this web page when final guidance for IND safety reporting is
          published, and when FDA will accept IND and IND-exempt BA/BE safety reports in E2B(R3) format on a
          voluntary basis. FDA will also update this web page to communicate when submission of safety reports
          in E2B(R3) format is required for certain INDs after the period of voluntary submission.


          Postmarketing Safety Reporting
          In preparation for the receipt of postmarketing safety reports in the E2B(R3) format, FDA has posted the
          following documents regarding the electronic submission of safety reports for drug and biological
          products to FAERS. These documents are posted to help prepare systems for electronic submissions of
          postmarketing safety reports.

               1. Technical Specifications Document - FDA Regional Implementation Guide for E2B(R3) Electronic
                    Transmission of Individual Case Safety Reports for Drug and Biological Products
                    (https://www.fda.gov/regulatory-information/search-fda-guidance-documents/fda-regional-
                    implementation-guide-e2br3-electronic-transmission-individual-case-safety-reports-drug) (August
                    2022)

               2. FDA E2B(R3) Core and Regional Data Elements and Business Rules (/media/157982/download?
                    attachment) (Excel file June 2023)

               3. FDA E2B(R3) Forward Compatible Rules (https://www.fda.gov/media/157993/download) (Excel
                    file April 2022)

               4. FDA ICSR XML Instances (/media/157983/download?attachment) (zip file September 2023)

               5. Providing Submissions in Electronic Format – Postmarketing Safety Reports: Guidance for
                    Industry (https://www.fda.gov/regulatory-information/search-fda-guidance-documents/providing-
                    submissions-electronic-format-postmarketing-safety-reports) (April 2022)

          Please note, FDA is not currently accepting the submission of postmarketing ICSRs in the E2B(R3)
          format. FDA will update this web page when postmarketing ICSRs will be accepted in the E2B(R3)
          format. In the meantime, please continue to submit postmarketing ICSRs in the E2B(R2) format.

          For questions related to this update, please contact the FAERS electronic submission coordinator
          at faersesub@fda.hhs.gov (mailto:faersesub@fda.hhs.gov).

                                                                                                                     EX. 34 pg. 002
https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-su…   2/5
                                                                                                                                 App. 0532
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10/10/23, 1:44 PM                                  FDA Adverse Event Reporting System (FAERS) Electronic Submissions | FDA

      This page provides drug and nonvaccine biological product manufacturers, distributors,
      packers, outsourcing facilities, and other interested parties with information about FDA Adverse
      Event Reporting System (FAERS) electronic submissions and instructions on how to
      electronically submit postmarketing individual case safety reports (ICSRs) with and without
      attachments.

      Since 2000, FDA has accepted electronic submissions of both expedited and non-expedited
      Individual Case Safety Reports (ICSRs) for human drug and nonvaccine biologic products. To
      date, FDA has only accepted electronic submissions of ISCRs in the XML format, prepared in
      accordance with International Conference on Harmonisation-E2B (ICH E2B)
      (/media/76278/download) (PDF - 266KB) to transmit information directly from database-to-
      database using standardized (ICH E2B(M)) data elements.

      Starting June 10, 2015,* FDA is requiring that applicants electronically submit all ICSRs, ICSR
      attachments, and periodic safety reports. There are two options for submitting ICSRs
      electronically:

               Database-to-database transmission ( “E2B”)

               The Safety Reporting Portal (SRP) by manually entering the data via our SRP portal.

               Attachments: for both methods, we will only accept attachments in the PDF format.

      *FDA issued a final rule on June 10, 2014, that requires industry to submit post-marketing
      safety reports in an electronic format. See the rule at: FDA issues final rule on postmarketing
      safety report in electronic format (http://wayback.archive-
      it.org/7993/20170111002213/http://www.fda.gov/Drugs/DrugSafety/ucm400526.htm) 
      (http://www.fda.gov/about-fda/website-policies/website-disclaimer) (FDA Archive).

      Submitting Individual Case Safety Reports (ICSRs), ICSR Attachments, & Periodic Safety
      Reports (PSRs)

           1. Electronic submission of ICSRs
              You have the 2 options for submitting ICSRs electronically.

               ICSR Option A: Database-to-Database Transmission (“E2B”)

                       ICSRs must be submitted in the XML format.

                       Attachments must be in the pdf format.

                       See document “Specifications for Preparing and Submitting Electronic ICSRs and
                       ICSR Attachments (/media/132096/download?attachment)" (PDF - 204KB). XML
                       files are submitted to the FDA via the Electronic Submissions Gateway (ESG).

                       For additional instruction on how to begin submitting ICSRs in the XML format, go
                       to our document titled, "Steps to Submitting ICSRs Electronically in the XML
                                                                                                                     EX. 34 pg. 003
https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-su…   3/5
                                                                                                                                 App. 0533
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10/10/23, 1:44 PM                                  FDA Adverse Event Reporting System (FAERS) Electronic Submissions | FDA

                       Format." (/drugs/fda-adverse-event-reporting-system-faers/steps-submitting-
                       e2br2-icsrs-electronically-xml-format)

               ICSR Option B: Safety Reporting Portal (SRP)

               Applicants and non-applicants who do not have database-to-database capability may
               submit electronic ICSRs using the SRP. To submit via SRP, you must have an account to
               access the portal site. Those who are Gateway partners cannot use the SRP. Gateway
               partners are those companies that submit electronically via the Electronic Submission
               Gateway.
               Steps for requesting an SRP account

                       Contact FAERSESUB@fda.hhs.gov (mailto:FAERSESUB@fda.hhs.gov) to advise
                       FDA of your intent to begin submitting via the SRP.

               SRP account activation

                       Your account will be activated in about 7 to 10 business days.

                       You will be notified via email with the subject line “SRP Account Activation” that will
                       include the web link to the SRP portal along with account information.

                       After receiving this email, your account will be considered active and you may begin
                       submitting reports.
           2. Submitting ICSR Attachments
              Attachments to ICSRs include supporting information for ICSRs such as relevant hospital
              discharge summaries and autopsy reports, death certificate, and published articles for
              ICSRs based on scientific literature.
                    a. Database-to-Database Transmission (“E2B”).

                               Submit attachments to ICSRs through the electronic submission gateway
                               (ESG). See page 32 of the document “Specifications for Preparing and
                               Submitting Electronic ICSRs and ICSR Attachments
                               (/media/132096/download?attachment)" (PDF - 204KB).

                    b. Safety Reporting Portal (SRP).

                               To submit ICSR attachments via the SRP, use the features within the portal
                               that allows you to browse, select, and attach documents to an ICSR.

           3. Submitting Periodic Safety Reports (PSR)
              Periodic safety reports are comprised of a descriptive portion and non-expedited ICSRs (21
              CFR 314.80 and 600.80), regardless of the format.

                    1. Descriptive Portion:



                                                                                                                     EX. 34 pg. 004
https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-su…   4/5
                                                                                                                                 App. 0534
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10/10/23, 1:44 PM                                  FDA Adverse Event Reporting System (FAERS) Electronic Submissions | FDA

                               Use Electronic Common Technical Document (eCTD) (/drugs/electronic-
                               submissions-cder/electronic-common-technical-document-ectd) specifications
                               to submit the descriptive portion electronically.

                               Indicate in the descriptive portion that the ICSRs have been submitted
                               electronically as XML files to the FDA Electronic Submissions Gateway (ESG)
                               or via the Safety Reporting Portal (SRP).

                    2. Non-expedited ICSRs: must be submitted as described above and on or before the
                       periodic safety report due date. Do NOT submit expedited ICSRs previously
                       submitted.


      Resources For You
               FAQ: Combination Products (/media/131508/download?attachment) (PDF - 92 KB)

               FAERS Submissions Frequently Asked Questions (/drugs/fda-adverse-event-reporting-
               system-faers/faers-submissions-frequently-asked-questions)

               Public Meeting: Electronic Submission of Adverse Event Reports to FDA Adverse Event
               Reporting System (FAERS) using International Council for Harmonisation (ICH) E2B(R3)
               Standards (/drugs/news-events-human-drugs/electronic-submission-adverse-event-
               reports-fda-adverse-event-reporting-system-faers-using)

               FAQs: Safety Reporting Portal (/drugs/fda-adverse-event-reporting-system-faers/faqs-
               safety-reporting-portal)




                                                                                                                     EX. 34 pg. 005
https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-su…   5/5
                                                                                                                                 App. 0535
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                 Exhibit 35
    Specifications for Preparing and Submitting
     Electronic ICSRs and ICSR Attachments
                   (April 2021),
    https://www.fda.gov/media/132096/download




                                                                      App. 0536
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     Specifications for Preparing and Submitting
        Electronic ICSRs and ICSR Attachments


                      Technical Specifications Document



Associated Guidance Documents and Conformance Guide:

Draft Guidance for Industry: Providing Submissions in Electronic Format –
Postmarketing Safety Reports (June 2014)

Guidance for Industry and FDA Staff: Postmarketing Safety Reporting for
Combination Products (July 2019)

Draft Guidance for Industry: Providing Regulatory Submissions in Electronic
Format: IND Safety Reports (October 2019)

Electronic Submissions of IND Safety Reports Technical Conformance Guide
(October 2019)


For questions regarding this technical specifications document, contact the Office of Surveillance
and Epidemiology, Center for Drug Evaluation and Research, Food and Drug Administration, at
FAERSESUB@fda.hhs.gov; or Office of Communication, Outreach and Development, Center
for Biologics Evaluation and Research, Food and Drug Administration, at
CBERICSRSubmissions@fda.hhs.gov.


                      U.S. Department of Health and Human Services
                                Food and Drug Administration
                     Center for Drug Evaluation and Research (CDER)
                    Center for Biologics Evaluation and Research (CBER)

                                           April 2021


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                                                                                 EX. 35 pg. 001
                                                                                         App. 0537
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    Specifications for Preparing and Submitting
       Electronic ICSRs and ICSR Attachments
                          Revision History Table

         Date           Version                         Summary of Changes

  2008-06-11              1.0         Initial Version

  2008-08-06              1.1         Added Filename format information

  2008-10-10              1.2         Updated UTF-8 to ISO-8859-1 encoding; indicated
                                      simultaneous acceptance of ICSR and ICSR
                                      attachments; provided another acceptable file
                                      extension for SGML files; and clarified use of
                                      abbreviations (NDA, ANDA, and STN)
  2008-10-22              1.3         Provided clarification in Section II; updated footnote
                                      3; and added new paragraph to Section V.C.
  2013-07-05              1.4         Updated AERS to FAERS migration changes,
                                      removed references to SGML file formatting,
                                      incorporated updates from CBER
  2018-02-06              1.5         Added a new section to highlight data fields for
                                      reporting ICSRs on Combination Products
  2019-09-30              1.6         Added two new sections to provide regional data
                                      elements for electronic submissions of certain IND
                                      safety reports (section I) and IND-exempt
                                      Bioavailability (BA)/Bioequivalence (BE) studies
                                      (section J).
                                      Added an appendix (II) highlighting various case
                                      scenarios for electronic submissions of IND safety
                                      reports to FAERS.




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                                                                                App. 0538
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  2020-02-11              1.7         Added a new value to the data element B.4.k.1 for
                                      drug characterization to accommodate a similar
                                      device.
                                      Updated the data element B.4.k.18.2 to specify
                                      values.
                                      Updated the data element B.4.k.18.3 to use default
                                      value.
  2020-12-18              1.8         Added a new regional data element
                                      A.1.FDA.16 (FDA Safety Report Type) in
                                      Table 2 Detailed Description of
                                      Administrative Tags
                                      Added section Submission Rules
                                      Added a new value to the data element
                                      B.4.k.1 and B.4.k.19 in section J. IND-
                                      exempt BA/BE Studies
  2021-03-26              1.9         Updated section XML Header to include
                                      DTD 3.0 for premarketing reporting
                                      Updated the reference description to data
                                      element A.1.FDA.16 in Table 2 Detailed
                                      Description of Administrative Tags
                                      Updated section ICSR Message Header
                                      Information to include information in
                                      premarketing reporting
                                      Updated section AS2 Headers and Routing
                                      IDs for Premarketing Safety Report
                                      Submissions
                                      Updated section Submission Rules




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                          Specifications for Preparing and Submitting
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                            Specifications for Preparing and Submitting
                               Electronic ICSRs and ICSR Attachments

     This document provides current specifications for submitting individual case safety reports
     (ICSRs) and ICSR attachments in electronic form. The specifications apply to electronic
     submission of ICSRs for drug and biological products studied under an investigational new drug
     application (IND) (including bioequivalence studies conducted under IND), ICSRs from IND-
     exempt bioavailability (BA)/bioequivalence (BE) studies, and ICSRs for marketed drug and
     biological products and combination products to the FDA Adverse Event Reporting System
     (FAERS). The specifications do not apply to the following marketed biological products:
     prophylactic vaccines, whole blood or components of whole blood, human cells, tissues, and
     cellular and tissue-based products (HCT/Ps) regulated by FDA.
     This document discusses the technical specifications for electronic submission of ICSRs and
     ICSR attachments through the FDA Electronic Submissions Gateway (ESG). 1 ICSRs (and any
     ICSR attachments) are to be prepared in accordance with the International Council for
     Harmonisation (ICH) E2B(R2) data elements in extensible markup language (XML) file format
     for compatibility with the FAERS database. ICSRs for marketed products should not be
     submitted to the electronic Common Technical Document (eCTD). 2
     If you have not previously submitted an ICSR in electronic format to FAERS, you should contact
     the FAERS electronic submission coordinator at faersesub@fda.hhs.gov and they will assist you
     with submission of a test file.


I.       ELECTRONIC SUBMISSIONS OF ICSRS AND ICSR ATTACHMENTS

     Each initial ICSR or follow-up ICSR may consist of structured information and non-structured
     information, such as ICSR attachments.
     For the FDA to process, review, and archive the ICSRs, prepare your ICSRs for electronic
     submission by following these steps:

         •   Provide a unique filename for the submission; see section II of this document.

         •   Add a file header and file extension; see section IV of this document.

         •   Populate the elements of the ICSR file; see section V of this document.

     1
      For information on providing submissions using the ESG, refer to
     https://www.fda.gov/ForIndustry/ElectronicSubmissionsGateway/default.htm.
     2
      See FAERS Electronic Submissions at
     https://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/Surveillance/AdverseDrugEffects/ucm115894.htm.


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       •   If applicable, add ICSR attachments to ICSRs; see section VI of this document.


 II.   SUBMISSION FILE NAME

   Each electronic submission of ICSRs or attachments to ICSRs must have a unique filename (e.g.,
   your named file + date and time stamp down to the second: filenameYYYYMMDDHHMMSS).
   You may choose your own format to maintain uniqueness.


III.   ICSR ACKNOWLEDGEMENTS


       A. ESG Acknowledgement
   After submitting an ICSR or ICSR attachment, you should receive an ESG message delivery
   notice (MDN) notifying the sender of the receipt of their submission, but not acknowledging the
   acceptance of the submission. If the MDN is not received within 2 hours, go to the ESG System
   Status web page. If the ESG web page is non-operational, go to the ESG Home Page for further
   information.

       B. FAERS Acknowledgment
   The MDN is then followed by a FAERS acknowledgment within 2 hours of the ESG
   acknowledgement. The FAERS acknowledgement notifies the sender whether their submission
   has been processed. If you do not receive the FAERS acknowledgement, resubmit the ICSRs
   without changing the filename.
   If you receive a report acknowledgement code 02, indicating that your submission did not
   process due to file error/s that are specified in the acknowledgment, then proceed as follows:

       •   For submission with a single ICSR, resubmit the corrected ICSR with a new unique
           filename.

       •   For a submission consisting of multiple ICSRs, if one or more ICSRs in the submission
           failed to process, separate those ICSRs from the processed ICSRs, correct them and
           resubmit only the corrected ICSRs as a new submission with a unique filename. For
           example, if there were 50 ICSRs in an original submission and 15 of them failed to
           process, then only those 15 ICSRs must be separated, corrected appropriately, and
           resubmitted with a new unique filename. The resubmission should not contain any of the
           previously processed ICSRs.


IV.    ELECTRONIC TRANSPORT FORMAT: XML FILES

   FDA accepts the data elements defined in the “Guidance for Industry E2BM Data Elements for



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                                                                                          App. 0543
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Transmission of Individual Case Safety Reports (April 2002).”3 The ICH E2B(R2) guidance
provides additional information and clarification of the previously issued guidances. 4
The electronic transport format also known as the Document Type Definition (DTD) for XML
files is described in the associated document “XML Formatted DTD” (DTD Version 2.1, DTD
Version 2.2 and DTD Version 3.0) (see links to the documents below in section C).

     A. AS2 Headers and Routing IDs for Postmarketing Safety Report Submissions
For postmarketing safety report submissions, the sponsors should include the unique AS2
headers or routing IDs for safety reports and attachments in one of the two ways listed below.

       •    AS2 Headers
               - Destination: “CDER”
               - XML files: AERS
               - PDF’s: AERS_ATTACHMENTS
       or

       •    Routing IDs
               - XML files: FDA_AERS
               - PDF’s: FDA_AERS_ATTACHMENTS

     B. AS2 Headers and Routing IDs for Premarketing 5 Safety Report Submissions
For premarketing safety report submissions, the sponsors should include the unique AS2 headers
or routing IDs for premarketing safety reports and attachments, as listed below, to differentiate
these reports between CDER and CBER, and from postmarketing ICSRs.




3
 For information on Guidance for Industry on E2BM Data Elements for Transmission of Individual Case Safety
Reports, please refer to the following:
https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM073092.pdf.
4
  See the guidance for industry entitled E2B Data Elements for Transmission of Individual Case Safety Reports
(January 1998) (E2B). FDA currently supports use of E2B data elements in addition to the E2BM data elements.
However, it is preferred that ICSRs be submitted with E2BM data elements to allow for the most efficient
processing of the submissions. For those who wish to use E2B data elements and the corresponding electronic
transport format (ICH M2 Electronic Transmission of Individual Case Safety Reports Message Specification Final
Version 2.3 Document Revision February 1, 2001 (ICH ICSR DTD Version 2.1)), please refer to documentation
provided at https://www.fda.gov/downloads/drugs/ucm149932.pdf
5
    The term premarketing safety report refers to IND safety reports and IND-exempt BA/BE studies safety reports.


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       1. Submitting premarketing safety reports for CDER IND and IND-Exempt BA/BE

            •   AS2 Headers
                    - Destination: “CDER”
                    - XML files: AERS_PREMKT_CDER
                    - PDF’s: AERS_ATTACHMENTS_PREMKT_CDER
       or
            •   Routing IDs
                    - XML files: FDA_AERS_PREMKT_CDER
                    - PDF’s: FDA_AERS_ATTACHMENTS_PREMKT_CDER


       2. Submitting premarketing safety reports for CBER IND

            •   AS2 Headers
                    - Destination: “CBER”
                    - XML files: AERS_PREMKT_CBER
                    - PDF’s: AERS_ATTACHMENTS_PREMKT_CBER
       or
            •   Routing IDs
                    - XML files: FDA_AERS_PREMKT_CBER
                    - PDF’s: FDA_AERS_ATTACHMENTS_PREMKT_CBER

  C. XML Header
The addition of an XML header enables FDA to process ICSRs in an XML format successfully.
FDA supports only the ISO-8859-1 character set for encoding the submissions.

       1. For submissions of postmarketing safety reports for drug and biological products,
       add the following XML header to the ICSR file:
       <?xml version=“1.0” encoding=“ISO-8859-1”?>
       <!DOCTYPE ichicsr SYSTEM “https://www.accessdata.fda.gov/xml/icsr-xml-
       v2.1.dtd”>

       2. For submissions of postmarketing safety reports for combination products, add the
       following XML header to the ICSR file:
       <?xml version=“1.0" encoding=“ISO-8859-1”?>
       <!DOCTYPE ichicsr SYSTEM “https://www.accessdata.fda.gov/xml/icsr-xml-

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            v2.2.dtd”>

            3. For submissions of premarketing safety reports, add the following XML header to
            the ICSR file:
            <?xml version=“1.0" encoding=“ISO-8859-1”?>
            <!DOCTYPE ichicsr SYSTEM “https://www.accessdata.fda.gov/xml/icsr-xml-
            v3.0.dtd”>

       D. ICSR Message Header Information

            1. For submissions of postmarketing drug and biological product safety reports, use
            the value “2.1” for the DTD Descriptor <messageformatversion>:
                    <messageformatversion>2.1</messageformatversion>

            2. For submissions of postmarketing combination product safety reports, use the
            value “2.2” for the DTD Descriptor <messageformatversion>:
                    <messageformatversion>2.2</messageformatversion>

            3. For submissions of premarketing safety reports, use the value “3.0” for the DTD
            Descriptor <messageformatversion>:
                    <messageformatversion>3.0</messageformatversion>

       E. ICSR File Extension
     Use “xml” as the file extension for ICSRs in XML format. The name of the file should be 200
     characters or less, excluding the three-digit extension. FDA does not support file names with
     multiple periods “.” or the use of any special or foreign characters except underscore “_” and
     dash “-”.


V.      DATA ELEMENTS FOR ELECTRONIC SUBMISSIONS

       A. Minimum Data Elements Requirements
     For a submission to be successfully processed, submit an ICSR with the minimum data elements
     for reporting that are appropriate for the product type. If a sponsor submits an ICSR without the
     minimum data elements, they will receive a FAERS acknowledgement code 02 stating that the
     submission was not processed (see section III.B above). The minimum data elements for
     reporting are provided in Table 1 and the bullets that follow list the data elements to include in
     an ICSR by product type.




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Table 1.      Minimum Data Elements

                      Element                                     Data

                         B.1                               Identifiable Patient

                         A.2                              Identifiable Reporter

                         B.2                                Reaction or Event

                         B.4                              Suspect Drug Product

   •   Adverse event reports submitted for unapproved prescription drug products, unapproved
       nonprescription drug products and products approved for marketing under an abbreviated
       new drug application (ANDA), biologics license application (BLA), or new drug
       application (NDA), including combination products should have, at a minimum, the four
       data elements listed in Table 1.

   •   Adverse event reports for compounded drugs submitted by registered outsourcing
       facilities should have at a minimum, a suspect product and an adverse event.

   •   IND safety reports should include, at a minimum, the four data elements listed in Table 1
       and the IND number under which the clinical trial where the event occurred is conducted.

   •   Serious adverse event reports from IND-exempt BA/BE studies should include, at a
       minimum, the four data elements listed in Table 1 and the pre-assigned ANDA number
       (hereafter referred as, Pre-ANDA number).

  B. Administrative and Identification Elements
For FDA to successfully process your electronic ICSR submissions, populate the administrative
and identification elements as indicated in Table 2.




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Table 2.         Detailed Description of Administrative Tags*

       Element         DTD Descriptor 2.1            Length             Element Values for DTD 2.1
  A.1.9               <fulfillexpeditecriteria>      1N           1= Yes (15-Day expedited)
                                                                  2= No (non-expedited)
                                                                  4= 5-Day
                                                                  5= 30-Day
                                                                  6= 7-Day expedited
  A.1.0.1             <safetyreportid>               100AN        Sender’s (Case) Safety
                                                                  Report Unique Identifier†
  A.1.10.1            <authoritynumb>                100AN        Regulatory authority’s case report
                                                                  number
  A.1.10.2            <companynumb>                  100AN        Other sender’s case report number

  A.3.1.2             <senderorganization>           60AN         Sender identifier
  A.2.3.2 ^           <sponsorstudynumb>             35AN         IND or Pre-ANDA number under
                                                                  which the clinical trial where the event
                                                                  occurred is conducted
                      <fdasafetyreporttype>          1N           1=IND Safety Report
                 ††
  A.1.FDA.16
                                                                  2=IND-Exempt BA/BE Safety Report
                                                                  3=Postmarketing Safety Report
*
  Include either <companynumb> or <authoritynumb> values. FDA cannot process the ICSR without one of these
element values.
†
  The Sender’s Safety Report Unique Identifier is comparable to the Manufacturer
Report Number (also referred to as the Manufacturer Control Number (MCN)) provided on paper in FDA Form
3500A. This number is the company’s unique case identification number, which is used for the life of the case.
^
  For IND and IND-exempt BA/BE study safety reports only. An IND-exempt BA/BE study refers to a BA/BE
study not conducted under IND.
††
   The FDA Safety Report Type data element distinguishes premarketing (IND and IND-Exempt BA/BE) safety
reports from postmarketing safety reports and is used to determine which reports are posted publicly. The FDA
Safety Report Type data element is optional when using DTD 2.1 and 2.2 for postmarketing safety report submission
but is mandatory when using DTD 3.0 for premarketing safety report submission.

  C. Authorization/ Application Number Format
In the section designated for drug and biological products information, use the following format
for the “Authorization/ Application Number” element (B.4.k.4.1) <drugauthorizationnumb> as
indicated in Table 3 and described below.

   •    For approved drug and biological products marketed under an approved application,
        include the acronym “NDA” or “ANDA,” followed by a space and then the number for
        the application (e.g., NDA 012345, ANDA 012345). For prescription drug products
        marketed without an approved application (Rx No Application), use “000000.” For a
        nonprescription drug product marketed without an approved application (Non-Rx No

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       Application), use “999999.” For adverse event reports for compounded drug products
       submitted by registered outsourcing facilities, use “COMP99.”

   •   For marketed biological products, include the appropriate acronym “BLA,” “STN,” or
       “PLA” followed by a space and the primary six-digit number (e.g., STN 123456).

Table 3.       Detailed Description of Application Number Formats

                     Type of Application                     Recommended Format

           NDA/ ANDA                                 NDA, ANDA 012345

           STN/ BLA/ PLA                             STN or BLA or PLA 123456

           Rx No Application                         000000

           Non-Rx No Application                     999999
           Compounded Products                       COMP99

  D. Unique Case Identification Numbers for Initial and Follow-Up ICSRs
For the follow-up ICSR safety reports to be correctly linked to your initial ICSR report, follow
these steps:
   •   Use the same <safetyreportid> for the E2BM elements in section A.1.0.1 for the initial
       ICSR and any of its follow-up ICSRs; this allows the follow-up report to be linked to the
       initial report in the FAERS database.

   •   If the initial ICSR was submitted on paper but its follow-up ICSR is submitted
       electronically, include the Manufacturer Control Number (MCN) listed in Box G9 of the
       FDA paper Form 3500A from the initial report in both A.1.0.1 <safetyreportid> and in
       A.1.10.2 <companynumb> field in the follow-up electronic submission.

   •   Always use the <safetyreportid> that was assigned to the initial ICSR when submitting
       follow-up reports. If you need to change the <safetyreportid> internally, note the
       internally reassigned <safetyreportid> in the narrative section of the follow-up report
       (i.e., element B.5.1) (e.g., “This ICSR has been reassigned to the Company ID number
       COA12345”). Do not use the internally reassigned <safetyreportid> for any follow-up
       reports.

   •   In the event that an incorrect <safetyreportid> has been used in a follow-up report,
       contact the FAERS electronic submission coordinator at faersesub@fda.hhs.gov so that
       the follow-up ICSR can be matched to the initial ICSR.


  E. MedDRA Specific Elements
Use the ICH Medical Dictionary for Regulatory Activities (MedDRA) to code medical


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terminology. 6 When possible, use the Lowest Level Term (LLT), and record the LLT as the
MedDRA numeric code rather than the LLT name (e.g., the LLT name is Rash; the MedDRA
numeric code for LLT Rash is 10378444).

           1. Reaction/Event
                a) Reaction/Event as reported by the primary source field
        Record the original reporter’s words verbatim and/or use short phrases to describe the
        reaction/event in element (B.2.i.0).
                b) Reaction/Event MedDRA Term LLT numeric code or text field
        Record the MedDRA LLT that most closely corresponds to the term reported by the
        original reporter in element (B.2.i.1).
                c) Reaction/Event MedDRA Preferred Term (PT) numeric code or text field
        Record the MedDRA PT that most closely corresponds to the term reported by the
        original reporter in element (B.2.i.2).

           2. Other E2B Elements
For the E2B elements listed in Table 4, use either MedDRA text or, preferably, the
corresponding numeric code.

Table 4.        Additional E2B Elements for Preferred MedDRA Coding

              Element               DTD Descriptor 2.1                       Length
           B.1.7.1a.2         <patientepisodename>                     250 AN
           B.1.8f.2           <patientdrugindication>                  250 AN
           B.1.8g.2           <patientdrugreaction>                    250 AN
           B.1.9.2b           <patientdeathreport>                     250 AN
           B.1.9.4b           <patientdetermineautopsy>                250 AN
           B.1.10.7.1a.2      <parentmedicalepisodename>               250 AN
           B.1.10.8f.2        <parentdrugindication>                   250 AN
           B.1.10.8g.2        <parentdrugreaction>                     250 AN
           B.3.1c             <testname>                               100 AN
           B.4.k.11b          <drugindication>                         250 AN
           B.4.k.17.2b        <drugrecuraction>                        250 AN
           B.4.k.18.1b        <drugreactionasses>                      250 AN
           B.5.3b             <senderdiagnosis>                        250 AN



6
  Companies can license MedDRA from an international maintenance and support services organization (MSSO)
(toll free number 877-258-8280; Direct 571-313-2574; fax 571-313-2345; e-mail MSSOhelp@mssotools.com).


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     F. Drug Description and Case Narrative Elements
To ensure the successful processing of your electronic ICSR submission, applicants are advised
to populate the drug description and narrative elements as indicated in Table 5.
                                                                                    †
Table 5.           Detailed Description of Drug(s) and Narrative Elements*

     Element           DTD Descriptor 2.1           Length          Element Values for DTD 2.1
    B.4.k.1         <drugcharacterization>       1N             1=Suspect
                                                                2=Concomitant
                                                                3=Interacting
                                                                4=Drug not administered
    B.4.k.2.1       <medicinalproduct>           70AN           Proprietary Medicinal Product Name

    B.4.k.2.2       <activesubstancename>        100AN          Drug Substance Name

    B.5.1           <narrativeincludeclinical> 20000AN          Case Narrative
*
  Include <medicinalproduct> and/or <activesubstancename>. FDA cannot process the ICSR without at
least one of these elements.
†
  Appendix I lists various examples of correct drug element formats.


              1. Recording Multiple Drugs
If you are submitting safety reports for products containing multiple drugs, you should follow
these steps:
      •     List the proprietary drug product name in element (B.4.k.2.1) and/or list the drug
            substance name in element (B.4.k.2.2).

      •     List the characterization of each reported drug’s role, such as suspect, concomitant,
            interacting, drug not administered, or similar device in element (B.4.k.1).

              2. Medicinal Product Name and Active Drug Substance Name
FDA validates medicinal product names to the available Structured Product Labeling (SPL) 7, the
submitted label (as ICSR attachment), and the Substance Registration System (SRS). These are
further described below:
      •     When the product has an SPL, use the same naming convention as it appears in the SPL
            when submitting the ICSR.



7
 The SPL is a document markup standard approved by Health Level Seven (HL7) and adopted by FDA as a
mechanism for exchanging product and facility information. See
https://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/default.htm.


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    •   When submitting a product label as an attachment to an ICSR, use the name as it appears
        on the submitted product label.

    •   If no medicinal product is named and only the active substance is named, use the name of
        the active substance as it appears in the SRS. 8

          3. Case Narrative
                a) Initial ICSR
        Record all case narrative information including clinical course, therapeutic measures,
        outcome, and all additional relevant information in element (B.5.1). If the information
        exceeds the field length, consider describing the information using fewer words.
        Although the use of only the most widely used medical abbreviations is permissible if
        necessary, their use should be limited when possible.
                b) Follow-up ICSR
        Record both new information and corrections to previously submitted ICSRs in element
        (B.5.1).

    G. Other Data Elements

          1. Dosage Information Field
If dosage information cannot be captured in the structured fields in B.4.k.5, then use the element
(B.4.k.6) <drugdosagetext>.

          2. Pharmaceutical Form Field
Record the pharmaceutical form in element (B.4.k.7) <drugdosageform>. FDA accepts the
European Medicines Agency (EMA) dosage codes or text. 9

          3. Route of Administration Field
Code the route of administration in element (B.4.k.8) <drugadministrationroute> as described in
the ICH E2B(R2) guidance.

          4. Receiver Field (A.3.2)
Complete the receiver using the code or text listed in Table 6.



8
 https://www.fda.gov/ForIndustry/DataStandards/SubstanceRegistrationSystem-
UniqueIngredientIdentifierUNII/default.htm.
9
 For a complete list of EMA dosage form codes and text, please refer to
https://www.ema.europa.eu/documents/other/list-pharmaceutical-dosage-forms_en.xls


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Table 6.        Receiver Information

    Element          DTD Descriptor 2.1                        Code or Text
  A.3.2.1        <receivertype>                2
  A.3.2.2a       <receiverorganization>        FDA
  A.3.2.2b       <receiverdepartment>          Office of Surveillance and Epidemiology
  A.3.2.2d       <receivergivename>            FAERS
  A.3.2.3a       <receiverstreetaddress>       10903 New Hampshire Avenue
  A.3.2.3b       <receivercity>                Silver Spring
  A.3.2.3c       <receiverstate>               MD
  A.3.2.3d       <receiverpostcode>            20993
  A.3.2.3e       <receivercountrycode>         US
  A.3.2.3l       <receiveremailaddress>        faersesub@fda.hhs.gov


           5. Message Receiver Field (M.1.6)
The following two message receiver identifiers are used by FDA to distinguish between test and
production submissions:
   •   Test ICSRs: <messagereceiveridentifier>ZZFDATST</messagereceiveridentifier>

   •   Production ICSRs: <messagereceiveridentifier>ZZFDA</messagereceiveridentifier>


  H. Data Elements for Electronic Submissions of Safety Reports for Postmarketing
     Combination Products
To ensure the successful processing of your electronic ICSR submission for a marketed drug- or
therapeutic biologic led- combination product (e.g., a combination product containing a
drug/biologic and device and marketed under an NDA or a BLA), you should populate the data
elements indicated in Table 7.
Note: Some of the DTD descriptors listed in Table 7 are under existing E2B(R2) header
elements, and some DTD descriptors are under new data elements. Those data element numbers
that are new, have the word “FDA” incorporated into the number and are U.S.-specific regional
elements related to reporting on combination products.




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Table 7.      Combination Product Data Elements
                                                                                                    Element Values
   Data Element            DTD Descriptor 2.2            Title            Description      Length                                   Notes
                                                                                                      for DTD 2.2
 M.1.2              <messageformatversion>           Message           Version number      3AN      2.2                Use value 2.2 if using icsr-
                                                     Format            of Message                                      xml-v2.2.dtd
                                                     Version           Format
                                                                                                                       Use value 2.1 if using icsr-
                                                                                                                       xml-v2.1.dtd
 A.1                <safetyreport>                   Header/           Identification of
                                                     Entity            the case safety
                                                                       report
 A.1.9              <fulfillexpeditecriteria>        Does this                             1N       1=Yes              Element values= 1 for 15-Day
                                                     case fulfill                                   2=No               Expedited* and 2 for periodic
                                                     the local                                      4=5-Day            non-expedited†
                                                     criteria for an                                5=30-Day
                                                     expedited                                                         Element value= 4 for remedial
                                                     report                                                            action to prevent an
                                                                                                                       unreasonable risk of
                                                                                                                       substantial harm to the public
                                                                                                                       health

                                                                                                                       Element value= 5 for
                                                                                                                       malfunction with no associated
                                                                                                                       adverse event

                                                                                                                       Do not use element value of 3.
 A.1.FDA.15         <combinationproductreport>       Combination       Combination         1N       1=Yes
                                                     Product           Product Report               2=No
                                                     Report Flag       Flag
 A.2                <primarysource>                  Primary           Header/ Entity               Area below
                                                     source(s) of                                   should be a
                                                     information                                    repeatable block

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                                                                                                      Element Values
   Data Element              DTD Descriptor 2.2            Title          Description        Length                                   Notes
                                                                                                        for DTD 2.2
 A.2.1                                                 Primary         Header
                                                       source(s)
 A.2.1.3.FDA.4      <reporteremailaddress>             Reporter’s                           100AN
                                                       Email
                                                       Address
 B.1.1              <patientinitial>                   Patient         Patient Identifier   10AN                         If a single report is reported
                                                                                                                         for a malfunction with no
                                                                                                                         adverse event, the element
                                                                                                                         value should be “NONE.”

                                                                                                                         If there are multiple
                                                                                                                         malfunction reports with no
                                                                                                                         adverse event, then the
                                                                                                                         element value should be
                                                                                                                         “SUMMARY.”
 B.4                <drug>                             Drug(s)         Header/ Entity                 Area below
                                                       Information                                    should be a
                                                                                                      repeatable block
 B.4.k.1            <drugcharacterization>             Characterizat                          1N      1=Suspect          If the product in the report is
                                                       ion of drug                                    2=Concomitant      about a similar device, the
                                                       role                                           3=Interacting      element value should be
                                                                                                      5=Similar          5=Similar Device.
                                                                                                      Device
 B.4.k.2                                               Drug           Header
                                                       Identification
 B.4.k.2.4.FDA.1a   <expirationdateformat>             Expiration     Product               3N        102=CCYYMM
                                                       date format    Expiration date                 DD
                                                                                                      610=CCYYMM
                                                                                                      602=CCYY
 B.4.k.2.4.FDA.1b   <expirationdate>                   Expiration      Product              8N
                                                       date            Expiration date

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                                                                                                  Element Values
   Data Element            DTD Descriptor 2.2             Title         Description      Length                                 Notes
                                                                                                    for DTD 2.2
 B.4.k.2.FDA.5      <productavailableforevaluation>   Product         Indicate whether   1N       1=Yes
                                                      available for   product is                  2=No
                                                      evaluation      available for               3=Return
                                                                      evaluation
 B.4.k.2.6.FDA.1a   <productreturndateformat>         Product         Date Format        3N       102=CCYYMM
                                                      return date                                 DD
                                                      format                                      610=CCYYMM
                                                                                                  602=CCYY
 B.4.k.2.6.FDA.1b   <productreturndate>               Product      Date when             8N
                                                      return date  Product was
                                                                   returned
 B.4.k.20.FDA.1     <brandname>                       Brand Name The trade or            80AN                       At least one of the 3 must be
                                                                   proprietary name                                 reported <brandname> or
                                                                   of the device                                    <commondevicename> or
                                                                   constituent part                                 <productcode> for the device
                                                                   of the suspect                                   constituent part
                                                                   combination
                                                                   product as used
                                                                   in product
                                                                   labeling or in the
                                                                   catalog
 B.4.k.20.FDA.2     <commondevicename>                Common       Generic or            80AN                       At least one of the 3 must be
                                                      Device Name common name of                                    reported <brandname> or
                                                                   the device                                       <commondevicename> or
                                                                   constituent part                                 <productcode> for device
                                                                   of the suspect                                   constituent part
                                                                   combination
                                                                   product or a
                                                                   generally
                                                                   descriptive name
 B.4.k.20.FDA.3     <productcode>                     Product Code Product code          3AN      http://www.acce   At least one of the 3 must be

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                                                                                                   Element Values
   Data Element            DTD Descriptor 2.2           Title          Description        Length                               Notes
                                                                                                     for DTD 2.2
                                                                    assigned to the                ssdata.fda.gov/p reported <brandname> or
                                                                    device                         remarket/ftparea <commondevicename> or
                                                                    constituent part               /foiclass.zip    <productcode> for device
                                                                    based upon the                                  constituent part
                                                                    medical device
                                                                    product
                                                                    classification
 B.4.k.20.FDA.4     <manufacturer>                   Manufacturer   Header/ Entity
 B.4.k.20.FDA.4a    <manufacturername>               Device         Manufacturer          100AN
                                                     Manufacturer   name of the
                                                     Name           device
                                                                    constituent part
                                                                    of the suspect
                                                                    combination
                                                                    product
 B.4.k.20.FDA.4b    <manufactureraddress>            Manufacturer   Manufacturer          100AN
                                                     Address        address of the
                                                                    device
                                                                    constituent part
                                                                    of the suspect
                                                                    combination
                                                                    product
 B.4.k.20.FDA.4c    <manufacturercity>               Manufacturer   Manufacturer          35AN
                                                     City           city of the device
                                                                    constituent part
                                                                    of the suspect
                                                                    combination
                                                                    product
 B.4.k.20.FDA.4d    <manufacturerstate>              Manufacturer   Manufacturer          40AN
                                                     State          state of the
                                                                    device
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                                                                                                Element Values
   Data Element           DTD Descriptor 2.2           Title         Description       Length                               Notes
                                                                                                  for DTD 2.2
                                                                   constituent part
                                                                   of the suspect
                                                                   combination
                                                                   product
 B.4.k.20.FDA.4e    <manufacturercountry>           Manufacturer   Manufacturer        2AN      ISO3166
                                                    Country        country of the
                                                                   device
                                                                   constituent part
                                                                   of the suspect
                                                                   combination
                                                                   product
 B.4.k.20.FDA.5     <modelnumber>                   Model          Model number of     30AN
                                                    Number         the device
                                                                   constituent part
 B.4.k.20.FDA.6     <catalognumber>                 Catalog        Catalog number      30AN
                                                    Number         of the device
                                                                   constituent part
 B.4.k.20.FDA.7     <serialnumber>                  Serial         Serial number of    30AN
                                                    Number         the device
                                                                   constituent part
 B.4.k.20.FDA.8     <udinumber>                     Unique         Unique identifier   50AN
                                                    Identifier     of the device
                                                    UDI#           constituent part
 B.4.k.20.FDA.9a    <dateimplantedformat>           Device         Date format of      3N       102=CCYYMM       For medical devices that are
                                                    Implant Date   device implant in            DD               implanted in the patient,
                                                    Format         the patient                  610=CCYYMM       provide the implant date or
                                                                                                602=CCYY         best estimate. If day is
                                                                                                                 unknown, month and year are
                                                                                                                 acceptable. If month and day
                                                                                                                 are unknown, year is
                                                                                                                 acceptable

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                                                                                               Element Values
   Data Element           DTD Descriptor 2.2           Title         Description      Length                               Notes
                                                                                                 for DTD 2.2
 B.4.k.20.FDA.9b    <dateimplanted>                 Device         Date of device     8N                        For medical devices that are
                                                    Implant Date   implant in the                               implanted in the patient,
                                                                   patient                                      provide the implant date or
                                                                                                                best estimate. If day is
                                                                                                                unknown, month and year are
                                                                                                                acceptable. If month and day
                                                                                                                are unknown, year is
                                                                                                                acceptable
 B.4.k.20.FDA.10a   <dateexplantedformat>           Device         Date format of     3N       102=CCYYMM       If an implanted device was
                                                    Explant Date   device explant              DD               removed from the patient,
                                                    Format         from the patient            610=CCYYMM       provide the explant date or
                                                                                               602=CCYY         best estimate. If day is
                                                                                                                unknown, month and year are
                                                                                                                acceptable. If month and day
                                                                                                                are unknown, year is
                                                                                                                acceptable
 B.4.k.20.FDA.10b   <dateexplanted>                 Device         Date of device     8N                        If an implanted device was
                                                    Explant Date   explant from the                             removed from the patient,
                                                                   patient                                      provide the explant date or
                                                                                                                best estimate. If day is
                                                                                                                unknown, month and year are
                                                                                                                acceptable. If month and day
                                                                                                                are unknown, year is
                                                                                                                acceptable
 B.4.k.20.FDA.11a   <deviceage>                     Approximate    Age of device      5N
                                                    age of         constituent part
                                                    device/
                                                    product
 B.4.k.20.FDA.11b   <deviceageunit>                 Approximate    Age unit of        3N       800=Decade
                                                    age unit of    device                      801=Year
                                                    device/        constituent part            802=Month

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                                                                                                   Element Values
   Data Element             DTD Descriptor 2.2            Title         Description       Length                          Notes
                                                                                                     for DTD 2.2
                                                      product                                      803=Week
                                                                                                   804=Day
                                                                                                   805=Hour
 B.4.k.20.FDA.12     <labeledsingleusedevice>         Single Use     Indicate whether     1N       1=Yes
                                                      Device         the device                    2=No
                                                                     constituent part
                                                                     was labeled for
                                                                     single use or not
 B.4.k.20.FDA.13a    <devicemanufacturedateformat>    Device         Device               3N       102=CCYYMM
                                                      Manufacture    Manufacture                   DD
                                                      Date Format    Date format                   610=CCYYMM
                                                                                                   602=CCYY
 B.4.k.20.FDA.13b    <devicemanufacturedate>          Device         Device               8N
                                                      Manufacture    Manufacture
                                                      Date           Date
 B.4.k.20.FDA.14                                      Remedial       Header
                                                      action
                                                      initiated/
                                                      Remedial
                                                      action taken
                                                      for the
                                                      product
 B.4.k.20.FDA.14.1   <remedialactionrecall>           Recall         Recall initiated     1N       1=Yes
 a                                                                                                 2=No
 B.4.k.20.FDA.14.1   <remedialactionrepair>           Repair         Repair initiated     1N       1=Yes
 b                                                                                                 2=No
 B.4.k.20.FDA.14.1   <remedialactionreplace>          Replace        Replace initiated    1N       1=Yes
 c                                                                                                 2=No
 B.4.k.20.FDA.14.1   <remedialactionrelabel>          Relabeling     Relabeling           1N       1=Yes
 d                                                                   initiated                     2=No
 B.4.k.20.FDA.14.1   <remedialactionnotify>           Notification   Notification         1N       1=Yes

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                                                                                                  Element Values
   Data Element              DTD Descriptor 2.2            Title        Description      Length                          Notes
                                                                                                    for DTD 2.2
 e                                                                   initiated                    2=No
 B.4.k.20.FDA.14.1    <remedialactioninspection>       Inspection    Inspection          1N       1=Yes
 f                                                                   initiated                    2=No
 B.4.k.20.FDA.14.1    <remedialactionpatientmonitor>   Patient       Patient             1N       1=Yes
 g                                                     monitoring    monitoring                   2=No
 B.4.k.20.FDA.14.1    <remedialactionmodifyadjust>     Modification/ Modification/       1N       1=Yes
 h                                                     Adjustment    Adjustment                   2=No
                                                                     initiated
 B.4.k.20.FDA.14.1i   <remedialactionother>            Other         Other Remedial      75AN
                                                                     Action initiated
 B.4.k.20.FDA.15      <deviceusage>                    Device        Indicate the use    1N       1=Initial Use of
                                                       Usage         of the device                Device
                                                                     constituent part             2=Reuse
                                                                     of the suspect               3=Unknown
                                                                     combination
                                                                     product
 B.4.k.20.FDA.16      <devicelotnumber>                Device Lot    Lot number of       35AN
                                                       Number        the device
                                                                     constituent part
                                                                     of the suspect
                                                                     combination
                                                                     product
 B.4.k.20.FDA.17      <malfunction>                    Malfunction Malfunction of        1N       1=Yes
                                                                     product                      2=No
 B.4.k.20.FDA.18                                       Follow-up     Header
                                                       type
 B.4.k.20.FDA.18.1    <followupcorrection>             Correction    Correction          1N       1=Yes
 a                                                                                                2=No
 B.4.k.20.FDA.18.1    <followupadditionalinfo>         Additional     Additional         1N       1=Yes
 b                                                     information    information                 2=No
 B.4.k.20.FDA.18.1    <followupresponsetoFDA>          Response to    Response to FDA    1N       1=Yes

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                                                                                               Element Values
   Data Element             DTD Descriptor 2.2            Title       Description     Length                                Notes
                                                                                                 for DTD 2.2
 c                                                    FDA request   request                    2=No
 B.4.k.20.FDA.18.1   <followupdeviceevaluation>       Device        Device            1N       1=Yes
 d                                                    Evaluation    Evaluation                 2=No
 B.4.k.20.FDA.19     <deviceproblemandevaluation>     Device        Header/ Entity             Area Below
                                                      Problem and                              Should be a
                                                      evaluation                               Repeatable
                                                      codes                                    Block
 B.4.k.20.FDA.19.1   <evaluationtype>                 Evaluation    Type of problem   2N       01=Device
 a                                                    Type          and/or the                 Problem
                                                                    evaluation                 02=Method
                                                                                               03=Result
                                                                                               04=Conclusion
 B.4.k.20.FDA.19.1   <evaluationvalue>                Evaluation    The FDA code      6N                        The value depends on the
 b                                                    Value         value based on                              respective <evaluationtype>
                                                                    the respective
                                                                    evaluation type                             If <evaluationtype> = 01 -->
                                                                                                                https://www.fda.gov/media/14
                                                                                                                6825/download

                                                                                                                If <evaluationtype> = 02 -->
                                                                                                                https://www.fda.gov/media/14
                                                                                                                6827/download

                                                                                                                If <evaluationtype> = 03 -->
                                                                                                                https://www.fda.gov/media/14
                                                                                                                6828/download

                                                                                                                If <evaluationtype> = 04 -->
                                                                                                                https://www.fda.gov/media/14
                                                                                                                6829/download
 B.4.k.20.FDA.20     <operatorofdevice>               Operator of   Operator of the   100AN                     Use the value “Health

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                                                                                                                    Element Values
    Data Element                 DTD Descriptor 2.2                   Title           Description        Length                                       Notes
                                                                                                                      for DTD 2.2
                                                                 the Device        Device                                               Professional” or “Lay
                                                                                                                                        User/Patient.” If none
                                                                                                                                        applicable, then specify the
                                                                                                                                        “Other” value
*
 21 CFR 314.80(c)(1) and 600.80(c)(1) use the term “15-day Alert reports.” In the combination product PMSR final rule (21 CFR 4.101), these reports are defined as
“Fifteen-day reports.”
†
 Periodic non-expedited ICSRs are the reports required under 21 CFR 314.80(c)(2)(ii)(B) and 21 CFR 600.80(c)(2)(ii)(B) for serious, expected and nonserious adverse
drug experiences.




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   I. Data Elements for Electronic Submissions of IND Safety Reports
 To ensure the successful processing of your electronic IND ICSR submission, you should populate the following data elements as
 described in Table 8.

 Table 8.      Investigational New Drug Clinical Data Elements

  Data                                                                      Field     Element Values for
                DTD Descriptor 3.0             Title         Description                                              Notes
 Element                                                                   Length         DTD 3.0
A.1.4         <reporttype>                 Type of                         1N        1=Spontaneous           Element value= 2 for
                                           Report                                    2=Report from           Report from Study
                                                                                     Study
                                                                                     3=Other
                                                                                     4=Not Available to
                                                                                     Sender (unknown)
A.1.9         <fulfillexpeditecriteria>    Does this                       1N        1=Yes                   Element value=1 for 15-
                                           case fulfill                              2=No                    Day Expedited
                                           the local                                 4=5-Day
                                           criteria for an                           5=30-Day                Element value= 6 for 7-
                                                                                     6=7-Day                 Day Expedited
                                           expedited
                                           report?
A.1.12        <linkreportnumb>             Identification                  100AN                             Used to link all
                                           Number of                                                         individual cases
                                           the report                                                        (safetyreportid) that make
                                           which is                                                          up an IND Safety Report
                                           linked to this                                                    submitted as a result of
                                           report                                                            an Aggregate Analysis as
                                                                                                             per 312.32(c)(1)(i)(C) or
                                                                                                             for several events


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  Data                                                              Field    Element Values for
                DTD Descriptor 3.0         Title     Description                                              Notes
 Element                                                           Length        DTD 3.0
                                                                                                     submitted as per
                                                                                                     (312.32(c)(1)(i)(B)) when
                                                                                                     a Narrative Summary
                                                                                                     Report is provided, this
                                                                                                     field should be populated
                                                                                                     in the IND Safety Report
                                                                                                     that contains the
                                                                                                     Narrative Summary
                                                                                                     Report.
A.2.3.1       <studyname>              Study Name                  100AN     Study                   The Study ID should be
                                                                             ID_$Abbreviated         the same value used in
                                                                             Trial Name              the study tagging file
                                                                                                     format of the eCTD
                                                                                                     submission.
A.2.3.2       <sponsorstudynumb>       Sponsor                     35AN      IND number under        Populate this field with
                                       Study                                 which the clinical      the Primary IND in the
                                       Number                                trial where the event   first block and repeat
                                                                             occurred is             block A.2 with elements
                                                                             conducted               A.2.3.2 and A.2.3.3.as
                                                                                                     noted below with element
                                                                             Use the “Parent”        value= 5 for sponsor’s
                                                                             IND number* for         other INDs evaluating
                                                                             reports submitted       suspect product (where
                                                                             from an Aggregate       applicable)
                                                                             Analysis as per         Include the acronym
                                                                             (312.32(c)(1)(i)(C))    "IND" followed by a
                                                                             or for several events   space and then the IND


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  Data                                                                Field    Element Values for
                DTD Descriptor 3.0         Title       Description                                               Notes
 Element                                                             Length        DTD 3.0
                                                                               submitted as per        number for the
                                                                               (312.32(c)(1)(i)(B)),   application (e.g. IND
                                                                               from trials             123456)
                                                                               conducted under         See Appendix II (Case
                                                                               more than one IND       Scenarios) for additional
                                                                                                       information on how to
                                                                                                       submit reports from
                                                                                                       sponsor’s other INDs
                                                                                                       (Cross-reporting).
A.2.3.3       <observestudytype>       Study type in                 1N        1= Clinical Trials      Required if element value
                                       which the                                                       for A.1.4 is 2=Report
                                       Reaction(s)/                            2= Individual Patient   from Study
                                       Event(s)                                Use (e.g.,
                                       were                                    ‘Compassionate          Repeat this field as
                                       observed                                Use’ or ‘Named          needed with element
                                                                               Patient Basis’)         value= 5 for each Cross-
                                                                                                       reported IND.
                                                                               3= Other Studies
                                                                               (e.g.,                  The first block of this
                                                                               Pharmacoepidemiolo      element in the report
                                                                               gy,                     must not be 5.
                                                                               Pharmacoeconomics,
                                                                               Intensive               If element value 4 is
                                                                               Monitoring)             chosen, then A.1.9= 1.

                                                                               4= Report from          See Appendix II (Case


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  Data                                                              Field    Element Values for
                DTD Descriptor 3.0         Title     Description                                              Notes
 Element                                                           Length        DTD 3.0
                                                                             Aggregate Analysis      Scenarios) for additional
                                                                             as per                  information on how to
                                                                             312.32(c)(1)(i)(C) or   submit reports from an
                                                                             for several events      Aggregate Analysis.
                                                                             submitted as per
                                                                             312.32(c)(1)(i)(B) if
                                                                             a Narrative
                                                                             Summary Report is
                                                                             provided

                                                                             5= Cross-reported
                                                                             IND Safety Report
B.1.1         <patientinitial>         Patient                     10AN                              For a report from an
                                       Identifier                                                    Aggregate Analysis as
                                                                                                     per 312.32(c)(1)(i)(C) or
                                                                                                     for several events
                                                                                                     submitted as per
                                                                                                     312.32(c)(1)(i)(B) if a
                                                                                                     Narrative Summary
                                                                                                     Report is provided, the
                                                                                                     element value should be
                                                                                                     “AGGREGATE”
B.4.k.2.1     <medicinalproduct>       Proprietary                 70AN                              For investigational drug
                                       Medicinal                                                     and biological products
                                       Product                                                       without an established
                                       Name                                                          name (i.e. INN or USAN


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  Data                                                                 Field    Element Values for
                DTD Descriptor 3.0           Title      Description                                            Notes
 Element                                                              Length        DTD 3.0
                                                                                                     name), prior to
                                                                                                     submitting IND safety
                                                                                                     reports to FAERS, the
                                                                                                     sponsor should submit a
                                                                                                     clinical information
                                                                                                     amendment to the IND,
                                                                                                     listing the names of the
                                                                                                     active drug substance/s
                                                                                                     and the medicinal product
                                                                                                     as they will be reported in
                                                                                                     E2B file submissions.
                                                                                                     The names should fit
                                                                                                     within the established
                                                                                                     E2B character length
                                                                                                     limits.
                                                                                                     Use company product
                                                                                                     code if no established
                                                                                                     name, for multi-
                                                                                                     ingredient products, or if
                                                                                                     name exceeds character
                                                                                                     length
B.4.k.2.2     <activesubstancename>       Active Drug                 100AN
                                          Substance
                                          Names
B.4.k.18      <drugreactionrelatedness>   Relatedness                                                For IND Safety Reports,
                                          of Drug to                                                 at least one suspect


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  Data                                                                  Field    Element Values for
                DTD Descriptor 3.0            Title      Description                                            Notes
 Element                                                               Length        DTD 3.0
                                           Reaction/                                                  product should have
                                           Event                                                      relatedness of drug to
                                                                                                      reaction/ event
B.4.k.18.1a   <drugreactionassesmeddra     MedDRA                      8AN
              version>                     Version for
                                           Reaction
                                           Assessed
B.4.k.18.1b   <drugreactionasses>          Reaction                    250AN
                                           Assessed
B.4.k.18.2    <drugassessmentsource>       Source of                   60AN                           Use the value “Sponsor” or
                                           Assessment                                                 “Investigator”. Include
                                                                                                      sponsor and investigator
                                                                                                      assessment when
                                                                                                      reporting both in separate
                                                                                                      blocks
B.4.k.18.3    <drugassessmentmethod>       Method of                   35AN                           Use the value “FDA”.
                                           Assessment
B.4.k.18.4    <drugresult>                 Result                      35AN      1=Suspected          For IND Safety Reports,
                                                                                 2=Not suspected      at least one suspect
                                                                                                      product should have
                                                                                                      relatedness of drug to
                                                                                                      reaction/ event
B.5.1         <narrativeincludeclinical>   Case                        20,000                         FDA strongly encourages
                                           Narrative                   AN                             sponsors to construct
                                           Including                                                  narratives that fit within
                                           Clinical                                                   the ICH E2B character


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 Data                                                              Field    Element Values for
               DTD Descriptor 3.0         Title     Description                                           Notes
Element                                                           Length        DTD 3.0
                                      Course,                                                    limit of 20,000 AN. If
                                      Therapeutic                                                your narrative exceeds
                                      Measures,                                                  this limit, sponsors
                                      Outcome,                                                   should include as much
                                      and                                                        of the narrative as
                                      Additional                                                 possible in this field and
                                      Relevant                                                   submit an ICSR
                                      Information                                                attachment for any text
                                                                                                 that exceeds the character
                                                                                                 limit. Sponsors should
                                                                                                 not submit an ICSR
                                                                                                 attachment containing the
                                                                                                 entire narrative and leave
                                                                                                 the case narrative field
                                                                                                 empty.
                                                                                                 For reports from
                                                                                                 Aggregate Analysis as
                                                                                                 per 312.32(c)(1)(i)(C) or
                                                                                                 for several events
                                                                                                 submitted as per
                                                                                                 312.32(c)(1)(i)(B) where
                                                                                                 PDF is attached, put “see
                                                                                                 attached Narrative
                                                                                                 Summary Report” in this
                                                                                                 field.




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     Data                                                                                          Field        Element Values for
                        DTD Descriptor 3.0                     Title          Description                                                                 Notes
    Element                                                                                       Length            DTD 3.0
   B.5.4             <sendercomment>                      Sender’s                                2000                                        Identification and
                                                          Comments                                AN                                          analysis of previously
                                                                                                                                              submitted events (as
                                                                                                                                              required by 312.32(c)(1))
                                                                                                                                              should be reported in this
                                                                                                                                              field.
*
  The “parent IND” is the IND under which clinical investigations were initiated in the United States. (If the drug is being evaluated in multiple INDs, this is
generally the IND with the lowest number.) NOTE: This may not be the same as the first A.2.3.2 block if the drug is being evaluated under multiple INDs.


    NOTE: See FAERS Webpage for case scenario examples for reporting IND safety reports (e.g., IND safety reports where the sponsor
    is evaluating suspect product under more than one IND, IND safety reports that are a result of an aggregate analysis, and IND safety
    reports with unapproved and approved drugs listed as suspect products).

        J. Data Elements for Electronic Submissions of ICSRs from IND-Exempt Bioavailability (BA)/ Bioequivalence (BE)
           Studies
    For successful processing of your electronic ICSRs submissions for a BA/BE study not conducted under an IND, you should populate
    the following data elements as described in Table 9.

    Table 9.           Data Elements for IND-Exempt BA/BE Studies

    Data                                                                                          Field        Element Values for DTD
                   DTD Descriptor 3.0                      Title             Description                                                                     Notes
   Element                                                                                       Length                 3.0
   A.1.4         <reporttype>                      Type of Report                                1N            1=Spontaneous                        Element value= 2
                                                                                                               2=Report from Study                  for Report from
                                                                                                               3=Other                              Study
                                                                                                               4=Not Available to Sender
                                                                                                               (unknown)


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 Data                                                                     Field    Element Values for DTD
            DTD Descriptor 3.0               Title         Description                                               Notes
Element                                                                  Length             3.0
A.1.9      <fulfillexpeditecriteria>   Does this Case                    1N       1=Yes                        Element value=1
                                       Fulfill the Local                          2=No                         for 15-Day
                                       Criteria for an                            4=5-Day                      Expedited
                                       Expedited                                  5=30-Day                     Or
                                       Report?                                    6=7-Day                      Element value= 6
                                                                                                               for 7-Day
                                                                                                               Expedited
A.2.3.1    <studyname>                 Study Name                        100AN    Abbreviated Trial Name
A.2.3.2    <sponsorstudynumb>          Sponsor Study                     35AN     Pre-ANDA number for the      Include the
                                       Number                                     IND-Exempt BA/BE             acronym "Pre-
                                                                                  Studies                      ANDA" followed
                                                                                                               by a space and then
                                                                                                               the Pre-ANDA
                                                                                                               number for the
                                                                                                               application (e.g.
                                                                                                               Pre-ANDA 123456)
A.2.3.3    <observestudytype>          Study Type in                     1N       1= Clinical Trials           Element value=“1”
                                       Which the                                                               for Clinical Trials.
                                       Reaction(s)/                               2= Individual Patient Use
                                       Event(s) were                              (e.g., ‘Compassionate Use’
                                       Observed                                   or ‘Named Patient Basis’)

                                                                                  3= Other Studies (e.g.,
                                                                                  Pharmacoepidemiology,
                                                                                  Pharmacoeconomics,
                                                                                  Intensive Monitoring)

                                                                                  4= Report from Aggregate
                                                                                  Analysis as per
                                                                                  312.32(c)(1)(i)(C) or for


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 Data                                                                  Field    Element Values for DTD
             DTD Descriptor 3.0            Title        Description                                                   Notes
Element                                                               Length             3.0
                                                                                Several Events Submitted
                                                                                as per 312.32(c)(1)(i)(B) if
                                                                                a Narrative Summary
                                                                                Report is Provided

                                                                                5= Cross-Reported IND
                                                                                Safety Report
B.4.k.2.1   <medicinalproduct>       Proprietary                      70AN
                                     Medicinal
                                     Product Name

B.4.k.1     <drugcharacterization>   Characterization                 1N       1 = Suspect                     For no exposure to a
                                     of drug role                              2 = Concomitant                 study drug use
                                                                               3 = Interacting                 4=Drug not
                                                                                                               administered
                                                                               4 = Drug not administered
B.4.k.2.2   <activesubstancename>    Active Drug                      100AN
                                     Substance Name


B.4.k.19    <drugadditional>         Additional                       100AN     1 = Test drug                  Specify whether the
                                     Information on                             2 = Reference drug             product exposed is
                                     Drug                                       3 = Placebo/Vehicle            the Test drug,
                                                                                4 = Control (negative or       Reference drug,
                                                                                positive)                      Placebo, Vehicle,
                                                                                5 = Other drug                 Control or Other
                                                                                                               drug




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VI.    ELECTRONIC FORMAT FOR ICSR ATTACHMENTS

  FDA can accept and archive ICSR attachments in PDF format. Currently approved formats for the non-
  structured component of an ICSR, such as ICSR attachments, are PDF versions 1.4 (current ICH
  standard) or 1.6 (current version in use at FDA). An ICSR attachment should be electronically
  submitted to FAERS after the associated ICSR has been submitted and accepted by FAERS.

       A. Converting the ICSR Attachment to PDF
  Applicants should provide an individual PDF file for each ICSR attachment. If you are submitting
  multiple ICSR attachments for a particular ICSR, include each attachment in the same PDF file and
  provide a PDF bookmark to distinguish each attachment. For example, if you are submitting a hospital
  discharge summary and an autopsy report for a single ICSR, include both in a single PDF file with a
  bookmark to the hospital discharge summary and a bookmark to the autopsy report.

       B. Identification Information in the PDF Document Information Fields
  Each PDF file contains fields to be completed by the author of the document. FAERS uses these fields
  to locate and retrieve the attachments to specific ICSRs. To enable FDA to match the attachment(s) to
  the correct ICSR, applicants should fill in the PDF document information fields with the appropriate
  E2B(R2) data elements for the ICSR as indicated in Table 10.




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   Table 10.          Document Information Fields in ICSR Attachments

           PDF Document              Include/
                                                                 Document Information*            Length
          Information Field          Optional
          Title                    Include           A.1.0.1 <safetyreportid>                    100AN
                                                     Sender’s (Case) Safety Report Unique
                                                     Identifier
          Subject                  Include           A.1.10.1 <authoritynumb> Regulatory         100AN
                                                     Authority’s Case Report Number
                                                     OR
                                                     A.1.10.2 <companynumb>
                                                     Other Sender’s Case Report Number

          Author                   Optional          A.1.11.2 <duplicatenumb> Other              100AN
                                                     Identification Number

          Keywords                 Optional          A.1.7b <receiptdate>                        8N
                                                     Date of Receipt of the Most Recent
                                                     Information for this ICSR
         * The information refers to the data elements in E2B(R2)




   In addition:

         •   Use the ISO-8859-1 character set for the information fields.

         •   Do not exceed the character length indicated above for each information field.

         •   Avoid creating any custom fields with names identical to the information fields listed in Table
             10.

   If you need assistance, you can contact the FAERS electronic submission coordinator at
   faersesub@fda.hhs.gov.


VII.     SUBMISSION RULES

   The submission rules define the condition that shall result in a negative acknowledgement and not be
   accepted by FAERS.




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  Table 111.     Submission Rules and Acknowledgement Status
Data           DTD Descriptor       Rejection Rule Description            Acknowledgement
Element        2.1/2.2/3.0
NA             NA                   ICSR submitted via AS2 Header         reportacknowledgmentcode
                                    where XML file: AERS                  (B.1.8) = 02
                                    or
                                    Routing ID where XML file:
                                    FDA_AERS and using DTD 3.0
NA             NA                   ICSR submitted via AS2 Header         reportacknowledgmentcode
                                    where XML file:                       (B.1.8) = 02
                                    AERS_PREMKT
                                    or
                                    Routing ID where XML file:
                                    FDA_AERS_PREMKT and using
                                    DTD 2.1 or 2.2
A.1.FDA.16 <fdasafetyreporttype>    ICSR submitted via AS2 Header reportacknowledgmentcode
                                    where XML file: AERS_PREMKT (B.1.8) = 02
                                    or
                                    Routing ID where XML file:
                                    FDA_AERS_PREMKT using
                                    DTD 3.0 and data value is empty
A.2.3.2        <sponsorstudynumb>   ICSR submitted via AS2 Header reportacknowledgmentcode
                                    where XML file: AERS_PREMKT (B.1.8) = 02
                                    or
                                    Routing ID where XML file:
                                    FDA_AERS_PREMKT using
                                    DTD 3.0 and data value is empty
                                    or not prefixed with ‘IND’ or ‘Pre-
                                    ANDA’




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 APPENDIX I. EXAMPLES OF CORRECT AND INCORRECT APPLICATION NUMBER AND DRUG ELEMENT
 FORMATS

 Table 122.     Examples of Application Number Formats and Drug Element Formats

                        Examples of Application Number Format                                       Comment
Correct       <drugauthorizationnumb>NDA 012345</drugauthorizationnumb>

Correct       <drugauthorizationnumb>BLA 123456</drugauthorizationnumb>

Correct       <drugauthorizationnumb>NDA 012345</drugauthorizationnumb>
              <drugauthorizationholder>COMPANYX</drugauthorizationholder>

Incorrect     <drugauthorizationnumb>123456/10300</drugauthorizationnumb>            Use the appropriate prefix for the
                                                                                     NDA/ ANDA/ STN/ BLA/ PLA. Do not
                                                                                     include additional data after the
                                                                                     application number
Incorrect     <drugauthorizationnumb>NDA 12-345;IND12,345 </drugauthorizationnumb>   Omit hyphens and commas in the
                                                                                     application number. Do not populate the
                                                                                     tag with two application numbers
Incorrect     <drugauthorizationnumb>OTC Product</drugauthorizationnumb>             For a non-prescription drug product
                                                                                     marketed without an approved application
                                                                                     (Non-Rx No Application), use “999999"

Incorrect     <drugauthorizationnumb>NDA                                             Do not populate the company name in the
              012345(COMPANYX)</drugauthorizationnumb>                               <drugauthorizationnumb> tag
              <drugauthorizationholder></drugauthorizationholder>


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                         Examples of Application Number Format                                   Comment
Correct     <medicinalproduct>TYLENOL</medicinalproduct>
            <activesubstancename>ACETAMINOPHEN</activesubstancename>

Correct     <medicinalproduct>MIRACLE WONDER DRUG</medicinalproduct>
            <activesubstancename>ACETAMINOPHEN</activesubstancename>

Incorrect   <medicinalproduct>AMAZING DRUG OTC®</medicinalproduct>
            <activesubstancename>ACETAMINOPHEN 500 mg</activesubstancename>

Incorrect   <medicinalproduct>NEW DRUG 40 mcg/mL</medicinalproduct>
            <activesubstancename>NEWSUBSTANCE Inj </activesubstancename>

Incorrect   <medicinalproduct>MWD</medicinalproduct>                              Do not use abbreviations for the brand
            <activesubstancename>APAP</activesubstancename>                       name or active substance in the
                                                                                  <medicinalproduct> and
                                                                                  <activesubstance>
                                                                                  tags




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APPENDIX II. CASE SCENARIOS FOR IND SAFETY REPORTS SUBMITTED TO
FAERS

The following case scenarios are intended to provide examples to sponsors on the use of ICH
E2B data standard elements for submission of IND safety reports to FAERS that may differ from
postmarketing safety reports.
1. For any IND safety report where the sponsor is evaluating the suspect product under more
   than one IND (i.e. “Cross-reporting”)
       a. Repeat block A.2 for each IND
              i. Use first block A.2 to designate IND where the event occurred = “primary
                 IND”
                     1. A.2.3.2 = primary IND
                     2. A.2.3.3 = data value could either be 1, 2, 3, or 4
                     3. Other relevant information for the report to be populated in block A.2
              ii. Repeat block A.2 as many times as needed with only the following data
                  elements for each IND that the sponsor holds where that suspect product is
                  being evaluated:
                     1. A.2.3.2 = IND number for each cross-reported IND
                     and
                     2. A.2.3.3 = 5

Table 133.    Case Scenario 1. For IND Safety Reports Submitted to FAERS
  Data
             DTD Descriptor 3.0           Title              Element Values for DTD
 Element
 A.2.3.2     <sponsorstudynumb>       Sponsor           IND number under which the Clinical
                                      Study             Trial where the event occurred is
                                      Number            conducted




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  Data
             DTD Descriptor 3.0            Title                Element Values for DTD
 Element
 A.2.3.3     <observestudytype>        Study Type in      1= Clinical Trial
                                       Which the
                                       Reaction(s)        2= Individual Patient Use (e.g.
                                       were               ‘Compassionate Use’ or ‘Named
                                       observed           Patient Basis’)

                                                          3= Other Studies (e.g.
                                                          Pharmacoepidemiology,
                                                          Pharmacoeconomics, Intensive
                                                          Monitoring)

                                                          4= Report from Aggregate Analysis
                                                          312.32(c)(1)(i)(C) or for several
                                                          events submitted as per
                                                          312.32(c)(1)(i)(B) if a Narrative
                                                          Summary report is provided.

                                                          5=Cross-reported IND safety report


2. For an IND safety report that is a result of an aggregate analysis as per 312.32(c)(1)(i)(C) or
   for several events submitted as per 312.32(c)(1)(i)(B) if a narrative summary report is
   provided:
       a. Submit one IND safety report with the IND where the event occurred in A.2.3.2
          <sponsorstudynumb> (or the “parent” IND if the events occurred in multiple INDs).
           For this IND safety report, populate the data elements below in addition to other
           relevant information regarding the event and suspect product.
               i. Use data element = 4 in A.2.3.3<observestudytype>
               ii. Use the term “AGGREGATE” in B.1.1 <patientinitial>
       b. Section VII.A.2. of the FDA Guidance for Industry – “Safety Reporting Requirements
          for INDs and BA/BE Studies” (December 2012) discusses several submission
          requirements for IND safety reports that are a result of an aggregate analysis. The
          following two sections describe these submission elements and how they are
          accomplished with electronic submission to FAERS.
                      1. The guidance states that IND safety reports that are a result of an
                         aggregate analysis should contain a narrative description of the event
                         and the results of the analysis (hereafter referred to as a “narrative

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                         summary report”). For IND reports submitted to FAERS, attach the
                         narrative summary report to the IND safety report as a PDF attachment
                         (do not put the narrative summary report in the E2B narrative field).
                             a. These instructions also apply to several events submitted as per
                                312.32(c)(1)(i)(B) if a narrative summary report is provided.
                      2. The guidance states that all the individual cases that were analyzed in
                         the aggregate analysis should be submitted. Use the repeatable block
                         A.1.12 to link all the safety report numbers for the individual
                         supportive ICSRs (i.e. the numbers in A.1.0.1 for all the individual
                         cases that are summarized in the narrative summary report).

                             a. These instructions also apply to several events submitted as per
                                312.32(c)(1)(i)(B) if a narrative summary report is provided.
                             b. IND safety reports previously submitted as ICSRs to FAERS
                                do not have to be resubmitted (place the safety report numbers
                                for these previously submitted reports in A.1.12).
                             c. For IND safety reports previously submitted in eCTD format,
                                the sponsor should list the eCTD sequence number and date of
                                submission in the narrative summary report. (The eCTD
                                sequence number is the unique four-digit number for each IND
                                submission the sponsor submits in the us-regional.xml file for
                                the eCTD submission.)
                             d. IND safety reports previously submitted on paper should be
                                attached to the IND safety report as PDF attachments.

 Table 144.    Case Scenario 2. For IND Safety Reports Submitted to FAERS
 Data
              DTD Descriptor 3.0          Title                 Element Values for DTD
Element
A.1.12    <linkreportnumb>            Identification    Used to link all individual cases
                                      number of         (safetyreportid) that make up an IND
                                      the report(s)     Safety Report submitted as a result of an
                                      which are         Aggregate Analysis as per
                                      linked to this    312.32(c)(1)(i)(C) or for several events
                                      report            submitted as per 312.32(c)(1)(i)(B) if a
                                                        narrative summary report is provided
A.2.3.2   <sponsorstudynumb>          Sponsor           IND number under which the Clinical Trial
                                      Study             where the event occurred is conducted
                                      Number


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 Data
                DTD Descriptor 3.0         Title               Element Values for DTD
Element
A.2.3.3     <observestudytype>         Study Type      1= Clinical Trials
                                       in Which the
                                       Reaction(s)     2= Individual Patient Use (e.g.
                                       were            ‘Compassionate Use’ or ‘Named Patient
                                       Observed        Basis’)

                                                       3= Other Studies (e.g.
                                                       Pharmacoepidemiology,
                                                       Pharmacoeconomics, Intensive
                                                       Monitoring)

                                                       4= Report from Aggregate Analysis
                                                       312.32(c)(1)(i)(C)

                                                       5=Cross-reported IND safety report
B.1.1       <patientinitial>           Patient         For a Report from an Aggregate Analysis,
                                       Identifier      the element value should be
                                                       “AGGREGATE”


 3. For adverse events that occur with a marketed drug being evaluated under an IND that meets
    both IND and post-marketing safety reporting requirements (21 CFR 312.32 and 314.80,
    600.80, or 310.305), sponsors must submit two separate ICSRs:
          a. for the marketed drug for the NDA/BLA
          and
          b. for the study drug for the IND (IND number in A.2.3.2)




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APPENDIX III. CASE SCENARIOS FOR SAFETY REPORTS FROM IND-EXEMPT
BA/BE STUDIES TO FAERS

Table 15 illustrates the ICH E2B data elements and element values for each IND-exempt BA/BE
study exposure scenario described below:


Scenario 1: Exposure to a study drug:
This scenario applies to all drugs specified in the study protocol. For example, if a BA/BE study
protocol for a generic opiate includes administration of naltrexone to each study subject prior to
administration of a test or reference drug, naltrexone is a study drug, although it is not the test or
reference drug. Similarly, a selective 5-HT3 receptor antagonist to prevent nausea and vomiting
is considered a study drug if the BA/BE study protocol states that the drug is administered to
each study subject prior to administration of a test or reference drug.


Scenario 2: Exposure to an other drug:
Other drugs are drugs taken by or administered to a subject that are not part of study conduct per
protocol. For example, a subject with a diagnosis of hypertension has normal blood pressure
while treated with a beta blocker. The subject meets study enrollment criteria and continues to
take his beta blocker during study participation. In this situation, the beta blocker is an other
drug. Similarly, if a subject develops symptoms of heartburn during participation in a BA/BE
study and is permitted, by the investigator, to use a nonprescription antacid or H2 blocker for
symptomatic relief, the nonprescription drug taken by the subject is an other drug.


Scenario 3: No exposure to a study drug:
A serious adverse event a subject experiences after enrollment to the study, but prior to exposure
to a study drug, is subject to the expedited safety reporting requirement. To report a serious
adverse event with no study drug exposure, the submitter should select values as shown in the
Table 15, Scenario 3.




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 Table 155.     ICH E2B Data Element & Value Selections for IND-Exempt BA/BE Study
 Exposures
  Drug Exposure Scenario Data Element       Element Values
                           B.4.k.1          Select one element value
                           B.4.k.2.1        Proprietary medicinal product name
                           B.4.k.2.2        Drug substance name
  Scenario 1:
                                            Select one from the following:
  Exposure to a study
  drug                                      1 = Test drug
                           B.4.k.19         2 = Reference drug
                                            3 = Placebo/Vehicle
                                            4 = Control (negative or positive)
  Scenario 2:              B.4.k.1          Select one element value
  Exposure to an other     B.4.k.2.1        Proprietary medicinal product name
  drug
                           B.4.k.2.2        Drug substance name
                           B.4.k.19         5 = Other drug
  Scenario 3:              B.4.k.1          4 = Drug not administered
  No exposure to a study   B.4.k.2.1        Proprietary medicinal product name
  drug
                           B.4.k.2.2        Drug substance name
                           B.4.k.19         1 = Test drug




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                Exhibit 36
           Declaration of James Studnicki




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               DECLARATION OF JAMES STUDNICKI, SC.D., MPH, MBA
       1.      I, James Studnicki, state under oath that I am of at least 18 years of age, and that I

am competent to testify as follows.

                          BACKGROUND AND QUALIFICATIONS

       2.      I am Vice President and Director of Data Analytics for the Charlotte Lozier

Institute. From 2006 to 2016, I was the Irwin Belk Endowed Chair in Health Services Research,

and Professor of Public Health Sciences, at the University of North Carolina, Charlotte, College

of Health and Human Services. I was the first Director of the Master of Health Science (M.H.S.)

Program in Health Finance and Management at the Johns Hopkins School of Hygiene and Public

Health, where I served as a faculty member for 13 years. Subsequently, I was Chairman,

Department of Health Policy and Management, and Director, Center for Health Outcomes

Research, at the University of South Florida Health Sciences Center. I have also been a senior

hospital executive and President of a technology company, which was started in a University

incubator.

       3.      My research has focused on health services research, in particular the use of large-

scale databases, and associated information technology, in analyzing outcomes at the patient,

hospital, and community levels. I have been a frequent contributor to the health services research

and public health systems and services research literatures. My publications have appeared in some

of the most influential journals in public health, medical care and information technology/sciences.

I have been a winner of the Article of the Year award given annually by the Public Health Systems

Research (PHSR) interest group of Academy Health.

       4.      My work has contributed to many important research domains: quality comparisons

between U.S.-trained and foreign-trained physicians; the regionalization of complex surgical

procedures; data pattern recognition strategies; sub-population analytics; racial disparity in effects

                                                  2


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of abortion; community health status and priority determination; hospital admissions from the

emergency room; career phase, workload composition, and outcomes for general surgeons;

community networks, websites, and report cards; complex adaptive systems and surgery; data

warehousing in bioterrorism surveillance; rating the health status of American communities;

malpractice claims against hospital defendants; intensive care, survival, and treatment of

terminally ill cancer patients; excessive clinical laboratory testing; state high-risk health insurance

pools; cybernetic systems and inappropriate hospital utilization; multi-hospital systems;

correlation, scaling, and sensitivity of medical audits; and state Certification of Need programs.

         5.    I hold both Doctor of Science (Sc.D.) and Master of Public Health (M.P.H.) degrees

from Johns Hopkins University and a Master of Business Administration (M.B.A.) degree from

the George Washington University. A copy of my curriculum vitae is attached as Exhibit “A”.

                  EMERGENCY ROOM UTILIZATION FOLLOWING
               MIFEPRISTONE ABORTION AND SURGICAL ABORTIONS

         6.    In 2021, I published a peer-reviewed study with seven other coauthors in Health

Services Research and Managerial Epidemiology entitled “A Longitudinal Cohort Study of

Emergency Room Utilization Following Mifepristone Chemical and Surgical Abortions, 1999–

2015.”

         7.    In this research, we completed the first (and, to our best knowledge, only)

population-based longitudinal cohort study of post abortion emergency room utilization following

chemical mifepristone abortions and surgical abortions.

         8.    A previous study “categorized whether visits were abortion related based only on

information taken from the ER visit record. There was no independent confirmation from a

different source that an abortion had occurred.” Id. at 2.




                                                  3


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        9.      The 2021 study, in contrast, relied on cases in states where Medicaid paid for

abortion, so there was a confirmed “code payment for mifepristone abortion, thus eliminating the

need for the treating physician to recognize a complication from a chemical abortion.” Id. at 7. The

study looked at “every emergency room visit occurring within thirty days” of the abortion and

“disaggregated ER visits into 3 categories: all-cause, abortion-related codes (ICD-9, 630-639) and

spontaneous abortion code (ICD-9, 634).” Id. at 3.

        10.     We identified 423,000 confirmed induced abortions and 121,283 subsequent ER

visits that occurred within 30 days of the procedure, in the years 1999-2015 to Medicaid-eligible

women over 13 years of age with at least one pregnancy outcome, in the 17 states that provide

public funding for abortion.

        11.     The study made two important findings. First, “Regression analysis definitively

supports the hypothesis that chemical abortion is associated with more frequent emergency room

visits of all kinds.” Id. at 6. We concluded that the actual number and per-abortion rate of ER visits

following any induced abortion were increasing, but chemical abortion was consistently associated

with more post abortion ER visit morbidity than surgical abortion. While surgical abortions led to

ER visits 4% to 5% of the time, the percentage for chemical abortions leading to ER visits was 8%

to 9% between 2002 and 2013, increasing to a peak of 14.6% from 2014 to 2015. Thus, “an ER

visit is significantly more likely to occur following a prior chemical abortion than following a prior

surgical abortion.” Id. at 5.

        12.     This increased ER rate may be because “adverse events following a mifepristone

abortion are more likely to be experienced at home in the absence of a physician,” id. at 2, and

because chemical abortions are sometimes provided by clinicians who lack surgical knowledge

“to handle complications after chemical abortions,” id. at 7.



                                                  4


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        13.     Second, “Treatment in the ER miscoded as for spontaneous abortion is consistently

and progressively more likely following a chemical abortion than following a surgical abortion.”

Id. at 4. “Spontaneous abortion” is another term for natural miscarriage. Because the study sample

included women who were already confirmed by medical records to have received an abortion

within the previous 30 days, the study was able to ascertain whether follow-up emergency room

care was correctly coded as a complication from abortion or incorrectly coded as a complication

from a miscarriage. The study determined, “As a percent of abortion-related visits (ICD-9, 630-

639), visits miscoded for spontaneous abortion treatments (ICD-9, 634) following a confirmed

mifepristone abortion averaged approximately 30% between 2003 and 2012 and increased between

2013 and 2015, reaching 60.9%.” Id. at 4. This was “2 to 4 times as likely” as miscoding after a

surgical abortion. Id. at 3.

        14.     This may help explain why “[a]bortion studies in the United States consistently

report lower postabortion complication rates than are documented in the international scientific

literature.” Id. at 7. Due to miscoding, up to 60.9% of abortion complications from chemical

abortions “would have been invisible to previous researchers, resulting in a large underestimation

of actual mifepristone abortion complications.” Id. “There are likely multiple reasons for this

discrepancy, but among them are the miscoding of abortion-related complications by the provider

and the nondisclosure of prior abortion history by the patient.” Id. Also, “some abortion advocates

encourage women to withhold information if seeking treatment for an adverse event.” Id.

        15.     “These findings are especially consequential because they are derived directly from

all paid medical claims records, unlike most other studies of abortion complications which involve

voluntary survey reporting and/or a more limited query of a select set of treatment codes.” Id.




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     16.      The 2021 study made several other findings:

           a. Chemical abortions as a percentage of total abortions among the study population

              grew from 4.4% in 2002 to 34.1% in 2015;

           b. For the entire 17-year study period (1999-2015), all three types of emergency room

              visits are significantly more likely to occur within 30 days of the chemical abortion

              procedure. Any type of visit (i.e. all-cause ER visit) is 1.22 times more likely to

              occur following chemical rather than surgical abortion. An abortion-related ER

              visit is 1.53 times as likely; and, a miscoded spontaneous abortion ER visit is 1.88

              times more likely following a chemical abortion.

           c. Between 2002 and 2015, abortion related ER visits as a percentage of total ER visits

              was consistently about twice as high for chemical abortions as surgical abortions,

              reaching 14.6% versus 6.2% in 2015.

           d. ER visits miscoded as spontaneous abortion as a percentage of all ER visits, from

              2005 to 2015, went from 2 to nearly 4 times as likely following a chemical rather

              than a surgical abortion, reaching 8.9% of total visits versus 2.4% in 2015.

           e. Visits miscoded as spontaneous abortion as a percentage of abortion-related visits

              following chemical abortion reached 60.9% in 2015, compared to 39% following

              surgical abortion.

           f. The surgical abortion rate of ER visits per 1,000 abortions increased from 5.3 in

              2002 to 22.0 in 2015, an increase of 315%. The chemical abortion rate of ER visits

              per 1,000 abortions increased from 8.5 to 51.7 during the same time period, an

              increase of 507%.




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             g. By the final observation year, 2015, more than 35% of women having any type of

                induced abortion were having an ER visit for some reason within 30 days of the

                procedure.

                HIGHER HOSPITALIZATION RATES FROM MISCODING

       17.      In 2022, I published a peer-review study with eight other coauthors, also in Health

Services Research and Managerial Epidemiology, entitled “A Post Hoc Exploratory Analysis:

Induced Abortion Complications Mistaken for Miscarriage in the Emergency Room are a Risk

Factor for Hospitalization.” This paper analyzed the same data as the 2021 paper.

       18.      Out of 423,000 confirmed induced abortions, 121,283 abortion recipients, or

28.7%, had an ER visit within 30 days.

       19.      A subset of those patients were admitted to the hospital, and patients who had

received chemical abortions were admitted at higher rates. “Chemical abortions are significantly

more likely (OR 1.80, CL 1.38-2.35) than surgical abortions to result in an RPOC [retained

products of conception] admission and chemical abortions miscoded in the ER are more likely

(OR 2.18, CL 1.65-2.88) than abortions without miscoding to have a subsequent RPOC

admission.” Id. at 2.

       20.      In particular, chemical abortions concealed by miscoding were 2.18 times more

likely to result in a subsequent hospital admission for the removal of retained products of

conception (RPOC) than chemical abortions without miscoding. Chemical abortion patients also

“did exhibit a striking pattern of multiple admissions (3.2 per patient) for those women who were

subsequently admitted compared to 1.8 admissions per woman whose abortion was not miscoded.”

Id.




                                                 7


                                                                                          App. 0591
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       21. The paper concluded, “It is important for emergency room personnel to obtain an

accurate history when faced with an incomplete induced abortion,” and “A patient’s concealment

of a chemical abortion, and/or the ER staffs’ failure to identify the failed abortion attempt, are risk

factors for multiple hospital admissions and delayed provision of necessary surgical treatment,

compared with care for those whose abortion is not miscoded.” Id. at 3.




I declare under penalty of perjury that the foregoing is true and correct.




                                                  8


                                                                                            App. 0592
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                                     BIBLIOGRAPHY
Studnicki J, Harrison DJ, Longbons T, et al., 2021. "A Longitudinal Cohort Study of Emergency
       Room Utilization Following Mifepristone Chemical and Surgical Abortions, 1999–
       2015." Health Services Research and Managerial Epidemiology. 2021;8.
       doi:10.1177/23333928211053965
Studnicki J, Longbons T, Harrison DJ, et al., 2022. "A Post Hoc Exploratory Analysis: Induced
       Abortion Complications Mistaken for Miscarriage in the Emergency Room are a Risk
       Factor for Hospitalization." Health Services Research and Managerial Epidemiology.
       2022;9. doi:10.1177/23333928221103107




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               Exhibit 37
   Declaration of Priscilla K. Coleman, Ph.D.




                                                                      App. 0594
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                  DECLARATION OF PRISCILLA K. COLEMAN, PH.D
       1.      I am over 18 years of age, have personal knowledge of the matters set forth here,

and am competent to make this declaration. The opinions here are mine alone, and they do not

represent those of any group.

       2.      I was retained by the Missouri Attorney General’s Office to address topics that are

within my areas of expertise and have relevance to this case.

I.     BACKGROUND AND QUALIFICATIONS

       3.      I am a developmental psychologist and retired Professor of Human Development

and Family Studies (HDFS) at Bowling Green State University (BGSU) in Ohio. I was a full-time

employee at BGSU for 20 years. I received promotion to Associate Professor with tenure in 2005,

and promotion to Full Professor in 2010. As a faculty member in HDFS, I was responsible for

teaching the following undergraduate courses: Adolescent Development, Child Development,

Life-Span Development, Parenting Processes, and Research Methods. I also advised

approximately 30-60 students enrolled in the HDFS major each year, and I served on various

committees at the Program, School, College, and University levels at BGSU. I have a B.A. in

Psychology, an M.A. in General Psychology, and a Ph.D. in Life-Span Developmental

Psychology. A current copy of my CV may be found at the very end of this declaration, entitled

Exhibit A.

       4.      I have published over 60 peer-reviewed journal articles, with the majority related

to the psychology of abortion (reproductive decision-making, psychological outcomes associated

with abortion, and risk factors that increase the probability of women experiencing post-abortion

mental-health declines). Based on my expertise, I often serve as an expert in civil cases involving

abortion. I have given invited presentations in parliament houses in Great Britain, Northern

Ireland, New South Wales, and Queensland, and I have testified before state legislative bodies and


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                                                                                          App. 0595
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before a U.S. congressional committee.

          5.     My training as a developmental research psychologist equips me to evaluate the

methodological strengths and weaknesses of studies across various disciplines. I have numerous

professional experiences relevant to my expertise as a methodologist. Among the most significant

are doctoral-level methodology training, extensive editorial board and reviewer experience for

academic journals, a reviewer for two professional organizations’ literature reviews on abortion

and mental health (American Psychological Association and the National Collaborating Centre for

Mental Health (NCCMH) Royal College of Psychiatrists), and teaching undergraduate and

graduate research methods for 30 years.

          6.     The statements in this declaration are based on my education, professional

experience, the research I have conducted, and my extensive and ongoing review of abortion

decision-making and complications literature. The references to peer-reviewed publications in this

report have been formative in shaping my opinions on the issues I address, as have other

publications too numerous to mention in my ongoing review of scientific literature. I hold the

opinions expressed in this report to be true to a reasonable degree of scientific certainty.

          7.     My career spans three decades, with publications in highly reputable academic

journals. An “Impact Factor” is an index of the reputation of a journal within a discipline, and the

measure incorporates the frequency an average article in a journal is cited. The majority of my

publications have been in journals with Impact Factors exceeding the average for psychology

(1.39) and medicine (2.90). 1 Eleven of the journals I have published in are in the top 20% of

journals across all disciplines according to Journal Citation Reports (impact factor at or above 3.0).

On Google Scholar, there are 7,686 peer-reviewed citations to my scholarship. Google Scholar



1
    Althouse et al., 2009.


                                                  2

                                                                                               App. 0596
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also reports the h-index, or Hirsch index, which measures the impact of a scientist based on the

total number of publications and citations to publications. Hirsch (2005) estimated that after 20

years a “successful scientist” would have a score of 20; my current h-index is 35. There is evidence

that scores tend to be lower in the social and behavioral sciences, even in top ranking programs.

For example, Barner et al. (2015) reported the average h-index of faculty affiliated with 25 highly

ranked psychology programs was 15.67; my score is over twice as high. Finally, I am a member

of Research Gate, a global community of scholars. According to Research Gate, my journal articles

have been read 80,253 times, and my “Research Interest” score is 2,563—higher than 97% of

affiliated scholars.

        8.      As outlined in my CV, I have been invited to share my research and analysis of

peer-reviewed studies conducted by others in numerous countries (Australia, Canada, Chili,

Ecuador, England, Germany, Ireland, Northern Ireland, Poland, Portugal, and Scotland) to wide

ranging audiences, most notably in Parliament Houses as medical and government personnel

evaluated current and/or future laws regulating abortion.

        9.      My research has been deemed reliable and utilized in courts across the U.S. as a

basis for informed consent, waiting period, and mandatory counseling laws. Particularly

noteworthy, my research factored heavily into the decision in Planned Parenthood Minn., N.D.,

S.D. v. Rounds, 686 F.3d 889, 895 (8th Cir. 2012). The First District Court of Appeals for the State

of Florida also cited favorably my declaration as an expert witness assisting the State in defending

a 24-hour waiting period bill. State v. Gainesville Woman Care, LLC, 278 So. 3d 216, 221 (Fla.

App. 2019).

II.     General Mental Health Risks Associated with Abortion

        10.     A number of studies affirm abortion generally as a risk factor for adverse emotional




                                                 3

                                                                                           App. 0597
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and psychological outcomes that may require medical or psychological treatment.

       11.     Abortion evokes powerful negative emotions in a significant percentage of

women. 2 This is reflected in “A Clinician’s Guide to Medical and Surgical Abortion,” 3 a textbook

for training abortion providers. The chapter on counseling outlines adverse reactions that women

may experience after abortion, including depression, severe guilt, shame, and unresolved grief. 4

       12.     Depression may include crying, suicidal ideation, poor performance in school or

work, loss of interest in activities, and feelings of worthlessness. Symptoms of severe guilt might

entail self-punishing behaviors, such as substance abuse or indiscriminate sexual activity,

nightmares about killing or saving babies, blocking out the experience, avoiding anything that

triggers memories of the event, fearing God’s punishment, and interpreting misfortune, illness, or

accident as signs of God’s punishment. Symptoms of shame include relentless thoughts of being

a bad person, engaging in self-destructive behaviors, and fear of anyone finding out about the

abortion.

       13.     The number of negative emotional responses to abortion a woman experiences is a

significant predictor of subsequent mental health disorders. 5

       14.     Hundreds of peer-reviewed studies identify adverse mental health outcomes

directly associated with abortion generally. This literature base reveals that women who choose

abortion—compared to those who carry their pregnancies to term—experience an increased risk

of mental health problems, including substance abuse, anxiety, depression, suicidal ideation, and




2
  Kero, Hogberg, & Lalos, 2004; Kero & Lalos, 2000; Kimport, 2012; Kimport, Foster, & Weitz,
2011; Söderberg, Janzon, & Sjöberg, 1998.
3
  Paul, et al., 199.
4
  Baker, 1999.
5
  2009 longitudinal study by Fergusson and colleagues.


                                                 4

                                                                                          App. 0598
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suicide, among other conditions and symptoms. 6

               a.     For instance, in a U.S. sample, after extensive controls for other pregnancy

                      outcomes and sociodemographic variables, abortion was associated with

                      increased overall risk of mental health disorders (OR:1.45). A Population

                      Attributable Risk analysis showed 8.7% of the prevalence of mental

                      disorders was attributable to abortion. 7

               b.     A large Chinese study determined that abortion was related to increased risk

                      of depression (OR: 1.381) and anxiety (OR: 1.211) in the first trimester of

                      a later pregnancy, after controlling for age, education, pre-pregnancy MBI,

                      income, and residence. 8

               c.     A study of German women determined that induced abortion was positively

                      associated with the elevated risk of psychiatric disorders. 9

               d.     An Italian study found that women were more than two times more likely

                      to commit suicide after an abortion (compared to after a birth). 10

               e.     A study of Finnish women found a similar twofold increased risk of suicide,




6
  Bradshaw & Slade, 2003; Coleman et al., 2002a, 2002b; Coleman, 2005, 2006; Cougle et al.,
2003, 2005; Dingle, 2008; Fergusson et al., 2006, 2008; Gissler et al., 2005; 2015; Mccarthy, 2015;
Pedersen, 2007, 2008; Reardon et al., 2003; Rees & Sabia, 2007; Sullins, 2016.
7
  Sullins D. P. (2016). Abortion, substance abuse and mental health in early adulthood: Thirteen-
year longitudinal evidence from the United States. SAGE Open Medicine, 4.
8
  Gong, X., Hao, J., Tao, F., Zhang, J., Wang, H., & Xu, R. (2013). Pregnancy loss and anxiety
and depression during subsequent pregnancies: Data from the C-ABC study. European Journal of
Obstetrics, Gynecology, and Reproductive Biology, 166(1), 30–36.
9
  Jacob, L., Gerhard, C., Kostev, K., & Kalder, M. (2019) (finding ORs ranging from 1.75 to 2.01,
including induced-abortion-predicted depression (HR=1.34), adjustment disorder (HR=1.45), and
somatoform disorder (HR=1.56)).
10
   Lega, I., Maraschini, A., D’Aloja, P., Andreozzi, S., Spettoli, D., Giangreco, M., Vichi, M.,
Loghi, M., Donati, S., & Regional Maternal Mortality Working Group (2020). Maternal suicide in
Italy. Archives of Women's Mental Health, 23(2), 199–206.


                                                 5

                                                                                            App. 0599
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                      even after implementation of new guidelines requiring post-abortion

                      follow-up sessions at 2-3 weeks to monitor women’s mental health. 11

               f.     A Chinese study found the odds of suicide was nearly two times as likely in

                      unmarried women who had an abortion compared to those who gave birth. 12

       15.     The above findings are also supported by a meta-analysis I published, entitled

“Abortion and Mental Health: A Quantitative Synthesis and Analysis of Research Published from

1995-2009” in the British Journal of Psychiatry in 2011.

       16.     My review offers the largest quantitative estimate of mental health risks associated

with abortion available in the world. After applying methodological selection criteria and

extraction rules to minimize bias, the sample consisted of 22 studies, 36 measures of effect, and

877,297 participants (163,880 of whom experienced an abortion). 13

       17.     My review revealed that women who aborted (compared to women who did not)

experienced an 81% increased risk for mental health problems. Following an unintended

pregnancy, women who aborted had a 55% increased risk of mental health problems. 14

III.   Chemically Induced Abortions are Associated with Greater Risk for Negative Mental
       Health Outcomes Compared to Surgical Abortions

       18.     Research indicates that women who choose chemical abortion over surgical

abortion tend to exhibit greater psychological instability compared to their counterparts who

choose surgical abortion.



11
   Gissler, M., Karalis, E., & Ulander, V.M. (2015). Decreased suicide rate after induced abortion,
after the Current Care Guidelines in Finland 1987-2012. Scand J Public Health, 43(1), 99-101.
12
   Luo, M., Jiang, X., Wang, Y., Wang, Z., Shen, Q., Li, R., & Cai, Y. (2018). Association between
induced abortion and suicidal ideation among unmarried female migrant workers in three
metropolitan cities in China: A cross-sectional study. BMC Public Health, 18(1), 625.
13
   Coleman, P. K. (2011). “Abortion and Mental Health: A Quantitative Synthesis and Analysis of
Research Published from 1995-2009.” British Journal of Psychiatry.
14
   Id.


                                                6

                                                                                          App. 0600
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        19.     Compared to women choosing surgical abortion, those choosing chemical abortion

are more psychologically at risk, as they exhibit significantly higher rates of obsessive-compulsive

symptoms, guilt, interpersonal sensitivity scores, paranoid ideation, and general psychiatric

symptoms. 15

        20.     This fact underscores the necessity of chemical abortion patients spending time in

person with a trained counselor.

        21.     Elimination of on-site visits for chemical abortions may put an already vulnerable

segment of the abortion-seeking population at serious risk for psychological harm.

        22.     Some of the negative mental health impacts from chemical abortion are associated

with its painfulness and disruptiveness.

                a.      For instance, one study found that, compared to those who had surgical

                        abortions, those who had chemical abortions rated their experience as more

                        painful and as resulting in more life disruption. 16

                b.      The same study found that seeing the fetus was associated with more

                        intrusive events (nightmares, flashbacks, unwanted thoughts related to the

                        experience). 17

        23.     Other researchers noted that one of the main differences between the two methods

of termination is the consciousness and participation of the patient in the chemical abortion, a

“process that involves blood, pain, and death.” 18As a participant in one study explained, “You

really take your child’s life. I think if you see it then you see that you really do take the life of your




15
   Lowenstein and colleagues (2006).
16
   Slade and colleagues (1998).
17
   Id.
18
   Slade and colleagues (1998).


                                                    7

                                                                                                App. 0601
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child.” 19

        24.    Along these lines, women’s chemical-abortion experiences reveal that negative and

difficult emotions following chemical abortion are common, with 38% explicitly stating problems

with anxiety, depression, drug abuse, and suicidal thoughts. 20

               a.      For example, one woman said, “I am haunted by the image of my tiny baby.

                       I always will be. I cut myself and even wanted to die.” Another woman

                       recounted “[l]ooking at [her] kids thinking of another beautiful child. [She]

                       [c]ouldn’t live with [her]self. [She was] [w]ishing God would take [her]

                       life.” 21

               b.      Many women in this chemical-abortion sample also felt regret, with 77%

                       explicitly stating that they regretted their decision to have an abortion. One

                       woman stated, “Had I known how badly I would feel now, I would have

                       kept the baby, even if I had to go through it alone.” 22

        25.    Women who experience chemical abortion have a higher incidence of certain

mental health challenges. For instance, a study of women randomized to a chemical or surgical

abortion group demonstrated that, women who had chemical abortions had higher PTSD intrusion

scores indicative of nightmares, unwanted thoughts, and images. 23

        26.    The most salient mechanisms potentially underlying the empirically documented

enhanced risk for chemical abortions include the following:

               a.      The participatory role of the woman. In a chemical abortion, women are



19
   Hallden and colleagues (2009).
20
   Rafferty and Longbons (2020).
21
   Id.
22
   Id.
23
   Kelly and colleagues (2010).


                                                  8

                                                                                           App. 0602
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                     directly responsible for their abortions (because they take the pills

                     themselves), which may exacerbate guilt and other negative self-directed

                     thoughts and feelings.

              b.     Chemical abortion requires the woman to be more alert and involved during

                     the process than she would be while under sedation or anesthesia during a

                     surgical abortion. This makes it difficult for her to psychologically distance

                     herself from what is happening.

              c.     The woman may (and often does) see the expelled fetus.

              d.     The woman is more likely to be alone and without emotional support at the

                     time of the abortion.

              e.     After the chemical abortion, the woman may continue associating her home,

                     or the bathroom, with abortion. Her home may become a trigger for

                     uncomfortable emotions rather than a refuge.

IV.    Chemically Induced Abortions are Associated with More Negative Mental Health
       Outcomes When Performed at Later Gestational Ages

       27.    In 2016, the FDA expanded the approved window of time for the use of chemical

abortions from 49 days to 70 days, which potentially increases the psychological trauma from

chemical abortions because the fetus—likely to be seen by the woman undergoing the chemical

abortion—looks much more like a person.

       28.    Pre-natal development advances rapidly in the first few months of gestation.

       29.    At 7-weeks the developing human being is in the embryonic stage and is 0.37 inches

long; whereas at 10-weeks, he or she is in the fetal stage and is much more recognizably human




                                               9

                                                                                         App. 0603
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with the length more than tripling to approximately 1.22 inches. 24

        30.    For instance, at 6 to 7 weeks, arm and leg buds start to grow. Some cranial nerves

are visible. Eyes and ears begin to form. Tissue grows that will become the spine and other

bones. 25

        31.    In week 8, arms and legs have grown longer. Hands and feet begin to form and

look like little paddles. The brain continues to grow. The lungs start to form. 26

        32.    In week 9, nipples and hair follicles form. Arms grow and elbows develop. Toes

can be seen. All essential organs have begun to grow. 27

        33.    In week 10, eyelids are more developed and begin to close. The outer ears begin

to take shape. Facial features become more distinct. 28

V.      Chemical Abortions are Associated with Increased Medical Complications Compared
        to Surgical Abortions

        34.    The main complications associated with chemical abortion are retaining a

nonviable gestational sac or failing to expel all pregnancy tissue (aka. “incomplete abortion”),

persistent bleeding, continuing pregnancy, hemorrhage, infection, and undiagnosed ectopic

pregnancy.29

        35.    A number of studies show the complication rate for chemical abortions is higher

than the rate for surgical abortions.

               a.      For instance, one study found that 29% of women who had a chemical

                       abortion during the second trimester experienced complications versus 4%



24
   https://perinatology.com/Reference/Fetal%20development.htm
25
   National Library of Medicine (https://medlineplus.gov/ency/article/002398.htm).
26
   Id.
27
   Id.
28
   Id.
29
   London, S. (2003); Macnaughton et al. (2021); Niinimäki et al. (2009); Sonalkar et al. (2017).


                                                 10

                                                                                         App. 0604
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                     of women who had a surgical abortion during the same trimester. 30 Another

                     study demonstrated similar results on abortions between 14 and 24 weeks. 31

                     Those women who received chemical abortions experienced complications

                     at a rate of 23% and serious complications (unplanned hospital admission,

                     removal or injury to organ, uterine rupture, readmission within 14 days,

                     blood transfusion, ICU admission, cardiopulmonary arrest, or death) at a

                     rate of 3.3%. Women who received surgical abortions had a 7% rate of

                     complications and a 1.5% rate of serious complications. 32

              b.     Another study revealed that women undergoing a surgical abortion at 63

                     days’ gestation or less had four times fewer complications than women

                     undergoing a chemical abortion during the same timeframe. Of women

                     undergoing a chemical abortion in this timeframe, 20% experienced adverse

                     chemical events, 15.6% experienced hemorrhage, 6.7% experienced

                     incomplete abortion, and 5.9% experienced surgical evacuation.

                     Comparatively, women who had a surgical abortion in this gestational

                     timeframe, 5.6% experienced adverse medical events, 2.1% experienced

                     hemorrhage, 1.6% experienced incomplete abortion, and 1.8% experienced

                     surgical re-evacuation. 33

              c.     Another study found that, of women receiving first-trimester abortions,




30
    London, S. (2003), Complication rate is lower for surgical than chemical second-trimester
abortion. Perspectives on Sexual and Reproductive Health, 35 (1), p. 50.
31
   Sonalkar, S. and colleagues (2017).
32
   Id.
33
   Niinimäki M. et al. (2009). Immediate Complications after Medical Compared with Surgical
Termination of Pregnancy. Obstet. Gynaecol. 114(4), 795–804.


                                                  11

                                                                                       App. 0605
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                      those who received chemical abortions experienced a 5.2% rate of abortion-

                      related complications resulting in emergency-room visits while those who

                      had surgical abortions experienced only a 1.3% rate of abortion-related

                      complications resulting in emergency-room visits. 34

               d.     Incomplete abortion is more common after chemical abortion than after

                      surgical abortion. 35

       36.     In fact, studies show that 33% of women who had a chemical abortion sought care

during or after the self-managed chemical-abortion process.36 Another study demonstrated that

self-managed chemical abortion using misoprostol provided by an online-telemedicine service

resulted in 12% of patients requiring instrumentation to complete their abortions and 2% of

patients experiencing one or more serious medical events.37

       37.     This follow-up care often occurs at hospitals rather than abortion clinics. Several

factors play into this. The woman may never have received the medication for the chemical

abortion at an abortion clinic in the first instance; some abortion clinics to not have after-hours

support; and women often forego after-abortion care at abortion clinics generally. 38

       38.     When continuing pregnancy occurs after an abortion, women must undergo

surgical aspiration to complete the abortion, and they often seek treatment for this and other

complications at hospitals rather than with abortion providers.




34
   Upadhyay and colleagues (2015).
35
   Acharya, et al., 2004; Rorbye, Norgaard, & Nilas, 2004.
36
   Moseson and colleagues (2020). This study was funded by the David and Lucile Packard
Foundation, which actively advocates for and funds reproductive rights initiatives.
37
   Johnson and colleagues (2023). This study was sponsored by the highly political, pro-choice
organization, the Society of Family Planning (https://societyfp.org/).
38
   Picker Institute, 1999 (finding that more than two-thirds of women do not return for follow-up
appointments at abortion clinics).


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                                                                                          App. 0606
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       39.     In a recent study analyzing the adverse effects reported to the Food and Drug

Administration (FDA) after mifepristone was used as an abortifacient, the researchers found 3,197

unique adverse effects. This included 20 deaths, 529 life-threatening complications, 1,957 severe

complications, 151 moderate complications, and 3 mild complications. Certain of the 20 total

deaths resulted from sepsis (9), drug toxicity/overdoses (4), ruptured ectopic pregnancy (1),

hemorrhage (1), possible homicides (3), and suicide (1). 39

VI.    Complications From Chemical Abortions Increase When They Occur at a Later
       Gestational Age.

       40.     The risks of medical complications requiring hospital follow up after chemical

abortions increase as the baby’s gestational age increases. For instance, one study showed that

women who had a chemical abortion at nine or fewer weeks’ gestation went to the hospital at a

rate of 3.3% and experienced heavy bleeding at a rate of 6.8%. Women who had an abortion at

more than nine weeks went to the hospital at a rate of 11.7% and experienced heavy bleeding at

a rate of 10.1%.40

       41.     Another study also found that complication rates for first-trimester chemical

abortions were much lower than for complication rates for second-trimester chemical abortions. 41

That study found that the medical complications associated with first trimester chemical abortions

included 3.3% of patients visiting the emergency room, 5.7% of patients being admitted to the

hospital, and 5.6% of patients having follow-up dilation & curettage surgery. Comparatively, the

medical complications associated with second-trimester chemical abortions included 14% of

patients visiting the emergency room, 12% of patients being readmitted to the hospital, 2% of



39
   Aultman and colleagues (2021).
40
   Endler and colleagues (2019).
41
   Mulligan, E & Messenger, F. (2011). Mifepristone in South Australia. The first 1343 tablets.
Australian Family Physician. 40(5), 342–345.


                                                13

                                                                                         App. 0607
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patients being admitted to intensive care, and 33% having surgical intervention.

VII.   Undertaking Chemical Abortion Without Meeting a Provider in Person Further
       Increases the Risk of Adverse Mental Health Outcomes.

       42.     It is important for women to meet in-person with a medical provider or other

professionals prior to having an abortion—which they often do not do if they have a chemical

abortion—for a number of reasons.

       43.     First, available scientific data has revealed high rates of abortion related stress,

decisional conflict/ambivalence, uncertainty, 42 and pressure or coercion from others among

women seeking an abortion. Under such circumstances, women are likely to undergo procedures

that do not meet the basic elements of informed consent.

       44.     For an abortion decision to meet the requirements of informed consent, the decision

must be voluntary and completely free from pressure or coercion.

               a.     Extensive research reveals that women who have abortions often do not

                      freely choose them. Instead, they have an abortion because they feel

                      varying degrees of pressure from close family members, friends, and/or

                      abortion clinic personnel. One study reported that 31% of women made

                      their childbirth-or-abortion decision based on persuasive messages from

                      others. 43

               b.     A qualitative study with nearly 1000 participants revealed that 73% of

                      American women who had abortions felt subtle to substantial unwanted

                      pressure to abort. Approximately 70% were age 21 or under when they had



42
   Husfeldt and colleagues (1995); Kero, Hogberg, and Lalos (2004); Ralph and colleagues (2017);
Rocca and colleagues (2015); Tornbom and colleagues (1999); Kjelsvik and Gjengedal (2011);
Kimport (2012);Ralph and colleagues (2018); Kjelsvik and colleagues (2018); Røseth et al (2022).
43
   Harvey-Knowles (2012).


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                        their first abortion, indirectly suggesting that a majority were low income

                        and that their pregnancies were unintended. More than half of the women

                        reported that the perceived pressure was great enough to influence their

                        decision to abort, with 58.3% reporting that they decided to abort to make

                        others happy. Many women (67.5%) said that the decision to terminate their

                        pregnancies was one of the hardest decisions of their lives. 44

                c.      In a quantitative analysis using the same sample of about 1,000 women from

                        across the U.S., results revealed that situational pressure predicted anxiety,

                        depression, substance abuse, and PTSD, after controlling for prior

                        psychological history and demographic variables. 45

                d.      In fact, the majority of chemical abortions are not voluntary and free from

                        pressure or coercion. One study revealed that 53% of women did not make

                        their decisions to have a chemical abortion independently. 46 Often, the

                        child’s father or the mother’s other family members (e.g., parents) overrode

                        her own desire to continue the pregnancy. 47




44
   Coleman et al., 2017.
45
   Coleman, 2018.
46
   Rafferty and Longbons (2020).
47
   Rafferty and Longbons (2020). For example, one woman said, “I remember my husband telling
me, ‘well, don’t expect me to be too happy with the idea of having it if you decide to keep it. I
won’t be too loving.’ That was a knife through my heart, and I made the tough decision to go
through with the abortion.” Another woman’s father coerced her into the chemical abortion, “[M]y
father…is an old school Puerto Rican who told me that I had to leave if I kept the baby. I had 2
weeks to get an abortion or else he would disown me forever.” The authors reported that, in many
of the narratives, women did not feel that they had alternatives to abortion until after it was
completed. One woman said: “They all tell you ‘it’s your choice’ in the moment, but you don’t
feel that it is. Being unable to afford it, unable to tell your loved ones, not having the help or feeling
unable to support a child. When your partner doesn’t want it like you do. All these things push
you, blind you to a decision that you don’t realize will destroy you.”


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               e.      In-person abortion counseling is also particularly important for women who

                       are in abusive relationships, 48 which they are unlikely to receive with a

                       chemical abortion—particularly one obtained over-the-counter or through

                       the mail.

               f.      Women in abusive relationships who have an abortion also have an

                       increased risk for mental health problems, including depression, stress, and

                       suicidal ideation. 49

       45.     Second, many women who seek abortions have other mental health issues that make

decision-making difficult.

               a.      One study revealed that 17.6% of women with a pre-existing psychiatric

                       history experienced pressure to abort. 50

               b.      Women seeking an abortion also have higher-than-average rates of pre-

                       existing mental illness, 51 which can interfere with effective decision-

                       making. 52

       46.     Given the number of persons who potentially affect a woman’s abortion decision

and the rates of mental illness in women determining whether to abort, a woman needs an in-

person meeting with a medical provider or trained professional before an abortion to ensure that

her choice is a voluntary one and that she is choosing the most appropriate reproductive outcome

for her unique situation.




48
   Pallitto et al. (2013) (finding that that 30% of abortions were directly related to intimate-partner
violence).
49
   Ely, Nugent, Cerel, & Vimba, 2011; Ely, Nugent, & Flaherty, 2009; Ely & Otis, 2011.
50
   van Ditzhuijzen and colleagues (2015).
51
   Van Ditzhuijzen and colleagues (2013).
52
   Cáceda, Nemeroff, and Harvey (2014, p. 208); Martin-Soelch, 2009; Cisler & Koster, 2010.


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       47.     When women are unable to meet in-person with a provider—as is the case with

chemical abortions procured through the mail or over the counter—women are more likely to

suffer from significant psychological distress.

       48.     Women are more likely to be satisfied with and feel that their abortion procedure

was acceptable (and thus, less likely to experience mental health challenges) if they were

adequately counseled about what to expect and had support during the procedure. 53

       49.     Women who have chemical abortions commonly report that they did not receive

enough information about what to expect during their chemical abortions.

               a.      In one study, one-third (34%) of women who had chemical abortions stated

                       that they received insufficient information about what to expect. 54 Another

                       study revealed that 53% of women who experienced chemical abortion felt

                       the procedure was worse than expected. 55 A third study demonstrated that

                       that number was 14% and participants described their experiences. 56 The

                       narratives contained an explicit theme about needing more detailed



53
   Abdel-Aziz, Hassan, and Al-Taher (2004).
54
   Hedqvist et al., 2016.
55
   Kelly and colleagues (2010).
56
   Rafferty and Longbons (2020). For instance, one woman said, “I knew to expect blood clotting,
but nothing could’ve prepared me for seeing her body. It was the color of my own skin and was
actually starting to look like a person.” Another woman shared, “They lied to me and said they
would give me some pills that would make it just like a late period with a little cramping … The
pain of the contractions was so intense I felt like my intestines were pulled out slowly. I collapsed
screaming on my bathroom floor…” A third woman recounted, “They told me, if you by chance
are in pain you can take these pain relievers. … That sounded like the process would be easy and
not so painful. Well NO that was not the case, within 30 minutes I felt really bad cramping. It just
kept getting worse and worse. I was crying and moaning from the pain. I literally thought I was
dying.” A woman who felt betrayed said, “They told me it wouldn’t hurt and I wouldn’t feel a
thing. THAT WAS SUCH A LIE. I felt everything, I heard everything, I seen everything. I ended
up blacking out from the pain and puking all over myself.” Finally, a woman wrote, “We were told
we would go back to normal and it won’t affect us but they were wrong!!! All I feel is emptiness
and hatred. I used to be the happiest most positive girl. All I want is to take it back.”

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                       information related to potential side effects, the intensity of cramping and

                       bleeding, what to do after passing the baby, and potential negative emotions

                       (e.g., fear, uncertainty, sadness, pain) they might experience following the

                       abortion. 57

               b.      Another study determined that when women requesting abortion were

                       counseled on the topics they were interested in (82% procedural

                       information; 40% their decisions and doubts; 31% their emotions; 36%

                       reasons for the abortion request; 76% the consequences of abortion; and

                       31% alternatives to abortion), they were very satisfied with the experience,

                       felt less distress and greater decisiveness, and found the counseling to be

                       more helpful than they anticipated it would be. 58

       50.     Women who reported severe pain from a chemical abortion had higher baseline

anxiety levels than those who did not. 59

       51.     Three studies separately demonstrated that women who experienced chemical

abortion were about two times less likely to say that they would choose the same procedure again,

compared to those who experienced surgical abortion. 60

       52.     There is simply no guarantee that a woman who mail-orders mifepristone, obtains



57
   Id.
58
   Vandamme and colleagues (2013).
59
   Arena and colleagues (2023).
60
   Kelly et al. (2010) (100% of women who experienced a surgical abortion reported they would
opt for the same procedure again versus 53% who experienced a chemical abortion said the same).
Further, a much higher percentage of chemical-abortion patients compared to surgical abortion
patients found the experience to be worse than expected (53% versus 0%).Slade and colleagues
(1998) (that 47% of a chemical-abortion group would not choose the same procedure again
compared with 23% of a surgical group); Ashok and colleagues (2002) (30% of women who
underwent chemical abortion and 21% who underwent surgical abortion would not opt for the
same method in future).


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it over the counter, or receives it from an abortion clinic is ever privy to counseling.

       53.     Additionally, telemedicine is also unlikely to serve as an adequate substitute for an

in-person counseling session because of the quality or availability of technology, obtaining

accurate medical information, and developing a new patient relationship. 61

VIII. Women Living in Poverty are Particularly Vulnerable to Post-Abortion Mental
      Health Problems and Have Great Need for Substantive In-Person Counseling.

       54.     Economically disadvantaged women, such as those on Medicaid, are particularly

likely to benefit from in-person counseling before undergoing an abortion.

       55.     Poverty has long been identified as a predictor of poor mental health and substance

abuse, including heavy alcohol use and depression. 62 Poverty is also associated with higher risk of

compromised mental health outcomes following abortion compared to birth. 63

       56.     Women living in poverty are over-represented among abortion-seeking women, are

more likely to be pressured by others and life circumstances to abort and are more inclined to

report being personally “pro-life.” 64 Impoverished women comprise half of all U.S. women

undergoing abortions. A full 76% of all abortions in the U.S. occur among women at or below

200% of the Federal poverty level. 65

       57.     Poor women are the natural recipients of more pressure and coercion to abort, as



61
   Mills and colleagues (2020); Wilhite and colleagues (2021).
62
   Patel, 2017; Lund et al., 2011; Whiteford et al., 2013.
63
   Coleman et al., 2009.
64
   Gallop poll data presented in a document titled “‘Pro-Choice’ or ‘Pro-Life’ Demographic Table”
(https://news.gallup.com/poll/244709/pro-choice-pro-life-2018-demographictables.aspx) reveals
the percentage of Americans in 2023 with annual incomes below $40,000 who self-identified as
“pro-life” was 54% compared to “40%” who identified as “pro-choice.” In 2019, among
Americans with incomes below $40,000, those who self-identified as “pro-life” comprised 59% of
the sample compared to only 34% who voiced “pro-choice” beliefs. Finally, in 2018, the
percentage of Americans with incomes below $30,000, who self-identified as “pro-life,” was
likewise 59% compared to “36%” who held “pro-choice” personal positions.
65
   Jones & Jerman, 2017.


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they are likely to believe they cannot afford to raise a child, and other people are inclined to view

them as financially unable to provide adequate care for a child. 66

       58.     Thus, women living in poverty are a psychologically vulnerable segment of the

population of women with respect to abortion. Sensitive counseling and the time to process the

counseling session is essential for low-income women to make abortion decisions with which they

are truly comfortable.

       59.     Abortion decisions are often wrought with ambivalence and pressure from others,

and published data indicates women generally desire more time and information before consenting

to the procedure, not less. Chemical abortion can be a frightening and isolating experience. Based

on the data presented in this declaration, in-person dispensing of abortion pills wherein chemical

abortion patients must meet face-to-face with an abortion provider before receiving a prescription

is necessary and beneficial to women’s physical and psychological health. The pre-abortion

counseling and opportunity for the provider to answer women’s questions will help promote

informed decision-making. Finally, evidence demonstrates that chemical abortion carries the

potential to be more psychologically traumatizing than surgical abortion, a well-established risk

factor for mental health problems.




66
   Finer, et al., 2005 (finding that when asked why they chose abortion, the majority of women
(73%) pointed to the high cost of motherhood, saying that they could not afford to have a baby);
Biggs, Gould, & Foster 2013 (confirming the influential role of financial instability in a woman’s
decision to abort a pregnancy); Faria, Barrett and Goodman 1985 (same); Torres and Forrest 1988
(same).


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I declare under penalty of perjury that the foregoing is true and correct.




Executed on _10-09-2023____________.
                                                                      Dr. Priscilla K. Coleman



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      surgical termination of pregnancy: choice, emotional impact and satisfaction with
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        complications associated with induction by misoprostol versus dilation and evacuation
        for second-trimester abortion. Int J Gynecol Obstet, 138: 272–275.

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        Thirteen-year longitudinal evidence from the United States. Sage Open Medicine, 4.
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        Psychiatric Research, 47(11),1737-43.

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        American Telemedicine Association, 10.1089/tmj.2021.0035. Advance online
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        Charlson, F. J., Norman, R. E., Flaxman, A. D., Johns, N., Burstein, R., Murray, C. J.,
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                 Exhibit A – Curriculum Vitae




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                                   PRISCILLA K. COLEMAN
 Academic Degrees

   Date        Degree                                    University
   1998        Ph.D. Lifespan Developmental              West Virginia University
               Psychology                                Morgantown, WV

   1992        M.A. General Psychology                   James Madison University,
                                                         Harrisonburg, VA

   1986        B.A. Psychology                           Southern Connecticut State
               Minor: Studio Art                         University
                                                         New Haven, CT
 Academic Positions

 2010-2022        Professor of Human Development and Family Studies, School of Family and
                  Consumer Sciences, Bowling Green State University, Bowling Green, OH

 2005-2010        Associate Professor of Human Development and Family Studies, School of Family
                  and Consumer Sciences, Bowling Green State University, Bowling Green, OH

 2002-2005        Assistant Professor of Human Development and Family Studies, School of
                  Family and Consumer Sciences, Bowling Green State University, Bowling
                  Green, OH

 1998-2002        Assistant Professor of Psychology, Department of Psychology, University of
                  the South, Sewanee, TN

 1995-1997        Teaching Assistant, Department of Psychology, West Virginia
                  University, Morgantown, WV

 1993-1995        Instructor of Psychology, Department of Psychology, James Madison
                  University, Harrisonburg, VA

 1991-1992        Research Assistant, Department of Psychology, James Madison
                  University, Harrisonburg, VA

 Administrative Positions

 2003-2004        Program Coordinator, Human Development and Family Studies, School of
                  Family and Consumer Sciences, Bowling Green State University, Bowling
                  Green
 1997-1998        Research Specialist, Center for Assessment and Research Studies, James
                  Madison University, Harrisonburg, VA


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  Non-academic Positions

  1988-1989        Residential Counselor, Homestead, Ellsworth ME


  Teaching Experiences

  Bowling Green State University (Campus and Web-based Delivery)
  Human Development across the Life-Span
  Parenting Processes
  Research Methods
  Child Development
  Research Methods (Graduate)
  Family Studies (Graduate)

  University of the South
  Child Development
  Introduction to Personality and Development
  Social Psychology
  Social Psychology Research Seminar
  Educational Psychology: Introduction to Educational Assessment
  Exceptionality in the Classroom

  West Virginia University
  Life-Span Development
  Child Behavior and Development
  Exceptional Child
  Applying to Graduate School Seminar

  James Madison University
  Psychological Statistics
  Experimental Psychology with lab

  Research Interests

     The development, expression, and effects of individual differences in parenting
     Socio-emotional development in early childhood
     Parent-child interaction and family dynamics
     Abortion decision-making
     Post-abortion mental health
     Abortion and intimate relationship quality
     Perinatal loss and parenting

  Research Projects and Grants

     EDHD Research Grant, April 2004 entitled “The Choice to Abort Among Mothers Living
       Under Ecologically Deprived Conditions: Predictors and Consequences” to the Research
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        Development Committee, College of Education and Human Development, Bowling Green
        State University, $12,058. funded.

    Faculty Research Committee Research Incentive Grant for AY 2003, entitled “The Choice to
       Abort vs. Deliver During Adolescence: Personal and Social Predictors and Consequences”,
       $5,976.

    PICT Curriculum Grant for AY 2002-03, “A Concept-based Approach to Infusing Technology
       in the Early Childhood Studies Program” Nancy Stockall, Priscilla Coleman, Sally Kilmer,
       & Marcia Rybczynski, $15,000. Funded.

    duPont Faculty-Student Research Grant from the University of the South Spring 2002
       “Development of Maternal Self-Efficacy and its Relation to Early Maternal
       Behavior”, $1,428 Funded.

    Faculty Research Grant from the Appalachian College Association for AY 2000-2001,
       "Maternal Self-Efficacy, Parenting Behavior, and Toddler Performance on the Bayley
       Scales of Infant Development", $1,625. Funded

 Publications

    Chapters of Books

    Coleman, P. K. (2016). Deriving sensible conclusions from the scientific literature on abortion
       and women’s mental health. In R. McNair (Ed.) Peace Psychology Perspectives on
       Abortion.

    Coleman, P. K. (2014). Women at risk for post-abortion mental health problems and
       associated relationship challenges. In The Pontifical Academy for Life, Post-abortion
       Trauma: Possible Psychological and Existential Aftermaths.

    Karraker, K. H., & Coleman, P. K. (2005). The effects of child characteristics on
       parenting. In T. Luster and L. Okagaki (Eds.), Parenting: An ecological perspective
       (2nd Ed.). Mahwah, NJ: Lawrence Erlbaum Associates, Publishers.

    Coleman, P. K., & Karraker, K. H. (2005). Parenting self-efficacy, competence in parenting,
       and possible links to children’s social and academic outcomes. In O. N. Saracho and B.
       Spodek (Eds.), Contemporary perspectives on families, communities, and schools for
       young children. Greenwich, CT: Information Age Publishing

    Karraker, K. H., & Coleman, P. K. (2002). Infants' characteristics and behaviors help shape
       their environments. In H. Fitzgerald, K. H. Karraker, & T. Luster (Eds.), Infant
       development: Ecological perspectives, (pp. 165- 191). New York: Routledge Falmer.




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    Encyclopedia Entries

    Coleman, P. K. (2019). Abortion. In J. Ponzetti, M. Blankemeyer, S. M. Horan, H. Lyons, &
       A. Shigeto (Eds.) Macmillan Encyclopedia of Families, Marriages, and Intimate
       Relationships, 1st Edition, Macmillan Reference USA.

    Coleman, P. K. (2016). Abortion: Women’s Decisions in Context. SAGE Encyclopedia of
       Psychology and Gender. K. L. Nadal (Ed.)

    Coleman, P. K. (2001). The Education System of Iceland. In R. Marlow-Ferguson (Ed.), World
       Education Encyclopedia. Farmington Hills, Michigan: Gale Group. (10,000 words)

    Coleman, P. K. (2000). Attachment. In L. Balter (Ed.), Parenthood in America: An
       Encyclopedia. Santa Barbara, CA: ABC-CLIO. (1500 words)

    Coleman, P. K. (2000). Parenting Self-Confidence. In L. Balter (Ed.), Parenthood in
       America: An Encyclopedia. Santa Barbara, CA: ABC-CLIO. (1500 words)

    Coleman, P. K. (2000). Parenting Toddlers. In L. Balter (Ed.), Parenthood in America: An
       Encyclopedia. Santa Barbara, CA: ABC-CLIO. (1500 words)

    Coleman, P. K. (2000). Temperament. In L. Balter (Ed.), Parenthood in America: An
       Encyclopedia. Santa Barbara, CA: ABC-CLIO. (1500 words)

    Refereed Journal Articles

    Coleman P. K. (2022). The Turnaway Study: A Case of Self-Correction in Science Upended by
      Political Motivation and Unvetted Findings. Frontiers in psychology, 13, 905221.
      https://doi.org/10.3389/fpsyg.2022.905221.

    Coleman, P. K. (2021). The National Academies of Science (NAS) report on abortion safety:
      An agenda-driven breech of science relied on in June Medical Services, LLC v. Russo.
      Bioethics in Law and Culture Quarterly, 4 (1).

    Coleman, P. K. (2020). The psychology of abortion decision-making & the necessity of
      pre-abortion waiting periods. Bioethics in Law and Culture Quarterly, 3 (2).

    Coleman, P. K. (2018) Negative abortion experiences: Predictors and development of the Post-
      Abortion Psychological and Relational Adjustment Scale (PAPRAS). Issues in Law and
      Medicine. Issues Law Med. 33(2),133-162.

    Coleman, P., Boswell, K., Etzkorn, & Turnwald, R. (2017). Women who suffered
       emotionally from Abortion: A qualitative synthesis of the most positive and negative
       aspects of their experiences. Journal of American Physicians and Surgeons, 22 (4).

    Coleman, P. K. (2017). Post-abortion mental health research: Distilling quality evidence from
       a politicized professional literature. Journal of American Physicians and Surgeons, 22 (2).
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    Coleman, P. K., & Garratt, D. (2016) From birth mothers to first mothers: Toward compassionate
       understanding of the life-long act of adoption placement. Issues in Law and Medicine,
       31(2):139-163.

    Coleman, P. K. (2015). Diagnosis of fetal anomaly and the increased maternal psychological
      toll associated with pregnancy termination. Issues in Law and Medicine, 30 (1), 3-23.

    Coleman, P. K., Reardon, D. C., & Calhoun, B. C. (2013). Reproductive history patterns and
       long-term mortality rates: A Danish, population based record linkage study.
       European Journal of Public Health, 23 (4): 569- 574.

    Reardon, D. C., & Coleman, P. K. (2012). Short and long-term mortality rates associated
       with first pregnancy outcome: Population register based study for Denmark 1980-
       2004. Medical Science Monitor, 18(9).

    Nixon, C., Linkie, C., & Coleman, P. K. (2011). Relational aggression and children’s
       somatic complaints in early adolescence. Journal of Early Adolescence. Journal of
       Adolescent Health, 49(3):294- 9.

    Coleman, P.K. (2011). Abortion and Mental Health: A quantitative synthesis and analysis of
       research published from 1995-2009. British Journal of Psychiatry, 199, 180- 186

    Coleman, P.K., Coyle, C. T., & Rue, V.M. (2010). Late-term elective abortion and
       susceptibility to posttraumatic stress symptoms, Journal of Pregnancy, vol. 2010,
       Article ID 130519.

    Coyle, C., Coleman, P., & Rue, V. (2010) Inadequate pre-abortion counseling and decision
       conflict as predictors of subsequent relationship difficulties and psychological stress in
       men and women. Traumatology: An International Journal, 16, 16-30.

    Coleman, P.K. (2009) The psychological pain of perinatal loss and subsequent
       parenting risks: Could induced abortion be more problematic than other forms of
       loss? Current Women’s Health Reviews, 5, 88-99.

    Coleman, P. K., Maxey, D. C., Spence, M., & Nixon, C. (2009). Predictors and correlates of
       abortion in the Fragile Families and Well-Being Study: Paternal behavior,
       substance use, and partner violence. International Journal of Mental Health and
       Addiction 7, 405-422.

    Coleman, P. K., Rue, V., Coyle, C. (2009). Induced abortion and quality of intimate
       relationships: Analysis of male and female data from the Chicago Health and Social Life
       Survey. Public Health 123, 331–338.

    Coleman, P.K., Coyle, C.T., Shuping, M., & Rue, V. (2009), Induced abortion and anxiety,
       mood, and substance abuse disorders: Isolating the effects of abortion in the National
       Comorbidity Survey. Journal of Psychiatric Research, 43, 770– 776.
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     Coleman, P. K., Rue, V., Spence, M., & Coyle, C. (2008). Abortion and the sexual lives of
        men and women: Is casual sexual behavior more appealing and more common after
        abortion? International Journal of Clinical and Health Psychology, 8, 77-91.

     Coleman, P. K., Rue, V., Coyle, C., Maxey, D. C. (2007). Induced abortion and child-
        directed aggressive behaviors among mothers of children who have been maltreated.
        Internet Journal of Pediatric Neonatology, Volume 6 Number 2.

     Coleman, P. K., Rue, V., & Spence, M. (2007). Intrapersonal processes and post-abortion
        relationship difficulties: A review and consolidation of relevant literature. Internet
        Journal of Mental Health, V.4 (2).

     Rue, V. M., & Coleman, P. K. (2007). The Question Too Dangerous To Ask: What If Post-
        Abortion Syndrome Is Real? Human Life Review.

     Coleman, P. K. (2006). Resolution of unwanted pregnancy during adolescence through
        abortion versus childbirth: Individual and family predictors and psychological
        consequences. The Journal of Youth and Adolescence, 35, 903-911.

     Coleman, P. K., Maxey, D. C., Coyle, C., & Rue, V. (2006). Reply to Letter to the Editor by
        Rachel K. Jones, Ph.D., Senior Research Associate, The Guttmacher Institute, New York,
        NY, USA, Acta Paediatrica,

     Coleman, P. K., Reardon, D. C., & Lee, M. B. (2006). Women’s preferences for
        information and ratings of the seriousness of complications related to elective medical
        procedures. Journal of Medical Ethics, 32. 435-438.

     Reardon, D.C., & Coleman, P. K. (2006). Sleep disorders associated with abortion and
        childbirth: A prospective record-based study. Sleep, 29, 105-106.

     Coleman, P. K. (2006). Induced Abortion and increased risk of substance use: A review of
        the evidence. Current Women’s Health Reviews 1, 21-34.

     Coleman, P. K., Maxey, D. C., Coyle, C., & Rue, V. (2005). Associations between
        voluntary and involuntary forms of perinatal loss and child maltreatment among low
        income, single mothers. Acta Paediatrica, 94.

     Coleman, P. K., Reardon, D. C., & Cougle, J. (2005). Substance use among pregnant women
        in the context of previous reproductive loss and desire for current pregnancy. British
        Journal of Health Psychology, 10, 255-268.

     Cougle, J., Reardon, D. C., & Coleman, P. K. (2005). Generalized anxiety associated with
        unintended pregnancy: A cohort study of the 1995 National Survey of Family Growth.
        Journal of Anxiety Disorders, 19 (10), 137-142.


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    Coleman, P. K., Reardon, D. C., Strahan, T., & Cougle, J. (2005). The psychology of
       abortion: A review and suggestions for future research. Psychology & Health, 20, 237-
       271.

    Reardon, D. C., & Coleman, P. K. (2004). Letter to the editor pertaining to a study
       published in AJOG by Gissler, Berg, Bouvier-Colle, and Buekens entitled
       “Pregnancy- associated mortality after birth, spontaneous abortion or induced abortion
       in Finland, 1987-2000.” American Journal of Obstetrics and Gynecology, 191, 1506-
       1507.

    Neilsen, A., Coleman, P. K., Guinn, M., & Robb, C. (2004). Length of institutionalization,
       contact with relatives, and previous hospitalizations as predictors of social and emotional
       behavior in young Ugandan Orphans. Childhood: A Global Journal of Child Research, 11,
       94-116.

    Reardon, D. C., Coleman, P. K., & Cougle, J. (2004). Substance Use Associated with
       Unintended Pregnancy Outcomes in the National Longitudinal Survey of Youth.
       American Journal of Drug and Alcohol Abuse, 26, 369-383.

    Rue, V. M., Coleman, P. K., Rue, J. J., & Reardon, D. C. (2004). The context of elective
       abortion and traumatic stress: A comparison of U.S. and Russian Women. Medical
       Science Monitor, 10, SR5-16.

    Coleman, P. K. (2003). Perceptions of parent-child attachment, social self-
       efficacy, and peer relationships in middle childhood. Infant and Child Development, 12,
       351-368.

    Coleman, P. K. (2003). Reactive Attachment Disorder in the context of the family: A
       review and call for further research. Emotional & Behavioral Difficulties. 8, 223-
       234.

    Coleman, P. K., & Byrd, C. (2003). Interpersonal correlates of peer victimization in young
       adolescents. Journal of Youth and Adolescence, 32, 301-314.

    Coleman, P. K., & Karraker, K. H. (2003). Maternal self-efficacy beliefs, competence in
       parenting, and toddlers' behavior and developmental status. Infant Mental Health.
    Coleman, P. K., Reardon, D. C., Rue, V., & Cougle, J. (2003). Reply to letter to the editor
       by Darroch, Finer, Henshaw, and Jones pertaining to our article entitled “History of
       induced abortion in relation to substance use during subsequent pregnancies carried to
       term”, American Journal of Obstetrics and Gynecology, 189 (2), 617.

    Cougle, J., Reardon, D. C., & Coleman, P. K. (2003). Depression associated withabortion and
       childbirth: A long-term analysis of the NLSY cohort. Medical Science Monitor, 9(4),
       CR105-112.



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    Reardon, D. C., Cougle, J., Rue, V. M., Shuping, M., Coleman, P. K., & Ney, P. G. (2003).
        Psychiatric admissions of low-income women following abortion and childbirth. Canadian
        Medical Association Journal. 168, 1253-1256.

    Coleman, P. K., Bryan, S., King, B., Nazir, M., Rogers, N., & Trent, A. (2002).
      Parenting behavior, maternal self-efficacy beliefs, and toddler performance on
      the Bayley Scales of Infant Development. Early Child Development and
      Care, 172, 123-140.

    Coleman, P. K., Reardon, D. C., & Cougle, J. (2002). The quality of the caregiving
       environment and child developmental outcomes associated with maternal history of
       abortion using the NLSY data. Journal of Child Psychology and Psychiatry and Allied
       Disciplines, 43, 743-758.

    Coleman, P. K., Reardon, D. C., Rue, V., & Cougle, J. (2002). History of induced abortion
       in relation to substance use during subsequent pregnancies carried to term. American
       Journal of Obstetrics and Gynecology, 187, pp. 1673-1678.

    Coleman, P. K., Reardon, D. C., Rue, V., & Cougle, J. (2002). State-funded abortions vs.
       deliveries: A comparison of outpatient mental health claims over four years. The
       American Journal of Orthopsychiatry, 72, 141-152.

    Reardon, D. C., Cougle, J., Ney, P. G., Scheuren, F., Coleman, P. K., & Strahan, T. W.
       (2002). Deaths associated with delivery and abortion among California Medicaid
       patients: A record linkage study. Southern Medical Journal, 95, 834-841.

    Blair, T. M., Nelson, E. S., & Coleman, P. K. (2001). The relationship between deception and
       power in college students' dating relationships: An exploratory study. Journal of Sex and
       Marital Therapy, 27, 57-71.

    Carlton, C. L., Nelson, E. S., & Coleman, P. K. (2000). College students' attitudes toward
       abortion and commitment to the issue. Social Science Journal, 37, 619-625.

    Coleman, P. K., & Karraker, K. H. (2000). Parenting self-efficacy among mothers of
       school-age children: Conceptualization, measurement, and predictors. Family Relations,
       49, 13-24.

    Coleman, P. K., & Watson, A. (2000). Infant attachment as a dynamic system. Human
       Development, 43, 295-313.

    Coleman, P. K., & Watson, A. (2000). A reply to commentaries (by Alan Fogel, Alan
      Sroufe, and Megan Sampson) on "Infant attachment as a dynamic system". Human
      Development, 43, 327-331.

    Coleman, P. K., & Nelson, E. S. (1999). Attitudes toward abortion and interest in the issue
      as determinants of perceptions of the appropriate level of male involvement in abortion
      decisions. Journal of American College Health, 47, 164-172.
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    Coleman, P. K., Nelson, E. S., & Sundre, D. (1999). The relationship between prenatal
      expectations and postnatal attitudes among first- time mothers. Journal of Reproductive and
      Infant Psychology, 17, 27- 39.

   Coleman, P. K., & Karraker, K. H. (1998). Self-efficacy and parenting quality: Findings
     and future applications. Developmental Review, 18, 47-85.

   Coleman, P. K., & Nelson, E. S. (1998). The quality of abortion decisions and college
     students' reports of post-abortion emotional sequelae and abortion attitudes. Journal of
     Social and Clinical Psychology, 17, 425-442.

   Erwin, T. D., & Coleman, P. K. (1998). The Influence of intercultural experiences and
     second language proficiency on college students’ cross-cultural adaptability.International
     Education, 28, 5-25.

   Nelson, E. S., Coleman, P. K., & Swager, M. (1997). Attitudes toward the level of male
     involvement in abortion decisions. Journal of Humanistic Education and
     Development, 25, 217-224.

   Nelson, E. S., Karr, K., & Coleman, P. K. (1995). The relationships among daily
     hassles, optimism, and reported physical symptoms. Journal of College Student
     Psychotherapy, 10, 11-26.

   Abstracts

   Dawson, E., Haar, C., Pobocik, R., Coleman, P., Babies, K., Houston, M.S., Increased self
     efficacy and dairy consumption resulting from a dairy curriculum for junior high school
     students. Journal of Nutrition Education and Behavior, 2007; 39: S131.

   Dawson, E., Pobocik, R., Coleman, P., Haar, C., Babies, K., Houston, M.S. Development
     of an instrument to assess self-efficacy and behavior related to dairy foods in
     adolescents. FASEB J. 2007 21:528.11.

    Papers Read to Professional Societies

    Invited Papers

    Coleman, P. K. (March, 2021). Abortion for Women’s Health? A Research
      Perspective. Caribbean for L.I. F.E. Discussion Series.

   Coleman, P. K. (October, 2020). Deriving Sensible Conclusions from the Scientific
     Literature on Abortion and Women's Mental Health. Canadian Physicians for Life Annual
     Conference.

   Coleman, P.K. (September, 2020). Abortion and Women’s Mental Health. Summit of Grace.


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   Coleman, P. K., & Bae, S. (February, 2020). Sexual Abuse and Trafficking of Minors in
    States: Scope, Parental Perpetrators, & Harrowing Effects. Senior Center, Bowling Green,
    Ohio.

   Coleman, P. K. & Oyer, B. (April, 2019). Abortion and Mental Health: A Critique of the National
     Academies of Sciences (NAS) Report on the “Safety of Abortion” and a
     Methodological Analysis of Studies Published From 1993 to 2018. American Association of
     Pro-Life Obstetricians and Gynecologists, Annual CME Meeting.

   Coleman, P.K. (March, 2018). Abortion and Women’s Mental and Relational Health.
     Presentation in the House of Commons, British Parliament, London, England.

   Coleman, P.K. (September, 2017). Reproductive Outcomes and Mortality: Debunking the Myth
     that Abortion is Safer than Childbirth, Key note speaker, Human Life International, Dublin,
     Ireland.

    Coleman, P.K. (September, 2017). Abortion and Women’s Mental and Relational Health, Key
      note speaker, Human Life International, Dublin, Ireland.

    Coleman, P. K. (July, 2016). Analysis of the Scientific Literature on Abortion and Women’s
     Mental Health. Association for Research in Values and Social Change, Annual Meeting,
     Washington, DC.

   Coleman, P. K. (July, 2016). Pro-Abortion Bias in Professional Organizations: American
     Psychological Association. Association for Research in Values and Social Change,
     Annual Meeting, Washington, DC.

   Coleman, P. K. (February, 2016). Mental Health Risks of Abortion: The Evidence and
     Contemporary State Policies, Presentation for the American Association of Pro-Life
     Obstetricians and Gynecologists, Annual CME Meeting.

   Coleman, P. K. (October, 2015). The Negative Impact of Abortion on Women and
     Families. Key Note Speaker, West Virginia for Life, Annual Convention.

   Coleman, P. K. (July, 2015). Psychological Risks of Abortion: challenges and inroads to
     gathering data, informing the public, and effecting change. Association for Research in
     Values and Social Change, Annual Meeting, New Orleans, LA.

   Coleman, P. K. (March, 2015). The Relative Risk of Abortion vs. Childbirth: A Focus on
     Psychological Morbidity and Mortality. Franciscan University, Steubenville, OH.

   Coleman, P. K. (February, 2015). Fetal Anomaly and the Increased Maternal
     Psychological Toll Associated with Pregnancy Termination, Presentation for the
     American Association of Pro-Life Obstetricians and Gynecologists, Annual CME
     Meeting.
   Coleman, P. K. (November, 2014). The Relative Risk of Abortion vs. Childbirth: A Focus
     on Psychological Morbidity and Mortality. Keynote Speaker for the Kentucky Doctors for
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        Life Foundation, Louisville, KY
      Coleman, P. K. (June, 2014). The Relative Risk of Abortion vs. Childbirth: A Focus on
        Psychological Morbidity and Mortality. Presentation for the International Association
        for Research in Values and Social Change, Louisville, KY.

      Coleman, P. K. (February, 2014). Abortion and Intimate Partner Violence: Intervening to
        Save Lives, Presentation for the American Association of Pro-Life Obstetricians and
        Gynecologists, Annual CME Meeting.

     Coleman, P. K. (November, 2013). Abortion vs. Childbirth: The Latest Evidence on
        Psychological Risk. Keynote Speaker for Annual Conference, The deVeber Institute for
        Bioethics and Social Research, Toronto, CA.

     Coleman, P. K. (October, 2013). Served as a keynote speaker for the 2013 Real Choices
        Conference: Abortion Symposium: Ideology and Informed Consent” Delivered two
        presentations titled: ‘Informed Consent Averted: what women are told and what women
        should be told regarding mental health risks’ and ‘Coercion to Abort: understanding a
        hidden form of interpersonal violence’ Melbourne, Victoria, Australia.

     Coleman, P. K. (September, 2013). The Relative Risk of Abortion vs. Childbirth: A Focus
        on Psychological Morbidity and Mortality Presentation at the Annual Care Net
        Conference, Denver, Colorado.

     Coleman, P. K. (February, 2013). Reaching Women Before the Decision to Abort: Mental
        Health Research Priorities Presentation for the American Association of Pro-Life
        Obstetricians and Gynecologists (a special interest group of the American College of
        Obstetricians and Gynecologists), Annual CME meeting, Washington, DC.

     Coleman, P. K. (February, 2012). The Relative Safety of Abortion vs. Childbirth: A
        Focus on Psychological Morbidity and Mortality, Presentation for the
        American Association of Pro-Life Obstetricians and Gynecologists, Annual CME
        Meeting.

     Coleman, P. K. (September, 2012). The Relative Safety of Abortion vs. Childbirth: A
        Focus on Psychological Morbidity and Mortality. International Symposium on
        Maternal Health, Dublin, Ireland.

     Coleman, P. K. (September, 2012). Abortion and Women’s Mental Health, Stormont
        Parliament Address, Belfast, Ireland.

     Coleman, P. K. (May, 2012). Served as a keynote speaker for the 2012 Real Choices
        Conference: “Setting the Standards.” Delivered two presentations Psychology of
        Abortion: Addressing the Critical Questions to Maximize Women’s Health in 2012
        and Reproductive Outcomes and Mortality: Debunking the Myth that Abortion is
        Safer than Childbirth Using Existing and New Data, Melbourne, Victoria,
        Australia.


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     Coleman, P. K. (May, 2012). Abortion and Women’s Mental Health: Research to
        Practice. Australian Family Association, Melbourne, Victoria, Australia.

     Coleman, P. K. (May, 2012). Abortion and Women’s Mental Health: Research to
        Practice. Parliament House, Sydney, New South Wales, Australia.

     Coleman, P. K. (May, 2012). Abortion and Women’s Mental Health: Research to
        Practice. Parliament House, Brisbane, Queensland, Australia.

     Coleman, P. K. (May, 2012). Abortion and Women’s Mental Health: Research to Practice.
        Emily’s Voice, Toowoomba, Queensland, Australia.

     Coleman, P. K. (March, 2012). Abortion and Women’s Mental Health: Knowledge to
        Practice. Colloquium on the Psychological Effects of Abortion, UK Parliament,
        London, England.

     Coleman, P. K. (March, 2012). Abortion and Women’s Mental Health: Knowledge to
        Practice. The McAuley Education Center, Mater Hospital, Dublin, Ireland.

     Coleman, P. K. (February, 2012). The Psychology of Abortion: Addressing the Critical
        Questions to Maximize Patient Care in 2012. Presentation for the American Association
        of Pro-Life Obstetricians and Gynecologists (a special interest group of the American
        College of Obstetricians and Gynecologists), Annual CME meeting.

     Coleman, P. K. (February, 2012). Reproductive History and Long-Term Mortality Rates: A
        Progress Update on the Danish Population-Based Study. Presentation for the American
        Association of Pro-Life Obstetricians and Gynecologists, Annual CME Meeting.

     Coleman, P. K. (September, 2011). Abortion and Women's Mental Health: Helping
        through Knowledge. Care Net Annual Conference, Orland FL.

     Coleman, P. K. (October, 2011). Abortion and Women’s Mental Health: Knowledge to
        Practice. Healing Vision International Conference, Milwaukee, WI.

     Coleman, P. K. (October, 2011). Abortion and Mental Health: Knowledge to Practice.
        Women in Medicine and Dentistry Annual Conference, Scottsdale, AZ. Coleman, P.
        K. (October, 2011). Abortion and Mental Health: Knowledge to Practice. University
        of Chile, Santiago, Chile

     Coleman, P. K. (May, 2011). Medical Abortion: An update on Psychological Risks to
        Women. First National Convention, Real Choices Australia, Collaroy, NSW,
        Australia.

     Coleman, P. K. (May, 2011). Abortion and Mental Health: Research to Practice.
        Keynote Address for the First National Convention of Real Choices Australia,
        Collaroy, NSW, Australia.

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     Coleman, P. K. (March, 2011). Abortion and Mental Health: Research to Practice.
        Commission on the Status of Women, 55th Session United Nations

     Coleman, P. K. (March, 2011). Medical Abortion and Women’s Mental Health.
        Commission on the Status of Women, 55th Session United Nations.

     Coleman, P. K. (January, 2011). Abortion and Women’s Mental Health: Research to
        Practice: Presentation for the American Association of Pro-Life Obstetricians and
        Gynecologists (a special interest group of the American College of Obstetricians and
        Gynecologists), Annual CME meeting.

     Coleman, P. K. (January, 2011). Abortion and Women’s Mental Health: Model Research:
        Presentation for the American Association of Pro-Life Obstetricians and Gynecologists
        (a special interest group of the American College of Obstetricians and Gynecologists),
        Annual CME meeting.

     Coleman, P. K. (January, 2010). Evidence-Based Practice in Informed Consent for
        Abortion: Toward More Systematic Qualitative and Quantitative Reviews of the
        Literature Presentation for the American Association of Pro-Life Obstetricians and
        Gynecologists Annual CME meeting.

     Coleman, P. K. (January, 2009). Abortion and Mental Health: The APA Task Force
        Report of the Literature and the Reality. Presentation for the American Association
        of Pro- Life Obstetricians and Gynecologists (a special interest group of the
        American College of Obstetricians and Gynecologists), Annual CME meeting.

     Coleman, P. K. (March, 2009). Abortion and Mental Health: The APA Task Force Report
        of the Literature and the Reality. Commission on the Status of Women, 53rd Session
        United Nations, March 2009.

     Coleman, P. K. (October, 2008). APA Task Force Report on Abortion and Mental Health: A
        Violation of the Ethics of Science and a Breech of Public Responsibility. Panel
        Presentation, Family Research Council, Washington, DC.

     Coleman, P. K. (October, 2008). Abortion and Mental Health Research Panel
        Presentation, Family Research Council, Washington, DC

     Coleman, P. K. (January, 2008). Does abortion hurt intimate relationships?
        Review of the evidence. Presentation for the American Association of Pro-
        Life Obstetricians and Gynecologists, Annual CME meeting.

     Coleman, P. K. (January, 2008). Post-abortion mental health research: update and quality of
        Evidence. Presentation for the American Association of Pro-Life
        Obstetricians and Gynecologists (a special interest group of the American College
        of Obstetricians and Gynecologists), Annual CME meeting.


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    Coleman, P.K. (November, 2007). Abortion and Mental Health. First Meeting of the
       Lisbon Medical Studies about Life: The impact of abortion on women's health,
       Lisbon, Portugal.

    Coleman, P. K. (March, 2007). Maternal-Fetal Attachment. 51st Session on the Status of
      Women, United Nations.

    Coleman, P. K. (March, 2007). Post-abortion mental health research: update and quality of
      evidence. 51st Session on the Status of Women, United Nations.

    Coleman, P. K. (Feb, 2007) Post-abortion mental health research: update and quality of
      evidence. Furman University.

    Coleman, P. K. (Nov, 2006) Post-abortion mental health research: update and quality of
      evidence. Princeton University.

    Refereed Papers

    Dawson, E., Haar, C., Pobocik, R., Coleman, P., Babies, K., Houston, M.S. (July, 2007).
      Increased self-efficacy and dairy consumption resulting from a dairy curriculum or
      junior high school students. Society for Nutrition Education, Chicago, Il.

    Dawson, E., Haar, C., Pobocik, R., Coleman, P., Babies, K., Houston, M.S. (April 2007).
      Development of an instrument to assess self-efficacy and behavior related to dairy foods
      in adolescents. Experimental Biology, Washington, DC.

    Coleman, P. K. (March, 2007). Development of Parenting Self-Efficacy during the First Six
       Months (Troutman, B.R., Chair). Serving as Discussant for symposium accepted for
       presentation at the Biennial Meeting of SRCD.

    Coleman, P. K. (April, 2005). Resolution of Unwanted Pregnancy during Adolescence:
       Predictors and Consequences. Poster presented at the Biennial Meeting of the Society
       for Research in Child Development, Atlanta, GA.

    Coleman, P. K. (July, 2004). Partner violence, induced abortion, and women’s mental health.
       Paper presented at the Annual American Psychological Association Convention,
       Honolulu, HI

    Coleman, P. K., & Maxey, C. D. (May, 2004). Pregnancy resolution and substance use in the
       Fragile Families and Well-being Study. Poster presented at the 16th annual meeting of the
       American Psychological Society, Chicago, IL.

    Karraker, K. H., Wiedman, C., & Coleman, P. K. (May, 2004). Infancy in life-span
       perspective: Relationships between infants and family members. In K. Karraker
       (Chair).The role of infants in family relationships across the life-span. Symposium paper
       presented at the 14th Biennial International Conference on Infant Studies, Chicago, IL.
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    Coleman, P. K., & Karraker, K. H. (April, 2004). Parenting self-efficacy, competence in
       Parenting, and possible links to children’s social and academic outcomes. 12th
       International Roundtable on School, Family, and Community Partnerships.

    Coleman, P. K., Reardon, D. C., & Cougle, J. (June, 2003). Substance use associated with
       prior history of abortion and unintended birth: A national cross sectional cohort study.
       Presented at the 15th annual meeting of the American Psychological Society, Atlanta,
       GA.

    Coleman, P. K., Karraker, K. H., Lowe, M., Murden, R., Reid, C., & Merchant, M. (April,
       2003). Prenatal and postnatal correlates of parenting self-efficacy. Poster presented at
       the meeting of the Society for Research in Child Development, Tampa, FL.

    Coleman, P. K., Reardon, D. C., Rue, V., & Cougle, J. (June, 2002). Prior history of induced
       abortion and substance use during pregnancy. Poster presented at the American
       Psychological Society, 14th Annual Convention, New Orleans, LA.

    Reardon, D. C., Ney, P. G., Scheuren, F. J., Cougle, J. R., Coleman, P. K., & Strahan, T. W.
       (May, 2002). Suicide associated with pregnancy outcome: A record linkage study of low
       income American women. Poster presented at the American Psychiatric Association
       Meeting, Philadelphia, PA.

    Coleman, P. K. (April, 2002). Self-efficacy beliefs, parenting, and toddler behavior and
       development. In M. Stern (Chair), Maternal expectations, caregiving and infant outcomes.
       Symposium paper presented at the 13th Biennial International Conference on Infant
       Studies, Toronto, Canada.

    Coleman, P. K., & Neilsen, A. (April, 2002). Length of institutionalization, contact with
       relatives, and previous hospitalizations as predictors of social and emotional behavior in
       young Ugandan Orphans. Poster presented at the 13th Biennial International Conference
       on Infant Studies, Toronto, Canada.

    Karraker, K. H., Atkins, M., Coleman, P. K., & Cottrell, L. E. (April, 2002). Mothers’
       expectations for their infants’ performance on the Bayley Scales of Infant Development.
       In M. Stern (Chair), Maternal expectations, caregiving and infant outcomes.
    Symposium paper presented at the 13th Biennial International Conference on Infant Studies,
       Toronto, Canada.

    Coleman, P. K., Bryan, S., King, B., Trent, A., Anderson, J., Cavender, N., Nalley, I. Nazir,
       M., Novarese, A., & Rogers, N. (June, 2001). Mothers' self-efficacy beliefs, parenting
       behavior, and toddler performance on the Bayley Scales of Infant Development. Poster
       presented at the American Psychological Society, 13th Annual Convention, Toronto,
       Canada.

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     Coleman, P. K., Reardon, D. C., & Cougle, J. (June, 2001). Child developmental outcomes
        associated with maternal history of abortion using the NLSY data. Poster presented at the
        American Psychological Society, 13th Annual Convention, Toronto, Canada.

     Coleman, P. K. (April, 2001). Interpersonal correlates of peer victimization in young
        adolescents. Poster presented at the meeting of the Society for Research in Child
        Development, Minneapolis, MN.

     Coleman, P. K., Bryan, S. King, B., & Trent, A. (March, 2001). Mechanisms linking
        parenting self-efficacy beliefs to parenting competence and toddler development. Poster
        presented at the 1st World Congress on Women’s Mental Health, Berlin, Germany.

     Coleman, P. K., Reardon, D. C., & Cougle, J. (March, 2001). Child developmental outcomes
        associated with maternal history of abortion using the NLSY data. Poster presented at the
        1st World Congress on Women’s Mental Health, Berlin, Germany.

     Coleman, P. K., Reardon, D. C., Rue, V. & Cougle, J. (March, 2001). State-funded abortions
        vs. deliveries: A Comparison of outpatient mental health claims over six years. Poster
        presented at the 1st World Congress on Women’s Mental Health, Berlin, Germany.

     Cougle, J., Reardon, D. C., & Coleman, P. K. (March, 2001). Depression associated with
        abortion and childbirth: A long-term analysis of the NLSY cohort. Poster presented at
        the 1st World Congress on Women’s Mental Health, Berlin, Germany.

     Cougle, J., Reardon, D. C., Rue, V., Shuping, M., Coleman, P. K., & Ney, P. (March, 2001).
        Psychiatric admissions following abortion and childbirth: A record-based study of low-
        income women. Poster presented at the 1st World Congress on Women’s Mental Health,
        Berlin, Germany.

     Reardon, D. C., Ney, P., Schueren, F., Cougle, J., & Coleman, P. K. (March, 2001). Suicide
        deaths associated with abortion: A record linkage study. Symposium paper presented at
        the 1st World Congress on Women’s Mental Health, Berlin, Germany Karraker, K. H.,
        Coleman, P. K., & Cottrell, L. (July, 2000). Prenatal and postnatal maternal self-efficacy.
        Poster presented at the 12th Biennial International Conference on Infant Studies.
        Brighton, UK.

     Coleman, P. K., Anderson, J., Bryan, S., Byrd, C., King, B., Lacy, A., Novarese, A., &
        Trent, (April, 2000). Potential process mechanisms linking parenting self-efficacy
        beliefs to parenting competence and toddler development. Poster presented at the 16th
        biennial meeting of the Conference on Human Development, Memphis, TN.

     Coleman, P. K., Anderson, J., Bryan, S., Byrd, C., King, B., Lacy, A., Novarese, A., & Trent,
        A. (April, 2000). Potential process mechanisms linking parenting self-efficacy beliefs to
        parenting competence and toddler development. Poster presented at Scientific Sewanee.

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     Coleman. P. K., Karraker, K. H, & Cottrell, L. (April, 2000). Prenatal and postnatal
        maternal cognitions as predictors of infant behavior and parenting competence in
        mothers of 3-6 month old infants. Poster presented at the 16th biennial meeting of the
        Conference on Human Development, Memphis, TN.

     Coleman, P. K., & Reardon, D. C. (June, 2000). State-Funded Abortions vs. Deliveries: A
        Comparison of Subsequent Mental Health Claims Over Six Years. Poster presented at the
        American Psychological Society, 12th Annual Convention, Miami, FL.

     Coleman, P. K., & Erwin, T. D. (June, 1999). Novelty-seeking and persistence among
        college students: Preliminary study of the Curiosity Index. Poster presented at the
        American Psychological Society, 11th Annual Convention, Denver, CO.

     Coleman, P. K., & Karraker, K. H. (April, 1999). Maternal self-efficacy beliefs as predictors
        of parenting competence and toddlers' behavior and development. Poster presented at the
        meeting of the Society for Research in Child Development, Albuquerque, NM.

     Karraker, K. H., & Coleman, P. K. (April, 1999). Mothers' predictions of their toddlers'
        performances on the Bayley Scales of Infant Development. Poster presented at the
        meeting of the Society for Research in Child Development, Albuquerque, NM.

     Karraker, K. H., & Coleman, P. K. (May, 1998). Parenting self-efficacy beliefs among
        mothers of school age children. Poster presented at the American Psychological Society,
        10th Annual Convention, Washington, DC.

     Coleman, P. K. (April, 1997). Toward a dynamic system of child development: The
        importance of changing environments and person-context relations. In A. W. O'Reilly
        (Chair), Dynamic systems theory: Taking seriously the complexity of organism-
        behavior-environment relations. Paper symposium conducted at the meeting of the
        Society for Research in Child Development, Washington, DC,

     Coleman, P. K., & Nelson, E. S. (April, 1997). The quality of abortion decisions and
        college students' reports of post-abortion emotional sequelae and abortion attitudes.
        Poster presented at the meeting of the Society for Research in Child Development,

  Professional Service

      Founder and Director of the World Expert Consortium for Abortion Research and Education
         (WECARE). The website for this 501 c(s), June, 2011-present. is www.wecareexperts.org

      Served as an external reviewer for Stacy Thompson’s promotion to Full Professor,
         Southern Illinois University (Sept, 2016).

      Served as an external reviewer for Dr. Alice Hall’s promotion to Full Professor, Georgia
         Southern University (Aug, 2016).

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      Served as an external reviewer for Dr. Shannon Zentall, applicant for tenure and
         promotion to Associate Professor in Child and Family Development in the School
         of Family and Consumer Sciences, University of Akron (Aug, 2015)
      Served as an external reviewer for M. Angela Nievar’s application for tenure.
         Development and Family Studies Program, Educational Psychology
         Department, University of North Texas. (Fall, 2009)

      Served as a reviewer for a report produced by the American Psychological Association
         Task Force on Abortion and Mental Health; submitted a 10 single-spaced page
         evaluation of their 80 page document reviewing the published literature between
         1990 and 2007. November, 2007.

      Served on the Scientific Committee for an international conference entitled “Abortion:
         Causes, Ramifications, Therapy” sponsored by the Demographic Committee of the
         Polish Academy of Science, The Ombudsman for Children in Poland, and the Institute
         of Psychiatry and Neurology (June, 2004).

      Serving on the Council of Healthcare Advisors, Gerson Lehrman Group. The Council of
         Healthcare Advisors provides investment analysts access to a highly structured network
         of industry and academic experts to conduct surveys, phone consultations, and arrange
         in-person events (Fall, 2003-present).

   Editorships of Journals

      Editorial Board Member for Current Women’s Health Reviews. (June 04 – present)

      Editorial Board Member Open General/Internal Medicine Journal (2007-present)

      Editorial Board Member Open Women’s Health Journal (2008-present) Editorial

      Member for the World Journal of Psychiatry (2011-present) Editorial Board Member,

   Reviewer for Submissions

    Addiction
    Annales Academiae Medicae Bialostocensis
    BMC Pregnancy and Childbirth
    British Journal of Medicine and Medical
    British Journal of Psychiatry
    Current Women’s Health Reviews
    Depression and Anxiety
    Developmental Psychology
    European Journal of Clinical Nutrition

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      European Journal of Psychology of Educations
      Family Relations
     General Hospital Psychiatry Infant Behavior and Development
     International Internet Journal of Mental Health
     Issues in Law and Medicine Journal of Adolescence
     Journal of Applied Developmental Psychology
     Journal of Child Psychology and Psychiatry and Allied Disciplines
     Journal of Clinical and Social Psychology
     Developmental Processes
     Journal of Family Psychology
     Journal of Medical Ethics
     Journal of Pediatrics
     Journal of Personality and Social Psychology
     Journal of Psychiatric Research
     Journal of Reproductive and Infant Psychology
     Journal of Women’s Health and Gender-Based Medicine
     Journal of Youth and Adolescence
     New England Journal of Medicine
     Obstetrics and Gynecology International
     Open Family Studies Journal
     Open Women’s Health Reviews
     Parenting: Science and Practice
     Psychology, Health, and Medicine
     Psychology in the Public Interest
     Research to Practice Journal for the Intervention Field
     Social Problems
     Social Sciences and Medicine
     The Lancet
     Women’s Health Issues

Honors and Awards

          Phi Kappa Phi, West Virginia University, 1997- present
          Recipient of College of Education and Human Development Faculty Scholarship Award,
          $1,000, August, 2004
          Doctoral Qualifying Exams “Pass with Distinction,” 1997.




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Expert Testimony
     Serving as an expert witness for the Defendant, SISTERSONG WOMEN OF COLOR
        REPRODUCTIVE JUSTICE COLLECTIVE, on behalf of itself and its members;
        FEMINIST WOMEN’S HEALTH CENTER, PLANNED PARENTHOOD SOUTHEAST,
        INC., ATLANTA COMPREHENSIVE WELLNESS CLINIC, ATLANTA
        WOMEN’S MEDICAL CENTER, FEMHEALTH USA d/b/a CARAFEM, and SUMMIT
        MEDICAL ASSOCIATES, P.C., on behalf of themselves, their physicians and other staff,
        and their patients; CARRIE CWIAK, M.D., M.P.H., LISA HADDAD, M.D., M.S., M.P.H.,
        and EVA LATHROP, M.D., M.P.H., on behalf of themselves and their patients; and
        MEDICAL STUDENTS FOR CHOICE, on behalf of itself, its members, and their patients,
        Plaintiffs, v. STATE OF GEORGIA, Defendant, August 2022-present.
      Serving as an expert witness for the Defendants in GRETCHEN WHITMER, on behalf of the
         State of Michigan, Plaintiff, v. JAMES R. LINDERMAN, et al. Defendants., August
         2022-present.
      Serving as a rebuttal expert witness in JANE DOE NO. 1; JANE DOE NO. 2; JANE DOE
         NO. 3; WILLIAM MUDD MARTIN HASKELL, M.D.; CASSIE HERR, N.P.; KELLY
         MCKINNEY, N.P.; and WOMEN’S MED GROUP PROFESSIONAL CORPORATION,
         Plaintiffs, v. ATTORNEY GENERAL OF INDIANA; COM-MISSIONER OF THE
         INDIANA STATE DE-PARTMENT OF HEALTH; MEDICAL LI-CENSING BOARD
         OF INDIANA; INDIANA STATE BOARD OF NURSING; and MARION COUNTY
         PROSECUTOR, September, 2021–present.

      Serving as an expert witness in JANE SMITH, JILL PARK, MARY DOE, ANN JONES, and
         DR. AMY MOE, Plaintiffs, v. ANDREW CUOMO, as Governor of the State of New York
         in his official capacity et al. Defendants. In the UNITED STATES DISTRICT COURT
         NORTHERN DISTRICT OF NEW YORK, December 2020-present.

      Served as an expert witness in American College of Obstetricians and Gynecologists, et al.,
         Plaintiffs, vs. United States Food and Drug Administration, et al., Defendants
         (Case No. 8:20-cv-1320-TDC).

      Affidavit filed with an AMICUS CURIAE BRIEF OF FORMER ABORTION PROVIDERS;
         THE NATIONAL ASSOCIATION OF CATHOLIC NURSES, U.S.A.; AND THE
         NATIONAL CATHOLIC BIOETHICS CENTER IN SUPPORT OF RESPONDENT, June
         Medical Services LLC v. Gee, SUPREME COURT of the UNITED STATES, December,
         2019.

      Served as an expert witness in PLANNED PARENTHOOD ASSOCIATION OH UTAH,
        Plaintiffs v. JOSEPH MINER, et al, in the UNITED STATES DISTRICT COURT FOR THE
        DISTRICT of UTAH (Case No. 2:19-cv-00238).

      Served as an expert witness in REPRODUCTIVE HEALTH SERVICES OF PLANNED
        PARENTHOOD OF THE ST. LOUIS REGION, INC., on behalf of itself, its physicians, its
        staff, and its patients, and COLLEEN P. MCNICHOLAS, D.O., M.S.C.I., F.A.C.O.G., on
        behalf of herself and her patients, Plaintiffs, v. MICHAEL L. PARSON, in his official capacity
        as Governor of the State of Missouri; ERIC S. SCHMITT, in his official capacity as Attorney
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       General of the State of Missouri, et al., Defendants, in THE UNITED STATES DISTRICT
       COURT FOR THE WESTERN DISTRICT OF MISSOURI CENTRAL
       DIVISION (Case No. 2:19-cv-4155).

    Served as an expert witness in WHOLE WOMAN’S HEALTH ALLIANCE; ALL- OPTIONS,
       INC.; and JEFFREY GLAZER, MD, Plaintiffs v. CURTIS HILL, Attorney General of
       Indiana, in his official capacity et al., Defendants, in the UNITED STATES DISTRICT
       COURT FOR THE SOUTHERN DISTRICT OF INDIANA INDIANAPOLIS DIVISION
       (Case no. 1:18-cv-1904).
    Served as an expert witness in AMERICAN CIVIL LIBERTIES UNION OF MISSOURI
       and SARA E. BAKER, Plaintiffs v. JOHN R. ASHCROFT, et al., Defendants, in the
       CIRCUIT COURT OF COLE COUNTY, STATE OF MISSOURI (Case No. 19AC-
       CC00246).
    Served as an expert witness in CAITLIN BERNARD, M.D., et al., Plaintiffs, v. THE
       INDIVIDUAL MEMBERS OF THE INDIANA MEDICAL LICENSING BOARD, et
       al., in the UNITED STATES DISTRICT COURT, SOUTHERN DISTRICT,
       INDIANAPOLIS DIVISION (Case No. 1:19-cv-1660-SEB-DML.
    Served as an expert witness in Campagne Québec-Vie et al vs. Attorney-General of
       Québec in the Superior Court of Quebec.
    Served as an expert witness in Hughes v. Hughes, Supreme Court of British Columbia,
       Canada.
    Served as an expert witness in ADAMS & BOYLE, P.C., on behalf of itself and its
       patients; et al., Plaintiffs, v. HERBERT H. SLATERY III, Attorney General of
       Tennessee, in his official capacity; et al. In the United States District Court for the
       MIDDLE DISTRICT OF TENNESSEE NASHVILLE DIVISION (Case no. 3:15-cv-
       00705).

    Served as an expert witness in COMPREHENSIVE HEALTH OF PLANNED
       PARENTHOOD GREAT PLAINS, et al., Plaintiffs, RANDALL WILLIAMS, M.D.,
       in his Official capacity as Director of the Missouri Department of Health and Senior
       Services, et al., Defendants. In the United States District Court for the Western
       District of Missouri Case No. 2:16-cv-04313-HFS).

    Served as an expert witness in COMPREHENSIVE HEALTH PLANNED
       PARENTHOOD GREAT PLAINS, et. al., Plaintiffs, v. JOSHUA D. HAWLEY, in
       his official capacity as Attorney General of Missouri, et. al., Defendants. In the Circuit
       Court of Jackson County, Missouri at Kansas City (Case No. 1716-CV24109).

    Served as an expert witness in GAINESVILLE WOMAN CARE LLC d/b/a BREAD AND
       ROSES WOMEN'S HEALTH CENTER, on behalf of itself, its doctor, and its patients;
       and MEDICAL STUDENTS FOR CHOICE, on behalf of its members and their patients,
       Plaintiffs, v. STATE OF FLORIDA; FLORIDA DEPARTMENT OF HEALTH; JOHN
       H. ARMSTRONG, M.D., in his official capacity as Secretary of Health for the State of
       Florida et al. In the Circuit Court of the Second Judicial Circuit in and for Leon County,
       Florida (Case No. 2015-CA-001323).

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  Served as a litigation consultant for WHOLE WOMAN’S HEALTH, et al., Plaintiffs, v.
     KEN PAXTON, et al., Defendants, State of Texas, In the United States District Court
     for the Western District of Texas Austin Division (Civil Action No.1:17-cv-00690-
     LY), September 2017.

  Served as an expert witness in COMPREHENSIVE HEALTH OF PLANNED
     PARENTHOOD GREAT PLAINS, et al. v. PETER LYSKOWSKI, in his official
     capacity as Director of the Missouri Department of Health and Senior Services, et al. In
     the United States District Court for the Western District of Missouri Central Division
     (Case No. 2:16-cv-04313).

  Served as an expert witness in Planned Parenthood Minnesota, North, Dakota, South
     Dakota, and Carol E. Ball, MD, Plaintiffs, vs. Dennis Daugaard, Governor SD, Marty
     J. Jackley, Attorney General SD, ALPHA CENTER, Sioux Falls, SD, Intervenors.
     House Bill 1217. In the United States District Court for the District of South Dakota
     Southern Division (Civ. 11-4071-KES).

  Served as an expert witness for the Office of the Attorney General, Civil Litigation
     Division as an expert witness on behalf of the State of North Dakota in defense of
     House Bill 1456. In the United States District Court for the District of North Dakota
     Southwestern Division (Case No. 1:13-CV-071).

  Affidavit submitted in a Brief of Women and Families Hurt by RU-486 as Amici Curiae in
     Support of Petitioners in the Supreme Court of the United States in the case of Terry
     Cline, in his official capacity as Oklahoma Commissioner of Health, et al., Petitioners,
     v. Oklahoma Coalition for Reproductive Justice et al., Respondents on Petition for a
     Writ of Certiorari to the Supreme Court of Oklahoma (Case N0: 111939), April, 2013.

  Provided Oral testimony as an expert witness for Senate Bill 49, State of Alaska March,
     2013

  Provided expert testimony for Ohio House Bill 78, Post-Viability Ban, March, 2011.

  Affidavit submitted in the case of PLANNED PARENTHOOD OF THE HEARTLAND vs. DAVE
    HEINEMAN, Governor of Nebraska: JON BRUNING, Attorney General of Nebraska; KERRY
    WINTERER, Chief Executive Officer, and DR. JOANN SCHAEFER, Director of the Division
    of Public Health, Nebraska Department of Health and Services; and CRYSTAL HIGGINS,
    President, Nebraska Board of Nursing, and BRENDA BERGMAN-EVANS, President, Nebraska
    Board of Advanced Practice Registered Nurses, In the United States District Court for the
    District of Nebraska (Case No: 4:10-cv-3122), July 1010.

 Affidavit submitted to the Supreme Court of the United States in support of Amicus Brief of Sandra
    Cano, the former “Mary Doe” of Doe v. Bolton and the American Association of Pro-Life
    Obstetricians and Gynecologists (AAPLOG) in Rosa Acunav. Sheldon C. Turkish, M.D., May,
   2008.


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    Provided Oral Testimony, Health Sub-committee, Committee on Energy and Commerce, U.S.
      House of Representatives. H.R. 20, the Melanie
      Blocker-Stokes Postpartum Depression and Care Act, Washington, DC, May 1, 2007.

    Served as an Expert witness, Zallie v. Brigham, Camden, NJ, Superior Court of New Jersey
      Law Division, Camden County (Docket No: CAM-L-5528-04).

    Served as an expert witness, ROE ET AL. v. PLANNED PARENTHOOD, Hamilton County
      Court of Common Pleas (Case No: A0502691) Cincinnati, OH.

    Served as an expert witness for the defense in PLANNED PARENTHOOD MINNESOTA,
       NORTH DAKOTA, SOUTH DAKOTA, and CAROL E. BALL, M.D., Plaintiffs, v. MIKE
       ROUNDS, Governor, and LARRY LONG, Attorney General, Defendants, HB 1166,
       United States District Court for the District of South Dakota (Civil Case No.: 05-4077).
       December 2005-2012.

    Assisted legislation consultant, Vincent Rue, Ph.D. hired by Attorney General Phil Kline
       of Kansas in the defense of a mandatory underage sexual activity reporting statute
       (S.A.38-1522), AID FOR WOMEN v FOULSON, Federal District Court, October,
       2005 February 2006.

    Provided expert testimony for Ohio House Bill 239 pertaining to studies comparing the
       psychological effects of abortion versus childbirth, October 12, 2005.

    Provided expert testimony to the South Dakota Task Force to Study Abortion on post- abortion
       mental health literature accumulated since 1973. The task force consists of eight legislators
       and nine medical and legal professionals and interested lay persons charged with studying
       the application of medical, psychological, technological, societal, economic, and
       sociological developments and research to legislative and public policy formulations on
       abortion issues. South Dakota, September 21, 2005.




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                  Exhibit 38
       Declaration of Tumulesh K.S. Solanky




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                     DECLARATION OF TUMULESH K. S. SOLANKY
       1.       I, Tumulesh K. S. Solanky, state under oath that I am of at least 18 years of age,

and that I am competent to testify as follows.

       2.       I am a professor and chair of the mathematics department at the University of New

Orleans (UNO). I am also the University of Louisiana System Foundation and Michael and Judith

Russell Professor in Data/Computational Sciences. I have a PhD degree in Statistics from the

University of Connecticut. I have been teaching statistics and mathematics at the University of

New Orleans since August of 1990. I have taught a number of graduate classes in statistics, such

as Sampling Theory, Applied Statistics, Regression Analysis, Linear Models, Design of

Experiments, Biostatistics, Statistical Consulting, Nonparametric Statistics, Data Analytics,

Multivariate Analysis, and Time Series Analysis.

       3.       At present, I serve as an associate editor of four scholarly journals including the

American Journal of Mathematical and Management Sciences. My primary research interest is in

the area of data collection/sampling strategies and deriving new sampling designs to collect and

analyze data.

       4.       I have authored/coauthored a research level book in Statistics, two book chapters,

and over twenty research articles in scholarly peer-reviewed journals. I have also served as the

guest editor of a special issue of AJMMS in my research area. I have presented my research at

over 50 national and international conferences/meetings of peers. I have provided my statistical

expertise to the National Aeronautics and Space Administration (NASA), the United States

Department of Agriculture (USDA), banks, hospitals, school boards, polling firms, Attorneys

General Offices, District Attorney’s Offices, and others. As a statistical consultant, I have designed

a number of surveys and authored over 150 internal/expert reports.



                                                  2


                                                                                            App. 0648
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        5.       I have testified in Press Robinson, et al., v. Kyle Ardoin; City of Walker, et al. v.

Louisiana State Transportation; Little Rock Family Planning Services, et al., v. Leslie Rutledge et

al.; Planned Parenthood Great Plains et al., v Larry Jegley et al.; June Medical Services, LLC, et

al. v. Kathy Kliebert, et al.; US v. Henry Evans, et al; Albert Woodfox v. Burl Cain, et al.; Down

South Entertainment v. SMG; Mumphrey v. Chalmette Medical Center; and in a Medicare appeal

in an Administrative Law Judge (ALJ) court as a statistical expert witness. I have also served as

the court appointed statistical expert in a complex litigation matter between Charles Foti, Attorney

General EX REL. State of Louisiana v. Janssen Pharmaceutica, Inc. The details of these are

available in my Curriculum Vitae attached as Exhibit “A”.

        6.       A number of researchers and federal agencies have studied the impact of generic

drugs on the availability of the drugs in US and the cost of generic drugs relative to the cost of

non-generic drugs.

        7.       Based on the Office of Generic Drugs (OGD) 2022 Annual Report1, the generic

drug competition lowers drug prices and improves access to needed drugs in United States. The

OGD report concludes that approval of generics often means that there are multiple manufacturers

for a drug product, which stabilizes the supply of medicines and reduces the risk of drug shortages.

The OGD Annual Report states:

        Competition from generic drug makers helped make drugs more widely available and

        generally less expensive, allowing millions of patients to access the medicines they need

        more easily.




1
 The Office of Generic Drugs, 2022 Annual Report is available for download at the website (last accessed on
September 28, 2023) https://www.fda.gov/media/165435/download#page=9


                                                        3


                                                                                                       App. 0649
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        8.        The OGD report further notes that for certain pharmaceutical products, known as

complex products, which are harder to develop as generics there are few or no generics. And, in

the absence of market competition, these medicines can be so expensive that patients who need

them may not be able to afford them.

        9.        In a recent article, Gupta et al. (2019)2, studied the cost of prescription drugs in the

U.S. and found that the drug prices typically decline rapidly once generic drugs receive U.S. Food

and Drug Administration (FDA) approval and enter the market. The researchers concluded that

the greater the number of generic manufacturers’ versions in a market, the steeper the price decline,

with prices decreasing to less than 20% of the original drug’s price. The researchers have reported

that a 2005 FDA analysis found that after patent and exclusivity expiration, the introduction of one

generic manufacturer into the market reduced the price of the drug by only 6%, whereas, with two

generic manufacturers, the price reached 52% of the brand-name drug’s price. Figure 1 below

summarizes the relationship between the number of generic manufacturers and the average relative

price per dose.

                           Figure 1: Generic Competition and Drug Prices
                            (Reproduced Figure 1 in Gupta et al. (2019))




2
 Gupta R, Shah ND, Ross JS. Generic Drugs in the United States: Policies to Address Pricing and Competition. Clin
Pharmacol Ther. 2019 Feb;105(2):329-337. doi: 10.1002/cpt.1314. Epub 2019 Jan 10. PMID: 30471089; PMCID:
PMC6355356.

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        10.     For the trend presented in Figure 1, there is statistically significant negative

correlation between the number of generic manufacturers and the average relative price per dose

(correlation is -0.827, P < 0.0001). As reported in Gupta et al. (2019), the biggest drop is observed

with two generic manufacturers and the price reached 52% of the brand-name drug’s price in that

case. Additionally, the price drop continues in general as the number of number of generic

manufacturers increases from 2 to 19 (a drop of 2.18 percent relative to the brand-name drug’s

price for each additional generic manufacturer; R-Square for a regression model is 0.8554 and the

model P < 0.0000001).

        11.     Other researchers have also studied this relationship between the number of generic

manufacturers and the average relative price per dose and have arrived at similar conclusions as in

Gupta et al. (2019), For example, Hartzema, et al. (2017)3 reported that the number of

manufacturers of the generic drug was strongly associated with drop in the relative price (P<0.001

for trend).




3
 Dave CV, Hartzema A & Kesselheim. As Prices of Generic Drugs Associated with Numbers of Manufacturers. N
Engl J Med 377, 2597–8 (2017).

                                                    5


                                                                                                 App. 0651
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       12.     Assuming the abortion demand stays the same and the cost of surgical abortion

stays the same or significantly higher than with mifepristone, approval of the generic version of

mifepristone will lead to drop in the price of mifepristone and that will lead to the quantity of

mifepristone sold to increase.

       13.     Assuming that the generic version of the drug mifepristone is chemically the same

as the already approved drug mifepristone, the following is expected:

       1.     Approval of a generic drug, like generic mifepristone, would increase the supply of

       that drug due to competition from generic drug makers and would make the drug more

       widely available and generally less expensive

       2.     The approval of the generic version of mifepristone is statistically likely to lead to

       an increase in use of mifepristone for abortion.



       14.     I declare under penalty of perjury that the foregoing is true and correct.

Executed on October 23, 2023.




________________________
Tumulesh K. S. Solanky, PhD




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                                                   Exhibit “A”
                                   (CV OF TUMULESH K. S. SOLANKY)

ADDRESS:
Home: 4717 Rue Laurent, Metairie, LA 70002.
Cell Phone: (504) 427-0188
Email: tsolanky@gmail.com
Citizenship: USA

EDUCATION:
Ph.D. in Statistics                   University of Connecticut, 1990
M.Sc. in Mathematics                  Indian Institute Of Technology, New Delhi, India, 1987
B.Sc. in Mathematics (Honors)         University of Delhi, India, 1985

EMPLOYMENT AND POSITIONS:
August 2008-present     Professor and Chair of the Mathematics Department
2021- present           The University of Louisiana System Foundation and
                        Michael and Judith Russell Professor in Data/Computational Sciences
2001- 2008              Professor of Mathematics, University of New Orleans
1995-2001               Associate Professor of Mathematics, University of New Orleans
1996-1997               Visiting Associate Professor, University of Toronto (On Sabbatical Leave)
1990-1995               Assistant Professor of Mathematics, University of New Orleans
1989-1990               Lecturer of Statistics, University of Connecticut

MAJOR AWARDS
(i). Seraphia D. Leyda University Teaching Fellow, Awarded in year 2009.
(ii). Cooper R. Macklin Medallion, Awarded in year 2018. Cooper R. Macklin Medallion is awarded to a faculty
or staff member who has made outstanding contributions in support of the University’s mission. The recipient
is an individual who has demonstrated excellent, sustained, and selfless service to the university.

MAJOR STATISTICAL CONSULTING EXPERIENCE:

42. DR. DOROTHY NAIRNE, et al., v. KYLE ARDOIN, in his official capacity as Secretary of State for Louisiana,
consolidated with EDWARD GALMON, SR., et al.; CIVIL ACTION NO. 3:22-cv-00178 SDD-SDJ.
Duration: May 2022— present.
Extent of Involvement: Submitted two expert reports; Deposed.

41. Louisiana Organ Procurement Agency (LOPA) and Mid-America Transplant Services (MOMA), St
Louis, MO; Assisted LOPA and MOMA with statistical analysis related to organ procurement data in
Louisiana and Missouri.
Duration: August 2021— present.
Extent of Involvement: Submitted several internal reports.

40. PRESS ROBINSON, et al., v. KYLE ARDOIN, in his official capacity as Secretary of State for Louisiana,
consolidated with EDWARD GALMON, SR., et al.; CIVIL ACTION NO. 3:22-CV-00211-SDD-SDJ
consolidated with NO. 3:22-CV-00214-SDD-SDJ;
Duration: May 2022— June 2022.
Extent of Involvement: Submitted two expert reports; Testified in Court.

39. Robert Mark Turner v. Go Auto Insurance Company, Suit Number: 678,933; Division: "25”; Assisted Go Auto
Insurance Company with statistical analysis of claims data.
Duration: May 2021— October 2021.
Extent of Involvement: Submitted expert report; Deposed.

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38. UNITED STATES OF AMERICA v. LOUIS AGE, JR., et al., NO. 2:16-CR-00032; Assisted the Clerk of Court for
the Eastern District of Louisiana (EDLA) by reviewing and analyzing the jury selection process from the 13 parishes in
EDLA.
Duration: April 2020—June 2021.
Extent of Involvement: Submitted expert report.

37. Jackson Women’s Health Organization v. Dobbs, No. 3:18-cv-00171 (S.D. Mississippi);
Duration: April 2020--.
Extent of Involvement: Submitted expert report; Deposed.

36. Planned Parenthood Arizona Incorporated, et al., v. Mark Brnovich, et al., Case No. CV-19-00207-TUC-JGZ (U.S.
District Court for the District of Arizona);
Duration: May 2020- August 2020.
Extent of Involvement: Submitted expert report.

35. STATE OF LOUISIANA v. MELVIN CARTEZ MAXIE (NUMBER: 13-CR-072522), llTH JUDICIAL DISTRICT
COURT, SABINE PARISH, LOUISIANA;
Duration: June 2019- November 2019.
Extent of Involvement: Statistical Work; Submitted Trial Exhibits.

34. LITTLE ROCK FAMILY PLANNING SERVICES, et al., v. LESLIE RUTLEDGE, et al.;
Duration: June 2019- August 2019.
Extent of Involvement: Submitted two expert reports; Testified in Court.

33. 19th Judicial District Court, Parish of East Baton Rouge, State of Louisiana; City of Walker, et al. versus State of
Louisiana through the Department of Transportation and Development, et al.;
Duration: March 2018- March 2019.
Extent of Involvement: Submitted one expert report; Testified in Court.

32. PLANNED PARENTHOOD OF ARKANSAS & EASTERN OKLAHOMA, d/b/a PLANNED PARENTHOOD
GREAT PLAINS and STEPHANIE HO, M.D., on behalf of themselves and their patients, v LARRY JEGLEY,
Prosecuting Attorney for Pulaski County, in his official capacity, his agents and successors; MATT DURRETT,
Prosecuting Attorney for Washington County, in his official capacity, his agents and successors;
Duration: June 2018- December 2018.
Extent of Involvement: Submitted one expert report; Testified in Court.

31. UNITED STATES DISTRICT COURT, WESTERN DISTRICT OF MISSOURI, CENTRAL DIVISION,
COMPREHENSIVE HEALTH OF PLANNED PARENTHOOD GREAT PLAINS, et al. v. RANDALL W.
WILLIAMS, MD, in his official capacity as Director of the Missouri Department of Health and Senior Services, et al.;
Duration: January 2018- November 2019.
Extent of Involvement: Submitted two expert reports; Deposed.

30. UNITED STATES DISTRICT COURT, SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION, REBA
CARTER, et. al., v. HOUSTON INDEPENDENT SCHOOL DISTRICT;
Duration: June 2017- April 2018.
Extent of Involvement: Submitted expert report.

29. CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS, STATE OF LOUISIANA, HG NEW ORLEANS
RETAILERS JOINT VENTURE vs. THE CITY OF NEW ORLEANS by and through THE NEW ORLEANS
AVIATION BOARD;
Duration: July 2017- August 2017.
Extent of Involvement: Submitted expert report.




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28. UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF LOUISIANA, UNITED STATES of AMERICA
v. HENRY EVANS, M.D., MICHAEL JONES, M.D., SHELTON BARNES, M.D., GREGORY MOLDEN, M.D.,
PAULA JONES, JONATHON NORA;
Duration: September 2016- May 2017.
Extent of Involvement: Testified in Court.

27. UNITED STATES DISTRICT COURT, WESTERN DISTRICT OF MISSOURI, CENTRAL DIVISION,
COMPREHENSIVE HEALTH OF PLANNED PARENTHOOD GREAT PLAINS, et al. v. PETER LYSKOWSKI, in
his official capacity as Director of the Missouri Department of Health and Senior Services, et al.;
Duration: January 2017- August 2017.
Extent of Involvement: Submitted two expert reports.

26. UNITED STATES of AMERICA v. RODNEY HESSON, ET AL, DISTRICT COURT, EASTERN DISTRICT OF
LOUISIANA;
Duration: August 2016- January 2017.
Extent of Involvement: Submitted reports/Trail Exhibits.

25. UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF ARKANSAS WESTERN DIVISION
PLANNED PARENTHOOD ARKANSAS & EASTERN OKLAHOMA, d/b/a PLANNED PARENTHOOD OF THE
HEARTLAND; and STEPHANIE HO, M.D. v. LARRY JEGLEY, Prosecuting Attorney for Pulaski County, in his
official capacity and MATT DURRETT, Prosecuting Attorney for Washington County;
Duration: December 2015- February 2016.
Extent of Involvement: Submitted expert report.

24. UNITED STATES DISTRICT COURT, MIDDLE DISTRICT OF LOUISIANA, JUNE MEDICAL SERVICES,
LLC, ET AL., KATHY KLIEBERT, ET AL;
Duration: October 2014- August 2016.
Extent of Involvement: Submitted expert report; Deposed; Testified in Court.

23. United States District Court, Middle District of Louisiana, Albert Woodfox v. BURL CAIN, Warden of the
Louisiana State Penitentiary, ET AL., Civil Action; Assisted the Office of the Attorney General of Louisiana related to a
jury selection matter.
Duration: September 2011- August 2013.
Extent of Involvement: Submitted two expert reports; Deposed; Testified in Court.

22. United States District Court EDLA, U.S. v. Khlgatian, et al, Criminal Docket Number 11-105 "I"; Assisted a federal
agency and the Office of the AUSA; sampling of the patient charts; statistical comparisons with peers.
Duration: February 2012- December 2012.
Extent of Involvement: Submitted two expert reports.

21. United States District Court, Eastern District of Louisiana, Diamond Young, et al. v. United States of America, C.A.
No. 11-2438, Section "H" (5); Civil Action;
Duration: April 2012- December 2012.
Extent of Involvement: Submitted an expert report.

20. Statistical Consultant: Textron Marine & Land Systems; Provided statistical expertise related to product
reliability/testing/sampling and quality control;
Duration: September 2010- January 2011.
Extent of Involvement: Submitted an expert report.

19. United States District Court, St. Tammany Parish Hospital. vs. Ace American Ins. Co. and Trinity Marine Products,
Inc. (and several other related cases); Civil Action;
Duration: March 2010- March 2012.
Extent of Involvement: Submitted over ten expert reports; Deposed.



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                                                                                                               App. 0655
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18. United States District Court, Eastern District of Louisiana, Malcolm Louis LeBlanc, et al. vs. Chevron USA Inc., et
al.; Civil Action;
Duration: October 2008- July 2010.
Extent of Involvement: Submitted an expert report; Deposed.

17. United States District Court, 27th Judicial District, Opelousas, Charles C. Foti, Jr., et al. vs. Janssen Pharmaceutica, et
al.; Civil Action; Served as the court appointed Statistical Expert to assist the court in a complex litigation matter.
Duration: August 2008- July 2010.

16. GCR, New Orleans and Barrios, Kingsdorf & Casteix, L.L.P.; Statistical Consultant; Provided statistical expertise to
GCR in statistical analysis of CDW related matter;
Duration: January 2010- March 2010.
Extent of Involvement: Submitted expert report.

15. United States District Court, 24th Judicial District, Parish of Jefferson, Warren Lester, et al. vs. Exxon Mobil
Corporation, et al.; Civil Action;
Duration: March 2008- May 2010;
Extent of Involvement: Assisted the attorneys and other experts; Submitted expert reports; Deposed twice.

14. Medicare Matter. Contact persons: Charles Taylor and Jacqueline Griffith (Chehardy, Sherman, Ellis, Murray,
Recile, Griffith, Stakelum & Hayes, L.L.P.
Duration: October 2009- December 2009.
Extent of Involvement: Submitted an expert report; Testified in Court (via Video Conference).

13. United States District Court, St. Bernard Parish, Mumphrey v. Chalmette Medical Center; Civil Action;
Duration: October 2008- November 2008.
Extent of Involvement: Submitted an expert report; Deposed; Testified in Court.

12. GCR, New Orleans; Statistical Consultant; Provided statistical expertise to GCR in designing polls & analyzing the
poll results for the state elections in 2007;
Duration: May 2007- October 2007.

11. United States District Court, 19th Judicial District, Parish of East Baton Rouge, Patrick J. Cunningham, et al. vs. IBM
Corp.; Civil Action;
Duration: December 2006- August 2007;
Extent of Involvement: Assisted the attorneys and other experts; wrote over 25 internal reports related to statistical
computations and interpretation of results.

10. UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF LOUISIANA; Provided statistical expertise in a
jury selection matter; Wrote an expert report/Affidavit; Attorney, Eastern District of Louisiana.
Duration: May 2006- August 2006;

9. United States District Court, Eastern District of Texas, June Pryor Avance, et al. vs. Kerr-McGee Chemical LLC;
Civil Action; Statistical Expert; Wrote three expert reports/Affidavits on statistical projections;
Duration: January 2005- July 2007;
Extent of Involvement: Deposed.

8. United States District Court, Down South Entertainment versus SMG; Civil Action; Statistical estimation of crowd for
Easter Jam; Wrote three expert reports on statistical projections and the reliability of projections;
Duration: December 2003- May 2005;
Extent of Involvement: Deposed twice and testified in court.

7. Naval Oceanographic Center (US Navy), Mississippi; statistical guidance to update their methods of data collection
and data storage, statistical algorithms to discard the noise and save only the relevant data. Duration: May 1998- March
2002.


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6. United States District Court, Bank of Louisiana versus Kenwin Shops Inc.; Civil Action; Wrote two expert reports on
statistical analysis related to Bankruptcy of a BOL’s client;
Duration: May 1999- December 1999; Extent of Involvement: Deposed.

5. Jefferson Parish Public Schools; As the statistician for the court appointed expert witness: designed a survey of schools
under Jefferson Parish Public Schools, assisted in statistical projections reported to the court.
Duration: August 1998- January 1999.

4. Lifemark Hospitals of Louisiana (Kenner Regional Medical Center); Statistical sampling of patient charts; Wrote three
expert reports on statistical analysis/ sampling of the patient charts;
Duration: August 1996 – August 1997; Extent of Involvement: Deposed.

3. KPMG New Orleans; Sample size determination, Designed and Analyzed samples of patient charts/drug usage to
estimate total drug cost for the Tenet group of Hospitals/Lifemark Hospitals; Wrote two expert reports on statistical
analysis;
Duration: August 1994 – December 1995.

2. USDA, Department of Forestry, Louisiana: Statistical assistance to USDA in data collection, designing and modeling,
Models used: Time-Series Models (for forecasting; Both Time Domain--ARIMA MODELS-- and Frequency Domain
models).
Duration: August 1991- December 1994.

1. NASA Stennis Space Center, Mississippi: Statistical Design and Analysis of the Rocket Seal Configuration Tester,
assisted NASA with the statistical issues related to the design of experiments and performance evaluation of the rocket
seals.
Duration: August 1994-December 1995.

CURRENT EDITORIAL SERVICE:
     Associate Editor: AJMMS (American Journal of Mathematical and Management Sciences), 2012-present.
     Associate Editor: Sequential Analysis, 2003-present.
     Associate Editor: Journal of Combinatorics, Information and System Sciences, 2003-present.
     Associate Editor: Journal of the Indian Society of Agricultural Statistics, 2009-present.

SCHOLARLY/PROFESSIONAL ACTIVITIES:
          President, Louisiana Chapter of American Statistical Association: 1994-1995.
          Vice-President, Louisiana Chapter of American Statistical Association: 1993-1994.
          Secretary, Louisiana Chapter of American Statistical Association: 1995-1996.
          Reviewer: Journal of Statistical Planning and Inference, Sequential Analysis, Metrika, Communications in
statistics, Statistics and Decisions, and others.
          Member: American Statistical Association (ASA), Life member of the Forum for Interdisciplinary
           Mathematics.
          Selection Committee Chair: Abraham Wald Prize in Sequential Analysis for Best Paper: Sequential Analysis
Journal. The first prize was awarded at JSM, 2005. Chaired the international selection committee from 2006-2023.
          Guest Editor: Special Volume of AJMMS (American Journal of Mathematical and Management
           Sciences). Co- edited a special volume of AJMMS related to my research area of Selection and
           Ranking/MCP.
●          Symposium Organizer: Co-organized “Symposium on Ranking and Selection Methodologies –
          Multiple Comparison Procedures”. The symposium was held during the Pre-ICM International
          Convention on Mathematical Sciences, University of Delhi, December, 2008.
●          Symposium Organizer: Co-organized a symposium at the Auburn University (December 2005) in my
research area of Selection and Ranking/MCP. I also chaired the symposium. The symposium was held
during the SCMA 2005/FIM XII Conference.


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       Editor (Statistical Science): AJMMS (American Journal of Mathematical and Management Sciences),
     2009-2012.
       Associate Editor: Statistical Methodology, 2010-2015.


RESEARCH PUBLICATIONS
Scholarly books:
(i.) Multistage Selection and Ranking Procedures: Second-Order Asymptotics, Marcel Dekker, Inc., ISBN No.: 0-8247-
9078-2, (with N. Mukhopadhyay), 1994.

Refereed Scholarly book chapters:
(i.) On an improved accelerated sequential methodology with applications in selection and ranking, Frontiers in
Probability and Statistics, Editors: S.P. Mukherjee, et al., 250-259, 1998, (with N. Mukhopadhyay).

(ii). Applications of Sequential Tests to Target Tracking by Multiple Models, Applied Sequential Methodologies, Marcel
Dekker, edited by N. Mukhopadhyay, et al., 219-247, 2004, (with X. Rong Li).

As Guest Editor of a Journal’s Special Issue:

Co-edited a Special Volume of AJMMS (American Journal of Mathematical and Management Sciences) in my research
area: RANKING AND SELECTION AND MULTIPLE COMPARISON PROCEDURES. American Journal of
Mathematical and Management Sciences, Volume 29 (2009), Nos. 1 & 2, 294 pages.

As Associate Editor of Conference Proceedings:

SOME RECENT ADVANCES IN MATHEMATICS AND STATISTICS, Proceedings of Statistics 2011 Canada/IMST
2011-FIM XX, Editor: Yogendra P Chaubey, World Scientific Publishing Co. Pte. Ltd., 2013.


REFEREED JOURNAL PUBLICATIONS

26. Second Order Asymptotics of a Fine-Tuned Purely Sequential Procedure for the Generalized Partition Procedure,
Statistics and Applications, Volume 19, No. 1, 401-415, 2021.

25. A Generalization of the Partition Problem, Sequential Analysis, 34(04), pp. 483 – 503, 2015 (with Jie Jhou).

24. Discussion on “Sequential Estimation for Time Series Models” by T. N. Sriram and Ross Iaci, Sequential Analysis,
33(02), pp. 186 – 189, 2014.

23. On Two-stage comparisons with a control under heteroscedastic normal distributions, Methodology and Computing in
Applied Probability, Volume 14, Number 3, Pages 501-522, 2012 (with N. Mukhopadhyay).

22. Second-Order Asymptotics of a Fine-Tuned Unbalanced Purely Sequential Procedure For The Partition Problem,
Journal of Combinatorics, Information and System Sciences, vol. 36, 233-248, 2011.

 21. Discussion on “Two-Stage Procedures for High-Dimensional Data” by Makoto Aoshima and Kazuyoshi Yata,
Sequential Analysis, 30(04), pp. 429 – 431, 2011.

20. On Approximate Optimality of the Sample Size for the Partition Problem, Communications in Statistics - Theory and
Methods, 38:16, 3148 — 3157, 2009 (with Y. Wu).

19. Discussion on “A Hybrid Selection and Testing Procedure with Curtailment” by Elena M. Buzaianu and Pinyuen
Chen, Sequential Analysis, 28:1, 38-40, 2009.


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                                                                                                            App. 0658
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18. A two-stage procedure with elimination for partitioning a set of normal populations with respect to a control,
Sequential Analysis, 25, 297-310, 2006.

17. On unbalanced multistage methodologies for the partition problem, Proceedings of the International Sri Lankan
Statistical Conference: Visions of Futuristic Methodologies, 447-466, 2004 (with Y. Wu).

16. Predicting multivariate response in linear regression model, Commun. in Statistics, Simulation & Computation, Vol.
32, No. 2, 389-409, 2003 (with M. Srivastava).

15. Multistage methodologies for comparing several treatments with a control, Journal of Statistical Planning and
Inference, 100, No. 2, 209-220, (with N. Mukhopadhyay), 2002.

14. A sequential procedure with elimination for partitioning a set of normal populations having a common unknown
variance, Sequential Analysis, Vol. 20 (4), 279-292, 2001.

13. Estimation of coating time in the magnetically assisted impaction coating process, Journal of Powder Technology I,
121, 159-167, 2001(P. Singh, T.K.S. Solanky, R. Mudryy, R. Pfeffer, and R. Dave).

12. Power comparison of some tests for detecting a change in the multivariate mean, Commun. in Statistics, Simulation
& Computation, Volume 30, Issue 1, 19--36 (2001) (with M. Srivastava and A.K. Sen).

11. Convection and local acceleration dominated regimes in Lennard-Jones liquids, Physics Letters A, 266, 11-18
(2000) (with P. Singh).

10. A Robust Methodology for selecting the smaller variance, Journal of Nonparametric Statistics, Vol. 11, 361-376
(1999) (with N. Mukhopadhyay and A. Padmanabhan).

9. Multistage methodologies for fixed-width simultaneous confidence intervals for all pairwise comparisons, Journal of
Statistical planning and Inference, 73, 163-176 (1998) (with N. Mukhopadhyay).

8. On estimating the reliability after sequentially estimating the mean: the exponential case, Metrika, 45(3), 235-252
(1997) (with N. Mukhopadhyay and A. Padmanabhan).

7. Accuracy of formula-derived Creatinine clearance in paraplegics subjects, Clin. Nephrol., 47(4), 237-242 (1997)
(with V. Thaakur, E. Reisin, M. Solomonow, R. Baratta, E. Anguilar, R. Best, R. D'Ambrosia).

6. Estimation After Sequential Selection and Ranking, Metrika, 45(2), 95-106 (1997) (with N. Mukhopadhyay).

5. A nonparametric accelerated sequential procedure for selecting the largest center of symmetry, Journal of
Nonparametric Statistics, 3, 155-166 (1993) (with N. Mukhopadhyay).

4. Accelerated sequential procedure for selecting the best exponential population, Journal of Statistical planning and
Inference, 32, (1992), 347-361 (with N. Mukhopadhyay).

3. Accelerated sequential procedure for selecting the largest mean, Sequential Analysis, vol. 11, (1992), 137-148 (with N.
Mukhopadhyay).

2. Improved sequential and accelerated sequential procedures for estimating the scale parameter in a uniform distribution,
Sequential Analysis, vol. 10, (1991), 235-245 (with L. Kuo and N. Mukhopadhyay).

1. Second order properties of accelerated stopping times with applications in sequential estimation, Sequential Analysis,
vol. 10, (1991), 99-123 (with N. Mukhopadhyay).

OTHER PUBLICATIONS
                                                              13


                                                                                                             App. 0659
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(i.) Proceedings of The second International Workshop in Sequential Methodologies (IWSM 2009): Multistage
Methodologies for Partitioning a Set of Exponential Populations, 4 pages, 2009.

(ii.) Proceedings of The 56th Session of the International Statistical Institute (ISI 2007): On Optimality of the Sample Size
for the Partition Problem (jointly with Yuefeng Wu), pages 2033-2037, 2007.

(iii). Selecting the Best Component in a Multivariate Normal Population, (with N. Mukhopadhyay).
                Presented at the Joint Statistical Meetings, San Francisco, August 1993.
                Abstract in IMS Bulletin, Vol. 22, No. 3, page 333, 1993.
                Article appears in Chapter 6, Multistage Selection and Ranking Procedures: Second-Order Asymptotics,
               Marcel Dekker, Inc., 1994, page 266-280.

(iv.) On Asymptotic Second-Order Properties of Selecting the t-best Exponential Populations, (with N. Mukhopadhyay).
              Presented at the Joint Statistical Meetings, Boston, August 1992.
              Abstract in IMS Bulletin, Vol. 23, No. 3, page 339, 1992.
              Article appears as a separate section in Multistage Selection and Ranking Procedures: Second-Order
             Asymptotics, Marcel Dekker, Inc., 1994, Section 4.9, page 198-208.


(v.) On Asymptotic Second-Order Properties of Selecting the t-best Normal Populations, (with N. Mukhopadhyay).
             Presented at the Joint Statistical Meetings, Atlanta, August 1991.
             Abstract in IMS Bulletin, Vol. 20, No. 3, page 335, 1991.
             Article appears as a separate section in Multistage Selection and Ranking Procedures: Second-Order
            Asymptotics, Marcel Dekker, Inc., 1994, Section 3.9, page 117-141.

GRANTS AND CONTRACTS FUNDED AS PI/Co-PI

{21.} L.E.Q.S.F. Enhancement Grant, $54,112.00, 2017-2018, Redesigning Freshman Mathematics Instruction at UNO
Using Technology Based Interactive Teaching Format [The proposal was ranked first among all the proposals in the
category. With Lisa Crespo and Lori Hodges].
{20.} Howard Hughes Medical Institute (HHMI), $1,500,000.00, 2014-2019, Increasing recruitment and retention of
STEM students at UNO, an urban university [as Co-PI, Dr. Wendy Schluchter is the PI].
{19.} L.E.Q.S.F. Enhancement Grant, $15,000.00, 2011-2013, Continuation of Statistical Consulting Education at UNO
[Linxiong Li].
{18.} UNO SCoRE award, $15,000, 2011.
{17.} L.E.Q.S.F. Enhancement Grant, $20,000.00, 2008-2010, Enhancement of Industry Oriented Statistical Education
at UNO: Post Katrina Years [Linxiong Li].
{16.} L.E.Q.S.F. Enhancement Grant, $27,500.00, 2005-2007, Continuation of: Enhancement of Industry Oriented
Statistical Education at UNO [with Terry Watkins and Linxiong Li].
{15.} L.E.Q.S.F. Enhancement Grant, $35,874.00, 2002-2004, Enhancement of Industry Oriented Statistical Education
at UNO. [The proposal was ranked first among all the proposals in the category. With Terry Watkins, Linxiong Li, and
Zhide Fang].
{14.} AFCEA Silicon Bayou Chapter Award, $300, 2002-2003, for purchasing classroom supplies for the mathematics
department.
{13.} National Science Foundation (NSF), $219,900, 2000-2002, UNOMACSS: A Scholarship Program in the
Mathematical and Computer Sciences [with A. DePano of Computer Science Department]. It provided scholarship to 20
mathematics and 20 computer science students for two years.
{12.} L.E.Q.S.F. Enhancement Grant, $172,512, 1996-1998, Statistics and Applied Mathematics Laboratory [with Lew
Lefton and Adam Harrison].
{11.} {L.E.Q.S.F. Research Grant}, $75,325, 1995-1998, Robustness and Implementability of Various Multistage
Selection and Ranking Procedures.
{10.} NASA, Graduate Student Research Program, $64,000, 1994-1996, Statistical Analysis of Rocket Seal Tester.



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{9.} U.S.D.A. Research Grant, $20,000, 1994-1998, Statistical Assistance to USDA in EPA Projects (with Terry A.
Watkins).
{8.} Institute of Mathematical Statistics, $400, 1994, Travel Award to present a paper at the annual meeting in Chapel
Hill, North Carolina.
{7.} UNO Research Support Award, $2,000, 1994-1995.
{6.} U.S.D.A. Research Grant, $10,000, 1993-1994 , Statistical Assistance to USDA (with Terry A. Watkins).
{5.} L.E.Q.S.F. Research Grant, $14,583, 1992-1993, Permutationally Invariant Change point Estimation, (with Terry A.
Watkins).
{4.} Institute of Mathematical Statistics, $800, 1990, Travel Award to present a paper at the annual meeting in Uppsala,
Sweden.
{3.} UNO faculty summer scholar award, $3667, summer 1991.
{2.} UNO Research Council Grant}, $1330, 7/91--6/92.
{1.} UNO Faculty Development Award, $1,600, June-December 1993.

Professional Service as Referee:
I have refereed several hundred papers as a referee for scholarly journals and over 20 books in the field of statistics/Data
Science. The books reviewed in the academic year 2020-21 are:
1. Foundations of Statistics for Data Scientists: With R and Python, Alan Agresti, Maria Kateri; ISBN 9780367748456,
October 2021, Chapman and Hall/CRC.
2. Gini Inequality Index Methods and Applications, Nitis Mukhopadhyay, Partha Pratim Sengupta, ISBN 9781003143642,
April 2021, Chapman and Hall/CRC.

PROFESSIONAL PRESENTATIONS
{57.} Some issues related to implementation of the partition problem formulations for normal population, invited talk,
34th NESS (New England Statistics Symposium), University of Rhode Island, September 30- October 2, 2021.
{56.} A generalization of the statistical Partition Problem for Normal Populations, contributed talk, International
Conference on Mathematical Modelling, Applied Analysis and Computation (ICMMAAC-2019), JECRC University,
Jaipur, India, August 8-10, 2019.
{55.} A Generalized Two-stage Procedure for the Partition Problem, invited talk, 7th IWSM 2019, Binghamton
University, June 17-21, 2019 (With Jie Jhou).
{54.} Enhancing Student Engagement by Using Technology Based Interactive Teaching, contributed talk, Joint
Mathematics Meetings (JMM 2018), San Diego, January, 2018.
{53.} Designing Experiments for Multiple Comparisons, plenary talk, The Sixth International Workshop in Sequential
Methodologies (IWSM 2017), University of Rouen Normandy, France, June, 2017.
{52.} A Two-Stage Procedure for the Generalized Partition Problem, invited talk, 8th INTERNATIONAL WORKSHOP
ON APPLIED PROBABILITY (IWAP2016) June 20-23, 2016, Toronto, Canada.
{51.} Statistical Partition Problem: Past, Present and Future, invited talk, IWSM 2015, Columbia University, New York,
June, 2015.
{50.} A Generalization of the Partition Problem, Poster Session, FRONTIERS OF HIERARCHICAL MODELING IN
OBSERVATIONAL STUDIES, COMPLEX SURVEYS AND BIG DATA, University of Maryland, July, 2014 (With Jie
Jhou).
{49.} A Note on Partitioning Exponential Populations, invited talk, IWSM 2013, University Of Georgia, Athens, Georgia,
July, 2013.
{48.} Nonparametric sequential procedure for partitioning a set of populations with respect to a standard or control invited
talk, International Conference On Statistics and Informatics in Agricultural Research, New Delhi, India, December, 2012.
{47.} On a generalization of the Partition Problem, invited talk, IMSCT 2012 -- FIM XXI, Punjab University, India,
December, 2012.
{46.} Robustness of the fine-tuned Purely Sequential procedure for the unbalanced partition problem, invited talk,
STATISTICS 2011 CANADA and IMST 2011-FIM XX, Monteal, July, 2011.
{45.} On a generalization of the Partition Problem, invited talk, International Workshop on Sequential Methods, Stanford
University, June, 2011 (with Jie Zhou).
{44.} Use and Misuse of the ANOVA methodology, Mathematical Association of America, Florida Chapter Meeting,
University of West Florida, Pensacola, Florida, November, 2010.
{43.} Some Issues Related to the Partition Problem, invited talk, 50+ Years of Research: Mini-Conference in Honor of
Professor Zacks, Binghamton, New York, December, 2009.


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{42.} Multistage Methodologies for Partitioning a Set of Exponential Populations, invited talk, IWSM 2009, Troyes,
France, June, 2009.
{41.} SQA Editor’s Round Table, Plenary Session, IWSM 2009, Troyes, France, June, 2009(with Marie Hušková, N.
Mukhopadhyay, Alexander Tartakovsky, and S. Zacks).
{40.} Multistage Methodologies for Partitioning a Set of Several Populations With Respect to a Standard or a Control,
SQA Editors Special Invited Talk, Joint Statistical Meeting, Denver, Colorado, August, 2008.
{39.} A Nonparametric Purely Sequential Procedure For the Partition Problem, invited talk, Dudewicz Honor
Conference, Syracuse, New York, July, 2008.
{38.} On Approximate Optimality of the Unbalanced Sequential Procedure for the Partition Problem, invited talk, IISA
Conference, Connecticut, May, 2008 (with Y. Wu).
{37.} The role of Statistics in Clinical Trials, Invited talk for the students in the Honors Program, University of New
Orleans, invited talk, April, 2008.
{36.} On Optimality of the Sample Size for the Partition Problem, ISI 2007 Conference, Lisbon, Portugal, August, 2007
(with Y. Wu).
{35.} A Nonparametric Methodology for the Partition Problem, invited talk, IWSM 2007, Auburn, Alabama, July, 2007.
{34.} SQA Editor’s Round Table, invited participant, IWSM 2007, Auburn, Alabama, July, 2007(with M. Aoshima, M.
Carpenter, N. Mukhopadhyay, and S. Zacks).
{33.} Multiple Comparison Procedures in Statistics: A Distribution Free Approach, Department of Electrical Engineering,
University of New Orleans, April, 2007.
{32.} The problem of selection and Ranking: An introduction and some current research, invited talk, Department of
mathematics, IIT Delhi, January, 2007.
{31.} An Efficient Design For Partitioning a set of Populations With Respect to a Control, International Conference on
Statistics and Informatics, invited talk, Delhi, India, December, 2006.
{30.} Efficient Designs for the Partition Problem, Department of Mathematics, Department of Mathematics, University
of Louisiana, Lafayette, invited talk, September, 2005.
{29.} A note on the Efficiency of Some Designs for the Partition Problem, International conference on recent advances
in statistics, invited talk, IIT Kanpur, India, January, 2005.
{28.} On an improved accelerated sequential methodology with applications in selection and ranking, International Sri
Lankan Statistical Conference: Visions of Futuristic Methodologies, invited talk, Kandy, Sri Lanka, December, 2004.
{27.} Implementation and other issues related to the partition problem, Punjab University, Chandigarh, invited talk,
India, December, 2004.
{26.} Robustness of methodologies for the partition problem, University of Connecticut, Storrs, Connecticut, invited
talk, October, 2004.
{25.} A two stage procedure for the partition problem, IISA 2004 Conference, invited talk, Athens, Georgia, May, 2004.
{24.} A two stage procedure with elimination, Department of Electrical Engineering, UNO, September, 2003.
{23.} On combining subset selection and indifference zone approaches, International conference on Bayesian Statistics,
LaManga, Spain, May, 2003.
{22.} Robustness of multistage procedures, invited talk, Ninth International conference on Statistics, Combinatorics
and related areas, Allahabad, India, December, 2002.
{21.} A sequential procedure with elimination, International conference on statistical inference and reliability, invited
talk, Chandigarh, India, December, 2001.
{20.} On generalizing the partition problem for the normal population, invited talk, Joint Statistical Meeting of IISA,
etc., New Delhi, India, December, 2000.
{19.}On Robustness of the partition problem for the normal population, Sixth Conference of the Forum for
Interdisciplinary Mathematics: International Conference on Combinatorics, Information Theory and Statistics, University
of South Alabama, Mobile, December, 1999. Maryland, August, 1999.
{18.} On partitioning a set of normal populations with respect to a control, Invited Talk, Fifth Conference of the Forum
for Interdisciplinary Mathematics: International Conference on Combinatorics, Information Theory and Statistics,
University of Mysore, India, December, 1998.
{17.} Three-Stage and accelerated sequential methodologies for comparing several treatments with a control, Invited
Talk, Third Conference of the Forum for Interdisciplinary Mathematics: International Conference on Combinatorics,
Information Theory and Statistics, University of Southern Maine, Portland, Maine, July, 1997 (with N. Mukhopadhyay).
{16.} Research in Statistics, Invited talk for the students in the Honors Program, University of New Orleans, invited talk,
March, 1997.
{15.} Few generalizations to the selection and Ranking Problem, Department of Statistics, University of Toronto,
November, 1996 (with N. Mukhopadhyay).

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{14.} Multistage methodologies for fixed-width simultaneous confidence intervals for all pairwise comparisons, Indian
Science Congress Meeting, Patiala, India, January, 1996 (with N. Mukhopadhyay).
{13.} On estimating the reliability after sequentially estimating the mean: the exponential case, Annual Joint Statistical
Meetings of ASA, IMS etc., Orlando, August, 1995 (with N. Mukhopadhyay and A. Padmanabhan).
{12.} Multistage methodologies for fixed-width simultaneous confidence intervals for all pairwise comparisons, Bose
Memorial Conference, Colorado State University, Colorado, June, 1995 (with N. Mukhopadhyay).
{11.} On an Improved Accelerated Sequential Methodology With Applications in Selection and Ranking, Annual Joint
Statistical Meetings of ASA, IMS etc., Toronto, August, 1994 (with N. Mukhopadhyay).
{10.} Accelerated Sequential Estimation of the Largest Location Parameter in the Normal and Negative Exponential Cases,
Annual Meeting of Institute of Mathematical Statistics, North Carolina, June, 1994 (with N. Mukhopadhyay).
{9.} Selecting the Best Component in a Multivariate Normal Population, Annual Joint Statistical Meetings of ASA, IMS
etc., San Francisco, August, 1993 (with N. Mukhopadhyay).
{8.} A Note on Sequential Selection and Ranking, Department of Mathematics, I.I.T. Delhi, India, June, 1993.
{7.} On Asymptotic Second-Order Properties of Selecting the t-best Exponential Populations, Annual Joint Statistical
Meetings of ASA, IMS etc., Boston, August, 1992 (with N. Mukhopadhyay).
{6.} On Asymptotic Second-Order Properties of Selecting the t-best Normal Populations, Annual Joint Statistical Meetings
of ASA, IMS etc., Atlanta, August, 1991 (with N. Mukhopadhyay).
{5.} Accelerated Sequential Procedure for Selecting the Largest Mean, Department of Statistics, University of
Southwestern Louisiana, April, 1991 (with N. Mukhopadhyay).
{4.} Nonparametric Accelerated Sequential Procedure for Selecting the Best Population, 2nd World Congress of The
Bernoulli Society for Mathematical Statistics and Probability and Annual meeting of IMS, Uppsala, Sweden, August, 1990
(with N. Mukhopadhyay).
{3.} A Computational Based Approach to Selection and Ranking Problem, 22nd Symposium on the Interface: Computing
Science and Statistics, Michigan State University, May, 1990 (with N. Mukhopadhyay).
{2.} A note on Sequential Selection and Ranking Procedures, Department of Statistics, University of Connecticut, April,
1990 (with N. Mukhopadhyay).
{1.} Computationally Intensive Accelerated Sequential Procedure for Selecting the Best Exponential Population, Fourth
Annual New England Statistics Symposium, Lowell University, March, 1990 (with N. Mukhopadhyay).

UNIVERSITY SERVICE (University of New Orleans)
Selected University Service:
President’s Executive Committee: Member, 2008-09.
Policy Committee: Chair, 2008-09.
Strategic Planning Committee (The Strategic Plan 2009-2012): Committee Member.
Policy Committee: Represented the College of Sciences, 2006-2009.
University Senate: 2006-2009.
Provost Search Committee: Member, 2008-2009.
Dean Search Committee: Member, 2009-2010.
First Year Initiatives (FYI): Committee member, 2009-2013.
University Committee: Committee on University Admissions, member 2003-2006, Committee Chair 2005-2006, member
2006-2009.
Strategic Planning Committee (2013-2014): Committee Member.
Provost Search Committee: Member, 2014-2015.
Faculty Governance Committee: Member, 2013-2016.
Strategic Enrollment Management Committee (SEMC): Faculty Co-Chair, 2015-present.
Retention Steering Committee, Chair, 2015- Fall 2019.
Provost Search Committee: Member, 2016.
Strategic Plan 2015 – 2020: Member, 2016- 2017.
Charges Committee: Fall 2020—present.
College Service:
         Chair, College of Sciences Retention Committee, 2013-14.
         College of Sciences, Dean Search Committee, 2009-10.
         Member, College of Sciences Teaching Award Committee, 2002-2008.
Department Service:
         Department Chair: Fall 2008—present.
         Member of Several Departmental Committees such as Computer Committee; Graduate Advisory;

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      Courses and Curricula, etc: 1990-present.
Mathematical Service:
      Math Bootcamp for 9th and 10th Graders [Funded by College Track], Summer 2013.
      Math Bootcamp for 11th and 12th Graders [Funded by College Track], Summer 2013.
      ACING THE ACT: Organized ACT preparation workshop [Funded by College Track], Summer & Fall 2013
      Dual Enrollment ACT Preparation: Tutoring program for about 25 Lake Area High School students to
      improve their ACT Math score to make them eligible for DE class at UNO
      [Funded by Urban League]

DOCTORAL THESIS SUPERVISION AS MAJOR PROFESSOR
 i. Jie Zhou, A Generalization of The Partition Problem in Statistics; 2013.
ii. Jin Gu, Statistical Partition Problem for Exponential Populations and Statistical Surveillance of Cancers
      in Louisiana; 2014.
iii. Rui Wang, Generalizing Multistage Partition Procedures for Two-parameter Exponential Populations; 2018.

Other Activities Related to Teaching and MS/PhD Committee Memberships
(i). Master’s thesis supervision for 2 students.
(ii). Major Professor for over 40 Masters Students with non-thesis Master’s Degree program.
(iii). PhD Thesis committee member for 30 plus students.

Major Areas of Research Interest
Statistical Consulting, Statistical Sampling, Statistical Modeling, Sequential Analysis, Selection and Ranking, Change
point Problem, Statistical Computing, Biostatistics, and Biomedical applications.




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                Exhibit 39
             DHSS Abortion Data Affidavit




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                                                                      App. 0666
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                                                                      App. 0674
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                   Exhibit 40
                 Declaration of Juliet Charron




                                                                      App. 0675
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

 ALLIANCE FOR HIPPOCRACTIC                           )
 MEDICINE, on behalf of itself, its member           )
 Organizations, their members, and these             )
 Members’ patients, et al.,                          )
                                                     )       Case No. 2:22-cv-00223
               Plaintiffs,                           )
                                                     )
 v.                                                  )
                                                     )
 U.S. FOOD AND DRUG                                  )
 ADMINISTRATION, et al.                              )
                                                     )
               Defendants.                           )


                             DECLARATION OF JULIET CHARRON
        I, Juliet Charron, hereby declare and swear as follows:

        1.     I am over 18 years of age, have personal knowledge of the matters set forth here,

 and am competent to make this declaration.

        2.     I currently work in the Idaho Department of Health and Welfare (DHW) as the

 Division of Medicaid Administrator.

        3.     In my role with DHW, I am familiar with the administration of the Idaho Medicaid

 program.

        4.     The statements in this declaration are based on my professional knowledge and

 experience.

 Idaho Medicaid & Health claims data.

        5.     When a provider seeks coverage for medical services, it submits a claim to Idaho

 Medicaid.

        6.     The claims typically include information regarding services rendered, diagnosis



                                                 1
                                                                                      App. 0676
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 codes, and payment amounts.

        7.     In my role with DHW, I am familiar with Idaho Medicaid claim records, and in

 preparing this declaration, I’ve reviewed a subset of paid claim amounts for Calendar Years 2019

 and 2022.

 Idaho Medicaid covers abortion complications.

        8.     Idaho Medicaid provides coverage for treatment and follow-up care at hospitals

 following abortion complications.

        9.     In Calendar Year 2022, Idaho Medicaid expended $12,658.05 in total funds

 ($3,797.42 state funds and $8,860.64 federal funds)] covering treatment and follow-up care for

 abortion medical complications.

        10.    In Calendar Year 2019, Idaho Medicaid expended at least $10,086.47 total funds

 ($3,025.94 state funds and $7,060.53 federal funds) covering treatment and follow-up care for

 abortion medical complications.

 Idaho Medicaid covers medical intervention needed following use of mifepristone.

        11.    Idaho Medicaid provides coverage for medical intervention needed resulting from

 a medication abortion, including mifepristone’s use.

        12.    For example, in Calendar Year 2022, Idaho Medicaid provided coverage for a

 woman presenting with bleeding following a failed medication abortion. The medical intervention

 that was required and that Idaho Medicaid covered was dilation & curretage.

 Idaho and the Federal Government both spend money on Idaho Medicaid.
        13.    Idaho Medicaid is a federal/state partnership.      Both Idaho and the federal

 government pay money to cover Idaho Medicaid claims. For instance, from July 2020 to June

 2021 Idaho Medicaid expended $3.24 billion on services for Medicaid participants. Of this

 amount, approximately $2.27 billion was federal money.


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 Number of Idahoans on Idaho Medicaid

        14.    From July 2020 and June 2021 Idaho Medicaid average monthly enrollment was

 379,954 participants.

        15.    During that time, Idaho Medicaid average monthly enrollment was 97,055 women

 between the ages of 14 and 45.

                                  *     *       *      *       *

        I declare that the foregoing is true and correct to the best of my knowledge, information

 and belief.

 Executed on November 2, 2023.                             /s/ Juliet Charron
                                                           Juliet Charron




                                                3
                                                                                      App. 0678
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                   Exhibit 41
                 Declaration of Lora Brown




                                                                      App. 0679
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                                  DECLARATION OF LORA BROWN
         1.       I am over 18 years of age, have personal knowledge of the matters set forth here,

 and am competent to make this declaration.

         2.       I work for the Missouri Department of Social Services (DSS) as the Research Data

 Analysis Manager. I have worked for DSS for over thirty years.

         3.       As part of my position with DSS, I am familiar with the DSS’s data for purposes of

 producing data reports for DSS, for federal agencies, and for external requesters.

         4.       The statements in this declaration are based on my professional knowledge and

 experience.

         5.       Some data reports are made available publically through the Department of Social

 Services website at https://dss.mo.gov/mis/cqfacts/. The information contained on DSS’s website

 is normally pulled by me or a member of the DSS Research Data team. Per data published at

 https://dss.mo.gov/mis/cqfacts/, between July 2020 and June 2021, an average of 1,030,053

 Missourians were enrolled for MO HealthNet Services at the end of each month.1

         6.       Per data reported as of October 31, 2023, 398,945 women between the ages of 14

 and 45 were eligible 2 for MO HealthNet services.



 I declare under penalty of perjury that the foregoing is true and correct.
 Executed on November 3, 2023                                  /s/   Lora K. Brown




 1
  https://dss.mo.gov/mis/cqfacts/
 2
  Eligibility for Medicaid services indicates that an individual meets eligibility criteria for a Medicaid program.
 Enrollment in Medicaid is contingent upon payment of a premium or spend down for certain eligibility categories.



                                                                                                         App. 0680
